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 7                         UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF WASHINGTON
 8
                                       AT SEATTLE
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10 UNITED STATES OF AMERICA,                             NO. CV24-675
11                         Plaintiff,
12                                                       VERIFIED COMPLAINT
                      v.                                 FOR FORFEITURE IN REM
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   APPROXIMATELY 74,000 ITEMS OF
14 STOLEN MERCHANDISE,
15                         Defendants.
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18         COMES NOW the United States, by and through its undersigned counsel, and
19 alleges:
20                               I.      NATURE OF THE ACTION
21         1.      This is a civil action in rem, brought to enforce the provision of 18 U.S.C.
22 § 981(a)(1)(C) for forfeiture of property that constitutes or is derived from proceeds of
23 Sale or Receipt of Stolen Property and Interstate Transportation of Stolen Property,
24 which are offenses that constitute “specified unlawful activity” pursuant to 18 U.S.C.
25 §§ 1956(c)(7)(D) and 1961(1)(B).
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     Verified Complaint for Forfeiture in Rem - 1                          UNITED STATES ATTORNEY
                                                                          700 STEWART STREET, SUITE 5220
     United States v. Approximately 74,000 Items of Stolen Merchandise.     SEATTLE, WASHINGTON 98101
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 1                       II.     PLAINTIFF AND DEFENDANT IN REM
 2         2.      The plaintiff is the United States of America (the “Plaintiff” or
 3 “Government” or “United States”).
 4         3.      The defendant consists of approximately 74,000 items of stolen
 5 merchandise, seized on or about December 19, 2023 from the following locations
 6 (collectively, “the Defendant Property”):
 7                 a.      a “We Buy Gold, Silver, and Electronics” storefront located at
 8 13622 1st Avenue South, Burien, Washington (the “Storefront”), an inventory for which
 9 is appended as Attachment A;
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16                                          Front of Storefront
17                 b.      an adjacent commercial warehouse located at 13620 1st Avenue
18 South, Burien, Washington (the “Warehouse”), an inventory for which is appended as
19 Attachment B; and
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                               Back of Storefront and Front of Warehouse
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 1                 c.      a residence located at 183 SW 359th Place, Federal Way,
 2 Washington (the “Federal Way Residence”), an inventory for which is appended as
 3 Attachment C.
 4          4.     Pursuant to search and seizure warrants issued in the Western District of
 5 Washington, Cause No. MJ23-596, and executed on December 19, 2023, the U.S.
 6 Department of Homeland Security Investigations, U.S. Department of Customs and
 7 Border Protection, seized the Defendant Property and it remains in that agency’s custody.
 8                             III.    JURISDICTION AND VENUE
 9          5.     This Court has jurisdiction over an action commenced by the United States
10 under 28 U.S.C. § 1345 and has jurisdiction over an action for forfeiture under
11 28 U.S.C. § 1355(a) and (b).
12          6.     Venue is proper in this district pursuant to 28 U.S.C. § 1355(b)(1)(A)
13 because the acts or omissions giving rise to the forfeiture occurred in this district.
14          7.     Pursuant to 18 U.S.C. § 981(f), all right, title, and interest in the
15 Defendant Property vests in the United States at the time of the acts giving rise to the
16 forfeiture.
17          8.     Pursuant to Supplemental Rule G(2)(f), facts in support of a reasonable
18 belief that the United States will be able to meet its burden of proof at trial are as follows
19 and have been verified by the attached Verification of Department of Homeland Security
20 Investigations (HSI), Task Force Officer (TFO) Detective Christopher Myers.
21          9.     As provided in Supplemental Rule G(3)(b)(i), the Clerk of Court is required
22 to issue a warrant to arrest the Defendant Property if it is in the government’s possession,
23 custody, or control. As such, the Court will have in rem jurisdiction over the Defendant
24 Property when the accompanying Warrant of Arrest In Rem is issued, executed, and
25 returned to the Court.
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 1                     IV.     SUMMARY OF BASES FOR FORFEITURE
 2          10.    The United States alleges that the Defendant Property is fruits of an
 3 organized retail theft operation and constitutes, or is derived from, proceeds of the Sale or
 4 Receipt of Stolen Property, in violation of 18 U.S.C. § 2315, and Interstate
 5 Transportation of Stolen Property, in violation of 18 U.S.C. § 2314. The Defendant
 6 Property, therefore, is subject to forfeiture pursuant to 18 U.S.C. § 981(a)(1)(C).
 7          11.    Using a scheme that involved purchasing property that they knew was
 8 stolen, selling the stolen property on eBay and Amazon, and shipping the stolen property
 9 to buyers outside of the state of Washington, using the U.S. mail and private carriers,
10 Vitaliy Bobak (Bobak), Andrey Balun (Balun), and others known and unknown,
11 committed the offenses of Sale or Receipt of Stolen Property and Interstate
12 Transportation of Stolen Property.
13          12.    Bobak, Balun, and others known and unknown, used proceeds from these
14 offenses to purchase additional stolen merchandise they intended to sell on eBay and
15 Amazon.
16          13.    The Defendant Property consists of stolen merchandise that had not yet
17 been shipped to buyers, which was seized from Bobak’s Federal Way Residence, as well
18 as from the Storefront and adjacent Warehouse used by Bobak and Balun to facilitate
19 these offenses.
20                              V.      PURPOSE OF FORFEITURE
21          14.    The purpose of this forfeiture action in rem is two-fold. First, forfeiture of
22 the Defendant Property provides a means for the United States to help victims of these
23 offenses. Second, forfeiture deters criminal activity by forfeiting and vesting title of the
24 Defendant Property with the United States so that criminals do not maintain the fruits of
25 crime.
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 1                                          VI.     THE LAW
 2          15.    Pursuant to 18 U.S.C. § 2315, it is unlawful to “receive[], possess[],
 3 conceal[], store[], barter[], sell[], or dispose[] of goods, wares, merchandise, securities, or
 4 money having the value of $5,000 or more, which have crossed a state or United States
 5 boundary after being stolen, unlawfully converted or taken, knowing the same to have
 6 been stolen, converted or taken. . . .”
 7          16.    Pursuant to 18 U.S.C. § 2314, it is unlawful to “transport[], transmit[], or
 8 transfer[] in interstate commerce any goods, wares, merchandise, securities, or money, of
 9 the value of $5,000 or more, knowing the same to have been stolen, converted or taken
10 by fraud. . . .”
11          17.    Pursuant to 18 U.S.C. § 981(a)(1)(C), “[a]ny property, real or personal,
12 which constitutes or is derived from proceeds traceable to a violation of . . . any offense
13 constituting a ‘specified unlawful activity’ (as defined in section 1956(c)(7) of this title),
14 or a conspiracy to commit such offense” is subject to forfeiture to the United States.
15          18.    Pursuant to 18 U.S.C. § 1956(c)(7)(D) and 18 U.S.C. § 1961(1)(B), the
16 offenses of Sale or Receipt of Stolen Goods and Interstate Transportation of Stolen
17 Property, in violation of 18 U.S.C. §§ 2314 and 2315, constitute specific unlawful
18 activity.
19        VII.    DESCRIPTION OF ORGANIZED RETAIL THEFT OPERATION
20          19.    Bobak, Balun, and others purchased merchandise they knew to be stolen
21 from drugstores and retailers such as Target, Walmart, CVS, Ulta, Walgreens, Best Buy,
22 Vons, Rite Aid, and Pet Smart. They met “customers,” who brought the stolen
23 merchandise to them for sale, at the Storefront.
24          20.    Bobak, Balun, and others used the adjacent Warehouse as a storage and
25 distribution center for the stolen merchandise they purchased at the Storefront, pending
26 sale on eBay and Amazon Marketplace, and shipment to purchasers.
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 1          21.    Bobak, Balun, and others shipped the stolen merchandise from the
 2 Storefront, the Warehouse, and from the Federal Way Residence.
 3          22.    Investigators acting in an undercover capacity conducted controlled sales of
 4 products they represented as stolen to Bobak at the Storefront on numerous occasions and
 5 have subsequently purchased the same products from the eBay (abcstore555) and
 6 Amazon Marketplace (Medikus) storefronts operated by Bobak and Balun.
 7          23.    Parcels fulfilling orders placed on both the eBay and Amazon Marketplace
 8 platforms were mailed from the Storefront, the Warehouse, and the Federal Way
 9 Residence.
10 A.       The Storefront and Warehouse
11          24.    Bobak staffed the Storefront on a daily basis during the weekdays and
12 parked behind the building.
13          25.    Balun also came to the Storefront but was not there on a daily basis.
14          26.    The Storefront was generally open to receive “customers” between 2:00
15 p.m. and 6:00 p.m.
16          27.    Only one “customer” at a time was permitted to enter the Storefront.
17          28.    The Storefront displayed no items for purchase.
18          29.    Bobak informed “customers” that they had no property for sale and were
19 strictly buying items.
20          30.    “Customers” entered the Storefront carrying boxes and bags of stolen
21 property and left with cash.
22          31.    When “customers” brought stolen merchandise into the Storefront with
23 anti-theft deterrent devices still on them, Bobak would direct the “customer” to remove
24 those devices from the items before Bobak bought them.
25          32.    On at least one occasion, Bobak purchased OTC products bearing CVS
26 stickers that read, “Intended for sale at CVS Pharmacy. If found elsewhere, call 866-439-
27 8724.”
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 1          33.    On at least one occasion, Bobak brought out a heat gun and told the
 2 “customer” how to use it to remove security stickers from the stolen merchandise. Bobak
 3 explained that heat guns could be purchased at any smoke shop.
 4          34.    “Customers” made statements to Bobak indicating the items they brought to
 5 the Storefront were stolen, such as saying that a friend “borrowed it out the back door for
 6 me” or “has a habit of taking things that don’t really belong to him,” and “you said you
 7 liked the big packs so I boosted a bunch of the bigger ones for ya.” “Boost” is a street
 8 term for stealing or shoplifting.
 9          35.    On at least one occasion, a “customer” showed Bobak anti-theft deterrents
10 and told him that they “remembered to take this off this time for ya,” after which Bobak
11 purchased the items.
12          36.    Bobak told “customers” that he paid less for “open box” items than ones
13 still in the original retail packaging.
14          37.    After meeting with “customers,” Bobak often left the Storefront through the
15 back door and walked to the adjacent Warehouse, where he used a remote control to open
16 a rolltop door. Bobak used pushcarts and plastic totes to move stolen merchandise from
17 the Storefront to the Warehouse.
18          38.    The stolen merchandise purchased at the Storefront was not reported to the
19 state of Washington, as required for legitimate pawnbrokers and secondhand dealers
20 under Revised Code of Washington 19.60 and the associated regulations.
21 B.       Sale of Stolen Merchandise on eBay
22          39.    Bobak operated an online store on eBay using the moniker “abcstore555.”
23          40.    Abcstore555’s registered address is the Federal Way Residence, where
24 Bobak lives.
25          41.    Abcstore555 was not a legitimate resell business on eBay. Instead, Bobak
26 used the online platform to sell stolen property and ship that stolen property across the
27 country and beyond.
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 1         42.     Abcstore555 had no sources of inventory other than the stolen merchandise
 2 Bobak and Balun purchased at the Storefront.
 3         43.     Abcstore555 conducted approximately 74,291 sale transactions between
 4 January 1, 2022 and June 16, 2023, totaling approximately $2,425,049.10.
 5         44.     Abcstore555 sold large quantities of over-the-counter (OTC) medications,
 6 supplements, health and beauty products, and some electronics and tools.
 7         45.     Abcstore555 advertised and sold products with stock keeping units (SKUs)
 8 that have been traced back to CVS, Walmart, Target, Ulta, Walgreens, Best Buy, Vons,
 9 Rite Aid, and Pet Smart.
10         46.     Neither abcstore555, nor Bobak or Balun, were authorized resellers of the
11 items sold on the abstore555 eBay platform.
12         47.     Abcstore555 shipped these items to destinations across the United States, as
13 well as to international destinations, including Norway, Mexico, Sweden, Denmark, the
14 United Kingdom, Australia, and Israel. Abcstore555’s top outbound shipments of
15 products from Washington state were to buyers in Virginia, Florida, and New Jersey.
16         48.     Abcstore555 did not purchase inventory for resale from other eBay sellers.
17 The primary items that abcstore555 purchased on eBay were items indicative of operating
18 an ecommerce business, such as packing material, locks, a face/fingerprint attendance
19 time clock, prepaid cell phones, and door/perimeter motion alarms. Between March 14,
20 2022 and September 13, 2023, Bobak received 148 shipments to the Federal Way
21 Residence, most of which were from shipping and package supply retailers.
22         49.     Bobak received payment from eBay for the stolen merchandise sold on
23 abcstore555 to various bank accounts he controlled, then distributed some of those funds
24 to Balun.
25         50.     The payments from eBay for sale of the stolen merchandise by abcstore555
26 were proceeds of the stolen property offenses or funds derived from proceeds of the
27 stolen property offenses.
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 1          51.    Bobak and Balun used the proceeds they received from the eBay
 2 abcstore555 platform to purchase additional stolen merchandise to continue their criminal
 3 enterprise.
 4 C.       Sale of Stolen Merchandise on Amazon Marketplace
 5          52.    Balun operated an ecommerce store, “Medikus,” on the Amazon
 6 Marketplace platform.
 7          53.    The Medikus Amazon Marketplace account was registered to Andrey
 8 Balun.
 9          54.    Medikus was not a legitimate resell business on Amazon Marketplace.
10 Instead, Balun used the online platform to sell stolen property purchased at the Storefront
11 and ship that stolen property across the country and beyond.
12          55.    Medikus primarily sold health and beauty products, over-the-counter
13 medicines, and supplements commonly sold at major retail stores.
14          56.    The Medikus Amazon Marketplace store conducted more than 64,152
15 online sale transactions, totaling more than 1.3 million dollars, between January 1, 2022
16 and December 21, 2023.
17          57.    Neither Medikus, nor Bobak or Balun, were authorized resellers of the
18 items sold on the Medikus Amazon Marketplace platform.
19          58.    Balun received payment from Amazon for the stolen merchandise sold on
20 the Medikus site to bank accounts he controlled.
21          59.    The payments from Amazon for sale of the stolen merchandise by Medikus
22 were proceeds of the stolen property offenses or funds derived from proceeds of the
23 stolen property offenses.
24          60.    Bobak and Balun used the proceeds they received from Amazon to
25 purchase additional stolen merchandise to continue their criminal enterprise.
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 1 D.      Shipment of Stolen Merchandise from the Storefront to Online Purchasers
 2         61.     Daily, between 1:00 – 2:00 p.m., a U.S. Postal Service box truck picked up
 3 parcels containing stolen merchandise from the Storefront.
 4         62.     Bobak and others transported parcels between the Storefront and the
 5 Warehouse and from Bobak’s vehicle to the Storefront and the Warehouse.
 6         63.     Bobak and others loaded carts of packages onto the mail truck, from both
 7 the Storefront and the Warehouse.
 8         64.     United States Postal Service (“USPS”) records reflect approximately 165-
 9 287 outgoing packages from the Storefront each day between November 6-8, 2023. The
10 return labels on approximately 399 of these parcels designated the sender as Medikus.
11 The remaining 327 parcels had return labels designing the sender as Vitaly Bobak.
12         65.     USPS records indicate that this volume of outbound mailing is within the
13 range of what mail trucks typically collect at this location.
14 E.      Shipment of Stolen Merchandise from the Federal Way Residence
15         66.     FedEx records reflect approximately 902 shipments from the Federal Way
16 Residence between January 5, 2022 and September 26, 2023.
17         67.     Of these, 895 parcels reflected Bobak as the sender.
18         68.     The shipments appeared to go to individual persons at private residences.
19 The shipments were all to addresses outside of Washington state.
20         69.     Between March 14, 2022 and September 13, 2023, Bobak received 148
21 shipments to the Federal Way Residence, most of which were from shipping and package
22 supply retailers.
23         70.     Bobak frequently loaded and unloaded boxes between the Federal Way
24 Residence and the Storefront and Warehouse.
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 1                      VIII. SEIZURE OF THE DEFENDANT PROPERTY
 2         71.     On or about December 19, 2023, HSI executed properly authorized federal
 3 search warrants at the Storefront, the Warehouse, the Federal Way Residence, and
 4 Bobak’s Vehicle, where they seized the Defendant Property.
 5         72.     Also, on or about December 19, 2023, HSI executed a properly authorized
 6 federal search warrant at the Medikus registered business address located at 1271 120th
 7 Ave NE, Bellevue, WA 98005.
 8         73.     At the Storefront and the Medikus business site, agents found thousands of
 9 “Buy Tickets.” These “Buy Tickets” listed the purchase intake person, such as “Vitaliy
10 Bobak,” “VB,” Andrey Balun,” “AB,” etc., followed by descriptions of items purchased,
11 total buy price, signed seller agreement, and a copy of the seller provided identification.
12         74.     There were dozens of repeat sellers that were listed on the Buy Tickets.
13         75.     A vast majority of products listed on the Buy Tickets were items not
14 typically sold to pawnshop or secondhand dealers, such as OTC medications, dietary
15 supplements, and health and beauty products. Further, the “items purchased” section was
16 left blank on a significant number of the Buy Tickets.
17         76.     Inside the adjacent Storefront and Warehouse, agents discovered rooms
18 filled with boxes and shelving, some examples of which appear below:
19                 a.      The Storefront:
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     Verified Complaint for Forfeiture in Rem - 12                         UNITED STATES ATTORNEY
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10                 b.      The Warehouse:
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     Verified Complaint for Forfeiture in Rem - 13                         UNITED STATES ATTORNEY
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     Verified Complaint for Forfeiture in Rem - 14                         UNITED STATES ATTORNEY
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 9         77.     Some areas in the Warehouse were labeled with handwritten signs,
10 reflecting “Amazon Posted” and “eBay Posted.”
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     Verified Complaint for Forfeiture in Rem - 16                         UNITED STATES ATTORNEY
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 1         78.     Work stations in the Storefront and Warehouse were set up to process and
 2 take photographs of merchandise, post merchandise online using a laptop, and prepare
 3 parcels for shipping. Some of these work stations were stocked with heat guns and bottles
 4 of “Goo Gone,” a product marketed to remove labels and stickers.
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 1         79.     In the Storefront and adjacent Warehouse, agents also found a large number
 2 of packing and shipping materials, including boxes and envelopes, as well as parcels
 3 sealed and addressed for shipping.
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 1         80.     Much of the shelving in the Storehouse and adjacent Warehouse held OTC
 2 medications and supplements, health and beauty products, appliances, and tools.
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     Verified Complaint for Forfeiture in Rem - 21                         UNITED STATES ATTORNEY
                                                                          700 STEWART STREET, SUITE 5220
     United States v. Approximately 74,000 Items of Stolen Merchandise.     SEATTLE, WASHINGTON 98101
                                                                                  (206) 553-7970
          Case 2:24-cv-00675-RAJ           Document 1        Filed 05/15/24   Page 22 of 191




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     Verified Complaint for Forfeiture in Rem - 22                         UNITED STATES ATTORNEY
                                                                          700 STEWART STREET, SUITE 5220
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                                                                                  (206) 553-7970
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 9         81.     Agents also discovered rooms filled with boxes and shelving in the Federal
10 Way Residence, some examples of which appear below:
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     Verified Complaint for Forfeiture in Rem - 23                         UNITED STATES ATTORNEY
                                                                          700 STEWART STREET, SUITE 5220
     United States v. Approximately 74,000 Items of Stolen Merchandise.     SEATTLE, WASHINGTON 98101
                                                                                  (206) 553-7970
          Case 2:24-cv-00675-RAJ           Document 1        Filed 05/15/24   Page 24 of 191




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     Verified Complaint for Forfeiture in Rem - 24                         UNITED STATES ATTORNEY
                                                                          700 STEWART STREET, SUITE 5220
     United States v. Approximately 74,000 Items of Stolen Merchandise.     SEATTLE, WASHINGTON 98101
                                                                                  (206) 553-7970
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 1         82.     Law enforcement conducted an inventory of the seized items from each
 2 location, with the assistance of investigators from several retail companies and an
 3 inventory team from WIS International (US Wal-Mart Operations).
 4         83.     All inventoried items were contained in their original manufacturer
 5 packaging in a new condition, as normally displayed in major retail stores. Each item
 6 contained a scannable Universal Product Code (UPC) to aid in the identification of the
 7 item and estimated retail value. The inventory team scanned each item’s UPC barcode
 8 using handheld scanners. The scanning software was prepopulated with the inventory
 9 listing of the region’s largest Wal-Mart store. If a scanned UPC barcode was the same as
10 a UPC contained in the preloaded inventory listing the scanned item was recorded with
11 an item description and Wal-Mart’s listed retail price.
12         84.     The inventory team scanned a total of 79,660 individual items of
13 merchandise. Of that total, 39,633 items were identified by description and Wal-Mart
14 listed retail price. The total retail value, based on Wal-Mart’s retail price was
15 $1,015,685.18.
16         85.     Items with UPC barcodes matching the preloaded Wal-Mart inventory
17 listing were not necessarily stolen from Wal-Mart; the item may have been stolen from
18 another retailer selling the item.
19         86.     Representatives from CVS reviewed the items that did not match those in
20 the Wal-Mart inventory listing and identified another 29,638 items from the scanned
21 UPC’s. The total retail value of these additional items, based on CVS’s retail price, was
22 $1,245,790.31.
23         87.     HSI conducted manual UPC searches of the remaining 10,389 unidentified
24 items, using open-source online web searches and UPC search databases to identify those
25 items. The items values were based on listed MSRP or listed prices from major retailers,
26 if MSRP was not listed. HSI identified an additional 10,131 items, with an estimated
27 retail value of $215,326.38.
     Verified Complaint for Forfeiture in Rem - 25                         UNITED STATES ATTORNEY
                                                                          700 STEWART STREET, SUITE 5220
     United States v. Approximately 74,000 Items of Stolen Merchandise.     SEATTLE, WASHINGTON 98101
                                                                                  (206) 553-7970
          Case 2:24-cv-00675-RAJ           Document 1        Filed 05/15/24   Page 26 of 191




 1         88.     Approximately 5,093 items were identified as products previously
 2 manufactured and sold by Medikus. These items are not considered as suspected stolen,
 3 are not included in the estimated retail value of the stolen merchandise and are not part of
 4 the Defendant Property.
 5         89.     Approximately 258 items could not be identified through UPC and are,
 6 therefore, also not included in the total estimated retail value of the stolen merchandise
 7 and are not part of the Defendant Property.
 8         90.     Unscannable items were returned to Vitality Bobak.
 9 A.      Items Seized from the Storefront
10         91.     The stolen merchandise seized from the Storefront includes more than
11 9,200 items bearing identifiable product codes, with an estimated value of approximately
12 $325,140. The individual items are further identified, by UPC code, description, and
13 estimated retail value (using the process described above) in Attachment A.
14 B.      Items Seized from the Warehouse
15         92.     The stolen merchandise seized from the Warehouse includes more than
16 67,000 items bearing identifiable product codes, with an estimated value of
17 approximately $1,981,000. The individual items are further identified, by UPC code,
18 description, and estimated retail value (using the process described above) in
19 Attachment B.
20 C.      Items Seized from the Federal Way Residence
21         93.     The stolen merchandise seized from the Federal Way Residence includes
22 more than 2,900 items bearing identifiable product codes, with an estimated value of
23 approximately $170,620. The individual items are further identified, by UPC code,
24 description, and estimated retail value (using the process described above) in
25 Attachment C.
26 //
27 //
     Verified Complaint for Forfeiture in Rem - 26                         UNITED STATES ATTORNEY
                                                                          700 STEWART STREET, SUITE 5220
     United States v. Approximately 74,000 Items of Stolen Merchandise.     SEATTLE, WASHINGTON 98101
                                                                                  (206) 553-7970
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 1                                   IX.     CLAIM FOR RELIEF
 2         94.     As required by Supplemental Rule G(2)(f), the facts set forth in this
 3 Verified Complaint support a reasonable belief that the United States will be able to meet
 4 its burden of proof at trial. More specifically, there is probable cause to believe that the
 5 Defendant Property is forfeitable pursuant to 18 U.S.C. § 981(a)(1)(C) because it
 6 constitutes or is derived from proceeds of the Sale or Receipt of Stolen Property, in
 7 violation of 18 U.S.C. § 2315, and Transportation of Stolen Property, in violation of 18
 8 U.S.C. § 2314.
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     Verified Complaint for Forfeiture in Rem - 27                         UNITED STATES ATTORNEY
                                                                          700 STEWART STREET, SUITE 5220
     United States v. Approximately 74,000 Items of Stolen Merchandise.     SEATTLE, WASHINGTON 98101
                                                                                  (206) 553-7970
          Case 2:24-cv-00675-RAJ           Document 1        Filed 05/15/24     Page 28 of 191




 1         WHEREFORE, the United States respectfully requests:
 2         1.      A warrant be issued for the arrest of the Defendant Property;
 3         2.      Due notice be given to all interested parties to appear and show cause why
 4                 the Defendant Property should not be forfeited;
 5         3.      Judgment be entered declaring the Defendant Property and any interest to
 6                 be condemned and forfeited to the United States for disposition according
 7                 to law; and,
 8         4.      The United States be granted such other and further relief as this Court may
 9                 deem just and proper.
10         DATED this 15th day of May, 2024.
11
12                                                 Respectfully submitted,
13                                                 TESSA M. GORMAN
                                                   United States Attorney
14
15
                                                   s/Krista K. Bush
16                                                 KRISTA K. BUSH
                                                   Assistant United States Attorney
17
                                                   United States Attorney’s Office
18                                                 700 Stewart Street, Suite 5220
                                                   Seattle, Washington 98101
19                                                 Phone: (206) 553-2242
20                                                 Fax: (206) 553-6934
                                                   Krista.Bush@usdoj.gov
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     Verified Complaint for Forfeiture in Rem - 28                           UNITED STATES ATTORNEY
                                                                            700 STEWART STREET, SUITE 5220
     United States v. Approximately 74,000 Items of Stolen Merchandise.       SEATTLE, WASHINGTON 98101
                                                                                    (206) 553-7970
          Case 2:24-cv-00675-RAJ           Document 1        Filed 05/15/24   Page 29 of 191




 1                                          VERIFICATION
 2         I, Detective Christopher Myers, a Task Force Officer with the Department of
 3 Homeland Security Investigations (HSI), being first duly sworn, upon oath, depose and
 4 state the following:
 5         I am a sworn Detective with the Seattle Police Department (SPD) and have been
 6 so employed since March 2010. I am currently assigned as a Task Force Officer (TFO)
 7 with Homeland Security Investigations (HSI) – Border Enforcement Security Task Force
 8 (BEST), Seattle, WA, which investigates finance-based crimes and transnational criminal
 9 organizations illegally exploiting the U.S.’s trade and financial systems. I have been cross
10 designated as a TFO under Title 19 on behalf of HSI. In accordance with 19 U.S.C.
11 § 1589a, Title 19 Cross-Designated TFOs are federal law enforcement officers and are
12 authorized to enforce the full range of federal law, including violations of other titles of
13 the U.S. Code, including, but not limited to, Title 18 and Title 31.
14         I have completed the Washington State Basic Law Enforcement Academy, which
15 consisted of 720 hours of basic law enforcement training. I have completed the Criminal
16 Investigator Training Program at the Federal Law Enforcement Training Center, which
17 consisted of 56 days of criminal investigations training. I have been a reservist Special
18 Agent with the Air Force Office of Special Investigations (AFOSI) for over 12 years,
19 credentialed to conduct federal investigations with a nexus to the U.S. Department of
20 Defense and Air Force.
21         I have experience in leading and taking part in organized retail crime (ORC)
22 investigations to include investigations into fencing operations and I am familiar with the
23 common ORC tactics and associated terms.
24         I furnished the investigative facts contained in the foregoing Verified Complaint
25 for Forfeiture In Rem. The investigative facts are based on personal knowledge I obtained
26 from my involvement in the underlying investigation, my review of the relevant
27
     Verified Complaint for Forfeiture in Rem - 29                         UNITED STATES ATTORNEY
                                                                          700 STEWART STREET, SUITE 5220
     United States v. Approximately 74,000 Items of Stolen Merchandise.     SEATTLE, WASHINGTON 98101
                                                                                  (206) 553-7970
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 1 investigative material, other federal agencies and law enforcement officers involved in
 2 the investigation, other reliable official Government sources, and my own training and
 3 experience.
 4         I hereby verify and declare, under penalty of perjury pursuant to 28 U.S.C. § 1746,
 5 that I have read the foregoing Verified Complaint for Forfeiture In Rem, that I know its
 6 contents, and that the facts it contains are true and correct to the best of my knowledge.
 7
 8         Executed this 15th day of May, 2024.
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11
                                                   CHRISTOPHER MYERS
12                                                 Task Force Officer, Detective
13                                                 Homeland Security Investigations

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     Verified Complaint for Forfeiture in Rem - 30                         UNITED STATES ATTORNEY
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Case 2:24-cv-00675-RAJ   Document 1   Filed 05/15/24   Page 31 of 191




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                 Worksheet         UPCs (rows) Item Qty       Total
      Storefront Wal‐Mart                   679    4,435    $107,633.78
      Storefront CVS                      1,600    4,208    $187,119.50
      Storefront HSI                        239      558     $30,387.64
                             TOTAL        2,518    9,201    $325,140.92
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    SKU        Identified by:           Description         Dept     Price      Qty        Ext
000842034898     Wal‐Mart        MIRACLE CORP QUICKFI        08    $41.18        8       $329.44
010343910584     Wal‐Mart         EPS 252XL INK MPACK        72    $71.00        1        $71.00
010343923904     Wal‐Mart         EPS 410XL INK MPACK        72    $73.00        1        $73.00
010343959071     Wal‐Mart         EPS 822XL INK MPACK        72    $74.45        1        $74.45
013803308877     Wal‐Mart         CANON ZINK 20SHEET         06      $9.98       1        $9.98
015561224567     Wal‐Mart       EXO TERRA THERMOSTAT         08    $33.99        1        $33.99
015718103301     Wal‐Mart          OCUSOFT LID SCRUB         40      $9.97       1        $9.97
017817834315     Wal‐Mart           BOSE SL REV II BLK       72    $219.00       1       $219.00
017817835022     Wal‐Mart             BOSE QC45 WH           72    $329.00       1       $329.00
018787775325     Wal‐Mart         PEPP LIQ CAST SOAP 3       02    $15.97        1        $15.97
020525118417     Wal‐Mart           MOVE FREE ULTRA          40    $17.97        1        $17.97
020525960993     Wal‐Mart              MR 4IN1 80CT          40    $29.97        1        $29.97
022600001041     Wal‐Mart           REPLENS VAGINAL          02     $12.98       8       $103.84
022600001072     Wal‐Mart         REPLNS MOISTURIZER         02    $16.28       10       $162.80
022600001119     Wal‐Mart       REPHRESH VAGINAL APP         02    $15.96       20       $319.20
022600001126     Wal‐Mart        REPHRESH PRO‐B 30CT         02    $28.48        6       $170.88
022600020202     Wal‐Mart               FR TRPL CHK          02     $14.47       3        $43.41
022600901334     Wal‐Mart          FR TEST CONF 2CT          02      $7.06       4        $28.24
022600926610     Wal‐Mart        TROJ ULTRA THIN 36CT        02    $15.47        1        $15.47
022600999898     Wal‐Mart           FLWS UNDERARM            82    $29.98        1        $29.98
025715669991     Wal‐Mart          FRIO INSULIN COOL         40    $19.99        6       $119.94
025866591899     Wal‐Mart             ALEVE PM 80CT          40    $15.27        6        $91.62
025866592353     Wal‐Mart         ALEVE ARTH TAB 200         40    $20.37       10       $203.70
030768330491     Wal‐Mart          OSTEO ONE PER DAY         40    $13.28        1        $13.28
030772032565     Wal‐Mart       ALIGN WMNS DUAL 28CT         40    $29.98        1        $29.98
030772042892     Wal‐Mart         NERVIVE RLF ROLLON         40    $12.47        1        $12.47
030772083154     Wal‐Mart           NERVIVE RLF 30CT         40    $27.97        1        $27.97
031604026783     Wal‐Mart         NM VIT D 2000IU LSG        40    $13.97        1        $13.97
031604027278     Wal‐Mart       NM SUPER B COMP W/C          40    $10.98        1        $10.98
031604042967     Wal‐Mart          NM FISHOIL 720MG          40    $16.99        2        $33.98
033317206667     Wal‐Mart              TI‐84 PLUS CE         03    $149.00       2       $298.00
033317208975     Wal‐Mart         TI84PLSCE SERIALIZED       03    $149.00       1       $149.00
033317208982     Wal‐Mart         TI‐84PLUS SERIALIZED       03    $139.00       3       $417.00
033991102248     Wal‐Mart        SCO 20W PD CHARGER          72     $19.88       1        $19.88
035000979087     Wal‐Mart              OW WHT PEN            02    $19.97       26       $519.22
037000143437     Wal‐Mart            ALIGN CAPS 28CT         40    $26.86        1        $26.86
037000294177     Wal‐Mart            ALIGN CAPS 42CT         40    $35.37        5       $176.85
037000337102     Wal‐Mart        META SF ORANGE 30DS         40     $9.48        3        $28.44
037000359067     Wal‐Mart        PRILOSEC TABLET 28CT        40    $18.62        4        $74.48
037000359074     Wal‐Mart        PRILOSEC TABLET 42CT        40    $22.98       10       $229.80
037000434870     Wal‐Mart            META 300CT CAP          40    $33.98        1        $33.98
037000491156     Wal‐Mart          NERVIVE HLTH 30CT         40    $20.14        2        $40.28
037000495802     Wal‐Mart           NERVIVE RLF 30CT         40    $20.14        1        $20.14
037000497127     Wal‐Mart         NERVIVE RLF PM 30CT        40    $20.14        4        $80.56
037000505051     Wal‐Mart          ALIGN 5X CAPS 21CT        40    $26.58        7       $186.06
037000740797     Wal‐Mart         META SUG ORG 72DS          40    $16.98        1        $16.98
037000809340     Wal‐Mart        PRILO WILDBERRY 42CT        40    $22.98        1        $22.98
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039208225106   Wal‐Mart       HT DBOLT PB 1CYL         12    $10.97        1        $10.97
039208225120   Wal‐Mart        HT DBOLT TB 1CYL        12    $10.97        1        $10.97
039208977111   Wal‐Mart       BR DBOLT AB 1CYL         12    $18.97        1        $18.97
039800102898   Wal‐Mart    ENERGIZER HEARING AI        72      $7.00       1        $7.00
039800107978   Wal‐Mart           ENR ALK AA 8         82      $7.87       1        $7.87
039800108036   Wal‐Mart          ENR ALK AA16          82    $14.97        1        $14.97
039800108050   Wal‐Mart          ENR ALK AAA 8         82      $7.87       1        $7.87
039800109927   Wal‐Mart    ENERGIZER E92CP‐10 M        72      $9.99       3        $29.97
041100568007   Wal‐Mart        MIRALAX 45 DOSE         40    $29.97        1        $29.97
041100575678   Wal‐Mart        CLRTN TAB 100CT         40    $49.97        1        $49.97
041100589903   Wal‐Mart   ASTEPRO ADULT 120 DS         40    $23.98       15       $359.70
041100591395   Wal‐Mart    LOTRIMIN ULT NO‐TCH         40      $4.11      14        $57.54
041100594143   Wal‐Mart   LOTRIMIN ULT CRM 30G         40    $18.97        1        $18.97
041100806765   Wal‐Mart    MIRALAX SACHET 10CT         40    $10.44        2        $20.88
041100806772   Wal‐Mart          ZEGERID 42CT          40    $23.98       23       $551.54
041100809551   Wal‐Mart   CH CLRTN GRP CHEW 30         40    $26.97        1        $26.97
041100809643   Wal‐Mart         CLRTN TAB 70CT         40    $41.97        1        $41.97
041100810922   Wal‐Mart         CLRTN TAB 30CT         40    $21.97        6       $131.82
041100810984   Wal‐Mart       CLARITIN TAB 30 10       40    $21.97        2        $43.94
041100811257   Wal‐Mart         AFRIN ORIG 1OZ         40    $11.96        1        $11.96
041100820716   Wal‐Mart        MIRALAX 30 DOSE         40    $22.48        6       $134.88
041167351017   Wal‐Mart         XYZAL TAB 35CT         40    $19.96        2        $39.92
041167351024   Wal‐Mart         XYZAL TAB 55CT         40    $26.48        4       $105.92
041167351031   Wal‐Mart         XYZAL TAB 80CT         40    $37.12       12       $445.44
041167412060   Wal‐Mart     ALLEGRA 24 HR 70 CT        40    $23.67        4        $94.68
041167412145   Wal‐Mart      ALLEGRA 24HR 40CT         40    $19.96        1        $19.96
041167412213   Wal‐Mart        ALLEGRA GC 24CT         40    $19.96        1        $19.96
041167412404   Wal‐Mart       ALLEGRA TAB 90CT         40    $39.96        1        $39.96
041167412510   Wal‐Mart       ALLEGRA TAB 30CT         40    $19.96        1        $19.96
041167580028   Wal‐Mart   NASACORT 2X120 TWIN          40    $30.26        5       $151.30
041167580059   Wal‐Mart        NASACORT 120CT          40    $19.96        1        $19.96
041333844015   Wal‐Mart          DUR ALK AAA8          82     $8.26        2        $16.52
041333935645   Wal‐Mart           DUR ALK 9V4          82    $14.97        2        $29.94
043168503952   Wal‐Mart           SMART PLUG           11    $12.79        2        $25.58
043168523844   Wal‐Mart        CYNC SW A19 1PK         11     $9.98        2        $19.96
043168524124   Wal‐Mart      CYNC 80 TAPE LIGHT        11     $17.88       1        $17.88
043917100791   Wal‐Mart    WAHL EDGE PRO TRMR          46    $32.44        1        $32.44
043917110462   Wal‐Mart        WAHL COLORPRO           46    $29.48        3        $88.44
044387204507   Wal‐Mart   NESPRESSO VERTUOPLUS         14    $127.00       1       $127.00
045496590420   Wal‐Mart    NSW LOZ BREATH OTW          05    $54.86        1        $54.86
045496882716   Wal‐Mart          NSW LITE BLUE         05    $199.00       1       $199.00
046135313455   Wal‐Mart       SYL 9012 SS ULTRA        10    $34.97        1        $34.97
046135314704   Wal‐Mart    SYLVANIA 9012 XTRAVI        10    $39.99        4       $159.96
046135322570   Wal‐Mart           HEADLIGHTS           10     $34.97       4       $139.88
046135330544   Wal‐Mart       SYL 194B LED BLUE        10      $6.88      10        $68.80
046135340376   Wal‐Mart      SYL H7 XVISION 2PK        10    $24.97        1        $24.97
046135340734   Wal‐Mart    SYLVANIA H1 XTRAVISI        10    $19.75        2        $39.50
046135344091   Wal‐Mart     SYLVANIA 9004 SILVER       10    $43.99        2        $87.98
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046135344176   Wal‐Mart     SYLVANIA 9007 SILVER       10    $35.44        1         $35.44
046135372353   Wal‐Mart     SYL 9005 SLVRSTR ULT       10    $25.97        1         $25.97
046135372414   Wal‐Mart     SYL 9006 SLVRSTR ULT       10    $25.97        1         $25.97
046135372476   Wal‐Mart     SYL 9007 SLVRSTR ULT       10    $25.97        1         $25.97
046135387579   Wal‐Mart          SYL H11 BASIC         10    $11.97        1         $11.97
046798292913   Wal‐Mart     GLOFISH CYCLE LIGHT        08      $5.00       1         $5.00
046878579156   Wal‐Mart    4‐ZONE B‐HYVE INDOOR        16    $59.99        2        $119.98
047400302549   Wal‐Mart      PROGLIDE CART 8CT         02    $34.97        2         $69.94
047400656147   Wal‐Mart     PROGLIDE SHIELD 4CT        02    $19.97        1         $19.97
047400670518   Wal‐Mart     KCG BEARD TRIMMER          02     $34.94       1         $34.94
047400675711   Wal‐Mart         KCG AIO STYLER         02    $39.94        2         $79.88
047400685789   Wal‐Mart      GIL LABS 9CT BILBRD       02     $44.97       1         $44.97
047701002773   Wal‐Mart    DNTK MAX PRO GUARD          02    $20.28        4         $81.12
047875102460   Wal‐Mart      PS4 COD VANGUARD          05    $40.00        1         $40.00
048107214043   Wal‐Mart   AMP WHEYBO RIPP CHOC         40    $27.04        1         $27.04
048107227494   Wal‐Mart     MENS ADV TESTRONE          40    $19.98        4         $79.92
050036378192   Wal‐Mart          JBL CLIP 4 BLK        72     $49.00       1         $49.00
050644698194   Wal‐Mart         MONSTER 15M            72    $110.00       2        $220.00
050946000015   Wal‐Mart    KA CLASSIC STAND WHT        14    $229.00       1        $229.00
051131191877   Wal‐Mart       ACE HINGED KNEE          40     $25.28       1         $25.28
051131200029   Wal‐Mart        KNEE ADJ HINGED         09     $25.97       1         $25.97
053076175523   Wal‐Mart    OPTI‐NAIL FUNGAL PEN        40    $18.88        6        $113.28
053076177268   Wal‐Mart       FUNGI NAIL LIQUID        40      $9.94       1         $9.94
053076192407   Wal‐Mart        NIZORAL AD 7 OZ         46    $15.88       12        $190.56
053076202649   Wal‐Mart       NIZORAL PSORIASIS        46    $17.64        9        $158.76
053891102056   Wal‐Mart       FS 11X16 ROLL 1PK        74    $11.97        1         $11.97
053891108003   Wal‐Mart   FOODSAVER FM2000 VAC         74    $98.00        1         $98.00
060258352146   Wal‐Mart      BR BSC FM SYS WHT         11    $22.86        1         $22.86
060258355017   Wal‐Mart       BRITA 1PK PIT FLTR       11      $7.98       1         $7.98
060258355031   Wal‐Mart         BR 3PK PIT FLTR        11    $18.24        4         $72.96
060258362435   Wal‐Mart        BR 1PK LL PT FLTR       11    $19.88        1         $19.88
060258363098   Wal‐Mart        BR FMF WHT 1CT          11    $17.88        1         $17.88
069055124345   Wal‐Mart     OB TBP FLSACT RF 2CT       02    $19.97        1         $19.97
069055125205   Wal‐Mart    CROSSACTION ORAL‐B C        02    $21.01        2         $42.02
069055125595   Wal‐Mart       OB TBP BLACK 1000        02    $39.94        1         $39.94
069055126691   Wal‐Mart         OB TBP VITALITY        02     $19.97      18        $359.46
069055127865   Wal‐Mart    OB TBB CLNBAC BK 1CT        02    $14.37        1         $14.37
069055128282   Wal‐Mart     OB TBP VITALITY PINK       02    $15.58        1         $15.58
069055128923   Wal‐Mart     OB TBP IO BLK RF 2CT       02    $29.97       10        $299.70
069055132975   Wal‐Mart         OB TBP IO3 WHT         02    $59.94        2        $119.88
069055137246   Wal‐Mart    BRAUN STYLER AIO3450        02    $24.94        1         $24.94
069055824184   Wal‐Mart      OB PREC CLN RF 3PK        02      $6.00      28        $168.00
069055859636   Wal‐Mart       OB PC 1000 RCH TP        02    $39.94        2         $79.88
069055877548   Wal‐Mart           BRAUN 310            02    $39.94        2         $79.88
069055885468   Wal‐Mart          BRAUN 5018S           02    $59.94        2        $119.88
069055886748   Wal‐Mart    OB TBP PC1000 TWN PK        02    $75.00        1         $75.00
069055888131   Wal‐Mart        BRAUN MGK3220           02    $22.47        4         $89.88
070501021217   Wal‐Mart    NTG RW DAY SPF 30 1Z        46    $21.98       70       $1,538.60
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070501021224   Wal‐Mart     NTG RW NGT MST 1Z         46    $21.98      43       $945.14
070501021231   Wal‐Mart       NTG RW EYE 0.5Z         46    $21.97       4        $87.88
070501021248   Wal‐Mart      NTG RW RET SRM 1Z        46    $21.98       7       $153.86
070501023730   Wal‐Mart    NTG TRP AGE NGT 1.7Z       46    $21.97      22       $483.34
070501052679   Wal‐Mart    NTG TRP AGE DAY 1.7Z       46    $21.97      17       $373.49
070501064290   Wal‐Mart    NTG ST NCN SRM FF 1Z       46     $7.49       7        $52.43
070501064825   Wal‐Mart        NTG HB GEL 1.7Z        46    $19.97       1        $19.97
070501100134   Wal‐Mart    NTG HB PUMP SRM 1Z         46    $19.97       4        $79.88
070501102169   Wal‐Mart     NTG SP DRY EXFOL 4Z       46     $5.00       5        $25.00
070501102176   Wal‐Mart     NTG SP OIL EXFOL 4Z       46     $8.23       7        $57.61
070501102183   Wal‐Mart            NTG SB             46     $8.23       4        $32.92
070501102190   Wal‐Mart     NTG RW PRO SRM 1Z         46    $34.97       9       $314.73
070501102503   Wal‐Mart   NTG RW NGT CRM 1.7Z         46    $34.97       3       $104.91
070501103890   Wal‐Mart     NTG HB NIAC SRM 1Z        46    $14.98       7       $104.86
070501103913   Wal‐Mart    NTG HB EYE CRM 0.5Z        46    $22.97       6       $137.82
070501103920   Wal‐Mart     NTG HB GA PEEL 3.2Z       46     $5.74      25       $143.50
070501110362   Wal‐Mart      NTG RT SPOT TRT 1Z       46    $21.98       5       $109.90
070501110478   Wal‐Mart     NTG HB GEL MST 1.7Z       46    $19.97      15       $299.55
070501110980   Wal‐Mart       NTG RW CRM 1.7Z         46    $29.48       5       $147.40
070501111079   Wal‐Mart     NTG RW FF CRM 1.7Z        46    $29.48       3        $88.44
070501111086   Wal‐Mart    NTG RT CORR CRM 1.7Z       46    $30.97       7       $216.79
070501113554   Wal‐Mart   NTG HB NGHT SRM 1.7Z        46    $19.97       5        $99.85
070501113561   Wal‐Mart   NTG HB HA DAY SRM 1Z        46    $19.97       2        $39.94
070501120156   Wal‐Mart    NTG RT VITC CAP 30CT       46    $14.00       2        $28.00
070501121214   Wal‐Mart      NTG RW RET OIL 1Z        46    $30.97       1        $30.97
070501194195   Wal‐Mart    NTG RW CAPS FF 30CT        46    $31.77      21       $667.17
070501194768   Wal‐Mart     NTG RF PEP CRM 1.7Z       46     $3.75       1        $3.75
070501194775   Wal‐Mart     NTG RF COLL SRM 1Z        46     $8.73       4        $34.92
070501194782   Wal‐Mart     NTG RF EYE CRM 0.5Z       46    $17.47       1        $17.47
070501410981   Wal‐Mart   NTG RW MINI CRM 0.5Z        46    $11.47       4        $45.88
070659777196   Wal‐Mart   BOYE NEEDLEMASTER SE        19    $15.00       8       $120.00
070659927072   Wal‐Mart    CROCHET HOOK SET 12        19    $27.92       3        $83.76
070735035967   Wal‐Mart      PC 12CT CLR PENCIL       19    $14.97       1        $14.97
070907230046   Wal‐Mart    LS ULT SENS CON 36CT       02     $2.53       1        $2.53
071249104590   Wal‐Mart   LOR RVL ADV NGHT CRM        46    $14.97       8       $119.76
071249104606   Wal‐Mart       LOR RVL ADV F N         46    $14.97       1        $14.97
071249104613   Wal‐Mart    LOR RVL EYE CRM 0.5Z       46    $14.97       8       $119.76
071249152874   Wal‐Mart    LOR COLL MST NT CRM        46     $8.98       1        $8.98
071249227916   Wal‐Mart     LOR RVL TP MST 1.7Z       46    $21.97      13       $285.61
071249227923   Wal‐Mart     LOR RVL TP CRM 0.5Z       46    $21.97      15       $329.55
071249229774   Wal‐Mart     LOR RVL TRPL SRM 1Z       46    $21.97       4        $87.88
071249240731   Wal‐Mart    LOR RVL TP NT CREAM        46    $21.97      19       $417.43
071249318836   Wal‐Mart       LOR 45 MST 1.7Z         46    $10.12       2        $20.24
071249318843   Wal‐Mart       LOR 55 MST 1.7Z         46    $10.12       1        $10.12
071249331262   Wal‐Mart    LOR AP ROSY MST 1.7Z       46    $19.74       1        $19.74
071249339190   Wal‐Mart    LOR HYDRA MST 3.04Z        46    $13.93       1        $13.93
071249363287   Wal‐Mart      LOR MST SPF25 1.7Z       46    $14.97       1        $14.97
071249363294   Wal‐Mart    LOR RVL BASE DAY BNS       46    $14.97       3        $44.91
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071249376393   Wal‐Mart   LOR UNBELVA BROW‐565          46    $15.18        3        $45.54
071249376416   Wal‐Mart   LOR UNBELVA BROW‐575          46    $15.18        1        $15.18
071249377505   Wal‐Mart     LOR RVL VIT C SRM 1Z        46      $3.00       7        $21.00
071249377512   Wal‐Mart       LOR RVL HA SRM 1Z         46    $25.97        3        $77.91
071249396339   Wal‐Mart     LOR TRPL MST FF 1.7Z        46    $21.97       16       $351.52
071249396346   Wal‐Mart       LOR LTN SPF30 1.7Z        46    $21.97       21       $461.37
071249403600   Wal‐Mart     LOR GLYCOLIC SRM 1Z         46    $25.97        5       $129.85
071249403907   Wal‐Mart      LOR RVL MST FF 1.7Z        46    $14.97        3        $44.91
071249419762   Wal‐Mart    LOR NT ROSY MST 1.7Z         46      $4.99       3        $14.97
071249630167   Wal‐Mart     LOR AP MDNT SRM 1Z          46    $32.97       15       $494.55
071249635452   Wal‐Mart     LOR CAF EYE SRM .67Z        46    $25.97        2        $51.94
071249635865   Wal‐Mart    LOR RTN NGT CRM 1.7Z         46    $29.97        7       $209.79
071249636992   Wal‐Mart      LOR AGE CEL SPF 1.7Z       46    $21.97        5       $109.85
071249642184   Wal‐Mart      LOR AGE CELL NT 1.7Z       46    $21.97        2        $43.94
071249642191   Wal‐Mart      LOR AGE EYE CRM .5Z        46    $21.97       16       $351.52
071249650295   Wal‐Mart      LOR UNBELIEVA‐ 573         46    $15.18        2        $30.36
071641098671   Wal‐Mart     SH UF 24CT CBR MARK         03      $9.00       6        $54.00
072838312365   Wal‐Mart       G2 FINE ASST 10 PK        03      $5.00       1        $5.00
073796267353   Wal‐Mart     OMRON 7 SERIES BPM          40    $17.00        5        $85.00
073796710026   Wal‐Mart            3 SERIES             40    $34.97        8       $279.76
073950258609   Wal‐Mart       WP WTRFLS CRDESS          02    $37.97        1        $37.97
074101208160   Wal‐Mart    INSTAX MINI 12 PURPL         06    $79.00        1        $79.00
074108415295   Wal‐Mart     INFPRO FRIZZFREE STR        46    $37.97        2        $75.94
074108428158   Wal‐Mart   INFI SMOOTH WRAP DRY          46    $26.99        2        $53.98
074312008122   Wal‐Mart    NB PROBIOTIC 10 30CT         40    $14.27        1        $14.27
074312171390   Wal‐Mart     NATURE S BOUNTY CO          40    $25.33        6       $151.98
074312511356   Wal‐Mart   NATURE S BOUNTY CO Q          40    $31.79        3        $95.37
074676626703   Wal‐Mart    FITTED WRIST RH OSFM         40    $15.97        2        $31.94
074676627120   Wal‐Mart         THUMB STBLZR            40    $11.97        1        $11.97
074676645513   Wal‐Mart     ADJ HING KNEE BRACE         40    $21.97        3        $65.91
074676646312   Wal‐Mart      ADJ KNEE STABILIZER        40    $15.97        2        $31.94
075020053152   Wal‐Mart         SNCR SC RF 2CT          02    $19.96        1        $19.96
075020056672   Wal‐Mart      SH30 NOR REPL HEAD         02     $24.96       2        $49.92
075020070418   Wal‐Mart    SNCR TBP PC 5100 WHT         02    $89.96        3       $269.88
075020072184   Wal‐Mart    SNCR TBP PLQID RF3CT         02      $3.00       1        $3.00
075020072320   Wal‐Mart     SNCR TBP PC 5100 BLK        02     $89.96       1        $89.96
075020086822   Wal‐Mart        NOR SHAVER 2300          02    $34.96        1        $34.96
075020100092   Wal‐Mart        NOR SHAVER 9400          02    $159.96       2       $319.92
075020104373   Wal‐Mart        NOR SHAVER 7200          02    $79.96        1        $79.96
075020107534   Wal‐Mart      SNCR OPT PLQ RF 4CT        02    $39.96        1        $39.96
075609000225   Wal‐Mart      OL AGE DEFY CRM 2Z         46    $11.94        3        $35.82
075609000232   Wal‐Mart     OL AGE CRM SPF15 4Z         46    $11.94        3        $35.82
075609000973   Wal‐Mart    OL COMP SPF15 MST 6Z         46    $11.94        2        $23.88
075609001659   Wal‐Mart        OL TL EF MST 1.7Z        46    $23.48       19       $446.12
075609001772   Wal‐Mart      OL TL EF MST FF 1.7Z       46    $23.48        8       $187.84
075609002786   Wal‐Mart       OL TL EF SPF15 1.7Z       46    $23.44        2        $46.88
075609010187   Wal‐Mart       OL RGN SRM FF 1.7Z        46    $27.44        7       $192.08
075609010781   Wal‐Mart      OL TL EF EYE CRM .5Z       46      $2.50       5        $12.50
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075609037696   Wal‐Mart     OL MSC SERUM 1.7Z           46    $27.44       1         $27.44
075609190490   Wal‐Mart    OL MSC CREAM FF 1.7Z         46    $27.44       1         $27.44
075609191091   Wal‐Mart     OL MSC SRM FF 1.7Z          46    $27.44       4        $109.76
075609191466   Wal‐Mart      OL TL EF SPF30 1.7Z        46    $23.44       1         $23.44
075609192043   Wal‐Mart     OL RGN MS CRM 0.5Z          46     $9.98       6         $59.88
075609194603   Wal‐Mart    OL MS CRM SPF30 1.7Z         46    $27.44       3         $82.32
075609195037   Wal‐Mart       OL ULT EYE FF 0.4Z        46    $29.94       6        $179.64
075609195068   Wal‐Mart      OL EYE LIFT FF 0.5Z        46    $29.94       2         $59.88
075609195303   Wal‐Mart      OL TL EF NIGHT 1.7Z        46    $23.48       2         $46.96
075609195341   Wal‐Mart    OL RGN MSC SPF30 .5Z         46     $6.46       3         $19.38
075609195785   Wal‐Mart    OL REGEN CLEANSR 5Z          46     $1.87       1         $1.87
075609195938   Wal‐Mart    OL RGN NGT CRM 1.7Z          46    $27.44       1         $27.44
075609196362   Wal‐Mart       OL RGN WHIP MST           46    $14.99       1         $14.99
075609196379   Wal‐Mart     OL WHIP SPF25 1.7Z          46    $29.94       6        $179.64
075609196386   Wal‐Mart    OL RGN WHP TRIAL .5Z         46     $4.78       1         $4.78
075609197086   Wal‐Mart     OL WHIP MST FF 1.7Z         46    $29.94       4        $119.76
075609198168   Wal‐Mart    OL RETNL NT MST 1.7Z         46    $29.94       5        $149.70
075609198175   Wal‐Mart     OL RETINOL SRM 1.3Z         46    $29.94       2         $59.88
075609198182   Wal‐Mart    OL RETNL EYE CRM .5Z         46    $29.94       6        $179.64
075609198199   Wal‐Mart    OL RETNL MST FF 0.5Z         46    $11.94       8         $95.52
075609198991   Wal‐Mart    OL SER WNKL CORRECT          46    $17.36       2         $34.72
075609199400   Wal‐Mart   OL RETINOL MAX SERUM          46    $13.18      45        $593.10
075609199417   Wal‐Mart    OL RGN MAX SRM 1.3Z          46    $34.94       9        $314.46
075609199943   Wal‐Mart    OL RGN COLL MST 1.7Z         46    $29.94       7        $209.58
075609199950   Wal‐Mart     OL COLL SERUM 1.3Z          46    $29.94      11        $329.34
075609199967   Wal‐Mart       OL COLL EYE FF .5Z        46    $29.94       1         $29.94
075609200557   Wal‐Mart       OL VIT C SRM 1.3Z         46    $29.94       5        $149.70
075609200564   Wal‐Mart      OL VIT C EYE FF 0.5Z       46    $29.94       2         $59.88
075609200595   Wal‐Mart       OL VIT C MST 0.5Z         46    $11.94       8         $95.52
075609200816   Wal‐Mart       OL HA MST FF 1.7Z         46    $29.94      10        $299.40
075609200823   Wal‐Mart     OL HA SERUM FF 1.3Z         46    $29.94      70       $2,095.80
075609200915   Wal‐Mart    OL COLL MAX MST 1.7Z         46    $34.94       1         $34.94
075609200977   Wal‐Mart    OL HA MST SPF30 1.7Z         46     $7.49      10         $74.90
075609202544   Wal‐Mart     OL SHEA CRM FF 1.7Z         46     $7.49      15        $112.35
075609202551   Wal‐Mart    OL SHEA EYE CRM 0.5Z         46    $15.57       1         $15.57
075609209017   Wal‐Mart     OL SUPER SRM TRIAL          46    $19.94       5         $99.70
075609601439   Wal‐Mart    OL AGE NIGHT CRM 2Z          46    $14.94       1         $14.94
078484094815   Wal‐Mart       F SCISR 5 ORANGE          19     $9.73       1         $9.73
078729035009   Wal‐Mart   HOT TOOLS MEN S BEAR          02    $39.99       5        $199.95
079055500384   Wal‐Mart   ARROW T50 3/8STAPLES          11     $3.94       1         $3.94
079400066756   Wal‐Mart     DMC CLN CMFT 1.7Z           02    $10.98       1         $10.98
079400593016   Wal‐Mart     DAC CLR FINISH 2.6Z         02     $5.97      11         $65.67
079400631015   Wal‐Mart     DAC SHEER FRSH 2.6Z         02     $5.97      10         $59.70
079976484855   Wal‐Mart      7RV BLADE PLASTIC          10     $8.98       1         $8.98
080313085116   Wal‐Mart          BIONIC BLADE           82    $29.96       1         $29.96
080376515193   Wal‐Mart    PROCLEARZ BRITENOW           40     $4.25       4         $17.00
086279000323   Wal‐Mart    MINI‐PREP PLUS 24 OU         14    $39.95       1         $39.95
086279193797   Wal‐Mart    CUIS COFFEE GRINDER          14    $59.97       1         $59.97
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086800064183   Wal‐Mart     NTG MN TINT MED 30         02    $16.97        2         $33.94
086800066507   Wal‐Mart     NTG CF SRM 60 1.7OZ        02    $15.98        1         $15.98
086800100430   Wal‐Mart       NTG US LTN 30 5OZ        02    $12.98        1         $12.98
086800102519   Wal‐Mart       NTG HB SPF 50 1.7Z       46    $19.97        5         $99.85
086800103554   Wal‐Mart     NTG US 60 SRM 1.7OZ        02    $15.98        1         $15.98
086800113478   Wal‐Mart     NTG HB CITY SPF 1.7Z       46    $24.97        1         $24.97
088395015458   Wal‐Mart   CARLSON OMEGA‐3 FISH         40     $3.33        1         $3.33
092961040294   Wal‐Mart    ESTROVEN CMPLT 28CT         40    $19.97        3         $59.91
093573388507   Wal‐Mart    IO SAMPLR EVDY BASIC        19    $23.76        1         $23.76
093573563812   Wal‐Mart        SMRTIO NAVY 3FT         19    $14.99        1         $14.99
093573578397   Wal‐Mart         CRICUT WD TL ST        19    $18.97        3         $56.91
093573623646   Wal‐Mart       SMRTIO GRASS 3FT         19    $14.99        1         $14.99
093573638862   Wal‐Mart        CRICUT EXPLORE 3        19    $279.00       1        $279.00
093573656996   Wal‐Mart        FOIL TRANSFER KIT       19    $35.97        2         $71.94
093573669392   Wal‐Mart   CRICUT SCORING WHEEL         19     $42.99       1         $42.99
093573683558   Wal‐Mart      ULTI FINE POINT PEN       19    $24.88        1         $24.88
093573693335   Wal‐Mart           JOY MACHINE          19    $125.00       1        $125.00
093573823794   Wal‐Mart       CRICUT BRIGHTPAD         19     $49.00       1         $49.00
093573861307   Wal‐Mart        SMRTVNL R WHITE         19      $5.00       1          $5.00
093573890949   Wal‐Mart    CRC TRNSFR TAPE 12FT        19    $13.97        1         $13.97
093573904981   Wal‐Mart   TRUCONTROL WD TIP BL         19      $5.39       3         $16.17
093573940958   Wal‐Mart           SMRTIO NAVY          19    $39.96        1         $39.96
093573957819   Wal‐Mart      IRONON FOIL RS GLD        19    $11.97        1         $11.97
094376922820   Wal‐Mart     LIQUITEX BASICS ACRY       19    $37.48        3        $112.44
094841300344   Wal‐Mart       SIMILASAN PINKEYE        40      $7.12       1          $7.12
097612327120   Wal‐Mart   TERRARIUM CONTROLER          08     $29.99       5        $149.95
097855137111   Wal‐Mart           PRO WRLS MS          72    $99.00        1         $99.00
097855141996   Wal‐Mart        G502 GAMING MS          72    $48.58        2         $97.16
097855151926   Wal‐Mart         PRO GAMING KB          72    $129.00       1        $129.00
192545377942   Wal‐Mart           HP 962 BLACK         72     $35.92       2         $71.84
193575014340   Wal‐Mart        GOOGLE WIFI 3PK         72    $199.98       1        $199.98
194555084094   Wal‐Mart          FS ABZ 1CYL DB        12    $17.97        1         $17.97
196388110803   Wal‐Mart       XBX ELITE CORE RED       05    $139.00       1        $139.00
196388110834   Wal‐Mart      XBX ELITE CORE BLUE       05    $139.00       1        $139.00
300055556232   Wal‐Mart       CALTR CAL TAB 120        40      $3.00       1         $3.00
300230403702   Wal‐Mart       REFRESH PLUS 70CT        40    $21.82       11        $240.02
300231822120   Wal‐Mart       REFRESH CONTACTS         40      $7.66       1         $7.66
300233240151   Wal‐Mart     REFRESH OPTIVE .5FO        40    $11.57        1         $11.57
300234554301   Wal‐Mart   REFRSH CELLUVSC 30CT         40    $15.92        1         $15.92
300235487301   Wal‐Mart    REFRESH PLUS PF 30CT        40    $10.63        1         $10.63
300235773305   Wal‐Mart    REFRESH MEGA 3 PF 30        40    $17.86       11        $196.46
300237151606   Wal‐Mart    REFRESH MEGA 3 60CT         40    $31.98        6        $191.88
300450204257   Wal‐Mart          ZYRTEC LG 25CT        40    $19.82        3         $59.46
300450204448   Wal‐Mart          ZYRTEC LG 40CT        40    $29.67        5        $148.35
300450206602   Wal‐Mart         ZYRTEC TAB 60CT        40    $32.97       26        $857.22
300450206909   Wal‐Mart         ZYRTEC TAB 90CT        40    $42.47       45       $1,911.15
300450242259   Wal‐Mart     CH ZYR CTRS TAB 24CT       40    $21.98        3         $65.94
300450444271   Wal‐Mart       TYL EX STR CAP 225       40    $19.97        5         $99.85
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300450449092   Wal‐Mart       TYL EX STR CAP 100       40    $10.97        1        $10.97
300450482112   Wal‐Mart         TYL PM CAP 100         40    $13.97        3        $41.91
300450488282   Wal‐Mart     TYL EX STR RRG 100CT       40    $12.47        3        $37.41
300450488305   Wal‐Mart     TYL EX STR RRG 225CT       40    $22.97      16        $367.52
300450838377   Wal‐Mart       TYL ARTHR 225 CAP        40    $22.97        5       $114.85
300650429153   Wal‐Mart          SYSTANE .5FO          40    $11.98        1        $11.98
300650429306   Wal‐Mart          SYSTANE 1FO           40    $18.48       4         $73.92
300650431330   Wal‐Mart        SYSTANE PF 30CT         40    $12.98      15        $194.70
300650474016   Wal‐Mart          SYSTANE GEL           40    $13.48        4        $53.92
300650481106   Wal‐Mart     SYSTANE COMP 10ML          40    $14.98       1         $14.98
300650509350   Wal‐Mart      SYSTANE NIGHTTIME         40    $14.48        2        $28.96
300650816038   Wal‐Mart         PATADAY ES TP          40    $32.96      18        $593.28
300650816045   Wal‐Mart       PATADAY ES 2.5ML         40    $21.96      41        $900.36
300651431056   Wal‐Mart     SYSTANE ULTRA .33FO        40    $11.98       1         $11.98
300651431414   Wal‐Mart     SYSTANE ULTRA TWIN         40    $19.48      28        $545.44
300651432053   Wal‐Mart     SYSTANE ULTRA PF 60        40    $26.98        4       $107.92
300651432060   Wal‐Mart       SYSTANE ULTRA UD         40    $12.98       9        $116.82
300651433029   Wal‐Mart    SYSTNE BALANCE .33FO        40    $14.98       3         $44.94
300651433074   Wal‐Mart   SYSTANE BALANCE TWIN         40    $22.48      34        $764.32
300651437041   Wal‐Mart     SYSTANE HYD PF 30CT        40    $18.48      51        $942.48
300651507928   Wal‐Mart     SYSTANE ULT PF 20ML        40    $23.98       7        $167.86
300651509281   Wal‐Mart        SYS COM PF 10ML         40    $16.98       6        $101.88
300651509298   Wal‐Mart   SYSTANE COMP PF 20ML         40    $26.98       1         $26.98
300651510065   Wal‐Mart    SYSTANE HYD PF 10ML         40    $16.48       2         $32.96
300654011057   Wal‐Mart        ZADITOR ALLERGY         40    $13.98       10       $139.80
300654011064   Wal‐Mart   ZADITOR ALLERGY TWIN         40    $23.98      47       $1,127.06
300654274018   Wal‐Mart    PATADAY 2X DLY 5.0ML        40    $17.48       2         $34.96
300658150011   Wal‐Mart    PATADAY 1X DLY 2.5ML        40    $20.48      85       $1,740.80
300658150035   Wal‐Mart      PATADAY 1X DLY TP         40    $30.98        2        $61.96
300678104926   Wal‐Mart       EXC XS CAPL 200CT        40    $19.73        1        $19.73
302990100624   Wal‐Mart     CET DH EYE SRM 0.5Z        46    $17.47        7       $122.29
302990116014   Wal‐Mart    CET HR RNW CRM 1.7Z         46    $18.97        9       $170.73
302990116038   Wal‐Mart         CET HR SRM 1Z          46    $18.97       5         $94.85
302990117004   Wal‐Mart     CET DH 48HR SRM 1Z         46    $17.97       1         $17.97
302990117011   Wal‐Mart      CET DH HG DC FF 1.7       46    $18.97        1        $18.97
302990117073   Wal‐Mart        CET DH MST 1.7Z         46    $13.31      19        $252.89
302990117141   Wal‐Mart      CET DH CRM FF 1.7Z        46    $18.97        2        $37.94
302990221206   Wal‐Mart       DIF DK SPT SRM 1Z        46    $21.97       2         $43.94
302990230208   Wal‐Mart          CETAPHIL PRO          02    $43.00       1         $43.00
302993889021   Wal‐Mart        CET RH CRM 1.7Z         46    $18.47        2        $36.94
302993889038   Wal‐Mart         CET HYD LTN 3Z         46    $14.22      62        $881.64
302993889168   Wal‐Mart    CET HYD EYE CRM 0.5Z        46    $15.47        4        $61.88
302993928041   Wal‐Mart     CET DF MST SPF15 4Z        46    $14.97      127      $1,901.19
302993930020   Wal‐Mart      CET MST SPF50 1.7Z        46    $15.97      35        $558.95
302994113002   Wal‐Mart     CET OF MST SPF35 3Z        46    $14.92      10        $149.20
302994117000   Wal‐Mart        CET GC SA MST 3Z        46    $10.97       4         $43.88
302994118007   Wal‐Mart    CET HR WHIP CRM 1.7Z        46    $18.97        6       $113.82
302994127009   Wal‐Mart         CET ECZ FU 8OZ         02     $7.99       3         $23.97
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302994313044   Wal‐Mart      CET DC MST SPF30 4Z        46    $16.97       2         $33.94
302994910403   Wal‐Mart       DIF PMP AD GEL 1.6Z       46    $29.18       1         $29.18
304960580146   Wal‐Mart    DERMEND MOIST BRUISE         40    $29.36      11        $322.96
304960978301   Wal‐Mart       RECTICARE H CREAM         40    $36.00      13        $468.00
305732450421   Wal‐Mart    NEXIUM CAPSULES 42CT         40    $25.28       3         $75.84
305732451145   Wal‐Mart     NEXIUM TABLETS 14CT         40    $10.44       1         $10.44
305732451428   Wal‐Mart     NEXIUM TABLETS 42CT         40    $25.28       1         $25.28
305734758709   Wal‐Mart       CTM SLV MN 200CT          40    $19.12       1         $19.12
306962878245   Wal‐Mart     BOIRON OSCILLO 30CT         40    $28.98       1         $28.98
307660419785   Wal‐Mart     CITRUCEL REG CAP 100        40    $14.97       5         $74.85
307667760255   Wal‐Mart    NCTGUM 4MG ICE 160CT         40    $65.00       1         $65.00
307669812372   Wal‐Mart     NCT LOZ 4MG ICE 20CT        40    $12.47       1         $12.47
307817098795   Wal‐Mart     AMLACTIN DM LOTION          02     $4.00       1         $4.00
310119020036   Wal‐Mart          BL DRY EYE .5FO        40     $6.42       1         $6.42
310119020906   Wal‐Mart        OPCON A ALLERGY          40     $6.17       2         $12.34
310119022412   Wal‐Mart              ALAWAY             40    $11.82       1         $11.82
310119022795   Wal‐Mart    BIOTRUE DROPS 2X10ML         40    $19.74       4         $78.96
310119022870   Wal‐Mart     LUMIFY MICELLAR WTR         40    $13.97       4         $55.88
310119022894   Wal‐Mart        LUMIFY EYE CREAM         40    $26.97      27        $728.19
310119537084   Wal‐Mart           LUMIFY 2.5ML          40    $12.98       8        $103.84
310119537251   Wal‐Mart           LUMIFY 7.5ML          40    $21.48      42        $902.16
312547204361   Wal‐Mart         ZYRTEC TAB 30CT         40    $19.97      21        $419.37
312547700603   Wal‐Mart     ROG MN SOLU 3M 6OZ          46    $60.00       1         $60.00
316864000187   Wal‐Mart     AMLACTIN DAILY MSTR         02     $4.00       2         $8.00
317270553007   Wal‐Mart      PRIMATENE MIST 160         40    $30.98      76       $2,354.48
323900014527   Wal‐Mart   DAY/NYQLCPCOMBOPK48C          40     $4.00       6         $24.00
323900025523   Wal‐Mart       DQNQ VAPO 2X12OZ          40    $19.97       1         $19.97
323900038486   Wal‐Mart         DQNQ VAPO 24CT          40    $11.97       1         $11.97
323900039551   Wal‐Mart          DQNQ SVR 24CT          40    $11.97       4         $47.88
323900039568   Wal‐Mart          DQNQ SVR 48CT          40    $19.97      16        $319.52
324208385555   Wal‐Mart          MURO 128 5 OP          40    $22.86       1         $22.86
324208532300   Wal‐Mart         PRESRVISN SG 120        40    $28.47       6        $170.82
324208697603   Wal‐Mart      PRESRVISN AREDS2 60        40    $19.47       1         $19.47
324208697627   Wal‐Mart     PRESRVISN AREDS2 120        40    $34.47       8        $275.76
324208697900   Wal‐Mart     PRESERVISION AREDS2         40    $26.58       2         $53.16
345334300168   Wal‐Mart        VANICREAM PUMP           46    $13.56       1         $13.56
353100202158   Wal‐Mart       FLONASE SENSI 60CT        40    $15.98       1         $15.98
353100202301   Wal‐Mart     FLONASE SENSIMIST KI        40    $15.98       1         $15.98
353100203346   Wal‐Mart         FLONASE 2X144CT         40    $43.96       6        $263.76
353100229575   Wal‐Mart          FLONASE 144CT          40    $25.48       1         $25.48
358790001302   Wal‐Mart         THERA TEARS 1FO         40    $12.56       1         $12.56
358790007151   Wal‐Mart       THERA TEARS EXTRA         40     $9.94       1         $9.94
363736000158   Wal‐Mart    NIX ULTRA SHAMPO 4OZ         46    $18.88       1         $18.88
363736441012   Wal‐Mart      M‐1 SIMPLE THERAPY         02    $13.27       2         $26.54
363736441807   Wal‐Mart      M‐1 CURE ITCH RELIEF       02    $16.97       1         $16.97
363824008202   Wal‐Mart            MCX SE 20CT          40    $13.97       7         $97.79
363824008400   Wal‐Mart            MCX SE 40CT          40    $23.22      26        $603.72
363824011653   Wal‐Mart          MUCINEX DM 12          40    $20.00      11        $220.00
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363824014784   Wal‐Mart    MCX SVR C C DN 2X6OZ        40    $15.40        2         $30.80
363824023144   Wal‐Mart       MCX SE MAX 14CT          40    $13.97        4         $55.88
363824023281   Wal‐Mart       MCX SE MAX 28CT          40    $23.94        5        $119.70
363824023465   Wal‐Mart       MCX SE MAX 42CT          40      $7.50       2         $15.00
363824056203   Wal‐Mart         MCX DM 20CT            40    $13.97        5         $69.85
363824056401   Wal‐Mart         MCX DM 40CT            40    $23.94       55       $1,316.70
363824072142   Wal‐Mart       MCX DM MAX 14CT          40    $13.97       36        $502.92
363824072289   Wal‐Mart       MCX DM MAX 28CT          40    $23.94       23        $550.62
363824072463   Wal‐Mart       MCX DM MAX 42CT          40    $29.98       22        $659.56
363824192208   Wal‐Mart       MCX AIO CAP 20CT         40    $13.97        7         $97.79
363824201207   Wal‐Mart       MCX SM CAP 20CT          40      $3.49       7         $24.43
363824242200   Wal‐Mart     MCX SM PPC CAP 20CT        40    $13.97        5         $69.85
363824262734   Wal‐Mart     MUCINX NBSP SIN DN         40    $13.97        4         $55.88
363824686165   Wal‐Mart      MCX SM PPC LG 16CT        40    $12.96        2         $25.92
363824909943   Wal‐Mart    CH MCNX C BRY D/N 8O        40    $18.47        1         $18.47
363824995151   Wal‐Mart       MCX AIO DN 2X6OZ         40    $22.44        4         $89.76
363824995267   Wal‐Mart     MCX AIO NT CAP 20CT        40    $13.97        8        $111.76
363824995311   Wal‐Mart     MCX AIO DN CAP 20CT        40    $13.97        5         $69.85
367618110300   Wal‐Mart     COLACE 2IN1 TABS 30S       40    $12.58        2         $25.16
369547627027   Wal‐Mart    NARCAN NASAL SP 4MG         40    $44.97        1         $44.97
370030165186   Wal‐Mart     PREVACID 15MG 42 CT        40    $23.42       46       $1,077.32
370030165766   Wal‐Mart        NASONEX 60CT            40    $13.97        1         $13.97
370030165773   Wal‐Mart         NASONEX 120            40    $24.97        4         $99.88
381371018420   Wal‐Mart    AV ECZEMA TM CREAM          02     $12.78       2         $25.56
381371156658   Wal‐Mart       AV ECZ CRM 12OZ          02     $4.92        3         $14.76
381371157099   Wal‐Mart    ROC MC 5N1 NGHT CRM         46    $13.00        1         $13.00
381371162499   Wal‐Mart    AV POS NGHT CRM 1.7Z        46    $18.47        4         $73.88
381371167241   Wal‐Mart     AV BABY ECZ NGHT 11        02    $19.98        2         $39.96
381371169344   Wal‐Mart    AVN ECZEMA ITCH BLM         02    $19.97        4         $79.88
381371191833   Wal‐Mart       AV C R OAT SRM 1Z        46    $19.97       33        $659.01
381371191840   Wal‐Mart      AV C R MST GEL 1.7Z       46    $19.97       25        $499.25
381371196371   Wal‐Mart      AV POS GEL MST 1.7Z       46    $18.47        2         $36.94
381372020712   Wal‐Mart      AV PR DM SPF15 4OZ        46    $18.47       11        $203.17
381372020811   Wal‐Mart       AV POS SPF 30 2.3Z       46    $18.47       10        $184.70
381372020965   Wal‐Mart   AV ECZEMA TR CRM 5OZ         02    $15.52        2         $31.04
381372022204   Wal‐Mart      AV C R BALM FF 1.7Z       46      $2.50      13         $32.50
381372022471   Wal‐Mart     AV C R MST CRM 1.7Z        46    $19.97       33        $659.01
605592105739   Wal‐Mart    NE SH THERAPE 33.8FO        46    $25.98        2         $51.96
605592210532   Wal‐Mart      NE CN COLOR 13.5FO        46    $15.98        1         $15.98
609332848399   Wal‐Mart   ELF HYD CAMO DPCARML         46     $7.00        1         $7.00
611247385777   Wal‐Mart    KEURIG KSLIM BRWR BL        14    $99.00        2        $198.00
611247386361   Wal‐Mart   KEURIG KSUPREME BRWR         14    $139.00       2        $278.00
612572210727   Wal‐Mart     ARRIS SB6190 MODEM         72    $79.00        1         $79.00
619659197803   Wal‐Mart   SANDISK 512GB IMAGEM         06    $49.98        3        $149.94
622356543873   Wal‐Mart     NUTRI NINJA PERSONA        14    $49.99        1         $49.99
622356569859   Wal‐Mart      NINJA FOODI 14‐IN‐1       14    $187.77       1        $187.77
631257158628   Wal‐Mart       UFLORA PROB 30B          40    $19.98        3         $59.94
631257158635   Wal‐Mart   UFLORA PROB WMNS 30          40    $19.98        4         $79.92
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631656602623   Wal‐Mart       SS N.O. FURY PILL        40      $7.30       2         $14.60
631656602630   Wal‐Mart      SS CREATINE X3 PILL       40    $11.97        1         $11.97
633472322587   Wal‐Mart     CBPLUS VIS PREG 2CT        02      $2.95       5         $14.75
633472601026   Wal‐Mart     CB OVUL10CT 1PREG          02    $12.22        2         $24.44
633472601156   Wal‐Mart      CB PREG DIG VIS 2CT       02      $9.98       8         $79.84
633472601545   Wal‐Mart      CB PTK COMBO 4 CT         02    $16.98        2         $33.96
636045984731   Wal‐Mart   AMAZG CLEARCAST 32FO         19    $25.97        1         $25.97
647865195009   Wal‐Mart    NEURIVA GUMMY 50CT          40    $29.67        4        $118.68
647865195023   Wal‐Mart   NEURIVA PLS GMY 50CT         40    $39.97        1         $39.97
647865995470   Wal‐Mart      NEURIVA ORIG 30CT         40    $29.67        5        $148.35
647865995500   Wal‐Mart      NEURIVA PLUS 30CT         40    $39.97       11        $439.67
658010114059   Wal‐Mart   GARDEN OF LIFE RAW O         40    $31.49        1         $31.49
662248926025   Wal‐Mart        PS5 FORSPOKEN           05    $37.00        2         $74.00
673419375849   Wal‐Mart     LG HP QUIDITCH TRNK        07    $68.00        1         $68.00
673419376471   Wal‐Mart      LG TN OZ SPACEBUS         07    $100.00       2        $200.00
676280052116   Wal‐Mart   HEMPZ CITRUS BLOSSOM         02     $5.00        1         $5.00
676280052130   Wal‐Mart   HEMPZ CUCUMBER ALOE          02    $19.98        1         $19.98
681168458027   Wal‐Mart        ZANTREX BLACK           40    $34.00        2         $68.00
681421022033   Wal‐Mart    DULCOLAX STOOL 50CT         40     $9.98        4         $39.92
681421036160   Wal‐Mart   ZANTAC‐20MG TABLETS          40     $21.96      25        $549.00
684088232333   Wal‐Mart    SOVEREIGN SILVER HYD        40    $28.79        6        $172.74
689901537879   Wal‐Mart      ZANFEL POISON IVY         40    $38.98       16        $623.68
695111000034   Wal‐Mart    SUPERBETA PROSTATE          40    $99.00       18       $1,782.00
695111001888   Wal‐Mart    SUPER BETA PROS ADV         40    $34.48        9        $310.32
695111002588   Wal‐Mart    AGELESS MALE TAB 60         40    $26.97        3         $80.91
695111002847   Wal‐Mart    AGELESS MALE HAIR G         40    $29.98        8        $239.84
704142000248   Wal‐Mart    FLORASTOR PROBIO20          40    $19.82        3         $59.46
705928001008   Wal‐Mart    NLMED RINSE KIT 50CT        40    $11.48        7         $80.36
705928602755   Wal‐Mart    NEILMED CLEAR CANAL         40      $7.28       1          $7.28
710244250269   Wal‐Mart      CL CRSR TRN TBL BK        05    $35.00        1         $35.00
711719547976   Wal‐Mart       PS4 HORIZON FW           05    $35.00        2         $70.00
716281006210   Wal‐Mart          SLM TUBE 26           07     $6.96        1          $6.96
716837246503   Wal‐Mart   PEPCID COMP TROP 50C         40    $20.98       17        $356.66
716837291503   Wal‐Mart   PEPCID COMP BER 50CT         40    $20.98        3         $62.94
716837855507   Wal‐Mart     PEPCID MAX STR 50CT        40    $19.48       326      $6,350.48
716837855781   Wal‐Mart     PEPCID MAX AC 75CT         40    $26.98       137      $3,696.26
716837888505   Wal‐Mart   PEPCID COMP MINT 50C         40    $20.98        1         $20.98
723987005089   Wal‐Mart    PUR WHT VERT FM SYS         11    $23.72        1         $23.72
723987201115   Wal‐Mart    PUR 11C PIT WHT LEAD        11    $37.48        1         $37.48
726000104059   Wal‐Mart   FOCUS FACTOR TABLETS         40     $14.98       1         $14.98
728947000210   Wal‐Mart    ORAL B DENTAL GAURD         02    $19.48        3         $58.44
729849104075   Wal‐Mart   PETSAFE DELUXE ULTRA         08    $79.59        1         $79.59
731855023721   Wal‐Mart      XBX S600 GEN2 USB         05    $89.94        1         $89.94
731855541201   Wal‐Mart      ROC ELO X STREO HS        72    $21.00        1         $21.00
732216301205   Wal‐Mart    ZICAM NSL SWAB 20CT         40    $10.98        3         $32.94
738678151761   Wal‐Mart       AC POMADE 3OZ            46    $17.84        2         $35.68
740275049662   Wal‐Mart           OWN ZONE             82    $30.00        1         $30.00
744120891147   Wal‐Mart      WFH MW LRG BLACK          03      $3.50       1          $3.50
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748927060539   Wal‐Mart     ON AMINO TANGERINE          40     $14.99       1         $14.99
754502038893   Wal‐Mart          FLAWLESS LEGS          82    $39.88        1         $39.88
757145001323   Wal‐Mart     BR TAN LGE NAS STRIP        40    $11.26        5         $56.30
763649176726   Wal‐Mart     PS5 INTERNAL SSD SEA        05    $119.00       1        $119.00
764302290209   Wal‐Mart      SM CH SH CURL SHINE        46    $10.97        1         $10.97
767332603612   Wal‐Mart         MURAD RETINOL           46     $80.00      27       $2,160.00
784276068246   Wal‐Mart    LUTRON P‐PKG1W‐WH‐R          12    $25.00       15        $375.00
784276239264   Wal‐Mart       FAN & LED DIMMER          09    $63.00        5        $315.00
784276247849   Wal‐Mart          CASETA SWITCH          09    $47.00        5        $235.00
784276803144   Wal‐Mart     1.5A WIRELESS SMART         11    $49.99        6        $299.94
785007055153   Wal‐Mart   LEGRAND MULTI DIMMER          11    $50.00        2        $100.00
787651760056   Wal‐Mart       AZO BLADDER 72CT          40    $25.96        1         $25.96
810050282628   Wal‐Mart          VENOM 2 BACK           09    $249.00       1        $249.00
810050282949   Wal‐Mart            VENOM GO             09    $129.00       3        $387.00
812634001014   Wal‐Mart         NONYX NAIL‐GEL          40    $19.98        3         $59.94
813843038600   Wal‐Mart      CHI CERAMIC SPIN N C       02    $20.00        1         $20.00
814113011828   Wal‐Mart    ELECTRONIC ENTRY DEA         03    $55.69        2        $111.38
814457010730   Wal‐Mart       LSTR PRO LIGHT KIT        02      $9.00       1         $9.00
818279023749   Wal‐Mart       MAX GRIP TRIPOD           06    $35.99        2         $71.98
818279024180   Wal‐Mart      GOPRO 3WAY TRIPOD          06    $69.00        1         $69.00
818866003017   Wal‐Mart             G‐STORM             72    $34.88        1         $34.88
827854005704   Wal‐Mart      CG OPTIC WHITE FLEX        02    $49.96        1         $49.96
829160897561   Wal‐Mart           HP 21 BLACK           72     $25.92       1         $25.92
829610004600   Wal‐Mart       ROKU VOICE RC PRO         72    $28.97        1         $28.97
829610004914   Wal‐Mart     ROKU EXPRESS NEW 2          72    $29.99        1         $29.99
829835000425   Wal‐Mart    AMAZING GRASS GREEN          40     $29.99       1         $29.99
829835000791   Wal‐Mart   AMZ GRASS GRNSPR ANT          40    $21.97        2         $43.94
832492043353   Wal‐Mart     BLUE STOP MAX 16 OZ         40    $23.88        4         $95.52
840056130395   Wal‐Mart    ZAGG KEYB MSGR FOLIO         87    $49.00        1         $49.00
840103210155   Wal‐Mart     ROC RETINOL CAP 30CT        46      $6.24       1         $6.24
840103210223   Wal‐Mart      ROC CREPE CRM 1.7Z         46      $6.24       6         $37.44
840103211343   Wal‐Mart       ROC NECK CRM 1.7Z         46    $26.97        1         $26.97
840103212135   Wal‐Mart     ROC TONE NT CRM 1.7Z        46      $6.24       4         $24.96
840103212340   Wal‐Mart      ROC TONE HA SRM 1Z         46    $17.48        7        $122.36
840103212777   Wal‐Mart       ROC VITC STICK .14Z       46    $26.97        2         $53.94
840103213019   Wal‐Mart     ROC VITCSPF MST 1.7Z        46    $26.97        1         $26.97
840103216294   Wal‐Mart      ROC RETINOL EYE 0.5Z       46    $21.97        2         $43.94
840103280028   Wal‐Mart      ROC MAX HYD 1.7 OZ         46    $26.97        1         $26.97
840103280097   Wal‐Mart     ROC RC MX HA FF 1.7Z        46    $26.97        7        $188.79
840103283210   Wal‐Mart      ROC RTNL NT CRM 1Z         46    $21.97       14        $307.58
840103284446   Wal‐Mart    ROC RTNL WRKL SRM 1Z         46    $21.97       11        $241.67
840103284880   Wal‐Mart    ROC WRNKL MST SPF 1Z         46    $21.97       10        $219.70
840797105775   Wal‐Mart      KES MOISTURE MASK          46    $14.97        1         $14.97
841058007029   Wal‐Mart       HYDRO SILK RFL 4CT        02    $14.97        1         $14.97
841058015604   Wal‐Mart     HYDRO5 SENS REF 4CT         02    $11.32        1         $11.32
842595113716   Wal‐Mart       C4 RIPPEDSPORT FP         40    $21.68        1         $21.68
842595121278   Wal‐Mart     C4 ULT SHRED 12SV SW        40    $29.93        1         $29.93
843479106329   Wal‐Mart       SI POWER MASSAGE          40    $99.97        1         $99.97
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843479153972   Wal‐Mart     SI PWR GO MASSAGER          82    $40.00        1        $40.00
846647002461   Wal‐Mart         KLYMIT STATIC V         09    $49.88        1        $49.88
847626002335   Wal‐Mart       J5 DUAL MINI DOCK         72    $88.00        7       $616.00
847626005602   Wal‐Mart    J5 DUAL HDMI DOCKING         72    $90.00        1        $90.00
850184008404   Wal‐Mart   QUNOL TURM GUMY 60CT          40    $12.88        2        $25.76
850184008411   Wal‐Mart    QUNOL TURMERIC 30CT          40    $10.88        1        $10.88
850608006245   Wal‐Mart   KINSA QUICKSCAN THRM          40    $39.97        2        $79.94
851409007363   Wal‐Mart      KERASAL MP NAIL REP        40    $19.86        2        $39.72
851552005025   Wal‐Mart     DARK ROAST GROUND           92    $15.67        1        $15.67
851722007002   Wal‐Mart    ERWX MD KT W RSG BLB         40    $18.97        1        $18.97
851722007132   Wal‐Mart     EAR ITCH MD STHN SPR        40    $17.97        2        $35.94
851722007323   Wal‐Mart     EAR PN MD W 4 LIDCN         40    $18.97        5        $94.85
851770007276   Wal‐Mart        ORGAIN COLLAGEN          40    $23.88        1        $23.88
852852007627   Wal‐Mart      HATCH REST 2ND GEN         79    $69.00        2       $138.00
852870004172   Wal‐Mart         DAILY PROBIOTIC         40      $3.00       1        $3.00
852886007341   Wal‐Mart       SSR EW HTV BRTRED         19     $11.88       1        $11.88
852886007532   Wal‐Mart      SSR EW HTV ORANGE          19     $8.00        1        $8.00
855119006029   Wal‐Mart   FOCUS FACTOR GUMMIES          40    $19.98        3        $59.94
855710002345   Wal‐Mart          NUGENIX 42CT           40    $28.27        9       $254.43
855710002468   Wal‐Mart      NUG MULTI‐VIT 60CT         40    $34.99        3       $104.97
857074001613   Wal‐Mart           KERASAL NAIL          40    $19.86        8       $158.88
857896004106   Wal‐Mart      OLEAVICIN SHINGLES         40      $5.00       2        $10.00
860006396923   Wal‐Mart       CROCHET KIT BUNNY         19     $29.98       1        $29.98
883049225401   Wal‐Mart      KA FLEX EDGE BEATER        14     $29.88       2        $59.76
883049361901   Wal‐Mart         WATER FILTER 1          11    $57.00        1        $57.00
883049392134   Wal‐Mart      KITCHENAID 3‐PIECE P       14    $199.00       1       $199.00
883585702534   Wal‐Mart           HP 60 BLACK           72    $25.92        1        $25.92
883585702572   Wal‐Mart          HP 60XL BLACK          72    $66.00        1        $66.00
883929804412   Wal‐Mart    VENTURE BROS CSR DVD         05    $89.96        1        $89.96
883929805563   Wal‐Mart     NIGHT COURT CSR DVD         05    $79.96        1        $79.96
885911925716   Wal‐Mart   BD FURBUSTER HAND VA          74    $49.88        1        $49.88
886111601387   Wal‐Mart         HP 932XL BLACK          72    $47.92        1        $47.92
886790218302   Wal‐Mart    BENEFIBER 125DS PWDR         40    $21.83        1        $21.83
888182992289   Wal‐Mart          HP 62XL BLACK          72    $51.00        4       $204.00
888182992302   Wal‐Mart          HP 62XL COLOR          72    $53.00        6       $318.00
888853000572   Wal‐Mart    DS INGROW TOENAL REL         40      $9.98       1        $9.98
888853003283   Wal‐Mart        DS PREVENT MENS          40    $14.97        1        $14.97
888853590370   Wal‐Mart       DS PLANT FASC MEN         40    $15.54        1        $15.54
889232609690   Wal‐Mart       CASIO FX‐115ESPLS2        03    $12.00        2        $24.00
889296267430   Wal‐Mart          HP 63 COMBO            72    $55.00        1        $55.00
889296858140   Wal‐Mart       HP 952XL MAGENTA          72     $43.92       3       $131.76
889296858157   Wal‐Mart        HP 952XL YELLOW          72    $43.92        7       $307.44
889476511001   Wal‐Mart    LIPO‐FLAVONOID 100CT         40    $25.87        2        $51.74
889526206062   Wal‐Mart      HT CLEAN/POLISH SET        11     $3.00        1        $3.00
889714000038   Wal‐Mart    CWS 3DW PROEFF 20CT          02    $18.37        2        $36.74
889714001882   Wal‐Mart        CR EMUL CNTR 1CT         02    $47.48        1        $47.48
889714001899   Wal‐Mart       CR EMULSION LIGHT         02     $26.99       1        $26.99
889842717068   Wal‐Mart         XBX ELITE 2 CORE        05    $129.00       1       $129.00
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889894153555    Wal‐Mart         HP 933 CL MULTI         72    $44.92       1         $44.92
889894153647    Wal‐Mart         HP 935 CL MULTI         72    $54.00       4        $216.00
891038001011    Wal‐Mart            BIO OIL 4.2          02    $21.54       3         $64.62
891038001028    Wal‐Mart         BIO OIL 6.7 FL OZ       02    $29.97       2         $59.94
893169002981    Wal‐Mart       KT TAPE ORIG BEIGE        09    $11.97       1         $11.97
894047001027    Wal‐Mart    PREVAGEN ES CHW 30CT         40    $59.88      17       $1,017.96
894047001034    Wal‐Mart    PREVAGEN REGSTR 30CT         40    $39.92      20        $798.40
894047001065    Wal‐Mart      PREVAGEN REG 60CT          40    $69.98      16       $1,119.68
894047001102    Wal‐Mart     PREVAGEN EXSTR 30CT         40    $60.00      13        $780.00
894047001157    Wal‐Mart     PREVAGEN CHW 30CT           40    $39.92       9        $359.28
898440001028    Wal‐Mart     QUNOL COQ10 ULT 30          40    $10.88       1         $10.88
898440001394    Wal‐Mart    QUNOL COQ GUMY 60CT          40    $11.88       1         $11.88
898571000198    Wal‐Mart      IT S A 10 LVINCD 4FO       46     $4.49       1         $4.49
898571000303    Wal‐Mart        42.99 VALUE IT S         02    $44.29       1         $44.29
898571000464    Wal‐Mart      ITS A 10 MIRACLE SH        02    $51.51       1         $51.51
899234001088    Wal‐Mart   AMBEREN MENOPAUSE 60          40    $29.97       2         $59.94
3600524053352   Wal‐Mart      LOR VIT C SRM 1.01Z        46    $25.97      23        $597.31
3606000512276   Wal‐Mart       CV RSF RET SRM 1Z         46    $18.68       8        $149.44
3606000512351   Wal‐Mart       CV SR VIT C SRM 1Z        46    $23.53      52       $1,223.56
3606000514959   Wal‐Mart      CRV SUN FACE SPF 50        02    $13.97       5         $69.85
3606000527997   Wal‐Mart       CV HYD HA SRM 1Z          46    $19.24       7        $134.68
3606000534674   Wal‐Mart      CV AM MST SPF30 2Z         46    $13.28       1         $13.28
3606000534711   Wal‐Mart          CV PM MST 2Z           46    $11.74       1         $11.74
3606000534797   Wal‐Mart     CRV MOS LOTION16OZ          02    $15.58       1         $15.58
3606000535039   Wal‐Mart          CRV SA CREAM           02    $24.82       1         $24.82
3606000537316   Wal‐Mart        CV SR RET SRM 1Z         46    $22.68      10        $226.80
3606000537453   Wal‐Mart          CV PM MST 3Z           46    $14.92      26        $387.92
3606000537460   Wal‐Mart      CV AM MST SPF30 3Z         46    $15.87      38        $603.06
3606000537507   Wal‐Mart      CV SR DAY CRM 1.76Z        46    $23.98      18        $431.64
3606000537521   Wal‐Mart      CV UT LIT SPF30 1.7Z       46    $16.22      26        $421.72
3606000537545   Wal‐Mart     CER PSORIASIS CREAM         02    $21.82       1         $21.82
3606000537552   Wal‐Mart          CV SA CLNR 8Z          46    $12.37       5         $61.85
3606000537583   Wal‐Mart          CER SA CREAM           02    $21.82      13        $283.66
3606000537606   Wal‐Mart       CV SR NT CRM 1.7Z         46    $17.44      10        $174.40
3606000537613   Wal‐Mart      CV EYE REP CRM 0.5Z        46    $14.44      13        $187.72
3606000537637   Wal‐Mart         CRV ANTI ITCH 8         02    $18.94      14        $265.16
3606000537644   Wal‐Mart       CERAVE OINT 12OZ          02    $19.88       8        $159.04
3606000537668   Wal‐Mart      CV DM JAR CRM 16Z          46    $14.97       6         $89.82
3606000537712   Wal‐Mart          CER SA LOTION          02    $17.86      18        $321.48
3606000538160   Wal‐Mart        CRV HAND CREAM           02    $10.47       2         $20.94
3606000559516   Wal‐Mart     CRV ECZ CREAMY OIL 8        02    $15.83       3         $47.49
3606000559998   Wal‐Mart      CV HYD C2F CLNR 12Z        46    $13.66       5         $68.30
3606000575172   Wal‐Mart         CV AC GEL 1.35Z         46    $17.97       8        $143.76
3606000576810   Wal‐Mart       CV SR NT SRM 1.7Z         46    $23.86       5        $119.30
3606000576971   Wal‐Mart           CRV GEL 1.7Z          46    $16.18      12        $194.16
3606000577138   Wal‐Mart          CV AC CLNR 8Z          46    $15.12       2         $30.24
3606000595910   Wal‐Mart       CV SR EYE CRM 0.5Z        46    $20.97      12        $251.64
3616304367496   Wal‐Mart    COV CFSKINSERUM‐DEEP         46    $14.98       1         $14.98
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4902778246092   Wal‐Mart       POSCA 5MM 8CT           19    $19.97        3        $59.91
5000167266818   Wal‐Mart   NO7 LAB DC MD .5FLOZ        46    $19.98        1        $19.98
5000167303568   Wal‐Mart   NO7 LAB GLYCAC 1FLOZ        46    $18.14        1        $18.14
5000167337105   Wal‐Mart    NO7 RTL EYE CRM 0.5Z       46    $16.98        1        $16.98
5033102859578   Wal‐Mart   ION MAGNE STRAIG IRO        02    $81.99        3       $245.97
6946830767390   Wal‐Mart      PG MW LRG BLACK          03     $6.98        1         $6.98
9120096770722   Wal‐Mart     POL COLOR ITYPE 16        06    $31.98        3        $95.94
9120096770753   Wal‐Mart      POL COLOR600 16          06    $36.98        5       $184.90
                                                                         4435    $107,633.78
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Original Search                                                                                                                                                 Amazon US
                  Identified by:                                                 Product Title                                                    MSRP (USD)                   Qty        Price      Ext
     Term                                                                                                                                                       Price (USD)
 6940500310527         CVS         Brushed Nickel 2‐Light Flushmount Brushed Nickel                                                                      9.98             22          1     9.98 $      9.98
 3474636920297         CVS         Redken Frizz Dismiss Conditioner | Weightless Frizz Control | Anti Frizz | Moisturize and Smooth | Provid               26             26          2       26 $     52.00
   48107159863         CVS         GNC Mega Men Sport Vitapak Program 30 Packs (Exp: 3/2024)                                                            29.99                         1    29.99 $     29.99
  850024316447         CVS         BioLite 425 Lumen Rechargeable Headlamp with Front and Back Lights, Midnight Gray                                    59.95          59.95          1    59.95 $     59.95
 3606000538146         CVS         CeraVe Anti Aging Gel Serum for Face to Boost Hydration | With Ceramide Complex, Sunflower Oil, and H                25.99          15.99         13    25.99 $    337.87
   76174746068         CVS         NEW Dewalt DWMT74606OSP 3/4 Drive X 1 9/16" 12PT CHROME Socket 7516537                                               22.48                         2    22.48 $     44.96
  817835011152         CVS         evanhealy Wild Carrot Nourishing Eye Balm | Traveling Moisturizer Stick | Hydrate & Brighten Eyes, Face,             26.01           28.5          1    26.01 $     26.01
   71649365485         CVS         MasterLock Large Key Lockbox, Combination Dials, Removable Cable                                                     28.99                         2    28.99 $     57.98
  631257120977         CVS         Renew Life Everyday Probiotic Capsules, Daily Supplement Supports Urinary, Digestive and Immune Healt                21.99          19.49          1    21.99 $     21.99
 3474636909292         CVS         KERASTASE Blond Absolu Cicanuit Conditioning Hair Serum | For Damaged, Bleached, or Highlighted Hair                    59             60          5       59 $    295.00
   41167412749         CVS         Allegra Allergy Relief 180 mg ‐ 5 Tablets *FREE SHIPPING* 02/2024                                                     6.41                         2     6.41 $     12.82
  853760002575         CVS         LifeSeasons ‐ Masculini‐T ‐ Testosterone Support Supplement ‐ Enhances Mental & Physical Aspects of Se               76.99                         1    76.99 $     76.99
  302990220575         CVS         Differin Gel Acne Scar Spot Treatment for Face, Resurfacing Scar Gel, Gentle Skin Care for Acne Prone Sen            21.97          19.77          1    21.97 $     21.97
  885911548830         CVS         CRAFTSMAN V20* Cordless Brushless Compact 2 Tool Combo Kit (2 Batteries) (CMCK210C2)                                  219           227.5          1     219 $     219.00
  840268951450         CVS         Ring Chime                                                                                                           34.99          34.99          1    34.99 $     34.99
   28874061026         CVS         DEWALT 7" 18T DRY WET DIAMOND BLADE TURBO RIM XP CIRCULAR SAW BLADE DW4702                                           16.99                         1    16.99 $     16.99
  738797853966         CVS         GOLDEN High Flow Acrylics, Pyrrole Orange, 16 fl. oz. / 473 ml Bottle                                                77.76          77.76          1    77.76 $     77.76
  850965008258         CVS         iHEARtest, FDA‐Cleared Home Hearing Screener                                                                            85           74.5          1       85 $     85.00
  886798018874         CVS         CamelBak eddy+ Water Bottle with Straw 32oz ‐ Insulated Stainless Steel, Navy                                           35          25.93          1       35 $     35.00
   45242541256         CVS         Milwaukee 350 Lumens LED Headlamp (item #2103), FREE SHIPPING                                                         18.5                         1     18.5 $     18.50
   31604018818         CVS         Nature Made Vitamin C 500 mg 500 Tabs                                                                                27.55                         1    27.55 $     27.55
  852878005706         CVS         Green Goo Natural Skin Care Salve, Skin Repair and Protection, 1.82‐ounce Large Tin                                  17.99          20.99          1    17.99 $     17.99
 5060079200645         CVS         G7th Performance 3 Capo with ART (Steel String Satin Black)                                                          84.99             44          2    84.99 $    169.98
  810045684499         CVS         Skullcandy Sesh ANC In‐Ear Noise cancelling Wireless Earbuds, 32 Hr Battery, Microphone, Works with iPh              67.18          64.97          1    67.18 $     67.18
  810023371182         CVS         Kate Somerville ExfoliKate Resurfacing Body Scrub | Triple Action Exfoliating Body Polish | Removes Dead                56             56          2       56 $    112.00
  643334547867         CVS         Type S Film Wrap Installation Kit                                                                                    11.99                         1    11.99 $     11.99
  800443572047         CVS         EveryYay Teal Crash Test Dog Harness, Small                                                                           42.9           42.9          2     42.9 $     85.80
  633356600947         CVS         We R Memory KeepersTool‐ Multi Hole Punch                                                                            29.99          33.99          1    29.99 $     29.99
  738797992399         CVS         Golden Artist Colors, Heavy Body Acrylics, 8‐color Traditional Set                                                                  45.96          1    45.96 $     45.96
  683615359383         CVS         ZenPet Elbow Wrap for Dogs (Large)                                                                                   42.89          32.99          4    42.89 $    171.56
  666151750135         CVS         Dermalogica Biolumin‐C Serum, Vitamin C Dark Spot Serum for Face with Peptide and AHA ‐ Exfoliates an                   87             95         10       87 $    870.00
   33317209774         CVS         Texas Instruments TI‐84 Plus All‐Purpose Graphing Calculator White (Rough Box)                                       69.99                         1    69.99 $     69.99
   15718331209         CVS         OCuSOFT Clean & Spray Eyelid Cleaning Kit ‐ EXP: 11/2022 SKU23                                                       19.98                         1    19.98 $     19.98
  666151062252         CVS         Dermalogica Phyto‐Nature Firming Serum, Anti‐Aging Face Serum with Hyaluronic Acid ‐ Revitalizes, Lifts,              155            155           4     155 $     620.00
   48107042929         CVS         GNC Mens Arginmax ‐ 180 CT ‐‐NEW SEALED                                                                              44.99                         3    44.99 $    134.97
  842861110302         CVS         Ring Chime Pro                                                                                                       59.99          59.99          3    59.99 $    179.97
   77540948253         CVS         DMC 35pc Mouline Special Etoile in Tin Embroidery Floss GLITTER Brand New                                            25.85                         1    25.85 $     25.85
   92644730467         CVS         Klein Tools D504‐10 Classic Klaw 10 in. Pump Pliers New                                                                 32                         4       32 $    128.00
  783927453066         CVS         Kichler 11250BKT30 LED Outdoor Wall Mount, Textured Black, 7.00x6.50x5.00                                           214.95        154.95           1   214.95 $    214.95
  854843005599         CVS         Decibullz ‐ Custom Molded Percussive Filters, Custom Molded Hearing Protection                                       74.99         74.99           1    74.99 $     74.99
 3337875839624         CVS         Vichy Mineral 89 Fragrance Free Cream, 72H Moisture Boosting Lightweight Cream | Hydrating Face Mois                    32            32           2       32 $     64.00
  768990027604         CVS         Nordic Naturals Omega‐3, Lemon Flavor ‐ 120 Soft Gels ‐ 690 mg Omega‐3 ‐ Fish Oil ‐ EPA & DHA ‐ Immun                29.95         24.15           1    29.95 $     29.95
   51131211865         CVS         3M Futuro Deluxe Back Support ADJUSTABLE MODERATE Support                                                             8.99                         1     8.99 $      8.99
  710363594619         CVS         Irwin Naturals Liver Detox & Blood Refresh Powerful Herbal Whole‐Body Cleanse & Detox with 540mg Mi                  29.32          21.99          1    29.32 $     29.32
  886946424496         CVS         MICHAELS Alphabet & Number Stamp Set by Make Market¬Æ                                                                18.99          18.99          1    18.99 $     18.99
   72783931864         CVS         Dexcom CGM G6 Adhesive Patches 20ct. NOT JUST A PATCH. New                                                           18.88                         1    18.88 $     18.88
  718813566698         CVS         American Crafts Color Pour‐ Resin 8 oz., 2 Pack, Resin Dye Resin Molds Resin Hardener Dyes Mix with Res              45.99            34           1    45.99 $     45.99
  763649149713         CVS         Seagate 5000GB One Touch 5TB External HHD Drive with Rescue Data Recovery Services, Black (STKC5000                 144.99        124.89           2   144.99 $    289.98
  194383009757         CVS         Scope indoor 1080p HD Smart Auto‐Tracking Security Camera, White, Motion Only                                        69.98         27.99           1    69.98 $     69.98
  749699100386         CVS         Ernie Ball Braided Instrument Cable, Straight/Angle, 18ft, Neon Orange (P06084)                                      47.99         29.99           2    47.99 $     95.98
   45242223756         CVS         Milwaukee 49‐56‐0507 5/16 in. Diamond Plus Hole Saw Tile Bit                                                            14                         5       14 $     70.00
   31604018948         CVS         Nature Made CoQ10, 100 mg, 40 Softgels Dietary Supplement EXP 6/25                                                   10.75                         3    10.75 $     32.25
   15561145206         CVS         Fluval 14520 22W 15‐24‚Ä≥ Plant Spectrum Bluetooth LED Light                                                            84                         2       84 $    168.00
   73796266356         CVS         Omron BP6350 7 Series Wireless Wrist Blood Pressure Monitor OPEN BOX 6356OB                                             39                         3       39 $    117.00
   24721002273         CVS         Irwin Speed Plus 1" Hammer #322054                                                                                   19.99                         1    19.99 $     19.99
  811913019443         CVS         Oribe Serene Scalp Thickening Treatment Spray, 4.2 Fl Oz (Pack of 1)                                                    76             76          2       76 $    152.00
  626232160550         CVS         ATTITUDE Oceanly Night Cream Bar, EWG Verified, Plastic‐free, Plant and Mineral‐Based Ingredients, Veg               44.99          27.29          3    44.99 $    134.97
  633356610687         CVS         We R Makers Mini Glitter Vac                                                                                         27.99          35.99          1    27.99 $     27.99
 8011469978948         CVS         Sicce Scuba 200 Watt Contactless App Adjustable Aquarium Fish Tank Heater Smartphone Controlled via                  49.99          49.99          2    49.99 $     99.98
  883778450525         CVS         Hubbell 15 Amp 125 Volt Commercial Self‐Test GFCI Receptacle (White) GF15W                                              16                         2       16 $     32.00
   21331064486         CVS         Brookstone Cordless Hot Cold Percussion Massager Gun,6 Intensity Levels,Deep                                         34.01                         1    34.01 $     34.01
  843445025807         CVS         Improves efficiency of product absorption to ultimately extend the use of skin care products                                        18.45          1    18.45 $     18.45
  838810002934         CVS         simplehuman Wall Mount Paper Towel Holder, Stainless Steel                                                           25.99          29.99          1    25.99 $     25.99
  653569011422         CVS         Hasbro Star Wars Episode 3 Barc Speeder withBarc Trooper                                                             14.99          27.86          1    14.99 $     14.99
   53891127523         CVS         Sunbeam GoHeat Cordless Heating Pad ‐ Gray (2000‐825)                                                                63.81                         1    63.81 $     63.81
   32277877900         CVS         Forney 87790 Acetylene Multi‐Flame Heating Tip ‐MFA‐1 Welding Nozzle Torch NEW                                       39.99                         1    39.99 $     39.99
  633356613886         CVS         We R Memory Keepers Cinch Mini Tool, 0                                                                               89.99          80.65          6    89.99 $    539.94
 9421017766894         CVS         Trilogy Vitamin C Moisturising Lotion, 1.69 Fl Oz ‐ For Dull Skin ‐ Brighten & Hydrate with Vitamin C, Roseh         49.99          49.99          1    49.99 $     49.99
  790011048053         CVS         Jarrow Formulas BoneUp ‐ 360 Capsules ‐ Micronutrient Formula for Bone Health ‐ Includes Natural Sourc               40.95          19.99          3    40.95 $    122.85
  317163010341         CVS         API FRESHWATER MASTER TEST KIT 800‐Test Freshwater Aquarium Water Master Test Kit, White, Single,                    50.48          35.97          2    50.48 $    100.96
  884354023386         CVS         Zoom V3 Vocal Processor, Harmony, Pitch Correction, Reverb, Delay, 16 Studio Grade Effects, Battery Pow             249.99           247           1   249.99 $    249.99
  876718039980         CVS         Twine Hammered Moscow Mule Mug Cocktail Set with Shaker for Mixed Drinks, Stainless Steel Kitchen Se                 85.99          66.99          1    85.99 $     85.99
   43168330244         CVS         2 Philips 40w Equivalent ST19 Dimmable LED Vintage Amber Glass Edison Bulb (134                                      14.99                         9    14.99 $    134.91
  693749011323         CVS         Thorne Men's Multi 50+ ‐ Daily Multivitamin and Nutrients for Men Without Iron and Copper to Support                    48             48          1       48 $     48.00
   87300001142         CVS         MELE Even Dark Spot Control Facial Serum for Melanin Rich Skin ‐ 1 fl oz                                              8.99                         2     8.99 $     17.98
  756677591753         CVS         Delfanti ‚Ä¢ COLLAGEN 24K with pure HYALURONIC Acid ‚Ä¢ DAY TREATMENT FULL SIZE DUO PACK Conce                          40         17.95           2       40 $     80.00
  785901598435         CVS         Square D by Schneider Electric Square D ‐ HOMCRBGK1C Homeline Generator Inter‐Lock Kit, For Use on O                  105          69.99           2     105 $     210.00
 9421017767310         CVS         Trilogy Hydrating Jelly Mask, 2.0 Fl Oz                                                                                 25            25           1       25 $     25.00
  345334332039         CVS         Vanicream Sunscreen Broad Spectrum SPF 50+ oz, 3 Ounce                                                               15.99         16.05           1    15.99 $     15.99
  820650852572         CVS         Pok√©mon TCG: 2023 Trick or Trade Booster Bundle                                                                     30.99         16.95           3    30.99 $     92.97
  692121032246         CVS         SleepRight Dura‐Comfort Dental Guard ‚Äì Mouth Guard To Prevent Teeth Grinding                                       44.95          35.8           1    44.95 $     44.95
  817835010278         CVS         evanhealy Whipped Shea Butter with Olive Leaf | Natural Body Lotion for Dry & Sensitive Skin | Shea But              39.79         39.99           1    39.79 $     39.79
  797801037297         CVS         NaturVet Quiet Moments Calming Aid Dog Supplement, Helps Promote Relaxation, Reduce Stress, Storm                    27.99         29.59           2    27.99 $     55.98
 5013035044067         CVS         Robert Sorby Handled TurnMaster with Square Carbide Cutter (RSTM‐HCT3)                                              106.94        106.94           2   106.94 $    213.88
   45242570836         CVS         Milwaukee 49‐25‐1133 Oscillating Multi‐Tool Blade Kit ‐ 3‐Pack SEALED                                                14.99                         1    14.99 $     14.99
  745167070120         CVS         CBE Tactic Hybrid 1‐Pin Bow Sight,Black                                                                             119.99        105.87           2   119.99 $    239.98
 3282770104639         CVS         Eau Thermale Av√®ne Refreshing Eye Contour Care, Red Fruit Extract, Antioxidant Protection 0.5 fl. oz. (P               34                         1       34 $     34.00
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4002516453024    CVS   Miele Triflex HX2 Cat & Dog Cordless Stick Vacuum Cleaner, 60 min runtime, Obsidian Black / Rose Gold           929       929     1     929 $      929.00
  10121133365    CVS   Black & Decker 71‐737 Magnetic Drive Guide Kit w/ Self Standing Case 32 Piece                                  29.99              1    29.99 $      29.99
 885911748599    CVS   Irwin Tools IWAX2006 Self‐Feed Bit 1‐3/4In Speedbor Supreme                                                    52.73              1    52.73 $      52.73
  73577174047    CVS   New Projectmate Cordless Wescott Lithium Ion Glue Gun (17404)                                                  19.95              4    19.95 $      79.80
 813628008118    CVS   Stealth Cam Reactor Dual Sim Cellular Camera                                                                  249.99    177.17    2   249.99 $     499.98
  21614054050    CVS   BREVILLE ‐ BOV450XL Toaster Oven, The Mini Smart Oven with 8 Preset Functions                                 105.99              1   105.99 $     105.99
3474636819737    CVS   L'OREAL PROFESSIONNEL PARIS Steam Hair Straightener & Styling Tool | Steampod Professional Styler | F           250       250     3     250 $      750.00
 850000196087    CVS   Lavender Hand & Foot Therapy Suzi's Lavender 4 oz Liquid                                                       14.95              1    14.95 $      14.95
  70735037503    CVS   Prismacolor Premier Colored Pencil Accessory Set ‐ Eraser Blender Sharpener 7 PC                               14.49              1    14.49 $      14.49
 324208698648    CVS   PreserVision AREDS 2 + Multivitamin 2‐in‐1 Eye Contains Vitamin C D E & Zinc Softgels Packaging May Var        40.32     28.72    6    40.32 $     241.92
 811913010402    CVS   Oribe Soft Lacquer Heat Styling Spray, 5.5 Ounce (Pack of 1)                                                      36        36    5       36 $     180.00
 883351049108    CVS   Kwikset 991 Tustin Entry Lever and Single Cylinder Deadbolt Combo Pack featuring SmartKey in Venetian          69.97        67    1    69.97 $      69.97
 647865962977    CVS   Airborne 1000mg Chewable Tablets with Zinc, Immune Support Supplement with Powerful Antioxidants V                19     13.76    6       19 $     114.00
 626232160543    CVS   ATTITUDE Oceanly Night Cream Bar, EWG Verified, Plastic‐free, Plant and Mineral‐Based Ingredients, Veg         44.99     28.89    2    44.99 $      89.98
 786261824738    CVS   EWZ Series Multipurpose Control Astronomic 7 Day Time Switch, 120‐277 VAC Input Supply, 1 Channel, D          343.51     97.99    1   343.51 $     343.51
  89301761902    CVS   Mr. Heater Propane or Natural Gas Connector Set, 1/4" Male Thread x 1/4" Female                                24.99              1    24.99 $      24.99
 810061140245    CVS   Brookstone Limitless 2 in 1 True Wireless Earbuds & Portable Speaker                                              98              1       98 $      98.00
  30878335768    CVS   GE 15ft. HDMI Cable With Ethernet, Black 33576                                                                    19              1       19 $      19.00
  21614053817    CVS   Breville BFP800XL Sous Chef Food Processor JULIENNE replacement part                                              15              1       15 $      15.00
  37000405115    CVS   Metamucil 3‐in‐1 Fiber Supp. Multiple Health Benefits 160 Capsules Exp: 04/25.                                 15.89              4    15.89 $      63.56
  27557983877    CVS   Lutron Maestro On/Off Wall Switch ‐ Light Almond (MS‐OPS5MH‐LA)‐NEW ‐ FAST SHIP                                16.29             13    16.29 $     211.77
 762511651057    CVS   Dritz Omnigrip 6.5in 8.5in 10.5in Combo Pack Quilting Ruler, 6" by 6" Stitched in Yarn, Clear                  43.99        22    1    43.99 $      43.99
 729849145825    CVS   PetSafe Basic In‐Ground Pet Fence ‚Äì from the Parent Company of INVISIBLE FENCE Brand ‐ Underground          189.99    159.95    1   189.99 $     189.99
 729849129177    CVS   PetSafe Stay & Play Compact Wireless Pet Fence, No Wire Circular Boundary, Secure up to 3/4 Acre, No‐D        369.99    319.95    1   369.99 $     369.99
 857141004721    CVS   Viactiv Omega Boost Supplement, 1200 mg Omega‐3s, 60 Chewable Gel Bite Gummies (Packaging May Va               34.99     34.99    2    34.99 $      69.98
 792850907232    CVS   Burt's Bees Face Serum, Retinol Alternative, Facial Care with Hyaluronic Acid, Intensive Firming Skin Care,    19.99      18.5    4    19.99 $      79.96
 811913019702    CVS   Oribe Gold Lust Repair & Restore Conditioner, 1.7 oz                                                              22        22    3       22 $      66.00
  76174746082    CVS   NEW Dewalt DWMT74608OSP 3/4 Drive X 2" 12PT CHROME Socket                                                      18.98              1    18.98 $      18.98
  74312276026    CVS   Nature‚Äôs Bounty Melatonin 3mg, 100% Drug Free Sleep Aids for 240 Count                                       11.53              1    11.53 $      11.53
 811572029685    CVS   SodaStream 1L Twin Pack Dishwasher Safe Slim Bottle (Black)                                                    24.99     30.41    1    24.99 $      24.99
  20066267940    CVS   Testors 282821 Amazing Air Activity Paint Set                                                                  59.71              3    59.71 $     179.13
 815266012434    CVS   BosleyMD Men's Minoxidil No‐Mess Sprayer, Extra Strength, 2 fl oz (2 Count)                                       48              1       48 $      48.00
  82354505103    CVS   NEW! Norton 7" Segmented Rim Diamond Saw Blade 50510‐038 FREE SHIPPING!                                           15              1       15 $      15.00
  20525104472    CVS   50ct Schiff MegaRed Advanced Omega‐3 ALGAE Oil Heart Joint Brain Eye EXP 05/2024                               19.99              1    19.99 $      19.99
  74312025327    CVS   Nature's Bounty Maximum Strength CoQ‐10 Exp 9/25                                                               12.99              1    12.99 $      12.99
 850032281874    CVS   Burst Pro Sonic Electric Toothbrush for Adults ‐ Soft Bristle Toothbrush for Deep Clean & Plaque Removal       79.99     79.98    1    79.99 $      79.99
 787651760438    CVS   AZO D Mannose Urinary Tract Health Gummies, 40 Count, Clinical Strength 2000mg, Helps Cleanse, Flush           19.99     19.95    1    19.99 $      19.99
 850013789306    CVS   Snow The Magic Strips ‐ Safe for Enamel Dissolving Teeth Whitening Strips ‐ Mess‐Free Portable Teeth W         48.99     28.15    1    48.99 $      48.99
  33674142400    CVS   Nature's Way Primadophilus Reuteri Probiotic Delayed Release 30 Capsules NIB                                   19.99              1    19.99 $      19.99
  89601243108    CVS   Spectre 2431 Universal Throttle Cable Kit With Adapters And Hardware                                           26.95              1    26.95 $      26.95
 608940583937    CVS   Vince Camuto Amore 4 PC Set Women 3.4oz EDP 5oz Body Creme Rollerball Mist                                     49.74              1    49.74 $      49.74
  20525981615    CVS   Megared Omega 3 Fish Oil & Krill Oil Advanced 500mg 40 Softgels Exp 9/24 #1615                                  13.6              2     13.6 $      27.20
 840080593296    CVS   Amazon Fire TV Stick Lite, free and live TV, Alexa Voice Remote Lite, smart home controls, HD streaming        29.99     29.99    2    29.99 $      59.98
 868888000204    CVS   Everlywell Food Sensitivity Test ‐ Learn How Your Body Responds to 96 Different Foods ‐ at‐Home Collect         199       198     1     199 $      199.00
 889714000052    CVS   Crest 3D Whitestrips LUXE Glamorous White 28 Count                                                             42.99      39.8    4    42.99 $     171.96
 783250810420    CVS   IDEAL Industries, Inc. 89‐761WH CAT6 Keystone Modular Jacks, White, 10 Modular Jack Connectors for CA          35.73     37.19    3    35.73 $     107.19
 630454271451    CVS   Sizzix (Black) Tim Holtz Shaping Kit 665304 ‚Äì Scrapbooking and Cardmaking Paper Sculpting Set, One Siz       22.99     18.22    2    22.99 $      45.98
 633356611783    CVS   We R Makers Foil Quill Storage‐USB Caddy                                                                       37.99     29.99    1    37.99 $      37.99
 790812536490    CVS   Calvin Klein Men's Cotton Classics Short Sleeve Crew Neck, White, 2XL                                             55     36.24    1       55 $      55.00
 815266013219    CVS   BosleyMD Foam, Extra Strength Thinning Treatment for Hair Loss and Hair Regrowth for Women 2%‐5% T                40        40    6       40 $     240.00
 811640030216    CVS   AO Smith Claryum Filter Replacement ‐ 2 Pack ‐ AO‐US‐200‐R                                                               54.95    9    54.95 $     494.55
 814179020208    CVS   KT Health, Compression Pad Therapy System, Heating and Ice Pack With Adjustable Wrap for Back/Muscl            44.99      25.9    1    44.99 $      44.99
  24721063625    CVS   Hutchins 5023 8" PSA Pad 2‐3/4" for 2023                                                                       21.67              1    21.67 $      21.67
  73796634001    CVS   DMZ BOX Omron PM400 Pocket Pro TENS Therapy Pain Relied                                                        19.99              5    19.99 $      99.95
4020829006690    CVS   Dr. Hauschka Rose Day Cream Light, 1 Fluid Ounce                                                                  45       45     2       45 $      90.00
3337875604796    CVS   Vichy LiftActiv Serum 10 Supreme With Hyaluronic Acid, 1.01 Fl Oz                                                 45              2       45 $      90.00
  96316280915    CVS   Zilla Pro Sol Reptile Terrarium Fixture 20‚Äù                                                                     40              1       40 $      40.00
 887758388693    CVS   HP 2013 D9Y32AA UltraSlim Docking Station with 65W Adapter D9Y32AA#ABA compatible with HP EliteB              214.64       25     1   214.64 $     214.64
  50036378246    CVS   JBL Clip 4 Portable Bluetooth Speaker ‐NEW‐ Never Opened ‐ GREY/GRAY ‐ Fast Ship                               39.95              1    39.95 $      39.95
  26508014004    CVS   MOEN 1222 Replacement Cartridge Compatible with Moen One‐Handle PosiTemp Faucets                               14.99              1    14.99 $      14.99
 885190330003    CVS   Pixi Flawless & Poreless Primer, No.1 Translucent                                                              28.45      29.9    1    28.45 $      28.45
  75609197864    CVS   Olay ‐ Regenerist Micro‐Sculp ng Super Essence Water ‐ 5oz ‐ NEW!¬†                                            19.14              2    19.14 $      38.28
 631257121004    CVS   Renew Life Women's Probiotic Capsules, Supports Vaginal, Urinary, Digestive and Immune Health, L. Rham         49.99     41.24    7    49.99 $     349.93
  77924114052    CVS   Weber Grill 'n Go Detachable LED Light ‐ 7661 ‐ Sealed                                                            26              1       26 $      26.00
 727783003676    CVS   New Chapter Women's Multivitamin 40 plus for Energy, Healthy Aging + Immune Support with 20+ Nutrie            69.95      32.4    8    69.95 $     559.60
 800443572023    CVS   EveryYay Teal Crash Test Dog Harness, Large                                                                    43.99     43.99    1    43.99 $      43.99
  53482300656    CVS   Sakura PIGMA MICRON .45 Fine Line Color Set #30065                                                              8.95              1     8.95 $       8.95
 759746620309    CVS   Fit System 62030G Chevrolet/GMC Driver Side Replacement OE Style Manual Folding Mirror, Black                 132.62     61.96    1   132.62 $     132.62
 738797097407    CVS   Golden SoFlat Matte Acrylic Paint, Pop Set (0974‐0)                                                            54.99     35.27    4    54.99 $     219.96
  74108151964    CVS   CONAIR Simple Cut Home Haircutting Kit 12 Pieces ‐ Model HC108RGB ‐ NEW.                                       17.99              2    17.99 $      35.98
    842034782    CVS   110‐679 OEM 8MR2034L 8EK2002N 8EM2012N 110‐219 110‐243 110‐330 110‐353 110‐368                                241.56    257.37    7   241.56 $   1,690.92
  29194350708    CVS   Pro Grip 350701 16' X 1‐1/2" Commercial Grade Ratchet Tie Down 350701 #0708                                    32.99              2    32.99 $      65.98
 718103257879    CVS   STAPLES 2093668 29740 12‐Ft Hdmi 4K Audio/Video Cable Black                                                    57.87              1    57.87 $      57.87
 794151402119    CVS   Capresso 117.05 Stainless Steel Pump Espresso and Cappuccino Machine EC50, Black/Stainless                      130      97.99    1     130 $      130.00
 888680071066    CVS   IK Multimedia iRig 2 portable guitar audio interface, lightweight audio adapter for iPhone, iPad and Andro     49.99     49.99    1    49.99 $      49.99
 727783003065    CVS   New Chapter Women‚Äôs Multivitamin + Immune Support ‚Äì Every Woman‚Äôs One Daily, Fermented w                 24.95     15.96    1    24.95 $      24.95
  45256622774    CVS   4 Pc. Brass Punch Kit                                                                                          32.04              1    32.04 $      32.04
 673521001001    CVS   Kun Original Mini ‐ 1/4 Violin Shoulder Rest                                                                    25.5     29.85    2     25.5 $      51.00
  94376905328    CVS   Winsor & Newton Cotman Watercolour Field Set, 15pc                                                             17.99              2    17.99 $      35.98
  46677717407    CVS   Philips Lighting (Opened Pack of 1) H7 Vision Upgrade Headlight Bulbs 55W 3200K                                 7.99              2     7.99 $      15.98
  78477772911    CVS   Leviton Ivory 1.406" Receptacle 1G Wallplate Single Outlet Plastic Cover 86004                                  5.93              4     5.93 $      23.72
 658010128919    CVS   Garden of Life, DR. Formulated Probiotics Digestive & Immune Care with Zinc, 30 Count                                    36.98    1    36.98 $      36.98
 767332153377    CVS   Murad Environmental Shield VITA‐C Triple Exfoliating Facial 80 ml                                              47.45        85    2    47.45 $      94.90
 810040572548    CVS   MANSCAPED¬Æ The Beard Hedger‚Ñ¢ Premium Men's Beard Trimmer, 20 Length Adjustable Blade Whee                   99.99     99.99    2    99.99 $     199.98
 302995889005    CVS   CETAPHIL Redness Relieving Daily Facial Moisturizer SPF 40, 1.7 fl oz, Broad spectrum Sunscreen, Neutral       17.99       9.9    1    17.99 $      17.99
 847626001215    CVS   j5create USB Type‐C Hub Adapter with Gigabit Ethernet and 3X USB 3.0 Ports                                     39.99     25.99    5    39.99 $     199.95
  54732825288    CVS   Prime 2‐in‐1 LED Collapsible Worklight 130 Lumen, Black Red, LEDHH02                                           12.95              1    12.95 $      12.95
  48231026130    CVS   LG CordZero A9 400W Cordless Stick Vacuum Cleaner Matte Grey A907GMS (Brand New)                              333.99              1   333.99 $     333.99
 790776004813    CVS   Laurastar Water Filter Cartridges (Set of 3 Granules & Cartridges)                                             99.99     72.37    1    99.99 $      99.99
 810041460325    CVS   Cocokind Postbiotic Acne Serum, Salicylic Acid Serum and BHA Liquid Exfoliant ‐ Exfoliating, Brightening a     16.66     14.99    1    16.66 $      16.66
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  77705131117    CVS   Superior Automotive 13‐1liftA RideEFFEX 1‚ÄùLift Aluminum Block kit w/2degree shim                        16.95              1    16.95 $    16.95
3282779051361    CVS   Eau Thermale Avene Soothing Eye Contour Cream, Fragrance Free, Eczema Prone, Sensitive Skin 0.33 Oz          32       32     1       32 $    32.00
  43168503341    CVS   GE ‐ CYNC Smart Wire‐Free Motion Sensor ‐ White                                                              10              5       10 $    50.00
  50375022336    CVS   InSinkErator STS‐OOSN SinkTop Satin Nickel Button Dual Outlet Switch Disposal                             39.99              1    39.99 $    39.99
  74040550184    CVS   2 Sheaffer VFM Fountain Pens, Matte Black, Silver Medium Nib, Brand New                                    29.6              2     29.6 $    59.20
 819204010742    CVS   Drybar The Single Shot Round Blow‐Dryer Brush                                                              155       124     1     155 $    155.00
  74108439154    CVS   GENUINE Conair Care Infrared Forehead Thermometer ‐ Visible in Darkness                                    6.99              1     6.99 $     6.99
  97855161802    CVS   BRAND NEW IN BOX Logitech MX Anywhere 3 Compact Performance Mouse FREE SHIPPING!                          49.99              2    49.99 $    99.98
  72477985012    CVS   (PIC Insect Zapper 2‐in‐1 Portable Zapper & Accent Light great for camping                                13.94              1    13.94 $    13.94
  76281840598    CVS     üí•Hasbro Star Wars ‐ Cantina Aliens Action Figure 3 pack , 1998 New üí•                                13.58              1    13.58 $    13.58
 817835010018    CVS   EVANHEALY Blue Lavender Cleansing Milk, 118 ML                                                               40       40     3       40 $   120.00
3337875686983    CVS   Vichy Aqualia Thermal UV Daily Moisturizer with SPF 30, Moisturizer with Sunscreen for Face with Niacina  34.99              2    34.99 $    69.98
 847626004681    CVS   j5create Ultradrive Type‐C Dual‐Display Modular Dock                                                      69.99     39.74    2    69.99 $   139.98
 718813597036    CVS   American Crafts Color Pour Resin‐ 4 oz. 2 Pack, Resin Dye Resin Molds Resin Hardener Dyes Mix with Resi   17.99     24.56    1    17.99 $    17.99
  47569838057    CVS   Square D QO250CP 2‐Pole 50‐Amp 120/240V Plug‐In Circuit Breaker *NEW*                                     15.99              4    15.99 $    63.96
 820633982753    CVS   B & K 105‐003NL 1/2" FIP Stop Valve, Color                                                                18.99     14.24    1    18.99 $    18.99
 784276801911    CVS   Lutron Electronics 3 Pack Dimmers LECL‐153P‐WH‐3 White Lumea CL Dimmers Switch, Best dimming perf         64.99     68.99    4    64.99 $   259.96
4020829006263    CVS   Dr. Hauschka Rose Day Cream, 1 Fl Oz                                                                         45        45    2       45 $    90.00
 898571000563    CVS   Its A 10 Miracle Leave‐In Lite Unisex Hairspray 10 oz                                                        38      27.4   11       38 $   418.00
 606373990025    CVS   1x60 Cesar Millan Leash Lg,Sport It Llc,Lgdwlcm60o                                                        10.98     10.98    1    10.98 $    10.98
 894047001393    CVS   Prevagen Improves Memory ‐ Regular Strength 10mg, 30 Chewables |Orange| with Apoaequorin & Vitamin D & Prevagen        29    2       29 $    58.00
 817835014344    CVS   evanhealy Sanctuary Serum ‐ 1 oz                                                                          39.23     42.79    5    39.23 $   196.15
 768990017414    CVS   Nordic Naturals Prenatal DHA, Unflavored ‐ 90 Soft Gels ‐ 830 mg Omega‐3 + 400 IU Vitamin D3 ‐ Support    28.95     24.61    1    28.95 $    28.95
 843246140006    CVS   Grande Cosmetics Lips Hydrating Lip Plumper Gloss                                                            27        27    1       27 $    27.00
  71249315040    CVS   L'Or√©al Revitalift Bright Reveal Brightening Day Moisturizer Lotion Ships Free!                          12.25              3    12.25 $    36.75
 850022051074    CVS   Rritual Superfoods Chaga Immune Herbal Supplement Container, Mushroom Adaptogen Enhanced Elixir, 5.2 Ounce             46    1       46 $    46.00
 741393148893    CVS   Primula PCCP‐6508S‐2 Coffee Press, 32 oz Capacity, 8‐Pan, Copper/Glass                                    50.05     57.99    1    50.05 $    50.05
 194644099510    CVS   Anker Nano II 100W USB C Wall Charger 3‐Port Adapter for MacBook iPhone Android                           80.15              1    80.15 $    80.15
  92644851117    CVS   Klein Tools 85076INSR Screwdriver Set                                                                     31.99              2    31.99 $    63.98
 840080570136    CVS   Echo Show 8 (2nd Gen, 2021 release) | HD smart display with Alexa and 13 MP camera | Glacier White       129.99              1   129.99 $   129.99
 698813009879    CVS   R√òDE VideoMicro II Ultra‐Compact On‐Camera Shotgun Microphone for Recording Audio with a Camera             79      69.9    1       79 $    79.00
  94800359949    CVS   STILA Stay All Day Mascara Intense Black .3oz/9ml Full Size ‐ NEW & FRESH                                  12.7              1     12.7 $    12.70
 857611003018    CVS   SeroVital Hair Regeneres Reduces Age‐related Hair Loss 60ct Exp08/24                                      21.95              2    21.95 $    43.90
 816401026378    CVS   Ancient Nutrition Supergreens Gummy, Organic Superfood Gummy Made from Real Fruits, Vegetables an         49.95     42.46    3    49.95 $   149.85
4020829005174    CVS   Dr. Hauschka Cleansing Cream, Deeply Cleansing, 1.7 Fl Oz                                                    29        29    1       29 $    29.00
 885612416551    CVS   Kohler K‐R10651‐SD‐VS Sous Kitchen Sink Faucet, Vibrant Stainless                                        379.55    269.98    2   379.55 $   759.10
 631257121165    CVS   Renew Life Women's Probiotic Capsules, 50 Billion CFU Guaranteed, Supports Vaginal, Urinary, Digestive    44.99     30.43   13    44.99 $   584.87
  27557135924    CVS   Lutron Diva Electronic Low Voltage Dimmer White DVELV‐300PH‐WH , J                                        52.97              1    52.97 $    52.97
  26508260296    CVS   Moen Kaden Stainless Steel Escutcheon 141002SRS for Kitchen Faucet                                        28.99              1    28.99 $    28.99
 310119052204    CVS   renu Lubricating and Rewetting Drops for Contact Lenses, 8 mL, Packaging May Vary                           4.8      4.65    2      4.8 $     9.60
 885418012452    CVS   Keranique Rejuvenate Healthy Hair Growth Follicle Strengthening Conditioner 8 oz                          17.95              1    17.95 $    17.95
  43168211734    CVS   GE 75 Watt Daylight LED Light Bulb, 5000 K, 2 Bulbs Each ‐ 2 Pack                                         14.24              9    14.24 $   128.16
 658010118637    CVS   Garden of Life Organic Plant Based Protein Powder ‐ Smooth Unflavored ‐ Vegan, Grain Free & Gluten Fre    30.99     23.79    1    30.99 $    30.99
  92644340338    CVS   Klein Tools 2005N Forged Steel Wire Crimper, Cutter, Stripper                                             39.97              2    39.97 $    79.94
3337872413162    CVS   La Roche‐Posay Glycolic Acid Serum with Kojic Acid and Vitamin B5, Reduces Dark Spots and Discoloration   44.99     44.99    2    44.99 $    89.98
 381372021856    CVS   Aveeno Tone + Texture Renewing Night Cream With Prebiotic Oat, Gentle Cream Exfoliates & Moisturizes      17.23     19.99    3    17.23 $    51.69
  51494101049    CVS   MegaFood Women's One Daily ‐ Daily Multivitamin 60 Tablets Exp 07/2024                                    26.99              2    26.99 $    53.98
  51221003103    CVS   Clover Mini Iron II "The Adapter" For Sewing, Quilting & Crafting 9100 New                                19.95              4    19.95 $    79.80
  26508221327    CVS   NEW Moen Wetherly 87999SRS 1‐HandleKitchen Faucet Stainless w/Sprayer                                     87.22              2    87.22 $   174.44
 746134148385    CVS   Panini 2023 Prizm Draft Picks Basketball Trading Cards Box 30 Cards Total NEW                             24.99              1    24.99 $    24.99
 857770005663    CVS   COOLA Organic Scalp Spray & Hair Sunscreen Mist with SPF 30, Dermatologist Tested Hair Care for Daily P      28              1       28 $    28.00
 857188004975    CVS   Wiley's Finest Wild Alaskan Fish Oil Cod Liver Oil ‐ Orange Flavored Omega‐3 Fish Oil Supplement ‐ 755mg  49.99      34.9    3    49.99 $   149.97
 655199290918    CVS   K&H Pet Products Window Lounger Cat Perch Natural 23 X 12 Inches                                          82.99     45.98    3    82.99 $   248.97
 633911838273    CVS   CHI The Sparkler 1" Lava Ceramic Hairstyling Iron Special Edition, Hair Straightener, Silver             174.39      112     1   174.39 $   174.39
 630454280187    CVS   Sizzix Thinlits Die Set 7PK Bold Text #2 by Tim Holtz | 665925 |Chapter 2 2022, Multicolor                34.99     12.48    1    34.99 $    34.99
  73796267452    CVS   Scian Upper Arm Blood Pressure Monitor Pulse Automatic Machine BP Cuff Gauge                              14.19              6    14.19 $    85.14
  31604026806    CVS   Nature Made CoQ10 Naturally Orange Flavor 400mg. 40 Softgels                                                 14             40       14 $   560.00
  26508341629    CVS   MOEN HydroEnergetix 8Spray Patterns Handheld Shower Head MISSING PARTS! 200H0BRB                           20.5              1     20.5 $    20.50
 850002593105    CVS   FELIWAY Optimum Cat, Enhanced Calming Pheromone Diffuser, 30 Day Starter Kit (48 mL), Translucent         34.99     19.98    1    34.99 $    34.99
  19954925710    CVS   D'Addario ECB81‐5 Chromes XL Flatwound Bass Strings ‐ Light Gauge                                         48.59              1    48.59 $    48.59
  10186801889    CVS   Custom Building Products Aqua Mix Enrich N'Seal 24 Oz. Stone Tile Sealer                                  37.98              3    37.98 $   113.94
 845620039050    CVS   My Arcade Go Gamer Portable ‐ Handheld Gaming System ‐ 300 Retro Style Games ‐ High Resolution ‐ Ba       29.99     34.99    2    29.99 $    59.98
  46224047759    CVS   Keeney Manufacturing Company Quarter Turn Dual Outlet Shutoff Valve K2904DHLF P8                          18.24              1    18.24 $    18.24
  31262099662    CVS   HoMedics Warm or Cool Mist Ultrasonic Humidifier with Aromatherapy                                        52.14              1    52.14 $    52.14
 734357222708    CVS   Battery Tender 022‐0227‐DL‐WH Power Plus 75Amp Battery Charger For Batteries Big & Small, 20Amp Ba       124.95              1   124.95 $   124.95
  44387343206    CVS   De'longhi ECP3420 15‐Bar Pump Cappuccino Espresso Machine ‐ Black                                         79.38              1    79.38 $    79.38
 647865195047    CVS   NEURIVA Destress Brain Supplement for Focus, Concentration & Accuracy with L‐Theanine for Relaxation      32.99     31.74    5    32.99 $   164.95
 729849100824    CVS   PetSafe America's Safest Pet Fence ‐ The Original Wireless Containment System ‐ Covers up to 1/2 Acre fo 319.99    289.95    1   319.99 $   319.99
  28893244448    CVS   Tru‐Flate 24444 200 PSI Plastic/Steel Mini Regulator 1/4 FNPT in. with Gauge                              17.99              1    17.99 $    17.99
5033102908665    CVS   Generic Value Products Black Ceramic Flat Iron, 1 inch Straightest Sleekest Hair Straightener             54.99     54.99    3    54.99 $   164.97
  92326101462    CVS   TayMac Masque 5000 White 2 gang Plastic Toggle Wall Plate Cover                                            5.94              2     5.94 $    11.88
  46677716653    CVS   Philips 9012 HIR2 Standard Halogen Headlight Bulb, 1 Pack                                                 13.08              2    13.08 $    26.16
  35886394547    CVS   Henckels Forged Graphite Wood Block for 15pc Knife Block Set (Block Only)                                 31.94              1    31.94 $    31.94
3660619404834    CVS   SEAGATE GAMING STGD2000100 Portable HDD Game Drive 2TB For SONY PS4 & PS5                                  69.9              1     69.9 $    69.90
  74040550191    CVS   Sheaffer VFM SILVER ARGENT Fountain Pen E0940051CS SILVER                                                 20.98              2    20.98 $    41.96
8011469959329    CVS   SICCE Voyager Nano 2000 Wave Maker Flow Pump 530 GPH | 360¬∞Adjustable Quiet Submersible Magn             45.99     39.99    1    45.99 $    45.99
  52177000796    CVS   Levi's 501 Shrink to Fit NEW size 40x32 Rigid Denim                                                       51.45              1    51.45 $    51.45
 885911748629    CVS   Irwin Tools IWAX2009 Self‐Feed Bit 2‐9/16In Speedbor Supreme                                              61.74       95     1    61.74 $    61.74
  32277381162    CVS   Forney 38116 1/16" Gen Rep Silver Solder ‐ 9 OZ                                                           14.99              1    14.99 $    14.99
 633422306964    CVS   Host Defense, Lion's Mane Powder, Supports Mental Clarity, Focus and Memory, Mushroom Supplement          29.95     22.46    1    29.95 $    29.95
  15594011752    CVS   Astroglide Gel Personal Premium Intimate Water‐ Based 10 Sample Packs                                      9.99              2     9.99 $    19.98
  46396024305    CVS   New Ryobi 5‐in‐1 3,300 PSI Gas and Electric Pressure Washer Nozzle                                         16.9              1     16.9 $    16.90
5000167346084    CVS   No7 Radiance+ Brightening Vitamin C Moisturizer Face Cream, Skin Nourishing Face Moisturizer, Fast‐Abs    17.98     15.59    1    17.98 $    17.98
 302990260014    CVS   Cetaphil Healthy Renew Skin Tightening Night Cream 1.7 Oz, Wrinkle Repair Cream for Face with Peptides    22.99        19    2    22.99 $    45.98
 767332603773    CVS   Murad Rapid Collagen Infusion ‐ Resurgence Anti‐Aging for Face ‐ Skin Smoothing Cream Targets Deep W         89        89    3       89 $   267.00
 851615006020    CVS   PURA D'OR Therapy Shampoo (16oz) Hydrates & Nourishes ‐ Scalp Care Shampoo For Itchy Flaky Scalp w/       19.99     15.99    4    19.99 $    79.96
 814179026514    CVS   KT Health Ice Sleeve, Cold Therapy and Flexible Compression Sleeve for Sore Muscles and Joints, Small/M   39.99     31.49    1    39.99 $    39.99
 631257120274    CVS   Renew Life Women's Probiotic Capsules, Supports Vaginal, Urinary, Digestive and Immune Health, L. Rham    29.29     20.42   12    29.29 $   351.48
  38097019308    CVS   Tweezerman Slant FULL Size Tweezer DUSTED ONYX 1256‐BDR                                                    19.8              7     19.8 $   138.60
 889714002285    CVS   Crest Whitening Emulsions Leave‐On Teeth Whitening Gel Kit + Overnight Freshness with Wand Applicato      54.99     29.83    1    54.99 $    54.99
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 810013411997    CVS   4" SealyChill‚Ñ¢ Gel + Comfort Memory Foam Mattress Topper with Pillowtop Washable Allergen Resista                   299.99     219.99    1   299.99 $   299.99
4005401152200    CVS   Faber‐Castell Pitt Graphite Matte Pencil Set, Metal Tin of 8 Graphite Pencils and Sketching Accessories (HB, 2B, 4B, 6B, 8B       24.27    1    24.27 $    24.27
 324208697214    CVS   PreserVision AREDS 2 Eye Vitamins with CoQ10 for Heart Health, Lutein, Zeaxanthin, Vitamin C & E, Zinc,                   37      39.99    1       37 $    37.00
 778988281758    CVS   Cool Maker, KumiKreator Bead & Braider Friendship Necklace and Bracelet Making Kit, Arts & Crafts Kids                 27.99      28.99    1    27.99 $    27.99
 363736247508    CVS   Nix Electronic Lice Comb, Instantly Kills Lice & Eggs and Removes From Hair                                               21         19    3       21 $    63.00
 651473706816    CVS   Perricone MD Cold Plasma Plus+ Sub D/Neck                                                                              89.01               6    89.01 $   534.06
 859975002317    CVS   Andalou Naturals Resveratrol Q10 Night Repair Cream, For Dry Skin, Fine Lines & Wrinkles, For Softer, Sm               28.52      17.49   10    28.52 $   285.20
 883351049092    CVS   Kwikset 991 Tustin Entry Lever and Single Cylinder Deadbolt Combo Pack featuring SmartKey in Satin Nick                72.97      55.75    1    72.97 $    72.97
 363736247973    CVS   Nix Complete Lice Treatment Kit, Lice Treatment for Hair, Lice Spray for Home, Lice Comb                               33.99      32.12    2    33.99 $    67.98
  48231786102    CVS   LG LT700P Refrigerator Replacement Water Filter                                                                        10.98               1    10.98 $    10.98
 885911449977    CVS   BLACK+DECKER 20V MAX* POWERCONNECT 10 in. 2in1 Cordless String Trimmer/Edger + Sweeper Combo                            129      178.33    1     129 $    129.00
  32277870925    CVS   Medium‐duty oxy‐Acetylene Cutting Attachment (SAP010508)                                                                  45               1       45 $    45.00
  92644318757    CVS   Klein Tools 31875 7/8 inch Carbide Hole Cutter Drill Bit                                                               22.99               2    22.99 $    45.98
 850018712033    CVS   Dr. Stephanie's Men's Romance ‐ Energy & Endurance Natural Supplement ‐ with Tribulus Terrestris, Fenugreek, & Longja             27.27    2    27.27 $    54.54
9421017767112    CVS   Trilogy Vitamin C Energising Mist Toner, 3.30 Fl Oz ‐ For Dull Skin ‐ Instantly Invigorate & Energise with Vit         30.99      30.99    1    30.99 $    30.99
 810014326559    CVS   StriVectin GlowFector SPF 30 Instant llluminating Lotion Broad Spectrum, Boosts Skin radiance with UV p                   39         39    1       39 $    39.00
7393033048037    CVS   Husqvarna Viking Interchangeable Walking Foot (Cat 7)                                                                              150     1     150 $    150.00
  94841850047    CVS   Similason iVIZIA lubricant eye Gel for Severe Dry Eyes. Exp 02/2024                                                     9.95               2     9.95 $    19.90
  21614802118    CVS   Nespresso Vertuo Next Premium Espresso Machine ‐ Dark Chrome (BNV570DCR1BUC1)                                         112.02               1   112.02 $   112.02
 687735641540    CVS   Pacifica Beauty, Rosemary Purify Invigorating Conditioner, Soothing Mint, Hydrate and Nourish Scalp, Ligh                 10      14.98    1       10 $    10.00
  90385480207    CVS   Dr. Ph. Martin's Bombay India Ink Set of 12 Paints ‐Free Shipping !                                                    31.99               1    31.99 $    31.99
  26479102724    CVS   Scotts Outdoor ‐ for Power Tools LSS10272PS 7.5‐Volt Lith G 7.2 Volt Shrub Shear                                       64.43               1    64.43 $    64.43
  30878233729    CVS   GE 87683 15 ft. High Speed HDMI Cable 1080P Full HD,3D,4K Ultra HD, Blk                                                13.74               1    13.74 $    13.74
  54732821372    CVS   Prime PB523118 3600J Black Multimedia Surge Protector,                                                                    31               1       31 $    31.00
6925699951072    CVS   Builders 4 in. Centerset 2‐Handle Low‐Arc Bathroom Faucet in Brushed Nickel                                            64.98      67.99    2    64.98 $   129.96
 885911085816    CVS   DEWALT Nut Driver Set, Impact Ready, Magnetic, 5‐Piece (DW2235IR)                                                      27.62       14.8    1    27.62 $    27.62
  92644745072    CVS   Klein Tools 1019‐SEN Stripper/Crimper Multi‐Tool                                                                       19.99               1    19.99 $    19.99
  80313071492    CVS   Gotham Steel Copper Cast Textured Nonstick Frying Pans 2 Pack Set New                                                  30.49               1    30.49 $    30.49
 889476510905    CVS   Lipo Flavonoid Plus Inner Ear Health Caplets, 90 Count                                                                  26.5      29.95   14     26.5 $   371.00
  71701123312    CVS   Dymo LetraTag Refills 3 Pack White Paper/Plastic/Clear 1/2" x 13' New Sealed                                             9.6               1      9.6 $     9.60
  85854241847    CVS   Case Logic Laptop Attach√©, Obsidian, Era 15.6"                                                                        38.57               1    38.57 $    38.57
 633356613589    CVS   We R Memory Keepers‐ Mold Press Clear Plastic Sheets,40pc                                                                         32.99    5    32.99 $   164.95
  72140634131    CVS   Eucerin Q10 Anti‐Wrinkle Sensitive Skin Creme                                                                          11.99               2    11.99 $    23.98
  70735035998    CVS   Prismacolor Premier Colored Pencils, Soft Core, 72‐Count                                                               49.95               1    49.95 $    49.95
  20714702281    CVS   CLINIQUE Drama cally Diﬀerent Moisturizing Lo on .5 FL OZ . NEW¬†In Box                                                 5.99               3     5.99 $    17.97
  84511316812    CVS     üåü Sakura Koi Watercolors CAC Pocket Field Sketch Box ‐24 Half Pan Set Creative                                     15.99              12    15.99 $   191.88
 870192008159    CVS   Realeather Multi‐Sized Leather Jewelry Hole Punch.8mm‐2mm. Holes                                                       45.75      19.95    2    45.75 $    91.50
  69055126509    CVS   Oral‐B Gum Care 3 pack Replacement Brush Heads                                                                         10.95              21    10.95 $   229.95
 727783900678    CVS   New Chapter Prostate Supplement ‐ Prostate 5LX‚Ñ¢ with Clinical Strength Saw Palmetto + Fermented Se                   39.85      25.97    1    39.85 $    39.85
  47181100419    CVS   Pet Adventures, Doggo, 16', Blue, Everyday Retractable Leash, For Large Dogs                                           33.24               1    33.24 $    33.24
3282770388954    CVS   Eau Thermale Av√®ne Hydrance Boost Concentrated Hydrating Serum, 48 Hour Hydration, Hyaluronic Aci                        39        39     1       39 $    39.00
 755970407365    CVS   Cosequin DS Max+Msm & Omega 3 & 60 Tabs                                                                                36.99               1    36.99 $    36.99
  12502671039    CVS   Brother TZe‐2512PK ~1" 9mm Black on White Laminated Label Tapes                                                        27.99               1    27.99 $    27.99
  30878465113    CVS   Philips AC Laptop Charger Dual Port USB A/USB C 67.5W, 6' C to C Cable Open Box                                        13.93               1    13.93 $    13.93
  77985004668    CVS   Rain Bird SST‐900in 9 Zone Irrigation Timer ‐ No Power Adaptor & No front Cover                                        30.75               1    30.75 $    30.75
 899484001272    CVS   FELIWAY Classic Cat Calming Pheromone Diffuser, 30 Day Starter Kit (48 mL)                                              45.8      23.49    1     45.8 $    45.80
 194252781371    CVS   Apple iPhone 13 Pro Max Silicone Case with MagSafe ‐ Abyss Blue                                                           49         49    1       49 $    49.00
  45242571161    CVS   Milwaukee Tool 1‐3/8‐inch Carbide Teeth Metal Cutting Titanium Coated Blade 3‐PK                                       19.99               4    19.99 $    79.96
 364760775906    CVS   Eau Thermale Av√®ne Cleanance ACNE Medicated Clearing Treatment with Micronized Benzoyl Peroxide,                         32               3       32 $    96.00
  89404247952    CVS   Fill‐Rite FR4210H Transfer Pump 20GPM,12v dc ‐ NEW                                                                    510.93               1   510.93 $   510.93
  30878112642    CVS   GE 11264 Ultra Edge Series Flat HDTV Antenna                                                                           20.15               1    20.15 $    20.15
  31604029159    CVS   Nature Made Fish Oil Burp‐less Ultra Omega 3 1400 Mg 90 Ct. 03/2024+ #9159                                             15.99               3    15.99 $    47.97
  46135335495    CVS   Sylvania H1 SilverStar High Performance Halogen Headlight 2‐Bulbs OPENBOX                                              11.99               2    11.99 $    23.98
 710504035421    CVS   Quality Archery Designs Ultra‐Rest HDX, Right Hand                                                                    154.95     154.95    1   154.95 $   154.95
  15561175562    CVS   Fluval 45 gm CO2 Disposable Filter Cartridges ‐ 17556 (3 Pack)                                                         24.97               2    24.97 $    49.94
  75609200939    CVS   New Olay Eyes Collagen Peptide 24 (24 hour hydration) Eye Cream 15ml/0.5 FL OZ                                         13.99               1    13.99 $    13.99
  46798265863    CVS   Tetra Pond Water Garden Pump 125 gph For Small Waterfalls, Filters open box                                            28.99               3    28.99 $    86.97
  30768031206    CVS   Osteo BiFlex Triple Strength Joint Health 40 Coated Tablet Exp 11/25                                                   11.72               3    11.72 $    35.16
 898571000297    CVS   It's a 10 Haircare Miracle Moisture Shampoo (33.8 Fl oz) (29/10)                                                          48      36.49    4       48 $   192.00
 766218138842    CVS   DecoArt X‐TREME Flex Wood/Leather KIT                                                                                  38.46      34.36    1    38.46 $    38.46
  70330353893    CVS   BIC Gel‐ocity Quick Dry Retractable Gel Pen, 8 Count (Pack of 1), Black                                                21.49               1    21.49 $    21.49
  46716101006    CVS   ancia RICO ROYAL QUARTINO 1,5 prezzo riferito alla singola ancia ++                                                     9.78               1     9.78 $     9.78
 727783003034    CVS   New Chapter Women's Multivitamin Advanced Formula for Stress, Bone, Immune, Beauty & Energy Supp                       54.55      33.94    1    54.55 $    54.55
 675468100168    CVS   OSEA Hyaluronic Acid Sea Serum 1 oz ‐ Beauty Gift for Women ‐ Skincare Gift Essential ‐ Non‐Toxic Seawe                   88      82.65    4       88 $   352.00
 719346077781    CVS   Curve Men's Cologne Fragrance Spray, Casual Day or Night Scent, Curve Crush, 2.5 Fl Oz                                  32.5      16.72    1     32.5 $    32.50
  87547556641    CVS   HP 63 (F6U61AN) Tri‐Color Ink Cartridge                                                                                 9.95               1     9.95 $     9.95
9421017760991    CVS   Trilogy Nutrient Plus Serum, 1.01 Fl Oz ‐ For Ageing Skin ‐ Firm, Smooth & Brighten ‐ Made in New Zealan                  44        43     2       44 $    88.00
  78477151297    CVS   New Leviton Brown 1‐Gang Outlet Cover Duplex Receptacle Plastic Wallplate 85003                                         5.93               1     5.93 $     5.93
 185886000914    CVS   Bodyceuticals Calendula + Flower Essence Firming + Balancing Facial Cleanser ‐ Seaweed, Geranium + Lav                  29.8               1     29.8 $    29.80
  90174062744    CVS   Medium Hold Spray Gel 250ml by American Crew                                                                           17.47               2    17.47 $    34.94
 363736000493    CVS   Nix Lice Treatment & Prevention Kit, All‐in‐One Shampoo, 4 fl oz, with Lice Removal Comb and Lice Preve                27.54       37.9    1    27.54 $    27.54
  76174751369    CVS   Dewalt DWMT75136OSP Socket Deep Impact 3/4‚Äù Dr 1‐3/8‚Äù                                                              27.95               1    27.95 $    27.95
 745167077181    CVS   CBE Torx Micro Stabilizer                                                                                              89.99      99.23    1    89.99 $    89.99
3616303396107    CVS   Sally Hansen Miracle Gel Friends Duo 2 pack: THE ONE WITH (LAVENDOOR & TOP COAT SHINY)                                 15.99      16.92    1    15.99 $    15.99
  74108381866    CVS   BabylissPRO RoseFX Rose Gold Cordless Trimmer FX788RG & Guides                                                        103.98               2   103.98 $   207.96
 850014125431    CVS   Calming Recovery Vest with Dog Calming Disc (Large)                                                                    43.98      36.75    1    43.98 $    43.98
 730884192316    CVS   Rio Premier Gold Fly Line, Easy to Cast Flies from Size 2 to 22, Ultimate All‐Around Fly Line with Ultra‐Slick Performance, M     99.99    1    99.99 $    99.99
 670959116543    CVS   jane iredale Purepressed Base Mineral Powder Refill, Warm Sienna, 0.35 Ounce                                              46         46    1       46 $    46.00
  78477943588    CVS   LEVITON GFTR1‐R4W GFCI OUTLETS, WHITE 15A TAMPER RESISTANT 4 PACK NEW                                                     27               2       27 $    54.00
4002516453017    CVS   Miele Triflex HX2 Cordless Stick Vacuum Cleaner, 60 min runtime, Lotus White / Rose Gold                                749      688.85    1     749 $    749.00
 890922002394    CVS   Kate Somerville Oil Free Moisturizer 50ml                                                                              25.99         76    2    25.99 $    51.98
 850023170590    CVS   Phone Skope Samsung Galaxy Phone Case‐Galaxy S22                                                                          66               1       66 $    66.00
 818558027697    CVS   SodaStream Terra Sparkling Water Maker (White) with CO2 and DWS Bottle                                                 99.99      82.11    1    99.99 $    99.99
  31604040222    CVS   Extra Strength Dosage Chewable Vitamin C 1000 Mg per Serving, Dietary Supplement                                       10.39               2    10.39 $    20.78
 792850907256    CVS   Burt's Bees Renewal Brightening Dark Spot Corrector with Bakuchiol Natural Retinol Alternative, 1 Oz (Pa               19.99      13.55    1    19.99 $    19.99
  74312176401    CVS   Nature's Bounty Co Q‐10 100 mg 60 Rapid release Softgels Exp 12/24                                                     15.85               1    15.85 $    15.85
  24721999825    CVS   Irwin Tools 4935642 Black Oxide Hex Shank Drill Bit, 1/16‐Inch                                                          9.97               3     9.97 $    29.91
 840103257099    CVS   RoC Multi Correxion 5 in 1 Restoring/Anti Aging Facial Night Cream with Hexinol, Christmas Gifts & Stocki              29.99       17.5    4    29.99 $   119.96
  46838000638    CVS   JVC Gumy True Wireless Headphones Peach Pink HA‐A7T New Imperfect Box                                                     20               2       20 $    40.00
 611247373064    CVS   Keurig K‐Mini Single Serve Coffee Maker, Black                                                                         99.99        47     1    99.99 $    99.99
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 633755154768    CVS   Naztech MagBuddy Elite Car Dash Cell Phone Holder Mount [Hands Free ‐ Eye Level ‐ Easily Install] Univer          29.99      29.99    1    29.99 $    29.99
  76281840697    CVS   Star Wars Power of the Force Stap and Battle Droid MIB                                                            17.19               2    17.19 $    34.38
 841380071903    CVS   Universal Converter                                                                                              224.05       345     1   224.05 $   224.05
 651473534204    CVS   Perricone MD Cold Plasma Plus+ Advanced Eye Cream 0.5 Ounce                                                        115        115     1     115 $    115.00
3282779374309    CVS   Eau Thermale Av√®ne ‐ RetrinAL EYES ‐ Retinaldehyde & Hyaluronic Acid ‐ Minimizes Appearance of Unde               49.5       49.5    1     49.5 $    49.50
 302990260045    CVS   Cetaphil Healthy Renew Anti Aging Face Serum 1 Oz, Retinol Alternative Serum for Face with Niacinamide            22.99      22.89   16    22.99 $   367.84
  20525104465    CVS   Schiff MegaRed 500mg Krill Oil ‐ 40 SoftGels Exp. 01/2025                                                         14.75               1    14.75 $    14.75
 193175422415    CVS   ICON Precision Snap Ring Pliers 4 Piece Set PSSRIE‐4 ‐ NEW SEALED!                                                28.49               1    28.49 $    28.49
 663296421623    CVS   Hercules DJ DJControl Starlight | Pocket USB DJ Controller with Serato DJ Lite, Touch‐Sensitive Jog Wheel         99.99      99.99    1    99.99 $    99.99
  47431781818    CVS   MarineLand Penguin PRO 375 Power Filter Multi‐Stage Aquarium Filtration for U...                                  81.18               1    81.18 $    81.18
 697045158706    CVS   AHAVA Dead Sea Water Mineral Body Lotion ‐ Daily Moisturizing & Hydrating Body Lotion with Osmoter,                  32        32     2       32 $    64.00
  76281697284    CVS   STAR WARS THE POWER OF THE FORCE RONTO & JAWA ACTION FIGURE 1997 SEALED NEW NIB                                   24.49               1    24.49 $    24.49
  78477762783    CVS   LEVITON Rocker Dimmer with Slide Bar                                                                              11.99               1    11.99 $    11.99
9421017760076    CVS   Trilogy Vital Moisturizing Cream ‐ Intensely Hydrating Daily Face Cream with Marula and Evening Primros              44      34.99    1       44 $    44.00
 651473712978    CVS   Perricone MD Cold Plasma Plus+ The Intensive Hydrating Complex, 1 oz.                                              105        105     4     105 $    420.00
 628451996019    CVS   ArtResin ‐ Epoxy Resin ‐ Clear ‐ Non‐Toxic ‐ 8 oz (4 oz Resin + 4 oz Hardener) (236 ml)                              35         28    5       35 $   175.00
 647484096305    CVS   FROGG TOGGS Men's Ultra‐Lite2 Waterproof Breathable Protective Rain Suit                                          29.99      34.99    2    29.99 $    59.98
  76930853474    CVS   STAR WARS 2005 REVENGE OF THE SITH "AT‐RT with AT‐RT DRIVER" New                                                  39.55               1    39.55 $    39.55
 842861111057    CVS   Ring Alarm Motion Detector                                                                                        29.99      29.99    2    29.99 $    59.98
7350092137829    CVS   FOREO LUNA fofo Smart Facial Cleansing Brush and Skin Analyzer, Fuchsia, Personalized Cleansing for a U              89               1       89 $    89.00
9421017760267    CVS   Trilogy Ultra Hydrating Face Cream, 2.5 Fl Oz ‐ For Dry or Dehydrated Skin ‐ Intense Nourishment and Hyd             36      34.39    1       36 $    36.00
 307660419761    CVS   Citrucel Fiber Therapy Caplets for Irregularity, Easy to Swallow Methylcellulose , 180 Count                      31.23         32    1    31.23 $    31.23
  20335061941    CVS   Fiskars 12oz Hammer                                                                                                  21               1       21 $    21.00
 751063399104    CVS   Gaia Herbs Male Libido ‐ Herbal Supplement with Saw Palmetto, Horny Goat Weed, Maca & Oats ‐ Suppo                28.67      28.67    3    28.67 $    86.01
 840797128750    CVS   Kristin Ess Hair 3‐In‐One Ceramic Flat Iron Hair Straightener for Straightening, Waving + Curling, Soft Heat         90      67.86    1       90 $    90.00
  75609195075    CVS   Olay Eyes Depuffing Eye Roller For Eye Bags 6ml/0.2fl.oz. NEW                                                      17.5               2     17.5 $    35.00
 671961408374    CVS   Harbor Breeze 40837 Off‐White Handheld Universal Ceiling Fan Remote Control                                                  35.63    1    35.63 $    35.63
 804879292173    CVS   EZ‐Pro Texture Spray Gun                                                                                          49.99      54.99    1    49.99 $    49.99
  72140032623    CVS   Eucerin Skin Balance Facial Day Cream W/ Tri‐Balance Complex‐1.7oz #623                                           11.89               2    11.89 $    23.78
 855710002734    CVS   Nugenix GH‐Boost ‐ Advanced Secretagogue Accelerator, HGH Booster and Sleep Supplement for Men, G                 44.99      48.49    2    44.99 $    89.98
 729849166301    CVS   SportDOG Brand YardTrainer Family Dog Training Collars‐ 100 Yard Range ‐ Rechargeable, Waterproof Re             149.95     139.95    1   149.95 $   149.95
 867595000101    CVS   Ugora Urinary Care #1 Regimen ‐ Flush Drink Mix Pink Lemonade Drink Mix                                           25.49               1    25.49 $    25.49
 809802252019    CVS   Daylight Company Halo Go Portable Magnifier Lamp, White/Silver                                                   139.99      83.99    1   139.99 $   139.99
4001638523219    CVS   Weleda Sheer Hydration Daily Face Cr√®me, 1 Fluid Ounce, Plant Rich Moisturizer with Prickly Pear Cactus Extract and Alo     17.99    3    17.99 $    53.97
  76930321577    CVS   Star Wars Revenge of the Sith Boba Fett (ROTJ) Figure and Cup Set Hasbro                                          26.08               1    26.08 $    26.08
3026980310127    CVS   Parker Fountain Jotter Stainless Steel C.C, in a Blister Card Pen, multicolor                                     20.16      23.24    2    20.16 $    40.32
 666151030572    CVS   Dermalogica Prisma Protect SPF30 (1.7 Fl Oz) Face Moisturizer Sunscreen ‐ Defends Against UV Rays Whil               69         69    1       69 $    69.00
 731398539017    CVS   Magnavox in‐Ear Headphones BK                                                                                                 9.97    1     9.97 $     9.97
 651473706090    CVS   Perricone MD High Potency Classics: Face Finishing & Firming Tinted Moisturizer Broad Spectrum SPF 30 2              79         75    1       79 $    79.00
4005401671589    CVS   Faber‐Castell PITT Artist Pen India Ink Pen ‐ wallet of 8 ‐ colour 199 black ‐ XXS, S, F, M, B, C, 1.5, Fude Har  24.22      24.95    1    24.22 $    24.22
3337871330163    CVS   Vichy Aqualia Thermal Awakening Eye Balm, Eye Cream with Hyaluronic Acid and Pure Caffeine to Reduce              34.99      34.99    2    34.99 $    69.98
  43156059355    CVS   Schlage Camelot Front Entry Door Handle F285 CAM 619 ACC CAM Satin Nickel LH RH                                   67.46               1    67.46 $    67.46
 810011400085    CVS   Ember Temperature Control Smart Mug 2, 10 Oz, App‐Controlled Heated Coffee Mug with 80 Min Battery               129.95     120.99    1   129.95 $   129.95
  80068449669    CVS   Sentry Deep Bass Wired Stereo Headphones with Microphone Rose Gold BLW‐HM966 NEW                                  18.22               1    18.22 $    18.22
 353100353416    CVS   Flonase Headache and Allergy Relief Caplets with Acetaminophen 650 mg, Chlorpheniramine Maleate 4 m               23.95      14.24    3    23.95 $    71.85
  54732828814    CVS   Prime 1000 Lumen Rechargeable LED Worklight AC / DC Adapter Work Light #8814                                      43.99               2    43.99 $    87.98
 884486453532    CVS   Redken Frizz Control/Dismiss Shampoo | Weightless Anti Frizz and Humidity Protection for Smoother Hai                25         26    1       25 $    25.00
 850009337023    CVS   Level Bolt Smart Lock ‐ Smart Deadbolt that Works with Your Existing Lock for Keyless Lock Entry, App‐En           199      179.99    1     199 $    199.00
  45242597796    CVS   Milwaukee 1‐1/8" Carbide Hole Cutter For Stainless Steel 49‐57‐8615 New Sealed                                    13.99               4    13.99 $    55.96
  78477942161    CVS   Leviton M42‐GFNT2‐4W GFCI Outlet‐ 4 Pack ‐ 20 Amp Non Tamper , F                                                     28               3       28 $    84.00
  46677563080    CVS   Philips ‐ Hue White A19 Bluetooth 75W Smart LED Starter Kit                                                       47.95               1    47.95 $    47.95
  15561145220    CVS   Wall Mount fluval Fresh and Plant 3.0 and 2.0 LED Light Fixture                                                   12.99               2    12.99 $    25.98
  92644702594    CVS   Klein Tools J215‐8CR‐SEN Hybrid Pliers ‐ Crimping 8" Tool                                                            32               5       32 $   160.00
 883351600460    CVS   Kwikset 96650‐494 Security Double Cylinder Deadbolt, Polished Brass, 1‐Inch Diameter Round Adjustable Latch, Key Lock        23.34    1    23.34 $    23.34
  15905060820    CVS   Aqueon Quietflow LED Power Filter 30 for Up to 45 Gallon Replacement LED Light                                    10.99               2    10.99 $    21.98
 317163160565    CVS   API STRESS ZYME Freshwater and Saltwater Aquarium Cleaning Solution 16‐Ounce Bottle                               22.48      18.05    1    22.48 $    22.48
 784276230872    CVS   Lutron Diva Dimmer for 0‐10V LED/Fluorescent Fixtures, Single‐Pole or 3‐Way, White                                55.55      61.99    3    55.55 $   166.65
 784276055154    CVS   Maestro Occupancy Sensor Wht                                                                                      49.95       35.9    6    49.95 $   299.70
  31604043551    CVS   Nature Made CoQ10 100 mg with Black Pepper Extract 30 Softgels Exp 10/2023                                            9               2        9 $    18.00
 858061006031    CVS   SySPEED Cat 5E 250ft Cable 350MHz 24/4pr UTP Solid Copper Conductor, Plenum CMP/CL2P/FT6 Rated C                     72               1       72 $    72.00
 896364002428    CVS   OLAPLEX No.4 Bond Maintenance Shampoo, 250 ml (Pack of 1)                                                          19.5        30     2     19.5 $    39.00
 651473713067    CVS   Perricone MD High Potency Classics Hyaluronic Intensive Hydrating Serum, 2 oz.                                     135        135     1     135 $    135.00
 842861107791    CVS   Ring Stick Up Cam Battery HD security camera with custom privacy controls, Simple setup, Works with Ale           99.99               1    99.99 $    99.99
  15905156813    CVS   Aqueon Fixture Optibright LED Light 18‐24"                                                                         44.9               1     44.9 $    44.90
  78477869390    CVS   1‐ Leviton 205‐AWP00‐30G DECORA SWITCH WALL PLATE 3 GAND GRAY ~ NEW OLD STOCK                                     12.99               1    12.99 $    12.99
  92097400887    CVS   Ramset MasterShot 0.22 Caliber Powder Actuated Tool #3                                                            61.99               1    61.99 $    61.99
 786676363150    CVS   EATON CORPORATION Eaton Br270 Double Pole Interchangeable Circuit Breaker, 120/240V, 70‐Amp, No                   35.73      39.99    1    35.73 $    35.73
3282770110982    CVS   Eau Thermale Av√®ne Body Skin Care Oil for Dry Sensitive Skin, Antioxidant Protection 3.3 Oz                         32         32    2       32 $    64.00
  44387104302    CVS   De'Longhi Combination Espresso/Coffee Machine ‐ Stainless Steel BCO430                                           147.99               2   147.99 $   295.98
 850002740783    CVS   Atlantis Snoopy and his Classic Race Car Motorized Snap Model Kit                                                 45.59      29.99    1    45.59 $    45.59
3282770101669    CVS   Eau Thermale Av√®ne A‐Oxitive Antioxidant Defense Serum, Vitamin C & E, Hyaluronic Acid, Free Radical                50         50    2       50 $   100.00
 785007028751    CVS   Legrand radiant 15 Amp Decorator Wall Outlet with 4.2 Amp USB Charger, Quad, Multi Port Charging Stat             67.46      35.95    2    67.46 $   134.92
 848182136151    CVS   Levi's Mens Undershirts T‐Shirts for Men 4 Pack                                                                   24.99               1    24.99 $    24.99
 885911671811    CVS   Dewalt Max Fit Tough Case User Friendly 32 Piece Bit Set DWA2SLS32 USA                                            38.44               1    38.44 $    38.44
 752082251893    CVS   Vice Golf Limited Edition Pro Plus Golf Balls (Gold)                                                              39.99      39.99    1    39.99 $    39.99
 729238172838    CVS   Shiseido Ultimune Power Infusing Concentrate ‐ 30 mL ‐ Antioxidant Anti‐Aging Face Serum ‐ Boosts Radi               75         75    5       75 $   375.00
  31604030254    CVS   Nature Made Wellblends Immune & Resp.‐ 50 Caps ‐ **LOT OF 3 **Exp. 01/2024                                            9               5        9 $    45.00
 835953006041    CVS   Wild Alaskan Dog Food Supplement, Salmon Oil, Omega‐3, 32‐Ounce Plastic Jar                                       34.99      30.25    2    34.99 $    69.98
  35886359317    CVS   Henckels Forged Elite 15 Piece Knife Set Wood Block German Steel Full Tang NEW                                   154.98               1   154.98 $   154.98
 631257121226    CVS   Renew Life Probiotic Colon Care Probiotic Capsules, Daily Supplement Offers Colon Support, L. Rhamnosu            49.99      34.55    2    49.99 $    99.98
 878898000408    CVS   Copper Creek BK2030TB Ball Door Knob, Privacy Function, 1 Pack, Tuscan Bronze                                     18.97      16.24    3    18.97 $    56.91
 630870090094    CVS   Le Creuset Enamel On Steel Whistling Tea Kettle, 1.7 qt., Marseille                                              114.95       169     1   114.95 $   114.95
 762511718392    CVS   Omnigrid Folding Cutting KitSm, None                                                                              44.99      35.49    1    44.99 $    44.99
 810014321370    CVS   StriVectin Wrinkle Recode Moisture Rich Barrier Cream, 1.7 fl. oz.                                                   99         99    2       99 $   198.00
  43388435804    CVS   NEW PFLUEGER PRESIDENT SZ.30 PRESSP30                                                                                65               5       65 $   325.00
 669125247433    CVS   Nutri‐Vet Multi‐Vite Multivitamin Paw Gel for Cats ‐ Daily Vitamin and Mineral Support ‐ Salmon Flavor ‐ 3        15.96       13.5    3    15.96 $    47.88
 888488306711    CVS   Zizo Glass Compatible with iPhone XR Tempered Glass Screen Protector Anti Scratch 9H Hardness Clear               19.99      13.99    1    19.99 $    19.99
 898571000662    CVS   It's a 10 Haircare Silk Express Miracle Silk Leave‐In Product, 10 fl. oz. (Pack of 1)                             43.26       27.5    1    43.26 $    43.26
 647865195115    CVS   NEURIVA Brain + Eye Supplement for Memory, Focus & Concentration with Lutein & Vitamins A C E and Z               29.99      32.49    1    29.99 $    29.99
  40293020460    CVS   New Radio Shack 6‐ft (1.82M) Shielded Audio Y‐Cable ‐ Right‐Angle Male to Male                                     6.64               1     6.64 $     6.64
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  46396037022    CVS   40 Volt Rapid Charger For Ryobi 6.0Ah 40 Volt Lithium Battery OP4050 OP40602 NEW                                     26              2       26 $    52.00
  15794030232    CVS   Country Life Gut Connection Weight Balance 120Capsule exp;12.24#0232                                                 34              1       34 $    34.00
 783250772841    CVS   IDEAL INDUSTRIES INC. 61‐535 Digital Circuit Breaker Finder with Digital Receiver and GFCI Circuit Tester        53.31      52.99    1    53.31 $    53.31
  97612322361    CVS   ZOO MED NANO COMBO DOME LAMP FIXTURE 80 WATTS ‐ LF‐36 BRAND NEW                                                  29.95               1    29.95 $    29.95
8011469978986    CVS   Sicce Scuba 300 Watt Contactless App Adjustable Aquarium Fish Tank Heater Smartphone Controlled via              54.99      54.99    2    54.99 $   109.98
  15561106009    CVS   CompatiblePad For FishTank Filter Pouch/Bag 20/Mini,30/150,50/200,70/300,110/500                                 13.98               6    13.98 $    83.88
5033102831703    CVS   ion Titanium Pro Brush Iron, 1‐1/4 Inch, Heats up to 400F, Curls, Straightens, Volumizes, Adds Lift, All Hair    54.99      54.99    1    54.99 $    54.99
 856235006283    CVS   iFixit Mako Driver Kit ‐ 64 Precision Bit Set for Electronics Repair                                                           37    1       37 $    37.00
 855278005345    CVS   Mypurmist 2 Ultrapure Personal Handheld Steam Inhaler, Vaporizer and Humidifier (Plug‐in)                       119.95     119.95    1   119.95 $   119.95
 627442189348    CVS   Northern International Inc Wax Dipped Votive Candle,White,2 Pack (MG11751CR2)                                    24.99      24.99    1    24.99 $    24.99
9347403002721    CVS   LIFX Color 1100 Lumen BR30 E26 Bulb,White, 1‐Pack                                                                49.99      34.98    1    49.99 $    49.99
  43388454829    CVS   Pflueger Trion¬Æ 35 Spinning Reel TRIONSP35X 1498330 UPC 043388454829                                            51.99               1    51.99 $    51.99
  76174737561    CVS   Stanley FMHT73756 FatMax Straight Cut Aviation Snips                                                             15.12               1    15.12 $    15.12
  46135363368    CVS   Sylvania 9012 HIR2 Silverstar High Performance Halogen Bulbs Replacement 1 Qty                                       14              2       14 $    28.00
 843585104158    CVS   100% PURE Water Foundation Full Coverage Hydrating Makeup, Light Dewy Finish, Moisturizing Conceale                  48              1       48 $    48.00
 850002593129    CVS   FELIWAY Optimum, Enhanced Calming Pheromone 30‐day Refill ‚Äì 1 Pack, Translucent                                29.99       18.8    1    29.99 $    29.99
  93573156601    CVS   Cricut Tools Weeder Tweezers Scraper Spatula Scoring Sylus TrueControl ~ U PICK!                                   9.95              1     9.95 $     9.95
 755284020007    CVS   Good Earth Lighting 24ft Smart Plug‐in LED Strip Light in White, Color Changing RGBW Lights for Indoor or Outdoor, 1300     84.98    1    84.98 $    84.98
  26508221297    CVS   Brand New Moen 10" Kitchen Faucet Escutcheon Deckplate Brushed Nickel Base Plate                                 16.16               1    16.16 $    16.16
 787651760162    CVS   AZO Complete Feminine Balance Daily Probiotics for Women, Clinically Proven to Help Protect Vaginal He           30.29       19.5    2    30.29 $    60.58
  45242570782    CVS   Milwaukee 49‐25‐1103 Universal Fit Multi‐Tool Wood Blade 3‐Pack ‐NEW                                             13.99               1    13.99 $    13.99
 817835013668    CVS   evanhealy Rose Vetiver Harmonizing Balm ‐ 0.5 oz                                                                 29.95               2    29.95 $    59.90
  15561145237    CVS   Fluval 59W Plant Light ~ BRAND NEW ~ NEVER USED ~ OPEN BOX                                                      184.03               1   184.03 $   184.03
 818582011945    CVS   Vetericyn Plus Cat Wound Care Hydrogel Spray | Feline Healing Aid and Wound Protectant, Sprayable Ge             17.99      17.09    2    17.99 $    35.98
  71249377475    CVS   L'Oreal Age Perfec Rosy Tone Eye Brightener Dark Circles Mature Dull Skin 0.5Oz                                  10.39               1    10.39 $    10.39
 898571000266    CVS   It's A 10 Haircare Miracle Hair Mask ‐ 8 oz. ‐ 1ct                                                               30.89      21.99    1    30.89 $    30.89
  71701063403    CVS   Dymo Letratag 200B Label Maker                                                                                   27.59               1    27.59 $    27.59
 889714003138    CVS   Crest 3D Whitestrips Sensitive At‐home Teeth Whitening Kit, 18 Treatments, Gently Removes 15 Years of            39.99      34.99    1    39.99 $    39.99
 883111029852    CVS   Oneway Talon Chuck ‐ Insert Version                                                                             314.98     214.95    1   314.98 $   314.98
 184560000059    CVS   Mixed Chicks by Mixed Chicks                                                                                       9.99      9.99    1     9.99 $     9.99
  44974400244    CVS   General's Multipastel Pastel Pencils 24                                                                          24.84               1    24.84 $    24.84
 191518051247    CVS   126pc. Drawing Art Set by Artist's Loft                                                                            39.3      39.3    2     39.3 $    78.60
 885612105608    CVS   Kohler K‐R8799‐C‐VS Duostrainer 4‐1/2 in. Sink Strainer in Vibrant Stainless                                     39.97        99     1    39.97 $    39.97
  27917001128    CVS   Nutrition Now Pb 8 Pro‐Biotic Acidophilus 14 Billion Cfu 60 Veg Caps                                               13.4              1     13.4 $    13.40
 810015589397    CVS   Skullcandy Jib True In‐Ear Wireless Earbuds ‐ Black (Discontinued by Manufacturer)                               31.99      39.79    1    31.99 $    31.99
4059089313682    CVS   SYLVANIA ‐ 9012 SilverStar Ultra ‐ High Performance Halogen Headlight Bulb, High Beam, Low Beam and              64.99         35    2    64.99 $   129.98
  71617106386    CVS   ArtBin Rotating Vinyl Storage Rack, Holds up to 36 Rolls of Vinyl                                                26.23               1    26.23 $    26.23
  45242750078    CVS   Milwaukee 49‐25‐1100 Universal Open‐Lok Anchor High Carbon Steel Blades 10Pk NEW                                 16.88               2    16.88 $    33.76
6291106032895    CVS   HUDA BEAUTY The New Nude Eyeshadow Palette                                                                                  43.61    1    43.61 $    43.61
  51494100271    CVS   MegaFood MegaFlora Baby & Me Prenatal + Probio c +Prebio c 60 caps¬† EXP 04/23                                   15.98               2    15.98 $    31.96
 845473089073    CVS   NEW!! Harbor Breeze Spot Light Set 4 Count LED Low Voltage 4108907                                               69.95               2    69.95 $   139.90
5033102892636    CVS   GVP Dual Voltage 1‚Äù Lightweight Titanium Straightening Iron Adjustable Temperature                             59.99      59.99    1    59.99 $    59.99
 190781107033    CVS   HP 202A Magenta Toner Cartridge | Works with HP Color LaserJet Pro M254, HP Color LaserJet Pro MFP M             88.89      88.89    1    88.89 $    88.89
 323900045101    CVS   Vicks DayQuil and NyQuil High Blood Pressure Cold and Flu Relief Liquid Medicine Combo Pack, Multi‐Sym           13.99      18.99    2    13.99 $    27.98
  53232788543    CVS   LifeTime Herbal Support Oregano Oil & Olive Leaf 2 oz Liquid                                                     27.99               1    27.99 $    27.99
 810763033159    CVS   Fenty Beauty by Rihanna Killawatt Freestyle Highlighter Afternoon Snack/Mo' Hunny                                    40      34.5    1       40 $    40.00
  15794060031    CVS   Country Life Benfotiamine with Thiamin 60 Vegan Caps                                                             17.39               1    17.39 $    17.39
 840080565170    CVS   Amazon Fire TV Stick 4K Max streaming device, Wi‐Fi 6, Alexa Voice Remote (includes TV controls)                 54.99               5    54.99 $   274.95
  44376297008    CVS   Universal 3 Burner Premium Grill Cover 55in Wide                                                                 15.92               1    15.92 $    15.92
 781723437815    CVS   Fino Pour‐Over Coffee Maker, Borosilicate Glass and Bamboo Handle, Stainless Steel Filter, 4‐Servings, 22        39.99      45.98    2    39.99 $    79.98
 670480262009    CVS   Enzymedica GlutenEase, Digestive Enzymes for Food Intolerance, Offers Fast Acting Gas & Bloating Relief,         30.99      26.23    1    30.99 $    30.99
 810045686615    CVS   Skullcandy Mod In‐Ear Wireless Earbuds, 34 Hr Battery, Microphone, Works with iPhone Android and Blu             59.99      40.99    1    59.99 $    59.99
  92644935077    CVS   NEW Klein Tools ACCU‐BEND Magnetic Level ‐ 4 Vial 935AB4V ____ FREE USA SHIPPING                                 24.99               2    24.99 $    49.98
 630359838506    CVS   In Clover Connectin Hip and Joint Soft Chew Supplement for Dogs, Combines Glucosamine, Chondroitin a             21.99      21.99    1    21.99 $    21.99
  93573479748    CVS   NEW Cricut Infusible Ink‚Ñ¢ Markers 1.0mm, Ultimate (30 ct) ‐ 2008003                                            22.87               1    22.87 $    22.87
 633422050324    CVS   Host Defense, Reishi Extract, Supports General Wellness and Vitality, Mushroom Supplement, Plain, 2 fl o         36.95      29.21    1    36.95 $    36.95
 850023170415    CVS   Phone Skope iPhone 13 Mini Phone Case                                                                            59.99      59.99    1    59.99 $    59.99
 850009337061    CVS   Level Home Inc. Level Lock Smart Lock Touch Edition ‐ Smart Deadbolt for Keyless Entry Using Touch, Key             329    168.99    1     329 $    329.00
3282770074758    CVS   Eau Thermale Av√®ne Trixera Nutrition Nutri‐Fluid Balm, Ceramides, Very Dry, Face and Body, Alcohol‐Fre              29              3       29 $    87.00
  16963396005    CVS   HeathZenith SL‐9601‐00 Smart Doorbell Motion Sensor                                                                25.1              1     25.1 $    25.10
 810398025659    CVS   SPINSTER SISTERS CO Face Serum, 1 FZ                                                                             46.16      46.16    1    46.16 $    46.16
 640986035629    CVS   Primal Elements Sugar Whip, Exfoliating Sugar Scrub, Body Cleanser and Moisturizer ‐ Wahine, 10 oz Pack              20        20    3       20 $    60.00
  77924177705    CVS   NEW Weber Genesis 300 Series Premium Grill Cover Heavy Duty Fits Genesis series                                  71.99               1    71.99 $    71.99
 197689001074    CVS   Tarte Maneater Blush & Glow Cheek Plump (You Pick) NIB 8 mL                                                      25.19               1    25.19 $    25.19
  52309721803    CVS   Beckett 290 GPH Fountain Pump 7218010 With Auto Shut off NEW in Package                                            38.4              2     38.4 $    76.80
 813843034688    CVS   CHI Classic Tourmaline Ceramic Hairstyling Iron 1 1/2" in Onyx Black                                            109.99      79.63    1   109.99 $   109.99
  26508343661    CVS   New Moen Flo by Moen Smart Sump Pump Monitor ‐ S2000ESUSA                                                            75              1       75 $    75.00
 743772061205    CVS   Jacquard Pearl Ex Pigment Series I 12 Color Set                                                                    37.7     27.19    1     37.7 $    37.70
 827854005728    CVS   Colgate Optic White Express Teeth Whitening Pen with 35 Treatments, Enamel Safe, Designed for No Too             24.99      23.99    7    24.99 $   174.93
9421017761721    CVS   Trilogy Rosehip Oil Antioxidant ‐ For All Skin Types ‐ Certified Organic Beauty Oil Rosapene to Improve the          44     39.99    1       44 $    44.00
  32277870932    CVS   Forney 87093 Oxy‐Acetylene Welding Torch Handle w Check Valves Fits Victor                                       39.99               1    39.99 $    39.99
  76174129045    CVS   Stanley Bench Plane 12‐904 ‐ Contractor Grade w/ Adjustable Mouth Opening                                        34.95               1    34.95 $    34.95
  51131208100    CVS   ACE‚Ñ¢ Back Brace 207744, One Size Adjustable                                                                    19.97               1    19.97 $    19.97
 883049434612    CVS   KitchenAid Ultra Power Plus 4.5 Qt Tilt‐Head Stand Mixer                                                        449.99               1   449.99 $   449.99
 633472022258    CVS   Clearblue Fertility Monitor Test Sticks, 30 count                                                                71.49      44.44    1    71.49 $    71.49
 681168323097    CVS   SeroVital VitaCorrect Face Solution with Vitamin C Serum and Ferulic Acid | Age Dark Spot Remover, Anti              69     33.96    3       69 $   207.00
 471810100417    CVS   Doggo Everyday Retractable Dog Leash, 16' Long Belt, Large for Dogs Up to 110 lbs, Blue with Black Soft G        23.99      47.75    3    23.99 $    71.97
 817835012470    CVS   EVANHEALY French Rose Clay Mask, 1 OZ                                                                            19.92      23.95    3    19.92 $    59.76
  27557983884    CVS   Lutron MS‐OPS5MH‐WH Occupancy/Motion Sensor Switch New Open Box                                                  24.95              10    24.95 $   249.50
 840080543161    CVS   Fire HD 8 tablet, 8" HD display, 32 GB, (2020 release), designed for portable entertainment, Black               89.99               3    89.99 $   269.97
  32664191602    CVS   COOPER WIRING DEVICES 2132VBOX Duplex Plate ‐ Ivory                                                                4.77              7     4.77 $    33.39
  70501102480    CVS   Neutrogena Rapid Wrinkle Repair Retinol Pro+ Eye Cream ‐ Fragrance Free 0.5 oz                                       14             29       14 $   406.00
  46677563257    CVS   Philips Hue White and Color Ambiance A19 75W Medium Lumen Smart LED Bulb 3257OB                                      33              1       33 $    33.00
 693749002871    CVS   Thorne Basic Nutrients 2/Day ‐ Comprehensive Daily Multivitamin with Optimal Bioavailability ‐ Vitamin a             30       30     3       30 $    90.00
 196188047842    CVS   HyperX Cloud II Wireless ‐Gaming Headset for PC, PS5, PS4, Long Lasting Battery Up to 30 Hours, DTS¬Æ H         149.99       199     1   149.99 $   149.99
  11499028598    CVS   ImpressArt Metal Stamp Pack 6mm 4pc                                                                                  10              1       10 $    10.00
  12748067375    CVS   Warn Drill Wench 750lbs Capacity 101570 Portable Tool 5" X 5" X 5", Steel Rope                                  207.99               1   207.99 $   207.99
 884486453594    CVS   Redken Volume Injection Conditioner | Hair Volumizer For Fine Hair | Detangling and Volumizing | 10.1 O              25        26    1       25 $    25.00
 850024316454    CVS   BioLite 425 Lumen Rechargeable Headlamp with Front and Back Lights, Ocean Teal                                   59.95      59.95    1    59.95 $    59.95
 738797992436    CVS   Golden Artist Colors, OPEN Slow‐Drying Acrylics, 8‐color Landscape Set                                                      38.05    1    38.05 $    38.05
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  52088874806    CVS   Master Mechanic 159081 6 Piece Router Bit Set                                                                     25              2       25 $      50.00
  12381173426    CVS   Chamberlain 940EV‐P2 Garage Door Keyless Wireless Keypad                                                       19.49              3    19.49 $      58.47
 899484001173    CVS   FELIWAY Classic Cat Calming Pheromone Spray (60 mL)                                                            24.99     24.24    3    24.99 $      74.97
 684032121508    CVS   @ Sterling Premium Lead‐Free Solid wire Solder 16 oz 118‚Äù 331755                                                30              1       30 $      30.00
  76930321553    CVS   ~ Hasbro Star Wars HAN SOLO Action Figure and Character Cup                                                    13.99              1    13.99 $      13.99
 810813033627    CVS   BeautyBio Rejuvenating Scalp + Fuller Hair Therapy Set (0.3mm)                                                  249       249     1     249 $      249.00
  46135313585    CVS   Sylvania H1 SilverStar Ultra High Performance Halogen Headlight 2‐Bulbs OPENBOX                                19.99              1    19.99 $      19.99
 840160202094    CVS   OLLY Sleep Aid Adaptogen, Valerian Root, Chamomile, Melatonin‐Free, Sleep Support Supplement, Veget            19.99     19.99    1    19.99 $      19.99
  97855172471    CVS   Astro Gaming A10 Gen 2 Wired Stereo Over‐the‐Ear Gaming Headset                                                29.98              1    29.98 $      29.98
  31333023183    CVS   Wine Enthusiast 2‐in‐1 Electric Blue 1 Automatic Wine Bottle Opener Preserver                                  41.98              1    41.98 $      41.98
 651032047695    CVS   Speedball Speed Screens Screen Printing Kit, Includes Ink, Squeegee, Frame, UV Exposure Light                  89.99        85    1    89.99 $      89.99
 651032045905    CVS   Speedball Fabric Screen Printing Ink Starter Set, Opaque, 6‐Colors, 4‐Ounce Jars, Silver, Raspberry, Blue T    34.99     29.99    2    34.99 $      69.98
 813424023803    CVS   Acure Brightening 2% Alpha Arbutin Serum ‐ Brighter Skin, Improve Dark Spots & Uneven Tone ‐ 100% Ve           21.99      17.5    1    21.99 $      21.99
 883351591898    CVS   Kwikset 92001‐533 Delta Passage Hall/Closet Lever In Polished Chrome                                           18.97     39.06    1    18.97 $      18.97
 786261140449    CVS   NSi Industries LLC RZ307 Nish Industries Turk Rz307 Easy‐Set 15‐Amp 24‐Hour, 7‐Day, Digital In‐Wall Light      53.55     24.99    2    53.55 $     107.10
 666151113312    CVS   Dermalogica Dynamic Skin Retinol Serum with Multi‐Retinoid Complex                                                92        92   15       92 $   1,380.00
  43156062430    CVS   Schlage BE489WB‐V‐CEN‐622 Encode Smart Wifi Deadbolt ‐ Matte Black                                            228.48              1   228.48 $     228.48
  15905060790    CVS   Aqueon QuietFlow 75 LED PRO Power Filter 100106079 Black BRAND NEW                                             59.63              1    59.63 $      59.63
  30768196073    CVS   Osteo Bi‐Flex Joint Health Triple Strength + Vitamin D Coated 80 Tabs Exp 2026                                 17.98              1    17.98 $      17.98
 192333130308    CVS   Clinique High Impact Zero Gravity Mascara ‐ Black Mascara Women 0.27 oz                                           25     20.25    1       25 $      25.00
 810000318094    CVS   Mederma PM Intensive Overnight Scar Cream, Works with Skin's Nighttime Regenerative Activity, Clinica          17.99     23.99    2    17.99 $      35.98
 661120412885    CVS   Frankford Arsenal Platinum Series Case Prep Center with Hardened High Speed Steel Chamfer Debur Too           174.99    118.99    1   174.99 $     174.99
  45242822621    CVS   Milwaukee 49‐25‐2272 Diamond Grit Blade Grout Removal Universal Fit Open‐Lok                                   21.59              1    21.59 $      21.59
  78729521793    CVS   Hot Tools Pro Waver Deep Plates Nano Ceramic Plates Dual Voltage                                               33.82              1    33.82 $      33.82
 648846067193    CVS   GEN5X 18V Hybrid Folding Panel Light                                                                          199.99      125     1   199.99 $     199.99
  94925004021    CVS   Connecticut Electric Pushmatic Circuit Breaker UBIP‐130 1 Pole 30 Amp 120/240VAC                               18.99              1    18.99 $      18.99
  48037346029    CVS   Atlas Home Security Exterior Entry Deadbolt Keyed Alike 2946                                                   20.99              1    20.99 $      20.99
 662850002414    CVS   Hougen 12138 1‐3/16" X 1" Rotabroach "12, 000‐Series" M2 High Speed Steel Magnetic Drill Annular Cutt          71.99     59.19    6    71.99 $     431.94
  41260001222    CVS   Lot of 2 kroger smile sonic brush heads scuffed.                                                                  13              1       13 $      13.00
  49625280718    CVS   Body Paint Airbrush Supplies Graftobian F/X Aire Formulated Airbrush Makeup                                    29.95              1    29.95 $      29.95
 363736120030    CVS   Nix Lice Killing Creme Rinse Extra Strength Family Pack, 2 Creme Rinse, 2 fl oz bottles & 2 Lice Combs         18.99     18.24    4    18.99 $      75.96
 819444016153    CVS   ONNIT Total Human Complete Supplement 60 packs/30 days                                                        104.94              1   104.94 $     104.94
 816458023481    CVS   CHEFMAN Small Air Fryer Healthy Cooking, 3.6 Qt, Nonstick, User Friendly and Dual Control Temperature          59.99     59.48    1    59.99 $      59.99
  72140011611    CVS   Nivea Creme 382g 13.5 oz. Blue Tin Box Creame                                                                  13.15              4    13.15 $      52.60
 194587626781    CVS   TRAKK Cryo Ball Cold Massage Roller‐ 6 Hours Cold Therapy Relief                                               39.99     29.49    2    39.99 $      79.98
 834893003769    CVS   Juice Beauty Stem Cellular Anti‐Wrinkle Booster Serum with Vitamin C, 1 Fl Oz                                     80        80    2       80 $     160.00
 889245158390    CVS   Dorman 711‐656 Black Chrome Spline Drive Lock Set M14‐1.50 Compatible with Select Models, 20 Pack              92.19     36.13    3    92.19 $     276.57
 811909033675    CVS   Focus Factor Max Strength Brain Supplement for Memory, Concentration & Focus, 120 Count ‐ Complete             59.99     53.82    1    59.99 $      59.99
 885911642552    CVS   IRWIN Screwdriver Bit Set, 30‐Piece (IWAF1230)                                                                 47.94     21.99    1    47.94 $      47.94
 606523107648    CVS   PAC TATO JBL Amplifier Turn‐On Interface for Toyota Vehicles,Black                                              120       66.5    2     120 $      240.00
  16185128958    CVS   Numi Teas Emperors Puerh Tea 16 Bag                                                                             8.83              1     8.83 $       8.83
 658010115681    CVS   Garden of Life Raw Probiotics for Women Over 50‐50 & Wiser Women's Probiotic with Acidophilus, Live C          52.45     41.99    1    52.45 $      52.45
7640126630458    CVS   Alchimie Forever Pigment Perfecting Serum | Reduces Uneven Pigmentation and Age Spots with Vitamin                99        99    2       99 $     198.00
 751063398909    CVS   Gaia Herbs Kava Root ‐ Helps Sustain a Sense of Natural Calm and Relaxation* During Times of Stress ‐ Ma       30.58     30.58    3    30.58 $      91.74
 766218138835    CVS   DecoArt X‐TREME FLEX FANTASY EFFECT KT                                                                         44.36     37.69    2    44.36 $      88.72
  91511600292    CVS   OLFA RTY‐2/G 45mm Ergonomic Rotary Cutter                                                                         13              5       13 $      65.00
  15561143455    CVS   Fluval Sea CP1 Circulation Pump for Freshwater & Saltwater Aquariums, 14345                                    18.99              2    18.99 $      37.98
 736150155825    CVS   Laura Mercier Moisturizing Mango Butter Velour Lovers Lip Colour ‐ Joy 0.12 oz                                    28      17.2    1       28 $      28.00
 730884192620    CVS   Rio Premier Technical Trout, WF5F                                                                                        99.99    1    99.99 $      99.99
 846035054775    CVS   Champion Cutting Tool CT5‐1‐3/16 Carbide Tipped Hole Cutter: Up to 3/16" depth of cut, CT5‐2‐1/2              131.02     88.99    1   131.02 $     131.02
  88381571579    CVS   WATCH CASE OPENER 91550 (WCP015158)                                                                             9.99              1     9.99 $       9.99
 817835011664    CVS   evanhealy Chilean Wild Rosehip Seed Oil ‐ 1 oz                                                                           50.83    1    50.83 $      50.83
 381371196203    CVS   Aveeno Calm + Restore Daily Moisturizer Mineral Sunscreen with Broad Spectrum SPF 30, Lightweight All          26.29      11.4    3    26.29 $      78.87
  78477151235    CVS   Leviton Ivory 2‐Gang Light Switch Wall Plate Cover Smooth Plastic 86009                                         3.99             14     3.99 $      55.86
 830762002963    CVS   ZONET Networking ZVS4102 2‐Port 400MHZ 2300X1440 2 VGA Outputs Video Splitter                                  42.99              1    42.99 $      42.99
3337871324568    CVS   Vichy Aqualia Thermal Spa Face Night Cream and Overnight Mask with Hyaluronic Acid, Moisturizer for Fa         34.99     34.99    2    34.99 $      69.98
  31604042943    CVS   Nature Made Fish Oil 1200mg, 150 Softgels, Fish Oil Omega 3 Exp 11/25 #2943                                       15              1       15 $      15.00
  15561102193    CVS   Fluval A219 High Performance Canister Filter FX6 Aquarium Filter Media Sealed                                 334.99              1   334.99 $     334.99
 817835010254    CVS   evanhealy Rose Vetiver Day Moisturizer For All Skin Types ‐ Lightweight Formula Packed with Antioxidant        47.98     49.24    2    47.98 $      95.96
 786689040895    CVS   Eaton 20 amps Plug in Single Pole Circuit Breaker                                                                 51     26.71    1       51 $      51.00
4712795086324    CVS   J5create JCD397 4K60hz Elite USB‐C Triple Mini Dock Compatible with USB4 devices USB‐C to 2xHDMI, 1x            115       115     1     115 $      115.00
  32886861185    CVS   Southwire 56911445 Wall Speaker Wire, 16/2 Grey Stranded (150 Ft)                                               60.2              1     60.2 $      60.20
  43168540605    CVS   G E Lighting 9W A21 MB Bulb Plastic with a Medium Base 760 Lumens Damaged Box                                  18.94              1    18.94 $      18.94
 759501113749    CVS   Paslode, Lithium‐Ion Rechargeable Battery, 902654, For all Paslode Cordless Lithium‐Ion Tools                     73     68.98    3       73 $     219.00
  76930321508    CVS   STAR WARS ATTACK OF THE CLONE ANAKIN SKYWALKER FIGURE WITH CUP SET 2004                                         19.7              1     19.7 $      19.70
  46677562984    CVS   Philips Hue White & Color Ambiance 100W A21 LED Smart Bulb                                                     47.99              1    47.99 $      47.99
  88612259207    CVS   Artograph LightPad 920 6" x 9" Thin LED Light Box Projector Drawing Tracing Used                               71.64              1    71.64 $      71.64
 885612452740    CVS   Kohler K‐RGP800820 LAV Faucet, CP                                                                               52.5     39.99    1     52.5 $      52.50
 840103212142    CVS   RoC Multi Correxion 5 in 1 Anti‐Aging Daily Face Moisturizer with Broad Spectrum SPF 30 & Shea Butter, S       29.99      17.2    8    29.99 $     239.92
 810907028898    CVS   StriVectin Advanced Acids Hyaluronic Tripeptide Gel Cream for Eyes, Intense Hydration & Blue Light Neut           65        65    1       65 $      65.00
  50234711982    CVS   Celestron Cometron 7x50 Bincoulars Large 50mm Objective Lenses 7x Magnification                                41.55              1    41.55 $      41.55
  47323014901    CVS   GPX Digital TV Tuner and Recorder ‐ New In Box                                                                  27.2              1     27.2 $      27.20
 686175623116    CVS   MADE IN USA 96% NATURAL COLLAGEN Facial Serum for Ultra Firming Lifting Anti Aging Plmping Skin wit            14.95     14.95    1    14.95 $      14.95
  75609208157    CVS   Olay Serums Niacinamide + Peptide 24 Anti‐Wrinkle Serum 1.3 fl oz NEW                                          11.99             17    11.99 $     203.83
 885911682404    CVS   DEWALT FLEXVOLT ADVANTAGE 20V MAX* Angle Grinder, Paddle Switch, 4‐1/2‐Inch to 5‐Inch, Tool Only              457.61    153.94    1   457.61 $     457.61
  47569838033    CVS   Square D QO230 Snap In 2 Pole 30 Amp Circuit Breaker 120/240V Quick Trip Action                                   20              1       20 $      20.00
 642632900015    CVS   Costco Microlife Bluetooth Upper Arm Blood Pressure Monitor with Irregular Heartbeat Detection Blueto          59.99     58.95    1    59.99 $      59.99
 887452028543    CVS   Liquitex BASICS Acrylic Paint Set, 24 x 22ml (0.74‐oz) Tube Paint Set                                          60.49     37.05    2    60.49 $     120.98
 727015100012    CVS   Bodum Chambord French Press Coffee Maker, 51 Ounce, 1.5 Liter, Chrome                                             66        34    1       66 $      66.00
3474636920198    CVS   Redken Extreme Conditioner | Anti‐Breakage & Protection for Damaged Hair | Strengthen and Fortify Ha              26        26    1       26 $      26.00
 819324021116    CVS   Natural Escapes Aromatherapy Balanced                                                                          12.75     12.75    3    12.75 $      38.25
5000167373950    CVS   No 7 The Ultimate Skincare Collection Restore & Renew ‐ Expiration 05/2026 NEW                                 40.62              1    40.62 $      40.62
 718813529129    CVS   American Crafts Color Pour Resin, Hard 6.76oz, 1 Count (Pack of 1)                                             42.99      29.5    1    42.99 $      42.99
 697045150137    CVS   AHAVA Dead Sea Water Mineral Foot Cream ‐ Nourishes & Hydrates Dry Soles, Prevents Cracks & Irritatio             24       24     1       24 $      24.00
  51712237123    CVS   Open Box ‐ Bussman BP/FRN‐R‐30ID 30A EasyID Heavy‐Duty Time Delay Fuse                                          8.99              2     8.99 $      17.98
  93573836015    CVS   Cricut Iron‐On 5ft Heat Transfer Vinyl ‐Black Glitter                                                             11              1       11 $      11.00
 381372023010    CVS   Aveeno Calm + Restore Age Renewal Anti‐Aging Eye Gel, Under Eye Cream with Nourishing Oat & Cranbe             26.69     21.96    3    26.69 $      80.07
  45242223787    CVS   Milwaukee Diamond Max 5/8" (15 Mm) Hole Saw ‐ Red (Porcelain, Tile, And Stone)                                 14.99              2    14.99 $      29.98
  30985081008    CVS   Derma E Scar Gel Panthenol & Allantoin 2oz NIB                                                                 13.65              2    13.65 $      27.30
  78729271049    CVS   Hot Tools 1" Fuschia Digital Salon Flat Iron Titanium HT7104F                                                  46.59              3    46.59 $     139.77
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3337875660617    CVS   Vichy Normaderm PhytoAction Acne Control Salicylic Acid Moisturizer for Oily Skin, Moisturizing Face Acn         34.99      34.99     3    34.99 $     104.97
  46224840084    CVS   Plumb Pak PP840‐8 Flaring Tool Set, 3/16 to 5/8 in                                                               15.21                3    15.21 $      45.63
  17754231239    CVS   I Love To Create Tulip Glam‐It‐Up! Iron‐On Crystals 300/Pkg‐Crystal                                              16.27                2    16.27 $      32.54
  92644692192    CVS   Klein Tools VDV500‐820 Tone and Probe Pro Kit                                                                    51.79                1    51.79 $      51.79
 784276064774    CVS   Lutron Maestro MACL‐153MLH‐LA Double Pole Tap Indoor Dimmer 3‐WAY‐4‐WAY 150‐WATT ‐ Light Almo                    64.14      28.99     7    64.14 $     448.98
  45242570973    CVS   NEW Milwaukee 49‐25‐1233 OPEN‐LOK 1‐3/8'' Bi‐Metal Multi‐Material Blade 3pk                                      14.97                5    14.97 $      74.85
 676280011328    CVS   HEMPZ Body Lotion Age Defying ‐ Vanilla & Musk Daily Moisturizing Cream, Shea Butter Body Moisturizer                25       18      1       25 $      25.00
  71249383001    CVS   L'Oreal Paris Age Perfect Hydra‐Nutrition Nourishing Moisturizer 1.7oz                                           13.99                3    13.99 $      41.97
  22600901402    CVS   FIRST RESPONSE ‐2 DIGITAL PREGNANCY TESTS‐6 DAYS SOONER*FREE SHIPPING*EXP 01/24                                   8.49                1     8.49 $       8.49
 814632011378    CVS   STANLEY FATMAX PCI140 140W Power Inverter: 12V DC to 120V AC Power Outlet with Dual USB Ports                    24.97      35.61     1    24.97 $      24.97
 681168486075    CVS   Zantrex SkinnyStix Energy Powder ‚Äì Increase Energy, Heighten Focus, Boost Mood ‚Äì 10 Calories ‚Äì Cof         29.99      19.99     1    29.99 $      29.99
  51131527652    CVS   3M Cool Flow Pro Respirator ‐ Medium                                                                             31.45                2    31.45 $      62.90
 812401030001    CVS   Gadget Guard ‐ Black Ice Plus Cornice 2.0 Curved Glass Screen Protector for Samsung Galaxy Note 9 ‐ Clea         54.99       6.81     2    54.99 $     109.98
  39079003575    CVS   Comfort Zone Calming Diffuser Refills ‐ Pack of 3                                                                33.33                1    33.33 $      33.33
 810907029437    CVS   StriVectin Tighten & Lift Peptight Tightening & Brightening Face Serum with Peptides for Even Skin Tone,             99        99     3       99 $     297.00
 888999291650    CVS   Carhartt Firm Duck Sherpa‐Lined Throw Blanket, Reversible Pet Blanket With Water Repellent Coating, Ca           84.99      84.99     1    84.99 $      84.99
6928517001119    CVS   6 Ft. HDMI Swivel Cable with Ethernet, High‐Speed HD 1080 3D 4K CE Tech Premium                                  13.44                6    13.44 $      80.64
 817835010339    CVS   evanhealy Rosehip Facial Serum ‐ Moisturizing & Plumping ‐ All‐Natural Hydrosols & Essential Oils ‐ Dama         36.59       37.5     1    36.59 $      36.59
 193598100334    CVS   Amazon Basics Manchester Passage Door Lever, Matte Black                                                         18.69      25.71     3    18.69 $      56.07
  80596025670    CVS   Dremel 689‐01 11pc Carving/Engraving Mini Accessory Kit                                                          12.55                1    12.55 $      12.55
3282770142327    CVS   Eau Thermale Av√®ne Cicalfate Restorative Lip Cream, Long Lasting Moisture to Soothe Dry, Cracked Lips,              20               1       20 $      20.00
 757456080673    CVS   La Crosse Technology 308‐1415FCT Wireless Forecast Station, White                                                44.95      49.04     1    44.95 $      44.95
  93573276910    CVS   Lot Of 3 Cricut 5' Glitter Iron‐On White                                                                         19.99                4    19.99 $      79.96
 730884192507    CVS   Rio Premier Rio Grand, Pale Green/Light Yellow, WF5F                                                                        99.99    10    99.99 $     999.90
 302993889045    CVS   Cetaphil Night Cream, Redness Relieving Night Moisturizer for Face, 1.7 fl oz, For Dry, Redness‐Prone Skin       15.79      10.99     5    15.79 $      78.95
3282770207088    CVS   Eau Thermale Av√®ne Cicalfate+ Scar Gel, Silicone Massage Gel for Scars, Superficial Scars, Dermatologica            34        34     2       34 $      68.00
 619498630325    CVS   Resmed AirTouch F20 Medium Replacement Cushion 63032                                                              38.4                1     38.4 $      38.40
 783643156609    CVS   Siemens Q1515NC Two 15‐Amp Single Pole 120‐Volt Non‐Current Limiting Circuit Breaker                                 49     14.79     2       49 $      98.00
4020829007369    CVS   Dr. Hauschka Regenerating Day Cream, 1.3 oz                                                                          85        85     1       85 $      85.00
  46677578138    CVS   Philips Hue White Ambiance BR30 LED Smart Bulbs 650 Lumen 7.5W, 2 Bulbs                                          33.29                1    33.29 $      33.29
  78477151365    CVS   Leviton 86005 2 Gang Combination Toggle Duplex Wallplate, Ivory *Free Shipping*                                       4               1        4 $       4.00
 817835010797    CVS   evanhealy Argan Intensive Facial Serum | Handcrafted Argan Oil with Organic Essential Oils | Nourishing &        28.57      36.99     2    28.57 $      57.14
  72782053840    CVS   40 Avery Clip Style Name Badges ‐ Inkjet ‐ 3 x 4 Inches ‐ Soft Plastic 5384                                      16.99                9    16.99 $     152.91
 883351070614    CVS   Kwikset Cameron Keyed Entry Door Knob and Single Cylinder Deadbolt Combo Pack with Microban Antim                 95.5      44.99     1     95.5 $      95.50
  37000254454    CVS   Metamucil Daily Fiber Supplement, Psyllium Husk Fiber Powder, Sugar Free, Orange                                  15.6                2     15.6 $      31.20
  35886415501    CVS   Henckels Solution Fine Edge 10pc Knife Block Set 17553‐010 BRAND NEW                                              78.2                1     78.2 $      78.20
  12748055389    CVS   Epic Sidewinder Assembly Black Finish WARN 100770                                                               213.57                2   213.57 $     427.14
  78729555187    CVS   Hot Tools Pro Artist Nano Ceramic Hair Straightener 1" For Smooth, Straight Hair                                 29.99                1    29.99 $      29.99
3600524073763    CVS   L'oreal Revitalift Derm Intensives 12% Niacinamide Dark Spot Serum 1 Fl. oz.                                     17.99                1    17.99 $      17.99
 810014320458    CVS   StriVectin Tighten & Lift Crepe Control Exfoliating Body Scrub, Targets Crepiness and Rough, Dull Skin, 5 F          35        35     1       35 $      35.00
 856932007156    CVS   Andalou Naturals CannaCell Facial Serum, 1 Ounce                                                                 20.99       13.3     4    20.99 $      83.96
4059089400009    CVS   SYLVANIA ‐ 9012 SilverStar zXe GOLD High Performance Halogen Headlight Bulb ‐ Headlight & Fog Light, B           84.99      36.99     1    84.99 $      84.99
 700304156068    CVS   USAopoly Marvel Dice Throne | 2 Hero Box Featuring Black Widow, Doctor Strange | Standalone Compet               29.99      22.99     1    29.99 $      29.99
  93573179297    CVS   Cricut Smart Iron On Glitter ‐ 13in x 3ft ‐ Heat Transfer Vinyl for HTV Pro¬Ö                                    13.99                1    13.99 $      13.99
 793795526144    CVS   Sanus Accents Full‐Motion Wall Mount for 13‐32 TVS‐ASF110‐B1                                                     59.99      66.93     1    59.99 $      59.99
4084900661628    CVS   Lyra Aqua Brush Duo Brush Markers ‐ Set of 12 Water‐Based Brush Pens for Artists of All Ages ‐ Dual Tip M        19.58      19.72     1    19.58 $      19.58
 783250362493    CVS   Ideal Industries Slim Electronics Screwdriver Set with 36‐240, 36‐241, 36‐242 and 36‐246, 4‐Piece                45.62      23.79     4    45.62 $     182.48
 850038186005    CVS   Alarm.com ADC‐V724X Outdoor Wi‐Fi Camera, HDR, 2‐Way Audio, 1080p Resolution, 117‐degree FOV, Video Analytics, IR            205      1     205 $      205.00
3337875545792    CVS   La Roche‐Posay Toleriane Double Repair Face Moisturizer, Daily Moisturizer Face Cream with Ceramide a            22.99      22.99     2    22.99 $      45.98
 371730000531    CVS   HIMS Fast Absorbing Climax Control delay Spray for Men with lidocaine to Reduce Sensitivity and Last Longer in Bed for 1    36.76     1    36.76 $      36.76
  73796635008    CVS   OMRON Max Power Relief¬Æ TENS Pain Therapy PM500 NIB NEW IN BOX                                                  48.14                5    48.14 $     240.70
  76501245493    CVS   Coleman OneSource 600 Lumen Lantern Black, One Size                                                              69.95                1    69.95 $      69.95
  74040004397    CVS   Sheaffer Pop Glossy Lilac Gel Rollerball Pen with Chrome Trim                                                    10.99                1    10.99 $      10.99
 701233710925    CVS   Sew Steady Westalee Design Medium Shank ‐ Ruler Foot Starter Package                                             51.07      26.45     1    51.07 $      51.07
  30878409124    CVS   Philips 6' Mini DisplayPort to HDMI Cable ‐ White                                                                 8.99                1     8.99 $       8.99
 889063506991    CVS   LIVELY Jitterbug Flip2 Cell Phone for Seniors ‐ Red                                                              99.99      92.75     3    99.99 $     299.97
 738797007406    CVS   Golden Heavy Body Acrylic Introductory Set (0000074‐0)                                                               33     38.99     1       33 $      33.00
 749836405077    CVS   StrengthTape Kinesiology Tape ‐ 5M Precut K Tape Roll ‐ Premium Athletic Tape ‐ Support and Prevent Inj          19.95      14.73     1    19.95 $      19.95
  88381487740    CVS   Makita A‐98871 5" Diamond Cup Wheel ‐ Turbo Grinding                                                             28.45                1    28.45 $      28.45
 651473705772    CVS   Perricone MD High Potency Classics: Face Finishing & Firming Moisturizer 2 Ounce                                     75       75      5       75 $     375.00
  78477851821    CVS   New Leviton 002‐80526‐W White Plastic Midway Wallplate (Lot of 2)                                                 8.89                1     8.89 $       8.89
  92644328084    CVS   Klein Tools 32807MAG 7‐in‐1 Multi‐Bit Screwdriver / Nut Driver, Magnetic                                             31               2       31 $      62.00
 704142000439    CVS   Florastor Select Immunity Boost Daily Probiotic & Immune Support Supplement for Women and Men, Sac               28.99      23.49     1    28.99 $      28.99
  84511388956    CVS   Sakura Koi Watercolors, Pocket Field Sketch Box 24pc                                                                 16               1       16 $      16.00
  70501066317    CVS   Neutrogena Hydro Boost Ultra Hydrating Face Serum with Hyaluronic Acid, 1 oz                                     12.99                3    12.99 $      38.97
  47569071959    CVS   Square D Homeline 2‐15 Amp Single‐Pole Tandem Circuit Breaker                                                    16.75                1    16.75 $      16.75
  38097124125    CVS   3.8‐in Home Salon Professional Slant Stainless Steel Hair Eyebrow Tweezer Black                                   13.9                4     13.9 $      55.60
7610186034404    CVS   CREATIVE ART MATERIALS Caran D'ache Supracolor Metal Box Set Of 40 (3888.340)                                    120.6       85.4     2    120.6 $     241.20
4007817104729    CVS   STAEDTLER Mars Lumograph Art Drawing Pencils, 12 Pack Graphite Pencils in Metal Case, Break‐Resistant             23.5      13.95     1     23.5 $      23.50
  43168421942    CVS   GE ‐ Vintage 400‐Lumen, 5.5W Dimmable ST19 LED Light Bulb, 40W Equivalent                                             9              23        9 $     207.00
 840103212074    CVS   RoC Derm Correxion Fill + Treat Advanced Retinol Serum with Hyaluronic Acid for Forehead Wrinkles, Cro           38.99                1    38.99 $      38.99
 304960892300    CVS   RectiCare Anorectal Lidocaine 5% Cream: Topical Numbing Cream for Treatment of Hemorrhoids & Other               31.99      19.87   181    31.99 $   5,790.19
  20714803919    CVS   Clinique Superbalanced Silk Makeup Spf15 Silk Cocoa 20 (D‐P) 1oz ‚Ä¢‚Ä¢NEW‚Ä¢‚Ä¢                                  9.98                1     9.98 $       9.98
3474636920211    CVS   Redken Extreme Length Shampoo | For Hair Growth | Prevents Breakage & Strengthens Hair | Infused W                   26        26     1       26 $      26.00
 630454284963    CVS   Sizzix Thinlits Die Set 43PK Alphanumeric Bulletin by Tim Holtz, 666281, Cranberry                               40.99      23.73     5    40.99 $     204.95
  82354505097    CVS   Norton 7‚Äù Turbo Rim Smooth Cutting Diamond Blade 50509‐038                                                     34.03                8    34.03 $     272.24
 727783902436    CVS   New Chapter Magnesium + Ashwagandha Supplement, 325 mg with Magnesium Glycinate, 2.5x Absorpti                   39.95      24.99     1    39.95 $      39.95
 810569032004    CVS   Keratin Perfect Daily Conditioner ‐ Salon Level Treatment For Women ‐ The Best Conditioning Formula Fo               18     13.96     1       18 $      18.00
 605592006753    CVS   Nexxus Clean and Pure Conditioner, With ProteinFusion, Nourished Hair Care Silicone, Dye And Paraben F           25.99      30.88     2    25.99 $      51.98
 860004555322    CVS   PYM Berry Mood Chews Support for Stress, Worry & Overwhelm, 20 Count ‐ 130mg GABA, 90mg L‐Thean                  15.99      15.99     1    15.99 $      15.99
  71249053201    CVS   L'oreal Age Perfect Night Cream Anti‐Aging Face Moisturizer 1.69oz MISSING BOX                                    16.5                1     16.5 $      16.50
  23542100427    CVS   Aged Garlic Extract, Cardiovascular Health, Original Formula 100, 200 Capsules                                   18.89                1    18.89 $      18.89
5012572005784    CVS   Winsor & Newton Cotman Watercolor Paint Set, Sketchers' Pocket Set, 12 Half Pans w/ Brush                        34.59       20.6     1    34.59 $      34.59
  31604031930    CVS   Vitamin D3 5000 IU 150 Gummies 125 mcg by Nature Made 90 Count Free & Fast ship.                                 11.85                2    11.85 $      23.70
 666151112865    CVS   Dermalogica Dynamic Skin Recovery SPF 50 Face Moisturizer, Sunscreen Lotion ‐ Use daily to Firm, Hydra               66        79     5       66 $     330.00
 754502051755    CVS   Copper Fit Women's Standard Core Shaper, Charcoal, Small/Medium                                                  29.99      25.79     1    29.99 $      29.99
 721404314127    CVS   Vent Register Filters                                                                                                       24.99     1    24.99 $      24.99
  51221731594    CVS   Clover Mini Wonder Clips 100 pieces Red #31594                                                                   15.74                4    15.74 $      62.96
  92644935039    CVS   Klein Tools 935RBLT Lighted Torpedo Billet Level, Rare Earth Magnet                                               36.5                2     36.5 $      73.00
3282770142280    CVS   Eau Thermale Av√®ne Tolerance Extremely Gentle Cleanser Lotion for all types of hypersensitive skin, wa              27       27      1       27 $      27.00
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 729849172814    CVS   PetSafe Audible Bark Dog Collar, Humanely Stop Barking, Alternative to Static Shock No Bark Collar, 10 Le           79.99      69.95     1    79.99 $      79.99
  15561238151    CVS   Exo Terra Turtle Feeder Automatic Feeding Unit 100% Authentic, New & Sealed!!                                       27.99                1    27.99 $      27.99
 716837872900    CVS   Pepcid AC Original Strength Heartburn Relief Tablets, Prevents & Relieves Heartburn Due to Acid Indigest            28.84      19.82   153    28.84 $   4,412.52
  45242256457    CVS   Milwaukee 48‐20‐7497 Carbide Drilling Concrete Screw Installation Kit                                               35.24                5    35.24 $     176.20
 767332151182    CVS   Murad Essential‐C Facial Moisturizer ‐ Environmental Shield Broad Spectrum SPF 30 Gel ‐ Vitamin & Antio                 68       68      5       68 $     340.00
  33663005242    CVS   Culligan D40A PREMIUM Drinking Water Replacement under Sink Filter Cartridge                                        42.95                2    42.95 $      85.90
 190446241263    CVS   DonJoy Performance Bionic Comfort Hinged Knee Brace ‐ Large/X‐Large                                                 64.99      53.65     4    64.99 $     259.96
  44974440363    CVS   Generals Multi Pastel Chalk Pencils Lot of 8 #4435 1/2                                                              12.99                1    12.99 $      12.99
 653569011415    CVS   Star Wars Episode 3 Boga with OBI‐Wan                                                                               14.99       97.4     1    14.99 $      14.99
 786676363259    CVS   Eaton Corporation Br2100 Double Pole Interchangeable Circuit Breaker, 120/240V, 100‐Amp                             47.44      44.85     1    47.44 $      47.44
 809280155826    CVS   Fresh Tea Elixir Skin Resilience Activating Serum Serum Women 1 oz                                                      80      61.5    13       80 $   1,040.00
 868888000235    CVS   Everlywell Cholesterol and Lipids Test ‐ at‐Home Collection Kit ‐ Accurate Results from a CLIA‐Certified La             49               1       49 $      49.00
  78729051696    CVS   Hot Shot Tools Blue Titanium Salon Pro1 1/4" Flipperless Curling Wand S510169                                       21.88                1    21.88 $      21.88
 809280158353    CVS   Fresh Black Tea Advanced Age Renewal Cream Women 1.7 oz                                                                125               1     125 $      125.00
9421017760106    CVS   Trilogy Eye Contour Cream, 0.34 Fl Oz ‐ For All Skin Types ‐ Smooth & Improve Skin with Rosapene, Aloe V                44               1       44 $      44.00
3474636948642    CVS   KERASTASE Blond Absolu Cicaextreme Strengthening Shampoo | For Highlighted, Bleached & Fragile Hair                     40               5       40 $     200.00
 843246110085    CVS   Grande Cosmetics GrandeDRAMA Intense Thickening Mascara with Castor Oil, Volumizing, Conditioning,                      25       25      3       25 $      75.00
  33674115367    CVS   EXPIRES JAN 2024 Alive Womens Multi Vitamin Gummies, 130 count                                                        9.49               2     9.49 $      18.98
  27557983136    CVS   Lutron MS‐OPS2H‐WH Maestro Occupancy Sensor Switch Sensing Technology New                                           18.59                4    18.59 $      74.36
 883111020477    CVS   Oneway Jumbo Jaw Set for Talon Chuck                                                                               119.99     104.95     1   119.99 $     119.99
  32277751613    CVS   FORNEY 75161 1/4" FNPT ROTATING TURBO NOZZLE 4.5 ORFICE 5100 PSI NEW                                                71.45                1    71.45 $      71.45
 670367000502    CVS   Peter Thomas Roth | Peptide 21 Wrinkle Resist Serum | Peptides and Neuropeptides Help Improve the Lo                   125      62.5     2     125 $      250.00
  45242542260    CVS   Milwaukee 3/8‚Äù Carbide Tipped Bit for Natural Stone, Tile & Glass 48‐20‐8994                                        5.99               3     5.99 $      17.97
  22600001133    CVS   Sealed Box RepHresh 303065 Feminine Care Wash Gel ‐ 4.5 fl oz                                                       10.99                1    10.99 $      10.99
  69055137277    CVS   Braun Series 7 70S Electric Shaver Head Replacement Cassette                                                        29.99                2    29.99 $      59.98
  50428411230    CVS   CVS REPLACEMENT FOR Beauty 360 rapid reduction serum 30 day similar to Plexaderm                                    23.49                2    23.49 $      46.98
 658010115674    CVS   Garden of Life Raw Probiotics for Women Over 50‐50 & Wiser Women's Probiotic with Acidophilus, Live C               52.45      41.99     1    52.45 $      52.45
 847626006548    CVS   j5create USB4 8K60 Slim Hub ‐ 6 in 1 USB4 Hub with 8K60/4K144 HDMI, PD Charging, USB‐A, USB‐C Ports                 89.99      48.97     5    89.99 $     449.95
 859975002430    CVS   Andalou Naturals Kombucha Enzyme Exfoliating Peel, 1.8 Oz                                                               17      7.45     2       17 $      34.00
  20335069305    CVS   FISKARS TRIGGER ROTARY CUTTER 45MM (185710)                                                                         11.95                2    11.95 $      23.90
  45242571062    CVS   Milwaukee 49‐25‐1263 OPEN‐LOK 1‐3/4 in. Titanium Enhanced Bi‐Metal Metal Blade 3                                    16.95                1    16.95 $      16.95
  15561145213    CVS   FLUVAL PLANT SPECTRUM LED AQUARIUM LIGHT BLUETOOTH ‐ 32 WATT 24 ‐34" # 14521                                           124               1     124 $      124.00
3380810149661    CVS   Clarins Double Serum | Award‐Winning | Anti‐Aging | Visibly Firms, Smoothes and Boosts Radiance in Jus                  92        92     1       92 $      92.00
4084900170472    CVS   Lyra Rembrandt Aquarell Watercolor Pencils ‐ 12 Vibrant Professional Watercolor Pencils for Artists and S           21.01      16.52     8    21.01 $     168.08
 727783003041    CVS   New Chapter Women's Multivitamin Advanced Formula for Stress, Bone, Immune, Beauty & Energy Supp                    86.05       48.9     1    86.05 $      86.05
 761712003856    CVS   OttLite 315G53 13‐watt HD Slimline Task Lamp, Black Finish                                                          29.99                1    29.99 $      29.99
  31604026745    CVS   Nature Made ‐ D3 2000 IU ‐ 220 Tablets Exp: 2024+                                                                   12.99                1    12.99 $      12.99
  82472203714    CVS   ^ Lenox Demolition Nail‐embedded Wood 5pc 9" 6 TPI Model ES20371966R5 NEW                                               20               1       20 $      20.00
 847626000164    CVS   j5create USB 3.0 to RJ45 Gigabit Ethernet Adapter, 10/100/1000 Ethernet LAN Network Adapter for Mac,                24.99      24.74     7    24.99 $     174.93
4020829074064    CVS   Dr. Hauschka Regenerating Day Cream Intensive, rich facial skin care, helps fortify the skin's structure and promote firmn        85     1       85 $      85.00
5000167322927    CVS   No7 Protect & Perfect Intense Advanced Anti Aging Skincare System ‐ Day Cream with SPF 30 ‐ Hydrating Shea Butter Nig          55.49     2    55.49 $     110.98
 794080230500    CVS   Gadget Gear 1080p HD MicroSD Video Recorder Dash Cam                                                                  20.6               1     20.6 $      20.60
 317163134016    CVS   API SALTWATER MASTER TEST KIT 550‐Test Saltwater Aquarium Water Test Kit                                            50.48      35.98     1    50.48 $      50.48
  35886082314    CVS   Henckels Int'l Classic ‐ 8" Chef's Knife 31161‐201 in retail box                                                      29.9               2     29.9 $      59.80
 633472600760    CVS   Clearblue Digital Ovulation Predictor Kit, featuring with digital results, 10 Digital Ovulation Tests.              32.99       23.5     8    32.99 $     263.92
 754502044672    CVS   Finishing Touch Flawless Cleanse Silicone Face Scrubber and Cleanser, 1 count                                       39.98      12.98    13    39.98 $     519.74
  54003827072    CVS   Deer Ridge 6 Person Dome Tent ‐ Sierra Designs ‐ Dark Red ‐ Brand New in Box NIB                                      68.1               1     68.1 $      68.10
  11502201628    CVS   Maverick Pro Series Commercial Thermocouple Thermometer PT‐100BBQ                                                   55.99                1    55.99 $      55.99
  24964167449    CVS   Wagner 513040 Paint Disc Sander                                                                                     49.99                1    49.99 $      49.99
 300650816014    CVS   Pataday Extra Strength Allergy Itch Relief Eye 0.085 flOz 2.5ml                                                     14.99                1    14.99 $      14.99
 840035204499    CVS   Oribe Gold Lust Nourishing Hair Oil, 3.38 Fl Oz (Pack of 1)                                                             59       56      1       59 $      59.00
 767332154107    CVS   Murad Retinal ReSculpt Overnight Treatment ‐ Resurgence Anti‐Aging Serum for Lines and Wrinkles ‚Äì En                 105      105     31     105 $    3,255.00
  33287190225    CVS   Ryobi ONE + HP 18V 1" SDS‐Plus Rotary Hammer Brushless P223 Tool Only NEW                                          183.95                1   183.95 $     183.95
  17754319609    CVS   Tulip Color 14pk Dual‐Tip Fabric Markers Rainbow                                                                         9               1        9 $       9.00
 843820109047    CVS   Osprey Ariel 55L Women's Backpacking Backpack, Black, WM/L                                                             300    235.28     1     300 $      300.00
  31604026820    CVS   NatureMade CoQ10 Extra Strength, 40 Softgels. Expires 6/2026                                                        16.75               52    16.75 $     871.00
 783250014552    CVS   Punch Down Tool W/110 Blade                                                                                             61      28.4     1       61 $      61.00
  69055841464    CVS   Oral‐B White Electric Toothbrush Replacement Brush                                                                    8.54              23     8.54 $     196.42
 840026655170    CVS   KVD Beauty Good Apple Lightweight Full‐Coverage Cream Foundation Balm Light 008                                         40        40     1       40 $      40.00
 324208532935    CVS   PreserVision AREDS Eye Vitamin & Mineral Supplement, Contains Vitamin C, A, E, Zinc & Copper, 90 Softg              29.99      15.23     1    29.99 $      29.99
3282770101652    CVS   Eau Thermale Av√®ne A‐Oxitive Antioxidant Water Cream, Vitamin C & E, Hyaluronic Acid, Free Radical Pr                  50        50     2       50 $     100.00
  88677024840    CVS   NIP Dimensions Old Mill Cottage Needlepoint Kit‐12"X16" UNOPENED FREE SHIP                                          22.95                1    22.95 $      22.95
 883351723718    CVS   Kwikset San Clemente Front Door Lock Handle and Deadbolt Set, Entry Handleset Exterior with Interior Re                169      136      2     169 $      338.00
 633356602651    CVS   We R Memory Keepers‐ Precision Press Advanced Display Album, 11.5 x 10.5 x 1, Multicolor                            39.99      27.99     2    39.99 $      79.98
 727783900739    CVS   New Chapter Multi‐Herbal Pain Reliever+ Joint Supplement, Zyflamend‚Ñ¢ 10‐in‐1 Superfood Blend with                    106        58     1     106 $      106.00
  49625284013    CVS   Body Paint Airbrush Supplies Graftobian F/X Aire Formulated Airbrush Makeup                                         29.95                1    29.95 $      29.95
 666151062122    CVS   Dermalogica Age Bright Clearing Serum (1 Fl Oz) Anti‐Aging Face Serum with Salicylic Acid ‐ Promotes Smo                75       75      3       75 $     225.00
3474636732005    CVS   KERASTASE Blond Absolu Ultra‐Violet Purple Hair Mask | For Lightened, Highlighted and Grey Hair | Neut                  68       68      2       68 $     136.00
 733175476003    CVS   Boxed Set Of 3 pc Rockler Pen Turning Tool Brand New!! Woodwork 2 Carbide 1 HSS                                    114.93                2   114.93 $     229.86
  78729110447    CVS   Hot Tools Professional 1875W Lightweight Ionic Travel Dryer                                                         37.99                1    37.99 $      37.99
 670367014226    CVS   Peter Thomas Roth | Water Drench Hyaluronic Glow Serum | Hydrating Serum, Up to 120 Hours of Enhan                      68     53.98     1       68 $      68.00
 673914090452    CVS   Eau Thermale Av√®ne Cicalfate+ Restorative Protective Cream ‐ Wound Care ‐ Helps Reduce Look of Scars                   28      22.4     1       28 $      28.00
 631257122278    CVS   Renew Life Women's Wellness Vaginal and Urinary Probiotic and Cranberry Supplement, Probiotic Supple                   109     24.49     1     109 $      109.00
 317163031117    CVS   API ACCU‐CLEAR Freshwater Aquarium Water Clarifier 8‐Ounce Bottle                                                   12.98       9.29     3    12.98 $      38.94
 813778015769    CVS   Weruva B.F.F. Play ‐ Best Feline Friend Pate Lovers, Aw Yeah!, Pate Partay! Variety Pack, 3oz Pouch (Pack           17.88      16.99     1    17.88 $      17.88
 658010118323    CVS   Garden of Life, Dr. Formulated Women's Probiotics Once Daily, 16 Strains, 50 Billion, 30 Capsules                   39.95       33.5     5    39.95 $     199.75
  46135316456    CVS   Sylvania Silverstar 9004 ST/2 Pair Set High Performance Headlight Bulbs NEW                                             14               1       14 $      14.00
 810813032774    CVS   BeautyBio Bright Eyes Patches                                                                                           40        40     1       40 $      40.00
 810070330088    CVS   TULA Skin Care Mineral Magic ‐ Mineral Sunscreen Fluid Broad Spectrum SPF 30 ‐ Provides UVA + UVB Pro                   38     29.94     2       38 $      76.00
7640126630359    CVS   Alchimie Forever Protective Day Cream SPF 23 | Protects Against UVA & UVB and Hydrates | 1.7 Fl Oz                      71        71     1       71 $      71.00
3380810463170    CVS   Clarins Double Serum Eye | Anti‐Aging Eye Treatment | Visibly Smoothes, Firms, Hydrates and Revitalizes                 83        83     1       83 $      83.00
 196182393242    CVS   Lithonia Lighting ESXF2 ALO SWW2 KY DDB M2 Outdoor LED Switchable Floodlight, Knuckle or Yoke Moun                 137.98      92.99     2   137.98 $     275.96
 843820154146    CVS   Osprey Manta 24L Men's Hiking Backpack with Hydraulics Reservoir, Oak Leaf Orange                                  199.95     199.95     1   199.95 $     199.95
 817494011456    CVS   Sunday Riley Auto Correct Brightening and Depuffing Caffeine Eye Contour Cream for Dark Circles and Pu                  65        65     4       65 $     260.00
 842776103246    CVS   GOOGLE Clips Camera                                                                                                249.99      49.99     3   249.99 $     749.97
 792850911598    CVS   Burt's Bees Truly Glowing Replenishing Gel Cream, Moisturizer with Hydrate and Glow Complex for Norm                16.13      13.65    12    16.13 $     193.56
  11319138780    CVS   STANSPORT HANDHELD SOLAR / DYNAMO POWERED FLASHLIGHT W/ RADIO üìª                                                       25               1       25 $      25.00
  85805129101    CVS   Elizabeth Arden Millenium Set: Day Renewal Emulsion + Night Renewal Cream + Eye                                     47.99                1    47.99 $      47.99
  19954354336    CVS   D'Addario Equinox Tuner Twin Pack ‐ Black                                                                               30               1       30 $      30.00
 828804000473    CVS   Aquael Ultra Aquarium Heater ‐ for Freshwater and Saltwater Aquariums (75 Watt / 9‐20 Gallons)                      88.99      61.77     1    88.99 $      88.99
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 810000318063    CVS   Mederma Scar Cream Plus SPF 30, Sunscreen, Protects from Sun Damage, Reduces the Appearance of Sca          15.99      8.91    1    15.99 $      15.99
  87300001166    CVS   MELE Plump It Up Nourishing Facial Cream for Melanin Rich Skin ‐ 1.35 fl oz                                  8.99              1     8.99 $       8.99
  24721999450    CVS   Irwin Tools Titanium Coated High‐Speed Steel Drill Bit Set, Pro Case, 15‐Piece                              27.54              1    27.54 $      27.54
  45242571000    CVS   Milwaukee Bi‐Metal Blades 3 Pack 49251243 Cuts Wood w/Nails Copper PVC Drywall                              13.99              4    13.99 $      55.96
 810063342524    CVS   Death Wish Coffee Co Organic Espresso Roast Whole Bean Coffee, 14 OZ                                        17.48     17.48    4    17.48 $      69.92
  46135343834    CVS   Sylvania Headlight Halogen Bulb Basic #9003 (or H4). Unused but Not Tested                                  12.98              1    12.98 $      12.98
  30878253369    CVS   GE 2 USB + 1 AC In‐Wall Receptacle ‐ White                                                                  28.52              2    28.52 $      57.04
  53891133067    CVS   Sunbeam Heating Pad for Neck & Shoulder Pain Relief, XL Renue Heat                                           47.4              1     47.4 $      47.40
 633356610540    CVS   We R Memory Keepers Spin IT Tumbler Turn, Multi                                                                       45.27    1    45.27 $      45.27
5011386124209    CVS   Daler Rowney Aquafine 24‐pc Watercolor Travel Set ‐ Watercolor Paint Set for Watercolor Paper and Mo        44.95     26.99    3    44.95 $     134.85
 885612416209    CVS   Kohler Part GP800820 Rite‐Temp Pressure‐Balancing Unit Cartridge, SINGLE, Black                              52.5     34.39    1     52.5 $      52.50
 611247368909    CVS   Keurig K‐Select Single‐Serve K‐Cup Pod Coffee Maker, Matte Black                                           149.99    114.99    1   149.99 $     149.99
 748960905019    CVS   Ruffwear, Vert Waterproof Windproof Winter Jacket for Dogs, Blue Atoll, XX‐Small                            79.95     89.99    4    79.95 $     319.80
  49022862906    CVS   Infinitive 64GB USB Flash Drive                                                                                 8              1        8 $       8.00
 887276328157    CVS   Samsung Galaxy S10e Verizon + GSM Unlocked 128GB Flamingo Pink                                             749.99    322.98    1   749.99 $     749.99
  28874970137    CVS   BLACK & DECKER POWERSHOT 1000 HEAVY DUTY 1/2 " STAPLES 97‐013 CHISEL POINT 0.05                             11.99              1    11.99 $      11.99
4020829074125    CVS   Dr. Hauschka Regenerating Oil Serum Intensive, daytime support to help firm and reinforce the skin's mo     77.41       90     1    77.41 $      77.41
  15905061179    CVS   Plastic Storage Container Set for4, Kitchen Clear Organizer BPA                                             17.09              1    17.09 $      17.09
  91511500806    CVS   OLFA RB45‐1 Rotary Cutter Spare Blade ‐ 1 Pack "RTY‐2/G" 45mm D ‐ 0.3mm T                                    9.74              4     9.74 $      38.96
 817494011548    CVS   Sunday Riley Luna Retinol Sleeping Anti Aging Night Face Oil                                                   55       55     2       55 $     110.00
 785901043935    CVS   Square D by Schneider Electric Square D ‐ QO260GFICP QO 60‐Amp Two‐Pole GFCI Breaker                         413      119.2    1     413 $      413.00
  49625280480    CVS   Body Paint Airbrush Supplies Graftobian F/X Aire Formulated Airbrush Makeup                                 29.95              1    29.95 $      29.95
  97855124296    CVS   Webcam 1080p Autofocus usb Web Camera with Microphone FULL HD Web cam PC MAC PS4                            11.99              5    11.99 $      59.95
  31604026134    CVS   Nature Made CoQ10 100 mg for Heart Health Support, 72 Softgels(6134) Exp:10/2025                            11.99             11    11.99 $     131.89
3337875839501    CVS   Vichy Mineral 89 Rich Cream, 72H Moisture Boosting Cream | Hydrating Face Moisturizer with Hyaluronic          32        32    1       32 $      32.00
 889025141413    CVS   Yamaha AG03MK2 White 6‐Channel Live Streaming Loopback Mixer/USB Interface with Steinberg Softwa             216     189.99    1     216 $      216.00
 628055016816    CVS   FORM Premium Insoles Maximum Support | Blue Men's 9‐9.5, Women's 10.5‐11                                    44.93     44.93    1    44.93 $      44.93
  24964215171    CVS   Wagner PaintReady HVLP Sprayer 0529017 (re) (PBR091502)                                                        90              1       90 $      90.00
 842959090547    CVS   CURRENT ColorCast Smart Aquarium Background LED Light | 32" Model | Includes Frosted Background Film| App and Vo      64.95    2    64.95 $     129.90
 887452998785    CVS   Liquitex Professional Soft Body Acrylic Paint, 237ml (8‐oz) Bottle, Iridescent Rich Silver                  37.59     32.63    1    37.59 $      37.59
  20335901223    CVS   FISKARS LIA GRIFFITH Tag Maker Punch w/ Built‐in Eyelet Setter 20 Eyelets Inc.                              16.99              3    16.99 $      50.97
  53076193510    CVS   Fungi Nail Pen ***                                                                                             13              1       13 $      13.00
9421017765378    CVS   Trilogy Age‐Proof Overnight Mask, 2.0 Fl Oz                                                                 49.99     49.99    1    49.99 $      49.99
 845973050696    CVS   TP‐Link TL‐WN823N N300 Mini USB Wireless WiFi network Adapter for pc, Ideal for Raspberry Pi,Black          21.96     14.76    1    21.96 $      21.96
  31604027490    CVS   Nature Made Prenatal Folic Acid + DHA 90 Softgels READ LISTING !                                             18.2              1     18.2 $      18.20
  42406696074    CVS   Shure GLXD24+ HANDHELD WIRELESS MICROPHONE SYSTEM WITH Beta58A CAPSULE                                     535.76              1   535.76 $     535.76
 850014698522    CVS   TULA Skin Care Face Filter Blurring and Moisturizing Primer ‐ Magic Hour, Evens the Appearance of Skin T       38     35.88    2       38 $      76.00
 727783003119    CVS   New Chapter Women's Multivitamin 40+ Advanced Formula for Heart, Hormone, Immune & Energy Supp              79.75     44.86    2    79.75 $     159.50
 885911642545    CVS   IRWIN Screwdriver Bit Set, Standard Set, 24‐Piece (IWAF1220)                                                 52.1        27   23     52.1 $   1,198.30
  30878335348    CVS   New GE Pro Digital TOSLINK Fiber Optic Cable Mini TOSLINK Adapters 12 Ft. 33534                               7.5              1      7.5 $       7.50
 785007129267    CVS   Pass and Seymour SS26 302SS 1G WALL Plate                                                                    9.49      9.49    1     9.49 $       9.49
  43168545440    CVS   GE 9.5W A19 Smart Bulb ‐93130124 BRAND NEW FACTORY SEALED                                                       8              2        8 $      16.00
  55792240608    CVS   Peel and Impress ‐ Easy DIY Peel and Stick Adhesive Backsplash Tiles, 24060                                 38.73              6    38.73 $     232.38
3282770209938    CVS   Eau Thermale Av√®ne Soothing Radiance Mask, Deep Hydration for All Skin Types, Non‐Comedogenic 1.6             33        33    1       33 $      33.00
 358790072159    CVS   TheraTears Extra Dry Eye Therapy Lubricating Eye Drops for Dry Eyes, 0.5 fl oz Bottle, 2 Count(Pack of 1)   21.99      9.98    1    21.99 $      21.99
 866401000502    CVS   Flying Leap Games FLG3000 Accessories                                                                       22.99     22.99    1    22.99 $      22.99
 887961894769    CVS   Mega Construx Halo Building Box Halo Infinite Construction Set with Spartan Gungnir Character Figure, B     29.99     34.99    1    29.99 $      29.99
 885978908783    CVS   Fender Hendrix Voodoo Child Coiled Instrument Cable, with Limited Lifetime Warranty, Straight/Angle, Pu     59.99     57.92    1    59.99 $      59.99
 799696102081    CVS   Cocoon Silk MummyLiner (Natural, 95‐Inch x 35/22‐Inch)                                                      59.95     84.95    2    59.95 $     119.90
 748960568726    CVS   RUFFWEAR ‐ Vert Waterproof Fleece Jacket for Dogs, Blue Atoll, X‐Large                                                56.99    1    56.99 $      56.99
 813394029553    CVS   Gadget Guard Black Ice PLUS Edition Tempered Glass Screen Guard for the LG G7 THINQ                          7.58      7.58    1     7.58 $       7.58
  21496530130    CVS   Pennington Aquagarden 1056168 Universal All In One Pond Waterfall Pump                                      58.99              2    58.99 $     117.98
  26156912936    CVS   RL FLOMASTER 36HE6 RL Flo‐Master Chameleon Hose End Sprayer Natural                                         14.95              4    14.95 $      59.80
 194252781463    CVS   Apple iPhone 13 Mini Clear Case with MagSafe                                                                   49       49     1       49 $      49.00
  74108380333    CVS   Conair GMTL20R RECH LITH B&amp;M TRIMMER                                                                    37.87              3    37.87 $     113.61
  37431885098    CVS   SINGER GENUINE 1/4 Inch Piecing Feet Foot for Low‐Shank Sewing Machine                                       7.99              1     7.99 $       7.99
  11130197003    CVS   Hagerty Silver Keeper Zippered Holloware Bag Blue 24" x 30" READ O                                           45.5              1     45.5 $      45.50
 669125012710    CVS   Hip & Joint Chewable Display                                                                                32.49     32.49    1    32.49 $      32.49
 883351046398    CVS   Kwikset Lido Keyed Entry Lever and Single Cylinder Deadbolt Combo Pack with Microban Antimicrobial Pr       72.97              2    72.97 $     145.94
 840790121888    CVS   Uncanny Brands Death Star Mini Waffle Maker ‐ Star Wars Small Kitchen Appliance                             29.99     27.99    1    29.99 $      29.99
7640126630342    CVS   Alchimie Forever Dry Skin Balm, 3.3 Fl Oz                                                                      27        27    1       27 $      27.00
  76174751291    CVS   NEW Dewalt DWMT75129OSP 3/4 Drive X 1" 6PT Deep BLACK Impact Socket                                         14.94              3    14.94 $      44.82
 302993914938    CVS   Cetaphil Intensive Healing Lotion with Ceramides 16 oz For Dry, Rough, Flaky Sensitive Skin 24‐Hour Hydr    18.99     19.39    5    18.99 $      94.95
  33287181995    CVS   OPEN BOX ‐ RYOBI P137 18v/40v Dual Platform Charger                                                         50.99              1    50.99 $      50.99
  39052001413    CVS   Conair Travel Smart All In One Adapter Port UK Europe USA Australia Serge Pr                                10.58              1    10.58 $      10.58
  45242750115    CVS   Milwaukee 49‐25‐1506 Carbide Teeth Blades 5‐Pack Extreme Metal Universal Fit NEW                            21.88              1    21.88 $      21.88
 632085090777    CVS   Blue Sea Systems 9077 AC Rotary Switch ‐ OFF + 3 Positions 240V AC 65A                                     731.18    486.43    1   731.18 $     731.18
3666057106965    CVS   Clarins Double Serum Light | Anti Aging | Visibly Firms, Smoothes & Boosts Radiance in 7 Days* | 21 Plan     134       134     3     134 $      402.00
  51494103203    CVS   MegaFood Men's advanced multivitamin 120 tablets                                                            48.99              2    48.99 $      97.98
  12502627036    CVS   1 NEW‐Brother 1 pack P‐touch Label Tape Black print on CLEAR 1/2" TZe‐1312                                   7.28              2     7.28 $      14.56
 633911635872    CVS   CHI Original Ceramic Hair Straightener Flat Iron | 1 Inch Ceramic Floating Plates | Quick Heat Up | Analog  99.98        48    1    99.98 $      99.98
 622356564878    CVS   Shark AI Robot Vacuum, Smart Mapping|Scheduling|Pet Hair Pick Up|Logical Navigation, Black/Silver (RV      449.99    299.99    1   449.99 $     449.99
5000167322934    CVS   No7 Restore & Renew Face & Neck Multi Action Skincare System ‐ SPF 30 Day Cream with Vitamin C & Co         68.99      68.5    1    68.99 $      68.99
  93573269127    CVS   Cricut Joy Starter Tool Set‐3pcs 2007808                                                                        9              1        9 $       9.00
  45888781085    CVS   WEXFORD Mechanical Pencils, 30 Pack Box, Soft Comfort Grip, #2 Various Colors                                9.97              1     9.97 $       9.97
 898571000365    CVS   it's a 10 Miracle Leave‐In plus Keratin Spray 10 oz                                                          41.2     29.98    3     41.2 $     123.60
  75020072085    CVS   4 Philips Sonicare DiamondClean W Replacement Brush Heads | Black | Seal Packag                             16.75              1    16.75 $      16.75
 790011060192    CVS   Jarrow Formulas QH‐Absorb 100 mg Max Absorption ‐ CoQ10 Ubiquinol ‐ Up to 60 Servings (Softgels) ‐ Su        51.5     27.35    1     51.5 $      51.50
 622356537070    CVS   Ninja QB3001SS Ninja Fit Compact Personal Blender, for Shakes, Smoothies, Food Prep, and Frozen Blend       59.99     54.99    1    59.99 $      59.99
  30878105217    CVS   GE ULTRA PRO 12ft Digital Fiber Optic HD Audio Lossless Cable w/Toslink Adapter                             15.85              4    15.85 $      63.40
 381372023027    CVS   Aveeno Calm + Restore Age Renewal Anti‐Aging Eye Gel, Under Eye Cream with Nourishing Oat & Cranbe          26.69     21.96    3    26.69 $      80.07
 813006018463    CVS   Dr. Mercola Berberine and MicroPQQ Advanced, 30 Servings (30 Capsules), Dietary Supplement, Support         29.29     24.97    1    29.29 $      29.29
  75609208782    CVS   Deep Moisture Slugging MasK‐ With Shea Butter, Fragrance Free, 3.4 oz (D7)                                  26.59              2    26.59 $      53.18
 811913018163    CVS   Oribe Royal Blowout Heat Styling Spray 1.7 Fl Oz (Pack of 1)                                                   28       28     6       28 $     168.00
  47469077730    CVS   Natrol Cognium Complete, Brain Health, 100 mg Capsules, 60 Ct EXP 12/23 U6A                                    12              2       12 $      24.00
 850010957173    CVS   Mosie Baby Insemination Kit, Only FDA Cleared Kit for at Home Use with Patented Syringes, 2 Attempts fo      129       129     1     129 $      129.00
 636893403774    CVS   Dewalt Pressure Washer Turbo Spray Nozzle                                                                   79.95     45.79    2    79.95 $     159.90
3337875588713    CVS   Vichy Aqualia Thermal Hydrating Face Serum, Hyaluronic Acid Serum for Face with 97% Natural Origin Ing         36        36    2       36 $      72.00
 785007028737    CVS   Legrand Radiant 15 Amp Decorator Wall Outlet with 4.2 Amp USB Charger, Quad, Multi Port Charging Sta        33.89     32.99    5    33.89 $     169.45
  53891112734    CVS   FoodSaver Space Saving Vacuum Sealer VS1120                                                                  42.2              1     42.2 $      42.20
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 633911728857    CVS   CHI Keratin Reconstructing Shampoo,Gray 12 Fl Oz                                                               14.02     16.97    1    14.02 $      14.02
  92644700484    CVS   *NEW* ‐ Klein Tools D213‐9NECR‐SEN 9" High Leverage Side Cutting Pliers                                        29.29              3    29.29 $      87.87
 883140500841    CVS   La Roche‐Posay Anthelios Ultra‐Light Sunscreen Lotion Spray Broad Spectrum SPF 60, Alcohol‐Free, Oil‐Fr        26.99     26.99    1    26.99 $      26.99
 800315004355    CVS   Seymour Duncan SA‐3SC Woody SC Acoustic Soundhole Pickup ‐ Magnetic Single Coil Pickup for Standard               85        59    2       85 $     170.00
 693749789017    CVS   Thorne Methyl‐Guard Plus ‐ Active folate (5‐MTHF) with Vitamins B2, B6, and B12 ‐ Supports methylation            56        56    4       56 $     224.00
 710244250382    CVS   Crosley CR8005F‐WS Cruiser Plus Vintage 3‐Speed Bluetooth in/Out Suitcase Vinyl Record Player Turntab          89.95     67.99    1    89.95 $      89.95
 840080509594    CVS   Amazon Fire HD 10 tablet, 10.1", 1080p Full HD, 32 GB, (2021 release), Black                                  149.99              4   149.99 $     599.96
  46677458478    CVS   Philips ‐ Hue Bridge(2nd Gen) ‐ Wall Mount                                                                     10.99              1    10.99 $      10.99
 666151062320    CVS   Dermalogica Powerbright Dark Spot Serum (1 Fl Oz) Visibly Fades Dark Spots in Days and Helps Prevent Fu           99       99     2       99 $     198.00
 622356540100    CVS   Ninja Nutri Pro Compact Personal Blender, with 18 Oz. and 24 Oz. To Go Cups, in a Black and Silver Finish      69.99              1    69.99 $      69.99
  69055139097    CVS   Oral‐B IO Series 4 Electric Toothbrush W/Case, Charger & 1 Brush Head‐Slate Blue                               56.45              2    56.45 $     112.90
  31604026103    CVS   Nature Made Triple Omega3‐6‐9 150Count Exp12/24 #6103                                                           24.8             13     24.8 $     322.40
 859975002324    CVS   Andalou Naturals Ultra Sheer Daily Defense Facial Lotion, SPF 18, 2.7 oz, with Resveratrol CoQ10 and Ant       16.99     13.35    1    16.99 $      16.99
  86279175281    CVS   Cuisinart RHB 100 EvolutionX Cordless Rechargeable Hand Blender Knox Gear                                       58.3              1     58.3 $      58.30
  45242546626    CVS   NEW Milwaukee 48‐20‐9162 Shockwave Carbide Hammer Drill Bit Kit (5‐Piece)                                      11.99              5    11.99 $      59.95
  46308264386    CVS   Walnut Hollow Professional Soldering Tool 26438                                                                   12              1       12 $      12.00
 842959090523    CVS   CURRENT 48"‐60" inch ColorPlus Freshwater Aquarium LED Light with Smart App and Voice Control | Alex          124.95    124.95    1   124.95 $     124.95
  54732821297    CVS   NEW Prime Rotating Outlet SURGE Protector With 2, 3.4A USB Ports 1200 Surge                                    11.99              3    11.99 $      35.97
  76308004224    CVS   BONDO FIBERGLASS REPAIR KIT 422                                                                                35.58              1    35.58 $      35.58
 783250365005    CVS   Ideal 36‐500 HOLE SAW SET, ELEC. KIT 8 PC, Black                                                               56.62     64.88    1    56.62 $      56.62
  30878344777    CVS   GE 16 ft. 4K HDMI 2.0 Cable with Ethernet and Gold Plated Connectors in Grey                                   10.02              2    10.02 $      20.04
  75609200922    CVS   Olay Collagen Peptide 24 Max Fragrance Free Serum ‐ 1.3 fl oz                                                   11.1              5     11.1 $      55.50
 841667144719    CVS   Fire TV Stick 4K streaming device with Alexa Voice Remote (includes TV controls) | Dolby Vision                49.99              1    49.99 $      49.99
  37000598558    CVS   Align Digestive De‐Stress Probiotic & Ashwagandha Supplement best 1/31/2024                                     8.59              2     8.59 $      17.18
 727783901156    CVS   New Chapter Vegan Elderberry Capsules with 64x Concentrated Black Elderberry + Black Currant for Com           41.95     25.95    1    41.95 $      41.95
4020829005242    CVS   Dr. Hauschka Facial Toner, 3.4 Fl Oz                                                                              37        37    1       37 $      37.00
 895531001127    CVS   Lively Mobile Plus All‐in‐One Medical Alert Device ‐ Must Be Activated Through Lively ‐ Simple Alert Syste     49.99     44.99    6    49.99 $     299.94
  69055873649    CVS   NEW Braun Series 7, 70S 9000 Series ‐ Electric Foil Shaver Replacement Cassette                                   24              8       24 $     192.00
 741805747119    CVS   NEW NORDIC Hair Volume Tablets | 3000 mcg Biotin & Biopectin Apple Extract | Supports Natural Hair G           21.95     13.99    2    21.95 $      43.90
 323900031104    CVS   Vicks DayQuil & NyQuil Combo Pack, Ultra Concentrated Cold and Flu Medicine, Daytime & Nighttime               32.99     30.63   53    32.99 $   1,748.47
 650786004169    CVS   HEALTHFORCE SUPERFOODS Friendly Force ‐ 60 VeganCaps                                                           35.99     35.99    2    35.99 $      71.98
 832492046736    CVS   Blue Stop Max Applicator: Fast‐Acting Massage Applicator for Sports Cream, Elbow Relief, Performance R         16.99     16.98    1    16.99 $      16.99
  70030165598    CVS   ScarAway Active Silicone Scar Spray 3.4 fl oz, Exp 3/24 #5598                                                  10.38              1    10.38 $      10.38
  46838076831    CVS   JVC GUMMY WIRELESS HEADPHONE HA‐FX9BT‐G‐J                                                                         15              1       15 $      15.00
  43917795058    CVS   Wahl Chrome Pro Combo 79520‐3401 Complete Haircutting Kit All In One 22 Pcs New                                24.99              1    24.99 $      24.99
 364269101008    CVS   Scarguard ‐ Invisible Brush‐On Silicone Sheet with Vitamin E ‐ Scar Removal for Keloids, Burn Scars, Surger     24.5      24.5    2     24.5 $      49.00
  75691005122    CVS   Singer ProSeries 10" Forged Tailor Scissors ‐ Black 00512                                                      22.99              1    22.99 $      22.99
 889476530316    CVS   Lipo Flavonoid Proactive Ear Health, 30 Capsules                                                               29.99     13.99   55    29.99 $   1,649.45
  25866593015    CVS   Aleve Headache Pain 90 Tablets **Free Shipping** Exp 03/2024                                                    9.49              4     9.49 $      37.96
9327868040261    CVS   Sea to Summit Premium Silk Sleeping Bag Liner, Rectangular (73x37 inches)                                     119.95      149     1   119.95 $     119.95
  39208222990    CVS   Universal Hardware Commercial 2 3/4 in. Keyed Entry Door Lever In Satin Chrome                                 18.95              1    18.95 $      18.95
9420024121900    CVS   Lowrance 000‐10976‐001 HDI Skimmer Transducer                                                                 119.95     119.2    1   119.95 $     119.95
 687735304964    CVS   Pacifica Moon Perfume ‐ Silver Perfume Spray Women 1fl oz (Packaging May Vary)                                    22     38.71    2       22 $      44.00
 632085021078    CVS   Blue Sea Systems 2107 Powerbar 600 AMP 8X3/8‐16                                                               219.46    136.39    1   219.46 $     219.46
 316864000309    CVS   AmLactin Ultra Smoothing ‐ 4.9 oz Body & Hand Cream with 15% Lactic Acid ‐ Exfoliator and Moisturizer f        15.99     10.45    1    15.99 $      15.99
 810040943249    CVS   Midea MAD50PS1QGR 23.6L Dehumidifier ‐ Gray. NEW. SHIPPING FAST.                                              104.53              1   104.53 $     104.53
 317163040874    CVS   API ALGAEFIX Algae Control 8‐Ounce Bottle                                                                      17.48     15.73    3    17.48 $      52.44
  33663006447    CVS   Culligan US‐EZ‐1 Easy Change WATER FILTRATION SYSTEM For Under Sink                                            40.19              2    40.19 $      80.38
  53482300670    CVS     üåü Sakura Pigma Micron Pen Set Black 005 01 02 03 05¬† Brush Graphic 30067 ANIME                               11              8       11 $      88.00
 850010792682    CVS   Naturium Multi‐Peptide Eye Cream Plus Squalene & Hyaluronic Acid, Smoothing & Anti‐Aging Skincare, 0.          15.99     15.99    1    15.99 $      15.99
 666151031494    CVS   Dermalogica Powerbright Moisturizer SPF 50 Facial Sunscreen Shields Skin Against Dark Spots with Niacin           62        75    2       62 $     124.00
 853247008267    CVS   Miss Jessie's Senora Rizada Gel Women 8.5 oz                                                                      25     13.91    1       25 $      25.00
 751492604107    CVS   PNY 32GB Attach√© 4 USB 2.0 Flash Drive 2‐Pack, black                                                          12.99      8.99    1    12.99 $      12.99
 898571000372    CVS   It's A 10 Haircare Miracle Shampoo w/Keratin ‐ 10 oz. ‐ 1ct                                                       24     14.85   57       24 $   1,368.00
 840049904361    CVS   Josie Maran Pro‐Retinol Body Butter (Unscented, 240 mL | 8 fl. oz.)                                                         59    1       59 $      59.00
  19962555343    CVS   Sealed Herbal Clean QCarbo20 Clear Strawberry Mango Detox 20oz                                                 20.95              1    20.95 $      20.95
 842861111088    CVS   Ring Alarm Contact Sensor 2‐pack (2nd Gen)                                                                     39.99     39.99    4    39.99 $     159.96
 358962203008    CVS   ScarAway Advanced Skincare Silicone Scar Sheets (Variety Pack)                                                    20        24    1       20 $      20.00
  93573047237    CVS   CRICUT ROTARY CUTTER 45MM 2004669 BRAND NEW EXPLORE MAKER FREE SHIPPING                                        10.14              1    10.14 $      10.14
 884486453525    CVS   Redken Frizz Dismiss Conditioner | Weightless Frizz Control | Anti Frizz for Smoother Hair | Moisturize an        25       26     1       25 $      25.00
  94925019124    CVS   BREAKER CONNECTICUT ELECTRIC VPKA220 A220 20A 2‐POLE 120/240 VAC CIRCUIT TYPE A                                21.88              1    21.88 $      21.88
  48107211547    CVS   GNC SAM‐E MOOD, JOINT & LIVER HEALTH 400 MG 30 TABS ‐ EXP 7/24                                                 26.01              1    26.01 $      26.01
 687735305640    CVS   Pacifica Beauty | Sunrise Moon Spray Perfume | Peach, Cardamom, Madarin Notes | Natural + Essential O             22     38.71    3       22 $      66.00
 810014327211    CVS   StriVectin TL Advanced‚Ñ¢ Tightening Neck Cream PLUS, 3.4 oz for Tightening and Firming Neck & D√©co            149       149     1     149 $      149.00
 883652891635    CVS   Olympia Tools Tool Tool set, 89‐163, 42 Pieces, Yellow                                                         56.99     56.99    1    56.99 $      56.99
 767332603919    CVS   Murad Targeted Wrinkle Corrector 15ml                                                                          64.98        79    3    64.98 $     194.94
 731855710201    CVS   NEAT Microphones Neat Bumblebee II ‐ Professional Cardioid Directional USB Condenser Microphone wit            99.99     29.95    1    99.99 $      99.99
 884486453310    CVS   Redken Color Extend Magnetics Conditioner | For Color Treated Hair | Protects Color & Adds Shine | Wit            25        26    1       25 $      25.00
  33991064515    CVS   Scosche ‐ PowerUp 700 Car Jump Starter w/USB Power Bank and LED Flashlight ‐ NEW                              118.99              1   118.99 $     118.99
 889714000557    CVS   Crest 3D Whitestrips, Classic Vivid, Teeth Whitening Strip Kit, 20 Strips (10 Count Pack)                      34.99     16.99    7    34.99 $     244.93
  83045243007    CVS   Lisle 24300 Speedy Brake Pad Spreader                                                                          44.99              1    44.99 $      44.99
 633356615293    CVS   We R Memory Keepers Power Punch ‐ Multi‐Hole Punch, (Crop‐A‐Dile)                                                 32     30.84    3       32 $      96.00
 783250452927    CVS   Ideal 45‐292 10‐22 AWG Stripmaster Wire Stripper with Knife‐Type Blades                                        29.49     29.49    2    29.49 $      58.98
 817387028851    CVS   Pure Enrichment¬Æ PureRadiance‚Ñ¢ Luxury Heating Pad for Cramps, Back, Neck, & Shoulder Pain Relief,           49.99     39.99    1    49.99 $      49.99
  20335071445    CVS   FISKARS ROTARY BLADES 60MM 5 BLADES                                                                            13.74              4    13.74 $      54.96
 879686002437    CVS   Turbo Nozzle 3000 PSI Pressure Washer Nozzle 0183832                                                              16       16     1       16 $      16.00
 817835010001    CVS   EVANHEALY Rose Cleansing Milk, 4 FZ                                                                            36.49              1    36.49 $      36.49
 633911630891    CVS   CHI INFRA Silk Infusion, 6 Fl Oz                                                                               31.02     15.58    1    31.02 $      31.02
 768990017605    CVS   Nordic Naturals Omega‐3, Lemon Flavor ‐ 60 Soft Gels ‐ 690 mg Omega‐3 ‐ Fish Oil ‐ EPA & DHA ‐ Immune          17.95     14.37    2    17.95 $      35.90
  31604043094    CVS   Nature Made CoQ10 100 mg 120 Softgels 12/2025 New                                                              16.89              3    16.89 $      50.67
 651473709558    CVS   Perricone MD High Potency Classics Growth Factor Firming & Lifting Serum, 2 oz.                                 135       135     3     135 $      405.00
 630454285038    CVS   Sizzix Thinlits Die Set 25PK Road Trip Colorize by Tim Holtz, 666288, Multi‐Colour                             34.99     22.25    1    34.99 $      34.99
 840788100437    CVS   Westmark 1060RT60 Egg Slicer, Divides Hard Boiled Eggs Into 6 Equal Segments in One Action Retro Coat          29.99     25.43    1    29.99 $      29.99
4820184120273    CVS   UGEARS Mechanical Flower 3D Wooden Puzzle ‐ Unique Model Kits for Teens and Adults                             24.99     24.99    2    24.99 $      49.98
 810819031054    CVS   SmileDirectClub Electric Toothbrush with 3‐in‐1 Travel Case, Mirror Mount, and Stand, Blurple                     23     24.75    1       23 $      23.00
  92644692260    CVS   Klein Tools VDV501‐851 Scout Pro 3 Tester Kit                                                                  51.79              2    51.79 $     103.58
 785901401667    CVS   Square D ‐ QO115DFC 15 Amp Single‐Pole Dual Function (CAFCI and GFCI) Circuit Breaker                         343.48     34.98    2   343.48 $     686.96
  50036383967    CVS   JBL Tune 130NC TWS Wireless In‐Ear Headphones ‐ Black                                                          39.15              1    39.15 $      39.15
4983164188523    CVS   Banpresto Dragon Ball Match Makers‐Son Goku(Childhood)‐ Small, Multicolor                                      26.99     20.42    1    26.99 $      26.99
4020829006409    CVS   Dr. Hauschka Daily Hydrating Eye Cream, Fine Lines and Wrinkles, 0.4 oz                                           55        55    1       55 $      55.00
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 841487144272    CVS   Big Agnes, Boundary Deluxe, Insulated Sleeping Pad, Regular, Gibraltar Sea, (20X72)                               179.95     167.8    1   179.95 $     179.95
 859509006033    CVS   One Drop Glucose Test Strips (50 Count)‚ÄîCompatible with One Drop Glucose Meter and Starter Kit                   24.99     24.99    1    24.99 $      24.99
  78477714652    CVS   Leviton GFNT2‐0KI Ivory 15A Slim Shallow Self Test GFCI Receptacle                                                 20.98              2    20.98 $      41.96
 888912164382    CVS   DonJoy Performance COLDFORM Hot/Cold Therapy: Shoulder Compression Wrap, One Size Fits Most                        79.99     64.99    1    79.99 $      79.99
  97612950151    CVS   Zoo Med Repti Fogger Terrarium Humidifier RF‐10 Ultrasonic Digital Black Reptile                                   56.63              5    56.63 $     283.15
 730852172845    CVS   Shiseido Ultimune Power Infusing Concentrate, Antioxidant Anti‐Aging Face Serum, 50mL                              69.91              3    69.91 $     209.73
 840262386166    CVS   Otterbox Symmetry Series + for Apple iPhone 14 Plus with Magsafe ‐ Black Matte                                       8.5              1      8.5 $       8.50
 611247390689    CVS   Keurig¬Æ K‐Supreme Plus SMART Single Serve K‐Cup Pod Coffee Maker, Black                                          229.99    198.99    1   229.99 $     229.99
3282770153217    CVS   Av√®ne Hyaluron Activ B3 Triple Correction Eye Cream 15ml                                                             20        45    6       20 $     120.00
  12381173433    CVS   MISSING VISOR CLIP!!!! Genuine Chamberlain 953EV‐P2 3 Button Remote                                                12.99              2    12.99 $      25.98
 842861111651    CVS   Ring A19 Smart LED Bulb, White (Starter Kit: 2‐pack)                                                               59.99     59.99    2    59.99 $     119.98
 885190823062    CVS   Pixi Beauty Vitamin‐C Serum | Brightening Serum For Radiant Skin | Daily Vitamin‐C Serum | Maintain A Y            21.85        24    1    21.85 $      21.85
  45242540297    CVS   Milwaukee Shockwave Impact Drill and Tap Bit, Set of 5, 48‐89‐4874                                                 18.99              3    18.99 $      56.97
  82354505080    CVS   NORTON‐7in Wet/Dry Diamond Blade ‐ 5/8‚Äù Arbor 50508‐038‐NEW                                                      19.99              3    19.99 $      59.97
 762511501253    CVS   Omnigrid Neon Omnigrip 12‐1/2X12‐1/2sq Quilting Ruler, Clear                                                       27.89     17.49    4    27.89 $     111.56
 302990260021    CVS   Cetaphil Healthy Renew Hydrating Eye Gel Serum 0.5 Oz, 24Hr Under Eye Cream for Anti Aging, Reduces t              22.99        21   11    22.99 $     252.89
5000167322545    CVS   No7 Advanced Ingredients Vitamin C & Vitamin E Capsules ‐ Potent Vitamin C Serum Capsules with Vitam               16.98     16.98    1    16.98 $      16.98
  15561104463    CVS   Fluval 307 Perfomance Canister Filter ‐ for Aquariums Up to 70 Gallons Aquariums                                  159.99              1   159.99 $     159.99
 760823008620    CVS   Black Gold Mountain Lite Archery Sight‐Right Hand/5 Pin/.019                                                                289.95    1   289.95 $     289.95
 730884192729    CVS   Rio Elite Gold Fly Line, Easy to Cast Flies from Size 2 to 22, Ultimate All‐Around Fly Line with Ultra‐Slick Pe   119.99    129.99    1   119.99 $     119.99
  26508329375    CVS   Moen 87162SRS Boman Single Pulldown Kitchen Faucet ‐ Spot Resist Stainless                                            95              1       95 $      95.00
3337875807043    CVS   La Roche‐Posay Toleriane Rosaliac AR Visible Redness Reducing Cream | Color Correcting Face Cream for              30.99     30.99    2    30.99 $      61.98
  76930321560    CVS   Star Wars the Empire Strikes Back Yoda Exclusive Cup with Figure                                                   19.98              1    19.98 $      19.98
 818582011952    CVS   Vetericyn Plus Dog Hot Spot Gel | Spray‐On Hot Spot Care for Dogs, Relieves Dog Itchy Skin and Allergy Sy          17.99     17.09    1    17.99 $      17.99
  45242157532    CVS   Milwaukee 48255150 Switchblade ‐ Black (48255150)                                                                     30              1       30 $      30.00
  15561145398    CVS   Fluval Plant Nano 7500K Desktop Aquarium Bluetooth LED Light | New +Ships Free                                     89.95              1    89.95 $      89.95
  11499007258    CVS   ImpressArt ‐ Large Stamping Block ‐ 4" SC22‐large NEW                                                              28.62              4    28.62 $     114.48
  93573682278    CVS   Cricut 2006695 Basic Tool Set                                                                                      11.55              1    11.55 $      11.55
  78729155899    CVS   Hot Tools Signature Series One‐Step Blowout Styler Model: HTDR5589 BNew, BoxAsIs                                   28.99              4    28.99 $     115.96
 307660811640    CVS   Abreva Cold Sore/Fever Blister Treatment, Pump 0.07 oz (2 g) (Abreva Pump)                                            20     14.48    1       20 $      20.00
  30878134613    CVS   GE 3 USB +2 AC Charging Station 15 Watt Black 3.1 AMP                                                                 13              3       13 $      39.00
 813920010000    CVS   Kate Somerville ExfoliKate Intensive Exfoliating Treatment ‚Äì Salicylic Acid and Lactic Acid Super Facial Sc         98       78     3       98 $     294.00
  15905000833    CVS   Aqueon Circulation Pump 950 GPH For 55‐90 Gallons                                                                  18.95              1    18.95 $      18.95
  45242637744    CVS   Milwaukee 2598‐22 M12 FUEL 12V 5Ah Li‐Ion 2‐Tool Combo Kit NIB                                                    236.69              1   236.69 $     236.69
 729849163683    CVS   PetSafe Spray Bark Dog Collar, Automatic No Bark Device for Dogs 8 lb. and Up ‐ Rechargeable and Water             84.99     74.95    1    84.99 $      84.99
 645879007134    CVS   Seaguar Red Label 100% Fluorocarbon 200 Yard Fishing Line (15‐Pound)                                               14.49     13.99    1    14.49 $      14.49
 302994136001    CVS   Cetaphil Healthy Renew Moisturizing Day Cream 1.7 Oz, Daily Moisturizer with SPF 30, Skin Tightening An            19.99     15.38   58    19.99 $   1,159.42
 673807993051    CVS   me & my BIG ideas Punch ‐ The Happy Planner Scrapbooking Supplies ‐ 9 Hole Paper Punch For Disc‐Boun               31.53     31.94    1    31.53 $      31.53
4983164184624    CVS   Dardanus Suites                                                                                                     9.98     19.99    1     9.98 $       9.98
3474636948529    CVS   Kerastase Blond Absolu Cicaextreme Conditioning Hair Mask, 6.8 Fl Oz, Repairs and Nourishes Damage an                 68        68    4       68 $     272.00
  51712112086    CVS   New Fuses in Packages, 50A. Cooper Bussmann FRN‐R                                                                  11.75              1    11.75 $      11.75
 670367008775    CVS   Peter Thomas Roth | Potent‐C Power Serum | Brightening Vitamin C Serum for Fine Lines, Wrinkles, Unev               105       105     9     105 $      945.00
  78477708200    CVS   Leviton 20 Amp 125‐Volt Duplex Self‐Test SmartlockPro Tamper Resistant, Light Al                                   17.98              4    17.98 $      71.92
 793597818225    CVS   Billion Dollar Brows Gold Infused Illuminator                                                                      23.16     13.99    1    23.16 $      23.16
 638060852392    CVS   Filtrete 4 Speed (Covers: 310‐sq. ft) Smart True HEPA Air Purifier NEW!                                            177.2              1    177.2 $     177.20
 898571000259    CVS   It's A 10 Miracle Conditioner, 10‐Ounces                                                                              40     18.98    2       40 $      80.00
  97855180742    CVS   Logitech ‐ Crayon Digital Pencil for All Apple iPads (2018 releases and later)                                     39.95              1    39.95 $      39.95
4014586386744    CVS   Fein StarLock E‐Cut Long‐Life Oscillating Saw Blade ‐ Medium Waisted Shape 1‐3/8" Width for All Woods,             41.94     34.95    1    41.94 $      41.94
3606000403826    CVS   La Roche‐Posay Anthelios Cooling Water Lotion Sunscreen for Body and Face, Broad Spectrum Sunscreen                37.99     37.99    3    37.99 $     113.97
 192371606452    CVS   TaylorMade Golf Stealth2 Steel Fairway#3/Right Hand Regular                                                       349.99    249.95    1   349.99 $     349.99
  73796267254    CVS   Lucifer: Complete Series Seasons 1‐3 DVD                                                                           16.99              7    16.99 $     118.93
  79946151794    CVS   X‐Acto Carving Tool Set (6 Tools) X5179T #1794                                                                     14.99              1    14.99 $      14.99
  72879302424    CVS   Dritz Swivel Hooks 12pc ‐ BK153 ‐ #O                                                                                  12              4       12 $      48.00
 730852149519    CVS   Shiseido Benefiance Wrinkle Smoothing Day Cream ‐ 50 mL ‐ Broad‐Spectrum SPF 23 Anti‐Aging Moisturiz                  75        75    3       75 $     225.00
 790524374571    CVS   The Beadsmith 1‐Step Looper Pliers, 3mm, 24‐18g Craft Wire, Instantly Create Consistent Loops for Rosar            21.49     27.99    1    21.49 $      21.49
 727783901828    CVS   New Chapter Probiotic All‐Flora ‐ 30 ct (1 Month Supply) for Advanced Digestion & Complete Gut Health w            41.95     22.36    2    41.95 $      83.90
  29275044168    CVS   Lewis N. Clark Global Adapter, Dual USB Charger, 175+ Countries #EK150 NEW                                         15.99              2    15.99 $      31.98
 658010114158    CVS   Garden of Life Organic Vegan Unflavored Protein Powder 22g Complete Plant Based Raw Protein & BCAA                 46.99     35.69    2    46.99 $      93.98
 885612681560    CVS   Kohler R30124‐SD‐VS Maxton 1‐Handle Pull‐Out Kitchen Faucet                                                       188.95    174.34    1   188.95 $     188.95
 673765087359    CVS   Irwin Industrial Tools IWAF12‐7 Drive Guide Set, 7‐Piece                                                           19.04     10.88    1    19.04 $      19.04
 811659037527    CVS   Razer BlackShark V2 Pro Wireless Gaming Headset: THX 7.1 Spatial Surround Sound ‐ 50mm Drivers ‐ Deta             179.99      199     1   179.99 $     179.99
 317163071403    CVS   API POND STRESS COAT Pond Water Conditioner 32‐Ounce Bottle                                                        36.48      27.5    1    36.48 $      36.48
4957054513047    CVS   Roland VT‐4 Vocal Transformer , Black                                                                             249.99    212.99    1   249.99 $     249.99
  32277751668    CVS   Forney 75166 Adjustable Spray Nozzle for Pressure Washer 0‐80 Deg Spray 1/4 FNPT                                    22.5              1     22.5 $      22.50
 719346022712    CVS   Elizabeth Taylor Women's Perfume, White Diamonds, Eau De Toilette EDT Spray, 1.7 Fl Oz                                54     26.98    1       54 $      54.00
4820184120235    CVS   Ugears 3D Model Steam Locomotive                                                                                    86.9      59.9    1     86.9 $      86.90
  32664579738    CVS   GFCI¬† 2‐Gang Wallplate outlet cover White Decorator Eaton PJ262W Mid‐Size                                          5.49              1     5.49 $       5.49
  20335074088    CVS   GINGHER PINKING SHEARS 7 1/2 IN BENT HANDLE BRAND NEW FREE SHIPPING                                                24.99              1    24.99 $      24.99
 815266013196    CVS   BosleyMD Minoxidil Foam, Extra Strength Thinning Treatment for Hair Loss and Hair Regrowth for Men, W                 40        40    3       40 $     120.00
 651473706632    CVS   Perricone MD Cold Plasma Plus+ Neck & Chest Broad Spectrum SPF 25 1 Ounce                                             95      80.2    3       95 $     285.00
 852535004110    CVS   HDX FMS‐2 Replacement Water Filter / Purifier for Samsung Refrigerators (2 Pack)                                      49        64    1       49 $      49.00
 817718026112    CVS   Sunday Performance Jogger | Black Black / L                                                                       181.53    181.53    5   181.53 $     907.65
3282770203608    CVS   Eau Thermale Avene Mineral High Protection Beige Tinted Compact, Broad Spectrum SPF 50 ‐ UVA/UVB B                    42        42    1       42 $      42.00
 666151113060    CVS   Dermalogica Liquid Peelfoliant with Glycolic Acid, Face Exfoliator Peel with AHA BHA PHA, Smooths Fine L              64        64    3       64 $     192.00
 898571001287    CVS   It's A 10 Blow Dry Miracle Glossing Shampoo, 10 Ounce                                                                 25        17    1       25 $      25.00
  20525104342    CVS   Schiff MegaRed Superior Omega‐3 Krill Oil 60 Softgels 350 mg EXP 07/24                                                14              1       14 $      14.00
 833245037407    CVS   Home Essential Oil Diffuser EUCALYPTUS ODORELIMINATING                                                              25.8      25.8    2     25.8 $      51.60
  45242540341    CVS   Milwaukee 48‐13‐5003 #6/#8/#10 Steel Countersink Drill Bit Set ‐ 3 Piece (0341)                                     15.6              5     15.6 $      78.00
 363824262741    CVS   Mucinex Maximum Strength Sinus‐Max Pressure, Pain & Cough & Nightshift Sinus Caplets, Fast Release, P              22.49     17.06    1    22.49 $      22.49
 885911789585    CVS   DeWalt DWA1240CMB Series 20 Construction Circular Saw Blade Combo Pack, 12 In. ‐ Quantity 1                         72.4      50.4    1     72.4 $      72.40
  97564309786    CVS   Genuine Fujitsu PA03820‐B235 ScanSnap IX1400 Document Scanner BNIB                                                  295               1     295 $      295.00
3616303443863    CVS   philosophy dose of wisdom bouncy skin reactivating serum, 1 fl oz                                                     68      54.4    5       68 $     340.00
  17754256683    CVS   NIP Tulip GLAM‐IT‐UP Hot‐Fix crystals with container 750PC free US shipping                                        14.99              6    14.99 $      89.94
  21614802095    CVS   Nespresso Vertuo Next Premium Coffee Maker ‐ Black                                                                 79.99              1    79.99 $      79.99
  72879285871    CVS   Dritz Eyelet Pliers: Applies ‐ Small Eyelets 5/32" & Large Eyelets 1/4" ~ #574                                     14.99              3    14.99 $      44.97
3605533432198    CVS   Lanc√¥me Advanced G√©nifique Light Pearl Eye Serum ‐ For Under Eye Bags, Puffiness & Fine Lines ‐ Wit                 80       80     1       80 $      80.00
  82901231608    CVS   Ace JimmyProof Heavy Duty Deadbolt Lock & Key ~ ~ New. K5                                                           39.8              1     39.8 $      39.80
 195893686209    CVS   Pure Over Pour Over Coffee Dripper (Black)                                                                            59              2       59 $     118.00
  20525107114    CVS   MegaRed Advanced Total Body 30 softgels exp 03/2024                                                                 15.8              1     15.8 $      15.80
 666151062184    CVS   Dermalogica Biolumin‐C Serum, Vitamin C Dark Spot Serum for Face with Peptide and AHA ‐ Exfoliates an               148       148    10     148 $    1,480.00
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  92644382031    CVS   Klein All Purpose 8" Journeyman Pliers J206‐8C‐SEN Made in USA                                                    34.5               2     34.5 $    69.00
 847626005800    CVS   j5create USB C 4K Triple Display Hub ‐ 4K HDMI x2, 4K DP, 2 USB‐A and USB‐C 10Gbps, PD 100W, Etherne           119.99       85.92    3   119.99 $   359.97
 710504035278    CVS   Quality Archery Products UHXBK‐R Right Hand HDX Arrow Rest, Black                                              129.99      115.99    1   129.99 $   129.99
 653569174578    CVS   Star Wars Unleashed Battle 4 Pack Anakin's 501st Pack                                                             9.99      29.99    1     9.99 $     9.99
 745883829125    CVS   Belkin Boost Charge (30W) GaN Phoenix Bundle Braided Cable + Strap ‐ White                                        15.4               2     15.4 $    30.80
 630454271444    CVS   Sizzix Tim Holtz Die Brush & Magnetic Die Pick Tool Kit 665303 ‚Äì Papercraft & Scrapbooking Intricate Die       19.99      17.57    2    19.99 $    39.98
  53482300625    CVS   Pigma Micron Pens Assorted 6/Pkg‐Black                                                                            8.49               1     8.49 $     8.49
 662755125751    CVS   Jet 709160 LCS‐3P 3‐Piece Pen Chisel Set                                                                          124       99.99    2     124 $    248.00
  31604017804    CVS   Nature Made Vitamin C 1000 mg 300 tabs Exp 08/2025                                                                  26              35       26 $   910.00
 727783901248    CVS   New Chapter Women's Multivitamin 50 Plus for Cellular Energy, Heart & Immune Support with 20+ Nutri              61.95      32.72    4    61.95 $   247.80
4020829013926    CVS   Dr. Hauschka Regenerating Eye Cream, 0.5 Ounce                                                                      75         75    1       75 $    75.00
  71641099654    CVS   Paper Mate InkJoy Gel Pens, Medium Point, 3 Count (Pack of 1) Black 0.7mm                                         9.99               2     9.99 $    19.98
 836213001639    CVS   Logitech for Creators Blue Yeti Nano USB Microphone for Gaming, Streaming, Podcasting, Twitch, YouTub            99.99       87.8    1    99.99 $    99.99
  69055133026    CVS   Oral‐B iO Series 5 Rechargeable Toothbrush Handle Charger Brush Head Case NEW                                    64.99               1    64.99 $    64.99
 729238182851    CVS   SHISEIDO ESSENTIAL ENERGY HYDRATING CREAM (50ML)                                                                    50         50    4       50 $   200.00
 857211005641    CVS   ZEUS Mustache Wax ‐ Natural Shine, Moisturizing, Conditioning Moustache Wax, Light‐Medium Hold ‚Äì M                17      14.95    3       17 $    51.00
  34449566605    CVS   Delta Genuine Replacement Cartridge for Diamond Seal Faucets 36 mm RP50587 New                                   25.04               1    25.04 $    25.04
  78522330028    CVS   Jason C‐Effects Creme 2 oz Cream                                                                                 14.99               1    14.99 $    14.99
  39079003377    CVS   Comfort Zone Cat Calming Diffuser Starter Kit , Diffuser (48 ml) Refill 3377                                        18               3       18 $    54.00
 868888000297    CVS   Everlywell Testosterone Test at‐Home Lab Collection for Men Measures Total T Level ‐ Accurate Results from a CLIA‐Certi        69    1       69 $    69.00
 194587761611    CVS   TRAKK Compact Hot & Cold Massage Gun‐ Multiple Modes and Speeds‐6 Heads                                          99.99      60.49    1    99.99 $    99.99
  74101208207    CVS   Fujifilm Canada Instax Mini 12MP Blossom, Pink ‐ Lightweight                                                        75               2       75 $   150.00
  78484900536    CVS   Fiskars 65mm Comfort Loop Precise Rotary Cutter cuts thick Materials 190160 New                                   9.99               2     9.99 $    19.98
 849344023999    CVS   HATCHBOX 1.75mm White PLA 3D Printer Filament, 1 KG Spool, Dimensional Accuracy +/‐ 0.03 mm, 3D P                22.99      24.99    1    22.99 $    22.99
 615104356207    CVS   Sennheiser XSW‐IEM Wireless In‐ear monitor System A Band,Black                                                    699      598.83    1     699 $    699.00
  75609199424    CVS   Olay Regenerist MAX Tone Serum with Vitamin C, 1.3 fl oz                                                            17               1       17 $    17.00
  29695248184    CVS   Petmate Fresh Flow II Fountain 3.25 L, Purifying Pet Fountain, Vet Recommended                                      38               1       38 $    38.00
  90174429905    CVS   Olaplex No.7 Bonding Oil, 30 ml or 1 fl oz, New in Sealed Box, Free Shipping                                     22.99               1    22.99 $    22.99
 754806146393    CVS   Trophy Ridge React Pro 5 Pin Archery Bow Sight, Right Hand, 0.019 Pin                                          279.99      222.82    1   279.99 $   279.99
  17817397384    CVS   Bose FreeSpace DS 16S Loudspeaker Speaker Black                                                                  106.9               2    106.9 $   213.80
 364760724010    CVS   Eau Thermale Av√®ne Solaire UV Mineral Multi‐Defense Sunscreen Fluid SPF 50+ ‐ Non‐Whitening ‐ Antio                36               1       36 $    36.00
  42037799229    CVS   The Doctor's Advanced Comfort NightGuard #S10                                                                     11.5               1     11.5 $    11.50
 892900003874    CVS   Sam Villa Pro Results Cordless Flat Iron On‐the‐go Travel Hair Straightener 45 Minutes of Cordless Hair Sty       235      163.34    2     235 $    470.00
4983164184600    CVS   Banpresto Dragon Ball Z Gxmateria The Krillin                                                                    26.99      25.99    1    26.99 $    26.99
 800443545072    CVS   Reddy Grey Reflective Starter Set for Dogs, Large/X‐Large                                                        39.99      39.99    2    39.99 $    79.98
  46677718589    CVS   PHILIPS HB3 X‐tremeVision G‐force PH‐9005XVGB1 12V 60W (single bulb)                                                15               4       15 $    60.00
 883049599274    CVS   KitchenAid 13‐Cup Food Processor, White                                                                        199.99      202.99    1   199.99 $   199.99
 883778122071    CVS   Bryant Electric GFRST15W 15 Amp 125V Commercial/Residential Self Test Duplex GFCI Receptacle, White              28.05      28.06    2    28.05 $    56.10
3282779390132    CVS   Eau Thermale Av√®ne Hydrance RICH Hydrating Cream, Daily Face Moisturizer, Non‐Comedogenic, 1.3 Fl                  40         40    2       40 $    80.00
4007817114681    CVS   Staedtler Lumograph Graphite Drawing & Sketching Pencils, Soft Set of 12 Degrees (100G12S)                       20.28      17.85    2    20.28 $    40.56
  74101208214    CVS   *Brand New, Open Box* Fujifilm Instax Mini 12 Camera ‐ Blue                                                      64.99               1    64.99 $    64.99
 653569011408    CVS   Hasbro Star Wars Starfighter Vehicle E3 Sv01 Grievous Wheel Bike                                                 24.99      75.48    1    24.99 $    24.99
 697045158720    CVS   AHAVA Dead Sea Water Mineral Hand Cream ‐ Hand Moisturizer For Dry Cracked Hands, Light & Fast Abs                  25         25    1       25 $    25.00
  32277751156    CVS   FORNEY NIPPLE M M22M X 1/4"                                                                                       8.93               1     8.93 $     8.93
  30878336253    CVS   GE Bluetooth Audio Receiver ‐ New in box‐ model 33625                                                            20.85              19    20.85 $   396.15
 813843044311    CVS   CHI Touch Activated Compact Hair Dryer with Optional Touch Sensor for Uninterrupted Styling                    109.99       84.69    1   109.99 $   109.99
 784276068222    CVS   Lutron P‐PKG1P‐WH‐R Caseta Clear Connect Plug‐In Lamp Dimmer, Pico Remote Control, 100‐Watt, Whit                49.99      49.99    1    49.99 $    49.99
 783643083981    CVS   SIEMENS Q23050CT2 30 One 50‐Amp Double Pole Circuit Breaker, As Shown in The Image                               43.89      33.04    2    43.89 $    87.78
 753759223137    CVS   Garmin 010‐12883‐00 HRM‐Dual Heart Rate Monitor, Black                                                           69.99       57.9    1    69.99 $    69.99
 883111021702    CVS   Oneway Scroll Chuck System                                                                                     229.99      229.99    1   229.99 $   229.99
  71249395394    CVS   L'Or√©al Age Perfect Sunscreen ‐ 1.7oz                                                                           12.79               2    12.79 $    25.58
  58219503294    CVS   Globe Wi‐Fi Smart Plug No Hub Required DAMG BOX (50329) ‐ E12B                                                    7.99               1     7.99 $     7.99
 850022094316    CVS   World of EPI Fresh Fierce Marvel Black Panther : Wakanda Forever 11.5" Fashion Dolls Shuri                       49.99      17.99    1    49.99 $    49.99
  30768330439    CVS   Osteo Bi‐flex One per Day Joint Shield Dietary Supplement 60 Tablets                                             18.55               1    18.55 $    18.55
 673521002008    CVS   Kun Original ‐ 1/2 & 3/4 Violin Shoulder Rest                                                                    29.75      29.75    2    29.75 $    59.50
 658010115636    CVS   Garden of Life 22 Digestive Enzymes for Women with Bromelain, Papain, Lipase & Lactase Plus Probiotics           54.99      38.93    6    54.99 $   329.94
  90672371911    CVS   essentials(TM) Mixed Media Art Set In Metal Case 74/Pkg‐                                                         18.41               2    18.41 $    36.82
8011469978887    CVS   Sicce Scuba 50 Watt Contactless App Adjustable Aquarium Fish Tank Heater Smartphone Controlled via N             49.99      39.99    1    49.99 $    49.99
 858847000291    CVS   Navitas Organics Acai Powder, 4oz. Pouch, 38 Servings                                                            22.99               2    22.99 $    45.98
  28893301189    CVS   LubriMatic 30‐118 Suction Grease Gun                                                                             14.75               1    14.75 $    14.75
  45923093807    CVS   Satco S9380 4.5MR16/LED/40'/30K/120V/GU10                                                                         7.95              21     7.95 $   166.95
  46677551780    CVS   Phillips Hue ST19 LED 40W Equivalent Dimmable Wireless Edison Smart Light Bulb                                   40.63               4    40.63 $   162.52
3700546706080    CVS   Withings Pulse HR ‚Äì Water Resistant Health & Fitness Tracker with Heart Rate and Sleep Monitor, Sport          99.95     159.99    2    99.95 $   199.90
 363824008158    CVS   Mucinex 12 Hour 600mg Maximum Strength Guaifenesin Chest Congestion & Mucus Relief, Guaifenesin E                59.91       27.4    3    59.91 $   179.73
 883351640398    CVS   Kwikset 985 15 SMT CP K4 V1 Signature Satin Nickel Double Cylinder Deadbolt with SmartKey ‐ Quantity 1                      57.62    2    57.62 $   115.24
 843246140013    CVS   Grande Cosmetics GrandeLIP Plumper Barely There                                                                     27         27    1       27 $    27.00
 611247374313    CVS   Keurig K‐Mini Single Serve Coffee Maker, Oasis                                                                   99.99      54.14    2    99.99 $   199.98
  75609007408    CVS   Olay Regenerist Deep Hydration Regenerating Cream 1.7oz Advanced Anti‐Aging New                                  18.99               1    18.99 $    18.99
  37049957729    CVS   Cub Cadet Transmission Drive Belt for Select Front Engine Riding Lawn Mowers                                     39.59               2    39.59 $    79.18
  33674617007    CVS   Nature's Way ‐ Korean Ginseng Root Standardized ‐ 60 Vegetarian Cpasules                                         45.99               2    45.99 $    91.98
  75609209024    CVS   New Olay Minis Super Serum Night Repair 0.4 Fl Oz Bottle                                                            16               1       16 $    16.00
  69055842010    CVS   New Oral‐B Floss Action Max Clean Replacement Electric Brush Heads 3 Pack                                         9.49               1     9.49 $     9.49
 653569096337    CVS   Star Wars Unleashed Battle 4 Pack Aayla Secura's 327th Star Corps                                                 9.99      22.49    1     9.99 $     9.99
 633356616764    CVS   We R Makers Precision Press, Multi                                                                               99.99      79.99    1    99.99 $    99.99
 729238119888    CVS   Shiseido Bio‐Performance LiftDynamic Eye Treatment                                                               75.99               1    75.99 $    75.99
8809730954308    CVS   ma:nyo Bifida Biome Complex Ampoule moisturizer Limited Summer Exp 4/24                                          27.95               1    27.95 $    27.95
  54732826476    CVS   Prime PBUSB343S 3‐Outlet & 2‐USB Charger With Surge Protection                                                      16               1       16 $    16.00
 631257159779    CVS   Renew Life Extra Care Ultimate Flora Probiotic 50 Billion Go Pack, 60 CT                                         67.99      58.49    1    67.99 $    67.99
 748960901127    CVS   RUFFWEAR ‐ Hoopie Collar, Red Butte, Small (2018)                                                                19.95      28.23    1    19.95 $    19.95
 631257121080    CVS   Renew Life Extra Care Digestive Probiotic Capsules, 50 Billion CFU Guaranteed, Daily Supplement Support          67.99      58.49    1    67.99 $    67.99
4014549212493    CVS   Festool 500147 Vecturo Bimetal Multi‐Purpose Blade, 78mm x 42mm, 5‐Pack                                             71         78    1       71 $    71.00
  46838000621    CVS   JVC Gumy headphones New In Box true wireless 24 hours playtime white HA‐A7T2                                      14.9               1     14.9 $    14.90
  25582833211    CVS   CHANNELLOCK 39100 Skt Wrch St, Chrm, 12Pt, 5/16 in‐7/8 in                                                        65.12               1    65.12 $    65.12
  80596042035    CVS   Dremel Stylo+ 0.5 amps Corded Versatile Craft Rotary Tool, 2050‐15                                               38.99               1    38.99 $    38.99
 858492004682    CVS   Navage Multi‐User Bundle ‐ Navage Nasal Irrigation System ‐ Saline Nasal Rinse Kit with 1 Navage Nose Cl       104.95      104.95    1   104.95 $   104.95
 723122131017    CVS   MagniLife Migraine Relief, Fact‐Acting, Relieve Throbbing, Pulsating, Stabbing Headache, Ease Nausea, Lig        19.99      19.83    2    19.99 $    39.98
 727783900746    CVS   New Chapter Multi‐Herbal Pain Reliever+ Joint Supplement, Zyflamend‚Ñ¢ 10‐in‐1 Superfood Blend with               47.2         29    1     47.2 $    47.20
 813628009078    CVS   Wildgame Innovations Kicker 18MP 2‐Pack                                                                          99.99      73.66    2    99.99 $   199.98
  43917899107    CVS   Wahl Professional 5 Star Series Hero Ultra‐Close T‐Blade Trimmer #08991                                           54.5               2     54.5 $   109.00
  51131212718    CVS   Futuro Knee Dual Strap Moderate Support Adjustable size                                                           8.99               1     8.99 $     8.99
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 850035515013    CVS   DEWALT DXFRS300 1 Watt Heavy Duty Walkie Talkies ‐ Waterproof, Shock Resistant, Long Range & Recha           129.99     99.98    1   129.99 $   129.99
5060571721150    CVS   UpCircle Eye Cream With Coffee And Hyaluronic Acid 0.5oz ‐ For Dark Circles, Puffiness + Wrinkles ‐ Glyce        23     19.96    2       23 $    46.00
  26508309100    CVS   Moen Adler One Handle Pull‐Down Faucet ‐ Spot Resist Stainless                                               102.75              1   102.75 $   102.75
8011469978900    CVS   Sicce Scuba 100 Watt Contactless App Adjustable Aquarium Fish Tank Heater Smartphone Controlled via           42.99     42.99    1    42.99 $    42.99
 363824008868    CVS   Chest Congestion, Mucinex 12 Hour Extended Release Tablets, 68ct, 600 mg Guaifenesin Relieves Chest C         32.99     19.75   22    32.99 $   725.78
 681168334024    CVS   SeroVital Vitamin Capsule (84 Count) Exp 2026                                                                 29.99              1    29.99 $    29.99
  33663007758    CVS   Culligan Direct Connect Replacement Cartridge Cyst & Lead Reduction US‐DC3‐R                                  63.95              1    63.95 $    63.95
 324208697702    CVS   PreserVision AREDS 2 Eye Vitamin & Mineral Supplement, Contains Lutein, Vitamin C, Zeaxanthin, Zinc &         41.99     39.99    2    41.99 $    83.98
  71249383018    CVS   L‚ÄôOr√©al Age Perfect Hydra Nutrition Honey Night Balm ‐ 1.7oz                                                6.75              5     6.75 $    33.75
  74312552717    CVS   Nature's Bounty Probiotic GX Gas & Bloating Formula 25 Capsules 10/2024                                       19.99              3    19.99 $    59.97
 829835004737    CVS   Amazing Grass Greens Blend Detox & Digest: Smoothie Mix, Cleanse with Super Greens Powder, Digestive          39.99     20.83    2    39.99 $    79.98
  15561145312    CVS   Fluval 12 Watt 15"‐24" NEW#5312                                                                                  40              5       40 $   200.00
  27242923546    CVS   Sony INZONE H3 Wired Headset ‐ White (MDRG300W)                                                               38.99              1    38.99 $    38.99
  17229125742    CVS   New Plantronics EHS Cable APV‐66 Avaya 38633‐11 (Replacement Unit)                                            19.99             10    19.99 $   199.90
 850010792262    CVS   Naturium Glycolic Acid Resurfacing Gel 10%, AHA Exfoliating Gel with Natural Fruit Acids, 3.3 oz              22.99     22.99    1    22.99 $    22.99
 323900031074    CVS   Vicks Dayquil & Nyquil High Blood Pressure ‐ Cold & Flu ‐ 48 Liquicaps exp4/2025                              17.49              1    17.49 $    17.49
  17801159158    CVS   Feit Electric Wireless Light Bulb Camera, Smart WiFi Camera Integrated in LED...                              68.02              1    68.02 $    68.02
  53695140605    CVS   Moultrie Micro‐42i Trail Camera ‐ Green ‐ NEW ‐ FREE SHIPPING!                                                74.99              1    74.99 $    74.99
3474636920280    CVS   Redken Extreme Length Conditioner | For Hair Growth | Fortifies, Strengthens & Conditions Hair | Infuse          26       26     1       26 $    26.00
 633911815045    CVS   Volcanic Lava Flat Iron 1.5" ‐ Dual Voltage, Ceramic Plates                                                    140               1     140 $    140.00
5033102860017    CVS   Generic Value Products Ceramic Titanium 1" Digital Flat Iron, Dual Voltage, Auto Shut Off, Lightweight, Sm    59.99     59.99    2    59.99 $   119.98
 766218130495    CVS   new Top Notch Brights Acrylic Paint Set Tube 12 x 59 ml for Canvas Wood Ceramic                               13.97              1    13.97 $    13.97
 707392247999    CVS   Simpson Strong‐Tie SET3G22‐N ‐ High‐Strength Epoxy Adhesive ‐ 22oz Tube w/ Nozzle                             59.54     61.99    1    59.54 $    59.54
  75609007392    CVS   Olay Regenerist Advanced Anti‐Aging w/Moisturize SPF 15 75 ml Open Box                                        16.99              2    16.99 $    33.98
 730852103092    CVS   Shiseido Benefiance WrinkleResist24 Night Cream, 1.7 oz                                                          58              1       58 $    58.00
3337875821636    CVS   Vichy LiftActiv Pure Retinol Serum for Face | Resurfacing Anti‐Aging Face Serum for Wrinkles, Fine Lines,     44.99     44.99    2    44.99 $    89.98
 658010114035    CVS   Garden of Life Vitamin Code Raw One Once Daily Multivitamin Capsules, Fruits, Veggies, Probiotics for W       37.78        59    2    37.78 $    75.56
 748960272234    CVS   Ruffwear, Knot‐a‐Leash Dog Leash, Reflective Rope Lead with Carabiner, Pumpkin Orange, Small                  34.95              1    34.95 $    34.95
 731398351015    CVS   MAGNAVOX MC351 DUAL USB TRAVEL SURGE PROTECTOR THIS IS A                                                                   20    1       20 $    20.00
3282770153101    CVS   Eau Thermale Avene Hyaluron ACTIV B3 Concentrated Plumping Serum                                                 40        40   17       40 $   680.00
3380810303018    CVS   Clarins Multi‐intensive Rose Radiance Cream 50ml                                                               129       134     4     129 $    516.00
 695111002571    CVS   Super Beta Prostate Advanced Chewables ‐ Prostate Support Supplement for Men's Health (60 Chews, 1‐           39.99     32.79    2    39.99 $    79.98
3380810149678    CVS   Clarins Double Serum | Anti‐Aging | Visibly Firms, Smoothes and Boosts Radiance| 21 Plant Ingredients, I       130       134     5     130 $    650.00
  46308382837    CVS   New Walnut Hollow 38283 Creative Versa‐Tool Wood Burning Tool                                                 16.85              1    16.85 $    16.85
 885155015426    CVS   iRobot Roomba 675 Robot Vacuum‐Wi‐Fi Connectivity, Works with Alexa, Good for Pet Hair, Carpets, Har         279.99    299.99    1   279.99 $   279.99
 633356709114    CVS   We R Memory Keepers Crop‐A‐Dile 2 ‐ Big Bite Blue                                                             44.99     78.28    3    44.99 $   134.97
 735078030221    CVS   Amzer CS611411 dect_6.0 2‐Handset 2‐Line Landline Telephone                                                   19.95     34.99    1    19.95 $    19.95
4983164189469    CVS   Banpresto ‐ Dragon Ball Super ‐ Solid Edge Works Vol.7 (B: Super Saiyan God Super Saiyan Gogeta) Statue       27.99        27    1    27.99 $    27.99
  15561104432    CVS   FLUVAL 207 PERFORMANCE CANISTER FILTER ‐ UP TO 45 GALLON NEW FREESHIP !!                                     128.98              1   128.98 $   128.98
 817835014351    CVS   evanhealy Sanctuary Nectar Balm ‐ 1.4 oz                                                                                29.48    2    29.48 $    58.96
 810023370543    CVS   Kate Somerville EradiKate Acne Mark Fading Gel ‐ Salicylic Acid Acne Treatment ‐ Visibly Reduces Acne Sc         68        68    3       68 $   204.00
  73796270001    CVS   OMRON Evolv Bluetooth Wireless Upper Arm Blood Pressure Monitor with Portable                                 61.96              1    61.96 $    61.96
  20335047495    CVS   Fiskars RazorEdge Amplify Premium Fabric Shears Brand New                                                     25.16              1    25.16 $    25.16
  51712237116    CVS   FRN‐R FLN‐R TR‐R 4/10 ‐ 60 Amp 250V Class RK5 or K5 Fuse Duel Element NOS & Used                                7.2              1      7.2 $     7.20
 815517027309    CVS   First Aid Beauty Ingrown Hair Pads with BHA & AHA ‚Äì Daily Treatment Prevents Razor Bumps + Ingrown             20       20     1       20 $    20.00
  31604411077    CVS   NEW Nature Made SAM‐e Complete 400 Mg 36 Count                                                                21.99             11    21.99 $   241.89
  15561143240    CVS   FLUVAL SEA PS2 MINI PROTEIN SKIMMER EVO AQUARIUM FILTER BRAND NEW                                             34.99              3    34.99 $   104.97
  49625280084    CVS   Body Paint Airbrush Supplies Graftobian F/X Aire Formulated Airbrush Makeup                                   29.95              1    29.95 $    29.95
 854894005005    CVS   QardioArm Wireless Blood Pressure Monitor: Easy to Use Smart Upper Bluetooth Arm Cuff. App‐enabled            99.99     74.95    1    99.99 $    99.99
 783863051012    CVS   SILENT KNIGHT SK‐Heat‐W                                                                                       64.92     79.33    2    64.92 $   129.84
  27557829809    CVS   Lutron Dimmer Skylark Contour White CT‐103PR‐WH                                                               14.97              4    14.97 $    59.88
 898571001522    CVS   It's a 10 Blow Dry Miracle H2O Shield ‐ Leave In Weather Protectant Treatment, Frizz Free, Moisture Lock         35      18.7    1       35 $    35.00
 785901986010    CVS   Square D by Schneider Electric Square D ‐ HOM115DFC Homeline 15‐Amp Single‐Pole Dual Function Circu          336.42     32.99    2   336.42 $   672.84
  75536374024    CVS   Lodge Cast Iron Baker's Skillet Seasoned Cookware Double Handle 10.25 inch                                    27.98              1    27.98 $    27.98
  93573795022    CVS   CRICUT IRON‐ON HEAT TRANSFER WHITE VINYL 12‚Äù X 5‚Äô                                                            15              1       15 $    15.00
 891040701138    CVS   MOBI ‐ Baby Non‐Contact Forehead Digital Thermometer with Object Temperature Mode ‐ Touchless wit             19.99     19.88    1    19.99 $    19.99
 786689166342    CVS   Cutler‐Hammer Eaton All In One Breaker Plug On Neutral Arc FaultGround FaultOvercurrent Protection 20amp                39.99    2    39.99 $    79.98
  19495073505    CVS   Dorman 711‐455 Spline Drive Wheel Lock Kit, Acorn Nuts, Tapered Seat M12‐1.25                                    24              1       24 $    24.00
4973028505603    CVS   Mr. Hobby Gundam Marker AMS‐110/GMS‐110 Hososaki Type Fine Edge Set 1 (6 Colours)                             28.88      8.88    1    28.88 $    28.88
  30985039009    CVS   Derma E Acne Rebalancing Cream 2 oz ‐ 56 g Anti‐blemish Acne Complex                                          15.99              1    15.99 $    15.99
 810014324418    CVS   StriVectin Peptight‚Ñ¢ Tightening Neck Serum Roller, 1.7 fl. oz.                                                 79       79     3       79 $   237.00
  76753108072    CVS   goodcook, 3 in 1, 3‐Blade, Hand‐held Veggie Spiralizer, Healthy Noodles                                       11.95              1    11.95 $    11.95
 834893011832    CVS   Juice Beauty STEM CELLULAR CC Cream with SPF 30 ‐Beach Glow, Natural‐Looking Coverage, Sun Protecti            39.5      39.5    2     39.5 $    79.00
  23542104425    CVS   Kyolic Cholesterol with Lecithin Formula 104 200 Caps                                                         22.69              2    22.69 $    45.38
 843246110078    CVS   Grande Cosmetics GrandePRIMER Pre‐Mascara Lengthener & Thickener                                                 25     24.95    2       25 $    50.00
  45242593828    CVS   Milwaukee 49‐10‐9004 3‐Pc. Wood Cutting Variety Pack NIB                                                      12.75              1    12.75 $    12.75
3614273274630    CVS   Lanc√¥me Advanced G√©nifique Eye Cream ‐ For Dark Circles & Fine Lines ‐ With Bifidus Prebiotic, Hyalu           82        82    1       82 $    82.00
 367703309169    CVS   Terry Naturally Curamin Low Back Pain Relief ‐ 60 Capsules ‐ with Curcumin, Boswellia & DLPA ‐ Non‐GMO        56.95     47.16    1    56.95 $    56.95
 738797004504    CVS   Golden Open Acrylic Set of 6 22 ml Tubes ‐ Traditional Colors                                                 32.79     39.99    1    32.79 $    32.79
  45242557820    CVS   NEW Milwaukee 2105P Penlight Inspection Flashlight                                                            20.64              1    20.64 $    20.64
 851722007200    CVS   Ear Care MD Earbud Cleaning Kit                                                                                6.99      4.29    3     6.99 $    20.97
 662755125799    CVS   JET 709163 Mini Lathe Turning Set, 5‐Piece                                                                     148               2     148 $    296.00
 651473534105    CVS   Perricone MD Cold Plasma Plus+ Advanced Serum Concentrate, 1 fl Oz                                             155       155     3     155 $    465.00
 885911361408    CVS   DEWALT DWA1452 14PC FRAC TAP & LG HEXAGON DIE SET                                                            118.44      39.6    1   118.44 $   118.44
 310119020685    CVS   Bausch & Lomb Advanced Eye Relief Maximum Redness Reliver, 0.5 Fl Oz (Pack of 6)                              23.99     23.99    1    23.99 $    23.99
  46716100993    CVS   Rico Tenor Sax 2. Single Reed, Saxophone Accessories, @Hobgoblin Music                                        15.43              2    15.43 $    30.86
 367618101018    CVS   Colace Regular Strength Stool Softener 100 mg Capsules 100 Count Docusate Sodium Stimulant‐Free for G         29.99     18.77    2    29.99 $    59.98
 687735305633    CVS   Pacifica Beauty, Neon Moon Spray Perfume, Sandalwood, Jasmine, Smoky Cardamom Notes, Natural + Es                22     38.71    2       22 $    44.00
 670367017524    CVS   Peter Thomas Roth | Even Smoother Glycolic Retinol Resurfacing Serum | Glycolic Acid Serum with Retino           65        65    3       65 $   195.00
 884486242044    CVS   Biolage Hydra Source Conditioning Balm | Hydrates, Nourishes & Detangles Dry Damaged Hair | Moisturi             24        24    2       24 $    48.00
 630454258186    CVS   Sizzix Portable Manual Die Cutting & Embossing Machine for Arts & Crafts, Scrapbooking & Cardmaking, 2        57.99     52.93    1    57.99 $    57.99
  80629702714    CVS   portfolio 60‐watt 80‐in black traditional pole post Light                                                     49.98              2    49.98 $    99.96
 687735304872    CVS   Pacifica Moon Perfume ‐ Flower Perfume Spray Women 1 oz                                                          22       38     2       22 $    44.00
  78484099087    CVS   FISKARS SureCut Scrapbooking Paper Trimmer 12"                                                                27.05              4    27.05 $   108.20
  32602520082    CVS   Earthrise Spirulina Natural Green Superfood For Longevity 6.4 Oz 180 g                                        19.95              2    19.95 $    39.90
 887157021405    CVS   SPYPOINT Flex Cellular Trail Camera ‐ Dual‐Sim LTE,1080p Videos, 33MP Photos,Night Vision 4 LED Infrare      169.99     89.99    2   169.99 $   339.98
 810014325385    CVS   StriVectin Advanced Retinol Nightly Multi‐Correct Serum                                                          99        99    3       99 $   297.00
 767332603827    CVS   Murad Resurgence Retinol Youth Renewal Eye Serum ‐ Anti‐Aging Serum for Under Eye and Eyelids 15ml            60.78              3    60.78 $   182.34
 673521030032    CVS   Kun Collapsible 4/4 Violin Shoulder Rest                                                                      33.95     33.75    2    33.95 $    67.90
 854226008254    CVS   KSM‐66 Ashwagandha Root Powder Extract ‐ Stress, Mood, & Athletic Support ‐ 1,000 MG of Clinically Stu        23.98      18.3    2    23.98 $    47.96
                Case 2:24-cv-00675-RAJ                                 Document 1                       Filed 05/15/24                      Page 62 of 191


4020829006058    CVS   Dr. Hauschka Soothing Cleansing Milk, 4.9 Fl Oz                                                                 39       39     1       39 $    39.00
  22578105260    CVS   Houdini Shiny High‐Quality Lever Corkscrew ‐ Silver & Black W9826                                            15.87              2    15.87 $    31.74
  17754337023    CVS   Tulip Permanent Nontoxic Fabric Markers 5 Pack Variety Pack ‐ Brush Tip, Bullet                              15.49              1    15.49 $    15.49
 191142792448    CVS   UGG Baby Fluff Yeah Slide Slipper, Charcoal, 4‐5 Infant                                                      54.95              1    54.95 $    54.95
4020829007413    CVS   Dr. Hauschka Regenerating Serum, 1 Fl Oz                                                                        90        90    1       90 $    90.00
 851615006006    CVS   PURA D'OR Hair Thinning Therapy Biotin Shampoo ORIGINAL Scent CLINICALLY TESTED Proven Results,Lo            24.99     24.99    9    24.99 $   224.91
 855416002229    CVS   Surge Tech Universe 3‐Outlet Protector Plus 2 USB Charging Ports 1050 Joules                                 11.44     13.22    1    11.44 $    11.44
 852886007778    CVS   Siser Grass HTV Vinyl Glitter RL                                                                             21.99     18.05    1    21.99 $    21.99
9120096770845    CVS   Polaroid Color Film for 600 ‐ Round Frame (6021)                                                             21.99      20.5    1    21.99 $    21.99
  94376954395    CVS    üåü Winsor & Newton Cotman Watercolour Travel Set, 24 Colors With Brush BRAND NEW                            28.6              2     28.6 $    57.20
 783250586257    CVS   Ideal 36‐087 Saw Blade, Pack of 5                                                                            60.14     60.14    4    60.14 $   240.56
  45242567683    CVS   Milwaukee Shockwave Impact Step & Drill Bit Set 8 Pcs. 48‐89‐9252 (A8)                                          50              1       50 $    50.00
  46798778554    CVS   Tetra Whisper Air Pump for Fish Tank Aquarium Filter Non‐UL , up to 10‐40‐60‐100                                10              2       10 $    20.00
  74711545211    CVS   NEW Sealed SWINGLINE Standard Strip Desk STAPLER, 15 Sheet Capacity, BLACK                                   12.36              2    12.36 $    24.72
  69055132104    CVS   Braun Silk Expert PRO 3 IPL Hair Removal System PL3020 6032 NEW SEALED In Box                               124.95              1   124.95 $   124.95
 763649119389    CVS   Seagate Game Drive 4TB External Hard Drive Portable HDD ‐ Compatible With PS4 (STGD4000400) blue            149.99      165     2   149.99 $   299.98
 859975002508    CVS   Andalou Natural Purple Carrot + C Luminous Night Cream, Purple Carrot Plus C Luminous, 1.7 Ounce             26.99      13.2    1    26.99 $    26.99
  80596057831    CVS   *BRAND NEW* ‐ Dremel 7Pc. Universal Dual Interface Oscillating Blade Kit MM497U                                 32              1       32 $    32.00
 612314563203    CVS   CURT 56320 Vehicle‐Side Custom 4‐Pin Trailer Wiring Harness, Fits Select Ford Escape                         99.53    101.64    1    99.53 $    99.53
 885911361415    CVS   DEWALT DWA1451 17 PC FRACTIONAL TAP & DIE SET                                                                63.15      49.1    3    63.15 $   189.45
  76484888663    CVS   Top Quality Car/SUV Bench Seat Protector Easy to Install Waterproof & Washable                                  21              1       21 $    21.00
  47569071966    CVS   SquareD Tandem circuit breaker 20/20 QO2020C SAME day ship                                                   33.34              3    33.34 $   100.02
  31901953058    CVS   72ct Twin Tip Markers ‐ Staedtler                                                                            20.99              1    20.99 $    20.99
 885911740517    CVS   DEWALT Table Saw Blade, 10", 40 Tooth, with Fine Finish, Ultra Sharp Carbide (DWA11040)                      39.69        22    2    39.69 $    79.38
 622356536820    CVS   Ninja BL610 Professional 72 Oz Countertop Blender with 1000‐Watt Base and Total Crushing Technology          99.99    104.83    1    99.99 $    99.99
 717301301407    CVS   THE BASEMENT WATCHDOG Model 30HDC140S Big Standby Sump Pump Battery                                           149               1     149 $    149.00
 697045155491    CVS   AHAVA Mineral Body Exfoliator, 6.8 Fl Oz (Pack of 1)                                                            32       32     1       32 $    32.00
  75609196058    CVS   Olay Eyes w/ Hyaluronic Acid Tired Dehydrated Eyes Gel 15ml 0.5 oz                                           18.56              2    18.56 $    37.12
 729238103665    CVS   Shiseido White Lucent Anti‐Dark Circles Eye Cream ‐ 15 mL ‐ Targets & Prevents Dark Circles ‐ Non‐Comed         65        65    1       65 $    65.00
 745167077020    CVS   CBE Trek Sight 3‐Pin .019" RH                                                                               274.99    274.99    1   274.99 $   274.99
 800443587973    CVS   YOULY Grey Reversible Cozy Puffer Dog Jacket, Large/X‐Large                                                     18        18    2       18 $    36.00
 814179026521    CVS   KT Health, Ice Sleeve, Cold Therapy and Flexible Compression Sleeve for Sore Muscles and Joints, Large/E     49.99     31.49    1    49.99 $    49.99
 793661519898    CVS   BLACK DIAMOND Storm 500‐R Headlamp, Black                                                                    74.95     74.95    1    74.95 $    74.95
 727783003270    CVS   New Chapter Men's Multivitamin for Immune, Stress, Heart + Energy Support with Fermented Nutrients ‐         39.95        21    6    39.95 $   239.70
  15561110778    CVS   Fluval PROVAC 12V Corded Powered Aquarium Gravel Cleaner 11077 BRAND NEW                                     42.95              1    42.95 $    42.95
 195893222452    CVS   Undefined Beauty R&R Sun Serum Tinted Mineral Broad Spectrum Sunscreen SPF 50 PA++++ infused with Niacinamide, T       26.98    2    26.98 $    53.96
  15561105958    CVS   CompatiblePad For FishTank Filter Pouch/Bag 20/Mini,30/150,50/200,70/300,110/500                             12.98              1    12.98 $    12.98
 811640030209    CVS   AO Smith Claryum¬Æ Filter Replacement                                                                                    24     8       24 $   192.00
  15561143486    CVS   FLUVAL SEA CP4 CIRCULATION PUMP ‐ 7 WATT ‐ 1375                                                              33.16              8    33.16 $   265.28
 805265500612    CVS   Peterson StroboClip HD Clip‐On Tuner | Guitar, Bass, Violin, Ukulele, Harp, Brass, Woodwind, Orchestral      79.99     59.99    1    79.99 $    79.99
  71641116795    CVS   Sharpie¬Æ Pens With Hard Case, Fine Point, Assorted Ink Colors, Pack Of 8                                    14.99              1    14.99 $    14.99
 885911260510    CVS   DEWALT 20V MAX Cordless Wet‐Dry Vacuum, Tool Only (DCV580H),Black, Yellow, 17.10 Inch x 12.80 Inch            159     206.84    1     159 $    159.00
  45242542338    CVS   NEW Milwaukee 48‐20‐8998 Tile Natural Stone 4 pc Drill Bit Set 1/8 3/16 1/4 5/16                             11.89              4    11.89 $    47.56
  93573069376    CVS   Cricut Multi Pen Set, Black 5 Pcs 2002948                                                                        8              1        8 $     8.00
5425010391835    CVS   Biosil Collagen Generator ‐ 60 Capsules, Pack of 2 ‐ with Patented ch‐OSA Complex ‐ Generates & Protect       87.5       70     1     87.5 $    87.50
  74312515200    CVS   Nature's Probiotic, Dietary SupplementÔºåDigestive& Immune Health, Caplets, 30 ct                            11.49              3    11.49 $    34.47
 859220001669    CVS   Miss Jessie's Baby Buttermilk 8.5 oz Cream: Unisex, Hydrating, Lightweight Moisturizer for Dry Skin          15.79     12.49    2    15.79 $    31.58
5028420103038    CVS   Joseph Joseph 10303 DoorStore Knives Elevate Set with Knife Block 3M Adhesive Wall and Cabinet Door M        47.99     39.99    2    47.99 $    95.98
 818322011846    CVS   Nockturnal Fit Universal Size Red Lighted Arrow Archery Nocks, 3 Pack                                        29.99     22.35    3    29.99 $    89.97
  78275149083    CVS   Intermatic ST700W Ascend Standard In‐Wall Timer New (open Box)                                                20.4              3     20.4 $    61.20
5020180668406    CVS   Manuscript CalliCreative Crafter Marker Set, 6‐Colors                                                         13.5      6.99    1     13.5 $    13.50
 887157020033    CVS   SPYPOINT LINK‐MICRO‐LTE‐V Cellular Trail Camera‐4 LED Infrared Flash with 80'f Detection and Motion S       169.99        66    1   169.99 $   169.99
  76281841915    CVS   NIB Hasbro 1998 Star Wars Episode I FLASH SPEEDER w Laser Cannon Vehicle A8                                  25.99              1    25.99 $    25.99
 840797128736    CVS   Kristin Ess Hair 2 Inch Titanium Curling Iron for Big Blowout Waves + Volume ‐ 2 Inch Salon Professional W   65.89     50.36    1    65.89 $    65.89
  51221356162    CVS   Clover 50pc. Wonder Clips ‐ Item #3156                                                                       15.75              2    15.75 $    31.50
  43917991689    CVS   WAHL Rechargeable Beard Trimmer Model 9916‐817                                                               25.94              1    25.94 $    25.94
  75020039477    CVS   Philips Sonicare Brush Head For Kids 2 Brush Heads Pack HX6042 New                                           12.99              1    12.99 $    12.99
 658010113663    CVS   Garden of Life Multivitamin for Women, Vitamin Code Women's Multi, Whole Food Womens Multi, Vitam            44.99     34.85    4    44.99 $   179.96
 666151113343    CVS   Dermalogica Phyto Nature Oxygen Cream 1.7 oz ‐ Daily liquid moisturizer firms, lifts and revitalizes with h   125       125     7     125 $    875.00
 785007129106    CVS   Pass & Seymour SS8 Screw Mount Standard Size 1‐Gang Wallplate (1) Duplex Receptacle Silver, Stainless         6.59      5.78    2     6.59 $    13.18
 885911449953    CVS   BLACK+DECKER 20V MAX* Cordless Sweeper with Power Boost (LSW321)                                              119         95    2     119 $    238.00
 855710002925    CVS   Nugenix Total‐T Ultimate ‐ Advanced Free and Total Testosterone Booster for Men ‐ 120 Tablets                89.99     84.99    2    89.99 $   179.98
 400187590842    CVS   Artsmith Dual Tip Markers, 24pc                                                                              24.99              1    24.99 $    24.99
4014549307281    CVS   Festool 203336 Saw Blade, Multicolour                                                                           89        97    1       89 $    89.00
 328785030303    CVS   Braun ThermoScan 3 ‚Äì Digital Ear Thermometer for Kids, Babies, Toddlers and Adults ‚Äì Fast, Gentle, an    39.99     30.93   13    39.99 $   519.87
 786676363006    CVS   EATON CORPORATION Eaton Br240 Double Pole Interchangeable Circuit Breaker, 120/240V, 40‐Amp, Pac             15.42     16.84    1    15.42 $    15.42
  15905060813    CVS   For Aqueon Quiet Flow Specialty Filter LED Pro 10,20/75,30/50 Compatible Bio Bar                             19.98              1    19.98 $    19.98
  51712112093    CVS   Lot Of 3 60 Amp 250 Volts 200,000 Amp Brass Time‐Delay Fuses Cartridge                                          15              2       15 $    30.00
  26508309070    CVS   MOEN 82560 Darcy Chrome Magnetix NO VALVE TRIM ONLY 6Spray Tub                                               69.99              1    69.99 $    69.99
 300651431285    CVS   Systane Ultra Eye Drops Lubricant High Performance,Two 4ml bottles, 0.14 Fl. Oz (Pack of 2)                  11.95      9.99    2    11.95 $    23.90
 641628002672    CVS   ELEMIS Pro‐Collagen Marine Cream | Lightweight Anti‐Wrinkle Daily Face Moisturizer Firms, Smoothes, a         138       132     2     138 $    276.00
  78477760840    CVS   Leviton Protection AGTR1‐KW Dual Function Outlet                                                              19.1              1     19.1 $    19.10
 842861107845    CVS   Ring Indoor Cam (1st Gen), Compact Plug‐In HD security camera with two‐way talk, Works with Alexa ‐ W        59.99              2    59.99 $   119.98
 681421022040    CVS   Dulcolax Stool Softener Laxative Liquid Gel Capsules (100ct) for Gentle Relief, Docusate Sodium 100mg        23.99     16.99    3    23.99 $    71.97
 194251070384    CVS   NARS Light Reflecting Foundation ‐ Advanced Makeup‐Skincare Hybrid Foundation ‐ 30ml (Mont Blanc ‐ L            50     37.98    1       50 $    50.00
  76753125581    CVS   GOOD COOK ‐ Corkscrew Tire‐Bouchon Quick Tip #SC                                                              6.34              6     6.34 $    38.04
3666057064494    CVS   Clarins Super Restorative Day Cream | Anti‐Aging Moisturizer For Mature Skin Weakened By Hormonal C           134       134     2     134 $    268.00
 607845066002    CVS   Nars Natural Radiant Longwear Foundation ‐ Oslo                                                                 50     39.94    1       50 $    50.00
  55792240028    CVS   Peel and Impress Easy DIY Peel and Stick Adhesive Backsplash Tiles 055792240028                              15.98              5    15.98 $    79.90
 364760776200    CVS   Eau Thermale Av√®ne Mineral Sunscreen Broad Spectrum SPF 50 Face and Body Lotion 4.23 fl. Oz.                   38       38     2       38 $    76.00
  76281697291    CVS   Star Wars Power Of The Force Luke Skywalker And Taun Taun 1997 Kenner NEW                                    30.25              1    30.25 $    30.25
  51712237147    CVS   Cooper Bussmann BP/FRN‐R‐50ID 250‐volt Current Limiting Class RK5 Fuse with ...                              22.18              1    22.18 $    22.18
3474636948888    CVS   KERASTASE Blond Absolu Cicaextreme Strengthening Hair Oil | For Damaged, Bleached and Highlighted H             54       58     2       54 $   108.00
  75020102928    CVS   Philips Norelco Multigroom Series 7000 Mens Grooming MG7910/49 Open Box.!!!                                  34.94              1    34.94 $    34.94
9327868156696    CVS   Sea to Summit Lightweight Dry Bag 3‐Piece Set, 8L, 13L, and 20L                                              79.95     79.95    1    79.95 $    79.95
 888151025901    CVS   Walker's Game Ear Behind The Neck Bluetooth Hearing Enhancer, Black                                         179.99    120.33    2   179.99 $   359.98
3342540839151    CVS   Petzl Tikka CORE Headlamp ‐ Rechargeable, Compact 450 Lumen Light with Red Lighting, for Hiking, Climb       59.95     56.99    1    59.95 $    59.95
 818049022378    CVS   NutriBullet Special Edition NutriBullet Pro 900 ‐ Watt Blender (MatteBlack)                                               87    1       87 $    87.00
  48107207861    CVS   GNC WOMENS VITAPAK Program Health and Wellness 30 days supply Exp: 2/2024                                       21              1       21 $    21.00
4902778283363    CVS   Posca Uni Water‐Based Pencil Marker PC‐1M, 16 Colors NEW                                                     26.99              1    26.99 $    26.99
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  78275143456    CVS   Intermatic IW700K 20‐amp Heavy Duty In‐wall Timer                                                                   12              1       12 $    12.00
  37000772811    CVS   Align Probiotic Daily Immune Support Supplement‐ 28 Caps exp;0126#2811                                            12.5              1     12.5 $    12.50
 192333030714    CVS   Clinique Powder Pop Flower Bronzer Highlighter, 0.31 oz. / 9 g ‚Ä¢‚Ä¢ (Lunar Pop) ‚Ä¢‚Ä¢                                    22.3    1     22.3 $    22.30
 840104291627    CVS   Otter box screen protector For iPhone 13 Pro Max NEW!                                                               12              1       12 $    12.00
 840080538761    CVS   Amazon Fire 7 Kids tablet, ages 3‐7. Top‐selling 7" kids tablet on Amazon ‐ 2022. Set time limits, age filter   109.99    109.99    3   109.99 $   329.97
5000167322941    CVS   No7 Lift & Luminate Triple Action Skincare System ‐ Broad Spectrum Anti Aging Day Cream SPF 30 + Vitamin C Anti Wrink      55.47    2    55.47 $   110.94
 855710002611    CVS   Nugenix Total‐T, Free and Total Testosterone Booster Supplement for Men, 90 Count                                69.99     64.69    2    69.99 $   139.98
 840093114792    CVS   Nature's Truth Probiotic 50 Billion CFU | 200mg Prebiotics | 60 Capsules | Vegetarian, Non GMO & Glute           34.81     24.31    1    34.81 $    34.81
 755970750119    CVS   Nutramax Proviable Digestive Health Supplement Multi‐Strain Probiotics and Prebiotics for Cats and Dogs          21.99     21.95    4    21.99 $    87.96
3380810354348    CVS   Clarins NUTRI‐LUMI√àRE EMULSION JOUR 50 ML                                                                        83.6              1     83.6 $    83.60
 850664002076    CVS   Utilitech 50AC‐110 Water Transfer Pump                                                                           61.88     79.99    2    61.88 $   123.76
  27418081216    CVS   Cadet Single Pole 2‐Wire Mechanical Thermostat, White, T410A                                                      25.9              1     25.9 $    25.90
5060079200638    CVS   G7th Performance 3 Capo with ART (Steel String Silver)                                                           84.99     44.02    1    84.99 $    84.99
  75820186302    CVS   Swiss Kriss Herbal Laxative Tabs 250 Tabs                                                                        16.86              1    16.86 $    16.86
 631257121134    CVS   Renew Life Probiotic Adult 50 Plus Probiotic Capsules, Daily Supplement Supports Urinary, Digestive and          52.99     39.74    3    52.99 $   158.97
  94376954401    CVS   Winsor & Newton Cotman Water Colour 0.27 Fl Oz 13 PC/PZ                                                          22.33              1    22.33 $    22.33
 810475002924    CVS   Cleveland Faucet T42311CGR Moen Cfg Cycling Tub/Shower Trim Chrome                                               68.75              2    68.75 $   137.50
  80083260966    CVS   Halo ARFL series 45‐Watt Bronze Outdoor Integrated LED Architectural Residential                                 47.45              1    47.45 $    47.45
  46677603533    CVS   Wiz 6.6 Ft. L. Plug‐In White 2700K to 6500K LED Strip Starter Kit #3533                                          18.99              3    18.99 $    56.97
 817387026147    CVS   Pure Enrichment¬Æ PureRelief‚Ñ¢ Cordless Lumbar and Abdominal Heating Wrap ‐ 4 Heat Settings, 2‐Hou              59.99     39.99    1    59.99 $    59.99
5063000893015    CVS   Neo‐G Knee Brace, Stabilized, Open Patella ‚Äì Knee support helps with Arthritis, Joint Pain, Meniscus Tea       39.99     34.99    1    39.99 $    39.99
 727783003669    CVS   New Chapter Women's Multivitamin 40 plus for Energy, Healthy Aging + Immune Support with 20+ Nutrie              49.95      28.4    3    49.95 $   149.85
    346351880    CVS   ACDelco ‐ 60 Series 3361880 Auto Part                                                                            73.51     85.39    1    73.51 $    73.51
3474636382477    CVS   KERASTASE Nutritive Magistral Hair Mask, 6.8 Fl Oz Nutritive, Nourishing & Conditioning Mask, For Severe            63              1       63 $    63.00
 730573022009    CVS   Specified Technologies Inc. SSP4S                                                                                19.95     19.95   15    19.95 $   299.25
  79625018950    CVS   1 REAL TECHNIQUES Artist Essentials Brush Set "RT‐1895" Free S&H                                                 14.99              1    14.99 $    14.99
  78275007406    CVS   Intermatic WH40 Electric Water Heater Timer Little Gray Box                                                      44.99              2    44.99 $    89.98
 708609187633    CVS   SACHS STABILUS SG330046 BUICK LIGHT TRUCK & VAN 9‐7X TRUNK/HATCH Lift Support, black                             32.59     22.93    2    32.59 $    65.18
 815266013745    CVS   *NOV 2023* Bosley MD Men's Minoxidil Rogaine Hair Regrowth 3 Month Supply #3745                                  14.99              1    14.99 $    14.99
  50049017460    CVS   Genie Intellicode Wireless Keyless Keypad Garage Door Opener (37332R)                                            22.84              1    22.84 $    22.84
 898571000495    CVS   It's a 10 Haircare Silk Express Miracle Silk Shampoo, 10 fl. oz. (Pack of 1)                                        24     14.98   28       24 $   672.00
  76753188043    CVS   Good Cook 4" Non Stick Paring Knife & Sheath‐Carbon Stainless Steel Blade‐Green                                  14.98              1    14.98 $    14.98
  20335056114    CVS   Fiskars Chenille Maker for Easier Cutting                                                                        18.65              2    18.65 $    37.30
 786689166311    CVS   Eaton Type BR 15‐Amp 1‐Pole Dual Function AFCI/GFCI Circuit Breaker                                                        41.49    2    41.49 $    82.98
 883351609241    CVS   Kwikset San Clemente Front Door Lock Handle and Deadbolt Set, Entry Handleset Exterior with Interior Re           159     139.45    2     159 $    318.00
 834893006173    CVS   Juice Beauty STEM CELLULAR CC Cream with SPF 30 ‐Deep Glow, Natural‐Looking Coverage, Sun Protectio                 39              1       39 $    39.00
 710931160833    CVS   TRENDnet 10dBi Wireless N300 Outdoor PoE Pre‐configured Point‐to‐Point Bridge Bundle Kit, TEW‐740AP             179.99    179.99    1   179.99 $   179.99
9421017766887    CVS   Trilogy Vitamin C Booster Treatment, 0.51 Fl Oz ‐ For Dull Skin ‐ Intense Two‐Week Brightening Solution w        19.95              1    19.95 $    19.95
  55792240905    CVS   Peel & Impress Adhesive Tiles 10x10 Black White Silver Square 4 Tiles Stickers                                   24.97              3    24.97 $    74.91
 856418004167    CVS   SAMSUNG SmartThings Hub F‐H‐ETH‐001                                                                                 67              1       67 $    67.00
 783209121805    CVS   Maxim 58000BK Path Outdoor Pathway LED Step Landscape Light, 1‐Light 4 Watt, 3" H x 5" W, Black                  48.73       55     5    48.73 $   243.65
 814113013778    CVS   Honeywell Digital Deadbolt with Electronic Keypad Satin Nickel                                                   45.79              1    45.79 $    45.79
 611247376980    CVS   Keurig K‐Mini Single Serve Coffee Maker, Studio Gray, 6 to 12 oz. Brew Sizes                                     99.99     79.99    1    99.99 $    99.99
 898571000211    CVS   It's a 10 Haircare Miracle Leave‐In product, 10 fl. oz.                                                             40     25.98    5       40 $   200.00
 323900038462    CVS   Vicks DayQuil and NyQuil VapoCOOL SEVERE Combo Cold & Flu + Congestion Medicine, Max Strength Rel                19.99     23.99    7    19.99 $   139.93
 666151112148    CVS   Dermalogica Smart Response Serum for face ‐ Hydrating Soothing Facial Serum To Improve Fine line, Wrin            145       145     5     145 $    725.00
 184392000975    CVS   Purity Products ‐ Omega‐3 Plus Vitamin C & D, 60 softgels                                                        39.95              1    39.95 $    39.95
8712079231323    CVS   Rembrandt Oil Colour Starter Set 6x15ml                                                                           57.6     64.49    2     57.6 $   115.20
  21614055859    CVS   Breville BTA730XL 4 Slice Toaster ‐ Silver                                                                       99.99              1    99.99 $    99.99
9781988884899    CVS   Dice Throne Season One ‐ Box 4 ‐ Treant Vs Ninja                                                                 29.99     35.98    1    29.99 $    29.99
 783250756223    CVS   IDEAL Industries, Inc. 33‐793 OmniSeal‚Ñ¢ Pro XL Coax Compression Tool, Compression Tool for F/BNC/RC           104.28     53.58    1   104.28 $   104.28
 783250585359    CVS   IDEAL INDUSTRIES INC. 33‐856 VDV Multimedia Voice, Data and Video Cable Tester, Grey                             105.5     34.58    1    105.5 $   105.50
 193598100327    CVS   Amazon Basics Manchester privacy Door Lever with Lock, Matte Black                                               17.99     25.24    1    17.99 $    17.99
 354973337916    CVS   Hyland's Naturals Kids Cold & Cough, Day and Night Combo Pack, Cold Medicine for Ages 2+, Grape Flavo               11     12.32    1       11 $    11.00
 651473535706    CVS   Perricone MD Essential Fx Acyl‐Glutathione Eyelid Lift Serum 0.5 Fl Ounce                                         125       125     2     125 $    250.00
 738797091801    CVS   Golden Fluid Acrylic, 1/2 Ounce Set Of 8, Assorted Colors                                                        32.95      44.5    1    32.95 $    32.95
 191205489919    CVS   Brookstone Powershine Platinum Micro Hair Dryer ‐ Professional Grade Blow Dryer for Reduced Frizz                99.99     35.99    1    99.99 $    99.99
 876718033179    CVS   HOST Winged Corkscrew, Non‐Stick Worm And Bottle Opener, 2‐Blade Foil Cutter                                     19.99     16.24    1    19.99 $    19.99
  30768553883    CVS   OSTEO BI‐FLEX EASE MINI TABLETS 28CT Exp 04/2026 3883                                                            19.19              1    19.19 $    19.19
 733739076267    CVS   Now Foods: Tea Tree Oil, 4 oz                                                                                    26.99     17.95    1    26.99 $    26.99
 730884202152    CVS   RIO Products Fly Line Intouch Salmo/Steelhead Wf6F Dualtone, Moss/Yellow                                         99.99              2    99.99 $   199.98
  87300001173    CVS   Mele Dew The Most Moisturizer SPF 30, 1 oz, New , Exp 5/2023                                                      7.99              2     7.99 $    15.98
 730884192705    CVS   Rio Elite Gold Fly Line, Easy to Cast Flies from Size 2 to 22, Ultimate All‐Around Fly Line with Ultra‐Slick Pe 139.99    129.99    2   139.99 $   279.98
 898571000310    CVS   It's a 10 Haircare Miracle Leave‐In Plus Keratin, 4 Fl. Oz (Pack of 1)                                              21        16    1       21 $    21.00
 811913019054    CVS   Oribe Gold Lust Repair & Restore Shampoo                                                                            21        21    5       21 $   105.00
  23542103428    CVS   Kyolic Immune Support Formula 103 100 Capsule Exp:08/2026 #3428                                                     17              1       17 $    17.00
5028252599924    CVS   Derwent Metallic Paint 12 Pan Palette                                                                            21.48     25.46    2    21.48 $    42.96
 681421020046    CVS   Dulcolax Stimulant Laxative Tablets (100 Count) Gentle Overnight Constipation Relief, Bisacodyl 5mg              23.99     15.98    1    23.99 $    23.99
  77985078720    CVS   Rain Bird ST8I‐2.0 8‐Zone Indoor Irrigation System Controller                                                       95              1       95 $    95.00
  93573623400    CVS   Cricut TrueControl Knife Blue                                                                                        5              1        5 $     5.00
 885484601536    CVS   Dorman 712‐545MXL M14‐2.0 Racing Style XL Wheel Nut Compatible with Select Ford / Lincoln Models, 2             177.88      47.1    1   177.88 $   177.88
  15561143462    CVS   Fluval Sea CP2 Circulation Pump 4 W 425 GPH #462                                                                    25              1       25 $    25.00
 783250509928    CVS   Ideal Industries Bi‐Metal Reciprocating Blade, Wood with Nail, 6" L x 3/4" W x 0.050" Thikness, 6 TPI               22     40.31    3       22 $    66.00
 802090515354    CVS   Titan ‐ 3/16 Double Flaring Tool (51535)                                                                         49.99     47.16    2    49.99 $    99.98
  30985007756    CVS   DERMA E Advanced Peptides & Collagen Eye Cream ‐ 0.5oz EXP: 01/24                                                10.99              1    10.99 $    10.99
  75020100764    CVS   Philips Sonicare 4100 Power Toothbrush Black 5x Plaque Removal                                                   27.98              1    27.98 $    27.98
  15561108546    CVS   A402 Air Pump Fluval ASeries                                                                                        52              1       52 $    52.00
 887167393271    CVS   Estee Lauder Hydrating,Eye Aging, Advanced Night Repair Eye Supercharged Complex 15ml                            69.99      27.3    2    69.99 $   139.98
 762511724188    CVS   Omnigrid Folding Kit Mt/Cut/Rlr, Large, Blue                                                                     49.99     51.94    5    49.99 $   249.95
 658010124300    CVS   Garden of Life Dr. Formulated Probiotics Platinum Series Liver Health+ 90 Billion CFU Guaranteed, One a          54.99        80    1    54.99 $    54.99
  31604013493    CVS   Nature Made Extra Strength Dosage‐Vitamin C ‐1000mg‐ 125 Tablets EXP 02/26                                       15.95              3    15.95 $    47.85
 817835013675    CVS   evanhealy Patchouli Frankincense Rejuvenation Balm ‐ 0.5 oz                                                                26.99    4    26.99 $   107.96
  70330730281    CVS   BIC Flex 3 ‐ Men's 3 Blade Disposable Razor Set 8 Shaving Anti Slip Handle ‐ New                                 16.39              1    16.39 $    16.39
  15561106108    CVS   CompatiblePad For FishTank Filter Pouch/Bag 20/Mini,30/150,50/200,70/300,110/500                                 13.98              5    13.98 $    69.90
  34449848077    CVS   Delta Flynn Chrome 2‐handle Widespread High‐arc Bathroom Sink Faucet 35768LF                                     64.98              2    64.98 $   129.96
  71249386910    CVS   L'Or√©al Paris Age Perfect Rosy Tone Fragrance‐Free Face Moisturizer 1.7 fl oz                                   12.95              2    12.95 $    25.90
  43168305693    CVS   GE Bright White Plug‐in LED 12W, Neutral White Light LED12G24Q‐H/835L, 4‐Pin                                     11.97              1    11.97 $    11.97
 793661447085    CVS   BLACK DIAMOND Equipment Z4 Camalot 0                                                                                80     92.16    1       80 $    80.00
  14926180234    CVS   ~ Kenra ~ Platinum Blow‐Dry Spray 3.4 oz ~TRAVEL SIZE~ NEW~                                                      15.99              3    15.99 $    47.97
  91511220773    CVS   Olfa RTY‐2DX/PBL Splash 45mm Ergonomic Rotary Cutter                                                             13.95              3    13.95 $    41.85
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  18578015784    CVS   Proflex 3000‐150 Coupling Connects CI to Plastic, Steel, XHCI ‐ Replaces CP‐150                                 13.57             1    13.57 $      13.57
 850003310459    CVS   TULA Skin Care 24‐7 Hydrating Day & Night Cream ‐ Anti‐Aging Moisturizer for Face, Contains Watermelo              54      51.9   3       54 $     162.00
  28845203233    CVS   Blazer 12V Rectangular Halogen Driving Light Kit ‐ 2 Lights, Model# DF1073KB                                    35.98             1    35.98 $      35.98
  92644580819    CVS   Klein Tools Connector Crimping Long‐Nose Pliers (VDV026‐049)                                                    20.99             1    20.99 $      20.99
 773602337088    CVS   MAC Pro Longwear Concealer ‐ NC35 Concealer Women 0.3 oz                                                        39.26     29.89   1    39.26 $      39.26
  33984504981    CVS   Solgar No. 7 30 Vegetable Capsule                                                                               14.88             2    14.88 $      29.76
 817008020110    CVS   FemiClear 2‐Day Dose Yeast Infection and Itch Control Ointment, for Moderate to Intense Symptoms, Ma            19.97     16.01   1    19.97 $      19.97
8712079422790    CVS   Van Gogh Watercolor Paint Set, Plastic Pocketbox, 12‐Half Pan Specialty Metallic & Interference Colors Se       74.95     20.95   1    74.95 $      74.95
  45242307739    CVS   Milwaukee 48‐89‐9212 #12 Step Bit                                                                                  30             1       30 $      30.00
  15905000734    CVS   Aqueon Planted Aquarium Clip‐On LED Light                                                                        41.9             2     41.9 $      83.80
 855676007323    CVS   Manscaped Essentials Kit 2.0                                                                                    76.99        85   1    76.99 $      76.99
 857334005894    CVS   Cocokind Turmeric Tonic, Spot Treatment for Dark Spots and Blemishes with Organic Turmeric, Tea Tree O          13.99     12.98   5    13.99 $      69.95
  15561102032    CVS   Fluval in Line UVC Clarifier for Aquarium Filters ‐ Brand New Open Box                                          38.14             9    38.14 $     343.26
 812256028482    CVS   Ariana Grande God is A Woman for Women 1.7 oz Eau de Parfum Spay                                                   55       55    1       55 $      55.00
5063000474306    CVS   Neo G Plantar Fasciitis Daily Support & Relief ‐ Size Large                                                     12.98             1    12.98 $      12.98
 840216930605    CVS   Living proof Perfect hair Day Shampoo, 8 oz                                                                        34        34   1       34 $      34.00
 657520090037    CVS   Health Logics BioCell Collagen Joint and Skin Care 120 Capsules                                                 39.95     26.75   2    39.95 $      79.90
 363824995380    CVS   Mucinex Cough & Chest Congestion High Blood Pressure Liquid Gels, 16 ct.                                        13.99             2    13.99 $      27.98
 788130021538    CVS   Apex Gear TRUGLO AG2301GB 1 Dot Covert Pro Sight, Right Hand/Left Hand, Black                                  199.99    170.35   1   199.99 $     199.99
  47569062858    CVS   1 ‐ Square D HOM2100 Circuit Breaker 100 Amp 2 Pole 240V ‐ NEW NO BOX                                              44             1       44 $      44.00
 658010118309    CVS   Garden of Life Dr. Formulated Probiotics Prostate+ ‐ Acidophilus and Probiotic Supports Healthy Prostate        35.69     46.93   1    35.69 $      35.69
 633356709077    CVS   We R Memory Keepers‐ Crop‐A‐Dile for Eyelets | Blue Comfort Handle                                              40.99     30.69   2    40.99 $      81.98
 693749011316    CVS   Thorne Women's Multi 50+ ‐ Daily Multivitamin Without Iron and Copper for Women ‐ Comprehensive, F                 48     47.95   2       48 $      96.00
 856528001766    CVS   Novex Biotech GF‐9 ‚Äì 84 Count ‐ Supplements for Men ‐ Boost Critical Peptide That Supports Energy and            75     59.99   1       75 $      75.00
 810667012335    CVS   Gold N Hot Professional Styling Comb with Mtr (Multi‐Temp Regulator) 200F ‐ 430F                                47.25     18.99   1    47.25 $      47.25
 800443297421    CVS   Petco Brand ‐ Good2Go Quick‐Release Training Dog Collar, XX‐Large/XXX‐Large, XX‐Large/3X‐Large                   36.1      36.1   1     36.1 $      36.10
  75609190346    CVS   Olay Total Effects 7‐In‐1 Tone Correcting Uv Moisturizer Cream 1.7 Fl Oz NEW                                     17.9             2     17.9 $      35.80
  45242750122    CVS   Milwaukee 49‐25‐1526 Extreme Materials Carbide Teeth Oscillating Blade‐5pk NEW                                  27.99             2    27.99 $      55.98
 850093005044    CVS   The Mane Choice MANETABOLISM Plus Healthy Hair Growth Vitamins ‐ Complete Nutrition Supplements                 25.99     22.74   1    25.99 $      25.99
 815266013660    CVS    Bosley Hair Regrowth Treatment Minoxidil Solution 2% Women 1 Months Supply                                        17             1       17 $      17.00
  45242596706    CVS   Milwaukee Universal Oscillating Multi‐Tool Blade Kit Bi‐Metal (8‐Piece)                                          46.6             2     46.6 $      93.20
 761318021759    CVS   Revlon Copper Smooth Hair Flat Iron | Frizz Control for Fast and Shiny Styles, (XL 1 in)                        39.99     42.08   1    39.99 $      39.99
  54732826834    CVS   OWER ZONE Water Pipe Freeze Protection 18 ft. 126 watts ORPHC12618                                                 28             3       28 $      84.00
4001638088763    CVS   Weleda Hydrating Day Face Cream, 1 Fluid Ounce, Plant Rich Moisturizer with Iris Root, Jojoba Oil and Wi         20.5     17.19   2     20.5 $      41.00
  31604042752    CVS   Nature Made Multi + Omega‐3 for Her Lemon, Orange Strawberry 150 Gummies 09/24                                  14.03             1    14.03 $      14.03
 786261101068    CVS   NSi Industries TORK 1109A‐O Indoor/Outdoor 40‐Amp Multi‐Volt Mechanical Lighting and Appliance Time            198.14     84.99   3   198.14 $     594.42
 607845066026    CVS   NARS Natural Radiant Longwear Foundation ‐ Yukon                                                                   50      43.9   1       50 $      50.00
 185886000853    CVS   Bodyceuticals Pacific Facial Beauty Drops, New Blackberry Restorative Night, 1 Ounce                             33.8     34.35   2     33.8 $      67.60
 850024429048    CVS   Alavert Allergy 24 Hour Relief, Fresh Mint Flavor, Orally Disintegrating Allergy Tablets, Non‐drowsy Antihi     24.99      18.1   6    24.99 $     149.94
3380810405217    CVS   Clarins Total Eye Lift | Anti‐Aging Eye Cream | Targets Wrinkles, Crow's Feet, Dark Circles, and Puffiness F       92        92   4       92 $     368.00
 857047002845    CVS   MusicNomad Premium 26 PC. Guitar Tech Screwdriver & Wrench Set MN229                                            49.99     49.99   1    49.99 $      49.99
  51712237130    CVS   FRN‐R FLN‐R TR‐R 4/10 ‐ 60 Amp 250V Class RK5 or K5 Fuse Duel Element NOS & Used                                  8.1             1      8.1 $       8.10
 840035204628    CVS   Versace Pour Homme Dylan Blue by Versace Gift Set ‐ 1.7 oz Eau De Toilette Spray 1.7 oz After Shave Balm        69.99     61.99   1    69.99 $      69.99
 884486453389    CVS   Redken Extreme Conditioner | Anti‐Breakage & Protection for Damaged Hair | Strengthen and Fortify Ha               25        26   1       25 $      25.00
 633356709046    CVS   We R Memory Keepers‐ Corner Chomper                                                                             22.99     26.99   1    22.99 $      22.99
 658010123327    CVS   Garden of Life RAW Probiotics Colon Care Shelf Stable ‐ 50 Billion CFU Guaranteed Through Expiration ‐ O        30.79     66.99   4    30.79 $     123.16
 323900020337    CVS   New Vicks DayQuil & NyQuil MAX STRENGTH Severe, Cold and Flu 12 oz each 24 Total                                21.85             1    21.85 $      21.85
 847974008485    CVS   Goal Zero Sherpa 100PD Wireless Portable Power Bank 100W USB‐C Power Delivery 25600mAh (4th Gene               199.95      180    1   199.95 $     199.95
  12381173419    CVS   Chamberlain KLIK2U‐P2 Universal Wireless Garage Door Keypad SLIDE **NEW** NoBox                                 13.44             1    13.44 $      13.44
  84902772685    CVS   pro strobe light New                                                                                            57.99             1    57.99 $      57.99
 633356607113    CVS   We R Memory Keepers 0633356607113 Board & Punch‐Clear‐Cut‐Square, 2", Multi‐Colour                             152.77     64.78   1   152.77 $     152.77
  75609200663    CVS   Olay Peels Vitamin C + Peptide 24 Daily Brightening Peel 1.7oz / 50ml                                              17             4       17 $      68.00
 729849107779    CVS   PetSafe Stubborn Dog In‐Ground Pet Fence for Dogs and Cats ‐ from the Parent Company of INVISIBLE FE           264.99    239.95   1   264.99 $     264.99
 790776020486    CVS   Laurastar Smart 1980 Limited Edition in Gold                                                                    2799      2799    1    2799 $    2,799.00
 783643362130    CVS   Siemens WF2030 30 Amp Fusible AC Disconnect                                                                     18.99             1    18.99 $      18.99
  32929433577    CVS    Data Products Black XL+Cyan/Magenta/Yellow 4‐High Yield Ink For HP950XL/951                                     8.39             1     8.39 $       8.39
  75137000179    CVS   Compound W Gel Wart Remover + Conseal Patches                                                                   10.98             1    10.98 $      10.98
  78477493076    CVS   NEW LEVITON 1‐Gang Toggle Device Light Switch WALL PLATE Ebony Black 80701‐E NEW                                 5.88             2     5.88 $      11.76
 631257158727    CVS   Renew Life Women's Probiotic Capsules, Supports Vaginal, Urinary, Digestive and Immune Health, L. Rham           9.17      9.17   1     9.17 $       9.17
  93573928611    CVS   Cricut Strong Bond 6 Sheets 12x12 Everyday Iron on Samplers Metallic's Sampler                                   11.4             1     11.4 $      11.40
  49625280091    CVS   Body Paint Airbrush Supplies Graftobian F/X Aire Formulated Airbrush Makeup                                     29.95             1    29.95 $      29.95
 191205489926    CVS   Brookstone Powershine Platinum Micro Hair Dryer ‐ Professional Grade Blow Dryer for Reduced Frizz               99.99             1    99.99 $      99.99
 683615359246    CVS   ZenPet Pet Recovery Cone E‐Collar for Dogs and Cats ‐ Always Use with Your Pet's Everyday Collar ‐ Comf         25.99     24.99   1    25.99 $      25.99
 749699100362    CVS   Ernie Ball Braided Instrument Cable, Straight/Angle, 18ft, Neon Green/Black (P06082)                            47.99     32.99   1    47.99 $      47.99
 642345826398    CVS   One80 LED Headlamp & Belt Light 180Àö Wide Angle, Adjustable Waterproof Headlamp with Spotlight an              64.99             7    64.99 $     454.93
 751710500655    CVS   Rifleman Adjustable Folding Noise Reduction Safety Ear muffs, SNR 25dB Shooting Hunting Ear Muffs, Pro          12.99     19.92   2    12.99 $      25.98
 817835010292    CVS   evanhealy Light Moisture Replenishing Fluid 2oz fluid                                                           43.99     48.99   2    43.99 $      87.98
 850014125448    CVS   Calming Recovery Vest with Dog Calming Disc (X‐Large)                                                           50.58     41.74   1    50.58 $      50.58
 363824050331    CVS   Mucinex Cold & Flu High Blood Pressure Liquid Gels, 16 ct.                                                       9.49      9.49   2     9.49 $      18.98
 856318008630    CVS   Husky 650 Lumens Dual‐Power Broad Range LED Headlamp 7 Modes with USB Port                                      24.99             2    24.99 $      49.98
 783643148246    CVS   SIEMENS Q1515 Two 15‐Amp Single Pole 120‐Volt Circuit, use only Where Type QT Breakers are Allowed,                26     15.08   1       26 $      26.00
  37431886187    CVS   Singer Sew Easy Foot with Ruler                                                                                  8.95             1     8.95 $       8.95
  75609208133    CVS   OLAY Sensitive Mineral Zinc Oxide Sunscreen SPF 30 1.7 fl oz NEW Exp. 02/2025                                    8.95             1     8.95 $       8.95
 670367013212    CVS   Peter Thomas Roth | Retinol Fusion PM Night Serum | Hydrating Retinol Facial Serum, 1.5% Microencaps               65        65   3       65 $     195.00
 316864000279    CVS   AmLactin Intensive Healing Body Cream ‚Äì 12 oz Tub ‚Äì 2‐in‐1 Exfoliator and Moisturizer for Dry Skin wit      24.99     27.99   1    24.99 $      24.99
  27917003573    CVS   Nutrition Now PB 8 Pro‐Biotic Vegetarian Supplement, 120 Count each                                             15.75             1    15.75 $      15.75
  93573386527    CVS   Cricut 2006969 Basic Tool Set Gray 3 of 5 pieces Open Package                                                   11.02             1    11.02 $      11.02
  46677578459    CVS   4" Philips Hue White & Color Ambiance LED Smart Retrofit 5/6" Recessed ‐ NEW                                    39.95             1    39.95 $      39.95
 631257121196    CVS   Renew Life Women's Probiotic Capsules, 50 Billion CFU Guaranteed, Supports Vaginal, Urinary, Digestive          67.99     49.98   1    67.99 $      67.99
 885363217339    CVS   Lenox HOLESAW T3 UA K72L 4 1/2 114MM Clam                                                                       71.83     51.55   1    71.83 $      71.83
  75609018268    CVS   Olay Total Effects 7 in 1 Moisturizer Plus Mature Therapy Cream Dry Skin 1.7oz                                  23.75             1    23.75 $      23.75
 193175422149    CVS   Icon A123US‐3 Professional Impact 3pc Universal Joint Adapter Set 1/4" 3/8" 1/2"                                   27             1       27 $      27.00
  74101202342    CVS   Fujifilm Instax Mini 11 Instant Camera ‐ Blush Pink                                                             70.98             1    70.98 $      70.98
 700304156075    CVS   Marvel Dice Throne | 4 Hero Box Featuring Scarlet Witch, Thor, Loki, Spider‐Man | 2‐to‐4 Player Competi         49.99     46.59   1    49.99 $      49.99
  26508209448    CVS   Pull‐Down Sprayer Kitchen Faucet Sink Swivel Spout Single‐Handle Mixer Tap                                      45.99             1    45.99 $      45.99
 194252169575    CVS   Apple iPhone 12 and iPhone 12 Pro Clear Case with MagSafe                                                          49     37.32   4       49 $     196.00
  77922841394    CVS   Intertape Polymer Duct Tape Contractor Grade 1.88" x 60 Yards x 14 Mm 4139                                      13.98             4    13.98 $      55.92
  75772277516    CVS   Mountain Ocean Skin Trip Moisturizer Coconut 8 fl.oz                                                            16.01             1    16.01 $      16.01
 850007468927    CVS   Mighty Patch Micropoint‚Ñ¢ XL for Blemishes from Hero Cosmetics ‐ Hydrocolloid Acne Spot Treatment P            23.99     23.99   6    23.99 $     143.94
 819505014807    CVS   ThunderWunders Dog Calming Chews | Thiamine, L‐Tryptophan, Melatonin and Ginger | Can Help Reliev               39.95        20   2    39.95 $      79.90
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  46677562786    CVS   Philips 562785 Ambiance A19 Bluetooth LED Smart Bulb, Multicolor ‐ 3 Piece                                    102.05               2   102.05 $     204.10
  46308419922    CVS   Walnut Hollow Creative Woodburner Wire Tip Wood Burning Tool 41992 üî•NEW üî•                                  39.99               1    39.99 $      39.99
 697285506947    CVS   PEX Clamp Tool                                                                                                 62.56    89.99      1    62.56 $      62.56
 836213001950    CVS   Logitech for Creators Blue Yeti USB Microphone for Gaming, Streaming, Podcasting, Twitch, YouTube, Dis        129.99       99      1   129.99 $     129.99
 471810100424    CVS   Doggo Everyday Retractable Dog Leash, 16' Long Belt, Large for Dogs Up to 110 lbs, Red with Black Soft G       23.99    18.49      8    23.99 $     191.92
 194251136738    CVS   NARS LAGUNA Talc‐Free Bronzing Powder ‐ FULL SIZE 11g (Laguna 03), 0.388 Ounce, 1                               45.2    32.99      1     45.2 $      45.20
 767332603810    CVS   Murad Resurgence Retinol Youth Renewal Night Cream ‚Äì Anti‐Aging Face Cream for Lines and Wrinkles               88       88      2       88 $     176.00
 842861103229    CVS   Ring Flood Freeze                                                                                              34.99    34.99      1    34.99 $      34.99
 894047001287    CVS   Prevagen Improves Memory ‐ Extra Strength 20mg, 60 Capsules, with Apoaequorin & Vitamin D & Prevag            120.55    99.95      1   120.55 $     120.55
 860005953028    CVS   Pure Over All Glass Coffee Pour Over Carafe 20 oz Capacity ‐ Compatible with Pure Over, AeroPress, Hario       39.99    39.99      1    39.99 $      39.99
 605592000010    CVS   Nexxus Volumizing Foam Styler Mousse Plus, 10.6 oz, Pack of 6                                                  70.29    70.29      1    70.29 $      70.29
9347403003957    CVS   LIFX Lightstrip Color Zones, Wi‐Fi Smart LED Light Strip, Full Color with Polychrome Technology‚Ñ¢, No Br      89.99    83.99      1    89.99 $      89.99
  20525953308    CVS   Schiff MegaRed Omega‐3 Krill Oil Softgels ‐120 Count Exp 2025 *Damaged Box*                                    24.99               1    24.99 $      24.99
  82901335344    CVS   Ace 33534 Grounding Adapter Three Outlets 15A/125V FREE SHIPPING                                                9.99               1     9.99 $       9.99
  28874025356    CVS   DEWALT DW2535 3‐pc Drill Bit Set ‐ Black/Silver ‐ Brand New ‐ Quantity Discount                                 17.5               3     17.5 $      52.50
  92644581489    CVS   50 Pack Klein Tools Universal F Compression Cable Connectors RG6 & RG6Q , B                                    31.98               1    31.98 $      31.98
 754502042999    CVS   Finishing Touch Flawless Nu Razor Portable Cordless Rechargeable Electric Razor                                39.98      9.2     12    39.98 $     479.76
 658010118439    CVS   Garden of Life Dr Formulated Digestive Enzymes with Papain, Bromelain, Lipase for Digestion & Nutrient         30.99    29.44      1    30.99 $      30.99
  38576582545    CVS   AT‐A‐GLANCE Undated Simulated Leather Starter Set 6 Ring Distressed Brown                                         37               1       37 $      37.00
  46677570972    CVS   Philips ‐ Hue Motion Sensor ‐ White                                                                            44.99               2    44.99 $      89.98
 185886000860    CVS   Bodyceuticals Pacific Facial Beauty Drops, New Raspberry Illuminating Day, 1 Ounce                              33.8    34.35     33     33.8 $   1,115.40
 817835010049    CVS   evanhealy Rose Geranium Facial Tonic w/HydroSoul ‐ 100% Pure Organic Plant Hydrosol ‐ Protects & Refr          32.29     29.5      3    32.29 $      96.87
 305732843100    CVS   Preparation H Rapid Relief Hemorrhoid Cream with Lidocaine, Numbing Relief for Swelling, Pain, Burning         18.75    15.86      7    18.75 $     131.25
 737257894532    CVS   top fin pro 120 multi stage canister filter Pre Filter Tray replacemen                                         19.95               1    19.95 $      19.95
 666151112346    CVS   Dermalogica Biolumin‐C Gel Moisturizer, Face Moisturizer with Hyaluronic Acid and Vitamin C ‐ Boosts Ra           69      69       3       69 $     207.00
  35286305341    CVS   Soji Stella Cylinder 7.5 In. X 5 In. Silver Integrated LED Hanging Outdoor Tyvek                               40.35               8    40.35 $     322.80
 811913018583    CVS   Oribe Royal Blowout Heat Styling Spray                                                                            72      69       4       72 $     288.00
  74108437266    CVS   NEW Conair Care Forehead Infrared Thermometer ‐ Non‐Contact ITH93                                               8.98               1     8.98 $       8.98
  92644323836    CVS   KLEIN TOOLS 32383SEN DRILL TAP TOOL KIT #3836                                                                   22.5               4     22.5 $      90.00
  91511300123    CVS   Kawasaki 110137023 Air Filter Pre Filter New Genuine OEM.                                                       12.1               2     12.1 $      24.20
  21331023858    CVS   Altec Lansing NANOPHONES Active Noise Canceling On Ear Wireless Headphones                                     24.99               1    24.99 $      24.99
 727783901255    CVS   New Chapter Women's Multivitamin 50 Plus for Cellular Energy, Heart & Immune Support with 20+ Nutri            86.95    44.24      4    86.95 $     347.80
  30878480727    CVS   (1) NEW Philips USB‐C Multiport Hub w/Power Pass‐Through ‐ DLK9120C/27                                          21.9               1     21.9 $      21.90
 767332153483    CVS   Murad Rapid Dark Spot Correcting Serum ‐ Environmental Shield Skin Brightening Face Serum ‐ Glycolic A            83      81      36       83 $   2,988.00
  77283952326    CVS   JENSEN JCR‐231 Digital AM/FM Dual Alarm Clock Radio with Wave Sensor                                            28.9               1     28.9 $      28.90
  43156171286    CVS   Schlage Aged Bronze Double Cylinder Deadbolt Mod B62N V 716. NIB                                                35.2               1     35.2 $      35.20
 670750668876    CVS   PEX TEE 3/4" BRASS 25PK                                                                                       102.34               1   102.34 $     102.34
 820633982616    CVS   Homewerks 170‐2‐12‐12 No‐Lead Gate Valve, x Female Thread, Brass, 1/2‐Inch, 0.5‐Inch                            5.99    12.01      1     5.99 $       5.99
 815266012724    CVS   BosleyMD Follicle Energizer, DHT Blocker, Extra Strength Thinning Hair Treatment for Hair Loss and Hair R         32       32      3       32 $      96.00
 810014323008    CVS   StriVectin Advanced Retinol Intensive Night Moisturizer, Targets Visible Signs of Aging for Healthier Skin,     119      119       2     119 $      238.00
  26508233139    CVS   MOEN Universal Kitchen Faucet Side Spray in Chrome Model # 179108                                              15.65               1    15.65 $      15.65
 850014125844    CVS   Calm Paws Cat Caring Collar W/Calming                                                                          33.99    20.86      1    33.99 $      33.99
  76281697437    CVS   Star Wars The Power of The Force DEWBACK and Sandtrooper Kenner 1997 NEW in BOX                                22.96               1    22.96 $      22.96
 370797149207    CVS   Dr. Talbot's Pulse Oximeter with Lanyard and Travel Pouch, White And Gray                                      32.99     19.4      2    32.99 $      65.98
  33816706170    CVS   Swingline GBC CombBind C12 Binding System ‐ Punches & Binds Up To 225 Sheets                                   59.95               1    59.95 $      59.95
3337872419522    CVS   La Roche‐Posay Toleriane Dermallergo Eye Cream Soothing Repair Moisturizer, Soothes and Comforts Sen           29.99    29.99      1    29.99 $      29.99
  10306109376    CVS   Roberts Cushion Back Carpet Cutter With Adjustable Blade Depth                                                 27.99               1    27.99 $      27.99
 741474402777    CVS   Senco PC0979 3/8‐Inch by 50‐foot Proflex Air Hose                                                             100.94    65.46      1   100.94 $     100.94
 859975002294    CVS   Andalou Naturals Goji Peptide Perfecting Cream, 1.7 oz                                                         26.99    12.49     13    26.99 $     350.87
 727015393025    CVS   Bodum Chambord French Press Coffee Maker, 51 Ounce, 1.5 Liter, Chrome                                             66       34      1       66 $      66.00
 840049904019    CVS   Josie Maran Pure Argan Milk‚Ñ¢ Intensive Hydrating Treatment 1 oz/ 30 mL                                        48.5     48.5      2     48.5 $      97.00
 381370011378    CVS   Aveeno Skin Relief Overnight Intense Moisture Cream with Triple Oat Complex & Natural Shea Butter, Th          14.96    16.93     11    14.96 $     164.56
 817387024129    CVS   MistAire‚Ñ¢ Silver Humidifier with Ultrasonic Cool Mist                                                        49.99    34.99      1    49.99 $      49.99
 755349088454    CVS   Pennington Aquagarden, Awesome Pond Clean Hands System, Containing Mechanical & Biological Filtrati           299.99    158.6      1   299.99 $     299.99
  51712112048    CVS   Eaton Bussmann Heavy Duty Time Delay Dual Element Fuse BP/FRN‐R‐30 SHIPS FAST!                                  6.99               2     6.99 $      13.98
  92644318764    CVS   KLEIN TOOLS 31876 (CW2041279)                                                                                  23.49               2    23.49 $      46.98
4059089400146    CVS   SYLVANIA 9007 SilverStar zXe Gold Halogen Headlight Bulb, 2 Pack                                                  47    49.99      1       47 $      47.00
 733739075215    CVS   NOW Essential Oils, Ultrasonic Real Bamboo Aromatherapy Oil Diffuser, Extremely Quiet, Heat Free and E         49.99    42.72      1    49.99 $      49.99
  32277751262    CVS   Forney Quick Connect adapter 3/8" MIP                                                                              9               1        9 $       9.00
 871980402098    CVS   Smartpond WP1200‐1200 GPH Revolution Waterfall Pump                                                           162.41      95       2   162.41 $     324.82
  29695306754    CVS   Automatic Retractable Dog Leash Medium 16ft Trigger Button Comfort Handle Pink                                 16.54               1    16.54 $      16.54
  15286211965    CVS    Coast 850‐Lumen LED Flashlight Battery Pro Grade 6 AA battery included                                        42.99               1    42.99 $      42.99
 850041963020    CVS   BACKBONE One Mobile Gaming Controller for Android and iPhone 15 Series (USB‐C) ‐ PlayStation Edition           99.99               1    99.99 $      99.99
  17200000143    CVS   ARC‐1 Blue Light + 14 Treatments(1 Upper,1 Lower) Pro‐Level Whitening New                                      12.14               3    12.14 $      36.42
 729238172821    CVS   Shiseido Ultimune Power Infusing Concentrate Mini ‐ 15 mL ‐ Antioxidant Anti‐Aging Face Serum ‐ Boosts            38      38       2       38 $      76.00
  46677716660    CVS   Philips Standard 9008 B1 12 Volts 65/55 Watts Halogen Headlight Bulb                                            6.95               1     6.95 $       6.95
  70896402400    CVS   Wilton Master Tip Set 55 Decorating Tips, Couplers, Flower Nails, Tip Organizer                                36.55               4    36.55 $     146.20
  73796638009    CVS   OMRON Total Power + Heat‚Ñ¢ TENS Therapy Pain Relief PM800 NIB NEW IN BOX                                      49.98               6    49.98 $     299.88
 818594014842    CVS   Force Factor Alpha King Supreme Testosterone Booster for Men with Fenugreek Seed and Ashwagandha               34.99    28.38      1    34.99 $      34.99
  92644692987    CVS   Klein Tools Borescope for Android Devices ET16                                                                    32               1       32 $      32.00
  78477714140    CVS   Leviton R06‐GFNT1‐0KT GFCI                                                                                     21.27               5    21.27 $     106.35
  11499027515    CVS   ImpressArt Texture Stamper Hammer DIY Metal Stamping Bracelet Cuff Jewelry Tool                                18.95               1    18.95 $      18.95
 885911642682    CVS   IRWIN Screwdriver Bit Set, 24‐Piece (IWAF1224)                                                                 32.28    27.12     13    32.28 $     419.64

                                                                                                                                                       4208          $ 187,119.50
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Original Search                                                                                                                                                 Amazon US
                  Identified by:                                                 Product Title                                                   MSRP (USD)                    Qty        Price     Extended
     Term                                                                                                                                                       Price (USD)
  49625280145          HSI         (gold) - Graftobian F/x Aire Airbrush Make-up - Gold 60ml. Brand                                                    $51.41                         1    $51.41        $51.41
  63013730470          HSI         (new) Passage Taymor Premier Passage Lever Polished Chrome 30-d006724pc                                             $23.99                         4    $23.99        $95.96
    680000017          HSI         100 Pure Austrailian Tea Tree Oil 1 Fluid Ounces Liquid                                                             $13.29         $29.98          3    $13.29        $39.87
  43168526524          HSI         107364 Night Light LED Ring Color-Changing Decorative Plug-in Fixture                                               $13.75                         1    $13.75        $13.75
 884835007638          HSI         13028 7.25 in. 4-Tooth PCD Cement Fiber Tarantula Diamond Circular Saw Blade                                        $94.37                         4    $94.37      $377.48
  35794190255          HSI         19026 Adaptor Set - 4 Piece                                                                                         $17.42                         1    $17.42        $17.42
  90174422197          HSI         2 Pack Paul Mitchell Flexible Style Super Clean Spray 9.6 oz X 2 #2197 #5817                                        $22.50                         2    $22.50        $45.00
  83045235002          HSI         2" to 7" Glaze Breaker Engine Cylinder Hone                                                                         $47.06         $41.00          1    $47.06        $47.06
   8925155638          HSI         2009832 3 Piece Carbide Oscillating Blade Set                                                                       $44.97                         3    $44.97      $134.91
 887521121601          HSI         2023 Bowman Platinum Baseball Factory Sealed Value Box                                                              $24.99         $31.98          1    $24.99        $24.99
  78484900550          HSI         20701001 18 x 24 in. Built to DIY Double-Sided Cutting Mat                                                          $19.99                         2    $19.99        $39.98
  51138542528          HSI         3M 6311PA1-A Pesticide And Spray Paint Respirator                                                                   $47.57                         2    $47.57        $95.14
  35794820619          HSI         82062 Utility Knife Blade Pack with Dispenser - 100 Piece                                                           $29.32                         1    $29.32        $29.32
  21130892075          HSI         Safeway Home Batteries ‐ Signature Select                                                                            $7.99                         2     $7.99        $15.98
  75609014697          HSI         Age Defying Classic Night Cream                                                                                     $13.19                         1    $13.19        $13.19
 619498634965          HSI         AIRFIT F20 SML SYS ‐ SLM (CPAP)                                                                                   $119.99                          1 $119.99        $119.99
 619498638925          HSI         Airfit N30I Standard Frame Sytem ‐ Medium (CPAP)                                                                    $95.99                         1    $95.99        $95.99
7640126630526          HSI         Alchimie Forever Firming Gel For Neck And Bust - 8.0 fl oz                                                          $49.00                         2    $49.00        $98.00
  35794490225          HSI         Allied International 21-Piece Ratcheting Driver Set                                                                 $19.13                         1    $19.13        $19.13
  35286316002          HSI         Allsop Soji Stella Pearl Wave Bulb                                                                                  $69.99                         6    $69.99      $419.94
  84902701227          HSI         Alpena Cluster Strobe Light                                                                                         $49.99                         1    $49.99        $49.99
  84902701203          HSI         Alpena ProStrobe SlimStrobz 4 Dual                                                                                  $69.99                         1    $69.99        $69.99
 718813186407          HSI         American Crafts Peony Do It Yourself Stained Glass Kit                                                              $44.99                         1    $44.99        $44.99
 316864000194          HSI         AmLactin Daily Moisturizing Body Lotion 12% - 14.1 oz                                                               $20.37                         8    $20.37      $162.96
 848061044874          HSI         Anker ‐ PowerPort PD 2 Bundle with USB‐C to Lightning Cable 3ft and Fast Charger for iphone or iPad ‐ Whit           $6.48                         1     $6.48         $6.48
  28905422901          HSI         Aqualife Kitchen Faucet Single Handle - Detachable Head With Spray Hose -                                           $49.99                         1    $49.99        $49.99
  15905002158          HSI         Aqueon Black Pedestal Aquarium Stand, 15"L X 15" W, 15 IN                                                         $119.99                          1 $119.99        $119.99
  15905002165          HSI         Aqueon Black Pedestal Aquarium Stand, 24"L X 24" W, 24 IN                                                         $149.99                          1 $149.99        $149.99
  12443563943          HSI         ASP Acrylic System Student Kit                                                                                      $43.49                         1    $43.49        $43.49
  18084807149          HSI         Aveda Color Conserve Conditioner - 6.7 oz                                                                           $45.63                         2    $45.63        $91.26
  98612426073          HSI         Baby Lock 12 Foot Kit                                                                                               $99.00                         2    $99.00      $198.00
  98612015932          HSI         Baby Lock Triumph Foot Kit 29 Feet                                                                               $1,559.00                         1 $1,559.00     $1,559.00
  74108402738          HSI         Babyliss Pro Titanium 2" Straightener. In Box                                                                       $79.00                         1    $79.00        $79.00
  86453003263          HSI         BIG Multicube - Double Cube                                                                                         $28.99                         1    $28.99        $28.99
  48231358309          HSI         LG AYSVB01A PTAC Wall Sleeve ‐ 42"                                                                                $115.00                          1 $115.00        $115.00
 843992009015          HSI         Biosilk Original Silk Therapy Cure Repairs, Smooths & Protects Hair - 2.26 fl oz                                    $17.99                         2    $17.99        $35.98
 860306000124          HSI         BLNDN NOURISH YOU Nourishing Conditioner                                                                            $39.30                         1    $39.30        $39.30
  69055833025          HSI         Breathable Men Xxx‐large Polo With Cat_and_mouse On Shirt Xxx‐large Casual Sport Clothing Collar Tees               $26.99                         1    $26.99        $26.99
 860306000162          HSI         BLNDN REPAIR YOU Repairing Mask                                                                                     $59.91                         1    $59.91        $59.91
  77283959516          HSI         Bluetooth Clock Radio With Cellphone Holder                                                                         $29.99                         1    $29.99        $29.99
 716170294339          HSI         Bobbi Brown Sheer Finished Pressed Powder                                                                           $48.00                         1    $48.00        $48.00
 800443227442          HSI         Bond & Co. Suede Leather Dog Lead in Dark Brown, 5 ft.                                                              $17.50                         1    $17.50        $17.50
 444800626396          HSI         Bee And Willow Monterey 20 Piece Satin Flatware                                                                   $103.40                          1 $103.40        $103.40
 601479178698          HSI         Bontrager ‐ STD 700 x 35‐44 SV                                                                                      $10.49                         1    $10.49        $10.49
    346625370          HSI         Bosch 1-5/8-in Carbide-tipped Stile and rail Bit                                                                    $99.99                         3    $99.99      $299.97
    346466706          HSI         Bosch 50-ft Chalkline Self-Leveling Line Generator Laser Level                                                    $129.00                          1 $129.00        $129.00
    346352337          HSI         Bosch 84624MC Ct 1/4 Tng 1/2S                                                                                       $59.99                         1    $59.99        $59.99
    346352009          HSI         Bosch 85293MC Ct 3/16 Roundover 1/4S                                                                                $29.99                         2    $29.99        $59.98
    346352191          HSI         Bosch 85604MC Ct 1‐5/16 Cv 1/4S                                                                                     $32.27                         1    $32.27        $32.27
  39166121663          HSI         BrassCraft Plastic Tub/Shower Repair Kit for Peerless Faucets                                                       $39.99                         1    $39.99        $39.99
 601842082522          HSI         Bontrager Pro Keyed Folding Lock                                                                                    $99.99                         1    $99.99        $99.99
  33991077300          HSI         BTFM4PD BTFreq Wireless Handsfree Car Kit with FM Transmitter ‐ Pack of 4                                           $83.70                         2    $83.70      $167.40
  87115501479          HSI         Bwf Photoelectric Security Light Kit Sl-2c 500883                                                                   $29.97                         1    $29.97        $29.97
 864836000401          HSI         Calm Sleep Mist Pillow Spray with Essential Oils, Lavender, 28 ML Blue                                              $31.77                         2    $31.77        $63.54
  13803151343          HSI         Canon Pigment Ink Cartridge PGI-250XL f/iP7220 Black PGI250XLPGBK                                                   $27.99         $26.75          1    $27.99        $27.99
 400000469119          HSI         Catherines Plus Size Tribal Inspiration Tee, Women's, Size: 2XL, Mariner Navy                                       $24.99                         1    $24.99        $24.99
 813843043550          HSI         CHI VIBES Multifunctional Hairstyling Waver and Curling Iron, Multicolor                                            $84.95                         1    $84.95        $84.95
 633911846643          HSI         CHI Vibes on the Edge Hair Iron - 1"                                                                                $93.49                         1    $93.49        $93.49
 813843045004          HSI         CHI Vibes on the Edge Hair Iron - 1"                                                                                $69.99                         1    $69.99        $69.99
 606373990490          HSI         Cesar Millan Step‐in Harness, Small, 10‐14 inches, Blue                                                              $8.49                         1     $8.49         $8.49
 192333128879          HSI         Clinique 7 Day Scrub Cream Rinse-Off Formula 0.5 oz.                                                                 $7.00                         1     $7.00         $7.00
 889714001905          HSI         Crest 3D Whitestrips Teeth Whitening Kit - 1.0 set                                                                  $19.99                         2    $19.99        $39.98
  37155174850          HSI         Danco Plastic Faucet/Tub/Shower Stem for Wolverine Brass                                                            $50.33                         1    $50.33        $50.33
  32929421314          HSI         Dataproducts Replacement Canon PG 210/CL 211 RY Printer Cartridge - DATAPRODUCTS/N. AM                              $27.99                         1    $27.99        $27.99
 194328216219          HSI         DENIZEN from Levi's Men's 216 Slim Fit Jeans - Standup 32x30                                                        $29.99                         2    $29.99        $59.98
  30985006902          HSI         Derma e ‐ Microdermabrasion Scrub                                                                                   $46.49                         3    $46.49      $139.47
   8925077176          HSI         DIABLO 1 in. Traditional Bead Bit                                                                                   $44.97                         2    $44.97        $89.94
   8925089124          HSI         Diablo 2884773 ROUND OVRBT 1-1/4DX5/16R                                                                             $46.11                         2    $46.11        $92.22
   8925076582          HSI         Diablo 3/4 in. Dia. x 2 in. L Carbide Mortising Router Bit - Total Qty: 1                                           $18.67                         1    $18.67        $18.67
   8925132912          HSI         Diablo 3Pk 12"Metal Recip Blade                                                                                     $54.97                         1    $54.97        $54.97
   8925067634          HSI         DIABLO 7-1/4 in. x 60-Tooth Fine Finish Circular Saw Blade                                                          $19.97                         8    $19.97      $159.76
   8925136453          HSI         DIABLO 9 in. 8/14 TPI Demo Demon Bi-Metal Reciprocating Saw Blades for General Purpose Cutt                         $47.97                         1    $47.97        $47.97
4004408094728          HSI         'Dr. Friedrichs' Sauna Thermometer Hygrometer Luxury                                                                $69.95                         1    $69.95        $69.95
 631257153555          HSI         Renew Life Extra Care Ultimate Flora Probiotic Supplement, 30 Billion, 50 Vegetarian Capsules                       $43.49                         7    $43.49      $304.43
4020829004917          HSI         Dr.Hauschka Moisturizing Day Cream ‐ 1 fl oz                                                                        $42.00                         1    $42.00        $42.00
  83771823436          HSI         Eazypower 82343 1‐1/4" x 6" Silver and Demming 135 Degree Split Point M2 High Speed Steel with 1/2" Sha           $102.83                          1 $102.83        $102.83
4011708350270          HSI         Eheim Skim350 Micro Skimmer Surface Skim Scum/film/organics 350 ‐ Aquarium Water                                    $23.99                         1    $23.99        $23.99
 653569077732          HSI         Star Wars Year 2005 Revenge of the Sith Movie Series Exclusive 4 Inch Tall Action Figure Gift Set : Obi‐Wan         $27.99                         1    $27.99        $27.99
 653569077749          HSI         Outcasts: Female Desperate Merc „Éï„Ç£„ÇÆ„É•„Ç¢ ‰∫∫ÂΩ¢ (‰∏¶Ë°åËº∏ÂÖ•)                                               $33.10                         1    $33.10        $33.10
 653569077756          HSI         Star Wars: Revenge of The Sith General Grievous Collectible Figure & Cup                                            $33.99                         1    $33.99        $33.99
  91037310439          HSI         Exfoliating Serum with 16 Actives 1.02 Fluid Ounces Liquid                                                          $23.98         $23.98          1    $23.98        $23.98
 846345000103          HSI         Extenze Extended Realease 30 Liquid Gel Capsules                                                                    $43.80                         4    $43.80      $175.20
 850027424194          HSI         Feliway Enhanced Calming Pheromone Optimum Cat Diffuser, 48 ml., Pack of 2                                          $36.75                         1    $36.75        $36.75
 739423999485          HSI         Florajen Women's Probiotic Gummy Urinary Tract Health Digestive and Immune Support - 40.0 ea                        $22.35                        20    $22.35      $447.00
 704142000576          HSI         Florastor Daily Probiotic and Immune Support Supplement Capsules Unflavored - 30.0 ea                               $27.88                         1    $27.88        $27.88
 726000104134          HSI         Focus Factor                                                                                                        $33.78                         2    $33.78        $67.56
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 32277878242    HSI   Forney Ga Oxy‐Acetylene ", Size2                                                                                   $27.77             1    $27.77      $27.77
660559015421    HSI   T Shirt Green Bewbs Custom Xx‐large Sheets Women                                                                   $94.98             1    $94.98      $94.98
695111002540    HSI   New Vitality, Ageless Male Max Chewables Tablet, 120 Count                                                         $49.95             4    $49.95    $199.80
 83045228004    HSI   Gap Women 1969 Real Straight Jeans Size 12 Petite - rinse                                                          $19.91   $23.60    1    $19.91      $19.91
 38728635181    HSI   General Tools 18 pc. Screwdriver Set - GENERAL TOOLS MFG. CO. LLC.                                                 $26.33             2    $26.33      $52.66
 37916425405    HSI   Gerson 42540 - 2" x 8" Ivory (Vanilla Scent) Wavy Edge Motion Flame LED Wax Candle Light with                      $15.39             1    $15.39      $15.39
192938133292    HSI   GFORE LTD ED Kiltie Disruptor Golf Shoes (Snow/Twilight) Women's Shoes                                            $225.00             1   $225.00    $225.00
705954200161    HSI   Just Wireless 7.5/15w Magnetic Charger USB‐C Cable 5ft Compatible with MagSafe                                     $24.99             1    $24.99      $24.99
713506000756    HSI   Orvis PRO Trout LineSmooth                                                                                         $98.00             2    $98.00    $196.00
 49625280503    HSI   Graftobian F/x Aire Airbrush Make-up - Frankie Grey 2 Oz                                                           $37.97             1    $37.97      $37.97
 49625280534    HSI   Graftobian F/X Aire Airbrush Makeup (Thunder Grey)                                                                 $70.00             1    $70.00      $70.00
192938132776    HSI   Grosgrain Brogue Gallivanter Women's Golf Shoe, White/Teal, 8.5 M ‐ G/FORE Spikeless                              $225.00             1   $225.00    $225.00
 14173361752    HSI   Grumbacher - Academy Watercolor Brush - Stroke - 1/2                                                               $14.79             1    $14.79      $14.79
 46335976863    HSI   Halo Satin Platinum 11.5-Inch Wide LED Flush Mount                                                                 $35.24             1    $35.24      $35.24
 76335219288    HSI   Hardware Express 3516-CP-PU Premier Waterfront Single Handle Lavatory Faucet                                       $64.61             4    $64.61    $258.44
713506007410    HSI   Orvis PRO Saltwater All Rounder Fly LineSmooth                                                                     $39.00             1    $39.00      $39.00
371730001217    HSI   hers Mood Mental Health Probiotic Supplement - 30.0 ea                                                             $19.96             1    $19.96      $19.96
722947719073    HSI   Michael Kors Set Scarf and Hat I Cable Pattern I Winter Scarf I Beanie I Wool Scarf I Winter Hat I One Size I S    $86.25             1    $86.25      $86.25
 37916445700    HSI   Hudson 43 Motion Flame Led Candle - Set Of 3 - Bisque Color                                                        $18.25             1    $18.25      $18.25
622356557030    HSI   Hudson 43 Motion Flame Led Candle - Set Of 3 - Bisque Color                                                       $260.99             1   $260.99    $260.99
722947629464    HSI   HUNTER BEANIE STRIPED CUFF BEANIE, ONE SIZE                                                                        $48.00             1    $48.00      $48.00
860007763762    HSI   Hydrasilk Hydrating Bond System Savvy Set by NU Standard                                                          $298.99             4   $298.99   $1,195.96
732180401802    HSI   Nora Lighting NL‐423N 4in. Fresnel Shower Recessed Lighting Trim                                                   $24.99             1    $24.99      $24.99
737257675452    HSI   TOP PAW Green Dog Backpack~Large~                                                                                  $17.99             1    $17.99      $17.99
813920019157    HSI   Kate Somerville Kx Concentrates Squalane + Hyaluronic Serum                                                        $39.94             1    $39.94      $39.94
737257833517    HSI   TOP PAW Led Reflective Leash‐ Green Neon 4ft. Includes Charging Wire                                               $24.00             1    $24.00      $24.00
 93319127049    HSI   King W2010l W Series 1000w 208v Wall Heater White                                                                  $89.99             2    $89.99    $179.98
883049679006    HSI   KitchenAid Go Cordless Hand Mixer battery included - Hearth & Hand™ with Magnolia                                 $129.99             1   $129.99    $129.99
 24131272662    HSI   Kitchenaid Wireless Remote Timer And Thermometer Kn128ohoba                                                        $21.99             1    $21.99      $21.99
 99198867557    HSI   Kobalt 154-Piece Standard (SAE) and Metric Mechanic's Tool Set with Hard Case                                     $119.00             1   $119.00    $119.00
  9265016382    HSI   Kyser Quick-Change Capo 6-String Rosewood                                                                          $21.95             5    $21.95    $109.75
 78477784013    HSI   LEVITON 40259-W Telephone 6P4C Plates & F-Connector Wall Jack (White)                                              $10.98             1    $10.98      $10.98
 29275004940    HSI   Lewis N. Clark 7053BLK RFID-Blocking Women Fine Leather Clutch Black                                               $34.99             6    $34.99    $209.94
737257833548    HSI   TOP PAW LED & Reflective Soft Handle Leash 4'                                                                       $9.00             1     $9.00       $9.00
850003895710    HSI   Lockly Model‐S Satin Nickel Single‐Cylinder Deadbolt Smart Lock with Hack‐proof Touchsreen Keypad and M           $149.00             1   $149.00    $149.00
  8957911004    HSI   Logan Graphics F-300-1: Studio Joiner, Holds Wood Frame Sections Together for Nailing                             $250.00             1   $250.00    $250.00
  8957910403    HSI   Logan Graphics F400-1: Fitting Tool Drives & Removes Four Different Inserts                                        $54.33             3    $54.33    $162.99
 97855070739    HSI   Logitech 960‐000694 C270 HD Webcam                                                                                $119.99             1   $119.99    $119.99
755970750348    HSI   NUTRAMAX PROVIABLE Proviable‐DC Capsules for Cats, Count of 30, 2.39 in                                            $15.52             1    $15.52      $15.52
 45905995587    HSI   Mahina Menstrual Cup - 1 In Comfort And Luxury - Ultra Soft Medical Grade...                                       $36.02             2    $36.02      $72.04
 93344002908    HSI   Marinco Cover With Sealing Ring 103RN                                                                              $34.94             3    $34.94    $104.82
 47431906198    HSI   Marineland Double Bright LED Aquarium Light 48in                                                                  $235.61             1   $235.61    $235.61
 47431907706    HSI   Marineland Magnum Polishing Internal Canister Filter, 10.5 IN                                                     $101.02             1   $101.02    $101.02
758302167135    HSI   Iessentials® Iessentials® 2.4‐amp Dual‐ Car With ‐a Lightning® Cable 4ft                                           $16.49             1    $16.49      $16.49
 45734901476    HSI   Mintcraft TS1010S-P Socket Sets 10 Piece With Fractional Hex Bits 3/8 Inch Drive And 1/2 Inch Dr                   $35.56             5    $35.56    $177.80
760823007289    HSI   Black Gold Ascent Verdict Sight 5 Pin .019 RH                                                                     $279.95             1   $279.95    $279.95
194251004662    HSI   NARS Soft Matte Tinted Lip Balm, Size: 0.09Oz, Beig/Green                                                          $28.00             1    $28.00      $28.00
 31604018825    HSI   Nature Made Vitamin E, 400 IU, Liquid Softgels, Value Size, 300 softgels - Nature Made                             $17.49             1    $17.49      $17.49
 74312011689    HSI   Nature's Bounty B-12 Gummies - 160.0 ea                                                                            $26.99             1    $26.99      $26.99
622356564908    HSI   Ninja ‐ Foodi 8‐in‐1 Digital Air Fry Oven Toaster Flip‐Away Storage Dehydrate Keep Warm ‐ Black                   $219.00             1   $219.00    $219.00
622356566582    HSI   Ninja Foodi Smoothie Bowl Maker and Nutrient Extractor/Blender 1200WP with Exclusive Sauce P                      $219.99             1   $219.99    $219.99
767332109046    HSI   Murad Resurgence Revitalixir Recovery Serum ‐ Multi‐Action Anti‐Aging Face Serum with Neuroptides and C            $97.00             4    $97.00    $388.00
773199303954    HSI   Richelieu Hardware Flap Stay Duo for Wood Door                                                                     $49.58            24    $49.58   $1,189.92
784276803892    HSI   Lutron DVCL‐153P‐WH‐2 LED Dimmer 2‐Pack, Single Pole or Three‐Way                                                  $46.91             7    $46.91    $328.37
841992095014    HSI   Office Depot® Brand Remanufactured High‐Yield Black And Cyan, Magenta, Yellow Ink Cartridge Replaceme              $62.99             1    $62.99      $62.99
 87486119198    HSI   Office Depot® Brand Remanufactured Tri-Color Ink Cartridge Replacement For Dell™ 2, OD745                          $35.49             2    $35.49      $70.98
193175340146    HSI   OLSEN Heavy Duty Oxygen and Acetylene Welding Kit NEW                                                             $219.99             1   $219.99    $219.99
 36577000549    HSI   Oregon Cutting Systems S64 18 Inch Low Profile Chain                                                               $24.47             1    $24.47      $24.47
785401130470    HSI   Relton MX‐10‐14 5/8" X 8" SDS‐max Shank                                                                            $81.00             1    $81.00      $81.00
800443253793    HSI   GOOD2GO LED Light‐Up Collar for Dogs in Pink, Small                                                                $15.49             1    $15.49      $15.49
800443253854    HSI   Good2Go LED Light‐Up Collar for Dogs in Blue, Small                                                                $19.89             2    $19.89      $39.78
 63013730463    HSI   Passage Taymor Premier Passage Lever Polished Chrome 30-d006734pc                                                  $23.99            47    $23.99   $1,127.53
300658150066    HSI   Pataday Once Daily Eye Care Allergy Relief Eye Drops Twin Pack                                                     $58.45            22    $58.45   $1,285.90
  9531115757    HSI   Paul Mitchell Tea Tree Special Shampoo - 16.9 fl oz                                                                $21.00             1    $21.00      $21.00
729849137691    HSI   PetSafe Extra Wire n Flag Kit for In Ground Fence                                                                  $69.99             1    $69.99      $69.99
 46677562779    HSI   Philips Hue 562777 Dimmer Switch                                                                                   $31.99             4    $31.99    $127.96
850023170583    HSI   PHONE SKOPE C1S22+ GALAXY S22 PLUS PHONE CASE                                                                      $57.99             1    $57.99      $57.99
 46224054160    HSI   Plumb Pak PP5416 Strainer Stainless Steel Screw Style                                                              $36.51             1    $36.51      $36.51
 54732100200    HSI   Prime Wire Model EC500835 100 ft. 12/3 SJTW Jobsite Outdoor Extension Cord                                        $107.68             2   $107.68    $215.36
 20268212144    HSI   PRO ART 6-inch Bow Compass                                                                                         $19.49             1    $19.49      $19.49
674465003038    HSI   Profusion Heat Infrared Quartz Tower Heater 1000 W 120 V 3400 Btu                                                  $19.95             1    $19.95      $19.95
 45734650053    HSI   ProSource HR4004SN-PS Door Knocker 7In Sat Nickel                                                                  $24.50             3    $24.50      $73.50
   842034829    HSI   QuickFinder Dog Nail Clipper Small                                                                                 $22.51            16    $22.51    $360.16
 21331633088    HSI   Rechargeable Battery Charger Aa Aaa Digital Concepts Ch-121r In Packaging                                           $9.00             1     $9.00       $9.00
800443354247    HSI   Reddy Black Cotton Canvas Pet Carrier Backpack, 16" H x 13" W x 8" D, Small                                        $89.99             1    $89.99      $89.99
800443329078    HSI   Good2Go Black Quilted Tech‐Fabric Ski Dog Coat, Large                                                              $42.99             1    $42.99      $42.99
800443477632    HSI   EveryYay Embrace The Pace Black No Pull Dog Harness, Large                                                         $19.99             2    $19.99      $39.98
800443570647    HSI   Reddy Black Primaloft Dog Jacket, XX‐Large                                                                         $25.00             1    $25.00      $25.00
800443571019    HSI   Reddy Black Primaloft Dog Jacket, Small                                                                            $25.00             1    $25.00      $25.00
809280150708    HSI   fresh Black Tea Corset Firming Serum 1 oz / 30 mL                                                                  $78.00             1    $78.00      $78.00
619498629725    HSI   Resmed Airfit P10 - Frame System - Large - In Retail Packaging                                                     $66.00             1    $66.00      $66.00
619498629718    HSI   ResMed AirFit P10 Nasal Pillow Size: Medium                                                                        $14.00             1    $14.00      $14.00
619498630332    HSI   ResMed AirTouch F20 Cushion - Provides an Excellent Seal - Large                                                    $9.99             1     $9.99       $9.99
809280160332    HSI   fresh Mini Kombucha Antioxidant Facial Treatment Essence 1.6 oz / 50 ml                                            $39.00             3    $39.00    $117.00
 14817302615    HSI   Royce Lighting Rv400/3-23 Westlake Vanity White Alabaster Glass Oil Rubbed Bronz                                   $94.97             1    $94.97      $94.97
812286021057    HSI   General Lock Single Cylinder Deadlock, US26D Satin Chrome 6‐Way... CS359450                                        $74.82             1    $74.82      $74.82
813920016729    HSI   Kate Somerville Wrinkle Warrior¬Æ Eye Gel Visible Dark Circle Eraser 0.3 oz/ 10 mL                                 $76.00             1    $76.00      $76.00
854210006297    HSI   Saffron & Sea Buckthorn Facial Serum Wild Carrot Herbals 15 mL Oil                                                 $36.79             5    $36.79    $183.95
619659193928    HSI   SanDisk Extreme 1TB Portable External SSD Flash Storage Drive - Black                                             $129.99             1   $129.99    $129.99
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 793795534149    HSI   Sanus 32 To 55-in Tilt Wall Tv Mount Fits Tvs Up To 55-in (hardware Included)                                $139.41          1   $139.41     $139.41
  43156171354    HSI   Schlage Lock FB50NVBEL505 Bell BRS Bell Comb Deadbolt                                                         $63.72          3    $63.72     $191.16
 857611003032    HSI   SeroVital ADVANCED at Nordstrom                                                                               $99.99          1    $99.99       $99.99
  74040550146    HSI   Sheaffer� VFM Ballpoint Pen, Medium Point, 1.0 mm, Red Barrel, Black Ink                                      $19.69          2    $19.69       $39.38
 730852172852    HSI   Shiseido Ultimune Power Infusing Anti-Aging Serum, Size: 2.5 FL Oz, Multicolor                                $73.00          1    $73.00       $73.00
 850003700007    HSI   Shyn Brighter Tooth Whitening System - Cloud White                                                            $46.00          1    $46.00       $46.00
 888777033564    HSI   Silky Zubat 330 Ultimate Professional Handsaw                                                                 $94.99          1    $94.99       $94.99
   9326326030    HSI   SIM Supply, Inc. 0.8a Detail Palm Sander 323420                                                               $24.77          2    $24.77       $49.54
 850028514641    HSI   Siser EasyPatterns Buffalo Plaid Red Plus Heat Transfer Vinyl 36in                                            $24.99          1    $24.99       $24.99
 817718026129    HSI   Sunday Performance Jogger | Black Black / XL                                                                  $98.00         19    $98.00    $1,862.00
  38097123036    HSI   Slant Tweezer                                                                                                 $23.00          1    $23.00       $23.00
 805112085583    HSI   SL-HW-HU-103-WT-BYT Dual Spray Humidifier w/ Night Light & Projector (HU-103) White                           $67.99          1    $67.99       $67.99
 866330000260    HSI   SmartGuard Anti-Snore Device Custom Snore Stopping Mouth Guard for Deeper Sleep                               $89.99          1    $89.99       $89.99
 718103259910    HSI   Staples 100' CAT 6 Streaming Network Cable, Black                                                             $56.39          1    $56.39       $56.39
 819976023018    HSI   Turok 2: Seeds of Evil ‐ Nintendo Switch                                                                      $19.99          1    $19.99       $19.99
 710363586003    HSI   SteelLibido Peak Testosterone 75 Liquid SoftGels                                                              $17.99          1    $17.99       $17.99
 820633958772    HSI   1/2 in. x 3/4 in. Brass Compression x MHT Washing Machine Pressure Regulating Valve                           $11.82          1    $11.82       $11.82
 820633958796    HSI   Everbilt 1/2 in. Chrome‐Plated Brass Washing Machine Valve                                                    $11.82          2    $11.82       $23.64
 834893012907    HSI   STEM CELLULAR SuperGrape Youth Renew Serum with Hyaluronic Acid                                               $65.00          2    $65.00     $130.00
  46135362026    HSI   Sylvania H11B SilverStar Headlight Bulbs - 2/card sold by card                                                $59.99          1    $59.99       $59.99
  46135313714    HSI   Sylvania H11B SilverStar Ultra Headlight Bulbs ‐ 2/card Sold by Card                                          $71.96          4    $71.96     $287.84
 841992036833    HSI   Office Depot OD75XL (HP 75) Remanufactured Tricolor Ink Cartridge, OD75XL                                     $37.99          2    $37.99       $75.98
 846733043224    HSI   tarte knockout brightening gel moisturizer, Size: 1.69 FL Oz, Multicolor                                      $29.49          1    $29.49       $29.49
 811944031049    HSI   Tech Candy UV Light Phone Sanitizer Box Mint Green For Smartphones                                            $30.00          1    $30.00       $30.00
 857496002069    HSI   Terrasil Shingles Skincare Ointment - 1.5 oz                                                                  $39.99          5    $39.99     $199.95
 842094154241    HSI   Harrison√¢‚Äû¬¢ Chrome Lever Corkscrew Set by Viski                                                           $19.99          4    $19.99       $79.96
 852900006602    HSI   Tint & Tighten Instant Color Smoothing Cream Dark/Deep 9                                                      $33.89          1    $33.89       $33.89
 852900006534    HSI   Tint & Tighten Instant Color Smoothing Cream For Light‐Medium Skintones 9 Tubes                               $40.99          2    $40.99       $81.98
 852900006541    HSI   Tint & Tighten Instant Color Soothing Cream .18 FL Oz Medium/Dark - 0.18 Oz | CVS                             $44.90          1    $44.90       $44.90
 850022051067    HSI   Rritual Superfoods Lion's Mane Focus Herbal Supplement Container, Mushroom Adaptogen Enhanced Elixir          $34.99          1    $34.99       $34.99
 854209008370    HSI   Siser Green APPL HTV Vinyl ROLL                                                                               $12.00          2    $12.00       $24.00
 856528001612    HSI   Testrovax Testosterone Boosting Compound 60 Tablets of Increased Sex Drive, Muscle Mass Growth, Enhan         $69.00          2    $69.00     $138.00
 655100283602    HSI   TRULY Women's Vegan Collagen Booster Anti Aging Body Cream - 6 fl oz - Ulta Beauty                            $31.90          1    $31.90       $31.90
 860306000100    HSI   BLNDN Quench You Quenching Shampoo 8.45 fl.oz                                                                 $17.98          1    $17.98       $17.98
 723990633552    HSI   TYMO Ring Hair Straightening Comb - Pink                                                                      $33.74          2    $33.74       $67.48
 860306000117    HSI   BLNDN Brighten You Brightening Shampoo 8.45 fl oz                                                             $26.00          1    $26.00       $26.00
 860306000193    HSI   BLNDN Restore You 4 fl oz.                                                                                    $20.00          1    $20.00       $20.00
   8576120269    HSI   Vandoren Baritone Saxophone Reeds Strength 2 Box of 5                                                         $46.00          4    $46.00     $184.00
 810086430536    HSI   Vankyo ‐ Leisure E30TBS Native 1080P 4K Supported Wireless Projector, screen included ‐ White/White          $199.99          1   $199.99     $199.99
 735078044846    HSI   VTech DS6151 1 Handset Cordless Phone (2 Line) with DS6101 2-Line Accessory Handset - Silve                  $224.49          1   $224.49     $224.49
 311917197395    HSI   Walgreens Docosanol Cream, 10% - 0.07 oz                                                                      $18.99          1    $18.99       $18.99
  37083460117    HSI   WeatherMaster 46011 Colored Sealant ‐ Beige                                                                    $8.21          1     $8.21        $8.21
 850026275094    HSI   Whistle Go Explore Dog GPS Tracking Device and Pet Health Monitoring System Gre                              $113.50          2   $113.50     $227.00
 850026275124    HSI   Whistle Health Smart Device | Dog Health and Fitness Tracker                                                  $39.20          1    $39.20       $39.20
 850026275100    HSI   Whistle Switch Smart Collar Kit ‐ GPS location Health & Fitness Shadow (Black)                               $147.50          3   $147.50     $442.50
  14817521849    HSI   Woodward Polished Nickel Three-Light Flush Mount with Opal Etched Glass                                      $299.00          2   $299.00     $598.00
 766218138828    HSI   X-TREME FLEX MTLC ARMOR KIT                                                                                   $50.27          2    $50.27     $100.54
 867528000123    HSI   BIOMILK Probiotic Skincare Enrich and Infuse Daily Serum, 100% Natural Probiotics and Bio Nutrients for He    $30.00         13    $30.00     $390.00
 871980400254    HSI   UV Clarifier                                                                                                  $99.98          1    $99.98       $99.98
 887167621695    HSI   Estee Lauder 4 Piece Daywear Skincare Gift Set                                                                $69.00          1    $69.00       $69.00
 892316000368    HSI   Susan Posnick Cosmetics Colorme Orchid                                                                        $35.00          1    $35.00       $35.00
1168630512092    HSI   AA Aquarium GKM 9W Green Killing Machine Internal UV‐C Clarifier with Pump Head                               $49.98          1    $49.98       $49.98
1168630612242    HSI   AA Aquarium AAU V24¬†W UV Steriliser                                                                          $99.99          1    $99.99       $99.99
3380810220742    HSI   Clarins 125ml One Step Gentle Exfoliating Cleanser with Orange Extract 125ml (All Skin Types)                 $39.00          1    $39.00       $39.00
 932651807689    HSI   ZORO SELECT 3532‐1K Helical Thread Repair Kit,1‐8,4 Pcs                                                      $123.99          1   $123.99     $123.99
3474636920266    HSI   REDKEN , VOLUME INJECTION SHAMPOO 10.1 OZ                                                                     $26.00          1    $26.00       $26.00
4020829005044    HSI   Dr. Hauschka Revitalising Day Cream 100 ml                                                                    $35.00          2    $35.00       $70.00
4059089400160    HSI   SYLVANIA 9003 SilverStar zXe Gold Halogen Headlight Bulb, 2 Pack                                              $74.99          1    $74.99       $74.99
4712795087277    HSI   USB4 8K60 6‐in‐1 Travel Hub [JCH453]                                                                          $89.99          1    $89.99       $89.99
7613023943464    HSI   Hilti DD‐B N√∫cleo Diamante Bit ‐ 6" x 16" ‐ HCL (core bit) (Broca corna diamantada)                         $640.00          1   $640.00     $640.00
 660414201884    HSI   BETTER HOME PRODUCTS 836606 SOMA LEVER PASSAGE SET POLISHED CHROME                                            $21.66         22    $21.66     $476.52
 781087065235    HSI   Advance Fluorescent Starter                                                                                    $7.99          1     $7.99        $7.99
 817835010346    HSI   Evan Healy Rosehip Treatment Facial Serum ‐ Blue 0.5oz oil                                                    $29.99          3    $29.99       $89.97
 882560865424    HSI   Bigfoot Riding Dinosaur T Rex Funny Men Boys Sasquatch Lover T‐Shirt                                          $10.99          1    $10.99       $10.99

                                                                                                                                                   558             $30,387.64
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 ATTACHMENT B
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              Worksheet          UPCs (rows) Item Qty      Total
      Warehouse CVS                     4,528   23,499   $924,055.43
      Warehouse Wal‐Mart                1,256   34,598   $894,040.21
      Warehouse HSI                     1,133    9,195   $162,908.39
                           TOTAL        6,917   67,292 $1,981,004.03
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    SKU        Identified by:            Description        Dept      Price   Qty         Ext
  04022910       Wal‐Mart           SI CLOVES GRND B         92      $7.74     1        $7.74
010343873292     Wal‐Mart           EPS 069 INK MPACK        72     $39.00     2        $78.00
010343876200     Wal‐Mart            EPS 127 INK CMY         72     $60.00     2       $120.00
010343876224     Wal‐Mart           EPSN T126 BK DUAL        72     $21.00     1        $21.00
010343876248     Wal‐Mart        EPSON T126 MULTIPACK        72     $47.97     2        $95.94
010343910577     Wal‐Mart           EPS 252 INK MPACK        72      $56.00    14      $784.00
010343915763     Wal‐Mart         EPS 220XL INK MPACK        72      $55.00    4       $220.00
010343923034     Wal‐Mart           EPS 288 INK MPACK        72      $40.97    2        $81.94
010343931954     Wal‐Mart            EPS 702 INK CMY         72     $38.98     2        $77.96
010343931978     Wal‐Mart            EPS 702 INK CMY         72     $58.99     1        $58.99
010343941274     Wal‐Mart           EPS 202 INK BLACK        72     $19.98     4        $79.92
010343948037     Wal‐Mart         EPS 212 XL INK BLACK       72     $39.97     2        $79.94
010343959071     Wal‐Mart         EPS 822XL INK MPACK        72     $74.45     1        $74.45
010343970694     Wal‐Mart         EPS 232XL INK MPACK        72     $51.45     1        $51.45
011017404927     Wal‐Mart          DS CUSTM ORTH 430         40     $49.96     1        $49.96
011017569909     Wal‐Mart          DS HEEL PAIN WMN          40     $12.97     1        $12.97
011017570165     Wal‐Mart       DS CMFT MASS GEL WMN         40      $12.54    1        $12.54
011017579618     Wal‐Mart          DS KNEE PAIN MENS         40     $13.37     2        $26.74
011120254600     Wal‐Mart             BI PSE PWRBRSH         74     $75.00     1        $75.00
011120254617     Wal‐Mart          BI PSE POWERBRUSH         74     $75.00     1        $75.00
011120273731     Wal‐Mart        CROSSWAVE CORDLESS          74     $75.00     1       $75.00
012502649274     Wal‐Mart           BRO TN760 TONER          72     $80.00     2       $160.00
012502658368     Wal‐Mart       SE630SEWINGEMBROIDER         19     $398.00    1       $398.00
013803051278     Wal‐Mart         CANON CL‐41 COLOR          05     $23.49     9       $211.41
013803099010     Wal‐Mart        CANON CL211XL EXTRA‐        05     $32.99    13       $428.87
013803122343     Wal‐Mart         CAN 125 BLACK TONER        72     $79.00     1        $79.00
013803215519     Wal‐Mart        CANON PG‐245XL BLACK        72     $25.99     1        $25.99
013803308884     Wal‐Mart         CANON ZINK SHEET50         06     $24.99     1       $24.99
015718103301     Wal‐Mart          OCUSOFT LID SCRUB         40      $9.97     2        $19.94
015718104308     Wal‐Mart        OCUSOFT LIDSCRB PLUS        40     $18.12     7       $126.84
015718303305     Wal‐Mart           OCUSOFT ALLERGY          40     $23.97    10       $239.70
015718893059     Wal‐Mart        RETAINE PM OINTMENT         40     $10.00     3        $30.00
015718917304     Wal‐Mart           RETAINE MGD 30CT         40     $22.72    224     $5,089.28
015905000314     Wal‐Mart       AQUEON GLASS SUBMERS         08     $16.78     8       $134.24
016500548522     Wal‐Mart              TRUBIOTICS 30         40     $14.97     1        $14.97
016500587026     Wal‐Mart          OAD MENS 50 65CT          40      $9.98     1         $9.98
017324003549     Wal‐Mart              SI SAFFRON B          92     $11.62     1        $11.62
018397760216     Wal‐Mart            ULTRA SUV CVR S         10     $59.96     1       $59.96
019100270657     Wal‐Mart           SOL DPR DROP 1OZ         02     $19.97     4        $79.88
020335024625     Wal‐Mart        FISKARS ROTARY BLADE        19     $17.90     1       $17.90
020335047433     Wal‐Mart          F SCISR 8 BENT RAZR       19      $4.50     8        $36.00
020525960986     Wal‐Mart         MR SUPR OMEG3 25CT         40      $9.88     2        $19.76
020525960993     Wal‐Mart              MR 4IN1 80CT          40     $29.97     1        $29.97
021363004528     Wal‐Mart           JACK SKELLINGTON         56     $19.97     1        $19.97
022600001041     Wal‐Mart            REPLENS VAGINAL         02     $12.98    180     $2,336.40
022600001072     Wal‐Mart         REPLNS MOISTURIZER         02     $16.28    232     $3,776.96
022600001119     Wal‐Mart        REPHRESH VAGINAL APP        02      $15.96   161     $2,569.56
022600001126     Wal‐Mart         REPHRESH PRO‐B 30CT        02     $28.48    249     $7,091.52
022600020202     Wal‐Mart               FR TRPL CHK          02     $14.47     5        $72.35
022600020219     Wal‐Mart        TROJ TANDEM RING 1CT        02      $8.77     1        $8.77
022600650010     Wal‐Mart            FLWS BROWS LAV          82     $11.99     1       $11.99
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022600901259    Wal‐Mart      FR EARLY RES TEST 2C       02      $8.98     2       $17.96
022600901273    Wal‐Mart      FR EARLY RES TEST 3C       02     $12.98     3       $38.94
022600998532    Wal‐Mart     TROJAN BARESKIN 24CT        02     $15.97     1       $15.97
022600999645    Wal‐Mart       FR COMFORT CHECK          02     $16.98     1       $16.98
024964214112    Wal‐Mart      FLEXIO 570 PNT SPRYR       12     $159.00    1       $159.00
025866591899    Wal‐Mart          ALEVE PM 80CT          40     $15.27     71    $1,084.17
025866591950    Wal‐Mart     ALEVE ARTH LQD GL 80        40      $15.27     1       $15.27
025866592049    Wal‐Mart         ALEVE CPLT 200CT        40      $20.37   101     $2,057.37
025866592056    Wal‐Mart       ALEVE BM TAB 200CT        40      $20.37    70     $1,425.90
025866592247    Wal‐Mart         ALEVE CPLT 90CT         40      $11.67    8       $93.36
025866592254    Wal‐Mart       ALEVE BM TAB 90CT         40      $11.67     1      $11.67
025866592353    Wal‐Mart       ALEVE ARTH TAB 200        40      $20.37    13      $264.81
027242892293    Wal‐Mart        SONY 2D BDPS1700         72      $65.00    1       $65.00
027917018904    Wal‐Mart      VITAFU FIBR GMMY 90        40      $12.48    3       $37.44
027917022710    Wal‐Mart     VFUSION WMN GM 150          40      $10.98     2      $21.96
028785400020    Wal‐Mart      VICKS STEAM INHALER        40      $42.98    2       $85.96
029054018953    Wal‐Mart            FIRST ALERT          12     $28.47     1       $28.47
030768031213    Wal‐Mart         OSTEO BF 3X STR         40     $17.98     3       $53.94
030768035785    Wal‐Mart             OSTEO T/S           40     $25.34     1       $25.34
030768181994    Wal‐Mart       OSTEO BF 3X STR TW        40      $29.98    2       $59.96
030768196080    Wal‐Mart       OSTEO BI‐FLEX TRIPL       40     $26.03     2       $52.06
030768541279    Wal‐Mart        OBF 3X W/ MSM 80         40      $17.98     1       $17.98
030772032565    Wal‐Mart    ALIGN WMNS DUAL 28CT         40      $29.98    82     $2,458.36
030772047606    Wal‐Mart     META PREM BLND 72DS         40      $5.00     1        $5.00
030772047637    Wal‐Mart       META STEVIA 114DS         40     $28.98     3       $86.94
030772083154    Wal‐Mart         NERVIVE RLF 30CT        40     $27.97     1       $27.97
030878110815    Wal‐Mart     GE 11081 HOME AUDIO         72      $9.00      2      $18.00
030985004656    Wal‐Mart    DE HYDRATING DAY CRM         02      $6.50     1        $6.50
031604026837    Wal‐Mart         NM VIT D 1000IU         40      $10.56     1       $10.56
031604027889    Wal‐Mart    NATURE MADE CHOLESTO         40     $26.09    156    $4,070.04
031604042967    Wal‐Mart        NM FISHOIL 720MG         40      $16.99     7      $118.93
033317192038    Wal‐Mart     TEXAS INSTRUMENTS TI        03     $131.99     1      $131.99
033317192120    Wal‐Mart             TI‐84 PLUS          03     $139.00     1      $139.00
033317198658    Wal‐Mart             TI‐83 PLUS          03     $104.00     2      $208.00
033317198726    Wal‐Mart              TI‐30XIIS          03      $13.83     4       $55.32
033317203666    Wal‐Mart            TI‐36X PRO           03      $15.00     2       $30.00
033317208999    Wal‐Mart      TI‐83PLUS SERIALIZED       03     $104.00    11    $1,144.00
033413001883    Wal‐Mart     FS SEAL MEAL MACHINE        74      $59.00    1       $59.00
033674115374    Wal‐Mart    ALIVE WOM 50 GUMMY           40      $14.82    1       $14.82
033674155431    Wal‐Mart       NATURE S WAY ALIVE        40     $13.50     1       $13.50
033674159033    Wal‐Mart         ALV WMN GM 60           40      $9.97     1        $9.97
033732010306    Wal‐Mart      LUNA GUARD DENTAL          40     $22.00    142    $3,124.00
033991089129    Wal‐Mart      SCO CAR AIR PURIFIER       72      $29.88     1      $29.88
033991102248    Wal‐Mart      SCO 20W PD CHARGER         72      $19.88    1       $19.88
035000972217    Wal‐Mart       CG TBM FLS TP S 2CT       02      $7.96     6       $47.76
035000979087    Wal‐Mart           OW WHT PEN            02      $19.97    94     $1,877.18
035011976495    Wal‐Mart          BELL HEADLIGHT         09     $24.00     1       $24.00
036005001247    Wal‐Mart    YOGASLEEP TRAVELCUBE         79     $19.00     1       $19.00
037000143437    Wal‐Mart         ALIGN CAPS 28CT         40     $26.86    691    $18,560.26
037000294177    Wal‐Mart         ALIGN CAPS 42CT         40     $35.37    188    $6,649.56
037000359067    Wal‐Mart      PRILOSEC TABLET 28CT       40     $18.62     1       $18.62
037000359074    Wal‐Mart      PRILOSEC TABLET 42CT       40     $22.98     4       $91.92
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037000405146    Wal‐Mart    METAMUCIL CAP 100CT         40     $16.48     1       $16.48
037000434870    Wal‐Mart        META 300CT CAP          40     $33.98     6      $203.88
037000478669    Wal‐Mart      ALIGN CAP 28CT VMS        40     $26.86    60     $1,611.60
037000491156    Wal‐Mart       NERVIVE HLTH 30CT        40     $20.14     2       $40.28
037000495802    Wal‐Mart        NERVIVE RLF 30CT        40     $20.14     2       $40.28
037000497127    Wal‐Mart     NERVIVE RLF PM 30CT        40     $20.14     3       $60.42
037000505051    Wal‐Mart       ALIGN 5X CAPS 21CT       40     $26.58    722    $19,190.76
037000740797    Wal‐Mart      META SUG ORG 72DS         40     $16.98     5       $84.90
037000740841    Wal‐Mart    META SF ORANGE 72DS         40     $16.98     1       $16.98
037000740858    Wal‐Mart    META SF ORANGE 114DS        40     $23.98     2       $47.96
037000741343    Wal‐Mart     META SUG ORG 114DS         40     $23.98     7      $167.86
037000741367    Wal‐Mart    META SF ORANGE 180DS        40     $32.98     6      $197.88
037000788591    Wal‐Mart       META GUMMY 72CT          40     $15.48     4       $61.92
037000809340    Wal‐Mart    PRILO WILDBERRY 42CT        40     $22.98     7      $160.86
037000939535    Wal‐Mart        ALIGN CAPS 56CT         40     $44.42    13      $577.46
039800016362    Wal‐Mart          ENR RECH AA4          82     $13.76     5       $68.80
039800022974    Wal‐Mart           ENR CR2 2PK          82     $11.86     1       $11.86
039800102829    Wal‐Mart         ENR HAB 13 8PK         82      $9.97     1        $9.97
039800102904    Wal‐Mart     ENERGIZER AZ13DP‐24        72     $12.00     1       $12.00
039800108036    Wal‐Mart          ENR ALK AA16          82     $14.97     6       $89.82
039800108111    Wal‐Mart         ENR ALK AAA16          82     $14.97     1       $14.97
039800120663    Wal‐Mart           ENR ALK 9V4          82     $16.86     5       $84.30
040094131044    Wal‐Mart     CHI PROFESSION IRON        74     $59.00     1       $59.00
041100568007    Wal‐Mart        MIRALAX 45 DOSE         40     $29.97    29      $869.13
041100575678    Wal‐Mart        CLRTN TAB 100CT         40     $49.97    325    $16,240.25
041100576859    Wal‐Mart          CLRTN LG 60CT         40     $42.97    79     $3,394.63
041100580986    Wal‐Mart    CLRTN MINT CHW 24CT         40      $9.91     6       $59.46
041100585196    Wal‐Mart    CH CLRTN GRP CHEW 60        40     $24.28     4       $97.12
041100589903    Wal‐Mart    ASTEPRO ADULT 120 DS        40     $23.98     1       $23.98
041100589934    Wal‐Mart      CH ASTEPRO 60 SPRY        40     $14.98     8      $119.84
041100591395    Wal‐Mart     LOTRIMIN ULT NO‐TCH        40      $4.11    29      $119.19
041100593689    Wal‐Mart        CH CLRTN RT 30CT        40     $23.98     1       $23.98
041100598608    Wal‐Mart        CLARITIN RT 60CT        40     $42.97     9      $386.73
041100598790    Wal‐Mart     CLARITIN CHW GRP 30        40     $26.97     6      $161.82
041100806048    Wal‐Mart      CLRTN 24HR RT 30CT        40     $26.97     7      $188.79
041100806147    Wal‐Mart      CLARITIN 10MG 45 CT       40     $31.97    49     $1,566.53
041100806772    Wal‐Mart          ZEGERID 42CT          40     $23.98    73     $1,750.54
041100807984    Wal‐Mart          CLRTN LG 30CT         40     $21.97    10      $219.70
041100809551    Wal‐Mart    CH CLRTN GRP CHEW 30        40     $26.97     1       $26.97
041100809643    Wal‐Mart         CLRTN TAB 70CT         40     $41.97    522    $21,908.34
041100810922    Wal‐Mart         CLRTN TAB 30CT         40     $21.97    18      $395.46
041100810984    Wal‐Mart       CLARITIN TAB 30 10       40     $21.97     9      $197.73
041100811141    Wal‐Mart    CH CLRTN BBG CHEW 30        40     $26.97     6      $161.82
041100820716    Wal‐Mart        MIRALAX 30 DOSE         40     $22.48     2       $44.96
041167041253    Wal‐Mart           GB PSORIASIS         02     $11.97     2       $23.94
041167066386    Wal‐Mart     GB ULT ECZEMA 14OZ         02     $16.96     2       $33.92
041167066546    Wal‐Mart     GB ULT SOFTENING 14        02      $3.50     2        $7.00
041167351024    Wal‐Mart         XYZAL TAB 55CT         40     $26.48     2       $52.96
041167351031    Wal‐Mart         XYZAL TAB 80CT         40     $37.12    31     $1,150.72
041167412060    Wal‐Mart      ALLEGRA 24 HR 70 CT       40     $23.67    17      $402.39
041167412145    Wal‐Mart       ALLEGRA 24HR 40CT        40     $19.96    10      $199.60
041167412213    Wal‐Mart        ALLEGRA GC 24CT         40     $19.96     6      $119.76
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041167412404    Wal‐Mart        ALLEGRA TAB 90CT          40     $39.96    32      $1,278.72
041167412466    Wal‐Mart        ALLEGRA TAB 60CT          40     $32.64    176     $5,744.64
041167412510    Wal‐Mart        ALLEGRA TAB 30CT          40     $19.96     9       $179.64
041167580028    Wal‐Mart     NASACORT 2X120 TWIN          40     $30.26     27      $817.02
041333827018    Wal‐Mart            DUR ALK 9V4           82     $14.97     2        $29.94
041689300784    Wal‐Mart           ZIPPO HW BLK           09     $11.61     1        $11.61
043372326057    Wal‐Mart         CF 5/6WT FLYLINE         09     $15.26     2        $30.52
043396579033    Wal‐Mart          UNCHARTEDBD             05     $14.96     1        $14.96
043917110462    Wal‐Mart         WAHL COLORPRO            46     $29.48     1        $29.48
043917110493    Wal‐Mart        WAHL CHROMEPRO            46     $23.98     1        $23.98
043917112053    Wal‐Mart    WAHL MANSCAPER GRMR           02     $53.96     8       $431.68
044386109629    Wal‐Mart        PF BTRSHDW 10962          46     $10.98     2        $21.96
044677505208    Wal‐Mart       LANS MANUAL PUMP           79     $24.94      1       $24.94
045496590475    Wal‐Mart      MARIO KART 8 DELUXE         05     $54.86     3       $164.58
045496590741    Wal‐Mart       NSW MARIO ODYSSEY          05     $54.86     7       $384.02
045496592998    Wal‐Mart    NSW SUPRSMSHBROS ULT          05     $54.86     2       $109.72
045496594305    Wal‐Mart    NSW SUPR MARIO PARTY          05     $54.86     1        $54.86
045496882846    Wal‐Mart        NSW MK LIVE LUIGI         05     $90.00     2       $180.00
046135314704    Wal‐Mart      SYLVANIA 9012 XTRAVI        10     $39.99     2        $79.98
046135321092    Wal‐Mart      SYLVANIA 9007 SILVER        10     $34.97     2       $69.94
046135322570    Wal‐Mart            HEADLIGHTS            10     $34.97     2        $69.94
046135326103    Wal‐Mart       SYL 7443 LL MINI BLB       10      $6.48     1         $6.48
046135331633    Wal‐Mart      SYLVANIA H11 SILVERS        10     $28.04     1       $28.04
046135335518    Wal‐Mart       SYLVANIA H7 ST SILVE       10     $39.57     2       $79.14
046135340499    Wal‐Mart        SYL H1 XTRAVISION         10     $13.97     1        $13.97
046135341571    Wal‐Mart      SYLVANIA LIGHTING H1        10     $56.99     3       $170.97
046135343896    Wal‐Mart      SYLVANIA LIGHTING 90        10     $47.81     1        $47.81
046135344091    Wal‐Mart      SYLVANIA 9004 SILVER        10     $43.99     1        $43.99
046135344176    Wal‐Mart      SYLVANIA 9007 SILVER        10     $35.44     2        $70.88
046135356018    Wal‐Mart      SYLVANIA 9003/H4 SIL        10     $45.97     1        $45.97
046135356254    Wal‐Mart      SYLVANIA H13 SILVERS        10     $43.99     2       $87.98
046798292913    Wal‐Mart       GLOFISH CYCLE LIGHT        08      $5.00     2        $10.00
046798292920    Wal‐Mart     GLOFISH COLOR‐CHANGI         08     $49.97     1        $49.97
046878579156    Wal‐Mart     4‐ZONE B‐HYVE INDOOR         16     $59.99     2       $119.98
047400012684    Wal‐Mart     VENUS DEL SMOOTH SE          02     $14.97     5        $74.85
047400098961    Wal‐Mart       VEN EXSMOOTH FRR           02     $12.97     2        $25.94
047400098978    Wal‐Mart    VEN EXSMOOTH CRT 4CT          02     $18.47     2        $36.94
047400112728    Wal‐Mart       TRACII PLUS 10CT CRT       02     $24.97     5       $124.85
047400115484    Wal‐Mart      SENSOR XCEL 10CT CRT        02     $28.20    13       $366.60
047400116252    Wal‐Mart      ATRA PLUS 10CT CART         02     $12.48     2        $24.96
047400141292    Wal‐Mart         VENUS 4CT CART           02      $4.39    21        $92.19
047400156876    Wal‐Mart         FUSION CART 4CT          02     $17.97    36       $646.92
047400156883    Wal‐Mart         FUSION CART 8CT          02     $29.97    88      $2,637.36
047400179752    Wal‐Mart            MACH3 8CT             02     $21.97    11       $241.67
047400185593    Wal‐Mart         MACH3 BASE 12CT          02     $26.37     5       $131.85
047400301023    Wal‐Mart     VEN CG WHITE TEA 4CT         02     $14.98     6        $89.88
047400302532    Wal‐Mart        PROGLIDE CART 4CT         02     $19.97     1        $19.97
047400302549    Wal‐Mart        PROGLIDE CART 8CT         02     $34.97    132     $4,616.04
047400305465    Wal‐Mart    VEN EXSMOOTH CRT 6CT          02     $24.97     1        $24.97
047400305526    Wal‐Mart        FUSION CART 12CT          02     $39.97     3       $119.91
047400319103    Wal‐Mart     VEN CG WHITE TEA 6CT         02     $21.97     3        $65.91
047400503892    Wal‐Mart     VENUS EMB SENS 4CART         02      $8.30    15       $124.50
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047400648517    Wal‐Mart        MACH3 1UP RAZOR          02      $3.50     2        $7.00
047400653412    Wal‐Mart     VENUS SWIRL 4CT CART        02      $9.98     1        $9.98
047400656147    Wal‐Mart      PROGLIDE SHIELD 4CT        02     $19.97     1       $19.97
047400656154    Wal‐Mart       PROGLIDE CHILL 4CT        02     $19.97     7       $139.79
047400656161    Wal‐Mart     FUSPROSHLD 8CT CART         02      $7.00     1        $7.00
047400657045    Wal‐Mart      MACH3 15CT BB CART         02     $29.97    21       $629.37
047400657762    Wal‐Mart     VNSEMB SENS 6CT CRT         02     $11.45     1       $11.45
047400658844    Wal‐Mart    PROGLIDE POWER STYLE         02     $10.00     6       $60.00
047400658868    Wal‐Mart      FUSION PROGLIDE FRR        02     $16.97     5       $84.85
047400658875    Wal‐Mart      FLXBALL PWR PROGLD         02     $16.97     1       $16.97
047400658929    Wal‐Mart       MACH3 BASE RAZOR          02      $9.97     1        $9.97
047400659582    Wal‐Mart     PROGLIDE PWR 12CT BB        02     $47.97     23     $1,103.31
047400660618    Wal‐Mart      VENUS PLATINUM FRR         02     $10.15     2       $20.30
047400661813    Wal‐Mart         MACH3 4CT CART          02     $11.97    11       $131.67
047400665064    Wal‐Mart     GILT SKNGRD RAZR 2UP        02     $12.97      1       $12.97
047400665095    Wal‐Mart      GILLETTE SKNGRD 4CT        02     $14.97     7       $104.79
047400667259    Wal‐Mart          MACH3 12CT BB          02     $29.97     3       $89.91
047400670488    Wal‐Mart         KCG BEARD WASH          02      $9.97     1        $9.97
047400672277    Wal‐Mart      VENUS INTIMATE 2UP         02     $14.97      3       $44.91
047400674868    Wal‐Mart      GILLETTE EXF 3UP RZR       02     $29.97     5       $149.85
047400674875    Wal‐Mart      GILLETTE EXF 2UP RZR       02     $19.97    24       $479.28
047400674899    Wal‐Mart         GILLETTELABS 6CT        02     $34.97    37      $1,293.89
047400674905    Wal‐Mart         GILLETTELABS 4CT        02     $24.97     8       $199.76
047400675711    Wal‐Mart          KCG AIO STYLER         02     $39.94     2       $79.88
047400676312    Wal‐Mart     GILLETTELABS MST CRM        02     $10.48     1       $10.48
047400679474    Wal‐Mart       GILLETTELABS RZ 1UP       02      $5.99      1        $5.99
047400683051    Wal‐Mart    GILL INTM2UPRZRSHWHK         02     $19.97      5       $99.85
047400684669    Wal‐Mart    GILL INTIMATETRIMMER         02      $9.00     1        $9.00
047400685789    Wal‐Mart       GIL LABS 9CT BILBRD       02     $44.97     4       $179.88
047469072308    Wal‐Mart        COGNIUM TAB 60CT         40     $19.97     1       $19.97
047701000403    Wal‐Mart     DENTEK ULTIMATE GRD         02     $27.97    238     $6,656.86
047701001516    Wal‐Mart      DNTK COMFRT GUARD          02     $29.97    110     $3,296.70
047701002773    Wal‐Mart     DNTK MAX PRO GUARD          02     $20.28    109     $2,210.52
047871320646    Wal‐Mart     KDE AC/DC SMART SMK         12     $79.00     1       $79.00
048037520047    Wal‐Mart     HT DIGITAL DBOLT ORB        12     $48.47     1       $48.47
048107193065    Wal‐Mart       TOTAL LEAN BURN 60        40     $12.70     16      $203.20
048107193089    Wal‐Mart      TOTAL LEAN APPETREX        40      $2.00     14       $28.00
048107213954    Wal‐Mart       AMP WHEYBO CHOC           40     $22.71     1       $22.71
048107214050    Wal‐Mart    AMP WHEYBO RIPP VAN          40      $3.00     1        $3.00
048107215880    Wal‐Mart     LIT PRE GUMMY WORM          40     $24.88     1        $24.88
048107227050    Wal‐Mart     GNC MEN 50 MULTI 60         40      $8.98     1        $8.98
048107227074    Wal‐Mart        GNC MEN MULTI 60         40      $8.98     1        $8.98
048107227340    Wal‐Mart        GNC WMN VITAPAK          40     $19.88      5       $99.40
048107233297    Wal‐Mart      GNC MEN 50 VITAPAK         40     $15.00      3       $45.00
048107234140    Wal‐Mart      MENS HLTH VTLY PAK         40     $19.88      2       $39.76
050036378192    Wal‐Mart           JBL CLIP 4 BLK        72     $49.00     1        $49.00
050036378215    Wal‐Mart           JBL CLIP 4 BLU        72     $49.00     2        $98.00
051115036828    Wal‐Mart       SCTCH 1.4 60YD BLUE       12      $6.84    19       $129.96
051400949260    Wal‐Mart      AMOPE REFILL MIXED         40     $12.97     5       $64.85
053076175523    Wal‐Mart     OPTI‐NAIL FUNGAL PEN        40     $18.88    323     $6,098.24
053076185508    Wal‐Mart     FUNGI NAIL OINTMENT         40      $2.46      1       $2.46
053076192407    Wal‐Mart         NIZORAL AD 7 OZ         46     $15.88    207     $3,287.16
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053076192650    Wal‐Mart     NIZORAL AD SHAMPOO           46     $27.57    110     $3,032.70
053076202649    Wal‐Mart        NIZORAL PSORIASIS         46     $17.64    82      $1,446.48
053076204674    Wal‐Mart      OPTI‐NAIL 2‐IN‐1 FUN        40      $13.00   208     $2,704.00
053891109857    Wal‐Mart       FS FM5200 MACHINE          74     $214.00    1       $214.00
053891155588    Wal‐Mart     SUNBEAM GOHEAT USB           40     $31.48     1       $31.48
055086000178    Wal‐Mart        LBP CN YLANG 13.5         46      $6.94     1        $6.94
060258355017    Wal‐Mart        BRITA 1PK PIT FLTR        11      $7.98     1        $7.98
060258362435    Wal‐Mart         BR 1PK LL PT FLTR        11     $19.88     3       $59.64
060258362442    Wal‐Mart        BR 2PK LL PIT FLTR        11     $34.88    12       $418.56
061998619728    Wal‐Mart      FLORA SUPER BIFIDO P        40      $39.99     1       $39.99
062338025568    Wal‐Mart     AIR WICK OIL HAW 7CT         13      $14.98    1        $14.98
062338025599    Wal‐Mart      AIR WICK OIL LAV 7CT        13     $14.98     1       $14.98
062338965321    Wal‐Mart         VIPOO LAVENDER           13      $5.38     1        $5.38
067981088922    Wal‐Mart       KY YOURS MINE 3OZ          02     $14.97     2       $29.94
069055124345    Wal‐Mart      OB TBP FLSACT RF 2CT        02     $19.97    21       $419.37
069055125205    Wal‐Mart     CROSSACTION ORAL‐B C         02     $21.01    112     $2,353.12
069055126691    Wal‐Mart          OB TBP VITALITY         02     $19.97     5       $99.85
069055128794    Wal‐Mart       ORAL‐B IO SERIES 7 E       02     $199.97    1       $199.97
069055128923    Wal‐Mart       OB TBP IO BLK RF 2CT       02     $29.97    86      $2,577.42
069055129517    Wal‐Mart         OB TBP DC RF 3CT         02     $19.97     2       $39.94
069055132401    Wal‐Mart          OB VITALITY BLK         02     $19.97     6       $119.82
069055132975    Wal‐Mart         OB TBP IO3 WHT           02     $59.94     1       $59.94
069055133248    Wal‐Mart          OB TBP 500 BLK          02      $29.97    9       $269.73
069055134597    Wal‐Mart     OB IO 3DW RF WHT 2CT         02     $29.97    31       $929.07
069055139561    Wal‐Mart        OB TBP IO3 LUX BLK        02      $59.94    1        $59.94
069055824184    Wal‐Mart       OB PREC CLN RF 3PK         02       $6.00    54      $324.00
069055824191    Wal‐Mart      OB TBP PRCLN RF 4CT         02      $29.97    8       $239.76
069055859636    Wal‐Mart        OB PC 1000 RCH TP         02      $39.94     1       $39.94
069055873731    Wal‐Mart        BRAUN 32 B COMBI          02      $24.94    15      $374.10
069055885468    Wal‐Mart           BRAUN 5018S            02      $59.94     1       $59.94
069055888063    Wal‐Mart     BRAUN 7‐IN‐1 TRIMMER         02     $29.97     1       $29.97
070030511722    Wal‐Mart      SCARAWAY GEL 10GM           40      $11.93    1        $11.93
070330722590    Wal‐Mart           BIC FLEX 4 3PK         02       $6.47     4       $25.88
070501021217    Wal‐Mart     NTG RW DAY SPF 30 1Z         46      $21.98   117     $2,571.66
070501021224    Wal‐Mart       NTG RW NGT MST 1Z          46      $21.98    84     $1,846.32
070501021231    Wal‐Mart         NTG RW EYE 0.5Z          46      $21.97   95      $2,087.15
070501021248    Wal‐Mart       NTG RW RET SRM 1Z          46      $21.98   113     $2,483.74
070501023730    Wal‐Mart     NTG TRP AGE NGT 1.7Z         46      $21.97    23      $505.31
070501052679    Wal‐Mart      NTG TRP AGE DAY 1.7Z        46      $21.97    24      $527.28
070501064863    Wal‐Mart         NTG HB CRM 1.7Z          46      $22.97     2       $45.94
070501102190    Wal‐Mart      NTG RW PRO SRM 1Z           46     $34.97    155     $5,420.35
070501102503    Wal‐Mart     NTG RW NGT CRM 1.7Z          46     $34.97    33      $1,154.01
070501103890    Wal‐Mart      NTG HB NIAC SRM 1Z          46     $14.98     9       $134.82
070501110362    Wal‐Mart       NTG RT SPOT TRT 1Z         46      $21.98    1       $21.98
070501110980    Wal‐Mart        NTG RW CRM 1.7Z           46     $29.48    16       $471.68
070501111079    Wal‐Mart       NTG RW FF CRM 1.7Z         46      $29.48    13      $383.24
070501111086    Wal‐Mart     NTG RT CORR CRM 1.7Z         46      $30.97    53     $1,641.41
070501121214    Wal‐Mart        NTG RW RET OIL 1Z         46      $30.97    54     $1,672.38
070501194195    Wal‐Mart      NTG RW CAPS FF 30CT         46     $31.77    62      $1,969.74
070501194768    Wal‐Mart      NTG RF PEP CRM 1.7Z         46      $3.75     5       $18.75
070501194775    Wal‐Mart       NTG RF COLL SRM 1Z         46      $8.73     2       $17.46
070501194782    Wal‐Mart       NTG RF EYE CRM 0.5Z        46     $17.47    38       $663.86
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070501410981    Wal‐Mart    NTG RW MINI CRM 0.5Z          46     $11.47     9       $103.23
070659706851    Wal‐Mart            SIDEWINDER            19     $27.47     6       $164.82
070659777196    Wal‐Mart    BOYE NEEDLEMASTER SE          19     $15.00     6        $90.00
070659927072    Wal‐Mart     CROCHET HOOK SET 12          19     $27.92     1        $27.92
071249104606    Wal‐Mart          LOR RVL ADV F N         46     $14.97     9       $134.73
071249152874    Wal‐Mart     LOR COLL MST NT CRM          46      $8.98     1         $8.98
071249227916    Wal‐Mart       LOR RVL TP MST 1.7Z        46     $21.97    55      $1,208.35
071249227923    Wal‐Mart       LOR RVL TP CRM 0.5Z        46     $21.97     55     $1,208.35
071249229774    Wal‐Mart      LOR RVL TRPL SRM 1Z         46     $21.97    127     $2,790.19
071249240731    Wal‐Mart      LOR RVL TP NT CREAM         46     $21.97     10      $219.70
071249249130    Wal‐Mart     LOR RVL MIRACLE BLUR         46      $8.98     9        $80.82
071249331262    Wal‐Mart     LOR AP ROSY MST 1.7Z         46     $19.74     5        $98.70
071249341261    Wal‐Mart      LP EVRPUR VOL SH 8.5        46      $8.97     1         $8.97
071249341278    Wal‐Mart     LP EVRPUR VOL CN 8.5         46      $8.97     1         $8.97
071249363287    Wal‐Mart        LOR MST SPF25 1.7Z        46     $14.97     6        $89.82
071249377505    Wal‐Mart      LOR RVL VIT C SRM 1Z        46      $3.00    41       $123.00
071249377512    Wal‐Mart        LOR RVL HA SRM 1Z         46     $25.97     2        $51.94
071249396339    Wal‐Mart      LOR TRPL MST FF 1.7Z        46     $21.97    33       $725.01
071249396346    Wal‐Mart        LOR LTN SPF30 1.7Z        46     $21.97    199     $4,372.03
071249403600    Wal‐Mart      LOR GLYCOLIC SRM 1Z         46     $25.97     82     $2,129.54
071249419762    Wal‐Mart     LOR NT ROSY MST 1.7Z         46      $4.99     1        $4.99
071249630167    Wal‐Mart      LOR AP MDNT SRM 1Z          46     $32.97    31      $1,022.07
071249635452    Wal‐Mart      LOR CAF EYE SRM .67Z        46     $25.97    55      $1,428.35
071249635865    Wal‐Mart     LOR RTN NGT CRM 1.7Z         46     $29.97     7       $209.79
071249636992    Wal‐Mart      LOR AGE CEL SPF 1.7Z        46     $21.97    136     $2,987.92
071249642184    Wal‐Mart      LOR AGE CELL NT 1.7Z        46     $21.97     2        $43.94
071249642191    Wal‐Mart      LOR AGE EYE CRM .5Z         46     $21.97    30       $659.10
071249645857    Wal‐Mart     LOR COLL NT MST 2.5Z         46     $14.97     3        $44.91
071249664858    Wal‐Mart      LOR RVL HA CRM 1.7Z         46     $25.97    124     $3,220.28
071249668108    Wal‐Mart     LOR MIDNGT CRM 1.7Z          46     $27.97     3        $83.91
071249683491    Wal‐Mart      LOR BR UV SPF50 1.7Z        46     $25.97    31       $805.07
071641053649    Wal‐Mart    SH PERM MTLC 3CT GSB          03      $4.87     1        $4.87
071641376007    Wal‐Mart        SHARPIE UF AST 8CT        03      $6.44     3        $19.32
071649188268    Wal‐Mart    MASTER LOCK PORTABLE          03     $17.00     1        $17.00
072140636289    Wal‐Mart     EUC CALM CRME 14 OZ          02     $12.97     1        $12.97
072477982660    Wal‐Mart       PIC SLR LED FLM ZAP        16     $25.00     1        $25.00
072959614300    Wal‐Mart        FUNGICURE LIQUID          40      $9.27     2        $18.54
073091025658    Wal‐Mart      PA PLUS SM DOG 3CT          08     $24.98     5       $124.90
073091025689    Wal‐Mart       PA PLUS XL DOG 3CT         08     $24.98     7       $174.86
073091025696    Wal‐Mart          PA PLUS CAT 3CT         08     $24.98     4        $99.92
073091027676    Wal‐Mart      PA PLUS LRG DOG 6CT         08     $39.98     2        $79.96
073091033103    Wal‐Mart    CAPACTION SMALL DOG           08     $27.98     3        $83.94
073577163782    Wal‐Mart        W SCISR 8 /5 TI 2PK       19     $11.34     1        $11.34
073796267353    Wal‐Mart      OMRON 7 SERIES BPM          40     $17.00    30       $510.00
073796710026    Wal‐Mart              3 SERIES            40     $34.97    19       $664.43
073950190558    Wal‐Mart     WP WTRFLS CRDLSSPLS          02     $55.10    10       $551.00
073950258609    Wal‐Mart        WP WTRFLS CRDESS          02     $37.97     7       $265.79
074101029369    Wal‐Mart         INSTAX FILM 60PK         06     $37.88      2       $75.76
074108225955    Wal‐Mart    CONAIR NUMBER CUT 20          46     $19.97     1        $19.97
074108239549    Wal‐Mart       CON STNR INFI ARG 1        46     $10.00     4        $40.00
074108300287    Wal‐Mart      INST HT 1 CURL IRON         46     $11.97      1       $11.97
074108376275    Wal‐Mart        CON DCERAMC CI 1          46     $18.97     2        $37.94
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074300000657    Wal‐Mart         DESITIN MX 16OZ          79     $19.98     1       $19.98
074306800015    Wal‐Mart    VIBRANT HEALTH GREEN          40     $44.80     8       $358.40
074312171390    Wal‐Mart      NATURE S BOUNTY CO          40     $25.33    46      $1,165.18
074312511356    Wal‐Mart    NATURE S BOUNTY CO Q          40     $31.79     4       $127.16
075020043344    Wal‐Mart       SNCR TBP SC RF 5CT         02     $33.97    101     $3,430.97
075020051837    Wal‐Mart     NOR ONEBLADE RAZOR           02      $7.49     8       $59.92
075020056191    Wal‐Mart       HI NOR SHAVER 5100         02     $79.97     3       $239.91
075020056672    Wal‐Mart      SH30 NOR REPL HEAD          02     $24.96     2       $49.92
075020056917    Wal‐Mart     SNCR TBP DLYCLN 2100         02      $2.50     1         $2.50
075020064868    Wal‐Mart      SNCR PRM PLQ 2CT BH         02     $29.97     14      $419.58
075020069948    Wal‐Mart     SNCR TBP PC 4100 WHT         02     $31.61     7       $221.27
075020070418    Wal‐Mart     SNCR TBP PC 5100 WHT         02     $89.96     1        $89.96
075020072184    Wal‐Mart     SNCR TBP PLQID RF3CT         02      $3.00     9       $27.00
075020072320    Wal‐Mart      SNCR TBP PC 5100 BLK        02     $89.96      1       $89.96
075020073402    Wal‐Mart     SNCR TBP DCWID RF2CT         02     $29.96     7       $209.72
075020086860    Wal‐Mart        NOR SHAVER 3500           02     $12.49     1        $12.49
075020087829    Wal‐Mart     NOR ONEBLADE RZR KIT         02     $19.97     2       $39.94
075020091673    Wal‐Mart      SH71 NOR REPL HEAD          02     $34.96     2       $69.92
075020092014    Wal‐Mart        NOR SHAVER 7500           02     $139.97     2      $279.94
075020092267    Wal‐Mart        NOR SHAVER 7100           02     $30.00      1       $30.00
075020100733    Wal‐Mart       SNCR TBP 3100 BLCK         02     $34.96     1        $34.96
075020101358    Wal‐Mart     SNCR TBP DLYCLN 1100         02     $24.97     22      $549.34
075020102102    Wal‐Mart       NOR OB 360 REPL 2P         02      $27.96     3       $83.88
075020103277    Wal‐Mart    NOR ONEBLADE 360 RZR          02     $29.96     1        $29.96
075020103291    Wal‐Mart       NOR OB 360 F B RZR         02     $39.96     1        $39.96
075020104373    Wal‐Mart        NOR SHAVER 7200           02      $79.96     1       $79.96
075020104793    Wal‐Mart       NOR OB 360 PRO RZR         02     $49.96     1       $49.96
075020107534    Wal‐Mart      SNCR OPT PLQ RF 4CT         02     $39.96     3       $119.88
075137000032    Wal‐Mart     CW NITROFREEZE 6 APP         40     $24.47     39      $954.33
075609001772    Wal‐Mart       OL TL EF MST FF 1.7Z       46     $23.48     1       $23.48
075609002786    Wal‐Mart        OL TL EF SPF15 1.7Z       46     $23.44     7       $164.08
075609010187    Wal‐Mart       OL RGN SRM FF 1.7Z         46     $27.44    13       $356.72
075609019326    Wal‐Mart      OL RGN MSC CRM 1.7Z         46     $27.44     1       $27.44
075609037696    Wal‐Mart       OL MSC SERUM 1.7Z          46     $27.44     1        $27.44
075609076015    Wal‐Mart       OL RGN DUO PK 2PC          46     $27.44     1        $27.44
075609190476    Wal‐Mart    AK OLAY TE FNDTN CRM          46      $6.58     2       $13.16
075609190490    Wal‐Mart     OL MSC CREAM FF 1.7Z         46     $27.44     1       $27.44
075609191466    Wal‐Mart        OL TL EF SPF30 1.7Z       46     $23.44     5       $117.20
075609192043    Wal‐Mart       OL RGN MS CRM 0.5Z         46      $9.98     1        $9.98
075609194603    Wal‐Mart     OL MS CRM SPF30 1.7Z         46     $27.44     6       $164.64
075609195037    Wal‐Mart        OL ULT EYE FF 0.4Z        46     $29.94     8       $239.52
075609195068    Wal‐Mart        OL EYE LIFT FF 0.5Z       46     $29.94     3        $89.82
075609195303    Wal‐Mart       OL TL EF NIGHT 1.7Z        46     $23.48    14       $328.72
075609195938    Wal‐Mart      OL RGN NGT CRM 1.7Z         46     $27.44     3        $82.32
075609196379    Wal‐Mart       OL WHIP SPF25 1.7Z         46     $29.94     10      $299.40
075609196386    Wal‐Mart     OL RGN WHP TRIAL .5Z         46      $4.78     2        $9.56
075609197086    Wal‐Mart       OL WHIP MST FF 1.7Z        46     $29.94     5       $149.70
075609197369    Wal‐Mart    OL GLOW BST WHT MASK          46      $5.00     12       $60.00
075609197376    Wal‐Mart     OL PORE DTX BLK MASK         46      $5.00     5        $25.00
075609197437    Wal‐Mart        OL EYE BRT CREAM          46     $17.00     3        $51.00
075609198076    Wal‐Mart       OL RGN WHIP SPF 40         46     $15.00     1        $15.00
075609198168    Wal‐Mart      OL RETNL NT MST 1.7Z        46     $29.94     3        $89.82
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075609198175    Wal‐Mart      OL RETINOL SRM 1.3Z         46     $29.94    23       $688.62
075609198182    Wal‐Mart     OL RETNL EYE CRM .5Z         46     $29.94    18       $538.92
075609198991    Wal‐Mart     OL SER WNKL CORRECT          46     $17.36    10       $173.60
075609199134    Wal‐Mart       OL ULRCH MST 1.7Z          46     $29.94     4       $119.76
075609199158    Wal‐Mart     OL ULRCH MST FF 1.7Z         46     $29.94     6       $179.64
075609199202    Wal‐Mart      OL RETINOL MAX 1.7Z         46     $34.94     1        $34.94
075609199400    Wal‐Mart    OL RETINOL MAX SERUM          46     $13.18     1        $13.18
075609199417    Wal‐Mart     OL RGN MAX SRM 1.3Z          46     $34.94     3       $104.82
075609199943    Wal‐Mart     OL RGN COLL MST 1.7Z         46     $29.94     4       $119.76
075609199950    Wal‐Mart      OL COLL SERUM 1.3Z          46     $29.94    82      $2,455.08
075609199967    Wal‐Mart        OL COLL EYE FF .5Z        46     $29.94    26       $778.44
075609200137    Wal‐Mart      OL RETINOL DUO 2PC          46     $29.94     2        $59.88
075609200540    Wal‐Mart        OL VIT C MST 1.7 Z        46     $29.94    35      $1,047.90
075609200557    Wal‐Mart        OL VIT C SRM 1.3Z         46     $29.94     2       $59.88
075609200564    Wal‐Mart       OL VIT C EYE FF 0.5Z       46     $29.94     3       $89.82
075609200595    Wal‐Mart        OL VIT C MST 0.5Z         46     $11.94     2       $23.88
075609200656    Wal‐Mart       OL VITC SPF30 1.7Z         46     $29.94     4       $119.76
075609200816    Wal‐Mart        OL HA MST FF 1.7Z         46     $29.94    46      $1,377.24
075609200823    Wal‐Mart      OL HA SERUM FF 1.3Z         46     $29.94    128     $3,832.32
075609200847    Wal‐Mart       OL HA EYE GEL 0.5Z         46     $10.48     1       $10.48
075609200915    Wal‐Mart     OL COLL MAX MST 1.7Z         46     $34.94     3       $104.82
075609200977    Wal‐Mart     OL HA MST SPF30 1.7Z         46      $7.49     1        $7.49
075609201288    Wal‐Mart      OL VIT C DUO PK 2PC         46     $29.94     1        $29.94
075609201295    Wal‐Mart     OL COLLAGEN DUO 2PK          46     $29.94      1       $29.94
075609202544    Wal‐Mart      OL SHEA CRM FF 1.7Z         46      $7.49     9        $67.41
075609203503    Wal‐Mart    OL HYALURON DUO 2PC           46      $7.49     1         $7.49
075609204104    Wal‐Mart       OL NIACIN MST 1.7Z         46     $29.94     4       $119.76
075609208102    Wal‐Mart        OL SENS MST 1.7Z          46     $29.94    12       $359.28
075609208768    Wal‐Mart        OL SUPER SRM 1Z           46     $29.94    11       $329.34
075609209017    Wal‐Mart      OL SUPER SRM TRIAL          46     $19.94    16       $319.04
075609601439    Wal‐Mart     OL AGE NIGHT CRM 2Z          46     $14.94     1        $14.94
076501115598    Wal‐Mart    COLEMAN DOUBLE‐HIGH           09     $79.99     1        $79.99
077802104236    Wal‐Mart    BRETMAN 3IN1 FC MIST          46     $6.98      1        $6.98
077924052163    Wal‐Mart          WEBER IGRILL 2          16     $74.00     9       $666.00
078484095218    Wal‐Mart     F ROTARY 45MM LOOP           19     $14.98     2        $29.96
078484098080    Wal‐Mart        F SCISR 4 CURVED          19      $8.48     4        $33.92
079976409551    Wal‐Mart     FORD/GM MULTITOW             10     $29.57     1        $29.57
079976471657    Wal‐Mart     HOPKINS 4 WIRE‐FLAT          10     $24.99     1        $24.99
080376515193    Wal‐Mart     PROCLEARZ BRITENOW           40      $4.25     3        $12.75
086800196365    Wal‐Mart        NTG RAD SET SPRY          46     $14.97     1        $14.97
087547550625    Wal‐Mart             HP 61 TRI            05     $24.64     14      $344.96
093573144424    Wal‐Mart     CRICUT EXPLORE DEEP          19     $29.99     5       $149.95
093573370557    Wal‐Mart    CRICUT TRUECONTROL K          19     $17.49     2        $34.98
093573578397    Wal‐Mart         CRICUT WD TL ST          19     $18.97     4       $75.88
093573656996    Wal‐Mart       FOIL TRANSFER KIT          19     $35.97     1        $35.97
093573683558    Wal‐Mart      ULTI FINE POINT PEN         19     $24.88     1        $24.88
093573706103    Wal‐Mart       KNIFE BLADE DRIVE          19     $11.00     1       $11.00
094841255194    Wal‐Mart    SIMILA EAR RNGNG REM          40      $7.96     1        $7.96
094841300146    Wal‐Mart       SIMILASAN DRYEYE           40     $7.38      8       $59.04
094841300344    Wal‐Mart       SIMILASAN PINKEYE          40      $7.12     1         $7.12
094841300603    Wal‐Mart     SIMILASAN COMPLETE           40     $7.38      1        $7.38
097298012723    Wal‐Mart           PED EGG PRO            46      $9.88     3        $29.64
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097298053139    Wal‐Mart            ROCKET RELIEF        82      $9.00     1        $9.00
097467030572    Wal‐Mart     NATUREPLUS SOURCE IF        40     $25.00     2       $50.00
097855061591    Wal‐Mart     LOGITECH LOG9100013         72     $89.18     1        $89.18
097855137111    Wal‐Mart            PRO WRLS MS          72     $99.00     1       $99.00
097855141996    Wal‐Mart         G502 GAMING MS          72     $48.58     2       $97.16
097855155948    Wal‐Mart       G203 LIGHTSYNC MS         72     $29.98     2       $59.96
097855166180    Wal‐Mart      IPAD CMB TCH PRO 11        87     $199.99    1       $199.99
097855180827    Wal‐Mart         CHORUS HEADSET          05     $50.00     1       $50.00
190199568440    Wal‐Mart     IPAD 11 2ND GEN KEYB        87     $179.00    1       $179.00
190199801561    Wal‐Mart           BEATS FLEX BLK        72     $49.95     1        $49.95
190780811993    Wal‐Mart           HP 64XL COLOR         72     $56.00     2       $112.00
191329150054    Wal‐Mart    DOWNABBEYMV TVSERIES         05     $49.96     1       $49.96
191726376491    Wal‐Mart            PKW LUCARIO          07      $8.97     1         $8.97
192545377966    Wal‐Mart       HP 962XL MAGENTA          72      $40.92     4      $163.68
192545377980    Wal‐Mart          HP 962XL BLACK         72     $52.00     8       $416.00
192545378161    Wal‐Mart          HP 910XL BLACK         72     $46.92     4       $187.68
193015522404    Wal‐Mart            HP 67XL BLACK        72     $28.92     6       $173.52
193015522411    Wal‐Mart           HP 67XL COLOR         72     $29.92     3       $89.76
193015742222    Wal‐Mart          HP 910 CL MULTI        72     $38.92     2        $77.84
193015742253    Wal‐Mart             HP 962 CMY          72     $70.00     8       $560.00
193575000640    Wal‐Mart         NEST MINI CHALK         72     $49.00     2        $98.00
194644018887    Wal‐Mart     ANKER G30 ROBOT VAC         74     $50.00     1        $50.00
195166127774    Wal‐Mart      NERF RB BOOMSTRIKE         07     $10.88     2        $21.76
195166127781    Wal‐Mart      NERF MS RB MAD CITY        07     $10.88     2        $21.76
300230403702    Wal‐Mart        REFRESH PLUS 70CT        40     $21.82     16      $349.12
300230798150    Wal‐Mart       REFRESH TEARS .5FO        40     $10.58    26       $275.08
300230798303    Wal‐Mart       REFRESH TEARS 1FO         40     $14.68    11       $161.48
300231822120    Wal‐Mart        REFRESH CONTACTS         40      $7.66     4        $30.64
300233240151    Wal‐Mart      REFRESH OPTIVE .5FO        40     $11.57    21       $242.97
300234291053    Wal‐Mart           LASTACAFT 5ML         40     $18.96    30       $568.80
300234291107    Wal‐Mart         LASTACAFT 2X5ML         40     $28.96    62      $1,795.52
300234307105    Wal‐Mart     RFRSH OPTV ADV .33FO        40     $14.32    14       $200.48
300234307204    Wal‐Mart     RFRSH OPTV ADV .66FO        40     $22.13     2       $44.26
300234491309    Wal‐Mart     RFSH OPT ADV PF 30CT        40     $16.33     2        $32.66
300234554301    Wal‐Mart     REFRSH CELLUVSC 30CT        40     $15.92     1        $15.92
300235459100    Wal‐Mart       REFRESH OPTIVE GEL        40     $14.58     3       $43.74
300235487301    Wal‐Mart      REFRESH PLUS PF 30CT       40     $10.63     2        $21.26
300235773305    Wal‐Mart     REFRESH MEGA 3 PF 30        40      $17.86    25      $446.50
300236630102    Wal‐Mart     REFRESH RELIEVA 10ML        40     $14.47     6        $86.82
300236634100    Wal‐Mart     REFRESH RELVA PF10ML        40     $15.22     17      $258.74
300237151606    Wal‐Mart      REFRESH MEGA 3 60CT        40     $31.98    37      $1,183.26
300410104009    Wal‐Mart        OB TBM IND SF 4CT        02      $4.70     4        $18.80
300410106751    Wal‐Mart       OB TBM CLIC BLK 1CT       02     $14.97     5        $74.85
300410107710    Wal‐Mart       OB TBB PUL CHR 2CT        02     $10.97     1        $10.97
300416684703    Wal‐Mart       OB TBM PH CA SF 2CT       02      $1.95     8       $15.60
300450204448    Wal‐Mart           ZYRTEC LG 40CT        40     $29.67     1        $29.67
300450204462    Wal‐Mart       ZYRTEC 30 10 BONUS        40     $19.97     2        $39.94
300450206602    Wal‐Mart          ZYRTEC TAB 60CT        40     $32.97    274     $9,033.78
300450206909    Wal‐Mart          ZYRTEC TAB 90CT        40     $42.47    57      $2,420.79
300450209146    Wal‐Mart        CH ZYR DF GRP 8OZ        40     $22.97     2       $45.94
300450444271    Wal‐Mart        TYL EX STR CAP 225       40     $19.97     3        $59.91
300450488305    Wal‐Mart      TYL EX STR RRG 225CT       40     $22.97    13       $298.61
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300650192316    Wal‐Mart    OF PUREMOIST RW DROP        40      $7.98     1        $7.98
300650363402    Wal‐Mart    CLRCARE PLS TWN 24FO        40     $17.98     2       $35.96
300650429153    Wal‐Mart            SYSTANE .5FO        40     $11.98     2       $23.96
300650429306    Wal‐Mart            SYSTANE 1FO         40     $18.48     9       $166.32
300650431330    Wal‐Mart         SYSTANE PF 30CT        40     $12.98    75       $973.50
300650454070    Wal‐Mart       SYSTANE GEL DROPS        40     $13.48    55       $741.40
300650474016    Wal‐Mart            SYSTANE GEL         40     $13.48    10       $134.80
300650481106    Wal‐Mart      SYSTANE COMP 10ML         40     $14.98    86     $1,288.28
300650481113    Wal‐Mart      SYSTANE COMP 20ML         40     $22.48    549    $12,341.52
300650509350    Wal‐Mart       SYSTANE NIGHTTIME        40     $14.48    12       $173.76
300650518017    Wal‐Mart      GENTEAL NTIME OINT        40     $10.98     6        $65.88
300650816038    Wal‐Mart           PATADAY ES TP        40     $32.96     43     $1,417.28
300650816045    Wal‐Mart        PATADAY ES 2.5ML        40     $21.96    54     $1,185.84
300651431056    Wal‐Mart      SYSTANE ULTRA .33FO       40     $11.98    10       $119.80
300651431414    Wal‐Mart      SYSTANE ULTRA TWIN        40     $19.48     39      $759.72
300651432053    Wal‐Mart      SYSTANE ULTRA PF 60       40     $26.98     15      $404.70
300651432060    Wal‐Mart        SYSTANE ULTRA UD        40     $12.98     66      $856.68
300651433029    Wal‐Mart     SYSTNE BALANCE .33FO       40     $14.98     91    $1,363.18
300651433074    Wal‐Mart    SYSTANE BALANCE TWIN        40     $22.48    230     $5,170.40
300651437041    Wal‐Mart      SYSTANE HYD PF 30CT       40     $18.48    677    $12,510.96
300651507829    Wal‐Mart      SYSTANE ULT PF 10ML       40     $14.98    22       $329.56
300651507928    Wal‐Mart      SYSTANE ULT PF 20ML       40     $23.98     2       $47.96
300651509281    Wal‐Mart         SYS COM PF 10ML        40     $16.98     6       $101.88
300651509298    Wal‐Mart    SYSTANE COMP PF 20ML        40     $26.98    423    $11,412.54
300651510003    Wal‐Mart     SYSTANE HYD PF 20ML        40     $25.98     8       $207.84
300651510065    Wal‐Mart     SYSTANE HYD PF 10ML        40     $16.48     70    $1,153.60
300654011057    Wal‐Mart         ZADITOR ALLERGY        40     $13.98    15       $209.70
300654011064    Wal‐Mart    ZADITOR ALLERGY TWIN        40     $23.98    187     $4,484.26
300654274018    Wal‐Mart     PATADAY 2X DLY 5.0ML       40     $17.48    70     $1,223.60
300658150011    Wal‐Mart     PATADAY 1X DLY 2.5ML       40     $20.48     79    $1,617.92
300658150035    Wal‐Mart        PATADAY 1X DLY TP       40     $30.98      2       $61.96
300671202827    Wal‐Mart          VOLTAREN 150G         40     $24.68     44     $1,085.92
300672039927    Wal‐Mart       EXCED MIG CAP 200        40     $19.73     34      $670.82
301870977011    Wal‐Mart     BEDOYECTA CAPSULES         40     $12.54     1       $12.54
301937278709    Wal‐Mart      CONT NXT 70CT STRIP       40     $26.58     3       $79.74
302990110227    Wal‐Mart          CET GS CLNR 16Z       46     $12.47     5        $62.35
302990116014    Wal‐Mart     CET HR RNW CRM 1.7Z        46     $18.97    18       $341.46
302990116045    Wal‐Mart          CET AR CRM 6OZ        02      $8.97     1        $8.97
302990117004    Wal‐Mart      CET DH 48HR SRM 1Z        46     $17.97     6       $107.82
302990117073    Wal‐Mart         CET DH MST 1.7Z        46     $13.31    41       $545.71
302990117141    Wal‐Mart       CET DH CRM FF 1.7Z       46     $18.97     5        $94.85
302990221206    Wal‐Mart        DIF DK SPT SRM 1Z       46     $21.97     10      $219.70
302993889038    Wal‐Mart          CET HYD LTN 3Z        46     $14.22    190     $2,701.80
302993889168    Wal‐Mart     CET HYD EYE CRM 0.5Z       46     $15.47     3       $46.41
302993914280    Wal‐Mart      CET AR SHEA LTN 16Z       46     $13.97    10       $139.70
302993917564    Wal‐Mart        CET MSTZ CRM 16Z        46     $14.12     6        $84.72
302993927341    Wal‐Mart           CET DF LTN 16Z       46     $12.47     5        $62.35
302993928041    Wal‐Mart      CET DF MST SPF15 4Z       46     $14.97     6        $89.82
302993931188    Wal‐Mart     CET DC FOAM CLNR 8Z        46     $12.47     1        $12.47
302994113002    Wal‐Mart      CET OF MST SPF35 3Z       46     $14.92    102     $1,521.84
302994117000    Wal‐Mart         CET GC SA MST 3Z       46     $10.97     6        $65.82
302994118007    Wal‐Mart     CET HR WHIP CRM 1.7Z       46     $18.97     18      $341.46
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302994127009    Wal‐Mart          CET ECZ FU 8OZ         02     $7.99      1        $7.99
302994129003    Wal‐Mart          CET ECZ IR 2OZ         02     $2.00      6       $12.00
302994130009    Wal‐Mart        CET GC TA SRM 1Z         46     $14.97     2       $29.94
302994606009    Wal‐Mart       DIF DY BPO 5 CLR 4Z       46     $9.97     12       $119.64
302994609000    Wal‐Mart       DIF AC BDY SCRB 8Z        46     $10.97     2       $21.94
302994910403    Wal‐Mart       DIF PMP AD GEL 1.6Z       46     $29.18    180     $5,252.40
302994920457    Wal‐Mart       DIF AD 0.1 GEL 1.6Z       46     $29.47    305     $8,988.35
303160227066    Wal‐Mart        PANOXYL 4 WASH           46      $9.77     1        $9.77
303160228551    Wal‐Mart       PANOXYL 10 WASH           46      $9.77     1        $9.77
304960580146    Wal‐Mart    DERMEND MOIST BRUISE         40     $29.36    17       $499.12
305730147941    Wal‐Mart      ADVIL DUAL ACT 144CT       40     $17.98     3       $53.94
305730149662    Wal‐Mart      ADVIL LGEL 160 EZ OP       40     $17.98     12      $215.76
305730154215    Wal‐Mart       ADVIL TAB 200 EZ OP       40     $17.98     41      $737.18
305730154758    Wal‐Mart           ADVIL TAB 200         40     $17.98     6       $107.88
305730154840    Wal‐Mart         ADVIL TAB 200 25        40     $17.98     6       $107.88
305730154987    Wal‐Mart           ADVIL TAB 300         40     $23.47     44     $1,032.68
305730161510    Wal‐Mart           ADVIL CAP 200         40     $13.94     11      $153.34
305730164436    Wal‐Mart        ADVIL PM CAP 120         40     $17.98      1       $17.98
305730169493    Wal‐Mart          ADVIL LGEL 200         40     $23.47     78     $1,830.66
305730169516    Wal‐Mart        ADVIL LGEL 160 20        40     $17.98     13      $233.74
305730169899    Wal‐Mart          ADVIL LGEL 160         40     $17.98     89     $1,600.22
305731286762    Wal‐Mart     CENT MEN 50 GMMY 80         40     $10.76      1       $10.76
305731769135    Wal‐Mart       ADVIL LGEL M 200CT        40     $23.47    50      $1,173.50
305731769890    Wal‐Mart       ADVIL LGEL MINI 160       40     $17.98     28      $503.44
305731769920    Wal‐Mart      ADVL MINI 160 20 BNS       40     $17.98     1       $17.98
305732450285    Wal‐Mart     NEXIUM CAPSULES 28CT        40     $19.68     1       $19.68
305732450421    Wal‐Mart     NEXIUM CAPSULES 42CT        40     $25.28    35       $884.80
305732451428    Wal‐Mart      NEXIUM TABLETS 42CT        40     $25.28    283     $7,154.24
305732452425    Wal‐Mart     NEXIUM MINICAPS 42CT        40     $25.28     5       $126.40
306962878245    Wal‐Mart      BOIRON OSCILLO 30CT        40     $28.98     8       $231.84
307660493587    Wal‐Mart     ABREVA DOCOSANOL 10         40     $25.77    137     $3,530.49
307660801009    Wal‐Mart       ABREVA COLD SORE          40     $18.88    143     $2,699.84
307660801559    Wal‐Mart           ABREVA PUMP           40     $18.88    245     $4,625.60
307661420506    Wal‐Mart     NCDRM 21MG STP1 7CT         40     $22.38     1       $22.38
307667750003    Wal‐Mart    NCTGUM 2MG ICE 100CT         40     $43.98     3       $131.94
307667760002    Wal‐Mart    NCTGUM 4MG ICE 100CT         40     $43.98     6       $263.88
307667760255    Wal‐Mart    NCTGUM 4MG ICE 160CT         40     $65.00    13       $845.00
307667845600    Wal‐Mart    NCTGUM 2MG ORG 170CT         40     $65.00     4       $260.00
307667847604    Wal‐Mart    NCTGUM 4MG ORG 170CT         40     $65.00     2       $130.00
307667857504    Wal‐Mart    NCTGUM 2MG FRT 100CT         40     $43.98    10       $439.80
307667857603    Wal‐Mart    NCTGUM 4MG FRT 100CT         40     $43.98     2       $87.96
307667858402    Wal‐Mart    NCTGUM 2MG CIN 100CT         40     $43.98     1       $43.98
307667858600    Wal‐Mart    NCTGUM 4MG CIN 160CT         40     $30.00     4       $120.00
307667858709    Wal‐Mart    NCTGUM 4MG CIN 100CT         40     $43.98     1       $43.98
307667877502    Wal‐Mart    NCTGUM 4MG FRT 160CT         40     $65.00     1       $65.00
307667880502    Wal‐Mart    NCTMINI 4MG MNT 81CT         40     $44.00     6       $264.00
307669812372    Wal‐Mart      NCT LOZ 4MG ICE 20CT       40     $12.47     1       $12.47
307669812389    Wal‐Mart      NCT LOZ 2MG ICE 80CT       40     $43.97     1       $43.97
307669812396    Wal‐Mart      NCT LOZ 4MG ICE 80CT       40     $43.97     5       $219.85
307817098405    Wal‐Mart     AMLACTIN DAILY MOIST        02     $15.17    21       $318.57
309975420630    Wal‐Mart        RV MEN GROOMIN           46     $16.48      1       $16.48
310119020036    Wal‐Mart          BL DRY EYE .5FO        40     $6.42      2       $12.84
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310119020906    Wal‐Mart         OPCON A ALLERGY         40     $6.17     10       $61.70
310119022399    Wal‐Mart       SOOTHE NIGHT TIME         40     $9.58      2       $19.16
310119022412    Wal‐Mart               ALAWAY            40     $11.82     22      $260.04
310119022498    Wal‐Mart     BIOTRUE HYD CONTACTS        40     $12.97     1       $12.97
310119022788    Wal‐Mart      BIOTRUE DROPS 10ML         40     $12.44     4       $49.76
310119022795    Wal‐Mart     BIOTRUE DROPS 2X10ML        40     $19.74    35       $690.90
310119022887    Wal‐Mart       LUMIFY LASH SERUM         40     $26.97     5       $134.85
310119022894    Wal‐Mart         LUMIFY EYE CREAM        40     $26.97     5       $134.85
310119035887    Wal‐Mart        BIOTRUE TWIN 20FO        40     $16.92     1        $16.92
310119054215    Wal‐Mart     BOSTON ADVANCE CLNR         40      $9.48     3        $28.44
310119493113    Wal‐Mart              SOOTHE XP          40     $10.62     5        $53.10
310119537251    Wal‐Mart            LUMIFY 7.5ML         40     $21.48    33       $708.84
310119601921    Wal‐Mart     ALAWAY ALLERGY TWIN         40     $19.17     3        $57.51
310742010916    Wal‐Mart        ROHTO OPTIC GLOW         40      $9.18     1        $9.18
312547493864    Wal‐Mart     VISINE TOTAL COMFORT        40     $7.68      1        $7.68
312547780216    Wal‐Mart    ROG WM FOAM 2M 2.1OZ         46     $33.34     1       $33.34
312547781305    Wal‐Mart    ROG MN FOAM 1M 2.1OZ         46     $33.34    19       $633.46
312547781350    Wal‐Mart    ROG MN FOAM 3M 6.3OZ         46     $60.00     2       $120.00
312843536357    Wal‐Mart            BAYER TAB 100        40      $6.97     1         $6.97
316864000187    Wal‐Mart      AMLACTIN DAILY MSTR        02      $4.00    28       $112.00
316864000354    Wal‐Mart        KERASAL ATH FT GET       40      $3.00    13        $39.00
316864000880    Wal‐Mart       KERASAL FN PATCHES        40     $18.58    129    $2,396.82
316864021038    Wal‐Mart           TRPL PASTE 8 OZ       79     $16.97     5        $84.85
317270553007    Wal‐Mart       PRIMATENE MIST 160        40     $30.98     2        $61.96
323900017788    Wal‐Mart         DQNQ SVR 2X12OZ         40     $19.97     1        $19.97
323900039568    Wal‐Mart           DQNQ SVR 48CT         40     $19.97     1        $19.97
324208277157    Wal‐Mart           MURO 128 5 OP         40     $22.92     24      $550.08
324208385555    Wal‐Mart           MURO 128 5 OP         40     $22.86    144    $3,291.84
324208385562    Wal‐Mart          MURO‐128 O/O 5         40     $37.88    55     $2,083.40
324208465301    Wal‐Mart        OCUVITE 50 TAB 50        40     $13.86     2        $27.72
324208465707    Wal‐Mart        OCUVITE 50 TAB 90        40     $23.47    10       $234.70
324208532300    Wal‐Mart          PRESRVISN SG 120       40     $28.47    482    $13,722.54
324208632116    Wal‐Mart      PRESERVISION LUT 120       40     $28.84     3        $86.52
324208697603    Wal‐Mart      PRESRVISN AREDS2 60        40     $19.47    129    $2,511.63
324208697627    Wal‐Mart      PRESRVISN AREDS2 120       40     $34.47    627    $21,612.69
324208697634    Wal‐Mart        AREDS2 CHEWABLES         40     $22.97    29       $666.13
324208697641    Wal‐Mart      PV AREDS2 CHEWABLE         40     $26.58    36       $956.88
324208697900    Wal‐Mart      PRESERVISION AREDS2        40     $26.58    613    $16,293.54
325866565044    Wal‐Mart        ALEVE TENS DEVICE        40     $6.00      1        $6.00
328785001662    Wal‐Mart    BRAUN FOREHEAD THERM         40     $25.00    13       $325.00
328785006650    Wal‐Mart    BRAUN NO CONTCT THRM         40     $44.78     8       $358.24
328785060157    Wal‐Mart      BRAUN THERMOSCAN5          40     $44.97     5       $224.85
328785502008    Wal‐Mart      VICKS PERSONAL SINUS       40     $20.00    14       $280.00
328785730005    Wal‐Mart    BRAUN NOTOUCH THERM          40     $44.78     1       $44.78
328785998214    Wal‐Mart     BRAUN THRMSCN FILTER        40     $5.94      8       $47.52
329943002156    Wal‐Mart          BLINK TEARS .5FO       40     $9.92      5       $49.60
329943004105    Wal‐Mart           BLINK GEL TEARS       40      $9.92    11       $109.12
329943006109    Wal‐Mart         BLINK TRIPLE CARE       40     $12.98     6        $77.88
349597000445    Wal‐Mart         BORIC ACID SUPPO        02     $19.68    123     $2,420.64
350604287100    Wal‐Mart      FL PLUS MED DOG 3CT        08     $39.98     1        $39.98
353100202158    Wal‐Mart        FLONASE SENSI 60CT       40     $15.98     1        $15.98
353100202257    Wal‐Mart       FLONASE SENSI 120CT       40     $25.48     2        $50.96
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353100202271    Wal‐Mart      FLO SENS 2 PK 120CT        40     $11.00     33      $363.00
353100202301    Wal‐Mart     FLONASE SENSIMIST KI        40     $15.98      2       $31.96
353100203346    Wal‐Mart        FLONASE 2X144CT          40     $43.96     89     $3,912.44
353100205258    Wal‐Mart         SENSIMIST 72CT          40     $15.98     17      $271.66
353100228899    Wal‐Mart          FLONASE 72CT           40     $15.98     8       $127.84
353100229575    Wal‐Mart         FLONASE 144CT           40     $25.48     44     $1,121.12
353100248620    Wal‐Mart      CH FLONASE 60 SPRY         40     $15.98     19      $303.62
353100346494    Wal‐Mart     FLO HEADCH ALLERGY          40      $3.00     2        $6.00
353885011839    Wal‐Mart       OT VERIO FLEX SYST        40     $22.58    10       $225.80
358790000305    Wal‐Mart      THERA TEARS PF 30CT        40     $10.12      1       $10.12
358790001159    Wal‐Mart        THERA TEARS .5FO         40      $8.52     27      $230.04
358790001302    Wal‐Mart        THERA TEARS 1FO          40     $12.56      2       $25.12
358790003603    Wal‐Mart    THERA TEARS NUTRTION         40     $12.44     15      $186.60
358790007151    Wal‐Mart       THERA TEARS EXTRA         40      $9.94     13      $129.22
358790010304    Wal‐Mart    THERA TEARS XTRA 30C         40     $12.44     7        $87.08
363736441012    Wal‐Mart      M‐1 SIMPLE THERAPY         02     $13.27     1        $13.27
363736441807    Wal‐Mart     M‐1 CURE ITCH RELIEF        02     $16.97     4       $67.88
363736443009    Wal‐Mart    M‐3 CURE ITCH SYSTEM         02     $14.27    21       $299.67
363736443054    Wal‐Mart    M‐3 CURE ITCH SUPPOS         02     $14.27      1       $14.27
363824008202    Wal‐Mart           MCX SE 20CT           40     $13.97      2       $27.94
363824008400    Wal‐Mart           MCX SE 40CT           40     $23.22    337     $7,825.14
363824011653    Wal‐Mart         MUCINEX DM 12           40     $20.00    138     $2,760.00
363824014784    Wal‐Mart    MCX SVR C C DN 2X6OZ         40     $15.40      4       $61.60
363824023281    Wal‐Mart        MCX SE MAX 28CT          40     $23.94     35      $837.90
363824023465    Wal‐Mart        MCX SE MAX 42CT          40      $7.50    15       $112.50
363824056203    Wal‐Mart          MCX DM 20CT            40     $13.97     17      $237.49
363824056401    Wal‐Mart          MCX DM 40CT            40     $23.94    275     $6,583.50
363824072289    Wal‐Mart       MCX DM MAX 28CT           40     $23.94    170     $4,069.80
363824072463    Wal‐Mart       MCX DM MAX 42CT           40     $29.98     43     $1,289.14
369266000361    Wal‐Mart          FDGARD 36CT            40     $22.48     1        $22.48
369266000484    Wal‐Mart          IBGARD 48 CT           40     $25.47     17      $432.99
369536162881    Wal‐Mart        PLAN B ONE STEP          02     $46.87    182     $8,530.34
369536200880    Wal‐Mart           TAKE ACTION           02     $34.78     86     $2,991.08
370030165179    Wal‐Mart     PREVACID 15MG 14 CT         40      $0.50     2        $1.00
370030165186    Wal‐Mart     PREVACID 15MG 42 CT         40     $23.42    308     $7,213.36
370030165773    Wal‐Mart          NASONEX 120            40     $24.97      2       $49.94
371730000906    Wal‐Mart            HERS FOAM            46     $24.96      1       $24.96
381370015802    Wal‐Mart           AV SR FF 8OZ          02      $7.98     6        $47.88
381370038115    Wal‐Mart          AV CC MST 4Z           46     $18.97     15      $284.55
381370084884    Wal‐Mart      ROC RTNL MST SPF 1Z        46     $21.97      1       $21.97
381371083220    Wal‐Mart    ROC RTNL WRKL SRM 1Z         46     $21.97      2       $43.94
381371150779    Wal‐Mart         AV SR JAR 11OZ          02     $16.37      2       $32.74
381371162499    Wal‐Mart    AV POS NGHT CRM 1.7Z         46     $18.47     9       $166.23
381371167241    Wal‐Mart     AV BABY ECZ NGHT 11         02     $19.98     23      $459.54
381371169344    Wal‐Mart    AVN ECZEMA ITCH BLM          02     $19.97     15      $299.55
381371191833    Wal‐Mart       AV C R OAT SRM 1Z         46     $19.97     66     $1,318.02
381371191840    Wal‐Mart       AV C R MST GEL 1.7Z       46     $19.97     87     $1,737.39
381371196968    Wal‐Mart         AV DM CLNR 12Z          46     $11.77      2       $23.54
381372020712    Wal‐Mart      AV PR DM SPF15 4OZ         46     $18.47     16      $295.52
381372020811    Wal‐Mart       AV POS SPF 30 2.3Z        46     $18.47      1       $18.47
381372021849    Wal‐Mart       AVEENO TT DL 18OZ         02     $12.88      1       $12.88
381372022204    Wal‐Mart       AV C R BALM FF 1.7Z       46      $2.50     24       $60.00
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381372022471    Wal‐Mart       AV C R MST CRM 1.7Z         46     $19.97    102     $2,036.94
605592105531    Wal‐Mart     NE SH THERAPE 13.5FO          46     $15.98     6       $95.88
605592105739    Wal‐Mart     NE SH THERAPE 33.8FO          46     $25.98     3       $77.94
605592210532    Wal‐Mart       NE CN COLOR 13.5FO          46     $15.98    17       $271.66
605592215735    Wal‐Mart     NE CN HUMECT 33.8FO           46     $25.98     7       $181.86
608337103403    Wal‐Mart       ORAQUICK HOME HIV           40     $39.88    16       $638.08
609332571501    Wal‐Mart         ELF HYDR SKIN SET         46     $12.60     2       $25.20
609332828056    Wal‐Mart        ELF STAY ALL NIGHT         46      $10.00    1        $10.00
609332853133    Wal‐Mart       ELF BP SCLP BR 85313        46       $5.00     1        $5.00
609863600206    Wal‐Mart      TOPRICIN FOOT PAIN R         40       $4.75    1         $4.75
610858001878    Wal‐Mart        KONSYL DAILY FIBER         40     $15.76     1       $15.76
612572211373    Wal‐Mart     ARRIS SB8200 3.1 MDM          72     $169.00    2       $338.00
615908419788    Wal‐Mart       TGI BH ROCK DRY SH          46     $13.94     1       $13.94
616728050007    Wal‐Mart     TINEACIDE ANTIFUNGAL          40      $14.97    4        $59.88
619659161293    Wal‐Mart       NSW 128 GB SD CARD          05     $18.88     1       $18.88
619659182557    Wal‐Mart          SAN EXT SSD 1TB          72     $85.00     1       $85.00
619659184490    Wal‐Mart       SANDISK 256 SWITCH          05     $35.00    12       $420.00
622356569859    Wal‐Mart       NINJA FOODI 14‐IN‐1         14     $187.77    1       $187.77
630509983971    Wal‐Mart           ROKTAVOR R6             07      $11.97    1        $11.97
630509983988    Wal‐Mart          SUPER HYPERION           07      $11.97    1        $11.97
631257158628    Wal‐Mart         UFLORA PROB 30B           40      $19.98    4        $79.92
631257158635    Wal‐Mart     UFLORA PROB WMNS 30           40      $19.98    13      $259.74
631656603361    Wal‐Mart    MUSCLETECH HYDROXYCU           40     $59.99     2       $119.98
631656716726    Wal‐Mart       SS WHEY CHOCOLATE           40     $19.76     5       $98.80
631656716825    Wal‐Mart      SS EXPLOSION FRUIT P         40      $16.97    2        $33.94
633472600401    Wal‐Mart       CB ADV DIG OTK 20CT         02     $39.98     1       $39.98
633472600425    Wal‐Mart     CB ADV DIG OVUL 10CT          02     $29.86    17       $507.62
633472601934    Wal‐Mart          CB ERLY PRG 2CT          02      $8.98     1        $8.98
633911630617    Wal‐Mart     CHI 44 IRONGUARD 8OZ          46     $16.74     1       $16.74
636980262277    Wal‐Mart         BWR 50 LED LIGHT          06     $11.00     1       $11.00
644216610563    Wal‐Mart    GLOOMHAVEN JAWS LION           07     $24.00     1       $24.00
647865195009    Wal‐Mart     NEURIVA GUMMY 50CT            40     $29.67    108     $3,204.36
647865195023    Wal‐Mart     NEURIVA PLS GMY 50CT          40     $39.97    62      $2,478.14
647865203391    Wal‐Mart      NEURIVA 50CT GRAPE           40      $29.67    9       $267.03
647865995470    Wal‐Mart        NEURIVA ORIG 30CT          40     $29.67    178     $5,281.26
647865995500    Wal‐Mart        NEURIVA PLUS 30CT          40     $39.97    125     $4,996.25
650240028090    Wal‐Mart      CICATRICURE SCAR GEL         40     $16.56     1       $16.56
650240055041    Wal‐Mart       CICA GOLD CONTOUR           46     $14.97     7       $104.79
651043300246    Wal‐Mart        BLISS VIT C EYE 0.5Z       46     $19.97     1       $19.97
651043300284    Wal‐Mart      BLS GLW RSH MST 1.5Z         46     $15.97     1       $15.97
651043301106    Wal‐Mart      BLISS NIAC HA SRM 1Z         46     $19.97     1       $19.97
651043301120    Wal‐Mart         BLISS VITC SRM 1Z         46     $24.94     2       $49.88
658010120302    Wal‐Mart     GARDEN OF LIFE MYKIN          40      $12.25    2        $24.50
658010122306    Wal‐Mart       GOL DAILY PROB 25B          40      $12.97    9       $116.73
658010122313    Wal‐Mart    GOL WOMENS PROB 40B            40      $25.98    9       $233.82
660685007543    Wal‐Mart       PG‐210/CL‐211 XL502         72      $58.00    3       $174.00
660685050921    Wal‐Mart     PGI‐250BK/CLI‐251CMY          72     $64.00     4       $256.00
660685118577    Wal‐Mart      PG‐245XL/CL‐246XL PK         72      $56.99    11      $626.89
660685129757    Wal‐Mart      PGI‐1200 CMY 3‐PACK          72      $42.99    1        $42.99
660685140158    Wal‐Mart      CANON 0390C005 CLI‐          72     $48.99     9       $440.91
660685174269    Wal‐Mart     CANON PIXMA TR8520 C          72     $57.26     7       $400.82
660685197756    Wal‐Mart        PGI‐280 BK/CLI‐281         72      $59.00    4       $236.00
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660685208421    Wal‐Mart    CAN 260XL/261XL COMB          72     $59.00     8       $472.00
670223710385    Wal‐Mart      PG GLOBAL TRVL ADPT         74     $31.84     1       $31.84
673419318327    Wal‐Mart      LG SM MARIO STARTER         07     $48.00     1       $48.00
673419337991    Wal‐Mart       LG BH EASTER BUNNY         07      $11.00    4        $44.00
673419339346    Wal‐Mart      LG TC THE BATMOBILE         07     $49.00     1       $49.00
673419339544    Wal‐Mart       LG SH DRAGON FLYER         07     $15.00     1       $15.00
673419339636    Wal‐Mart         LG SM BEE MARIO          07      $7.00     5        $35.00
673419339872    Wal‐Mart          LG SH GAUNTLET          07      $70.00    1        $70.00
673419339926    Wal‐Mart       LG SM PLANT CHLLNG         07     $15.00     1       $15.00
673419340410    Wal‐Mart      LG JW BLUE AND BETA         07      $34.97    1        $34.97
673419340724    Wal‐Mart        LG SW LUKE XWING          07      $40.00    1        $40.00
673419340854    Wal‐Mart      LG SW VADER HELMET          07     $70.00     1       $70.00
673419341158    Wal‐Mart       LG CR SPACE SHUTTLE        07     $25.00     1       $25.00
673419351904    Wal‐Mart     LG FR BEACH GLAMPING         07      $30.00    2        $60.00
673419355308    Wal‐Mart     LG NJ DRAGON TEMPLE          07     $17.00     4       $68.00
673419355506    Wal‐Mart       LG HP SIRIUS RESCUE        07     $24.00     1       $24.00
673419355650    Wal‐Mart      LG CR MAJESTIC TIGER        07     $40.00     1       $40.00
673419356251    Wal‐Mart     LG FR PET PLAYGROUND         07      $17.00    1        $17.00
673419356640    Wal‐Mart       LG SM BEACH BIOME          07     $19.00     1        $19.00
673419357128    Wal‐Mart     LG SM YOSHI EXPNSION         07      $26.00    5       $130.00
673419357135    Wal‐Mart       LG FR TREE PLANTING        07      $17.00    5        $85.00
673419357173    Wal‐Mart        LG FR BEACH HOUSE         07      $59.00    1        $59.00
673419357296    Wal‐Mart     LG FR THEATER SCHOOL         07     $75.00     1       $75.00
673419357456    Wal‐Mart      LG SW MANO STARFTR          07     $48.00     1       $48.00
673419357548    Wal‐Mart       LG SW OBI VS VADER         07     $24.00     1       $24.00
673419358514    Wal‐Mart      LG MC GUARDIAN BTTL         07     $22.00     4       $88.00
673419359344    Wal‐Mart     LG CY KNCKDWN STUNT          07     $17.00     1       $17.00
673419359351    Wal‐Mart        LG CY SHARK STUNT         07     $14.00     1       $14.00
673419371872    Wal‐Mart     LG SM LAVA WAVE RIDE         07     $22.50     2       $45.00
673419375818    Wal‐Mart      LG HP BTL OF HGWRTS         07     $80.00     2       $160.00
673419376945    Wal‐Mart    LG SW CMDR CODY HLMT          07     $56.00     1       $56.00
673419376969    Wal‐Mart       LG SW ENDOR CHASE          07     $80.00     1       $80.00
673419377003    Wal‐Mart      LG YODA STARFIGHTER         07     $28.00     1       $28.00
673419378680    Wal‐Mart        LG TC 2022 FORD GT        07     $120.00    1       $120.00
673419378758    Wal‐Mart        LG TC FIRE AIRCRAFT       07     $100.00    1       $100.00
681131143509    Wal‐Mart            PC LANOLIN            79      $6.12     1        $6.12
681131408462    Wal‐Mart     EQUATE W WRST MNTR           40     $50.00     8       $400.00
681421025706    Wal‐Mart    DULCO CHEWY BERRY 30          40      $10.98    1        $10.98
681421036160    Wal‐Mart     ZANTAC‐20MG TABLETS          40     $21.96     1       $21.96
689901537879    Wal‐Mart        ZANFEL POISON IVY         40     $38.98    550    $21,439.00
692042012587    Wal‐Mart       HT 20V 4AH BATTERY         16     $55.00     2       $110.00
692121035216    Wal‐Mart       SLEEPRIGHTPRORXDG          02     $19.98    22       $439.56
695111000034    Wal‐Mart      SUPERBETA PROSTATE          40     $99.00    134    $13,266.00
695111001888    Wal‐Mart      SUPER BETA PROS ADV         40     $34.48    159     $5,482.32
695111001918    Wal‐Mart     AGELESS MALE MX 60CT         40     $39.92     1        $39.92
695111002199    Wal‐Mart    AGELESSMALE PERFMNCE          40     $13.98     9       $125.82
695111002588    Wal‐Mart      AGELESS MALE TAB 60         40      $26.97    3        $80.91
695111002809    Wal‐Mart           SBP ADV 120CT          40     $44.97     6       $269.82
695111002847    Wal‐Mart      AGELESS MALE HAIR G         40     $29.98    26       $779.48
697029211045    Wal‐Mart        THBR TP DRY MTH 4         02      $7.98     1        $7.98
699965195359    Wal‐Mart   BODUM CHAMBORD FRENC           14     $24.60     2       $49.20
704142000071    Wal‐Mart         FLORASTOR 50CT           40     $48.07    106    $5,095.42
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704142000248    Wal‐Mart       FLORASTOR PROBIO20          40     $19.82    31       $614.42
705016354207    Wal‐Mart      DYM ISO FRUITY PEBBL         40     $33.43     3       $100.29
705928001008    Wal‐Mart      NLMED RINSE KIT 50CT         40     $11.48    10       $114.80
705928502116    Wal‐Mart         NEILMED BABY ASP          79     $22.22     1        $22.22
708118020100    Wal‐Mart     VITANICA MENOPAU SUP          40     $32.49     2        $64.98
712649101092    Wal‐Mart    POWERPRO 10LBX150GRN           09      $13.88    1        $13.88
716222261005    Wal‐Mart       WET PLAT LUBE 3.1OZ         02     $11.44     1        $11.44
716837246503    Wal‐Mart     PEPCID COMP TROP 50C          40     $20.98    45       $944.10
716837291503    Wal‐Mart      PEPCID COMP BER 50CT         40     $20.98    103     $2,160.94
716837888505    Wal‐Mart     PEPCID COMP MINT 50C          40     $20.98     3        $62.94
717489324151    Wal‐Mart     MLN UNGILD PALET‐190          46      $14.97    2        $29.94
717489351010    Wal‐Mart       MLN GG FACE OIL‐110         46      $14.97    1        $14.97
723122150216    Wal‐Mart      MAGNI DB PAIN RELIEF         40     $15.12     4       $60.48
723122301120    Wal‐Mart     MAGNI PAIN RELVNG FC          40     $15.36     4       $61.44
723987005089    Wal‐Mart      PUR WHT VERT FM SYS          11     $23.72     1       $23.72
724089060983    Wal‐Mart         K9 ADV XL DOG 2PK         08      $29.98    2        $59.96
724089202086    Wal‐Mart           ADV SM CAT 4PK          08      $13.00    1        $13.00
726000104059    Wal‐Mart     FOCUS FACTOR TABLETS          40     $14.98     8       $119.84
727804365660    Wal‐Mart     CAPACTION SMALL DOG           08     $27.98     1        $27.98
727804365684    Wal‐Mart     CAPACTION LARGE DOG           08     $27.98     6       $167.88
728947000210    Wal‐Mart      ORAL B DENTAL GAURD          02      $19.48    69     $1,344.12
729849108592    Wal‐Mart       PETSAFE FREEDOM AL          08     $49.99     2        $99.98
729849153783    Wal‐Mart       PETSAFE DELUXE EASY         08     $22.95    12       $275.40
729849153806    Wal‐Mart       PETSAFE DELUXE EASY         08     $10.00     3        $30.00
731509762037    Wal‐Mart        KISS CORDLESS FLAT I       46     $49.99    11       $549.89
731855502721    Wal‐Mart     ROCCAT VULCAN TKL GA          72     $129.99    2       $259.98
733739006820    Wal‐Mart      NOW C‐1000 250 TABLE         40     $13.25     2       $26.50
733739028112    Wal‐Mart    NOW FOODS D MANNOSE            40     $19.21     1        $19.21
740275049662    Wal‐Mart             OWN ZONE              82     $30.00     1        $30.00
740275053980    Wal‐Mart     CALM HEAT WGHTD PAD           82     $60.98     1        $60.98
740275057049    Wal‐Mart    CALMING HEAT NECK WR           82     $39.97     1        $39.97
740275058640    Wal‐Mart    CALMING HEAT BACK WR           82     $47.99     1        $47.99
740275300374    Wal‐Mart        WUSH EAR CLEANER           82     $59.88     3       $179.64
748927060522    Wal‐Mart    ON AMINO WATERMELON            40     $19.98     5        $99.90
748927060539    Wal‐Mart      ON AMINO TANGERINE           40      $14.99    23      $344.77
752356831349    Wal‐Mart           BP AIR PURIFIER         82     $24.00     3        $72.00
753759147013    Wal‐Mart         STRIKER 4 GARMIN          09     $130.00     1      $130.00
754502043590    Wal‐Mart           CF ICE KNEE L/XL        40     $19.88     1       $19.88
754502046034    Wal‐Mart           FLAWLESS NAILS          82     $11.99     1        $11.99
755970407211    Wal‐Mart      COSEQUIN MAX STR 60          08     $19.96     1        $19.96
759023067759    Wal‐Mart        PETSAFE EASY WALK          08     $20.95     4        $83.80
761318152989    Wal‐Mart       REV VOLUMIZER PLUS          46     $68.88     5       $344.40
761318252221    Wal‐Mart     REV OVAL BRUSH DRYER          46     $48.88     2       $97.76
764302290209    Wal‐Mart       SM CH SH CURL SHINE         46     $10.97     1        $10.97
764302290247    Wal‐Mart         SM CN COC HIB 8FO         46     $10.97     2       $21.94
767332603612    Wal‐Mart           MURAD RETINOL           46     $80.00    22      $1,760.00
768303320330    Wal‐Mart      CADET BULLSTK LG 4CT         08     $23.98     1        $23.98
768990016066    Wal‐Mart          NN ALGAE OMEGA           40     $23.88     2        $47.76
768990021503    Wal‐Mart     NORDIC NATURALS ULTI          40     $49.95     8       $399.60
783349000374    Wal‐Mart      WAXRX EAR WASH SYS           40     $35.32    77      $2,719.64
786936893830    Wal‐Mart            ENCANTO BD             05     $14.96     1        $14.96
787651101675    Wal‐Mart           AZO CRAN 100CT          02     $12.13    349     $4,233.37
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787651760025    Wal‐Mart         AZO BLADDER 54CT        02      $18.98    81     $1,537.38
787651760056    Wal‐Mart         AZO BLADDER 72CT        40      $25.96   151     $3,919.96
787651760117    Wal‐Mart      AZO UH DEFENSE 24CT        02      $8.37     3        $25.11
787651760230    Wal‐Mart      AZO CRNBRY SG 120CT        40      $14.48   109     $1,578.32
787651760254    Wal‐Mart    AZO WM PROBIOTC 30CT         40      $25.96    20      $519.20
800897202217    Wal‐Mart     NYX BWMH SPF PRM‐01         46      $16.97     4       $67.88
810000318056    Wal‐Mart     MEDERMA SCARGL .7OZ         40     $16.47    204     $3,359.88
810000318100    Wal‐Mart    MEDERMA STRETCH MARK         40      $17.00    57      $969.00
810002110818    Wal‐Mart      VRSD AUTO SV SRM 1Z        46      $15.48    3        $46.44
810022391754    Wal‐Mart        HR 3P RECIP BLADES       11     $11.74    22       $258.28
810022392126    Wal‐Mart          HR 6P SPADE BITS       11      $9.88     1        $9.88
810022392287    Wal‐Mart         HR 40P IMPACT KIT       11      $13.88     3       $41.64
810022392300    Wal‐Mart         HR 68P IMPACT KIT       11      $18.78     2       $37.56
810022392591    Wal‐Mart      HR 20V 4.0AH BATTERY       11      $69.00    1        $69.00
810023671077    Wal‐Mart        DOLLY PARTON EDT         46      $39.97    1        $39.97
810028770584    Wal‐Mart            AIR PURIFIER         79      $59.97    2       $119.94
810030511014    Wal‐Mart    ALANI PWO BREEZEBRRY         40     $27.98     3       $83.94
810036050166    Wal‐Mart    THERAGUN MINI PROFES         09     $118.00    2       $236.00
810050282949    Wal‐Mart             VENOM GO            09     $129.00     2      $258.00
810071800016    Wal‐Mart           BR ES CLR 26CT        40      $11.26    4        $45.04
810390029198    Wal‐Mart        C4 SPORT BLUE RAZZ       40      $17.19    25      $429.75
810819031009    Wal‐Mart         SDC WS LIGHT 4CT        02      $39.98    3       $119.94
810819031092    Wal‐Mart          SDC TBB RFL 1CT        02      $2.49     1        $2.49
810819031894    Wal‐Mart    SDC PRO BOOST BUNDLE         02      $10.74    1        $10.74
811138036690    Wal‐Mart         FB VERSA 2 BLACK        87     $112.00     2      $224.00
811213022808    Wal‐Mart      BST AMINOS FRT PNCH        40      $10.19     5       $50.95
811572023874    Wal‐Mart            COLA 440ML           14       $0.75    2        $1.50
811572027629    Wal‐Mart            PEPSI 440 ML         14      $6.48     1        $6.48
811659038791    Wal‐Mart       RZR BLKWIDOW V3 KB        72     $109.00     2      $218.00
811794929244    Wal‐Mart     FM DSHED TOOL LNG HR        08      $21.05     7      $147.35
811794929251    Wal‐Mart     FM DSHED TOOL SHRT H        08      $12.00     9      $108.00
811794929282    Wal‐Mart      FUR DESHED M/L LONG        08      $33.56     2       $67.12
812303016363    Wal‐Mart      NSW DISNEY CLASSIC G       05      $19.93     2       $39.86
812634001014    Wal‐Mart          NONYX NAIL‐GEL         40      $19.98   449     $8,971.02
812887019200    Wal‐Mart        GOAIR TRWRLS NBL         72      $19.00    1        $19.00
814113011828    Wal‐Mart     ELECTRONIC ENTRY DEA        03      $55.69    4       $222.76
814632013204    Wal‐Mart      BLACK AND DECKER PI5       10      $44.99     1       $44.99
814855025046    Wal‐Mart         RZR KIYO WEBCAM         72      $69.00     2      $138.00
815820021896    Wal‐Mart     QUEST2 STRAP/BATTERY        05     $119.00    1       $119.00
816161015131    Wal‐Mart       DENTAL PROTECTORS         40     $19.00    18       $342.00
816167012325    Wal‐Mart      BOOGIE MIST INHALER        79      $21.99    1        $21.99
817008020349    Wal‐Mart       FEMICLEAR BV 2 DOSE       02     $29.97    70      $2,097.90
818000021051    Wal‐Mart      PS ACNE CLNSR 4.05OZ       46      $10.48    1        $10.48
818145015212    Wal‐Mart      ADVECTA PLUS SM CAT        08      $24.98    3        $74.94
818145015229    Wal‐Mart      ADVECTA PLUS LG CAT        08      $24.98    6       $149.88
818145016813    Wal‐Mart          ADVECTA SM 4PK         08       $8.72    31      $270.32
818145016820    Wal‐Mart          ADVECTA MD 4PK         08      $14.65    10      $146.50
818145016837    Wal‐Mart          ADVECTA LG 4PK         08      $18.14    10      $181.40
818145016844    Wal‐Mart     ADVECTA ULTRA XL DOG        08      $23.37    10      $233.70
818253028067    Wal‐Mart      PS HYDE BLUE RAZ POP       40      $17.98     2       $35.96
818594012411    Wal‐Mart         FF PROSTATE 60CT        40      $24.98    1        $24.98
818594016983    Wal‐Mart      FF LEANFIRE SLM 60CT       40      $17.39    2        $34.78
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819039022637    Wal‐Mart          TILE MATE 2022         87     $17.88    18       $321.84
819444017884    Wal‐Mart        ALPHA BRAIN 30CT         40     $29.98     1       $29.98
820909988229    Wal‐Mart     HT 12V FAST CHARGER         11     $14.97     1        $14.97
824968717912    Wal‐Mart           TICKET TO RIDE        07     $43.97     1       $43.97
827444000324    Wal‐Mart          BLINK CONTACTS         40      $6.54    17       $111.18
829610004860    Wal‐Mart           ROKU STICK 4K         72     $49.00     1        $49.00
829610005249    Wal‐Mart           ROKU ULTRA LT         72     $80.00     1       $80.00
829835000791    Wal‐Mart    AMZ GRASS GRNSPR ANT         40     $21.97     6       $131.82
832492043353    Wal‐Mart      BLUE STOP MAX 16 OZ        40     $23.88    12       $286.56
838766008288    Wal‐Mart     VEGA SPORT PRO CHOC         40     $27.99     2       $55.98
840030701139    Wal‐Mart         TPLINK AX1800 RT        72     $79.00     3       $237.00
840092602252    Wal‐Mart      HR 31PC IMPCT DRIVE        11      $3.00     3        $9.00
840103210063    Wal‐Mart     ROC MC VITC CRM 1.7Z        46      $6.24     8        $49.92
840103210087    Wal‐Mart       ROC MC VITC SRM 1Z        46     $26.97    18       $485.46
840103210155    Wal‐Mart     ROC RETINOL CAP 30CT        46      $6.24    21       $131.04
840103210223    Wal‐Mart       ROC CREPE CRM 1.7Z        46      $6.24     6        $37.44
840103210346    Wal‐Mart    ROC HA CAPSULES 30CT         46      $3.00     53      $159.00
840103210506    Wal‐Mart      ROC FILL HA SRM .34Z       46     $24.94     4       $99.76
840103210513    Wal‐Mart     ROC HYD MST SPF 1.7Z        46     $24.97    32       $799.04
840103210551    Wal‐Mart     ROC DUO EYE CRM 2.3Z        46     $29.97     3       $89.91
840103210681    Wal‐Mart        ROC HA EYE CREAM         46     $21.97     4        $87.88
840103211343    Wal‐Mart       ROC NECK CRM 1.7Z         46     $26.97    119     $3,209.43
840103212135    Wal‐Mart     ROC TONE NT CRM 1.7Z        46      $6.24    18       $112.32
840103212159    Wal‐Mart     ROC TONE EYE CRM .5Z        46     $13.73    13       $178.49
840103212340    Wal‐Mart      ROC TONE HA SRM 1Z         46     $17.48     82     $1,433.36
840103212777    Wal‐Mart       ROC VITC STICK .14Z       46     $26.97     13      $350.61
840103213019    Wal‐Mart      ROC VITCSPF MST 1.7Z       46     $26.97     30      $809.10
840103216294    Wal‐Mart      ROC RETINOL EYE 0.5Z       46     $21.97    23       $505.31
840103280028    Wal‐Mart       ROC MAX HYD 1.7 OZ        46     $26.97    15       $404.55
840103280097    Wal‐Mart      ROC RC MX HA FF 1.7Z       46     $26.97    17       $458.49
840103283210    Wal‐Mart      ROC RTNL NT CRM 1Z         46     $21.97    53      $1,164.41
840103283227    Wal‐Mart           ROC DW FILLER         46     $21.97    56      $1,230.32
840103284446    Wal‐Mart    ROC RTNL WRKL SRM 1Z         46     $21.97    30       $659.10
840103284880    Wal‐Mart    ROC WRNKL MST SPF 1Z         46     $21.97    34       $746.98
840104257494    Wal‐Mart    OB DEF PRO EASTBOUND         87     $91.00     2       $182.00
840266324584    Wal‐Mart     BF WHEY VANILLA 1.8L        40     $22.98     2        $45.96
840317106398    Wal‐Mart    NEW COMFORT L TAPE 1         08     $46.99     10      $469.90
840317106428    Wal‐Mart    FLEXI NEW COMFORT EX         08     $25.98     7       $181.86
840317107753    Wal‐Mart        FLEXI CLASSIC TAPE       08     $62.92    13       $817.96
840797105928    Wal‐Mart         KES BEACH SPRAY         46      $9.00     2       $18.00
840797112209    Wal‐Mart         KES PURPLE COND         46     $12.97     2        $25.94
841058000204    Wal‐Mart       HYDRO SC SENS KIT2        02      $9.97     2        $19.94
841058000235    Wal‐Mart    HYDRO ULT SENS VALPK         02      $9.97     1         $9.97
841058007029    Wal‐Mart       HYDRO SILK RFL 4CT        02     $14.97    12       $179.64
841058007227    Wal‐Mart     HYDR SLK SENSRFL 4CT        02     $14.97     1        $14.97
841058040682    Wal‐Mart     INT NAT SENSSKRFL3CT        02     $13.87     4       $55.48
841058040699    Wal‐Mart      INT NAT SENS 6CT RFL       02     $15.08     6       $90.48
841058040873    Wal‐Mart      INT COC MILK RFL 3CT       02     $13.87     5        $69.35
841058082484    Wal‐Mart       QUATTRO REFILL 4 2        02      $3.00     6        $18.00
841664601024    Wal‐Mart    NEXTSTAR MD DOG 3CT          08     $39.98     1       $39.98
841664601048    Wal‐Mart      NEXTSTAR XL DOG 3CT        08     $39.98     1       $39.98
842595105346    Wal‐Mart     C4 RIPPD SPORT ARCTC        40     $18.69     7       $130.83
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842595119251    Wal‐Mart       C4 12 SER ICY BLURAZ        40     $24.16     29     $700.64
842595119268    Wal‐Mart      C4 12SV STRAW MELON          40     $11.00    12      $132.00
842595125238    Wal‐Mart       C4 S SPORT FRUIT PUN        40      $24.92     4      $99.68
842595125245    Wal‐Mart       C4 S SPORT BLUE RAZZ        40     $24.92     3       $74.76
842595125252    Wal‐Mart      C4 S SPORT WATERMEL          40     $24.92     1       $24.92
842595125269    Wal‐Mart           C4 RIP SPORT ASC        40     $18.71     10     $187.10
842776106131    Wal‐Mart     GOOGLE CHROMECAST 3           72     $19.00      1      $19.00
842978135083    Wal‐Mart               BLACK PS            87      $9.97      1       $9.97
843479124552    Wal‐Mart           SI WINE OPENER          82      $14.98     1      $14.98
843479187632    Wal‐Mart        SI POWERBOOST BLK          40      $75.00     1      $75.00
843992060368    Wal‐Mart     RDKN CE MAG SHAMPOO           46      $13.00    11     $143.00
843992060467    Wal‐Mart         RDKN CE MAG COND          46     $13.00     1       $13.00
850004759196    Wal‐Mart       RC1 TW SR GMY BEAR          40     $34.88     5      $174.40
850007468248    Wal‐Mart      HERO RB RED CORRECT          46     $11.94     3       $35.82
850011058237    Wal‐Mart        ITS A 10 COILY MIRAC       02     $40.00     1       $40.00
850015803345    Wal‐Mart         GEL BLASTER SURGE         09     $49.98     4      $199.92
850018808460    Wal‐Mart       BEURER BC87W WRST           40     $62.00     7      $434.00
850018808590    Wal‐Mart    BEURER BM52W ARM MTR           40     $54.00     2      $108.00
850018808958    Wal‐Mart    BEURER BM69W SMT MTR           40     $68.00     4      $272.00
850019568905    Wal‐Mart      VP COLLAG PWDR 14OZ          40     $31.57      1      $31.57
850021589455    Wal‐Mart          ANTI‐ITCH CREAM          02      $5.21      1       $5.21
850030574060    Wal‐Mart      BEBIRD EAR OTOSCOPE          40     $33.96     1       $33.96
850040296761    Wal‐Mart          SMART OTOSCOPE           40     $38.96     1       $38.96
850093005235    Wal‐Mart     MANE CH CRL SHAMPOO           46      $3.08     1        $3.08
850093005242    Wal‐Mart      MANE CH EZ CRL COND          46      $5.81     3       $17.43
850184008404    Wal‐Mart    QUNOL TURM GUMY 60CT           40     $12.88    11      $141.68
850184008411    Wal‐Mart      QUNOL TURMERIC 30CT          40     $10.88    22      $239.36
850184008428    Wal‐Mart      QUNOL TURMERIC 60CT          40     $19.88    60     $1,192.80
850184008435    Wal‐Mart     QUNOL TURMERIC 120CT          40     $27.97     21     $587.37
850214007193    Wal‐Mart            KARDIAMOBILE           40     $79.00     10     $790.00
850232005089    Wal‐Mart       VITAL COLLAGEN 20OZ         40     $34.98     11     $384.78
850232005096    Wal‐Mart       VITAL COLLAGEN 10OZ         40     $19.98    256    $5,114.88
850232005478    Wal‐Mart          VITAL PROTEINS CP        40     $24.00     10     $240.00
850963006799    Wal‐Mart       DEVACURL STY CREAM          46      $5.00     8       $40.00
851409007363    Wal‐Mart       KERASAL MP NAIL REP         40     $19.86    287    $5,699.82
851409007394    Wal‐Mart     KERASAL FUNG TEATREE          40     $20.96    261    $5,470.56
851557003088    Wal‐Mart     CAMROSE TWIST BUTTER          46     $15.98     14     $223.72
851557003149    Wal‐Mart         CAM ROSE CRL MKR          46     $19.78     56    $1,107.68
851607006427    Wal‐Mart      ANOVA CULINARY SOUS          14     $99.99     1       $99.99
851722007002    Wal‐Mart     ERWX MD KT W RSG BLB          40     $18.97    52      $986.44
851722007132    Wal‐Mart      EAR ITCH MD STHN SPR         40     $17.97    10      $179.70
851722007323    Wal‐Mart      EAR PN MD W 4 LIDCN          40     $18.97     2       $37.94
851770003919    Wal‐Mart            ORGAIN CHO 1           40     $19.98     8      $159.84
851770003926    Wal‐Mart            ORGAIN VAN 1           40     $19.98     1       $19.98
851770007276    Wal‐Mart          ORGAIN COLLAGEN          40     $23.88     6      $143.28
851906007248    Wal‐Mart      FLEX MNSTRL DISC12CT         02     $16.88    11      $185.68
851906007255    Wal‐Mart      FLEX MNSTRL CUP SZ 2         02     $29.98     1       $29.98
851906007262    Wal‐Mart      FLEX MNSTRL CUP SZ 1         02     $29.98     4      $119.92
851959007004    Wal‐Mart       SERICA MOISRURIZING         02     $139.00   140    $19,460.00
852100007003    Wal‐Mart         WW BEARD OIL 2OZ          02      $9.86     5       $49.30
852100007157    Wal‐Mart           BEARD GROWTH            02     $24.97     6      $149.82
852412007586    Wal‐Mart      BRIT2 DUAL ACTIONPEN         02     $19.98      8     $159.84
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852434001036    Wal‐Mart                 M               40      $29.95    5       $149.75
852547004702    Wal‐Mart    BEURER BM26 UPPR ARM         40      $34.97    1        $34.97
852820007604    Wal‐Mart      URX EV TN CLN BAR 2Z       46      $9.16     1        $9.16
852852007542    Wal‐Mart         HATCH REST MINI         79       $9.99    2        $19.98
852852007788    Wal‐Mart          HATCH REST GO          79      $34.98    1        $34.98
854050008987    Wal‐Mart      RYSE PRE SUNNYD STR        40      $34.88    2        $69.76
854102006053    Wal‐Mart      MIELLE BABASSU OIL D       46      $13.33    1        $13.33
854226008506    Wal‐Mart    PHYS CHOICE WMN 30CT         40      $21.97    3        $65.91
854226008513    Wal‐Mart      PHYS CHOICE 60B 30CT       40      $21.97    1        $21.97
855114000992    Wal‐Mart       PRE‐SEED LUBE 1.4OZ       02      $19.96   23       $459.08
855119006029    Wal‐Mart    FOCUS FACTOR GUMMIES         40      $19.98    2        $39.96
855119006067    Wal‐Mart      FOCUS FACTOR EXTRA         40      $24.96    60     $1,497.60
855254007462    Wal‐Mart     GHD PLATINUM PROFES         46     $141.88    1       $141.88
855631006804    Wal‐Mart    MOTOROLA WHOLE HOME          72     $109.00    1       $109.00
856254003003    Wal‐Mart      SPERMCHECK FERTILIT        40     $39.99    25       $999.75
856915005155    Wal‐Mart     MAGIC BULLET BLENDER        14      $39.88    1        $39.88
857074001019    Wal‐Mart      KERASAL FOOT REPAIR        40       $8.84   220     $1,944.80
857074001613    Wal‐Mart           KERASAL NAIL          40      $19.86   390     $7,745.40
857576008189    Wal‐Mart        QUIP TBB PLST MAG        02      $16.97     2       $33.94
857576008295    Wal‐Mart        QUIP TBB PLST BLUE       02      $19.97    3        $59.91
857576008318    Wal‐Mart        QUIP TBB KID PINK        02      $18.48     4       $73.92
857576008332    Wal‐Mart        QUIP TBB KID BLUE        02      $24.97    1        $24.97
857896004106    Wal‐Mart       OLEAVICIN SHINGLES        40      $5.00    107      $535.00
858380002097    Wal‐Mart      AS I AM DBLBTTR CREA       46       $5.29    2        $10.58
858492004224    Wal‐Mart            NAVAGE KIT           82      $30.00    68     $2,040.00
858602004007    Wal‐Mart             EUSTACHI            40      $59.95     2      $119.90
858961001969    Wal‐Mart       TRP NAT EYES DRY PF       40      $8.48     1        $8.48
859529007690    Wal‐Mart       NSW SNOWRUNNER            05      $19.98     1       $19.98
859696007769    Wal‐Mart    WYZE SMRT THERMOSTAT         72     $79.00     1       $79.00
859776000673    Wal‐Mart     CURLS CREME BRULE CR        46      $0.03     1        $0.03
860001380705    Wal‐Mart     DD 24HR BLD SGR 60CT        40      $29.98    1        $29.98
860001380736    Wal‐Mart      DD CARB SGR BLK 45CT       40      $29.98    3        $89.94
861481000350    Wal‐Mart             SNORERX             40      $15.00   18       $270.00
861543000373    Wal‐Mart     LUMINEUX STRIPS 14PK        02      $29.98    38     $1,139.24
883049361161    Wal‐Mart          WATER FILTER 3         11      $57.00    1        $57.00
883049361901    Wal‐Mart          WATER FILTER 1         11      $57.00    2       $114.00
883049375700    Wal‐Mart        KA SPIRALIZER ACC        14      $54.00    3       $162.00
883049439570    Wal‐Mart        KA FRESH PREP ACC        14      $49.97    1        $49.97
883351679749    Wal‐Mart       KWIKST AURA BLU SN        12     $149.00    1       $149.00
883585702534    Wal‐Mart            HP 60 BLACK          72      $25.92    5       $129.60
883585702558    Wal‐Mart            HP 60 COLOR          72      $32.92    3        $98.76
883585702572    Wal‐Mart           HP 60XL BLACK         72      $66.00     2      $132.00
883904346708    Wal‐Mart         JB COL 24 TIT BD        05      $79.96    1        $79.96
883929589036    Wal‐Mart     NSW CARS 3 DRV 2 WIN        05      $19.93     1       $19.93
883929812479    Wal‐Mart       RICK MORTY1‐6 DVD         05     $74.96     1       $74.96
884486235411    Wal‐Mart     CURVACEOUS RINGLET P        46      $19.90    4        $79.60
884486290465    Wal‐Mart     REDKEN‐COLOR EXTEND         46     $21.18    11       $232.98
884962983607    Wal‐Mart            HP 61 BLACK          72      $23.92    11      $263.12
884962983614    Wal‐Mart            HP 61 COLOR          72     $33.92    10       $339.20
884962983621    Wal‐Mart           HP 61XL BLACK         72      $53.00    3       $159.00
885631805961    Wal‐Mart           HP 61 COMBO           72      $55.00    5       $275.00
886111334995    Wal‐Mart       HP 131A MAG TONER         72      $10.00    1        $10.00
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886111601332    Wal‐Mart          HP 932 BLACK           72      $24.89    2        $49.78
886111601387    Wal‐Mart         HP 932XL BLACK          72      $47.92    4       $191.68
886111609673    Wal‐Mart         HP 951 CL MULTI         72      $78.00    7       $546.00
886790018872    Wal‐Mart      BENEFIBER SHAPE 67         40      $18.67    24      $448.08
886790216209    Wal‐Mart     BENEFIBER 62DS PWDR         40      $12.44    10      $124.40
886790218302    Wal‐Mart    BENEFIBER 125DS PWDR         40      $21.83    27      $589.41
886790738954    Wal‐Mart     BENEFIBER CHEWS 100         40      $12.44     2       $24.88
887961971156    Wal‐Mart           HALO VEH 9            07       $6.74    2        $13.48
888182992289    Wal‐Mart          HP 62XL BLACK          72      $51.00     5      $255.00
888182992302    Wal‐Mart         HP 62XL COLOR           72      $53.00   22      $1,166.00
888853000664    Wal‐Mart     DS FUNGAL NAIL REVIT        40      $7.00    51       $357.00
888853002309    Wal‐Mart      DS CUSTM ORTH 120          40      $49.96    20      $999.20
888853002316    Wal‐Mart      DS CUSTM ORTH 130          40      $49.96     1       $49.96
888853002354    Wal‐Mart      DS CUSTM ORTH 310          40      $49.96    1        $49.96
888853002378    Wal‐Mart      DS CUSTM ORTH 330          40      $49.96    1        $49.96
888853002385    Wal‐Mart      DS CUSTM ORTH 340          40      $49.96    2        $99.92
888853002392    Wal‐Mart      DS CUSTM ORTH 410          40      $49.96     2       $99.92
888853002408    Wal‐Mart      DS CUSTM ORTH 420          40      $49.96     3      $149.88
888853002439    Wal‐Mart      DS CUSTM ORTH 440          40      $49.96     4      $199.84
888853003467    Wal‐Mart       DS SKIN TAG RMVR          40      $19.98    41      $819.18
888853590387    Wal‐Mart      DS PLANT FASC WMN          40      $15.54     1       $15.54
888853590486    Wal‐Mart      DS HEAVY DUTY MEN          40      $15.54     2       $31.08
889232600765    Wal‐Mart          CASIO FX‐CG50          03     $100.00     1      $100.00
889232609546    Wal‐Mart        CASIO FX‐9750GIII        03      $59.00     1       $59.00
889232609645    Wal‐Mart      CASIO FX‐300ESPLS2         03      $14.68    2        $29.36
889232615011    Wal‐Mart        FX‐991CW SCI CAL         03      $22.98    4        $91.92
889296267393    Wal‐Mart           HP 63 COLOR           72     $33.92     7       $237.44
889296267416    Wal‐Mart         HP 63XL COLOR           72     $55.00    15       $825.00
889296267430    Wal‐Mart          HP 63 COMBO            72      $55.00    2       $110.00
889296769231    Wal‐Mart      HP 972X ‐ HIGH YIELD       72     $183.73    1       $183.73
889296858096    Wal‐Mart         HP 952XL BLACK          72      $58.00    7       $406.00
889296858133    Wal‐Mart          HP 952XL CYAN          72      $43.92    2        $87.84
889296858140    Wal‐Mart      HP 952XL MAGENTA           72      $43.92     3      $131.76
889296858157    Wal‐Mart        HP 952XL YELLOW          72      $43.92    1        $43.92
889392080254    Wal‐Mart    CS HEAT 14PK STRMANG         95       $8.99     2       $17.98
889476511001    Wal‐Mart    LIPO‐FLAVONOID 100CT         40      $25.87   224     $5,794.88
889476513005    Wal‐Mart       LIPO BALANCE 30CT         40      $19.98    64     $1,278.72
889476513036    Wal‐Mart       LIPO SUPPORT 30CT         40      $19.98   97      $1,938.06
889476516303    Wal‐Mart    LIPO DAY NIGHT COMBO         40      $24.47   228     $5,579.16
889714000038    Wal‐Mart    CWS 3DW PROEFF 20CT          02      $18.37   13       $238.81
889714001882    Wal‐Mart       CR EMUL CNTR 1CT          02      $47.48    3       $142.44
889714002605    Wal‐Mart        CWS BRIGHT 11TR          02      $13.49    2        $26.98
889714002612    Wal‐Mart      CWS SENSITIVE 14TR         02      $29.97    5       $149.85
889714002629    Wal‐Mart     CWS LUMINIOUS 10TR          02      $34.97    4       $139.88
889714002636    Wal‐Mart     CWS PROF BRITE 18TR         02      $39.94    6       $239.64
889714003084    Wal‐Mart      CWS 3DW PEARL 7TR          02      $24.97    8       $199.76
889714003206    Wal‐Mart     CWS‐CWE ULT WHT KIT         02      $69.97    1        $69.97
889894153562    Wal‐Mart         HP 564 CL MULTI         72      $52.00    8       $416.00
889894153623    Wal‐Mart          HP 60 COMBO            72      $56.00    2       $112.00
889894153647    Wal‐Mart         HP 935 CL MULTI         72      $54.00    2       $108.00
889894824646    Wal‐Mart         HP 952 CL MULTI         72      $80.00    8       $640.00
889894900739    Wal‐Mart           HP 65 BLACK           72      $17.92    5        $89.60
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889894900746    Wal‐Mart           HP 65XL COLOR          72     $45.92    26     $1,193.92
889894900753    Wal‐Mart           HP 65XL BLACK          72     $37.92     2        $75.84
889894982810    Wal‐Mart         HP 902XL YELLOW          72     $29.92     1       $29.92
889894982827    Wal‐Mart          HP 902XL BLACK          72     $51.00     7       $357.00
889894999467    Wal‐Mart          HP 902 CL MULTI         72     $44.92     4       $179.68
891038001011    Wal‐Mart             BIO OIL 4.2          02     $21.54     2        $43.08
 891038001028   Wal‐Mart          BIO OIL 6.7 FL OZ       02     $29.97    85     $2,547.45
 893169002998   Wal‐Mart       KT TAPE ORIG BLACK         09     $11.97      2       $23.94
 894047001027   Wal‐Mart     PREVAGEN ES CHW 30CT         40     $59.88    149    $8,922.12
 894047001034   Wal‐Mart     PREVAGEN REGSTR 30CT         40     $39.92    332    $13,253.44
 894047001065   Wal‐Mart       PREVAGEN REG 60CT          40     $69.98     77    $5,388.46
 894047001102   Wal‐Mart      PREVAGEN EXSTR 30CT         40     $60.00    150    $9,000.00
 894047001157   Wal‐Mart      PREVAGEN CHW 30CT           40     $39.92     10      $399.20
895361002400    Wal‐Mart      LIVING PROOF NO FRIZ        02     $25.49    89     $2,268.61
895361002417    Wal‐Mart      LIVING PROOF NO FRIZ        02     $19.00    35       $665.00
898440001165    Wal‐Mart     QUNOL COQ10 ULT 120          40     $29.97     25      $749.25
898440001240    Wal‐Mart      QUNOL COQ10 ULT 60          40     $18.96     42      $796.32
898440001288    Wal‐Mart     QUNOL COQ10 MEGA 60          40     $21.88     34      $743.92
898440001394    Wal‐Mart     QUNOL COQ GUMY 60CT          40     $11.88     3       $35.64
898571000198    Wal‐Mart       IT S A 10 LVINCD 4FO       46      $4.49    10       $44.90
898571000501    Wal‐Mart       ITS A 10 SILK EXPRES       46     $15.64    13       $203.32
899234001088    Wal‐Mart    AMBEREN MENOPAUSE 60          40     $29.97    383    $11,478.51
3600524053352   Wal‐Mart       LOR VIT C SRM 1.01Z        46     $25.97    103    $2,674.91
3600524112073   Wal‐Mart        LOR BR NIA SRM 1Z         46     $29.97     7       $209.79
3606000512153   Wal‐Mart         CERAVE DIAB 8OZ          40      $9.97     3       $29.91
3606000512238   Wal‐Mart       CV FOAM CLNR FF 5Z         46     $14.94     43      $642.42
3606000512276   Wal‐Mart        CV RSF RET SRM 1Z         46     $18.68     7       $130.76
3606000512313   Wal‐Mart      CRV HYD SUNTINT 1.7         02     $13.97     10      $139.70
3606000512351   Wal‐Mart        CV SR VIT C SRM 1Z        46     $23.53    220    $5,176.60
3606000514959   Wal‐Mart       CRV SUN FACE SPF 50        02     $13.97     9       $125.73
3606000527997   Wal‐Mart         CV HYD HA SRM 1Z         46     $19.24    25       $481.00
3606000534674   Wal‐Mart       CV AM MST SPF30 2Z         46     $13.28    10       $132.80
3606000534711   Wal‐Mart           CV PM MST 2Z           46     $11.74     27      $316.98
3606000534759   Wal‐Mart     CV 8OZ MOISTURE CREA         02     $13.52     12      $162.24
3606000535039   Wal‐Mart           CRV SA CREAM           02     $24.82     66    $1,638.12
3606000537316   Wal‐Mart         CV SR RET SRM 1Z         46     $22.68     86    $1,950.48
3606000537439   Wal‐Mart      CV DM PUMP CRM 16Z          46     $16.62     23      $382.26
3606000537453   Wal‐Mart           CV PM MST 3Z           46     $14.92    299    $4,461.08
3606000537460   Wal‐Mart       CV AM MST SPF30 3Z         46     $15.87    233    $3,697.71
3606000537507   Wal‐Mart       CV SR DAY CRM 1.76Z        46     $23.98    279    $6,690.42
3606000537521   Wal‐Mart       CV UT LIT SPF30 1.7Z       46     $16.22    151    $2,449.22
3606000537545   Wal‐Mart      CER PSORIASIS CREAM         02     $21.82    73     $1,592.86
3606000537552   Wal‐Mart           CV SA CLNR 8Z          46     $12.37     6       $74.22
3606000537583   Wal‐Mart           CER SA CREAM           02     $21.82     91    $1,985.62
3606000537606   Wal‐Mart        CV SR NT CRM 1.7Z         46     $17.44    42       $732.48
3606000537613   Wal‐Mart       CV EYE REP CRM 0.5Z        46     $14.44     97    $1,400.68
3606000537620   Wal‐Mart      CER ANTI ITCH CREAM         02     $21.82    252    $5,498.64
3606000537637   Wal‐Mart          CRV ANTI ITCH 8         02     $18.94    103     $1,950.82
3606000537644   Wal‐Mart        CERAVE OINT 12OZ          02     $19.88     59    $1,172.92
3606000537668   Wal‐Mart        CV DM JAR CRM 16Z         46     $14.97    30       $449.10
3606000537699   Wal‐Mart          CV HYD CLNR 12Z         46     $13.68     1       $13.68
3606000537705   Wal‐Mart     CERAVE FOAMING FACIA         46      $3.33     7       $23.31
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3606000537712   Wal‐Mart          CER SA LOTION          02     $17.86    46       $821.56
3606000537729   Wal‐Mart     CRV MOS CREAM 12OZ          02     $14.62    16       $233.92
3606000537736   Wal‐Mart     CRV MOS LOTION 8OZ          02     $13.52     4       $54.08
3606000537743   Wal‐Mart          CV DM LTN 12Z          46     $13.72    25       $343.00
3606000538160   Wal‐Mart        CRV HAND CREAM           02     $10.47     2        $20.94
3606000543935   Wal‐Mart     CER ANTI ITCH CREAM         02     $23.97    92      $2,205.24
3606000544017   Wal‐Mart       CER ANTI ITCH LOT         02     $23.97    79      $1,893.63
3606000559516   Wal‐Mart     CRV ECZ CREAMY OIL 8        02     $15.83     10      $158.30
3606000559998   Wal‐Mart      CV HYD C2F CLNR 12Z        46     $13.66     1        $13.66
3606000560239   Wal‐Mart      CRV BAB LOTION 8OZ         79      $8.97     5        $44.85
3606000560314   Wal‐Mart      CRV BAB CREAM 5OZ          79      $8.97     2        $17.94
3606000576810   Wal‐Mart       CV SR NT SRM 1.7Z         46     $23.86    22       $524.92
3606000576971   Wal‐Mart           CRV GEL 1.7Z          46     $16.18     1       $16.18
3606000608382   Wal‐Mart     CRV CNTRL CLNSR 12Z         46     $16.24     1        $16.24
3606000608405   Wal‐Mart     CRV CNTRL CLNSR 16Z         46     $17.24     5        $86.20
3616300752425   Wal‐Mart    COV SAS BLURRING SRM         46     $14.94     1       $14.94
4902778246092   Wal‐Mart         POSCA 5MM 8CT           19     $19.97     3        $59.91
5000167244861   Wal‐Mart     NO7 R R DAY 1.69FLOZ        46     $24.98     2       $49.96
5000167251043   Wal‐Mart           NO7 RESTOR            46     $69.00     1       $69.00
5000167251098   Wal‐Mart      NO7 LAB LCBS .5FLOZ        46     $29.98     3       $89.94
5000167258134   Wal‐Mart     NO7 LAB FIRM SRM 1Z         46      $3.00     2         $6.00
5000167258141   Wal‐Mart     NO7 LAB DKSPT .5FLOZ        46      $3.00     9       $27.00
5000167266818   Wal‐Mart    NO7 LAB DC MD .5FLOZ         46     $19.98     5       $99.90
5000167269215   Wal‐Mart      NO7 ED DAY 1.6FLOZ         46      $9.34     1        $9.34
5000167271577   Wal‐Mart     NO7 LINE COR SRM .5Z        46     $29.98    11       $329.78
5000167271614   Wal‐Mart      NO7 RTNL NT 1.5 1Z         46      $3.00     2        $6.00
5000167275247   Wal‐Mart      NO7 L L EYECR .5FLOZ       46      $7.19     1        $7.19
5000167277159   Wal‐Mart     NO7 PPIA EYECR.5FLOZ        46     $13.98     2       $27.96
5000167296938   Wal‐Mart     NO7 DRK SPT SRM .5Z         46      $3.00     1        $3.00
5000167303568   Wal‐Mart    NO7 LAB GLYCAC 1FLOZ         46     $18.14     7       $126.98
5000167322491   Wal‐Mart      NO7 P P SPF FF 1.69Z       46     $20.98     9       $188.82
5000167322712   Wal‐Mart      NO7 P P SPF 30 1.69Z       46     $20.98     4        $83.92
5000167322729   Wal‐Mart       NO7 L L SPF30 1.69Z       46     $22.98     2       $45.96
5000167322743   Wal‐Mart      NO7 R R DY SPF 1.69Z       46     $24.98     3       $74.94
5000167322866   Wal‐Mart     NO7 L L NT CRM 1.69Z        46     $22.98     2        $45.96
5000167322903   Wal‐Mart      NO7 TRPL SRM 1.69Z         46     $20.99    41       $860.59
5000167322910   Wal‐Mart     NO7 R R SRM 1.69FLOZ        46      $8.00     3       $24.00
5000167323290   Wal‐Mart    NO7 P PIA NT CM 50ML         46     $20.98     1        $20.98
5000167323306   Wal‐Mart     NO7 R R NT CRM 1.69Z        46     $24.98     3        $74.94
5000167323580   Wal‐Mart     NO7 R R EYE CRM 0.5Z        46      $5.39     4        $21.56
5000167323597   Wal‐Mart      NO7 R R NCK SRM 1Z         46      $9.44    18       $169.92
5000167325911   Wal‐Mart    NO7 RTL NT CRM 1.69Z         46     $26.98    14       $377.72
5000167337105   Wal‐Mart     NO7 RTL EYE CRM 0.5Z        46     $16.98    21       $356.58
5000167343366   Wal‐Mart       NO7 MENO SRM 1Z           46      $7.50    190     $1,425.00
5000167343410   Wal‐Mart    NO7 MENO NT MS 1.69Z         46      $6.50     3        $19.50
5000167343816   Wal‐Mart      NO7 MENO EYE 0.5Z          46      $5.00    16        $80.00
5000167345650   Wal‐Mart    NO7 PUR RT CRM 1.69Z         46     $10.79     33      $356.07
5000167345704   Wal‐Mart    NO7 MENO SPF30 1.69Z         46      $6.50     5        $32.50
5000167347654   Wal‐Mart      NO7 RTNL NT 0.3 1Z         46      $3.00     8        $24.00
5000167354652   Wal‐Mart      NO7 FR SERUM .84 Z         46     $25.98     28      $727.44
5000167354713   Wal‐Mart      NO7 FR EYE SRM .5 Z        46     $17.98    12       $215.76
5000167379211   Wal‐Mart    NO7 FR NIGHT CRM1. Z         46     $25.98    24       $623.52
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5010415236432   Wal‐Mart      TT WEARABLE PUMP           79     $249.00     1       $249.00
5010993736942   Wal‐Mart      GIJ CS FIGURE SCORPI       07     $19.87      1       $19.87
5010993856909   Wal‐Mart    GALACTIC SNCKN GROGU         07      $9.00      7       $63.00
5033102859578   Wal‐Mart    ION MAGNE STRAIG IRO         02     $81.99      1       $81.99
5045096241901   Wal‐Mart       NO7 L L SRM 1FLOZ         46     $11.24      4       $44.96
5045096701030   Wal‐Mart       NO7 R R SRM 1FLOZ         46      $9.44      1        $9.44
5045098012073   Wal‐Mart               NO7               46     $37.00      4       $148.00
6945511943023   Wal‐Mart     GV F‐107 REFRIGERATO        11     $38.00      1       $38.00
9120096770753   Wal‐Mart        POL COLOR600 16          06     $36.98      5       $184.90
                                                                          34598   $894,040.21
                   Case 2:24-cv-00675-RAJ                                      Document 1                     Filed 05/15/24                      Page 96 of 191


Original Search Te Identified by Product Title                                                                                      MSRP (USDAmazon USQty         Price      Extended Retail
    70030014858 CVS              ScarAway Day & Night Scar Treatment Kit ‚Ä¢ 2 CLEAR SILICONE SHEETS & 1 TUBE GEL                      13.99                  2        13.99 $            27.98
   600781006101 CVS              DR Strings PURE BLUES Bass Guitar Strings (PB5‐45)                                                     56.5    33.99         8         56.5 $           452.00
   191518937336 CVS              Basic Decorating Kit by Celebrate It¬Æ                                                                42.98    42.98         2        42.98 $            85.96
   765809149984 CVS              Fuel Filter‐4BBL NAPA/ GOLD FILTERS 3040                                                              18.94                  1        18.94 $            18.94
   754502041657 CVS              Copper Fit unisex adult 1 Pair Socks, Black, Large‐X‐Large US                                         12.99    11.88         4        12.99 $            51.96
    29275002878 CVS              Lewis n Clark Global Travel Plug Adapter includes USB Charger and Travel Case                         12.98                  2        12.98 $            25.96
    13803112962                                                                                                                       239.99    85.14         2       239.99 $           479.98
   658010117951 CVS              Garden Of Life Organic Mykind Women's Once Daily Multi, 72 CT                                         47.62    42.79         2        47.62 $            95.24
   736150167088 CVS              Laura Mercier Flawless Lumi√®re Radiance‐Perfecting Foundation 6N1 Truffle                               49    26.46         1           49 $            49.00
   633911728895 CVS              CHI Keratin Silk Infusion, 6 Fl Oz                                                                    34.36    23.94         4        34.36 $           137.44
   633911744246 CVS              Biosilk Silk Therapy Lite Hair Reconstructing Treatment, 2.26 Ounce                                    14.5    12.12         1         14.5 $            14.50
   642345826398 CVS              One80 LED Headlamp & Belt Light 180Àö Wide Angle, Adjustable Waterproof Headlamp with Spo             64.99                  4        64.99 $           259.96
   611247380086 CVS              Keurig Standalone Frother Works Non‐Dairy Milk, Hot and Cold Frothing, 6 Oz, Black                    79.99    60.98         3        79.99 $           239.97
   687735630148 CVS              Pacifica Beauty French Lilac Rollerball Clean Fragrance Perfume, Made with Natural & Essential O         12    34.92         1           12 $            12.00
    45242516490 CVS              Milwaukee Hole Saw Blades ‐Various Cutter Kits, Dozer Blades, and Accessories                         32.99                  1        32.99 $            32.99
    74312306969 CVS              Nature's Bounty CoQ10 100mg Twin‐Pack Heart Health 120 Softgels Exp 05/2025^ NEW                      19.99                113        19.99 $         2,258.87
   716837872757 CVS              Pepcid AC Original Strength Heartburn Relief Tablets, Prevents & Relieves Heartburn Due to Acid       24.34       28         2        24.34 $            48.68
    39079003544 CVS              Comfort Zone Multi‐Cat Diffuser Refill For Cat & Kittens                                              19.64                 10        19.64 $           196.40
    20373214729 CVS              Calico Critters Tuxedo Cat Family Set of 4 Posable Figures NEW Epoch Kitty                            27.99                  1        27.99 $            27.99
    41260377426 CVS              MAXIMUM STRENGTH PROBIOTIC ‐ 3 BOXES 30 VEG CAPS EACH                                                 21.99                  1        21.99 $            21.99
   633422052717 CVS              Host Defense, Turkey Tail Extract, Natural Immune System and Digestive Support, Mushroom Su           19.95    15.71         1        19.95 $            19.95
   630359838506 CVS              In Clover Connectin Hip and Joint Soft Chew Supplement for Dogs, Combines Glucosamine, Chon           21.99    21.99         1        21.99 $            21.99
    69055824207 CVS              Oral‐B Sensitive Gum Care Extra Soft 3 Brush Heads Total NEW IN BOX                                    12.5                 59         12.5 $           737.50
   765809151772 CVS              NAPA Gold 3274 Fuel Filter                                                                               12       12         1           12 $            12.00
   307667847086 CVS              Nicorette Nicotine Gum to Help Stop Smoking, 4 mg, Original Stop Smoking Aid ‐ 110 Count              73.56    55.99         4        73.56 $           294.24
    27557811729 CVS              Lutron TGCL‐153PH‐IV 150W LED CFL 600W Incandescent Halogen Ivory C L Dimmer NEW                      17.95                  1        17.95 $            17.95
    75609200922 CVS              Olay Collagen Peptide 24 Max Fragrance Free Serum ‐ 1.3 fl oz                                          11.1                 35         11.1 $           388.50
    31604043551 CVS              Nature Made CoQ10 100mg + Black Pepper Extract ‐ 30 Softgels ‐ Exp. 12/2023                            7.99                  5         7.99 $            39.95
   304960584144 CVS              Dermend Specialized Fragile Skin Moisturizing Cream: Formula to Restore & Rejuvenate Mature           28.99     18.6         6        28.99 $           173.94
   673419339285 CVS              LEGO City Stunt Show Truck 60294 Building Kit (420¬†Pieces)                                           69.99    57.99         3        69.99 $           209.97
    75137108257 CVS              Compound W Freeze Off Advanced Wart Remover Accu Freeze 15 Application Exp 2024+                      13.99                  4        13.99 $            55.96
    90800000331 CVS              Herb Pharm SUPER ECHINACEA herbal 1oz tincture Immune Support organic 03/2025                         13.95                  1        13.95 $            13.95
   729849165038 CVS              PetSafe 3 in 1 Harness with Two Point Control Leash, No‐Pull Harness, Medium, Black, Adjustable       49.99    37.95         1        49.99 $            49.99
   719812684697 CVS              OXO Good Grips Chef's Precision Digital Leave‐In Thermometer, Stainless Steel, 1 count                44.95    42.77         1        44.95 $            44.95
    47400668416 CVS              Gillette Venus Extra Smooth Sensitive 5Blades                                                          12.7                  2         12.7 $            25.40
   737257986770 CVS              Dog Boots w Storage Bag, Year‐Round & All Terrain, XSM/SM, New, by Arcadia Trail                      22.45                  2        22.45 $            44.90
    10343835122 CVS              Epson S041464 Premium Photo Paper, 68 lbs., High‐Gloss, 5 x 7 (Pack of 20 Sheets)                      19.3    14.96         1         19.3 $            19.30
    37495137348 CVS              Dorman 13734 Keyless Entry Remote 3 Button for 02‐09 Buick Chevrolet GMC Models                       14.99                  1        14.99 $            14.99
    47400664852 CVS              Gillette Venus Sensitive Smooth 4 Count 3‐Blade Cartridges                                             9.95                  3         9.95 $            29.85
    19954925734 CVS              D'Addario ECB82 Chromes Long Scale Flat Wound Bass Strings Medium 50‐105 NEW                             42                  1           42 $            42.00
    48107185541 CVS              GNC AMP HCl 189, 120 Tablets 60 Servings (Pack of 1)                                                  89.99                  1        89.99 $            89.99
    31604013493 CVS              Nature Made Extra Strength Dosage‐Vitamin C ‐1000mg‐ 125 Tablets EXP 02/26                            15.95                  1        15.95 $            15.95
    79976200509 CVS              Hopkins 20050 LED Breakaway Switch with 7" Wire                                                        13.5                  1         13.5 $            13.50
    19954337612 CVS              D'Addario XSAPB1253 Phosphor Bronze Acoustic Guitar Strings Light 12‐53                               15.99                  7        15.99 $           111.93
    16963077522 CVS              Hampton Bay Wireless Door Bell Push Button, Black HB‐7752‐04                                          17.14                  2        17.14 $            34.28
    47871273171 CVS              Kidde P4010DCS‐W Battery Powered Wire‐Free Interconnected Smoke Alarm ‐ White...                      24.99                  1        24.99 $            24.99
   700304154170 CVS              USAOPOLY Munchkin: Critical Role Card Game | Munchkin Game Featuring Critical Role Mighty N           29.99    24.47         1        29.99 $            29.99
    13803279887 CVS              OB *Components are Clean* Canon 045 Cyan Ink Toner Cartidge (1241C001AA)                              45.94                  1        45.94 $            45.94
    31604027780 CVS              Nature Made Extra Strength Vitamin D3 5000 IU Softgels 90 Softgels Exp6/25 #219                       11.75                  2        11.75 $            23.50
    70018049254 CVS              Nioxin 3 Scalp & Hair Treatment Colored Hair Light Thinning 3.38 oz                                    8.75                  1         8.75 $              8.75
   658010117616 CVS              Garden of Life Organics Plant Calcium Supplement Made from Whole Foods with Magnesium, Vi             65.99       46         9        65.99 $           593.91
   689304186810 CVS              Anastasia Beverly Hills ‐ Matte Lipstick ‐ Royal Red                                                     23       23         1           23 $            23.00
   693749711032 CVS              Thorne Meta‐Balance ‐ Nutritional Support for Women During Menopause ‐ 60 Capsules                       40       40         2           40 $            80.00
    77924052156 CVS              Weber iGrill Mini Digital All Bluetooth Thermometer 2156                                                 22                 17           22 $           374.00
    77924052132 CVS              Weber iGrill 3 Bluetooth Connected Thermometer for Genesis II Genesis II LX NEW                       54.26                  1        54.26 $            54.26
   194251134352 CVS              Nars Explicit Content Climax Mascara Full‐Size Duo Holiday Gift Set                                            45.08         2        45.08 $            90.16
   765809149830 CVS              Napa 3019 Filter FREE Shipping                                                                        11.99                  1        11.99 $            11.99
    45888781252 CVS              Zebra Mildliner Double Ended Markers 18 Pcs Blue New                                                  16.99                  1        16.99 $            16.99
   684088232319 CVS              Sovereign Silver Bio‐Active Silver Hydrosol for Immune Support ‐ Colloidal Silver Liquid ‐ 10 ppm,    24.99    19.94         1        24.99 $            24.99
   189684000794 CVS              6 PC Juki Presser Foot Kit, Invisible, Hem, Bind, Button, Invisible, Embroidery                       22.24                  3        22.24 $            66.72
   720476191315 CVS              Ergodyne Squids 3130M Coiled Cable Tool Lanyard with Dual Stainless Steel Carabiners, 5 Pound         30.85    32.23         1        30.85 $            30.85
    50375016373 CVS              InSinkErator F‐HC3300C Hot / Cold Water Dispenser ‐Chrome(Tank SOLD SEPARATELY)                         250                  1         250 $            250.00
    75020100719 CVS              Philips Sonicare 2100 Rechargeable Electric Toothbrush White, 2 Brushes READ #P1                      18.95                 10        18.95 $           189.50
    37000244639 CVS              Align Probiotic Supplement Capsule ‐ 49 Count 10/25                                                   17.05                  7        17.05 $           119.35
    33674103371 CVS              Nature's Way Fortify Optima Daily Probiotic, 6 Probiotic Strains, 30 Veg. Caps                        14.99                  1        14.99 $            14.99
   757456080239 CVS              La Crosse Technology S84107‐INT Color Forecast Station, Black                                         75.95    56.33         4        75.95 $           303.80
    20335061903 CVS              Fiskars Built to DIY Precision Hand Saw 7" (132200)                                                   17.95                  3        17.95 $            53.85
    39800911575 CVS              2 Pack Energizer Ultimate Lithium 9v (2‐ 9v batteries Total) New Sealed 12/2032                       14.95                  7        14.95 $           104.65
   673914020015 CVS              Eau Thermale Av√®ne Mineral High Protection Honey Tinted Compact, Broad Spectrum SPF 50 ‐                42                  6           42 $           252.00
    46677603533 CVS              Wiz 6.6 Ft. L. Plug‐In White 2700K to 6500K LED Strip Starter Kit #3533                               18.99                 13        18.99 $           246.87
   697285503700 CVS              SharkBite 2 Port Hydronic Heating Manifold 1‚Äù SWT X 1/2‚Äù PEX Model 831068                         31.99                  1        31.99 $            31.99
   727783003157 CVS              New Chapter Advanced Perfect Prenatal Vitamins, 48ct, Made with Organic, Non‐GMO Ingredien            28.95    27.85         5        28.95 $           144.75
   727783003119 CVS              New Chapter Women's Multivitamin 40+ Advanced Formula for Heart, Hormone, Immune & Ene                79.75    44.86         2        79.75 $           159.50
   670367013212 CVS              Peter Thomas Roth | Retinol Fusion PM Night Serum | Hydrating Retinol Facial Serum, 1.5% Micr            65       65         1           65 $            65.00
   761712021393 CVS              Butt Lifter Waist Trainer Weight Loss Body Shapewear High Waist Shaper Women                          10.36                  1        10.36 $            10.36
    74312011634 CVS              Nature‚Äôs Bounty Anxiety Stress Relief Ashwagandha KSM 66 90 Tablets Exp 10/24                       30.85                  1        30.85 $            30.85
    15561104432 CVS              FLUVAL 207 PERFORMANCE CANISTER FILTER ‐ UP TO 45 GALLON NEW FREESHIP !!                             128.98                  3       128.98 $           386.94
    44902016714 CVS              SOUNDLOGIC XT RECHARGEABLE PORTABLE 2200 mAh POWER CELL                                                8.88                  1         8.88 $              8.88
   660685140141 CVS              Canon PGI‐270/CLI‐271 Photo Paper Combo Pack Compatible to MG6820, MG6821, MG6822, MG                 63.99    49.99         3        63.99 $           191.97
    76174775877 CVS              Stanley 3/4‚Äù Depth Stud Sensor Finder with Light Indicator STHT77587                                 15.9                  3         15.9 $            47.70
   184560000059 CVS              Mixed Chicks by Mixed Chicks                                                                           9.99     9.99         2         9.99 $            19.98
   697285505629 CVS              SharkBite 1" x 1" Water Filter Installation Kit CPVC Copper Pipe Push‐Fit #25562                      19.95                  3        19.95 $            59.85
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 45564606022 CVS   Husky 1/4‚Äù Hose Repair Kit 685 858. FREE SHIPPING !!!!!!!                                              9.97               3     9.97 $    29.91
743921101110 CVS   Gingher Inc, 10" (01‐005285)                                                                            48.99      58.81    2    48.99 $    97.98
687735630124 CVS   Pacifica Beauty Indian Coconut Nectar Rollerball Clean Fragrance Perfume, Made with Natural &              12      24.99    8       12 $    96.00
733175562492 CVS   Rockler Extra‐Long Quadrant Hinge Router Bit                                                            27.99      39.98    2    27.99 $    55.98
 21496022116 CVS   Pennington Aquagarden 200 Inpond 5 in 1, Pond & Water Pump, Filter, UV M                                97.48               1    97.48 $    97.48
631656608809 CVS   Weight Loss Pills for Women & Men Hydroxycut Non Stimulant Pro Clinical Non Stim Weight Loss            19.99      19.99    2    19.99 $    39.98
751063402309 CVS   Gaia Herbs Pro Holy Basil Leaf ‐ Stress Support Supplement with Holy Basil ‐ Herbal Supplements         28.12      28.12    2    28.12 $    56.24
 15561143257 CVS   Fluval Sea PS 1 Protein Skimmer ‐ 4 Watt ‐ Brand New                                                    64.95               2    64.95 $   129.90
729238103665 CVS   Shiseido White Lucent Anti‐Dark Circles Eye Cream ‐ 15 mL ‐ Targets & Prevents Dark Circles ‐ No           65        65     1       65 $    65.00
 61998619605 CVS   Adult's Probiotic, 17 Billion Cells, 60 Capsules                                                        33.81               2    33.81 $    67.62
681168334024 CVS   SeroVital BR141178 Vitamin Capsule (84 Count) NIB EXP 1/26                                              29.99               3    29.99 $    89.97
762111508744 CVS   Starbucks Cold Cup Tumbler Venti 24 oz Summer 2022 (Watermelon Pink Purple Gradient)                    37.99        34     1    37.99 $    37.99
605592005718 CVS   Nexxus Clean and Pure Clarifying Shampoo With ProteinFusion, For Nourished Hair Paraben‐Free            15.99        13     5    15.99 $    79.95
 69055126509 CVS   Oral‐B Gum Care 3 pack Replacement Brush Heads                                                          10.95              13    10.95 $   142.35
630359003409 CVS   InClover Connectin Hip and Joint Supplement for Dogs. Combines Glucosamine, Chondroitin and             48.99      48.99    7    48.99 $   342.93
689304860079 CVS   Anastasia Beverly Hills ‐ Brow Wiz ‐ Soft Brown                                                            25         25    1       25 $    25.00
 51138542528                                                                                                               47.57               2    47.57 $    95.14
 72512266168 CVS   Pentel Arts Watercolor Pencil Set ‐ Assorted Colors ‐ 36 Pack                                            19.2              13     19.2 $   249.60
 92926001605 CVS   Honeywell True HEPA Tower Air Purifier with Allergen Remover ‐ Black (HPA160)                           79.99               1    79.99 $    79.99
 33991073517 CVS   Scosche 200W Portable Power Inverter                                                                    22.82               1    22.82 $    22.82
 15561104401 CVS   NEW Fluval 107 External Performance Canister Filter 10‐30 Gallons                                      122.65               3   122.65 $   367.95
 46677542962 CVS   Philips 542968 LED Bulb A19 E26 (Medium) Daylight 7 ‐ 4 BULBS EACH BOX                                  14.99               1    14.99 $    14.99
 31604043094 CVS   Nature Made CoQ10 100 mg 120 Softgels 12/2025 New                                                       16.89              11    16.89 $   185.79
723122907025                                                                                                                11.3               2     11.3 $    22.60
371730001255 CVS   hers ‚Ä¢ Desire ‚Ä¢ Libido Supplement ‚Ä¢ 60 CAPSULES EXP : 04/2024                                     14.98               1    14.98 $    14.98
658010112369 CVS   Garden of Life 21 Powerful Digestive Enzymes with Papain, Bromelain, Lipase, Ginger, Turmeric f         49.69       43.5   14    49.69 $   695.66
 39564505829 CVS   Mechanics M582DB Air Grease Gun 4500‐6000 PSI                                                           29.97               1    29.97 $    29.97
671090010295 CVS   Woodford 19CP‐6 Model 19 Wall Faucet, 6‐Inch, CP Inlet                                                   52.1       65.5    3     52.1 $   156.30
689304000123 CVS   Anastasia Beverly Hills ‐ Iced Out Highlighter                                                                       34     1       34 $    34.00
687735302137 CVS   Pacifica Beauty Dark Circle Rehab Concealers, 0.22 Ounce                                                 13.99              4    13.99 $    55.96
 41333030326 CVS   Duracell Alkaline AA Battery Single Use Batteries Coppertop Duralock Power 18 pk                         18.65              1    18.65 $    18.65
 48107226961 CVS   GNC Mega Men 50 Plus Vitapak 30 Packs (EXP:01/2024)                                                       41.9              1     41.9 $    41.90
 88381851756 CVS   MAKITA 18V LXT Sub‚ÄëCompact Brushless Cordless Reciprocating Saw (Tool‐Only)                             109               1     109 $    109.00
 94922372116 CVS   ResVitale Collagen Enhance Anti Aging Skin Care Collagen 1000mg 60ct Exp 1/25                               30              1       30 $    30.00
 31604018948 CVS   Nature Made CoQ10, 100 mg, 40 Softgels Dietary Supplement EXP 6/25                                       10.75              6    10.75 $    64.50
 45242571062 CVS   Milwaukee 49‐25‐1263 OPEN‐LOK 1‐3/4 in. Titanium Enhanced Bi‐Metal Metal Blade 3                         16.95             12    16.95 $   203.40
670367008775 CVS   Peter Thomas Roth | Potent‐C Power Serum | Brightening Vitamin C Serum for Fine Lines, Wrink              105       105     7     105 $    735.00
673419355599                                                                                                                          41.93    1    41.93 $    41.93
 13964127430 CVS   Mad Hippie Natural Cream 0.5oz Expires 02/2025                                                           14.99              1    14.99 $    14.99
622356569705 CVS   Ninja CFP301 DualBrew Pro Specialty 12‐Cup Drip Maker with Glass Carafe, Single‐Serve Grounds           229.99      208     1   229.99 $   229.99
370030623129 CVS   Up&up Nicotine Polacrilex 72 Lozenges 4mg Cherry                                                             29             2       29 $    58.00
 20714985417 CVS   Clinique Smart Clinical MD Multi‐Dimensional Age Transformer 1.7oz/50ml NIB                              22.99              1    22.99 $    22.99
762111558961 CVS   Starbucks Dusty Rose Pink Shimmer Shell Mermaid Scales Cold Cup Tumbler 24 oz Venti                      59.99     28.35    4    59.99 $   239.96
 70907070994 CVS   LifeStyles SKYN Vibes Personal Body Massager Purple                                                      14.99              1    14.99 $    14.99
644323999377                                                                                                                59.95              1    59.95 $    59.95
 31604017170 CVS   Vitamin C 500mg Immune System and Skin Health Antioxidant Support 100ct **NEW**                          12.99             10    12.99 $   129.90
736150041937 CVS   Laura Mercier Tinted Moisturizer Oil Free, Walnut, 1.7 oz                                                    42            10       42 $   420.00
765809151925 CVS   3291 Napa Gold Fuel Filter                                                                                   21      21     1       21 $    21.00
736150156983 CVS   Laura Mercier Flawless Fusion Ultra‐Longwear Foundation, TrufFle, 1 Fl Oz                                    49     43.2    1       49 $    49.00
 47888098750 CVS   Phifer Screen Spline Roller Tool Window Screen w/ Convex & Concave Wheels Blue                             7.99             1     7.99 $     7.99
692042007033 CVS   Kobalt 1/2‐in 24‐Volt Max‐Volt Lithium Ion (Li‐ion) Variable Speed Brushless Cordless Hammer Drill Bare Too        92.99    1    92.99 $    92.99
 75020096180 CVS   Philips Sonicare A3 Premium All‐in‐One Sonic Toothbrush Replacement Heads ‐ 2...                         24.99              5    24.99 $   124.95
 26508278864 CVS   MOEN Essie 87014EWSRS Touchless Pull‐Down Sprayer Faucet Stainless *NO HEAD*                             94.95              1    94.95 $    94.95
 94925006131 CVS   Connecticut Electric UBIF‐250N ‐ 50AMP Double Pole Thick Circuit Breaker                                 24.99              1    24.99 $    24.99
635901206154 CVS   Woof Wear Medical Hoof Boot 3                                                                            74.95     74.95    1    74.95 $    74.95
 72512101346 CVS   Pentel Arts Color Pen, 12‐Color Set (S360‐12)                                                            12.85              1    12.85 $    12.85
316864000323 CVS   Kerasal Athlete's Medicated Foot Soak, Bath for 5‐in‐1 Rapid Symptom Relief, 12 Count, (Pack of          15.99     15.46    5    15.99 $    79.95
 71701002389 CVS   DYMO Standard D1 Self‐Adhesive Polyester Tape for Label Makers, 1926208 2 pack                           11.75              1    11.75 $    11.75
651986010912 CVS   Too Faced Brow Wig Brush on Eyebrow Gel Espresso                                                             25     24.5    1       25 $    25.00
 31604014865 CVS   Nature Made C 500 MG Supplement 250 Tablets Exp 2024                                                     11.88              6    11.88 $    71.28
381519078149 CVS   SK‐II SKINPOWER Cream, 2.7 Ounce                                                                           235      225     2     235 $    470.00
 42526931000 CVS   Irwin Tools 1901005 Marples Roundover Bit 3/16"                                                            21.9             3     21.9 $    65.70
 15905062534 CVS   AQUEON PRESET HEATER 150w                                                                                15.99              1    15.99 $    15.99
 19954911263 CVS   D'Addario Kaplan Amo Violin String Set 4/4 Scale Medium Tension KA310                                      73.5             1     73.5 $    73.50
751063150279 CVS   Gaia Herbs Turmeric Supreme Joint Health ‐ Joint Support Supplement ‐ with Quercetin,Black Pe            46.66     46.61    5    46.66 $   233.30
 73796266356 CVS   Omron 7 Series BP6350 Upper Arm Blood Pressure Monitor #574F                                             28.95              7    28.95 $   202.65
 33674149287 CVS   Nature's Way Alive! Multi‐Vitamin 180ct Exp2024+ #9287                                                   29.95              2    29.95 $    59.90
 17801145298 CVS   Feit Electric LED Dimmable A 19 60 Watt Bulb                                                               7.77             1     7.77 $     7.77
 15794013150 CVS   L‐Lysine, Advanced, 1,500 mg, 180 Vegan Capsules (500 mg per Capsule)                                    18.89              2    18.89 $    37.78
689304181754 CVS   Anastasia Beverly Hills ‐ Matte Lipstick ‐ Sweet Pea                                                         18             1       18 $    18.00
 29517103028 CVS   Nesco FD‐61 Snackmaster Encore Food Dehydrator for Great Jerky and Snacks, 4 Trays, Gray                 79.99     79.99    1    79.99 $    79.99
 45242591466 CVS   Milwaukee ‐ 5 Pk Sawzall TORCH 48‐00‐5787 9‚Äù 14 TPI Medium Metal #1466                                   17.5             1     17.5 $    17.50
723122190113 CVS   MagniLife Pain Relieving Foot Spray, Natural Pain Relief for Burning, Tingling or Sensitivity in Feet and Legs ‐   16.98    5    16.98 $    84.90
658010124300 CVS   Garden of Life Dr. Formulated Probiotics Platinum Series Liver Health+ 90 Billion CFU Guaranteed         54.99        80    2    54.99 $   109.98
 46677603441 CVS   WiZ A19 White & Color Changing Wi‐Fi Smart LED Light Bulb (e8‐1)                                             12             1       12 $    12.00
 20714668808 CVS   Clinique Chubby Stick Cheek Color Balm Heafty Highlight                                                      20             3       20 $    60.00
733739047892 CVS   NOW Supplements, Lion's Mane 500 mg, Super Mushroom, Made with Organic Lion's Mane Mus                   25.99     28.77    1    25.99 $    25.99
 38100195494 CVS   Purina Pro Plan Veterinary Supplements Calming Care For Cats, 30pk                                       24.99              5    24.99 $   124.95
742366987402 CVS   Nashua Tape 1.89 in. x 33.9 yd. Foilmastic Sealant Duct Tape, Metallics                                  33.33              2    33.33 $    66.66
 93573699955 CVS   Cricutjoy Blade and Housing; g28                                                                           8.99             2     8.99 $    17.98
 20335901339 CVS   Fiskars Clear Stamps ‐ Scandinavian Garden #30 by Lia Griffith                                             7.99             2     7.99 $    15.98
364760725017 CVS   Eau Thermale Avene Solarie UV Mineral Multi‐Defense Tinted Sunscreen Fluid, Clean Formula Su                 36      36    15       36 $   540.00
 32309001310 CVS   Metal Earth ICONX Premium Series Star Wars Mandalorian The Child 3D Model Kit                            12.99              2    12.99 $    25.98
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633422477718 CVS   Host Defense, Turkey Tail Mushroom Powder, Supports Immune Health, Mushroom Supplement                29.95    23.96    1    29.95 $      29.95
 10536001754 CVS   Putco Metal LED 360 Degree Switch Back White DRL/Amber Flashing Turn Signal 3157                      60.99             1    60.99 $      60.99
 75691005122 CVS   Singer ProSeries 10" Forged Tailor Scissors ‐ Black 00512                                             22.99             1    22.99 $      22.99
680474612499 CVS   Second Generation FIT (Fecal Immunochemical Test) for Colorectal Cancer (2)                           35.99    31.99    1    35.99 $      35.99
724089202246 CVS   Advantage II Large Cat Vet‐Recommended Flea Treatment & Prevention | Cats Over 9 lbs. | 4‐Mo          57.58    47.52    1    57.58 $      57.58
670367935309 CVS   Peter Thomas Roth | Firmx Collagen Serum Face Serum With Collagen | Collagen Serum, Firming              99       99    2       99 $     198.00
 12502666721 CVS   Brother P‐Touch D460BT Connected Label Printer w/ Bluetooth                                           69.99             1    69.99 $      69.99
 89601251806 CVS   Spectre Performance 2518 Fuel Pressure Regulator, Inline, 1‐4 PSI NEW Open Box                        27.99             1    27.99 $      27.99
631257121240 CVS   Renew Life Probiotic Colon Care Probiotic Capsules, Daily Supplement Offers Colon Support, L. R       89.99    54.89    7    89.99 $     629.93
755970750331 CVS   Nutramax Laboratories Proviable Digestive Health Supplement Multi‐Strain Probiotics and Prebio        32.99    32.99   13    32.99 $     428.87
381372023027 CVS   Aveeno Calm + Restore Age Renewal Anti‐Aging Eye Gel, Under Eye Cream with Nourishing Oat &           26.69    21.96    2    26.69 $      53.38
633472002953 CVS   Clearblue Digital Pregnancy Test with Smart Countdown for women, 3 Count (Pack of 1)                  15.99            20    15.99 $     319.80
651986410507 CVS   Too Faced Born This Way The Natural Nudes Eyeshadow Palette                                              41     23.9    2       41 $      82.00
311917220529 CVS   Walgreens Pulse Oximeter ChoiceMMed Portable Fingertip Pulse Rate Tested NEW                          14.99             1    14.99 $      14.99
729849173385 CVS   Kurgo Journey Air Harness, Coral, M                                                                   42.99    39.95    1    42.99 $      42.99
716415220024 CVS   HHA Optimizer Lite X Sight                                                                           141.87             1   141.87 $     141.87
651986008131 CVS   Too Faced Plumped in Paris Lip Plumper Trio:: Travel‐Sized Lip Injection Maximum Plump in Origi       34.99    34.99    2    34.99 $      69.98
737257986787 CVS   Arcadia Trail Waterproof Adjustable Car Seat Cover 56 in L X 55 in W ‐ NEW                            54.95             2    54.95 $     109.90
 51131201637 CVS   Futuro Anti‐Embolism Knee Length Closed Toe Stockings Large White Moderate, Pack                       8.87             1     8.87 $       8.87
 48107173715 CVS   Essential Vitals Probiotic Multi Strain Complex delay release 30 caps 10/23 #M                        15.49             2    15.49 $      30.98
 27557631501 CVS   Lutron Maestro MA‐600‐IV, 120V, 600W Incandescent/Halogen Dimmer, Ivory                                13.5             1     13.5 $      13.50
740275053966 CVS   Calming Heat XXL‐Wide Massaging Weighted Heating Pad by Sharper Image‐ Electric Heating Pad with Mass          89.99    1    89.99 $      89.99
658010115650 CVS   Garden of Life ‐ RAW Probiotics Men ‐ 90 Vegetarian Capsules                                          52.45       39    7    52.45 $     367.15
752830761285 CVS   Tatcha The Essence | Oil‐Free Moisturizing and Skin Softening Serum Infused with Green Tea | 1         110              1     110 $      110.00
 75609199394 CVS   Olay Eyes Retinol 24 Max Night Eye Cream ‐ 0.5 fl oz New                                              14.85             1    14.85 $      14.85
 39897244419 CVS   Master Chief Light Up Helmet Costume Accessory Kids HALO Halloween                                    50.17             1    50.17 $      50.17
646630900015                                                                                                                45             1       45 $      45.00
756677590893 CVS   Delfanti Milano ‚Ä¢ RETINOL PRO‐ADVANCE NIGHT CREAM ‚Ä¢ with dead sea minerals and vitamin B ‚Ä¢ Ma            13.89    3    13.89 $      41.67
 20714653651 CVS   Clinique Acne Solution Clinical Clearing Gel .5 OZ                                                     21.9             1     21.9 $      21.90
717334017788 CVS   Origins Eye Doctor Moisture Care for Skin Around Eyes, 0.5 Fl Oz                                      53.62    34.46    1    53.62 $      53.62
 16118056556 CVS   Reese Towpower model ‐ 20111 Fifth Wheel Adapter Harness #6556                                        59.99             1    59.99 $      59.99
 31604029159 CVS   Nature Made Fish Oil Burp‐less Ultra Omega 3 1400 Mg 90 Ct. 03/2024+ #9159                            15.99            34    15.99 $     543.66
 97855151667 CVS   Logitech ERGO K860 Wireless Keyboard ‐ Black                                                          80.88             1    80.88 $      80.88
643334575044 CVS   Type S Blue Micro Light Kit                                                                           29.99             1    29.99 $      29.99
739268355514 CVS   TOTO TLK01401U Bath Faucets and Accessories                                                           1048    671.39    1    1048 $    1,048.00
 40102643156 CVS   Andis CeramicEdge Detachable Blade ‐ Size 10, Silver                                                  21.49             1    21.49 $      21.49
 15561104494 CVS   Fluval A449 100gal Perfomance Canister Filter ‐ Black. Open BOX üì¶, NEW.                            139.99             2   139.99 $     279.98
 39079003575 CVS   Comfort Zone Calming Diffuser Refills ‐ Pack of 3                                                     33.33             7    33.33 $     233.31
 51494102671 CVS   MegaFood Women's 40+ One Daily Multi Vitamin *LARGER 90 Tablets Best by 3/24                           29.5             4     29.5 $     118.00
 11499036807 CVS   ImpressArt Melody Uppercase Letter Metal Stamps, 33 Pcs, 3MM ‐ NEW                                    59.95             3    59.95 $     179.85
 10343876101 CVS   Genuine OEM Epson 127 XL Black Ink Cartridges Twin Pack T127120‐D2 Exp 02/2022                        39.75             2    39.75 $      79.50
 87547556214 CVS   HP Original Ink Cartridge *Select* *READ DESC*                                                        15.99            10    15.99 $     159.90
 11499050896 CVS   ImpressArt Austin 3mm Uppercase Metal Stamp 33pc ‐ NEW                                                34.95             3    34.95 $     104.85
672555176556 CVS   Cricket Centrix Roc‐It Dog R 500 5‚Äù Professional Stylist Barber Hair Cutting Shear Precision Cast    135      135     1     135 $      135.00
658010112352 CVS   Garden of Life Primal Defense Ultra Ultimate Probiotic Formula ‐ 15 Billion CFU and 13 Strains of     54.02    41.87    3    54.02 $     162.06
687735250001 CVS   Pacifica Himalayan Patchouli Berry Perfume Spray 1 oz Women                                              22    35.79    6       22 $     132.00
733739029638 CVS   NOW Supplements, Super Enzymes, Formulated with Bromelain, Ox Bile, Pancreatin and Papain,            23.99    15.95    1    23.99 $      23.99
 74299196263 CVS   Coca‐Cola Picnic Barbie Doll 1997 Mattel #19626 NEW IN BOX                                            13.83             1    13.83 $      13.83
633422038513 CVS   Host Defense, Breathe Capsules, Respiratory Support, Mushroom Supplement with Cordyceps, R            19.95    15.71    1    19.95 $      19.95
731124000088 CVS   Biofreeze Pain Reliever Gel for Muscle, Joint, Arthritis, & Back Pain, Cooling Topical Analgesic, NS  23.48    32.55   29    23.48 $     680.92
 33991026308 CVS   Scosche myTREK Wireless Pulse Monitor                                                                  8.99             1     8.99 $       8.99
 94664033306 CVS   Nite Ize Steelie Compact Magnetic Car Vent Mount Key Ring #306                                        17.75             2    17.75 $      35.50
732212170850 CVS   Janome HA 15X1 Standard Assorted Needles                                                               5.95             1     5.95 $       5.95
727783902375 CVS   New Chapter Vegan Elderberry Capsules, Elderberry Force, with 64x Concentrated Black Elderbe          22.99    29.95    2    22.99 $      45.98
309975420180 CVS   Revlon Gold Series Slant and Point Tip Tweezer, Titanium Coated for Maximum Durability                12.99    19.75    1    12.99 $      12.99
687735303950 CVS   Pacifica Cherry Bomb Cherry Cheek Powders Women 0.5 oz                                                            49    1       49 $      49.00
658010113687 CVS   Garden of Life Vitamin Code Whole Food Multivitamin for Men, Fruit & Veggie Blend and Probiot         44.99    28.95   11    44.99 $     494.89
666151111738 CVS   Dermalogica Hydro Masque Exfoliant (1.7 Fl Oz) Hydrating and Exfoliating Face Masque ‐ Smooth            64       64    4       64 $     256.00
 26635361491 CVS   Despicable Me Minion Made Party Balloon Bouquet 5 Pieces                                              10.98             1    10.98 $      10.98
 19934876087 CVS   Project Source Dover Bathroom Faucet Set Brushed Nickel 2‐handle Mid‐arc                              41.35             1    41.35 $      41.35
 80798415583 CVS   SOLARAY BLUETOOTH KARAOKE WIRELESS GOLD TONED MICROPHONE W/ SPEAKER & CABLES                          29.98             3    29.98 $      89.94
190623000034 CVS   Activate II Flea and Tick Prevention for Dogs | 4 Count | Extra Large Dogs 55+ lbs | Topical Drops    35.99    26.97    6    35.99 $     215.94
 73577149038 CVS   Ipoint Evolution Titanium Bonded Pencil Sharpener Assorted Colors                                     13.83             1    13.83 $      13.83
 32929438558 CVS   DATAPRODUCTS CANON COMPATIBLE INKJET CARTRIDGE PGI‐280XL/CLI‐281XL MULTI PACK                          7.49             3     7.49 $      22.47
 13803289145 CVS   Genuine OEM Canon 052 Black Toner Cartridge 2199C001                                                  44.99             2    44.99 $      89.98
 15718537304 CVS   Ocusoft Oust Demodex Eyelid Cleanser Tea Tree Oil Calming Oil 30 CT Exp 2024+                         18.49             4    18.49 $      73.96
 43156195145 CVS   NEW Schlage J170‐SOL Solstice Non‐Turning One‐Sided Dummy Door Lever                                   9.99             7     9.99 $      69.93
705928603691 CVS   NeilMed Eustachi‐Eustachian Tube Exercise‐Pop Blocked Ears Safely. Helps Relieve Ear Pressure         59.99      44     3    59.99 $     179.97
 48107165659 CVS   GNC TriFlex Supplement, 120 Tablets, Joint Support, Expires 05/25                                     36.99             8    36.99 $     295.92
194251006895 CVS   Nars Air Matte Blush Orgasm ‐ Full Size                                                                         27.2    1     27.2 $      27.20
 13803279962 CVS   Genuine Canon Toner Cartridge 046 Cyan 1249C002 for LBP65C Series                                     59.95             2    59.95 $     119.90
729849142886 CVS   PetSafe Stay & Play Wireless Pet Fence Receiver Collar Only for Dogs and Cats, Waterproof and R 199.99        159.95    1   199.99 $     199.99
737257806207 CVS   Halti Training Head Collar Xsmall                                                                     16.99    22.98    3    16.99 $      50.97
 33287190607 CVS   OPEN BOX ‐ RYOBI PSIB01K 18v Compact Brushless 1/4" Impact Driver Kit(TOOL ONLY)                      50.99             1    50.99 $      50.99
740617297973 CVS   Kingston 64GB SDXC Canvas Select Plus 100MB/s Read Class 10 UHS‐I U1 V10 Memory Card (SDS             11.99    12.19    1    11.99 $      11.99
736658576740 CVS   BIO IONIC Onepass Styling Iron, 1.5 Inch                                                               199      199     2     199 $      398.00
 74108461933 CVS   BabylissPRO Titanium 1 1/4 in Ultrasonic Cool Mist Iron                                               49.99             1    49.99 $      49.99
 47569838033 CVS   Square D QO230 Snap In 2 Pole 30 Amp Circuit Breaker 120/240V Quick Trip Action                          20            12       20 $     240.00
 15561143486 CVS   FLUVAL SEA CP4 CIRCULATION PUMP ‐ 7 WATT ‐ 1375                                                       33.16             6    33.16 $     198.96
 19954902315 CVS   D'Addario EFX170‐5 5‐String FlexSteels Bass Guitar Strings Light, 45‐130, Long                        73.58             1    73.58 $      73.58
748960262792 CVS   Ruffwear, Front Range Dog Day Pack, Backpack with Handle for Hikes & Day Trips, Blue Moon, Sm         79.95    79.95    1    79.95 $      79.95
727072405129 CVS   Sulky Super Solvy Water Soluble Roll stabilizer, 12" x 9 yd, 12" x9yd                                 26.99    30.74    4    26.99 $     107.96
 78477706848 CVS   Leviton GFTR1‐03T Light Almond 15 A Tamper Resistant Receptacle                                          14             2       14 $      28.00
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 11499047094 CVS   ImpressArt Basic Stamping Kit BKIT1                                                                    29.99             2    29.99 $      59.98
 71649312694 CVS   MASTER LOCK 5420D LOCK BOX RESETTABLE COMBINATION DIALS ADJUSTABLE SHACKLE                             27.88            17    27.88 $     473.96
751063996686 CVS   Gaia Herbs Adrenal Health Daily Support ‐ with Ashwagandha, Holy Basil & Schisandra ‐ Herbal S          47.8     47.8    1     47.8 $      47.80
 29275007866 CVS   Lewis N Clark EK121 Dual Converter Kit Set Of 5                                                          8.4             6      8.4 $      50.40
605069065344 CVS   Himalaya Hello Energy Herbal Supplement with Ashwagandha, Amla, Haritaki, Daily Energy Supp            25.99    21.49    3    25.99 $      77.97
608940558089 CVS   Vince Camuto Amore Eau de Parfum Rollerball for Women, 0.2 Fl Oz                                          25       25    2       25 $      50.00
 92644328084 CVS   Klein Tools 32807MAG 7‐in‐1 Multi‐Bit Screwdriver / Nut Driver, Magnetic                                  31             5       31 $     155.00
 68958207261 CVS   Natural Factors Ubiquinol Active CoQ10 100mg 60 Softgels Sealed EXP 08/2025                            27.98             3    27.98 $      83.94
 43168243537 CVS   GE 24353 Decorative Soft White 60w / 6.5w LED Dimmable Bulb 2‐Pack                                      6.49            24     6.49 $     155.76
 78477714119 CVS   Leviton GFCI Outlet Duplex Receptacle 15A 125V , Lot of 2 with covers                                   21.4             1     21.4 $      21.40
 32886855597 CVS   Southwire Security Wire Shielded 18/4 Grey Stranded 500ft NEW Free Shipping                           114.99             3   114.99 $     344.97
 20714731847 CVS   Clinique Chubby Stick Sculpting Contour, #01 Curvy Contour, Full Size 6g NIB                           42.98             3    42.98 $     128.94
630454254270 CVS   Sizzix Thinlits Dies Alphanumeric, Cutout Upper, 3/4‐Inch Tall, 76‐Pack, us:one size, Multicolor       22.99             1    22.99 $      22.99
666151031494 CVS   Dermalogica Powerbright Moisturizer SPF 50 Facial Sunscreen Shields Skin Against Dark Spots wi            62       75    1       62 $      62.00
607845051015 CVS   NARS Bronzing Powder, Laguna, 0.28 Oz                                                                     38       44    1       38 $      38.00
672421018133 CVS   Guardian Fall Protection 01813‐A 3‐Inch Locking Aluminum Carabineer with 3/4‐Inch Gate                  48.5    35.68    1     48.5 $      48.50
 69055129180 CVS   Oral‐B Gum Care Rechargeable Toothbrush (B2)                                                            19.5             1     19.5 $      19.50
723987001500 CVS   PUR PFM150W White Filtration System Horizontal Faucet Mount with 1 Basic Filter                        37.09    46.23    5    37.09 $     185.45
 34449604802 CVS   Delta Lewiston Stainless Single Handle Low‐arc Kitchen Faucet Deck Plate Include                      153.98             1   153.98 $     153.98
 21078016892 CVS   Source Naturals Activated Quercetin 50 Caps                                                            14.35             1    14.35 $      14.35
645439229976 CVS   Q‐See QSDS3612D Surveillance Color Security Camera w/ Night Vision                                     32.38             1    32.38 $      32.38
605592005183 CVS   Nexxus Keraphix Shampoo for Damaged Hair Keraphix with ProteinFusion Silicone‐Free with Kera           11.99    18.24   10    11.99 $     119.90
 78477404096 CVS   Leviton 20 Amp 125V Duplex Self Test Tamper Resistant AFCI/GFCI Outlet White                              32             5       32 $     160.00
 16185096578 CVS   Neocell Collagen Type 2 Joint Complex Support 120 Capsules Exp 08/2024                                 21.99             1    21.99 $      21.99
736150166548 CVS   Laura Mercier Flawless Lumi√®re Radiance‐Perfecting Foundation 1C0 Cameo                                  49       49    2       49 $      98.00
367703112028 CVS   Terry Naturally Curamin Extra Strength ‐ 120 Tablets ‐ Non‐Addictive Pain Relief Supplement with       86.95    71.76    1    86.95 $      86.95
 81738402069 CVS   Borage Therapy Advanced Formula Lotion by Shikai Products ‐ 8 oz 238 ml                                12.99             1    12.99 $      12.99
622356546799 CVS   Shark Household‐Vacuum Replacement Pad, White                                                          29.99      28     2    29.99 $      59.98
307817128799 CVS   AmLactin Intensive Healing Body Lotion for Dry Skin ‚Äì 7.9 oz Pump Bottle ‚Äì 2‐in‐1 Exfoliator an    18.99      21     1    18.99 $      18.99
 91037510617 CVS   Mad Hippie Antioxident Facial Oil BNIB Sealed Argan Oil 18 Natural Additves 1 oz                       19.98             2    19.98 $      39.96
 47569838064 CVS   Square D QO260CP Miniature Circuit Breaker ‐ 60 A, 2 Pole, 120/240 VAC S6                              17.25             1    17.25 $      17.25
 47400306073 CVS   Gillette VENUS Value Pack Comfort Glide Freesia Women's Razor Refills 6 Count                          13.98             4    13.98 $      55.92
651986410545 CVS   Too Faced Kitty Likes to Scratch Mini Eyeshadow Palette                                                30.99    20.24   23    30.99 $     712.77
 47431503625 CVS   NEW HONEYWELL TurboForce Portable Small Room POWER CIRCULATOR Cooling AIR FAN                          31.99             1    31.99 $      31.99
323900038462 CVS   Vicks DayQuil and NyQuil VapoCOOL SEVERE Combo Cold & Flu + Congestion Medicine, Max Stre              19.99     18.9    2    19.99 $      39.98
735858306188 CVS   Intel BX80662G4400 Pentium Processor G4400 3.3 GHz FCLGA1151                                              64    66.89    1       64 $      64.00
191726426035 CVS   POK√âMON DELUXE HOLIDAY CALENDAR ‐ Features 15 2‐Inch Battle Figures with Special Finish a             39.99    59.99    2    39.99 $      79.98
192608231679 CVS   Morphe Blend The Rules Neutrual Territory Eyeshdow Palette, Powder                                        15    16.89    1       15 $      15.00
658010128995 CVS   Garden of Life Dr. Formulated Probiotics Platinum Series Restore Sleep with Herbs 200 Billion CF       59.99       90    8    59.99 $     479.92
 51494101049 CVS   MegaFood Women's One Daily ‐ Daily Multivitamin 60 Tablets Exp 07/2024                                 26.99             1    26.99 $      26.99
   842034782 CVS   110‐679 OEM 8MR2034L 8EK2002N 8EM2012N 110‐219 110‐243 110‐330 110‐353 110‐368                        241.56   257.37   13   241.56 $   3,140.28
 75820186302 CVS   Swiss Kriss Herbal Laxative Tabs 250 Tabs                                                              16.86             2    16.86 $      33.72
 80798411431 CVS   Solaray White 3 In 1 Dual USB Car And Wall Charger With Cable                                           11.5             1     11.5 $      11.50
670779703152 CVS   Red‐White Valve 1RW5015AB Lead Free Brass PEX Ball Valve with Barb Ends F1960, 1"                      20.87             2    20.87 $      41.74
633911831519 CVS   CHI Vibes Wave On Multifunctional Waver ‐ Create Long‐Lasting Frizz‐Free, Crimp‐Style Waves an          101        75    2     101 $      202.00
751063398701 CVS   Gaia Herbs Ginkgo Leaf ‐ Traditionally Used to Support Healthy Circulation and Brain Function ‐ O      29.99    29.99    3    29.99 $      89.97
 48107128944 CVS   GNC Herbal Plus Bilberry Extract 60mg 100 Capsules(EXP:01/2024)                                        19.99             2    19.99 $      39.98
 39564133220 CVS   Perform Tool W80628 Brake Rotor and Tread Depth                                                        20.98             1    20.98 $      20.98
 75609208157 CVS   Olay Serums Niacinamide + Peptide 24 Anti‐Wrinkle Serum 1.3 fl oz NEW                                     11             9       11 $      99.00
719869503910                                                                                                              27.72             1    27.72 $      27.72
 28349203401 CVS   WallyBags Garment Bag 45" With Accessory Pockets #340 Black NEW                                        53.25             2    53.25 $     106.50
679234055133 CVS   Mommy's Bliss Baby Probiotic Everyday ‐ 0.34oz (45 Servings)                                                    19.98    1    19.98 $      19.98
658010120296 CVS   Garden of Life mykind Organics Men's Gummy Vitamins Multi Berry, 120 Count                             34.99    26.59    1    34.99 $      34.99
651986503865 CVS   Too Faced Lip Injection Extreme Hydrating Lip Plumper Bubblegum Yum                                             18.57    4    18.57 $      74.28
 15561145312 CVS   Fluval 12 Watt 15"‐24" NEW#5312                                                                           40             6       40 $     240.00
192608220420 CVS   *LOT OF 3* Morphe Make It Big Volumizing Mascara MINI‐5.5ml each‐Bold Black *New                        21.5             1     21.5 $      21.50
 87547556665 CVS   Genuine HP # 67 Tri‐Color Original Ink Cartridge 3YM55AN140 Factory Sealed                                13             2       13 $      26.00
 70018006943                                                                                                                 20    21.49    3       20 $      60.00
 74469517447 CVS   Joico K‐PAK Shampoo to Repair Damage 10.1 oz                                                           13.91             1    13.91 $      13.91
658010113670 CVS   Garden of Life Multivitamin for Women ‐ Vitamin Code 50 & Wiser Women's Raw Whole Food V               44.99    49.99    2    44.99 $      89.98
 74108196613 CVS   Conair 1875 Watt Mid‐Size Styler Hair Dryer, White                                                     14.79             1    14.79 $      14.79
 30878876049 CVS   GE 87604 6‐Feet Component Video Cable HD video 720p/1080i RCA connection, Silver                        6.99             1     6.99 $       6.99
 46677555900 CVS   Philips Hue Outdoor Shape Light White And Color Ambience 6.5ft/2M 555904 NEW                            68.5             2     68.5 $     137.00
 33674102558 CVS   Nature's Way Alive Calcium D3 Gummies ‐ 60 CountExp12/23                                                  18             1       18 $      18.00
670367000502 CVS   Peter Thomas Roth | Peptide 21 Wrinkle Resist Serum | Peptides and Neuropeptides Help Impro             125      62.5   11     125 $    1,375.00
670480290903 CVS   Enzymedica, Digest Gold + PROBIOTICS, Digestive Enzymes, Aid for Maximum Relief, 90 Capsules           56.99    34.49    1    56.99 $      56.99
 49074025458 CVS   Master Lock Medium Locking Cash Box, Lock and Keys, Steel, CB‐12ML ‐ NEW NIB                           42.89             1    42.89 $      42.89
 24721999825 CVS   Irwin Tools 4935642 Black Oxide Hex Shank Drill Bit, 1/16‐Inch                                          9.97             4     9.97 $      39.88
604214922631 CVS   Urban Decay Subversion Eyelash Primer, White ‐ Creamy Mascara Primer ‐ For Length & Volume                26      26    11       26 $     286.00
 95668570200 CVS   MicrocynAH Anti_itch Pet Hydrogel 8 oz                                                                    13             1       13 $      13.00
 35886402945 CVS   J.A. Henckels International Solution Knife Block Set ‐ 12 Piece Fine Edge                              53.95             1    53.95 $      53.95
192608242620 CVS   Morphe X Nyane Fierce Fairytale Artistry Palette                                                       35.99       40    2    35.99 $      71.98
673419327459 CVS   LEGO Disney Raya and Sisu Dragon 43184; A Unique Toy and Building Kit; Best for Kids Who Like          29.99    22.89    1    29.99 $      29.99
 45923293368 CVS   SATCO S29336 LED 9 inch White Flush Mount Ceiling Light, BLINK WHITE                                      31             8       31 $     248.00
 75020100764 CVS   Philips Sonicare 4100 Power Toothbrush Black 5x Plaque Removal                                         27.98             9    27.98 $     251.82
309975420982 CVS   Revlon Men's Series Facial Hair Kit, includes Scissors and Comb for Trimming and Styling, Made w       13.99    13.65    1    13.99 $      13.99
755970820119 CVS   Nutramax Cosamin Asu for Joint Health Capsules, 90 Count                                               39.99    24.99   12    39.99 $     479.88
727783003270 CVS   New Chapter Men's Multivitamin for Immune, Stress, Heart + Energy Support with Fermented N             39.95       21    1    39.95 $      39.95
716170165882 CVS   Bobbi Brown Highlighting Powder, Bronze Glow, 0.28 Ounce                                                  48    20.61    1       48 $      48.00
727783003669 CVS   New Chapter Women's Multivitamin 40 plus for Energy, Healthy Aging + Immune Support with 2             49.95    27.24    3    49.95 $     149.85
645245041809 CVS   Roex Vitamins | Oleuropein Olive Leaf | Dietary Supplements | Healthy Heart | Immune System            40.95    31.89    1    40.95 $      40.95
706195106106 CVS   Oregon's Wild Harvest, Certified Organic Milk Thistle Dandelion Capsules, 180 Count                    35.96             3    35.96 $     107.88
364760775807 CVS   Eau Thermale Av√®ne Cleanance ACNE Clearing Gel, acne cleanser for sensitive skin with Salicylic          21      32     1       21 $      21.00
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 12502645696 CVS   Brother P‐touch Embellish Ribbon & Tape Label Printer Machine PTD215E                                   41.39              5    41.39 $     206.95
 43168982801 CVS   (2‐Pk) GE Refresh HD LED Light Bulbs Daylight 450 Lumens 5.5‐Watts 234697                                9.94              4     9.94 $      39.76
 37495137317 CVS   DORMAN GM 2007‐2010 Keyless Entry Remote 13723 Black BRAND NEW                                             37              2       37 $      74.00
193175421142 CVS   Icon Flush Cut 6" Pliers ‐3/4" Jaw Capacity for Multiple Sizes‐ Model #PFC‐600                             25              1       25 $      25.00
 20335056114 CVS   Fiskars Chenille Maker for Easier Cutting                                                               18.65              3    18.65 $      55.95
 71649188343 CVS   Master Lock 5423D 3‐1/8 W in. Combination Push Button Wall Mount Lock Box                               25.54              1    25.54 $      25.54
 31604026806 CVS   Nature Made CoQ10 Naturally Orange Flavor 400mg. 40 Softgels                                               14            144       14 $   2,016.00
 69055841464 CVS   Oral‐B White Electric Toothbrush Replacement Brush                                                       8.54             11     8.54 $      93.94
 27418083012 CVS   Cadet Double Pole 4‐Wire Mechanical Wall Thermostat f/ Electric Baseboard T522‐W                        17.95              2    17.95 $      35.90
611247379837 CVS   Keurig K‐Duo Single Serve K‐Cup Pod & Carafe Coffee Maker, Black                                       189.99     138      1   189.99 $     189.99
 40094866502                                                                                                               31.99              1    31.99 $      31.99
 33674149324 CVS   Nature's Way Alive! Max3 Daily Multi‐Vitamin ‐ Max Potency 180 tab 9/24 #9324                           33.15             15    33.15 $     497.25
 34411028001 CVS   ‚ö°Ô∏èGilmour Single Hose Outlet Programmable Electronic Water Timer üÜï                                22.96              2    22.96 $      45.92
607710074439 CVS   SmashBox Halo Fresh Perfecting Powder ‐ Fair Women 0.35 oz                                                 42    26.45     1       42 $      42.00
 43168683654 CVS   C by GE C‐sleep A19 Bluetooth Smart LED Light Bulb Adjustable White 800 Lumens                           8.99              1     8.99 $       8.99
 87305910371 CVS    EZ SET BP‐501TZ‐RY US15 Satin Nickel PASSAGE LOCK #0371                                                   29              1       29 $      29.00
 72053783490 CVS   Engine Water Pump‐Water Pump(Standard) Gates 41075                                                      34.99              1    34.99 $      34.99
604214919006 CVS   URBAN DECAY Naked3 Eyeshadow Palette, 12 Versatile Rosy Neutral Shades for Every Day ‐ Ultra               59       59     2       59 $     118.00
631257158727 CVS   Renew Life Women's Probiotic Capsules, Supports Vaginal, Urinary, Digestive and Immune Healt             9.17     9.17     4     9.17 $      36.68
 68958355016 CVS   Natural Factors Whole Earth&Sea Pure Food Women's 50+Multivit&Mineral,60 Tabs                           32.99              1    32.99 $      32.99
 70330355651 CVS   Bic Gelocity Quick Dry Retractable fashion Gel pens, Medium Point, 4 pack                                9.49              4     9.49 $      37.96
 49022120181 CVS   Swivel Outlet With 6 Outlets & 2 USB Ports Surge Protected by Living Solutions                          14.98              1    14.98 $      14.98
731398350728                                                                                                               22.49             15    22.49 $     337.35
 19954167196 CVS   d'addario EJ16‐12P Acoustic Guitar ONE SET OF SIX STRING                                                   17              1       17 $      17.00
 76753054577 CVS   Good Cook Precision 7‚Äù Santoku Knife 05457 ‐ BUY MORE & SAVE!!!                                        14.6              2     14.6 $      29.20
 74312009976 CVS   Nature's Bounty Complete Shake Mix Decadent Chocolate Exp10/24. 410ae                                   18.57              2    18.57 $      37.14
 16185096646 CVS   Neocell Hyaluronic Acid Nature's Moisturizer 60 Capsules 100mg Skin Hydration                           17.79              2    17.79 $      35.58
 75352013220 CVS   Powers Fasteners 01312 1/4 x 4 SDS Plus Wedge‐Bit‚Ñ¢                                                    17.99              1    17.99 $      17.99
 79946093599 CVS   #11 X‐ACTO X811 Knife Blades ‐ 100 Ct Pack Free Shipping                                                15.99              9    15.99 $     143.91
316864000194                                                                                                               20.37            155    20.37 $   3,157.35
 32309012682 CVS   Metal Earth 3D Model Kit ‐ Star Wars ‐ First Order Snowspeeder BRAND NEW                                 7.49              3     7.49 $      22.47
 51494103067 CVS   MegaFood Turmeric Strength for Liver Herbal Dietary Supplement(60Tablets) 05/23                         19.99              8    19.99 $     159.92
 91511220926 CVS   Olfa Endurance Rotary Blade 45mm 2‐pk                                                                    13.5              1     13.5 $      13.50
737257970090 CVS   DogMX All Breed Hip & Joint Mobility 60 Savory Soft Chews Sealed                                           10              1       10 $      10.00
761712019338 CVS   OttLite Emerge LED Sanitizing Desk Lamp with USB Charging ‚Äì Sanitizes Your Work Space, Touc          129.99    84.99     1   129.99 $     129.99
309979596263 CVS   Revlon Salon Pro Mini Tweezer Set, Slanted and Pointed Tip Tweezer, Made with Corrosion Resis           26.79              4    26.79 $     107.16
 48107194932 CVS   (2 pk) GNC Total Lean CLA Dietary Supplement 90 Softgels 22 Day Supply Exp 02/27                        39.99             28    39.99 $   1,119.72
 33991064515 CVS   Scosche ‐ PowerUp 700 Car Jump Starter w/USB Power Bank and LED Flashlight ‐ NEW                       118.99              1   118.99 $     118.99
651986410415 CVS   Natural Matte Neutral Matte Eye Shadow Palette                                                          39.99    43.15     1    39.99 $      39.99
 35926075528 CVS   Beadalon Bead Stringing Wire, Gold, Silver MULTIPLE SIZES                                                7.99              2     7.99 $      15.98
 54986001803 CVS   Earth Science Maximum Hydration Hyaluronic Acid Serum ‐ 1 oz                                            14.99              4    14.99 $      59.96
606449120882 CVS   NETGEAR AC1900 Wi‐Fi USB 3.0 Adapter for Desktop PC | Dual Band Wifi Stick for Wireless inter           84.99   119.71     1    84.99 $      84.99
763948085408 CVS   Nature's Way Cherry Fruit, Sweet Cherry Extract, Supports Antioxidant Pathways*, 1,000 mg Per           41.99    17.46     1    41.99 $      41.99
 43168232654 CVS   LED CAC BULB ‐ Clear Finish ‐5W Replaces 60W ‐2PK ‐Soft White B12                                        8.99              1     8.99 $       8.99
 75378106166 CVS   Premium Defense High Visibility Class 3 Long Sleeve Shirt ‐ Large ~ 2‐Pack                              27.99              1    27.99 $      27.99
658010117661 CVS   Garden of Life Multivitamin for Men ‐ mykind Organic Men's Once Daily Whole Food Vitamin Sup            30.99    52.99    10    30.99 $     309.90
729849109582 CVS   PetSafe Plastic Dog and Cat Door, Small, For Pets Up To 15 lb, Paintable, Easy DIY Installation, Sec    36.99    31.95     3    36.99 $     110.97
658010115896 CVS   Garden of Life Prenatal Multivitamin for Women with Iron, Folate & Vitamin C and D3 for Neural          22.99              1    22.99 $      22.99
 75020092489 CVS   Philips One Sonicare Rechargeable Toothbrush Shadow Black HY1200/06 BOX DAMAGED                         20.99              3    20.99 $      62.97
302990260021 CVS   Cetaphil Healthy Renew Hydrating Eye Gel Serum 0.5 Oz, 24Hr Under Eye Cream for Anti Aging, R           22.99      21     25    22.99 $     574.75
 73091029021 CVS   Sergeant's Evolve 21 Flea And Tick Squeeze‐On 21 To 39‐Pound DOG 3‐APPLICATIONS                          8.21              8     8.21 $      65.68
 47400677067 CVS   Gillette Venus Gentle Trimmer for Pubic Hair and Skin                                                      14             28       14 $     392.00
 43156434343 CVS   Schlage Lock Company F59STA613CAMRH Oil Rubbed Bronze St. Annes RH Interior Door                        48.96              1    48.96 $      48.96
687735240002 CVS   Pacifica Beauty, Tahitian Gardenia Clean Fragrance Spray Perfume, Made with Natural & Essentia             22    38.71     4       22 $      88.00
 69055134016 CVS    Oral‐B iO Series 4 Rechargeable Toothbrush                                                             44.95              1    44.95 $      44.95
 79976471800 CVS   Hopkins Towing Solutions Endurance Vehicle 7Blade & 4Flat Kit, Item 47180 #1800                          19.9              1     19.9 $      19.90
724089202673 CVS   Advantage II Medium Dog Vet‐Recommended Flea Treatment & Prevention | Dogs 11‐20 lbs. | 4               57.58     47.9     1    57.58 $      57.58
658010114134 CVS   Garden of Life Vitamin D, Vitamin Code Raw D3, Vitamin D 2,000 IU, Raw Whole Food Vitamin D             21.99    20.17     2    21.99 $      43.98
 31398332107 CVS   American Underdog (Blu‐ray, 2021) Lionsgate Zachary Levi Brand New Sealed                               11.16              1    11.16 $      11.16
765809150058 CVS   NAPA FILTERS 3048 Fuel Filter Gold 2.062 X 0.714INCH                                                     3.26              1     3.26 $       3.26
633422051611 CVS   Host Defense, Lion's Mane Extract, Promotes Mental Clarity, Focus and Memory, Mushroom Sup              19.95    15.71     2    19.95 $      39.90
 20335063792 CVS   Fiskars Non‐Stick Scissors and Gift Wrap Cutter Set                                                     17.95              1    17.95 $      17.95
 22415127127 CVS   allerease zippered mattress protector                                                                      19              1       19 $      19.00
 28845623000 CVS   NEW Blazer International Blazer Link App Controlled Lighting System CWL623                              36.03              1    36.03 $      36.03
602644021214 CVS   Earthbath 2‐in‐1 Conditioning Cat Shampoo ‚Äì Extra Gentle Shampoo & Conditioner, Made in Th            13.31    16.99     2    13.31 $      26.62
754005089828 CVS   Hitachi 728982 Tall Fuel Cell for Cordless Framing Nailers (Pack of 2)                                  15.86              1    15.86 $      15.86
737257885929 CVS   Top Paw 30" Crate Cover ‐ Medium Dog 32" x 19" x 21" ‐ Navy White                                        26.4              1     26.4 $      26.40
765809149854 CVS   NAPA Gold 3022 Fuel Filter                                                                                 14    20.72     2       14 $      28.00
190623000744 CVS   TevraPet Activate II Flea and Tick Collar for Dogs, 12 Months Prevention, 2 Count, One Size Fits A      49.99    29.97     6    49.99 $     299.94
 24721999832                                                                                                                38.6              6     38.6 $     231.60
 96018206183 CVS   Lancome Color design Palette 4 Eyeshadow & Blush ‐Rose Fresque New                                      17.99              1    17.99 $      17.99
 20525953308 CVS   Schiff MegaRed Superior Omega‐3 Krill Oil 120 Softgel Exp 1/24                                             23             22       23 $     506.00
609098805247 CVS   Stinger SK4241 4000 Series 4 Gauge Car Amplifier Installation Wiring Kit , RED                          99.99      59      3    99.99 $     299.97
 80596040345 CVS   Dremel MM485BU Universal Multi Materials Oscillating Multi‐Tool Blade Kit 3 Pack                           19              1       19 $      19.00
609492800152 CVS   MRM Super Foods ‐ Matcha Green Tea Powder, 6 Ounce                                                      25.99    17.95     1    25.99 $      25.99
 76501154023 CVS   Coleman Skydome 4 Person Blue Nights Tent ‐ Blue                                                        65.99              1    65.99 $      65.99
 70330353893 CVS   BIC Gel‐ocity Quick Dry Retractable Gel Pen, 8 Count (Pack of 1), Black                                 21.49              2    21.49 $      42.98
 28905867498 CVS   Waxman (8674900)Distinctives 7 Position Deluxe Massager Shower Head/Brush Nickel                        34.99              1    34.99 $      34.99
631257121004 CVS   Renew Life Women's Probiotic Capsules, Supports Vaginal, Urinary, Digestive and Immune Healt            49.99    41.24    52    49.99 $   2,599.48
 27917001234 CVS   Vitafusion Probiotic Gummy Supplements Raspberry Peach Mango 70 ct 11/2024                              16.95              2    16.95 $      33.90
 10343958869 CVS   4‐PACK EPSON GENUINE 812XL BLACK & 812 COLOR INK (NO RETAIL BOX) WF‐7820                                59.88              1    59.88 $      59.88
 32309012842 CVS   Two Metal Earth Star Wars Kylo Ren's & First Order Speedster                                             9.98             17     9.98 $     169.66
 46838076671 CVS   JVC Gumy Wireless In‐Ear Headphones Plum Violet HA‐FX9BT‐V                                              19.49              1    19.49 $      19.49
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 39564111617 CVS   Performance Tool 11pc Combination Wrench Set W1061                                                     24.13             4    24.13 $      96.52
307660811640 CVS   Abreva Cold Sore/Fever Blister Treatment, Pump 0.07 oz (2 g) (Abreva Pump)                                20     15      9       20 $     180.00
666151060883 CVS   Dermalogica Age Reversal Eye Complex (0.5 Fl Oz) Anti‐Aging Retinol Eye Cream ‐ Targets and Re         81.73     79      8    81.73 $     653.84
 32309033717 CVS   Fascinations Metal Earth Freight Train Set Diesel Engine & 4 Cars 3D Model Kit                         17.97            29    17.97 $     521.13
 32886263125 CVS   25 ft. 14/2 AWG Indoor Solid Romex NM‐B with ground 600V NEW                                           39.99             1    39.99 $      39.99
 30699152551 CVS   Everbilt Shelf Bracket White 12" x 14" (lot of 2)                                                      17.85             1    17.85 $      17.85
670480130513 CVS   Enzymedica, Digest Basic + Probiotics, Gentle Enzymes for Digestive Health, Breaks Down Carbs,         21.99   20.04    11    21.99 $     241.89
 73796270001 CVS   Omron BP7000 Evolv Wireless Upper Arm Blood Pressure Monitor                                           59.99             5    59.99 $     299.95
643620031308 CVS   First Health Rechargeable UV‐C Toothbrush Sanitizer / Travel Case NEW                                  10.49             4    10.49 $      41.96
 34449876315 CVS   Delta Cason Spotshield Stainless 1‐Handle Deck Mount Pull Down 19782Z‐SPSD‐DST                          115              1     115 $      115.00
 47400313095 CVS   Gillette Mach3 Men‚Äôs Razor Blades ‚Äì 15 Refills, #3095                                                 22            54       22 $   1,188.00
 20714985387 CVS   CLINIQUE SMART CLINICAL MULTI‐DIMENSIONAL Age TRANSFORMER RESCULPT 4pc                                    15             1       15 $      15.00
733739001047 CVS   NOW Supplements, Glutathione 500 mg, With Milk Thistle Extract & Alpha Lipoic Acid, Free Radi          43.99   22.32     1    43.99 $      43.99
 78477553763 CVS   Leviton Decora 120/277‐Volt AC White Occupancy PIR Sensor                                                 22             4       22 $      88.00
 45242571406 CVS   Milwaukee 49‐25‐2271 OPEN‐LOK‚Ñ¢ DIAMOND GRIT GROUT REMOVAL BLADE                                      22.09             1    22.09 $      22.09
670367014233 CVS   Peter Thomas Roth | Potent‐C Power Brightening Hydra‐Gel Eye Patches | With Vitamin C, 60 ct.             65             4       65 $     260.00
 47569008948 CVS   Square D QO215CP 15 Amp Two‐Pole Circuit Breaker *NEW*                                                 16.99             5    16.99 $      84.95
 48107193034 CVS   GNC Total Lean Phase 2 Carb Controller Dietary Supplement 120ct BB4/24                                 17.95             6    17.95 $     107.70
645397937333 CVS   True Utility Aluminum Keychain Ballpoint Pen, Stylus, Multi‐Tool with 3 Refills                           13             1       13 $      13.00
746134155154 CVS   Panini Prizm 2023 Baseball Mega Box (60 Total Cards) New Sealed in DAMAGED BOX                         35.99             1    35.99 $      35.99
 47400671966 CVS   2 New Gillette ProGlide Men's Razor Handle No Blades FUSION FLEX HEAD                                   7.88             7     7.88 $      55.16
607845066040 CVS   Natural Radiant Longwear Foundation Salzburg                                                              50   46.95     1       50 $      50.00
670367016336 CVS   Peter Thomas Roth | Water Drench Hyaluronic Cloud Mask Hydrating Gel | Moisturizing Face Ma               55      55     5       55 $     275.00
716170184265 CVS   Bobbi Brown Skin Long‐Wear Weightless Foundation SPF 15 Ivory (C‐024)                                   49.9   44.97     1     49.9 $      49.90
 31604017156 CVS   Nature Made Flaxseed Oil 1000 Mg, Fish Free Omega 3 Supplement, Dietary Suppleme                       11.16            17    11.16 $     189.72
658010116565 CVS   Garden Of Life D3 ‐ Vitamin Code Whole Food Raw D3 Vitamin Supplement, 2000 Iu, Dairy and G            37.99   32.99     5    37.99 $     189.95
765809150478 CVS   NAPA Gold 3098 Fuel Filter                                                                                12      12     1       12 $      12.00
 19954337582 CVS   D'Addario XSAPB1047 Phosphor Bronze Acoustic Guitar Strings Extra Light 10‐47 XS                       19.99             5    19.99 $      99.95
729849169449 CVS   PetSafe PPA00‐16944 Large Wall Entry Pet Door, Dog 1 lb. to 100 lb‐ Brand New                         104.95             2   104.95 $     209.90
651986800261 CVS   Too Faced Damn Girl! 24‐Hour Mascara 0.43 oz/ 12.7 mL                                                     49   22.32     1       49 $      49.00
658010120135 CVS   Garden of Life Vegan Collagen Builder ‐ Organic Plant Collagen Beauty Booster ‐ Silica & Biotin fo     33.99             2    33.99 $      67.98
633472600760 CVS   Clearblue Digital Ovulation Predictor Kit, featuring with digital results, 10 Digital Ovulation Tests  32.99    23.5    35    32.99 $   1,154.65
 23542102421 CVS   LARGER 200 Veggie Caps Kyolic Aged Garlic Extract Cleanse & Digestion Exp 09/26                        19.99             2    19.99 $      39.98
 43156195107 CVS   Schlage J10‐SOL Chrome Solstice Passage Door Lever Set (Formerly Dexter)                               18.77             9    18.77 $     168.93
 26508348246 CVS   MOEN 218C0SRN Attune 8‐Spray Patterns 4" Wall Mount Dual Shower Head Adjustable                         44.5             1     44.5 $      44.50
720686361348 CVS   EHEIM Jager Aquarium Thermostat Heater 50W, Black                                                      32.99   30.99     1    32.99 $      32.99
675468100168 CVS   OSEA Hyaluronic Acid Sea Serum 1 oz ‐ Beauty Gift for Women ‐ Skincare Gift Essential ‐ Non‐Tox           88   78.33     4       88 $     352.00
658010115681 CVS   Garden of Life Raw Probiotics for Women Over 50‐50 & Wiser Women's Probiotic with Acidophil            52.45   41.99     4    52.45 $     209.80
 33674106730 CVS   Nature's Way Fortify Daily Probiotics Extra Strength 30 Caps Exp 10/2022                               19.99             3    19.99 $      59.97
 46135320057 CVS   Sylvania 9003 SilverStar High Performance Halogen Headlight 2‐Bulbs OPENBOX                            17.99             1    17.99 $      17.99
670779259086 CVS   Red‐White Valve 112RW267AB 267AB 1‐1/2, 1 1/2"                                                            50   50.54     2       50 $     100.00
727783901156 CVS   New Chapter Vegan Elderberry Capsules with 64x Concentrated Black Elderberry + Black Currant           41.95   25.95     2    41.95 $      83.90
 70330365308 CVS   Sealed New 12 Pack Bic Intensity Dual Tip Markers With Brush & Fine Tips                               11.24             1    11.24 $      11.24
 43765010006 CVS   Vornado Flippi V6 Personal Air Circulator Fan, Bliss Blue                                              19.99             2    19.99 $      39.98
191848090787 CVS   Lithonia Lighting QTE LED P1 40K 120 THK DDB M6 LED Flood Light, 4000k, 24 watts, 2500 Lumen            43.5             1     43.5 $      43.50
 31262071705 CVS   Homedics 100 sq. ft. Ultrasonic Cool Mist Water Bottle Humidifier                                      16.99             1    16.99 $      16.99
317163043899 CVS   API Marine Quick Start Saltwater and Reef Aquarium Nitrifying Bacillus 16‐Ounce Bottle                 33.87   30.81     5    33.87 $     169.35
 73796267452 CVS   Scian Upper Arm Blood Pressure Monitor Pulse Automatic Machine BP Cuff Gauge                           14.19             1    14.19 $      14.19
305731321258 CVS   Preparation H Rapid Relief Hemorrhoidal Spray with Lidocaine for Itching, Burning and Pain Relief ‐ 3.8 Oz B   27.74     9    27.74 $     249.66
 92644323836 CVS   KLEIN TOOLS 32383SEN DRILL TAP TOOL KIT #3836                                                           22.5             3     22.5 $      67.50
760823007265 CVS   Black Gold Ascent Verdict Archery Sight‐Black/Right Hand Adjustable‐3 Pin/ .19 Pin Size               312.99    259      1   312.99 $     312.99
 78477578957 CVS   Leviton Decora Plus USB In‐Wall charger Outlets ‐ White, Pack of 2 #957                                   27             1       27 $      27.00
 48107226978 CVS   GNC MEN Performance and Vitality Vitamin Capsule ‐ Open Box 27 Pack                                       26             5       26 $     130.00
 46878279995 CVS   Orbit 27999 9‐Station Outdoor Sprinkler Controller Easy‐set Logic                                         40             2       40 $      80.00
730852155794 CVS   Shiseido Benefiance Wrinkle Smoothing Eye Cream ‐ 15 mL ‐ Visibly Improves Five Types of Eye W          150              2     150 $      300.00
193175412133 CVS   BRAND NEW QUINN¬†6 in. Digital Caliper #133                                                            36.99             1    36.99 $      36.99
716170185644 CVS   BOBBI BROWN Highlighting Powder Afternoon Glow                                                         45.89    24.8     2    45.89 $      91.78
 11499046226 CVS   ImpressArt Lollipop 33 pk 4mm Metal Stamps Uppercase Letters NEW                                       47.78             3    47.78 $     143.34
658010111584 CVS   Garden of Life Whole Food Vegetable Supplement ‐ Perfect Food Green Superfood Dietary Suppl            27.99   29.78     2    27.99 $      55.98
185886000440 CVS   Bodyceuticals Calendula + Antioxidant Berries Purifying Facial Cream Natural Botanical Extracts A       25.8             1     25.8 $      25.80
 67990200445 CVS   Instrumental Beauty Portable Pedicure                                                                  20.99             1    20.99 $      20.99
 29054007681 CVS   BRK SCO2B 9V Smoke and Carbon Monoxide Alarm, White                                                    42.85             1    42.85 $      42.85
 40102603259 CVS   Andis Easy Clip Ultra Clipper Kit for Dogs #3259 NEW FAST FREE SHIPPING!!!                             17.96             2    17.96 $      35.92
765809153301 CVS   NAPA Gold 3486 Fuel Filter                                                                                20     20      1       20 $      20.00
 98132509287 CVS   Bare Minerals Good Hydrations Silky Face Makeup Primer Full Size 1oz Hydrate                           24.95             2    24.95 $      49.90
 31604017804 CVS   Nature Made Vitamin C 1000 mg 300 tabs Exp 08/2025                                                        26           146       26 $   3,796.00
 75609007408 CVS   Olay Regenerist Deep Hydration Regenerating Cream 1.7oz Advanced Anti‐Aging New                        18.99             2    18.99 $      37.98
 15561143240 CVS   FLUVAL SEA PS2 MINI PROTEIN SKIMMER EVO AQUARIUM FILTER BRAND NEW                                      34.99             5    34.99 $     174.95
 78484074244 CVS   Fiskars 174240‐1002 Round n Round Squeeze Punch                                                         11.5             3     11.5 $      34.50
 69055130988 CVS   ARC Oral Care Metal Sonic Power Toothbrush + Travel Case ‐ Black                                       12.99            11    12.99 $     142.89
651986701551 CVS   Too Faced Hangover Replenishing Face Primer 1.35 oz/ 40 mL                                                38    16.5     4       38 $     152.00
633422031026 CVS   Host Defense, Cordyceps Capsules, Energy and Stamina Support, Mushroom Supplement, Unflav              31.95   25.46    14    31.95 $     447.30
 26508872338 CVS   Moen Adler One Handle Pulldown Faucet ‐ Chrome (87233)                                                    74             1       74 $      74.00
720686011014 CVS   Top Fin Pro 150 Aquarium Heater 150W ‐Up to 79 Gallons                                                 33.99             3    33.99 $     101.97
 12502636625 CVS   Brother MuVit Digital Dual Feed Foot SA196 #6625                                                      224.95             1   224.95 $     224.95
754806307909 CVS   Trophy Ridge Whisker Biscuit V Con Archery Arrow Rest ‐ Innovative V‐Shaped Design for Consist         69.99   51.45     1    69.99 $      69.99
715717729303 CVS   Totes Men's Ping Pong Table, Red, One Size                                                                20   24.99     1       20 $      20.00
 32886263088 CVS   12/2 12‐2 Romex Non‐Metallic Electrical Copper Wire NM‐B UL Listed ‐ Made in USA                          49             3       49 $     147.00
300410106768 CVS   Oral‐B Clic Manual Toothbrush with Magnetic Brush Holder                                                        9.99     1     9.99 $       9.99
 86397701942 CVS   OWENS INSULATION 16"X48"X2" UF                                                                         19.07             1    19.07 $      19.07
658010118279 CVS   Garden of Life Dr. Formulated Probiotics Once Daily ‐ Acidophilus Probiotic with Daily Support fo      24.49   54.45     2    24.49 $      48.98
191677200906 CVS   New Alo Glow System Radiance Serum Amla & Hyaluronic Treatment 1 oz/30 ml                                 34             1       34 $      34.00
 48107170615 CVS   GNC Triple Strength Fish Oil Supplement 1,000 Mg EPA/DHA‐ 60 Softgels Exp 04/24                        17.99             9    17.99 $     161.91
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743184023389 CVS   Echo DHC2300C1 eFORCE 56V Cordless Battery Hedge Trimmer                                                         277.99     1   277.99 $     277.99
 74108372475 CVS   BaByliss Pro 1 Titanium Flat Iron Hair Straightener Black: Model BT130T #2475                            49.98              2    49.98 $      99.96
736150155788 CVS   Laura Mercier Moisturizing Mango Butter Velour Lovers Lip Colour ‐ Smile 0.12 oz                            28      20      2       28 $      56.00
666151060777 CVS   Dermalogica Multivitamin Power Firm Eye Cream with Antioxidant Vitamins, Anti‐Aging Wrinkle                 53      69      1       53 $      53.00
 53232788543 CVS   LifeTime Herbal Support Oregano Oil & Olive Leaf 2 oz Liquid                                             27.99              1    27.99 $      27.99
 85226232183 CVS   Perko Lifting Handle 0776DP1CHR NEW                                                                         50              1       50 $      50.00
689304250009 CVS   Anastasia Beverly Hills ‐ Loose Setting Powder ‐ Translucent                                                40      38      1       40 $      40.00
 11822329828 CVS   EasyFlex Replacement Brush Heads pack of 3                                                                   6              3        6 $      18.00
651986505029 CVS   Too Faced Lip Injection Power Plumping Cream Liquid Lipstick Va Va Voom                                  29.94    34.24     1    29.94 $      29.94
715515206419 CVS   The Complete Monterey Pop Festival (The Criterion Collection) [Blu‐ray]                                  69.95    45.23     1    69.95 $      69.95
765809150072 CVS   NAPA FILTERS 3050 Fuel Filter Gold 0.646 X 0.016 X 0.79INCH                                               4.43        9     1     4.43 $       4.43
 94922305138 CVS   Angels' Eyes Natural Chicken Formula Soft Chews for Dogs 120‐Count EXP 12/23                                12              6       12 $      72.00
 33674156520 CVS   Nature‚Äôs Way Fortify Optima Daily Probiotic 35 Billion 30ct Exp 05/24 #6520                             24.5              7     24.5 $     171.50
628451996514 CVS   ArtResin Alcohol Inks                                                                                       32     26.5     4       32 $     128.00
748960554644 CVS   Ruffwear, Vert Dog Winter Jacket, Waterproof & Insulated Coat for Cold Weather, Aurora Teal, M           99.95    99.95     1    99.95 $      99.95
 32886263538 CVS   Southwire 50' 14/3 with Ground Romex Brand SIMpull Residential Indoor...                                 54.81              1    54.81 $      54.81
737257942462 CVS   Top Paw Grooming Starter Kit New FAST FREE SHIPPING!!!                                                   15.48              2    15.48 $      30.96
 25866592360 CVS   Aleve Pain Reliever/Fever Reducer Caplet 220mg 270 Ct. exp 4/2024                                        15.98              2    15.98 $      31.96
602004071323 CVS   Benefit Precisely My Brow Pencil Ultra Fine Brow Defining Pencil, 3 ‐ Warm light brown, 1 Count             17    21.03     5       17 $      85.00
 20335069220 CVS   FISKARS LOOP ROTARY CUTTER 45MM (118410)                                                                  9.74              2     9.74 $      19.48
651986702374 CVS   Too Faced ‐ Sun Bunny Natural Bronzer                                                                       30    38.86     2       30 $      60.00
631656608847 CVS   Weight Loss Pills for Women & Men Hydroxycut Original Weight Loss Supplement Pills Metabolis             29.99    19.99     1    29.99 $      29.99
670367005194 CVS   Peter Thomas Roth | Acne Clearing Wash | Maximum‐Strength Salicylic Acid Face Wash, Clears U                39       39     2       39 $      78.00
 44386109612 CVS   Physicians Formula Butter Eyeshadow Palette ~ Sultry Nights OR Tropical Days                             10.25              2    10.25 $      20.50
 15561102148 CVS   Fluval C2 Mechanical Frame for Aquarium by Hagen                                                             9              1        9 $       9.00
654749358054 CVS   Avalon Organics Day Cr√®me, Wrinkle Therapy, 1.75 Oz                                                     25.49    23.15     1    25.49 $      25.49
 70798182196 CVS   10.1 Oz Tube of Dynaflex Ultra Advanced Exterior Sealant Light Grey #2196                                   19              9       19 $     171.00
697045153701 CVS   AHAVA Dead Sea Water Mineral Hand Cream, Sea‐Kissed ‐ Hand Moisturizer For Dry Cracked Han                  25      25      1       25 $      25.00
 45242551521 CVS   Empire IP54 EM105‐9 9" Magnetic Digital Torpedo Level New#521                                               45              1       45 $      45.00
699965387082 CVS   Bodum 11870‐01US Bistro Electric Milk Frother, 10 Ounce, Black                                            38.5    26.31     1     38.5 $      38.50
605069425018 CVS   Himalaya Turmeric 95 Supplement with Curcumin/Curcuminoids¬†, Joint and Muscle Support, Op               68.98    44.49     4    68.98 $     275.92
 31604026165 CVS   Nature Made CoQ10 200 mg 40 Softgels Cellular Energy Heart Function 01/2026^ NEW                         13.99              1    13.99 $      13.99
 42037799229 CVS   The Doctor's Advanced Comfort NightGuard #229                                                             11.4            254     11.4 $   2,895.60
633911786352 CVS   CHI Thermal Care Kit for Dry and Damaged Hair, 1 Count                                                      28    28.97     1       28 $      28.00
727783901255 CVS   New Chapter Women's Multivitamin 50 Plus for Cellular Energy, Heart & Immune Support with 2              86.95    44.24     1    86.95 $      86.95
717334260443 CVS   Origins Ginzing Glow‐Boosting Mask Mask Women 2.5 oz                                                        43    17.95     1       43 $      43.00
 90174450602 CVS   Paul Mitchell Color Protect Daily Shampoo Gentle Cleansers 10.14oz / 300ml NEW                           13.87              4    13.87 $      55.48
619498634408                                                                                                                52.88              1    52.88 $      52.88
 20525963994 CVS   MegaRed Advanced 4 in 1 Concentrated Omega‐3 Fish & Krill Oil 40 Ct Exp 2024+                            14.98              3    14.98 $      44.94
 90174198955 CVS   Paul Mitchell Firm Style Freeze and Shine Super Spray 16.9 oz (463)                                      20.69              2    20.69 $      41.38
 62345420158 CVS   Canarm Lighting CF52SIM4BK Madison 52 inch Matte Black Indoor fan                                       305.67              1   305.67 $     305.67
631257120977 CVS   Renew Life Everyday Probiotic Capsules, Daily Supplement Supports Urinary, Digestive and Immu            21.99    19.49     3    21.99 $      65.97
 78275067752 CVS   Intermatic K4251 Photocontrols with Stem and Swivel Mounting #4007K28IAC                                 19.99              1    19.99 $      19.99
 78275149083 CVS   Intermatic ST700W Ascend Standard In‐Wall Timer New (open Box)                                            20.4              2     20.4 $      40.80
302990220575 CVS   Differin Gel Acne Scar Spot Treatment for Face, Resurfacing Scar Gel, Gentle Skin Care for Acne P        21.97    19.77     2    21.97 $      43.94
 96018205063 CVS   Humectress Conditioner For Dry Hair Ultimate Moisture With Caviar & Protein C...                         21.23              1    21.23 $      21.23
192608290058 CVS   Jaclyn Hill The Vault DARK MAGIC Eyeshadow Palette                                                                43.99     1    43.99 $      43.99
 18084844625                                                                                                                47.75              2    47.75 $      95.50
 12502652977 CVS   Brother TZE Tape P‐Touch Embellish 3 Washi Tape Pack                                                     19.99              2    19.99 $      39.98
 46677603892 CVS   120‐Watt Equivalent PAR38 LED Smart Wi‐Fi Color Changing Light Bulb By Wiz                               21.49              1    21.49 $      21.49
 38877640227 CVS   Pfister Karci Brushed Nickel 1‐handle Bathtub and Shower Faucet w/ Valve                                 93.05              1    93.05 $      93.05
 38100119315 CVS   Purina FortiFlora Dog Supplement ‐ 30011, 1 Sachet                                                        4.81             24     4.81 $     115.44
755970750119 CVS   Nutramax Proviable Digestive Health Supplement Multi‐Strain Probiotics and Prebiotics for Cats           21.99    21.95     5    21.99 $     109.95
669191377386 CVS   Zhou Nutrition Lite Up, Non‐Stimulant Pre Workout Powder, Caffeine Free Nitric Oxide Booster,            28.99    19.05     2    28.99 $      57.98
614969239496 CVS   Erno Laszlo Transphuse Day Serum | Botox Alternative | Quick Fix for Fine Lines & Wrinkles | 1 F          230               2     230 $      460.00
 40102640711 CVS   Andis Ultra Edge Size 10 Blade                                                                           21.74              2    21.74 $      43.48
687735302366 CVS   Pacifica Beauty, Coconut Cream To Foam Daily Face Wash & Cleanser, Coconut Water + Vitamin                  10              1       10 $      10.00
729849108615 CVS   PetSafe Freedom Aluminum Pet Door for Dogs and Cats ‐ Solid Durable Frame ‐ Large, White, Tin           104.99   104.95     1   104.99 $     104.99
 75609200939 CVS   New Olay Eyes Collagen Peptide 24 (24 hour hydration) Eye Cream 15ml/0.5 FL OZ                           13.99              2    13.99 $      27.98
 37000779377 CVS   Align Dual Biotic Prebiotic + Probiotic Supplement 60 Gummy Exp.01/2024                                     15              8       15 $     120.00
751063145800 CVS   Gaia Herbs Milk Thistle ‐ Liver Supplement & Cleanse Support for Maintaining Healthy Liver Func          46.66    46.66     1    46.66 $      46.66
651986200733 CVS   Too Faced Shadow Insurance 24‐Hour Eyeshadow Primer 0.2 oz/ 5.7 g                                         35.3     22.9     3     35.3 $     105.90
 48231787970 CVS   LG Electronics Refrigerator Water Filter LT1000‐ADQ74793504                                              12.99              1    12.99 $      12.99
 90700000967 CVS   Mullein Blend, 1 fl oz (30 ml)                                                                           15.68              3    15.68 $      47.04
191988005894 CVS   Tectite FSBT126JR Tee                                                                                    63.07    58.49     1    63.07 $      63.07
 38877653821 CVS   Pfister Bellance Double Robe Hook in Matte Black New Open Box                                            14.98              1    14.98 $      14.98
196182393204 CVS   Lithonia Lighting ESXF1 ALO SWW2 KY DDB M2 Outdoor LED Switchable Floodlight, Knuckle or Yo             109.23     92.5     2   109.23 $     218.46
 68958355047 CVS   Whole Earth & Sea Men's Multivitamin & Mineral, 60 Tablets Exp 4/24                                       28.5              1     28.5 $      28.50
 88634363852 CVS   SKINCARE COSMETICS Retinol Eye Stick Balm The Gold Standard Anti Aging 0 .12 oz                          27.95              1    27.95 $      27.95
653341137524 CVS   TATCHA The Silk Peony Melting Under Eye Cream | Hydration with Line‐Smoothing Eye Cream fo                  62      62      2       62 $     124.00
 85805290504 CVS   Brand NEW ‐‐TP‐Link TL‐WN823N N300 USB Wireless Network Adapter                                          10.95              1    10.95 $      10.95
672555171278 CVS   Cricket S2 Elite Series 600 6 inch Shears Professional Stylist Barber Hair Cutting Scissors, Convex E    67.95              1    67.95 $      67.95
 36765510713 CVS   Medicool Turbo File 2 II Professional Manicure Pedicure Nail Filing System                               39.99              1    39.99 $      39.99
194250047516 CVS   Laura Mercier Ultra‐Blur Talc‐Free Translucent Loose Setting Powder Honey                                   48      23      1       48 $      48.00
 15794030263 CVS   Gut Connection, Digestive Balance, 60 Vegan Capsules Expiry:8/2025                                       26.99             17    26.99 $     458.83
 41260386695 CVS   Kroger Smile Sonic Pro Advanced clean sonic rechargeable w/ timer Sealed NEW 4B                             10              2       10 $      20.00
 80217080002 CVS   Wolo 8000‐A                                                                                              67.21              4    67.21 $     268.84
681168175016                                                                                                                29.99              3    29.99 $      89.97
 75020094148 CVS   Philips Norelco OneBlade QP2515/49                                                                       21.29              2    21.29 $      42.58
 86366725139 CVS   Angelus Acrylic Leather Neon Paint Set, 12 Colors Starter Set 1oz Each                                   35.99              1    35.99 $      35.99
 76630169752 CVS   American Health ‐ Ester‐C with Citrus Bioflavonoids ‐ 1000 mg ‐ 90 Capsules                              40.14              1    40.14 $      40.14
191518819168 CVS   8‚Äù; Compound Action Pliers by Ashland‚Ñ¢                                                               28.98    28.98     2    28.98 $      57.96
747396069555 CVS   Minka Lavery Wall Sconce Lighting 6211‐77, Wall Sconces Reversible Glass Damp Bath Vanity Fixt          212.38    84.95     1   212.38 $     212.38
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 20335065703 CVS   Fiskars 60mm Rotary Cutter Replacement Blades 2 Pack In Storage Case                                        11            1       11 $    11.00
 87547551646 CVS   New HP 64 Black Ink Cartridge ‐ N9J90AN EXP: May 2019                                                    15.05            1    15.05 $    15.05
 74299129568 CVS   Barbie Shaving Fun Ken, #12956, from 1994                                                                 45.5            1     45.5 $    45.50
733313050447 CVS   Shock Doctor Gel Max Power Carbon Convertible Mouth Guard, Youth, Red                                    19.99   14.66    7    19.99 $   139.93
 35156111003 CVS   Pharmagel BIO‐A Facial Treatment Serum Reduces Wrinkles Anti Aging 1fl oz. #03                           14.85            4    14.85 $    59.40
 28905840217 CVS   Simply Clean 8402100SC Brushed Nickle Finish Handheld Showerhead 6 Settings                              31.99            1    31.99 $    31.99
670367017524 CVS   Peter Thomas Roth | Even Smoother Glycolic Retinol Resurfacing Serum | Glycolic Acid Serum w                65     65     1       65 $    65.00
 13803339369 CVS   Genuine Canon Ink Cartridge CL‐276 Original For Pixma TS3520 TS4720                                      17.99            3    17.99 $    53.97
633422058115 CVS   Host Defense, MyCommunity Extract, Advanced Immune Support, Mushroom Supplement with L                   19.95   15.71    3    19.95 $    59.85
 47497331118 CVS   Marineland Hidden Submersible LED Lighting System (17 " White/Blue) üî•                                     45            1       45 $    45.00
 68958354934 CVS   Natural Factors Ultra Strength One per Day RxOmega‐3 900mg 150 softgels                                  44.07            1    44.07 $    44.07
196237386328 CVS   New Michael Kors Jet Set Large Zip Clutch Wristlet Bag ‐ Red/Gold                                           51            1       51 $    51.00
 74312011269 CVS   Nature's Bounty Advanced Triple Absorb CoQ‐10 90ct Expires: 01/2024 RIP ON BOX                           11.99            4    11.99 $    47.96
 41260000089 CVS   2 Pack‐ Kroger Smile Sonic Pro Compare to Philips Sonicare Gum Health 3 Heads                             12.5            2     12.5 $    25.00
 34449956291 CVS   Delta Chamberlain SHOWER BLACK 142747‐BL‐1                                                                  97            1       97 $    97.00
 36434245045 CVS   Dramm Revolution 9 pattern Adjustable 9‐Pattern Metal Hose Nozzle                                        22.99            1    22.99 $    22.99
651032047695 CVS   Speedball Speed Screens Screen Printing Kit, Includes Ink, Squeegee, Frame, UV Exposure Light            89.99      85    1    89.99 $    89.99
324208698662 CVS   PreserVision¬Æ AREDS 2 Formula + MultiVitamin Vitamin & Mineral Supplement 80 ct Soft Gels               30.49   33.79   28    30.49 $   853.72
 15561238151 CVS   Exo Terra Turtle Feeder Automatic Feeding Unit 100% Authentic, New & Sealed!!                            27.99            1    27.99 $    27.99
 85347173013 CVS   Edelbrock 12V 38GPH 4‐7 PSI Micro Fuel Pump Gasoline Filter 17301                                        54.99            1    54.99 $    54.99
 46677555917 CVS   Philips Hue Outdoor Lightstrip White , *Open Box, Brand New *                                            69.99            1    69.99 $    69.99
 93573840999 CVS   Cricut Fine Debossing Tip + QuickSwap Housing 2006835                                                    18.85            3    18.85 $    56.55
619659171391 CVS   SanDisk Extreme SDXC UHS‐I Memory Cards ‐ 128 GB ‐ 90 MB/s ‐ Pack of 2                                   24.99   65.99    1    24.99 $    24.99
737257887510 CVS   DENTLEY'S Colossal XXL MOOSE ANTLER Dog Chews For HEAVY CHEWERS Natural $72 MSRP                            30            1       30 $    30.00
 76753203326 CVS   Stainless Steel Ice Cream Scoop GOODCOOK With Trigger Release                                               12            4       12 $    48.00
764302204220 CVS   SheaMoisture 100% Virgin Coconut Oil For All Hair Types Daily Hydration Finishing Oil Serum Silic        11.99            1    11.99 $    11.99
 87547556221 CVS   Hewlett Packard 62 Tri Color Original HP Ink Cartridge Best By 5/2023 May ‚Äò23                          11.21            7    11.21 $    78.47
693749789017 CVS   Thorne Methyl‐Guard Plus ‐ Active folate (5‐MTHF) with Vitamins B2, B6, and B12 ‐ Supports met              56     56     5       56 $   280.00
651986505074 CVS   Too Faced Lip Injection Power Plumping Cream Liquid Lipstick Infatuated                                     22     22     7       22 $   154.00
666151062320 CVS   Dermalogica Powerbright Dark Spot Serum (1 Fl Oz) Visibly Fades Dark Spots in Days and Helps P              99     99    10       99 $   990.00
640522564828                                                                                                                99.95            1    99.95 $    99.95
 75020041227 CVS   Philips sonicare ProResults gum health 3 brush heads HX9033 FREE SHIPPING                                   11            4       11 $    44.00
737257870949 CVS   ArcadiaTrail Warm Weather Dog Boots XX‐Large 4 Booties Grey/Blue Authentic #0949                         17.55            2    17.55 $    35.10
633422031620 CVS   Host Defense, Lion's Mane Capsules, Promotes Mental Clarity, Focus and Memory, Mushroom Su               31.95   25.46    5    31.95 $   159.75
 71641116795 CVS   Sharpie¬Æ Pens With Hard Case, Fine Point, Assorted Ink Colors, Pack Of 8                                14.99            1    14.99 $    14.99
 10343949034 CVS   Epson EcoTank ET‐2760 Wireless 3‐in‐1 Copy and Scan Printer                                               220             1     220 $    220.00
737257735965 CVS   (New) Whisker City Comfort Cat Harness Reflective Girth 13 ‐ 16"(33.0‐40.6cm)                            14.79            1    14.79 $    14.79
644216383979 CVS   By Rosie Jane Eau De Parfum Spray (James) ‐ Clean Fragrance for Women ‐ Essential Oil Mist with             75     75     2       75 $   150.00
 92644343353 CVS   Klein ToolsKlein‐Kurve 8‐20 AWG Wire Stripper/Cutter                                                      25.2            3     25.2 $    75.60
700603220941 CVS   Outward Hound Dawson Swim Red Dog Life Jacket, Large                                                     34.99   39.99    2    34.99 $    69.98
 20525104465 CVS   Schiff MegaRed 500mg Krill Oil ‐ 40 SoftGels Exp. 01/2025                                                14.75            1    14.75 $    14.75
 33674152720 CVS   Nature's Way ‐ Umcka ColdCare 4oz liquid ‐ MENTHOL : Reduce Sore Throat & Cough                          19.95            2    19.95 $    39.90
614969339370 CVS   Erno‚ÄØLaszlo Phormula 3‐9 Repair Serum | Improve Texture & Glow | Protect Against Environm               295             2     295 $    590.00
651986410606 CVS   Too Faced Major Love Mini Eye Shadow Palette SMELLS LIKE FRESH GREEN PEARS!                              22.74   18.57   15    22.74 $   341.10
 10027416845 CVS   ClicGear Push Cart Mitts                                                                                 36.98            1    36.98 $    36.98
 32886076329 CVS   Romex 50ft Roll 6/3 AWG Gauge NM‐B Indoor Electrical Copper Wire Cable w Ground                         216.28            1   216.28 $   216.28
196188046074 CVS   HyperX Alloy Origins 65 ‐ Mechanical Gaming Keyboard ‚Äì Compact 65% Form Factor ‐ Linear Re             99.99   94.99    1    99.99 $    99.99
666151021167 CVS   Dermalogica Daily Superfoliant (2 Oz) Deep Pore Face Scrub ‐ Powder Exfoliator that Gently Smo              58      65    2       58 $   116.00
754502044672 CVS   Finishing Touch Flawless Cleanse Silicone Face Scrubber and Cleanser, 1 count                            39.98   12.98   13    39.98 $   519.74
673807993051 CVS   me & my BIG ideas Punch ‐ The Happy Planner Scrapbooking Supplies ‐ 9 Hole Paper Punch For D             31.53   31.88    1    31.53 $    31.53
 42049087369 CVS   Lot 2 Kwikset 92001‐115 200P 3 6AL RCS KI BBPKG Passage Locksets Polished Brass                          31.95            2    31.95 $    63.90
 20525974129 CVS   MEGARED Advanced 6X Better absorption Omega‐3s ‐ 800mg ‐ EX. 2/24 ‐ 40 Softgels                          21.05           15    21.05 $   315.75
 87547552612 CVS   Canon PIXMA 261 XL Color Ink Cartridge (E10028876)                                                       19.95            1    19.95 $    19.95
729849112834 CVS   PetSafe Elite Little Dog Spray Bark Collar for Small Dogs from 8 lbs to 55 lbs ‐ Smallest Collar Opti   119.99   94.95    1   119.99 $   119.99
 75609208119 CVS   Olay Eczema Therapy Sensitive Skin Relief Cream Colloidal Oatmeal 1.7 oz #119                            11.98           67    11.98 $   802.66
 11017570073 CVS   Dr. Scholl‚Äôs Running Insoles // Reduce Shock and Prevent Common Running                                16.84            1    16.84 $    16.84
670367013496 CVS   Peter Thomas Roth | Peptide 21 Wrinkle Resist Moisturizer | Anti‐Aging Face Cream with 21 Pep               95     55     1       95 $    95.00
300450204318 CVS   Zyrtec 24 HR Allergy Relief Liquid Gel Capsules, Cetirizine HCl Antihistamine, 12 ct                     14.17     13     4    14.17 $    56.68
 85347014774 CVS   Edelbrock Carburetor Rebuild Kit EDL1477BL 1400 1404 1405 1406 1407 1409 1411                            23.71            1    23.71 $    23.71
 28617950075 CVS   Marvy Uchida Graffiti Fabric Permanent Markers 30Pc. Set                                                    14            1       14 $    14.00
 45242571246 CVS   Milwaukee Open Lok 49‐10‐9001 Oscillating Blade Assortment ‐ Black (Pack of 3)                           16.99            5    16.99 $    84.95
 30878254281 CVS   GE 5 Outlet Designer Brushed Nickel Surge Protector                                                      15.99            2    15.99 $    31.98
720686011045 CVS   NEW! Top Fin Pro 300 Wifi Enabled Submersible Aquarium Heater Powered by Eheim                              18            1       18 $    18.00
 31604031930 CVS   Vitamin D3 5000 IU 150 Gummies 125 mcg by Nature Made 90 Count Free & Fast ship.                         11.85            3    11.85 $    35.55
727783901231 CVS   New Chapter Multivitamin for Women 50 Plus ‐ Every Woman's One Daily 55+ with Fermented P                37.95   27.97    1    37.95 $    37.95
 18084891650 CVS   Aveda Volumizing Tonic For Weightless Volume & Shine 3.4 oz NWOB                                          26.5            1     26.5 $    26.50
 15561175548 CVS   Fluval Pressurized CO2 Kit ‐ 45g (a7)                                                                    29.54            4    29.54 $   118.16
 73796638009 CVS   OMRON Total Power + Heat‚Ñ¢ TENS Therapy Pain Relief PM800 NIB NEW IN BOX                                49.98            1    49.98 $    49.98
 46396019578 CVS   Ryobi One+ 18V Cordless Lightweight Compact Blower (Tool Only) P2109BTL                                  49.99            1    49.99 $    49.99
 77705133333 CVS   RideEffex 3" Light Duty Aluminum Block Kit With 2 Degree Pinion Shims.                                      34            1       34 $    34.00
 43917110356 CVS   Wahl 5 Style Groom Pet Grooming Clipper 78000 ‐ BRAND NEW                                                 55.2            2     55.2 $   110.40
 71701101921                                                                                                                59.47            1    59.47 $    59.47
 43168250467 CVS   GE LED Decorative Soft White Dimmable Bulb 4.5 Watt ‐ Candelabra Base                                     9.15            1     9.15 $     9.15
729578425236 CVS   The Original Mighty Bright MiniFlex2 Book Light, Ultra Lightweight Reading Light, Portable Travel        10.39   10.39    1    10.39 $    10.39
 40094910328 CVS   Hamilton Beach Single Serve Blender Black Travel Lid 51101B Type B31 New in box                          21.79            1    21.79 $    21.79
 51221330834 CVS   Clover Takumi Combo ‐ Interchangeable Circular Knitting Needles                                          58.99            5    58.99 $   294.95
367703112066 CVS   SHINE ARMOR Ceramic Coating Fortify Quick Coat Car Wax Polish Spray Waterless Wash & Wax H               22.95   12.95    3    22.95 $    68.85
666151113343 CVS   Dermalogica Phyto Nature Oxygen Cream 1.7 oz ‐ Daily liquid moisturizer firms, lifts and revitaliz        125     125     2     125 $    250.00
 87547550670 CVS   Hewlett Packard ‐ 1 Original HP 65 Black Ink Cartridge EXP: 10/2024                                      14.95            5    14.95 $    74.75
 47400115057 CVS   GILLETTE SENSOR~MACH3~MEN'S SENSOR3 GIFT SET~WOMEN'S VENUS GIFT SET *U CHOOSE!*                          10.95            2    10.95 $    21.90
381371163779 CVS   Aveeno Absolutely Ageless Restorative Night Cream Face & Neck Moisturizer with Antioxidant‐R             20.49   24.99    1    20.49 $    20.49
 20335061927 CVS   Fiskars Built to DIY Precision Hand Drill W/4 Bits‐                                                      27.26            2    27.26 $    54.52
302994137008 CVS   Differin Acne Face Wash with 10% Benzoyl Peroxide, Maximum Strength OTC Acne Foaming Clea                10.99   10.12    2    10.99 $    21.98
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 28287605237 CVS   Intuit TurboTax Deluxe 2021 Federal¬† E‐File New Windows/Mac CD *NO STATE* SHIP                       7.99               1     7.99 $        7.99
 78737047056 CVS   Oneida Paul Revere 18/8 Stainless Steel 5pc. Place Setting (Service for One)                         39.99               1    39.99 $       39.99
718103349680                                                                                                            26.93               1    26.93 $       26.93
 15561221887 CVS   Exo Terra Reptile UVB 150 Desert Bulb 13 Watt NEW                                                    11.24               2    11.24 $       22.48
 45242540341 CVS   Milwaukee 48‐13‐5003 #6/#8/#10 Steel Countersink Drill Bit Set ‐ 3 Piece (0341)                       15.6              10     15.6 $      156.00
641628002672 CVS   ELEMIS Pro‐Collagen Marine Cream | Lightweight Anti‐Wrinkle Daily Face Moisturizer Firms, Smo          138      132      1     138 $       138.00
 32664766220 CVS   Eaton SGF15W‐3‐L2 15 A GFCI Residential Decorator Outlet ‐...                                        21.95               1    21.95 $       21.95
 17801743708 CVS   Feit LED Full Spectrum Grow Light Kit 2 Bulbs 24" Linkable System 19W 1200 Lumen                     21.89               1    21.89 $       21.89
367703202965 CVS   Terry Naturally CuraMed 750 mg Curcumin Complex ‐ 60 Softgels ‐ Superior Absorption BCM‐95           62.95     50.36     1    62.95 $       62.95
658010120043 CVS   Garden of Life Dr. Formulated Probiotics Mood+ Acidophilus Probiotic Supplement ‐ Promotes R         35.69     35.69     3    35.69 $      107.07
670480241202 CVS   Enzymedica Lacto, Digestive Enzymes for Complete Dairy Digestion, Offers Fast‐Acting Gas & Blo       22.99     18.73     4    22.99 $       91.96
 53334997157 CVS   2022 Skybox Metal Universe AEW All Elite Wrestling 50 Random Cards $15                               20.75               3    20.75 $       62.25
 51494103272 CVS   MegaFood Multi for Women 55 55+ 120 Tablets Exp Date 7/24                                            33.99               5    33.99 $      169.95
 43168305693 CVS   GE Bright White Plug‐in LED 12W, Neutral White Light LED12G24Q‐H/835L, 4‐Pin                         11.97              15    11.97 $      179.55
 78729155899 CVS   Hot Tools Signature Series One‐Step Blowout Styler Model: HTDR5589 BNew, BoxAsIs                     28.99               2    28.99 $       57.98
191034751041 CVS   adidas ACE Fingersave Junior Manuel Neuer Goalie Gloves, Bright Red, Size 7                             40               1       40 $       40.00
 40102045219 CVS   T‐outliner Replacement Ceramic Blade Andis Clipper Cutter GTX Trimmer Blackouts                       8.57               2     8.57 $       17.14
619659182649 CVS   SanDisk 256GB Extreme Plus SDXC UHS‐I Card ‐ C10, U3, V30, 4K UHD, SD Card ‐ SDSDXW5‐256G‐AT61N                79.99     1    79.99 $       79.99
 54732825189 CVS   Surge Protect 12Out 4200J Blk, Part OR504142, by Powerzone                                           76.17               2    76.17 $      152.34
 94664048560 CVS   Nite Ize 2‐Pack CamJam Plastic Cord Tightener w/ 8' Rope                                             10.66               1    10.66 $       10.66
 75020071972 CVS   Philips Sonicare Optimal Gum Care Brush Heads ‐ White (3‐Pack)                                       14.89              65    14.89 $      967.85
 46135335495 CVS   Sylvania H1 SilverStar High Performance Halogen Headlight 2‐Bulbs OPENBOX                            11.99               2    11.99 $       23.98
751492637440 CVS   PNY 64GB Elite‐X UHS‐I U3 V30 microSDXC Memory Card 2‐Pack ‐ 100MB/s, 4K UHD, Full HD, mic           14.99     14.99     2    14.99 $       29.98
705105080895 CVS   Kfi SYN19‐B50 Cables, Blue                                                                           96.11     73.75     1    96.11 $       96.11
 83771832629 CVS   Eazy Power 83262 7/1620nf Tap & Titanium Drill Bit Set 2 Piece                                       11.07               6    11.07 $       66.42
 76280090109 CVS   Solaray Bio CoQ‐10 100mg 30 Softgel                                                                  18.48               1    18.48 $       18.48
751492566887 CVS   PNY 32GB Turbo Attache 3 USB 3.0 Flash Drive, GREY                                                   10.99      7.98     1    10.99 $       10.99
 37431885098 CVS   SINGER GENUINE 1/4 Inch Piecing Feet Foot for Low‐Shank Sewing Machine                                7.99               1     7.99 $        7.99
316864000262 CVS   AmLactin Intensive Healing Body Lotion for Dry Skin ‚Äì 14.1 oz Pump Bottle ‚Äì 2‐in‐1 Exfoliator &  31.99     22.49     7    31.99 $      223.93
 68958020723 CVS   Natural Factors Coenzyme Q10 100mg 120 softgels Exp 3/2026 1G                                        23.98               1    23.98 $       23.98
 31604011604 CVS   Nature Made Vitamin E DL Alpha 100 Softgels 400 IU 180 mg EXP 2/28 Antioxidant                       11.72               2    11.72 $       23.44
730852202993 CVS   Shiseido Urban Environment Oil‐Free Sunscreen SPF 42 ‐ 143 mL ‐ Protects, Hydrates, Mattifies &         96        96     2       96 $      192.00
730870159439 CVS   SK‐II Facial Treatment Essence, 2.5 fl. oz.                                                            105     73.75     1     105 $       105.00
754182922918 CVS   Wattstopper BZ‐150 Occupancy Sensor Power Pack                                                       62.88      43.8     3    62.88 $      188.64
 86429404995 CVS   Metra Radio Interface OY‐INGM1 Fits GM 2000 & Up Easy Install NEW IN BOX                                45               2       45 $       90.00
 48231787963 CVS   LG Water Filter Replacement Cartridge 200gal ADQ747935                                               11.21               1    11.21 $       11.21
669191140461 CVS   Zhou Nutrition Lite Up Xtra, Vegan Pre Workout Powder with Caffeine, Clean Energy Sourced fro           99     19.49     1       99 $       99.00
363824008868 CVS   Chest Congestion, Mucinex 12 Hour Extended Release Tablets, 68ct, 600 mg Guaifenesin Relieve         32.99     19.75   316    32.99 $   10,424.84
604214445406 CVS   URBAN DECAY 24/7 Glide‐On Eyeliner Pencil, Bourbon ‐ Brown with Microfine Gold Gli er Finish ‐          25        25     3       25 $       75.00
 43168232708 CVS   LED GENERAL ELECTRIC Bent Tip Standard base Dimmable.5‐Watts, 2‐Pk                                      7.5              3      7.5 $       22.50
658580032746 CVS   BoardGame The Boys: This is Going to Hurt (Kickstarter Deluxe Edition Includes Miniature Pack &      99.99     84.97     5    99.99 $      499.95
 78484093801 CVS   Fiskars Circle Cutter w/ 3 Blades Cuts 1‚Äù to 8‚Äù Perfect Circles Crafts Scrapbook                 14.95               2    14.95 $       29.90
716281509162 CVS   Slime 40050 Tire Inflator, Portable Car Air Compressor, with Analog 100 psi Dial Gauge, Long Hos     29.99     17.99     1    29.99 $       29.99
754502043965 CVS   Finishing Touch Flawless Facial Massage Ice Roller                                                    9.88     12.99     1     9.88 $        9.88
 23535055420 CVS   Sweet Shoppe Candy Molds Hexagon Breakup 90 Cavity                                                      5.7              1      5.7 $        5.70
666151112773 CVS   Dermalogica Daily Milkfoliant, Face Exfoliator, Powder Scrub Exfoliant with AHA and BHA ‐ Calmi         65        65     2       65 $      130.00
358962203206 CVS   ScarAway Silicone Scar Gel, Helps Improve Size, Color & Texture of Hypertrophic & Keloid Scars from Injury,    27.58     5    27.58 $      137.90
 75609208133 CVS   OLAY Sensitive Mineral Zinc Oxide Sunscreen SPF 30 1.7 fl oz NEW Exp. 02/2025                         8.95             117     8.95 $    1,047.15
 88634464245 CVS   Skincare Cosmetics Retinol 6X Super Retinol Serum Night Treatment 1 oz 30 mL                         19.14               8    19.14 $      153.12
607710078499 CVS   Smashbox Studio Skin Full Coverage 24 Hour Foundation #3 Medium Cool, 1.0 Ounce                         38     39.87     2       38 $       76.00
736150166982 CVS   Laura Mercier Flawless Lumi√®re Radiance‐Perfecting Foundation 4W2 Chai                                 49        49     2       49 $       98.00
 80596025823 CVS   Dremel 456 Cut‐off Wheel Washer Set ‐ 2pc                                                             7.96               1     7.96 $        7.96
 90174417995 CVS   Pureology Clean Volume Conditioner, 8.5 Fl Oz,                                                          14              19       14 $      266.00
 77283905605 CVS   JENSEN SMPS‐560 Bluetooth Wireless Speaker with Color Changing LED Lamp                              26.65               1    26.65 $       26.65
 82617766494 CVS   A1 Cardone 79‐8737V fits Dodge Ram 1500 2003                                                        257.14               1   257.14 $      257.14
 31604029197 CVS   Nature Made Fish Oil Gummies ‐ Strawberry, Lemon, Orange 150 Gummies                                 27.91               1    27.91 $       27.91
760778086797 CVS   BRIDGESTONE 2019 e6 Golf Balls (One Dozen), Yellow                                                   21.99               1    21.99 $       21.99
633911806227 CVS   CHI Original Lava 1" Ceramic Hairstyling Flat Iron, Red                                              99.99     74.47     4    99.99 $      399.96
 32886860973 CVS   Cat 5e Plenum Cable, 24/4 Gauge, 250 Feet                                                            29.75               5    29.75 $      148.75
 47569804359 CVS   Square D QO24L70FCP Load Center, 2 Spaces, 4 Circuits, FREE SHIPPING                                  27.5               1     27.5 $       27.50
 46396037022 CVS   40 Volt Rapid Charger For Ryobi 6.0Ah 40 Volt Lithium Battery OP4050 OP40602 NEW                        26               1       26 $       26.00
474690763376                                                                                                            19.98               1    19.98 $       19.98
652308125697 CVS   NOVA Cane Holder for Rollator and Folding Walker, Walking Cane Attachment for Walker, Snap‐O         29.99     21.95     1    29.99 $       29.99
667545499364 CVS   VICTORIA'S SECRET RECKLESS VELVET MATTE CREAM LIQUID LIP STAIN TINT GLOSS BALM                        9.95               2     9.95 $       19.90
716170254401 CVS   Bobbi Brown Mini Vitamin Enriched Face Base Primer Moisturizer 0.50 oz/ 15 mL                        38.99      21.9     3    38.99 $      116.97
 34449931670 CVS   Becker‚Ñ¢ Tub & Shower Trim in Spotshield Brushed Nickel 144891 ~ NEW ~ SEALED                       149.9               1    149.9 $      149.90
 36771770248 CVS   Signature 40 Cotton Gift Pack Collection 12/Pkg                                                      41.49               1    41.49 $       41.49
 23601291004 CVS   AccuRelief Wireless 3‐in‐1 Pain Relief Device ACRL‐9100, EXP 02/2024 #004                               14              16       14 $      224.00
 54732809134 CVS   Power Zone Surge Protector Strip, 8 Outlet, 6 cord, Black with USB Port                              29.98               3    29.98 $       89.94
673419374750 CVS   LEGO Classic Lots of Bricks Construction Toy Set 11030, Build a Smiley Emoji, Parrot, Flowers & M    59.99     67.98     1    59.99 $       59.99
 27242921474 CVS   Sony UBP‐X700 4K FHD Smart Blu‐Ray Player (UBPX700/M) New Open Box                                  149.99               1   149.99 $      149.99
 75020075277 CVS   CVS CORDLESS WATER FLOSSING SYSTEM NEW SEALED                                                        27.95              13    27.95 $      363.35
 15905000796 CVS   Aqueon QuietFlow AQ2500 Submersible Utility Pump                                                     24.99               2    24.99 $       49.98
 36282596641 CVS   Abu Garcia AMBASSADEUR C3 Baitcaster Fishing Reel ‐ C3‐6501LH Left Hand                              144.8               1    144.8 $      144.80
 49022664296 CVS   Infinitive Micro SDCX Memory Card 128 GB                                                                  8              1        8 $        8.00
 46396024312 CVS   RYOBI RY31TN01 3,300 PSI Gas/Electric Turbo Pressure Washer Nozzle                                   20.41               3    20.41 $       61.23
 11296471207 CVS   Gatco Bleu Towel Ring with Chrome Finish, #4712                                                      16.95               4    16.95 $       67.80
 11120248159 CVS   BISSELL 2554 Multi‐Surface Wet/Dry Vaccum                                                           154.13               1   154.13 $      154.13
 26508329733 CVS   NEW Open Box Moen 87205SRS Birchfield 1‐Handle Pulldown Kitchen Faucet Bin186                        94.99               1    94.99 $       94.99
 17200000525 CVS   ARC Teeth Whitening Kit Enamel Safe 1 Blue Light Applicator & Emulsion New                           18.96               1    18.96 $       18.96
745883687008 CVS   Linksys RE6700: AC1200 Amplify Cross‐Band Wi‐Fi Extender, Wireless Range Booster, Gigabit Eth        99.99               1    99.99 $       99.99
192018046757 CVS   HP 58A Black Toner Cartridge | Works with HP LaserJet Enterprise M406 Series, HP LaserJet Ente      122.89    122.89     1   122.89 $      122.89
651986505036 CVS   Too Faced Lip Injection Power Plumping Cream Liquid Lipstick Filler Up                               23.75     23.75     6    23.75 $      142.50
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666151032095 CVS   Dermalogica Sound Sleep Cocoon Night Cream Gel for Face, Revitalizing Overnight Moisturizer w           89      89     2       89 $     178.00
 98132587469 CVS   BareMinerals Skinlongevity Long Life Herb Serum ‐ 3.3 Oz                                                70             1       70 $      70.00
 77341154440 CVS   LED Innovation Multicolor Ultra Bright Dome Light Kit Custom 23862                                    14.5             1     14.5 $      14.50
 29402046898 CVS   Cannon 1902340 Optimum Tournament Series Downrigger with New White Cover                             1399              1    1399 $    1,399.00
607710040250 CVS   Smashbox Photo Finish Minimize Pores Primer 1.0 Ounce                                                   39      28     1       39 $      39.00
 91209125762 CVS   Nike Womens Tech Fleece Sleeveless Sweatshirt XS Black NWT                                           47.49             1    47.49 $      47.49
381372023010 CVS   Aveeno Calm + Restore Age Renewal Anti‐Aging Eye Gel, Under Eye Cream with Nourishing Oat &          26.69    21.96    1    26.69 $      26.69
 15905156134 CVS   Aqueon LED Aquarium Light Fixture, 36‐Inch                                                            120              2     120 $      240.00
 68958207285 CVS   Natural Factors Ubiquinol Active CoQ10 100mg 60 Softgels Sealed EXP 08/2025                          27.98             5    27.98 $     139.90
 36577645030 CVS   Oregon 12 Volt Electric Sure Sharp Saw Chain Sharpener 575214 #5030                                     33             3       33 $      99.00
666151020092 CVS   Dermalogica Multi‐Active Toner (1.7 Fl Oz) Hydrating Facial Toner Spray ‐ Help Condition Skin an       9.5       13    2      9.5 $      19.00
607845015178 CVS   NARS The Multiple, Orgasm,0.5 Ounce (Pack of 1)                                                         39    39.99    1       39 $      39.00
704142000439 CVS   Florastor Select Immunity Boost Daily Probiotic & Immune Support Supplement for Women and            28.99    23.49    1    28.99 $      28.99
 76280049046 CVS   Solaray L‐Carnitine 500mg 60 Capsule                                                                 30.99             1    30.99 $      30.99
736150041913 CVS   Laura Mercier Tinted Oil Free SPF 20 Moisturizer, Tan, 1.7 Fl Oz                                        44             5       44 $     220.00
751063399906 CVS   Gaia Herbs Thyroid Support ‐ Made with Ashwagandha, Kelp, Brown Seaweed, and Schisandra to           27.98    27.98    2    27.98 $      55.96
 77924177705 CVS   NEW Weber Genesis 300 Series Premium Grill Cover Heavy Duty Fits Genesis series                      71.99             4    71.99 $     287.96
 41226021806 CVS   HD Designs Grill Instant Read Digital Thermometer                                                       17             1       17 $      17.00
 73091052012 CVS   Pet Armor Plus Flea and Tick Collar for Dogs 2 collars 12 weeks and Older                            14.99             8    14.99 $     119.92
 27557984638 CVS   Lutron Motion Sensor 120‐277V Switch Single‐Pole or Multi MS‐OPS6M2‐DVR‐WH I2                        21.35             1    21.35 $      21.35
743921311205 CVS   Gingher Epaulette 3‐1/2 Inch Embroidery Scissors                                                     19.99    24.99    1    19.99 $      19.99
 15794026594 CVS   Country Life Easy Iron 25 mg 90 Vegan Caps                                                           13.12             3    13.12 $      39.36
190623000737 CVS   TevraPet Proact Flea and Tick Collar for Cats, 8 Months of Flea and Tick Protection, Repels Mosqu    23.99    18.74    2    23.99 $      47.98
604079032643 CVS   philosophy amazing grace eau de toilette, 2 Fl. Oz.                                                     60    55.98    1       60 $      60.00
607710078468 CVS   Smashbox Studio Skin 24 Hour Full Coverage Foundation ‐ 2.3 Light‐Med Women Foundation I01              38             2       38 $      76.00
 31604026134 CVS   Nature Made CoQ10 100 mg for Heart Health Support, 72 Softgels(6134) Exp:10/2025                     11.99             4    11.99 $      47.96
643334553912 CVS   TypeS 4pc Plug & Glow Micro light Smart Micro LED kit #3912 NEW FAST SHIPPING!!!                     23.99             1    23.99 $      23.99
661168000167 CVS   Lunch Bag Reusable Cooler Lunch Tote Insulated Leak Proof Lunch Box Container For Ladies Men            20       20    1       20 $      20.00
605592263446 CVS   Nexxus Hydra‐Light Weightless Moisture Shampoo Replenishing Shampoo for Oily Hair Silicone f         15.99    10.98    1    15.99 $      15.99
 33674617007 CVS   Nature's Way ‐ Korean Ginseng Root Standardized ‐ 60 Vegetarian Cpasules                             45.99             1    45.99 $      45.99
631257121165 CVS   Renew Life Women's Probiotic Capsules, 50 Billion CFU Guaranteed, Supports Vaginal, Urinary, D       44.99    30.95   25    44.99 $   1,124.75
695111002571 CVS   Super Beta Prostate Advanced Chewables ‐ Prostate Support Supplement for Men's Health (60 C          39.99    32.79   15    39.99 $     599.85
651986501359 CVS   Too Faced Cosmetics Lip Injection Extreme, 0.14 oz                                                      28    28.99    4       28 $     112.00
 50428332054 CVS   NEW Water Flossing System Cordless Rechargeable Dental Hygiene FREE SHIPPING                         15.99             1    15.99 $      15.99
 18084908174 CVS   NEW NWOB Authentic Aveda Pure Abundance Style Prep 3.4 Oz 100ml                                      21.95             1    21.95 $      21.95
647865195115 CVS   NEURIVA Brain + Eye Supplement for Memory, Focus & Concentration with Lutein & Vitamins A C          29.99    32.49   16    29.99 $     479.84
 37000919957 CVS   Align Women Prebiotic/Probiotic Cranberry Supplement Vitamin 50 Gummy Exp 1/24                       13.53             6    13.53 $      81.18
363824995274 CVS   Mucinex Nightshift Cold & Flu + Severe All In One 20 Caplets Fast release09/2024                        12             1       12 $      12.00
 75020092496 CVS   Philips One by Sonicare Rechargeable Toothbrush, Snow, HY1200/07                                     19.99             7    19.99 $     139.93
765809153288 CVS   NAPA Gold 3484 Fuel Filter                                                                           30.86    31.44    2    30.86 $      61.72
 45242307661 CVS   Milwaukee 48‐89‐9204 Step Drill Bit                                                                  19.75             8    19.75 $     158.00
 76630169615 CVS   American Health Ester C Citrus Bioflavonoids 500 mg 120 Caps FRESH                                   17.48             1    17.48 $      17.48
 77914032434 CVS   Brand New ‐ Bostitch B8E‐VALUE B8 Impulse 45 Sheet Electric Stapler + Staples                         36.5             1     36.5 $      36.50
 15905060813 CVS   For Aqueon Quiet Flow Specialty Filter LED Pro 10,20/75,30/50 Compatible Bio Bar                     19.98             1    19.98 $      19.98
729849147683 CVS   PetSafe Sliding Glass Cat and Dog Door Insert ‐ Great for Rentals and Apartments ‐ Small, Medium    279.99   274.95    2   279.99 $     559.98
727783050007 CVS   New Chapter Wholemega Fish Oil Supplement ‐ Wild Alaskan Salmon Oil with Omega‐3 + Vitamin           88.15    42.99    1    88.15 $      88.15
736150000316 CVS   Laura Mercier Loose Setting Powder, Translucent, 1 Oz (Pack of 1)                                    43.35       50    2    43.35 $      86.70
 30768003913 CVS    üåüOSTEO BI‐FLEX JOINT HEALTH INFLAMMATORY RESPONSE 30CT SUPPLEMENT ‐ EXP2024 üå                       16             2       16 $      32.00
 26508244470 CVS   Moen G18195 1800 Series 23 x 18 in. Stainless Steel Single Bowl Undermount Kitch                     139.1             3    139.1 $     417.30
 75691017743 CVS   SINGER Stitch Quick + (Two Thread) Hand Held Mending Machine, White                                  23.98             1    23.98 $      23.98
 48107212230 CVS   GNC Women's Multivitamin 50 Plus 120 Caplets Timed‐Release(EXP:12/2023)                              10.98             7    10.98 $      76.86
 25077169818 CVS   Ester‐C Vitamin C ‐ 24 Hour Immune Support 1000mg 90ct, Exp 02/27, NEW & SEALED                         14             1       14 $      14.00
660685051133                                                                                                            79.99             2    79.99 $     159.98
 12277667060 CVS   VH essentials Vitamic C Vaginal Tablet 6 Day Supply new in box                                           9             2        9 $      18.00
 90385480023 CVS   Dr. Ph. Martin's Bombay India Ink 12 Colors (Set #1) NEW Sealed 1oz                                   53.8             2     53.8 $     107.60
 34613702808 CVS   Eco Flo Soaker Hose                                                                                  20.45             2    20.45 $      40.90
 51494102732 CVS   Men's 55+, Advanced Multivitamin, 60 Tablets                                                         26.99             1    26.99 $      26.99
 73796267254 CVS   Lucifer: Complete Series Seasons 1‐3 DVD                                                             16.99             7    16.99 $     118.93
 80596058357 CVS   New Dremel Universal Cutting Blades MM482B 3pk Blade‚Äôs~ JC                                            10             1       10 $      10.00
679077109819 CVS   Char‐Broil ‐ Wireless Programmable Grilling BBQ Temp Thermometer 8 Meat Setting                      14.94             4    14.94 $      59.76
650240055010 CVS   Cicatricure Vitamin C & Papamiel Nectar Glow Serum, 1 Fl Oz (Pack of 1)                              20.99     4.23    1    20.99 $      20.99
607710004733 CVS   Smashbox The Original Photo Finish Smooth & Blur Primer, Plain, 1 Fl Oz                              30.42    33.08    2    30.42 $      60.84
 43168684101 CVS   General Electric 60w 2pk Refresh Daylight HD Equivalent A19 LED                                      10.99             1    10.99 $      10.99
607845066118 CVS   Natural Radiant Longwear Foundation ‐ Santa Fe by NARS for Women ‐ 1 oz Foundation                      50     49.6    1       50 $      50.00
 95121428321 CVS   Sportline Walking Shop Digital Sport Timer & Stopwatch 082020518 Gray New Sealed                        15             1       15 $      15.00
194644088187 CVS   Anker PowerConf S360 USB Speakerphone, Smart Voice Enhancement, 360¬∞ Voice Coverage, S             119.99    63.99    1   119.99 $     119.99
697045153664 CVS   AHAVA Crystal Osmoter X6 Serum ‐ Revolutionary Youth Booster & Intense Wrinkle Reduction, E             80       80    4       80 $     320.00
 68958026169 CVS   Natural Factors PhosphatidylSerine (PS) 100mg, 60 Soft Gels Expiration 09/2024                       24.95             2    24.95 $      49.90
685068977114 CVS   Nike Hoops Elite Pro Backpack (Dark Grey/Black/Metallic Cool Grey)                                    145     97.49    1     145 $      145.00
 41333659824 CVS   Duracell Hearing Aid Batteries Size 312 ‐ 24 Batteries On Card Read                                   6.99             1     6.99 $       6.99
 38877623299 CVS   READ PFISTER Masey LF‐048‐MCKK Bathroom Faucet with Push & Seal Pop Up                               52.99             1    52.99 $      52.99
 76174205510 CVS   DeWalt 12 in. Bi‐Metal Hacksaw Blades 18 TPI 2 pk                                                     9.95             1     9.95 $       9.95
639428277154 CVS   JAPONESQUE Precision Concealer Brush                                                                    13             2       13 $      26.00
 89301763340 CVS   Mr. Heater Propane Gas Grill Quick Connect Adapter ‐ F276334 T3                                      16.99             1    16.99 $      16.99
 48107207922 CVS   GNC Women's Multivitamin Energy & Metabolism Dietary Supplement                                      14.13             1    14.13 $      14.13
611247373378 CVS   Keurig K‐Cafe Special Edition Single Serve K‐Cup Pod Coffee, Latte and Cappuccino Maker, Nickel     199.99   191.94    1   199.99 $     199.99
 12502662563 CVS   Brother SA101 Sewing Machine Dynamic Even Feed Walking Foot New                                      99.99             1    99.99 $      99.99
742676403555 CVS   The Republic of Tea ‚Äî Organic Turmeric Ginger Green Tea Tin, 50 Tea Bags, Naturally Caffeinate     14.03    19.99    2    14.03 $      28.06
 30772086773 CVS   Align Probiotic Bloating Relief + Food Digestion 28 Ct, Exp 01/25 #6773                               13.4            81     13.4 $   1,085.40
194248007096 CVS   bareMinerals Barepro 16HR Skin‐Perfecting Powder Foundation, Matte Pressed Powder Foundat               38      38     1       38 $      38.00
400013988584 CVS   NIB Full Size KVD Kat Von D Lock It Liquid Foundation 1.0 fl oz Medium 54 Cool                          48             1       48 $      48.00
 76630169608 CVS   American Health Ester‐C with Citrus Bioflavonoids 500 mg 60 Caps                                      9.83             4     9.83 $      39.32
 21614802071 CVS   Nespresso Vertuo Next & Aeroccino3 Coffee Machine Water Tank Lid is Missing .                        54.99             1    54.99 $      54.99
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651986909865 CVS   Too Femme Ethereal Eye Shadow & Pressed Pigment Palette                                               24.99      23.4     1    24.99 $       24.99
 54986000288 CVS   Essentials Earth Science Daily Radiance Boosting Serum All skin types 1 Oz                            11.99               3    11.99 $       35.97
686140311611 CVS   Stanley 31161 Indoor Remote Control, Polarized 1‐Outlet Wireless Remote                               14.99               1    14.99 $       14.99
607845066026 CVS   NARS Natural Radiant Longwear Foundation ‐ Yukon                                                         50      43.9     1       50 $       50.00
704142000484 CVS   Florastor Select Gut Boost Daily Probiotic & Prebiotic Supplement for Women and Men, Boosts G         28.99     21.57     1    28.99 $       28.99
193395850791 CVS   THE NORTH FACE Men's Wander ¬º Zip Performance Pullover, TNF Black, Large                             59.95               1    59.95 $       59.95
 42037104764 CVS   Gly‐Oxide Alcohol‐Free Antiseptic Mouth Sore Rinse, 2 oz                                              14.99               2    14.99 $       29.98
631257121011 CVS   Renew Life Women's Probiotic Capsules, Supports Vaginal, Urinary, Digestive and Immune Healt          89.99     71.99     7    89.99 $      629.93
 92644591112 CVS   Klein Tools KTSB11 ‐ 7/8"‐1‐1/8" Step Drill Bit #11                                                    27.5               5     27.5 $      137.50
 51494100097 CVS   Megafood Turmeric Curcumin Strength Whole Body 90 Tablets                                             45.42               1    45.42 $       45.42
 33317209729 CVS   Texas Instruments TI‐84 PLUS Graphing Calculator. Open Box Includee Cable                             76.64               1    76.64 $       76.64
 74108317179 CVS   ConairMAN No‐Slip Grip 20‐piece Hair Clipper, Includes Battery Operated Detail                           21               1       21 $       21.00
730976090407 CVS   June Tailor Iron On Art Wear Ink Jet Transfer Sheets 10 pack                                           18.5      18.5     1     18.5 $       18.50
716170124407 CVS   Bobbi Brown Skin Foundation Stick, No. 4.5 Warm Natural, 0.31 Oz                                      65.93     21.31     2    65.93 $      131.86
 45242223800 CVS   Milwaukee 49‐56‐0517 1" Diamond Plus Hole Saw ‐ Red ( Porcelain, Tile, Stone )                        22.99               1    22.99 $       22.99
673419264419 CVS   LEGO Architecture London Skyline Collection 21034 Building Set Model Kit and Gift for Kids and A      39.99     36.25     2    39.99 $       79.98
763905005708 CVS   Rubbermaid Commercial FG400570 Standard Aerosol Odor Control LED Dispenser, White, 3.56"              77.58               1    77.58 $       77.58
631656711455 CVS   Mass Gainer | MuscleTech 100% Mass Gainer Protein Powder | Protein Powder for Muscle Gain             29.99               1    29.99 $       29.99
693749011316 CVS   Thorne Women's Multi 50+ ‐ Daily Multivitamin Without Iron and Copper for Women ‐ Compreh                48     47.95     2       48 $       96.00
696859961960 CVS   L√çLL√âbaby Complete Airflow Ergonomic 6‐in‐1 Baby Carrier Newborn to Toddler ‐ with Lumbar 124.99               160      1   124.99 $      124.99
 45242610853 CVS   Milwaukee Hole Dozer Bi‐Metal Hole Saw Kit (8‐Piece)                                                  21.21               5    21.21 $      106.05
 75020018427 CVS   Philips Norelco Replacement Shaver Head HQ56 (HQ56/52)                                                   19               4       19 $       76.00
 51494101070 CVS   MegaFood Men s One Daily Iron Free 60 Tablets Dairy‐Free, Gluten‐Free,                                24.95               2    24.95 $       49.90
667383109043 CVS   Nourish Organic | Lightweight Moisturizing Face Lotion ‐ Rosewater & Argan | GMO‐Free, Cruelt         21.99     25.88     1    21.99 $       21.99
 37431887894 CVS   Singer Even Feed Foot 250060096                                                                       15.49               2    15.49 $       30.98
 78477588314 CVS   Leviton 15 Amp ‐ Single Pole Smart Circuit Breaker ‐ R07‐LB115‐DSR (C12‐1)                               60               1       60 $       60.00
755970407808 CVS   Cosequin Senior Joint Health Supplement for Senior Dogs ‐ With Glucosamine, Chondroitin, Ome          25.99               6    25.99 $      155.94
454643131636 CVS   Battery Case,Patea Portable for iPhone 6 /6S Charger Case 3200mAh Ultra Slim                          28.99               1    28.99 $       28.99
693749013587 CVS   Thorne Ovarian Care ‐ Women's Health ‐ Inositol, CoQ10, Folate, and Polyphenols ‐ Promote Hea            56       56      2       56 $      112.00
737257945173 CVS   Great Choice Retractable 16 Ft. Leash Tape Gray Large                                                 15.99               1    15.99 $       15.99
737257870802 CVS   Arcadia Trail Packable DOG Backpack Gray & Black Size XL XXL 32.5in‐38in NWT                          26.99               1    26.99 $       26.99
 92636254315 CVS   Targus 4‐Port USB 2.0 Hub with Sleek and Travel Friendly, Black (ACH114US)                            17.99     12.85     3    17.99 $       53.97
371730000531 CVS   HIMS Fast Absorbing Climax Control delay Spray for Men with lidocaine to Reduce Sensitivity and Last Longe      36.76     1    36.76 $       36.76
 34449685115 CVS   Brizo 1‐5/8" Drain Assembly with Overflow Model: RP72412BL, Matte Black,                                 39               2       39 $       78.00
703113617249 CVS   Vitamix Personal Cup Adapter ‐ 61724, Clear                                                          144.95    124.95     1   144.95 $      144.95
381370011378 CVS   Aveeno Skin Relief Overnight Intense Moisture Cream with Triple Oat Complex & Natural Shea B          14.96     16.93     2    14.96 $       29.92
190623000119 CVS   TevraPet FirstAct Plus Flea and Tick Topical for Cats over 1.5lbs, 3 Dose Waterproof Flea and Tick    19.97     19.97     2    19.97 $       39.94
 76812134875 CVS   24359 OEMTOOLS Battery Tester                                                                            55               1       55 $       55.00
 75020100788 CVS   Philips Sonicare 4100 Electric Toothbrush ‐ White/Blue (HX3681/27)                                    28.49               3    28.49 $       85.47
 48107229511 CVS   BodyDynamix Slim PM Metabolism Support & Stimulant Free 60 Capsules Exp. 12/2023                      22.99               1    22.99 $       22.99
307660801351 CVS   Abreva Cold Sore Treatment .07 Oz                                                                               16.11     7    16.11 $      112.77
740275058404 CVS   Wush by Black Wolf ‐ Water Powered Ear Cleaner ‐ Safe & Effective ‐ Electric Triple Jet Stream with 3 Pressu    79.99     4    79.99 $      319.96
 29194350708 CVS   Pro Grip 350701 16' X 1‐1/2" Commercial Grade Ratchet Tie Down 350701 #0708                           32.99               1    32.99 $       32.99
 45908101312 CVS   Farberware 2‐Piece Shears Set EDGEKEEPER Kitchen + Multipurpose Utility Scissors                      23.14               1    23.14 $       23.14
611728289310 CVS   Quoizel CNR1716BN Contour Semi‐Flush Ceiling Lighting, 3‐Light, 180 Watts, Brushed Nickel (9" H 149.99                    1   149.99 $      149.99
 73577164475 CVS   Westcott Heavy Duty Carbo Titanium 8" Straight Handle Scissors #16447                                  18.7               1     18.7 $       18.70
 12502634867 CVS   BROTHER TN221Y YELLOW Laser TONER Cartridge HL‐3140CW 3170CDW MFC‐9130CW 9330CDW                      19.98               2    19.98 $       39.96
 10343873315 CVS   Epson 60 Magenta Pack Ink Genuine OEM Sealed Expired 08/2016                                           9.35               3     9.35 $       28.05
 19495991472 CVS   Keyless Entry Remote ‐ Dorman# 99147 for Nissan 2002 ‐ 2012 New                                       13.96               2    13.96 $       27.92
748960355463 CVS   Ruffwear, Front Range Dog Harness, Reflective and Padded Harness for Training and Everyday, H         49.95     61.99     1    49.95 $       49.95
735078044464                                                                                                               108               1     108 $       108.00
300651431285 CVS   Systane Ultra Eye Drops Lubricant High Performance,Two 4ml bottles, 0.14 Fl. Oz (Pack of 2)           11.95      9.99     4    11.95 $       47.80
 74108463128 CVS   BaByliss Pro Studio Design Series 1.25 Inch Crimpcurl ‐ BCI005UC                                         32               2       32 $       64.00
 84113571060                                                                                                             86.05     36.46     1    86.05 $       86.05
 90174183791 CVS   Paul Mitchell Extra Body Sculpting Hair Gel, 6.8 Oz                                                   13.99               3    13.99 $       41.97
681035415016 CVS   General Tools Natural Gas Detector, Leak Sniffer Pen PNG2000A,Gray                                    41.99     39.99     2    41.99 $       83.98
667383109036 CVS   Nourish Organic | Ultra Hydrating Face Cream ‐ Pomegranate & Argan | GMO‐Free, Cruelty Free           22.99     20.52     4    22.99 $       91.96
 20335071100 CVS   Fiskars DuoLoop Rotary Cutter Switches From 45mm To 60mm                                              19.99               1    19.99 $       19.99
666151020818 CVS   Dermalogica Antioxidant Hydramist Toner Anti‐Aging Toner Spray for Face that helps Firm and H            38        47     1       38 $       38.00
324208698648 CVS   PreserVision AREDS 2 + Multivitamin 2‐in‐1 Eye Contains Vitamin C D E & Zinc Softgels Packaging       40.32     28.72   300    40.32 $   12,096.00
651473712664 CVS   Perricone MD Cold Plasma Plus+ The Intensive Hydrating Complex, 2 oz. (Pack of 1)                       185      185      1     185 $       185.00
 17817771306 CVS   BOSE SoundLink Micro Orange Portable WATERPROOF Speaker System NIB FREE SHIPPING                     109.99               1   109.99 $      109.99
 40102235856 CVS   Andis 23585 EasyClip Whisper 12‐Piece Adjustable Blade Clipper Kit, Pet Grooming, PM‐4                60.37       90      5    60.37 $      301.85
 38753905440 CVS   OATEY Designline 6"x6" Stainless Steel Square Shower Drain w/Cover DSS4060R2                             22               1       22 $       22.00
761318053194 CVS   REVLON One‐Step‚Ñ¢ Blowout Curls | Dry and Curl in One Step                                           74.99       40      2    74.99 $      149.98
 75609199141 CVS   Olay Regenerist Miner Face Moisturizer Zinc Oxide SPF 15 1.7oz EXP: 07/2022 & Up                      12.65              10    12.65 $      126.50
 97612322347 CVS   Zoo Med 097612322347 Day & Night Desert Lighting Kit ‐ 097612322347                                   38.56               1    38.56 $       38.56
 32277751804 CVS   FORNEY Pressure Washer Spray Gun Handle 4000 Psi                                                      29.99               1    29.99 $       29.99
 15561102131 CVS   Fluval FX2 Aquarium Filter ~ BRAND NEW ~ NEVER USED ~ OPEN BOX                                       217.96               3   217.96 $      653.88
729849104570 CVS   PetSafe Indoor Ultrasonic Dog Bark Control ‐ No Collar Needed ‐ Up to 25 ft Range ‐ Anti‐Bark Pe      44.99     41.99     1    44.99 $       44.99
190446241256 CVS   DonJoy Performance Bionic Comfort Hinged Knee Brace ‐ Small/Medium                                              12.99    24    12.99 $      311.76
687735120007 CVS   Pacifica Beauty, Indian Coconut Nectar Spray Clean Fragrance Perfume, Made with Natural & Ess            22     35.29     2       22 $       44.00
 68958028064 CVS   Natural Factors, Acetyl‐L‐Carnitine, 500 mg, 120 Vegetarian Capsules                                  49.99               2    49.99 $       99.98
 49022044722 CVS   Walgreens Effectaclean Sonic Replacement Brush Heads                                                  11.99               2    11.99 $       23.98
671090014095 CVS   Woodford 17CP‐10‐MH Model 17 Wall Faucet, 10‐Inch, CP Inlet, Metal Handle                              46.4     56.03     2     46.4 $       92.80
 47400313088 CVS   Gillette Mach3 Shaving Razors 10 Cartridges‐ Up to 10 Months NEW Damaged Package                      12.99              16    12.99 $      207.84
195158477696 CVS   Faux Leather Earring Making Kit by Bead Landing‚Ñ¢                                                    54.98        50     2    54.98 $      109.96
740617309829 CVS   Kingston DataTraveler Exodia DTX/64GB Flash Drive USB 3.2 Gen 1 ‐ with Protective Cap and Key          5.49      7.25     1     5.49 $        5.49
 30768062132 CVS   Sundown Naturals Red East Lice 1200mg Capsules ‐ 240 Count. Exp. 10/25                                33.15               4    33.15 $      132.60
 81069506580 CVS   Portfolio 12' ft Lamp Cord Set 18/2 Dark Brown #0040273 Model# 862L NEW                               11.99               1    11.99 $       11.99
 46716101099 CVS   D'ADDARIO RICO REEDS ‐ BOX 10 (Assorted Instruments/Strengths)                                        42.24               1    42.24 $       42.24
 42899703907 CVS   Reese Towpower 7039000 Elite 2 inch Receiver Lock 1/2 5/8 pin boat truck rv car                       21.95               1    21.95 $       21.95
730852144736 CVS   Shiseido Ultimate Sun Protection Lotion ‐ 100 mL ‐ Broad‐Spectrum SPF 50+ Mineral Sunscreen f            42       42      2       42 $       84.00
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682223020043 CVS   Jack Black Double‐Duty Face Moisturizer SPF 20, 1.5 Fl Oz                                               18      18      4       18 $      72.00
 21078019619 CVS   WOW! Source Naturals Wellness Formula Advance Immune Support 120 Caps Exp. 8/25                      17.88              5    17.88 $      89.40
 24972673161 CVS   Glandex Peanut Butter Soft Chews for Dogs (60 count)                                                 21.75              8    21.75 $     174.00
651986007493 CVS   Too Faced Better Than Chocolate Eyeshadow Palette                                                    14.98    16.49     1    14.98 $      14.98
 75609199646 CVS   Olay Ultra Rich Hydrating Moisturizer Fragrance‐Free 0.5 oz Trial Size 15mL                           9.92              6     9.92 $      59.52
307660419761 CVS   Citrucel Fiber Therapy Caplets for Irregularity, Easy to Swallow Methylcellulose , 180 Count         31.23      32      9    31.23 $     281.07
 54732821303 CVS   Wire & Cable PB504142 12‐Outlet Premium Electronics with 14‐3 SJT 6‐Feet Cord                           28              1       28 $      28.00
651986800216 CVS   Too Faced Better Than Sex Mascara 0.27 Ounce Full Size                                                  29    17.79     2       29 $      58.00
 46135313714                                                                                                            71.96              1    71.96 $      71.96
 97612300062 CVS   Zoo Med ReptiTherm UTH Under Tank Heater 30‐40 Gallon Terrarium (RH‐5) FREE SHIP                      18.5              2     18.5 $      37.00
 37000624011 CVS   Align Probiotic Gummies, Digestive De‐stress and Ashwagandha, Dietary 07/2023                         12.5              8     12.5 $     100.00
650240052040 CVS   TEATRICAL Pro‐Aclarant Face Cream, 1.7 oz ‐ Brightening Moisturizer with Vitamin B3, SPF 15, &        8.99              1     8.99 $       8.99
 90672373021 CVS   ROYAL & LANGNICKEL ESSENTIALS ACRYLIC 32 PIECE ART SET IN METAL CASE                                 27.96              1    27.96 $      27.96
 34449794602 CVS   Bar Faucet Lorain Chrome 2‐handle Bar and Prep Kitchen Faucet                                        44.19              1    44.19 $      44.19
 85267597234 CVS   Honeywell RTH6360D 5‐2 Day Programmable Thermostat ‐ White                                            23.8              1     23.8 $      23.80
 28845529005 CVS   Blazer CWL529 ‐ 3‐1/2 In. x 2‐1/2 In. LED Wide View                                                  20.65              1    20.65 $      20.65
 53538230937 CVS   Grandeur WINWIN_SP_ESET_238 Windsor Solid Brass Single Cylinder ‐ Brass                             468.75              1   468.75 $     468.75
 30111501257 CVS   Royal Canin Yorkshire Terrier Puppy Breed Specific Dry Dog Food, 2.5 lb bag. 232                        33              1       33 $      33.00
 46716101082 CVS   D'ADDARIO RICO REEDS ‐ BOX 10 (Assorted Instruments/Strengths)                                       42.24              4    42.24 $     168.96
367703112035 CVS   Terry Naturally Curamin Extra Strength ‐ 30 Tablets ‐ Non‐Addictive Pain Relief with Curcumin, Bo    25.95      18      3    25.95 $      77.85
 46798265863 CVS   Tetra Pond Water Garden Pump 125 gph For Small Waterfalls, Filters open box                          28.99              9    28.99 $     260.91
346581670202 CVS   Salonpas Pain Relieving Menthol and Methyl Salicylate Patch, 20 Count, for Back, Neck, Shoulder, Knee Pain     18.9     1     18.9 $      18.90
307667843606 CVS   Nicorette Coated 2mg Nicotine Gum to Quit Smoking ‐ Spearmint Burst Flavored Stop Smoking A             50    48.89     1       50 $      50.00
 48107134471 CVS   2 X GNC Milk Thistle 1300mg Support Healthy Liver Function 60 Capsules EXP:02/24                      41.4              1     41.4 $      41.40
755970450217 CVS   Nutramax Dasuquin with MSM Joint Health Supplement for Small to Medium Dogs ‐ With Glucos            44.99    44.99    15    44.99 $     674.85
 92644692871 CVS   Klein Tools CL390 Auto‐Ranging Digital Clamp Meter (CL390)                                           58.99              1    58.99 $      58.99
358962203404 CVS   ScarAway Clear Silicone Scar Sheets, White, 10 Count                                                    45    21.28    62       45 $   2,790.00
324208697207 CVS   PreserVision Eye Vitamin & Mineral Supplement, from Bausch + Lomb, 120 Count (Pack of 1)             34.99    23.95   123    34.99 $   4,303.77
 68958028293 CVS   Natural Factors Dietary Supplements & Vitamins ‐ CHOOSE ITEM!                                        15.99              1    15.99 $      15.99
 45242513970 CVS   Milwaukee Electric Tools 2475‐20 M12 63‐Cubic Feet Capacity Compact Inflator                         92.33              1    92.33 $      92.33
670367014240 CVS   Peter Thomas Roth | Water Drench Hyaluronic Cloud Makeup Removing Gel Cleanser | Hydratin               30       32     1       30 $      30.00
646630006472 CVS   SexyHair Big Blow Dry Volumizing Gel| Added Volume with Hold | Up to 72 Hours of Humidity Re         21.95    19.99     1    21.95 $      21.95
 37155155385 CVS   Thrifty 1795‐T Amer. Stan. Tract Line Diverter                                                          47              1       47 $      47.00
693749006916 CVS   Thorne Hormone Advantage ‐ (Formerly DIM Advantage) Estrogen Support & Hormone Balance f                47       39    11       47 $     517.00
607710006911 CVS   Smashbox Smashbox X BECCA Shimmering Skin Perfector‚Ñ¢ Pressed Highlighter Rose Quartz               23.52    31.52     1    23.52 $      23.52
 78729555194 CVS   Nano Ceramic Digital Flat Iron 1 1/2 " XL White Black 5194                                           39.99              2    39.99 $      79.98
745974087229 CVS   Lithonia Lighting OFTM 300Q 120 LP BZ M6 Mini Twin‐Head Flood Light 150‐Watt Double Ended            29.99              1    29.99 $      29.99
740617297904 CVS   Kingston 32GB SDHC Canvas Select Plus 100MB/s Read Class 10 UHS‐I U1 V10 Memory Card (SDS             6.99    19.98     6     6.99 $      41.94
381372021900 CVS   Aveeno Favorites Moisture Rich Soy Formula (4fl & 5oz) Exp 09/2024                                   16.14              3    16.14 $      48.42
 75741017815 CVS   Buffalo Plaid Truck Pumpkin Maple Leaf Hello Fall Table Runner, Seasonal Autumn                      17.91              2    17.91 $      35.82
 87547552452 CVS   Genuine Canon 240XL Black Ink Cartridge New Sealed                                                   19.99              7    19.99 $     139.93
754870409417 CVS   Chesapeake Bay Candle 100% Pure Essential Diffuser Oils Vitality Set (Awake, Uplift, Revitalize) (3  21.99              1    21.99 $      21.99
 15812540248 CVS   Empire 540‐24 24" I‐Beam Level                                                                       17.49              1    17.49 $      17.49
 20525118738 CVS   Schiff MoveFree Joint Health Avanced Glucosamine+Chondroitin ‐ 80 Tab Exp. 06/25                        14              2       14 $      28.00
640665497106 CVS   Hinkley 4971BN Three Light Semi‐Flush Mount                                                           269               3     269 $      807.00
602004123909 CVS   Benefit Theyre Real Magnet Extreme Lengthening Mascara ‐ Black Mascara Women 0.32 oz                    27    11.95     8       27 $     216.00
 15012677782 CVS   Hallmark ‐ How the Grinch Stole Christmas Change of Heart (2002) Ornament                               15              1       15 $      15.00
 77985004651 CVS   Rain Bird SST‐600in 6‐Zone Indoor Irrigation Timer NO POWER CORD                                        22              4       22 $      88.00
 95521250997 CVS   Craftmade Builder 2‐Note Chime Kit White, 2 Lighted Button 16V Transformer C102L                     23.26              1    23.26 $      23.26
765809149960 CVS   NOS NEW NAPA FUEL FILTER 3038                                                                        10.05              1    10.05 $      10.05
717334248489 CVS   Dr. Andrew Weil by Origins Mega‐Mushroom Relief & Resilience Soothing Treatment Lotion 200ml                  29.19    16    29.19 $     467.04
 94925018936 CVS   New Challenger 20 Amp 1/2 In. 1‐pole Type A Replacement Left Clip Thin Circuit                       33.99              3    33.99 $     101.97
 19200997164 CVS   Lysol Disinfecting Wipes w/ Lemon & Lime Blossom Scent,80 Wipes NEW NEVER OPENED                        10              1       10 $      10.00
745167074937 CVS   Elite Carbon Stabilizer 11"                                                                         129.99              2   129.99 $     259.98
761318021858 CVS   Revlon Copper Smooth Hair Flat Iron | Frizz Control for Fast and Shiny Styles, (XL 1‐1/2 in), Black  44.99    32.65    10    44.99 $     449.90
633422027326 CVS   Host Defense, Turkey Tail Capsules, Natural Immune System and Digestive Support, Mushroom S          31.95    25.46     3    31.95 $      95.85
 47469076337                                                                                                            19.98              2    19.98 $      39.96
 48107101398 CVS   GNC Mens Maca Man 60ct Exp10/24                                                                      18.98              1    18.98 $      18.98
759023012759 CVS   PetSafe¬Æ Gentle Leader¬Æ Headcollar, No‐Pull Dog Collar, Large 60‐130 Lb., Royal Blue               24.99    19.95     2    24.99 $      49.98
732013202682 CVS   EXUVIANCE Glycolic Expert Lightweight Hydrating Antiaging Moisturizer, 1.7 fl. oz.                      55       55     1       55 $      55.00
732894010024 CVS   Nutrex Hawaii, Pure Hawaiian Spirulina 500 mg, Vegan, Supports Immune System, Heart, Cells an        21.99    16.09     1    21.99 $      21.99
 27557590037 CVS   Lutron S‐603PGH‐WH Single Pole Dimmer switch ‐ White                                                 13.95              1    13.95 $      13.95
 96316671072 CVS   Zilla T8 Fluorescent Bulbs Tropical Series 50 15 Watts 18" B000QFROMQ                                23.99              1    23.99 $      23.99
 69055842010 CVS   New Oral‐B Floss Action Max Clean Replacement Electric Brush Heads 3 Pack                             9.49            143     9.49 $   1,357.07
633356628378 CVS   We R Memory Keepers ‐Laser Square and Mat                                                            79.99    67.69     4    79.99 $     319.96
 33317209743 CVS   Texas Instruments TI‐84 Plus CE Python Enhanced Graphing Blue New *ROUGH PACKAGE                     86.99              8    86.99 $     695.92
651986410408 CVS   Too Faced Natural Eyes Eyeshadow Palette                                                             59.99    33.88     1    59.99 $      59.99
637866288503 CVS   Boost Oxygen Large Natural Aroma 10 Liter Canister | Respiratory Support for Aerobic Recovery,       14.99     16.7     5    14.99 $      74.95
601842704714 CVS   Trek Commuter Pro RT Front Bike Light                                                               159.95   159.95     6   159.95 $     959.70
716170079424 CVS   Bobbi Brown Hydrating Face Cream, Brown, 1.7 Fl Oz                                                  148.98       40     4   148.98 $     595.92
 33287175420 CVS   Drain Drill                                                                                          59.55              1    59.55 $      59.55
700371452742 CVS   UNITE Hair BOING Curl Conditioner, 8 fl. Oz                                                             34     32.5     2       34 $      68.00
 78300023296 CVS   Playtex Diaper Genie Complete Pail ‐ White ‐ NEVER USED IN THE BOX                                      45              1       45 $      45.00
640986036084 CVS   Primal Elements Aloha Whipped Cream Cleanser, 7 Ounce                                                12.53    12.53    12    12.53 $     150.36
739423999485                                                                                                            22.35              2    22.35 $      44.70
602004087867 CVS   Benefit Bad Gal Bang Volumizing Mascara, Regular Size, 0.3 Fl Oz, Black                                 27       21    12       27 $     324.00
602004071330 CVS   Benefit Precisely My Brow Pencil Ultra Fine Brow Defining, No. 4, Medium, 0.002 Ounce                   37    21.86     4       37 $     148.00
 24721065155 CVS   Irwin Industrial 3018004 29 Piece Black Oxide Metal Index Drill Bit Set New                          93.66              1    93.66 $      93.66
732212311215 CVS   Janome Artistic SD16 Echo Feet Set                                                                  104.99   104.99     1   104.99 $     104.99
 41100589910 CVS   Astepro Allergy Antihistamine Nasal Spray 2x120 Sprays Runny Nose EXP 9/2025                         14.49              3    14.49 $      43.47
 13803339352 CVS   Canon ‐ PG‐275XL High‐Yield Ink Cartridge ‐ Black FREE SHIPPING!                                     23.99             10    23.99 $     239.90
 31658105199 CVS   Vet's Best Topical Flea & Tick Treatment for Dogs 16‐40lbs 4 Month Supply Medium                     12.99              3    12.99 $      38.97
751492579290 CVS   PNY 64GB Attach√© 4 USB 2.0 Flash Drive, Black                                                        7.99     6.99     3     7.99 $      23.97
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633422057811 CVS   Host Defense, MycoShield Spray, Daily Immune Support, Mushroom Supplement, Cinnamon, 1 fl            19.95    15.71     1    19.95 $       19.95
 78477406595 CVS   Leviton Straight Blade Duplex Receptacle 15 A/125 V T5320‐WMP                                         6.32              1     6.32 $        6.32
194251070384 CVS   NARS Light Reflecting Foundation ‐ Advanced Makeup‐Skincare Hybrid Foundation ‐ 30ml (Mont              50    37.98     1       50 $       50.00
 92644742132 CVS   Klein Tools 1005‐SEN Crimping and Cutting Tool for Connectors 9‐3/4"                                 24.99              1    24.99 $       24.99
 45242540280 CVS   NEW Milwaukee SHOCKWAVE 5 pc Metric Impact Drill Tap Set (48‐89‐4875) SEALED                         21.99              5    21.99 $      109.95
324208697702 CVS   PreserVision AREDS 2 Eye Vitamin & Mineral Supplement, Contains Lutein, Vitamin C, Zeaxanthin        41.99    39.99   409    41.99 $   17,173.91
 12502663492 CVS   P‐touch Genuine Brother TZe‐MQG35‐ 12mm 1/2" TZe Label Tapes White on Green New                          8              1        8 $        8.00
 47400656062 CVS   Gillette ProGlide Shield Razor Kit ‐ 1 Razor, 1 Cartridge, 5 Blade Razor NEW                         10.75              1    10.75 $       10.75
732013302405 CVS   NEOSTRATA PHA Daily Moisturizer for Sensitive Skin with Polyhydroxy Acids, Vitamin E, Lilac Plan        55       55     1       55 $       55.00
631257154330 CVS   Renew Life Adult Probiotic ‐ Health & Wellness Ultimate Flora Extra Care Probiotic, Probiotic Sup       99    34.99     1       99 $       99.00
 19495753797 CVS   Dorman Car Remote Keyless Entry Alarm System Nissan Infinity 2002‐2012 99147                         19.99              1    19.99 $       19.99
719978853586 CVS   Threshold Signature 4 pc Dinner Fork Luxor Flatware 18/10 Stainless New                              14.99              1    14.99 $       14.99
 51494102701 CVS   MEGA FOOD MEN 40+ ONE DAILY 90 CT ‚òÜ FEB 2026 ‚òÜ                                                   37.99              1    37.99 $       37.99
743921711142 CVS   Fiskars Gingher 7.5 Inch Pinking Shears                                                              69.99    28.95     2    69.99 $      139.98
 94800361003 CVS   Stila Glisten & Glow Liquid Eye Shadow in Stream .153 fl oz New in Box                               14.99              4    14.99 $       59.96
 45242570997 CVS   Milwaukee 49‐25‐1241 OPEN‐LOK 2‐1/2" Bi‐M Multi‐Material Multi‐Tool Blade New                           12              1       12 $       12.00
194251070483 CVS   NARS Light Reflecting Foundation ‐ Advanced Makeup‐Skincare Hybrid Foundation ‐ 30ml (Vienn             58     48.9     1       58 $       58.00
729849108622 CVS   PetSafe Freedom Aluminum Pet Door for Dogs and Cats ‐ Solid Durable Frame ‐ Extra‐Large, Whi        139.99   134.95     3   139.99 $      419.97
371730000562 CVS   HIMS & HERS unflavored Collagen Protein Powder with 18 Amino acids, Soy‐Free and Gluten‐Fre          24.99    44.99     1    24.99 $       24.99
 98612425250 CVS   Baby Lock Anna/Molly / ZEAL 6 Foot Kit #BL30A‐FEET                                                   39.05              3    39.05 $      117.15
 74305090035 CVS   New Sealed BRAGG Apple Cider Vinegar 90 Capsules 750 Mg Acetic Acid Exp. 4/2025                      21.99              4    21.99 $       87.96
 31604043148 CVS   Nature Made Elderberry with Vitamin C and Zinc Gummies, 100 ct Exp 01/2024                            14.9              4     14.9 $       59.60
745129230654 CVS   Sigvaris, Opaque Women's Size A                                                                               43.98     4    43.98 $      175.92
675468101721 CVS   OSEA Ocean Eyes Age‐Defying Eye Serum ‐ Cooling Roller Ball ‐ Perfect Beauty Gift for Brighter Ey       58    57.13     4       58 $      232.00
 90174474790 CVS   Brazilian Blowout Anti‐Frizz Shampoo 12 oz                                                           22.49              5    22.49 $      112.45
729849170773 CVS   PetSafe ScatMat White Electronic Dog & Cat Indoor Pet Training Mat‐ NEW                                 39              6       39 $      234.00
673765172215 CVS   IRWIN Impact Driver Bit Set, 33‐Piece (1840315)                                                      46.62    48.82     1    46.62 $       46.62
 70792201534 CVS   Helping Hands 10pc 1/4" Stubby Socket Set                                                            11.14              1    11.14 $       11.14
605592105357 CVS   Nexxus Therappe Moisture Shampoo, for Normal to Dry Hair, 5.1 Fl Oz                                  24.79    13.49     1    24.79 $       24.79
 88395017148 CVS   Carlson Wild Norwegian Elite Omega‐3 Gems ‐ Lemon 1,600 mg 90 + 30 free Sgels                        41.23              4    41.23 $      164.92
733739029461 CVS   NOW Supplements, Pancreatin 2000 with naturally occurring Protease (Protein Digesting), Amyla        35.99    20.15     6    35.99 $      215.94
 27418670892 CVS   Cadet CTG White Replacement Grill Kit For Com‐Pak Twin Plus Series Part 67089                           40              2       40 $       80.00
666151033016 CVS   Dermalogica Intensive Moisture Balance (1.7 Fl Oz) Face Moisturizer with Hyaluronic Acid ‐ Resto        47      47      2       47 $       94.00
717334254954 CVS   Origins , GinZing Refreshing Eye Cream To Brighten and Depuff ‐‐15ml/0.5oz                                      24      3       24 $       72.00
 11319223004 CVS   STANSPORT 5000BTU SINGLE BURNER PROPANE CAMPING OUTDOOR STEEL GREEN ITEM No. 20                      32.95              2    32.95 $       65.90
 27418675743 CVS   208‐volt 3,000‐watt Com‐Pak Twin In‐wall Fan‐forced Replacement Electric Heater                     234.01              2   234.01 $      468.02
 33317209774 CVS   Texas Instruments TI‐84 Plus All‐Purpose Graphing Calculator White (Rough Box)                       69.99              2    69.99 $      139.98
670480272107 CVS   Enzymedica Digest Gold + ATPro, Maximum Strength Digestive Enzymes, Helps Digest Large Mea          115.99    80.03     3   115.99 $      347.97
 77922841394 CVS   Intertape Polymer Duct Tape Contractor Grade 1.88" x 60 Yards x 14 Mm 4139                           13.98             22    13.98 $      307.56
 74108446763 CVS   Hair Straightener Flat Iron Ionic Titanium Plate for Smooth Shiny Results                            53.99              1    53.99 $       53.99
614969239816 CVS   Erno Laszlo Transphuse Line Refining Cream                                                            248               1     248 $       248.00
 29695248184 CVS   Petmate Fresh Flow II Fountain 3.25 L, Purifying Pet Fountain, Vet Recommended                          38              1       38 $       38.00
663204460652 CVS   Zum Face Sugar Facial Scrub ‐ Charcoal ‐ 4 oz                                                           14       15     6       14 $       84.00
759746302441 CVS   Fit System 30244 Passenger Side Heated Mirror Glass w/Backing Plate, Dodge Ram Pick‐Up 1500          61.28    35.95     1    61.28 $       61.28
300410108311 CVS   Oral‐B Clic Manual Toothbrush, Teal, with Replaceable Brush Head ‐ 1 Count, 1.0 Count                          7.98     1     7.98 $        7.98
658010115902 CVS   Prenatal Multivitamin for Women from Whole Foods with Biotin, Iron & Folate not Folic Acid, Pro      65.99    94.99     1    65.99 $       65.99
666151020870 CVS   Dermalogica Multivitamin Thermafoliant, Face Exfoliator Scrub with Salicylic Acid and Retinol ‐ A       50       65     1       50 $       50.00
 20525981615 CVS   Megared Omega 3 Fish Oil & Krill Oil Advanced 500mg 40 Softgels Exp 9/24 #1615                        13.6             24     13.6 $      326.40
 97612340013 CVS   Zoo Med Heat + UVB Combo Pack ‐ Heat Lamp & ReptiSun 5.0 UVB Lamp #0013                              18.95              8    18.95 $      151.60
 87958046281 CVS   Adam's Every Landlord's Legal Guide on CD Brand New                                                   8.41              1     8.41 $        8.41
681035018309                                                                                                            16.99              1    16.99 $       16.99
 73796226145 CVS   Omron PMLLPAD‐L Electrotherapy Long Life Pads, Size Large ‐ 2 Count                                  10.99              1    10.99 $       10.99
 45908068646 CVS   Farberware 8 Inch Stainless Steel Blade Chef Knife Built‐In Sharpener Sleeve                         16.94              1    16.94 $       16.94
673914190718 CVS   Eau Thermale Avene ‐ Physiolift Eyes ‐ Wrinkles, Puffiness, Dark Circles 0.5oz.                      48.97              1    48.97 $       48.97
 31604032715 CVS   Nature Made Turmeric Curcumin Gummies ‐ Mango 250 mg 60 Gummies Exp 4/25                             16.75              5    16.75 $       83.75
670480262009 CVS   Enzymedica GlutenEase, Digestive Enzymes for Food Intolerance, Offers Fast Acting Gas & Bloati       30.99    26.23    56    30.99 $    1,735.44
 46878579507 CVS   Orbit Bhyve Smart Sprinkler Controller Indoor Outdoor 12 Zone Alexia Control                         64.98              4    64.98 $      259.92
 70018042422 CVS   NIOXIN # 2 Scalp & Hair Treatment 3.38 oz                                                            11.77              2    11.77 $       23.54
 79976480352 CVS   Hopkins 48035 Towing Solutions Automotive 4 Flat Extension 48 Inches                                  6.29              1     6.29 $        6.29
312547493765 CVS   Visine Dry Eye Relief All Day Comfort Lubricant Eye Drops for Up to 10 Hours of Comfort, Dry Eye     14.86     7.84     2    14.86 $       29.72
194251070421 CVS   NARS Light Reflecting Foundation ‐ Advanced Makeup‐Skincare Hybrid Foundation ‐ 30ml (Gobi ‐            54       35     3       54 $      162.00
 98268703887 CVS   *BRAND NEW* ‐ Watts 1" LFN45BUM1 Water Pressure Reducing Valve, EDP#0960025                          49.99              1    49.99 $       49.99
 93122453229 CVS   General SuperSlice Pipe Cleanears Patented V‐Point Blade Cuts W/out Crimping                          19.5              1     19.5 $       19.50
633422031637 CVS   Host Defense, Lion's Mane Capsules, Promotes Mental Clarity, Focus and Memory, Mushroom Su           59.95    47.21     8    59.95 $      479.60
 49022594364 CVS   Living Solutions 100 Watt Dual USB Car Inverter ‐ Brand New!                                         13.96              1    13.96 $       13.96
 51381992002 CVS   Aura Cacia Chill Pill Essential Oil Blend |GC/MS Tested for Purity |15ml(0.5 oz)                      12.3              7     12.3 $       86.10
 28287607477 CVS   Intuit TurboTax Deluxe 2022 Federal Returns & E‐File + $10 Credit (No State)                             7              1        7 $        7.00
471810100424 CVS   Doggo Everyday Retractable Dog Leash, 16' Long Belt, Large for Dogs Up to 110 lbs, Red with Bla      23.99    18.49     2    23.99 $       47.98
670367934937 CVS   Peter Thomas Roth | Firmx Collagen Eye Cream Eye Cream With Collagen | Collagen Eye Cream,              68     47.6    17       68 $    1,156.00
 78477782828 CVS   Leviton 101‐05801‐ISP 20‐Amp 125‐Volt Single Receptacle Electrical Power...                           7.67              1     7.67 $        7.67
193175422415 CVS   ICON Precision Snap Ring Pliers 4 Piece Set PSSRIE‐4 ‐ NEW SEALED!                                   28.49              3    28.49 $       85.47
 78729211229 CVS   Hot Tools Pro Artist Black Gold Dual Plate Salon Flat Hair Iron HT1122BG                             58.99              5    58.99 $      294.95
 47286740626 CVS   Optronics TL60RK Red Submersible Combination Tail Light Kit                                          24.39              1    24.39 $       24.39
 27242923539 CVS   NO DONGLE Sony INZONE H7 Wireless Gaming Headset 360 Sound WHG700 Headphones                         39.99              1    39.99 $       39.99
 98526134552 CVS   Husqvarna Lw1‐1 Segment Cup Wheel,Diamond,Sgl,4X5/8‐11                                               57.99              1    57.99 $       57.99
670367357033 CVS   Peter Thomas Roth | Instant FIRMx Temporary Eye Tightener | Firm and Smooth the Look of Fine            38      38     11       38 $      418.00
 15905073127 CVS   Aqueon QuietFlow Canister Filter 200. OPEN BOX üéÅ                                                      99              3       99 $      297.00
627843413806 CVS   ArtResin ‐ Epoxy Resin ‐ Clear ‐ Non‐Toxic ‐ 32 oz (16 oz Resin + 16 oz Hardener) (946 ml)           59.99      49      5    59.99 $      299.95
 34449810531 CVS   Delta Windemere 2‐Handle Widespread bathroom Faucet Brushed Nickel 35996LF‐BN                        73.82              1    73.82 $       73.82
 58465818760 CVS   RCA RPJ200 2 in 1 Home Theater Projector Bundle with Fold‐Up 100" Screen                              48.5              1     48.5 $       48.50
 50743658693 CVS   Little Tikes TOBI 2 Director's Camera, Studio 2.1 MP HD Digital Kids Camera                          15.04              1    15.04 $       15.04
 68958028460 CVS   Stress‐Relax 5‐HTP 100 mg by Natural Factors, Promotes Emotional Well‐being, ...                     57.41              8    57.41 $      459.28
737257794818 CVS   TOP FIN (CF60) CANISTER FILTER¬† WATER AQUARIUM¬† LIGHTLY USED CLEAN                                124.99              1   124.99 $      124.99
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 51494104293 CVS   MegaFood Baby & Me 2 Prenatal Vegan DHA & Choline Supplement 60 Caps 05/2025+                       14.27             1    14.27 $      14.27
 32886263095 CVS   CerroMax 12/2 NM‐B W/Ground Wire 100ft Copper Building Wire 600v ~NEW~                              49.99             2    49.99 $      99.98
 41333993300 CVS   Duracell CRV3 3V Lithium‐Battery, 1 Count Pack, CRV3 3 Volt High Power Lithium‐Battery, Long‐L       13.3   25.99     2     13.3 $      26.60
 13803051254 CVS   Canon CLI‐8 Black Ink Cartridges 8bk                                                                 9.79             9     9.79 $      88.11
658010124638 CVS   Garden of Life Dr. Formulated Advanced Omega Fish Oil ‐ Lemon, 1,290mg EPA, DHA + DPA in Tr         69.99   51.09     4    69.99 $     279.96
730852149519 CVS   Shiseido Benefiance Wrinkle Smoothing Day Cream ‐ 50 mL ‐ Broad‐Spectrum SPF 23 Anti‐Aging             75      75     7       75 $     525.00
685659078121 CVS   Z‐Lite 911MP1 1 Light Pendant, Chrome                                                              125.77             1   125.77 $     125.77
633356613886 CVS   We R Memory Keepers Cinch Mini Tool, 0                                                              89.99   80.65     2    89.99 $     179.98
751063403108 CVS   Gaia Herbs Turmeric Supreme Extra Strength ‐ Helps Reduce Occasional Swelling from Normal W         29.99   27.45     8    29.99 $     239.92
 21078008231 CVS   Wellness Formula, Advanced Immune Support, 180 Tablets                                               35.1             1     35.1 $      35.10
 81838264321 CVS   Century Drill 26432 Cobalt 1/2" High Speed Drill Bit High Speed Steel                               25.89             1    25.89 $      25.89
 38877622278 CVS   Pfister Auden Tub Faucet Tuscan Bronze (8P8‐WS2‐ADSY) (LSTG23‐0069)                                 30.25             1    30.25 $      30.25
 68958354910 CVS   Natural Factors RxOmega‐3 EPA 400 mg/DHA 200 mg 240 Enteripure Softgels                             49.99             1    49.99 $      49.99
658010116633 CVS   Garden of Life ‐ Raw Probiotics Vaginal Care (Veggie Caps) ‐ 30 Vegeterian Capsules                 41.95   49.99     5    41.95 $     209.75
651473710813 CVS   Perricone MD Vitamin C Ester CCC + Ferulic Brightening Complex 20%, 2 Ounce                          165     165      2     165 $      330.00
630359006509 CVS   InClover Connectin Hip and Joint Supplement for Dogs. Combines Glucosamine, Chondroitin and         80.99   80.99     2    80.99 $     161.98
 37000772811 CVS   Align Probiotic Daily Immune Support Supplement‐ 28 Caps exp;0126#2811                               12.5            20     12.5 $     250.00
 15561110778 CVS   Fluval PROVAC 12V Corded Powered Aquarium Gravel Cleaner 11077 BRAND NEW                            42.95             6    42.95 $     257.70
765704503010 CVS   Deep Sleep¬Æ Herbal Sleep Aid: 120‐Count Bottle of Softgels                                         56.79   48.27     1    56.79 $      56.79
 35156010009 CVS   Pharmagel Pharma‐C Serum NIB #09                                                                    14.85             2    14.85 $      29.70
651986505234 CVS   Too Faced Too Femme Heart Core Lipstick Nothing Compares 2 U                                        25.99   18.22     1    25.99 $      25.99
730852178762 CVS   Shiseido Waso SHIKULIME Color Control Oil‐Free Moisturizer SPF 30 ‐ UVA/UVB Protection + 8‐H           36             5       36 $     180.00
 41333037448 CVS   Duracell Optimum AA Alkaline Batteries ‐ Extra Life, Extra Power‐ Pack of 18                         15.5             2     15.5 $      31.00
631257159779 CVS   Renew Life Extra Care Ultimate Flora Probiotic 50 Billion Go Pack, 60 CT                            67.99   58.49     1    67.99 $      67.99
611247373064 CVS   Keurig K‐Mini Single Serve Coffee Maker, Black                                                      99.99   83.99     1    99.99 $      99.99
 38753905433 CVS   Oatey Designline 6 in. x 6 in. Square Drain Square Grate DSS2060                                    22.49             1    22.49 $      22.49
316864000309 CVS   AmLactin Ultra Smoothing ‐ 4.9 oz Body & Hand Cream with 15% Lactic Acid ‐ Exfoliator and Moi       15.99   10.45    61    15.99 $     975.39
324208465455 CVS   Ocuvite Bausch + Lomb Eye Performance Formula Soft Gels, 30 Count                                   14.99   16.99     1    14.99 $      14.99
208357239252 CVS   Med Spec Wrist Lacer, 8"                                                                            20.29             1    20.29 $      20.29
 33674155424 CVS   Nature's Way Alive!, MAX3 potency Men's Multivitamin 90tab exp:5/24+ #5424                          30.89             1    30.89 $      30.89
 27418652157 CVS   Cadet In‐Wall Electric Wall Heater 1600‐Watt 120/240‐Volt Energy Plus Thermostat                   174.99             4   174.99 $     699.96
 51141324418 CVS   3M Paint Cool Flow Odor Valve Respirators 8577 P95                                                  17.48             1    17.48 $      17.48
305732843100 CVS   Preparation H Rapid Relief Hemorrhoid Cream with Lidocaine, Numbing Relief for Swelling, Pain,      18.75   15.86   309    18.75 $   5,793.75
 19954309077 CVS   D'Addario XT Bass Nickel Plated Steel, Regular Light, 5‐String Long Scale 45‐130                       29             1       29 $      29.00
 15561102032 CVS   Fluval in Line UVC Clarifier for Aquarium Filters ‐ Brand New Open Box                              38.14            10    38.14 $     381.40
762511718392 CVS   Omnigrid Folding Cutting KitSm, None                                                                44.99   35.49     6    44.99 $     269.94
 33991069329 CVS   Scosche Wireless Audio Bluetooth Receiver Clip Connect Phone to Car Aux Stereo                      14.99             1    14.99 $      14.99
600781000178 CVS   DR Strings HI‐BEAMS ‐ Stainless Steel 4‐String Bass Guitar Strings, 45‐105, Round Core              48.75   23.99    23    48.75 $   1,121.25
 20525104472 CVS   50ct Schiff MegaRed Advanced Omega‐3 ALGAE Oil Heart Joint Brain Eye EXP 05/2024                    19.99            44    19.99 $     879.56
328785003796                                                                                                            112              4     112 $      448.00
604079016407 CVS   philosophy pure grace eau de toilette, 2 Fl. Oz.                                                       64   46.98     1       64 $      64.00
661120661122 CVS   Wheeler 30mm Anti Cant Indicator for Scope Leveling, Precision Shooting, black                      47.99   49.85     1    47.99 $      47.99
 74469513906 CVS   Joico by Joico Moisture Recovery Conditioner For Dry Hair 8.5 oz/250 ml                             14.99             2    14.99 $      29.98
300450499233 CVS   Tylenol Extra Strength Coated Tablets, Acetaminophen Adult Pain Relief & Fever Reducer, 225 ct      26.59    20.5    10    26.59 $     265.90
 96018035219 CVS   Lancome Blush Subtil Powder Blush 280 Mocha Havana 0.18oz/5.1g New With Box                         26.99             1    26.99 $      26.99
 31658105182 CVS   Vet's Best Plant‐Based Spot‐On Treatment for Dogs, Under 15 lbs, 4 Doses                             16.4             1     16.4 $      16.40
689304051088 CVS   Anastasia Beverly Hills ‐ DIPBROW Pomade ‐ Soft Brown                                                  21     21      1       21 $      21.00
604214922761 CVS   Urban Decay Naked2 Basics Eyeshadow Palette, 6 Taupe & Brown Matte Neutral Shades ‐ Ultra‐B            33     33     80       33 $   2,640.00
193033044735 CVS   Sunglasses Foster Grant Advanced Comfort Polarized ADV COM 10 BLK & Black Pouch                     14.95             2    14.95 $      29.90
 47871086979 CVS   Kidde i9010 10‐Year Sealed Lithium Battery‐Operated Smoke Alarm                                      14.6             2     14.6 $      29.20
670367008799 CVS   Peter Thomas Roth | Potent‐C Power Eye Cream | Brightening Vitamin C Eye Cream for Dark Circ           68     68      2       68 $     136.00
 76753208826 CVS   GOODCOOK PRO 3 Second Folding Thermo BBQ Digi Kit Meat LOW PRICE factory sealed                     19.98             1    19.98 $      19.98
 68958355030 CVS   Natural Factors Whole Earth & Sea Men's 50+ Multi 60 Tabs                                              25             1       25 $      25.00
 94925018943 CVS   UBITBA120R‐New Challenger MH120R Type A Replacement. One Pole 20 Amp Right Clip                     30.49             4    30.49 $     121.96
673419340861 CVS   Lego Star Wars Scout Trooper Helmet 75305 Collectible Building Toy, New 2021 (471 Pieces)           49.99     94      1    49.99 $      49.99
695927121251 CVS   Dr. Ohhira‚Äôs Probiotics Original Formula with 3 Year Fermented Prebiotics, Live Active Probiot    59.35    42.9     1    59.35 $      59.35
 94925019117 CVS   BREAKER CONNECTICUT ELECTRIC CHALLENGER 20A A120 VPKA120 1‐PL 1/2" THIN CIRCUIT                      20.6             1     20.6 $      20.60
681168326098                                                                                                              89             1       89 $      89.00
 97612322309 CVS   Zoo Med Tropical UVB & Heat Lighting Kit #309                                                       42.98             1    42.98 $      42.98
607710006720 CVS   SmashBox Becca Shimmering Skin Perfector Pressed Highlighter ‐ Champa Highlighter Women 0.             38   17.96     4       38 $     152.00
607710056084 CVS   Smashbox, Cover Shot Eye Shadow Palette 0.6, Matte, 0.27 Ounce                                         32   27.71     3       32 $      96.00
 51494103289 CVS   MegaFood Men's 55+ Multivitamin Tablet ‐ MGF‐070 (60 Count) Exp 01/2024                                31             3       31 $      93.00
 47871107094 CVS   Maintenance Warehouse | Kidde Smoke Alarm | 10 Year Sealed Battery | #21010709                         20             2       20 $      40.00
 38100187857 CVS   FortiFlora Purina Probiotics Veterinary Chewable For Dogs 45ct #857                                 23.99             3    23.99 $      71.97
653341441621 CVS   TransTint Dyes, Orange                                                                               38.1   28.92     1     38.1 $      38.10
 76174752885 CVS   NEW Dewalt DWMT752880SP 3/4 Drive X 8" CHROME STEEL Socket EXTENSION                                17.48             3    17.48 $      52.44
 32886263576 CVS   ^ Southwire 63947621 Romex Non Metallic Sheathed Cable Copper 25'                                   36.99             1    36.99 $      36.99
704142000354 CVS   Florastor Probiotics for Digestive & Immune Health, 30 Capsules, Probiotics for Women & Men, H      26.99   19.89     9    26.99 $     242.91
 32929434895 CVS   Dataproducts ‚Äì Replaces Canon Ink Cartridge PG‐245XL for Canon, Black                             14.45             1    14.45 $      14.45
754806308234 CVS   Trophy Ridge Precise Bow Archery Release ‐ 4‐Finger Design for Full Drawing Power, Torque‐Free      79.99   63.57     1    79.99 $      79.99
765809153752 CVS   Napa Gold Fuel Filter 3556 (Wix 53556)                                                              26.99             1    26.99 $      26.99
 90255500806 CVS   NEW 1989 VINTAGE Digital Caliper XL LCD screen Protective Storage Case Included                     25.79             1    25.79 $      25.79
633422037424 CVS   Host Defense, CordyChi Capsules, Support Stress and Fatigue Reduction, Mushroom Mycelium S          31.95   25.46    16    31.95 $     511.20
 68958355177 CVS   Whole Earth & Sea Women's Prenatal Multivitamin & Mineral 60 tablets Exp:08/24                      19.99             2    19.99 $      39.98
755970450262 CVS   Nutramax Dasuquin with MSM Joint Health Supplement for Large Dogs ‐ With Glucosamine, MSM           54.99   44.99    14    54.99 $     769.86
 20714759810 CVS   5901761901177 EVELINE Oils Of Nature luksusowy suchy olejek z serum odm≈ÇadzajƒÖcy                  36.63             1    36.63 $      36.63
751492625577 CVS   PNY 128GB Elite Class 10 U1 V10 SDXC Flash Memory Card ‐ 100MB/s, Class 10, U1, V10, Full HD,       15.99   14.61     1    15.99 $      15.99
 46677717551 CVS   New Philips Vision 9007 Twin Pack 2 Headlight Lamps Standard 9007PRB2                               11.99             1    11.99 $      11.99
 84691238164 CVS   GE APPLIANCES 24" STACKING KIT FOR WASHER & DRYER SILVER WE25X10031DS                                55.9             1     55.9 $      55.90
 32309013238 CVS   Metal Earth Premium Series SILVER DRAGON Steel Model Kit ‐ ICX023 (3238) NEW                           10             2       10 $      20.00
 86279147967 CVS   Cuisinart AFR‐25 Air Fryer, One Size, Silver                                                        179.2             1    179.2 $     179.20
670367000083 CVS   Peter Thomas Roth | FIRMx Peeling Gel | Exfoliant for Dry and Flaky Skin, Enzymes and Cellulose        48     49      7       48 $     336.00
 46224016007 CVS   KEENEY K5475 Polished Chrome Kitchen Sink Strainer & Garbage Disposal Flange Set                    15.99             3    15.99 $      47.97
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658010124454 CVS   Garden of Life Dr. Formulated Keto Organic MCT Powder ‐ 30 Servings, 6g MCTs from Coconuts P          20.99    26.32    1    20.99 $      20.99
 71649054570 CVS   Master Lock, Tsa‐Accepted Cable Lock, Padlock, 1                                                       9.28             3     9.28 $      27.84
 33674156926 CVS   Nature's Way ‐ Alive! ‐ Women's Ultra Potency ‐ 60 Tablets EXP 10/31/23                                13.6             1     13.6 $      13.60
 45242296354 CVS   Milwaukee Electric Tools 2462‐22 M12 12‐Volt 1/4 ‐ Red (246222)                                        104              1     104 $      104.00
     3728816 CVS   Compatible with Samsung Galaxy S21 Case Marble with Stand Ring Holder Kickstand Glitter Spar           3.88    10.87    1     3.88 $       3.88
 31604042189 CVS   2 Nature Made Prenatal Multivitamins& DHA Folic Acid‐ total 120 Softgels NewAsIs                      24.99             1    24.99 $      24.99
 32886266089 CVS   Southwire 13055921 12/2WG UF Wire 25‐Foot                                                             36.61             1    36.61 $      36.61
666151062290 CVS   Dermalogica Retinol Clearing Oil Face Serum with Salicylic Acid ‐ Anti‐Aging Acne Treatment That         86      86     7       86 $     602.00
 74108394828 CVS   BaByliss Pro Titanium Italian AC Motor Dryer 1875 W 3 Heat / 2 speed Setting New                      49.49             2    49.49 $      98.98
 16318170380 CVS   Bead leading tools | outils herramientas forming pliers 149660                                           15             1       15 $      15.00
633911787656 CVS   Oligo Professional Calura Moisture Balance Conditioner (32Fl Oz)                                      21.81             1    21.81 $      21.81
736150166708 CVS   laura mercier Flawless Lumiere Radiance‐perfecting Foundation ‐ 2n2 Linen, 1 Ounce                       48    62.95    4       48 $     192.00
 37000961680 CVS   Align Probiotic Banana Strawberry Chewable Tablets ‐ 24 Tablets Expires In 02/24                      12.15             2    12.15 $      24.30
737257834057 CVS   Top Paw¬Æ LED & Reflective Rechargeable Adjustable Dog Collar ‐ Blue ‐ XL                             10.95             1    10.95 $      10.95
661430004411 CVS   Skinfix Barrier+ Triple Lipid + Collagen + Niacinamide Activating Serum 1 oz / 30 mL                   119     84.31    4     119 $      476.00
 31604031947 CVS   Nature Made Elderberry 100mg with Vitamin C & Zinc 60 Ct Exp 01/2024                                     10             6       10 $      60.00
650240058844 CVS   Cicatricure Gold Lift Facial Serum with Lifting Effect for Face, Neck & Chest, Anti Aging Skin Care,  25.99     17.8    2    25.99 $      51.98
 93573726507 CVS   Cricut Joy Ultimate Fine Point Pens, 30ct                                                             20.99             3    20.99 $      62.97
761712013688 CVS   OttLite 13‐watt Slimline Task Lamp Model‐ 317008 ‐ Folding                                               28             5       28 $     140.00
 74108439093 CVS   CONAIR Cordless/Rechargeable WET/DRY Shaver Model LWD30R (NEW)                                        14.99             1    14.99 $      14.99
718103283793 CVS   Staples 10' Premium High‐Speed HDMI Cable W Ethernet 4K 18Gbs HDR Ultra HD                            11.99             2    11.99 $      23.98
196154886246 CVS   [DV1310‐401] Mens Air Jordan RETRO 5 'UNC UNIVERSITY BLUE'                                             400    449.95    3     400 $    1,200.00
662333004058 CVS   Pearl Premium 9" x 1/4" x 7/8" Depressed Center Grinding Wheel (Pack of 10)                            98.5             1     98.5 $      98.50
722470308997 CVS   Husky 650 FT‐LBS 1/2" Impact Wrench 1003 097 323 #8997 BRAND NEW SEALED                               43.99             1    43.99 $      43.99
 45242223770 CVS   Milwaukee 1/2" Tile & Natural Stone Bit 48‐20‐8995 Drills & Hammer Drills NEW                          6.99             1     6.99 $       6.99
194250001556 CVS   Laura Mercier Women's Oil Free Tinted Moisturizer SPF 20, 0N1 Petal, Tan, 50mL / 1.7 Ounce               53    56.39    2       53 $     106.00
728028204148 CVS   Pure Enrichment TRYM II Rechargeable Hair Trimmer Kit with 4 Trimming Attachments, Charging Base, Clea         29.98    1    29.98 $      29.98
658010121781 CVS   Garden of Life Mykind Organics Turmeric Inflammatory Response Gummy ‐ 120 Real Fruit Gumm             24.49    26.31    1    24.49 $      24.49
752356835637                                                                                                             39.99             1    39.99 $      39.99
 75020018465 CVS   Philips Shaver Head Frame Holder + Retainer 8240 8250 8260 8280 8290 XL                               48.86             1    48.86 $      48.86
 41260002786 CVS   # Kroger Nicotine Gum Coated Fruit Wave 2mg 160 Pieces Exp 06/2024                                    38.99             2    38.99 $      77.98
647484083596 CVS   FROGG TOGGS Youth Ultra‐Lite2 Waterproof Breathable Rain Suit, Small Black                            29.99    29.05    2    29.99 $      59.98
730852145337 CVS   Shiseido Ultimune Power Infusing Concentrate Serum 30 Milliliters 1 Fluid Ounce                       32.95             6    32.95 $     197.70
 73577138247 CVS   Titanium Straight Scissors 5" & 7" 073577138247                                                          14             2       14 $      28.00
194250001617 CVS   Tinted Moisturizer Oil Free Natural Skin Perfector SPF 20 0W1 Pearl                                      53             1       53 $      53.00
 37000812784 CVS   Good Skin MD Brightening Facial Serum with Vitamin C, 1.7 fl oz NEW                                    7.61             6     7.61 $      45.66
653703407128 CVS   Sunlite MR16 Halogen Reflector Bulb, 35 Watt, 38¬∞ Flood, 120 Volt, 2000 Hour Life Span, Dimmable, GU10        15.59    1    15.59 $      15.59
317163010341 CVS   API FRESHWATER MASTER TEST KIT 800‐Test Freshwater Aquarium Water Master Test Kit, White              50.48    35.97    2    50.48 $     100.96
651986015016 CVS   Too Faced Lashes & Lips To Go Travel Size Mascara + Lip Plumper Duo Set                                20.5       23    1     20.5 $      20.50
666151033054 CVS   Dermalogica Intensive Moisture Cleanser (10 Fl Oz) Hydrating Face Wash for Dry Skin ‐ Cleans Sk          66       66    1       66 $      66.00
689304250023 CVS   Anastasia Beverly Hills ‐ Loose Setting Powder ‐ Vanilla                                               109        38    1     109 $      109.00
 15905000604 CVS   Aqueon 100532086 Pro Aquarium Heater                                                                   30.4            10     30.4 $     304.00
 23542104425 CVS   Kyolic Cholesterol with Lecithin Formula 104 200 Caps                                                 22.69             4    22.69 $      90.76
 75020087003 CVS   Philips Norelco Nose Trimmer 3000, For Nose, Ears and Eyebrows, Black, NT3600/42                       13.7             1     13.7 $      13.70
695866572213 CVS   Dr. Dennis Gross Advanced Retinol + Ferulic Texture Renewal Serum: for a Smooth, Retextured C            76      76     1       76 $      76.00
651986703784 CVS   Too Faced Peach Perfect Foundation COMFORT MATTE 48ml (Shade GANACHE )                                14.99             8    14.99 $     119.92
 39079003193 CVS   Comfort Zone Cat Calming Collar, Two Pack ‐ #3193 DAMAGED BOX!!!!                                        12             2       12 $      24.00
658010115674 CVS   Garden of Life Raw Probiotics for Women Over 50‐50 & Wiser Women's Probiotic with Acidophil           52.45    41.99    2    52.45 $     104.90
   346394054                                                                                                             97.77             1    97.77 $      97.77
300650816014 CVS   Pataday Extra Strength Allergy Itch Relief Eye 0.085 flOz 2.5ml                                       14.99             1    14.99 $      14.99
 41260367533 CVS   Shopko Nicotene Mini Lozenges 4 mg 81 lozenges#7533                                                      29             2       29 $      58.00
 79245860564 CVS   Sparitual Citrus Cardamom Moisture Balm                                                                18.9             2     18.9 $      37.80
 51494103197 CVS   MegaFood Multi for Men 60 Tablets Dairy‐Free, Gluten‐Free, Kosher, NSF Ex 11/23                       29.99             3    29.99 $      89.97
 36577641209 CVS   Oregon (571037L) 18 in. 62 Link PowerSharp Replacement Chain for CS1500 Chainsaw                         38             4       38 $     152.00
643334547591 CVS   TYPE S 12in Multi‐Color LED Extension Strip                                                           16.49             1    16.49 $      16.49
613103058412 CVS   ELITE QAD Arrow Rest ‐ RH Black                                                                        165              1     165 $      165.00
 15905156837 CVS   Aqueon LED OptiBright LED light 48‐54 Inches                                                          78.35             1    78.35 $      78.35
 94746338855 CVS   Seattle Seahawks Grill Cover                                                                          29.99             3    29.99 $      89.97
 43168365079 CVS   LED Vintage Light Bulb, ST19, Warm White, Amber Bulb, 250 Lumens, 5‐Watt ‐36507                       14.14             1    14.14 $      14.14
 20335060371 CVS   Fiskars ProCision Rotary Bypass Trimmer(0371) Box Damage                                              89.64             1    89.64 $      89.64
686334502856                                                                                                              64.7    47.36    1     64.7 $      64.70
 95969734165 CVS   FLUKE 1AC‐C2 II Volt Alert Non‐Contact 200~1000V AC Detector Pen (NEW)                                22.99             1    22.99 $      22.99
633422057019 CVS   Host Defense, Stamets 7 Extract, Daily Immune Support, Mushroom Supplement with Lion‚Äôs M            19.95    15.71    1    19.95 $      19.95
731398333127 CVS   Craig CC3312 Car Charger Hub with 2 USB Charging Ports and 3 DC Power Sockets                         19.12             1    19.12 $      19.12
 79976202855 CVS   Hopkins Towing Solutions Trailer Jacketed Cable Smart Light NEW DAMAGED BOX                           16.99             1    16.99 $      16.99
 38613350328 CVS   National Hardware N350‐322 Satin Nickel Steel Pocket Door Pull with Fasteners                            17             1       17 $      17.00
311917181431 CVS   Vitamin E 1000 IU Softgels Twin Pack 2‐Pack ‐ Finest Nutrition                                                 39.99    4    39.99 $     159.96
 20714382742 CVS   CLINIQUE FOR MEN ANTI‐AGE EYE CREAM .50 OZ ( 15 ML) FULL SIZE NEW FRESH TUBE !                        32.98             1    32.98 $      32.98
608940582213 CVS   Billie Eilish Eau de Parfum Spray Perfume for Women, Notes of Sugared Petals, Vanilla & Musk 1.          62      62     1       62 $      62.00
 20714709143 CVS   Clinique Repairwear Sculpting Night Cream ‐ 1.7oz                                                     65.75             1    65.75 $      65.75
 48107207915 CVS   GNC Women's Multivitamin Energy & Metabolism, 90 Caplets NEW                                             12             9       12 $     108.00
719812600956 CVS   OXO Good Grips Small Cookie Scoop Black/Silver                                                        15.95    19.25    1    15.95 $      15.95
600700118106 CVS   Street Scene 950‐11810 Style 1 CAL‐VU Sport Mirror                                                   153.23             1   153.23 $     153.23
626608001692 CVS   Bio‐K + Daily Care Plus Probiotic Supplement Capsules for Adult Men and Women, 50 Billion Acti        44.83    42.93    1    44.83 $      44.83
666151112698 CVS   Dermalogica Awaken Peptide Eye Gel ‐ Quickly Reduces The Appearance of Puffiness and Wrinkl              59       59    3       59 $     177.00
 97612023206 CVS   Zoo Med Turtle Clean 15 External Canister Filter With Activated Carbon Insert                          13.9             1     13.9 $      13.90
 83926101006 CVS     üåüTecnu Xtreme Poison Ivy and Oak Scrub Removes Poisonous Plant Oils FREE SHIP üåü                    10            16       10 $     160.00
640986035964 CVS   Primal Elements Fine Sugar Face Polish, Moisturizing Gentle Exfoliate, Gentle Use Every Day(4 Ou         25    13.05    1       25 $      25.00
633422031224 CVS   Host Defense, Agarikon Capsules, Balanced Immune Support, Mushroom Supplement, 60 Capsul              34.95    27.71   12    34.95 $     419.40
310310318543 CVS   Orajel Maximum Strength Nighttime Toothache Pain Relief Cream ‐ 0.25 Oz                                 8.5     7.55    1      8.5 $       8.50
631257154460 CVS   Renew Life Women's Probiotic Capsules, Supports Vaginal, Urinary, Digestive and Immune Healt             99       31    3       99 $     297.00
658010120753 CVS   Garden of Life ‐ mykind Organics Kids Gummy Vitamins, Certified Organic, Non‐GMO & Vegan Co           34.99    26.59   11    34.99 $     384.89
 41226030655 CVS   DASH‐OF‐THAT EASY‐MOTION LEVER CORKSCREW Black #0655                                                     33             2       33 $      66.00
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607710068940 CVS   SmashBox Cover Shot Eye Palette ‐ Punked Women 0.21 oz                                                29   26.25     4      29 $     116.00
 46396014887 CVS   Ryobi ONE+ 18V Cordless Grass Shear and Shrubber Trimmer (P2900B) Local Pickup                        45             1      45 $      45.00
719812001937 CVS   OXO Good Grips Smooth Edge Can Opener, Black                                                       25.95   27.95     1   25.95 $      25.95
607710074477 CVS   Smashbox Halo Fresh Perfecting Powder ‐ Light‐Medium Women 0.35 Ounce                                 42   27.85     1      42 $      42.00
695866572619 CVS   Dr Dennis Gross Advanced Retinol + Ferulic Overnight Wrinkle Treatment: Visibly Firm, Restore H       87      87     2      87 $     174.00
 47569071959 CVS   Square D Homeline 2‐15 Amp Single‐Pole Tandem Circuit Breaker                                      16.75             1   16.75 $      16.75
 75020051066 CVS   Philips Sonicare For Kids HX6321/02 *Accessories Only*                                             19.49             5   19.49 $      97.45
 13803339376 CVS   NEW Genuine Canon Ink Cartridge 276 XL Color PIXMA CL‐276XL HighYield, Sealed                      28.98             5   28.98 $     144.90
 12502609896 CVS   BROTHER 1/4" Inch Seam NEW Snap On Quilting Foot Quilt Feet With Guide SA185                        8.99             1    8.99 $       8.99
 30768553883 CVS   OSTEO BI‐FLEX EASE MINI TABLETS 28CT Exp 04/2026 3883                                              19.19             1   19.19 $      19.19
719869542629 CVS   FLA Orthopedics Soft Form Posture Control Brace, Beige, Small                                      49.95   51.46     2   49.95 $      99.90
630509477159 CVS   STAR WARS B9394AS0 Black Series Jyn Erso 6‐Inch Action Figure Rogue One Toy, Green                  14.5     9.9     2    14.5 $      29.00
 90174445042 CVS   Paul Mitchell Tea Tree Lemon Sage Thickening Shampoo 10.14 oz                                      15.95             1   15.95 $      15.95
300239205154 CVS   Refresh Liquigel Lubricant Eye Gel Drops, 0.5 Fl Oz Sterile                                        13.99    9.99     9   13.99 $     125.91
400329013307 CVS   Cabela‚Äôs Multi Tool Knife With Case Brand New                                                    13.31             1   13.31 $      13.31
736658536935 CVS   Bio Ionic SMART‐X‚Ñ¢ High Efficiency Hair Dryer                                                     329     329      1    329 $      329.00
 74299071546 CVS   Barbie Costume Ball Ken Doll 1990 Mattel #7154                                                     35.24             1   35.24 $      35.24
 15561145206 CVS   Fluval 14520 22W 15‐24‚Ä≥ Plant Spectrum Bluetooth LED Light                                          84             3      84 $     252.00
 13803151534 CVS   Genuine Canon 251 251 Y Yellow Ink High Capacity OEM NEW Pixma                                     13.99             1   13.99 $      13.99
641628502165 CVS   ELEMIS Pro Collagen Night Cream Treatment Moisturizer 30mL/1 oz NEW MSRP $105 FS                    67.5             1    67.5 $      67.50
 12502660873 CVS   Brother SAML Magnifying Lens XP1, XP2, XP3, XJ1, XJ2, Baby Lock Solaris, Altair                    54.95             2   54.95 $     109.90
 75020028440 CVS   Philips Sonicare S Sensitive Teeth Replacement Toothbrush Heads 3 Pack                             19.49             9   19.49 $     175.41
 29069731625 CVS   Hy‐Ko Automotive Key FOB O‐NIS900F Single sided Plastic For Nissan                                 14.99             1   14.99 $      14.99
 97612450125 CVS   Zoo Med PowerSun UV Mercury Vapor Lamp 80 Watts #125                                               25.94             1   25.94 $      25.94
666151062283 CVS   Dermalogica Biolumin‐C Eye Serum (0.5 Fl Oz) Vitamin C Eye Serum ‐ Brightens Eye Area, Reduce         74     74     11      74 $     814.00
 37431885128 CVS   Janome Presser Bar lifter~Janome 712T‐652145007                                                      6.3            14     6.3 $      88.20
 96316000544 CVS   Coralife Aqualight Mini Aquarium LED Light Fixture ‐ 12"‐18" ‐ Fresh/Salt ‐ NEW                    29.99             6   29.99 $     179.94
 41167412220 CVS   2 Pack Allegra 24hr Non‐Drowsy 180mg/antihistamine 16 gelcaps Each EXP 2024                           12           121      12 $   1,452.00
651986410538 CVS   Too Faced Light My Fire MIni Eyeshadow Palette                                                     23.88   22.73     3   23.88 $      71.64
 38100119339 CVS   Purina FortiFlora Pro Plan Supplement‐30 Sachets for Cat~READ Description Exp.22                   17.05             6   17.05 $     102.30
 37431885135 CVS   1/4'' Quilting Sewing Machine Presser Foot Edge Guide Low Shank Snap‐On Machines                   13.57             5   13.57 $      67.85
 51494102817 CVS   MegaFood Skin, Nails & Hair 2 90 Tabs ‐ Supports Healthy Complexion, Nails, Hair                   31.99             5   31.99 $     159.95
765809153356 CVS   NAPA Gold 3497 Fuel Filter                                                                            27     27      1      27 $      27.00
 20714215552 CVS   CLINIQUE SMART CLINICAL MD MULTI‐DIMENSIONAL AGE TRANSFORMER ‐ 0.5 OZ/15 ML UB                      9.95             1    9.95 $       9.95
738435248451 CVS   Cards Against Humanity                                                                                25     50      1      25 $      25.00
194248006952 CVS   bareMinerals Barepro 16HR Skin‐Perfecting Powder Foundation, Matte Pressed Powder Foundat             38     38      1      38 $      38.00
 43168235167 CVS   GE 60 Watt Soft White LED Light Bulb, 2700 K, 2 Bulbs Each ‐ 2 Pack                                13.29             1   13.29 $      13.29
 78477714676 CVS   4" Octagon / Round Steel City / 8b Blank Cover                                                         3             1       3 $       3.00
 48107169534 CVS   GNC Pro Performance BCAA 1800mg 240 Softgels                                                       34.99             2   34.99 $      69.98
 83832599317 CVS   CAR & DRIVER Copilot Driving Fatigue Monitoring System Facial Recognition (e15‐1                      92             1      92 $      92.00
 82901187899 CVS   Ace sink strainer 'brass body' 4266763 brushed nickel, fixed post T610                                36             1      36 $      36.00
 33056846223 CVS   American Standard 0642.001 Studio Carre Bathroom Sink 16‐3/8" Drop‐In White New                     126              1    126 $      126.00
672975192143 CVS   Mad Hippie Triple C Night Cream ‐ Hydrating Face Moisturizer and Skin Brightening Face Cream f     33.99    25.5     8   33.99 $     271.92
740617298055 CVS   Kingston 128GB SDXC Canvas Select Plus 100MB/s Read Class 10 UHS‐I U1 V30 Memory Card (SD          15.99   17.95     1   15.99 $      15.99
 30878335348 CVS   New GE Pro Digital TOSLINK Fiber Optic Cable Mini TOSLINK Adapters 12 Ft. 33534                      7.5             3     7.5 $      22.50
729849169432 CVS   PETSAFE PPA11‐10916 WALL Mount Entry PET DOOR Medium Pet Safe DOG Cat NEW open                     65.39             1   65.39 $      65.39
650067000187 CVS   Cicatricure Scar Cream & SPF 30 Sunscreen, Daily Skin Lotion to Help Fade Old & New Scars, Hyd     17.99    5.49     1   17.99 $      17.99
 15905000765 CVS   Aqueon OptiBright MAX LED Light 48 to 54 Inches Remote Control Aquarium Lamp(d6)                      85             2      85 $     170.00
729238182851 CVS   SHISEIDO ESSENTIAL ENERGY HYDRATING CREAM (50ML)                                                      50      50     3      50 $     150.00
604079114141 CVS   PHILOSOPHY amazing grace Eau de Parfum for Women , 60ml/2oz                                           74      64     2      74 $     148.00
   346398472 CVS   Johnson Evinrude/OMC New OEM Roller and Sleeve Assembly, 0765547, 0432639                          11.25   14.99     1   11.25 $      11.25
185886000860 CVS   Bodyceuticals Pacific Facial Beauty Drops, New Raspberry Illuminating Day, 1 Ounce                  33.8   34.35    10    33.8 $     338.00
741805747317 CVS   NEW NORDIC Hair GRO | Hair Growth Supplement Tablets | Biotin & Palm Fruit Extract for Natur          40      40    18      40 $     720.00
304960480101 CVS   Heliocare Skin Care Dietary Supplement: 240mg                                                      20.95   23.99    95   20.95 $   1,990.25
 75609209000 CVS   Olay Mini Super Serum Night Repair 5 Serum Benefits In One (0.4 Fl OZ)                                16             9      16 $     144.00
300650356046 CVS   Opti‐Free Replenish Multi‐Purpose Disinfecting Solution with Lens Case (Pack of 4)                 17.12   32.67     5   17.12 $      85.60
 15561144797 CVS   Fluval Aquascaping Tools                                                                           29.99             8   29.99 $     239.92
 94664040137 CVS   Nite Ize ‐ Steelie FreeMount Dash Mount Kit ‐ Magnetic Phone Mounting kit                          19.99             2   19.99 $      39.98
367703102609 CVS   Terry Naturally Curamin ‐ 60 Capsules ‐ with Curcumin from Turmeric, Boswellia, DLPA & Nattoki     40.95   34.36     8   40.95 $     327.60
 98132554218 CVS   bareMinerals Skinlongevity Vital Power Moisturizer Broad Spectrum SPF 30 1.7 oz                     22.4             1    22.4 $      22.40
658010115643 CVS   Garden of Life 22 Digestive Enzymes for Women 50 & Over with Bromelain, Papain & Lactase Plu       54.99   36.93     1   54.99 $      54.99
727783050014 CVS   New Chapter Wholemega Fish Oil Supplement ‐ Wild Alaskan Salmon Oil with Omega‐3 + Vitamin         21.95    17.4     1   21.95 $      21.95
 78477588505 CVS   Leviton Decora Smart 4‐Speed Fan Controller with Wi‐Fi Technology, #8505                            47.5             4    47.5 $     190.00
765809149977 CVS   Fuel Filter‐4BBL NAPA/ GOLD FILTERS 3039                                                           20.65             1   20.65 $      20.65
662057941639 CVS   Lightolier L4RAE1VA Version A IC Airseal 4 Inch New Construction Frame‐In Kit With Screw 120 V     62.17   62.17     8   62.17 $     497.36
 90174461455 CVS   Pureology Smooth Perfection Conditioner Anti‐Frizz, Smoothing Hair, ORIGINAL                       25.98            16   25.98 $     415.68
 12502645290 CVS   Brother‚Ñ¢ P‐touch Embellish Embellish Tape RIBBON GOLD ON RED SATIN TZE RW34                       8.45             1    8.45 $       8.45
633911745984 CVS   BioSilk Therapy Cure, 2.26 Fl Oz                                                                    6.85   11.06     1    6.85 $       6.85
655100283541                                                                                                          46.16             2   46.16 $      92.32
300450250247 CVS   Zyrtec 24 Hour Allergy Relief Chewable Tablets, 10 mg Antihistamine Cetirizine HCl per Tablet, M   20.67    14.1    16   20.67 $     330.72
 80217004190 CVS   Wolo 419 One Piece Horn,Air,Black,Under‐Hood                                                       50.39             1   50.39 $      50.39
 90563563692 CVS   Polo Ralph Lauren Men's Pony Print Flannel Sleep Pajama Pants Red Size Small New                   38.54             1   38.54 $      38.54
 87547550717 CVS   HP Original 65XL Black Printer Ink Cartridge N9K04AN Exp 12/2022 New in Package                    23.99             2   23.99 $      47.98
718813529105 CVS   American Crafts Color Pour Resin, Soft 6.76oz                                                      42.99             3   42.99 $     128.97
 39003491683 CVS   Everbilt Rubber Cups Anti‐Skid 49168                                                                 8.4             5     8.4 $      42.00
647125000012 CVS   Real Health The Prostate Formula with Saw Palmetto Supplement For Men, 3 Month Supply, Sup         34.99   30.99    51   34.99 $   1,784.49
 20714192334 CVS   Clinique High Impact Mascara 0.14 oz 3.5 ml #01 BLACK Brand New TRAVEL SIZE                         7.99             3    7.99 $      23.97
633911746004 CVS   BioSilk Silk Therapy Lite, 5.64 Fluid Ounce                                                         9.99   17.36    11    9.99 $     109.89
730852155800 CVS   SHISEIDO BENEFIANCE WRINKLE SMOOTHING CONTOUR SERUM (30ML)                                            75      75     6      75 $     450.00
 71641190887 CVS   EXPO Dry Erase Markers, Whiteboard Markers with Low Odor Ink, Fine Tip, Assorted                      45             2      45 $      90.00
602004057877 CVS   Benefit Cosmetics Roller Lash Super Curling & Lifting Mascara in Black 0.3 oz                              22.13     3   22.13 $      66.39
719821463740 CVS   Joby Telepod Mobile Tripod for Smartphone and Camera ‐ Bluetooth                                              25     1      25 $      25.00
311917012100 CVS   Walgreens Air Compression Head And Temple Massager 509537 / Rechargeable                             39              1      39 $      39.00
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 33991076389 CVS   Scosche BTFreq Pro Wireless Hands‐Free Car Kit Bluetooth 5.0 FM Dual USB‐A/C NEW                      18.65             1    18.65 $      18.65
643334553615 CVS   TYPE S 24in Multi‐Color Rapid Scan LED Kit                                                            39.99             1    39.99 $      39.99
716170027456 CVS   Bobbi Brown Hydrating Face Cream, Brown, 1.7 Fl Oz                                                   148.98      40    22   148.98 $   3,277.56
 33287139620 CVS   Ryobi P320 18V Cordless Brad Nailer                                                                   84.85             1    84.85 $      84.85
194587626842                                                                                                             69.99    50.98    1    69.99 $      69.99
190623000140 CVS   TevraPet FirstAct Plus Flea and Tick Topical for Dogs 45‐88 Pounds, 3 Applicators                     24.99    19.99    1    24.99 $      24.99
759746990358 CVS   Driver Side Mirror Glass, Ford Explorer, Ford Explorer Sport Trac, Mercury Mountaineer, Ford Ra          14    14.89    1       14 $      14.00
191726425977 CVS   Pokemon PKW2684 Battle Figure 6 Pack‐Features 2‐Inch Pikachu, Squirtle, Charmander, Bulbasa           18.95    41.79    1    18.95 $      18.95
666151113060 CVS   Dermalogica Liquid Peelfoliant with Glycolic Acid, Face Exfoliator Peel with AHA BHA PHA, Smoot          64       64    2       64 $     128.00
 22415052160 CVS   Rest Right Mattress Protector Temperature Balancing Fitted King 78"x80" New                           41.99             1    41.99 $      41.99
 45557109417 CVS   Bandai BAN201305 Star Wars                                                                            16.67             1    16.67 $      16.67
604079161565 CVS   philosophy ultimate miracle worker multi‐rejuvenating moisturizer‐ SPF, retinol & glycolic acid, 2       82       88    1       82 $      82.00
658010113359 CVS   Garden of Life Whole Food Primal Defense Ultra Ultimate Probiotic Dietary Supplement Vegetari          96.2    78.04    1     96.2 $      96.20
 37495137393 CVS   DORMAN Keyless Entry Remote ~ GM 2001‐2004 ~ New! Never Used! ~ Yukon, Suburban                          24             2       24 $      48.00
673419374743 CVS   LEGO Classic Creative Party Box Bricks Set 11029, Family Games to Play Together, Includes 12 Mi       49.99    57.98    1    49.99 $      49.99
302990115048 CVS   CETAPHIL RESTORADERM Soothing Moisturizer, For Eczema Prone Skin, 10 fl oz, For Dry, Itchy, Ir        18.99    17.07    3    18.99 $      56.97
 44974440363 CVS   Generals Multi Pastel Chalk Pencils Lot of 8 #4435 1/2                                                12.99             2    12.99 $      25.98
 28874048034 CVS   New, DeWalt 9" Taper Bi‐Metal Saw Zaw Blades 6‐TPI, 1‐Pack DWAR956 Wood Cutting                         9.7             1      9.7 $       9.70
 36752036479 CVS   Engine Cooling Fan Controller Hayden 3647                                                             29.87             1    29.87 $      29.87
673419339735 CVS   LEGO Harry Potter Hogwarts: Polyjuice Potion Mistake 76386 Moaning Myrtle's Bathroom with R           19.99    35.95    4    19.99 $      79.96
716170245706 CVS   Bobbi Brown Sheer Finish Pressed Powder ‐ Soft Sand (.35oz/10g)                                       45.99    29.92    4    45.99 $     183.96
 20363215682 CVS   AO Smith Leak Shield Water Shut Off Valve 3830465 #5682                                                  31             1       31 $      31.00
367703402068 CVS   Terry Naturally CuraMed 375 mg Curcumin Complex ‐ 60 Softgels ‐ Superior Absorption BCM‐95            36.95       29    9    36.95 $     332.55
706195000855 CVS   Oregon's Wild Harvest Certified Organic Milk Thistle Dandelion Capsules, 80% Silymarin, Burdock       31.95    24.79    1    31.95 $      31.95
 10343950405 CVS   Epson WorkForce Pro WF‐7840 Wireless Wide Format Color All‐in‐One Inkjet Printer                     218.98             1   218.98 $     218.98
607710075641 CVS   Smashbox The Cali Contour ShapeBronzeGlow Pallet, Plain, 0.69 Ounce                                      40    33.48    8       40 $     320.00
 74108380494 CVS   BaByliss Pro Titanium Professional Curl Genius Machine ‐ #BTCG1                                       49.98             1    49.98 $      49.98
748960374624 CVS   RUFFWEAR, Flat Out Dog Collar (Formerly Hoopie), Webbing Collar for Walking and Everyday Use          19.95             1    19.95 $      19.95
729849168572 CVS   PetSafe Peek‐A‐Bird ‐ Electronic Toy and Interactive Bird Hunt ‐ Automatic Feather Toy for Bored      39.99    31.95    2    39.99 $      79.98
729238172838 CVS   Shiseido Ultimune Power Infusing Concentrate ‐ 30 mL ‐ Antioxidant Anti‐Aging Face Serum ‐ Boo           75       75    9       75 $     675.00
 51131203709 CVS   Ace Self‐Adhering Elastic Bandage 2 inches 1 each                                                       8.6             1      8.6 $       8.60
 17801743036 CVS   FEIT 2 ft. 2‐Light 19‐Watt White LED Hydroponic Non‐Dim Grow Light Fixture                            14.99             1    14.99 $      14.99
 92644692376 CVS   Klein Tools 935DAG Digital Angle Gauge And Level                                                         30             3       30 $      90.00
 32886918124 CVS   Southwire 11589984 THHN 12 AWG Solid Red Copper 100‚Äô Wire                                           36.95             8    36.95 $     295.60
700867225904 CVS   Power Support ARC Bumper Gold Resilient Protection for Apple iPhone 6 / 6s 4.7"                        8.95             2     8.95 $      17.90
 20335071445 CVS   FISKARS ROTARY BLADES 60MM 5 BLADES                                                                   16.95             4    16.95 $      67.80
612409520036 CVS   MTN OPS Ignite Supercharged Energy Drink Mix 45‐Serving Tub, Pink Lemonade                            49.95    49.45    2    49.95 $      99.90
 79976421454 CVS   Reese TowPower 85253 Trailer Connector ~ Fits: models 2000‐2019                                          19             1       19 $      19.00
 28068001388 CVS   Chemex Glass Handle 8 Cup CM‐8GH Coffee Maker, #1388                                                  51.99            10    51.99 $     519.90
736150175168 CVS   Laura Mercier Mini Translucent Loose Setting Powder Translucent Medium Deep                              24    38.99    6       24 $     144.00
 51400951386 CVS   Amope Pedi Perfect Electronic Nail Care System Refill Heads 3 Ct File Buff Shine                       7.87             1     7.87 $       7.87
754473928483 CVS   Brady Handheld Color Label Printer with Keyboard, Multi Line Print, 6 to 40, 6 Font Sizes, 203 Dp    124.99   207.98    1   124.99 $     124.99
755970460575 CVS   Nutramax Dasuquin Joint Health Supplement for Cats ‐ With Glucosamine, Chondroitin, ASU, Bos          15.99    18.95    7    15.99 $     111.93
 17801152074 CVS   Feit Electric C10000/5K/LEDG2 100W 5000K 10,000 Lumens Daylight LED Yard Light                        68.32             1    68.32 $      68.32
311917213057                                                                                                              29.9             1     29.9 $      29.90
730541012131 CVS   Ives by Schlage 72Z‐625E Door Saver Hinge Pin Stop                                                     1.69    18.75    8     1.69 $      13.52
 45242822621 CVS   Milwaukee 49‐25‐2272 Diamond Grit Blade Grout Removal Universal Fit Open‐Lok                          21.59             1    21.59 $      21.59
618862570601 CVS   ABBA Firm Finish Hair Spray, 8 Fl Oz                                                                     23       23    1       23 $      23.00
658010117968 CVS   Garden Of Life Organic Mykind Women's 40+ Multi, 72 CT                                                48.26    47.87    3    48.26 $     144.78
 51494102718 CVS   MegaFood Women Over 55 + 60 Tablet                                                                    25.89             1    25.89 $      25.89
720476190134 CVS   Ergodyne Squids 3100EXT Tool Lanyard with Single Carabiner and Adjustable Loop End, Extended           8.67    15.13    1     8.67 $       8.67
 71249315040 CVS   L'Or√©al Revitalift Bright Reveal Brightening Day Moisturizer Lotion Ships Free!                      12.25             2    12.25 $      24.50
 15794064039 CVS   Country Life Coenzyme B‐Complex Advanced 120 Vegetarian Capsules Gluten‐Free,                         41.84             2    41.84 $      83.68
730852154780 CVS   Shiseido Ultimune Eye Power Infusing Eye Concentrate 15ml/0.54oz                                         70             8       70 $     560.00
718813297745 CVS   AC Sustainable Journaling Bamboo Journal 5.5"X8.5"‐Heart, W/2 Inserts (24 Pages Each)                 29.99    29.99    3    29.99 $      89.97
673419359825 CVS   LEGO Creator Valentines Lovebirds 40522                                                               27.99       35    1    27.99 $      27.99
 20335070974 CVS   FISKARS TRIGGER ROTARY CUTTER 60MM (185330)                                                           10.49             2    10.49 $      20.98
 74108452672 CVS   INFINITIPRO BY CONAIR Cool Air Curler Styler ‐ with Cool Air Technology CD2112                        14.99            10    14.99 $     149.90
324208432624 CVS   ReNu MultiPlus Lubricating & Rewetting Drops, 0.27 Fl Oz (Pack of 2) (Packaging May Vary)              9.08     9.08   19     9.08 $     172.52
762111558893 CVS   Starbucks Halloween 2023 Oil Slick Rainbow Iridescent Venti Tumbler 24oz                              39.99    33.99    3    39.99 $     119.97
666151112827 CVS   Dermalogica Circular Hydration Serum ‐ Deeply Hydrates Skin for 10+ Hours and Increases Hydra            64       64    4       64 $     256.00
765809151864 CVS   NAPA GOLD HYDRAULIC FILTER 1864                                                                       20.99             1    20.99 $      20.99
 37495137164 CVS   Dorman 13716 Keyless Entry Remote Fob                                                                 15.96             1    15.96 $      15.96
716170020501 CVS   Bobbi Brown Bronzing Powder ‐ # 4 Deep ‐ 8g/0.28oz                                                     62.7    25.53    3     62.7 $     188.10
 46677476922 CVS   Philips ‐ Hue Bluetooth White A19 60W LED Bulbs 2 + bridge Starter Kit ‐ White                        39.99             1    39.99 $      39.99
381519078262 CVS   SK‐II Skinpower Eye Cream Unisex 0.50 Ounce                                                            139    102.91    2     139 $      278.00
651986210541 CVS   Too Faced Better Than Sex Easy Glide Waterproof Liquid Eyeliner Black                                    25     18.9    1       25 $      25.00
 67990200483 CVS   4 Instrumental Beauty Facial Replacement Brush Heads for Sonic Facial Brush                            8.98             5     8.98 $      44.90
757894606527 CVS   Youngstown Glove 09‐9060‐10‐XXL Titan XT Glove, XX‐Large, Lime                                        29.99      40     1    29.99 $      29.99
 85347127504 CVS   Edelbrock 12750 Holley/Demon/Quick Fuel Carburetor Rebuild Kit for 4160 Models                        38.99             1    38.99 $      38.99
658010113663 CVS   Garden of Life Multivitamin for Women, Vitamin Code Women's Multi, Whole Food Womens Mu               44.99    34.85   11    44.99 $     494.89
658010114172 CVS   Garden of Life Multivitamin for Women, Vitamin Code Women's Multi ‐ 240 Capsules, Whole Foo           78.99     51.5    1    78.99 $      78.99
605592005725 CVS   Nexxus Clean and Pure Conditioner Nourished Hair Care, With ProteinFusion, Silicone, Dye, and P       15.99       16   12    15.99 $     191.88
765809153776 CVS   NAPA Gold Fuel Filter 3558!!                                                                          14.39             1    14.39 $      14.39
 30918668542 CVS   NWT Solo Classic Collection Black Leather 4‚Äù Briefcase/Attache                                      62.45             1    62.45 $      62.45
760823008620 CVS   Black Gold Mountain Lite Archery Sight‐Right Hand/5 Pin/.019                                                  289.95    3   289.95 $     869.85
 30878335775 CVS   GE HDMI Cable w/ High Speed Ethernet, Gold Connectors, 25ft Long                                      18.74             2    18.74 $      37.48
672555176587 CVS   Cricket Centrix Roc‐it Dog Offset Handle Convex Blade, R 575 and RT 30 Shear and Thinner Duo         249.99             2   249.99 $     499.98
763649119389 CVS   Seagate Game Drive 4TB External Hard Drive Portable HDD ‐ Compatible With PS4 (STGD4000400           149.99     165     1   149.99 $     149.99
733739029645 CVS   NOW Supplements, Super Enzymes, Formulated with Bromelain, Ox Bile, Pancreatin and Papain,            43.99    24.54   17    43.99 $     747.83
700603220927 CVS   Outward Hound Dawson Swim Red Dog Life Jacket, Small                                                  24.99    20.16    4    24.99 $      99.96
 94800352018 CVS   Stila Magnificent Metals Glitter & Glow Liquid Eye Shadow ‐ CHOOSE SHADE!                             14.49             1    14.49 $      14.49
 98268253764 CVS   Open Box~WATTS HOT WATER RECIRCULATING SYSTEM 500800                                                 169.99             1   169.99 $     169.99
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 32929433713 CVS   Dataproducts BLACK/MULTI COLOR Inkjet Cartridge for Epson T220 XL NEW! ‚Äî1008                       15.95              1    15.95 $      15.95
736150164292 CVS   Laura Mercier Secret Brightening Powder for Under Eyes #2                                               33    16.24     1       33 $      33.00
 96316001589 CVS   Zilla Digital Temperature Controller 1000W #589                                                      24.95              7    24.95 $     174.65
 48107226947 CVS   New GNC Mega Men 50 Plus Multivitamin ‐ 120 Caplets EXP 06/2025                                      25.49              2    25.49 $      50.98
 39052008672 CVS   Lectronic Smart Universal All‐In‐One Travel Adapter w/Built‐In USB Port ‐ LS1ADR                     11.99              1    11.99 $      11.99
 37000452669 CVS   Metamucil Psyllium Super Fiber Capsules ‐ 200 Count Exp 12/2024                                      19.99              3    19.99 $      59.97
687735630377 CVS   Pacifica Beauty Hawaiian Ruby Guava Rollerball Clean Fragrance Perfume, Made with Natural &             12       28     1       12 $      12.00
194251006932 CVS   NARS Air Matte Blush Scandalous (Burgundy) 0.21 oz                                                   26.98    39.99     1    26.98 $      26.98
 27979023687 CVS   Chicago Cutlery Malden 16 Piece Stainless Steel Kitchen Knife Set                                    60.64              1    60.64 $      60.64
 31604016173 CVS   Nature Made Flaxseed Oil 1000 Mg, Fish Free Omega 3 Supplement, Dietary Suppleme                     11.16              1    11.16 $      11.16
 74101206234 CVS   NEW Fuji Film Instax Mini Link 2 Bluetooth Smartphone Printer Clay White NEW                         82.18              1    82.18 $      82.18
718103343688                                                                                                            52.99              3    52.99 $     158.97
 90174199808 CVS   Paul Mitchell Flexible Style Sculpting Foam (Select Size)                                             17.5              1     17.5 $      17.50
 37000741176 CVS   Metamucil, Daily Psyllium Husk Powder Supplement, Sugar‐Free Powder, 4‐in‐1                          33.89             11    33.89 $     372.79
 97467049239 CVS   NaturesPlus Advanced Glucosamine/Chondroitin/MSM Ultra RX Joint 90 cap Exp 3/24                      32.99              2    32.99 $      65.98
 77985078720 CVS   Rain Bird ST8I‐2.0 8‐Zone Indoor Irrigation System Controller                                           95              1       95 $      95.00
 21331996831 CVS   LVLUP Pro Gaming Mouse with DPI Switch ‐ BRAND NEW FREE SHIPPING!                                     8.88              2     8.88 $      17.76
666151112865 CVS   Dermalogica Dynamic Skin Recovery SPF 50 Face Moisturizer, Sunscreen Lotion ‐ Use daily to Firm         66       79     6       66 $     396.00
748960954000 CVS   Ruffwear, Front Range Dog Harness, Reflective and Padded Harness for Training and Everyday, T        49.95    49.95     2    49.95 $      99.90
633911900161                                                                                                            24.95              1    24.95 $      24.95
 16963163713 CVS   Heath Zenith Wireless Doorbell Kit ‐ NEW Door Bell Kit SL‐7871                                       19.53              1    19.53 $      19.53
607710006218 CVS   Smashbox The Cali Contour Palette ‐ Medium Dark Makeup Women 0.84 oz                                    43    35.96     5       43 $     215.00
 90174188512 CVS   Paul Mitchell Tea Tree Special Conditioner 10.14 oz                                                  19.99              1    19.99 $      19.99
 45242593828 CVS   Milwaukee 49‐10‐9004 3‐Pc. Wood Cutting Variety Pack NIB                                             12.75              5    12.75 $      63.75
631656606805 CVS   MuscleTech Muscle Builder, Muscle Building Supplements for Men & Women, Nitric Oxide Boost           20.49    19.99     1    20.49 $      20.49
751063145961 CVS   Gaia Herbs Turmeric Supreme Extra Strength ‐ Helps Reduce Occasional Swelling from Normal W          49.99    45.75    30    49.99 $   1,499.70
358962203107 CVS   ScarAway Silicone Gel 10g                                                                                     14.99   124    14.99 $   1,858.76
 15794064190 CVS   Country Life Coenzyme B‐Complex 120 Vegan Caps                                                          25              3       25 $      75.00
 22578109091 CVS   Houdini Electric Corkscrew in Stainless Steel and Black New in Box                                   10.25              1    10.25 $      10.25
630454241317 CVS   Sizzix Framelits Die Set, Pink                                                                       22.99              1    22.99 $      22.99
673419319034 CVS   LEGO Minecraft The Pillager Outpost 21159 Awesome Action Figure Brick Building Playset for Kid       29.99    50.49     2    29.99 $      59.98
 33984013179 CVS   Solgar Glucosamine Hyaluronic Acid Chondroitin MSM, 120 Tablets, Non‐GMO                             43.49              1    43.49 $      43.49
323900031074 CVS   Vicks Dayquil & Nyquil High Blood Pressure ‐ Cold & Flu ‐ 48 Liquicaps exp4/2025                     17.49              5    17.49 $      87.45
 15905000581 CVS   Aqueon Pro 100W Submersible Aquarium Heater 30 Gal Tank UPC: 015905000581                            39.95              6    39.95 $     239.70
 77784016794 CVS   Taylor Salter Gray Digital Ultra Thin Glass Kitchen Scale Up to 11 lb.                               27.24              2    27.24 $      54.48
695866588214 CVS   Dr Dennis Gross Vitamin C Lactic Oil‐Free Radiant Moisturizer: For Dullness, Uneven Tone & Text         72      72      2       72 $     144.00
651473706632 CVS   Perricone MD Cold Plasma Plus+ Neck & Chest Broad Spectrum SPF 25 1 Ounce                               95     80.2     1       95 $      95.00
 96018205209 CVS   LANC√îME Dual Finish Multi‐Tasking Powder Foundation Oil‐free Face Powder NU III                     29.99              6    29.99 $     179.94
 87547556689 CVS   HP 67XL Black Cartridge Genuine /Original Sealed New Expired April 2023                              25.65              3    25.65 $      76.95
 75609007392 CVS   Olay Regenerist Advanced Anti‐Aging w/Moisturize SPF 15 75 ml Open Box                               16.99             13    16.99 $     220.87
 47875877689 CVS   Overwatch Collector's Edition Microsoft Xbox One *BRAND NEW, SEALED*                                154.95              1   154.95 $     154.95
 74469517157 CVS   Joico K‐Pak Color Reconstructing Conditioner 8.5 Oz                                                  12.56              1    12.56 $      12.56
651473705772 CVS   Perricone MD High Potency Classics: Face Finishing & Firming Moisturizer 2 Ounce                        75       75     1       75 $      75.00
633422038124 CVS   Host Defense, MyCommunity Capsules, Advanced Immune Support, Mushroom Supplement with                39.95    30.71    16    39.95 $     639.20
358962203008 CVS   ScarAway Advanced Skincare Silicone Scar Sheets (Variety Pack)                                          20    23.99    13       20 $     260.00
 23601230010 CVS   Carex AccuRelief Dual Channel new#0010                                                                10.4              6     10.4 $      62.40
 29054019059 CVS   WIRED First Alert SC0500 Battery Operated Smoke and Carbon Monoxide Alarm                            23.53             10    23.53 $     235.30
658010118330 CVS   Garden of Life Dr. Formulated Probiotics Fitbiotic Weight Management Powder 50 Billion CFU &         46.99    31.94     4    46.99 $     187.96
658010114196 CVS   Garden Of Life Multivitamin for Men ‐ Vitamin Code Men's Raw Whole Food Vitamin Supplemen            78.99     54.8     1    78.99 $      78.99
400000026947 CVS   AUTUMN CASHMERE NWT $475 Sailor Stripe Boatneck Women‚Äôs Sweater Pullover                           46.94              1    46.94 $      46.94
 37447002472 CVS   Leatherman ‐ Wave Plus Multipurpose Pliers Stainless (New Sealed Rough Box)                         104.95              1   104.95 $     104.95
 69055134986 CVS   Oral‐B iO Series 4 Electric Toothbrush with Brush Head ‐ Blue SEALED                                 49.99              3    49.99 $     149.97
681421022040 CVS   Dulcolax Stool Softener Laxative Liquid Gel Capsules (100ct) for Gentle Relief, Docusate Sodium 1    23.99    16.99     3    23.99 $      71.97
 12443560096 CVS   ASP Make It Peelable! Turns ASP Soak Off Polish Into Peelable Gel Polish ‐ New                       46.83              1    46.83 $      46.83
651986410569 CVS   Too Faced That‚Äôs My Jam Mini Eyeshadow Palette                                                     39.99      28      1    39.99 $      39.99
 32886263637 CVS   Southwire 63948422 Ground Romex Simbull Electrical Wire. New                                            79             13       79 $   1,027.00
730870159347 CVS   SK‐II Facial Treatment Essence, 7.7 Ounce                                                             229    189.99     8     229 $    1,832.00
 45564643478 CVS   Husky HDA72200 3/8 in. High Performance Air Regulator ‐ OPEN BOX ‐ NEW                               22.99              1    22.99 $      22.99
 22578004341 CVS   5‐Piece Wine Tool Set, The Original Rabbit Kit w/ Corkscrew, Housewarming Gift                       23.45              1    23.45 $      23.45
 28905807685 CVS   Waxman Consumer Group 8076800 Chrome Handheld Showerhead,No 8076800                                  35.81              1    35.81 $      35.81
 39564114953                                                                                                            19.97    10.44     1    19.97 $      19.97
 45923095825 CVS   1 Pack Satco S9582 LED Filament 12‐Inches Bulb 6.5W =60W T9 Clear E26 120V 2700K                      9.85              1     9.85 $       9.85
 69055135358 CVS   Oral‐B iO Series 5 Luxe Electric Toothbrush (White) NEW OPEN BOX                                        65              2       65 $     130.00
685659073034 CVS   Z‐Lite 562B‐BK‐LED 1 Outdoor Wall Light, Black                                                      259.66    141.8     2   259.66 $     519.32
761318021759 CVS   Revlon Copper Smooth Hair Flat Iron | Frizz Control for Fast and Shiny Styles, (XL 1 in)             39.99    42.08     1    39.99 $      39.99
729849127890 CVS   PetSafe Vibration Bark Control Collar,Black,Adjustable                                               99.99    74.95     2    99.99 $     199.98
 78477498422 CVS   LEVITON 5352 20A/125V Professional Heavy Duty IVORY                                                   9.67              5     9.67 $      48.35
633356605812 CVS   We R Memory Keepers All in One Tool (White) Scrapbooking Tools Stamp Press Magnets Tab Ma            98.99    54.49     1    98.99 $      98.99
 53926600908 CVS   Adams Create Your Own Employee Handbook, Forms on CD (SS4324) , White                                 5.22              1     5.22 $       5.22
 33674157831 CVS   Natures Way 15 Probiotic Strains 60 billion 30 Capsule Exp 6/2024 #7831                                 22              6       22 $     132.00
 53334987226 CVS   2021/22 Upper Deck Seattle KRAKEN Factory Sealed 35 Card Box Set ~ Look for AUTO                     29.99              1    29.99 $      29.99
 51131201644 CVS   3M Futuro Knee Length Stocking Anti‐Embolism Moderate Compression, White Sz: XL                       8.99              1     8.99 $       8.99
192333094716 CVS   Clinique High Impact Lash Amplifying Serum Serum Women 0.1 oz                                           49    17.65     3       49 $     147.00
 17200000433 CVS   ARC Oral Care Leave on Teeth Whitening, 18 Mint Flavor Treatments, On‐The‐Go                          8.99              1     8.99 $       8.99
681066734155 CVS   Vivitar USB Charging Station                                                                         10.64              1    10.64 $      10.64
611247390689 CVS   Keurig¬Æ K‐Supreme Plus SMART Single Serve K‐Cup Pod Coffee Maker, Black                            229.99   198.99     1   229.99 $     229.99
 71249291788 CVS   L'Oreal Revitalift Volume Filler by L'Oreal, 1.7oz Day Cream Moisturizer                             17.77              8    17.77 $     142.16
 20335062221 CVS   Fiskars Limited Edition Scissors Non Stick Titanium Softgrip 8 Inches Sea Mist                        9.99              1     9.99 $       9.99
 68958355023 CVS   Natural Factors Whole Earth & Sea Pure Food Multivitamin, 60 Tabs ‐ CHOOSE ITEM!                     24.99              3    24.99 $      74.97
609863080084 CVS   Topricin Pain Relief Therapy Cream (8 oz) Fast Acting Pain Relieving Rub                             39.95    29.99     1    39.95 $      39.95
 35794455842 CVS   ALLIED Dual Port USB Car Charger with Lighting cable for iPhone iPad iPod                             8.88              1     8.88 $       8.88
716281510380 CVS   Slime 50139 Flat Tire Puncture Emergency Kit, Includes Sealant and Tyre Inflator Pump, Analog, S     77.99    71.39     1    77.99 $      77.99
 43168511285 CVS   C by GE ‐ Dimmer + Color Control Smart Switch ‐ Wireless #285                                        15.99              1    15.99 $      15.99
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 54732829774 CVS   Prime #PBUF0001 6' Black 2‐Outlet & 2‐Usb Fabric Accent Power Strip Cord #9774                            7              1        7 $       7.00
631257121035 CVS   Renew Life Ultimate Care Probiotic Capsules, Daily Supplement Supports Respiratory, Digestive a      59.99     40.99     1    59.99 $      59.99
 15794016878 CVS   Country Life NAC (N‐Acetyl Cysteine) 750 mg 60 Veg Caps EXP 03/2025 FREE S&H! üëÄ                       18               1       18 $      18.00
718813566681 CVS   AMERICAN CRAFTS COLOR POUR START KIT 31PCS, 31/Pkg                                                   62.99     55.98     4    62.99 $     251.96
716837872900 CVS   Pepcid AC Original Strength Heartburn Relief Tablets, Prevents & Relieves Heartburn Due to Acid      28.84     19.82     4    28.84 $     115.36
 41260001178 CVS   3 Pack‐ Kroger "Smile Sonic Pro" Advanced Clean Medium (3) Brush Heads                                  15               1       15 $      15.00
651986800230 CVS   Too Faced Better Than Sex Volumizing & Lengthening Waterproof Mascara Standard Size Black ‐             29     24.98     3       29 $      87.00
733739028105 CVS   NOW Supplements, D‐Mannose Powder for Immune Support, Non‐GMO Project Verified, Health               31.99               1    31.99 $      31.99
381519078385 CVS   SK‐II Skinpower Essence, 1.6 Ounce                                                                     199    126.99     3     199 $      597.00
 51494101537 CVS   MegaFood One Daily 60 Tablet                                                                         45.49               2    45.49 $      90.98
 45734983946 CVS   MintCraft Heavy Duty Flaring Tool 541‐9437                                                           19.95               2    19.95 $      39.90
 90174433636 CVS   Olaplex No.4 Bond Maintenance Shampoo ‐ 8.5oz with no 5 condi on¬†                                      50               1       50 $      50.00
 11017570028 CVS   Dr. Scholl's Sport Insoles For Woman Size 6‐10 Massaging Gel                                          13.6               1     13.6 $      13.60
 79171550089 CVS   Franklin Brass Wall Mounted Toilet Paper Holder 7‐3/4‐In 5508B                                       13.98               1    13.98 $      13.98
 23542100427 CVS   Aged Garlic Extract, Cardiovascular Health, Original Formula 100, 200 Capsules                       18.89               6    18.89 $     113.34
 78729521793 CVS   Hot Tools Pro Waver Deep Plates Nano Ceramic Plates Dual Voltage                                     33.82               1    33.82 $      33.82
670367005040 CVS   Peter Thomas Roth | Water Drench Hyaluronic Cloud Cream | Hydrating Moisturizer for Face, Up            52       54     12       52 $     624.00
 34449871082 CVS   Delta Sandover 35748LF‐SP Spotshield Brushed Nickel 2‐handle Faucet                                 129.99               1   129.99 $     129.99
 32929430484 CVS   Dataproducts¬†Inkjet Cartridge HP 564XL High Yield Black/CMY Color Ink 4‐Pack!!                      16.99               1    16.99 $      16.99
 97467307148 CVS   Nature's Plus Source of Life Gold Vitamin Tablets ‐ 180 Mini‐Tabs Exp 2024                           65.09               3    65.09 $     195.27
358790005607 CVS   TheraTears SteriLid Eyelid Cleanser and Face Wash, for irritated eyes, 2 fl oz Spray                 19.99     15.29   171    19.99 $   3,418.29
 90174491360 CVS   Matrix Biolage Smoothproof Shampoo 13.5 Fl Oz                                                        18.99              15    18.99 $     284.85
 31604026578 CVS   Nature Made Fish Oil ‐ Burp‐Less 1,200 mg 200 Sgels Ex 12/2025(6578)                                 13.99              25    13.99 $     349.75
610858084901 CVS   Konsyl Daily Psyllium Fiber ‐Orange Flavor‐ 100% Natural Psyllium Husk Powder ‐ Sugar Free & G        9.56      9.99     1     9.56 $       9.56
 75020067302 CVS   Philips HP6376/61 Bikini Perfect Advanced Women's Bikini Hair Trimmer Pink                           19.99               6    19.99 $     119.94
363824995328 CVS   Maximum Strength Mucinex Fast‐Max Day Cold & Flu & Nightshift Night Severe Cold & Flu All In         22.49     18.13     1    22.49 $      22.49
 24721240705 CVS   Irwin Tools 24070 10‐inch 40‐teeth General Purpose Circular Saw Blade                                20.99               2    20.99 $      41.98
194248006914 CVS   bareMinerals Barepro 16HR Skin‐Perfecting Powder Foundation, Matte Pressed Powder Foundat               35       38      2       35 $      70.00
 70018007292 CVS   Nioxin System #3 Cleanser Shampoo 10.1 oz                                                            13.95               1    13.95 $      13.95
 22600901402 CVS   FIRST RESPONSE ‐2 DIGITAL PREGNANCY TESTS‐6 DAYS SOONER*FREE SHIPPING*EXP 01/24                       8.49               1     8.49 $       8.49
196182393242 CVS   Lithonia Lighting ESXF2 ALO SWW2 KY DDB M2 Outdoor LED Switchable Floodlight, Knuckle or Yo 137.98             93.92     1   137.98 $     137.98
654749350041 CVS   Avalon Organics Gel Cream Moisturizer with Vitamin C, 1.7 Oz                                         23.99     13.81     6    23.99 $     143.94
755284018776 CVS   Good Earth Lighting 7ft LED 16‐Color Flexible TV Tape Light ‐ USB Plug‐in, Remote Control ‐ 30,000 Hour Rat    19.58     9    19.58 $     176.22
 30878275316 CVS   General Electric GE 27531 12ft. High‐Speed HDMI Cable Black                                          10.75               3    10.75 $      32.25
 92644740107 CVS   Klein Tools Insulated Wire Stripper/Cutter. 11054EINS                                                39.98               8    39.98 $     319.84
754502042999 CVS   Finishing Touch Flawless Nu Razor Portable Cordless Rechargeable Electric Razor                      39.98       9.2    22    39.98 $     879.56
670480241509 CVS   Enzymedica Digest Gold + ATPro, Maximum Strength Digestive Enzymes, Helps Digest Large Mea           18.49     13.59     1    18.49 $      18.49
611728294376 CVS   Quoizel VRG1612OI Verge Super Flush Mount Ceiling Lighting, 1‐Light, LED 17 Watts, Oil Rubbed        79.99     79.99     7    79.99 $     559.93
 87547550687 CVS   Hewlett‐Packard HP 65 Tri Color Ink Cartridge Best Used By Feb 2/2023 Sealed                          9.75               7     9.75 $      68.25
 30878105217 CVS   GE ULTRA PRO 12ft Digital Fiber Optic HD Audio Lossless Cable w/Toslink Adapter                      15.85               2    15.85 $      31.70
735290106438 CVS   H&R Block Deluxe 2018 Homeowners/Investors Tax Software, Traditional Disc                            16.99     16.99     1    16.99 $      16.99
 53076177800 CVS   Fungi Nail Maximum Strength Anti Fungus Spray 1 Oz Exp. 01/2025                                       7.99               4     7.99 $      31.96
 30103046001 CVS   Balmex Adult Care Rash Cream Zinc Oxide 11.3% Soothe Protect Skin Gentle 12 oz                       19.35               1    19.35 $      19.35
 78477639757 CVS   Leviton LB120‐AFR ‐ Circuit Breaker ‐ 1‐Pole 20 Amp 120v AC/DC                                       33.99               1    33.99 $      33.99
601842202777                                                                                                             84.9               1     84.9 $      84.90
666151040328 CVS   Dermalogica Multivitamin Power Recovery Masque (2.5 Fl Oz) Anti‐Aging Face Mask with Vitami          62.81       65      7    62.81 $     439.67
 78477942123 CVS   Leviton M42‐GFNT2‐04W 20 Amp 125‐Volt Duplex Self‐Test Slim GFCI Outlet, White                       20.65               1    20.65 $      20.65
 21888600069 CVS   Rainbow Light Prenatal Daily Duo Multivitamin 90 Softgels + 90 Tablets Exp 07/23                     31.85               1    31.85 $      31.85
 11822997140 CVS   Men's Daylogic Minoxidil Topical USP 5% ~ 3‐month supply EXP 4/23                                    16.32               1    16.32 $      16.32
 24721999252 CVS   Irwin Industrial Tools 4935496 11 Piece RecipROCATING Saw Blade Kit 0741306                             17               3       17 $      51.00
194555135314 CVS   Schlage F60 V CAM 609 GEO Camelot Front Entry Handleset with Georgian Knob, Deadbolt Keyed             132    138.06     1     132 $      132.00
 15905000536 CVS   Aqueon OptiBright LED Aquarium Light Fixture 12"‐18" NEW                                             40.49               2    40.49 $      80.98
367703347062 CVS   Terry Naturally CuraMed Acute Pain Relief, 60 Liquid Gels ‐ with BCM‐95 Curcumin, BOS‐10 Bosw        51.95     43.16    12    51.95 $     623.40
 87547550632 CVS   HP Original Ink Cartridge *Select* *READ DESC*                                                       19.99               5    19.99 $      99.95
 72879302431 CVS   Dritz 1" Parachute Buckles BK154                                                                     16.99               1    16.99 $      16.99
310119052204 CVS   renu Lubricating and Rewetting Drops for Contact Lenses, 8 mL, Packaging May Vary                       4.8     4.65     4      4.8 $      19.20
651986705603 CVS   BORN THIS WAY TURN UP THE LIGHT MEDIUM                                                               35.11     19.27     4    35.11 $     140.44
 35794203023 CVS   ALLIED 9pc Combination Wrench Set SAE                                                                   20               4       20 $      80.00
 82815852623 CVS   Chaby International RT‐852 Print Mini Umbrella                                                       13.59               1    13.59 $      13.59
633356604990 CVS   We R Memory Keepers 0633356604990 Spin It‐Motorized Rotary Drying Tool, 1 Count (Pack of 1          305.57     36.79     3   305.57 $     916.71
620070318586 CVS   Superfly Nymph Assortment #1 Premium Fishing Flies (10‐Piece)                                        23.99               1    23.99 $      23.99
765809152120 CVS   NAPA Gold 3319 Fuel Filter                                                                              29        29     1       29 $      29.00
755284017373 CVS   Good Earth Lighting Ac1068whg12lf0g 12' Led Color Changing &amp; White Ir Remote Cuttable &          60.99     66.29     2    60.99 $     121.98
695529023182 CVS   Lorex LHB80632G Series 6 Channel 1080p HD Wire‐Free DVR with 32GB HDD, Lorex Cirrus, Advan 199.99                        1   199.99 $     199.99
688449258727 CVS   Almased Drink Powder 1.1 Pound (Pack of 3)                                                           83.55       93      1    83.55 $      83.55
 97855161802 CVS   Logitech MX Anywhere 3 Compact Performance Mouse Black NEW FAST FREE SHIPPING!!!                     49.99               1    49.99 $      49.99
 46135356858 CVS   Sylvania Silverstar ZXE 9008 H13 65/55W Head Light Dual Beam High Low NEW!!                             28              11       28 $     308.00
729849109599 CVS   PetSafe NEVER RUST Dog and Cat Door, Medium, For Pets Up To 40 lb, Paintable, Easy DIY Install       47.99     45.95     1    47.99 $      47.99
 82901368625 CVS   ACE 4‐Zone Programmable Water Timer (7005460) FS                                                        66               1       66 $      66.00
 27131833055 CVS   Estee Lauder DayWear Multi‐Protection Anti‐Oxidant 24H Creme SPF15~ 1 oz~ Boxed                       29.9               1     29.9 $      29.90
 15794024873 CVS   Country Life Calcium Magnesium 120 veggie caps (W)                                                    12.5               1     12.5 $      12.50
 79976472944 CVS   Hopkins 47294 Agility Brake Control Proportional Controller NEW                                      43.15               2    43.15 $      86.30
 15905000338 CVS   Aqueon Submersible Aquarium Heater 300W for Aquariums up to 100 gallons, #0338                       36.11               5    36.11 $     180.55
712012877425                                                                                                            34.95               1    34.95 $      34.95
 73950254502 CVS   Waterpik PowerPulse 2‐In‐1 Shower Head System With Handheld Sprayer Brand New                        39.99               1    39.99 $      39.99
650240050534 CVS   Cicatricure Gold Lift Night Cream, Anti Aging Facial Moisturizer, Hydrating Skin Care with Gold, C   24.99     27.19     2    24.99 $      49.98
 51494101087 CVS   MEGA FOOD MENS ONE DAILY MULTIVITAMIN. 90 TABS. EXP 11/2025                                          41.24               1    41.24 $      41.24
 43168312950 CVS   GE 1.5W 3000K 15W Equivalent Warm White T4 LED Tube Light Bulb Display                                8.99               1     8.99 $       8.99
400028339869 CVS   Performance Ultra Remount Multi‐lens Eyewear Sunglasses Cycling                                      38.45               1    38.45 $      38.45
 27557555869 CVS   Lutron 3 way rotary dimmer white ivory light almond knobs D‐603PH‐3K                                  8.99               1     8.99 $       8.99
630509692453 CVS   Nerf Rival 25‐Round Refill Pack                                                                      11.99      8.81     9    11.99 $     107.91
 31604411077 CVS   NEW Nature Made SAM‐e Complete 400 Mg 36 Count                                                       21.99              18    21.99 $     395.82
 37000405115 CVS   Metamucil 3‐in‐1 Fiber Supp. Multiple Health Benefits 160 Capsules Exp: 04/25.                       15.89              64    15.89 $   1,016.96
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729238196476 CVS   Shiseido Eudermine Ac va ng Essence ‐ 145 mL ‐ Provides Deep Hydra on & Targets Dark Spots¬            90        90    2       90 $     180.00
651986701933 CVS   Too Faced Hangover Rx 3 in 1 Replenishing Primer & Setting Spray 4 OZ                                          20.9    2     20.9 $      41.80
195512120336 CVS   Michael Kors MK Slide White Gold 10 M                                                                   92    89.99    1       92 $      92.00
730852182875 CVS   Shiseido Essential Energy Hydrating Day Cream Broad Spectrum SPF 20 ‐ Deep, Intense 24 Hour M           50             4       50 $     200.00
 19954337605 CVS   D'Addario XSAPB1152 Acoustic Guitar Strings Phosphor Bronze, Custom Light 11‐52                       18.7             6     18.7 $     112.20
 17754442734 CVS   Tulip Permanent Nontoxic Fabric Markers 24 Pack 12 Fine & 12 Brush Tip #2734                         15.99             1    15.99 $      15.99
 43168542746 CVS   GE LED+ Color Changing Light Panel Kit ‐ 6‐Pack                                                         17             2       17 $      34.00
653341621009 CVS   Quicksilver Scientific Nanoemulsified D3K2 ‐ Emulsified Liquid Vitamin D3 + K2 MK7 Liposomal Su      61.95    50.86    1    61.95 $      61.95
641628501465 CVS   ELEMIS Pro‐Collagen Marine Cream SPF 30 | Lightweight Anti‐Wrinkle Daily Face Moisturizer Firm        138      132     1     138 $      138.00
 43168901437 CVS   Led Floodbulb 65w Sw 2pk                                                                             12.98             1    12.98 $      12.98
 75609190346 CVS   Olay Total Effects 7‐In‐1 Tone Correcting Uv Moisturizer Cream 1.7 Fl Oz NEW                          17.9             1     17.9 $      17.90
 37000939528 CVS   Align Probiotic Supplement for Daily Digestive Health, 14 capsules Exp. 08/2024                       9.99            60     9.99 $     599.40
 31604027155 CVS   2 Nature Made Burp‐Less Fish Oil Removes Mercury/Heart Health 200ct 01/2025                           33.9             2     33.9 $      67.80
736150172020 CVS   Laura Mercier Women's Tinted Moisturizer Natural Skin Perfector SPF 30, Vanille, Tan, 1.7 Fl Oz (       53     67.1    1       53 $      53.00
 78477639740 CVS   Leviton Branch Circuit Breaker Thermal Magnetic 1 Pole 15A 120V RO1‐LB115‐AFR                        47.19             1    47.19 $      47.19
633422057712 CVS   Host Defense, MycoShield Spray, Daily Immune Support, Mushroom Supplement, Peppermint, 1             19.95    15.71    1    19.95 $      19.95
 15794064022 CVS   Countrylife Coenzyme B‐Complex Advanced ‐ 60 Vegetarian Capsules                                     17.56             2    17.56 $      35.12
689304360241 CVS   Anastasia Beverly Hills ‐ Luminous Foundation ‐ 130N                                                 37.75      38     1    37.75 $      37.75
757969972595 CVS   New Trans SuperMax Laptop Backpack by JanSport Black                                                 34.99             1    34.99 $      34.99
737257889019 CVS   THRIVE Tropical TREE STUMP FOGGER 26.8 Fl. Oz 794ml ‐ #5300273 (C3)                                     44             1       44 $      44.00
758302109258 CVS   IESSENTIALS IE‐IP7P‐SCTG iPhone(R) 7 Plus 9H Tempered Glass Screen Protector                          4.99             2     4.99 $       9.98
765809150119 CVS   NAPA Gold 3054 Fuel Filter                                                                            18.5      19     2     18.5 $      37.00
761712017044 CVS   Ottlite Craft Anywhere Rechargeable LED NIB                                                          49.99             2    49.99 $      99.98
 90174088218 CVS   Redken Extreme Shampoo 300ml                                                                         29.23            12    29.23 $     350.76
687735301130 CVS   PACIFICA Radiant Shimmer Eye Palette, 0.4 OZ                                                            14            28       14 $     392.00
 15561145329 CVS   Fluval Aquasky Bluetooth 2.0 LED 18w 24‐36 inch Light Fixture 14532                                  59.99             1    59.99 $      59.99
658141197686 CVS   ECZEMA HONEY Oatmeal Hand Cream ‐ Natural Hand & Body Lotion for Eczema Rash Relief ‐ Ecz            28.99    24.95    3    28.99 $      86.97
730976094900 CVS   June Tailor Sew‐in Colorfast Fabric Sheets,8.5 x 11 Inch                                                85    45.01    3       85 $     255.00
 12502598961 CVS   BROTHER P‐Touch TZ Tape 1/2‚Äù TZe‐2312PK Indoor Outdoor Black Print                                 14.75             1    14.75 $      14.75
 78477714218 CVS   Leviton R02‐GFNT2‐0KW 20 Amp White SmartlockPro Self‐Test GFCI, FREE SHIPPING                           15             1       15 $      15.00
 70030165598 CVS   ScarAway Active Silicone Scar Spray 3.4 fl oz, Exp 3/24 #5598                                        10.38             2    10.38 $      20.76
 15561107846 CVS   Fluval M200 Watt Submersible Heater, for tanks up to 65 Gal ‐                                        23.99             4    23.99 $      95.96
 30878138666 CVS   Smart Dimmer GE Bluetooth Control Plug In 13866 New Sealed                                              25             1       25 $      25.00
 26508341612 CVS   MOEN HydroEnergetix 8‐Spray Patterns Single Wall Mount Fixed Shower Head Nickel                      19.99             1    19.99 $      19.99
737257786226 CVS   NWT DENTLEY's Dog Chew XL Deer ANTLER Natural Chew Antler                                            17.76             1    17.76 $      17.76
 97612376005 CVS   Zoo Med ZM37600 Digital Thermostat ‐ Black                                                           24.99             1    24.99 $      24.99
720686361362 CVS   EHEIM Jager Aquarium Thermostat Heater 100W ( Pack of 1)                                             34.99    17.07    5    34.99 $     174.95
733739031440 CVS   NOW Supplements, Ubiquinol 200 mg, High Bioavailability (the Active Form of CoQ10), 60 Softge        89.99     52.5    4    89.99 $     359.96
727783900746 CVS   New Chapter Multi‐Herbal Pain Reliever+ Joint Supplement, Zyflamend‚Ñ¢ 10‐in‐1 Superfood Ble          47.2       29    2     47.2 $      94.40
 72397005098 CVS   AcuRite Color Weather Station ‐ Tabletop or Wall Mountable, Model‐ 00509A1                              35             1       35 $      35.00
 90385500318 CVS   NEW! Dr. Ph. Martin's Iridescent Calligraphy Color Set #1 12 Bottles 1 oz. each                     108.07             3   108.07 $     324.21
658580032753 CVS   The Boys: This is Going to Hurt ‐ DELUXE Edition + Miniatures & Homelander Bust                       75.8             1     75.8 $      75.80
 75020026996 CVS   Philips Sonicare E Series 2 Standard Replacement Brush Heads HX7022 New                               18.2             1     18.2 $      18.20
733175476003 CVS   Boxed Set Of 3 pc Rockler Pen Turning Tool Brand New!! Woodwork 2 Carbide 1 HSS                     114.93             1   114.93 $     114.93
735786012496 CVS   Meaningful Beauty Cr√®me de Serum 1 oz 30 mL FULL SIZE Cindy Crawford NEW IN BOX                      42.9             1     42.9 $      42.90
758302064342                                                                                                            19.01             1    19.01 $      19.01
655222274311                                                                                                               31             4       31 $     124.00
 32664768781 CVS   Eaton Wi‐Fi Smart Voice Dimmer Alexa Built‐In WFAVD30‐W Play Music/News NEW BOX                      17.99             1    17.99 $      17.99
611247368909 CVS   Keurig K‐Select Single‐Serve K‐Cup Pod Coffee Maker, Matte Black                                    149.99   114.99    2   149.99 $     299.98
 78729555187 CVS   Hot Tools Pro Artist Nano Ceramic Hair Straightener 1" For Smooth, Straight Hair                     29.99             1    29.99 $      29.99
647865195047 CVS   NEURIVA Destress Brain Supplement for Focus, Concentration & Accuracy with L‐Theanine for Re         32.99    31.74    7    32.99 $     230.93
302990260045 CVS   Cetaphil Healthy Renew Anti Aging Face Serum 1 Oz, Retinol Alternative Serum for Face with Nia       22.99    22.89   22    22.99 $     505.78
 28845010459 CVS   Blazer International Baja Tough H10/45BL (BLUE) Fog Light Bulbs DF‐H10BP‐2                              10             1       10 $      10.00
607710099081 CVS   SmashBox Photo Finish Primerizer plus Hydrating Primer Women Primer 1 oz                                42    35.12    1       42 $      42.00
759501113749 CVS   Paslode, Lithium‐Ion Rechargeable Battery, 902654, For all Paslode Cordless Lithium‐Ion Tools           73    64.99    1       73 $      73.00
 39956345064 CVS   Lot of 2 Offistamp Self‐Inking Dater, Black Ink 034506 New Sealed                                    12.01             1    12.01 $      12.01
 69055128930 CVS   iO Series Gentle Care Replacement Brush Head for Oral‐B iO Series Electric To...                     32.94             4    32.94 $     131.76
 29069731595 CVS   HY‐Ko GM 903F Keyless Entry 0‐FOB Vehicle Remote Control Program 3 button New                        11.95             1    11.95 $      11.95
 31604040222 CVS   Extra Strength Dosage Chewable Vitamin C 1000 Mg per Serving, Dietary Supplement                     10.39             7    10.39 $      72.73
689304051057 CVS   Anastasia Beverly Hills ‐ DIPBROW Pomade ‐ Ebony                                                        19      21     2       19 $      38.00
 74108448040 CVS   New Conair Care Infrared Ear Thermometer With Backlit LCD Display Free Shipping                       9.49             1     9.49 $       9.49
666519227385 CVS   Tommee Tippee Advanced Anti‐Colic Newborn Baby Bottle Feeding Gift Set, Heat Sensing Techno          62.12       39    1    62.12 $      62.12
727783003676 CVS   New Chapter Women's Multivitamin 40 plus for Energy, Healthy Aging + Immune Support with 2           69.95       35    2    69.95 $     139.90
651986503704 CVS   Too Faced Hangover Pillow Balm Ultra‐Hydrating Lip Balm Original                                              28.27    1    28.27 $      28.27
 51494100103 CVS   MegaFood Turmeric Curcumin Extra Strength Whole Body 120 Tabs Exp 03/2025 P27                           34             1       34 $      34.00
195046415106 CVS   Calvin Klein Men's Windbreaker Jacket, Red, Extra Extra Large                                        49.99             1    49.99 $      49.99
 37495137980 CVS   Dorman 13798 Keyless Entry Remote For Ford 1998‐2012                                                 19.69             1    19.69 $      19.69
658010117982 CVS   Garden Of Life Organic Mykind Prenatal Multivitamin, 108 CT                                          46.22     59.5    3    46.22 $     138.66
705928888012 CVS   NeilMed Sinugator Cordless Pulsating Nasal Wash Kit with One Irrigator, 30 Premixed Packets an       25.99    30.61    3    25.99 $      77.97
 47400656178 CVS   Gillette PROGLIDE CHILL Refill 8 Cartridges #6178                                                     16.9            11     16.9 $     185.90
658010124355 CVS   Garden of Life Dr. Formulated Probiotics Platinum Series Restore 200 Billion CFU High Potency Fo     59.99    41.49    1    59.99 $      59.99
324208697214 CVS   PreserVision AREDS 2 Eye Vitamins with CoQ10 for Heart Health, Lutein, Zeaxanthin, Vitamin C &          37    39.99   51       37 $   1,887.00
 28905846929 CVS   Glacier bay 6‐spray. Dual Shower Head and Handheld Shower Head Matte Black                              22             1       22 $      22.00
 43917110516 CVS   Wahl Cordless Combo Kit Rechargeable Lithium Pet Clippers                                           109.99             3   109.99 $     329.97
 13803151343                                                                                                                     26.75    8    26.75 $     214.00
666151112148 CVS   Dermalogica Smart Response Serum for face ‐ Hydrating Soothing Facial Serum To Improve Fine           145      145     7      145 $   1,015.00
 17801145311 CVS   OMNI SMOOTH BDY BULB 16W by FEIT MfrPartNo BPOM100/830/LED, PartNo BPOM100/83, b                        40             4       40 $     160.00
307667847147 CVS   Nicorette Nicotine Lozenges to Stop Smoking, 4 mg, Mint Flavor ‐ 144 Count                           69.99      44     5    69.99 $     349.95
 12277053979 CVS   VH Essentials Prebiotic Vaginal Suppositories pH Balanced 24 ct + 1 Applicator                       11.99             1    11.99 $      11.99
751492607689 CVS   PNY 32GB DUO LINK iOS USB 3.0 OTG Flash Drive for iPhone & iPad and Computers ‐ External Mo          49.99             4    49.99 $     199.96
 47400650381 CVS   2 New Gillette ProGlide Men's Razor Handle No Blades FUSION FLEX HEAD                                 7.88             4     7.88 $      31.52
 41333032573 CVS   Duracell Optimum AA Alkaline Batteries, Pack Of 8                                                    11.64             3    11.64 $      34.92
751492569345 CVS   PNY 64GB Turbo Attache 3 USB 3.0 Flash Drive                                                         13.99     8.58    1    13.99 $      13.99
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736150171962 CVS   Laura Mercier Women's Tinted Moisturizer Natural Skin Perfector SPF 30, Petal, Tan, 1.7 Ounces         53             1      53 $      53.00
715959375702 CVS   Hobart 770487 Gasless Fluxed Cored Nozzle for Handler 125 EZ                                        15.99    7.99     1   15.99 $      15.99
 43917111728 CVS   Wahl Rechargeable Trimmer ‐ Black NEW SEALED                                                        26.99             1   26.99 $      26.99
 43156195114 CVS   Schlage J40‐SOL Chrome Solstice Privacy Door Lever Set (Formerly Dexter)                            26.99             1   26.99 $      26.99
356163300908 CVS   Pro‐Gest, Balancing Cream, Fragrance Free, 4 oz (112 g), Emerita                                    49.49   45.39     5   49.49 $     247.45
745883798605 CVS   Belkin Quick Charge Wireless Charging Pad ‐ 15W Qi‐Certified for iPhone, Samsung Galaxy, Apple      39.99   21.47     1   39.99 $      39.99
 20714984236 CVS   CLINIQUE Moisture Surge Eye 96‐Hour Hydro Filler 0.5oz ‐ Missing Box                                14.95             1   14.95 $      14.95
651473706816 CVS   Perricone MD Cold Plasma Plus+ Sub D/Neck                                                           89.01             9   89.01 $     801.09
 46396024305 CVS   New Ryobi 5‐in‐1 3,300 PSI Gas and Electric Pressure Washer Nozzle                                   16.9             1    16.9 $      16.90
631257121134 CVS   Renew Life Probiotic Adult 50 Plus Probiotic Capsules, Daily Supplement Supports Urinary, Digest    52.99   39.74     1   52.99 $      52.99
 12502625698 CVS   NEW Genuine Brother P‐touch TZe‐231 1/2" Black Print on White Tape TZ231 TZ‐231                      8.99             1    8.99 $       8.99
709650838994 CVS   Die'sire Create‐a‐Card Cut on Edge Dies‐Decadent Hearts Metal Die, 17.4 x 22.5 x 0.02 cm, Silver    19.95   11.96     1   19.95 $      19.95
 32886873089 CVS   SOUTHWIRE 15 FT 10/2 ROMEX WIRE W/ GROUND NM‐B Indoor.                                              31.35             1   31.35 $      31.35
 18515611802 CVS   PORCELANA Skin Brightening Daytime Hydration Facial Cream 3oz Damaged Box NEW                       13.95             1   13.95 $      13.95
 51217015530 CVS   Les Schwab Quick Fit Diamond Pattern Tire Snow Chains Stock 1553‐s New FREE SHIP                    39.95             1   39.95 $      39.95
 70330361836 CVS   BIC Intensity Fineliner Marker Pens, Fine 0.4mm and Medium 1.0mm, 24 Count #836                     11.89             1   11.89 $      11.89
670367017500 CVS   Peter Thomas Roth FIRMx Collagen Hydra‐Gel Face & Eye Patches | Collagen Gel Patches For Und           65     65      2      65 $     130.00
364760724010 CVS   Eau Thermale Av√®ne Solaire UV Mineral Multi‐Defense Sunscreen Fluid SPF 50+ ‐ Non‐Whitenin            36             1      36 $      36.00
 47497331095 CVS   Marineland 17 inch Hidden LED STRIP LIGHT (d6)                                                      24.99             1   24.99 $      24.99
603029086071 CVS   Redken Texture Paste Hair Styling Paste for Definition | Adds Long‐Lasting Style & Definition | Re     24     24     11      24 $     264.00
762111558978                                                                                                              48             3      48 $     144.00
751063150804 CVS   Gaia Herbs Agile Mind ‐ Brain & Cognitive Support Herbal Supplements ‐ with Organic Turmeric R      40.13   40.13     2   40.13 $      80.26
651473534105 CVS   Perricone MD Cold Plasma Plus+ Advanced Serum Concentrate, 1 fl Oz                                   155     155      3    155 $      465.00
689304181877 CVS   Anastasia Beverly Hills ‐ Soft Glam II Mini Eye Shadow Palette                                         42      29     1      42 $      42.00
 71249383001 CVS   L'Oreal Paris Age Perfect Hydra‐Nutrition Nourishing Moisturizer 1.7oz                              13.99             2   13.99 $      27.98
 21078019589 CVS   Source Naturals WELLNESS FORMULA 90 Tablets Count BN                                                16.99            30   16.99 $     509.70
 43917101729 CVS    Wahl Professional 5 Star Series Finale Shaver #8164 ‐ Black                                        89.95             1   89.95 $      89.95
731398045099 CVS   Craig Electronics CVD509 Digital to Analog Broadcast Converter with Remote Control                  50.44             1   50.44 $      50.44
 74312515200 CVS   Nature's Probiotic, Dietary SupplementÔºåDigestive& Immune Health, Caplets, 30 ct                   11.49             1   11.49 $      11.49
 48107207939 CVS   GNC Women's Ultra Mega Multivitamin 90 Caplets Overall Health Wellness in Women                     12.78             4   12.78 $      51.12
666151112346 CVS   Dermalogica Biolumin‐C Gel Moisturizer, Face Moisturizer with Hyaluronic Acid and Vitamin C ‐ B        69     69     10      69 $     690.00
 43481006949 CVS   GE THQL21125 120/240AC 125A Double‐Pole Circuit Breaker                                                35             1      35 $      35.00
655222274380 CVS   JOHNNY B. Professional Hair Cutting Cape, 100% Polyester, Navy Blue                                    20             1      20 $      20.00
 17754337016 CVS   Tulip Rainbow Permanent Fabric Paint Markers 15 New Open Box                                        18.99             1   18.99 $      18.99
192333101698 CVS   CLINIQUE Smart Clinical Repair‚Ñ¢ Wrinkle Correcting Serum 3.4 oz/ 100 mL                           79.99   79.79     1   79.99 $      79.99
 47323022319 CVS   iLive Model: DH300Bi HDMI DVD Player                                                                   27             1      27 $      27.00
756677591104 CVS   Delfanti Milano ‚Ä¢ HYALURONIC AGE DEFYING NIGHT CREAM ‚Ä¢ Face and Neck Moisturizer ‚Ä¢ Made in It         12.95     3   12.95 $      38.85
194249003219 CVS   Buxom Diva Dolly Eyeshadow Palette, Diva Dolly, 0.15 oz.                                               26             2      26 $      52.00
 29069731519 CVS   HY‐Ko CHRY901F Keyless Entry 0‐FOB Vehicle Remote Control Program 4 button New                       9.99             1    9.99 $       9.99
 45242486397 CVS   Milwaukee 48‐20‐5235 SDS Plus Concrete Core Bit 3‐1/8"                                              35.99             1   35.99 $      35.99
614969393389 CVS   Erno‚ÄØLaszlo Phormula 3‐9 Eye Repair Cream | Anti‐Aging Eye Cream | Caffeine and Squalane H         198     198      1    198 $      198.00
 33674150238 CVS   Nature's Way, System Well, Ultimate Immunity, 90 Tablets Exp/07/24                                  24.65             3   24.65 $      73.95
 70896211446 CVS   NEW Wilton Shape with FONDANT Modeling 8 Tools Ruffle Stitch Cut ROLLER Brush                       17.97             2   17.97 $      35.94
194251136738 CVS   NARS LAGUNA Talc‐Free Bronzing Powder ‐ FULL SIZE 11g (Laguna 03), 0.388 Ounce, 1                    45.2   32.99     1    45.2 $      45.20
 27557829809 CVS   Lutron Dimmer Skylark Contour White CT‐103PR‐WH                                                     14.97             6   14.97 $      89.82
 48107205799 CVS   GNC Vitamin C 1000 MG Timed‐Release 360 Vegetarian Caplets Exp 03/25                                22.14             3   22.14 $      66.42
 51131201620 CVS   Futuro Medical Compression, Anti‐Embolism Knee Length Stockings, Medium                              8.99             1    8.99 $       8.99
 37495137331 CVS   Dorman 3 Button KeyLess Entry Remote 13733‐GM 2003‐2006 FREE SHIPPING                               21.45             1   21.45 $      21.45
 45242594863 CVS   NEW Milwaukee OPEN‐LOK 49‐10‐9211 Multi‐Tool Blade Kit with Storage Case ‐5 Pc                      18.74             4   18.74 $      74.96
670367014226 CVS   Peter Thomas Roth | Water Drench Hyaluronic Glow Serum | Hydrating Serum, Up to 120 Hours              68   53.98    13      68 $     884.00
 33413002668 CVS   FoodSaver VS2120 Food Vacuum Sealing System.                                                        57.99             3   57.99 $     173.97
700304155870 CVS   Monopoly Queen | Collectible Monopoly Game Featuring British Rock and Roll Band | Custom G          44.95     34      1   44.95 $      44.95
 35886082260 CVS   *New* HENCKELS Classic Carving Knife 8‐inch Stainless Steel. 31160‐201                                 47             1      47 $      47.00
709616012529 CVS   Klaire Labs Lactoprime Plus Probiotic ‐ 25B CFU for Carb‐Sensitive Men & Women ‐ 7 Lactobacillu        48     48      1      48 $      48.00
 94800333031 CVS   STILA ONE STEP CORRECT Skin Tone Correcting & Brightening Primer* Half size                            19             2      19 $      38.00
316864000231 CVS   AmLactin Intensive Healing Body Lotion for Dry Skin ‚Äì 7.9 oz Pump Bottle ‚Äì 2‐in‐1 Exfoliator an 18.99     21     35   18.99 $     664.65
 31658105205 CVS   Vet's Best Plant‐Based Spot‐On Flea Tick Treatment for Large Dogs, Free Shipping                    10.95             1   10.95 $      10.95
 48107194925 CVS   GNC Total Lean CLA 180 Softgel Capsules (45 Day Supply) BB 4/24                                     29.99             7   29.99 $     209.93
762111546104 CVS   Starbucks Reusable Cold Cups with Lids and Straws (5 pack), 24oz each                               39.99   29.99     5   39.99 $     199.95
 51494101940 CVS   MEGA FOOD ONE DAILY IRON FREE 90 CT. EXP 2/2026                                                     43.99             1   43.99 $      43.99
194250047493 CVS   Laura Mercier Ultra‐Blur Talc‐Free Translucent Loose Setting Powder Translucent                        48     24      2      48 $      96.00
 80596039424 CVS   Dremel Universal Multi‐Tool Cutting Blade, MM480U                                                       6             1       6 $       6.00
 31604027919 CVS   NEW Nature Made CholestOff Complete 120 Softgels 900mg Cholesterol Exp/2025                         26.99           174   26.99 $   4,696.26
727783901828 CVS   New Chapter Probiotic All‐Flora ‐ 30 ct (1 Month Supply) for Advanced Digestion & Complete Gut      41.95   21.49     1   41.95 $      41.95
 27131987840 CVS   ESTEE LAUDER Advanced Night Micro Cleansing Foam Cleanser 30ml 1oz NEW                                8.5             1     8.5 $       8.50
669316076026 CVS   American Crew Men's Hair Gel, Firm Hold, Non‐Flaking Styling Gel, 13.1 Fl Oz                           25   18.19     1      25 $      25.00
192333099810 CVS   CLINIQUE Turnaround Overnight Revitalizing Moisturizer 1.7 oz/ 50 mL                                 63.5   51.29     1    63.5 $      63.50
 37431886187 CVS   Singer Sew Easy Foot with Ruler                                                                      8.95             1    8.95 $       8.95
 31604026776 CVS   Nature Made Vitamin D3 1000 IU (25 mcg), Dietary 300 Count (Pack of 1)                              13.89             1   13.89 $      13.89
193028047468 CVS   Husqvarna 531309503 Classic Chaps, Grey                                                             84.99   93.95     2   84.99 $     169.98
 46135319518 CVS   Sylvania ZEVO LED 3057 Pair Set LED Lamps Bulbs 3157/4114 NEW                                          17             1      17 $      17.00
     1718010 CVS   Belt 1718017                                                                                        18.62   18.62    49   18.62 $     912.38
 70330358263 CVS   Bic Gel‐Ocity Retractable Quick Dry Gel Pens 8 Pk No Smear Smooth Vibrant‐ Japan                    15.99             9   15.99 $     143.91
651986505067 CVS   Too Faced Lip Injection Power Plumping Cream Liquid Lipstick Big Lip Energy                         19.88   23.15     2   19.88 $      39.76
658010117784 CVS   Garden of Life Organics Vitamins for Women 40 Plus ‐ 120 Tablets, Womens Multi 40 Plus, Vegan       79.95   55.74     8   79.95 $     639.60
 15794064183 CVS   Coenzyme B‐Complex Vegetarian 60 Caps by Country Life                                               21.45             2   21.45 $      42.90
 78737054542 CVS   Oneida Kitchen Precision Series Carving Knife                                                       12.95             1   12.95 $      12.95
194250000771 CVS   Laura Mercier Women's Translucent Loose Setting Powder, Honey, Tan, 1.0 Ounce                          43   39.99     1      43 $      43.00
 27418675279 CVS   Cadet 67527 White 4000W 240V Large Room Electric Wall Heater with Thermostat                         199              3    199 $      597.00
 76753205535 CVS   GoodCook Touch Digital Folding Thermometer BRAND NEW #20553                                         12.99             2   12.99 $      25.98
 41333032658 CVS   Duracell Optimum AAA 8 pk. Batteries Resealable                                                     11.66             1   11.66 $      11.66
 51494102237 CVS   MegaFlora Plus Probiotic 60 Caps by MegaFood Exp 5/2025                                             44.65             6   44.65 $     267.90
 37000598558 CVS   Align Digestive De‐Stress Probiotic & Ashwagandha Supplement best 1/31/2024                          8.59            34    8.59 $     292.06
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 43168232401 CVS   GE LED Clear Finish 2ct 40W Ceiling Fan Light Bulbs A15                                             10.99              2    10.99 $      21.98
673419378994 CVS   LEGO Marvel Star‐Lord's Helmet Set 76251, Collectible Model Kit for ‐Adults to Build, Home D√©cor Creative    89.87    1    89.87 $      89.87
727783902573 CVS   New Chapter Fermented Vitamin C + Elderberry, ONE Daily for Immune Support & Collagen Prote          38.8     31.95    1     38.8 $      38.80
647865996262 CVS   NEURIVA ULTRA Decaffeinated Clinically Tested Nootropic Brain Supplement For Mental Alertne         59.99      53.8    1    59.99 $      59.99
189684000770 CVS   JUKI MO 1000 3pc Serger Presser Foot Kit                                                            12.99              3    12.99 $      38.97
 31604018818 CVS   Nature Made Vitamin C 500 mg 500 Tabs                                                               27.55              1    27.55 $      27.55
 92265911092 CVS   Emergency Preparedness First Aid Only 24 piece                                                       27.4              3     27.4 $      82.20
 74108346605 CVS   Babyliss Pro Volare V1 Ferrari Designed Hair Dryer ‐ Red Open Box Black Cord                        99.99              3    99.99 $     299.97
644216384174 CVS   By Rosie Jane Eau De Parfum Spray (Rosie) ‐ Clean Fragrance for Women ‐ Essential Oil Mist with        75       77     2       75 $     150.00
720686011021 CVS   TOPFIN Pro Series Pro 200 Watts Aquarium Heaters WiFi Connection NEW                                34.55              2    34.55 $      69.10
 40102225857 CVS   Andis UltraEdge Pro Clip AGC2 Professional Animal Grooming Cipper Green                            169.99              1   169.99 $     169.99
 78477066867 CVS   Leviton Decora SMART SWITCH w/ Wifi Technology RO2‐DW15S‐2RW (6867) White                           27.98              3    27.98 $      83.94
 54757098551 CVS   Zoeller 1/2‐HP 115‐Volt Cast Iron Submersible Sump Pump #1096 NEW                                  213.99              1   213.99 $     213.99
762111547408 CVS   Starbucks 2023 Blue Chrome Studded Venti 24oz Tumbler with Straw                                    39.99     33.99    4    39.99 $     159.96
670367004043 CVS   Peter Thomas Roth | 24K Gold Pure Luxury Lift & Firm Hydra‐Gel Eye Patches | Anti‐Aging Under          75        75    2       75 $     150.00
 78477639597 CVS   100 Amp 2‐Pole Plug‐On Standard Branch Circuit Breaker 120/240 VAC #597                                30              1       30 $      30.00
697687002047 CVS   Just Grown Kosher Pure Vanilla Extract 16oz                                                         24.95     29.94    2    24.95 $      49.90
704400105784 CVS   Horimiya: The Complete Season                                                                       64.98     50.42    1    64.98 $      64.98
631257156730 CVS   Renew Life Extra Care Go‐Pack Probiotic Capsules, Daily Supplement Supports Immune, Digestive       29.99     27.84    1    29.99 $      29.99
631257120274 CVS   Renew Life Women's Probiotic Capsules, Supports Vaginal, Urinary, Digestive and Immune Healt        29.29     20.42    1    29.29 $      29.29
 30699011476 CVS   Everbilt Spring Storage Clip Bar 17" 5 lbs Working Load Limit Per Clip #1476                         15.9             10     15.9 $     159.00
638060859254                                                                                                          119.99              1   119.99 $     119.99
 91511500424 CVS   OLFA 45mm Straight Edge Rotary Blade, 1‐pack (RB45‐1) New                                            7.95              4     7.95 $      31.80
751063398602 CVS   Gaia Herbs Mental Alertness ‐ Brain Support Supplement to Help Maintain Focus & Memory* ‐ w         28.67     28.67    3    28.67 $      86.01
 91511500622 CVS   OLFA ~ (RB60‐1 9455) ‐ Rotary Blades Replacement ‐ 60mm                                              7.95              8     7.95 $      63.60
 33287175802 CVS   RYOBI 18‐Volt Cordless Brushless Drywall Screw Gun (Tool Only)                                      99.99              2    99.99 $     199.98
 97855171351 CVS   Authentic Logitech R500s Laser Presentation Remote (910‐006518) Brand New                              28              1       28 $      28.00
194518416412 CVS   Callaway Golf WD RH MAVRIK 22 DR 10.5 GR STF                                                       299.99    249.99    5   299.99 $   1,499.95
 95756000060 CVS   Super Concentrate Spray & Forget Algae Mildew Fungus Cleaner Remover 32 oz #060                     42.65              1    42.65 $      42.65
730870307809                                                                                                          193.38              1   193.38 $     193.38
 70158481488 CVS   Max Bond Gel Precision Tip 20 G                                                                     10.69              1    10.69 $      10.69
 49022929500 CVS   Sonic‐Powered Toothbrush‐Rechargeable Walgreens ‐‐ BRAND NEW                                        12.99              1    12.99 $      12.99
192333135716 CVS   Clinique Moisture Surge 100H Auto‐Replenshing Hydrator Limited Edition More Than You Think                      33     1       33 $      33.00
 15905000758 CVS   Aqueon Products‐Glass‐Aqueon Optibright Max Led Fixture 30‐36 In ‐ (d6)                             59.99              2    59.99 $     119.98
 30246012314 CVS   9 Pack Uni‐Ball 207 Gel Pens ~ Black Ink ~ Medium 0.7mm Point NEW!                                   9.99              1     9.99 $       9.99
687735301321 CVS   Pacifica Beauty Ultra CC Cream Radiant Foundation with Broad Spectrum SPF 17, Warm/Light Co            18     14.79    1       18 $      18.00
 32664766398 CVS   Eaton Accessory Dimmer Color Change Kit White/Light Almond/Ivory WACD‐C2 *READ*                     10.98              2    10.98 $      21.96
 29275044168 CVS   Lewis N. Clark Global Adapter, Dual USB Charger, 175+ Countries #EK150 NEW                          15.99              1    15.99 $      15.99
 82901231592 CVS   ACE Gold Rim Lock Additional Deadbolt Security Keyed Lock                                           18.95              1    18.95 $      18.95
658010118453 CVS   Garden of Life Probiotics for Women and Men, Dr. Formulated Once Daily Ultra 90 Billion Adult P     39.89     45.99    4    39.89 $     159.56
 45242307715                                                                                                           64.94     28.99    2    64.94 $     129.88
 33674150245 CVS   Nature's Way, Primadophilus Reuteri, Superior Probiotic, 90 Vegetarian Capsules                     56.36              5    56.36 $     281.80
651986503919 CVS   Too Faced Lip Injection Extreme Hydrating Lip Plumper Strawberry Kiss                                  35     26.97    6       35 $     210.00
692121032246 CVS   SleepRight Dura‐Comfort Dental Guard ‚Äì Mouth Guard To Prevent Teeth Grinding                      44.95     36.12   75    44.95 $   3,371.25
 18084807149                                                                                                           45.63              1    45.63 $      45.63
 26156912936 CVS   RL FLOMASTER 36HE6 RL Flo‐Master Chameleon Hose End Sprayer Natural                                 14.95              4    14.95 $      59.80
 18084803479                                                                                                           34.99              2    34.99 $      69.98
 45242571000 CVS   Milwaukee Bi‐Metal Blades 3 Pack 49251243 Cuts Wood w/Nails Copper PVC Drywall                      13.99              1    13.99 $      13.99
 75020092403 CVS   Philips One by Sonicare 2 replacement brush heads BH1022/06 Black                                    8.59              1     8.59 $       8.59
716837872627 CVS   Pepcid AC Original Strength Heartburn Relief Tablets, Prevents & Relieves Heartburn Due to Acid     20.84      13.9   70    20.84 $   1,458.80
 15905211000 CVS   Aqueon Modular LED Aquarium Light Fixture, 20‐inch WITH MOON GLOW, OPEN BOX (C2)                       41              2       41 $      82.00
633422300153 CVS   Host Defense, Cordyceps Powder, Supports Energy, Stamina and Athletic Performance, Mushroo          29.95     23.96    2    29.95 $      59.90
196188046500 CVS   HyperX Pulsefire Haste ‚Äì Gaming Mouse ‚Äì Ultra‐Lightweight, 60g, Honeycomb Shell, Hex Desi       49.99     39.99    2    49.99 $      99.98
 83717861690 CVS   YUGIOH ~ NEW‐YEARS SALE!! FACTORY SEALED ~ MULTI‐PRODUCT DISCOUNT!! FREE SHIP!!                     26.98              1    26.98 $      26.98
 26613167138 CVS   Furnace/ Large Appliance Gas Connector 5/8" x 48‚Äù CSSC12R‐48P New In The Box                       27.5              1     27.5 $      27.50
 27925507988 CVS   New Open Box KitchenIQ Compact Digital Scale Cast Aluminum Kitchen S01601 Green                     37.99              1    37.99 $      37.99
730852172890 CVS   Shiseido Ultimune Eye Power Infusing Eye Concentrate ‐ 15 mL ‐ Anti‐Aging Eye Serum ‐ Prevents         70       70     4       70 $     280.00
 27131988137 CVS   Estee Lauder Perfectly Clean Multi‐Action Hydrating Toning Lotion (6.7oz)                           27.97              1    27.97 $      27.97
 15718350026 CVS   OCuSOFT Hypochlor Hypochlorous Acid Solution Spray 0.02% 59ML Exp 07/24                             19.89              1    19.89 $      19.89
 70798251175 CVS   Dap 7079825117 DynaGrip 4000 Subfloor Construction Adhesive, 28‐oz. ‐ Quantity 1                    22.51             12    22.51 $     270.12
 76501219838 CVS   Coleman PowerPack Propane Gas Camping Stove One‐Burner                                                 35              1       35 $      35.00
 93122453021 CVS   General Pipe Cleaners ATC34 3/4‐Inch (20mm) AutoCut Copper Tubing Cutter                            17.99              1    17.99 $      17.99
747192120306 CVS   Polk Audio 265‐RT 3‐way In‐Wall Speaker ‐ The Vanishing Series | Easily Fits in Ceiling/Wall | Hig   279       209     2     279 $      558.00
630509707348                                                                                                           17.99     16.09    5    17.99 $      89.95
 96316000551 CVS   Coralife LED Marine Aquarium Clip‐On Light                                                          44.98             10    44.98 $     449.80
 32929421482 CVS   Dataproducts¬†Inkjet Cartridge replaces HP 564XL High Yield CMY Color Ink 3‐Pack                     8.88              2     8.88 $      17.76
 46135331299 CVS   SYLVANIA H13 9008 SilverStar High Performanc Halogen Headlight Bulb (1)                                14              3       14 $      42.00
 40066218902 CVS   Wayne 1/2 HP 5100 gph Stainless Steel Vertical Float Switch AC Sump Pump                           184.99              1   184.99 $     184.99
 19954337575 CVS   D‚ÄôAddario 13‐56 Medium, XS Coated Phosphor Bronze Acoustic Guitar Strings (B1)                     17.9              3     17.9 $      53.70
 12611786198 CVS   American Standard 7418300.002 ‐ COVER PLATE ONLY ‐ Chrome ‐ read                                     10.5              2     10.5 $      21.00
 72512245743 CVS   PENTEL WFRS24 WATER COLOR 5ML TUBE 24 COLOR SET. OPEN BOX üéÅ                                          17              4       17 $      68.00
 68958028354 CVS   Natural Factors Stress‐Relax Pharma GABA 100 mg, 60 Chewable Tablets                                24.99              4    24.99 $      99.96
749836405022                                                                                                           23.99              1    23.99 $      23.99
701233706133 CVS   High Shank Ruler Work Kit with Foot                                                                  150       150     1     150 $      150.00
 21078019190 CVS   Men's Life Force Multiple, 90 Tablets                                                               31.44              1    31.44 $      31.44
693749011323 CVS   Thorne Men's Multi 50+ ‐ Daily Multivitamin and Nutrients for Men Without Iron and Copper to           48       48     3       48 $     144.00
 15561143479 CVS   Fluval Sea CP3 Circulation Pump for Freshwater & Saltwater Aquariums, 14347 6E                      26.99              3    26.99 $      80.97
 74299115905 CVS   Barbie Nascar Doll 50th Anniversary Collector Edition Mattel New in Box                                21              1       21 $      21.00
 72959617301 CVS   Fungicure Anti‐Fungal Liquid Nothing Stronger Without an RX 1 fl oz                                 12.37              1    12.37 $      12.37
 15905000611 CVS   Aqueon Pro 300 Submersible Aquarium Heater 300 Watts Brand New                                         35              2       35 $      70.00
651473706090 CVS   Perricone MD High Potency Classics: Face Finishing & Firming Tinted Moisturizer Broad Spectrum         79       75     1       79 $      79.00
 15794030201 CVS   Country Life ‐ Gut Connection Cognitive Balance ‐ 60 Capsules ‐ EXP 09/24                           21.99              1    21.99 $      21.99
 78729325940 CVS   Hot Tools Pro Signature Hair Steam Styler                                                           26.25              1    26.25 $      26.25
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309975420678 CVS   Revlon Gold Series Ingrown Away Set, includes Toenail Nipper and Dual Ended Toenail Tool, Titan     21.39    13.9    1   21.39 $      21.39
673419318235 CVS   LEGO NINJAGO Journey to The Skull Dungeons 71717 Ninja Playset Building Toy for Kids Featurin       29.99   55.24    1   29.99 $      29.99
694202401606 CVS   Sharper Image Roadside Emergency Kit                                                                12.99   12.99    1   12.99 $      12.99
 70018011909                                                                                                           18.96    22.5    2   18.96 $      37.92
 75020092465 CVS   New Original Philips Sonicare Philips Battery Toothbrush ‐ Midnight Navy Blue                        14.9           12    14.9 $     178.80
 46135363368 CVS   Sylvania 9012 HIR2 Silverstar High Performance Halogen Bulbs Replacement 1 Qty                         14            1      14 $      14.00
 74590550467 CVS   Remington S5500 Flat Iron Anti‐Static Technology ‐ Gray                                             27.45            1   27.45 $      27.45
 43765017654 CVS   Vornado Zippi Small Personal Fan Desk Tabletop Travel NEW GREEN                                     24.95            1   24.95 $      24.95
660685208414 CVS   Canon PG‐260 / CL‐261 Value Pack, Compatible to TR7020, TS6420, and TS5320 Printers, Multi, O       39.99   35.98    3   39.99 $     119.97
 33674158999 CVS   Nature's Way Alive! Women's 50+ Gummy Vitamins Fruit 75 gummy                                       16.51            1   16.51 $      16.51
 94925006148 CVS   Connecticut Electric UBIF‐260N Circuit Breaker 2‐Pole 60 Amp Thick Series I3                        34.95            1   34.95 $      34.95
658010118309 CVS   Garden of Life Dr. Formulated Probiotics Prostate+ ‐ Acidophilus and Probiotic Supports Healthy     35.69   46.93    2   35.69 $      71.38
 35794611026 CVS   Allied Tools 1/2" Drive 20‐150 ft‐lb Adjustable Click Torque Wrench 61102                              35            1      35 $      35.00
 45242540297 CVS   Milwaukee Shockwave Impact Drill and Tap Bit, Set of 5, 48‐89‐4874                                  18.99            3   18.99 $      56.97
190623000133 CVS   FirstAct Plus Flea Treatment for Dogs, Medium Dogs 23‐44 lbs, 3 Doses, Same Active Ingredients      26.99   19.99    1   26.99 $      26.99
681421020046 CVS   Dulcolax Stimulant Laxative Tablets (100 Count) Gentle Overnight Constipation Relief, Bisacodyl 5   23.99   15.98    2   23.99 $      47.98
 69055873595 CVS   Braun Series 3 31S Replacement Cassette Foil & Cutter 5000/6000 Series                                 24            1      24 $      24.00
762799485801 CVS   C.SHERMAN JOHNSON Folding PAD Eye 1/4"                                                              49.09   31.95    2   49.09 $      98.18
631257122278 CVS   Renew Life Women's Wellness Vaginal and Urinary Probiotic and Cranberry Supplement, Probiot          109    24.49    1    109 $      109.00
 14926180234 CVS   ~ Kenra ~ Platinum Blow‐Dry Spray 3.4 oz ~TRAVEL SIZE~ NEW~                                         15.99            3   15.99 $      47.97
 75609193743 CVS   Olay Serums Pressed Serum Stick‐ New in Box 0.47 oz                                                  9.74            1    9.74 $       9.74
 20335061286 CVS   Fiskars Scoring Stylus 177140                                                                       10.99            1   10.99 $      10.99
 44228955087 CVS   Towle LONDON SHELL 5 Piece Place Setting (s) Unused 18/10 VIETNAM Stainless                         25.99           16   25.99 $     415.84
 51381902117 CVS   Organic Skin Care Oil, Rosehip, 1 fl oz (30 ml)                                                        10            5      10 $      50.00
724089203052 CVS   Advantage II XL Dog Vet‐Recommended Flea Treatment & Prevention | Dogs Over 55 lbs. | 4‐Mo          57.58      44    1   57.58 $      57.58
729849153790 CVS   PetSafe¬Æ Deluxe Easy Walk¬Æ Dog Harness, No Pull Harness, Stop Pulling, Great For Walking an       33.99   25.95    3   33.99 $     101.97
 12502627036 CVS   1 NEW‐Brother 1 pack P‐touch Label Tape Black print on CLEAR 1/2" TZe‐1312                           7.28            1    7.28 $       7.28
 94800360976 CVS   Stila Glisten & Glow Liquid Eye Shadow in Playa .153 fl oz New in Box                               14.99            2   14.99 $      29.98
642031396501 CVS   Honeywell TK300‐30 1/2" External Heating Diaphragm Expansion Tank 100psi 4.4gal                        60            1      60 $      60.00
 76308726522 CVS   3M Cool Flow Multi‐Purpose‐Quick Latch Pro Respirator. MEDIUM. 60923.                               39.99            1   39.99 $      39.99
628634940020                                                                                                              68            1      68 $      68.00
 48107207700 CVS   GNC Women's 50 plus 60 caplets BRAND NEW                                                                9            3       9 $      27.00
704400104138 CVS   My Hero Academia: Season Four ‐ Blu‐ray + Digital                                                   69.98   39.95    1   69.98 $      69.98
 47569838026 CVS   Square D 20 Amp Circuit Breaker QO220 NEW                                                           17.99           16   17.99 $     287.84
 15561281706 CVS   Submersible Water Pumps                                                                                20            9      20 $     180.00
658010115667 CVS   Garden of Life Raw Probiotics for Men Over 50 ‐ Men 50 & Wiser Probiotic with Acidophilus and       52.45   48.97    3   52.45 $     157.35
 46677458478 CVS   Philips ‐ Hue Bridge(2nd Gen) ‐ Wall Mount                                                          10.99            4   10.99 $      43.96
762111559159 CVS   Starbucks Glass Tumbler Purple Iridescent Wave Ripple Cup Fall 2023 18 Oz NEW                       30.13            1   30.13 $      30.13
630359527431 CVS   InClover Connectin Hip and Joint Tablet Supplement for Large Dogs. Combines Glucosamine, Cho        79.99   79.99    3   79.99 $     239.97
633911745304 CVS   BioSilk Silk Therapy, 17 Miracle Leave In Conditioner, Clear, 5.64 Fl Oz                               21   13.24    1      21 $      21.00
633422058122 CVS   Host Defense, MyCommunity Extract, Advanced Immune Support, Mushroom Supplement with L              39.95   30.71   15   39.95 $     599.25
736150166821 CVS   Laura Mercier Lumiere Foundation, 3N1.5 Latte                                                       46.44   48.58    2   46.44 $      92.88
194250037081 CVS   Laura Mercier Translucent Loose Setting Powder Light Catcher Cosmic Rose                            34.49   41.47    2   34.49 $      68.98
 20363201098 CVS   AO Smith Isolation Valve Kit (Lead Free) 1076463 Female Connections NEW                                40            1      40 $      40.00
669125660195 CVS   Nutri‐Vet Probiotics Capsules for Dogs | Supports Digestive Health | For All Size Dogs | Promotes   23.95   21.75    1   23.95 $      23.95
 85805129101 CVS   Elizabeth Arden Millenium Set: Day Renewal Emulsion + Night Renewal Cream + Eye                     47.99            3   47.99 $     143.97
633422031828 CVS   Host Defense, Chaga Capsules, Antioxidant and DNA Support, Mushroom Supplement, Unflavore           31.95   25.46    1   31.95 $      31.95
 20714552602 CVS   Clinique Stay Matte Oil Free Makeup ‐ Cream Carmel #98                                              16.45            1   16.45 $      16.45
 40102193002 CVS   Andis At‐Home Easy Clip' Multi Style Clipper Model MC‐2 Pet Grooming Kit New                         35.8            1    35.8 $      35.80
 43156184644 CVS   Schlage Latitude 619 F10 Hall and Closet Passage Door Knobs (B) ‐ Rubbed Bronze                     20.41            2   20.41 $      40.82
 45242591404 CVS   Milwaukee Embedded Wood Cutting Reciprocating Saw Blade 5021                                        10.46            9   10.46 $      94.14
736150000903 CVS   laura mercier Foundation Primer, 1.7 Ounce                                                          44.39      41    3   44.39 $     133.17
323900031104 CVS   Vicks DayQuil & NyQuil Combo Pack, Ultra Concentrated Cold and Flu Medicine, Daytime & Nigh         32.99   30.63    1   32.99 $      32.99
302994913008 CVS   Differin Oil Absorbing Moisturizer with SPF 30, Sunscreen for Face by the makers of Differin Gel,   11.99    11.2    1   11.99 $      11.99
669316076057 CVS   American Crew Men's Hair Gel, Light Hold with Low Shine, 8.4 Fl Oz                                   17.5    9.49    2    17.5 $      35.00
 93573277061 CVS   CRICUT ESSENTIAL VINYL TOOL SET 2004234 7 PIECE NEW EXPLORE MAKER FREE SHIPPING                     16.98            1   16.98 $      16.98
400187377917 CVS   Artsmith Illustration Markers Set of 12                                                                12            3      12 $      36.00
 20424103293 CVS   Be Smart Be Prepared First Aid Kit Camping Sports Survival 250 Pcs Exp. 01/31/22                    32.56            1   32.56 $      32.56
633422031521 CVS   Host Defense Maitake 60 Vegetarian Capsules                                                         38.34            5   38.34 $     191.70
 29054018403 CVS   NEW First Alert Carbon Monoxide Plug‐In Alarm with Battery Backup CO606                             20.85            1   20.85 $      20.85
 94922281906 CVS   2 Months Supply NEW 100% PURE Trans Resveratrol Anti‐Aging Powder KOSHER                            27.55            1   27.55 $      27.55
725130290571 CVS   Boys Dear Becky #1 Dynamite Comic Book 2020                                                          7.99           39    7.99 $     311.61
658010117746 CVS   Garden of Life Organic Multivitamin for Women, mykind Organics Womens Multi with Vitamin C          79.95     86    13   79.95 $   1,039.35
 75609192142 CVS   Olay Regenerist Luminous Tone Perfecting Cream Moisturize Fades Dark Spots 1.7                      23.99            1   23.99 $      23.99
602004095053 CVS   Benefit Precisely My Brow Pencil Ultra‐Fine Shape Define, Shade, 3.5 ‐ Neutral medium brown, 1         26     23     5      26 $     130.00
 78477069608 CVS   15A 120V AC Grounded Single Pole Switch No CS115‐2WS Leviton New in Box                              5.99            4    5.99 $      23.96
662956268998 CVS   M20X2.5 D7 4 FLUTE PLUG TAP HSS FMT                                                                    45            1      45 $      45.00
736150082015 CVS   Laura Mercier Tinted Moisturizer SPF 20 Oil Free, Caramel (CLM08609)                                   46            1      46 $      46.00
192333111284 CVS   CLINIQUE 30ML ALL ABOUT CLEAN LIQUID FACIAL SOAP MILD                                                       11.97    1   11.97 $      11.97
 68958035130 CVS   Natural Factors AndroSense T‐Correct 60caps                                                         24.99            2   24.99 $      49.98
639277435316 CVS   DTSC Imports FBA_14117717 Pack of 4: Plastic Rectangle Party Tablecloth Blue 54 X 108 Inches,        9.69    9.69    1    9.69 $       9.69
 33674158593 CVS   Nature's Way Fortify Optima Women's Advanced Care Probiotic & Prebiotic 12/2024                     18.95            1   18.95 $      18.95
 90174491209 CVS   COSMEDIX Eye Genius Brilliant Eye Complex 0.25 Fl Oz Women‚Äôs Luxury Skincare NEW                     42            1      42 $      42.00
 17801989175 CVS   Utilitech Color Choice White 4‐in 540‐Lumen Switchable White Round Dimmable LED                      88.4            1    88.4 $      88.40
 43168210041 CVS   2 Pack GE 75w Soft White Classic Shape A19 Bulb 21004                                                13.8            5    13.8 $      69.00
664766594915 CVS   NAPA ELECTRONIC TRAILER BRAKE CONTROL ‐ 2, 4, 6, 8 BRAKE SYSTEMS 755‐2737 NEW                       44.99            1   44.99 $      44.99
719869528609 CVS   Pro‐Lite Knee Support                                                                               19.99   19.99    1   19.99 $      19.99
 13803287691 CVS   Canon Pixma CLI‐281 XL PB Ink Cartridge                                                             17.99            1   17.99 $      17.99
 45242821808 CVS   Milwaukee 49‐25‐1563 1‐3/8" Nitrus Carbide Universal Oscillating Blade ‐ Black                      25.81           11   25.81 $     283.91
736150040961 CVS   laura mercier Foundation Primer Hydrating, 1.7 Ounce                                                   38   46.55   10      38 $     380.00
 34449996716 CVS   Delta Greydon Pull‐Down Kitchen Faucet ‐ Silver                                                      197             2    197 $      394.00
 79893201092 CVS   Bright Green Water Pitcher Replacement Filter Cartridge NEW Sealed                                  10.59            9   10.59 $      95.31
651473534204 CVS   Perricone MD Cold Plasma Plus+ Advanced Eye Cream 0.5 Ounce                                          115     115     2    115 $      230.00
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604079162142 CVS   philosophy Ultimate Miracle Worker Night, 1.7 Fl Oz                                                      80             3       80 $     240.00
 11499025122 CVS   Impressart Juniper Uppercase Letters Metal Stamps 3mm 33pc, #5122                                     32.95             8    32.95 $     263.60
689304181785 CVS   Anastasia Beverly Hills Eyeshadow Palette, Riviera                                                    68.06             3    68.06 $     204.18
673419318174 CVS   LEGO NINJAGO Ninja Tuner Car 71710 Toy Car for Kids Building Kit (419 Pieces)                         39.99     45.7    1    39.99 $      39.99
 43917560618 CVS   WAHL Beard/Mustache 12 pieces 5606‐420                                                                17.91             2    17.91 $      35.82
 71649116148 CVS   NEW Masterlock 2847DAT Trailer Hitch Coupler Latch Lock                                                7.99             1     7.99 $       7.99
734646055352 CVS   Lexmark X3470 Color All‐in‐One Inkjet Printer                                                        129.99             1   129.99 $     129.99
 74711747325 CVS   Swingline 747 Business Full Strip Desk Stapler, 20‐Sheet, Black                                          20             2       20 $      40.00
 17149160748 CVS   NEW COLUMBIA Universal Phone Cardcase ‐ iPhone 6 Galaxy 6 plus others NWT                              6.46             1     6.46 $       6.46
660685050914 CVS   Canon CLI‐251 BK/CMY 4PK Compatible to MG6320, iP7220, MG5420, MX922, MG7120, MG6420                  55.99    52.95    8    55.99 $     447.92
 15561145213 CVS   FLUVAL PLANT SPECTRUM LED AQUARIUM LIGHT BLUETOOTH ‐ 32 WATT 24 ‐34" # 14521                           110              2     110 $      220.00
737257894549 CVS   Top Fin PRO200 Multi‐Stage Canister Filter                                                           126.19             1   126.19 $     126.19
 20714949525 CVS   Clinique iD Dramatically Different Moisturizing Lotion+~3.9oz/115ml~New In Box                        17.53             1    17.53 $      17.53
194250039498 CVS   Laura Mercier Women's Tinted Moisturizer Light Revealer 0N1 Petal ‐ Very Fair Neutral, One Size          49             2       49 $      98.00
302994136001 CVS   Cetaphil Healthy Renew Moisturizing Day Cream 1.7 Oz, Daily Moisturizer with SPF 30, Skin Tight       19.99    15.38    9    19.99 $     179.91
 97855182760 CVS   Blue Microphones Blue Snowball Ice USB Gaming Condenser Microphone ‐ Black                            25.55             1    25.55 $      25.55
 32309012675 CVS   Fascinations Metal Earth Star Wars Special Force Tie Fighter 3D Steel Model Kit                        7.98             1     7.98 $       7.98
 35585317021 CVS   NEW Kong Wild WHOLE LARGE ELK ANTLER for Adult Dogs 60 lb + Naturally Shed USA                        45.34             5    45.34 $     226.70
 10343903159 CVS   Epson 126 Ink Cartridge 2 Pack Yellow and Black, sealed                                                  18             1       18 $      18.00
 32929428818 CVS   Dataproducts Black And Tri‐Color Combo Ink Cartridges for Cannon PG‐240 CL‐241                        15.97             2    15.97 $      31.94
 31604026820 CVS   NatureMade CoQ10 Extra Strength, 40 Softgels. Expires 6/2026                                          16.75            49    16.75 $     820.75
 87547552568 CVS   LD Replacement For CL‐246 XL High Capacity Ink Cartridge Canon‐ TRI Color                             17.99             4    17.99 $      71.96
740617326260 CVS   Kingston Exodia M 64B USB Flash Drive                                                                  8.99     7.69    5     8.99 $      44.95
736150082046 CVS   Laura Mercier Tinted Moisturizer Oil Free, Mocha                                                         42    40.62    4       42 $     168.00
 54732826827 CVS   Heat Tape Pipe 12Ft 84W Thermo, Part ORPHC84W12, by Prosource                                         44.43             1    44.43 $      44.43
 11319138780 CVS   STANSPORT HANDHELD SOLAR / DYNAMO POWERED FLASHLIGHT W/ RADIO üìª                                        25             6       25 $     150.00
 22600000488 CVS   Viviscal Gorgeous Growth Densifying Elixir ‐ 50 ml (1.7 fl oz) New                                    18.49             2    18.49 $      36.98
648846067209 CVS   GEN5X 18V Dual‐Power Light Cannon                                                                        89   100.94    1       89 $      89.00
737995348403 CVS   Kichler¬†Sabine Brushed Nickel Modern/Contemporary Etched Glass Drum Large (Larger Than 22             219      103     1     219 $      219.00
724089202406 CVS   Advantage II Small Dog Vet‐Recommended Flea Treatment & Prevention | Dogs 3‐10 lbs. | 4‐Mo            57.58       44    3    57.58 $     172.74
743921311151 CVS   Gingher Stork Embroidery Scissors and Leather Sheath ‐ 3.5" Craft Scissors for Fabric, Thread, an     24.99    19.84    1    24.99 $      24.99
723122200621 CVS   MagniLife Knee Pain Relief Soothing Gel, Reduces Swelling & Inflammation of Sore Muscles, Joint Discomfor      14.95    2    14.95 $      29.90
756677591647 CVS   Delfanti Milano Vitamin C Moisturizing Day Cream Nourishing Night Cream Duopack                       20.99            10    20.99 $     209.90
602004132208 CVS   Benefit Cosmetics BADgal BANG! Volumizing Waterproof Mascara Black                                       28    17.77    4       28 $     112.00
312843543508 CVS   Phillips' Colon Health Probiotic Supplement, 45 Count                                                          20.31    3    20.31 $      60.93
630359003003 CVS   In Clover Optagest Daily Digestive Enzymes for Dogs. Organic Prebiotic Natural Enzyme Powder f         27.6    55.99    2     27.6 $      55.20
765809149922 CVS   NAPA 3032 FUEL FILTER for FLEETGUARD FF149, FF‐149                                                     7.55             1     7.55 $       7.55
672501214684 CVS   Cricket Shear Xpressions 5.75" Professional Stylist Hair Cutting Scissors Japanese Stainless Steel S  79.98    41.95    2    79.98 $     159.96
 54732830824 CVS   PRIME WIFI SMART OUTLET In‐Wall Receptacle ‐ Open Box ‐ Free Shipping                                     7             2        7 $      14.00
 97612023190 CVS   ZooMed PMC‐18 Replacement Combo Pack 2 Mechanical Sponges 2 Biological Sponges                         7.09             2     7.09 $      14.18
 97612023220 CVS   ZOO MED TURTLE CLEAN 30 EXTERNAL CANISTER FILTER TC‐32 ‐ NIB                                          65.95             2    65.95 $     131.90
666151062122 CVS   Dermalogica Age Bright Clearing Serum (1 Fl Oz) Anti‐Aging Face Serum with Salicylic Acid ‐ Prom         75      75     5       75 $     375.00
 20714222857 CVS   Clinique Dramatically Different Moisturizing Gel with Pump 4.2oz New in Box B                          16.8             2     16.8 $      33.60
317163131640 CVS   API POND MASTER TEST KIT Pond Water Test Kit 500‐Test                                                 48.98    34.98    4    48.98 $     195.92
733739000866 CVS   NOW Supplements, NAC (N‐Acetyl Cysteine) 600 mg with Selenium & Molybdenum, 250 Veg Cap               47.99    21.77    2    47.99 $      95.98
687735301352 CVS   Pacifica Beauty Transcendent Concentrated Light Concealer, 0.2 Ounce                                     16             7       16 $     112.00
 78484099087 CVS   FISKARS SureCut Scrapbooking Paper Trimmer 12"                                                        27.05             1    27.05 $      27.05
193033218792 CVS   Dockers POLARIZED Sunglasses Black with Wood Arms 24791LDP001 100% UV Protection                      22.99             1    22.99 $      22.99
 20714676513 CVS   Clinique Dramatically Different Moisturizing Cream 1.7 oz/50 ml Jar                                    26.5             1     26.5 $      26.50
192333125717 CVS   Clinique Clarifying Do‐Over Peel                                                                         36     9.99    2       36 $      72.00
 74523421857 CVS   SoftTouch 48 Pack Plastic Adhesive Cabinet Bumpers                                                     9.74             1     9.74 $       9.74
680988702204 CVS   New Designer iPad Mini Case w Rotation Stand IOP                                                        9.3             1      9.3 $       9.30
 26508213346 CVS   Moen Chrome Model 52710 Single Function Hand Shower Package w/ Hose & Slide Bar                      100.75             1   100.75 $     100.75
 74312291760 CVS   Nature‚Äôs Bounty Vitamin D3 5000 IU 240 Softgels for Bone & Immune Exp 1/24                          15.49             1    15.49 $      15.49
371730000371                                                                                                             15.99             1    15.99 $      15.99
748927026658 CVS   Optimum Nutrition Amino Energy ‐ Pre Workout with Green Tea, BCAA, Amino Acids, Keto Friend           22.99    25.95    3    22.99 $      68.97
 20335053823 CVS   Fiskars Micro Tip Scissors No. 5                                                                      11.75             7    11.75 $      82.25
730870307847 CVS   SK‐II Facial Treatment Mask, 10 ct. ‐ Intensely Hydrating and Replenishing for Radiant Skin            135       95     2     135 $      270.00
765809152229 CVS   NAPA Gold 3330 Fuel Filter                                                                               25      25     1       25 $      25.00
 87547551660 CVS   HP 64 Tri‐color Ink Cartridge EXPIRED May 2019 New Sealed                                             14.99             2    14.99 $      29.98
304960481085 CVS   Heliocare Advanced Nicotinamide B3 Supplement: Niacinamide 500mg and Fernblock PLE Extrac             39.99    36.99   49    39.99 $   1,959.51
695866588610 CVS   Dr. Dennis Gross Vitamin C Lactic 15% Vitamin C Firm & Brighten Serum: Visibly Improve Signs of          85       85    6       85 $     510.00
 51494103555 CVS   Mega Food Men 55+ One Daily Mulitvitamin 60 Tablets                                                   28.15             3    28.15 $      84.45
681168486075 CVS   Zantrex SkinnyStix Energy Powder ‚Äì Increase Energy, Heighten Focus, Boost Mood ‚Äì 10 Calorie       29.99    19.99    6    29.99 $     179.94
 43168259866 CVS   GE LED Long Life Energy Bulbs ‐ Soft White ‐ 60 Watts ‐ 2 Pieces                                         10            14       10 $     140.00
706195106076 CVS   Oregon's Wild Harvest Organic Ashwagandha Non‐GMO Herbal Supplements for Stress Relief, Im            37.45    31.95    4    37.45 $     149.80
194248006945 CVS   bareMinerals Barepro 16HR Skin‐Perfecting Powder Foundation, Matte Pressed Powder Foundat                38       38    1       38 $      38.00
 83502550013 CVS   Health Plus Liver Detox ‐ 60 Capsules Exp 06/2025                                                     19.99             3    19.99 $      59.97
741273000594 CVS   Bach RESCUE Cream, Hydrating Skincare for Hands, Body and Face, Shea Butter, Homeopathic St            13.6       10    2     13.6 $      27.20
755970460407 CVS   Nutramax Laboratories Dasuquin with MSM Joint Health Supplement for Large Dogs ‐ With Gluco           58.99    54.76   17    58.99 $   1,002.83
686012009769 CVS   Zoe Ayla Dual Facial Cleansing Brush ‐ Rose Gold, 1 Pc ‐ Exfoliating Brush with Heating Function ‐    13.99       11    1    13.99 $      13.99
 31262070494 CVS   Homedics Sleep Solutions SoundSpa Rejuvenate 6 Nature Sounds; Rain, Ocean                             20.99             1    20.99 $      20.99
673419355636 CVS   LEGO Disney Princess Jasmine and Mulan Adventure 43208 Palace Set, Aladdin & Mulan Buildab            44.99    30.86    1    44.99 $      44.99
302990260014 CVS   Cetaphil Healthy Renew Skin Tightening Night Cream 1.7 Oz, Wrinkle Repair Cream for Face with         22.99       19   19    22.99 $     436.81
371573117038                                                                                                              27.9            33     27.9 $     920.70
194250014037 CVS   Laura Mercier Women's Setting Spray, No Color, One Size                                                  38    44.92    1       38 $      38.00
 11822997157 CVS   Women's Daylogic Minoxidil USP, 2% hair regrowth Rogaine 3 month Exp 05/23                            18.55             3    18.55 $      55.65
633422037028 CVS   Host Defense, Stamets 7 Capsules, Daily Immune Support, Mushroom Supplement with Lion‚Äôs             37.95    29.96   14    37.95 $     531.30
 78477790243 CVS   Leviton 5800‐ISP 20‐Amp, 125‐Volt, 2‐Pole, 3‐Wire, Receptacle Duplex,...                               7.54            10     7.54 $      75.40
 51494102695 CVS   MegaFood Men Over 40 One Daily Iron Free Formula 60 Tablets Dairy‐Free,                                  36             3       36 $     108.00
630359000507 CVS   InClover, K9 Connectin Hip & Joint Tablets Dog Supplement, 50 Count                                   40.99    40.99    3    40.99 $     122.97
716170215129 CVS   Bobbi Brown Vitamin Enriched Eye Base for Unisex ‐ 0.5 oz Cream                                       97.22    48.56    6    97.22 $     583.32
736658572278 CVS   OUIDAD Bye Bye Breakage Scalp Booster ‐ Strengthening and Thickening Serum for Hair Growth               30       30    1       30 $      30.00
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697045150120 CVS   AHAVA Dermud Nourishing Hand Cream ‐ Intensely Hydrates, Soothes, Relieves Dry & Sensitive H         32       32    1       32 $    32.00
607845066019 CVS   NARS Natural Radiant Longwear Foundation Mont Blanc                                                  50       38    1       50 $    50.00
651986410552 CVS   Too Faced Let‚Äôs Play Mini Eyeshadow Palette                                                        45    19.24   18       45 $   810.00
194250002034 CVS   Laura Mercier Women's Oil Free Tinted Moisturizer SPF 20, 3C1 Fawn, Tan, 50mL / 1.7 Ounce            53       63    1       53 $    53.00
 48503004538                                                                                                         11.95             1    11.95 $    11.95
 97467305816 CVS   Natures Plus Source of Life Multi‐Vitamin & Mineral (No Iron) 90 Tablets Exp1/26                  30.65             1    30.65 $    30.65
 43168698641 CVS   GE NIGHTHAWK 9007 NHX Xenon¬†Replacement #8641                                                    29.94             1    29.94 $    29.94
 63013593846 CVS   TAYMOR 04‐2848 Toilet Paper Holder,(1) Roll,Polished                                              45.39             5    45.39 $   226.95
658632140245 CVS   Grave Before Shave Aphrodisiac Blend Beard Balm (2 oz. Tin)                                       19.99     13.5    1    19.99 $    19.99
686024832515 CVS   Innovera Compatible Toner Cartridge‐Replacement for TN250, Black                                  10.98    10.98    1    10.98 $    10.98
748927026672 CVS   Optimum Nutrition Amino Energy ‐ Pre Workout with Green Tea, BCAA, Amino Acids, Keto Friend       22.99       21    1    22.99 $    22.99
759746620293 CVS   Fit System Passenger Side Mirror for Escalade/Suburban/Tahoe/Yukon, Silverado/Sierra, Silverad    65.48       58    1    65.48 $    65.48
661732040445 CVS   Motor Max American Classics 1941 Plymouth Pickup Truck 1:43 ‐ Green ‐ #4044                       14.39             1    14.39 $    14.39
 34449943369 CVS   Delta 19790Z‐BLSD‐DST Shiloh Single‐Handle Kitchen Faucet ‐ Black                                105.22             1   105.22 $   105.22
666151750135 CVS   Dermalogica Biolumin‐C Serum, Vitamin C Dark Spot Serum for Face with Peptide and AHA ‐ Exfo         87       95    5       87 $   435.00
681619814440 CVS   theBalm Autobalm Girl Powder Cheek Palette, Long Lasting Blush and Highlight                       26.5    25.15    2     26.5 $    53.00
 31604030339 CVS   Nature Made Multi for Him Plus Omega‐3 Gummies 150ct                                              39.98             1    39.98 $    39.98
611247394489 CVS   Keurig K‐Cafe SMART Single Serve K‐Cup Pod Coffee, Latte and Cappuccino Maker, Black             249.99   214.97    1   249.99 $   249.99
 54732826858 CVS   Prosource ORPHC21030 Electric Water Pipe Heat Cable, 30', 210 Watts                               63.93             4    63.93 $   255.72
607710074507 CVS   SmashBox Halo Fresh Perfecting Powder ‐ Fair‐Light Women 0.35 oz                                     42    74.89    1       42 $    42.00
607845040316 CVS   NARS Blush ‐ Dolce Vita ‐ 4.8g/0.16oz                                                                39    24.72    4       39 $   156.00
607710074545 CVS   Smashbox Cover Shot Eye Palette ‐ Petal Metal Women Eye Shadow I0112643 0.2 Ounce (Pack o            29    23.86    2       29 $    58.00
 17200000426 CVS   ARC Leave on Teeth Whitening, 45 Treatments, 1 Wand & 1 Stand Expires Sep 2023                        7             1        7 $     7.00
643334547805 CVS   Type S Blue 12in X 36in Film Wrap                                                                 27.99             1    27.99 $    27.99
 31604025762 CVS   Nature Made Extra Strength Magnesium 400mg 60 Softgels 02/2024                                    12.97             1    12.97 $    12.97
 44387205603 CVS   NEW Nespresso EN560S Espresso Machine with Milk Frother ‐ Frosted Silver                         199.99             1   199.99 $   199.99
 32085985477 CVS   Seattle Seahawks Legion of Boom 3' x 5' Flag                                                      19.99            14    19.99 $   279.86
 39800036964 CVS   Brand New Energizer NiMH 1.2V Battery Charger | Fast Shipping!                                    29.99             7    29.99 $   209.93
609863047049 CVS   Topricin Pain Relief Cream (4 oz) Fast Acting Pain Relieving Rub                                  24.95     20.6    7    24.95 $   174.65
706195106038 CVS   Oregon's Wild Harvest Milk Thistle Organic Non‐GMO Herbal Supplement ‐ pullulan (Plant source     47.95    41.69    3    47.95 $   143.85
 43168683456 CVS   (Lot of 2) C by GE A19 Soft White Smart LED Light Bulbs                                            9.99            35     9.99 $   349.65
670367006573 CVS   Peter Thomas Roth | Water Drench Hyaluronic Liquid Gel Cloud Serum | Hyaluronic Acid Serum f         68    50.95    3       68 $   204.00
194249402715 CVS   Drunk Elephant A‐Shaba Complex Eye Serum ‐ Anti Aging Wrinkle Serum for Dark Circles (15 mL /     59.25       64    5    59.25 $   296.25
655199634705 CVS   K&H Pet Products Pet Bed Warmer, Turn Any Cat or Dog Bed Into a Heated Cat or Dog Bed, Wate       56.99             4    56.99 $   227.96
642608050324 CVS   BOBSTER ¬Æ Swift, Matte Black and Orange Frame, Smoked, Yellow, & Clear Lens                      84.98    59.98    2    84.98 $   169.96
 39079003582 CVS   Comfort Zone Multicat Calming Diffuser Refill 3pack                                                  31             6       31 $   186.00
 93514095228 CVS   SNAP SHIPS Forge Javelin M‐02 Attack Speeder Build to Battle Moving Pieces                        13.98             2    13.98 $    27.96
 75609208782 CVS   Deep Moisture Slugging MasK‐ With Shea Butter, Fragrance Free, 3.4 oz (D7)                        26.59             2    26.59 $    53.18
673765087359 CVS   Irwin Industrial Tools IWAF12‐7 Drive Guide Set, 7‐Piece                                          19.04    10.88   17    19.04 $   323.68
754632971329 CVS   100' 18/2 STW, 9,000 Lumen LED String Light                                                      590.46     399     1   590.46 $   590.46
653334728791 CVS   MTN OPS BCAA 2:1:1 Amino Acids Supplement Powder for Rapid Muscle Recovery & Repair with          39.95    39.95    1    39.95 $    39.95
 29054018540 CVS   First Alert Explosive Gas & Carbon Monoxide Alarm ‐Plug In Item NO BATTERY                        29.99             1    29.99 $    29.99
607710812031 CVS   SmashBox Step By Step Contour Kit With Light Medium Brush, Brown, 4 Ounce                            35    30.53    4       35 $   140.00
191329247129 CVS   Fast & Furious 10‐Movie Collection ‐ 4K Ultra HD + Digital [4K UHD]                              154.99    72.94    1   154.99 $   154.99
673914090452 CVS   Eau Thermale Av√®ne Cicalfate+ Restorative Protective Cream ‐ Wound Care ‐ Helps Reduce Loo          28     22.4   13       28 $   364.00
700304155948 CVS   Monopoly Schitt's Creek | Game Tokens Include Bebe Crow, Patrick's Guitar, Rosebud Motel Key      39.95    28.53    1    39.95 $    39.95
 12502631019 CVS   Industrial Vintage Seeded Bubble Glass Globe Pendant Light for Kitchen Island Or                  70.99             1    70.99 $    70.99
 72879302110 CVS   Dritz Magnetic Sew‐On Snaps BK122                                                                  14.9             3     14.9 $    44.70
 11822423458 CVS   Rite Aid Fever Flash Digital Thermometer for Temple ~ Kids / Adult (C)                            35.74             1    35.74 $    35.74
307667780000 CVS   Nicorette 4mg Nicotine Gum to Quit Smoking ‐ Spearmint Burst Flavored Stop Smoking Aid, 100          41    39.95    2       41 $    82.00
 54067308104 CVS   Pizza Slicer W/Blde Cvr, PartNo 30810, by Zyliss Usa Corp Stainless Steel NEW !                   24.82             1    24.82 $    24.82
 71249377475 CVS   L'Oreal Age Perfec Rosy Tone Eye Brightener Dark Circles Mature Dull Skin 0.5Oz                   10.39             1    10.39 $    10.39
761712018355 CVS   OttLite Rise LED Desk Lamp w/ LCD Smart Display # 8355                                             39.9             4     39.9 $   159.60
648041570047 CVS   Plantiva AllerDx Natural Herbal Seasonal Support Supplement ‐ Non‐Drowsy, Stimulant Free, Fas     24.95       20    1    24.95 $    24.95
735854988449 CVS   Office Depot Brand Name Badges, White, 2 1/3in x 3 3/8in, Pack of 400                             12.99     9.91    2    12.99 $    25.98
 47431906419 CVS   Marineland Visi‐Therm Submersible Heater 150 Watts 40 Gallon Tanks BRAND NEW                      24.95             3    24.95 $    74.85
 37000605423 CVS   MetaMucil FIBER + COLLAGEN Peptides 19.9oz Orange #423                                            24.89            33    24.89 $   821.37
 67981087253 CVS   Lot of 2 K‐Y Me & You Intense Condom Extra Lubricated Lube Tingling Sensation                      8.99             1     8.99 $     8.99
 15905062541 CVS   Aquarium Fish Tank Preset Heater For Up To 75 Gallons 200 Watts                                      21             3       21 $    63.00
670779703145 CVS   Red‐White Valve 34RW5015AB Lead Free Brass PEX Ball Valve with Barb Ends F1960, 3/4"              13.53             1    13.53 $    13.53
 90174470501 CVS   Pureology PURE VOLUME Shampoo for Fine Hair Concentrated Formula 8.5 fl oz                        24.95             3    24.95 $    74.85
 32886892936 CVS   Southwire 500 ft. 12 Stranded THHN Wire ‐ Green                                                   81.45             1    81.45 $    81.45
 78477709184 CVS   Leviton R92‐GFWT1‐0KW Receptacle, White                                                           14.95             3    14.95 $    44.85
 31604026103 CVS   Nature Made Triple Omega3‐6‐9 150Count Exp12/24 #6103                                              24.8            30     24.8 $   744.00
670367935934 CVS   Peter Thomas Roth | Water Drench Hyaluronic Cloud Hydrating Eye Gel | Hyaluronic Acid Eye Ge         42      43     4       42 $   168.00
 42928162217 CVS   Camo No. 7 x 1‐7/8 in. L Star Trim Head Protech Coated Deck Screws 350 pk                          61.7             4     61.7 $   246.80
191518937749 CVS   MSPCI Celebrate It Decorating Tip Set 60pc Kit                                                    17.89    17.89    5    17.89 $    89.45
 20714636289 CVS   Clinique Dramatically Different Moisturizing Lotion+ with Pump ‐ 4.2 fl oz...                        23             1       23 $    23.00
 48107207861 CVS   GNC WOMENS VITAPAK Program Health and Wellness 30 days supply Exp: 2/2024                            21             1       21 $    21.00
358962203305 CVS   ScarAway Clear Silicone Scar Sheets, White, 6 Count                                               14.99    18.99   34    14.99 $   509.66
 72782053925 CVS   Avery Additional Laser/Inkjet Inserts 3 x 4 White 300/Box 5392                                    14.98             1    14.98 $    14.98
 30878407908 CVS   GE 6ft. Pro Premium HDMI High‐Speed Cable with Ethernet 40790‐S1 #7908                                6             1        6 $     6.00
 15561107822 CVS   FLUVAL M100 SUBMERSIBLE HEATER ‐ 100 WATT                                                         26.21             6    26.21 $   157.26
 10027971214 CVS   ClicGear Rain Cover                                                                               51.98             1    51.98 $    51.98
 47569517693 CVS   QO 60 Amp 240‐Volt 7.4 Kw Non‐Fuse AC Disconnect Qo200Trcp                                         21.4             1     21.4 $    21.40
732212370830 CVS   Janome Quilt Maker Pro Square Feet                                                                74.95    74.95    1    74.95 $    74.95
658010113366 CVS   Garden of Life Whole Food Probiotic Supplement ‐ Primal Defense Ultra Ultimate Probiotic Dieta    48.99    32.87    9    48.99 $   440.91
710244231848 CVS   Crosley CR8009A‐DU Discovery Vintage Bluetooth 3‐Speed Belt‐Driven Suitcase Vinyl Record Play     79.95       75    1    79.95 $    79.95
 75609198045 CVS   Frank Body Brightening Vitamin C Mask 50 mL NIB                                                   10.24             6    10.24 $    61.44
658010118545 CVS   Garden of Life Organic Mykind Prenatal Once Daily, 108 CT                                        103.99      53     1   103.99 $   103.99
622356557535 CVS   Ninja CM401 Specialty 10‐Cup Coffee Maker with 4 Brew Styles for Ground Coffee, Built‐in Wate    169.99     159     1   169.99 $   169.99
731398433094                                                                                                         24.99             1    24.99 $    24.99
 96316670952 CVS   Reptile Pet Habitat Lighting UVB Fluorescent Desert T8 Light Bulb, 15 Watt NIB                    21.19             2    21.19 $    42.38
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 43168421492 CVS   (2‐Pk) GE Vintage Style LED Decorative Light Bulb Amber 42149                                          10.43            14    10.43 $     146.02
670367354018 CVS   Peter Thomas Roth | Instant FIRMx Temporary Face Tightener | Firm and Smooth the Look of Fin              49      49     1       49 $      49.00
 28287607118 CVS   TURBOTAX DESKTOP PREMIER 2022 FEDERAL E‐FILE & STATE                                                   14.59             1    14.59 $      14.59
670750969850 CVS   Tectite FSBVA1238C Supply Stop Valve, Chrome                                                            9.72     6.93   12     9.72 $     116.64
666151113312 CVS   Dermalogica Dynamic Skin Retinol Serum with Multi‐Retinoid Complex                                        92       92    7       92 $     644.00
192608230467 CVS   MORPHE 9E Pretty In Peach Artistry Palette                                                                      16.47    1    16.47 $      16.47
764053496691 CVS   Whalen 5‐Shelf Heavy Duty Steel Shelving Unit, 48" W x 24" D x 72" H, Black                                    217.98    2   217.98 $     435.96
 51494101186 CVS   MegaFood Blood Builder 180 Tablets Dairy‐Free, Kosher, Non‐GMO, NSF Certified,                         45.99             2    45.99 $      91.98
 15561178679 CVS   BRAND NEW FLUVAL MINI MASTER TEST KIT (PH, Ammonia, Nitrate, Nitrite) A7867                            39.49             1    39.49 $      39.49
674326336343 CVS   Radians Vertex Nano Electronic Ear Plugs                                                               89.99   101.38    1    89.99 $      89.99
681168189020 CVS   Relacore Extra Maximum Strength Stress‐Mitigating Compound ‐ Stress Relief Supplements ‐ Cor           29.99    19.99    6    29.99 $     179.94
 47469077730 CVS   Natrol Cognium Complete, Brain Health, 100 mg Capsules, 60 Ct EXP 12/23 U6A                               12            19       12 $     228.00
 54732501342 CVS   PRIME¬Æ CR220625 Portable Power Station, 125 VAC, 10 A, 25 ft L Cord, 16 AWG.                             35             2       35 $      70.00
716170165875 CVS   Bobbi Brown Highlighting Powder, Pink Glow, 0.28 Ounce                                                    48    23.99    3       48 $     144.00
302340100090 CVS   Queen V uT(m) i Probiotics‐ Probiotic Capsule, 30 ct., 2 strains of Lactobacillus & Cranberry, Urin       16             1       16 $      16.00
730852103207 CVS   Shiseido Bio‐Performance Advanced Super Revitalizing Cream ‐ 50 mL ‐ Anti‐Aging Moisturizer ‐ R           85      85     5       85 $     425.00
 15905061179 CVS   Plastic Storage Container Set for4, Kitchen Clear Organizer BPA                                        17.09             1    17.09 $      17.09
 47569071966 CVS   SquareD Tandem circuit breaker 20/20 QO2020C SAME day ship                                             33.34             5    33.34 $     166.70
681168323097 CVS   SeroVital VitaCorrect Face Solution with Vitamin C Serum and Ferulic Acid | Age Dark Spot Remo            69    33.96    2       69 $     138.00
 50743655340 CVS   Little Tikes TOBI Robot Kids Digital Wifi Touchscreen Smartwatch! Pink, Camera                         16.14             1    16.14 $      16.14
192608242743 CVS   MORPHE 35A UP TILL DAWN                                                                                         46.95    1    46.95 $      46.95
670367006375 CVS   Peter Thomas Roth | Water Drench Hyaluronic Cloud Cream | Hydrating Moisturizer, Hyaluronic               22       23    2       22 $      44.00
 80596042035 CVS   Dremel Stylo+ Corded Versatile Craft Tool Kit Tool only                                                46.23             1    46.23 $      46.23
742961012233 CVS   Herbal Clean QCarbo16 Same‐Day Premium Detox Drink, Tropical Flavor, 16 Fl Oz                          27.55    15.39    2    27.55 $      55.10
 74108414618 CVS   Conair Cordless Petite Straightening Comb ‐ Blue/Rose Gold Unbound Petite                              22.45             1    22.45 $      22.45
 41167412749 CVS   Allegra Allergy Relief 180 mg ‐ 5 Tablets *FREE SHIPPING* 02/2024                                       6.41            26     6.41 $     166.66
658010115636 CVS   Garden of Life 22 Digestive Enzymes for Women with Bromelain, Papain, Lipase & Lactase Plus P          54.99    38.93    4    54.99 $     219.96
 46335108509 CVS   Hampton Bay Rockland 4‐Light Matte Black Pendant Hanging Light Pendant                                 93.09             1    93.09 $      93.09
 79893302478 CVS   Open Nature Chocolate Plant Based Protein Powder 18oz/1 LB / EXP‐08/2025                               25.89             5    25.89 $     129.45
 54139909000 CVS   Macrolife Naturals Macro Greens 2 oz Powder                                                            25.33             1    25.33 $      25.33
 32076068875 CVS   Gardner Bender GS‐387 7 1/2" Linemen's Pliers                                                           11.5             1     11.5 $      11.50
689304055994 CVS   Anastasia Beverly Hills ‐ Brow Powder Duo ‐ Taupe                                                         23       23    1       23 $      23.00
710504035070 CVS   Quality Archery Designs QAD UltraRest LD Black RH                                                     109.99   104.95    1   109.99 $     109.99
605592000010 CVS   Nexxus Volumizing Foam Styler Mousse Plus, 10.6 oz, Pack of 6                                          70.29    70.29    5    70.29 $     351.45
733739029287 CVS   NOW Supplements, Probiotic‐10‚Ñ¢, 50 Billion, with 10 Probiotic Strains, Strain Verified, 50 Veg C     49.99    25.53    1    49.99 $      49.99
 75609209024 CVS   New Olay Minis Super Serum Night Repair 0.4 Fl Oz Bottle                                                  16            13       16 $     208.00
 73502037003 CVS   Resistance Tubes, Professional Latex Elastic Tubing for Upper & Lower Body, Core                       26.25             1    26.25 $      26.25
 90174470495 CVS   Pureology ~ Smooth Perfection ~ Shampoo & Conditioner 9 fl oz / 266 ml ~ 1 Set                         39.89            15    39.89 $     598.35
 33413001159 CVS   FoodSaver Vacuum Sealer DISPLAY ITEM 109ae                                                             53.29             2    53.29 $     106.58
 70018104403 CVS   Nioxin 3 Color Safe Scalp Therapy Conditioner 10.1oz FREE SHIPPING                                     11.49             2    11.49 $      22.98
400187378174 CVS   ArtSmith Illustration Markers Multi Set, 48pc New (1873‐7817)                                          39.99             1    39.99 $      39.99
 74299036262 CVS   Mattel AUSTRALIAN BARBIE‐SPECIAL EDITION (1992) NRFB #3626                                              18.7             1     18.7 $      18.70
 51131203686 CVS   ACE Self‐Adhering Elastic Bandage 207462, 4‚Äù New In Package                                           9.05             1     9.05 $       9.05
692042011825 CVS   EGO Power+ AC1800 18‐Inch Chain Saw Chain for EGO 18‐Inch Chainsaw Models CS1800/CS1804                27.99    33.95    3    27.99 $      83.97
316864001252 CVS   Kerasal Multi‐Purpose Nail Repair Patches ‐ 14 Count ‐ Nail Repair for Damaged Nails, 8‐Hour Na        19.99    13.63   96    19.99 $   1,919.04
765809149885 CVS   NAPA Gold 3027 Fuel Filter                                                                              8.49     8.81    1     8.49 $       8.49
302995889005 CVS   CETAPHIL Redness Relieving Daily Facial Moisturizer SPF 40, 1.7 fl oz, Broad spectrum Sunscreen,       17.99      9.9    2    17.99 $      35.98
 10343911727 CVS   Epson T786120‐BCS DURABrite Black Color Cartridges Ink Cyan Yellow ( NO Magenta                        17.88             1    17.88 $      17.88
 73950203272 CVS   MODEL AVD 173 WATERPIK RAINFALL SHOWER HEAD WITH DESIGNER ARM                                          23.39             1    23.39 $      23.39
194251039466 CVS   NARS Skin Light Reflecting Moisturizer                                                                    65      58     1       65 $      65.00
641628505111 CVS   Elemis‚ù§Ô∏èDynamic Resurfacing Serum‚ù§Ô∏è0.5oz/15ml‚ù§Ô∏èBRAND NEW‚ù§Ô∏èFree S                       45.59             1    45.59 $      45.59
 15561145411 CVS   Fluval Sea Marine Nano LED Aquarium Light ‐ 14541                                                         39             5       39 $     195.00
647865962977 CVS   Airborne 1000mg Chewable Tablets with Zinc, Immune Support Supplement with Powerful Antio                 19    13.76    1       19 $      19.00
651473705741 CVS   Perricone MD Vitamin C Ester Brightening Amine Face Lift, 2 Fl Oz (Pack of 1)                           105      105     4     105 $      420.00
 73577168930 CVS   ProjectMate Westcott Glue Gun 60W Non‐Stick Nozzle,Ergonomic Handle NEW SEALED                         19.95             1    19.95 $      19.95
671090014071 CVS   Woodford 17CP‐8‐MH Model 17 Wall Faucet, 8‐Inch, CP Inlet, Metal Handle                                44.25    53.75    1    44.25 $      44.25
704780134886 CVS   Global Door Controls Commercial Door Closer in Aluminum ‐ Size 3                                       50.91             1    50.91 $      50.91
 97855170231 CVS   Logitech Pro 4K Webcam ‐ Black (960‐001390) w/ Ringlight3 and HDR                                      83.99             2    83.99 $     167.98
 45908091538 CVS   Farberware Forged Triple Rivet Kitchen Knife Block Set with Built‐In Knife Sh...                       94.08             1    94.08 $      94.08
631257121196 CVS   Renew Life Women's Probiotic Capsules, 50 Billion CFU Guaranteed, Supports Vaginal, Urinary, D         67.99    49.98    8    67.99 $     543.92
633040033877 CVS   Tectron USB Speaker Light BT Version 4.2 White ST STAND 7 Electronic LED                               19.99             1    19.99 $      19.99
729849145825 CVS   PetSafe Basic In‐Ground Pet Fence ‚Äì from the Parent Company of INVISIBLE FENCE Brand ‐ Und          189.99   159.95    1   189.99 $     189.99
670367014028 CVS   Peter Thomas Roth | Therapeutic Sulfur Acne Treatment Mask | Maximum‐Strength Sulfur Mask                 52             2       52 $     104.00
 74312589119 CVS   Nature‚Äôs Bounty Vitamin B12 2500 mcg Cellular EnergySupport 75 tablets EXP:02/26                      12.5             1     12.5 $      12.50
194250039610 CVS   Laura Mercier Women's Tinted Moisturizer Light Revealer 1C1 Cameo ‐ Fair Cool, One Size                   49    59.85    1       49 $      49.00
724089202833 CVS   Advantage II Large Dog Vet‐Recommended Flea Treatment & Prevention | Dogs 21‐55 lbs. | 4‐M             57.58    47.98    3    57.58 $     172.74
 33674157848 CVS   Nature's Way Fortify Optima Advanced Care 100 billion, 30 caps, 1/31/24                                14.24            13    14.24 $     185.12
747396092072 CVS   Minka Lavery Modern Wall Sconce Lighting 2921‐77‐L High Rise Bath Glass Damp Bath Vanity Fix          189.95   189.95    2   189.95 $     379.90
601201204077 CVS    Hey Honey Trick and Treat: Active Propolis Cream Concealer ‐ Deep Tone                                15.49             7    15.49 $     108.43
 46135313585 CVS   Sylvania H1 SilverStar Ultra High Performance Halogen Headlight 2‐Bulbs OPENBOX                        19.99             1    19.99 $      19.99
 87547556672 CVS   New Genuine HP 910 Black Ink Cartridge WARRANTY EXPIRED 6/23                                           13.95             1    13.95 $      13.95
 48107150761 CVS   Body Dynamix Waterex Water Balance Formula Pill Herbal Blend Supplement 60 Caps                         8.99             7     8.99 $      62.93
 13803279979 CVS   Canon Genuine Toner Cartridge 046 Black 1250C001 LBP650C MF730C                                           45             2       45 $      90.00
 43168243100 CVS   GE LED CAM Dimmable 4.2W Replace 40W Bulbs Decorative Frosted Finish                                     7.2             1      7.2 $       7.20
741805747119 CVS   NEW NORDIC Hair Volume Tablets | 3000 mcg Biotin & Biopectin Apple Extract | Supports Natur            21.95    13.99   54    21.95 $   1,185.30
 74108475695 CVS   Babyliss PRO Titanium 1‐3/4in Digital Ionic Flat Iron BT4091UC Black BRAND                                70             1       70 $      70.00
191058111333 CVS   Faraday for Samsung Galaxy Tab A 8.4 ‐ Black                                                            9.98     9.98    1     9.98 $       9.98
684032121508 CVS   @ Sterling Premium Lead‐Free Solid wire Solder 16 oz 118‚Äù 331755                                        30             3       30 $      90.00
 43168234443 CVS   LED Light Bulbs, Soft White, Clear, Dimmable, 500 Lumens, 5‐Watts #4443                                 9.99             4     9.99 $      39.96
602004144201 CVS   Benefit The POREfessional Lightweight smoothing moisturizer for pores, 50 ml (Pack of 1)                        29.44    2    29.44 $      58.88
718813297295 CVS   AC Sustainable Journaling Bamboo Journal 5.5"X8.5"‐Dark, W/2 Inserts (24 Pages Each)                   34.99    34.99    5    34.99 $     174.95
 98132335657 CVS   BUXOM Lash Waterproof Volumizing Mascara Blackest Black 0.37oz/11ml NEW Boxed                          17.99             5    17.99 $      89.95
666151112179 CVS   Dermalogica Daily Glycolic Cleanser Face Wash (10 Fl Oz) Washes & Brightens Skin Tone with Gly            58      58     1       58 $      58.00
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 48661007907 CVS   NEW! WARNER 4‚Äù HEAVY DUTY SCRAPER, DOUBLE EDGE BLADE, FOAM GRIP, #790                                24.99              1    24.99 $       24.99
762511724188 CVS   Omnigrid Folding Kit Mt/Cut/Rlr, Large, Blue                                                           49.99    51.94     2    49.99 $       99.98
673419317757 CVS   LEGO Creator 3in1 Fire Dragon 31102 Building Kit, Cool Buildable Toy for Kids (234 Pieces)             19.99    44.95     1    19.99 $       19.99
 37495137195 CVS   DORMAN 13719 Keyless Entry Remote For GM 2007‐2010 NEW SEALED                                          18.99              5    18.99 $       94.95
 93573941283 CVS   Four Oh Five Tools & Trimmer Set. Best Price                                                           26.15              7    26.15 $      183.05
651986160549 CVS   Too Faced Brow Wig Brush on Eyebrow Gel Medium Brown                                                      25     16.5     1       25 $       25.00
 97467307223 CVS   NEW NaturesPlus Adult Gold Multi‐Vitamin Gummies 60 Count Exp 4/25                                     27.95              1    27.95 $       27.95
 53891133067 CVS   Sunbeam Heating Pad for Neck & Shoulder Pain Relief, XL Renue Heat #067                                47.44              2    47.44 $       94.88
 43917110363 CVS   Wahl MAXCOAT Professional Pet Hair Clipper Kit ‐ Black                                                  119               1     119 $       119.00
 42409881781 CVS   Laser X Revolution Two Player Long Range Laser Tag Gaming Blaster Set ‐...                             22.99              1    22.99 $       22.99
 35886082314 CVS   Henckels Int'l Classic ‐ 8" Chef's Knife 31161‐201 in retail box                                        29.9              1     29.9 $       29.90
 20714761219 CVS   Clinique Pep‐Start Eye Cream Hydrating Jelly And Fresh Soy Face Cleanser Travel                        13.15              1    13.15 $       13.15
 15905000307 CVS   Aqueon Submersible Aquarium Heater 100W Up to 40 GAL                                                   21.95              5    21.95 $      109.75
 33674102947 CVS   Nature's Way 30 Billion Probiotic Supplement 30 Caps Exp 01/2024                                        8.95             11     8.95 $       98.45
 46677560751 CVS   Philips 6.5ft Smart LED Light Strip 20W Wi‐Fi Full Color, 1600 Lumens                                  14.99              1    14.99 $       14.99
 48107207885 CVS   RENEW ACTIVES Women's Mul & An oxidants, 60 Caps BRAN NEW¬† Exp:09/23                                  11.89              4    11.89 $       47.56
607710004764 CVS   Smashbox Photo Finish Even Skintone Primer, Blend                                                         39              1       39 $       39.00
 74108463173 CVS   BaByliss Pro Studio Design Series Rootreacher ‐ BCI002UC                                                  75              1       75 $       75.00
756677591098 CVS   Delfanti‐Milano ‚Ä¢ HYALURONIC AGE DEFYING DAY CREAM ‚Ä¢ Face and Neck Moisturizer ‚Ä¢ M               19.99    12.89     1    19.99 $       19.99
 15794010753 CVS   L‐Carnitine with B‐6 60 Caps 500 MG by Country Life Exp 10/24 Sealed New                               24.49              1    24.49 $       24.49
634114029055 CVS   Carbon Theory | Tea Tree Oil & Citric Facial Tonic | with Pink Grapefruit | 250ml                      25.98    25.98     1    25.98 $       25.98
765809150362 CVS   NAPA Gold 3085 Fuel Filter                                                                                11       11     1       11 $       11.00
 22315100640 CVS   Flotec FP4222 ‐ 7.5 GPM 3/4 HP Cast Iron Convertible Jet Pump                                           474               1     474 $       474.00
 77924114052 CVS   Weber Grill 'n Go Detachable LED Light ‐ 7661 ‐ Sealed                                                    26              2       26 $       52.00
728658032029 CVS   Damage Pacific Squadron WWII for Playstation 3 ‐ Collectors Edition                                    49.99    39.99     1    49.99 $       49.99
 13803112948 CVS   Genuine Canon GPR31 (2790B003) Black Toner Cartridge ‐ NEW SEALED                                      59.42              1    59.42 $       59.42
716170194264 CVS   Bobbi Brown Illuminating Moisture Balm Bare Glow, 1 Oz                                                    76      73      1       76 $       76.00
 74312199615 CVS   CVS Health Vitamin D3 ‐ 60 Softgels                                                                    14.65              2    14.65 $       29.30
 90174015092 CVS   Redken All Soft Shampoo ‐ 10.1 fl. oz.                                                                 25.55              6    25.55 $      153.30
192333101681 CVS   Clinique Smart Clinical Repair Wrinkle Correcting Serum Serum Unisex 1.7 oz                               99    56.96     9       99 $      891.00
 78484048009 CVS   ‚≠êÔ∏èFiskars ShapeCutter Shape Cutter Scrapbooking Tool with 2 Blades ‚≠êÔ∏è                          14.25              1    14.25 $       14.25
 40102643705 CVS   ANDIS CeramicEdge AG Blade 5FC. 6.3mm=1/4in [Brand New]                                                   18              1       18 $       18.00
704142000408 CVS   Florastor Kids Daily Probiotic Supplement, Unflavored Powder Mixes with Food or Beverage, Use          30.99    14.65     5    30.99 $      154.95
754502041640 CVS   Copper Fit Unisex‐Adult's 2.0 Easy‐Off Knee High Compression Socks, black, Small/Medium                 9.99      9.5     2     9.99 $       19.98
 88634464023 CVS   Skincare Cosmetics Retinol Vitamin Enriched Night Cream 1 oz.                                          12.99              1    12.99 $       12.99
 35886407124 CVS   Henckels Solution 4‐pc Steak Knife Set 17551‐000 NEW Free Shipping                                        28              3       28 $       84.00
633422037035 CVS   Host Defense, Stamets 7 Capsules, Daily Immune Support, Mushroom Supplement with Lion‚Äôs              59.95    47.21     5    59.95 $      299.75
640986035971 CVS   Primal Elements Pure Essence Plant Based Facial Cleanser, 12 Ounce                                              20.72     5    20.72 $      103.60
733652161712 CVS   Hampton Forge Bristol Satin 89 Pc Set, 6.70 LB, Metallic                                               79.99              2    79.99 $      159.98
 19954354336 CVS   D'Addario Equinox Tuner Twin Pack ‐ Black                                                                 30              2       30 $       60.00
742797883687 CVS   GNC Pets Ultra Seasonal Immune Support, All Dogs, Chicken Flavor.(2.2g) Soft Chews | Immune B          12.99    12.87     1    12.99 $       12.99
658010130547 CVS   Garden of Life Quercetin Once Daily Immune System Support Supplement with Vitamin C, D & Pr            24.99       18     1    24.99 $       24.99
 70018049193                                                                                                               10.5     22.1     1     10.5 $       10.50
 74108093165 CVS   NEW Conair Man No‐Slip Grip 2‐in‐1 Clipper and Trimmer Kit                                             19.99              2    19.99 $       39.98
 54374144693 CVS   Monogram Brass MB141CP Decorative Air Gap With Brass Cap ‐ Chrome                                      18.89              1    18.89 $       18.89
 15794030140 CVS   Gut Connection Immune Balance 60 Caps by Country Life Exp 12/2023 #0140 **                                26              2       26 $       52.00
737257952607 CVS   Great Choice Retractable+ Extra Length 26 Foot ‐ Large ‐ 110lbs #2607                                  15.99              2    15.99 $       31.98
 47469073404                                                                                                              32.99             37    32.99 $    1,220.63
302994105151 CVS   Cetaphil Soothing Gel‐Cream with Aloe Instantly Soothes and Hydrates Sensitive Skin, Fragrance         15.99    27.99     1    15.99 $       15.99
687735030009 CVS   Pacifica Beauty, Island Vanilla Spray Perfume, Best Warm Vanilla Scent, Womens Fragrance, Natu            22    34.99     4       22 $       88.00
714176999951 CVS   Hybrid 2 H2‐KIT‐3‐WW LED Hybrid 2 Accent Lighting Kit, Dimmable, 2700K Warm White, 120V, 9             57.65    72.39     2    57.65 $      115.30
658010114035 CVS   Garden of Life Vitamin Code Raw One Once Daily Multivitamin Capsules, Fruits, Veggies, Probioti        37.78    51.25    11    37.78 $      415.58
 39725997395 CVS   SKIL CB737501 PWRCore 12 12V 2‐Tool Combo Kit w/ (1) 2 Ah Batt. New                                    70.99              1    70.99 $       70.99
 75020098740 CVS   Philips Norelco Shaving Head for Shaver Series 9000, SH91/52 ‐ 3 Pack                                  59.99             17    59.99 $    1,019.83
364269101008 CVS   Scarguard ‐ Invisible Brush‐On Silicone Sheet with Vitamin E ‐ Scar Removal for Keloids, Burn Scar      24.5     24.5   414     24.5 $   10,143.00
 80083909742 CVS   HALO HLB4069FS1EMWR‐6PK                                                                               207.76              2   207.76 $      415.52
 75020048776                                                                                                              19.95   252.51     1    19.95 $       19.95
196188046197 CVS   HyperX Pulsefire Haste ‚Äì Wireless Gaming Mouse ‚Äì Ultra Lightweight, 61g, 100 Hour Battery L        79.99    65.99     1    79.99 $       79.99
657520090037 CVS   Health Logics BioCell Collagen Joint and Skin Care 120 Capsules                                        39.95    26.75    25    39.95 $      998.75
191518172911 CVS   High Temp Glue Gun by ArtMinds¬Æ                                                                       29.99              1    29.99 $       29.99
640986035988 CVS   Primal Elements Nourishing Facial Oil, 6 Ounce                                                        117.99   117.99     1   117.99 $      117.99
729849105195 CVS   PetSafe Stubborn Dog Receiver Collar, In‐Ground Fence Collar, Waterproof, with Tone, Vibration        129.99   109.94     1   129.99 $      129.99
748960208028 CVS   Ruffwear, Front Range Dog Day Pack, Backpack with Handle for Hikes & Day Trips, Blue Moon, X‐          79.95    79.95     1    79.95 $       79.95
 97612660302 CVS   Turtle Dock                                                                                            36.93              1    36.93 $       36.93
633779027529 CVS   Broche 4 Light Antique Silver Ceiling Mount ‐ Ceiling Light for Living Room, Hallway, Foyer, Dining     430      500      1     430 $       430.00
716170159904 CVS   Bobbi Brown Eye Opening Mascara Black Full Size .42 Ounce                                                       22.76     1    22.76 $       22.76
 74108446756 CVS   BaByliss Pro Nano Titanium Prima 3100 Stainless Steel Flat Iron 1" BNT3100TUC                          99.95              3    99.95 $      299.85
 75020039477 CVS   Philips Sonicare Brush Head For Kids 2 Brush Heads Pack HX6042 New                                     12.99              1    12.99 $       12.99
 86800195689 CVS   Neutrogena Smokey Kohl Eyeliner #40 DEEP NAVY                                                          10.99              1    10.99 $       10.99
300654274032                                                                                                                 19              1       19 $       19.00
733739075215 CVS   NOW Essential Oils, Ultrasonic Real Bamboo Aromatherapy Oil Diffuser, Extremely Quiet, Heat F          49.99     42.4     1    49.99 $       49.99
 45242602926 CVS   Milwaukee 48‐73‐1073 Bolt Sun Visor                                                                    19.65              1    19.65 $       19.65
731398503018 CVS   Craig Csh301 Smart Socket Full Control Thru Smartphone                                                           8.99     2     8.99 $       17.98
 48107154912 CVS   GNC Mega Men Multivitamin Heart Immune Supplement 90 Caplets 04/2024                                   11.02              2    11.02 $       22.04
191848093436 CVS   Lithonia Lighting QTE P2 40K 120 THK DDB M6 LED Flood Light, 4000k, 40 watts, 4, 000 lumens, D            50              1       50 $       50.00
666151062252 CVS   Dermalogica Phyto‐Nature Firming Serum, Anti‐Aging Face Serum with Hyaluronic Acid ‐ Revitaliz          155      155     10     155 $     1,550.00
 75020105288 CVS   Philips Bikini Trimmer 2000 With Accessories. Great Price                                                 15              1       15 $       15.00
 32664736810 CVS   *2PACK* Cooper Wiring Motion Sensor w/Nightlight & Color Change Kit                                    60.84              1    60.84 $       60.84
 11017569664 CVS   Dr. Scholls Massaging Gel Advanced Insoles Womens Shoe Size W 6‐10 NEW NOS                              13.9              1     13.9 $       13.90
 47431907508 CVS   Marineland MAGNIFLOW 220 55‐Gallon Canister Filter ML90750‐900                                         92.19              1    92.19 $       92.19
 31604042752 CVS   Nature Made Multi + Omega‐3 for Her Lemon, Orange Strawberry 150 Gummies 09/24                         14.03              9    14.03 $      126.27
 26508275207 CVS   Moen Hutchinson Spot Resist Stainless Two‐Handle Kitchen Faucet 87048SRS                              109.97              1   109.97 $      109.97
748960498849 CVS   Ruffwear, Front Range Dog Harness, Reflective and Padded Harness for Training and Everyday, T          49.95    49.95     1    49.95 $       49.95
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651986410668 CVS   Born This Way Sunset Stripped Eyeshadow Palette                                                         58.5     21.3    7     58.5 $     409.50
 37155151745 CVS   15174B Danco 12N‐3H/C Hot/Cold Stem for Kholer Faucets ‐ Replacement Part                              34.86             1    34.86 $      34.86
764302295099 CVS   Nyakio Marula & Neroli Brightening Oil ‐ 1 fl oz                                                                32.99    1    32.99 $      32.99
 74523481011 CVS   Aqualife 0422900LF                                                                                        59             1       59 $      59.00
192333102749 CVS   Clinique Smart Clinical Repair Wrinkle Correcting Eye Cream for Women ‐ 0.5 oz Eye Cream              106.34    24.87    2   106.34 $     212.68
 37155370818 CVS   Danco Urinal Valve Repair Kit ‐ A‐42‐A Genuine Sloan Repair Part 11d                                   19.82             1    19.82 $      19.82
 15794016243 CVS   Country Life Quercetin+D3 90 VegCap exp:3/2024 #6243                                                   22.19             8    22.19 $     177.52
190623000003 CVS   Activate II Flea and Tick Prevention for Dogs | 4 Count | Small Dogs 4‐10 lbs | Topical Drops | 4 M    35.99    26.97    2    35.99 $      71.98
328785001631 CVS   Braun¬†No Touch¬†3‐in‐1¬†Thermometer¬†‐¬†¬†Touchless¬†Thermometer for Adults, Babies, T                74.99       55    1    74.99 $      74.99
 75137110854 CVS   Compound W 2 In 1 Treatment Kit Large Warts Freeze off Liquid Wart Remove 6/2023                       12.48             1    12.48 $      12.48
 41100600103 CVS   MiraFIBER Gummies, 8g Prebiotic Fiber and Metabolism Support, 72 Count                                 18.79             2    18.79 $      37.58
 87547552551 CVS   251XL black high yield ARBO ink cartridge                                                              12.88            14    12.88 $     180.32
747930054184 CVS   Soft Moisturizing Cream/0.5 oz.                                                                        85.88    78.99    1    85.88 $      85.88
670480981108 CVS   Enzymedica Digest, Full‐Range, Everyday Digestive Enzymes, Offers Fast‐Acting Gas & Bloating Re        52.99    33.14   10    52.99 $     529.90
 31262097095 CVS   Homedics UV Clean Sanitizer Bag Portable UV Light                                                         10             1       10 $      10.00
307667845143 CVS   Nicorette Lozenge‐ Nicotine mint Lozenges to Stop Smoking, 2 mg, Mint Flavor ‐ 144 ct‐ 2mg Cou         69.99    48.99    1    69.99 $      69.99
 33674103364 CVS   Natures Way Fortify Optima Women's Probiotic 7 Strains ‐ 30 Capsules Exp 10/2024                          15             3       15 $      45.00
 48107174057 CVS   GNC TriFlex Fast‐Acting, Joint Health Support, 120 Caplets, Exp: 11/2025                                37.4             9     37.4 $     336.60
191245192756 CVS   Gemmy 18" Airdorable Christmas Airblown Inflatable The Child Star Wars                                  27.7    24.99    1     27.7 $      27.70
 13803319460 CVS   Canon Pixma Fine 261 Color ink Cartridge                                                               14.94             3    14.94 $      44.82
 76280385847 CVS   Solaray Vitamin D‐3 and K‐2 60 Capsules 125 mcg 50 mcg Bone Strength VegCaps                           14.98             1    14.98 $      14.98
727783900456 CVS   New Chapter Turmeric Supplement, One Daily, Heart, Brain & Healthy Inflammation Support, Su            67.15     38.2    4    67.15 $     268.60
 74108376527 CVS   INFINITIPRO BY CONAIR Rose Gold Ceramic Flat Iron,Black, 1‐inch CS810NN                                19.45             1    19.45 $      19.45
 75137000148 CVS   Compound W Nitrofreeze Wart Remover                                                                       15             2       15 $      30.00
 80217000970 CVS   Pro‐Tec Wolo BA‐97 Heavy Duty Back Up Alarm New In Package                                                25             1       25 $      25.00
 75020070487 CVS    üîãPhilips Sonicare 6100 HX6877/21 üëâSTORAGE CASE & CHARGER ONLY üëàas Pictured üÜï                  19.99             3    19.99 $      59.97
 53891112734 CVS   FoodSaver Space Saving Vacuum Sealer VS1120                                                               38             5       38 $     190.00
 32886076336 CVS   NEW ‐ Southwire Romex Simpull 8/3 50ft NM‐B Indoor Cable w/Ground Wire 63949232                        149.9             1    149.9 $     149.90
 20525104342 CVS   Schiff MegaRed Superior Omega‐3 Krill Oil 60 Softgels 350 mg EXP 07/24                                    14            12       14 $     168.00
 32886266072 CVS   Southwire 25‚Äô Outdoor Copper Wire w Ground 600V 12/2 UF‐B                                            29.95             1    29.95 $      29.95
 11017404668 CVS   Dr. Scholl's CF210 Custom Fit Orthotic Inserts 1 pair                                                  29.99             2    29.99 $      59.98
 45908068677 CVS   Farberware Edgekeeper 5 Inch Santoku Knife With Self Sharpening Sleeve                                 16.44             1    16.44 $      16.44
680270703735 CVS   Power Plate Addaday Oscillating Sphere Massager ‐ Blue                                                 59.99             1    59.99 $      59.99
 42526916564                                                                                                              55.45    28.16    1    55.45 $      55.45
 35886415846 CVS   Henckels Statement 7‐pc Self‐Sharpening Fine Edge Knife Block Set ‐ Open Box ‐                         92.95             1    92.95 $      92.95
 12381197460 CVS   Chamberlain Replacement Safety Sensors 820CB With Auto‐ Reversing Safety                               18.99             2    18.99 $      37.98
689304188890 CVS   Anastasia Beverly Hills ‐ Nouveau Palette                                                                         55     2       55 $     110.00
 69055132982 CVS   Oral‐B Pro 1000 Electric Toothbrush with (1) Brush Head, Rechargeable                                     46             1       46 $      46.00
 48107211448 CVS   GNC Triple Strength Glucosamine Chondroitin ‐ 120 Caplets                                              26.49             3    26.49 $      79.47
 74427868543 CVS   Dungeons & Dragons Heavy Metal Black Red RPG 7 Dice Set Ultra Pro Sealed 2019                             37             1       37 $      37.00
 75020092441 CVS   Philips Sonicare ‐ Philips One by Sonicare Battery Toothbrush ‐ (B4)                                    15.5             4     15.5 $      62.00
 74299135132 CVS   Barbie Hot Skatin' Ken Doll Bend and Move Body 1994 Mattel 13513                                       44.95             1    44.95 $      44.95
651986008087 CVS   Too Faced Double The Sex Mascara Set                                                                      42      16     2       42 $      84.00
 70896513687 CVS   Wilton Deluxe Cake Decorating Kit with Piping Tips and Pastry Bags 46‐Piece                            19.99             1    19.99 $      19.99
672421012209 CVS   Guardian Fall Protection 01220 6‐Foot Single Leg Shock Absorbing Lanyard                               49.98    48.93    1    49.98 $      49.98
700146100151 CVS   Buckle‐Down Seatbelt Buckle Dog Collar ‐ Lightning McQueen Poses FR/95 Checker Black/White/            25.99             1    25.99 $      25.99
300236954307 CVS   Refresh Digital PF Lubricant Eye Drops, Preservative‐Free, 0.01 Fl Oz Single‐Use Containers, 30 Co     21.49     12.7    1    21.49 $      21.49
 16963396005 CVS   HeathZenith SL‐9601‐00 Smart Doorbell Motion Sensor                                                     24.9             1     24.9 $      24.90
755970460308 CVS   Nutramax Laboratories Dasuquin with MSM Joint Health Supplement for Small to Medium Dogs               49.99    49.99   50    49.99 $   2,499.50
660685127999 CVS   Canon PGI‐2200 XL 4 Color Value Pack                                                                  110.99   109.98    2   110.99 $     221.98
 33287161270 CVS   Ryobi 2 Peak HP EVS Plunge Base Router 10‐Amp ‐ RE180PL1G                                              75.98             1    75.98 $      75.98
 74312012488 CVS   Nature‚Äôs Bounty Optimal Solutions Metabolism Booster 60 Capsules Exp 12/2024                         13.95             1    13.95 $      13.95
 46135321511 CVS   SYLVANIA 9005 SilverStar High Performance Halogen Headlight Single (1) Bulb                            11.99             2    11.99 $      23.98
 15561104463 CVS   Fluval 307 Perfomance Canister Filter ‐ for Aquariums Up to 70 Gallons Aquariums                      159.99             1   159.99 $     159.99
194250037067 CVS   Laura Mercier Translucent Loose Setting Powder Light Catcher Honey Star                                         94.04    1    94.04 $      94.04
 45242571154 CVS   NEW Milwaukee 49‐25‐1522 Universal Fit Carbide Teeth Blades 2 PK OPEN‐LOK ANCHOR                       17.93             3    17.93 $      53.79
740275044636 CVS   Secret Extensions ‐ Hair Extensions by Daisy Fuentes, Brown/Black                                      39.99    73.28    4    39.99 $     159.96
651986009541 CVS   Too Faced Pinker Times Ahead Eyeshadow Palette                                                         39.75    18.79    1    39.75 $      39.75
 31262073006 CVS   Homedics Ellia Ultrasonic Aroma Diffuser Color Changing ‐ NEW                                          19.95             3    19.95 $      59.85
655199634682 CVS   K&H Pet Products Pet Bed Warmer, Turn Any Cat or Dog Bed Into a Heated Cat or Dog Bed, Wate            40.99    29.11    2    40.99 $      81.98
605592263439 CVS   Nexxus Hydra‐Light Conditioner, Moisturizing Conditioner, Dry Hair Conditioner, Silicone Free 13       15.99    16.45    1    15.99 $      15.99
609863057048 CVS   Topricin Foot Pain Relief Cream, 4                                                                     16.04    18.97    1    16.04 $      16.04
601842703267 CVS   Trek Commuter Comp R Flare R City Bike Light Set                                                      114.98   114.98    2   114.98 $     229.96
 74469516549 CVS   Joico K‐Pak Color Therapy Luster Lock Instant Shine & Repair 5.1 oz                                    12.45             1    12.45 $      12.45
 29695213298 CVS   Petmate Soft Sided Kennel Cab Pet Carrier ‐ Black 17‚Äù x 10‚Äù x 10‚ÄùÔøº Up to 10lbs.                 20.4             2     20.4 $      40.80
 19954911652 CVS   D'Addario NYXL1052 Electric Guitar Strings Light Top Heavy Bottom 10‐52                                12.33             2    12.33 $      24.66
 19954925710 CVS   D'Addario ECB81‐5 Chromes XL Flatwound Bass Strings ‐ Light Gauge                                      48.59             7    48.59 $     340.13
726000104134                                                                                                              33.78             4    33.78 $     135.12
 48231784337 CVS   3 Pack ‐ Replacement Refrigerator Air Filter Fits LG LT120F (LT120)                                     8.94             1     8.94 $       8.94
 20335901353 CVS   Fiskars Lia Griffith 8 Inch Clear Stamps Wedding Day Bride Groom Cards Photos                          17.98             1    17.98 $      17.98
755970407723 CVS   Cosequin DS Max Strength + MSM & Boswellia Joint Health Dogs 60 chew #7723 2025                           18            37       18 $     666.00
 26508262351 CVS   Moen Caldwell Chrome 2‐handle 4‐in Centerset Bathroom Sink Faucet with drain                              50             1       50 $      50.00
 13803215540 CVS   Canon Pixma 246 XL Ink Cartridge Color ‐ New SEALED OEM Original Genuine                               18.99             6    18.99 $     113.94
 10536271317 CVS   Putco Metal 360 LED Advanced Technology Lights‐ 735‐0176 7443                                          14.99             1    14.99 $      14.99
 90174476374 CVS   AMERICAN CREW Firm Hold Styling Gel ‐ Non‐Flaking ‐ 13.1 Oz. ‐NEW                                      22.98             2    22.98 $      45.96
687735301017 CVS   Pacifica Beauty, Sea Foam Face Wash, Daily Gentle Foaming Cleanser, With Coconut Water + Sea              10    13.33    1       10 $      10.00
753950002050 CVS   Doctor's Best Ubiquinol with Kaneka QH, Non‐GMO, Gluten Free, Soy Free, Heart Health, 100 mg           54.99     30.8    1    54.99 $      54.99
312547115629 CVS   Listerine Ready! Tabs Whitening Chewable Tablets with Polar Mint Flavor to Help Fight Bad Brea         29.99             1    29.99 $      29.99
765809129399 CVS   Napa Gold Oil Filter 7047 Pack of 1                                                                    10.16    13.95    1    10.16 $      10.16
765809151291 CVS   Napa Gold Fuel Filter 3206 (BOX 2,8)                                                                   11.99             1    11.99 $      11.99
 87547556641 CVS   HP 63 (F6U61AN) Tri‐Color Ink Cartridge                                                                 9.95             7     9.95 $      69.65
 72879294811 CVS   DRITZ NOTIONS 740‐9‐T DRITZ FASHION GROMMET KIT WHITE 8PC W TOOL..1/2"                                 12.99             2    12.99 $      25.98
 78477639641 CVS   Leviton R06‐LB115‐ASR Circuit Breaker ‐ White                                                          45.94             1    45.94 $      45.94
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194252626542 CVS   Apple Watch Band ‐ Sport Band (41mm) ‐ Midnight ‐ Regular                                              49             1       49 $      49.00
 37000813675 CVS   Good Skin MD Rescue Cream Hypoallergenic Sensitive Skin Fragrance Free 1.7 oz                         8.4             1      8.4 $       8.40
 72879302523 CVS   Dritz Assorted Needles, 360pc                                                                       13.99             1    13.99 $      13.99
 31604042714 CVS   Nature Made Hair Skin & Nails Dietary Supplement 120 Softgels exp:2/24 #2714                           12             4       12 $      48.00
711622000070 CVS   Crown Premiums Sinclair 1948 BMC Oil Tanker Vintage Collectible Pedal Car Bank                      25.75             1    25.75 $      25.75
 78477498477 CVS   LOT OF 3 Leviton 20A Industrial Grade Heavy Duty Self Duplex White 5352‐ws                             25             2       25 $      50.00
666151030978 CVS   Dermalogica Super Rich Repair (1.7 Fl Oz) Anti‐Aging Super‐Concentrated Face Moisturizer ‐ Help        78       94   12       78 $     936.00
655199010905 CVS   K&H Pet Products Outdoor Heated Dog Pad Tan Large 25 X 36 Inches                                   165.99    72.95    2   165.99 $     331.98
 30878132053 CVS   Uber Touch Slim Bluetooth Keyboard Black                                                               15            13       15 $     195.00
760823007241 CVS   Black Gold Ascent Verdict Single Pin (.019) Right Hand Bow Sight, Black ‐ AV1                               249.95    4   249.95 $     999.80
 26508326046 CVS   Moen 82504BL Lindor TUB SPOUT ONLY Single Handle and Shower Faucet, Matte Black                     51.44             1    51.44 $      51.44
743184023365 CVS   Echo DPB2500C1 56V Handheld Blower                                                                          359.55    1   359.55 $     359.55
 79976202862 CVS   Hopkins Heavy Duty Towing Trailer 6' Jacketed Cable Connector w/Light #20286                        17.49             1    17.49 $      17.49
 80596039615 CVS   Dremel MM488BU Universal Dual Interface Carbide Bi‐Metal Wood Blade Variety Set                      8.88             2     8.88 $      17.76
689076195782 CVS   Kinky Curly Curl Custard Gel, 8 oz                                                                   24.7      20     1     24.7 $      24.70
 77985004644 CVS   Rainbird SST‐400 4 Station Irrigation Timer New open Box                                            36.75             1    36.75 $      36.75
 73852009699 CVS   PURELL Advanced Hand Sanitizer Foam Refill, 1200 mL Refill                                          58.49    52.14    3    58.49 $     175.47
 97855166470 CVS   Logitech Folio Touch Keyboard Case for Apple iPad Air 4th Gen. ‐ Oxford Gray                        54.99             2    54.99 $     109.98
 72879824650 CVS   NEW‚Äº DRITZ Premium Clothesline for Laundry/Crafts 100ft. Off White ‚Ä¢ FREE S/H‚Äº                 8.95             1     8.95 $       8.95
 42899708155 CVS   REESE Towpower Barrel Style Trailer Hitch Towing Receiver Lock 7081500                              12.59             1    12.59 $      12.59
730852172845 CVS   Shiseido Ultimune Power Infusing Concentrate, Antioxidant Anti‐Aging Face Serum, 50mL               69.91            16    69.91 $   1,118.56
631257121202 CVS   Renew Life Ultimate Flora Adult Ultimate Care Probiotic, 150 Billion, 30 Caps (Package May Vary)    69.99    54.98    8    69.99 $     559.92
 86429361991 CVS   METRA Full Retractable POWER ANTENNA AM/FM for front or rear location PWANT                         67.99             1    67.99 $      67.99
 46838076831 CVS   JVC GUMMY WIRELESS HEADPHONE HA‐FX9BT‐G‐J                                                              15            13       15 $     195.00
 28905764421 CVS   Plumb Craft Waxman 7644200T Universal Flush Lever Handle                                             9.94             1     9.94 $       9.94
 48503005061                                                                                                           29.95             1    29.95 $      29.95
 24500614239 CVS   Personna Slotted Double Edge Square Corner Carpet Blades 100 Pack 61‐0423 NEW                       14.98             1    14.98 $      14.98
651986007851 CVS   Too Faced Better Than Sex Volumizing & Lengthening Mascara Chocolate                                 29.5       22    4     29.5 $     118.00
671090010318 CVS   Woodford 19CP‐10 Model 19 Wall Faucet, 10‐Inch, CP Inlet                                             56.4    65.95    6     56.4 $     338.40
651473712978 CVS   Perricone MD Cold Plasma Plus+ The Intensive Hydrating Complex, 1 oz.                                105      105     3     105 $      315.00
635833406806 CVS   Linen Store Microsuede Slipcover Furniture Protector Cover, Perfect for Pets, Taupe, Sofa           39.99    23.99    1    39.99 $      39.99
324286151912 CVS   Ocusan Eye Drops for Red Eyes ‐ Eye Whitener Drops for Redness Relief ‐ Soothe Red Irritated Ey     18.16    19.24    1    18.16 $      18.16
 51221282157 CVS   Clover Takumi Bamboo Circular Knitting Needles (3016/24‐17) No. 17                                   9.95             1     9.95 $       9.95
 79976472357 CVS   IMPULSE Hopkins Towing Solutions (#47235) Trailer Brake Control 2357OB                                 40             1       40 $      40.00
666151020467 CVS   Dermalogica Daily Microfoliant (2.6 Fl Oz) Exfoliator Face Scrub Powder ‐ Achieve Brighter, Smoo       50      65     2       50 $     100.00
 15561106108 CVS   CompatiblePad For FishTank Filter Pouch/Bag 20/Mini,30/150,50/200,70/300,110/500                    13.98             1    13.98 $      13.98
 16963541221 CVS   Heath Zenith Secure Home Motion Sensor Security Light SH‐5105‐BZ                                    25.97             2    25.97 $      51.94
658010118323 CVS   Garden of Life, Dr. Formulated Women's Probiotics Once Daily, 16 Strains, 50 Billion, 30 Capsules   39.95    34.49    7    39.95 $     279.65
733132142026 CVS   Elixir Strings Nickel Plated Steel 5‐String Bass Strings w NANOWEB Coating, Long Scale, Light (.04   100     48.99    2     100 $      200.00
 78477112281 CVS   Leviton Decora Smart Wi‐Fi Voice Dimmer with Alexa Built‐In No Hub Required                            98             1       98 $      98.00
762799273163 CVS   JOHNSON Marine 27‐316 Hand Crimp Turnbuckle For 3/16‚Äù Wire. Ôøº                                      13             5       13 $      65.00
 42526930959 CVS   IRWIN 1/2‐in Carbide‐Tipped Cove Router Bit 1901001. B85                                            10.92             1    10.92 $      10.92
651473535409 CVS   Perricone MD Essential Fx Acyl‐Glutathione Deep Crease Serum 1.01 fl oz (Pack of 1)                  185      185     1     185 $      185.00
 35000989086 CVS   Colgate SuperNova LED Teeth Whitening Kit 30 Treatments *EXP 10/2023*                               25.16             3    25.16 $      75.48
 20335069305 CVS   FISKARS TRIGGER ROTARY CUTTER 45MM (185710)                                                         11.95             8    11.95 $      95.60
628250900927 CVS   Diggs Groov Navy Training Aid, Treat Dispensing Toy Dog Crate, 5.9" L X 3.9" W X 3" H               34.99    41.98    4    34.99 $     139.96
691759035391 CVS   Kuzco Lighting EW71311‐BK Casa ‐ 31W LED Outdoor Wall Mount‐8.25 Inches Tall and 8.25 Inche          168     142.8    3     168 $      504.00
 27131771944 CVS   Estee Lauder Sumptuous Extreme Lash Multiplying Volume Mascara ‐ FULL size                          11.95             1    11.95 $      11.95
729238172821 CVS   Shiseido Ultimune Power Infusing Concentrate Mini ‐ 15 mL ‐ Antioxidant Anti‐Aging Face Serum          38      38    10       38 $     380.00
 43168330244 CVS   2 Philips 40w Equivalent ST19 Dimmable LED Vintage Amber Glass Edison Bulb (134                     14.99             1    14.99 $      14.99
 87547552605 CVS   NEW Canon PG‐260XL Black Ink Cartridge                                                               26.5             1     26.5 $      26.50
718103218849 CVS   Staples 1171104 9.5‐Inch Thermal & Cold Laminating Machine                                         171.99    42.27    1   171.99 $     171.99
 18084998045 CVS   AVEDA Shampure Nurturing SHAMPOO 8.5 oz New                                                         16.95             3    16.95 $      50.85
 13627109537 CVS   EasyHeat AHB‐016 Heating Cable                                                                      19.62             2    19.62 $      39.24
300239637085                                                                                                           35.73             2    35.73 $      71.46
555000084401 CVS   AquaLung Titan Regulator                                                                             475      440     1     475 $      475.00
655100283985 CVS   Truly Dragon Milk Anti‐Blemish Body Lotion, 8 OZ, Vegan, Cruelty‐Free, Made in USA, Smoothes Skin, Reduc      31.9    1     31.9 $      31.90
 49022977006 CVS   Infinitive 64GB SDXC Memory Card                                                                     5.98             2     5.98 $      11.96
740985279298 CVS   Calm Paws Dog Relax & Recovery Shirt, Large/X‐Large                                                 34.99    25.98    1    34.99 $      34.99
 37000813682 CVS   Brand NEW Good Skin MD Night Cream 1.7 oz / 48g                                                      9.29             9     9.29 $      83.61
633422051826 CVS   Host Defense, Chaga Extract, Antioxidant and DNA Support, Mushroom Supplement, Plain, 2 Fl O        29.21    29.21    4    29.21 $     116.84
 48107154929 CVS   Exp 04/2024 GNC Mega Men Energy&Metabolism 90 Caplets                                               16.88             7    16.88 $     118.16
723122190816 CVS   MagniLife Pain & Inflammation Relief Foam, Natural Muscle, Joint, and Arthritis Pain Relief ‐ 4oz            18.99    2    18.99 $      37.98
 11502323221 CVS   Transmitter ONLY for Maverick Wireless Remote Cooking Thermometer Model HD32                        15.55             1    15.55 $      15.55
317163031698 CVS   API POND ALGAEFIX Algae Control 1‐Gallon Bottle                                                     96.98    68.98    2    96.98 $     193.96
192333074633 CVS   CLINIQUE Superbalanced‚Ñ¢ Makeup Foundation Porcelain Beige                                            35    29.99    1       35 $      35.00
 77985004668 CVS   Rain Bird SST‐900in 9 Zone Irrigation Timer ‐ DOES NOT include Adaptor                                 35             1       35 $      35.00
 92237621981 CVS   Roscoe Fingertip Pulse Oxygen Heart Oximeter ‐ NEW FAST FREE SHIPPING!!!                             7.15             1     7.15 $       7.15
195161936029 CVS   HP LaserJet Pro MFP 4101fdwe Wireless Black & White Monochrome Printer with HP+ Smart Off            539     538.9    1     539 $      539.00
658010114189 CVS   Garden of Life Multivitamin for Women 50 & Over, Vitamin Code Women 50 & Wiser Multi ‐ 240          78.99    60.59   13    78.99 $   1,026.87
754806121895 CVS   Trophy Ridge Quick Shot Whisker Biscuit Archery Arrow Rest, Right Hand, Medium                      49.99    39.99    1    49.99 $      49.99
729849164536 CVS   PetSafe Laser Tail ‐ Automatic Cat Laser Toy ‐ Interactive ‐ Relieves Anxiety ‐ Moves Around Floor  29.99    33.95    1    29.99 $      29.99
633911635872 CVS   CHI Original Ceramic Hair Straightener Flat Iron | 1 Inch Ceramic Floating Plates | Quick Heat Up   99.98       48    1    99.98 $      99.98
 47286978470 CVS   OPTRONICS GLOLIGHT TLL112RK TRAILER LIGHT KIT BRAND NEW #470                                        29.75             3    29.75 $      89.25
694603000002 CVS   Australian Dream Arthritis Pain Relief Cream ‐ Soothing, Non‐Greasy Pain Relief Cream ‐ Powerfu     24.99    24.24    8    24.99 $     199.92
 48107211691 CVS   GNC alpha‐Lipoic Acid 600mg 60 Caplets Exp2025 #1691                                                   26             2       26 $      52.00
 46677603571 CVS   WiZ Smart Lightstrip Extension 603571 WiFi Voice Control 3 Feet 800LM Multicolor                     6.99             6     6.99 $      41.94
 97612370027 CVS   Zoo Med Repti Temp Digital Infrared Thermometer                                                      9.25             2     9.25 $      18.50
 79976202459 CVS   Hopkins Towing Solutions Trailer Jacketed Cable Connector 6' Part No 20245 NEW                      21.21             2    21.21 $      42.42
 92644935039 CVS   Klein Tools 935RBLT Lighted Torpedo Billet Level, Rare Earth Magnet                                  36.5             1     36.5 $      36.50
 51494200285 CVS   NEW MegaFood Thyroid Strength, 60 Tablets ‐ Exp. 6/25 Fast Free Shipping Bin12                      27.99             3    27.99 $      83.97
 27557528016 CVS   Lutron DVW‐600PH‐IV / Ivory 600W Contemporary Dimmer Model DVW‐600PH‐IV JS5                         10.75             4    10.75 $      43.00
194248007027 CVS   bareMinerals BAREPRO 16Hr Skin‐Perfecting Powder Foundation 8g Light 25 Coo                            34      38     1       34 $      34.00
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 734748160442 CVS   Iwata Fluid Nozzle .6Mm Hp‐G6                                                                          86.26   131.98    1    86.26 $      86.26
 194251070346 CVS   NARS Light Reflecting Foundation ‐ Advanced Makeup‐Skincare Hybrid 30ml (Siberia 0) 1 Ounce               59       31    3       59 $     177.00
 693465303115 CVS   Vital Nutrients Calcium and Magnesium Complex | Vegan Supplement | Support Bone Strength,               15.9     15.9    1     15.9 $      15.90
 751492569772 CVS   PNY 128GB Turbo Attache 3 USB 3.0 Flash Drive, GREY                                                    12.99    11.44    4    12.99 $      51.96
  31604031275 CVS   Nature Made Prenatal Gummies 58 mg DHA ‐ Mixed Berry ‐ 60 ct 07/2024                                   11.85             1    11.85 $      11.85
  46135316456 CVS   Sylvania Silverstar 9004 ST/2 Pair Set High Performance Headlight Bulbs NEW                               14             1       14 $      14.00
  52309721452 CVS   BECKETT 130 GPH Pool Cover Pump (Model: M130APCP) *FREE SHIPPING*                                      32.99             2    32.99 $      65.98
  31604030254 CVS   Nature Made Wellblends Immune & Resp.‐ 50 Caps ‐ **LOT OF 3 **Exp. 01/2024                                 9            13        9 $     117.00
 737257834583 CVS   NEW Top Paw Comfort Dog Harness Pink XXS XX Small 13‐16‚Äù Girth                                       14.56             1    14.56 $      14.56
  46034903429 CVS   New Dirt Devil Endura Express Bagless Compact Upright Vacuum Cleaner UD70171                           54.99             1    54.99 $      54.99
  17801521306 CVS   NOS! FEIT ELECTRIC DIMMABLE PAR20 FLOODLIGHT LED BULB, 50W, PAR20/830/LEDG11(C1)                       11.59             2    11.59 $      23.18
 633356606215 CVS   We R Memory Keepers Foil Quill‐ Fine Tip Pen (6 Piece), 1 Count                                      244.43     31.99    1   244.43 $     244.43
  13658161689 CVS   GERBER SUSPENSION NXT STAINLESS STEEL MULTI TOOL 15 TOOLS IN 1‐BRAND NEW SEALED                        27.99             1    27.99 $      27.99
  19495389507 CVS   674‐912 Dorman Exhaust Manifold Driver Left Side Hand for Jeep Grand Cherokee                          82.95             1    82.95 $      82.95
  48107207687 CVS   GNC Women's Ultra Mega Multivitamin, 90 Caplets, Exp 03/24                                                26             1       26 $      26.00
 658010118576 CVS   Garden of Life Prenatal Vitamin: Folate for Energy & Healthy Fetal Development, Non‐constipatin        99.95    71.15    3    99.95 $     299.85
 732013302733 CVS   NEOSTRATA PHA Renewal Face Pads, with Gluconolactone, Green Tea and Cucumber Extracts fo                  45       45    1       45 $      45.00
 444800318819 CVS                                                                                        4.448E+11         35.12             1    35.12 $      35.12
 750845831399 CVS   Canon Ink 40‐41 Cartridges Photo Paper Combo Pack CNM0615B009                                          57.99    44.79    5    57.99 $     289.95
  27557135924 CVS   Lutron Diva Electronic Low Voltage Dimmer White DVELV‐300PH‐WH , J                                     52.97             2    52.97 $     105.94
 700064932384 CVS   EcoVessel WAVE Tritan Plastic Sports Water Bottle with Flip Straw Top ‐ 25 Ounces ‐ Peony Pink         13.95             1    13.95 $      13.95
 660685174252 CVS   Canon PGI‐280XL PGBK/CLI‐281CMY, 50 Sheets PP‐301 Combo Pack Compatible to TR8520, TR75                66.99    65.98    6    66.99 $     401.94
 633356709077 CVS   We R Memory Keepers‐ Crop‐A‐Dile for Eyelets | Blue Comfort Handle                                     40.99    30.69    2    40.99 $      81.98
 737257952508 CVS   NEW! Great Choice Pink/Black 16ft Tape Retractable Leash ‐ MEDIUM                                         10             3       10 $      30.00
  47400671928 CVS   Gillette Mach3 1 Razor Plus 5 Cartridges ~ NEW                                                         15.45             4    15.45 $      61.80
  70030165154                                                                                                              14.99            34    14.99 $     509.66
  45242593811 CVS   Milwaukee Universal Fit Multi‐Material Blade Variety Pack 3pk 49‐10‐9005 NEW!!!                           15             9       15 $     135.00
  43168899932 CVS   GE LED Soft White 75W Dimmable 1 LED A‐21 bulb Brightness 1100 Lumens !!                                7.75             3     7.75 $      23.25
 191908452036                                                                                                                 40             1       40 $      40.00
  22506474772 CVS   Spectrum Essentials Softgels Vegan Ultra Omega ‐ 3, 60 Ct, Exp 5/24 NEW SEALED                         12.59             1    12.59 $      12.59
 736101609476 CVS   360 Lighting Color LED Tape Light Kit 16 1/2‐Foot with Remote Control                                  59.99    59.99    1    59.99 $      59.99
 658010111560 CVS   Garden of Life Whole Food Probiotic Supplement ‐ Primal Defense HSO Probiotic Dietary Supplem          85.38       59    2    85.38 $     170.76
  77924058745 CVS   For Weber, For Char Broil Grill Cover By Unicook Fits Most 3 Burner Grills                             25.45             2    25.45 $      50.90
 371730000043 CVS   hims everyday moisturizer for men ‐ Energize Skin, Lock in Hydration ‐ Hyaluronic Acid, Shea Butter, Lightwe     9.99    4     9.99 $      39.96
 633356610540 CVS   We R Memory Keepers Spin IT Tumbler Turn, Multi                                                                 45.27    2    45.27 $      90.54
 689304271035 CVS   Anastasia Beverly Hills ‐ Blush Trios ‐ Peachy Love                                                       30       30    1       30 $      30.00
 741805747218 CVS   NEW NORDIC Hair Volume Tablets | 3000 mcg Biotin & Biopectin Apple Extract | Supports Natur               50    35.97    3       50 $     150.00
 765809153318 CVS   NAPA Gold Fuel Filter 3487                                                                             21.95             1    21.95 $      21.95
 191518471878 CVS   Creatology 70 Art Piece Set With Metal Trim Case                                                       27.45             1    27.45 $      27.45
  72783931864 CVS   Dexcom CGM G6 Adhesive Patches 20ct. NOT JUST A PATCH. New                                             18.88             4    18.88 $      75.52
 689304051040 CVS   Anastasia Beverly Hills ‐ DIPBROW Pomade ‐ Dark Brown                                                     21       21    1       21 $      21.00
 727072551123 CVS   Sulky Sticky Roll‐12 x 6yd | Pack of 1 Self‐Adhesive Tear‐Away Stabilizer Roll, 12" x 6 yd, Clear    118.76        19    3   118.76 $     356.28
 673419355704 CVS   LEGO Icons Optimus Prime 10302 Transformers Figure Set, Collectible Transforming 2‐in‐1 Robot 179.99           191.19    2   179.99 $     359.98
 190623000706 CVS   TevraPet Actispot II Flea Treatment for Small and Medium Cats 5‐9 lbs | 6 Doses | Powerful Prev        39.99    29.97    3    39.99 $     119.97
 658010124331 CVS   Garden of Life Dr. Formulated Platinum Series Skin+ 90 Billion CFU Guaranteed, 12 Probiotic Stra       54.99             1    54.99 $      54.99
 758302034994                                                                                                              31.04             2    31.04 $      62.08
  15561104708 CVS   For Aquarium Fish Tank Underwater Filter Cartridge U2,U3,U4 Poly Foam Compatible                       10.98             1    10.98 $      10.98
 731398444274 CVS   Craig Electronics Bluetooth Activity Tracker (CC427)                                                   29.99     7.99    1    29.99 $      29.99
  15561143455 CVS   Fluval Sea CP1 Circulation Pump for Freshwater & Saltwater Aquariums, 14345                            18.99             1    18.99 $      18.99
 631257121226 CVS   Renew Life Probiotic Colon Care Probiotic Capsules, Daily Supplement Offers Colon Support, L. R        49.99    34.55    2    49.99 $      99.98
 310742010749 CVS   Rohto Cool Redness Relief Eye Drops 0.4 Fl Oz                                                           5.43     8.62    3     5.43 $      16.29
  94925019155 CVS   NEW AMERICAN/CHALLENGER A250 TWO POLE 50 AMP BREAKER                                                      30             1       30 $      30.00
 731928040112 CVS   Systane ICaps Eye Vitamin & Mineral Supplement, Lutein & Zeaxanthin Formula, 120 Coated Tab            25.99    24.64    1    25.99 $      25.99
  86279175281 CVS   Cuisinart RHB 100 EvolutionX Cordless Rechargeable Hand Blender Knox Gear                               58.3             2     58.3 $     116.60
 381371196203 CVS   Aveeno Calm + Restore Daily Moisturizer Mineral Sunscreen with Broad Spectrum SPF 30, Lightw           26.29     11.4    1    26.29 $      26.29
 697687002023 CVS   Citlali Gourmet World's Finest Naturally Dried Vanilla Beans ‐ New                                      7.99             7     7.99 $      55.93
 733739001061 CVS   NOW Supplements 5‐HTP (5‐hidroxitriptofano) 100 mg, supports Neurotransmitter *, 120 vegan             31.99    17.36    2    31.99 $      63.98
  45564643850 CVS   Campbell Hausfeld 1‐5/8" Air Chisel/Hammer TL 1103                                                     29.25             1    29.25 $      29.25
 898571000624 CVS   It's a 10 Haircare Silk Express Miracle Silk Leave‐In Product, 4 fl. oz.                               21.96    14.99   16    21.96 $     351.36
 883778122156 CVS   Bryant Electric GFRST20W 20 Amp 125V Commercial/Residential Self Test Duplex GFCI Receptac              30.1    27.44   10     30.1 $     301.00
 797801034647 CVS   NaturVet Joint Health Level 3 Dog Soft Chew, 15.2 oz., Count of 180, 180 CT                            55.99    42.99    7    55.99 $     391.93
 816657022476 CVS   Fenty Beauty by Rihanna Killawatt Freestyle Highlighter Lightning Dust/Fire Crystal                       40    24.97   33       40 $   1,320.00
 768990021558 CVS   Nordic Naturals Ultimate Omega 2X with Vitamin D3, Lemon Flavor ‐ 60 Soft Gels ‐ 2150 mg Ome           51.95       40    5    51.95 $     259.75
5033102829410 CVS   Ion Whisper Quiet Lite Ionic ‐ Ceramic Hair Dryer, 1875 Watts, Lightweight, Powerful, 4 Tempera        74.99    74.99    1    74.99 $      74.99
 810023370802 CVS   Kate Somerville KateCeuticals Firming Serum | Advanced Anti‐Aging Plumping & Firming Treatme            110      110     7     110 $      770.00
5000167323573 CVS   No7 Protect & Perfect Intense Advanced Eye Cream ‐ Under Eye Cream for Dark Circles and Puffi          17.98    17.98   10    17.98 $     179.80
5000167323665 CVS   No7 Protect & Perfect Intense Advance Serum ‐ 1 fl oz 30ml (BOX10)                                     13.85            11    13.85 $     152.35
3605971305924 CVS   URBAN DECAY All Nighter Long‐Lasting Makeup Setting Spray, Travel Size ‐ Award‐Winning Make               16       16   15       16 $     240.00
 819505013190 CVS   ThunderShirt for Dogs, XX Small, Platinum Sport ‐ Dog Anxiety Vest                                     39.95    39.95    2    39.95 $      79.90
 889192456419 CVS   Carhartt mens Loose Fit Heavyweight Short‐sleeve Pocket Henley T‐shirt Shirt, Carbon Heather, L        24.99    24.99    1    24.99 $      24.99
 773602000760 CVS   AcM MAC Powder Blush Melba                                                                                24    23.89   23       24 $     552.00
7323190069088 CVS   Hibiclens ‚Äì Antimicrobial, Antiseptic Soap and Skin Cleanser ‚Äì Foaming Pump Included ‚Äì 16 o      19.99    19.03    1    19.99 $      19.99
3474636920297 CVS   Redken Frizz Dismiss Conditioner | Weightless Frizz Control | Anti Frizz | Moisturize and Smooth          26       26   26       26 $     676.00
                    Kate Somerville Wrinkle Warrior | 2‐In‐1 Plumping Moisturizer + Face Serum | Instantly
 813920015906 CVS   Hydrates & Smooths Skin | 1.7 Fl Oz                                                                                98   4        98 $    392.00
 870192002430 CVS   Realeather Crafts T3220 Leather Rotary Punch, Multicolor                                                9.99    11.97   1      9.99 $      9.99
8011469957127 CVS   SICCE Whale 500 Aquarium Canister Filter 390 GPH | Ultra‐Quiet External Aquarium Multi‐Stage         211.99    219.99   1    211.99 $    211.99
3337871307745 CVS   Vichy Nutrilogie 2 Intense Moisturizer for Very Dry Skin, 24‐Hour Hydration Daily Face Cream to S         35       35   1        35 $     35.00
 859340007190 CVS   The Mane Choice ‐ Tropical Moringa Sweet Oil & Honey Endless Moisture Sealing Cream, 8 Ounc            14.99     9.25   2     14.99 $     29.98
 846733041435 CVS   tarte Maracuja Hydrating Tinted Moisturizer 36H medium‐tan honey                                                   30   1        30 $     30.00
3614273793285 CVS   Lanc√¥me Teint Idole Ultra Wear Buildable Full Coverage Foundation ‐ Longwear & Waterproof ‐              57       57   1        57 $     57.00
 810014320861 CVS   StriVectin Lactic Acid Nightly Retexturizing Serum, skin renewal overnight, with Vegan Lactic Acid        79            3        79 $    237.00
 885418012469 CVS   KERANIQUE Rejuvenate Hair Growth Follicle Strengthening SHAMPOO 8 oz SEALED                               20            1        20 $     20.00
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3365440616752 CVS   Yves Saint Laurent Rouge Pur Couture Pure Colour Satiny Radiance Lipstick, 17, 0.13 Ounce                45    49.99    2        45 $       90.00
 790011290629 CVS   Jarrow Formulas MagMind Brain Health with Magtein (Magnesium L‐Threonate), Dietary Supple             38.95    25.46    9     38.95 $      350.55
 768990017414 CVS   Nordic Naturals Prenatal DHA, Unflavored ‐ 90 Soft Gels ‐ 830 mg Omega‐3 + 400 IU Vitamin D3 ‐        28.95    24.61    2     28.95 $       57.90
 810763034019 CVS   Fenty Beauty by Rihanna Stunna Lip Paint Longwear Fluid Lip Color Undefeated                             28    13.38    4        28 $      112.00
 851722007149 CVS   EOSERA Wax Blaster MD Refill Pack ‐ Ear Clean MD Powder for Enhanced Ear Canal Care | 12 Pac           9.99     9.49    1      9.99 $        9.99
 811909034191 CVS   Focus Factor Macular Health Formula (60 Count) ‐ Eye Vitamins for Macular Support ‐ Lutein and        39.99    15.25   12     39.99 $      479.88
3606000538146 CVS   CeraVe Anti Aging Gel Serum for Face to Boost Hydration | With Ceramide Complex, Sunflower O          25.99    15.99   42     25.99 $    1,091.58
 773602344314 CVS   Mac Cosmetics/lip Pencil Ruby Woo .05 Oz (1.45 Ml)                                                       22     27.5    1        22 $       22.00
 850038254155 CVS   YIP Smart Tag Pet ID Tag and Tracker For Apple iPhone Oval Black                                      14.64             1     14.64 $       14.64
3337871330118 CVS   Vichy Id√©alia Night Cream for Face, Night Face Moisturizer and Anti Aging Cream with Hyaluron           35      35     1        35 $       35.00
 810569033056 CVS   Keratin Complex Personalized Blow Out Smoothing System                                               125.49             1    125.49 $      125.49
 885911548984 CVS   CRAFTSMAN Reciprocating Saw, 7.5 Amp, 3,200 RPM, Corded (CMES300)                                        86       69    1        86 $       86.00
5000167304299 CVS   No7 Radiance+ Brightening Vitamin C Moisturizer Face Cream, Skin Nourishing Face Moisturizer,         17.98    15.59    2     17.98 $       35.96
 850003742663 CVS   The Mane Choice Alpha Green Tea & Carrot Strengthening & Restorative Treatment Hair Mask, 1           18.99    11.98   10     18.99 $      189.90
 850003310442 CVS   TULA Skin Care Hello Radiance Illuminating Face Serum ‐ Brightening Serum, Target the Appeara            68    49.99    2        68 $      136.00
 887243063302 CVS   CARQUEST TEQ CORRECT PMD215H 4‐PACK SEMI‐METALLIC BRAKE PADS w/HARDWARE *KR                           38.99             1     38.99 $       38.99
3606000591035 CVS   La Roche‐Posay Anthelios UV Correct Sunscreen Moisturizer SPF 70, Daily Anti‐Aging Face Moistu        36.99    36.99   23     36.99 $      850.77
 841186104591 CVS   Gooby Escape Free Easy Fit Harness ‐ Turquoise, X‐Small ‐ No Pull Step‐in Patented Small Dog Ha       32.99    32.99    1     32.99 $       32.99
 857789002455 CVS   Stoneblade Entertainment SolForge Fusion Booster Kit                                                  29.99    14.25    4     29.99 $      119.96
 898571001508 CVS   It's a 10 Haircare ‐ Miracle Blow Dry Glossing Leave‐In, Deep Conditioning, De‐Frizz, Add Shine, 1    20.95             7     20.95 $      146.65
 800443352021 CVS   you & me 50FT Canine Zipline Tie‐Out with Trolley Dogs up to 100lb #2021                              30.99             1     30.99 $       30.99
 884486164025 CVS   Biolage Normalizing Clean Reset Shampoo | Intense Cleansing Treatment To Remove Buildup |P               23    27.99    1        23 $       23.00
 840779150571 CVS   3M DBI‐SALA Hook2Hook Tether w/Swivel 1500159, 1 EA                                                   29.09    27.99    1     29.09 $       29.09
 773199720089 CVS   Richelieu 110 Degree Soft Close Hinge Opening BP71B36523180S                                          11.55             2     11.55 $       23.10
5060114797307 CVS   Scanstrut SC‐CW‐04E Rokk Wireless Active, Black                                                      123.94             1    123.94 $      123.94
 765809201330                                                                                                             14.28             1     14.28 $       14.28
3337875791885 CVS   La Roche‐Posay Niacinamide 10 Face Serum, Brightening and Anti‐Aging Facial Serum with 10% N          39.99            22     39.99 $      879.78
 819444010007 CVS   Onnit Labs, Alpha Brain, 30 Capsules                                                                  35.52    27.67   14     35.52 $      497.28
 768990027604 CVS   Nordic Naturals Omega‐3, Lemon Flavor ‐ 120 Soft Gels ‐ 690 mg Omega‐3 ‐ Fish Oil ‐ EPA & DHA         29.95    24.99   21     29.95 $      628.95
 800443292174 CVS   Good2Go Blue Front Walking Dog Harness, XL‐XXL                                                        19.99     32.9    1     19.99 $       19.99
 884486453532 CVS   Redken Frizz Control/Dismiss Shampoo | Weightless Anti Frizz and Humidity Protection for Smoo            26       26   61        26 $    1,586.00
 840117803640 CVS   amika bust your brass cool blonde repair conditioner, 8.45 Fl Oz (Pack of 1)                             28       28    1        28 $       28.00
3380810463170 CVS   Clarins Double Serum Eye | Anti‐Aging Eye Treatment | Visibly Smoothes, Firms, Hydrates and Re           83       83    2        83 $      166.00
3337875660570 CVS   La Roche‐Posay Pure Vitamin C Face Serum with Hyaluronic Acid & Salicylic Acid, Anti Aging Face       44.99    44.99   17     44.99 $      764.83
 891040701961 CVS   MOBI MobiCam¬Æ HDX Wi‐Fi Pan & Tilt Smart Nursery Monitoring Camera, Baby Video Monitor               49.99       44    1     49.99 $       49.99
 810053640012 CVS   BlendJet2 Portable Blender for Smoothies, Shakes, and more. Anytime, Anywhere. Fit in your cup        53.33             3     53.33 $      159.99
 817777008128 CVS   StriVectin Advanced Retinol Eye Cream for Fine Lines and Crow‚Äôs Feet, Firming and Hydrating            75             4        75 $      300.00
9781549199714 CVS   Trump, the Blue‐Collar President                                                                         30    10.66    1        30 $       30.00
 841351172547 CVS   Tzumi ON AIR Wave Mixer (7254ST)                                                                      53.36    33.95    1     53.36 $       53.36
 850156008548                                                                                                                90             3        90 $      270.00
 840163303576 CVS   Heavy Duty Presser Feet Kit,Silver                                                                    39.99    49.94    6     39.99 $      239.94
 893268000673 CVS   Good Clean Love Fertility Lubricant                                                                            12.45    1     12.45 $       12.45
 840317107180 CVS   FLEXI¬Æ New Neon Retractable Reflect Dog Leash (Tape), Ergonomic, Durable and Tangle Free P           29.99     18.8    6     29.99 $      179.94
 765809175259 CVS   NAPA Gold 7210 Oil Filter                                                                                18       18    1        18 $       18.00
 857479006039 CVS   PlayMonster Marbleocity Mini Skate Park                                                               29.99    27.76    1     29.99 $       29.99
 884486290670 CVS   CRAFTSMAN Versatrack Garage Hooks for Horizontal Bike (CMST82615VT)                                   19.98     9.79    4     19.98 $       79.92
 810033470240 CVS   quip Cordless Water Flosser ‐ Rechargeable Water Flosser for Teeth & Gums ‐ 2 Modes, Custom J         69.99    69.59    1     69.99 $       69.99
3522931003297 CVS   CAUDALIE Vinoperfect Dark Circle Brightening Eye Cream with Niacinamide                                  55       55    5        55 $      275.00
7640126630045 CVS   Alchimie Forever Purifying Gel Cleanser antioxidant‐rich Facial Cleanser With Anti‐Aging Benefits        43       43    3        43 $      129.00
 898571000389 CVS   It's A 10 Miracle Deep Conditioner Plus Keratin 5 Oz                                                  20.58    17.98   32     20.58 $      658.56
 896364002428 CVS   OLAPLEX No.4 Bond Maintenance Shampoo, 250 ml (Pack of 1)                                              19.5       30    1      19.5 $       19.50
                    Drunk Elephant D‐Bronzi Anti‐Pollution Sunshine Serum Drops. Replenishing Face and Body
 812343032064 CVS   Bronzing Serum for Fine Lines and Wrinkles (30 mL / 1 Fl Oz)                                                     38      2       38 $       76.00
8809803557283 CVS   Sulwhasoo Concentrated Ginseng Renewing Serum: Hydrates, Visibly Firm, Smooth, and Improve             210      210      4     210 $       840.00
3614270878312 CVS   Yves Saint Laurent Rouge Pur Couture ‐ # 70 Le Nu By Yves Saint Laurent for Women ‐ 0.13 Oz Lip          38     38.2     2       38 $       76.00
4033651385123 CVS   BeYu Velvet Mat Foundation Oil, Free, Honey Beige, 1 Fluid Ounce                                      11.99              3    11.99 $       35.97
 800443405864 CVS   NEW PINK Good2Go Padded Step‐In Harness for Dogs Size XS Extra Small¬†                                23.95              1    23.95 $       23.95
 883351593182 CVS   Kwikset Ladera Interior Passage Door Handle, Lever For Closet and Hallway Doors, Reversible No        20.97    45.85     7    20.97 $      146.79
3282770074758 CVS   Eau Thermale Av√®ne Trixera Nutrition Nutri‐Fluid Balm, Ceramides, Very Dry, Face and Body, Al           29              2       29 $       58.00
 785007173703 CVS   Legrand ‐ Pass & Seymour Radiant 15 Amp Light Switch, 3 Way Light Switch, Graphite Paddle Roc         16.69    15.04     3    16.69 $       50.07
3348901580069 CVS   Dior Homme Sport Eau de Toilette 125 ml                                                                130    112.22     1     130 $       130.00
 852900006534                                                                                                             40.99              9    40.99 $      368.91
 896364002770                                                                                                             29.61              2    29.61 $       59.22
 852304004051 CVS   emuaid Max First Aid Ointment, 2 Ounce                                                                 63.9      63    173     63.9 $   11,054.70
 768846037993 CVS   Feeney CR‐3799‐PKG SS Beveled Washer, 9/32" ID, Small (Pack of 4)                                        23      23      4       23 $       92.00
 822383102733 CVS   Drive Medical ‐ Chrome Shower Spray Massager with Adjustable Head, 84 Inch Hose, 3 Settings           38.97              8    38.97 $      311.76
 850093005228 CVS   Crystal Orchid Biotin Infused Styling Gel 454gr                                                       16.44              1    16.44 $       16.44
 884486156914 CVS   Matrix Biolage Styling Blue Agave Finishing Spritz Hair Spray, 16.9 Fl Oz                             27.05              1    27.05 $       27.05
 783209108950 CVS   Maxim Lighting 86128AL Lightray‐4.5W 1 LED Wall Sconce in Modern style‐4.25 Inches wide by 6           110               2     110 $       220.00
 767332102023 CVS   Murad Acne Body Wash ‐ Acne Control All‐Over Blemish Cleanser with Salicylic Acid & Green Tre            48       48     1       48 $       48.00
3605972259806 CVS   Urban Decay All Nighter Extra Glow Makeup Setting Spray ‐ Makeup Finishing Spray Infused with            36       36    31       36 $    1,116.00
3337875545778 CVS   La Roche‐Posay Toleriane Hydrating Gentle Face Cleanser, Daily Facial Cleanser with Niacinamide       16.99    16.99    17    16.99 $      288.83
 859764003563 CVS   Living proof Perfect hair Day 5‐in‐1 Styling Treatment, New Formula                                      33       33    15       33 $      495.00
                    Drunk Elephant A‐Passioni Retinol Anti‐Wrinkle Cream. Brightening, Restorative and Vegan Face
 812343032392 CVS   Cream with Vitamin F (30 mL / 1 Fl Oz)                                                                          73.8    3      73.8 $      221.40
 885911481557 CVS   DEWALT 20V MAX* Cordless Drill Combo Kit , Brushless, (DCK277C2)                                       249    271.41    1      249 $       249.00
4029011711114 CVS   Dornbracht 33500845‐000010 Single‐lever mixer                                                        606.81   606.81    2    606.81 $    1,213.62
 817387024006 CVS   Ultrasonic Cool Mist Humidifier with Optional Night Light for Small and Medium Rooms                           40.98    3     40.98 $      122.94
 784276804783                                                                                                            36.26              1     36.26 $       36.26
 810026272639 CVS   Alumilite Amazing Clear Cast Plus [16 oz A + 16 oz B(32 Ounces) 2 Part Kit] UV Resistant Plastic Co   44.8             11      44.8 $      492.80
 810022393987 CVS   HART 41‐Piece QUICK CHANGE TITANIUM DRILL & DRIVE BIT SET for WOOD METAL PVC + Quick Change Ada                19.48    2     19.48 $       38.96
 891038001318 CVS   Bio‐Oil Skincare Oil (Natural) Serum for Scars and Stretchmarks, Face and Body Moisturizer for D     14.24     16.99   12     14.24 $      170.88
 813843041907 CVS   CHI Volumizer 4‐in‐1 Blowout Brush | Ceramic and Ion Technology | Black                             106.99     72.99    2    106.99 $      213.98
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 879634012860 CVS   Josie Maran Argan Smooth Skin Resurfacing Serum ‐ Visably Smoother Complexion (25 mL | 0.85               35.49    35.49   1     35.49 $     35.49
 834893009464 CVS   Juice Beauty PREBIOTIX Hydrating Gel Moisturizer ‐ Nourishing Facial Moisturizer for All Skin Typ            52       52   6        52 $    312.00
3282770152371 CVS   Eau Thermale Av√®ne Cleansing Foam ‐ Soap‐Free Foaming Face Wash ‐ Normal, Combination, O                    22       22   2        22 $     44.00
3614272727267 CVS   Lanc√¥me R√©nergie Lift Multi‐Action Face Moisturizer With SPF 30 ‐ For Lifting, Firming & Visib           135             1      135 $     135.00
 842861110302 CVS   Ring Chime Pro                                                                                            59.99    59.99   4     59.99 $    239.96
                    No7 Advanced Ingredients Ceramide & Peptide Capsules ‐ Anti Aging Serum Helps Reduce Fine
5000167322606 CVS   Lines and Wrinkles ‐ Single Use Ceramide Capsules with Peptide Serum (30 Count)                                    16.87    1    16.87 $      16.87
5057566370073 CVS   Revolution Beauty London Skincare, Glycolic Acid Glow Overnight, Cream, 50ml                                 12             2       12 $      24.00
7350092139656 CVS   FOREO UFO 2¬†Red Light Therapy For Face ‐ An Aging¬†Face Moisturizer And¬†¬†Dark Spot Re                   299     179.4    6     299 $    1,794.00
 853036002728 CVS   ONE LOVE Organics Vitamin E Eye Balm 0.65oz ‐ Imperfect Box                                               31.41             2    31.41 $      62.82
 884486151957 CVS   Biolage Smooth Proof Serum | Hydrates & Heals Frizzy, Dry Hair | Paraben‐Free | Vegan | 3 Fl. O              26    25.16   17       26 $     442.00
4897054512308 CVS   Flame Toys Transformers Bumble Bee, Furai Model, Small                                                       50    57.98    2       50 $     100.00
5033102892704 CVS   Ion Luxe Cordless Flat Iron 1", Travel Friendly, 35 Minutes of Charge, 6 Heat Settings, Auto‐Shut O       89.99    89.99    2    89.99 $     179.98
 884486453310 CVS   Redken Color Extend Magnetics Conditioner | For Color Treated Hair | Protects Color & Adds Shi               25       26   15       25 $     375.00
 840102701630 CVS   Nanoleaf Shapes WiFi and Thread Smart RGBW 16M+ Color LED Dimmable Gaming and Home De                     99.99    89.99    1    99.99 $      99.99
 765809201286 CVS   Napa 7674 Gold Oil Filter                                                                                 10.39             1    10.39 $      10.39
 842861100860 CVS   Ring Rechargeable Battery Pack                                                                            34.99    34.99    1    34.99 $      34.99
3606000546103 CVS   La Roche‐Posay Anthelios Melt‐in Milk Body & Face Sunscreen Lotion Broad Spectrum SPF 100, O              26.99    26.99    1    26.99 $      26.99
7350120791337 CVS   FOREO Luna 4 go Face Cleansing Brush & Firming Face Massager | Premium Face Care | Enhance                 129      90.3    4     129 $      516.00
 850018802239 CVS   Olaplex. N¬∫.4P Blonde Enhancer Toning Shampoo                                                               32             2       32 $      64.00
3605971536090 CVS   Kiehl's Powerful‐Strengh Line‐Reducing Concentrate with Vitamin C 1.7oz (50ml)                            48.42             4    48.42 $     193.68
3337875792301 CVS   Vichy Normaderm BHA Exfoliating Serum | Salicylic Acid Acne Treatment for Face | Formulated w             44.99    44.99    3    44.99 $     134.97
3605972251282 CVS   Urban Decay Stay Naked The Fix Powder Foundation, 60WO ‐ Matte Finish Lasts Up To 16 Hours                   40             1       40 $      40.00
 782042765887 CVS   Inertia Pendant ‐ 36" ‐ Silver Leaf Finish with Crystal and Polished Stainless Prisms ‐ Crystal Diffus    5742     8991     1    5742 $    5,742.00
 765809188594 CVS   NAPA Gold 7302 Oil Filter                                                                                    14       14    1       14 $      14.00
3337871319144 CVS   Vichy Puret√© Thermale 3 in 1 Facial Cleanser, Multi Purpose Face Wash, Toner & Makeup Remo                19.5     19.5    1     19.5 $      19.50
 783643083981 CVS   SIEMENS Q23050CT2 30 One 50‐Amp Double Pole Circuit Breaker, As Shown in The Image                        43.89    33.04    1    43.89 $      43.89
 800443434703 CVS   Reddy Reflective Camo Dog Harness, Medium                                                                 28.99             1    28.99 $      28.99
 870883001605 CVS   Sun System Socket Assembly ‐ Short 5KV                                                                    32.95    25.95    1    32.95 $      32.95
 885911445702 CVS   DEWALT DWA31012PCD 12T PCD Tipped Laminate Cutting Blade, 10"                                             76.41    76.22    1    76.41 $      76.41
 811913010150 CVS   Oribe Cr√®me for Style, 5 oz                                                                                 44       42    1       44 $      44.00
3474636507450 CVS   Matrix Biolage Ultra‐Hydrasource Shampoo 1000ml                                                           23.99             6    23.99 $     143.94
 767332150277 CVS   Murad Essential‐C Toner ‐ Environmental Shield Hydrating Toner Replenishes Moisture ‐ Refresh                42       42    1       42 $      42.00
 861272000309 CVS   Drug Detector 12 Panel Urine Drug Test with Free Lab Confirmation                                         14.99    16.38    1    14.99 $      14.99
 843246130007 CVS   Grande Cosmetics GrandeBROW Brow Enhancing Serum, 0.1 Fl Oz                                                  73       73    8       73 $     584.00
 810029620437 CVS   Biossance Squalane + Lactic Acid Resurfacing Night Serum. An Exfoliating AHA to Soften and Smo               65       60    2       65 $     130.00
 765809180758 CVS   NAPA Gold 3424 Fuel Filter                                                                                19.99    19.99    1    19.99 $      19.99
 765809200340 CVS   Napa 7356 Gold Oil Filter                                                                                 18.54    14.99    1    18.54 $      18.54
 850010721118 CVS   Kori Mind & Body Memory Supplement for Brain | Supports Memory, Attention, Nervous System                 26.97             4    26.97 $     107.88
 768990027215 CVS   Nordic Naturals Children‚Äôs DHA Xtra, Berry Punch ‐ 90 Mini Chewable Soft Gels for Kids ‐ 636 m          21.95    18.66    1    21.95 $      21.95
 765809163140 CVS   NAPA Gold 6990 Breather Filter                                                                                7        7    1        7 $       7.00
 840262384711 CVS   Otterbox Amplify Glass Screen Protector for iPhone 13 Pro Max                                                18             1       18 $      18.00
3474636382705 CVS   KERASTASE Nutritive Nourishing Mask | Moisturizes and Conditions | For Fine Hair | With Irisom            69.97             3    69.97 $     209.91
3614228197830 CVS   philosophy ultimate miracle worker retinol serum facial roller, 0.5 oz                                       80             1       80 $      80.00
 898571000372 CVS   It's A 10 Haircare Miracle Shampoo w/Keratin ‐ 10 oz. ‐ 1ct                                                  24    14.85    4       24 $      96.00
 800443511350 CVS   Reddy Puffer Dogs Coat/Jacket Size Medium 16/18 Inch Burgundy NWT                                         33.14             2    33.14 $      66.28
3614272333291 CVS   Yves Saint Laurent Lipstick 0.21 g                                                                        35.85             2    35.85 $      71.70
 850005524489 CVS   Pet Honesty Hemp Calming Chews for Dogs Max Strength‐ Dog Anxiety Relief, Dog Calming Treat               39.99    39.25    8    39.99 $     319.92
 843246110078 CVS   Grande Cosmetics GrandePRIMER Pre‐Mascara Lengthener & Thickener                                             25    24.95    9       25 $     225.00
 800443531792 CVS   Reddy Fleece/Leather Dog Harness Burgundy Size M NEW                                                         20             1       20 $      20.00
 884486453464 CVS   Redken Extreme Length Conditioner | For Hair Growth | Fortifies, Strengthens & Conditions Hair               26       26    3       26 $      78.00
 883140020950 CVS   La Roche‐Posay Anthelios Anti‐Aging Primer with Sunscreen, 50 SPF, Blurs Fine Lines and Wrinkle           40.99    40.99   10    40.99 $     409.90
 773602411474 CVS   MAC Lipglass Oyster Girl 3.1ml,0.1 Fl Oz (Pack of 1)                                                         23       23    2       23 $      46.00
3348901527163 CVS   Rouge Dior Velvet Lipstick ‐ 720 Icone by Christian Dior for Women ‐ 0.12 oz Lipstick                        45    49.95    1       45 $      45.00
 884486437761 CVS   Pureology Pure Volume Shampoo | For Flat, Fine, Color‐Treated Hair | Adds Lightweight Volume                 36       37    6       36 $     216.00
 785830035780 CVS   Tiger PDU‐A40U‐K Electric Water Boiler and Warmer, Stainless Black, 4.0‐Liter                            189.99   154.99    1   189.99 $     189.99
 810045683201 CVS   Skullcandy Grind In‐Ear Wireless Earbuds, 40 Hr Battery, Skull‐iQ, Alexa Enabled, Microphone, W           79.99    74.99    1    79.99 $      79.99
 808736839174 CVS   HP 125A Black Toner Cartridge | Works with HP Color LaserJet CM1312 MFP Series, HP Color Las             101.89   101.89    1   101.89 $     101.89
 842944102187 CVS   Proactiv Solution ‐ Proactiv Solution Revitalizing Toner 4 oz. ‐                                             45            37       45 $   1,665.00
 842595112290 CVS   Cellucor C4 Ultimate Pre Workout Powder Strawberry Watermelon ‐ Sugar Free Preworkout Ene                 39.99    34.92    4    39.99 $     159.96
5011921143184 CVS   Games Workshop Warhammer Age of Sigmar: Extremis Starter Set                                               185    157.25    1     185 $      185.00
 800443360705 CVS   Reddy Road Trip Crash‐Tested Dog Harness, Small                                                           37.49    37.49    6    37.49 $     224.94
 843246110023 CVS   Grande Cosmetics Lash Enhancing Serum,2 mL                                                                   68       68   23       68 $   1,564.00
4015165337638 CVS   Dr. Barbara Sturm, Super Anti‐Aging Serum, 30ml                                                            370      370     1     370 $      370.00
 888391790195 CVS   Mally Classic Color Lipstick Mulberry Maven NWOB                                                           5.99             2     5.99 $      11.98
 885363006780 CVS   Lenox 10" Titanium‐Carbide tipped steel cutting blade 1809129                                             61.45             2    61.45 $     122.90
                    Rritual Superfoods Chaga Immune Herbal Supplement Container, Mushroom Adaptogen
 850022051074 CVS   Enhanced Elixir, 5.2 Ounce                                                                                           46     1       46 $      46.00
 850155008013 CVS   Drunk Elephant C‐Tango Eye Cream with Vitamin C, Brightening & Restorative Under Eye Moistu                  64      64     1       64 $      64.00
 817835010322 CVS   evanhealy Sea Algae Anti Wrinkle Serum for Sensitive Skin | Lightweight Firming Face Serum Ant            44.86     45.9    1    44.86 $      44.86
 810020170559 CVS   Bondi Sands PURE Light/Medium Self‐Tanning Foaming Water | Hydrating Formula Gives a Natu                  5.39             2     5.39 $      10.78
 850093005211 CVS   [THE MANE CHOICE] SOFT AS CAN BE 3‐IN‐1 REVITALIZE & REFRESH CONDITIONER 8OZ                              19.93             3    19.93 $      59.79
 846733078011 CVS   tartelette‚Ñ¢ baby bloom Amazonian clay palette tartelette‚Ñ¢ baby bloom Amazonian clay pale              26.99       32    1    26.99 $      26.99
3614271722850 CVS   All Hours Full Coverage Matte Foundation B10 Porcelain                                                       64       60    1       64 $      64.00
 836943000629 CVS   R&F Encaustic Paint, 40ml, Cobalt Green                                                                   26.95    28.49    1    26.95 $      26.95
 885418007717 CVS   Keranique Color Boost Scalp Revitalizing Keratin Conditioner for Color Treated Hair | Keratin Hair           24    23.97    1       24 $      24.00
 842595112160 CVS   C4 Extreme Pre Workout Powder Icy Blue Razz | Preworkout Energy Supplement for Men & Wom                  38.99             1    38.99 $      38.99
 896364002947 CVS   Olaplex. N¬∫.8 Bond Intense Moisture Mask                                                                    32             1       32 $      32.00
 765809203372 CVS   NAPA Gold 7512 Oil Filter                                                                                    25      25     1       25 $      25.00
 889714001929                                                                                                                 31.99             2    31.99 $      63.98
3282770209938 CVS   Eau Thermale Av√®ne Soothing Radiance Mask, Deep Hydration for All Skin Types, Non‐Comedog                   33      33     3       33 $      99.00
 851989006091 CVS   Kopari Coconut Face Cream 2.5 oz/ 75 mL                                                                              23     2       23 $      46.00
3605533117217 CVS   Lanc√¥me Advanced G√©nifique Radiance Boosting Anti‐Aging Face Serum ‐ Visibly Hydrates & P                135      135    19     135 $    2,565.00
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 884486401557 CVS   Redken Leave‐In Cream, Heat Protection up to 450 Degrees, Protects Against Humidity, For Frizzy            28        28   16       28 $     448.00
 817008020035 CVS   FemiClear for him                                                                                                 22.79   73    22.79 $   1,663.67
 800443360729 CVS   Reddy Road Trip Crash‐Tested Dog Harness, Large                                                                    36.9    7     36.9 $     258.30
 810070330088 CVS   TULA Skin Care Mineral Magic ‐ Mineral Sunscreen Fluid Broad Spectrum SPF 30 ‐ Provides UVA +               38    29.94    1       38 $      38.00
 846035054775 CVS   Champion Cutting Tool CT5‐1‐3/16 Carbide Tipped Hole Cutter: Up to 3/16" depth of cut, CT5‐2‐           131.02    88.99    1   131.02 $     131.02
 876718029141 CVS   TRUE Cutlass: Foil Cutter, 1 EA, Multicolor                                                               8.99      9.5    4     8.99 $      35.96
 860004340966 CVS   Cupixel Digital Tracing Set ‐ Tracing Projector for Drawing and Painting Kit, Acrylic Art Set with Ca       51             9       51 $     459.00
 856517005362 CVS   Nurse Jamie Uplift Massaging Beauty Roller, 1.05 Fl Oz (Pack of 1)                                          69       69    1       69 $      69.00
3337875774123 CVS   Vichy Neovadiol Peri‐menopause Plumping Day Cream for Normal to Combination Skin 50ml                    25.46       44    7    25.46 $     178.22
 818356020876 CVS   Algenist GENIUS Sleeping Collagen ‐ Vegan Collagen Night Cream with Ceramides for Smooth, Glo               98       98    2       98 $     196.00
 785901986201 CVS   Square D QO 60 amps 120/240 V 2 Space 4 Circuits Plug‐On Neutral Main Lug Load Center                   114.99   124.71    5   114.99 $     574.95
 834893011795 CVS   Juice Beauty PHYTO‐PIGMENTS Flawless Serum Foundation ‐ Naked Beige | Skin‐Perfecting + Age                 44       45    3       44 $     132.00
3337875594516 CVS   Vichy Mineral 89 Hyaluronic Acid Face Serum | Facial Gel Moisturizer and Pure Hyaluronic Acid M          19.99    19.99    7    19.99 $     139.93
 812459025240 CVS   Glossier Skywash Sheer Matte Lid Tint Pebble 0.11 Fl Oz                                                              25    1       25 $      25.00
8809416470559 CVS   COSRX Oil Free Lotion with Birch Sap, Daily Acne Facial Moisturizer, 3.38 fl.oz / 100ml, Hydrating          25    14.35    1       25 $      25.00
 886780023770 CVS   National Hardware Pool Safety Magna Latch Gate Latch N346‐210, Top Pull Child Proof Gate Latc           142.17    94.94    1   142.17 $     142.17
4820184121003 CVS   UGEARS 3D Wooden Puzzles Box ‐ 3D Puzzle Antique Wooden Box Wooden Model Kits for Adults                 39.99    66.66   25    39.99 $     999.75
 773602077526 CVS   M.A.C Matte Lipstick Honey Love 3g Honeylove, 1 Count, standard                                             23       23    4       23 $      92.00
 810040570285                                                                                                                62.53             2    62.53 $     125.06
9781563686313 CVS   The Gallaudet Children‚Äôs Dictionary of American Sign Language                                          39.95    35.78    1    39.95 $      39.95
 815266013196 CVS   BosleyMD Minoxidil Foam, Extra Strength Thinning Treatment for Hair Loss and Hair Regrowth fo               40       40    1       40 $      40.00
3606000514997 CVS   CeraVe 100% Mineral Sunscreen SPF 30 | Body Sunscreen with Zinc Oxide & Titanium Dioxide fo              15.99    13.64    2    15.99 $      31.98
3605972352521 CVS   Lanc√¥me Juicy Tubes Shine Lip Gloss ‐ High Shine & Lasting Hydration ‐ Vitamin E Enriched ‐ 10             25       25    5       25 $     125.00
3337875844543 CVS   La Roche Posay Lipikar AP+M Triple Repair Body Moisturizing Cream 2.5 fl oz                                 10             1       10 $      10.00
 857730006105 CVS   Blue Lotus Chai ‐ Golden Masala Flavor Chai ‐ Makes 100 Cups ‐ 3 Ounce Masala Spiced Chai Pow            16.69    16.69    4    16.69 $      66.76
 834893002335 CVS   Juice Beauty PHYTO‐PIGMENTS Flawless Serum Foundation ‐ Sand | Skin‐Perfecting + Age‐Defyin                 44       45    1       44 $      44.00
 850028009413 CVS   True Grace Omega‐3 Fish Oil ‐ 180 Softgels ‐ 1400 mg EPA + DHA ‐ Brain, Heart, Joint & Immune            65.95             2    65.95 $     131.90
 799471557297 CVS   JustFoodForDogs Dog Allergy Supplement for Immune System Support, Skin & Allergy Care ‐ 60 C             38.95    36.49    2    38.95 $      77.90
 842861107845 CVS   Ring Indoor Cam (1st Gen), Compact Plug‐In HD security camera with two‐way talk, Works with A            59.99             3    59.99 $     179.97
 810027430595 CVS   Sky Organics Youth Boost Antioxidant Day Serum for Face USDA Certified Organic to Hydrate, Sm            15.95    18.99    1    15.95 $      15.95
 817008020110 CVS   FemiClear 2‐Day Dose Yeast Infection and Itch Control Ointment, for Moderate to Intense Sympt            19.97    16.01    4    19.97 $      79.88
 835552001560 CVS   Reserveage Beauty, Resveratrol 1000 mg, Antioxidant Supplement for Heart Health and Immune               67.99     54.5    2    67.99 $     135.98
9002377013455 CVS   iSi North America Cream Whipper Plus Blister Pack with Single Charger Easy Whip, 1/2 Pint, Silve         59.99    72.99    2    59.99 $     119.98
 851669008582 CVS   The Honey Pot Company 7 Day Boric Acid & Herbs Suppositories ‐ Maintains and Balances Health             19.99    18.48    2    19.99 $      39.98
 861272000323                                                                                                                29.97             4    29.97 $     119.88
 884486453563 CVS   Redken Leave‐In Cream, Heat Protection up to 450 Degrees, Protects Against Humidity, For Frizzy             28       28    2       28 $      56.00
 883140012993 CVS   La Roche‐Posay Anthelios Light Fluid Face Sunscreen Broad Spectrum SPF 60, Sensitive Skin Suns           32.99    32.99   38    32.99 $   1,253.62
8809724477271 CVS   Dr. Jart+ Pore Remedy‚Ñ¢ PHA Exfoliating Serum 1 oz/ 30 mL                                                  50    39.99    1       50 $      50.00
 850031970311 CVS   Sonic Toothbrush Made by Dentists w/ Travel Case & Brush Heads Rose Gold Ed. New                         49.99             1    49.99 $      49.99
 790011180043 CVS   Jarrow Formulas Maximum Strength Methyl B‐12 5000 mcg, Dietary Supplement for Cellular Ene                32.5    18.37    2     32.5 $      65.00
 785247567522 CVS   Progress Lighting P5675‐20 Cylinder Outdoor, 5‐Inch Width x 14‐Inch Height, Antique Bronze              244.65    77.69    2   244.65 $     489.30
 765809223936 CVS   NAPA Gold 300018 Fuel Filter SF10018                                                                     35.34             1    35.34 $      35.34
 885911642545 CVS   IRWIN Screwdriver Bit Set, Standard Set, 24‐Piece (IWAF1220)                                              52.1       27    3     52.1 $     156.30
3337875607254 CVS   Vichy LiftActiv Peptide‐C Anti‐Aging Moisturizer, Vitamin C Face Cream with Collagen Peptides to         44.99    44.99    6    44.99 $     269.94
 850020194582 CVS   3‐Pack Relax Comforting+Refreshing Essential Oils Spa Fragrance 0.33 fl Oz Each                          16.46             1    16.46 $      16.46
9780323378390 CVS   Pediatric Critical Care                                                                                 274.99   202.79    1   274.99 $     274.99
 810014321370 CVS   StriVectin Wrinkle Recode Moisture Rich Barrier Cream, 1.7 fl. oz.                                          99       99    1       99 $      99.00
 811572027933                                                                                                                33.59             1    33.59 $      33.59
 793661573388 CVS   Black Diamond Equipment Pursuit Flz Trekking Poles ‐ Black‐Octane ‐ Small Medium                        179.95   158.36    3   179.95 $     539.85
 810029623001 CVS   Biossance‚ÄØSqualane + Retinol Serum. Encapsulated Time‐Release Retinol to Reduce Fine, Line                72    58.11    7       72 $     504.00
 884486383365 CVS   Biolage Styling Smooth Shine Milk | Lightweight Mist That Smooths Hair & Controls Frizz | For Al            24       22    8       24 $     192.00
 811338023520 CVS   butter LONDON Nail Foundation Priming Base Coat, nail strengthener with nail polish color, 0.37             18       18    1       18 $      18.00
 817494012651 CVS   Sunday Riley Ceramic Slip Cleanser,5 Fl Oz (Pack of 1)                                                      35       35    2       35 $      70.00
 884486152039 CVS   Biolage¬†Volume Bloom¬†Condi oner | Volumizing Condi oner | Weightless Moisture For Long‐                   38    27.99    3       38 $     114.00
 850014698485 CVS   TULA Skin Care Prime of Your Life Smoothing & Firming Treatment Primer ‐ Skincare‐first treatme             42    33.99    2       42 $      84.00
 852900006503 CVS   Plexaderm 30 mL Night Time Collagen Serum for Firmer, Fuller, more Youthful Looking Skin, Anti           34.95    34.95    2    34.95 $      69.90
 827778421208 CVS   L√©g√®re Reeds Premium Synthetic Woodwind Reed, Tenor Saxophone, Signature, Strength 3.0                 39.99    40.99    2    39.99 $      79.98
                    Neo G NeoThotics Heel Cushions ‚Äì Support for Achilles Tendonitis & Heel Spurs, Plantar
                    Fasciitis & Heel Pain, Absorb Shock & Vibration During Daily Activities ‚Äì Class 1 Medical Device ‐
8692195594130 CVS   Large                                                                                                             29.49   1     29.49 $     29.49
 887621216245 CVS   Siemens QA115AFCP 15‐Amp Single Pole 120‐volt Plug‐On Combination AFCI Breaker                          120.01    49.99   1    120.01 $    120.01
                    Murad Correct & Protect Broad Spectrum SPF 45 ‐ Environmental Shield 100% Mineral
 767332153896 CVS   Sunscreen Serum ‐ Blue Light Defense ‐ Brightens and Reduces Discoloration, 1.0 Fl Oz                                69   3        69 $    207.00
 854226008254 CVS   KSM‐66 Ashwagandha Root Powder Extract ‐ Stress, Mood, & Athletic Support ‐ 1,000 MG of Clin             23.98     18.3   4     23.98 $     95.92
 787790573029 CVS   WIGZI Dual Doggie (2 DOG) Retractable Leash with Light (L.E.D), No Tangle 360 Technology, Inde           39.99    34.49   1     39.99 $     39.99
                    Algenist Blue Algae Vitamin C Dark Spot Correcting Peel ‐ Visibly Reduce the Appearance of
 818356021590 CVS   Discoloration ‐ Exfoliating AHAs, BHA & PHA to Brighten & Even Skin Tone (45ml)                                     85    5        85 $     425.00
5060531310288 CVS   BYBI Beauty Strawberry Booster | Facial Oil | Great for Dry, Flaky or Irritated Skin | 15ml              23.52            3     23.52 $      70.56
 871980410086 CVS   Smartpond Revolution Pump Waterfall Pump 3600gph                                                        349.93       85   1    349.93 $     349.93
 811572027001 CVS   SodaStream Waters Zero Calorie Flavoring Syrup, Strawberry Watermelon, 14.8 Fl Oz                        11.38    11.99   1     11.38 $      11.38
3666057030956 CVS   Clarins Lotus Face Oil Treatment | Hydrates, Tones and Balances Skin | Visibly Tightens Pores | M           67       65   1        67 $      67.00
3474636807192 CVS   L‚ÄôOr√©al Professionnel | Conditioner, With Resveratrol for Coloured Hair, Serie Expert Vitami          19.73            2     19.73 $      39.46
 888853003214 CVS   Dr. Scholl's Freeze Away MAX Plantar WART Remover // 10 Applications, 15 Seconds to Treat Pla            14.99            4     14.99 $      59.96
 855685006485 CVS   SUPER SALE LIVING PROOF PERFECT HAIR DAY DRY SHAMPOO 1.8 OZ EACH (3 PACK)                                16.46            1     16.46 $      16.46
 811794016289 CVS   Furminator ‐ Finishing Comb Head Only ‐ All Dogs ‐ Removes Tangles                                        8.99            1      8.99 $       8.99
 810763031001 CVS   Fenty Beauty by Rihanna Killawatt Foil Freestyle Highlighter Penny4uthots                                   40    25.94   2        40 $      80.00
3606000557673 CVS   CeraVe Soothing Body Wash for Dry Skin | Shower Oil for Sensitive, Dry, Itchy, and Eczema‐Prone          17.99    15.74   2     17.99 $      35.98
 881978209059 CVS   PING G410 Plus Driver (Right, ALTA CB Red Graphite, Stiff, 10.5)                                        499.99     459    3    499.99 $   1,499.97
 783250452927 CVS   Ideal 45‐292 10‐22 AWG Stripmaster Wire Stripper with Knife‐Type Blades                                  29.49    29.49   3     29.49 $      88.47
 885484601536 CVS   Dorman 712‐545MXL M14‐2.0 Racing Style XL Wheel Nut Compatible with Select Ford / Lincoln M             177.88     47.1   2    177.88 $     355.76
 765809178175 CVS   NAPA Gold 3596 Fuel Filter                                                                                20.5     20.5   1      20.5 $      20.50
 885911675000 CVS   Craftsman Electric Pressure Washer, Cold Water, 1700‐PSI, 1.2‐GPM, Corded (CMEPW1700)                     109      109    1      109 $      109.00
 783164485837 CVS   Breaker20a Dp Gf Slftest                                                                                          99.99   1     99.99 $      99.99
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 768990018923 CVS   Nordic Naturals Ultimate Omega + CoQ10, Lemon ‐ 120 Soft Gels ‐ 1280 mg Omega‐3 + 100 mg C            69.95    56.49    2    69.95 $     139.90
 847137013455 CVS   P√úR MINERALS Disappearing Ink 4‐in‐1 Concealer Pen, Tan, 0.12 Fl Oz (Pack of 1)                         24       24    1       24 $      24.00
 800443512210 CVS   Youly the Champion Dog Harness XL/ XXL ‐ Black                                                           38             1       38 $      38.00
 813843035708 CVS   CHI Expert Classic Tourmaline Ceramic Flat Iron                                                      109.99     95.5    1   109.99 $     109.99
 857770005038 CVS   COOLA Organic Makeup Setting Spray with SPF 30, Hydrating Makeup Protection & Sunscreen m                36       36    2       36 $      72.00
 843246110085 CVS   Grande Cosmetics GrandeDRAMA Intense Thickening Mascara with Castor Oil, Volumizing, Cond                25       25    2       25 $      50.00
 884486453099 CVS   Redken Redken Color Extend Shampoo | For Color‐Treated Hair | Cleanses Hair Leaving It Manag             26    34.99   45       26 $   1,170.00
3614273526050 CVS   ARMANI Lip Maestro Mini Lipstick Trio + Pouch Travel Set 101 209 400 Brown Red                        21.85            12    21.85 $     262.20
 810014322285 CVS   StriVectin Contour Restore Creams for Face and Eyes, Lifts and Improve the Look of Saggy Skin an         69       69    1       69 $      69.00
 834893010460 CVS   Juice Beauty GREEN APPLE Peel Sensitive Exfoliating Mask, Patented Alpha Hydroxy Acid Formula            49     36.4    1       49 $      49.00
 887961826449 CVS   Disney Cars Mini Racers Sheriff Deputies Series 3‐Pack Officer Lightning McQueen, APB, and Sher          27    27.95    1       27 $      27.00
 819505020556 CVS   Scanstrut ROKK Wireless Active Charging Cradle f/Phone                                               128.69     120     1   128.69 $     128.69
 843246110146 CVS   Grande Cosmetics GrandeFANATIC Fanning and Curling Mascara, 0.37 oz.                                     25       25    7       25 $     175.00
 858398007626 CVS   NuFACE FIX Starter Kit ‐ Line Smoothing Device , 2 Piece Set                                           149    149.99    1     149 $      149.00
 768990018039 CVS   Nordic Naturals Zero Sugar Ultimate Omega Gummy Chews, Tropical Fruit, 54 Gummies, Support            44.95    36.84   52    44.95 $   2,337.40
 815934020600 CVS   Deva Curl Deep Sea Repair Seaweed Strengthening Mask, 8 oz                                            14.94             2    14.94 $      29.88
3474636382408 CVS   Kerastase Nutritive Nourishing & Conditioning Shampoo | For Severely Dry Hair | Moisturizes an           38             1       38 $      38.00
9421017760267 CVS   Trilogy Ultra Hydrating Face Cream, 2.5 Fl Oz ‐ For Dry or Dehydrated Skin ‐ Intense Nourishment         36    34.39    3       36 $     108.00
 788130022078 CVS   TRUGLO Carbon XS Xtreme Ultra‐Lightweight Carbon‐Composite Bow Sight, Black                           35.99    44.32    1    35.99 $      35.99
                    FLEXI¬Æ Xtreme L ‐ Extra Robust Retractable Leash with 16 ft Extra Strong Tape | Protector Belt
 840317109672 CVS   with Reflective Components | Handle Adjustment | Orange/Black                                                  44.99    1    44.99 $      44.99
 790011060260 CVS   Jarrow Formulas QH‐Absorb 200 mg ‐ High Absorption Co‐Q10 ‐ Active Antioxidant Form of Co‐Q           79.95    41.64    2    79.95 $     159.90
 813920014664 CVS   Kate Somerville DermalQuench Liquid Lift +Retinol | Advanced Resurfacing Treatment | Firming           110              1     110 $      110.00
 835240002879 CVS   INESSCENTS OIL ARNICA, 4 OZ                                                                            13.5    36.49    1     13.5 $      13.50
4015165337836 CVS   Dr. Barbara Sturm, Clarifying Serum                                                                    255      255     2     255 $      510.00
9003918600288 CVS   Thomastik‐Infeld 135B.34 Dominant Violin Strings Set 3/4 Size                                        110.99     47.6    7   110.99 $     776.93
 817494011678 CVS   Sunday Riley C.E.O. 15% Vitamin C Brightening Serum 0.5oz                                                43       43    1       43 $      43.00
 765809177307 CVS   7099 NAPA Gold Oil Filter                                                                             10.16    29.68    1    10.16 $      10.16
3701129804452 CVS   Bioderma SENSIBIO Defensive‐ Active soothing cream for dry skin‐ Strengthens skin moisturizer b       31.99    31.99    1    31.99 $      31.99
 852372004977 CVS   Estee Lauder Double Wear Stay‐in‐Place Makeup SPF 10 for All Skin Types, No. 1W2 Sand, 1 Oun             38    35.99    8       38 $     304.00
 854143004599 CVS   Alikay Naturals Shea Yogurt Hair Moisturizer Natural Raw Shea Butter, Argan & Coconut Oil 8 Ou        17.99    17.98    1    17.99 $      17.99
 813920011397 CVS   Kate Somerville DermalQuench Liquid Lift | Advanced Wrinkle Treatment | Deeply Hydrating Oxy           110              3     110 $      330.00
3614229384161 CVS   philosophy amazing grace bergamot                                                                        64      64     1       64 $      64.00
3614226789600 CVS   Nioxin System 4 Scalp Therapy Conditioner with Peppermint Oil, Treats Dry Scalp, Provides Moist          26      26     1       26 $      26.00
 887480031522 CVS   Everbilt 278221 Galvanized Uncoated Wire Rope 1/8 in x 50 ft 7x7 340lb, #1522                         12.95             1    12.95 $      12.95
3337875782999 CVS   La Roche‐Posay Toleriane Double Repair Matte Face Moisturizer, Daily Gel Moisturizer For Oily S       22.99    22.99    3    22.99 $      68.97
5045096592485 CVS   No7 Youthful Replenishing Facial Oil ‐ Nongreasy Hydrating Face Oil for Dry Skin ‐ Anti Aging Face    24.99    18.47    2    24.99 $      49.98
 874822004436 CVS   Bio Ionic 10x Pro Ultra Light Speed Dryer ‐ Black Hair Dryer 1 Pc                                      299      299     3     299 $      897.00
 879452004535 CVS   Designs for Health Berberine‐Evail ‐ 400mg Berberine HCl (Hydrochloride) Supplement with Impr         52.49    52.49    1    52.49 $      52.49
3337871324346 CVS   Vichy Anti‐Wrinkle Serum for Eyes and Lashes, Hyaluronic Acid, 15 Mineral‐Rich Vichy Volcanic W          35       35    9       35 $     315.00
 855416002045 CVS   Optical Mouse With Led Lightng,Revenue Creations,Tu1397                                                18.5     18.5    1     18.5 $      18.50
 859975002492 CVS   Andalou Naturals Hyaluronic Dmae Lift Firm Skin Cream, Face Moisturizer with Anti Aging Antiox        26.99    16.21   16    26.99 $     431.84
 773602582372 CVS   MAC Travel Exclusive Eyeshadow X 8: Burgundy 0.38 oz SEALED (PLEASE READ)                             32.99             1    32.99 $      32.99
 766298003788 CVS   Pure Encapsulations 5‐HTP 100 mg | 5‐Hydroxytryptophan Supplement for Brain, Sleep, Eating B           58.8     58.8    2     58.8 $     117.60
 851036008818 CVS   EverSmile OmniFoam Dental Cleaner for Implants, Crowns, and Bridges ‐ Implant Cleaner ‐ Crow          24.99    19.99    3    24.99 $      74.97
3282770203493 CVS   Eau Thermale Av√®ne Hydrance Hydrating Aqua Cream‐In‐Gel With Hyaluronic Acid ‐ Antioxidan               40       40    7       40 $     280.00
 889698544344 CVS   Funko Games Funkoverse: Marvel 101 1‐Pack ‐ Thanos ‐ Marvel Comics ‐ Light Strategy Board Ga          14.99    14.87    1    14.99 $      14.99
 859975020069 CVS   Andalou Naturals 1000 Roses Beautiful Day Cream, Face Moisturizer for Sensitive Skin with Hyalu       26.99       45    1    26.99 $      26.99
 789949301408 CVS   Air3 Airbuds True Wireless Earbuds Brand NEW Sealed Headphones Air Buds                                  20             1       20 $      20.00
 850608006092 CVS   Kinsa Smart,Fever, Digital Medical Baby, Kid and Adult Termometro ‐ Accurate, Fast, FDA Cleared       29.99             2    29.99 $      59.98
3614229374933 CVS   Gucci Velvet Matte Lipstick 208 They Met in Argentina                                                    45             2       45 $      90.00
 840103257099 CVS   RoC Multi Correxion 5 in 1 Restoring/Anti Aging Facial Night Cream with Hexinol, Christmas Gifts      29.99     17.5   12    29.99 $     359.88
 800443571002 CVS   Reddy Black Primaloft Dog Jacket, X‐Small                                                             39.99    39.99    2    39.99 $      79.98
 883049546162 CVS   KitchenAid Variable Speed Corded Hand Blender KHBV53, Ice Blue                                        59.99    59.99    2    59.99 $     119.98
 898571000204 CVS   It's A 10 Haircare Miracle Hair Mask ‐ 8 oz. ‐ 1ct                                                    30.89    21.99   47    30.89 $   1,451.83
 810089954305 CVS   Vital Proteins Collagen Peptides Powder, Promotes Hair, Nail, Skin, Bone and Joint Health, Lemon      27.99     19.8    5    27.99 $     139.95
 811909033705 CVS   Focus Factor PRO MAX Nootropic, 60ct ‚Äì Brain Supplement for Memory, Concentration, Focus &          29.99    11.62    2    29.99 $      59.98
 845717009447 CVS   Veridian Healthcare Non‐Contact Infrared Thermometer | for Children & Adults | Home Use with          49.99    39.99    4    49.99 $     199.96
 851325002060 CVS   Macadamia Natural Deep Repair Hair Masque, 8 OZ                                                       24.99             1    24.99 $      24.99
 765809203808 CVS   NAPA Gold 7806 Oil Filter                                                                                15       15    1       15 $      15.00
 887167588509 CVS   Estee Lauder Advanced Night Repair Eye Supercharged Gel‐Creme Synchronized Multi‐Recovery                47    35.89    3       47 $     141.00
3282770049381 CVS   Eau Thermale Av√®ne PhysioLift EYES, Retinaldehyde to Reduce Appearance of Puffiness, Dark C             52             1       52 $      52.00
 811794929275 CVS   FURminator deShedding Tool for Cats, Small                                                            37.49    27.99    4    37.49 $     149.96
3337875588225 CVS   Vichy Aqualia Thermal Rich Face Cream Moisturizer for Dry and Extra‐Dry Skin, Facial Moisturizer      34.99    34.99    6    34.99 $     209.94
 850002593129 CVS   FELIWAY Optimum, Enhanced Calming Pheromone 30‐day Refill ‚Äì 1 Pack, Translucent                     29.99     18.8    1    29.99 $      29.99
 867206000407                                                                                                             99.95             1    99.95 $      99.95
3605971305887 CVS   Urban Decay All Nighter Long‐Lasting Makeup Setting Spray ‐ Award‐Winning Makeup Finishing S             36       36    8       36 $     288.00
 854226008582 CVS   Physician's CHOICE Probiotics 60 Billion CFU ‐ 10 Strains + Organic Prebiotics Digestive & Gut Hea    34.97    27.18    2    34.97 $      69.94
 840026658317 CVS   Fenty Beauty by Rihanna Toast'd Swirl Bronze Shimmer Powder Chocolate Swiller                            42    24.99    3       42 $     126.00
 765809189294 CVS   NAPA Gold 7241 Oil Filter                                                                                18       18    1       18 $      18.00
 773602323210 CVS   MAC PREP + PRIME NATURAL RADIANCE                                                                        32    37.99    9       32 $     288.00
8809285079709 CVS   Touch in Sol Hydrating Face Moisturizer Gel Cream 1.76 oz. ‚Äì Plumped Up Lightweight Day and         31.99    31.99    1    31.99 $      31.99
 835552001454 CVS   Reserveage Beauty Resveratrol 250mg 30 Veggie Capsules                                                17.95             2    17.95 $      35.90
 870192008159 CVS   Realeather Multi‐Sized Leather Jewelry Hole Punch.8mm‐2mm. Holes                                      45.75    19.95    2    45.75 $      91.50
 781889051757 CVS   PROFLO PFWO321 1‐1/2" Brass Toe Tap Tub Drain Kit ‐ with Overflow ‐ Chrome                            37.16    26.32    1    37.16 $      37.16
 767332108032 CVS   Murad Rapid Relief Acne Spot Treatment ‚Äì Acne Control Max Strength 2% Salicylic Acid Invisibl          23       26    2       23 $      46.00
 883351633970 CVS   Kwikset 966DL‐26V1 Delta Lever Interior Single Cylinder Handleset Trim with New Chassis Bright         72.9             2     72.9 $     145.80
 860002324340                                                                                                             70.91             1    70.91 $      70.91
8809685753506 CVS   LANEIGE Water Sleeping Mask: Hydrate, Boost Clarity, and Visibly Brighten with Squalane & Slee           25             1       25 $      25.00
 890922002318 CVS   Kate Somerville EradiKate Acne Treatment ‐ Clinically Formulated 10% Sulfur and BHA Spot Treat           28      28    15       28 $     420.00
 850020194599 CVS   3‐Pack Restore Clarifying+Balancing Essential Oils Spa Fragrance 0.33 fl Oz Each                      16.46             1    16.46 $      16.46
4033651002471 CVS   BeYu Catwalk Powder Blush, Rose Petal, 0.26 Ounce                                                     12.99             4    12.99 $      51.96
 883140038818 CVS   Dermablend Smooth Liquid Camo Foundation for Dry Skin with SPF 25, 1 Fl. Oz.                             42      42     1       42 $      42.00
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 887661509819 CVS   Sunglasses Foster Grant Advanced Comfort Polarized ADV COM 10 GRY & Black Pouch                         14.95              1    14.95 $      14.95
 792363564052 CVS   BRAND NEW CHIEF CH2DC 2" Double Cut Genuine Solid Carbide Burrs (4pc)                                   19.99              2    19.99 $      39.98
 899484001272 CVS   FELIWAY Classic Cat Calming Pheromone Diffuser, 30 Day Starter Kit (48 mL)                               45.8    23.49    15     45.8 $     687.00
9780801690372 CVS   Open Water Workbook                                                                                     13.25    13.25     1    13.25 $      13.25
 884486164032 CVS   Biolage Normalizing Clean Reset Shampoo | Intense Cleansing Treatment To Remove Buildup | F                38    27.99     3       38 $     114.00
 887167539587 CVS   Revitalizing Supreme Plus Youth Power Eye Balm by Estee Lauder for Women ‐ 0.5 oz Balm                     76    39.99     3       76 $     228.00
 889476510905 CVS   Lipo Flavonoid Plus Inner Ear Health Caplets, 90 Count                                                   26.5    29.95     6     26.5 $     159.00
 850039766091 CVS   Curology Cream Moisturizer, Rich Hydrating Face Moisturizer for Dry Skin, with Shea Butter and          16.99    16.99     1    16.99 $      16.99
 884486456052 CVS   Redken Color Extend Brownlights Blue Conditioner | Hair Toner For Natural & Color‐Treated Bru              52              1       52 $      52.00
 790011290520 CVS   Jarrow Formulas Vision Optimizer Veggie Capsules ‐ 180 Count ‐ Eye Supplement ‐ Dietary Supple           61.5    37.94     1     61.5 $      61.50
 884486152251 CVS   Biolage Hydra Source Detangling Solution | Detangles & Controls Static For Less Frizz & Fly‐Away           38    27.99     2       38 $      76.00
 810071800023 CVS   Breathe Right Nasal Strips Extra Strength Tan Nasal Strips Help Stop Snoring Drug‐Free Snoring S        13.99       11     2    13.99 $      27.98
5000167269260 CVS   No7 Early Defence Hypo‐Allergenic Night Cream ‐ Lightweight Hydrating Face Cream ‐ Lipopeptid           17.98    19.99     3    17.98 $      53.94
 773602621187 CVS   MAC Magic Extension 5mm Fibre Mascara Women 0.37 oz                                                        35    18.84     2       35 $      70.00
 884486151360 CVS   Biolage Hydra Source Conditioning Balm | Hydrates, Nourishes & Detangles Dry Damaged Hair |                38    30.77   118       38 $   4,484.00
5045096596704 CVS   No7 Protect & Perfect Intense Advanced Nourishing Hand and Nail Cream ‐ Anti Aging Hand Crea            16.99    10.93     1    16.99 $      16.99
 814655034651                                                                                                                  10              1       10 $      10.00
 773602522071 CVS   MAC Powder Kiss Lipstick ‐ Devoted To Chili Lipstick Women 0.1 oz                                          22    14.99     1       22 $      22.00
 820650853876 CVS   Pokemon Scarlet & Violet 3 Obsidian Flames Booster Bundle                                               28.99    26.92     1    28.99 $      28.99
3605971972508 CVS   Lanc√¥me Blush Subtil Blush ‐ Oil‐Free Silky Makeup Powder ‐ Long‐Wear ‐ Blushing Tresor                   34       34     4       34 $     136.00
 800443292068 CVS   Petco Brand ‐ Good2Go Black Front Walking Dog Harness, Medium                                           34.99    34.99     7    34.99 $     244.93
 846733036264 CVS   Tarte Baba Bomb Moisturizer                                                                                      36.99     2    36.99 $      73.98
3614229374858 CVS   Gucci Velvet Matte Lipstick 302 Agatha Orange                                                              45              2       45 $      90.00
3605533117279 CVS   Lanc√¥me Advanced G√©nifique Radiance Boosting Anti‐Aging Face Serum ‐ Visibly Hydrates & P              175      175      4     175 $      700.00
 884486453594 CVS   Redken Volume Injection Conditioner | Hair Volumizer For Fine Hair | Detangling and Volumizing             25       26     5       25 $     125.00
 846733079957 CVS   tarte Shimmering Light Highlighter Champagne Glow                                                          32    37.99     2       32 $      64.00
 895361002905 CVS   Living Proof No Frizz Shampoo, 24 oz                                                                       59              1       59 $      59.00
 885911236461 CVS   BLACK+DECKER 20V MAX Battery, 1.5Ah Lithium Ion Battery, Extended Runtime, Compatible wit               49.99    39.99     1    49.99 $      49.99
3337875660648 CVS   Vichy Normaderm S.O.S Acne Rescue Spot Corrector, Acne Spot Treatment for Face with 10% Su              22.99    22.99     6    22.99 $     137.94
 840070913691                                                                                                               16.89              1    16.89 $      16.89
 813146015964 CVS   Kurgo Dog Harness for Large, Medium & Small Dogs | Reflective Harness for Running, Walking &            47.99              1    47.99 $      47.99
 852582006518 CVS   Amazon eero mesh WiFi router                                                                            69.99    69.99     1    69.99 $      69.99
 810014324418 CVS   StriVectin Peptight‚Ñ¢ Tightening Neck Serum Roller, 1.7 fl. oz.                                           79       79     4       79 $     316.00
 810907026627 CVS   StriVectin Line BlurFector‚Ñ¢ Instant Wrinkle Blurring Primer, Skin Primer to help blur and fill the       39       39     2       39 $      78.00
                    Good Clean Love BioNourish Ultra Moisturizing Vaginal Gel with Hyaluronic Acid, pH‐Balanced &
 893268000680 CVS   Water‐Based, Long Lasting Relief from Dryness & Discomfort for Women, 2 Oz                                       21.94    1     21.94 $     21.94
4015165337782 CVS   Dr. Barbara Sturm, Face Cream Rich, 50ml                                                                 240      240     1      240 $     240.00
 883140040231 CVS   La Roche‐Posay Effaclar Medicated Gel Facial Cleanser, Foaming Acne Face Wash with Salicylic A          16.99    16.99    9     16.99 $    152.91
5060442520547 CVS   Elvie Curve Manual Wearable Breast Pump | Hands‐Free, Kick‐Proof, Portable Silicone Pump Tha            39.99    38.99    1     39.99 $     39.99
 842861107760 CVS   Ring Indoor Cam (1st Gen), Compact Plug‐In HD security camera with two‐way talk, Works with A           59.99             3     59.99 $    179.97
 834098002109 CVS   Exergen Temporal Scan Forehead Artery Baby Thermometer Tat‐2000c Scanner, Digital                       49.99    32.99    2     49.99 $     99.98
 818107029349 CVS   ILIA ‐ C Beyond Triple Serum SPF 40 | Non‐Toxic, Cruelty‐Free, Clean Beauty (Translucent Tone 2            64    63.95    1        64 $     64.00
 765809177390 CVS   NAPA Gold 3236 Fuel Filter                                                                                 25       25    1        25 $     25.00
 782808618006 CVS   Atlas Homewares 231‐OW‐O Spa Brown Tiger 3 in. (76mm) Pull, Aged Bronze                                 17.22    20.43    1     17.22 $     17.22
 821973415420 CVS   Race Face Atlas Pedals Turquoise, Set                                                                  179.99     143     1    179.99 $    179.99
3474630564657 CVS   KERASTASE Nutritive Satin 1 Hydrating Shampoo | For Normal to Mildly Dry Hair | Strengthens a           25.04             1     25.04 $     25.04
 810070580063 CVS   Fig.1 Retinol Night Cream No. 1, 1.7 fl oz                                                              37.95    41.99    3     37.95 $    113.85
5000167323658 CVS   No7 Protect & Perfect Intense Advanced Body Serum ‐ Anti Aging Serum with Hyaluronic Acid &             24.99     21.5    1     24.99 $     24.99
 889714003138 CVS   Crest 3D Whitestrips Sensitive At‐home Teeth Whitening Kit, 18 Treatments, Gently Removes 15            39.99    36.27    3     39.99 $    119.97
 819430017423 CVS   Sigma B12 Bent Liner Makeup Brush ‐ Precise Eyeliner Brush for Gel, Liquid or Powder Eyeliner A            15       15    5        15 $     75.00
 811170031516 CVS   Found Active Rejuvenating Face Serum with Hyaluronic Acid Lightweight, Provides Ultimate Hydr            6.71     6.69    1      6.71 $      6.71
 840093114792 CVS   Nature's Truth Probiotic 50 Billion CFU | 200mg Prebiotics | 60 Capsules | Vegetarian, Non GMO          34.81    24.31    1     34.81 $     34.81
 767332153001 CVS   Murad InvisiScar Resurfacing Treatment for reducing the appearance of Acne Scars and Dark Spo           52.25       56    2     52.25 $    104.50
 898571000617 CVS   It's A 10 Silk Express Miracle Silk Conditioner 17.5 oz                                                    64    44.99    2        64 $    128.00
 813920016712 CVS   Kate Somerville ExfoliKate Glow Moisturizer ‚Äì Clinically Formulated Daily Face Cream ‚Äì Gently          76       48    1        76 $     76.00
5033102876254 CVS   Generic Value Products Ultra‐Shine Ceramic Styling Iron 1" Ion Generator Smooth Hair Cuticle            69.99    69.99    1     69.99 $     69.99
 812459025271 CVS   Glossier ‐ Skywash ‐ Sheer Matte Lid Tint ‐ "ECHO" ‐ Full Size ‐ New in Box                             18.27             1     18.27 $     18.27
 892316000115                                                                                                               90.35             4     90.35 $    361.40
 765809215344 CVS   NAPA Gold 7260 Oil Filter                                                                                  15       15    1        15 $     15.00
 885911275606 CVS   DEWALT 20V MAX* Right Angle Drill, Cordless, Tool Only (DCD740B)                                         159    138.78    1      159 $     159.00
 810015586853 CVS   Skullcandy Sesh Evo In‐Ear Wireless Earbuds ‐ Mint (Discontinued by Manufacturer)                       49.99    29.95    3     49.99 $    149.97
 800443435243 CVS   Bond & Co. Pink & Colorblocked Reversible Dog Harness, Large                                             9.99    15.99    2      9.99 $     19.98
3360372026105 CVS   Giorgio Armani Luminous Silk Foundation, No. 3 Light/Warm, 1 Ounce                                      75.86    56.49    1     75.86 $     75.86
7350092137867 CVS   FOREO LUNA fofo Smart Facial Cleansing Brush and Skin Analyzer, Purple, Personalized Cleansing             44             5        44 $    220.00
3614272942615 CVS   Yves Saint Laurent Tatouage Couture Velvet Cream 202 ‐ Coral Symbol ‐ 110ml                             37.02    42.97    1     37.02 $     37.02
 840080597775 CVS   Echo Dot (4th Gen, 2020 release) | Smart speaker with Alexa | Charcoal                                  49.99             1     49.99 $     49.99
 834893000713 CVS   Juice Beauty GREEN APPLE Age Defy Serum ‐ Visibly Reduces Dark Spots & Discoloration ‐ Antiox              58     42.4    2        58 $    116.00
 773602510443 CVS   MAC Eye Shadow X9 Amber Times Nine                                                                      23.38    49.12   14     23.38 $    327.32
3474636919987 CVS   Redken All Soft Argan Oil Shampoo | For Dry / Brittle Hair | Provides Intense Softness and Shine           26       26    5        26 $    130.00
 891038001325 CVS   Bio‐Oil Skincare Oil, Serum for Scars and Stretchmarks, Face Body Moisturizer Dry Skin, with Orga       25.59    24.99   33     25.59 $    844.47
 841437136555 CVS   Eye Massager With Heat Vibration Therapy ‐ Eye Massager With Smart Bluetooth Connection‐ Oc             79.99    45.87    2     79.99 $    159.98
 858602004052                                                                                                                  99             2        99 $    198.00
 810022397626 CVS   HART JIGSAW 20‐Volt Battery‐Powered Brushless Orbital Jigsaw (Battery Not Included)                     88.99    99.95    1     88.99 $     88.99
 773602411467 CVS   MAC Lipglass, C‐THRU                                                                                       23     23.6    8        23 $    184.00
 765809193512 CVS   NAPA Gold 7061 Oil Filter                                                                               15.18    15.67    1     15.18 $     15.18
3614229374841 CVS   Gucci Velvet Matte Lipstick 502 Eadie Scarlet                                                              45    92.56    1        45 $     45.00
 887167619111 CVS   REVITALIZING Supreme+ LOTE 3 pz                                                                         21.63             1     21.63 $     21.63
3605972264282 CVS   It Cosmetics Bye Bye Oil‐Free Matte Foundation 1.0oz MEDIUM ‐ NIB                                       26.99             1     26.99 $     26.99
9003918600257 CVS   Thomastik Dominant Set Violin 135B Medium Tension                                                      110.99    69.99    6    110.99 $    665.94
                    Cutler‐Hammer Eaton BRN120A1CS BR 20A 120V 1‐Pole Arc Fault/Ground Fault Circuit Breaker,
 786689166328 CVS   Black                                                                                                            54.95    1     54.95 $     54.95
4064665202625 CVS   OPI Repair Mode Bond Building Nail Serum, Keratin Protein, Repaired Nails in 6 Days, Vegan Form           25     24.99    2        25 $     50.00
3474636920280 CVS   Redken Extreme Length Conditioner | For Hair Growth | Fortifies, Strengthens & Conditions Hair            26        26   11        26 $    286.00
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 826341040334                                                                                                             29.67             1    29.67 $    29.67
 886946223822 CVS   126 pc. Gift Art Set by Artist's Loft¬Æ Necessities‚Ñ¢                                                80.99    36.87    3    80.99 $   242.97
 810033470127 CVS   Quip Rechargeable Electric Toothbrush ‐ Smart, Bluetooth Sonic Toothbrush with Habit Improvin         59.99    56.99    1    59.99 $    59.99
 846733089208 CVS   Tarte Maneater Catitude Eyeshadow Palette                                                                25             2       25 $    50.00
4975769462801 CVS   JVC HAA10T Blue True Wireless Bluetooth in Ear Headphone with Case Cover                              60.15             2    60.15 $   120.30
 850006433131 CVS   No BS Caffeine Eye Cream with Pure Hyaluronic Acid and Plant‐Based Squalane Oil. Coffee Bean             35    24.99    2       35 $    70.00
 857899006480 CVS   Brightech SkyLite LED Floor lamp, Torchiere Super Bright Floor Lamp for Living Rooms & Offices ‐      71.99    54.99    1    71.99 $    71.99
3614271280299 CVS   Yves Saint Laurent Rouge Volupte Shine Oil‐in‐stick Lipstick, 48 Smoking Plum, 0.15 Ounce                37             1       37 $    37.00
3614229374919 CVS   Gucci Velvet Matte Lipstick 401 Three Wise Girls                                                         45             3       45 $   135.00
 887167485488 CVS   Estee Lauder Advanced Night Repair Synchronized Multi‐Recovery Complex, Unisex, 1.7 Oz                 105      39.7    6     105 $    630.00
3380810343281 CVS   Clarins Extra‐Firming Neck and D√©collet√© Cream | Award‐Winning | Anti‐Aging Moisturizer |              90      98     2       90 $   180.00
 819002010685 CVS   Algenist‐GeniusUltimateAnti‐AgingCream60ml                                                            68.75             1    68.75 $    68.75
 773602531721 CVS   Studio Fix 24‐Hour Smooth Wear Concealer by M.A.C NW34 7ml                                            57.83    57.83    1    57.83 $    57.83
 842094162758 CVS   True Fabrication Frida: Painted Floral Blush Novelty Flasks, 5 oz, Pink                               13.99    13.99    2    13.99 $    27.98
 815266012434 CVS   BosleyMD Men's Minoxidil No‐Mess Sprayer, Extra Strength, 2 fl oz (2 Count)                              48             1       48 $    48.00
 793661530305 CVS   Black Diamond Equipment Distance Flz Trekking/Running Poles ‐ Pewter ‐ 110 cm                        159.95   140.76    3   159.95 $   479.85
 792363565189 CVS   Vulcan TIG Torch Gas Lens Kit ‐ Item #56518                                                           32.99             2    32.99 $    65.98
 783310176206 CVS   Greenlee DTAPKIT Drill/Tap Kit for Metal, One‐Step Drilling, Tapping, and Deburring/Countersink        45.4    49.75    1     45.4 $    45.40
 810270030818 CVS   Unstable Unicorns Card Game Base Game NEW FACTORY SEALED 2‐8 Players; 14 & Up                         17.42             1    17.42 $    17.42
 863630000341 CVS   LaVie The Original Lactation Massager for Breastfeeding, Nursing, Pumping, Better Milk Flow, Re       34.99    34.95    1    34.99 $    34.99
4715910038741 CVS   Jagwire Sport Organic Shimano Deore LX T675/ Tektro Auriga Unisex Adults' Brake Pad, Blue             10.99    11.85    1    10.99 $    10.99
3380810045246 CVS   Clarins Super Restorative D√©collet√© and Neck Concentrate | Deeply Replenishing, Anti‐Aging           108      118     4     108 $    432.00
3616301786504 CVS   Gucci Flora Gorgeous Gardenia Eau de Parfum Rollerball 0.25 oz / 7.5 ml eau de parfum rollerbal          75       75    6       75 $   450.00
 849398010860 CVS   AMT AMT981 1:25 Scale 1967 Chevrolet Impala SS Model                                                  32.43    27.61    1    32.43 $    32.43
 860004025207 CVS   Mad Hippie MicroDermabrasion Facial ‐ Exfoliating Face Scrub with Glycolic Acid, Mandelic Acid,       25.99    42.39    1    25.99 $    25.99
 850011996737 CVS   Om Mushroom Superfood Lion's Mane Mushroom Capsules Superfood Supplement, 180 Count,                  49.99       30    1    49.99 $    49.99
 810834031473 CVS   Youth To The People 121 Polypeptide Cream, Firming + Hydrating Face Moisturizer & Collagen Cr            68    49.89    1       68 $    68.00
 859776000208 CVS   Curls Blueberry Bliss Reparative Leave In Conditioner ‐ Repair Damage and Prevent Breakage ‐ En       12.99     8.99    5    12.99 $    64.95
 879686006367 CVS   SurfaceMaxx Pro Pro PW Turbo Nozzle 4500‐PSI                                                                   37.99    1    37.99 $    37.99
 887243061438 CVS   Carquest Wearever Platinum OR TEQ CORRECT Ceramic brake pads PXD1160H ‐Front.                            35             1       35 $    35.00
3605971536175 CVS   Kiehl's Powerful Strength Line Reducing Concentrate ‐ Large 2.5oz (75ml)                               100        54    3     100 $    300.00
5057566263566 CVS   Revolution Skincare 20% Vitamin C Radiance Serum, Vitamin C Serum For The Face, Fades Dark S             17       17    1       17 $    17.00
3606000508804 CVS   La Roche‐Posay Effaclar Duo Dual Action Acne Spot Treatment Cream with Benzoyl Peroxide Acn           22.99    20.99    9    22.99 $   206.91
7350092139465 CVS   Foreo Luna Mini 3 Facial Cleansing Brush ‐ Travel Accessories ‐ Face Massager Electric, Ultra‐Hyg      118      179     2     118 $    236.00
5045098360174 CVS   Soap & Glory Sexy Mother Pucker XL Extreme‐Plump Lip Gloss ‐ Hydrating, Plumping Lip Gloss fo         12.99    12.99    1    12.99 $    12.99
3474636920167 CVS   Redken Color Extend Magnetics Shampoo | For Color‐Treated Hair | Gently Cleanses & Protects              26       26    6       26 $   156.00
 850027413891 CVS   Drybar Reserve Vibrating Styling Iron                                                                  190      152     2     190 $    380.00
 848061059526                                                                                                              28.9             1     28.9 $    28.90
 783927263290 CVS   Kichler Ceiling Space 7.5" 1 Light Flush Mount with White Globe in Brushed Nickel                     29.95    23.95    7    29.95 $   209.65
 840262381635 CVS   BRAND NEW OtterBox ALPHA GLASS SERIES Screen Protector for iPhone 14 Pro                               18.5             1     18.5 $    18.50
 884486270399 CVS   Redken High Rise Volume Shampoo | For Fine Hair | Cleanses Hair While Adding Lift & Body | Pa          20.5             1     20.5 $    20.50
 834893004360 CVS   Juice Beauty USDA Organic Facial Wash, 4 fl oz                                                           22             1       22 $    22.00
 784276281454 CVS   Lutron 3 Pk Dimmers White Toggler RCL‐153PNL‐WH‐3 SinglePole 3‐Way                                    24.99             9    24.99 $   224.91
 813146017838 CVS   Kurgo Wander Dog Hammock Style Seat Cover for Pets, Water‐Resistant, Khaki, 27.5" Wide, Hea           75.99    59.99    1    75.99 $    75.99
 811913011850 CVS   Oribe Curl Gloss Hydration & Hold , 5.9 Fl Oz (Pack of 1)                                                42       42    2       42 $    84.00
 817494013290 CVS   Sunday Riley C.E.O. Glow Vitamin C Turmeric Face Oil, 1.18 Fl Oz                                         80       80    1       80 $    80.00
3145891419603 CVS   LE LIFT s√©rum 30 ml                                                                                 138.07             1   138.07 $   138.07
3605972689818 CVS   URBAN DECAY Naked Foxy Mini Eyeshadow Palette ‐ 6 Olive‐Toned Neutral Shades ‐ Richly Pigm               33       33    3       33 $    99.00
3614227749177 CVS   Gucci Long Lasting Satin Lipstick 25* Goldie Red                                                     115.56   115.56    2   115.56 $   231.12
 859975002355 CVS   Andalou Naturals Deep Wrinkle Dermal Filler, Anti Aging Face Moisturizer, Anti Wrinkle Face Cre       21.99    17.75    1    21.99 $    21.99
3614272128002 CVS   YSL BD10                                                                                              79.99             1    79.99 $    79.99
 884486383303 CVS   Biolage Hydra Source Styling Mousse | Provides Body & Natural Movement | Medium Hold | For               24       22    3       24 $    72.00
3282770207828 CVS   Eau Thermale Av√®ne ‐ Cleanance Mattifying Emulsion Lotion ‐ Matte Finish ‐ 24 Hour Hydration            34       34    3       34 $   102.00
 898575001207 CVS   Beyond Good , Pure Extract, Vanilla, 4 Fl Oz                                                          27.19    20.93    1    27.19 $    27.19
 765809186156 CVS   3957 Napa Gold Automotive Fuel Filter 3957 Napa Gold Automotive Fuel Filter                           12.49             1    12.49 $    12.49
 846841019371                                                                                                             20.99             2    20.99 $    41.98
 846733000753 CVS   Tarte Amazonian Clay 12‐Hour Blush Exposed 0.2 oz by Tarte Cosmetics                                   29.4    21.25    2     29.4 $    58.80
 815266013752 CVS   NEW Bosley MD Men Hair Regrowth Treatment Extra Strength Fast SHIPPING!!!                                19             7       19 $   133.00
3605972298522 CVS   IT Cosmetics Hello Results Wrinkle‐Reducing Daily Retinol Serum‐in‐Cream ‐ Firming & Anti‐Aging          69      69     1       69 $    69.00
3614272936737 CVS   MAKE‐UP YVES SAINT LAURENT 3 ORANGE PERFECTO 0.11Fl oz POWDER+ YSL LIPSTICK‐NIB                       43.65             1    43.65 $    43.65
 851262002949 CVS   Beauty Bioscience The Quench: Quadralipid Skin Recovery Cream, 1.7 Oz                                  129      129     2     129 $    258.00
3474636920204 CVS   REDKEN Shampoo, For Damaged Hair, Repairs Strength & Adds Flexibility, Extreme, 300 ml                18.39            17    18.39 $   312.63
 810907022759 CVS   StriVectin Multi‐Action R&R Under Eye Cream, Targets Fine Lines and Dark Circles, 0.5 Fl Oz              65       65    9       65 $   585.00
4059089312012 CVS   SYLVANIA ‐ 1157 LED Red Mini Bulb ‐ Bright LED Bulb, Ideal for Stop and Tail Lights (Contains 2 Bu    20.99    14.75    1    20.99 $    20.99
3614273361088 CVS   Yves Saint Laurent Ladies Rouge Pur Couture The Slim Velvet Radical Matte Lipstick 0.07 oz # 307         39    36.84    4       39 $   156.00
 790011330011 CVS   Jarrow Formulas Red Yeast Rice 1200 mg & Co‐Q10 100 mg Per Serving ‐ 120 Veggie Caps ‐ 60 Se          34.49    22.37    1    34.49 $    34.49
3606000546226 CVS   Vichy Capital Soleil Face Sunscreen SPF 50, Anti Aging Travel Size Sunblock for Face with UVA and     34.99    34.99    2    34.99 $    69.98
 817005022353                                                                                                             29.99             1    29.99 $    29.99
 793442948572 CVS   Ram Mounting AM20224202 Rail U‐Bolt Mount Universal X‐Grip                                            55.49       59    1    55.49 $    55.49
 846733084999 CVS   tarte Mini Tartelette ‚Ñ¢ Jewel Amazonian Clay Palette                                                   36    39.89    5       36 $   180.00
5000167311044 CVS   No7 Protect & Perfect Intense Advanced Serum: Anti‐Aging Face Serum for Wrinkle Reduction w           22.99       22   30    22.99 $   689.70
3282770101669 CVS   Eau Thermale Av√®ne A‐Oxitive Antioxidant Defense Serum, Vitamin C & E, Hyaluronic Acid, Free            50       50    8       50 $   400.00
3348901527118 CVS   Christian Dior Rouge Dior Couture Lipstick ‐ 999 Velvet Lipstick (Refillable) Women 0.12 oz              42    32.99    2       42 $    84.00
 773602003679 CVS   M.A.C. LIPGLASS High‐Glossy Pencil, 0.17 Ounces                                                       26.48    22.15    5    26.48 $   132.40
3614273360999 CVS   Dior Contour No‐transfer lip liner pencil (943 Euphoric)                                              55.35    55.35    1    55.35 $    55.35
 773602577866 CVS   MAC by Make‐Up Artist Cosmetics, Retro Matte Lipstick Mini ‐ All Fired Up ‐1.8g/0.06oz                21.31    21.83    2    21.31 $    42.62
 805112570485 CVS   Case Logic Hdm‐500 Universal Tablet Headrest Mount                                                    13.45    13.45    2    13.45 $    26.90
 842944106345 CVS   Proactiv Clean Azelaic Pore Perfector‐ Brightening Serum for face with Squlane and Hyaluronic A          45    39.78    3       45 $   135.00
 810667011352 CVS   Gold N Hot GH8135 Professional 1875‐Watt Dryer with Styling Pik                                       49.99     29.5    1    49.99 $    49.99
3614225660160 CVS   NEW & SEALED philosophy Fresh Cream Warm Cashmere Eau de Toilette Spray ‐ 2 oz                           34             2       34 $    68.00
 810834031275 CVS   Youth To The People 4D Hyaluronic Acid Face Serum ‐ Triple Peptide Firming, Smoothing + Hydra            57    37.87    6       57 $   342.00
 847852013402 CVS   Cobalt Aquatics Pond and Landscaping LED Light                                                        79.99    19.99    5    79.99 $   399.95
 860007013614 CVS   BeautyStat Universal C Skin Refiner | 20% Vitamin C Serum ‐ Travel Size (.30 oz / 10 ml)                 30       30    2       30 $    60.00
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7350092137829 CVS   FOREO LUNA fofo Smart Facial Cleansing Brush and Skin Analyzer, Fuchsia, Personalized Cleansin           89             3       89 $     267.00
3348901489805 CVS   Dior CAPTURE DREAMSKIN Care & perfect ‐ global age‐defying skincare ‐ perfect skin creator 1 o           90             2       90 $     180.00
3348901544047 CVS   Christian Dior ROSE N' ROSES ‐ EAU DE TOILETTE Roller Peral 20ml                                         75             1       75 $      75.00
 813843042805 CVS   CHI 1" Original Digital Hairstyling Iron Breast Cancer Awareness and Susan G. Komen Special Edit      99.99    79.22    1    99.99 $      99.99
 810014322940 CVS   StriVectin Anti‐Wrinkle Intensive Eye Cream Concentrate for Wrinkles PLUS, Targets Crow's Feet,          72       72   14       72 $   1,008.00
5013035044012 CVS   Robert Sorby T25424 ‐ TurnMaster Shank with Round Tungsten Carbide Cutter                             96.94    96.94    1    96.94 $      96.94
3337872414039 CVS   La Roche‐Posay Redermic R Eyes Retinol Eye Cream, Anti‐Aging Eye Cream to Reduce Wrinkles a           49.99    49.99    2    49.99 $      99.98
 840159740705 CVS   Vuori Performance Jogger                                                                             175.65   175.65   31   175.65 $   5,445.15
 807648051858 CVS   HEXBUG BattleBots Remote Control Tombstone                                                            29.99    19.95    2    29.99 $      59.98
 811913018736 CVS   Oribe Signature Shampoo, 8.5 oz                                                                          49       49    1       49 $      49.00
 887521120222 CVS   2023 Topps Baseball Card Factory Sealed Set. Contains all 660 Cards From Series 1 and 2 plus 5 E       129              1     129 $      129.00
 809280155826 CVS   Fresh Tea Elixir Skin Resilience Activating Serum Serum Women 1 oz                                       80     61.5    6       80 $     480.00
 884486437198 CVS   Pureology Hydrate Sheer Nourishing Shampoo | For Fine, Dry Color Treated Hair | Sulfate‐Free |           36       37   13       36 $     468.00
9421017761011 CVS   Trilogy Replenishing Night Cream, Anti‐Aging Skin Care for Face & Neck, Moisturizer to Reduce F          55    49.59   14       55 $     770.00
 885911045087 CVS   PORTER‐CABLE Finish Nailer, 16GA, 1‐Inch to 2‐1/2‐Inch (FN250C)                                        312    113.21    1     312 $      312.00
 883929728916 CVS   Doctor Who: Jon Pertwee Complete Season Two [Blu‐ray]                                                 69.99    36.99    1    69.99 $      69.99
 810014324968 CVS   StriVectin Multi‐Action Super Shrink Pore Minimizing Serum for minimizing clogged pores and bla          72     50.4    4       72 $     288.00
9421017764777 CVS   Trilogy Very Gentle Moisturising Cream, 2.0 Fl Oz ‐ For Sensitive Skin ‐ A Daily Moisture Recovery       45       45    9       45 $     405.00
 884486152244 CVS   Biolage Hydra Source Detangling Solution | Detangles & Controls Static For Less Frizz & Fly‐Away         24       24   13       24 $     312.00
 850278004909 CVS   Bondi Sands Aero Aerated Self Tanning Foam, Light/Medium, 0.251 kg, BON170                             6.99       29    1     6.99 $       6.99
3433422406599 CVS   La Roche‐Posay Toleriane Dermo Face Cleanser for Face & Eyes, Gentle Face Wash and Makeup             25.99    25.99    2    25.99 $      51.98
3614270974588 CVS   Lanc√¥me Effacernes Under Eye Concealer ‐ Natural, Matte Finish ‐ 260 Beige                              34       34    1       34 $      34.00
 765809192584 CVS   NAPA Gold 3749 Fuel Filter                                                                               29       29    1       29 $      29.00
3605972154729 CVS   IT Cosmetics Hello Results Baby‐Smooth Glycolic Acid Peel + Caring Face Oil with Argan Oil ‐ 1.0 f       59       35    5       59 $     295.00
 850000948877 CVS   MOON Teeth Whitening Kit with LED Light, Wireless, 5 Minute Treatment, Gentle on Sensitive Te         89.99    89.99    2    89.99 $     179.98
                    No7 Advanced Ingredients Hyaluronic Acid & Camellia Oil Serum Capsules ‐ Hydrating Serum for
5000167322521 CVS   Anti Aging + Fine Lines and Wrinkles ‐ Plumping Facial Oil for Lasting Moisture (30pk)                         14.95   3     14.95 $     44.85
 768990301247 CVS   Nordic Naturals Nordic Berries, Citrus ‐ 200 Gummy Berries ‐ Great‐Tasting Multivitamin for Ages      39.95    33.96   2     39.95 $     79.90
 879452004832 CVS   Designs for Health Monolaurin‐Avail ‐ 1000mg Glycerol Monolaurate + Vitamin C with Sunflower          46.49    46.49   2     46.49 $     92.98
 840317107692 CVS   FLEXI New Classic Retractable Dog Leash (Tape), 16 ft, Medium, Black                                  21.99    22.64   6     21.99 $    131.94
 773602560059 CVS   Eye Brows Big Boost by M.A.C Brunette 4.1g                                                            27.97    27.97   4     27.97 $    111.88
 815266013219 CVS   BosleyMD Foam, Extra Strength Thinning Treatment for Hair Loss and Hair Regrowth for Women               40       40   1        40 $     40.00
 814113016809 CVS   Honeywell Safes & Door Locks ‐ 8732401 Electronic Entry Knob Door Lock, Oil Rubbed Bronze, 6.        169.59    72.53   3    169.59 $    508.77
                    Ivation Wine Gift Set, Includes Stainless Steel Electric Wine Bottle Opener, Wine Aerator,
 840102193640 CVS   Electric Vacuum Wine Preserver, 2 Bottle Stoppers, Foil Cutter & LED Charging Base                             49.95    1    49.95 $      49.95
 850011715253 CVS   Moonstone Kidney Stone Stopper Capsules, Kidney Cleanse & Support for Stones Prevention, Uro          39.99    29.99    2    39.99 $      79.98
 840093101938 CVS   Nature's Truth Saw Palmetto 2400 mg Capsules, 120 Count                                               16.49    13.98    3    16.49 $      49.47
3337875821636 CVS   Vichy LiftActiv Pure Retinol Serum for Face | Resurfacing Anti‐Aging Face Serum for Wrinkles, Fin     44.99    44.99    3    44.99 $     134.97
5000167310993 CVS   No7 Protect & Perfect Intense Advanced Serum 1oz Wrinkles Anti‐Aging Fine Lines                       19.99            19    19.99 $     379.81
 806890220043 CVS   Nokya 9007/HB5 Headlight Bulbs ‚Äî Arctic White 7000K 65/55W (Stage 1)                                20.17    18.97    1    20.17 $      20.17
 851722007095 CVS   EOSERA Wax Blaster MD Kit ‐ Complete Ear Cleaning Solution with Ear Wax MD Drops | Gentle E           27.97    36.49    1    27.97 $      27.97
 883140038801 CVS   Dermablend Smooth Liquid Foundation with SPF 25, 0C Linen, 1 Fl. Oz.                                     42       42    1       42 $      42.00
 797801059923 CVS   NaturVet Hemp Advanced Joint Health Dog Supplement Soft Chews ‚ÄìHelps Support Joint Healt            36.99    38.99   33    36.99 $   1,220.67
7350120790248 CVS   FOREO LUNA Play Plus 2, I Lilac you                                                                      69             5       69 $     345.00
 816907011724 CVS   Creative Bioscience Liver Formula, 60 Count                                                           29.95             1    29.95 $      29.95
 883351518932 CVS   Kwikset 909 SmartCode Electronic Deadbolt featuring SmartKey in Venetian Bronze                        105     91.97    2     105 $      210.00
 800443253892 CVS   Good2Go LED Light‐Up Leash for Dogs in Blue, 5 ft, One Size Fits All                                  25.56    25.56    2    25.56 $      51.12
 810089954824 CVS   Vital Proteins Green Apple Daily Greens, 9.3 OZ                                                          32       36   16       32 $     512.00
 810034812117 CVS   PROSUPPS Hyde Max Pump Pre Workout for Men and Women ‐ Nitric Oxide Supplement for Pum                18.18    18.18    2    18.18 $      36.36
3380810149678 CVS   Clarins Double Serum | Anti‐Aging | Visibly Firms, Smoothes and Boosts Radiance| 21 Plant Ingre        130      134    22     130 $    2,860.00
 817494011456 CVS   Sunday Riley Auto Correct Brightening and Depuffing Caffeine Eye Contour Cream for Dark Circle           65       65    5       65 $     325.00
4897054513640 CVS   Flame Toys Transformers: Megatron IDW (Decepticon Version), FuraiModel (FLM51364)                        50       65    2       50 $     100.00
 888793237977 CVS   HP 201A Magenta Toner Cartridge | Works with HP Color LaserJet Pro M252, HP Color LaserJet P         100.89   100.89    3   100.89 $     302.67
 851722007378 CVS   Ear Dryer MD Electric Ear Dryer                                                                       25.95    25.95   26    25.95 $     674.70
5000167317695 CVS   No7 Protect & Perfect Intense Advanced Nourishing Hand and Nail Cream ‐ Anti Aging Hand Crea          16.99    10.93    1    16.99 $      16.99
 819358009470 CVS   TubShroom Tub Drain Hair Catcher, 2 Pack, Chrome ‚Äì Drain Protector and Hair Catcher for Bath        24.99    18.99    3    24.99 $      74.97
 884486209580 CVS   Redken Frizz Dismiss Conditioner, 8.5 Ounce (Pack of 7)                                              131.78             1   131.78 $     131.78
 885612704825 CVS   Kohler R22153‐SD‐VS Rune Single Handle Kitchen Faucet with Pull Down Sprayer and Soap Dispe          351.25             1   351.25 $     351.25
                    Kate Somerville Peptide K8 Power Cream | Advanced Anti‐Aging Moisturizer | Firms & Smooths
 813920018600 CVS   Skin | 1 Fl Oz                                                                                                  158     1     158 $     158.00
 768990017902                                                                                                                      23.76    3    23.76 $     71.28
 840049914032 CVS   Josie Maran Skin Dope Intensive Hydration Body Cream LUSH LAVENDER 240 mL | 8 fl. oz                  39.99    39.99    1    39.99 $     39.99
 800443464236 CVS   Reddy Step In Dog Harness XL/XXL , Blue/Red                                                           14.24            19    14.24 $    270.56
3348901306683                                                                                                            170.01             2   170.01 $    340.02
4064941092797 CVS   Kylie Jenner The Bronze Eyeshadow Palette                                                              20.5             1     20.5 $     20.50
 786689166359 CVS   All‐In‐one Breaker 15 Amp single pole CHFN115A1CS                                                              28.99    3    28.99 $     86.97
 800443434543 CVS   Reddy Camouflage Dog Harness, X‐Large/XX‐Large By: Reddy                                              48.99             2    48.99 $     97.98
                    evanhealy Blue Cactus Beauty Elixir | Organic Jojoba & Prickly Pear Oils | Soothing & Hydrating
 817835011237 CVS   Serum for All Skin Types                                                                                       36.99    1    36.99 $     36.99
 797801034500 CVS   NaturVet Joint Health Time Release Level 1‐Maximum Hip & Joint Dog Supplement                                  39.92    4    39.92 $    159.68
 850011058220 CVS   It's a 10 Haircare Miracle Coily Leave‐in Product, 4 oz.                                                       17.49    1    17.49 $     17.49
 813920015708 CVS   Kate Somerville EradiKate Daily Foaming Cleanser Acne Treatment ‐ Clinically Formulated Medica           44             9       44 $    396.00
5000167323153 CVS   No7 Protect & Perfect Intense Advanced Night Cream ‐ Hydrating Face Moisturizer for Anti Aging        23.98     17.5   10    23.98 $    239.80
 885363004762 CVS   Lenox Tools PT 1779801 2L Arbor with 4‐1/4‐Inch Pilot Drill Bit for Hole Saws                         32.31    25.49    1    32.31 $     32.31
4820184120228 CVS   UGEARS Model Safe Kit | 3D Wooden Puzzle | DIY Mechanical Safe                                        49.99    49.99   10    49.99 $    499.90
 850022464065 CVS   Lexie Premium Hearing Aids with Remote Expert Care Light Grey                                        349.99             1   349.99 $    349.99
 834893000942 CVS   Juice Beauty Stem Cellular 2‐in‐1 Cleanser, Gentle Makeup Remover and Hydrating Cleanser for S           34      34     1       34 $     34.00
 860002485607                                                                                                            199.99             2   199.99 $    399.98
3701129802076 CVS   Bioderma Atoderm Intensive Balm, Intensely Nourishing Body Cream, Soothes discomfort, for Ve          27.99    20.43    1    27.99 $     27.99
 891085001101 CVS   Minus33 Kancamagus Men‚Äôs Midweight Base Layer Pants ‐ 100% Merino Wool Bottoms ‐ Mult              104.99   104.99    1   104.99 $    104.99
3614271682369 CVS   Lanc√¥me Monsieur Big Volumizing Mascara ‐ Up To 12x More Volume & 24H Wear ‐ False Lash                 30       30   13       30 $    390.00
 884486151513 CVS   Biolage Color Last¬†Shampoo | Color Safe | Helps Protect Hair & Maintain Vibrant Color | For Co          23       24    1       23 $     23.00
 850026256178 CVS   Mad Hippie ‐ Hydrating Facial SPF 25, 2 fl. oz                                                        19.99    19.99    1    19.99 $     19.99
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3337875588621 CVS   La Roche‐Posay Lipikar Soothing Relief Eczema Cream, Face and Body Lotion For Eczema and Sen         15.99    15.99   4     15.99 $     63.96
 818324021294 CVS   Winky Lux White Tea SPF 30 Tinted Moisturizer for Oily Skin, Vitamin E & Antioxidants, Deep, 1 F     19.99    24.98   1     19.99 $     19.99
 846733026821 CVS   tarte Clay Play Face Shaping Palette II                                                                          54   1        54 $     54.00
 827778421000 CVS   L√©g√®re Reeds Premium Synthetic Woodwind Reed, Tenor Saxophone, Signature, Strength 2.5                47    34.99   1        47 $     47.00
 811913010396 CVS   Oribe Dry Texturizing Spray, 8.5 oz                                                                     49       49   2        49 $     98.00
 800443447727 CVS   Reddy Gray And Black Dog Harness, Large By: Reddy                                                    48.99            5     48.99 $    244.95
4549292073836 CVS   1247C001AA Canon Ink Cartridge 046 Yellow LBP650C ‐SA                                                 81.5            1      81.5 $     81.50
3337875588775 CVS   Vichy Aqualia Thermal Mineral Water Gel Moisturizer for Face with 97% Natural Origin Hyaluron        34.99    34.99   3     34.99 $    104.97
 810976030747                                                                                                               60            3        60 $    180.00
                    ÔªøFuzzyDuck Kids Hair Gel, Water‐soluble, Girls & Boys Hair Gel ÔªøInfused w/Aloe, Sea
 850712001358 CVS   Botanicals, & Honey ‐ For All Hair Types (ÔªøCitrus Medley, 8oz)                                              23.74   2     23.74 $     47.48
 884486497895 CVS   Redken Pliable Paste For Hair Styling with Flexible Hold |Adds Lightweight, Flexible Texture & Mo      23        24   3        23 $     69.00
                    Rouge Dior Forever Matte Lipstick ‐ 505 Forever Sensual Touch by Christian Dior for Women ‐
3348901632959 CVS   0.11 oz Lipstick                                                                                              34.97    3    34.97 $     104.91
 858413007556 CVS   Playology Dual Layer Ring Toy, for Large Dog Breeds (35lbs and Up) ‐ for Heaviest Chewers ‐ Enga     24.99    24.99    1    24.99 $      24.99
 800443464076 CVS   Reddy Tan & Brown Canvas Step‐in Dog Harness, XL/XXL                                                 24.95            10    24.95 $     249.50
8011003823529 CVS   VERSACE Eros Pour Femme Eau de Parfum, 1.7 Ounce                                                        92    45.62    1       92 $      92.00
 889714001967 CVS   Crest 3D Whitestrips Professional White with Hydrogen Peroxide + LED Light Teeth Whitening Kit       46.96    48.99    4    46.96 $     187.84
 888391730849 CVS   Mally Beauty ‚Äì Perfect Prep Under Eye Brightener ‚Äì Masks Blue Tones & Dark Circles ‚Äì Soft,        35    17.72    1       35 $      35.00
 856864002007 CVS   LIFTLAB Lift Perfect Rejuvenation Cream, 1.7 Fl Oz                                                    185    111.95    1     185 $      185.00
3605972526489 CVS   Kiehl's Retinol Skin‐Renewing Daily Micro‐Dose Serum, 1.7 fl oz / 50 mL                                 92       49    2       92 $     184.00
 879634019043 CVS   Josie Maran Argan Bright Skin Vitamin C Serum ‐ Reduces Dark Spots (25 mL | 0.85 Ô¨Ç. oz.)           33.16    33.16    1    33.16 $      33.16
 812256021735 CVS   Ariana Grande Sweet Like Candy Eau De Parfum Spray 1.7 Oz                                               45       45    1       45 $      45.00
8886419333494 CVS   Razer Basilisk V3 ‐ Ergonomic Wired Gaming Mouse                                                              66.99    1    66.99 $      66.99
 887961968996 CVS   Disney Pixar Cars 3 Pack Mini Racers, Dinoco Series                                                  19.99    24.95    4    19.99 $      79.96
 773602465644 CVS   Eye Brows Styler by M.A.C Lingering 9g                                                                18.5    34.99    5     18.5 $      92.50
5060552901892 CVS   Augustinus Bader The Rich Cream, 1.7 Fl Oz (Pack of 1)                                                290      230     1     290 $      290.00
 810042480452                                                                                                             27.5            10     27.5 $     275.00
4033651385291 CVS   BeYu Velvet Mat Foundation Oil, Free, Light Khaki, 1 Fluid Ounce                                     11.99             1    11.99 $      11.99
 815305029713 CVS   Living proof Full Dry Volume & Texture Spray, 7.5 fl oz                                                 36       36    3       36 $     108.00
7350092139434 CVS   Foreo Luna Mini 3 Facial Cleansing Brush ‐ Travel Accessories ‐ Face Massager Electric, Ultra‐Hyg   118.44     179     1   118.44 $     118.44
3380810149661 CVS   Clarins Double Serum | Award‐Winning | Anti‐Aging | Visibly Firms, Smoothes and Boosts Radian           92       92   28       92 $   2,576.00
9120096771286 CVS   Polaroid Go Everything Box Camera and Instant Film Bundle (6036)                                    119.99   119.99    2   119.99 $     239.98
 846841032905                                                                                                               30             3       30 $      90.00
3348901477628 CVS   Christian Dior Capture Totale Firming and Wrinkle Correcting Eye Cream Women Eye Cream 0.5 o            70     76.6    1       70 $      70.00
 887961951615 CVS   Mega Construx Halo Green Master Chief (GWY97)                                                         9.99    26.94    2     9.99 $      19.98
 792363668927 CVS   Digital Automotive Battery Analyzer                                                                 189.99             1   189.99 $     189.99
 819324021109 CVS   Natural Escapes Aromatherapy Serene                                                                  12.75    12.75    2    12.75 $      25.50
 840049904361 CVS   Josie Maran Pro‐Retinol Body Butter (Unscented, 240 mL | 8 fl. oz.)                                              59    3       59 $     177.00
3605972264244 CVS   NIB IT Cosmetics Bye Bye Foundation Oil Free Matte Moisturizer Fair SPF 50 3/24                       37.6             1     37.6 $      37.60
 765809192843 CVS   NAPA Gold 7187 Oil Filter                                                                               24      24     1       24 $      24.00
 773602339044 CVS   MAC Mineralize Skinfinish Cheeky Bronze, 0.35 Ounce                                                  53.62     34.9    5    53.62 $     268.10
6291106036572 CVS   Wishful Thirst Trap Juice Hyaluronic Acid & Peptide Hydrating Facial Serum 1.0 oz/ 30 mL             55.99      50     2    55.99 $     111.98
 884835007638                                                                                                            94.37             2    94.37 $     188.74
 820650855061 CVS   Pokemon TCG: Collector Chest 2023                                                                    26.35    23.97    1    26.35 $      26.35
 792363567732 CVS   ICON WSSSM‐5 Professional S‐Shaped Metric Wrench Set, 5 Piece 56773 New                              57.53             1    57.53 $      57.53
3337875583626 CVS   La Roche‐Posay Hyalu B5 Pure Hyaluronic Acid Serum for Face, with Vitamin B5, Anti‐Aging Serum       39.99    39.99   35    39.99 $   1,399.65
 834893012242 CVS   Juice Beauty Stem Cellular Anti‐Wrinkle Retinol Overnight Serum with Hyaluronic Acid, 1 fl oz           72       72   17       72 $   1,224.00
3605972008176 CVS   Urban Decay Brow Blade ‐ Waterproof Eyebrow Pencil & Ink Stain ‐ Dual‐Ended Pencil Fills and D          28       28    3       28 $      84.00
 850006796168 CVS   wakse Face & Body Applicator Set 70pcs Wooden                                                                 14.99    1    14.99 $      14.99
 856747006894 CVS   French Girl Neroli Eye Serum ‐ Renewing Treatment Oil for Under Eyes and Fine Lines, Brightenin         45       45    1       45 $      45.00
3605972296009 CVS   IT Cosmetics Confidence in Your Beauty Sleep ‐ Anti‐Aging Night Cream ‐ Visibly Improves Fine Li        64     44.8    4       64 $     256.00
 853427006151 CVS   Reserveage Beauty, Keratin Hair Booster with Biotin & Resveratrol, Hair and Nail Growth Supplem      91.53    57.52    2    91.53 $     183.06
 840030701382 CVS   TP‐Link AX1800 WiFi 6 Extender(RE605X)‐Internet Booster, Covers up to 1500 sq.ft and 30 Device       99.99    98.25    1    99.99 $      99.99
 842861107791 CVS   Ring Stick Up Cam Battery HD security camera with custom privacy controls, Simple setup, Work        99.99             9    99.99 $     899.91
                    Drunk Elephant Virgin Marula Luxury Facial Oil ‐ Gluten‐Free and Vegan Anti‐Aging Skin Care
 856556004005 CVS   and Face Moisturizer (30 mL / 1 Fl Oz)                                                                        51.99   4     51.99 $     207.96
 884486453167 CVS   Redken Purple Shampoo, With Citric Acid and Vi Violet Pigment, Hair Toner, Color Depositing For        25        26   7        25 $     175.00
3605972659842 CVS   IT Cosmetics CC+ Nude Glow Lightweight Foundation + Glow Serum with SPF 40 ‐ With Niacinam             47        47   1        47 $      47.00
4005176910838 CVS   Eurocube Centerset Single‐Handle Single‐Hole Bathroom Faucet ‐ 1.5 GPM                                349    182.03   3      349 $    1,047.00
 887167014367 CVS   Est√©e Lauder Futurist Hydra Rescue Moisturizing Foundation SPF 45 1N0 Porcelain                       52     39.99   1        52 $      52.00
                    Drunk Elephant A‐Gloei Virgin Marula Oil with Retinol. Anti‐Wrinkle Treatment for Youthful
 812343036369 CVS   Looking Skin (30 mL / 1 Fl Oz)                                                                                   72    4       72 $     288.00
 811909033682 CVS   Focus Factor Gaming Nootropic Supplement with Lions Mane for Energy, Focus, Concentration (1         29.99     8.98    2    29.99 $      59.98
 793661573418 CVS   Black Diamond Pursuit Shock Trekking‐Hiking Poles ‐ Aluminum, Collapsible & Adjustable, Steel G     167.16   167.16    2   167.16 $     334.32
3474636382712 CVS   KERASTASE Nutritive Nourishing Mask | Moisturizes and Conditions | For Medium to Thick Hair             63             2       63 $     126.00
 872681070838 CVS   Sonneman 7240.72‐WL Contemporary Modern LED Wall Sconce from Sword Collection in Bronze               350    589.99    1     350 $      350.00
 787651760261 CVS   AZO D Mannose Urinary Tract Health, Cleanse, Flush & Protect The Urinary Tract, No.1 Pharmaci        29.29    28.45   75    29.29 $   2,196.75
 884486437228 CVS   Pureology Hydrate Sheer Nourishing Conditioner | For Fine, Dry Color Treated Hair | Sulfate‐Free        36       37   11       36 $     396.00
 841886110274 CVS   Napa BP9003NVV2‐N ‐HB2‐ NIGHTVISION Vivid 2‐Pack Headlight Bulb ‐ High _Low Beam                     11.99             1    11.99 $      11.99
 889714000052 CVS   Crest 3D Whitestrips LUXE Glamorous White 28 Count                                                   42.99     39.8    5    42.99 $     214.95
3614226905666 CVS   BURBERRY for Women Eau de Parfum 100 ml                                                              41.89       95    1    41.89 $      41.89
 884486331168 CVS   Baxter of California Daily Fortifying Shampoo for Men | All Hair Types |Cleanses and Strengthens        22       22    2       22 $      44.00
 767332154107 CVS   Murad Retinal ReSculpt Overnight Treatment ‐ Resurgence Anti‐Aging Serum for Lines and Wrink          105      105    18     105 $    1,890.00
 859975002379 CVS   Lip Smacker Frappe Cup Lip Balm, Unicorn, 1 Tube, Prevent Chapped Lips, 0.26 Ounce                    5.25     8.14    2     5.25 $      10.50
 850019179446 CVS   Recess Mood Power Berry 5.5OZ                                                                        41.99             2    41.99 $      83.98
 884486453327 CVS   Redken Color Extend Magnetics Shampoo | For Color‐Treated Hair | Gently Cleanses & Protects             25      26    25       25 $     625.00
7640126630083 CVS   Alchimie Forever Kantic+ Nourishing Cream | Ultra‐Nourishing Facial Cream with Jojoba, Vitamin          81      81     5       81 $     405.00
3474630736559 CVS   Matrix Bio SC Normalizing Shampoo                                                                    37.48             1    37.48 $      37.48
3282770209396 CVS   Eau Thermale Av√®ne RICH Revitalizing Nourishing Cream, Ultra Nourishing Face Moisturizer, No           42       42    1       42 $      42.00
 898571000259 CVS   It's A 10 Miracle Conditioner, 10‐Ounces                                                                40    18.97    2       40 $      80.00
8809643523455 CVS   MISSHA Vita C Plus Facial Toner and Astringent (0.52 Fl Oz (Pack of 1), Correcting Concentrate Am       30    17.03    1       30 $      30.00
5000167325829 CVS   No7 Restore & Renew Face & Neck Multi Action Serum ‐ Collagen Peptide Anti Aging Facial Serum        18.99    12.95    2    18.99 $      37.98
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3348901527194 CVS   Dior Rouge Long Wear Refillable No. 760 Favorite                                                      43.99    43.99    1    43.99 $    43.99
 874034012236 CVS   Clean Classic WARM COTTON & MANDARIN Eau de Toilette Spray 2.0 oz                                      57.8             3     57.8 $   173.40
 810074830270 CVS   HUBBLE CONNECTED Dual Vision Smart Dual Camera Baby Monitor, 5" HD Screen, Nursery Pal Re            229.99   209.99    1   229.99 $   229.99
3614272227026 CVS   Lanc√¥me Rose Exfoliating Face Scrub ‐ Exfoliates & Plumps Skin ‐ With Real Sugar Grains, Rose W         35       35    2       35 $    70.00
 879655000846 CVS   Spot Hogg Archery Product Hunter W/Wrap Rh Lg .010                                                   159.14   299.99    1   159.14 $   159.14
 859644007728 CVS   Wild One Leash ‐ Small ‐ Lilac                                                                                 53.99    2    53.99 $   107.98
 773602048717 CVS   Clinique Moisture Surge Hydrating Supercharged Concentrate ‐ Travel Size 0.5oz/15ml                            17.38    5    17.38 $    86.90
 883049546056 CVS   KitchenAid Cordless 5 Cup Food Chopper ‐ KFCB519, Empire Red                                          99.99    99.95    1    99.99 $    99.99
 841992097605 CVS   up & up Remanufactured 3‐Pack Cyan/Magenta/Yellow High Yield Ink Cartridges ‐ Compatible              49.99     6.38    1    49.99 $    49.99
 860007715822 CVS   Peak + Valley Nootropic Brain Support Supplement for Memory & Focus with Lion's Mane Mushr            29.99    23.99    4    29.99 $   119.96
 859764003914 CVS   Living proof Perfect hair Day Conditioner, 8 oz                                                          27            19       27 $   513.00
4260521261144 CVS   Dr. Barbara Sturm, Super Anti‐Aging Face Cream, 50ml                                                   360      360     1     360 $    360.00
 885170188624 CVS   Panasonic Multi‐Groomer Men‚Äôs Trimmer for Beard, Hair and Body, 39 Trim Length Settings w           84.99    79.99    1    84.99 $    84.99
5000167322514 CVS   No7 Restore & Renew Multi Action Face & Neck Cream, Enriched with Vitamin C, SPF 30 UV Prot           24.99     22.5    5    24.99 $   124.95
3337875839969 CVS   La Roche‐Posay Toleriane Double Repair Face Moisturizer, 1.35 fl oz NEW in Box                        18.04             1    18.04 $    18.04
 855571001594 CVS   Arthur Andrew Medical, Serretia, Serrapeptase Formula for Muscle and Sinus Support, 90 Capsul         79.99    55.99    1    79.99 $    79.99
3282770205589 CVS   Eau Thermale Av√®ne Cleanance Night Cream, Blemish Correcting & Age Renewing, 1 oz, for All S            56       56   15       56 $   840.00
 846733041497 CVS   tarte Maracuja Hydrating Tinted Moisturizer 54N deep neutral                                                   24.99    1    24.99 $    24.99
 797801034272 CVS   NaturVet ‚Äì GrassSaver Wafers for Dogs Plus Enzymes ‚Äì 300 Wafers ‚Äì Healthy Supplement to         28.99    30.99    1    28.99 $    28.99
 840317107852 CVS   FLEXI¬Æ New Classic Retractable Dog Leash (Tape), Ergonomic, Durable and Tangle Free Pet Wal          59.99     24.5    2    59.99 $   119.98
 859975002331 CVS   Andalou Naturals Fruit Stem Cell Revitalize Serum, 1.1 Fl Oz                                          28.99    16.75    8    28.99 $   231.92
 800443368534 CVS   Petco Brand ‐ Good Lovin' Naturally Shed Extra‐Large Split Elk Antler Dog Chew, 9 oz.                  23.5     23.5    2     23.5 $    47.00
 841938089176 CVS   Design Classics Flat LED Light Surface Mount 10‐Inch Square in Satin Nickel Finish                    60.45    60.45    1    60.45 $    60.45
 884486178602 CVS   Redken Pliable Paste For Hair Styling with Flexible Hold |Adds Lightweight, Flexible Texture & Mo        23       24    1       23 $    23.00
 883349735419 CVS   T3 Singlepass Styling Iron Custom Blend Ceramic + Ionic Flat Iron for Wide Hair Straightening and      235              1     235 $    235.00
 883351591959 CVS   Kwikset 93001‐890 Delta Privacy Bed/Bath Lever In Polished Chrome                                     20.97    40.83    3    20.97 $    62.91
 811659038692 CVS   Razer Kishi Mobile Game Controller / Gamepad for Xbox Android USB‐C: Game Pass Ultimate, xC           99.99    58.95    2    99.99 $   199.98
 896364002763 CVS   Olaplex. , 5 BOND MAINTENANCE CONDITIONER 8.5OZ                                                          32             3       32 $    96.00
 810819031900 CVS   SmileDirectClub Fast Dissolving Teeth Whitening Strips ‐ 18 Count ‐ 2X Whiter Results, 2X Faster      29.98     24.5    1    29.98 $    29.98
 883140033929 CVS   La Roche‐Posay Anthelios Cooling Water Lotion Sunscreen for Body and Face, Broad Spectrum Su          37.99    37.99    2    37.99 $    75.98
 784276014489 CVS   Lutron DVCL‐153PR‐WH Diva 120V Single Or 3‐Way Location CFL/LED Digital Dimmer                           30    29.14    1       30 $    30.00
 783643195028 CVS   SIEMENS Q22050CT 50 Double Two 20‐Amp Single Pole Circuit Breaker, Color                                 65     31.5    1       65 $    65.00
 807648050622 CVS   HEXBUG Battle Spider 2.0 Single                                                                       29.99    63.18   14    29.99 $   419.86
8011469991190 CVS   SICCE Shark ADV 400 Internal Filter, freshwater and saltwater application, for submerged use|10       51.99    39.99    3    51.99 $   155.97
 815439003016 CVS   Frankincense & Myrrh Foot Pain Relief Rubbing Oil ‐ Nerve Pain Relief Rubbing Oil with Essential      33.06    18.99   24    33.06 $   793.44
 767332153018 CVS   Murad AHA/BHA/Retinoid Daily Clarifying Peel 95ml                                                      31.2       44    1     31.2 $    31.20
 850278004923 CVS   Bondi Sands Liquid Gold Aero Aerated Self Tanning Foam, 0.251 kg                                          9       29    1        9 $     9.00
 850184008251 CVS   Qunol Liquid Turmeric, 20.3 FZ                                                                        39.99             1    39.99 $    39.99
 840749004316 CVS   Mineral Fusion Volumizing Mascara Packaging May Vary, Chestnut, 0.57 Fl Oz                            19.99             1    19.99 $    19.99
 840749017668 CVS   Mineral Fusion Full Coverage Foundation, Liquid Foundation ‐ Deep 1‐ Tan to Deep Complexion w         29.99    16.98    1    29.99 $    29.99
 811909034207 CVS   Focus Factor Blue Light Formula (60 Count) ‐ Eye Vitamins with Blue Light Filtration Support ‐ Lut    34.99    28.64   14    34.99 $   489.86
 813843044311 CVS   CHI Touch Activated Compact Hair Dryer with Optional Touch Sensor for Uninterrupted Styling          109.99    84.69    1   109.99 $   109.99
3666057071102 CVS   Clarins Extra‐Firming Phyto‐Serum | Anti‐Aging | Visibly Firms, Lifts and Tightens Slackened Skin      112              5     112 $    560.00
3474636919994 CVS   REDKEN Conditioner, Aloe Vera, For Severely Dry Hair, Hydrate & Soften, All Soft Mega, 300 ml         29.79            20    29.79 $   595.80
 811659036278 CVS   Razer DeathAdder V2 Gaming Mouse: 20K DPI Optical Sensor ‐ Fastest Gaming Mouse Switch ‐ C            69.99   108.99    1    69.99 $    69.99
 883351591898 CVS   Kwikset 92001‐533 Delta Passage Hall/Closet Lever In Polished Chrome                                  18.97    39.06   30    18.97 $   569.10
 810014320755 CVS   StriVectin Multi‐Action Super‐C Retinol Brighten & Correct Vitamin C Face Serum with Acerola Ch          75       72    4       75 $   300.00
 840103283180 CVS   RoC Resurfacing Disks, Hypoallergenic Exfoliating Makeup Remover Pads for Wrinkles & Skin Ton          9.99    13.99    1     9.99 $     9.99
 810907029437 CVS   StriVectin Tighten & Lift Peptight Tightening & Brightening Face Serum with Peptides for Even Sk         99       99   10       99 $   990.00
 887167393271 CVS   Estee Lauder Hydrating,Eye Aging, Advanced Night Repair Eye Supercharged Complex 15ml                 69.99     27.3    5    69.99 $   349.95
3348901455381 CVS   Christian Dior Miss Dior Roller‐Pearl Women EDT Rollerball (Mini) 0.67 oz                                38    56.99    1       38 $    38.00
 851770007436 CVS   Orgain Organic Vegan Protein Powder, Chocolate Peanut Butter ‐ 21g of Plant Based Protein, Low           15       14    2       15 $    30.00
 819430010790 CVS   Sigma E20 ‐ Short Shader Brush                                                                           14       14    1       14 $    14.00
3348901578875 CVS   Dior Forever Skin Glow 24HR Radiant Foundation SPF15 3N Neutral/Glow New In Box                       29.99             1    29.99 $    29.99
 787651760148 CVS   AZO Bladder Control with Go‐Less¬Æ & Weight Management Dietary Supplement | Helps Reduc               21.99    27.01    5    21.99 $   109.95
 850019136012 CVS   Splendor Radiant Facial Serum Ampoules, Hyaluronic Acid and Vitamin C Serum, Revitalizing Faci         19.5     12.9    2     19.5 $    39.00
3606000437449 CVS   La Roche‐Posay Cicaplast Baume B5 Soothing Multi‐Purpose Balm, 1.35 Fl oz                             17.99    15.99    1    17.99 $    17.99
 816657022490 CVS   Fenty Beauty by Rihanna Killawatt Freestyle Highlighter Mean Money/Hu$tla Baby                           40    37.99   23       40 $   920.00
3616302764655 CVS   GUCCI FLORA GORGEOUS GARDENIA 2PC GIFT SET, 5ml Mini Dabbler,10ml Rollerball                          58.99             1    58.99 $    58.99
 817494013986 CVS   Sunday Riley Ice Ceramide and Vitamin F Moisturizing Face Moisturizer Dry Skin Cream                     65       65    1       65 $    65.00
 848467018233 CVS   ZAGG ID5GLS‐F00 InvisibleShield Glass Screen Protector for Apple iPad Pro 9.7 / iPad Air 2/ iPad A    49.99     9.85    1    49.99 $    49.99
 827204112830                                                                                                             36.49             1    36.49 $    36.49
 884486151834 CVS   Biolage Smooth Proof¬†Shampoo | Cleanses, Smooths & Controls Frizz | For Frizzy Hair |¬†Parab            38    27.99    1       38 $    38.00
 840042920689 CVS   Keyless Entry, Car Key Remote FOB Designed for Select Buick, Chevrolet, Pontiac & Saturn Vehicl       79.95    79.95    1    79.95 $    79.95
 840122902314 CVS   RARE BEAUTY BY SELENA GOMEZ CONFIDENT ENERGY Limited Edition EYESHADOW PALETTE                           23             1       23 $    23.00
3474636920259 CVS   REDKEN Conditioner, For Flat/Fine Hair, Adds Lift & Volume, Volume Injection, 300 ml                  19.57             8    19.57 $   156.56
 843813002652 CVS   COVER FX Shimmer Veil ‐ Halo ‐ Weightless Cream Shimmer ‐ Crease‐Proof ‐ Transfer‐Proof Form             28    12.52    1       28 $    28.00
 773602609819 CVS   MAC Lustreglass Sheer Shine Lipstick ‐ Posh Pit for Women ‐ 0.1 oz Lipstick                           52.18    23.99    1    52.18 $    52.18
3558380067870 CVS   Space Cowboys | Marvel Splendor |Board Game | Ages 10+ | 2 to 4 Players | 30 Minutes Playing          21.99     46.8    2    21.99 $    43.98
 884486178947 CVS   Redken Max Sculpting Gel | For All Hair Types | Provides Body & High Shine Finish | Long‐Lasting         24       24   10       24 $   240.00
3614272942639 CVS   Yves Saint Laurent Tatouage Couture Velvet Matte Cream ‐ 204 Beige Underground Lipstick Wom              38             1       38 $    38.00
5000167299267 CVS   No7 Laboratories Firming Booster Serum 1 fl oz New in Box MSRP $43                                    17.99             2    17.99 $    35.98
3616303153908 CVS   philosophy renewed hope in a jar ‐ water cream, 2 oz                                                     39             2       39 $    78.00
 887961913828 CVS   Barbie Dreamtopia Chelsea Doll and Dress‐Up Set with 12 Fashion Pieces Themed to Princess, M          16.99    16.99    1    16.99 $    16.99
 842235661799 CVS   Globe Electric LED Integrated Work Light, Red Finish, Integrated 14W LED 6617901                      49.99             1    49.99 $    49.99
 840216930407 CVS   Living proof Full Shampoo, 8 oz                                                                          34       34    2       34 $    68.00
3337875685894 CVS   La Roche‐Posay Toleriane Purifying Foaming Facial Cleanser, Face Wash for Oily and Normal Skin        13.99    13.99    2    13.99 $    27.98
 840093101556 CVS   Evening Primrose Oil Capsules | 60 Softgels | Cold Pressed | Non‐GMO, Gluten Free | By Nature'        10.49    15.17    2    10.49 $    20.98
 887243064170 CVS   CARQUEST TEQ Correct Professional PMD655H Semi‐Metallic Disc Brake Pad w/ Hard                        42.95             6    42.95 $   257.70
4059089313682 CVS   SYLVANIA ‐ 9012 SilverStar Ultra ‐ High Performance Halogen Headlight Bulb, High Beam, Low Be         64.99       35    1    64.99 $    64.99
 884011484314 CVS   Baldwin PSSQUCSR112 Reserve Passage Square with Contemporary Square Rose in Aged Bronze                107      95.4    1     107 $    107.00
 884486151612 CVS   Biolage Color Last Conditioner | Color Safe Conditioner | Helps Maintain Depth & Shine | For Co          24       24   10       24 $   240.00
3614229375046 CVS   Gucci Velvet Matte Lipstick 606 Sophie Plum                                                              45    92.56    1       45 $    45.00
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 860003821305 CVS   Plant People ‐ Immune Power | Advanced Immune Support with Mushrooms, Astragalus, Herbal              29.99    22.83    13    29.99 $     389.87
 790011140528 CVS   Jarrow Formulas Quercetin 500 mg ‐ Bioflavonoid ‐ Quercetin Dietary Supplement ‐ 200 Servings         66.95    39.11     2    66.95 $     133.90
 768990061004 CVS   Nordic Naturals Ultimate Omega 2X Mini, Strawberry Flavor ‐ 60 Mini Soft Gels ‐ 1120 mg Omega         34.95    24.89   171    34.95 $   5,976.45
 855394003843 CVS   PMD Beauty Clean ‐ Smart Facial Cleansing Device with Silicone Brush & Anti‐Aging Massager ‐ W           99    69.99     6       99 $     594.00
3282770204667 CVS   Eau Thermale Av√®ne Cicalfate+ Restorative Protective Cream ‐ Wound Care ‐ Helps Reduce Loo              28     22.4     1       28 $      28.00
 855278005345 CVS   Mypurmist 2 Ultrapure Personal Handheld Steam Inhaler, Vaporizer and Humidifier (Plug‐in)            119.95   119.95     1   119.95 $     119.95
 850002593044 CVS   FELIWAY Multicat Diffuser Refill 2 Refills 48ml Each                                                  44.99    35.99     9    44.99 $     404.91
9780891452362 CVS   Collector's Encyclopedia of Flow Blue China                                                           24.95    17.52     1    24.95 $      24.95
 839174011877 CVS   Nudestix Nudies Matte Cream Bronzer 3‐in‐1 All Over Face Colour for Face, Eyes, and Lips w/Blen          35       35     1       35 $      35.00
3606000546028 CVS   La Roche‐Posay Anthelios 100% Mineral Sunscreen Moisturizer with Hyaluronic Acid, Broad Spec          37.99    37.99     8    37.99 $     303.92
6973293807752 CVS   PETKIT Stainless Steel Cat Water Fountain with Wireless Pump, Dog Cat Water Fountain Dispense            89    69.99     1       89 $      89.00
3348901362665 CVS   Dior One Essential Skin Boosting Super Serum, 1.7 Ounce                                                175    116.76     3     175 $      525.00
 786685532165 CVS   EATON CHF240 Series 40A DP Circ Breaker, No Size, Black                                                  85       23     2       85 $     170.00
 812303016813 CVS   Jurassic World Evolution 2 ‐ PlayStation 5                                                            59.99    53.28     1    59.99 $      59.99
 851371002052 CVS   Tata Harper Restorative Eye Cr√®me, Anti‐Aging, Youth‐Giving, 100% Natural, Made Fresh in Ver          130    142.99     5     130 $      650.00
 859975002515 CVS   Andalou Naturals Argan Stem Cell Recovery Cream oz For Oily or Overreactive Skin Helps Clarify        24.99    16.99     3    24.99 $      74.97
5425010391835 CVS   Biosil Collagen Generator ‐ 60 Capsules, Pack of 2 ‐ with Patented ch‐OSA Complex ‐ Generates &        87.5       70     8     87.5 $     700.00
 855571001006 CVS   Arthur Andrew Medical, Neprinol AFD, Multi Enzyme Blend with Serrapeptase & Nattokinase, 30          199.99    142.2     1   199.99 $     199.99
 809280155840 CVS   Fresh Tea Elixir Skin Resilience Activating Serum Serum Women 1.6 oz                                   110     74.82     3     110 $      330.00
 800443410790 CVS   Well & Good bathing system for dogs¬†                                                                  21.9              2     21.9 $      43.80
 767332151182 CVS   Murad Essential‐C Facial Moisturizer ‐ Environmental Shield Broad Spectrum SPF 30 Gel ‐ Vitamin          68       68     6       68 $     408.00
 887961835236 CVS   Mega Halo Construx 89 Piece Building Set | Breacher Exosuit                                           21.99    15.99     1    21.99 $      21.99
3616303051778 CVS   Marc Jacobs Fragrances Mini Perfect Eau de Parfum Set                                                          53.85     4    53.85 $     215.40
3701129800119 CVS   Bioderma Pigmentbio C‐Concentrate ‐ Brightening Vitamin C Face Serum for Intense Pigmentatio           18.4    43.99     5     18.4 $      92.00
 846733089222 CVS   Tarte Sugar Rush Sweet Tarte Cravings Eyeshadow Palette Full Size New in Box                          22.49              4    22.49 $      89.96
 810000318070 CVS   Mederma Scar Gel for Kids, Reduces the Appearance of Scars, 1 Pediatrician Recommended, Goe           14.99     7.99   102    14.99 $   1,528.98
5045096701047 CVS   No7 Restore and Renew Face and Neck Multi Action Serum 1.69 fl oz                                      29.5     29.5     5     29.5 $     147.50
 887167610620 CVS   EST√âE LAUDER Nutritious Melting Soft Creme Mask Pores Hydration‐Glow, 50 ml                             45    47.99     4       45 $     180.00
3605972828583 CVS   Urban Decay x Smiley Mini Eyeshadow Palette NAKED MUCHO HAPPY NEW B                                    17.9              7     17.9 $     125.30
7350092139632 CVS   FOREO UFO 2¬†Red Light Therapy For Face ‐ An Aging¬†Face Moisturizer And¬†¬†Dark Spot Re               299     149.5     4     299 $    1,196.00
 842149108946 CVS   Beautycounter Reflect Effect AHA Smoothing Facial Mask 2,5fl oz                                       83.99   105.99     1    83.99 $      83.99
 850003310718 CVS   TULA Skin Care 24‐7 Hydrating Day & Night Cream ‐ Supersize, Anti‐Aging Moisturizer for Face, C          88     80.2     1       88 $      88.00
 811999028414 CVS   KVD Beauty Lock‐It Setting Powder Standard Size Translucent ‐ 0.67 oz                                             35     1       35 $      35.00
 765809191150 CVS   NAPA Gold 7046 Oil Filter                                                                             19.99    19.99     1    19.99 $      19.99
 883351489324 CVS   Kwikset 99130‐003 SmartCode 913 Non‐Connected Keyless Entry Electronic Keypad Deadbolt Do              125               1     125 $      125.00
 850038728526 CVS   Pet Honesty Hip & Joint Health ‐ Dog Joint Supplement Support for Dogs with Glucosamine Chon          59.98    49.99     5    59.98 $     299.90
 850011636503 CVS   ghd Original Styler ‚Äï 1" Flat Iron Hair Straightener, Optimum Styling Temperature for Profession     179      179      1     179 $      179.00
 815305026026 CVS   Living proof Curl Moisturizing Shine Oil, New Formula                                                    34       34     1       34 $      34.00
 840093100917 CVS   Nature's Truth 1200 Mg Omega‐3 Fish Oil Softgels, 250 Count                                           20.89    27.94     4    20.89 $      83.56
5033102892636 CVS   GVP Dual Voltage 1‚Äù Lightweight Titanium Straightening Iron Adjustable Temperature                  59.99    59.99     5    59.99 $     299.95
 846733016495 CVS   tarte Amazonian Clay 12‐Hour Blush Risque                                                                         25     1       25 $      25.00
8712079422790 CVS   Van Gogh Watercolor Paint Set, Plastic Pocketbox, 12‐Half Pan Specialty Metallic & Interference       74.95    20.95     1    74.95 $      74.95
5060552905647 CVS   Augustinus Bader Women's The Light Cream, One Size                                                     175     79.95     2     175 $      350.00
 765809171480 CVS   Napa NAPAGOLD Fuel Filter 3179                                                                        21.02    21.02     1    21.02 $      21.02
 889714000557 CVS   Crest 3D Whitestrips, Classic Vivid, Teeth Whitening Strip Kit, 20 Strips (10 Count Pack)             34.99    16.99    43    34.99 $   1,504.57
3605972368584 CVS   IT Cosmetics Your Skin But Better Foundation + Skincare, Light Warm 23 ‐ Hydrating Coverage ‐ M          46       46     1       46 $      46.00
 884486152060 CVS   Biolage Volume Bloom Full‐Lift Volumizer Spray | Leave‐In Plumps Hair With Long‐Lasting Parabe           26       26    10       26 $     260.00
 840026651288 CVS   Fenty Beauty by Rihanna Diamond Bomb All‐Over Diamond Veil Ros√© Rave                                 44.95       68     6    44.95 $     269.70
 811794929176 CVS   FURminator deShedding Tool for Cats                                                                   37.49    28.99     7    37.49 $     262.43
3605972264367 CVS   It Cosmetics Bye Bye Foundation Oil‐Free Moisturizer Foundation ‐ LIGHT MEDIUM                        29.99              1    29.99 $      29.99
 840103212074 CVS   RoC Derm Correxion Fill + Treat Advanced Retinol Serum with Hyaluronic Acid for Forehead Wrin         38.99            128    38.99 $   4,990.72
4005176417887 CVS   Grohe 26177001 Euphoria Shower System with Bath Thermostat for Wall Mount 2.5 gpm, Starlig            1000     1370      1    1000 $    1,000.00
 859975002522 CVS   Andalou Naturals Vitamin C BB Beauty Balm Sheer Tint SPF 30, 2‐in‐1 BB Cream & Face Sunscree          19.99    13.85     1    19.99 $      19.99
 817494016796 CVS   Sunday Riley Sunday GGL‐15‐US‐FG Riley Good Genes All‐In‐One Lactic Acid Treatment Face Seru             43       43     9       43 $     387.00
3701129800072 CVS   Bioderma Pigmentbio Daily Care SPF50+ ‐ Brightening Face Cream for Pigmentation & Dark Spots           18.5              2     18.5 $      37.00
7640126630076 CVS   Alchimie Forever Kantic Calming Cream | Midweight Facial Moisturizer Calms Redness & Irritatio           71       71     8       71 $     568.00
3606000537484 CVS   CeraVe Healing Ointment, Moisturizing Petrolatum Skin Protectant for Dry Skin with Hyaluronic A       11.49    11.38     7    11.49 $      80.43
 850003310510 CVS   TULA Skin Care Firm Up Deep Wrinkle Serum ‐ Anti Aging Face Serum, Contains Retinol and Vitam            84    62.44     2       84 $     168.00
5000167266368 CVS   Boots No7 Protect & Perfect Intense ADVANCED Serum Activating Pads, 1 unit‐ 60 pads                   32.98    36.98     2    32.98 $      65.96
 768990017995 CVS   Nordic Naturals Ultimate Omega Xtra, Lemon Flavor ‐ 60 Soft Gels ‐ 1480 mg Omega‐3 + 1000 IU          32.95       23     1    32.95 $      32.95
5013035025622 CVS   Robert Sorby Micro Turning Set                                                                       138.67   138.67     1   138.67 $     138.67
3337875685900 CVS   La Roche‐Posay Toleriane Hydrating Gentle Facial Cleanser, Daily Face Wash with Ceramide and          13.99    13.99     2    13.99 $      27.98
 767332153377 CVS   Murad Environmental Shield VITA‐C Triple Exfoliating Facial 80 ml                                     47.45       85     9    47.45 $     427.05
9421017769598 CVS   TRILOGY Vitamin C Booster Treatment, 0.51 FZ                                                             42       42     3       42 $     126.00
4020829006430 CVS   Dr. Hauschka Eye Balm, 0.34 Fl Oz                                                                        55       55     2       55 $     110.00
 786685361901 CVS   Eaton CHF230 Series 30A DP CH Circ Breaker, No Size, Black                                               85    23.73     3       85 $     255.00
 773602594412                                                                                                              28.4              4     28.4 $     113.60
3282779374309 CVS   Eau Thermale Av√®ne ‐ RetrinAL EYES ‐ Retinaldehyde & Hyaluronic Acid ‐ Minimizes Appearance           49.5     49.5     1     49.5 $      49.50
8005610481609 CVS   GUCCI Bloom Rollerball, 0.25 oz.                                                                               58.84     5    58.84 $     294.20
3337872414152 CVS   La Roche‐Posay Pigmentclar Dark Circles Eye Cream with Caffeine, Brightens Under Eye Area and     44.99        44.99     1    44.99 $      44.99
 820909901488 CVS   Husky 7 in End Nipper With Hammer Head Comfort Grip Handles Model 1005 590 374                    14.99                  1    14.99 $      14.99
 887167308039 CVS   estee lauder Revitalizing Supreme+ Global Anti‐Aging Cell Power Creme SPF 15, 1.7‐oz.                95         88.9     1       95 $      95.00
3605972779991 CVS   IT Cosmetics Confidence in a Cream Anti Aging Face Moisturizer ‚Äì Visibly Reduces Fine Lines, W     84           84     3       84 $     252.00
3348901632904 CVS   Rouge Dior Forever Matte Lipstick ‐ 300 Forever Nude Style Touch by Christian Dior for Women ‐       29           29     1       29 $      29.00
 869121000135 CVS   Fur Silk Scrub: KP Bump Eraser ‐ Exfoliate & Resurfacing Scrub to Smooth Skin‐ 6 FL OZ               54        53.99     1       54 $      54.00
 810390028405 CVS   Cellucor C4 Original Pre Workout Powder ICY Blue Razz ‐ Vitamin C for Immune Support ‐ Sugar F    29.99        20.63    13    29.99 $     389.87
 783927387705 CVS   Kichler 16205BBR30 120V LED 29W 35‐Degree Flood 3000K, Bronzed Brass                             634.99       509.99     1   634.99 $     634.99
4260521260161 CVS   Dr. Barbara Sturm, Night Serum, 30ml                                                               310          310      2     310 $      620.00
 815266012724 CVS   BosleyMD Follicle Energizer, DHT Blocker, Extra Strength Thinning Hair Treatment for Hair Loss a     32           32     4       32 $     128.00
 884486453013 CVS   Redken All Soft Heavy Cream Treatment Mask | Deep Conditioner For Dry Hair | Deep Condition          32           32     4       32 $     128.00
 811909034214 CVS   Focus Factor Advanced Vision Formula (60 Count) ‐ Eye Vitamins with Vitamin C, Vitamin E, Lutem 29.99          29.95     9    29.99 $     269.91
 887167625679 CVS   Estee Lauder White Linen Indulgent Duo 2‐Pc. Fragrance Gift Set NEW                                100                   1     100 $      100.00
4895126740826 CVS   Klasse AK6193 ASST, Contains 10 Packs of Assorted Needles                                         51.95        34.95     2    51.95 $     103.90
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 785901219293 CVS   Square D by Schneider Electric Square D ‐ HOM240GFIC Homeline 40 Amp Two‐Pole GFCI Circuit              434     95.99    2     434 $      868.00
 846733085897 CVS   Tarte Maneater Vanity Eyeshadow Palette + Mascara Limited Holiday Edition New                           19.7             2     19.7 $      39.40
 846733010875 CVS   tarte Smooth Operator‚Ñ¢ Amazonian Clay Tinted Pressed Finishing Powder Light                             35    42.99    2       35 $      70.00
 850035134368 CVS   Solawave Radiant Renewal Skincare Wand ‐ Rose Gold                                                      110              1     110 $      110.00
 810475002825 CVS   Cleveland Faucets CA42519CSL Baystone Single‐Handle Kitchen Faucet with Pull‐down Spray, Cla            350    305.96    1     350 $      350.00
 840749017729 CVS   Mineral Fusion Waterproof Mascara, (Packaging May Vary), Raven, 0.57 Oz                                18.98             1    18.98 $      18.98
 785247214594 CVS   Progress Lighting P5170‐09 Replay One‐Light Mini‐Pendant, Brushed Nickel                                  90      75     1       90 $      90.00
 813920018167 CVS   Kate Somerville Retinol Vita C Power Serum ‚Äì Anti‐Aging Skin Firming Treatment Clinically Prov        110      110     6     110 $      660.00
3380810405217 CVS   Clarins Total Eye Lift | Anti‐Aging Eye Cream | Targets Wrinkles, Crow's Feet, Dark Circles, and Pu       92      92    19       92 $   1,748.00
 817494013283 CVS   Sunday Riley C.E.O. Glow Vitamin C & Turmeric Face Oil, 0.5 Fl Oz                                         40      40     2       40 $      80.00
 810083471839 CVS   Smart Home Security Camera Wired Indoor Outdoor 1080p HD w/ Built‐In Spotlight                         18.99             1    18.99 $      18.99
 846733079964 CVS   tarte Shimmering Light Highlighter Rose Gold Glow                                                         32    37.99    1       32 $      32.00
9348282991359 CVS   Rip Curl Women's Dawn Patrol Long Sleeve Spring Suit, Slate, Size 4                                    99.99             1    99.99 $      99.99
 785247190201 CVS   Progress Lighting Cylinder Collection 5" Modern Outdoor LED Wall Lantern Light Antique Bronze             99     96.4    8       99 $     792.00
3337872412486 CVS   La Roche‐Posay Toleriane Dermallergo Ultra Soothing Repair Face Moisturizer for Sensitive Skin,        30.99    30.99   15    30.99 $     464.85
 884486467720 CVS   Redken Blondage Rose Color Depositing Mask | Instant Customized Temporary Color | Color Tint              32       32    1       32 $      32.00
 884486322586 CVS   Redken Color Extend Conditioner, Detangles & Smooths Hair While Protecting Color From Fading              50     36.4    2       50 $     100.00
3337875545792 CVS   La Roche‐Posay Toleriane Double Repair Face Moisturizer, Daily Moisturizer Face Cream with Ce          22.99    22.99    8    22.99 $     183.92
7640126630243 CVS   Alchimie Forever Tightening Eye Gel | Reduces the Appearance of Fine Lines & Puffiness | 0.5 Fl         46.6       47    5     46.6 $     233.00
 785401125551 CVS   Relton Forged Hammer Carbide Bushing Tools with SDS‐Max Shank                                          458.5             1    458.5 $     458.50
 883778122712 CVS   Bryant Electric GFTWRST20W 20 Amp 125V Commercial/Residential Self Test Tamper‐Resistant a             34.15    20.49    2    34.15 $      68.30
                    Dr. Stephanie's Men's Romance ‐ Energy & Endurance Natural Supplement ‐ with Tribulus
 850018712033 CVS   Terrestris, Fenugreek, & Longjack Root                                                                          27.27    8    27.27 $    218.16
7350092139441 CVS   FOREO LUNA Mini 3 Silicone Face Cleansing Brush, All Skin Types, for Clean & Healthy Looking Sk         179      179     2     179 $     358.00
 883351463409 CVS   Kwikset 91570‐002 Halifax Slim Square Half‐Dummy Lever in Polished Chrome                                 25    29.99    2       25 $     50.00
3282770388954 CVS   Eau Thermale Av√®ne Hydrance Boost Concentrated Hydrating Serum, 48 Hour Hydration, Hyalu                 39       39    8       39 $    312.00
 765809186446 CVS   Napa NAPAGOLD Oil Filter 7092                                                                             21       21    1       21 $     21.00
 818594014514 CVS   Force Factor Test X180 Alpha Total Testosterone Booster for Men with Fenugreek Seed and Mac            29.99    22.82    2    29.99 $     59.98
5056297209225 CVS   Ultimate Music Trivia | 300 Questions                                                                           19.99    1    19.99 $     19.99
 870192011371 CVS   Realeather Filigree Punch Set, 3 Piece,White                                                           14.99    18.99    2    14.99 $     29.98
 773602040605 CVS   Clinique Pop Matte Lip Colour + Primer ‐ 10 Clove Pop, 3.9g/0.13oz                                     21.99    19.99    3    21.99 $     65.97
 858413007549 CVS   Playology Dual Layer Ring Toy, for Large Dogs (35lbs and Up) ‐ for Heaviest Chewers ‐ Engaging A       24.99    24.99    2    24.99 $     49.98
 850963006676 CVS   DevaCurl Light Hold Defining Gel For Unisex 12 oz Gel                                                  19.95            18    19.95 $    359.10
3614272161832 CVS   Lanc√¥me Cils Booster XL Enhancing Lash & Mascara Primer ‐ Infused with Micro‐fibers, Vitamin             30       30    8       30 $    240.00
 889714002285 CVS   Crest Whitening Emulsions Leave‐On Teeth Whitening Gel Kit + Overnight Freshness with Wand A           54.99    29.83    2    54.99 $    109.98
 773602562213                                                                                                              29.28             1    29.28 $     29.28
 813269021484 CVS   Tata Harper Retinoic Nutrient Face Oil, Hydrating Face Oil, 100% Natural, Made Fresh in Vermon          150      165     2     150 $     300.00
 787651760438 CVS   AZO D Mannose Urinary Tract Health Gummies, 40 Count, Clinical Strength 2000mg, Helps Clean            19.99    19.95    2    19.99 $     39.98
 898571000419 CVS   Revlon ColorSilk Haircolor, Auburn Brown, 1 Application (Pack of 3)                                    12.27     15.9    1    12.27 $     12.27
 767332150482 CVS   Murad Essential‐C Cleanser ‐ Environmental Shield Foaming Face Wash Gel ‐ Vitamin & Antioxida             42       44    3       42 $    126.00
 810763033159 CVS   Fenty Beauty by Rihanna Killawatt Freestyle Highlighter Afternoon Snack/Mo' Hunny                         40     34.5   15       40 $    600.00
 876065100135 CVS   John Paul Pet Tearless Odor Absorbing Shampoo, Clean and Fresh Low PH Formula for Puppies, D           10.95       15    1    10.95 $     10.95
 878147007868 CVS   P√úR MINERALS 4‐in‐1 Pressed Mineral Makeup SPF 15 Powder Foundation with Concealer & Fin               29.5       21    1     29.5 $     29.50
 773602430048 CVS   Lip Pencil by M.A.C Cork 5g                                                                               24    27.09    8       24 $    192.00
 884486341051 CVS   Pureology Clean Volume Moisturizing Conditioner | For Fine, Color Treated Hair | Sulfate‐Free |           32             9       32 $    288.00
 815266013745 CVS   *NOV 2023* Bosley MD Men's Minoxidil Rogaine Hair Regrowth 3 Month Supply #3745                        14.99             6    14.99 $     89.94
5000167323177 CVS   No7 Restore & Renew Multi Action Face & Neck Night Cream ‐ Collagen Peptide Anti‐Aging Face            24.98      22     1    24.98 $     24.98
 858054006499 CVS   HydroPeptide HydroActive LumaPro‐C Face Serum, Skin Brightening Pigment Corrector, 1 Ounce              148      149     1     148 $     148.00
 884486178978 CVS   Redken Water Wax 03 | For All Hair Types | Lightweight Defining Pomade Adds Texture & Shine               20             2       20 $     40.00
 860005785537 CVS   Spell Duo Eyelash Serum & Eyebrow Serum ‚Äì Lash Serum for Longer, Fuller Looking Lashes ‚Äì B            98    38.64    2       98 $    196.00
 883967425761 CVS   Alfie Voice Controlled Intelligent Shopper                                                             21.99     8.78    1    21.99 $     21.99
 843479137378 CVS   SHARPER IMAGE Digital Touchless Smart Forehead Thermometer, High‐Precision Infrared Sensor             65.99    34.99    3    65.99 $    197.97
 850031975040 CVS   Ritual Prenatal Vitamins: Folate & Choline for Neural Tube Support, Omega‐3 DHA for Fetal Brain        42.99    39.98    1    42.99 $     42.99
9327693006937 CVS   Sukin Natural Balance Conditioner                                                                         10    13.98    1       10 $     10.00
 860795000209 CVS   Discontinued: Circle with Disney                                                                          99    69.42    1       99 $     99.00
3282770142280 CVS   Eau Thermale Av√®ne Tolerance Extremely Gentle Cleanser Lotion for all types of hypersensitive            27       27    1       27 $     27.00
 846733043446 CVS   Tarte Shape Tape Glow Powder ~MOONLIT~ NEW IN BOX                                                      19.99             2    19.99 $     39.98
 829835004737 CVS   Amazing Grass Greens Blend Detox & Digest: Smoothie Mix, Cleanse with Super Greens Powder,             39.99    20.83    7    39.99 $    279.93
 880074146169 CVS   Official Best of Fest: Chick Flicks                                                                    29.57    29.57    1    29.57 $     29.57
5018744025178 CVS   Beauty Without Cruelty Natural Infusion Lipstick Day Lily ‐ 0.14 oz                                    22.95             2    22.95 $     45.90
3606000603554 CVS   La Roche‐Posay Anthelios Kids Gentle Lotion Sunscreen SPF 50, Kids Sunscreen for Face and Body         32.99    32.99    3    32.99 $     98.97
 812343032408 CVS   Drunk Elephant Protini Powerpeptide Resurf Serum. Strengthen and Resurface Face Serum with             68.94    75.66   10    68.94 $    689.40
3282770110753 CVS   Eau Thermale Av√®ne PhysioLift Serum, Smoothing, Plumping Serum, Hyaluronic Acid to Reduce                59       59    7       59 $    413.00
3337875774031 CVS   Vichy Neovadiol Replenishing Firming Day Cream for Post‐Menopause Skin, Anti‐Aging Facial Mo              44       44   11       44 $    484.00
3614229374759 CVS   Gucci Velvet Matte Lipstick 209 Mona Leslie Cameo                                                         45             1       45 $     45.00
 773602337897 CVS   MAC Mineralize Blush ‐ Warm Soul Blush Women 0.11 oz                                                      35       32   10       35 $    350.00
 850005524779 CVS   Pet Honesty Scoot Stopper ‐ Digestion & Health Supplement for Dogs ‐ Dog Anal Gland Support,           35.99    29.99    3    35.99 $    107.97
 885418012452 CVS   Keranique Rejuvenate Healthy Hair Growth Follicle Strengthening Conditioner 8 oz                       17.95             2    17.95 $     35.90
7350092137812 CVS   FOREO LUNA fofo Smart Facial Cleansing Brush and Skin Analyzer, Sunflower Yellow, Personalize          46.77             3    46.77 $    140.31
3337875474344 CVS   La Roche‐Posay Toleriane Dermallergo Night Cream for Face Intense Soothing Moisturizer with V          30.99    30.99   12    30.99 $    371.88
3605975053920 CVS   Kiehl's Midnight Anti‐Aging Recovery Concentrate ‐ Small 1oz (30ml)                                       52       54    1       52 $     52.00
 788130021538 CVS   Apex Gear TRUGLO AG2301GB 1 Dot Covert Pro Sight, Right Hand/Left Hand, Black                         199.99   170.35    1   199.99 $    199.99
 818324020730 CVS   Winky Lux Cashmere Kitten Eyeshadow Palette, 9 shades in Holographic, Matte, Satin & Shimme            24.99    24.98    1    24.99 $     24.99
 850018802208 CVS   Olaplex No. 0 Intensive Bond Building Treatment, 155ml                                                    30       30    3       30 $     90.00
 810050280518 CVS   Hyperice Hypervolt GO ‐ Deep Tissue Percussion Massage Gun ‐ Take Pain Relief and Sore Muscle           199              1     199 $     199.00
 849398035290 CVS   AMT Ertl AMT1145M/12 Model Kit, Various                                                                54.59    29.59    1    54.59 $     54.59
 850003310527 CVS   TULA Skin Care Beauty Sleep Overnight Repair Treatment ‐ Anti‐Aging, Night Cream, Contains Na             68     58.2    2       68 $    136.00
 885911803205 CVS   DeWalt DWAM71440 7‐1/4" 40T Steel Cutting Blade NEW                                                    14.99             1    14.99 $     14.99
9780801690358 CVS   Jeppesen's Open Water Sport Diver Manual                                                               75.95    36.99    1    75.95 $     75.95
8713975500216 CVS   Garden of Life Once Daily Ultra Omega SuperCritical Omega‐3 Fish Oil 1100mg 60ct                       22.49             2    22.49 $     44.98
5000167323603 CVS   No7 Protect & Perfect Intense Advanced Serum ‐ Rice Protein & Alfalfa Complex for Fine Lines an        27.99    23.99    7    27.99 $    195.93
 883351334259 CVS   Kwikset Vedani Half‐Dummy Lever Lever in Polished Chrome                                                24.5             1     24.5 $     24.50
 773602506699 CVS   MAC Pro Pan Refill Eye Shadow ‐ Sable                                                                           32.99   10    32.99 $    329.90
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 769915190311 CVS   THE ORDINARY Niacinamide 10% + Zinc 1% 30ml, 1.01 Fl Oz, Liquid (Pack of 1)                              13.95     9.99    1    13.95 $      13.95
 811934024358 CVS   Cycle Dog Washington Bottle Opener Dog Collar (Medium 12"‐21") ‐ No Stink Waterproof Collar                 25       26    1       25 $      25.00
3605970326333 CVS   Lanc√¥me R√©nergie Lift Multi‐Action Face Moisturizer With SPF 15 ‐ With Hyaluronic Acid ‐ For            135              1     135 $      135.00
3616301776611 CVS   Gucci Matte Beauty Powder 13 Deep                                                                        126.4    126.4    2    126.4 $     252.80
 818125025521 CVS   Gelish PolyGel¬Æ Brand Nail Enhancement Trial Kit, Strengthening Nail Kit, Nail Polish Sets For W        48.75    55.95    1    48.75 $      48.75
 884486151285 CVS   Biolage Ultra Hydra Source Conditioning Balm | Deep Hydrating Conditioner | Renews Hair's Mo                23       24    1       23 $      23.00
 852870004103 CVS   TruBiotics Probiotic Gummies with Prebiotics & Vitamin D3, Sugar‐Free Gummy for Men & Wom                16.99    14.19    1    16.99 $      16.99
4250218582805 CVS   Polygreen Non‐Contact Digital Thermometer for Adults and Kids, ¬∞F/¬∞C Infrared Forehead Th              34.99     9.99    8    34.99 $     279.92
7613023743484 CVS   HILTI TE‐YD 3/4"‐24" Drill Bit new.                                                                     166.85             1   166.85 $     166.85
6291106036121 CVS   HUDA BEAUTY #FauxFilter Luminous Matte Foundation 130G Panna Cotta                                                   62    1       62 $      62.00
 898571000228 CVS   It's A 10 Miracle Moisture Shampoo, 10‐Ounce Bottle                                                         23     12.5   55       23 $   1,265.00
7350092139458 CVS   FOREO LUNA mini 3 Ultra‐hygienic Facial Cleansing Brush, All Skin Types, Face Massager for Clea           179      179     1     179 $      179.00
6970392215631 CVS   Digital Forehead Thermometer ‐ Infrared ‐ White (Body Temperature Reader, Lightweight, Comp              99.99     7.99    4    99.99 $     399.96
 810907027785 CVS   StriVec n TL Advanced Tightening Neck Cream PLUS, 1.7 Fl Oz¬†√É‚Äö                                          95             1       95 $      95.00
 850014440916 CVS   Hourglass Vanish Airbrush Primer                                                                            58       58    1       58 $      58.00
 810013411997 CVS   4" SealyChill‚Ñ¢ Gel + Comfort Memory Foam Mattress Topper with Pillowtop Washable Allergen             299.99   219.99    1   299.99 $     299.99
 851477002451 CVS   Peter Lamas Hair Solutions Energizing Scalp Serum, 1.7 Ounce by Peter Lamas                                 52       52    1       52 $      52.00
 883351607186 CVS   Kwikset 99130‐008 Smartcode 913 Contemporary Electronic Deadbolt Featuring Smartkey In Sat                125    123.98    1     125 $      125.00
 792363564250 CVS   Jupiter 750 Watt Continuous/1500 Watt Peak Modified Sine Wave Power Inverter NEW                            55             1       55 $      55.00
 810905037489 CVS   Paul Sebastian Cologne for Men, 8.0 Fluid Ounce SPLASH                                                    109      28.9    2     109 $      218.00
 886946141058 CVS   1/4 in. Alphabet and Number stamp set                                                                    29.99    29.99    1    29.99 $      29.99
 816920001160 CVS   Fresh Wave Lavender Odor Removing Gel, 15 oz. | Odor Absorbers for Home | Safer Odor Relief              14.99    14.99    2    14.99 $      29.98
 884486383389 CVS   Biolage Thermal Active Spray | Heat Styling Treatment Adds Body & Volume | Paraben‐Free | Ve                22       22    3       22 $      66.00
3348901608930 CVS   Dior Forever Natural Velvet ‐ 3N Neutral by Christian Dior for Women ‐ 0.35 oz Foundation                            49    1       49 $      49.00
 773602048663 CVS   MAC, Lipstick by M.A.C, Chili, 1 Count                                                                      24    14.38    1       24 $      24.00
 830827001023 CVS   Jane Carter Scalp Nourishing Serum, 1 Oz                                                                    16             1       16 $      16.00
 810010991997 CVS   TMNT Micro Figures Michelangelo/Donatello Keychains                                                         16    25.49    3       16 $      48.00
 889526387266                                                                                                                19.99            14    19.99 $     279.86
 874822005808 CVS   BIO IONIC Long Barrel Ceramic Styler, 1.25"                                                               149    126.65    1     149 $      149.00
 767332109152 CVS   Murad Oil & Pore Control Mattifier SPF 45 ‐ Lightweight SPF Facial Moisturizer and Pore Mattifie            48       49    7       48 $     336.00
 819002017271 CVS   Algenist AA Barrier Serum ‐ Environmental Defense Serum with Nutrient‐Rich Niacinamide (Vitam               65       85    1       65 $      65.00
 856330008069 CVS   Playology Dual Layer Bone Dog Toy, for Large Dogs (35lbs and Up) ‐ for Heavy Chewers ‐ Engagin           19.99    19.99    3    19.99 $      59.97
 884486437778 CVS   Pureology Strength Cure Blonde Purple Conditioner for Blonde & Lightened Color‐Treated Hair, 9              37       37   17       37 $     629.00
 896116001440 CVS   Sambucol Cold and Flu Relief Tablets ‐ Homeopathic Cold Medicine, Nasal & Sinus Congestion Re            24.99    18.92    2    24.99 $      49.98
3666057034145 CVS   Clarins Super Restorative D√©collet√© and Neck Concentrate | Deeply Replenishing, Anti‐Aging              108      118     3     108 $      324.00
 883349002689 CVS   "T3 AireBrush Duo Interchangeable Hot Air Blow Dry Brush with Two Attachments ÔøΩ Includes              189.99   189.99    2   189.99 $     379.98
 889476530316 CVS   Lipo Flavonoid Proactive Ear Health, 30 Capsules                                                         29.99    13.99    9    29.99 $     269.91
 896364002756 CVS   Olaplex. , 4 BOND MAINTENANCE SHAMPOO 8.5OZ                                                                 32       32    4       32 $     128.00
3605972252081 CVS   Urban Decay All Nighter Longwear Face Primer ‐ Lightweight, Long‐Lasting Formula ‐ Locks Found              38       38    4       38 $     152.00
 800443434567 CVS   REDDY Brown Canvas Leather Handle Reflective 4 Point Dog Harness size Medium                             23.15             1    23.15 $      23.15
 842149106737 CVS   BEAUTYCOUNTER Think Big All‐In‐One Mascara, BETTER BLACK, New in box!                                    20.05             3    20.05 $      60.15
 783250582754 CVS   IDEAL Electrical 35‐3028 Diagonal‐Cutting Plier ‐ 8 in., Plier with Knife‐to‐Knife Blades, Smart Grip    35.59    26.09   10    35.59 $     355.90
 814113013785 CVS   Honeywell 8732301L Digital Entry Door Knob with Electronic Keypad Satin Nickel                           64.89             5    64.89 $     324.45
 850817006159                                                                                                                17.99             2    17.99 $      35.98
                    Neo G NeoThotics Heel Cushions ‚Äì Support for Achilles Tendonitis & Heel Spurs, Plantar
                    Fasciitis & Heel Pain, Absorb Shock & Vibration During Daily Activities ‚Äì Class 1 Medical Device ‐
8692195594123 CVS   Medium                                                                                                            29.49    2    29.49 $      58.98
3606000428645 CVS   La Roche‐Posay Anthelios 60 MELT IN Sunscreen ‐ SPF 60 ‐ 5.0 fl oz ‐Exp 01/24*                        13.65                4    13.65 $      54.60
 840157410358 CVS   Milk Makeup Hydro Grip Eye Primer ‐ 0.29 fl oz ‐ Eye Makeup & Under Eye Primer ‐ Up to 8‐Hour            25       19.86    1       25 $      25.00
 884486290601 CVS   Redken Extreme Conditioner | Conditioner for Damaged Hair | Strengthen & Protect Damaged H             20.5                2     20.5 $      41.00
 813006018340 CVS   Dr. Mercola Vitamin B Complex, 30 Servings (60 Capsules), with Benfotiamine, Dietary Suppleme         37.49       29.97    4    37.49 $     149.96
 767332603810 CVS   Murad Resurgence Retinol Youth Renewal Night Cream ‚Äì Anti‐Aging Face Cream for Lines and W             88          88    4       88 $     352.00
 813146016008 CVS   Kurgo Dog Seat Cover | Car Bench Seat Covers for Pets | Dog Back Seat Cover Protector | Water         64.99       48.79    2    64.99 $     129.98
3614272453135 CVS   Lanc√¥me Hypn√¥se Eyeshadow Palette ‐ Highly Pigmented & Long‐Wear ‐ Flake & Smudge‐Proo                 65          65    8       65 $     520.00
 813570011341 CVS   EastPoint Sports Easy Setup Badminton Set ‐ Backyard Outdoor Game for Family Fun ‐ Includes 2         49.99       45.62    1    49.99 $      49.99
3348901485197 CVS   Dior Capture Totale C.E.L.L. Energy Firming & Wrinkle‐Correcting Cream, 1.7 Ounce                      250                 1     250 $      250.00
 818594014873 CVS   FORCE FACTOR Test X180 Alpha Max Total Testosterone and Nitric Oxide Booster for Men with F           59.99       74.99    1    59.99 $      59.99
 796309125260 CVS   Pamex Chrome Mira Leverset (Half Dummy Trim)                                                          27.34       27.34    1    27.34 $      27.34
 810390029075 CVS   Cellucor BCAA Sport, BCAA Powder Sports Drink for Hydration & Recovery, Cherry Limeade, 30 S          24.99               40    24.99 $     999.60
4064941092803 CVS   Kylie Jenner The Mauve Palette Pressed Powder Palette ‐*READ DETAILS*                                 19.75                2    19.75 $      39.50
 887961970395 CVS   Mega Construx Call of Duty Tactical Infiltration Team, Multi (GYF91), 16 years and up, 86 pieces      16.99       14.99    4    16.99 $      67.96
 790011060192 CVS   Jarrow Formulas QH‐Absorb 100 mg Max Absorption ‐ CoQ10 Ubiquinol ‐ Up to 60 Servings (Soft            51.5       27.35    8     51.5 $     412.00
5000167346091 CVS   No7 Lift & Luminate Triple Action Fragrance Free Night Cream ‐ Anti Wrinkle, Collagen Peptide B       24.98       24.78    1    24.98 $      24.98
 797801034685 CVS   NaturVet Joint Health Level 3 Dog Soft Chew, 15.2 oz., Count of 240, 240 CT                                       48.88   28    48.88 $   1,368.64
 884486151629 CVS   Biolage Color Last Conditioner | Color Safe Conditioner | Helps Maintain Depth & Shine | For Co          42       27.99   10       42 $     420.00
 851722007286 CVS   Wax Blaster MD ¬Æ PRO                                                                                  7.89        7.89    1     7.89 $       7.89
 790011180012 CVS   Jarrow Formulas Extra Strength Methyl B‐12 1000mcg, Dietary Supplement for Cellular Energy Pr          12.5       17.85    3     12.5 $      37.50
 857186005554 CVS   BACtrack C8 Breathalyzer | Professional‐Grade Accuracy | Optional Wireless Smartphone Conne           99.99       89.99    6    99.99 $     599.94
 887452997467 CVS   Liquitex Professional Heavy Body Acrylic Paint, Classic 12 x 59ml (2‐oz) Set                         126.99       84.99    4   126.99 $     507.96
 859413000066 CVS   DevaCurl Light Hold Defining Gel For Unisex 12 oz Gel                                                 19.95                7    19.95 $     139.65
 857576008936 CVS   Quip Adult Electric Toothbrush ‐ Sonic Toothbrush with Travel Cover & Mirror Mount, Soft Bristle      39.99       36.98    4    39.99 $     159.96
 841667138091 CVS   Echo Show 5 (1st Gen, 2019 release) ‐‐ Smart display with Alexa ‚Äì stay connected with video ca      79.99                1    79.99 $      79.99
 773602465651 CVS   MAC COSMETICS/EYE BROWS STYLER SPIKED 0.003 OZ (0.09 ML)                                              24.29        16.1    8    24.29 $     194.32
4015165337645 CVS   Dr. Barbara Sturm, Hyaluronic Serum, 30ml                                                              320         320     1     320 $      320.00
 851356004293 CVS   SmartyPants Prenatal Vitamins for Women, Multivitamin Gummies: Omega 3 Fish Oil (EPA/DHA)             28.99       22.99    1    28.99 $      28.99
3605533292259 CVS   Lanc√¥me D√©finicils Defining & Lengthening Mascara ‐ For Natural‐Looking Lashes ‐ With Vitam            34          34    5       34 $     170.00
 840268929909 CVS   All‐new Amazon Fire TV Stick 4K streaming device, more than 1.5 million movies and TV episodes        49.99       49.99    5    49.99 $     249.95
 841320106054 CVS   Alaffia Beautiful Curls Curl Enhancing Cream Shampoo, Kinky Curly Hair Products, Natural Shamp        14.67       13.99    2    14.67 $      29.34
 857730006006 CVS   Blue Lotus Chai ‐ Traditional Masala Chai ‐ Makes 100 Cups ‐ 3 Ounce Masala Spiced Chai Powde         18.99       16.97    5    18.99 $      94.95
 850038254162 CVS   Yip Apple Smart Tracking Tag Unlimited Tracking Coverage‐ Rose Gold [Brand New]                       13.89                5    13.89 $      69.45
 883351102100 CVS   Kwikset Tustin Interior Passage Door Handle, Lever For Closet and Hallway Doors, Reversible Non       30.97       52.17    7    30.97 $     216.79
 785007038903 CVS   Legrand‐Pass & Seymour TM8USBBKCCV4 DECORATOR COMBO RECEPT + USB VISION, Black                         2.88        16.6    3     2.88 $       8.64
 850004548097                                                                                                             29.99                1    29.99 $      29.99
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 898571001355 CVS   It's a 10 Haircare Miracle Clay Hair Mask for Blondes, 8 fl. oz.                                          32    28.99   3        32 $     96.00
 811572026721 CVS   SodaStream Fizzi Sparkling Water Maker, Black                                                          89.99     160    1     89.99 $     89.99
 856485006057 CVS   KAI Serrated 3 Piece Set                                                                               59.99            1     59.99 $     59.99
 889245317544 CVS   Dorman 80545CD Front Passenger Side Exterior Door Handle Compatible with Select Cadillac / C           93.21    26.13   1     93.21 $     93.21
 867472000316 CVS   Whamisa by Glow Recipe Chai Tea Eye Cream 0.68oz , pack of 1                                           82.53            1     82.53 $     82.53
 834893011955 CVS   Juice Beauty PREBIOTIX Instant Flash Facial, Natural Formula with Prebiotics, Exfoliates and Brigh        34       34   3        34 $    102.00
3606000403703 CVS   La Roche‐Posay Anthelios AOX Daily Antioxidant Serum with SPF, Face Moisturizer with Sunscree          44.99    44.99   3     44.99 $    134.97
 785901610441 CVS   Square D ‐ ‚ÄéQO115CAFIC Arc Fault Breaker, Black                                                      296.1    39.98   3     296.1 $    888.30
4017505980115 CVS   da Vinci Watercolor Series 4220 Top Acryl Brush Set for Acrylic, Oil, and Watercolor, Synthetic fo     57.99    39.95   2     57.99 $    115.98
 813146019740 CVS   Kurgo MOLLE Clip Compatible Tactical Dog Harness, MOLLE Vest for DogsService Dog Training Ve           57.99    57.98   4     57.99 $    231.96
 841058015857 CVS   Schick Hydro 5 Sensitive Razor Blade Refills for Men, 8 Count                                          32.99    40.99   6     32.99 $    197.94
8011469991138 CVS   SICCE Shark Filter Interior * Adv 400                                                                   28.5            1      28.5 $     28.50
5057566180351 CVS   Makeup Revolution Forever Flawless Bird of Paradise, Eyeshadow Palette, Create Long‐Lasting Ey            15    18.89   1        15 $     15.00
 810475005475 CVS   Moen CFG 40316V Shower Valve Handle Trim Kit                                                           22.45            5     22.45 $    112.25
 773602560042 CVS   Eye Brows Big Boost by M.A.C Lingering 4.1g                                                               25       27   1        25 $     25.00
3337872414114 CVS   La Roche‐Posay Pigmentclar Brightening Face Cleanser, Exfoliating Face Wash with LHAs, Dark Sp         26.99    26.99   2     26.99 $     53.98
                    Saalt Menstrual Cup ‐ Premium Design ‐ Most Comfortable Period Cup ‐ #1 Active Cup ‐ Wear
 851705008071 CVS   for 12 Hours ‐ Soft, Flexible, Reusable Medical‐Grade Silicone ‐ Made in USA                                    48.99   23    48.99 $   1,126.77
3274872400719 CVS   Givenchy Irresistible Eau De Parfum 35ml                                                                39.5             1     39.5 $      39.50
3614272453104 CVS   Lanc√¥me Hypn√¥se Eyeshadow Palette ‐ Highly Pigmented & Long‐Wear ‐ Flake & Smudge‐Proo                  65       65    1       65 $      65.00
 887167412934 CVS   Estee Lauder Advanced Night Repair Synchronized Multi‐Recovery Complex, Unisex, 1.7 Oz                  105      39.7    5     105 $      525.00
9421034381179 CVS   Trilogy Instant Glow Rosehip Oil (30ml) ‐ With Mica and Squalane ‐ Supports Collagen Production        34.29    34.29    2    34.29 $      68.58
 819002010906 CVS   Algenist GENIUS Ultimate Anti‐Aging Vitamin C+ Serum ‐ Vegan Brightening Serum with Alguroni            118      118     4     118 $      472.00
 852870004301 CVS   TruBiotics Probiotic for Women Probiotics for Digestive Health, Vaginal & Bone Health, Formulat        24.99    24.99    1    24.99 $      24.99
 850184008572 CVS   Qunol Turmeric and Ginger Gummies, Gummy with 500mg Turmeric + 50mg Ginger, Joint Suppo                16.99    16.95    3    16.99 $      50.97
 856431008258 CVS   Clean Zone CPAP Cleaner Clean With Ozone No Harsh Chemicals HSA Eligible                                  30             3       30 $      90.00
 765809172463 CVS   NAPA Gold 7101 Transmission Filter                                                                     24.99    24.99    2    24.99 $      49.98
4511338052655 CVS   Copic Sketch, Alcohol‐based Markers, 6pc Set, Secondary Tones                                          47.94     35.1    2    47.94 $      95.88
3605533117156 CVS   Lanc√¥me Advanced G√©nifique Radiance Boosting Anti‐Aging Face Serum ‐ Visibly Hydrates & P               89       89    6       89 $     534.00
 884486290472 CVS   Redken Color Extend Magnetics Conditioner For Color Treated Hair, 8.5 Ounce                             20.5             6     20.5 $     123.00
 765809191099 CVS   NAPA Gold 7078 Oil Filter                                                                                 20       20    1       20 $      20.00
3605970943929 CVS   Urban Decay Anti‐Aging Eyeshadow Primer Potion ‐ Hydrating Eye Primer ‐ Reduces the Appeara               16       16    3       16 $      48.00
 888571047705 CVS   Securit Bronto Bicycle Folding Link Lock 80cm Key Black                                                94.07     108     1    94.07 $      94.07
 768990061059 CVS   Nordic Naturals Ultimate Omega 2X Mini D3, Lemon Flavor ‐ 1120 mg Omega‐3 + 1000 IU Vitami             35.95    29.99    2    35.95 $      71.90
 787651760285 CVS   AZO Dual Protection | Urinary + Vaginal Support* | Prebiotic Plus Clinically Proven Women's Pro        32.79    20.95   15    32.79 $     491.85
 851262002871 CVS   BeautyBio The Nightly Retinol + Peptide Anti‐Aging Serum                                                  95       95    2       95 $     190.00
 843445025005 CVS   Compact Trifold LED Mirror                                                                                      12.22    3    12.22 $      36.66
 840056145375 CVS   ZAGG InvisibleShield Glass+ Vision Guard Plus ‐ Blocks Harmful High‐Energy Visible (HEV) Blue Lig      59.99    59.99    1    59.99 $      59.99
5063000996020 CVS   Neo G Wrist and Thumb Brace, Stabilized ‐ Spica Support For Carpal Tunnel Syndrome, Arthritis,         29.99    27.99    1    29.99 $      29.99
 840216930612 CVS   Living proof Perfect hair Day Conditioner, 8 oz                                                           34       34   27       34 $     918.00
 846733008988 CVS   tarte Smooth Operator‚Ñ¢ Amazonian Clay Finishing Setting Powder 0.25 oz/ 7 g                             35       39    3       35 $     105.00
3614272873445 CVS   Lanc√¥me R√©nergie Lift Liquid Foundation With SPF ‐ Buildable Medium To Full Coverage ‐ Up               63       63    1       63 $      63.00
 885911610636 CVS   BLACK+DECKER Dustbuster Handheld Vacuum, Cordless, Dark Grey (HNVC220BCZ01)                            39.99       28    1    39.99 $      39.99
 852575005849 CVS   First Aid Beauty Ultra Repair Cream Intense Hydration Moisturizer for Face and Body ‐ 8 oz.               48    28.99    5       48 $     240.00
 792363641258 CVS   Ames 5.5mm Camera Inspection High Resolution 39‚Äù Heavy Duty Flex Cable 6 LED‚Äôs                     77.94             1    77.94 $      77.94
 843491102309 CVS   FIFTY/FIFTY 34oz ‐ Navy Blue Bottle‐3 Finger Grip Cap                                                  29.99    29.99    3    29.99 $      89.97
 898571000433 CVS   It's a 10 Haircare Miracle Leave‐In Lite 4, fl. oz. (Pack of 1)                                        17.96     16.8    4    17.96 $      71.84
 847137065775 CVS   P√úR MINERALS xo Nabela Embrace Your Face Eye & Cheek Palette, 1 Pack                                     28       28    2       28 $      56.00
 810667019488 CVS   Hot Shot Tools Professional Styling Pik Attachment                                                     14.93             1    14.93 $      14.93
 856528001766 CVS   Novex Biotech GF‐9 ‚Äì 84 Count ‐ Supplements for Men ‐ Boost Critical Peptide That Supports En           75    59.99    3       75 $     225.00
 878269009894 CVS   Sonos Five ‐ The High‐Fidelity Speaker for Superior Sound ‐ Black                                       549      546     1     549 $      549.00
3474636920013 CVS   Redken Conditioner for blonde and blonde hair without yellow tone, colour extension blonde co          19.79             5    19.79 $      98.95
5033102860017 CVS   Generic Value Products Ceramic Titanium 1" Digital Flat Iron, Dual Voltage, Auto Shut Off, Lightw      59.99    59.99    5    59.99 $     299.95
 840797140806                                                                                                              23.97             1    23.97 $      23.97
 860000781848                                                                                                              39.99             1    39.99 $      39.99
 884486343819 CVS   Redken All Soft Mega Shampoo | For Extremely Dry Hair | Moisturizes & Hydrates Severely Dry H           20.5             4     20.5 $      82.00
9421017766894 CVS   Trilogy Vitamin C Moisturising Lotion, 1.69 Fl Oz ‐ For Dull Skin ‐ Brighten & Hydrate with Vitamin    49.99    49.99    1    49.99 $      49.99
 843246140013 CVS   Grande Cosmetics GrandeLIP Plumper Barely There                                                           27       27    6       27 $     162.00
 773602655878 CVS   MAC Hyper Real Serumizer Skin Balancing Hydration Serum ‐ 0.50 fl oz / 15 mL                            32.5    27.32    1     32.5 $      32.50
 885911565226 CVS   CRAFTSMAN 7‐1/4‐in 24‐Tooth Carbide Circular Saw Blade                                                  23.9     23.9    4     23.9 $      95.60
4016710103739 CVS   Pirastro TON412021 Tonica Violin Strings, Set, 4/4                                                    109.51    36.99    2   109.51 $     219.02
 768990018909 CVS   Nordic Naturals Ultimate Omega + CoQ10, Lemon ‐ 60 Soft Gels ‐ 1280 mg Omega‐3 + 100 mg Co             38.95     27.5   45    38.95 $   1,752.75
5060022302976 CVS   ST TROPEZ Self Tan Purity Vitamins Bronzing Water Face Serum, Natural Sunkissed Glow Face Ta              35       35    3       35 $     105.00
 860004340942 CVS   Cupixel Tracing Greeting Card Drawing Set ‐ Card Art Supply Set, Art and Tracing Projector, DIY A      37.99    39.99    6    37.99 $     227.94
 887243065498 CVS   brake pads Fits For 2011‐2014 Chrysler 200                                                                65             6       65 $     390.00
 784276091145 CVS   Lutron Cas√©ta Wireless Smart Dimmer                                                                    140     64.95    1     140 $      140.00
 860001195835 CVS   BRIGHTENING GLOW SERUM (FERULIC) WITH VITAMIN C & E                                                    19.98    22.77    1    19.98 $      19.98
 784276813389                                                                                                             108.12             1   108.12 $     108.12
5000167346114 CVS   No7 Restore & Renew Multi Action Face & Neck Night Cream ‐ Collagen Peptide Anti‐Aging Face            24.98      22     3    24.98 $      74.94
 842944102194                                                                                                                 35             1       35 $      35.00
 800443292136 CVS   Petco Brand ‐ Good2Go Black Front Walking Dog Harness, X‐Large/XX‐Large                                39.99    35.74    4    39.99 $     159.96
3605971306044 CVS   Urban Decay De‐Slick Oil Control Matte Makeup Setting Spray ‐ Controls Oil, Blocks Shine & Lock           36       36    4       36 $     144.00
 850167002764 CVS   BACtrack S35 Breathalyzer Portable Breath Alcohol Tester                                               69.99    29.99    1    69.99 $      69.99
 858259000780 CVS   Hyalogic Stem Cell Face Serum ‐ .47 Oz                                                                 23.96    23.96    1    23.96 $      23.96
 843829115148 CVS   Vortex Optics Pro Binocular Adapter                                                                       79       69    2       79 $     158.00
5060022307995 CVS   St. Tropez Self Tan Express Mousse, Fast Acting Fake Tan, Develops in 1‐3 Hours, Streak‐Free Fini         46       46    5       46 $     230.00
 851890000089 CVS   Reliance Controls Generators Up to 7,500 Running Watts PB30 30‐Amp NEMA 3R Power Inlet Bo              67.99    64.58   13    67.99 $     883.87
 848658001198 CVS   Diamond‐Tipped Core Bit,4in                                                                           194.99   194.99    1   194.99 $     194.99
 819177022056 CVS   Silhouette Rotary Blade for Cameo 4                                                                    24.99    22.99   35    24.99 $     874.65
 879399001758 CVS   Simpson Cleaning 80143 3600 PSI Universal Turbo Pressure Washer Nozzle, 1/4‐Inch Quick Conn            28.99    45.95    2    28.99 $      57.98
3348901527149 CVS   Dior Rouge Lipstick Full Size (773 Bonheur (Velvet))                                                      36       36    1       36 $      36.00
 850019179439 CVS   Recess Powder ‐ Lemon                                                                                  36.99    25.06    2    36.99 $      73.98
 850004759240 CVS   REDCON1 Total War Preworkout ‐ Contains 320mg of Caffeine from Green Tea, Juniper & Beta A             34.99    31.97    3    34.99 $     104.97
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 790011030300 CVS   Jarrow Formulas Fem‐Dophilus ‐ 5 Billion Organisms Per Serving ‐ 60 Veggie Capsules ‐ Women‚Ä         43.95    17.51    3    43.95 $     131.85
 884486110695 CVS   Pureology Pure Volume Shampoo, 8.5 Fl Oz                                                                 35             3       35 $     105.00
4020829062641 CVS   Dr. Hauschka Night Serum, Revitalizing Night Care, 0.7 fl oz                                          35.73       48    4    35.73 $     142.92
9327693000423 CVS   sukin Signature Hydrating Body Lotion for Women ‐ 16.9 oz Body Lotion                                 30.49    16.19    1    30.49 $      30.49
 840797155183                                                                                                             19.99             1    19.99 $      19.99
3522930003243 CVS   Caudalie Vinoperfect Radiance Dark Spot Serum ‐ 62x more effective than Vitamin C (Serum)                82      82     3       82 $     246.00
3614229478693 CVS   Escada ESCADA Flor del Sol Eau de Toilette, 3.3 oz.                                                      87      87     1       87 $      87.00
 812286022825 CVS   General Lock Grade 1 Lever L153R 626 IC 234 S ANSI S Entrance Clutched S Chrome                        68.8             1     68.8 $      68.80
 841886110359 CVS   Napa BPH3NVV2‐N 12V 55W NIGHTVISION Vivid 2‐Pack Fog Light Bulb Whiter/Brighter                        8.99             8     8.99 $      71.92
 850015061004 CVS   Moen White Flo Smart Water Leak Detector, Water Sensor Alarm for Home, 3‐Pack, 920‐005                 203     124.9    7     203 $    1,421.00
 889714001875 CVS   Crest Whitening Emulsions On‐the‐Go Leave‐On Teeth Whitening Gel Pen, 0.35 Oz (10 G)                  49.99    21.95    4    49.99 $     199.96
 856932007194 CVS   Andalou Naturals CannaCell Happy Day Cream, 1.7 Ounce                                                 19.99    16.14    1    19.99 $      19.99
3474636920242 CVS   Redken Frizz Control/Dismiss Shampoo | Weightless Anti Frizz and Humidity Protection for Smoo            26       26   26       26 $     676.00
 897171001468 CVS   Stunt Puppy Dry Collar, Black, Small                                                                     29       29    2       29 $      58.00
3614272453159 CVS   Lancome Unisex D'AMETHYSTE LANCOME HYPNOSE 5 COULEURS PALETA 06 REFLET D AMETHYS                      61.38       65    3    61.38 $     184.14
 792850894952 CVS   Burt's Bees Skin Nourishment Day Lotion with SPF 15 for Normal to Combination Skin, 2 Oz (Pack        17.99    23.98    1    17.99 $      17.99
3605972659682 CVS   IT Cosmetics CC+ Nude Glow Lightweight Foundation + Glow Serum with SPF 40 ‐ With Niacinam               47       47    2       47 $      94.00
3380811096193 CVS   Clarins CR√àME HAUTE EXIGENCE JOUR SPF20                                                               126              3     126 $      378.00
 883049546124 CVS   KitchenAid Variable Speed Corded Hand Blender KHBV53, Empire Red                                      59.99    49.99    1    59.99 $      59.99
 840779011643 CVS   3M 1385000 Protecta PRO D‐Ring Extension, 1.5 ft, Grey                                                41.91       55    1    41.91 $      41.91
 899484001173 CVS   FELIWAY Classic Cat Calming Pheromone Spray (60 mL)                                                   24.99    24.24    9    24.99 $     224.91
 879634019951 CVS   Josie Maran Argan Beta‐retinoid Pink Algae Serum (25 mL)                                              31.44    31.44    2    31.44 $      62.88
 853290006913 CVS   DERMAFLASH DERMAPORE Skin Care Device, Ultrasonic 2‐in‐1 Pore Extractor and Serum Infuser,               99       99    2       99 $     198.00
 813146012642 CVS   Kurgo Dog Seat Cover | Car Bench Seat Covers for Pets | Dog Back Seat Cover Protector | Water         44.99    52.99    2    44.99 $      89.98
4033651374424 CVS   BeYu Catwalk Powder Blush, Dark Rosa, 7.5 Gram                                                        11.99             5    11.99 $      59.95
 781311066397 CVS   SAS Safety 6639 Wrinkled Finish Latex Coated Knit Gloves ‐ XL, Green                                   2.87     7.48   12     2.87 $      34.44
 790011150527 CVS   Jarrow Formulas L‐Carnosine 1000 mg ‐ 90 Veggie Caps ‐ Supports Mitochondrial Health in Brain         56.95    39.98    1    56.95 $      56.95
 850000196049 CVS   Botanical Face Cream Night Suzi's Lavender 2.3 oz Cream                                               25.95             2    25.95 $      51.90
 887961875348 CVS   Masters of the Universe Origins He‐Man 5.5‐in Action Figure, Battle Figure for Storytelling Play a    16.99    25.48    1    16.99 $      16.99
 888912164191 CVS   DonJoy Performance ANAFORM Lace‐Up Figure‐8 Straps Ankle Brace for Mild to Moderate Ankle             34.99    29.99    1    34.99 $      34.99
 883349765508 CVS   T3 SinglePass 1.25" Ceramic Curling Iron, White/Rose Gold, 1 ¬º inch                                 169.99   169.99    1   169.99 $     169.99
7332525062045 CVS   Grundens Men‚Äôs Weather Watch Fishing Pants | Waterproof, Breathable | Reflective Yellow, L          79.99             1    79.99 $      79.99
 884486437082 CVS   Pureology Smooth Perfection Conditioner | For Frizzy, Color‐Treated Hair | Detangles & Controls          37      37     6       37 $     222.00
 879634012624 CVS   Josie Maran Hemp Seed Oil ‐ Strong, Resilient, Glowing Skin that Bounces Back (50 ml/1.7 fl oz)          65      65     1       65 $      65.00
 792363647588 CVS   MADDOX MDB5‐1 Radiator Pressure Test Cooling System Leak Fits Most Radia #64758                        99.5             1     99.5 $      99.50
 885911603119 CVS   CRAFTSMAN V20 LED Work Light, Cordless Handheld, 2,500 Lumens, Bare Tool Only (CMCL060B)              62.83    67.99    1    62.83 $      62.83
3522932003562 CVS   Caudalie Premier Cru Anti Aging Face Cream Moisturizer with Hyaluronic Acid, Visibly Plump, and        109      109     1     109 $      109.00
3614229382334 CVS   Gucci Bloom Profumo di Fiori Eau de Parfum Rollerball 0.25 oz/ 7.5 mL                                          69.99    1    69.99 $      69.99
 854880001158 CVS   ThunderShirt Classic Dog Anxiety Jacket, Heather Grey, Small                                          44.95    39.95    2    44.95 $      89.90
4897054512285 CVS   Flame Toys Furai Model 02 Starscream, White                                                              38    39.98    2       38 $      76.00
 840216930513 CVS   Living Proof Restore Conditioner, 8 oz                                                                   30       34   14       30 $     420.00
 818356020463 CVS   Algenist GENIUS Liquid Collagen Lip ‐ Active Vegan Collagen Lip Treatment for Visibly Smoother L         35       35    1       35 $      35.00
 850024429048 CVS   Alavert Allergy 24 Hour Relief, Fresh Mint Flavor, Orally Disintegrating Allergy Tablets, Non‐drow    24.99     18.1   63    24.99 $   1,574.37
 846750015006 CVS   Exitronix GVLEDUWHEL90 Exit Illumination                                                              61.76    61.76    3    61.76 $     185.28
 883140000907 CVS   La Roche‐Posay Anthelios Mineral Ultra‐Light Face Sunscreen SPF 50, Zinc Oxide Sunscreen for Fa       36.99    36.99   54    36.99 $   1,997.46
 792363646246 CVS   CHIEF CH4DGX Pneumatic 1/4 In. Die Grinder with 4" Extension ‐ 792363646246 New!                       44.9             1     44.9 $      44.90
3605972368669 CVS   IT Cosmetics Your Skin But Better Foundation + Skincare, Medium Neutral 31 ‐ Hydrating Coverag           46      46     1       46 $      46.00
 873509015147 CVS   Alterna Caviar Anti‐Aging Replenishing Moisture Conditioner, 8.5 Fl Oz (Pack of 1                        37     25.9    3       37 $     111.00
 859811010025 CVS   Nuvomed Ashwagandha Supplement Vegan Energy Mood Stress Relief                                        12.12             1    12.12 $      12.12
 840080509914 CVS   Echo Show 5 (2nd Gen, 2021 release) | Smart display with Alexa and 2 MP camera | Deep Sea Bl          84.99             1    84.99 $      84.99
3616301782438 CVS   philosophy hope in a jar moisturizer with spf 30, 2 oz                                                   49       49    1       49 $      49.00
 801310240762 CVS   Fast & Furious Jada Brian's Ford SVT Lightning [Red] 1/32 Scale Die Cast Truck                        22.99    21.99    1    22.99 $      22.99
 889440245666 CVS   Dickies Men's Tough Max Duck Carpenter Pant, Stonewashed Slate, 34 34                                 44.99    44.99    1    44.99 $      44.99
                    HEXBUG Micro Ant ‐ Electronic Autonomous Robotic Pet ‐ High Speed Robot ‐ Toy for Kids Ages
 807648063899 CVS   8 and Up (Random Color)                                                                                         28.5    2     28.5 $      57.00
 850025150033 CVS   Flexir Recovery Vibrating Foam Roller                                                                          38.65    1    38.65 $      38.65
 810029622370 CVS   Biossance Squalane + Vitamin C Rose Moisturizer. Antioxidant‐Rich Daily Moisturizer to Boost Ra          56             2       56 $     112.00
4015165337737 CVS   Dr. Barbara Sturm, Face Mask, 50ml                                                                     125      125     1     125 $      125.00
 854161005097 CVS   Tata Harper Regenerating Cleanser, Daily Exfoliating Treatment, 100% Natural, Made Fresh in Ve           86      88     3       86 $     258.00
3605971890468 CVS   Ralph Lauren POLO Black Eau de Toilette Spray + Travel Spray + Deodorant 3PC NIB                      124.5             1    124.5 $     124.50
3605972303271 CVS   Urban Decay Brow Blade ‐ Waterproof Eyebrow Pencil & Ink Stain ‐ Dual‐Ended Pencil Fills and D           28      28     2       28 $      56.00
 810023370772 CVS   Kate Somerville KateCeuticals Resurfacing Overnight Peel | Clinic‐Grade Face Peel | Powerful An          98      98     2       98 $     196.00
 879213888664 CVS   Bergan Bench Seat Protector                                                                           67.47             1    67.47 $      67.47
 768990017452 CVS   Nordic Naturals DHA Xtra, Strawberry ‐ 60 Soft Gels ‐ 1660 mg Omega‐3 ‐ High‐Intensity DHA For        31.95    27.16    1    31.95 $      31.95
3474630736368 CVS   Biolage, Hair Conditioner ‐ 1000 ml                                                                   25.99             5    25.99 $     129.95
3337875751032 CVS   La Roche‐Posay Lipikar Wash AP+ Body & Face Wash with Pump, Gentle Daily Cleanser with Shea           16.99    16.99    5    16.99 $      84.95
3614228816113 CVS   Nioxin Diamax Advanced Hair Thickening Treatment, Diameter Boosting, For Instant Thickening E          53.9       55    2     53.9 $     107.80
 785901983415 CVS   Square D by Schneider Electric Square D ‐ HOM120DFC Homeline 20‐Amp Single‐Pole Dual Funct           336.42     44.5    1   336.42 $     336.42
 884486452986 CVS   Redken All Soft Argan Oil Shampoo | For Dry / Brittle Hair | Provides Intense Softness and Shine         25       26   37       25 $     925.00
 840098727393 CVS   Arteza Pro Series Drawing Set of 33 pc|pz #7393 Professional Set And Quality                          24.95             6    24.95 $     149.70
 886112385040 CVS   HP 304A Cyan, Magenta, Yellow Toner Cartridges (3‐pack) | Works with HP Color LaserJet CM232         383.99   368.95    1   383.99 $     383.99
 850023528001 CVS   COOLA Organic Dew Good Illuminating Probiotic Serum with SPF 30, Dermatologist Tested Sunsc              48       48    1       48 $      48.00
5010993840557 CVS   Disney Princess Ultimate Celebration Castle, 4 Feet Tall Doll House with Furniture and Accessorie    157.99   279.95    1   157.99 $     157.99
 786936881394 CVS   Eternals                                                                                               26.5    25.01    1     26.5 $      26.50
7350120791344 CVS   FOREO LUNA 4 go Face Cleansing Brush & Firming Face Massager | Premium Face Care | Enhanc              129      90.3    3     129 $      387.00
7393033123321 CVS   Schere Schneiderschere Husqvarna Viking 8 " / 20,3 CM ‐ 920672996                                     95.59             1    95.59 $      95.59
 850014698515 CVS   TULA Skin Care Face Filter Blurring and Moisturizing Primer ‐ Luna, Evens the Appearance of Skin         38     32.5    1       38 $      38.00
 817387025010 CVS   Pure Enrichment Extra‐Extra Wide Electric Heating Pad Grey                                            49.99             8    49.99 $     399.92
 850011058343 CVS   It's A 10 Miracle Leave‐In For Blondes 10 Oz                                                          29.99    29.99    3    29.99 $      89.97
3614272951556 CVS   Armani LUMINOUS SILK CONCEALER 2 F12ML                                                                 43.5       48    2     43.5 $      87.00
4005176304866 CVS   Euphoria 1‐Spray Hand Shower and Showehead Bundle                                                     1069              1    1069 $    1,069.00
 887243064781 CVS   Disc Brake Pad Set Rear CARQUEST PXD770H. FREE SHIPPING                                               49.99             1    49.99 $      49.99
 793869581659                                                                                                            148.97             1   148.97 $     148.97
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 873509015130 CVS   Alterna Haircare CAVIAR Anti Aging Replenishing Moisture Shampoo, 8.5 Fl Oz (Pack of 1)                36      36     1       36 $      36.00
 846841010286                                                                                                           35.96             5    35.96 $     179.80
 812458003843                                                                                                           19.99             1    19.99 $      19.99
 854232008378 CVS   *BRAND NEW* ‐ AIRTHINGS 2951 WAVE 2ND GENERATION RADON DETECTOR ‐ WHITE                             97.99            14    97.99 $   1,371.86
 817835010254 CVS   evanhealy Rose Vetiver Day Moisturizer For All Skin Types ‐ Lightweight Formula Packed with An      47.98    49.24    1    47.98 $      47.98
3337875609418 CVS   Vichy Mineral 89 Hyaluronic Acid Face Serum | Facial Gel Moisturizer and Pure Hyaluronic Acid M     39.99    39.99   10    39.99 $     399.90
 883882518029 CVS   ‚ÄãEasyFlex EFGC034YE141524 Coated Stainless Steel Gas Connector LOCAL ONLY!                        19.95             1    19.95 $      19.95
3605970326494 CVS   Lanc√¥me‚Äã R√©nergie Multi‐Action Night Cream ‐ With Hyaluronic Acid ‐ For Lifting & Firming        170      170    13     170 $    2,210.00
 810569033261 CVS   Keratin Complex EBO Express Blow Out Smoothing System                                              110.99             2   110.99 $     221.98
 889714000465 CVS   Crest 3D Whitestrips, Supreme Flexfit, Teeth Whitening Strip Kit, 42 Strips (21 Count Pack)         59.99    44.93   12    59.99 $     719.88
 810023370727 CVS   Kate Somerville KateCeuticals Total Repair Cream | Advanced Anti‐Aging Moisturizer | Visibly Re      140      140     5     140 $      700.00
 815817010001 CVS   Ozeri Nouveaux II Electric Wine Opener in Black, with Foil Cutter, Wine Pourer and Stopper          89.99    25.95    1    89.99 $      89.99
3348901362658 CVS   Dior One Essential Skin Boosting Super S√©rum                                                       95.99    74.99   12    95.99 $   1,151.88
 817777008159 CVS   StriVectin Advanced Retinol Day Moisturizer SPF 30, Face Cream, Protects Skin Against Sun and A        99             3       99 $     297.00
3606000428683 CVS   La Roche Posay Anthelios Ultra Light Mineral Face Sunscreen ‐ 1.7 oz NEW                            14.94            11    14.94 $     164.34
 785901152873 CVS   Square D ‐ HOM230GFIC Homeline Circuit Breaker, 30‐Amp, 120/240V, 2‐Pole, GFCI, Plug‐In Mou          434     84.99    4     434 $    1,736.00
 896364002923                                                                                                            26.5             1     26.5 $      26.50
 887243065023 CVS   CARQUEST TEQ Correct Professional PMD802H Disc Brake Pads FOR CHEVY 1500 (05‐09)                    23.99             2    23.99 $      47.98
 817387025997 CVS   Pure Enrichment Pure Relief XL Plush Heating Pad                                                    34.99             1    34.99 $      34.99
 850035206164                                                                                                           49.97            26    49.97 $   1,299.22
 855710002352 CVS   Instaflex Advanced Joint Support Supplement ‐ Turmeric, Resveratrol, Boswellia Serrata Extract,     59.99    55.99    2    59.99 $     119.98
 854150008146 CVS   OKIl Stainless Steel Adjustable Shower Head Bracket Holder Mounted with Screws                               39.99    4    39.99 $     159.96
 883351049092 CVS   Kwikset 991 Tustin Entry Lever and Single Cylinder Deadbolt Combo Pack featuring SmartKey in S      72.97    55.75    5    72.97 $     364.85
 773602326853 CVS   AcM MAC Prep + Prime Natural Radiance ‐ Radiant Yellow,1.7 Fl Oz (Pack of 1)                        63.18    23.49   24    63.18 $   1,516.32
 840072904123 CVS   Jaclyn Cosmetics Brightening & Settings Palette Light To Medium 4 Shades.                              34             4       34 $     136.00
4007817324066 CVS   Staedtler Triplus Fineliner 334‐ 0.3mm 48pc                                                                  54.25    2    54.25 $     108.50
 859975002256 CVS   Andalou Naturals Bioactive 8 Berry Fruit Enzyme Mask, 1.7 Ounce, Skin Firming                       15.99      7.7    2    15.99 $      31.98
 887167351929 CVS   Estee Lauder Perfectionist Pro Rapid Firm Plus Lift Treatment 1 Oz                                  49.99    36.88    9    49.99 $     449.91
 810023370536 CVS   Kate Somerville EradiKate Clarifying Acne Gel Cleanser | Salicylic Acid Acne Treatment Face Wash       44       44    1       44 $      44.00
3605532418704 CVS   Lanc√¥me Hydra Zen Oil‐Free Gel Moisturizer ‐ All Day Hydration & Visible Glow ‐ With Hyaluron         57       57    4       57 $     228.00
 834893002328 CVS   Juice Beauty PHYTO‐PIGMENTS Flawless Serum Foundation, Rosy Beige | Skin‐Perfecting + Age‐D            44       45    2       44 $      88.00
 840317106367 CVS   FLEXI¬Æ New Comfort Retractable Dog Leash (Tape), Ergonomic, Durable and Tangle Free Pet W          54.67    25.36    1    54.67 $      54.67
3282770049350 CVS   Eau Thermale Av√®ne PhysioLift NIGHT Smoothing Night Balm with Retinaldehyde to Reduce the             59       59   24       59 $   1,416.00
 859049007903 CVS   Biossance Squalane + Peptide Eye Gel. Reduce Dark Circles and Puffiness, Improve Fine Lines and        56       60    3       56 $     168.00
 854880008409 CVS   Zesty Paws Mobility Bites Dog Joint Supplement ‐ Hip and Joint Chews for Dogs ‐ Pet Products wi     34.97    33.03    5    34.97 $     174.85
 785901412632 CVS   200a Main Circuit Breaker                                                                            350    174.99    1     350 $      350.00
3606000527355 CVS   La Roche‐Posay Anthelios Melt‐In Milk Body & Face Sunscreen SPF 60, Oil Free Sunscreen for Sen      25.99    25.99   17    25.99 $     441.83
 818923010071 CVS   comCables Cat 5E 350Mhz 4pr PVC blue BC‐C5EPVC‐BL                                                    120              1     120 $      120.00
 884486436917 CVS   Pureology Moisturizing Shampoo, For Damaged & Colour‐Treated Hair, Fortifies & Repairs Dama            36      37    11       36 $     396.00
7350092137850 CVS   FOREO LUNA fofo Smart Facial Cleansing Brush and Skin Analyzer, Pearl Pink, Personalized Clean         44             1       44 $      44.00
 858544005933 CVS   Living Proof Perfect Hair Day Night Cap Overnight Perfector 118ml, Weightless Overnight Treatm      18.15             3    18.15 $      54.45
3522932003227 CVS   Caudalie Vinoperfect Dark Spot Moisturizer with Niacinamide ‐ 1.7 Fl. Oz                               65       65    1       65 $      65.00
 840093110619 CVS   Nature's Truth Collagen Serum, 1 Ounce                                                              12.99    19.98    8    12.99 $     103.92
 843119101608 CVS   Hemp Infused Cooling Gel, 1.7 Ounce (Pack of 1)                                                     36.97    32.99    1    36.97 $      36.97
 815934026701 CVS   DevaCurl SuperCream Rich Coconut‐Infused Definer, Warm Coconut, 5.1 fl. oz.                            34       34   44       34 $   1,496.00
 810569033254                                                                                                          147.67             1   147.67 $     147.67
 856622004052 CVS   BARE PERFORMANCE NUTRITION, Safe and Effective BPN Pure Creatine Monohydrate by Creapu              39.39    38.45    1    39.39 $      39.39
 773602362301 CVS   MAC Lip Pencil Edge To Edge                                                                                     32    1       32 $      32.00
7640126630175 CVS   Alchimie Forever Gentle Refining Face Scrub | Natural Scrub for All Skin Types with Cranberry Be       45       47   18       45 $     810.00
 844788027824 CVS   WoodRiver Bottle Stopper Project Turning Kit ‐ Starter Set                                          89.98    71.98    1    89.98 $      89.98
 884486452962 CVS   Redken All Soft Argan Oil Shampoo | For Dry / Brittle Hair | Provides Intense Softness and Shine       50    34.99    1       50 $      50.00
3337875545822 CVS   La Roche‐Posay Toleriane Purifying Foaming Facial, Oil Free Face Wash for Oily Skin and for Sens    16.99    16.99    9    16.99 $     152.91
 812459028036 CVS   Glossier Solar Paint Luminous Bronzer Creme Flare 0.43 Fl Oz                                                 14.97    2    14.97 $      29.94
7350120790224 CVS   FOREO LUNA play plus 2 ‐ Facial Cleansing Brush ‐ 1‐min Deep Facial Cleanser ‐ Travel Accessorie       39       69    5       39 $     195.00
3337875545846 CVS   La Roche‐Posay Toleriane Double Repair UV SPF Moisturizer for Face, Daily Facial Moisturizer wit    22.99    22.99   38    22.99 $     873.62
 773602084937 CVS   M.A.C Lip Pencil, Soar, 5g (MACM38059)                                                                 24    25.26    1       24 $      24.00
 773602338993 CVS   MAC Mineralize Skinfinish Powder Soft and Gentle Blush Nib, Soft & Gentle, one size                 53.91    25.98   11    53.91 $     593.01
3337875719209 CVS   Vichy LiftActiv Supreme 1.5% Hyaluronic Acid Face Serum & Wrinkle Corrector | Anti Aging Serum      44.99    44.99    2    44.99 $      89.98
3614273361033 CVS   YSL ROUGE THE SLIM VELVET RADICAL N¬∞28 ‐ TRUE CHILI, 2.2 g.                                        38.64    43.99    1    38.64 $      38.64
7640126630458 CVS   Alchimie Forever Pigment Perfecting Serum | Reduces Uneven Pigmentation and Age Spots with             99       99   10       99 $     990.00
 797801034579 CVS   NaturVet Joint Health Time Release Level 2‐Maximum Hip & Joint Dog Supplement                                32.99    7    32.99 $     230.93
 822985519380 CVS   Utilitech plug in enchufable 16.4ft Led tape light with remote #0709208 #9380                          45             1       45 $      45.00
 819505014807 CVS   ThunderWunders Dog Calming Chews | Thiamine, L‐Tryptophan, Melatonin and Ginger | Can He            39.95       20   13    39.95 $     519.35
 822383571058 CVS   HurryCane Freedom Edition Folding Walking Cane, Pathfinder Purple                                   39.95    38.03    2    39.95 $      79.90
 887243065320 CVS    CARQUEST TEQ Correct Professional PXD843H Ceramic Disc Brake Pads Set                              28.99             1    28.99 $      28.99
 765809180321 CVS   NAPA 7082 Oil Filter                                                                                    9     9.78    1        9 $       9.00
 797801037396 CVS   NaturVet Quiet Moments Calming Aid Melatonin Dog Supplement ‚Äì Helps Reduce Stress in Dog          33.99            10    33.99 $     339.90
 887243063968 CVS   1998 Ford Taurus Brake Pads                                                                         34.65             1    34.65 $      34.65
5000167258165 CVS   No7 Laboratories Resurfacing Paste 1.69 oz                                                          16.04    16.04    2    16.04 $      32.08
 866330000260                                                                                                           89.99             1    89.99 $      89.99
4033651385208 CVS   BeYu Velvet Mat Foundation Oil, Free, Light Toffee, 1 Fluid Ounce                                   11.99             2    11.99 $      23.98

9780873418690 CVS   Warman's Depression Glass: A Value & Identification Guide (Warman's Depression Glass, 2000)                   35.9    1     35.9 $      35.90
 813146019337 CVS   Kurgo K01933 Dog Harness for Large, Medium, & Active Dogs, Pet Hiking Harness for Running &         42.99    39.95    2    42.99 $      85.98
3337875549615 CVS   La Roche‐Posay Lipikar Daily Repair Moisturizing Cream, Fragrance Free Body Moisturizer with Sh     19.99    23.99   12    19.99 $     239.88
 815151025686 CVS   amika normcore Signature Shampoo, 10 Fl Oz                                                             21             9       21 $     189.00
 840317107876 CVS   Flexi New Classic Retractable Dog Leash (Tape), 16 ft, Large, Black                                 26.99    26.99    1    26.99 $      26.99
 846733018772 CVS   tarte Amazonian Clay Matte Waterproof Bronzer Hotel Heiress                                         32.67       36    2    32.67 $      65.34
 800443405932 CVS   Good2Go Padded Step‐in Dog Harness, Size Extra Large Color Green                                    25.65             2    25.65 $      51.30
 883140500759 CVS   La Roche‐Posay Effaclar Duo Dual Action Acne Spot Treatment Cream with Benzoyl Peroxide Acn         35.99    35.99   30    35.99 $   1,079.70
 898571000518 CVS   It's A 10 Haircare Silk Express Miracle Silk Smoothing Balm ‐ 5 oz. ‐ 1ct                              21    17.99   13       21 $     273.00
3614273634526                                                                                                           33.83             2    33.83 $      67.66
7350092139113 CVS   FOREO LUNA 3 Facial Cleansing Brush ‐ Normal skin ‐ Anti Aging Face Massager ‐ Enhances Absor        115     109.5    1     115 $      115.00
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 879655009863 CVS   SPOT‐HOGG Grinder, 7 Pin, Right Hand, .010", MRT                                                      259.99   259.99    2   259.99 $     519.98
 840797119956 CVS   FLOWER BEAUTY Shimmer + Shade Eyeshadow Palette ‐ Neutral Colors + Ten Shades ‐ Mix + Laye             18.99     9.79    2    18.99 $      37.98
 765809199286 CVS   NAPA Gold 7009 Oil Filter                                                                                 16       16    1       16 $      16.00
 817291000318 CVS   MyChelle Dermaceuticals Pumpkin Renew Cream (1.2 Fl Oz) ‐ Daily Face Moisturizer with Pumpk               35    19.99   53       35 $   1,855.00
 884486437167 CVS   Pureology Moisturizing Conditioner, For Medium to Thick Hair Textures, Ideal for Dry & Colour T           36       37   22       36 $     792.00
 850018802215 CVS   Olaplex. N¬∫.0 Intensive Bond Building Treatment                                                          32             3       32 $      96.00
 816657027549 CVS   Fenty Beauty by Rihanna Diamond Bomb All‐Over Diamond Veil How Many Carats?!                                    65.99   10    65.99 $     659.90
 840026641654 CVS   Fenty Beauty Full Frontal Volume, Lift & Curl Mascara 12.5ml                                           29.97    21.49    2    29.97 $      59.94
 834893012075 CVS   Juice Beauty STEM CELLULAR Anti‐Wrinkle Solutions Kit ‐ Reduce Fine Lines and Wrinkles ‐ Natur            52       52    1       52 $      52.00
3348901632911 CVS   DIOR‐COL FRV STICK Rouge Dior Forever Transfer‐Proof Lipstick (760 Forever Gram)                       39.99    39.99    4    39.99 $     159.96
3548752169127 CVS   MAKE UP FOR EVER Rouge Artist Lipstick 104 Bold Cinnamon                                               34.95    34.95    1    34.95 $      34.95
 810000318094 CVS   Mederma PM Intensive Overnight Scar Cream, Works with Skin's Nighttime Regenerative Activity           17.99    23.99    4    17.99 $      71.96
 888912164382 CVS   DonJoy Performance COLDFORM Hot/Cold Therapy: Shoulder Compression Wrap, One Size Fits M               79.99    64.99    3    79.99 $     239.97
 843820154146 CVS   Osprey Manta 24L Men's Hiking Backpack with Hydraulics Reservoir, Oak Leaf Orange                     199.95   199.95    1   199.95 $     199.95
 811485030631 CVS   PMD Clean Pro RQ ‐ Smart Facial Cleansing Device with Silicone Brush & Rose Quartz Gemstone A           179      179     1     179 $      179.00
 767332109459 CVS   Murad Clarifying Water Gel Hydrating Face Moisturiser with Non‐Greasy Finish 47ml                      45.42             1    45.42 $      45.42
3605972735768 CVS   URBAN DECAY x Marvel Studios She‐Hulk Mini Eyeshadow Palette ‐ 6 Limited‐Edition Matte & M                30             3       30 $      90.00
6925281979422 CVS   JBL Clip 4 Portable Bluetooth Speaker ‐ Blue BRAND NEW SEALED                                          36.99             1    36.99 $      36.99
 829835009008 CVS   Amazing Grass Greens Blend Superfood for Immune Support: Super Greens Powder Smoothie M                39.99    14.98    7    39.99 $     279.93
9781465493071 CVS   Dreams Unlock Inner Wisdom, Discover Meaning and Refocus Your Life                                        18             1       18 $      18.00
 819430010837 CVS   Sigma Beauty E75 Angled Brow Makeup Brush ‐ Angled Brow Brush for Gel or Powder Products ‐                18      18     1       18 $      18.00
4033651374394 CVS   BeYu Catwalk Powder Blush, Powdery Rose, 0.26 Ounce                                                    12.99             9    12.99 $     116.91
3605972689771 CVS   Urban Decay Naked Sin Mini Eyeshadow Palette ‐ 6 Blush‐Toned Neutral Shades ‐ Richly Pigment              33      33     4       33 $     132.00
3282770207088 CVS   Eau Thermale Av√®ne Cicalfate+ Scar Gel, Silicone Massage Gel for Scars, Superficial Scars, Derm          34      34     5       34 $     170.00
 884486453389 CVS   Redken Extreme Conditioner | Anti‐Breakage & Protection for Damaged Hair | Strengthen and F               26      26    12       26 $     312.00
 819430014019 CVS   Sigma E68 ‐ Line Perfector                                                                                16             1       16 $      16.00
 800443329399 CVS   Good2Go Red Quilted Tech‐Fabric Ski Dog Coat, Extra Extra Large                                        38.99             1    38.99 $      38.99
3605970936099 CVS   Urban Decay Eyeshadow Primer Potion, Original ‐ Award‐Winning Nude Eye Primer for Crease‐Fr               27       27    4       27 $     108.00
3337875853484 CVS   La Roche‐Posay NEW Lipikar AP+ Gentle Foaming Cleansing Oil | Gentle Oil Cleanser for Face and         16.99    21.99    1    16.99 $      16.99
 850038728496 CVS   Pet Honesty Probiotics for Dogs ‐ Digestive Enzymes Promotes Gut Health, Dog Probiotics for Dia        57.98    49.99    4    57.98 $     231.92
 883140500322 CVS   La Roche‐Posay Anthelios Melt‐In Milk Body & Face Sunscreen SPF 60, Oil Free Sunscreen for Sen         37.99    37.99   17    37.99 $     645.83
 810014323756 CVS   StriVectin Pro GlowFoliant Mix‐In Microderm Crystals for Exfoliation, 36 g.                               45       45    1       45 $      45.00
 840104202616 CVS   Otter Defender Pro For ipad 10.9‚Äù (10th Generation) With Drop Plus Technology                           47             1       47 $      47.00
 889714001905                                                                                                              19.99             5    19.99 $      99.95
 884486320698 CVS   Redken Color Extend Conditioner | For Color‐Treated Hair | Detangles & Smooths Hair While Pro           17.5             1     17.5 $      17.50
 765809180611 CVS   NAPA Gold 3129 Fuel Filter                                                                                25       25    1       25 $      25.00
 898571000556 CVS   it's a 10 Haircare Miracle Leave‐In Lite, 2 fl. oz. (Pack of 3)                                                 29.97    1    29.97 $      29.97
 838766004846 CVS   Vega Organic All‐in‐One Vegan Protein Powder, French Vanilla ‐Superfood Ingredients, Vitamins          75.99    22.07    3    75.99 $     227.97
 811913010082 CVS   Oribe Impermeable Anti‐Humidity Spray, 5.5 oz                                                             44       42    4       44 $     176.00
 851469000113 CVS   ORGANIC INDIA Turmeric Curcumin Herbal Supplement ‐ Joint Mobility & Immune System Suppo               28.73    23.99    1    28.73 $      28.73
 768990037436 CVS   Nordic Naturals DHA, Strawberry ‐ 180 Soft Gels ‐ 830 mg Omega‐3 ‐ High‐Intensity DHA Formula          49.95     42.4    1    49.95 $      49.95
 819505014814 CVS   ThunderWunders Hemp Dog Calming Chews | Vet Recommended for Situational Anxiety | Firew                24.95       10    5    24.95 $     124.75
                    Gelish Soft Gel Duo, Tip Primer for Gel Nails, Soft Gel Tip Adhesive For Gel Nails, Soft Gel Nails,
 810003075222 CVS   Manicure Kit For Soft Gel Nails                                                                                 30.21    3    30.21 $      90.63
 850002593037 CVS   FELIWAY 30 Day Diffuser Refill for Cats, Pack of 2, 2 CT                                               34.99    28.99    7    34.99 $     244.93
 800443405994 CVS   Good2Go Padded Step‐in Dog Harness, Size Extra Small Color Navy Blue                                   21.99             1    21.99 $      21.99
 810024628100 CVS   Arteza Metallic Watercolor Paints, Set of 24 Half Pans, Pearl Paint, Vibrant and Pearlescent Hues      32.99      32     2    32.99 $      65.98
 879634010903 CVS   Josie Maran Body Butter (Unscented) ‐ Hydrate, Soften & Revitalize Skin with Argan Oil, Shea But          38      56     1       38 $      38.00
3337875773980 CVS   Vichy Neovadiol Serum for Peri and Post Menopause | Anti Aging Serum to Reduce Wrinkles and               39      39    17       39 $     663.00
 828054061064                                                                                                                 35             2       35 $      70.00
 847137066420 CVS   P√úR MINERALS Go with the Glow Niacinamide Drops, Improves Skin Hydration, Reduces Rednes                 30      30     2       30 $      60.00
 850004577202 CVS   Prima R+R Recovery Cream ‐ Advanced Hemp Body Cream for Soothing Skin ‐ Prima Skincare and              27.5             2     27.5 $      55.00
3474636977062 CVS   Redken Purple Shampoo, For Blonde Hair, Vi Violet Pigment, Color Extend Blondage, 300 ml               18.73             1    18.73 $      18.73
 857496002069                                                                                                              39.99            96    39.99 $   3,839.04
 850963006249 CVS   DevaCurl No‐Poo Zero Lather Conditioning Cleanser Hair Shampoos                                        39.05            10    39.05 $     390.50
 840080503073 CVS   Echo Dot (4th Gen) | Smart speaker with Alexa | Twilight Blue                                          49.99             2    49.99 $      99.98
 767332152981 CVS   Murad Anti‐Aging Moisturizer Broad Spectrum SPF 30 ‐ Acne Control Grease‐Free Face Moisturiz              57       57    5       57 $     285.00
 822383571041 CVS   HurryCane HCANE‐BL‐C2 Freedom Edition Foldable Walking Cane with T Handle, 37.5 Inches exte            39.95    36.45    4    39.95 $     159.80
 884486331144 CVS   Baxter of California Daily Fortifying Conditioner for Men | All Hair Types | Moisturizes and Detan        23       23    3       23 $      69.00
 767332603797 CVS   Murad Replenishing Multi‐Acid Peel ‐ Resurgence AHA/BHA Salicylic and Glycolic Acid Peel ‐ Skin           70       79    3       70 $     210.00
3614226650719 CVS   philosophy anti‐wrinkle miracle worker ‐ eye cream, 0.5 oz                                                63       66    7       63 $     441.00
 783250509904 CVS   Ideal 36‐067 Saw Blade, Pack of 5                                                                       33.2    62.73    1     33.2 $      33.20
 810003076427 CVS   Gelish Soft Gel Mini Basix Kit Start Up Set, Soft Gel Tips Kit, Nail Tips Kits, Nail Gel Kit           39.99    39.95    2    39.99 $      79.98
 840317106480 CVS   FLEXI New Comfort Retractable Dog Leash (Tape), for Dogs Up to 110lbs, 26 ft, Large, Grey/Black        39.99    34.79    5    39.99 $     199.95
 800443405895 CVS   Good2Go Padded Step‐in Dog Harness, Size Extra Small Color Green                                       21.99             1    21.99 $      21.99
3614273793308 CVS   Lanc√¥me Teint Idole Ultra Wear Buildable Full Coverage Foundation ‐ Longwear & Waterproof ‐              57      57     1       57 $      57.00
6925699901220 CVS   Jacuzzi 67691W‐6004 Duncan Brushed Nickel Pvd 1‐Handle 4‐in Centerset Bathroom Sink Faucet                79             1       79 $      79.00
 810014326559 CVS   StriVectin GlowFector SPF 30 Instant llluminating Lotion Broad Spectrum, Boosts Skin radiance w           39       39    2       39 $      78.00
 896364002954 CVS   Olaplex No 6 Bond Smoother, 3.3 Fl Oz                                                                     30       30   14       30 $     420.00
 819603018844 CVS   Aquatop Fusion Aquarium Air Pump Dual Outlet, Super Quiet, up to 75 Gal Fish Tank, BZF‐600             31.99    31.99    1    31.99 $      31.99
 817243036617 CVS   Auto and Home Lightning Cable 6FT                                                                       5.99             2     5.99 $      11.98
3337875722827 CVS   La Roche‐Posay Effaclar Salicylic Acid Acne Treatment to Minimize Pores, Clear Acne Blemishes a        39.99    39.99   74    39.99 $   2,959.26
 841058008767                                                                                                               9.49             3     9.49 $      28.47
7350092139144 CVS   FOREO LUNA 3 Facial Cleansing Brush ‐ Combination skin ‐ Anti Aging Face Massager ‐ Enhances              99     219     7       99 $     693.00
9421017761868 CVS   Trilogy Rosehip Cream Cleanser ‐ With Evening Primrose, Rosehip & Carrot for a Smooth & Clean          25.64    19.99    4    25.64 $     102.56
 840104274620 CVS   Brand New Otterbox Defender Pro Case for Apple iPhone 13 Pro ‐ Black                                      19             1       19 $      19.00
 810010832757 CVS   Miracle Manuka Multi‐Use Melting Cream 1 oz Exp 05/25 Sealed New                                        26.5             1     26.5 $      26.50
4020829063167 CVS   Dr. Hauschka Eye Make‐Up Remover, 2.5 Fl Oz                                                               20       20    1       20 $      20.00
5060022302990 CVS   ST TROPEZ Self Tan Express Bronzing Gel, Vegan, Natural & Cruelty Free, 6.7 Fl Oz                         46    35.02    1       46 $      46.00
 885911304924 CVS   RECIP BLADE SET 8PC                                                                                       15       15    1       15 $      15.00
 859340007138 CVS   The Mane Choice Tropical Moringa Sweet Oils & Honey Endless Moisture Shampoo                           13.99    21.99    1    13.99 $      13.99
 887243063210 CVS   Carquest PXD1653H Ceramic Disc Brake Pad Kit NOS                                                       47.34             1    47.34 $      47.34
 816431005558 CVS   Hollywood Fashion Secrets Silicone Contour Cups, Size C, Versatile Push Up Support & Coverage          14.99    25.75    1    14.99 $      14.99
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3614273066365 CVS   Lanc√¥me Lash Id√¥le Lash‐Lifting & Volumizing Mascara ‐ Black Mascara for Instant Volume, Len              30       30    3       30 $      90.00
 773602112371 CVS   MAC Technakohl Liner, Graphblack, 0.02 Ounce (12371)                                                     18.47    37.59    6    18.47 $     110.82
 846733072859 CVS   Tarte Sugar Rush Sweet Double Shot Eyeshadow Palette                                                      29.5    29.09   14     29.5 $     413.00
 850043719076 CVS   Snow Teeth Whitening at Home System ‚Äì The Original All in One Kit for Regular and Sensitive T             69             7       69 $     483.00
3348901410274 CVS   Capture Dreamskin Fresh & Perfect Cushion Foundation SPF 50 #030 Dior                                       95             1       95 $      95.00
 773602077540 CVS   Mac Matte Lipstick, Velvet Teddy (3g/0.1oz)                                                                 23      23     3       23 $      69.00
 810014323008 CVS   StriVectin Advanced Retinol Intensive Night Moisturizer, Targets Visible Signs of Aging for Health        119      119     1     119 $      119.00
9349392000108 CVS   Rhinomed Mute Nasal Dilator For Snore Reduction Medium 3 Pack, 30 day EXP 1/2026                         13.74             1    13.74 $      13.74
 840790111315 CVS   Star Wars Darth Vader Lightsaber Hand Blender‐ Mix It Up Like Darth Vader                                49.99    32.99    3    49.99 $     149.97
 811013032878 CVS   HANDL Stick Phone Grip & Stand BLACK/BROWN ~ NEW                                                            10             2       10 $      20.00
 783164652833 CVS   GE ENERGY INDUSTRIAL SOLUTIONS THQL1120AFP GE20A Arcfault Breaker                                        61.69    43.49    4    61.69 $     246.76
 811934024426 CVS   Cycle Dog Washington State Bottle Opener Dog Collar (Large, 17"‐27") ‐ No Stink Waterproof Col              28       28    1       28 $      28.00
3605972828606 CVS   OFRA Bienvenidos a Miami 6 Face Palette Highlighter Blush Bronzer Mini Mix                                13.9             6     13.9 $      83.40
 850466004568 CVS   SlipToGrip Non Slip Furniture Pad Grippers ‐ Stops Slide ‐ Multi Size (4 Pads) ‐ Make 4", 1", 2", etc    19.99    11.99    1    19.99 $      19.99
3474636977048 CVS   REDKEN Purple Conditioner, For Blonde Hair, Vi Violet Pigment, Color Extend Blondage, 300 ml             20.61             1    20.61 $      20.61
 812343032781 CVS   Drunk Elephant T.L.C. Framboos Glycolic Night Serum ‐ Skin Care Brightening Night Serum. Repac            100     62.94   36     100 $    3,600.00
 813920014947 CVS   Kate Somerville ExfoliKate Cleanser ‚Äì Daily Exfoliating Foaming Face Wash ‚Äì Clinically Formula          44       44    9       44 $     396.00
 797801602396 CVS   NaturVet Emotional Support Daily Calming Aid Dog Supplement ‐ Helps Promote 24/7 Normal, C               28.99    30.99   17    28.99 $     492.83
 840317107197 CVS   FLEXI New Neon Retractable Reflect Dog Leash (Tape), Ergonomic, Durable and Tangle free Pet W            31.99    20.55    9    31.99 $     287.91
 854150008085 CVS   OKIl Electric Welding Safety Glasses Eye Protective Goggles Dark Green Lens UV Protective                   35       35    1       35 $      35.00
6924013206362 CVS   Super‐Supply Compatible Toner Cartridge Replacement for HP 81A ( Black , 1‐pack )                        67.98    49.98    4    67.98 $     271.92
 850003310541 CVS   TULA Skin Care Self‐Care Sunday Nourishing Recovery Mask ‐ Face Mask to Instantly Moisturize a              48             3       48 $     144.00
3474636920006 CVS   REDKEN Shampoo, Aloe Vera, For Severely Dry Hair, Hydrate & Soften, All Soft Mega, 300 ml                35.99            15    35.99 $     539.85
 851615006280 CVS   PURA D'OR Intense Therapy Conditioner (16oz) Repairs Damaged, Distressed, Over‐Processed Ha              19.99    25.99    1    19.99 $      19.99
3666057064548 CVS   Clarins Super Restorative Night Cream | Anti‐Aging Moisturizer For Mature Skin Weakened By Ho             142      142     4     142 $      568.00
 813843042676 CVS   CHI POSH PINK 1'Ceramic Hairstyling Iron Straighten‐Curl‐Flip‐Style NEW IN BOX"                          97.59             1    97.59 $      97.59
3282779390132 CVS   Eau Thermale Av√®ne Hydrance RICH Hydrating Cream, Daily Face Moisturizer, Non‐Comedogen                    40       40    1       40 $      40.00
7640126632568 CVS   Alchimie Forever Gentle Cream Cleanser | Removes Impurities, Hydrates, Brightens and Reduces                43       43    8       43 $     344.00
 785901698180 CVS   Square D QO120CAFI QO 20A Arc Fault Breaker                                                              296.1    35.96    2    296.1 $     592.20
 859764003891 CVS   Living Proof Perfect hair Day Shampoo, 8 oz                                                                 29            45       29 $   1,305.00
 810907029550 CVS   StriVectin Anti‐Wrinkle SD Advanced PLUS Intensive Moisturizing Concentrate for Wrinkles and S              82     63.2    7       82 $     574.00
 884486452979 CVS   Redken All Soft Conditioner | For Dry / Brittle Hair | Moisturizes & Provides Intense Softness | W          26       26    3       26 $      78.00
 885911439916 CVS   BLACK+DECKER Jig Saw, 4‐Amp (BDEJS4C)                                                                       29    30.45    1       29 $      29.00
4028173260584 CVS   LEKI Cressida FX Carbon ‐ 100‐120                                                                       229.95   229.95    1   229.95 $     229.95
 810020170566 CVS   Bondi Sands PURE Dark Self‐Tanning Foaming Water | Hydrating Formula Gives a Natural, Flawle              5.48       27    4     5.48 $      21.92
9421017760076 CVS   Trilogy Vital Moisturizing Cream ‐ Intensely Hydrating Daily Face Cream with Marula and Evening             44    34.99   15       44 $     660.00
 853096007510 CVS   8Greens Daily Greens Gummies ‐ Superfood Booster, Energy & Immune Support, Made with Rea                 21.99    21.99    1    21.99 $      21.99
9421017768058 CVS   TRILOGY Microbiome Complexion Renew Serum, 1 FZ                                                             38       38    1       38 $      38.00
3606000537170 CVS   CeraVe Body Wash with Salicylic Acid | Fragrance Free Body Wash to Exfoliate Rough and Bumpy             13.99    16.48    3    13.99 $      41.97
 773602543878 CVS   Mac Brushstroke 24 Hour Liner Brush Black, 0.67 g                                                        22.39             8    22.39 $     179.12
 810763034644 CVS   KVD Vegan Beauty Everlasting Blush ‐ Peony                                                               12.08     33.6    1    12.08 $      12.08
 850038728519 CVS   Pet Honesty Dog Multivitamin ‐ 10 in 1 Dog Vitamins for Health & Heart ‐ Fish Oil for Dogs, Gluco        57.98    49.99    1    57.98 $      57.98
 800443464106 CVS   Reddy Step In Dog Harness L , Blue/Red                                                                   14.24            11    14.24 $     156.64
 850030553799 CVS   Om Mushroom Superfood Lion's Mane Mushroom Gummies, 60 Count, 30 Servings, Strawberry                    29.99    22.55    1    29.99 $      29.99
 860007476204 CVS   MENOLABS MenoFit ‐ Menopause Supplements for Women ‐ Menopause + Perimenopause Relie                     44.99    44.99    3    44.99 $     134.97
 889842778717 CVS   Surface Slim Pen 2 ‚Äì Compatible with Surface Pro 8/Surface Pro X/Surface Laptop Studio/Surfac         129.99   103.99    1   129.99 $     129.99
 812944026714                                                                                                               139.95             3   139.95 $     419.85
8809545504286 CVS   FRESH TANGERINE SERUM                                                                                       20             6       20 $     120.00
 898571000310 CVS   It's a 10 Haircare Miracle Leave‐In Plus Keratin, 4 Fl. Oz (Pack of 1)                                      21      16     5       21 $     105.00
 834893006067 CVS   Juice Beauty STEM CELLULAR Cleansing Oil ‐ Purifying and Hydrating Facial Cleanser ‐ Gentle Mak             34      34     2       34 $      68.00
                    Mad Hippie Skin Brightening Kit, Daily Skincare Routine with Triple C Night Cream, AHA
 850026256451 CVS   Exfoliating Peel, and Vitamin C Serum                                                                             31.99    2    31.99 $      63.98
 896364002930 CVS   Olaplex No. 8 Bond Intense Moisture Mask                                                                   30     29.99    2       30 $      60.00
3614226795427 CVS   Nioxin System 1 Scalp Therapy Conditioner, with Peppermint Oil, Treats Dry Scalp, Provides Mois            26        26    3       26 $      78.00
5060552901878 CVS   Augustinus Bader The Rich Cream, White, 1 Ounces                                                          180    170.97    3     180 $      540.00
 786689166304 CVS   All‐In‐one Breaker 20 Amp single pole CHFN120A1CS Eaton                                                           60.81    1    60.81 $      60.81
 785007022285 CVS   Pass & Seymour Tm8‐Usbbkcc6 Combo Receptacle +USB Sw                                                     29.62    39.62    2    29.62 $      59.24
 773602288694 CVS   MAC Pro Longwear Eye Linear ‐ RICH EXPERIENCE 1.2g/0.04oz                                                 29.9             6     29.9 $     179.40
 884486453457 CVS   Redken Extreme Length Shampoo | For Hair Growth | Prevents Breakage & Strengthens Hair | In                 26       26   14       26 $     364.00
9780891453963 CVS   Blue Willow                                                                                              14.95    21.94    1    14.95 $      14.95
 879655009870 CVS   SPOT‐HOGG Grinder, 7 Pin, Right Hand, .019", MRT                                                        259.99   259.99    1   259.99 $     259.99
8809565300363 CVS   Spigen Slim Armor iPhone A Case with Air Cushion Technology and Hybrid Drop Protection for iP            29.99             2    29.99 $      59.98
 850000948082 CVS   MOON Teeth Whitening Pen, Elixir III by Kendall Jenner, Brush Every Tooth White, On‐The‐Go W             19.99    19.98    9    19.99 $     179.91
3167865808909 CVS   Pebeo 4Artist Marker, Set of 8 Assorted Oil Paint Markers                                                 40.8    45.47    1     40.8 $      40.80
5000167225730 CVS   No7 Protect & Perfect Intense Advanced Eye Cream ‐ Under Eye Cream for Dark Circles and Puffi            17.98    17.98    1    17.98 $      17.98
 817387023382 CVS   Pure Enrichment¬Æ PureZone‚Ñ¢ Mini Portable Air Purifier ‐ Cordless True HEPA Filter Cleans Air          49.99    39.99    4    49.99 $     199.96
 857947001023 CVS   Minus33 100% Merino Wool Base Layer 705 MidWeight Crew Neck Top Black Medium                             79.99    79.99    1    79.99 $      79.99
 841821087746 CVS   NEW GreenWorks 40 Volt Lithum Max ‐ 14 Inch Cordless Chainsaw Kit ‐ #CSF403                               180              1     180 $      180.00
 810000318087 CVS   Mederma Advanced Scar Gel, Treats Old and New Scars, Reduces the Appearance of Scars from A              22.99     22.5   32    22.99 $     735.68
 812944027650 CVS   Lucid Audio UV/LED Hearing Aid Dryer/Sanitizer w/ Battery Tester #7650 ‐ NEW üÜï                          33.9             5     33.9 $     169.50
 842861111057 CVS   Ring Alarm Motion Detector                                                                               29.99    29.99    3    29.99 $      89.97
 765809185265 CVS   NAPA Gold 3243 Fuel Filter                                                                               21.99    21.99    1    21.99 $      21.99
 857576008509 CVS   Quip Adult Electric Toothbrush ‐ Sonic Toothbrush with Travel Cover & Mirror Mount, Soft Bristle         39.99    24.99   10    39.99 $     399.90
5000167317664 CVS   No7 Restore and Reface & Neck Decollete Multi Action Serum 75ml                                          54.99       33   23    54.99 $   1,264.77
 785901987024 CVS   Square D ‐ HOM120PDFC Homeline Plug‐On Neutral 20 Amp Single‐Pole Dual Function (CAFCI an                 307        54    3     307 $      921.00
 810032993085 CVS   PureGear Steel 360 Series Tempered Glass for Samsung Galaxy S20 FE 5G ‐ Clear                            11.99    11.98    1    11.99 $      11.99
 846841070921                                                                                                                69.99             2    69.99 $     139.98
5035832105093 CVS   TAN‐LUXE The Body ‐ Illuminating Self‐Tan Drops, 50ml ‐ Cruelty & Toxin Free ‐ Medium/Dark                  60      60     1       60 $      60.00
 767332603827 CVS   Murad Resurgence Retinol Youth Renewal Eye Serum ‐ Anti‐Aging Serum for Under Eye and Eyel               60.78             7    60.78 $     425.46
3616302018321 CVS   philosophy Amazing Grace Lavender Eau de Toilette, 2 Fl Oz                                                  64       64    1       64 $      64.00
 773602369843 CVS   Mineralize Timecheck Lotion                                                                                 46     29.5    3       46 $     138.00
 860002225906 CVS   EAROS ONE 17dB Hearing Protection for Musicians, Concerts, Hi Fidelity Acoustic Filters Not Just            40    39.95    1       40 $      40.00
 858511001128 CVS   K18 Leave‐In Molecular Repair Hair Mask Treatment to Repair Damaged Hair ‐ 4 Minutes to Reve                75       75    4       75 $     300.00
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 792363564113 CVS   14 Piece Pittsburgh Hydraulic Punch Driver Kit Punches Holes up to 2‐3/8"                            159.99              1    159.99 $     159.99
 816212027694 CVS   Gurunanda Top 6 Singles 100% Pure Essential Oils Therapeutic                                          14.59              1     14.59 $      14.59
 887243066181 CVS   Carquest PXD974H Ceramic Disc Brake Pad Kit NOS                                                       43.95              1     43.95 $      43.95
 820650853371 CVS   Pokemon TCG: Scarlet & Violet Booster Bundle                                                          28.99     26.94    4     28.99 $     115.96
 818558028014 CVS   SodaStream Terra Sparkling Water Maker (Misty Blue) with CO2 and DWS Bottle                           99.99     81.12    1     99.99 $      99.99
 828804000497 CVS   Aquael Ultra Aquarium Heater ‐ for Freshwater and Saltwater Aquariums (150 Watt / 24‐40 Gallo         97.99      74.6    6     97.99 $     587.94
3614229374810 CVS   Gucci Velvet Matte Lipstick 104 Penny Beige                                                              45              1        45 $      45.00
 884486453150 CVS   Redken Blondage Color Depositing Purple Conditioner | For Blonde Hair | Neutralizes Brass & M            25        26    5        25 $     125.00
3337875734905 CVS   Vichy LiftActiv B3 Niacinamide Serum, Discoloration Correcting Facial Serum with Peptides and T       44.99     44.99    4     44.99 $     179.96
 813146019719 CVS   Kurgo Dog Tactical Hydration Flask, Detachable MOLLE Compatible Water Pouch, Attachable Pou           27.99     24.95    1     27.99 $      27.99
 765809178397 CVS   NAPA Gold 3150 Fuel Filter                                                                               25        25    1        25 $      25.00
3614272022942 CVS   REN Clean Skincare Overnight Recovery Balm ‐ Face Moisturizer for Dry & Sensitive Skin, Moistur          55        55    1        55 $      55.00
 846733072842 CVS   Tarte Sugar Rush Sweet Frosted Eyeshadow Palette                                                                35.49    4     35.49 $     141.96
 850031975057 CVS   Ritual Postpartum Essentials Multivitamin ‐ Postnatal Vitamin with Omega‐3 DHA & Choline for L        42.99      39.8    4     42.99 $     171.96
 885170378599 CVS   Panasonic Close Curves Electric Shaver for Women, Cordless 4‐Blade Shaver, Bikini Attachment,         39.99     32.95    1     39.99 $      39.99
 767332102306 CVS   Murad Perfecting Day Cream SPF 30 PA+++, 1.7 Fl Oz                                                       45              1        45 $      45.00
 765809196551 CVS   7173 NAPA Gold Oil Filter                                                                                10              1        10 $      10.00
 885363135589 CVS   LENOX Tube Cutter 1/8‐1 1/8 S (1924665)                                                               23.98        22    1     23.98 $      23.98
 816401022172 CVS   Collagen Powder Protein with Vitamin C and Probiotics by Ancient Nutrition, Multi Collagen Prot       32.95     27.06    1     32.95 $      32.95
 850278004534 CVS   Bondi Sands Aero Aerated Self‐Tanning Foam 1 Hour Express 225ml                                          10        29    2        10 $      20.00
 885911749428 CVS   IRWIN Hanson Unibit 3PC STP BT Set #1 #4 #4 NEW (IWAS15504DF) (JD)                                    39.45              2     39.45 $      78.90
3614272727281 CVS   R√©nergie Lift Multi‐Action Face Moisturizer With SPF 30 ‐ For Lifting, Firming & Visibly Reducing       80              1        80 $      80.00
4033651374363 CVS   BeYu Catwalk Powder Blush, Burned Cinnamon, 7.5 Gram                                                  12.99              4     12.99 $      51.96
 842861105193 CVS   Ring Smart Lighting ‚Äì Bridge, White                                                                 49.99     49.99    3     49.99 $     149.97
 800443435168 CVS   Reddy Reflective Coral Dog Harness, Pink, XXLarge/XXXLarge By: Reddy                                  48.99              4     48.99 $     195.96
3700546706400 CVS   Withings Scanwatch ‐ Smart watch & Activity Tracker: Heart Monitor, Sleep Tracker, Smart Notifi      279.95              2    279.95 $     559.90
 884486437754 CVS   Pureology Pure Volume Conditioner | For Flat, Fine, Color‐Treated Hair | Adds Volume & Movem             36       37    42        36 $   1,512.00
3616301975854 CVS   philosophy hope in a jar biome‐balance glow serum                                                        54       54     2        54 $     108.00
 800443329375 CVS   Good2Go Dog Jacket Warm Hoodie For Small Breeds Weather Resistant Insulated                           31.49              1     31.49 $      31.49
5063000893015 CVS   Neo‐G Knee Brace, Stabilized, Open Patella ‚Äì Knee support helps with Arthritis, Joint Pain, Men     39.99     34.99    1     39.99 $      39.99
 894047001287 CVS   Prevagen Improves Memory ‐ Extra Strength 20mg, 60 Capsules, with Apoaequorin & Vitamin D &          120.55     99.95   12    120.55 $   1,446.60
3614272453111 CVS   Lanc√¥me Hypn√¥se Eyeshadow Palette ‐ Highly Pigmented & Long‐Wear ‐ Flake & Smudge‐Proo                 65        65    1        65 $      65.00
 817494013337 CVS   Sunday Riley A+ High‐Dose Anti Aging Retinol Serum                                                     122       122     1      122 $      122.00
 804428434788 CVS   Legrand Cat6 RJ‐45 Insert 15 pack WP3476‐WH‐V15 Cat 6 NEW                                             36.15              3     36.15 $     108.45
3606000527553 CVS   La Roche‐Posay Effaclar Adapalene Gel 0.1% Acne Treatment, Prescription‐Strength Topical Retin        35.99     35.99    3     35.99 $     107.97
 765809199279 CVS   NAPA Gold 7041 Oil Filter                                                                                16        16    1        16 $      16.00
 810040570278 CVS   MANSCAPED¬Æ The Lawn Mower¬Æ 4.0, Electric Groin Hair Trimmer, Replaceable SkinSafe‚Ñ¢ C              89.99     89.98    2     89.99 $     179.98
 773602002139 CVS   Mac Lip Pencil Plum                                                                                             23.97    2     23.97 $      47.94
 816657022452 CVS   Fenty Beauty by Rihanna Killawatt Freestyle Highlighter Trophy Wife                                      40        36    1        40 $      40.00
 809280133763 CVS   Fresh Black Tea Kombucha Antioxidant Facial Treatment Essence Treatment Women 5 oz                       74     51.91    4        74 $     296.00
 817387020688 CVS   Pure Enrichment¬Æ PureRelief‚Ñ¢ Lumbar & Abdominal Heating Pad ‐ 4 Heat Settings, Adjustabl           49.99     39.99    4     49.99 $     199.96
3380810272284 CVS   Clarins Extra‐Firming Phyto‐Serum | Anti‐Aging | Visibly Firms, Lifts and Tightens Slackened Skin      112               6      112 $      672.00
3614227594425 CVS   Miu Miu Coffret Perfume Perfum Eau De Toilette Set L‚ÄôEau Rosee And Bleue 4pc                        76.19              1     76.19 $      76.19
                    Black Diamond Pursuit Shock Trekking‐Hiking Poles ‐ Aluminum, Collapsible & Adjustable, Steel
 793661573425 CVS   Grey‐Foam Green, Small/Medium                                                                                  167.16    2    167.16 $     334.32
4007751628503 CVS   Graphix MARABU Sketch Marker SUGARHOLIC, Multi                                                        31.98     40.55    3     31.98 $      95.94
4033651386236 CVS   BeYu Light Reflecting Foundation, Pearl Blush, 1 Fluid Ounce                                             27              5        27 $     135.00
 810045683263 CVS   Skullcandy Dime In‐Ear Wireless Earbuds, 12 Hr Battery, Microphone, Works with iPhone Android         26.99     25.95    1     26.99 $      26.99
8809803559621 CVS   Sulwhasoo Concentrated Ginseng Renewing Eye Cream: Soft Texture, Visibly Firms, Smooths, and           140       140     1      140 $      140.00
 819505014173 CVS   ThunderEase Dog Calming Pheromone Diffuser Kit | Powered by ADAPTIL | Vet Recommended t               24.99     13.98    6     24.99 $     149.94
3348901377904 CVS   Dior Cr√®me Sleeve                                                                                             142.52    1    142.52 $     142.52
 885418012629                                                                                                             31.99              1     31.99 $      31.99
 800443434550 CVS   Reddy Burgundy Dog Harness, XX‐Large/3X‐Large By: Reddy                                               48.99              1     48.99 $      48.99
 885612727985 CVS   Kohler Rubicon bath and shower trim with lever handle                                                  209       100     1      209 $      209.00
 817835010292 CVS   evanhealy Light Moisture Replenishing Fluid 2oz fluid                                                 43.99     48.99    3     43.99 $     131.97
 882381078324 CVS   Darphin Stimulskin Plus Multi‐Corrective Divine Splash Mask Lotion, 125 ml                            44.84     44.84    1     44.84 $      44.84
 845423018429 CVS   Razor Turbo Jetts Electric Heel Wheels ‐ Red                                                         129.99              1    129.99 $     129.99
 883049637549 CVS   KitchenAid Cordless Hand Mixer 7 Speed Green Hearth And Hand Magnolia                                 73.59              1     73.59 $      73.59
 850010792262 CVS   Naturium Glycolic Acid Resurfacing Gel 10%, AHA Exfoliating Gel with Natural Fruit Acids, 3.3 oz      22.99     22.99    1     22.99 $      22.99
 841886110427 CVS   Napa NightVision Brilliant B13 BP9008NVB‐N White Halogen High/Low Beam Bulb                           10.42              1     10.42 $      10.42
3666057106965 CVS   Clarins Double Serum Light | Anti Aging | Visibly Firms, Smoothes & Boosts Radiance in 7 Days*         134       134     8      134 $    1,072.00
 820650852930 CVS   Pok√©mon TCG: Paldea Partners Tin                                                                     26.49     19.47    1     26.49 $      26.49
4005176444180 CVS   Grohe 27606001 Tempesta Classic 100 4 Spray Shower Head 2.5 gpm, Starlight Chrome                        70              1        70 $      70.00
 792363573269 CVS   NEW Armstrong Two Way Radios ‐Up To 26 Mile Range with 22 Channels‐ Model 57326                       24.95              2     24.95 $      49.90
 850015122590                                                                                                            139.99              1    139.99 $     139.99
 860000579902 CVS   ScarClear Triple Action Scar Treatment .5oz                                                           27.95             18     27.95 $     503.10
 840046035471 CVS   BenQ PD3200U Color Accurate Design Monitor 32" 4K UHD | 100% Rec.709 & sRGB | IPS | Delta              899    1099.87    1      899 $      899.00
 845534037388 CVS   Blue Ridge 4.5amp Jigsaw                                                                                        48.98    1     48.98 $      48.98
 779364041010 CVS   Swift (1 pack) Sgf‐Pa07 Refrigerator Water Filter                                                 43.64         22.39   10     43.64 $     436.40
 817919015175 CVS   It Cosmetics Confidence in a Cream Moisturizer 2 Ounces                                           43.32                  5     43.32 $     216.60
3660619402052 CVS   Seagate STGD4000400 4TB HDD for Playstation Systems, Black/Blue                                  167.86        199.99    1    167.86 $     167.86
3605972252005 CVS   Urban Decay All Nighter Ultra Matte Setting Spray ‐ Makeup Finishing Spray ‐ Lasts Up To 16 Hou      36            36   63        36 $   2,268.00
 887167445864 CVS   Estee Lauder Advanced Night Repair Intense Reset Concentrate 0.68 Oz                              68.88         46.65    2     68.88 $     137.76
 768614178811 CVS   Shiseido Waso Satocane Pore Purifying Scrub Mask For Women 3.3 oz Mask                            36.66            38    2     36.66 $      73.32
3145891647907 CVS   Les 4 Ombres Eye Makeup ‐ No. 79 Spices ‐ 4x0.3g                                                     65            96    3        65 $     195.00
4001638096553 CVS   Weleda Baby Calendula Comforting Baby Oil, 6.8 Fluid Ounce, Plant Rich Baby Care with Calendu     17.15         18.49    1     17.15 $      17.15
 786689040895 CVS   Eaton 20 amps Plug in Single Pole Circuit Breaker                                                    51         26.71    1        51 $      51.00
 887276310251 CVS   Samsung SMG973UZWV Galaxy Cellphone ‐ S10 ‐ Verizon ‐ (White, 128GB)                            1049.99        899.99    3   1049.99 $   3,149.97
 783927518956 CVS   Kichler Crosby 23" Vanity Light in Chrome, 3‐Light Contemporary Bathroom Light with Satin Etch   254.99        204.99   11    254.99 $   2,804.89
9780025909809 CVS   Furniture Treasury (2 Volumes)                                                                       99         68.98    1        99 $      99.00
 786511564131 CVS   Prestige Clinical I Black Stethoscope                                                             59.95         36.03    2     59.95 $     119.90
4020829080645 CVS   Dr. Hauschka Balancing Day Lotion, 1.7 Fl Oz                                                         35            35    4        35 $     140.00
 810763033135 CVS   Fenty Beauty by Rihanna Killawatt Freestyle Highlighter Wattabrat                                    40         47.96    1        40 $      40.00
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3380810342260 CVS   Clarins ‐ Bright Plus Serum ‐ Serum ‐ 30 ml                                                            61.02              1    61.02 $      61.02
 773602000661 CVS   MAC, Lipstick by M.A.C, Chili, 1 Count                                                                    24    14.38     1       24 $      24.00
6971681310570 CVS   TOZO T10 Bluetooth 5.3 Wireless Earbuds with Wireless Charging Case IPX8 Waterproof Stereo H           39.99    24.99   199    39.99 $   7,958.01
 854880001165 CVS   Thundershirt Dog Anxiety Treatment ‐ Gray (Medium)                                                     44.95    44.95     3    44.95 $     134.85
3605972251640 CVS   Urban Decay Stay Naked Threesome, Bronzer, Highlighter and Blush, Can Be Blended for Easy Glo             32              3       32 $      96.00
5013035041585 CVS   Sorby Micro Spiral Set                                                                                158.73   108.94     1   158.73 $     158.73
9421017765378 CVS   Trilogy Age‐Proof Overnight Mask, 2.0 Fl Oz                                                            49.99    49.99     1    49.99 $      49.99
3614272489431 CVS   Lanc√¥me UV Expert Mineral CC Cream #4 Moisturizer/Antioxidant SPF 50 Exp 04/21                       129.99              2   129.99 $     259.98
 846733010745 CVS   tartelette Amazonian clay matte palette                                                                           48      4       48 $     192.00
3614272942646 CVS   Yves Saint Laurent Ladies Tatouage Couture Velvet Cream Velvet Matte Stain Cream 205 Makeup               38              2       38 $      76.00
 828804000466 CVS   Aquael Ultra Aquarium Heater ‐ for Freshwater and Saltwater Aquariums (50 Watt / 4‐13 Gallons          85.99    59.39     3    85.99 $     257.97
 765809166714 CVS   Wix Fuel (Complete In‐Line) Filter ‐ 33581                                                             25.87    21.94     1    25.87 $      25.87
                    HEXBUG JUNKBOTS ‐ Industrial Dumpster Assortment Kit ‐ Surprise Toys in Every Box LOL with
                    Boys and Girls ‐ Alien Powered Toys for Kids ‐ 50+ Pieces of Action Construction Figures ‐ for
 807648068436 CVS   Ages 5 and Up                                                                                                   13.49     9    13.49 $     121.41
 888853590561 CVS   Dr. Scholl's Knee Pain Relief Orthotics // Immediate and All‐Day Knee Pain Relief Including Pain fr    12.97     8.89     1    12.97 $      12.97
 884486383679 CVS   Biolage Styling Freeze Fix Hair Spray | Anti‐Humidity Hairspray Lifts & Locks Hair All Day | Firm H       25              2       25 $      50.00
 885418012476 CVS   Keranique Rejuvenate Healthy Hair Growth Follicle Strengthening Conditioner 8oz                         15.9              8     15.9 $     127.20
 884486453297 CVS   Redken Extend Magnetics Conditioner | For Color Treated Hair | Protects Color & Adds Shine | W            52    34.99    10       52 $     520.00
 787651760100 CVS   AZO Urinary Tract Health Gummies ‐ 2 Gummies = 1 Glass Cranberry Juice, Helps Cleanse & Prote          12.49    18.71    13    12.49 $     162.37
 822383571065 CVS   HurryCane HCANE‐RD‐C2 Freedom Edition Foldable Walking Cane with T Handle, Roadrunner Re               39.95    38.46     2    39.95 $      79.90
 858847000291 CVS   Navitas Organics Acai Powder, 4oz. Pouch, 38 Servings                                                  22.99              2    22.99 $      45.98
3606000430488 CVS   La Roche‐Posay Anthelios Clear Skin Dry Touch Sunscreen SPF 60, Oil Free Face Sunscreen for Ac         19.99    19.99    13    19.99 $     259.87
5055517390255 CVS   tech21 Evo Wallet Galaxy S9 ‐ Black                                                                       24     9.99     1       24 $      24.00
3522931003549 CVS   Caudalie Premier Cru Anti‐Aging Face Serum with Hyaluronic acid, for Instantly Tightened and Hy         139      139      2     139 $      278.00
3348901592024 CVS   DIOR FOREVER SKIN GLOW 24 H WEAR RADIANT FOUNDATION PERFECTION HYDRATION SPF 15                        31.75              2    31.75 $      63.50
 850019720754 CVS   NuFACE FIX Starter Kit ‚Äì Line Smoothing Device for Eyes, Mouth and Forehead, Blur Lines and E         165      165      1     165 $      165.00
5033102908665 CVS   Generic Value Products Black Ceramic Flat Iron, 1 inch Straightest Sleekest Hair Straightener          54.99    54.99     5    54.99 $     274.95
 765809175242 CVS   NAPA Gold 7211 Oil Filter                                                                                 25       25     1       25 $      25.00
7640126630830 CVS   Alchimie Forever Advanced Retinol Serum with Time Release Technology | Reduces the Appeara                99       99     5       99 $     495.00
8809545504293 CVS   Soo'AE Fresh Tangerine Emulsion Vegan Vitamin C hydrating                                                 21              6       21 $     126.00
 887961951646 CVS   Mega Construx Halo UNSC Marine Platoon Pack Construction Set, Building Toys for Kids , Brown           19.99    26.72     1    19.99 $      19.99
 898571000365 CVS   it's a 10 Miracle Leave‐In plus Keratin Spray 10 oz                                                     41.2    29.98    15     41.2 $     618.00
 887167560680 CVS   Est√©e Lauder Futurist Hydra Rescue Moisturizing Foundation SPF 45 4N2 Spiced Sand                     37.97    37.97     1    37.97 $      37.97
 787651760162 CVS   AZO Complete Feminine Balance Daily Probiotics for Women, Clinically Proven to Help Protect Va         30.29     19.5   234    30.29 $   7,087.86
 768990037702 CVS   Nordic Naturals Complete Omega, Lemon Flavor ‐ 180 Soft Gels ‐ 565 mg Omega‐3 ‐ EPA & DHA w            49.95    40.77     1    49.95 $      49.95
7350092139427 CVS   Foreo Luna Mini 3 Facial Cleansing Brush ‐ Travel Accessories ‐ Face Massager Electric, Ultra‐Hyg     106.88     89.5     9   106.88 $     961.92
3606000520837 CVS   La Roche‐Posay Anthelios Mineral Sunscreen Gentle Lotion Broad Spectrum SPF 50, Face and Bod           25.99    25.99     5    25.99 $     129.95
3614272549319 CVS   Lanc√¥me Face Mask 0.21 g,3614272549319                                                                   39              1       39 $      39.00
 883349001194 CVS   T3 Twirl Trio Interchangeable Custom Blend Ceramic Three Barrel Professional Curling Iron Set fo        335               1     335 $      335.00
7613023015710 CVS   HILTI Fastener Cartridge 6                                                                                33       33    18       33 $     594.00
7640126630359 CVS   Alchimie Forever Protective Day Cream SPF 23 | Protects Against UVA & UVB and Hydrates | 1.7              71       71     3       71 $     213.00
5000167187885 CVS   Protect and Perfect Intense Facial Serum 1 Ounce Bottle                                                34.99    31.99     2    34.99 $      69.98
 765809202252 CVS   NAPA Gold 7327 Oil Filter                                                                              16.61              1    16.61 $      16.61
 850278004381 CVS   Bondi Sands Self Tan Eraser, 6.76 Fl Oz                                                                   24      24      3       24 $      72.00
 885612814913 CVS   Kohler Duostrainer Matte Black‐K‐R8799‐C‐BL Please READ Missing Strainer Insert                        24.44              1    24.44 $      24.44
 796309125277 CVS   Pamex Chrome Mira Leverset (ADA Privacy)                                                               31.13    31.13     1    31.13 $      31.13
 817494011401 CVS   Sunday Riley Good Genes All‐in‐One Lactic Acid Treatment Face Serum                                     122      122      6     122 $      732.00
 850001449021 CVS   Oceanblue Omega 3 2100‐60 Softgels ‐ Triple Strength Burpless Fish Oil ? Molecularly Distilled ‐ H     29.99     25.5     2    29.99 $      59.98
3605972713407 CVS   IT Cosmetics Bye Bye Breakout 2% Salicylic Acid Acne Treatment Serum, Helps Reduce Pimples in             35       35     1       35 $      35.00
 810052981680 CVS   SteelSeries Aerox 3 ‐ Super Light Gaming Mouse ‐ 8,500 CPI TrueMove Core Optical Sensor ‐ Ultra        59.99    56.99     1    59.99 $      59.99
 890922002110 CVS   Kate Somerville Anti Bac Acne Clearing Lotion ‐ 5% Benzoyl Peroxide Face Treatment ‐ Clinically F         56       56     4       56 $     224.00
 814113013778 CVS   Honeywell Digital Deadbolt with Electronic Keypad Satin Nickle, MODEL: 8712309L                        42.62              1    42.62 $      42.62
                    Weleda Sheer Hydration Daily Face Cr√®me, 1 Fluid Ounce, Plant Rich Moisturizer with Prickly
4001638523219 CVS   Pear Cactus Extract and Aloe Vera, 1 Fl Oz (Pack of 1)                                                          17.99    1     17.99 $     17.99
3282779315869 CVS   Eau Thermale Av√®ne Hypersensitive Skin Starter Kit, Complete Hypersensitive Skin Care Routine            40       40    3        40 $    120.00
 859540006818 CVS   InStyler PRIME 1.25‚Äù 1‐Way Straightening & Styling Iron                                              69.99             1     69.99 $     69.99
 883351600446 CVS   Kwikset 96650‐492 600 Deadbolt Keyed Both Sides, Satin Nickel                                                   48.99    2     48.99 $     97.98
 819856012217 CVS   Apple Watch Band, French Bull 38mm Silicone Wrist Band Replacement w/Metal Clasp for Apple                50             1        50 $     50.00
3522931003587 CVS   Caudalie Premier Cru The Rich Cream Refill, Anti‐Aging Moisturizer with Bio Ceramides and Hyalu         109      109     1      109 $     109.00
 888793237953 CVS   HP 201A Cyan Toner Cartridge | Works with HP Color LaserJet Pro M252, HP Color LaserJet Pro M         100.89   100.89    1    100.89 $    100.89
 785901479611 CVS   Square D by Schneider Electric HEPD25 Universal Whole House Surge Protection Device, 1‐Phase              95       65    2        95 $    190.00
3606000520875 CVS   La Roche‐Posay Anthelios Mineral Sunscreen Gentle Lotion Broad Spectrum SPF 50, Face and Bod           31.99    31.99    2     31.99 $     63.98
 887327218024 CVS   Kobalt 2545071 Compact Multimeter Cat IV 600V NCV Tester Flashlight                                    32.22             1     32.22 $     32.22
4020829006690 CVS   Dr. Hauschka Rose Day Cream Light, 1 Fluid Ounce                                                          45      45     2        45 $     90.00
 813146014004 CVS   Kurgo Loft Bench Car Seat Cover for Dogs ‐ Waterproof, Reversible Pet Seat Cover ‐ Fits Most Car       75.99             1     75.99 $     75.99
 846733022953 CVS   tarte Tartelette‚Ñ¢ Toasted Eyeshadow Palette                                                             60    48.95    2        60 $    120.00
3474636920211 CVS   Redken Extreme Length Shampoo | For Hair Growth | Prevents Breakage & Strengthens Hair | In               26       26    1        26 $     26.00
 846035003803 CVS   Champion Cutting Tool RotoBrute High Performance CT150‐1 Carbide Tipped Annular Cutter (1 i           118.85    90.39    1    118.85 $    118.85
3474636909292 CVS   KERASTASE Blond Absolu Cicanuit Conditioning Hair Serum | For Damaged, Bleached, or Highligh              59       60    1        59 $     59.00
 818273020027 CVS   Amosan Oral Wound Cleanser                                                                             16.99    15.98    1     16.99 $     16.99
 846733083282                                                                                                                 45             1        45 $     45.00
 843246100659 CVS   Grande Cosmetics GrandeLASH‐MD Lash Enhancing Serum,4 ml ‐ 6 Month Supply                               125      125     2      125 $     250.00
 842944104457 CVS   Proactiv Clear Skin Face Sunscreen Moisturizer With SPF 30 ‐ Hydrating SPF Lotion And Sensitive           24      6.5    8        24 $    192.00
 813146012598 CVS   Kurgo Dog Harness | Car Harness for Dogs | Extra Large | Black | Pet Safety Seat Belt | Certified      37.38    39.92    1     37.38 $     37.38
                    Makeup Revolution Forever Flawless Eyeshadow Palette, Constellation, Matte & Shimmer
5057566077392 CVS   Shades, 18 Shadows, Cruelty‐Free, 0.52 Oz                                                                       17.16    1     17.16 $      17.16
 850093005044 CVS   The Mane Choice MANETABOLISM Plus Healthy Hair Growth Vitamins ‐ Complete Nutrition Supp               25.99    22.74   66     25.99 $   1,715.34
 773602429899 CVS   MAC Prep + Prime Lip, 0.05 Ounce, Multicolor                                                           29.33    13.88    2     29.33 $      58.66
 767332109060 CVS   Murad Hydrating Toner ‐ Hydration Alcohol‐Free Facial Toner Mist Replenishes Moisture, 6 Fl Oz            39       42    1        39 $      39.00
 850003310459 CVS   TULA Skin Care 24‐7 Hydrating Day & Night Cream ‐ Anti‐Aging Moisturizer for Face, Contains Wa            54     51.5    5        54 $     270.00
4059089400047 CVS   SYLVANIA H11 SilverStar zXe Gold Halogen Headlight Bulb, 2 Pack                                           65       65    1        65 $      65.00
 785184207161 CVS   Redbarn All‐Natural 7" Bully Sticks for Dogs ‐ Premium Grain‐Free & Rawhide‐Free Single Ingredi        33.99    29.26    3     33.99 $     101.97
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 813892001013 CVS   Traditional Supplements Red Yeast Rice                                                              59.99    52.99   1     59.99 $     59.99
 768990018015 CVS   Nordic Naturals Complete Omega Xtra, Lemon ‐ 60 Soft Gels ‐ 1360 mg Omega‐3 + 76 mg GLA ‐ H         31.95    27.96   1     31.95 $     31.95
3282770152555 CVS   Eau Thermale Av√®ne Gentle Milk Cleanser ‐ Moisturizing, No‐Rinse, Soap‐Free Cleansing Lotion          22       22   3        22 $     66.00
 875534002406 CVS   Natural Vitality Calm, Magnesium Citrate Supplement, Stress Relief Gummies, Supports a Healthy      21.99    21.99   8     21.99 $    175.92
 899484001319 CVS   FELIWAY MultiCat Calming Pheromone Diffuser for house‐cats, 30 Day Starter Kit (48 mL)              24.99    19.34   6     24.99 $    149.94
                    Est√©e Lauder Advanced Night Repair Eye Concentrate Matrix Synchronized Multi‐Recovery
 887167554887 CVS   Complex                                                                                                      28.85   11    28.85 $     317.35
3605533303252 CVS   Lanc√¥me Grandiose Mascara Number 01, Noir 10 ml                                                     36.7             3     36.7 $     110.10
 884486453044 CVS   Redken All Soft Mega Curls Conditioner | For Extremely Dry Hair | For Curly & Coily Hair | Nouris      26       26    8       26 $     208.00
3522932003234 CVS   CAUDALIE Vinoperfect Dark Spot Glycolic Night Cream ‐ 1.7 Fl. Oz                                       69       69    1       69 $      69.00
 856425007113 CVS   Saddle Mate 6.5" Adjustable Holster Top Grain Rugged Buffalo Leather Side Holster                   24.99    24.99    1    24.99 $      24.99
 895361002929 CVS   Living proof Full Thickening Cream, 3.7 Fl Oz                                                          26       30    3       26 $      78.00
 832794007107 CVS   Architectural Mailboxes 6200B‐10 Oasis Classic Locking Post Mount Parcel Mailbox with High Sec       170    137.87    1     170 $      170.00
3605972525680 CVS   URBAN DECAY Naked3 Mini Eyeshadow Palette ‐ Pigmented Eye Makeup Palette For On the Go ‐               33       33   10       33 $     330.00
9327868041992 CVS   Sea to Summit Ultra‐Sil Compression Dry Sacks, Grey, 20 Liter                                       53.95    40.46    1    53.95 $      53.95
5000167289572 CVS   No7 Laboratories Line Correcting Booster Serum ‐ Potent Collagen Peptide Serum for Fine Lines a     49.99    26.99    2    49.99 $      99.98
 840093104755 CVS   Nature's Truth Organic Rejuvinating Moroccan Argan Oil Serum, 2 Fluid Ounce                         16.99    13.75    2    16.99 $      33.98
 840080597904 CVS   Blink Outdoor (3rd Gen) ‐ wireless, weather‐resistant HD security camera, two‐year battery life, m 179.99   179.99    1   179.99 $     179.99
 810021403502 CVS   IGK CRYBABY Smoothing & Finishing Serum | High Shine + Frizz Control + Lightweight | Vegan + C         32       32    2       32 $      64.00
 853760002049 CVS   LifeSeasons ‐ Ageless Skincare ‐ Anti Aging Supplement ‐ Antioxidant Support ‐ Moisturizes & No     44.99    24.99    1    44.99 $      44.99
 810487031547 CVS   Dr. Mercola Fermented Beta Glucans, 30 Servings (60 Capsules), Dietary Supplement, Immune Su        31.25    24.97    1    31.25 $      31.25
 773602345830 CVS   MAC Prep + Prime Fix+ Fix, 100ml, 3.4 Fl Oz                                                         38.75    21.55   16    38.75 $     620.00
 850018802642 CVS   OLAPLEX LASHBOND‚Ñ¢ BUILDING SERUM Eyelash Enhancer 4.5 mL / .15 fl. oz.                            39.99       68    1    39.99 $      39.99
 815517026692 CVS   First Aid Beauty Facial Radiance Niacinamide Dark Spot Serum ‚Äì Evens Skin Tone + Diminishes D        42    28.79    2       42 $      84.00
 872076036876 CVS   Dyna‐Glo Propane Gauge/Leak Detector (Appliance End Fitting Nut x Acme Thread and Female P          18.47    18.47    1    18.47 $      18.47
 859644007544 CVS   Wild One Harness 2.0 ‐ Small ‐ Pink                                                                 32.99       39    1    32.99 $      32.99
 785007173734 CVS   Legrand radiant 15 Amp Decorator Wall Outlet with 3.1 Amp USB Charger, Graphite, TM826USBG          56.63    46.94    1    56.63 $      56.63
9780077656072 CVS   Administrative Procedures for Medical Assisting                                                     148.4             3    148.4 $     445.20
 843813003413 CVS   Cover FX Power Play Concealer: Crease‐Proof, Transfer‐Proof Concealer Provide 16‐hour Full Cov         30             1       30 $      30.00
8886419350941 CVS   Kishi for Xbox                                                                                         90             1       90 $      90.00
 810014324616 CVS   StriVectin Advanced Retinol Daily Repair Face Moisturizer Broad Spectrum SPF 30                        99      99     5       99 $     495.00
 834893004483 CVS   Juice Beauty PHYTO‐PIGMENTS Light‐Diffusing Dust Medium Tawny, 0.7g                                    30             1       30 $      30.00
 831868006138                                                                                                           174.2             1    174.2 $     174.20
 767332109053 CVS   Murad Invisiblur Perfecting Shield SPF 30 ‐ Hydration Skin Primer for Face ‐ Blurs, Primes and Pro     68      71     1       68 $      68.00
5033102880190 CVS   Ion Luxe Coconut Infused Ceramic Flat Iron 1 Inch                                                   79.99            12    79.99 $     959.88
 797801037297 CVS   NaturVet Quiet Moments Calming Aid Dog Supplement, Helps Promote Relaxation, Reduce Stres           27.99    29.59    2    27.99 $      55.98
 810097970120                                                                                                           99.99             1    99.99 $      99.99
 842861110340 CVS   Ring Chime                                                                                          29.99             1    29.99 $      29.99
 812436010382 CVS   LUXPRO LP290V2 LP290V2 Tactical Ultra Bright 280 Lumens Cree LED(Colors may vary)                   16.99    23.11    2    16.99 $      33.98
 810075940503 CVS   NuFACE Super Peptide Booster Serum ‚Äì Firming Face Serum for Facial Toning Device, 1 Fl Oz            65       65    1       65 $      65.00
 855394003003 CVS   PMD Beauty Microderm Classic | Home Microdermabrasion Kit for Face | Exfoliating Crystals and        159     111.3    1     159 $      159.00
 887167322387 CVS   Estee Lauder Advanced Night Repair Eye Concentrate Matrix, 0.5 Oz                                   27.88    28.96    2    27.88 $      55.76
9780786966998 CVS   D&D Forgotten Realms Laeral Silverhand's Explorer's Kit (D&D Tabletop Roleplaying Game Acces        24.95    24.42    1    24.95 $      24.95
 768549385421 CVS   Swarovski 2011 Annual Edition Crystal Snowflake Ornament                                               75   174.24    7       75 $     525.00
4001638088763 CVS   Weleda Hydrating Day Face Cream, 1 Fluid Ounce, Plant Rich Moisturizer with Iris Root, Jojoba O      20.5    18.51    2     20.5 $      41.00
 785007032314 CVS   Legrand Radiant NTL873WCC6 Combination Switch with Night Light, 3 Way Rocker Light Switch W         28.91    33.25    1    28.91 $      28.91
 784276099332 CVS   Lutron Cas√©ta Smart Hub | L‐BDG2‐WH | White                                                        79.95    79.95    1    79.95 $      79.95
 854894005005 CVS   QardioArm Wireless Blood Pressure Monitor: Easy to Use Smart Upper Bluetooth Arm Cuff. App‐         99.99    74.95    4    99.99 $     399.96
 773602069972 CVS   MAC Prep Plus Prime Skin Base Primer Women 1 oz                                                        36    42.99    2       36 $      72.00
 785901508656 CVS   Square D Ld2Cpwk Wireway Closing Plate                                                             244.36   244.36    2   244.36 $     488.72
3348901627276 CVS   Dior Miss Eau de Parfum 20 ml Roller Pearl                                                                   70.01    3    70.01 $     210.03
3605971389023 CVS   Yves Saint Laurent Mon Paris EDP Travel Refillable Spray Pen 0.33 oz/ 10 ml                                  43.99    3    43.99 $     131.97
3606000532236 CVS   Dermablend Quick‐Fix Body Makeup Full Coverage Foundation Stick, Water‐Resistant Body Conc             32       32    1       32 $      32.00
 765809191174 CVS   NAPA Gold 7172 Oil Filter                                                                              29       29    1       29 $      29.00
 888793807514 CVS   HP 410A | CF411A | Toner‐Cartridge | Cyan | Works with HP Color LaserJet Pro M452 Series, M3 139.89         139.89    1   139.89 $     139.89
 819002016700 CVS   Algenist ELEVATE Advanced Lift Contouring Cream ‐ Vegan Lifting & Firming Moisturizer Treatme          96             1       96 $      96.00
 819505014821 CVS   ThunderWunders Hemp Dog Calming Chews | Vet Recommended for Situational Anxiety | Firew             42.99    17.95   50    42.99 $   2,149.50
3605972251725 CVS   Urban Decay Stay Naked Threesome Palette, Rise ‐ Bronzer, Highlighter & Blush Trio ‐ Natural Sa        38       38    1       38 $      38.00
 817494011661 CVS   Sunday Riley C.E.O. 15% Vitamin C Brightening Serum, Orange, 1.0 Fl oz(pack of 1)                      85       85    2       85 $     170.00
 859569002877 CVS   Reserveage Beauty, Tres Beauty 3, Beauty Supplement for Hair Growth, Skin Care and Nail Care,       47.99     36.9    3    47.99 $     143.97
 813146017241 CVS   Kurgo Dog Booster Seats for Cars ‐ Pet Car Seats for Small Dogs and Puppies Weighing Under 30       76.99    64.95    3    76.99 $     230.97
 835552001300 CVS   Reserveage Beauty, Firming Neck Cream with Pro‐Collagen Booster, Tights, Smooths and Moistu         30.99    30.99    1    30.99 $      30.99
 809280000027 CVS   Fresh Cleanser, 150ml Soy Face Cleanser for Women                                                      39    26.99    2       39 $      78.00
 811909033934 CVS   Focus Factor Advanced Vision 60 Capsules Exp 05/2025                                                13.95             1    13.95 $      13.95
4059089311794 CVS   SYLVANIA ‐ 7506 LED White Mini Bulb ‐ Bright LED Bulb, Ideal for Daytime Running Lights (DRL) a     20.99    14.75    5    20.99 $     104.95
 840216930308 CVS   Living proof No Frizz Shampoo, 8 oz                                                                    30       34    5       30 $     150.00
 857150006013                                                                                                           42.38             1    42.38 $      42.38
 848061045017                                                                                                            24.7             1     24.7 $      24.70
 884486453082 CVS   Redken Color Extend Conditioner | For Color‐Treated Hair | Detangles & Smooths Hair While Pro          26       25   11       26 $     286.00
 816657022506 CVS   Fenty Beauty by Rihanna Killawatt Freestyle Highlighter Ginger Binge/Moscow Mule                       40    35.99    1       40 $      40.00
 859975002218 CVS   Andalou Naturals Probiotic Cleansing Milk, Apricot Facial Cleanser for Dry, Dehydrated Skin, Gen    15.99    10.99    1    15.99 $      15.99
 834893009761 CVS   Juice Beauty Stem Cellular Resurfacing Micro‐Exfoliant                                                 55             2       55 $     110.00
 841992097551 CVS   new remanufactured up & up HP compatible 932XL black Ink Cartridge 932 xl CN053A                     8.99             2     8.99 $      17.98
 813269021859 CVS   Tata Harper Resurfacing Serum, Radiance Restoring, Daily Glow‐Giving Serum, 100% Natural, Ma           92       92    1       92 $      92.00
7640126630144 CVS   Alchimie Forever Kantic Brightening Moisture Mask | Travel Size | Soothes, Hydrates, Protects Sk       60       60   18       60 $   1,080.00
 860001719604 CVS   Camille Rose Rejuva Drops "Come Back," 2 fl oz                                                      14.79     14.5    1    14.79 $      14.79
 783643194991 CVS   Siemens Q22020CT Triple Circuit Breaker, Plug‐In, 20/20 Amps                                           65       30    2       65 $     130.00
 818594011131 CVS   Force Factor Test X180 Ignite Total Testosterone Booster for Men with Fenugreek Seed and Gree       79.99    30.73    1    79.99 $      79.99
 855416002243 CVS   Tech Universe Cat5e Networking Cable 25 Feet [ 7.6 M ]                                               6.99     6.99    1     6.99 $       6.99
9781496368782 CVS   A Comprehensive Review for the Certification and Recertification Examinations for Physician Ass     69.99    63.18    1    69.99 $      69.99
 773602359318 CVS   MAC Prep + Prime Fix + Lavender                                                                        28    32.98    2       28 $      56.00
5000167251104 CVS   No7 Early Defense Glow Activating Serum ‐ Anti Aging Serum with Peptides for Fine Lines and W       19.98       15    8    19.98 $     159.84
 884486242044 CVS   Biolage Hydra Source Conditioning Balm | Hydrates, Nourishes & Detangles Dry Damaged Hair |            24       24    1       24 $      24.00
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 854880001141 CVS   Thundershirt Dog Anxiety Treatment ‐ Gray (Extra Small)                                               39.95    32.99     7    39.95 $     279.65
 884486453600 CVS   Redken Volume Injection Shampoo | For Fine Hair | Adding Lift & Body | Paraben Free | 10.1 Fl O          25       26    10       25 $     250.00
 850650002721 CVS   *BRAND NEW* ‐ Ridgid HD‐CM50P 5" Mesh Rim Diamond Blade                                                  18              5       18 $      90.00
 773602000708 CVS   MAC Blush Powder for Women, Desert Rose, desert rose‐soft reddish burgundy (matte), 6g/.21 o             30    30.08     9       30 $     270.00
 840317107869 CVS   FLEXI New Classic Retractable Dog Leash (Tape), 16 ft, Large, Blue                                    26.99    45.49     8    26.99 $     215.92
6291106032437 CVS   HUDA BEAUTY Easy Bake Loose Baking & Setting Powder Kunafa                                             44.5     44.5     1     44.5 $      44.50
3666057040221 CVS   Clarins Bright Plus Serum | Skin Has A Healthy‐Looking Glow and Skin Tone Is Visibly Improved*           85       85     3       85 $     255.00
 887758388693 CVS   HP 2013 D9Y32AA UltraSlim Docking Station with 65W Adapter D9Y32AA#ABA compatible with H             214.64       25     1   214.64 $     214.64
 857065003800                                                                                                                40              2       40 $      80.00
 887167539549 CVS   Revitalizing Supreme Plus Youth Power Creme by Estee Lauder for Women ‐ 1 oz Cream                       65    37.48     1       65 $      65.00
 842595112269 CVS   Cellucor C4 Ultimate Pre Workout Powder ICY Blue Razz ‐ Sugar Free Preworkout Energy Supplem          39.99    25.19     9    39.99 $     359.91
5000167337839 CVS   No7 Skin Balacing Serum For All Skin Type 1fl                                                            14    16.99     6       14 $      84.00
 860002992501 CVS   Zena Liquid Collagen + Biotin, 2500mg of Bioactive Collagen Peptides and 5000mcg Biotin, Veriso       34.99    40.41     1    34.99 $      34.99
3282770100891 CVS   Eau Thermale Av√®ne Cleanance HYDRA Soothing Cream, Rich Moisturizer, Adjunctive Care for D              28       28     1       28 $      28.00
 811913010945 CVS   Oribe Fiber Groom Elastic Texture Paste, 1.7 Fl Oz (Pack of 1)                                           39       39     2       39 $      78.00
 810475002924 CVS   Cleveland Faucet T42311CGR Moen Cfg Cycling Tub/Shower Trim Chrome                                    68.75             31    68.75 $   2,131.25
3337875543248 CVS   Vichy Mineral 89 Face Serum | Facial Gel Moisturizer and Pure Hyaluronic Acid Moisturizing and        29.99    29.99     7    29.99 $     209.93
 898571000211 CVS   It's a 10 Haircare Miracle Leave‐In product, 10 fl. oz.                                                  40    25.98     6       40 $     240.00
 812343034358 CVS   Drunk Elephant C‐Firma Fresh Day Serum ‚Äì Firming and Brightening Serum for Damaged and Ag           75.29    75.39     1    75.29 $      75.29
3605972670700 CVS   URBAN DECAY All Nighter Vitamin C Long‐Lasting Makeup Setting Spray ‐ Award‐Winning Makeu                36       36     5       36 $     180.00
 850000771918 CVS   Wild One Leash ‐ Small ‐ Pink                                                                                     33     3       33 $      99.00
 767332152691 CVS   Murad Vita‐C Eyes Dark Circle Corrector ‚Äì Environmental Shield Vitamin C Brightening Serum ‚Ä          65       67     5       65 $     325.00
 883351723718 CVS   Kwikset San Clemente Front Door Lock Handle and Deadbolt Set, Entry Handleset Exterior with In         169      136      2     169 $      338.00
3282770074710 CVS   Eau Thermale Avene Trixera Nutrition Nutri‐Fluid Cleanser, Soap‐Free, Biodegradable, Pump, 13.           29              1       29 $      29.00
 850000464605 CVS   Goop Beauty GOOPGENES All‐in‐One Super Nutrient Face Skincare Oil ‐ Daily Facial Skin Care, Na           98              7       98 $     686.00
3666057012853 CVS   Clarins Total Eye Smooth | 2‐In‐1 Anti‐Aging Eye Cream and 10‐Minute Eye Mask | Minimizes Ap             72       70     4       72 $     288.00
 888912164184 CVS   DonJoy Performance ANAFORM Lace‐Up Figure‐8 Straps Ankle Brace for Mild to Moderate Ankle             34.99    29.97     2    34.99 $      69.98
 793661520214 CVS   Black Diamond Equipment Moji R + Lantern ‐ Black                                                      49.95    39.56     1    49.95 $      49.95
 810070580117 CVS   Fig.1 Women's Pro‐Retinol Eye Cream .5 fl oz                                                          35.99    35.99     1    35.99 $      35.99
 773602077533 CVS   MAC Matte Lipstick ‐ Kinda Sexy Lipstick Women 0.1 oz                                                 28.38    25.95     2    28.38 $      56.76
 888151030554 CVS   Stealth Cam Reactor VERIZON 26 MP Photo & 1080P at 30FPS Video No Glare IR 0.4 Sec Trigger S         239.99    60.78     3   239.99 $     719.97
 850023754004                                                                                                                13              2       13 $      26.00
 899962000001 CVS   Tru Earth Laundry Detergent Sheets ‐ up to 64 Loads (32 Sheets) ‐ No Plastic Jug ‐ Original Eco‐St    16.95    14.48     2    16.95 $      33.90
 887167619098 CVS   Est√©e Lauder Major Eye Impact Repair + Brighten Skincare Set                                         84.37    84.37     3    84.37 $     253.11
3337871324568 CVS   Vichy Aqualia Thermal Spa Face Night Cream and Overnight Mask with Hyaluronic Acid, Moisturi          34.99    34.99     1    34.99 $      34.99
 822985526678 CVS   Utilitech Plug‐In COB LED Tape Light 16.4 ft. 2539087 Cool White New                                  39.95              1    39.95 $      39.95
 810029621489 CVS   Biossance Squalane + Copper Peptide Rapid Plumping Serum. Powerfully Hydrating Face Serum t              68    44.88     1       68 $      68.00
4033651386212 CVS   BeYu Light Reflecting Foundation, Soft Hazelnut, 1 Fluid Ounce                                           27              1       27 $      27.00
3606000403826 CVS   La Roche‐Posay Anthelios Cooling Water Lotion Sunscreen for Body and Face, Broad Spectrum Su          37.99    37.99    11    37.99 $     417.89
 841886110328 CVS   NAPA Automobile Lamps BP9008NVV2‐N BP9008 9008 Halogen Headlamps (2 Pack)                             10.79             13    10.79 $     140.27
3348901471268 CVS   Dior CAPTURE DREAMSKIN Care & perfect ‐ global age‐defying skincare ‐ perfect skin creator 1.7       154.46   154.46     6   154.46 $     926.76
 800443513163 CVS   NWT Reddy Black Jaquard Dog Harness, Medium 17‐24 in chest #3163                                      28.64              3    28.64 $      85.92
 815517024018 CVS   First Aid Beauty Ultra Repair Hydrating Serum with Hyaluronic Acid, Anti‐Aging Face Serum for Se         38    59.99     2       38 $      76.00
4934569360243 CVS   Animation ‐ Love Live! The School Idol Movie [Japan BD] BCXA‐1024                                     50.05     63.6     2    50.05 $     100.10
 890922002394 CVS   Kate Somerville Oil Free Moisturizer 50ml                                                             25.99       76     1    25.99 $      25.99
 888151030547 CVS   Stealth Cam Reactor AT&T 26 MP Photo & 1080P at 30FPS Video No Glare IR 0.4 Sec Trigger Spee         239.99    79.21     5   239.99 $   1,199.95
9781561383320 CVS   The Illustrated History of Antiques                                                                   29.98    33.87     1    29.98 $      29.98
 819505013244 CVS   Thundershirt dogs clothing Thundershirt Dog Anxiety Jacket, Platinum, X‐Large US                      49.95    49.95     2    49.95 $      99.90
 851371002069 CVS   Tata Harper Resurfacing Mask, Glow Giving Mask, 100% Natural, Made Fresh in Vermont, 30ml                65       68     2       65 $     130.00
 792850907232 CVS   Burt's Bees Face Serum, Retinol Alternative, Facial Care with Hyaluronic Acid, Intensive Firming S    19.99     18.5     1    19.99 $      19.99
7350120791252 CVS   FOREO LUNA 4 Face Cleansing Brush | Firming Face Massager | Anti Aging Face Care | Enhances            279               1     279 $      279.00
 839289006836 CVS   We‐Vibe Ditto, Midnight Blue                                                                           129               1     129 $      129.00
 793661518891 CVS   Black Diamond Equipment Trail Back Trekking Poles ‐ Dark Crimson                                       100     74.88     2     100 $      200.00
 850015510083 CVS   KOS Plant Based Protein Powder, Vanilla USDA Organic ‐ Low Carb Pea Protein Blend, Vegan Sup          19.99    20.99     2    19.99 $      39.98
3401347869775 CVS   Bioderma ‐ Hydration Serum ‐ Hydrabio ‐ Hydration Booster ‐ Hydrating Feeling ‐ Facial Hydrating      34.99    27.99     2    34.99 $      69.98
3360372026099 CVS   Giorgio Armani Luminous Silk Foundation, No. 2 Ivory, 1 Ounce                                            64    73.14     2       64 $     128.00
 850650002479 CVS   RIDGID CJ10P 10" WET CUTTING PORCELAIN TILE DIAMOND BLADE ‐ NEW                                       38.95              4    38.95 $     155.80
3337875694469 CVS   La Roche‐Posay Pure Retinol Face Serum with Vitamin B3. Anti Aging Face Serum for Lines, Wrink        44.99    44.99    55    44.99 $   2,474.45
 768990037900 CVS   Nordic Naturals Ultimate Omega, Lemon Flavor ‐ 180 Soft Gels ‐ 1280 mg Omega‐3 ‐ High‐Potenc          69.95       58    15    69.95 $   1,049.25
 841993153461 CVS   NEW Luminara Electric Plug‐in Nightlight Real Flame Effect Candle                                     50.64              2    50.64 $     101.28
 840777034118 CVS   Sapphire Nitro + Radeon RX 580 4GB GDDR5 Graphics Card                                               279.99              6   279.99 $   1,679.94
 840749004309 CVS   Mineral Fusion Volumizing Mascara, Jet, 0.57 Fl Oz (Pack of 1)                                        18.99    16.99     2    18.99 $      37.98
7350120790231 CVS   FOREO LUNA play plus 2 ‐ Facial Cleansing Brush ‐ 1‐min Deep Facial Cleanser ‐ Travel Accessorie         39       69     9       39 $     351.00
 792363564069 CVS   Chief 2" Aluma‐Cut Wide Flute Genuine Solid Carbide Burrs 4 Piece CH2AC #069                           15.9              1     15.9 $      15.90
 801688630400 CVS   Canada Goose Women's Rossclair Parka ‐ Black ‐ L                                                      1495     1495      1    1495 $    1,495.00
 809280144165 CVS   Fresh Rose Deep Hydration Oil‐Infused Serum 3.3 fl. oz / 100 ml                                          60      54      3       60 $     180.00
 810907028263 CVS   StriVectin Advanced Retinol Star Light Night Oil with Squalane, Improves Skin Texture, Wrinkles,         99      99      7       99 $     693.00
3614222867036 CVS   philosophy Ultimate Miracle Worker Anti‐Ageing Eye Cream                                                 75      75      1       75 $      75.00
 810012961813                                                                                                             69.99              3    69.99 $     209.97
 786685532172 CVS   EATON CHF250 Series 50A DP Circuit Breaker, No Size, Black                                                      25.5    13     25.5 $     331.50
 765809178243 CVS   Wix Filter Corp. 33233 Fuel Filter                                                                    24.82    17.47     1    24.82 $      24.82
 773602283583 CVS   MAC in Extreme Dimension 3d Lash, 0.42 Oz, Black                                                      49.53    17.89    21    49.53 $   1,040.13
 810012143455                                                                                                             29.99              1    29.99 $      29.99
 856235006283 CVS   iFixit Mako Driver Kit ‐ 64 Precision Bit Set for Electronics Repair                                              37     5       37 $     185.00
 810040572548 CVS   MANSCAPED¬Æ The Beard Hedger‚Ñ¢ Premium Men's Beard Trimmer, 20 Length Adjustable Blad                99.99    99.99     5    99.99 $     499.95
5060445300085 CVS   MZ SKIN BRIGHTEN & PERFECT | 10% Vitamin C Serum | Collagen Stimulation | Vegan                      179.98   295.64     1   179.98 $     179.98
 850003742304 CVS   The Mane Choice Alpha Green Tea & Carrot Strengthening & Restorative Treatment Hair Mask, 1           17.99    15.15     1    17.99 $      17.99
 817008020264 CVS   FemiClear, Genital Herpes Symptoms Cream Multi‐Symptom, 0.5 Ounce                                              38.99   131    38.99 $   5,107.69
 854896003504 CVS   Scale, Digital Floor Talking Bilingual 400Lb Cap (Units Per Each: 1)                                  94.34    90.12     1    94.34 $      94.34
 898571000235 CVS   It's a 10 Miracle Hair Mask Hair And Scalp Treatments (17.5 oz)                                       51.54    38.44     1    51.54 $      51.54
 841886110342 CVS   Napa BPH1NVV2‐N NIGHTVISION Vivid 2‐Pack Headlight Bulb ‐ High Beam (Halogen)                         10.49              1    10.49 $      10.49
 808282346942 CVS   Prime Line 7‐08024D Fuel Pump                                                                         36.99    37.36     1    36.99 $      36.99
9120096771279 CVS   Polaroid i‐Type Color Film ‐ Metallic Nights Edition Double Pack (16 Photos) (6035)                   31.99              1    31.99 $      31.99
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3614272648432 CVS   Yves Saint Laurent Libre Eau De Parfum for Women 10 ml Refillables Spray                                42.99    43.98    3    42.99 $     128.97
3337872414145 CVS   La Roche‐Posay Cicaplast Hand Cream, Instant Relief Moisturizing Dry Hands Shea Butter Lotion f         10.99    10.99    1    10.99 $      10.99
 783250582747 CVS   IDEAL Electrical 35‐3038 Long Nose Plier ‚Äì 8.5 in., Plier with Smart Grip Handles, Cutter, Serrate    34.31    18.61    2    34.31 $      68.62
3348901592017 CVS   Dior forever Skin Glow Foundation no transfer high perfection (0CR Cool Rosy, 1 Fl Oz (Pack of 1)          48             1       48 $      48.00
 858801002132 CVS   Noritake Jubilant Days Gold 5Pc Place Setting                                                          149.99   149.99   20   149.99 $   2,999.80
 887961971552 CVS   ‚ÄãMEGA Pok√©mon Action Figures Toy Building Set, 4 Inch Pikachu, Raichu and Pichu Build n Sh           54.99    58.88    1    54.99 $      54.99
 811909034221 CVS   Focus Factor Vision Formula (60 Count) ‐ Eye Vitamins with Vitamin C, Vitamin E, Lutemax¬Æ 202          24.99    24.99    5    24.99 $     124.95
 842439100032 CVS   2 Nature‚Äôs Reward L‐arginine 1000mg, 90 Coated Tablets Each. Exp 08/2022                              24.99             4    24.99 $      99.96
 843246130045 CVS   Grande Cosmetics GrandeBROW Brow Enhancing Serum, 8 Week Starter Supply , 0.05 Fl Oz (Pac                  38       38   21       38 $     798.00
 889063512718 CVS   LIVELY Jitterbug Phones Smart3 Smartphone for Seniors ‐ Cell Phone for Seniors ‐ Must Be Activa        149.99    49.99    1   149.99 $     149.99
3167860096202 CVS   P√©b√©o ‐ G√©d√©o Kit Crystal Resin 300 ML ‐ Transparent Epoxy Resin Glass Paste Effect ‐ P√             36.2    27.42    1     36.2 $      36.20
 793310690893 CVS   Cellu Lift N Tone Cellulite Roller & Massager New Free Shipping Cellulift                               14.99             1    14.99 $      14.99
3337872413704 CVS   La Roche‐Posay Redermic C Anti‐Wrinkle Vitamin C Moisturizer with Pure Vitamin C & Hyaluronic           54.99    54.99    2    54.99 $     109.98
3614229374780 CVS   Gucci Velvet Matte Lipstick 305 Ruby Firelight                                                             45    99.93    2       45 $      90.00
 842959090516 CVS   CURRENT USA 36"‐48" ColorPlus Freshwater Aquarium Smart LED Light with App and Voice Cont              114.99     109     1   114.99 $     114.99
 878408008092 CVS   Weruva Best Feline Friend (B.F.F.), Batch 'O Besties Variety Pack, Wet Cat Food, 3oz Can (Pack of       17.88    27.99    1    17.88 $      17.88
4059089312142 CVS   SYLVANIA ‐ 4157 LED White Mini Bulb ‐ Bright LED Bulb, Ideal for Daytime Running Lights (DRL) a         20.99    14.75    5    20.99 $     104.95
 884486209610 CVS   Redken Frizz Dismiss Sodium Chloride‐Free Shampoo 300ml¬†                                               30.62             5    30.62 $     153.10
3614272942660 CVS   Yves Saint Laurent Tatouage Couture Velvet Cream Matte Liquid Lipstick N216 Nude Emblem                    45             1       45 $      45.00
 819430011193 CVS   Sigma Concealer Brush                                                                                      16             1       16 $      16.00
3605972259882 CVS   Urban Decay All Nighter Ultra Glow Face Primer ‐ Lightweight, Long‐Lasting Formula ‐ Locks Foun            38       38    8       38 $     304.00
 810813033627 CVS   BeautyBio Rejuvenating Scalp + Fuller Hair Therapy Set (0.3mm)                                           249      249     5     249 $    1,245.00
 773602465606 CVS   Eye Brows Styler by M.A.C Brunette 9g                                                                    29.9       22    3     29.9 $      89.70
 814784024240 CVS   Sunwarrior ‐ Warrior Blend, Plant Based, Raw Vegan Protein Powder with Peas & Hemp, Chocola             24.27    26.88    1    24.27 $      24.27
3474636920150 CVS   Redken Color Extend Magnetics Conditioner | For Color Treated Hair | Protects Color & Adds Shi             26       26   31       26 $     806.00
                    Spa Sciences ‐ AIVA ‐ The 2‐in‐1 Facial Hair Remover & Eyebrow Trimmer with Built‐in LED
 850003115634 CVS   Lights                                                                                                           29.98    1    29.98 $      29.98
 850278004718 CVS   Bondi Sands Liquid Gold Self Tanning Foam | Lightweight + Quick Dry Foam Enriched with Argan               26       26    1       26 $      26.00
3614272873438 CVS   Lanc√¥me R√©nergie Lift Liquid Foundation With SPF ‐ Buildable Medium To Full Coverage ‐ Up                63       63    3       63 $     189.00
5033102885836 CVS   Ion Luxe Adjustable Deep Waver                                                                          69.99    59.99    4    69.99 $     279.96
 792363570138 CVS   Ames LDM‐60 200 ft Laser Distance Meter Color Display 8 Measurement Modes #138                          20.99             1    20.99 $      20.99
 857065003770 CVS   Pulsaderm Hyaluronic Acid Moisturizing Serum 30 ml.                                                        25             1       25 $      25.00
 834893010613 CVS   JB SC, STEM CELLULAR Vinifera Replenishing Oil, 30ml                                                       72       72    2       72 $     144.00
 854226008186 CVS   Physician's CHOICE Probiotics for Weight Management & Bloating‐ 6 Probiotic Strains ‐ Prebiotic         29.99    22.38    6    29.99 $     179.94
3605972483195 CVS   IT Cosmetics Hello Results Wrinkle‐Reducing Daily Retinol Serum‐in‐Cream ‐ Firming & Anti‐Aging            25       25    2       25 $      50.00
 811901012661 CVS   32 oz Mia Secret Liquid Monomer ‐ Professional Acrylic Nail Liquid for Acrylic Powder ‐ EMA mon         49.95     62.5    1    49.95 $      49.95
 817103006903 CVS   Comfort Seats C106C00 Deluxe Commercial Elongated Open Front No Cover                                      33    39.45    5       33 $     165.00
 790011290247 CVS   Jarrow Formulas Hyaluronic Acid 120 mg ‐ 120 Veggie Caps ‐ 60 Servings ‐ Bioavailable & Natural         39.99    22.99    3    39.99 $     119.97
 813134020185 CVS   Thermacell Heat Pack Rechargeable Reusable Pocket Warmer 1‐Pack, Black                                  69.95             1    69.95 $      69.95
 835552000112 CVS   Reserveage Beauty, Keratin Hair Booster with Biotin, Hair and Nail Growth Supplement for Men a          28.99    24.99    2    28.99 $      57.98
 807648057669 CVS   HEXBUG Ring Racer ‐ Assorted Colors                                                                     25.99    15.75   35    25.99 $     909.65
 810569036477 CVS   Keratin Complex KCTEXTURE Curl Enhancing System, 8 Fl Oz                                                 110              3     110 $      330.00
 889232609607 CVS   Casio fx‐9750GIII White Graphing Calculator (fx‐9750GIII‐WE), 4 AA batteries required. (included        84.99    54.89    1    84.99 $      84.99
 800443488362                                                                                                               33.99             6    33.99 $     203.94
3605971976742 CVS   URBAN DECAY Naked Reloaded Eyeshadow Palette, 12 Universally Flattering Neutral Shades ‐ Ul                50       50    2       50 $     100.00
 850650001069 CVS   King Diamond / 4" Diamond Tile Blade                                                                    43.94     12.9    1    43.94 $      43.94
 830743009059 CVS   Forces of Nature ‐Natural, Organic Nail Fungus Treatment (11ml) Non GMO, No Harmful Chemica             26.95    21.28    2    26.95 $      53.90
3605972368621 CVS   IT Cosmetics Your Skin But Better Foundation + Skincare, Medium Cool 30 ‐ Hydrating Coverage ‐             46       46    1       46 $      46.00
 773602567966                                                                                                               45.17             2    45.17 $      90.34
 898440001868                                                                                                               24.99            22    24.99 $     549.78
 813920018211 CVS   Kate Somerville Liquid ExfoliKate ‚Äì Triple Acid Resurfacing Treatment ‚Äì Clinically Formulated A        68       68   16       68 $   1,088.00
3614273274630 CVS   Lanc√¥me Advanced G√©nifique Eye Cream ‐ For Dark Circles & Fine Lines ‐ With Bifidus Prebiot              82       82    2       82 $     164.00
 765809201194 CVS   Napa 7899 Gold Oil Filter                                                                               13.72    13.99    1    13.72 $      13.72
 810108190073 CVS   L'ANGE HAIR Le Duo 360¬∞ Airflow Styler | 2‐in‐1 Curling Wand & Titanium Flat Iron Hair Straigh            89     78.9    1       89 $      89.00
 885911726153 CVS   New craftsman CMA0103‐3 1‐1/4" OSCILATING BLADE GENERAL PURPOSE New                                       9.2             2      9.2 $      18.40
 889698480833                                                                                                               69.99             2    69.99 $     139.98
 850184008800 CVS   Qunol Turmeric + Ginger 750 mg Extra Tropical Fruit 60 Soft Chews Ex:09/2024                            18.95             2    18.95 $      37.90
 800443348284 CVS   Petco Brand ‐ Good2Go Black Harness for Big Dogs, X‐Large/XX‐Large                                      49.99    49.99   19    49.99 $     949.81
 810020170597 CVS   Bondi Sands PURE Self‐Tanning Drops | Hydrating, Concentrated Formula Gives a Buildable, Cust            5.44             2     5.44 $      10.88
 792363568159 CVS   *NEW* Hercules 20V Cordless Compact Heat Gun, Tool Only, HC105B, 56815                                  59.95             1    59.95 $      59.95
 811138036980 CVS   Fitbit Sense Advanced Smartwatch with Tools for Heart Health, Stress Management & Skin Temp            249.95   174.99    2   249.95 $     499.90
9120096773006 CVS   Polaroid Now I‐Type Instant Camera ‐White Camera + Gold Film Bundle (6185)                             149.99   154.99    1   149.99 $     149.99
 828054156333                                                                                                               35.99             2    35.99 $      71.98
 855385008697                                                                                                               22.33             2    22.33 $      44.66
8809559349316 CVS   Mamonde Floral Essential Serum Face Radiance Treatment                                                     38             2       38 $      76.00
 810051854213 CVS   DASH Multi Mini Waffle Maker: Four Mini Waffles, Perfect for Families and Individuals, 4 Inch Du        39.99    34.99    1    39.99 $      39.99
3614273088497 CVS   Lanc√¥me R√©nergie Lift Multi‐Action Ultra Eye Cream ‐ For Lifting & Dark Circles ‐ With Caffein           82     65.6    1       82 $      82.00
9421008705215 CVS   Essano Collagen Boost Day Creme ‐ Hydrating and Firming for Antiaging Daily Use, 140ml                           18.99    2    18.99 $      37.98
 883140500841 CVS   La Roche‐Posay Anthelios Ultra‐Light Sunscreen Lotion Spray Broad Spectrum SPF 60, Alcohol‐Fre          26.99    26.99    8    26.99 $     215.92
4971451182590                                                                                                                  46             1       46 $      46.00
9003918600349 CVS   Dr Thomastik Violin Strings (135)                                                                      107.99    51.99    3   107.99 $     323.97
 790011020011 CVS   Jarrow Formulas L‐Carnitine 500 mg ‐ Important Cofactor for Energy Production (ATP) from Fats           26.99    19.65    2    26.99 $      53.98
 849409003584 CVS   Deluxe Advanced Manual Pump                                                                             29.99    32.99    1    29.99 $      29.99
 810834030841 CVS   Youth To The People 15% Vitamin C Face Serum ‐ Skin Firming Caffeine Serum for Morning Puffin              72       69    5       72 $     360.00
 850002593105 CVS   FELIWAY Optimum Cat, Enhanced Calming Pheromone Diffuser, 30 Day Starter Kit (48 mL), Trans             34.99    19.98    3    34.99 $     104.97
 840103212142 CVS   RoC Multi Correxion 5 in 1 Anti‐Aging Daily Face Moisturizer with Broad Spectrum SPF 30 & Shea          29.99    17.54   34    29.99 $   1,019.66
 797801036917 CVS   NaturVet All‐in‐One Dog Supplement ‐ for Joint Support, Digestion, Skin, Coat Care ‚Äì Dog Multiv       13.49    17.99    5    13.49 $      67.45
 783250810529 CVS   IDEAL Industries INC. 61‐347 ‐ AC/DC 1000V TRMS Multimeter, CAT III, CAT IV                             83.88       69    1    83.88 $      83.88
 812391022079 CVS   IBY Beauty, Eyeshadow Palette Desert Vibes, 1 Count                                                     29.99    26.99    2    29.99 $      59.98
 850026905212 CVS   HERBIVORE Coco Rose Body Oil ‚Äì Moisturizing Body Oil for Glowing Skin, Packed with Nourishin             38             1       38 $      38.00
 859644007629 CVS   Wild One Collar ‐ Medium ‐ Lilac                                                                           35    27.74    1       35 $      35.00
3605972780072 CVS   IT Cosmetics Confidence in a Cream Anti Aging Face Moisturizer ‚Äì Visibly Reduces Fine Lines, W           59       59    6       59 $     354.00
 797801036344 CVS   NaturVet Joint Health Time Release Level 1 Count 70 Soft Chews Exp 8/25 [New]                              17             2       17 $      34.00
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 814333029900 CVS   MILK Makeup KUSH Lash Primer ‐ Nourishing, Volumizing Clear Eyelash Primer, 0.32 Oz                          26.96    1     26.96 $     26.96
 813146017791 CVS   Kurgo Waterproof Muck Collar & Leash for Dogs | Matching Collar & Leash for Pets | Easy Rider       14.99             1     14.99 $     14.99
 889349592052 CVS   ASUS TUF Z270 Mark 2 LGA1151 DDR4 HDMI DVI M.2 USB 3.1 Z270 ATX Motherboard                          149              1      149 $     149.00
 884486456021 CVS   ProsourceFit Neoprene Dumbbell Coated for Non‐Slip Grip, 11 lb                                      54.99       45    2     54.99 $    109.98
 765809222663 CVS   NAPA Gold 7055 Oil Filter                                                                            9.49     9.49    1      9.49 $      9.49
 887167565869 CVS   Est√©e Lauder Double Wear Sheer Long‐Wear Makeup SPF 19 2C3 Fresco                                  34.43    14.94    1     34.43 $     34.43
                    Hourglass Jumbo Size Veil Mineral Primer. All Day Oil‐Free Makeup Primer with SPF 15. Vegan
 877231002352 CVS   and Cruelty‐Free. (2 Ounce).                                                                                    75     2       75 $     150.00
 783643195004 CVS   SIEMENS Q22030C Q22030CT 30 Double Two 20‐Amp Single Pole Circuit Breaker, Black                       65    29.39     3       65 $     195.00
 855711004560 CVS   Sarabecca Vanilla Spice Natural Solid Perfume 10 grams ‐ Vegan, Phthalate‐Free, Certified All‐Na       20              1       20 $      20.00
 783927528665 CVS   Kichler 11149NILED LED Linear Bath, Brushed Nickel                                                 239.95   174.95     3   239.95 $     719.85
 796752137865                                                                                                           34.15              1    34.15 $      34.15
 853220008062 CVS   Spot Hogg Fast Eddie XL Long Bar Wrapped Bow Sight Single 1‐Pin .019 Right Hand                    314.99     274      1   314.99 $     314.99
7640126630090 CVS   Alchimie Forever Rejuvenating Eye Balm | Hydrating Anti‐Aging Eye Cream with Jojoba and Coco           47       47     6       47 $     282.00
4543112948694 CVS   Bandai AT‐ST 1/48 Scale Star Wars All Terrain Scout Transport Walker                                   30       30     2       30 $      60.00
5035832105086 CVS   TAN‐LUXE The Body ‐ Illuminating Self‐Tan Drops, 50ml ‐ Cruelty & Toxin Free ‐ Light/Medium            60       60     1       60 $      60.00
 850003310503 CVS   TULA Skin Care Detox in a Jar ‐ Exfoliating Treatment Mask with Hydrating Vitamin E, Soybean Oi        48    46.99     1       48 $      48.00
 849956000012 CVS   Artsmith 126 pcs Multi Media Art Set w/Storage Case #0012                                          111.45              1   111.45 $     111.45
3253581703557 CVS   L'Occitane Divine Youth Oil 1.00 fl.oz                                                               115               2     115 $      230.00
3614272489578 CVS   Lanc√¥me UV Expert Primer & Face Moisturizer With SPF 50 ‐ Prep, Hydration & Face Sunscreen            48       48     4       48 $     192.00
3380810045239 CVS   Clarins Hydrating Gentle Foaming Cleanser | Cleanses, Smoothes, Refreshes and Balances Skin |          30       30     5       30 $     150.00
8809803524070 CVS   Sulwhasoo Concentrated Ginseng Renewing Cream: Silk Cream to Hydrate, Visibly Firm, and Soft         260      260      2     260 $      520.00
 773602010813 CVS   Mac Kohl Eye Color for Women, Teddy, 0.05 Ounce                                                      28.5    19.43     4     28.5 $     114.00
3548752169561 CVS   MAKE UP FOR EVER Rouge Artist Lipstick 320 Virtous Goji                                             29.95    29.95     1    29.95 $      29.95
 773602544172 CVS   MAC Matte Lipstick ‐ 650 Soar Lipstick Women 0.1 oz                                                    30    26.23    16       30 $     480.00
3614272611382 CVS   Rouge Pur Couture 92                                                                                   24       24     3       24 $      72.00
 786936870800 CVS   Black Widow [4K UHD]                                                                                   35    18.99     1       35 $      35.00
 783164532067                                                                                                           58.62              1    58.62 $      58.62
 785901401667 CVS   Square D ‐ QO115DFC 15 Amp Single‐Pole Dual Function (CAFCI and GFCI) Circuit Breaker              343.48    34.98     1   343.48 $     343.48
 765809165717 CVS   NAPA Gold 3579 Fuel Filter                                                                          24.55     18.9     1    24.55 $      24.55
 768990017704 CVS   Nordic Naturals Complete Omega, Lemon Flavor ‐ 60 Soft Gels ‐ 565 mg Omega‐3 ‐ EPA & DHA w          18.95    15.91     2    18.95 $      37.90
 800443253519 CVS   Good2Go Reflective Adjustable Harness for Dog ‐ Blue ‐ L/XL                                         19.99              1    19.99 $      19.99
5060531311193 CVS   BYBI Night Nutrition Protein Cream ‐ 2 fl oz                                                                   5.9     1      5.9 $       5.90
 815517025183 CVS   First Aid Beauty FAB Pharma Arnica Relief & Rescue Mask ‚Äì Soothing Leave‐On Face Mask for D          32    20.95     1       32 $      32.00
 810051855067 CVS   Dash 16 oz Personal USB Bottle Blender with Travel Lid and Charging Cord, Single‐Serve Smoothi      39.99    29.88     1    39.99 $      39.99
7350120791368 CVS   FOREO Luna 4 go Face Cleansing Brush & Firming Face Massager | Premium Face Care | Enhance           129      90.3     2     129 $      258.00
7350092139649 CVS   FOREO UFO 2¬†Red Light Therapy For Face ‐ An Aging¬†Face Moisturizer And¬† Dark Spot Rem             299     149.5     6     299 $    1,794.00
 810819031436                                                                                                              30              1       30 $      30.00
 845094002284 CVS   ET2 E22000‐10 Frost Clear/White Glass Cylinder Mini Pendant Ceiling Lighting, 1‐Light 50 Watt, 1     154     138.6     3     154 $      462.00
 852900006602                                                                                                           33.89              5    33.89 $     169.45
 813269025826 CVS   Tata Harper Restorative Eye Cr√®me Starter Kit, 100% Natural, Made Fresh in Vermont                  130      130      6     130 $      780.00
 878147007851 CVS   P√úR MINERALS 4‐in‐1 Pressed Mineral Makeup SPF 15 Powder Foundation with Concealer & Fin            29.5      21      1     29.5 $      29.50
 810029621366 CVS   Squalane+ New Phyto Retinol Serum                                                                      74      74      3       74 $     222.00
 884486383358 CVS   Biolage Styling Finishing Spritz Non‐Aerosol Hairspray | Texturizing Hairspray That Locks Style In     25      23      8       25 $     200.00
3145891417807 CVS   CHANEL Moisturisers Le Lift Cr√®me, 2 Oz                                                             150      129      2     150 $      300.00
5033102851442 CVS   Ion Magnesium Flat Iron 1 Inch, Optimal Heat, Ceramic Tourmaline, Patented Korean Magnesium         81.99      83      8    81.99 $     655.92
 810907028256 CVS   StriVectin Tighten & Lift Advanced Neck Cream PLUS, Anti‐Aging Firming & Brightening Complex,        139               1     139 $      139.00
3614273061551 CVS   Yves Saint Laurent Rouge Volupt√© Shine Lipstick Balm 127 Rouge Studio                                 39    38.25     1       39 $      39.00
 884486452955 CVS   Redken All Soft Conditioner | For Dry / Brittle Hair | Moisturizes & Provides Intense Softness | W     50    34.99     2       50 $     100.00
3605972696304 CVS   URBAN DECAY Wild Greens Eyeshadow Palette ‐ 12 Shades ‐ Nature‐Inspired Greens & Earthy Ne             44              2       44 $      88.00
 879213549015 CVS   Bergan Booster Carrier                                                                              69.77              1    69.77 $      69.77
9421017760014 CVS   Trilogy Certified Organic Rosehip Oil ‐ Pure Rosehip Oil Reduces the Appearance of Wrinkles, Sca    31.99    22.99     4    31.99 $     127.96
 810070580032 CVS   Fig.1 Women's Glycolic Glow Treatment,                                                                       33.99     3    33.99 $     101.97
 810940021115 CVS   Handi Quilter Echo Feet Kit                                                                          72.5   110.96     2     72.5 $     145.00
 800443544907 CVS   Reddy Grey Reflective Dog Harness, Medium                                                           49.99    49.99     4    49.99 $     199.96
 811274023691 CVS   PERFORMIX ‐ SST V2X ‐ Pre Workout ‐ 300 mg Caffeine ‐ Energy Supplements ‐ No Crash ‐ Fitness       64.99    59.99     2    64.99 $     129.98
 850003310794 CVS   TULA Skin Care Breakout Star ‐ Acne Moisturizer, Prevents & Treats Mild Breakouts, Brightens M         52    43.99     1       52 $      52.00
 840098727485 CVS   Arteza Metallic Watercolor Paints, Set of 24 Half Pans                                              21.75              6    21.75 $     130.50
 807648083019 CVS   HEXBUG VEX Robotics RC Dart Blaster                                                                           59.8     1     59.8 $      59.80
4020829005280 CVS   Dr. Hauschka Clarifying Toner, 3.4 Fl Oz                                                               37       37     1       37 $      37.00
5000167277111 CVS   No7 Youthful Eye Serum ‐ Revitalizing Anti Aging Vitamin A for Under Eye Bags ‐ Hyaluronic Acid     15.99       15     1    15.99 $      15.99
 879655008347 CVS   SPOT HOGG Fast Eddie XL Double Pin .019 Right Hand Bow Sight                                       319.99   308.99     3   319.99 $     959.97
3337871323561 CVS   Vichy Id√©alia Eye Cream with Caffeine & Vitamin C, Anti‐Aging Eye Cream for Dark Circles & Fin        32       32     2       32 $      64.00
3614226789464 CVS   Nioxin System 3 Scalp Therapy Conditioner with Peppermint Oil, Treats Dry Scalp, Provides Moist        26     22.1     3       26 $      78.00
 852089005151 CVS   Bevel Safety Razor with Brass Weighted Handle and 10 Double Edge Safety Blade Refills, Single B     49.95    44.99     2    49.95 $      99.90
 884486437129 CVS   Pureology Hydrate Moisturizing Shampoo | Softens and Deeply Hydrates Dry Hair | For Medium             37       37   110       37 $   4,070.00
 883140037439 CVS   Dermablend Quick‐Fix Body Makeup Full Coverage Foundation Stick, Water‐Resistant Body Conc             32       32     1       32 $      32.00
 850278004312 CVS   Bondi Sands Self Tanning Foam | Lightweight, Self‐Tanner Foam Enriched with Aloe Vera and Coc          26       26     1       26 $      26.00
 855711004539 CVS   Sarabecca Floral Citrus Natural Solid Perfume 10 grams ‐ Vegan, Phthalate‐Free, Certified All‐Nat      20              1       20 $      20.00
 816657022483 CVS   Fenty Beauty by Rihanna Killawatt Freestyle Highlighter Girl Next Door/Chic Phreak                     40    30.09     8       40 $     320.00
 889440613694 CVS   Dickies mens Tough Max Duck Double Knee Work Utility Pants, Stonewash Slate, 32W x 32L US           49.99    49.99     1    49.99 $      49.99
 765809191181 CVS   NAPA Gold 3591 Fuel Filter                                                                             25       25     1       25 $      25.00
                    Murad Essential‐C Day Moisture Broad Spectrum SPF 30 ‐ Environmental Shield SPF Facial
 767332153599 CVS   Moisturizer Cream ‐ Vitamin & Antioxidant Rich Treatment Backed by Science, 0.8 Fl Oz                           35    1        35 $     35.00
 887961971132 CVS   Mega Construx Halo Escape Building Set 70 Pcs                                                       15.12    15.99    5     15.12 $     75.60
 800443472736 CVS   EveryYay Happy Place Grey Blackout Dog Crate Cover, 43.25" L X 29" W X 29.5" H                      58.99    58.99    2     58.99 $    117.98
 815266012533 CVS   BosleyMD Women's Hair Growth Supplement (2 Month Supply)                                               38       38    1        38 $     38.00
 810070580056 CVS   Fig.1 Women's Ceramide Moisturizer, 1.7 fl oz                                                       29.98    31.99    1     29.98 $     29.98
 883778122071 CVS   Bryant Electric GFRST15W 15 Amp 125V Commercial/Residential Self Test Duplex GFCI Receptac          28.05    28.06   20     28.05 $    561.00
9120096771262 CVS   Polaroid i‐Type Color Film ‐ Golden Moments Edition Double Pack (16 Photos) (6034)                  31.99    33.99    1     31.99 $     31.99
 813146019689 CVS   Kurgo Pet Tactical First Aid Kit, Dog First Aid MOLLE Harness Attachment, Detachable Pouch for M    33.99    25.07    3     33.99 $    101.97
 767332603773 CVS   Murad Rapid Collagen Infusion ‐ Resurgence Anti‐Aging for Face ‐ Skin Smoothing Cream Targets          89       89    1        89 $     89.00
 884486453259 CVS   Redken Color Extend Graydiant Conditioner | For Gray & Silver Hair | Removes & Tones Brass | W         25             1        25 $     25.00
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 767332153483 CVS   Murad Rapid Dark Spot Correcting Serum ‐ Environmental Shield Skin Brightening Face Serum ‐ G               83       81    42       83 $   3,486.00
4059089311633 CVS   SYLVANIA ‐ 3156 LED White Mini Bulb ‐ Bright LED Bulb, Ideal for Daytime Running Lights (DRL) a          20.99    14.75     3    20.99 $      62.97
 884486151315 CVS   Biolage Hydra Source Shampoo | Hydrates & Moisturizes Dry Hair | Helps Repair Split Ends | Par              23       24     2       23 $      46.00
 834893002304 CVS   Juice Beauty PHYTO‐PIGMENTS Flawless Serum Foundation ‐ Buff| Skin‐Perfecting + Age‐Defying                 44       45     3       44 $     132.00
 804428434771 CVS   Legrand Cat5e RJ‐45 Insert 15 pack WP3475‐WH‐V15 Cat 5e NEW                                              30.65              1    30.65 $      30.65
3380810303018 CVS   Clarins Multi‐intensive Rose Radiance Cream 50ml                                                          129      134      2     129 $      258.00
 850028009024 CVS   True Grace One Daily Women‚Äôs Multivitamin Fermented Minerals, Organic Adaptogens & Mus                 69.95    62.96     5    69.95 $     349.75
 850024430013 CVS   FiberCon Fiber Therapy Coated Caplets, Safe, Simple & Comfortable Insoluble Fiber for Bowel Irr          15.99     19.7     4    15.99 $      63.96
 859776000604 CVS   Curls Blueberry Bliss Control Jelly ‐ Define & Defrizz ‐ Wash and Go's, Twist Outs, Braid Outs, and      19.49     14.4     1    19.49 $      19.49
 884486407146 CVS   Biolage Color Last Purple Shampoo | Neutralizes Brass & Unwanted Yellow Tones | With Fig & O                24       23     4       24 $      96.00
 856367002139 CVS   Thesis Organic Facial Recovery Serum ‐ Nourishing Smoothing Replenishing Moisturizer for Dry, M          17.95              5    17.95 $      89.75
 887167621725 CVS   Estee Lauder Limited Edition Repair + Renew Skincare Wonders 4 Piece Gift Set                            115.5    98.66     1    115.5 $     115.50
7350071076224 CVS   FOREO LUNA mini 2 Ultra‐hygienic Facial Cleansing Brush All Skin Types Face Massager for Clean            139      139      1     139 $      139.00
 853792007005 CVS   Legendairy Milk Liquid Gold Lactation Supplement, Organic Goat's Rue Lactation Support with M            19.98    19.97     1    19.98 $      19.98
 865571000213 CVS   ORIG3N Genetic Home DNA Test Kit, Beauty                                                                    99              1       99 $      99.00
6986500080060 CVS   Replacement Toner for HP CF280X/CE505X/C120/119II Black                                                     25              1       25 $      25.00
 834893000904 CVS   Juice Beauty STEM CELLULAR Exfoliating Peel Spray‐ Gentle Plant‐Derived Exfoliant for Instant Sk            52              4       52 $     208.00
 810000318063 CVS   Mederma Scar Cream Plus SPF 30, Sunscreen, Protects from Sun Damage, Reduces the Appearan                15.99     8.91   120    15.99 $   1,918.80
 813920019102 CVS   Kate Somerville Liquid ExfoliKate ‚Äì Triple Acid Resurfacing Treatment ‚Äì Clinically Formulated A         24              5       24 $     120.00
 783349000381 CVS   EARVANA Soothing Ear Rinse for Dry Ear Itch                                                              15.95    15.95     2    15.95 $      31.90
 782113101873 CVS   Eaton CH260 Plug‐On Mount Type CH Circuit Breaker 2‐Pole 60 Amp 120/240 Volt AC                          24.04    28.99     5    24.04 $     120.20
 877231008316 CVS   Hourglass Ambient Lighting Blush Luminous Flush .04oz/1.3g NIB                                           23.15              1    23.15 $      23.15
4015165328681 CVS   DOCTOR BABOR Refine RX Detox Vitamin Cream, Anti‐Aging Face Treatment, Evens Skin Tone an                 125               1     125 $      125.00
 765809226234 CVS   NAPA Gold 100010 Oil Filter                                                                                        9.98     2     9.98 $      19.96
 868888000204 CVS   Everlywell Food Sensitivity Test ‐ Learn How Your Body Responds to 96 Different Foods ‐ at‐Hom            199      198      2     199 $      398.00
 883049616841 CVS   KitchenAid Shave Ice Attachment, KSMSIA, White, 4 Molds                                                  99.99   112.21     1    99.99 $      99.99
3337871323332 CVS   Vichy LiftActiv Supreme Anti Wrinkle Eye Cream, Firming Eye Cream with Caffeine for Dark Circle           54.6       35     1     54.6 $      54.60
 883351717137 CVS   Kwikset CP913CNT‐514S Kwikset 913CNT‐S SmartCode Contemporary Single Cylinder Touchpad E                  125               1     125 $      125.00
 858380002035 CVS   As I Am Moisture Milk Daily Hair Revitalizer, 8 Oz (566890)                                              17.99    17.11     9    17.99 $     161.91
 797801032605 CVS   NaturVet ‚Äì Bladder Support for Dogs ‚Äì Plus Cranberry | Supports Healthy Bladder Control & N          15.99    17.99     1    15.99 $      15.99
3614272024861 CVS   Lancome Advanced Genifique Sensitive Serum 20ml/0.67oz                                                      78              1       78 $      78.00
 856541002443 CVS   EBOOST POW Natural Pre Workout Powder ‚Äì 20 Servings ‐ Tropical Punch ‐ A Pre Workout Sup               32.99     29.4     1    32.99 $      32.99
 860000103596 CVS   Moen Flo Smart Water Leak Detector 920‐004, WI‐FI, Real‐time App Notifications, Audible Alarm            49.99    33.95    23    49.99 $   1,149.77
 843246110054 CVS   Grande Cosmetics GrandeMASCARA Conditioning, Black, 0.20 Ounce (Pack of 1)                                  25    24.95    23       25 $     575.00
 811573031151 CVS   Michael todd beauty sonicsmooth 2 in 1 sonic dermaplaning system                                          150               1     150 $      150.00
7350092139151 CVS   FOREO LUNA 3 Facial Cleansing Brush ‐ Sensitive skin ‐ Anti Aging Face Massager ‐ Enhances Abso           139     109.5     8     139 $    1,112.00
 811847034161 CVS   Cremo Spray Cologne, Palo Santo (Reserve Collection), A Combination of Bright Cardamom, Dry P            23.99    19.14     1    23.99 $      23.99
 785007135855 CVS   Legrand Radiant 20A, Self‐Test GFCI Outlet, Ivory                                                         19.2    42.43     2     19.2 $      38.40
 800443405888 CVS   Good2Go Padded Step‐in Dog Harness, Size X‐Large Color Peach                                             34.99              1    34.99 $      34.99
3614273793193 CVS   Lanc√¥me Teint Idole Ultra Wear Buildable Full Coverage Foundation ‐ Longwear & Waterproof ‐                57       57     1       57 $      57.00
 850006169108 CVS   Urban Skin Rx Even Tone Smooth & Glow Enzyme Mask | Radiance‐Boosting Mask Exfoliates and                16.97    15.29     4    16.97 $      67.88
3348901538565 CVS   Dior Capture Totale Cell Energy Super Potent Eye Serum                                                    95.8    69.99     3     95.8 $     287.40
 840026658324 CVS   TOAST'D SWIRL BRONZE SHIMMER POWDER (PECAN SWILLER)                                                         42    24.99     3       42 $     126.00
3614273218993 CVS   Valentino Very Valentino 24 Hour Long Wear Liquid Foundation MR2                                            60              1       60 $      60.00
 783585153780 CVS   Hubbell CSB115W Commercial Specification Switch, Single Pole, 15 amp, 120/277V, Back and Sid              54.5    77.28   110     54.5 $   5,995.00
 850003310558 CVS   TULA Skin Care Secret Solution Pro‐Glycolic 10% pH Resurfacing Toner ‐ Face Toner to Gently Exf             46    37.99     4       46 $     184.00
 842595108071 CVS   Cellucor C4 Ultimate Shred Pre Workout Powder for Men & Women, Metabolism Supplement w                   54.99    36.88     8    54.99 $     439.92
3337875839624 CVS   Vichy Mineral 89 Fragrance Free Cream, 72H Moisture Boosting Lightweight Cream | Hydrating F                32       32     1       32 $      32.00
 810056143336 CVS   Razer Basilisk V3 Customizable Ergonomic Gaming Mouse: Fastest Gaming Mouse Switch ‐ Chrom               69.99       49     4    69.99 $     279.96
 814632014034 CVS   Vector BC15BV 40 Amp High Frequency Battery Charger W/Engine Start/Alternator Check                      174.2       85     1    174.2 $     174.20
 800443511343 CVS   Reddy Puffer Dogs Coat/Jacket Size Small 13/15 Inch Burgundy NWT                                         33.14              3    33.14 $      99.42
 820650853913 CVS   Pokemon Scarlet & Violet 3 Obsidian Flames Elite Trainer Box                                             54.99    39.48     1    54.99 $      54.99
3337872419522 CVS   La Roche‐Posay Toleriane Dermallergo Eye Cream Soothing Repair Moisturizer, Soothes and Com              29.99    29.99     3    29.99 $      89.97
3605971774591 CVS   Urban Decay Brow Blade ‐ Waterproof Eyebrow Pencil & Ink Stain ‐ Dual‐Ended Pencil Fills and D              28       28     2       28 $      56.00
3614271332677 CVS   Yves Saint Laurent Vernis A Levres Vinyl Cream Lip Stain, 412 Rose Mix, 0.18 Ounce                          36    64.99     4       36 $     144.00
9120096770760 CVS   Polaroid Color Film for 600 x40 Pack, 40 Photos (6013)                                                   84.99    84.99     1    84.99 $      84.99
 899484001333 CVS   FELIWAY MultiCat Calming Pheromone, 30 Day Refill ‐ 1 Pack                                               19.99    15.51     6    19.99 $     119.94
 852900006459 CVS   Plexaderm Daily Face Moisturizer ‐ Hyaluronic Acid for Deep Hydration ‐ For All Skin Types, Fragr        39.95    39.95     2    39.95 $      79.90
 856921003411 CVS   Buzzy ‐ Personal Vibrating Ice Pack ‐ As Seen On Shark Tank ‐ Pain Relief for Shots, IVF, Insulin, Tr    49.95    44.95     2    49.95 $      99.90
                    No7 Advanced Ingredients Squalane Capsules ‐ Moisturizing Pure Squalane Oil Helps Skin
5000167322569 CVS   Barrier Repair ‐ Plant Derived Squalane Skin Care Capsules for Daily Use (30 Count)                               11.86    2     11.86 $     23.72
 845423023454                                                                                                               209.93             1    209.93 $    209.93
 856464008430 CVS   Drugconfirm 14 Drugs Tested Home Drug Test Up to 99% Acc. EXP 2030                                       13.94            16     13.94 $    223.04
 884486453396 CVS   Redken Extreme Shampoo | Prevents Hair Breakage & Repair for Damaged Hair | Strengthen and                  25      26     2        25 $     50.00
 850278004046 CVS   Bondi Sands Dark Self Tanning Foam | Lightweight, Self‐Tanner Foam Enriched with Aloe Vera an               24      24     6        24 $    144.00
 765809174108 CVS   NAPA Gold 3521 Fuel Filter                                                                                  20      20     1        20 $     20.00
 804766906565 CVS   Siemens 20 Amp 120‐Volt 1‐Pole Tandem CAFCI Type QTA Circuit Breaker Q2020AFCP                              30             1        30 $     30.00
 811909033675 CVS   Focus Factor Max Strength Brain Supplement for Memory, Concentration & Focus, 120 Count ‐ C              59.99    53.82    1     59.99 $     59.99
8886419345787 CVS   NEW RAZER CYNOSA V2 (RZ03‐03400100‐R3M1) TRUE RGB GAMING KEYBOARD Backlit                                 61.7             1      61.7 $     61.70
 840026652100 CVS   KVD Beauty Good Apple Lightweight Full‐Coverage Cream Foundation Balm Tan 066                            38.99    38.99    1     38.99 $     38.99
 887961951639 CVS   Mega Construx Halo Skull Control                                                                          9.99    79.99    3      9.99 $     29.97
 887167279995 CVS   Estee Lauder Daywear Matte Oil Control Anti‐Oxidant Moisture Gel Cr√®me for Oily Skin, 1.7 Oz               54       42    1        54 $     54.00
 899681002065 CVS   Agadir Argan Oil Daily Moisturizing Conditioner 12.4 Fl.OZ (Pack of 1)                                   16.99    16.99    1     16.99 $     16.99
4020829005730 CVS   Dr. Hauschka Quince Day Cream, Refreshes and Protects, 1.0 fl oz                                            45       45    3        45 $    135.00
 817205010297 CVS   VSC‐DNE ‐ Day/Night Fan Speed Controller                                                                 84.95             1     84.95 $     84.95
 810042480445                                                                                                                29.99             7     29.99 $    209.93
 884486373724 CVS   Lord & Berry MONO Easy Maintenance Slim Makeup Pencil Sharpener ,1 Count (Pack of 1)                      22.5             4      22.5 $     90.00
 857947001092 CVS   Minus33 Kancamagus Men‚Äôs Midweight Base Layer Pants ‐ 100% Merino Wool Bottoms ‐ Mult                  79.99    79.99    1     79.99 $     79.99
 897061002049 CVS   Sunday Riley Good Genes All‐in‐One Lactic Acid Treatment Face Serum                                         85       85    6        85 $    510.00
8011469962978 CVS   SICCE XSTREAM 5000 Wave Maker Flow Pump 1320 GPH | 360¬∞ Adjustable Quiet Submersible                   106.99    82.99    1    106.99 $    106.99
 856541002436 CVS   EBOOST POW Natural Pre Workout Powder ‐ 20 Servings ‐ Berry Melon Fizz ‐ Pre Workout Supple              32.99    29.69    1     32.99 $     32.99
4020829007239 CVS   Dr. Hauschka Firming Mask, 1 Fluid Ounce                                                                    35       35    3        35 $    105.00
3282770153101 CVS   Eau Thermale Avene Hyaluron ACTIV B3 Concentrated Plumping Serum                                            40       40    3        40 $    120.00
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 810569032462 CVS   Keratin Perfect Frizz‐Free Blow Dry Cream ‐ Hair Treatment Made With Natural And Clean Ingred             24    16.33    1       24 $     24.00
 818423020495 CVS   Foligain Triple Action Shampoo For Thinning Hair, Men‚Äôs Volumizing Shampoo, with 2% Trioxid          21.99       20    2    21.99 $     43.98
 800443464793 CVS   Reddy Step‐In Dog Harness Large, Chest: 25‐31 Inch Canvas Brown $50 PETCO!                             19.99            10    19.99 $    199.90
 783250585359 CVS   IDEAL INDUSTRIES INC. 33‐856 VDV Multimedia Voice, Data and Video Cable Tester, Grey                   105.5    34.58    1    105.5 $    105.50
 859975002300 CVS   Andalou Naturals Probiotic + C Renewal Cream, Ivory, Probiotic Plus C, 1.7 Oz                          28.52     17.4    4    28.52 $    114.08
 876065100913 CVS   John Paul Pet Wild Ginger Shampoo for Dogs and Cats, Soothes and Cleanses Adding Moisture an           14.99    12.99    1    14.99 $     14.99
                    Prevagen Improves Memory ‐ Regular Strength 10mg, 30 Chewables |Orange| with
                    Apoaequorin & Vitamin D & Prevagen 7‐Day Pill Minder | Brain Supplement for Better Brain
 894047001393 CVS   Health                                                                                                            29     4       29 $     116.00
 765809177291 CVS   NAPA GOLD 7021 OIL FILTER                                                                              15.84             1    15.84 $      15.84
 850030574008 CVS   BEBIRD Ear Wax Removal                                                                                    10             2       10 $      20.00
 885911590679 CVS   DeWalt 9IN 6TPI 966 5PK                                                                                35.68    28.41    3    35.68 $     107.04
9421017760991 CVS   Trilogy Nutrient Plus Serum, 1.01 Fl Oz ‐ For Ageing Skin ‐ Firm, Smooth & Brighten ‐ Made in New         44       43    1       44 $      44.00
 810000310258 CVS   Mederma Medical Grade Silicone Scar Sheets; Improves The Appearance of Old and New Scars; f            15.99     9.99   87    15.99 $   1,391.13
 811794929169 CVS   FURminator deShedding Tool for Cats Large                                                              39.49    29.99    1    39.49 $      39.49
 895531001127 CVS   Lively Mobile Plus All‐in‐One Medical Alert Device ‐ Must Be Activated Through Lively ‐ Simple Al      49.99    44.99    1    49.99 $      49.99
 884486407139 CVS   Biolage Color Last Purple Shampoo | Neutralizes Brass & Unwanted Yellow Tones | With Fig & O              38    27.99    4       38 $     152.00
 842595105841 CVS   Cellucor C4 Ultimate Shred Pre Workout Powder for Men & Women, Weight Loss Supplement w                54.99    39.99    5    54.99 $     274.95
3337875796583 CVS   Vichy LiftActiv Vitamin C Serum, Brightening and Anti Aging Serum for Face with 15% Pure Vitam         34.99    34.99   12    34.99 $     419.88
 894047001010 CVS   Prevagen Improves Memory ‐ Regular Strength 10mg, 30 Capsules with Apoaequorin & Vitamin D              108     37.95    2     108 $      216.00
 800443578070 CVS   REDDY ~ BLACK ‐ FIBER OPTIC LED DOG HARNESS sz Medium ‐ Heavy Duty! *NEW                               45.99             1    45.99 $      45.99
 783250811021 CVS   IDEAL Industries 200‐Amp Split Jaw Clamp Meter 61‐405                                                  98.75    60.91    1    98.75 $      98.75
 846733031900 CVS   Tarte Shape Tape Powder Foundation ‐ 15n Fair Light Neutral                                                     39.95    1    39.95 $      39.95
 883351592185 CVS   Kwikset 94880‐542 Delta Half‐Dummy Lever In Polished Chrome                                            10.97    26.03   11    10.97 $     120.67
 807648076776 CVS   HEXBUG Wasp, Remote Control Bug, Fake Insect Toy, Motorized Robot Specimen, Gift for Boys a            39.99             7    39.99 $     279.93
3282770204681 CVS   Eau Thermale Av√®ne Cicalfate+ Restorative Protective Cream ‐ Wound Care ‐ Helps Reduce look              42       42    7       42 $     294.00
 840216930605 CVS   Living proof Perfect hair Day Shampoo, 8 oz                                                               34       34   43       34 $   1,462.00
4973028505658 CVS   Ôº≠Ôº≤ÔºéÔº®ÔºØÔº¢Ôº¢ÔºπÔºº„Éü„Çπ„Çø„Éº„Éõ„Éì„Éº MR.HOBBY„Éü„Çπ„Çø„Éº„Éõ„Éì„Éº G                       19.75    19.75    1    19.75 $      19.75
 773602048588 CVS   Lipstick Twig                                                                                             45    42.99    1       45 $      45.00
4715409150046 CVS   14 Inch Standard Cable Ties 100 Pack                                                                   12.99             2    12.99 $      25.98
7630039649074 CVS   Nespresso Aeroccino3 Milk Frother, One Size, Black                                                        99       78    1       99 $      99.00
 821973415376 CVS   Race Face Atlas Pedals Kashmoney, Set                                                                 179.99   164.95    1   179.99 $     179.99
 854150008023 CVS   OKIl 14 Inch T Bar Handle Stainless Steel Cabinet Door Handle 12x350x224mm                             16.99       46    1    16.99 $      16.99
 773602560011 CVS   Eye Brows Big Boost by M.A.C Fling 4.1g                                                                35.38    35.38    2    35.38 $      70.76
 840317106244 CVS   FLEXI New Comfort Retractable Dog Leash (Tape), Ergonomic, Durable and Tangle Free Pet Walk            16.99    15.57    1    16.99 $      16.99
 813920018181 CVS   Kate Somerville Retinol Vitamin C 50ml Firm & Brighten                                                    84     110     1       84 $      84.00
5000167204650 CVS   Early Defence Night Cream                                                                              76.93    17.99    1    76.93 $      76.93
3348901420396 CVS   Christian Capture Youth Age‐Delay Advanced Eye Treatment, 0.5 Ounce/15ml                                  75    62.99    2       75 $     150.00
 765809215962 CVS   NAPA Gold 7526 Oil Filter                                                                                       11.79    1    11.79 $      11.79
3337875650403 CVS   Vichy Capital Soleil Tinted Mineral Sunscreen for Face SPF 60, Titanium Dioxide Face Sunscreen, T      34.99    34.99    6    34.99 $     209.94
 887167561861 CVS   Est√©e Lauder Soft Clean Infusion Hydrating Treatment Lotion 13.5 oz / 400 mL                          23.99    29.98    1    23.99 $      23.99
 767332152325 CVS   Murad Environmental Shield City Skin Age Defense Broad Spectrum SPF 50‐100% Mineral Sunscr                68       69    2       68 $     136.00
 778810844793 CVS   RC Pet Products Venture Outerwear Fleece Lined, Reflective, Water Resistant Dog Coat, Size 30,            58             1       58 $      58.00
 884486437051 CVS   Pureology Smooth Perfection Shampoo | For Frizzy, Color‐Treated Hair | Smooths Hair & Contro              37       37   67       37 $   2,479.00
 813146014028 CVS   Kurgo Dog Seat Cover, Car Bench Seat Covers for Pets, Dog Backseat Cover Protector, Water Res          63.99     35.1    2    63.99 $     127.98
 888066110082 CVS   Tom Ford Soleil Blanc Shimmering Body Oil Mini                                                            58    43.57    3       58 $     174.00
 786676025997 CVS   EATON GFTCB250 Cutler Hammer Ground Fault Circuit Breaker, 50 A, 120/240 Vac, 10 Kaic, 14‐4           237.87   174.99    1   237.87 $     237.87
 859975002294 CVS   Andalou Naturals Goji Peptide Perfecting Cream, 1.7 oz                                                 26.99    12.49    1    26.99 $      26.99
 813920015388 CVS   Kate Somerville Retinol Firming Eye Cream ‚Äì Anti‐Aging Treatment Clinically Proven to Firm, Bri         98       98    5       98 $     490.00
                    No7 Lift & Luminate Triple Action Skincare System ‐ Broad Spectrum Anti Aging Day Cream SPF
                    30 + Vitamin C Anti Wrinkle Face Serum + Collagen Peptide Brightening Night Cream (3 Piece
5000167322941 CVS   Kit)                                                                                                            55.47    4    55.47 $     221.88
 887167500365 CVS   Estee Lauder Pure Color Envy Luxe Eyeshadow Quad ‐ 04 Desert Dunes Eye Shadow Women 0.21                  58     25.1    2       58 $     116.00
3614272860377 CVS   Lanc√¥me R√©nergie H.C.F. Triple Serum ‐ Hyaluronic Acid Serum for Visible Correction of Anti A         140      112     8     140 $    1,120.00
 767332153612 CVS   Murad Vita‐C Glycolic Brightening Serum 10ml                                                           10.88       30    2    10.88 $      21.76
 773602465668 CVS   Eye Brows Styler by M.A.C Stud 9g                                                                         25       25    2       25 $      50.00
 783209173743 CVS   Maxim 57714WTWT Wafer Energy Star JA8 & ADA Compliant Acrylic 10" Round Outdoor Low Pro                   66            13       66 $     858.00
 843246110016 CVS   Grande Cosmetics GrandeLASH‐MD Lash Enhancing Serum, 1 ml ‐ 6‐week starter supply                         36      36     8       36 $     288.00
 773602337958 CVS   Power Repair Age Correction Marine Collagen Cream, 1.7 Ounce                                              77             7       77 $     539.00
 855394003515 CVS   PMD Personal Microderm Pro ‐ At‐Home Microdermabrasion Machine with Kit for Face & Body ‐               199     139.3    2     199 $      398.00
3337872413025 CVS   La Roche‐Posay Mat Oil‐Free Mattifying Moisturizer                                                     35.99    35.99   25    35.99 $     899.75
 882381073961 CVS   Darphin Ideal Resource Perfecting Smoothing Serum for Women, 1 Ounce                                    110      28.5    1     110 $      110.00
 850003310480 CVS   TULA Skin Care Clear It Up ‐ Acne Clearing & Tone Correcting Gel, Salicylic and Azelaic Acid, Clear       38    29.99    2       38 $      76.00
 852900006541                                                                                                               44.9             5     44.9 $     224.50
 850028009055 CVS   True Grace One Daily Women‚Äôs Multivitamin 40+ Fermented Minerals, Organic Adaptogens &               71.95    64.76    2    71.95 $     143.90
3282770111583 CVS   Eau Thermale Av√®ne Moisturizing Melt‐in Balm, Shea Oil Body Butter, Non‐Greasy, Non‐Sticky,              36       36    5       36 $     180.00
 884486178626 CVS   Redken Texture Paste Hair Styling Paste for Definition | Adds Long‐Lasting Style & Definition | Re        23       24    9       23 $     207.00
3282770138856 CVS   Eau Thermale Av√®ne Tolerance Control Soothing Skin Recovery Balm, for Hypersensitive, Dry Sk             38       38   17       38 $     646.00
 858398007633 CVS   NuFACE FIX Serum, .5 Fl Oz.                                                                               49    59.95    8       49 $     392.00
 843813032086 CVS   Cover FX Natural Finish Foundation: Water‐based Foundation that Delivers 12‐hour Coverage an              42             1       42 $      42.00
3474636920198 CVS   Redken Extreme Conditioner | Anti‐Breakage & Protection for Damaged Hair | Strengthen and F               26      26     1       26 $      26.00
 887167530645 CVS   Est√©e Lauder Pro Glow Duo, Valued $123 (serum for $78, UV fluid $45), NEW                             59.91             1    59.91 $      59.91
 817919010668 CVS   IT Cosmetics Your Skin But Better CC+ Cream, Medium (W) ‐ Color Correcting Cream, Full‐Covera             47       47    1       47 $      47.00
 826341042550 CVS   DEWALT 5‐Port Front & Back Seat Mobile USB PD Charger                                                  51.13    42.99    1    51.13 $      51.13
 840072912173 CVS   Jaclyn Luxe Legacy Eyeshadow Palette                                                                   35.79       37    1    35.79 $      35.79
8011003995943 CVS   Versace Pour Homme For Men Eau De Toilette Spray, 1.0 Ounce                                               35     26.5    1       35 $      35.00
 782808630459 CVS   Atlas Homewares 336‐BL Fulcrum Pull, Matte Black                                                       27.94    32.99    1    27.94 $      27.94
 850007159016 CVS   FLEUR & BEE Brightening Moisturizer | Clean, 100% Vegan | Anti Aging, Wrinkle Cream with Vita             75       37    1       75 $      75.00
 887167357433 CVS   Estee Lauder Perfectionist Pro Retinol Moisturizer, 1.7 oz                                                         46    2       46 $      92.00
 813920010000 CVS   Kate Somerville ExfoliKate Intensive Exfoliating Treatment ‚Äì Salicylic Acid and Lactic Acid Super      98        78    2       98 $     196.00
3474630307476 CVS   Serie Expert Vitamino Color Incell Hydro‐Resist Color Protecting Gel‐Masque 6.7oz                        60              1       60 $      60.00
 785901976684 CVS   Square D ‐ HOM120PCAFIC Homeline Circuit Breaker, 20‐Amp, 120V, 1‐Pole CAFCI , Plug‐On Neu              267     39.99    1     267 $      267.00
 767332152721 CVS   Murad Vita‐C Glycolic Serum ‐ Environmental Shield Skin Brightening Vitamin C Face Serum ‐ Hyp           80        88   10       80 $     800.00
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 851557003248 CVS   Camille Rose Coconut Water Leave In Conditioner, 8 oz                                                  14.7    14.49   1      14.7 $     14.70
 850278004053 CVS   Bondi Sands Self Tanning Foam | Lightweight, Self‐Tanner Foam Enriched with Aloe Vera and Coc           24        24   2       24 $      48.00
 765809223998 CVS   NAPA Gold 300020 Fuel Filter                                                                            50        50   1       50 $      50.00
                    Sicce Whale 120 Aquarium Canister Filter 140 GPH | Ultra‐Quiet External Aquarium Multi‐Stage
                    Filtration Filter for Both Freshwater and Saltwater Fish Tanks & Aquariums | Self Priming Quick
8011469957097 CVS   Disconnect                                                                                                    116.41    2   116.41 $     232.82
 887167566248 CVS   Estee Lauder Revitalizing Supreme Light +Global Anti‐Aging Cell Power Creme Oil Free, 1.7 Fl Oz        77.6       60   22     77.6 $   1,707.20
 815413020602 CVS   Sashapure Smoothing & Shine Hair Treatment with Sacha Inchi Oil ‐ Eliminates Frizz, Heat Protec        6.99     9.99    3     6.99 $      20.97
 836213001929 CVS   Logitech for Creators Blue Snowball iCE USB Microphone for Gaming, Streaming, Podcasting, Twi         49.99     48.9    1    49.99 $      49.99
 815266013660 CVS    Bosley Hair Regrowth Treatment Minoxidil Solution 2% Women 1 Months Supply                              17             2       17 $      34.00
                    Everlywell Testosterone Test at‐Home Lab Collection for Men Measures Total T Level ‐ Accurate
 868888000297 CVS   Results from a CLIA‐Certified Lab Within Days ‐ Ages 18+                                                         69     4       69 $     276.00
 843479137279 CVS   SHARPER IMAGE TrueUV Light Sanitizer, Portable and Foldable Ultraviolet Sanitizing Light, Clean       31.58             1    31.58 $      31.58
 842959090523 CVS   CURRENT 48"‐60" inch ColorPlus Freshwater Aquarium LED Light with Smart App and Voice Cont           124.95   124.95    1   124.95 $     124.95
 773602282852 CVS   MAC Extended Play Gigablack Lash Mascara                                                                 26    18.09   12       26 $     312.00
3401329447809 CVS   Bioderma ‐ Face Cream ‐ Hydrabio ‐ Gel Cream Moisturizer ‐ Provides Radiance ‐ Cream Face Mo          28.99    28.99    3    28.99 $      86.97
 884486013842 CVS   Redken Extreme Conditioner | Conditioner for Damaged Hair | Strengthen & Protect Damaged H             20.5             3     20.5 $      61.50
 834893003769 CVS   Juice Beauty Stem Cellular Anti‐Wrinkle Booster Serum with Vitamin C, 1 Fl Oz                            80       80   19       80 $   1,520.00
 884486152022 CVS   Biolage¬†Volume Bloom¬†Condi oner | Volumizing Condi oner | Weightless Moisture For Long‐                23       24    3       23 $      69.00
3614272942608 CVS   Yves Saint Laurent Tatouage Couture Velvet Matte Cream ‐ 201 Rouge Tatouage Lipstick Women               40    38.88    1       40 $      40.00
3614271709349 CVS   Yves Saint Laurent Tatouage Couture Liquid Matte Lip Stain 1 Rouge Tatouage for Women, 0.2 O             37       49    1       37 $      37.00
3380810013252 CVS   Mac Studio Fix Fluid Spf 15 Foundation Nc 10 30ml/1 Oz                                                   39    29.89   11       39 $     429.00
 800443341964 CVS   Petco Brand ‐ Well & Good Model WGNO2 Nail Grinder for Cats                                              12       12    1       12 $      12.00
3282770148763 CVS   Eau Thermale Av√®ne Cicalfate+ Hydrating Skin Recovery Emulsion ‐ Post‐Procedure & Post‐Tatto            38       38    9       38 $     342.00
 768990016677 CVS   Nordic Naturals Nordic Beauty Omega‐3 + Borage Oil, Natural Lemon‐Flavored ‐ 60 Soft Gels ‐ Fis       59.95    50.17    1    59.95 $      59.95
 840163303583 CVS   Garment Presser Feet Kit,Silver                                                                       29.99    39.94    5    29.99 $     149.95
 815266013578 CVS   BosleyMD DHT Blocking Supplements for Men and Women for Thicker, Fuller Hair, 1‐Month Sup                40       40    1       40 $      40.00
 800443435120 CVS   Dogs Camel Green Heavy Duty Harness by Reddy Size XXL/XXXL                                               25             3       25 $      75.00
 840093101402 CVS   Nature's Truth B12 Sublingual Liquid Drops | 10,000 mcg | 2 oz | Fast Acting | Vegetarian, Non‐G       15.8     9.99    4     15.8 $      63.20
 840026658638 CVS   Fenty Beauty by Rihanna Invisimatte Instant Setting + Blotting Powder 0.3 oz / 8.5 ml                          36.99    2    36.99 $      73.98
 857770005663 CVS   COOLA Organic Scalp Spray & Hair Sunscreen Mist with SPF 30, Dermatologist Tested Hair Care fo           28             1       28 $      28.00
 898571000716 CVS   It's a 10 Haircare Silk Express Miracle Silk Hair Mask, 8 fl. oz.                                     34.99    28.73   11    34.99 $     384.89
 859975002546 CVS   Andalou Naturals Turmeric + C Enlighten Serum, Skin Brightening with Vitamin C & Turmeric, Ant        26.99    17.39    4    26.99 $     107.96
 846733013999 CVS   tarte Tartelette‚Ñ¢ In Bloom Clay Eyeshadow Palette 12 x 0.053 oz/ 1.5 g                                 45       52    4       45 $     180.00
 884486151278 CVS   Biolage Ultra Hydra Source Shampoo | Deep Hydrating Shampoo for Very Dry Hair | Moisturizes              42    27.99    1       42 $      42.00
 884486151261 CVS   Biolage Ultra Hydra Source Shampoo | Deep Hydrating Shampoo for Very Dry Hair | Moisturizes              23       24    1       23 $      23.00
 810020170573 CVS   Bondi Sands PURE Self‐Tanning Face Mist | Hydrating Lightweight Formula Gives a Natural Golde          5.27             1     5.27 $       5.27
 840268947132 CVS   Amazon Fire 7 Kids tablet, ages 3‐7. Top‐selling 7" kids tablet on Amazon ‐ 2022 | ad‐free conten    109.99   109.99    1   109.99 $     109.99
 819911012879 CVS   Brondell LES‐30 Silver Toilet‐Mounted Handheld Bidet Sprayer                                             40    63.52    1       40 $      40.00
 868888000273 CVS   Everlywell Sleep & Stress Test ‐ at‐Home Collection Kit ‐ Accurate Results from CLIA‐Certified Lab     199              1     199 $      199.00
4020829007413 CVS   Dr. Hauschka Regenerating Serum, 1 Fl Oz                                                                 90       90    1       90 $      90.00
 786261620279 CVS   NSi Industries, LLC TORK RKP311 Outdoor 120‐Volt Button Photocontrol With Wall Plate ‐ Contro         10.98    17.99    1    10.98 $      10.98
 845620032785 CVS   My Arcade Bases Loaded Pocket Player ‐ Collectible Handheld Game Console with 7 Games (DGU            39.99    17.45    1    39.99 $      39.99
 840163303477 CVS   Home Decor Presser Feet Kit,Silver                                                                    39.99    39.99    4    39.99 $     159.96
3614272936294 CVS   Yves Saint Laurent Tatouage Couture Velvet Cream Matte Liquid Lipstick N212 Rouge Rebel                  45    32.72    1       45 $      45.00
 840163303569 CVS   Quilting Presser Feet Kit,Silver                                                                               44.99    4    44.99 $     179.96
 898571000495 CVS   It's a 10 Haircare Silk Express Miracle Silk Shampoo, 10 fl. oz. (Pack of 1)                             24    14.98   10       24 $     240.00
3605533432198 CVS   Lanc√¥me Advanced G√©nifique Light Pearl Eye Serum ‐ For Under Eye Bags, Puffiness & Fine Lin            80       80    4       80 $     320.00
 814792011904 CVS   REPLACEMENT BLADE Silhouette SD Cameo 12" Die Cutter Machine New,Black                                11.99    11.99    1    11.99 $      11.99
 855011007377 CVS   COOLA Organic Sun Silk Drops and Face Moisturizer with SPF 30, Dermatologist Tested Sunscree             46             1       46 $      46.00
4033651386243 CVS   BeYu Light Reflecting Foundation, Rosy Skin, 1 Fluid Ounce                                               27             8       27 $     216.00
3605970936174 CVS   Urban Decay Anti‐Aging Eyeshadow Primer Potion ‐ Hydrating Eye Primer ‐ Reduces the Appeara              27       27    5       27 $     135.00
 846212032657 CVS   Porter Cable PXCM034‐0184 125‐155 PSI Air Compressor Pressure Switch                                  37.71    40.24    2    37.71 $      75.42
 850008776359 CVS   AG1 ATHLETIC GREENS ‐ Powder               12.7oz/360g ‐ 30 Day Supply                                   72             1       72 $      72.00
 884486437785 CVS   Pureology Strength Cure Blonde Purple Shampoo for Blonde & Lightened Color‐Treated Hair, 9 F             37       37   21       37 $     777.00
 852100007041 CVS   Premium Beard Balm Leave‐In Conditioner by Wild Willies ‐ Natural, Organic Ingredients Promot         10.29    10.29    5    10.29 $      51.45
 849808012200 CVS   BLING BEAUTY Multifunction Blow Out Wand 5 Interchangeable Attachments                                40.45             1    40.45 $      40.45
 765809178236 CVS   Wix Fuel Filter ‐ 33235                                                                               13.94    17.07    2    13.94 $      27.88
7613024122387 CVS   Dust removal system TE DRS‐D #2191207                                                                140.51     145     1   140.51 $     140.51
 765809184046 CVS   NAPA Gold 3491 Fuel Filter                                                                               30       30    1       30 $      30.00
 884486453402 CVS   REDKEN Anti‐Breakage Leave‐In Treatment, Conditioner For Dry, Damaged Hair, Fortifies and He             30       30   21       30 $     630.00
 765809190245 CVS   NAPA Gold 3409 Fuel Filter                                                                            34.99       35    1    34.99 $      34.99
5000167244892 CVS   No7 Restore & Renew Multi Action Eye Cream ‐ Skin Renewing Under Eye Cream for Puffiness an           18.98    16.85    4    18.98 $      75.92
 773602324064 CVS   Mineralize Skinfinish Natural                                                                                  31.32    1    31.32 $      31.32
5050456082919 CVS   Jennifer Lopez Promise Perfume ‐ a Floral Woody Eau de Parfum, 30 ml (1.0 FL OZ)                     138.97       34    1   138.97 $     138.97
 859975002508 CVS   Andalou Natural Purple Carrot + C Luminous Night Cream, Purple Carrot Plus C Luminous, 1.7 Ou         26.99     13.2    1    26.99 $      26.99
5033102808286 CVS   Generic Value Products Hot Pink Ceramic 1" Flat Iron, Dual Voltage, Auto Shut Off, 5 Heat Setting     54.99    54.99   19    54.99 $   1,044.81
 797801059329 CVS   NaturVet Quiet Moments Calming Aid Dog Supplement, Helps Promote Relaxation, Reduce Stres             27.99    29.99   10    27.99 $     279.90
 773602337187 CVS   M.A.C matte lipstick PLEASE ME,1 Count (Pack of 1)                                                             27.15    1    27.15 $      27.15
 850024757172 CVS   By Rosie Jane Eau De Parfum Spray (Dulce) ‐ Clean Perfumes for Women ‐ Essential Oil Mist with           75       75    3       75 $     225.00
5707119047548 CVS   SteelSeries Aerox 3 ‐ Super Light Gaming Mouse ‐ 8,500 CPI TrueMove Core Optical Sensor ‐ Ultra       59.99    56.99    1    59.99 $      59.99
 850000771864 CVS   Wild One Leash ‐ Small ‐ Black                                                                        33.45    33.39    1    33.45 $      33.45
 840098727454 CVS   Artez Pro Series Watercolor Pencils, 72pc #7454                                                          25             3       25 $      75.00
 898571000662 CVS   It's a 10 Haircare Silk Express Miracle Silk Leave‐In Product, 10 fl. oz. (Pack of 1)                 43.26     27.5    8    43.26 $     346.08
9780821220771 CVS   The Bulfinch Illustrated Encyclopedia of Antiques                                                        50     22.2    1       50 $      50.00
 787651760308 CVS   AZO Boric Acid Vaginal Suppositories, Helps Support Odor Control and Balance Vaginal PH with C        20.79    14.95    5    20.79 $     103.95
 883140037446 CVS   Dermablend Quick‐Fix Body Makeup Full Coverage Foundation Stick, Water‐Resistant Body Conc               32       32    1       32 $      32.00
 892828002027 CVS   Dry Eye Formula Advanced Ocular Vitamin (90 ct.)                                                      24.98             9    24.98 $     224.82
 853975005859 CVS   Brusheez¬Æ Kids‚Äô Electric Toothbrush Set ‐ Safe & Effective for Ages 3+ ‐ Parent Tested & App       29.99    19.99    4    29.99 $     119.96
 887167466692 CVS   Futurist Hydra Rescue SPF45 by Estee Lauder 3C2 Pebble 35ml,1.2 Ounce                                 39.56    47.27    2    39.56 $      79.12
 767332601335 CVS   Murad Renewing Eye Cream ‐ Resurgence Multi‐Action Anti‐Aging Eye Cream with Advanced Pep                86       89   10       86 $     860.00
 767332603919 CVS   Murad Targeted Wrinkle Corrector 15ml                                                                 64.98       79   19    64.98 $   1,234.62
 810028774094 CVS   Frida Fertility at‐Home Insemination Set ‐ Collection + Insertion System, Developed with Fertility    49.99    49.99    2    49.99 $      99.98
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5033102833257 CVS   ion One Stroke Volumizing Flat Iron 1 Inch, Auto Shut Off, Tri‐Layer Heaters, Fast Heat Up, Tourm     79.99    79.99      1     79.99 $        79.99
 844278095005 CVS   Whiteside Router Bits 9500 Solid Brass Inlay Kit                                                         49    56.02      2        49 $        98.00
 817636017520 CVS   Olivina Men Shave Brush, Chrome Handle                                                                   33               1        33 $        33.00
3614273774413 CVS   Lanc√¥me Advanced G√©nifique Night Cream ‐ Repairs Skin Barrier Overnight ‐ With Bifidus Preb          100      100       4      100 $        400.00
 784276806473 CVS   Lutron Caseta Switch &amp; Remote‐Wireless Control | 3‐Way Switch | Compatible with Alexa, A          69.95    63.79      1     69.95 $        69.95
 855631006057 CVS   Motorola MG7550 ‐ Modem with Built in WiFi | Approved for Comcast Xfinity, Cox, Spectrum | F         219.99   127.15      1    219.99 $       219.99
 844304089022 CVS   Remotes Unlimited Cpr‐8902 Replacement 5‐button Remote For Gm/suzuki 06‐14                            39.99               1     39.99 $        39.99
 768549200823 CVS   Swarovski Crystal 2008 Annual Large Snowflake Christmas Ornament Box Certificate                     143.45               2    143.45 $       286.90
 840317106336 CVS   FLEXI New Comfort Retractable Dog Leash (Tape), Ergonomic, Durable and Tangle Free Pet Walk           24.99    24.99      1     24.99 $        24.99
 850005524878 CVS   Pet Honesty Hip & Joint Health Max Strength ‐ Natural Joint Supplement with Glucosamine, Ome          41.99    39.95     12     41.99 $       503.88
 800443552520 CVS   Well & Good hassle‐free baths Connector, Aerator, Adapter, Tape & 10ft Hose                           19.99               3     19.99 $        59.97
 818594014507 CVS   Force Factor ProbioSlim Probiotics for Women and Men, Probiotics for Digestive Health to Reduc        69.99     9.74      1     69.99 $        69.99
 884486270276 CVS   REDKEN Beach Envy Volume Texturizing Conditioner, 8.5 Fl Oz                                           17.62               3     17.62 $        52.86
3348901392785 CVS   Capture Youth by Dior Matte Maximizer Serum 30ml                                                         89      89       1        89 $        89.00
 773602048748 CVS   MAC matte lipstick TAUPE                                                                              28.38     24.9     16     28.38 $       454.08
 851044008428 CVS   EverlyWell Collection Kit                                                                             14.49               1     14.49 $        14.49
 840317107517 CVS   FLEXI¬Æ New Classic Retractable Dog Leash (Cord), Ergonomic, Durable and Tangle free Pet Walk         25.99      25       3     25.99 $        77.97
 800443555309 CVS   Well & Good Digestive Enzymes and Probiotics Chewable Tablets for Dogs, Count of 90                             21.5      1      21.5 $        21.50
3666057064494 CVS   Clarins Super Restorative Day Cream | Anti‐Aging Moisturizer For Mature Skin Weakened By Hor           134      134      10      134 $      1,340.00
3145891642025 CVS   Chanel Les 4 Ombres Multi Effect Quadra Eyeshadow 2 g                                                 60.67               2     60.67 $       121.34
 810907027105 CVS   StriVectin Wrinkle Recode Line Transforming Melting Serum, 1 Fl Oz                                       89     62.3      2        89 $       178.00
3522931003532 CVS   Caudalie Premier Cru Dark Circle Correcting Eye Cream, Targets Eight Signs of Aging, a Brightenin        85      85       3        85 $       255.00
                    Active Skin Repair Kids First Aid Spray ‐ Non‐Toxic & Natural Antiseptic for Minor Cuts, Wounds,
 818582012553 CVS   Scrapes, Rashes, Sunburns, and Other Irritations (3oz Spray)                                                   29.97      1     29.97 $        29.97
 840080588964 CVS   Amazon Fire TV Stick 4K, brilliant 4K streaming quality, TV and smart home controls, free and live    49.99               1     49.99 $        49.99
 810390027842 CVS   Cellucor Whey Sport Protein Powder Chocolate | Post Workout Recovery Drink with Whey Prote            29.99    29.99      1     29.99 $        29.99
6291106032895 CVS   HUDA BEAUTY The New Nude Eyeshadow Palette                                                                     43.61      1     43.61 $        43.61
3605972078094 CVS   IT Cosmetics Confidence in a Gel Lotion ‐ Oil‐Free Face Moisturizer ‐ Lightweight & Hydrating ‐ W        49       49      1        49 $        49.00
3605971766800 CVS   Urban Decay All Nighter Waterproof Setting Powder ‐ Lightweight, Translucent Makeup Finishing            35       35     19        35 $       665.00
 840749017781 CVS   Mineral Fusion Lash Curling Mascara, Ridge, 0.57 Ounce                                                18.98               1     18.98 $        18.98
 810053640357                                                                                                             39.88               2     39.88 $        79.76
 888265607024 CVS   SKIN&CO Roma Rosemary & Verbena Body Milk, 7.7 Fl Oz                                                     22               3        22 $        66.00
 810907024210 CVS   StriVectin TL Advanced Light Tightening Neck Cream, 1.7 Fl Oz                                            95               1        95 $        95.00
3614273597470 CVS   Lanc√¥me Le 8 Hypn√¥se Serum‐Infused Voluminizing Mascara ‐ For Voluminized & Plush Lookin               33       33     13        33 $       429.00
 820650853418 CVS   Pokemon TCG: Scarlet & Violet Elite Trainer Box (Random Color) ‚Ä¶                                    42.25    37.94      2     42.25 $        84.50
 810023370840 CVS   Kate Somerville KateCeuticals Lifting Eye Cream | Powerful Anti‐Aging Treatment | Visibly Smoot        140      140      17      140 $      2,380.00
 855757003909 CVS   Probulin Probiotic Extract Facial Serum, 1.01 Ounce                                                   26.49    26.49      1     26.49 $        26.49
 883929728374 CVS   Suicide Squad, The (Blu‐Ray)                                                                          16.98     8.98      1     16.98 $        16.98
 858098007582 CVS   Cremo Distiller's Blend (Reserve Collection) Cologne Spray, A Combination of Kentucky Bourbon,        23.99    44.95      2     23.99 $        47.98
 793950381663 CVS   FLIR DM66 Electrical and Field Service TRMS Multimeter with VFD Mode,Black                           163.99   150.87      1    163.99 $       163.99
 884486453051 CVS   Redken All Soft Mega Shampoo | For Extremely Dry Hair | Moisturizes & Hydrates Severely Dry H            25               5        25 $       125.00
 820650850066 CVS   Pokemon Brilliant Stars Pok√©mon Center Elite Trainer Box                                                89    74.97      2        89 $       178.00
 853564004188 CVS   Honey‐Can‐Do 5‐Piece Starter Kit PER001 White                                                         60.99    36.77      2     60.99 $       121.98
 898571001522 CVS   It's a 10 Blow Dry Miracle H2O Shield ‐ Leave In Weather Protectant Treatment, Frizz Free, Moist         35     18.7      1        35 $        35.00
3605972660442 CVS   IT Cosmetics CC+ Nude Glow Lightweight Foundation + Glow Serum with SPF 40 ‐ With Niacinam               47       27      1        47 $        47.00
3605972689856 CVS   Urban Decay Naked Half Baked Mini Eyeshadow Palette ‐ 6 Bronze‐Toned Neutral Shades ‐ Richly             33       33      5        33 $       165.00
3614229374827 CVS   Gucci Velvet Matte Lipstick 505 Janet Rust                                                               45               3        45 $       135.00
 840098727447 CVS   Arteza 72pc. Soft Pastels Premium Smooth Texture Ideal For Blending & Layering                         38.1               4      38.1 $       152.40
                    ORLANDO PITA PLAY Atmos‐Shield Thermal Heat Protectant Hairspray, Combats Damage
 858763004922 CVS   Caused By Harmful Heat, UV Rays, Humidity, Pollution & Free Radicals, 6.5 Fl Oz                                18.99       5    18.99 $        94.95
 850003310466 CVS   TULA Skin Care Revive & Rewind Revitalizing Eye Cream ‐ Smooth Fine Lines, Dark Circles & Puffi          52    51.85       2       52 $       104.00
 765809177369 CVS   NAPA Gold 7033 Oil Filter                                                                             11.26    11.66       1    11.26 $        11.26
 884486453303 CVS   Redken Color Extend Magnetics Shampoo | For Color‐Treated Hair | Gently Cleanses & Protects              50    34.99       2       50 $       100.00
 855676007996                                                                                                             76.99                9    76.99 $       692.91
 884486151971 CVS   Biolage¬†Volume Bloom¬†Shampoo | Volumizing Shampoo | Lightweight Volume & Shine | For                   23       24       6       23 $       138.00
5060552903346 CVS   Augustinus Bader Women's The Ultimate Soothing Cream, One Size                                         290    245.95       1     290 $        290.00
 765809189270 CVS   NAPA Gold 7303 Oil Filter                                                                                15       15       1       15 $        15.00
 765809222816 CVS   NAPA Gold 100001 Oil Filter                                                                              18       18       1       18 $        18.00
3337872413162 CVS   La Roche‐Posay Glycolic Acid Serum with Kojic Acid and Vitamin B5, Reduces Dark Spots and Disc        44.99    44.99      64    44.99 $     2,879.36
 883349001958 CVS   T3 Lucea ID Digital Ceramic Flat Iron with Touch Interface Interactive HeatID Technology for Auto      249                 1     249 $        249.00
 810020171082 CVS   Bondi Sands Aero Ultra Dark Self Tanning Foam (Travel Size) & Application Mitt                        20.65                1    20.65 $        20.65
 816820021251 CVS   Shea Butter, Avocado & Lychee Conditioner, Moisturizing Blend, for Dry Hair, 16 fl oz (473 ml), a     17.12    17.12       3    17.12 $        51.36
 783643156609 CVS   Siemens Q1515NC Two 15‐Amp Single Pole 120‐Volt Non‐Current Limiting Circuit Breaker                     49    14.79       3       49 $       147.00
 815517023233 CVS   First Aid Beauty Ultra Repair Oat & Hemp Seed Dry Oil: Non‐Greasy and Fragrance Free Oil to No           36       24       1       36 $        36.00
 810014323015 CVS   StriVectin Advanced Retinol Intensive Night Moisturizer, 1.1 Fl Oz                                       79       79       5       79 $       395.00
 773602358038 CVS   MAC Powder Blush ‐ Burnt Pepper Blush Women 0.21 oz                                                      40    21.98       1       40 $        40.00
 811748033270 CVS   Yes To Grapefruit Daily Exfoliating Toner, Brightening Formula To Retexturize & Brighten Your Sk      14.99      5.7       1    14.99 $        14.99
3337875807043 CVS   La Roche‐Posay Toleriane Rosaliac AR Visible Redness Reducing Cream | Color Correcting Face Cr        30.99    30.99      15    30.99 $       464.85
 810023370901 CVS   Kate Somerville Daily Deflector‚Ñ¢ Mineral Sunscreen | Broad Spectrum SPF 40 | PA ++++ | High            54       54       5       54 $       270.00
 792363567725 CVS   ICON Professional "S" Shaped Wrench Set 5pc SAE Chrome ‐ WSSSS‐5 (56772)                              49.26                3    49.26 $       147.78
3614270280757 CVS   Lanc√¥me Advanced G√©nifique Radiance Boosting Anti‐Aging Face Serum ‐ Visibly Hydrates & P              60       48       9       60 $       540.00
 857576008257 CVS   Quip Adult Electric Toothbrush ‐ Sonic Toothbrush with Travel Cover & Mirror Mount, Soft Bristle      39.99    29.99       1    39.99 $        39.99
 896364002879 CVS   Olaplex No.0 Intensive Bond Building Treatment, White, 5.2 Fl Oz                                         30       30       2       30 $        60.00
 846733083367 CVS   Tarte eye shadow pallette with 1 blush                                                                41.05    41.05       1    41.05 $        41.05
                                                                                                                                           24207          $   949,949.44
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Original Search Term Identified by: Product Title                                                                    MSRP (USD)     Amazon US PriceQty    Price        Extended Retail
       316864000194 HSI             AmLactin Daily Moisturizing Body Lotion Bottle with Pump ‐ 14.1oz                        $20.37                   155       $20.37           $3,157.35
       739423555483 HSI             FLORAJEN Triple Action Probiotic 30 Capsules                                             $18.00                   103       $18.00           $1,854.00
        90174409044 HSI             Pureology Research LLC Pureology Hydrate Shampoo 33.8 fl oz                              $64.99                    22       $64.99           $1,429.78
          9531115795 HSI            Paul Mitchell Tea Tree Special Conditioner 10.14 oz                                      $16.50                    83       $16.50           $1,369.50
       755970407716 HSI             Cosequin Maximum Strength + MSM and HA 120 Count (NOT DS)                                $39.99                    32       $39.99           $1,279.68
        47469073404 HSI             Natrol Cognium Focus Capsules 60 Ct                                                      $32.99                    37       $32.99           $1,220.63
          9531115832 HSI            Paul Mitchell Tea Tree Lemon Sage Thickening Shampoo 10 Oz                               $29.27                    41       $29.27           $1,200.07
       730852119673 HSI             Shiseido Bio‐Performance Liftdynamic Serum, 1 oz                                        $295.00                     4     $295.00            $1,180.00
        59184108231 HSI             Kwikset Safe Lock Sh1100dtlip 15 Kw Rcal Rcs Single Cylinder Handleset                   $75.73                    14       $75.73           $1,060.22
       739423777489 HSI             FLORAJEN Triple Action Women s Pre + Probiotic + Cranberry ‐ 30 Capsules                 $31.48                    33       $31.48           $1,038.84
        53514108045 HSI             Grandeur WINWIN_SP_ESET_238 Windsor Solid Brass Single Cylinder ‐ Brass                 $468.75                     2     $468.75             $937.50
       371573117038 HSI             Prosoria Psoriasis Treatment Kit                                                         $27.90                    33       $27.90            $920.70
       730852172852 HSI             Shiseido Ultimune Power Infusing Anti‐Aging Serum, Size: 2.5 FL Oz                       $73.00                    12       $73.00            $876.00
       760823007289 HSI             Black Gold Ascent Verdict Sight 5 Pin .019 RH                                           $279.95                     3     $279.95             $839.85
       731304247463 HSI             UNIV XFR SWTCH 10CRCT 120/240V                                                          $763.22                     1     $763.22             $763.22
       747930131731 HSI             THE CONCENTRATE 100 ML                                                                  $699.99                     1     $699.99             $699.99
        16069003074 HSI             Reese Towpower model ‐ 20111 Fifth Wheel Adapter Harness #6556                           $59.99                    11       $59.99            $659.89
          9531114620 HSI            Paul Mitchell Freeze & Shine Super Spray 55%‐8.5 oz.                                     $20.54                    32       $20.54            $657.28
          9531115207 HSI            Paul Mitchell Tea Tree Lavender Mint Moisturizing Shampoo, 10.14 Oz                      $19.99                    32       $19.99            $639.68
       601842704721 HSI             Trek Commuter Pro RT Flare RT Bike Light Set                                            $209.00                     3     $209.00             $627.00
       420298200010 HSI             REI Co‐op Wonderland 6 Tent                                                             $599.99                     1     $599.99             $599.99
        90174429394 HSI             Redken Extreme Conditioner                                                               $22.99                    26       $22.99            $597.74
          9531132723 HSI            Paul Mitchell Smoothing Super Skinny Serum 8.5 oz                                        $33.99                    17       $33.99            $577.83
        85937806147 HSI             Cuisinart AFR‐25 Air Fryer, One Size, Silver                                            $179.20                     3     $179.20             $537.60
          9531115269 HSI            Paul Mitchell Tea Tree Lavender Mint Moisturizing Conditioner ‐ 10.14 oz                 $15.99                    33       $15.99            $527.67
        70030165154 HSI             ScarAway Active Silicone Scar Spray 3.4 fl oz, Exp 3/24 #5598                            $14.99                    34       $14.99            $509.66
       687735301093 HSI             Good Karma Skincare Set, 4 Pieces ‐ Pacifica Perfumes Inc ‐ UK Seller                    $50.00                    10       $50.00            $500.00
       642889013360 HSI             Fisher 5412 3/4FAUCET 8BSE 10SS                                                         $495.00                     1     $495.00             $495.00
       723554167387 HSI             Royal Pacific 16738 ‐ 24" 9.6 watt 3000K Undercabinet LED Light Bar (8963WH)             $54.59                     9       $54.59            $491.31
        90174422401 HSI             American Crew Defining Paste 3oz #2205496004                                             $19.49                    25       $19.49            $487.25
        13803112962 HSI             Canon 250XL Single Ink Cartridge ‐ Black (6432B001)                                     $239.99        $85.14       2     $239.99             $479.98
          9531115863 HSI            Paul Mitchell Lemon Sage Thickening Conditioner, 10.14 Ounce                             $16.00                    29       $16.00            $464.00
       687735630407 HSI             Pacifica Sugared Amber Dreams Micro‐batch Roll‐on Perfume .33 Fl Oz                      $34.99                    13       $34.99            $454.87
          9531128535 HSI            Paul Mitchell Tea Tree Special Color Conditioner, 10.14‐oz, from Purebeauty Salo         $18.94                    24       $18.94            $454.56
          9531125329 HSI            Paul Mitchell Curls Ultimate Wave Hair Gel 200ml                                         $25.00                    18       $25.00            $450.00
          9531115757 HSI            Paul Mitchell Tea Tree Special Shampoo, 16.9‐Ounce Bottles (Pack of 2) Packagin          $34.54                    13       $34.54            $449.02
       328785003796 HSI             Braun Thermoscan 7 Digital Ear Thermometer Irt6520                                      $112.00                     4     $112.00             $448.00
          9531120614 HSI            Curls Spring Loaded Frizz Fighting Conditioner by Paul Mitchell for Unisex ‐ 6.8         $27.82                    16       $27.82            $445.12
       730852145344 HSI             Shiseido/Ultimune Power Infusing Concentrate Serum 1.6 oz (50 ml)                       $110.00                     4     $110.00             $440.00
       622356581028 HSI             Shark RV913S EZ Robot Vacuum with Self‐Empty Base, Bagless, Row‐by‐Row Cle              $418.00                     1     $418.00             $418.00
       748960353773 HSI             Ruffwear Jacket for Dogs, Windproof and Waterproof, Miniature Breeds, Size: XX           $99.95                     4       $99.95            $399.80
           346322934 HSI            Bosch HS1918 SDS‐max Hammer Steel 6 in. x 25 in. Floor Scraper                          $189.95                     2     $189.95             $379.90
          9531128504 HSI            Paul Mitchell Tea Tree Special Color Shampoo 300ml                                       $18.99                    20       $18.99            $379.80
       660414202881 HSI             BHP Soma Polished Chrome Privacy Lever Set                                               $34.47                    11       $34.47            $379.17
       747872888311 HSI             Giagni Trattoria 33‐in x 22‐in Stainless Steel Single Bowl Drop‐In or Undermount        $369.00                     1     $369.00             $369.00
        83771832636 HSI             CAR & DRIVER Copilot Driving Fatigue Monitoring System Facial Recognition (e15           $92.00                     4       $92.00            $368.00
       670367011249 HSI             Peter Thomas Roth ‐ Lashes To Die For Turbo Conditioning Lash Enhancer                   $90.00                     4       $90.00            $360.00
       681168322090 HSI             SeroVital TriHydrate Solution, 1 Fl Oz                                                   $69.00                     5       $69.00            $345.00
       731398350728 HSI             MRA3507 Usb Car Charger with Micro Usb Cable ‐ White                                     $22.49                    15       $22.49            $337.35
       745129230685 HSI             Sigvaris, Dress Sock Men Size A                                                          $41.16                     8       $41.16            $329.28
       617014101427 HSI             Novaform 14" Comfort Grande Plus Memory Foam Mattress (Cal King)                        $319.97                     1     $319.97             $319.97
       400008905947 HSI             Invicta Mens 18202 Excursion Swiss Made Watch                                           $309.00                     1     $309.00             $309.00
       695529027524 HSI             BULK ‐Lorex 4K Ultra HD Smart Deterrence IP Camera w/ Smart Motion Plus                 $299.99                     1     $299.99             $299.99
       650786000215 HSI             Health Force Vitamineral Green Powder 500 grams                                          $69.95                     4       $69.95            $279.80
       719869527923 HSI             FLA Orthopedics FL37‐8501LSTD PROLITE Compressive Knee Support with Viscoe               $46.00                     6       $46.00            $276.00
       640986036022 HSI             Primal Elements Fiji Cocout Whipped Cream Cleanser, 7 Ounce                              $21.00                    13       $21.00            $273.00
       694036505167 HSI             EZ‐Set BP‐501T‐CI Contemporary Collection Cira Series Passage Door Lever Set, P          $53.00                     5       $53.00            $265.00
          9531132730 HSI            ClicGear Push Cart Mitts                                                                 $36.98                     7       $36.98            $258.86
        82254516346 HSI             A1 Cardone 79‐8737V fits Dodge Ram 1500 2003                                            $257.14                     1     $257.14             $257.14
        50234523202 HSI             InSinkErator F‐HC3300C Hot / Cold Water Dispenser ‐Chrome(Tank SOLD SEPAR               $250.00                     1     $250.00             $250.00
        47871258246 HSI             Kidde P4010DCS‐W Battery Powered Wire‐Free Interconnected Smoke Alarm ‐ W                $24.99                    10       $24.99            $249.90
       650786000123 HSI             Healthforce Nutritionals ‐ Vitamineral Earth Powder ‐ 300 Grams                          $49.95                     5       $49.95            $249.75
           435949318 HSI            Ibm 39y9271 Ibm Netxen 10 Gb Ethernet Expansio N Card For Ibm Bladecenter,              $243.75                     1     $243.75             $243.75
        11499046202 HSI             ImpressArt Lollipop 33 pk 4mm Metal Stamps Uppercase Letters NEW                         $47.78                     5       $47.78            $238.90
       300658150066 HSI             Pataday Once Daily Eye Care Allergy Relief Eye Drops Twin Pack                           $58.45                     4       $58.45            $233.80
        24721999832 HSI             Wagner 5100‐BTU Furno 700 Variable Tempurature Corded Heat Gun with LCD D                $38.60                     6       $38.60            $231.60
       729238155954 HSI             Shiseido Revitalizing Treatment Softener 5 Oz                                            $77.00                     3       $77.00            $231.00
        69055833025 HSI             Breathable Men Xxx‐large Polo With Cat_and_mouse On Shirt Xxx‐large Casual S              $8.54                    27        $8.54            $230.58
        43156231430 HSI             Schlage F62‐CEN‐LAT Century Double Cylinder Handleset                                   $229.71                     1     $229.71             $229.71
       601479886913 HSI             Bontrager Ion 200 RT / Flare RT Light Set                                               $110.00                     2     $110.00             $220.00
          7773999555 HSI            Tech Lighting‐700bceli24s‐led930‐ellis 24 ‐ 24 2w 1 Led Bath Vanity                     $220.00                     1     $220.00             $220.00
        79363008985 HSI             Oneida Moda 75‐Piece Flatware Set                                                       $219.99                     1     $219.99             $219.99
       746817004076 HSI             (1) Beard Guyz Pioneer Set‐ Set Includes 3.4 oz 2‐in‐1 Wash & Tame, 1 oz Micro‐          $18.00                    12       $18.00            $216.00
        54757083175 HSI             Zoeller 1/2‐HP 115‐Volt Cast Iron Submersible Sump Pump #1096 NEW                       $213.99                     1     $213.99             $213.99
        80068888819 HSI             HALO HLB4069FS1EMWR‐6PK                                                                 $207.76                     1     $207.76             $207.76
        12502670827 HSI             Frigidaire FFMO1611L 1.6 Cubic Foot Countertop Microwave                                $199.00                     1     $199.00             $199.00
       608729221692 HSI             Joewell Briskee Combo 5.5" Offset Shear And 40 Teeth Thinner With Case                  $199.00                     1     $199.00             $199.00
       701233713766 HSI             Westalee Artisan Circle Set High Shank ‐ 5pc Part Wt‐artcirset5‐hs 3766                  $99.00                     2       $99.00            $198.00
       730870307809 HSI             Genoptics Aura Essence By Sk‐Ii For Unisex ‐ 1.6 Oz Essence                             $193.38                     1     $193.38             $193.38
          9531115740 HSI            Paul Mitchell Tea Tree Special Shampoo, 10.14 Oz                                         $15.92                    12       $15.92            $191.04
       680474338450 HSI             OCEANE Beauty Pink Pearl Intensive Collagen Boosting Cream, Boost Natural Co            $189.00                     1     $189.00             $189.00
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677869207057 HSI   DC United Bendable Soccer Figure                                                      $46.88             4    $46.88   $187.52
 42928162187 HSI   Camo No. 7 x 1‐7/8 in. L Star Trim Head Protech Coated Deck Screws 350 pk             $61.70             3    $61.70   $185.10
737257870895 HSI   Arcadia Trail Dog Warm Weather Boots M Aqua (5296060)                                 $29.99             6    $29.99   $179.94
612572215807 HSI   ARRIS SURFboard T25 DOCSIS 3.1 eMTA Cable Modem Telephony                            $176.99             1   $176.99   $176.99
 27418102881 HSI   Cadet In‐Wall Electric Wall Heater 1600‐Watt 120/240‐Volt Energy Plus Thermos        $174.99             1   $174.99   $174.99
648357551211 HSI   Cosleeper Arms Reach Luxe Mini Arc Bassinet Infant Bed Bedside Crib Storage G        $174.00             1   $174.00   $174.00
 32664737831 HSI   Eaton Arrow Hart AHCL1430C L14‐30R Color Coded Locking Ultra Grip Connecto            $43.49             4    $43.49   $173.96
716170228914 HSI   Bobbi Brown Crushed Oil‐Infused Gloss, One Size, Sweet Talk                           $24.75             7    $24.75   $173.25
 40102657856 HSI   Andis Pulse Li 5 Cord/Cordless Pet Clipper 73535 Rose Gold                           $170.00             1   $170.00   $170.00
   346429893 HSI   Bosch Hc5071p 1‐1/4" X 21" Sds‐max Speedx Rotary Hammer Bit                           $84.97             2    $84.97   $169.94
701233714152 HSI   Brother High Shank Ruler Foot Starter Kit SAHSRULKIT1                                $169.00             1   $169.00   $169.00
609408012303 HSI   Hey Honey Take It Off Exfoliating Honey Peel Off Mask 1.7 Oz. 50 Ml Brand             $55.69             3    $55.69   $167.07
658580032760 HSI   The Boys: This is Going to Hurt ‐ 50mm Miniatures                                     $32.69             5    $32.69   $163.45
727783900449 HSI   New Chapter Turmeric Force Vegetarian Capsules 400mg 30 Ct                            $14.75            11    $14.75   $162.25
 40082800051 HSI   Hamilton Beach 86650 White Electric Pasta and Noodle Maker, White                    $159.99             1   $159.99   $159.99
660685051133 HSI   Canon PGI‐220 CRTDG PIGMENT BK                                                        $79.99             2    $79.99   $159.98
633911854549 HSI   Chi Turquoise & Silver True Gem Flat Iron                                             $79.99             2    $79.99   $159.98
718103343688 HSI   NXT Technologies NX52345 0.5' USB‐C to HDMI Adapter, White                            $52.99             3    $52.99   $158.97
 90174493197 HSI   NEW 1989 VINTAGE Digital Caliper XL LCD screen Protective Storage Case Includ         $25.79             6    $25.79   $154.74
 11120090093 HSI   BISSELL 2554 Multi‐Surface Wet/Dry Vaccum                                            $154.13             1   $154.13   $154.13
655199635573 HSI   Creative Solutions Ortho Heat Orthopedic Heated Dog / Cat Gray Bed Pad                $76.28             2    $76.28   $152.56
 90174429448 HSI   Olaplex No. 5 Bond Maintenance Conditioner 8.5 FL OZ                                  $30.00             5    $30.00   $150.00
  9531114576 HSI   Paul Mitchell Super Clean Sculpting Gel, 6.8 Oz                                       $14.79            10    $14.79   $147.90
 94925019094 HSI   BREAKER CONNECTICUT ELECTRIC CHALLENGER 20A A120 VPKA120 1‐PL 1/2" TH                 $20.60             7    $20.60   $144.20
762111558978 HSI   Starbucks Fall 2023 Gradient Lemon Yellow Blue Studded Venti 24 Oz. Cold Tum          $48.00             3    $48.00   $144.00
736507011002 HSI   Nature Pure Mineral Santizer for Spas and Hot Tubs ( Sunpurity Alternative )          $47.91             3    $47.91   $143.73
400028633301 HSI   Performance Ultra Bracket Multi‐Lens no‐slip eyewear Gloss White                      $69.99             2    $69.99   $139.98
726000104134 HSI   FOCUSfactor 90 Tablet dietary supplement (90 Tablets)                                 $33.78             4    $33.78   $135.12
  9531115801 HSI   Paul Mitchell Tea Tree Special Conditioner 500ml                                      $22.00             6    $22.00   $132.00
 45242307715 HSI   Milwaukee 48‐20‐5235 SDS Plus Concrete Core Bit 3‐1/8"                                $64.94   $28.99    2    $64.94   $129.88
  8938104432 HSI   Hampton Bay Replacement Glass Shade for 4Light Pewter LED Track Lighting Fixt        $129.00             1   $129.00   $129.00
195166115207 HSI   Magic: The Gathering ‐ Pioneer Challenger Deck 2021 (One sent at random)              $25.67             5    $25.67   $128.35
123453324049 HSI   Women’s Gap Coat Jacket Fur Collar Black Large                                       $128.00             1   $128.00   $128.00
655222274311 HSI   Johnny B By Johnny B Shampoo & Shave Paste 16 Oz                                      $31.00             4    $31.00   $124.00
194249403026 HSI   Drunk Elephant Protini Polypeptide Firming Refillable Moisturizer 1.69 oz / 50 m      $60.00             2    $60.00   $120.00
638060859254 HSI   Filtrete Medium Room True HEPA Air Purifier 150 Sq. Ft. Coverage 18‐5/16 H x 1       $119.99             1   $119.99   $119.99
 20335068865 HSI   Fiskars 3pc Titanium Scissors Set MagentaUPC 020335068865                             $29.99             4    $29.99   $119.96
670875603318 HSI   PhoneSoap Go Battery‐Powered Smartphone Sanitizer & Portable Charger | Pat           $119.95             1   $119.95   $119.95
303951949917 HSI   Natural Made Humco Clove Oil 100% Pure ‐ 1 Oz                                         $29.15             4    $29.15   $116.60
 41260355189 HSI   Shopko Nicotene Mini Lozenges 4 mg 81 lozenges#7533                                   $29.00             4    $29.00   $116.00
735786030537 HSI   Meaningful Beauty Youth Activating Smoothing and Refreshing Eye Serum                 $58.00             2    $58.00   $116.00
 37916445717 HSI   Hudson 43 ‐ 3 Piece Set ‐ Motion Flame Candle ‐white‐ Free Shipping ‐ Brand           $23.00             5    $23.00   $115.00
  8576110345 HSI   Vandoren Contra‐Alto/Contrabass Clarinet Reeds Strength                               $56.99             2    $56.99   $113.98
702685964508 HSI   Indie Lee Squalane Facial Oil ‐ 100% Pure Squalane Oil for Daily Use ‐ Visibly Imp    $37.98             3    $37.98   $113.94
 47431781795 HSI   Marineland ML90617 Advanced LED Aquarium Strip Light Bright Output, 24"              $112.36             1   $112.36   $112.36
 13803151343 HSI   Genuine Canon 251 251 Y Yellow Ink High Capacity OEM NEW Pixma                        $13.99   $26.75    8    $13.99   $111.92
762799041205 HSI   6 Johnson Marine Stainless Steel Turnbuckle 06‐ 100                                   $54.99             2    $54.99   $109.98
737257970618 HSI   Dog Mx HIP & JOINT Large Dogs SAVORY FLAVOR 120 Soft Chews                            $54.99             2    $54.99   $109.98
735078044464 HSI   VTech DECT 6.0 80‐1375‐00 Expandable Cordless Phone ‐ Answering System               $108.00             1   $108.00   $108.00
 98612086284 HSI   Baby Lock Open Toe Hopping Foot Sewing Accessory Bltr16‐ot                           $105.00             1   $105.00   $105.00
 28905866538 HSI   Waxman (8674900)Distinctives 7 Position Deluxe Massager Shower Head/Brush             $34.99             3    $34.99   $104.97
  9531112022 HSI   Paul Mitchell Color Protect Conditioner ‐ 10.14 fl oz                                 $20.59             5    $20.59   $102.95
737257857568 HSI   Top Paw 36" Dog Crate Cover                                                           $49.99             2    $49.99    $99.98
640522564828 HSI   Evertone Derma Chin Fit Facial Toner Massager                                         $99.95             1    $99.95    $99.95
 48231358309 HSI   LG AYSVB01A PTAC Wall Sleeve ‐ 42"                                                    $99.95             1    $99.95    $99.95
 74108381651 HSI   Premium [5eaff8b1144]papermache Valentines Case For Galaxy S5 With Design             $49.49             2    $49.49    $98.98
   346394054 HSI   Bosch JS365 120‐Volt Top‐Handle Jigsaw Kit                                            $97.77             1    $97.77    $97.77
  9531113487 HSI   Paul Mitchell Original The Detangler ‐ 16.9 fl oz                                     $32.48             3    $32.48    $97.44
 12502667360 HSI   Brother® LC3037 Genuine High‐Yield Multi‐Pack Ink, Black/Cyan/Magenta/Yellow          $96.99             1    $96.99    $96.99
 18084844625 HSI   Aveda Volumizing Tonic For Weightless Volume & Shine 3.4 oz NWOB                      $47.75             2    $47.75    $95.50
 51138542528 HSI   3M Paint Cool Flow Odor Valve Respirators 8577 P95                                    $47.57             2    $47.57    $95.14
701233706225 HSI   Westalee Design Flying Bell Curve Triangle Set Of 5 Templates Wt‐fbctset‐ls           $95.00             1    $95.00    $95.00
655100283541 HSI   TRULY Vegan Collagen Booster Anti Aging Face Serum ‐ 1.7 fl oz ‐ Ulta Beauty          $46.16             2    $46.16    $92.32
695866582915 HSI   Dr. Dennis Gross Skincare Alpha Beta¬Æ Extra Strength Daily Peel Pads 30 Treatm       $92.00             1    $92.00    $92.00
 13803254020 HSI   OB *Components are Clean* Canon 045 Cyan Ink Toner Cartidge (1241C001AA)              $45.94             2    $45.94    $91.88
737257320451 HSI   Top Fin led light bubble wall                                                         $89.99             1    $89.99    $89.99
681168175016 HSI   Relacore The Ultimate Super Fat Burning Belly Bulge Kit 2 Part System                 $29.99             3    $29.99    $89.97
630509707348 HSI   Nerf Rival 50X Rounds High Impact Yellow Balls Ammo Bullets HASBRO ‐Ammo R            $17.99   $16.09    5    $17.99    $89.95
  8925155638 HSI   2009832 3 Piece Carbide Oscillating Blade Set                                         $44.97             2    $44.97    $89.94
681168326098 HSI   SeroVital Beauty Suddenlysmooth Gentle Retinall 1 oz.                                 $89.00             1    $89.00    $89.00
 84113571060 HSI   GE APPLIANCES 24" STACKING KIT FOR WASHER & DRYER SILVER WE25X10031D                  $86.05   $36.46    1    $86.05    $86.05
601842202777 HSI   Bontrager Ion Comp R/Flare R City Bike Light Set                                      $84.90             1    $84.90    $84.90
751063146524 HSI   Tumeric Supreme Pain ‐ Gaia Herbs ‐ 120 ‐ Capsule                                     $42.39             2    $42.39    $84.78
 90174491193 HSI   COSMEDIX Eye Genius Brilliant Eye Complex 0.25 Fl Oz Women‚Äôs Luxury Skinc           $42.00             2    $42.00    $84.00
613215001252 HSI   Venossan Usa 3040 Medical Compression Arm Sleeve Small Beige                          $83.25             1    $83.25    $83.25
 19934454186 HSI   Project Source Dover Bathroom Faucet Set Brushed Nickel 2‐handle Mid‐arc              $41.35             2    $41.35    $82.70
 73950268295 HSI   NEW Fuji Film Instax Mini Link 2 Bluetooth Smartphone Printer Clay White NEW          $82.18             1    $82.18    $82.18
658010131421 HSI   Garden of Life Feminine pH Daily Care Probiotic Capsules ‐ 30.0 EA                    $26.99             3    $26.99    $80.97
 97855121899 HSI   Logitech ERGO K860 Wireless Keyboard ‐ Black                                          $80.88             1    $80.88    $80.88
  8236117554 HSI   14 X 1" Flat Head Phillips Wood Screw Brass (100pcs)                                  $39.99             2    $39.99    $79.98
   346515770 HSI   Bosch Blaze Pro Compact Laser Measure ‐ 165‐ft Range GLM165‐40                        $79.97             1    $79.97    $79.97
306969280447 HSI   Boiron Oscillococcinum Homeopathic Medicine ‐ 24 Doses                                $19.99             4    $19.99    $79.96
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 45908132712 HSI   KitchenAid KO8IGSSOHOBA Gourmet 8‐in. Forged Slicing Knife with Sheath, Blac        $19.99            4   $19.99   $79.96
353100296164 HSI   Flonase Allergy Relief Nasal Spray ‐ Fluticasone Propionate ‐ 0.38 fl oz            $15.99            5   $15.99   $79.95
  8957040001 HSI   Logan Original Hand Held Mat Cutter Model 4000                                      $39.90            2   $39.90   $79.80
737257836044 HSI   Great Choice Retractable Reflective+extra Strength 16 Ft Tape Large Pink            $19.90            4   $19.90   $79.60
 98612573500 HSI   Kobalt Universal 3/8‐in Drive Quick‐release Ratchet 87273                           $25.98            3   $25.98   $77.94
737257871762 HSI   Arcadia Trail Hands ‐ Free Leash & Waist Pack ‐ Black ‐ White ‐ Grey                $24.99            3   $24.99   $74.97
660414176885 HSI   Personalized Men Next Mood Swing In 5 Minutes T Shirt Xxx‐large Size Available      $24.99            3   $24.99   $74.97
 72512267226 HSI   Avery Additional Laser/Inkjet Inserts 3 x 4 White 300/Box 5392                      $14.98            5   $14.98   $74.90
  8925138679 HSI   DIABLO DS0909CGP3 9" L x 0.6667 TPI General Purpose Cutting Steel, Carbide          $36.85            2   $36.85   $73.70
633356611424 HSI   We R Memory Keepers Mold Press Release Spray 4oz                                    $18.10            4   $18.10   $72.40
765809151994 HSI   NAPA Gold 3298 Fuel Filter                                                          $35.99            2   $35.99   $71.98
 46135313714 HSI   Sylvania Silverstar 9004 ST/2 Pair Set High Performance Headlight Bulbs NEW         $71.96            1   $71.96   $71.96
725916807085 HSI   Commercial Electric Halophane Nutmeg 5‐Light Chandelier                             $71.95            1   $71.95   $71.95
300239637085 HSI   Oxytrol for Women Overactive Bladder Treatment Patches ‐ 8 ct                       $35.73            2   $35.73   $71.46
745129230678 HSI   Sigvaris, Opaque Women's Size C                                                     $71.24            1   $71.24   $71.24
194587626842 HSI   TRAKK Eye Massager Heat and Vibration Eye Care Device                               $69.99   $50.98   1   $69.99   $69.99
 49625280008 HSI   Celestron 52320 Landscout 10‐30x50 Spotting Scope (Army Green)                      $69.99            1   $69.99   $69.99
 18084803479 HSI   Aveda Color Conserve Conditioner, 6.7 oz                                            $34.99            2   $34.99   $69.98
193150572654 HSI   Nike Unisex‐Adult Brasilia Mesh Backpack ‐ 9.0 (Misc, Yellow/Green)                 $69.95            1   $69.95   $69.95
 93319190487 HSI   SNAP SHIPS Forge Javelin M‐02 Attack Speeder Build to Battle Moving Pieces          $13.98            5   $13.98   $69.90
737257872028 HSI   Arcadia Trail Expandable Backpack Dog Harness Size: Small ‐ Blue ‐ Black            $17.47            4   $17.47   $69.88
 45564606497 HSI   Husky HDA72200 3/8 in. High Performance Air Regulator ‐ OPEN BOX ‐ NEW              $22.99            3   $22.99   $68.97
602004111791 HSI   Zings Pro Eyebrow Palette Medium Deep                                               $34.20            2   $34.20   $68.40
695111002694 HSI   Ageless Male Pro‐T Pump, Nitric Oxide Booster Supplement for Men, 60 Tablets        $17.02            4   $17.02   $68.08
628634940020 HSI   Luna Nectar Heliophilia Glow & Fix Serum                                            $68.00            1   $68.00   $68.00
 59184229004 HSI   Adult's Probiotic, 17 Billion Cells, 60 Capsules                                    $33.81            2   $33.81   $67.62
 76501111330 HSI   Coleman Skydome 4 Person Blue Nights Tent ‐ Blue                                    $65.99            1   $65.99   $65.99
  8576110529 HSI   Vandoren V12 Bb Clarinet Reed, Strength 3, Single                                   $32.99            2   $32.99   $65.98
 97467305991 HSI   Nature's Plus Source of Life Gold Vitamin Tablets ‐ 180 Mini‐Tabs Exp 2024          $65.09            1   $65.09   $65.09
686334502856 HSI   Columbus Electric D2022H10BA 22A Double Pole TStat White                            $64.70   $47.36   1   $64.70   $64.70
765809153455 HSI   3510 Napa Gold Fuel Filter                                                          $63.60            1   $63.60   $63.60
731791021560 HSI   Majestic 3385A                                                                      $21.00            3   $21.00   $63.00
 30878877312 HSI   NWT Solo Classic Collection Black Leather 4‚Äù Briefcase/Attache                    $62.45            1   $62.45   $62.45
 83771827403 HSI   Eazypower 83261 Shock Absorber Tap & Titanium Drill Bit Set, 7/16‐14nc, 23          $15.53            4   $15.53   $62.12
758302034994 HSI   Digipower Is‐pc3dl Car Charger Kit (3.4amp Dual Usb) Ic Chip 4994                   $31.04            2   $31.04   $62.08
  9531112596 HSI   Paul Mitchell Instant Moisture Daily Treatment, 6.8 Oz                              $15.50            4   $15.50   $62.00
 76333135702 HSI   F76160 Purolator Fuel Filter                                                        $62.00            1   $62.00   $62.00
370030628704 HSI   Up And Up Nicotine Lozenge 24 Count 4mg Cherry Flavor                               $61.99            1   $61.99   $61.99
 10521174210 HSI   Putco Metal LED 360 Degree Switch Back White DRL/Amber Flashing Turn Signa          $60.99            1   $60.99   $60.99
 70018006943 HSI   Nioxin System #3 Cleanser Shampoo 10.1 oz                                           $20.00   $21.49   3   $20.00   $60.00
 90174429875 HSI   Olaplex No.6 Bond Smoother Leave‐in Styling Treatment 100ml, 3.3 Oz                 $30.00            2   $30.00   $60.00
 54732600076 HSI   Power Zone Surge Protector Strip, 8 Outlet, 6 cord, Black with USB Port             $29.98            2   $29.98   $59.96
644323999377 HSI   Husky 14 in. 15 Pocket Open Top Supply Tool Bag, Red/Black                          $59.95            1   $59.95   $59.95
317163522899 HSI   API Quick Start Freshwater and Saltwater Aquarium 20 oz.                            $29.95            2   $29.95   $59.90
716170153063 HSI   Bobbi Brown Skin Foundation Cushion Compact SPF 35 (Rich)                           $59.85            1   $59.85   $59.85
 71701101921 HSI   Engine Water Pump‐Water Pump(Standard) Gates 41075                                  $59.47            1   $59.47   $59.47
 90174088157 HSI   Redken Extreme Shampoo 300ml                                                        $29.23            2   $29.23   $58.46
715959279277 HSI   0.75" Fitting Brush [Set of 23]                                                     $57.99            1   $57.99   $57.99
 46716583802 HSI   Tetra Pond Water Garden Pump 125 gph For Small Waterfalls, Filters open box         $28.99            2   $28.99   $57.98
  9531112985 HSI   Mitchell Super Strong Daily Conditioner 10.14 Oz                                    $19.17            3   $19.17   $57.51
 31658108138 HSI   Gardner Bender GS‐387 7 1/2" Linemen's Pliers                                       $11.50            5   $11.50   $57.50
719869530640 HSI   Figure Eight Elastic Ankle Wrap Figure 8 Xl Retail                                  $56.45            1   $56.45   $56.45
765809153073 HSI   3460 Napa Gold Fuel Filter                                                          $55.99            1   $55.99   $55.99
  9531114675 HSI   Freeze & Shine Super Spray by Paul Mitchell for Unisex ‐ 8.5 oz Hair Spray          $27.99            2   $27.99   $55.98
 90174449118 HSI   Paul Mitchell Color Protect Daily Shampoo Gentle Cleansers 10.14oz / 300ml NE       $13.87            4   $13.87   $55.48
 42526916564 HSI   IRWIN 1/2‐in Carbide‐Tipped Cove Router Bit 1901001. B85                            $55.45   $28.16   1   $55.45   $55.45
 26557100570 HSI   Furnace/ Large Appliance Gas Connector 5/8" x 48‚Äù CSSC12R‐48P New In The          $27.50            2   $27.50   $55.00
 46034902668 HSI   New Dirt Devil Endura Express Bagless Compact Upright Vacuum Cleaner UD701          $54.99            1   $54.99   $54.99
 46034902637 HSI   Dirt Devil Upright Vacuum‐Ud20125                                                   $54.49            1   $54.49   $54.49
 47323002458 HSI   iLive Model: DH300Bi HDMI DVD Player                                                $27.00            2   $27.00   $54.00
661430004503 HSI   Skinfix barrier+ Triple Lipid + Collagen Brightening Eye Treatment 0.5 oz / 15 mL   $54.00            1   $54.00   $54.00
 51494100233 HSI   MegaFood Women's One Daily ‐ Daily Multivitamin 60 Tablets Exp 07/2024              $26.99            2   $26.99   $53.98
  8925129332 HSI   Diablo Demo Demon 9in Reciprocating Carbide Saw Blade ‐ DS0906CWS3                  $26.97            2   $26.97   $53.94
 78477067000 HSI   15A 120V AC Grounded Single Pole Switch No CS115‐2WS Leviton New in Box              $5.99            9    $5.99   $53.91
605592724824 HSI   NEXXUS HAIR Nexxus for normal to dry hair restorative system 13.5 oz, pack of 2     $17.96            3   $17.96   $53.88
 77073999555 HSI   JENSEN SMPS‐560 Bluetooth Wireless Speaker with Color Changing LED Lamp             $26.65            2   $26.65   $53.30
400100049242 HSI   Multi‐Purpose Magnifier with LED by Loops & Threads®                                $52.98            1   $52.98   $52.98
619498634408 HSI   Resmed AirFit F20 Replacement Nasal Frame & Cushion System Small 63440              $52.88            1   $52.88   $52.88
 79673009535 HSI   Open Nature Collagen Peptides Protein Powder unflavored 10oz                        $51.92            1   $51.92   $51.92
 48107213985 HSI   New GNC Mega Men 50 Plus Multivitamin ‐ 120 Caplets EXP 06/2025                     $25.49            2   $25.49   $50.98
660414109883 HSI   Medium Wonder Women 1215405_15296511_highway2_orig Navy T‐shirt                     $16.99            3   $16.99   $50.97
749729128618 HSI   Seapora SmartTemp ‐ Dual Digital Heater ‐ 100 W ASEAM12861                          $50.35            1   $50.35   $50.35
 39864027625 HSI   Master Chief Light Up Helmet Costume Accessory Kids HALO Halloween                  $50.17            1   $50.17   $50.17
618786638135 HSI   And Now This Crystal Small Double Hoop Earrings in Silver‐Plate or Gold Plate       $50.00            1   $50.00   $50.00
 90174429882 HSI   Olaplex No.4 Bond Maintenance Shampoo ‐ 8.5oz with no 5 condi on¬†                  $50.00            1   $50.00   $50.00
730852143210 HSI   Shiseido Essential Energy Moisturizing Gel Cream                                    $50.00            1   $50.00   $50.00
311917184371 HSI   Finest Nutrition SAM‐e Double Strength 400 mg Caps, 60 ea                           $49.99            1   $49.99   $49.99
644287999802 HSI   Moving Parts X2 ‐ The next generation X‐Cube                                        $49.99            1   $49.99   $49.99
695111002540 HSI   New Vitality, Ageless Male Max Chewables Tablet, 120 Count                          $49.99            1   $49.99   $49.99
  9531131818 HSI   Paul Mitchell Smoothing Super Skinny Serum 5.1 oz                                   $24.99            2   $24.99   $49.98
  9531112763 HSI   Paul Mitchell Super Skinny Daily Shampoo ‐ 10.14 oz                                 $24.99            2   $24.99   $49.98
626608001661 HSI   Bio‐K + Daily Care Probiotic Supplement Capsules for Adult Men and Women, 30        $24.97            2   $24.97   $49.94
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 90174072514 HSI   Redken 5th Avenue NYC ‐ Color Extend Shampoo 10.10 fl oz                             $12.29            4   $12.29   $49.16
602004144416 HSI   Benefit Cosmetics Letters to Lashes Mascara Set                                      $49.00            1   $49.00   $49.00
 43156247639 HSI   Schlage Lock Company F59STA613CAMRH Oil Rubbed Bronze St. Annes RH Inter             $48.96            1   $48.96   $48.96
 55100283589 HSI   RCA RPJ200 2 in 1 Home Theater Projector Bundle with Fold‐Up 100" Screen             $48.50            1   $48.50   $48.50
699919232123 HSI   It's Sew Simple Quilt Kit Mocha Mojo Complete Quilt Top with Binding                 $48.01            1   $48.01   $48.01
195354301924 HSI   r.e.m. beauty Midnight Shadows Eyeshadow Palette | 8g | Gogo Boots                   $24.00            2   $24.00   $48.00
 85347173020 HSI   Elizabeth Arden Millenium Set: Day Renewal Emulsion + Night Renewal Cream +          $47.99            1   $47.99   $47.99
740985279038 HSI   Calm Paws Dog Caring Collar with Calming, X‐Small                                    $23.74            2   $23.74   $47.48
734737588790 HSI   Silken Slumber Solid and Printed Silk Standard Pillowcase Bedding                    $46.99            1   $46.99   $46.99
628634940112 HSI   Luna Nectar Futurist Retinol Alternative Boosting Serum                              $46.00            1   $46.00   $46.00
 90174424269 HSI   Redken Extend Blondage Conditioner                                                   $22.99            2   $22.99   $45.98
 41260379567 HSI   Simple Truth Plant Based Protein Powder Vanilla Flavor Vegan 21.6 Oz. 612g           $22.99            2   $22.99   $45.98
701233713209 HSI   Artisan Circle Set ‐ Low Shank 5 Pc Partwt‐artset‐ls 3209                            $45.78            1   $45.78   $45.78
 18084807149 HSI   Be Curly Shampoo by Aveda for Unisex ‐ 8.5 oz Shampoo                                $45.63            1   $45.63   $45.63
 35286316002 HSI   NEW Kong Wild WHOLE LARGE ELK ANTLER for Adult Dogs 60 lb + Naturally Shed           $45.34            1   $45.34   $45.34
646630900015 HSI   Healthy Sexy Hair Moisturizing Shampoo and Conditioner ‐ 25.0 fl oz x 2 pack         $45.00            1   $45.00   $45.00
 19912033211 HSI   Aquasource Two Handle Lavatory Faucet Item 27889                                     $45.00            1   $45.00   $45.00
624777008948 HSI   Genuine Health Probiotics, 50 Billion CFU, Daily Care, 15 Diverse Strains, Soy Fre   $44.99            1   $44.99   $44.99
   842034829 HSI   QuickFinder Small Dog Nail Clipper for dogs up to 40 Pounds                          $44.99            1   $44.99   $44.99
311917009896 HSI   Walgreens Extra Strength Turmeric Curcumin Complex 1000 mg Softgels ‐ 120.0          $44.99            1   $44.99   $44.99
739423999485 HSI   Florajen Women s Probiotics Gummies Immune Support Supplement for Urinary            $22.35            2   $22.35   $44.70
 41260367540 HSI   MAXIMUM STRENGTH PROBIOTIC ‐ 3 BOXES 30 VEG CAPS EACH                                $21.99            2   $21.99   $43.98
719978854835 HSI   Cambridge Silversmiths Loretta Satin Flatware Set                                    $43.97            1   $43.97   $43.97
692764328850 HSI   Hair Restoration Laboratories Ultra Strength Hair Regrowth Treatment 2 oz 2pac       $43.95            1   $43.95   $43.95
 24968625112 HSI   Glandex Peanut Butter Soft Chews for Dogs (60 count)                                 $21.75            2   $21.75   $43.50
  8925142904 HSI   Diablo ‐ 7 1|4 Inch ‐ 56 Teeth Hi‐Density Carbide Aluminum Blade                     $42.97            1   $42.97   $42.97
  9531131788 HSI   Paul Mitchell Everyday Conditioner, 8.5‐oz                                           $21.25            2   $21.25   $42.50
192608219004 HSI   Morphe x Maddie Zieglar Palette: The Imagination Palette                             $42.50            1   $42.50   $42.50
 46135362026 HSI   Sylvania 9012 HIR2 Silverstar High Performance Halogen Bulbs Replacement 1 Q         $14.00            3   $14.00   $42.00
765809153844 HSI   Napa NAPAGOLD Fuel Filter 3565                                                       $41.99            1   $41.99   $41.99
652835043884 HSI   Trex Hideaway Steel Fasteners with Screws ‐ Box of 90                                $41.99            1   $41.99   $41.99
 30932340004 HSI   Homedics Sleep Solutions SoundSpa Rejuvenate 6 Nature Sounds; Rain, Ocean            $20.99            2   $20.99   $41.98
 11319131040 HSI   STANSPORT 103‐250 FLASHLIGHT CREE XPE 250 LUMENS                                     $41.38            1   $41.38   $41.38
 30932250051 HSI   Pro Orthopaedic 3100 Padded Knee Brace                                               $40.99            1   $40.99   $40.99
636257171042 HSI   Medi Bayreuth Mediven Compression Stocking Petite Beige Univ 20‐30                   $40.78            1   $40.78   $40.78
191908452036 HSI   Queen 100% Washed Linen Solid Sheet Set Rose ‐ Casaluna™                             $40.00            1   $40.00   $40.00
651536001391 HSI   Beauty Bakerie ‐ Scoops Élysées ‐ Face&body Palette ‐ 3.5g/0.12 Oz                   $40.00            1   $40.00   $40.00
752356835637 HSI   PowerFit Percussion Massager                                                         $39.99            1   $39.99   $39.99
  8576120498 HSI    Of 5 Vandoren Baritone Saxophone Reeds ‐ Strength 3.5, Sr2435                       $39.99            1   $39.99   $39.99
745129230692 HSI   Sigvaris, Dress Sock Men Size B                                                      $39.99            1   $39.99   $39.99
737257489622 HSI   Top Fin AlgaeGone for Ponds Size: 64 Fl Oz                                           $39.99            1   $39.99   $39.99
 36577000525 HSI   Oregon S56T 16 in. Low Profile Xtraguard Premium C‐Loop Chain, Pack ‐ 2              $39.98            1   $39.98   $39.98
   346480245 HSI   Bosch Blaze GLM 20 X 65ft Laser Measure                                              $39.97            1   $39.97   $39.97
 43156195121 HSI   NEW Schlage J170‐SOL Solstice Non‐Turning One‐Sided Dummy Door Lever                  $9.99            4    $9.99   $39.96
 47469076337 HSI   Natrol Cognium Complete, Brain Health, 100 mg Capsules, 60 Ct EXP 12/23 U6A          $19.98            2   $19.98   $39.96
 51144057009 HSI   Les Schwab Quick Fit Diamond Pattern Tire Snow Chains Stock 1553‐s New FREE          $39.95            1   $39.95   $39.95
  8925155560 HSI   Freud America 2009843 U‐Fit Diamond Grit Oscillating Blade                           $39.17            1   $39.17   $39.17
 98612102366 HSI   Baby Lock Anna/Molly / ZEAL 6 Foot Kit #BL30A‐FEET                                   $39.05            1   $39.05   $39.05
673869563971 HSI   Natural Stacks Dopamine Brain Food Morning Support For: Mental Drive 60 Cap          $38.90            1   $38.90   $38.90
  9531112879 HSI   Paul Mitchell Gloss Drops ‐ 3.4 oz                                                   $19.00            2   $19.00   $38.00
 36577547891 HSI   Oregon (571037L) 18 in. 62 Link PowerSharp Replacement Chain for CS1500 Cha          $38.00            1   $38.00   $38.00
  9531125794 HSI   Paul Mitchell Soft Style Super Clean Light 9.5 oz                                    $37.99            1   $37.99   $37.99
746935352264 HSI   Carbon Theory | Charcoal, Tea Tree Oil & Vitamin E Overnight Detox Facial Serum      $18.99            2   $18.99   $37.98
 70018011909 HSI   NIOXIN # 2 Scalp & Hair Treatment 3.38 oz                                            $18.96   $22.50   2   $18.96   $37.92
749694138247 HSI   Shield Security straight Privacy Lever, 2‐3/8 2‐3/4backset, Grade 3, 8247            $37.65            1   $37.65   $37.65
 32886908835 HSI   Southwire 11589984 THHN 12 AWG Solid Red Copper 100‚Äô Wire                          $36.95            1   $36.95   $36.95
123452320028 HSI   Ultimate Therapy Surgical Support Knee High Stockings 21‐30mmhg, Open Toe (          $36.85            1   $36.85   $36.85
765809150201 HSI   WIX Filters ‐ 15020 Heavy Duty Gasket, Pack of 1                                      $6.13            6    $6.13   $36.78
756014456608 HSI   MTN OPS SUPER GREENS Raspberry Sticks 12‐Pack ‐ Health Supplements at Acad           $18.26            2   $18.26   $36.52
324208532102 HSI   B&L Preservision Areds Sf Size 60ct Bausch & Lomb Preservision Areds Eye Vitam       $36.28            1   $36.28   $36.28
  9531115955 HSI   Tea Tree Hair and Body Moisturizer by Paul Mitchell for Unisex ‐ 10.14 oz            $18.00            2   $18.00   $36.00
 27029457769 HSI   Estee Lauder Sumptuous Extreme Lash Multiplying Volume Mascara ‐ FULL size           $11.95            3   $11.95   $35.85
 18084844601 HSI   Aveda Be Curly Conditioner, 6.7 oz                                                   $35.29            1   $35.29   $35.29
706195106045 HSI   Oregon's Wild Harvest Turmeric 120 Gelatin Capsules                                  $35.21            1   $35.21   $35.21
490180247966 HSI   Merona Xs Shirt                                                                      $35.00            1   $35.00   $35.00
311917006611 HSI   Walgreens Digital Ear Scope ‐ 1.0 ea                                                 $34.99            1   $34.99   $34.99
 99198872735 HSI   Kobalt 3/8‐in Drive Quick‐Release Ratchet                                            $34.98            1   $34.98   $34.98
  8925144557 HSI   Diablo 7 1|4 Inch ‐ 48 Tooth Cermet Steel Demon Ferrous Metal Cutting Saw Bla        $34.97            1   $34.97   $34.97
712012877425 HSI   MOP1103000430 Blaze Appetite Suppressant & Energy Capsules                           $34.95            1   $34.95   $34.95
 11499047766 HSI   ImpressArt Austin 3mm Uppercase Metal Stamp 33pc ‐ NEW                               $34.95            1   $34.95   $34.95
  9531112169 HSI   Paul Mitchell Extra‐Body Daily Shampoo‐16.9 oz.                                      $17.45            2   $17.45   $34.90
 41260011221 HSI   Kroger BP3NL1‐1AKRO Automatic‐inflation electronic sphygmomanometer, non             $34.90            1   $34.90   $34.90
737257679139 HSI   Top Fin 150 Watt Aquarium Heater‐ Fits 20‐30 Gallon Aquariums 5253138. Seale         $33.99            1   $33.99   $33.99
660414595013 HSI   Custom Women T‐shirt Cotton Skull With Flowers ‐ White T‐shirt‐ Large Red Typ        $16.99            2   $16.99   $33.98
 41226021950 HSI   DASH‐OF‐THAT EASY‐MOTION LEVER CORKSCREW Black #0655                                 $33.00            1   $33.00   $33.00
 52151313393 HSI   BECKETT 130 GPH Pool Cover Pump (Model: M130APCP) *FREE SHIPPING*                    $32.99            1   $32.99   $32.99
 11491988517 HSI   Impressart Juniper Uppercase Letters Metal Stamps 3mm 33pc, #5122                    $32.95            1   $32.95   $32.95
 40094866502 HSI   Hamilton Beach Single Serve Blender Black Travel Lid 51101B Type B31 New in b        $31.99            1   $31.99   $31.99
740275052655 HSI   Sharper Image Socket Shelf Ultra 8 Port Surge Protector Wall Outlet Extender, 6      $31.99            1   $31.99   $31.99
 28905840200 HSI   Simply Clean 8402100SC Brushed Nickle Finish Handheld Showerhead 6 Settings          $31.99            1   $31.99   $31.99
627442202023 HSI   24pcs Battery Tea Lights Candle Flickering Party Wedding Led Electric                 $7.99            4    $7.99   $31.96
655100283602 HSI   TRULY Women's Vegan Collagen Booster Anti Aging Body Cream ‐ 6 fl oz ‐ Ulta B        $31.90            1   $31.90   $31.90
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764071912586 HSI   Huttigrip 3/8” Electro Galvanized Hammer Tacked Staples A‐11 5000/box                $7.78            4    $7.78   $31.12
 79407093847 HSI   OmniSpark Spark Plug Wire Set ‐ 9384                                                $30.99            1   $30.99   $30.99
400028633486 HSI   PERFORMANCE ULTRA BUTANE MULTI LENS SUNGLASSES Black                                $30.50            1   $30.50   $30.50
 38877619919 HSI   Pfister Auden Tub Faucet Tuscan Bronze (8P8‐WS2‐ADSY) (LSTG23‐0069)                 $30.25            1   $30.25   $30.25
192797843516 HSI   Russell Wilson (seattle Seahawks) Nfl Bronze Figure By Foco, 3516                   $30.00            1   $30.00   $30.00
 43667484226 HSI   Tech‐link Digicom 200 Pair Of Walkie Talkies Dsi Electronics 48610                  $30.00            1   $30.00   $30.00
673419355599 HSI   LEGO Disney Anna and Olaf's Castle Fun 43204 Building Kit                           $29.99   $41.93   1   $29.99   $29.99
765809152175 HSI   3324 Napa Gold Fuel Filter                                                          $29.99            1   $29.99   $29.99
 10586979780 HSI   Dr. Scholl's CF210 Custom Fit Orthotic Inserts 1 pair                               $29.99            1   $29.99   $29.99
 11499046288 HSI   ImpressArt Basic Stamping Kit BKIT1                                                 $29.99            1   $29.99   $29.99
737257786219 HSI   Blondee's Vinyl Removable Wall Decal Love Arrow Creative Wall Sticker                $9.99            3    $9.99   $29.97
127312900030 HSI   Mixed Chicks by Mixed Chicks                                                         $9.99            3    $9.99   $29.97
748960817213 HSI   RUFFWEAR, Crag Dog Leash (Previously The Slackline Leash), Hand‐Held or Wais        $29.96            1   $29.96   $29.96
 48503005061 HSI   Champion Elastic Pullover Wrist Splint, Reversible, X‐Large (0050‐XL)"              $29.95            1   $29.95   $29.95
 43168691420 HSI   GE NIGHTHAWK 9007 NHX Xenon¬†Replacement #8641                                      $29.94            1   $29.94   $29.94
311917213057 HSI   Walgreens Advanced Omega‐3 Fish Oil 500 mg Softgels ‐ 80.0 ea                       $29.90            1   $29.90   $29.90
 35156016803 HSI   Pharmagel BIO‐A Facial Treatment Serum Reduces Wrinkles Anti Aging 1fl oz. #0       $14.85            2   $14.85   $29.70
765809151970 HSI   WIX Filters ‐ 15197 Heavy Duty Gasket, Pack of 1                                    $14.79            2   $14.79   $29.58
 12443980009 HSI   BROTHER P‐Touch TZ Tape 1/2‚Äù TZe‐2312PK Indoor Outdoor Black Print                $14.75            2   $14.75   $29.50
719869530312 HSI   FLA Shoulder Cradle Arm Sling, Universal                                            $14.67            2   $14.67   $29.34
  9531114484 HSI   Paul Mitchell Fast Dry Sculpting Spray, 16.9                                        $29.34            1   $29.34   $29.34
 20335068902 HSI   FISKARS LOOP ROTARY CUTTER 45MM (118410)                                             $9.74            3    $9.74   $29.22
 86839917450 HSI    EZ SET BP‐501TZ‐RY US15 Satin Nickel PASSAGE LOCK #0371                            $29.00            1   $29.00   $29.00
651986705597 HSI   Too Faced Born This Way Turn Up the Light Complexion‐Enhancing Highlighting         $29.00            1   $29.00   $29.00
737257836075 HSI   Great Choice Retractable+Extra Strength 16 ft Tape Leash XL PINK                    $28.99            1   $28.99   $28.99
 40102735356 HSI   Astepro Allergy Antihistamine Nasal Spray 2x120 Sprays Runny Nose EXP 9/2025        $14.49            2   $14.49   $28.98
 90174417933 HSI   Pureology Clean Volume Conditioner, 8.5 Fl Oz,                                      $14.00            2   $14.00   $28.00
735786032418 HSI   Body Firm Crepe Erase Body Smoothing Pre‐Treatment                                  $28.00            1   $28.00   $28.00
 46135356193 HSI   Sylvania Silverstar ZXE 9008 H13 65/55W Head Light Dual Beam High Low NEW!          $28.00            1   $28.00   $28.00
 12505632426 HSI   American Standard 8336230.002 CR Series Toilet Paper Holder Polished Chrome         $27.99            1   $27.99   $27.99
676525821576 HSI   Billion Dollar Beauty Back to Basics Bundle                                         $27.99            1   $27.99   $27.99
737257836105 HSI   Great Choice Retractable + Reflective Leash 16ft ‐ Large Dogs                       $27.99            1   $27.99   $27.99
 89305563595 HSI   Spectre Performance 2518 Fuel Pressure Regulator, Inline, 1‐4 PSI NEW Open Bo       $27.99            1   $27.99   $27.99
719869503910 HSI   10" Perforated Suede Wrist/forearm Splint Left Beige Xl                             $27.72            1   $27.72   $27.72
 74523481110 HSI   Remington S5500 Flat Iron Anti‐Static Technology ‐ Gray                             $27.45            1   $27.45   $27.45
 20335068872 HSI   Fiskars Titanium Coated Softgrip 3 Piece Cutting Scissors Set                       $27.44            1   $27.44   $27.44
765809151741 HSI   Wix 15174 Gasket                                                                    $13.53            2   $13.53   $27.06
673807639607 HSI   Happy Planner Journals and Planners ‐ Colorful Leopard Classic Planner Zip Folio    $26.98            1   $26.98   $26.98
718103349680 HSI   NXT Technologies NX56836 50 CAT‐6 Cable Blue                                        $26.93            1   $26.93   $26.93
646630900008 HSI   Sexy Hair Volumizing Shampoo and Conditioner ‐ 25.0 fl oz x 2 pack                  $26.49            1   $26.49   $26.49
 42429413627 HSI   Irwin 1876225 Screw Bolt Extractor Set Multi‐size Kit, 6‐piece                      $26.08            1   $26.08   $26.08
 46396026873 HSI   40 Volt Rapid Charger For Ryobi 6.0Ah 40 Volt Lithium Battery OP4050 OP40602        $26.00            1   $26.00   $26.00
633955120891 HSI   Graco Flexpro High Performance Airless Hose 3/16”x3’ / 4.8mm X .9m, 826077          $25.99            1   $25.99   $25.99
670367934722 HSI   RicardoPatter Kids Dart, 180, Triple, Dart, Club, Steel,Double.Arrow Design Regu    $25.99            1   $25.99   $25.99
 44902060984 HSI   Generals Multi Pastel Chalk Pencils Lot of 8 #4435 1/2                              $12.99            2   $12.99   $25.98
 76501043020 HSI   Coleman Alpine Sleeping Bag Adult Regular 40°‐60°f 33" X 75" W Carry Handle         $25.97            1   $25.97   $25.97
 11319135260 HSI   STANSPORT HANDHELD SOLAR / DYNAMO POWERED FLASHLIGHT W/ RADIO ü                     $25.00            1   $25.00   $25.00
731398433094 HSI   Craig CC3309 USB Desktop Charging Station with 4 USB Ports in Black                 $24.99            1   $24.99   $24.99
 48503006631 HSI   NEW! WARNER 4‚Äù HEAVY DUTY SCRAPER, DOUBLE EDGE BLADE, FOAM GRIP,                  $24.99            1   $24.99   $24.99
 90174492978 HSI   Redken Color Extend Magnetics Shampoo ‐ 10.1 fl oz                                  $24.99            1   $24.99   $24.99
764651203622 HSI   STUDOR Redi‐Vent with ABS Adapter Valve                                             $24.97            1   $24.97   $24.97
633911900161 HSI   Paul Mitchell Instant Moistute Treatment ‐ 16.9 Oz                                  $24.95            1   $24.95   $24.95
 47431906174 HSI   Marineland Visi‐Therm Submersible Heater 150 Watts 40 Gallon Tanks BRAND N          $24.95            1   $24.95   $24.95
719869537373 HSI   FLA Soft Form Elegant Wrist Support Right ‐ X‐Large                                 $24.79            1   $24.79   $24.79
 37495708425 HSI   Strong Arm Hood Lift Support                                                        $24.79            1   $24.79   $24.79
 90174491391 HSI   Matrix Biolage Colorlast Conditioner                                                $24.00            1   $24.00   $24.00
195354301917 HSI   r.e.m. beauty Midnight Shadows Eyeshadow Palette | 8g | Smitten Kitten              $24.00            1   $24.00   $24.00
749836405022 HSI   StrengthTape Kinesiology Precut Tape, Red, 20 ct                                    $23.99            1   $23.99   $23.99
123452350018 HSI   Microfiber Knee High Stockings 21‐30mmhg Compression                                $23.99            1   $23.99   $23.99
 20335038837 HSI   Fiskars Micro Tip Scissors No. 5                                                    $11.75            2   $11.75   $23.50
 90174446346 HSI   Paul Mitchell Extra‐Body Thicken, 6.8 Ounce                                         $23.50            1   $23.50   $23.50
731398435685 HSI   Craig Electronics CMA3596 CMA3568R‐BK Portable Speaker with Bluetooth Wire          $23.22            1   $23.22   $23.22
  9531125992 HSI   Paul Mitchell Spring Loaded Frizz‐Fighting Shampoo, 8.5 oz, from Purebeauty Sa      $23.00            1   $23.00   $23.00
765809152113 HSI   3318 Napa Gold Fuel Filter                                                          $22.99            1   $22.99   $22.99
740275055861 HSI   Vanity Planet Outlines Main Squeeze Daily Cream Cleanser, 4 Oz | CVS                $22.99            1   $22.99   $22.99
 33991077348 HSI   ‚ö°Ô∏èGilmour Single Hose Outlet Programmable Electronic Water Timer üÜï            $22.96            1   $22.96   $22.96
765809149953 HSI   3036 Napa Gold Fuel Filter                                                          $22.69            1   $22.69   $22.69
723122907025 HSI   Magnilife Fibromyalgia Relief Homeopathic Formula For Aches, Pains 125 Tablet       $11.30            2   $11.30   $22.60
 90174422180 HSI   Paul Mitchell Firm Style Super Clean Extra Finishing Spray                          $22.50            1   $22.50   $22.50
 74108402738 HSI   Conair Cordless Petite Straightening Comb ‐ Blue/Rose Gold Unbound Petite           $22.45            1   $22.45   $22.45
680079650193 HSI   Sharper Image Traxx Fitness Tracker Circuit Wireless Activity Tracker Bluetooth ‐   $22.16            1   $22.16   $22.16
 37916445700 HSI   3 Piece Set ‐ Motion Flame Candle ‐white                                            $21.99            1   $21.99   $21.99
 37916441825 HSI   Hudson 43 Motion Flame Led Candle ‐ Set Of 3 ‐ Bisque Color                         $21.99            1   $21.99   $21.99
 37495955393 HSI   Hudson Motion Flame Led Candle Set Of 3 Real Wax Pillar ‐ White                     $21.99            1   $21.99   $21.99
 32664755699 HSI   Eaton SGF15W‐3‐L2 15 A GFCI Residential Decorator Outlet ‐...                       $21.95            1   $21.95   $21.95
 85805238407 HSI   Brand NEW ‐‐TP‐Link TL‐WN823N N300 USB Wireless Network Adapter                     $10.95            2   $10.95   $21.90
 96316086036 HSI   Reptile Pet Habitat Lighting UVB Fluorescent Desert T8 Light Bulb, 15 Watt NIB      $21.19            1   $21.19   $21.19
731791021553 HSI   Majestic 3385A                                                                      $21.00            1   $21.00   $21.00
 20335069480 HSI   FISKARS TRIGGER ROTARY CUTTER 60MM (185330)                                         $10.49            2   $10.49   $20.98
 39564123511 HSI   Perform Tool W80628 Brake Rotor and Tread Depth                                     $20.98            1   $20.98   $20.98
737257452107 HSI   Top Paw Retractable Leash (Large, Black)                                            $10.48            2   $10.48   $20.96
  9531113265 HSI   Paul Mitchell Awapuhi Shampoo, 10.14‐oz                                             $20.89            1   $20.89   $20.89
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719869536048 HSI   FLA Soft Fit Suede Right Finish Wrist Brace, Beige, X‐Large                           $20.75             1   $20.75   $20.75
 76333135801 HSI   Coleman 2000014977 Adult Rain Suit Large, Black                                       $20.71             1   $20.71   $20.71
 90174422210 HSI   Redken Color Extend Blondage Shampoo ‐ 10.1 fl oz                                     $20.49             1   $20.49   $20.49
   346351804 HSI   Bosch 85266MC 1/2 in. x 1 in. Laminate Carbide‐Tipped Router Bit                      $20.38             1   $20.38   $20.38
  9531113081 HSI   Paul Mitchell Shampoo One ‐ 10.14 oz                                                  $20.35             1   $20.35   $20.35
695866580317 HSI   Dr. Dennis Gross Skincare Alpha Beta¬Æ Ultra Gentle Daily Peel Pads for Sensitiv      $20.00             1   $20.00   $20.00
655222274373 HSI   Johnny B Original Pomade 3 Oz                                                         $20.00             1   $20.00   $20.00
 47871096367 HSI   Maintenance Warehouse | Kidde Smoke Alarm | 10 Year Sealed Battery | #2101            $20.00             1   $20.00   $20.00
634114014075 HSI   Carbon Theory | Vitamin E & Tea Tree Oil Breakout Control Facial Moisturiser |        $19.99             1   $19.99   $19.99
 41226438086 HSI   Dash of That Santoku Knife Set ‐ Silver‐Black 3 Piece                                 $19.99             1   $19.99   $19.99
765809151130 HSI   Napa Gold 3190 Fuel Filter A13                                                        $19.99             1   $19.99   $19.99
 46065563838 HSI   Sylvania H1 SilverStar Ultra High Performance Halogen Headlight 2‐Bulbs OPENB         $19.99             1   $19.99   $19.99
643334547607 HSI   TYPE S Plug & Glow‚Ñ¢ HyperBright‚Ñ¢ 12" LED Lighting Extension Strip                 $19.99             1   $19.99   $19.99
 43667486107 HSI   Vornado Flippi V6 Personal Air Circulator Fan, Bliss Blue                             $19.99             1   $19.99   $19.99
702460102002 HSI   Walking Jacket Metpet Msrp 19.99                                                      $19.99             1   $19.99   $19.99
718813501576 HSI   Save The Date Backdrop 300 Paper Cones 1 Jute Rope 50 Yd 1576                          $9.99             2    $9.99   $19.98
474690763376 HSI   Natrol Cognium Focus Brain Health & Focus Supplement 60 Capsules                      $19.98             1   $19.98   $19.98
605100003236 HSI   1. Sanar Naturals Collagen Wrinkle Formula Capsules ‐ 120.0 ea                        $19.98             1   $19.98   $19.98
 39564114953 HSI   Power Torque 12v Lith‐ion Compact Reciprocating Saw Kit Ptt0014                       $19.97    $10.44   1   $19.97   $19.97
 75020048776 HSI   Philips Sonicare For Kids HX6321/02 *Accessories Only*                                $19.95   $252.51   1   $19.95   $19.95
748960757311 HSI   RUFFWEAR ‐ Hoopie Collar, Monument Valley, Medium (2018)                              $19.95             1   $19.95   $19.95
748960943851 HSI   RUFFWEAR ‐ Hoopie Collar, Obsidian Black, Medium (2018)                               $19.95             1   $19.95   $19.95
 28905422901 HSI   Plumb Craft Waxman 7644200T Universal Flush Lever Handle                               $9.94             2    $9.94   $19.88
 29769239810 HSI   Balmex Adult Care Rash Cream Zinc Oxide 11.3% Soothe Protect Skin Gentle 12 o         $19.35             1   $19.35   $19.35
  9531112930 HSI   Paul Mitchell Super Strong Shampoo, 10.14 Ounce                                       $19.26             1   $19.26   $19.26
758302064342 HSI   Mizco Ie‐acp‐cell, Black, Iessentials, 3‐in‐1 Travel Charger                          $19.01             1   $19.01   $19.01
300654274032 HSI   Alcon Pataday Twice Daily Relief 5ml 0.17 Fl Ounce                                    $19.00             1   $19.00   $19.00
765809153271 HSI   Napa NAPAGOLD Fuel Filter 3483                                                        $18.99             1   $18.99   $18.99
  8925135616 HSI   DIABLO 9 in. 14/18 TPI SD Bi‐Metal Reciprocating Saw Blades for Medium Metal          $18.97             1   $18.97   $18.97
 54321903007 HSI   Monogram Brass MB141CP Decorative Air Gap With Brass Cap ‐ Chrome                     $18.89             1   $18.89   $18.89
765809153707 HSI   WIX Filters ‐ 15370 Heavy Duty Gasket, Pack of 1                                      $18.73             1   $18.73   $18.73
756014456622 HSI   MTN OPS SUPER GREENS Raspberry Sticks 12‐Pack ‐ Health Supplements at Acad            $18.26             1   $18.26   $18.26
634114043174 HSI   Carbon Theory | Charcoal, Tea Tree Oil & Mineral Mud Breakout Control Face M          $17.99             1   $17.99   $17.99
 48231373456 HSI   3 Pack ‐ Replacement Refrigerator Air Filter Fits LG LT120F (LT120)                    $8.94             2    $8.94   $17.88
 15794091035 HSI   Empire 540‐24 24" I‐Beam Level                                                        $17.49             1   $17.49   $17.49
765809151833 HSI   WIX Filters ‐ 15183 Heavy Duty Gasket, Pack of 1                                      $17.02             1   $17.02   $17.02
 41226021660 HSI   HD Designs Grill Instant Read Digital Thermometer                                     $17.00             1   $17.00   $17.00
681035018309 HSI   General Hawkeye NCIT100 Non‐contact Infrared Thermometer                              $16.99             1   $16.99   $16.99
 45855006005 HSI   Zebra Mildliner Double Ended Markers 18 Pcs Blue New                                  $16.99             1   $16.99   $16.99
100560770745 HSI   Ultimate Therapy Surgical Support Knee High Stockings 21‐30mmhg, Open Toe             $16.95             1   $16.95   $16.95
 50428333778 HSI   Little Tikes TOBI Robot Kids Digital Wifi Touchscreen Smartwatch! Pink, Camera        $16.14             1   $16.14   $16.14
 30699731800 HSI     üåüOSTEO BI‐FLEX JOINT HEALTH INFLAMMATORY RESPONSE 30CT SUPPLEME                   $16.00             1   $16.00   $16.00
371730000371 HSI   ims & hers Glide Lubricant ‐ 2.0 oz                                                   $15.99             1   $15.99   $15.99
 14817302615 HSI   ~ Kenra ~ Platinum Blow‐Dry Spray 3.4 oz ~TRAVEL SIZE~ NEW~                           $15.99             1   $15.99   $15.99
 50375026112 HSI   NEW Water Flossing System Cordless Rechargeable Dental Hygiene FREE SHIPPI            $15.99             1   $15.99   $15.99
 25638500104 HSI   Aleve Pain Reliever/Fever Reducer Caplet 220mg 270 Ct. exp 4/2024                     $15.98             1   $15.98   $15.98
 90174439423 HSI   Paul Mitchell Tea Tree Lemon Sage Thickening Shampoo 10.14 oz                         $15.95             1   $15.95   $15.95
765809151789 HSI   WIX Filters ‐ 15178 Heavy Duty Gasket, Pack of 1                                      $15.77             1   $15.77   $15.77
 36577000136 HSI   Oregon 16‐Inch Semi Chisel Chain Saw Chain Fits Makita, Skil, Solo S58                $15.74             1   $15.74   $15.74
 17801141863 HSI   Feit Electric LED Dimmable A 19 60 Watt Bulb                                           $7.77             2    $7.77   $15.54
765809152144 HSI   Wix 15214 Auto Part                                                                   $15.13             1   $15.13   $15.13
  9531111971 HSI   Color Protect Shampoo by Paul Mitchell for Unisex ‐ 16.9 oz Shampoo                   $15.00             1   $15.00   $15.00
400000100791 HSI   ines Intimates Plus Size Nordic Naughty & Nice Sleep Pant                             $14.99             1   $14.99   $14.99
765809153868 HSI   Wix 15386 Gasket                                                                      $14.99             1   $14.99   $14.99
 76280114836 HSI   Solaray Vitamin D‐3 and K‐2 60 Capsules 125 mcg 50 mcg Bone Strength VegCap           $14.98             1   $14.98   $14.98
400000350783 HSI   By Suprema Essentials by Catherines Plus Size Suprema Mesh Trim Scoopneck, W          $14.97             1   $14.97   $14.97
  9531113470 HSI   Paul Mitchell The Conditioner Leave In Moisturizer And Conditioner 10.14 oz.          $14.90             1   $14.90   $14.90
765809150348 HSI   Wix 15034 Auto Part                                                                    $4.95             3    $4.95   $14.85
 35061711510 HSI   Pharmagel Pharma‐C Serum NIB #09                                                      $14.85             1   $14.85   $14.85
765809150959 HSI   Wix 15095 Gasket                                                                      $14.79             1   $14.79   $14.79
719869539780 HSI   ProLite arm elbow support knitted pullover, large, size : 10 ‐ 11 1/2 inches, beige   $14.67             1   $14.67   $14.67
765809151499 HSI   Wix 15149 Gasket                                                                      $14.61             1   $14.61   $14.61
 76753054560 HSI   Good Cook Precision 7‚Äù Santoku Knife 05457 ‐ BUY MORE & SAVE!!!                     $14.60             1   $14.60   $14.60
765809153721 HSI   Wix 15372 Gasket                                                                      $14.57             1   $14.57   $14.57
 77341102113 HSI   LED Innovation Multicolor Ultra Bright Dome Light Kit Custom 23862                    $14.50             1   $14.50   $14.50
765809152052 HSI   NAPA Gold 3308 Fuel Filter                                                            $14.40             1   $14.40   $14.40
765809152106 HSI   Wix 15210 Gasket                                                                      $14.32             1   $14.32   $14.32
 90174403363 HSI   Biosilk Silk Therapy Original Cure 1‐ 5.64 Fl Oz Bottle And 1 2.26                    $14.24             1   $14.24   $14.24
765809150881 HSI   WIX Filters ‐ 15088 Heavy Duty Gasket, Pack of 1                                      $14.24             1   $14.24   $14.24
765809152014 HSI   WIX Filters ‐ 15201 Heavy Duty Gasket, Pack of 1                                      $14.13             1   $14.13   $14.13
 78477639801 HSI   Leviton GFTR1‐03T Light Almond 15 A Tamper Resistant Receptacle                       $14.00             1   $14.00   $14.00
 28444909581 HSI   Marvy Uchida Graffiti Fabric Permanent Markers 30Pc. Set                              $14.00             1   $14.00   $14.00
194250014822 HSI   Rouge Essentiel Silky Cr√®me Lipstick Mini                                            $14.00             1   $14.00   $14.00
 90174183715 HSI   Paul Mitchell Extra Body Sculpting Hair Gel, 6.8 Oz                                   $13.99             1   $13.99   $13.99
765809151932 HSI   Wix 15193 Gasket                                                                      $13.99             1   $13.99   $13.99
765809150898 HSI   Wix 15089 Auto Part                                                                   $13.97             1   $13.97   $13.97
765809153363 HSI   WIX Filters ‐ 15336 Heavy Duty Gasket, Pack of 1                                      $13.90             1   $13.90   $13.90
765809150423 HSI   WIX Filters ‐ 15042 Heavy Duty Gasket, Pack of 1                                      $13.87             1   $13.87   $13.87
765809151222 HSI   WIX Filters ‐ 15122 Heavy Duty Gasket, Pack of 1                                      $13.80             1   $13.80   $13.80
758302034987 HSI   Digital Power Is PC3D Car Black Universal Mobile Device Charger Mobile Device          $6.88             2    $6.88   $13.76
765809151949 HSI   WIX Filters ‐ 15194 Heavy Duty Gasket, Pack of 1                                      $13.76             1   $13.76   $13.76
765809152236 HSI   Wix 15223 Auto Part                                                                   $13.69             1   $13.69   $13.69
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 765809152748 HSI   Wix 15274 Gasket                                                                    $13.61             1    $13.61    $13.61
  91212068384 HSI   Olfa Endurance Rotary Blade 45mm 2‐pk                                               $13.50             1    $13.50    $13.50
 765809151826 HSI   WIX Filters ‐ 15182 Heavy Duty Gasket, Pack of 1                                    $13.50             1    $13.50    $13.50
 765809151918 HSI   WIX Filters ‐ 15191 Heavy Duty Gasket, Pack of 1                                    $13.46             1    $13.46    $13.46
 765809151376 HSI   Wix 15137 Gasket                                                                    $13.37             1    $13.37    $13.37
 765809152083 HSI   WIX Filters ‐ 15208 Heavy Duty Gasket, Pack of 1                                    $13.27             1    $13.27    $13.27
 719869542506 HSI   Florida Orthopedics 19‐602: SAFE‐T‐SPORT NEOPRENE TENNIS ELBOW STRAP W              $13.25             1    $13.25    $13.25
  11110042439 HSI   2 Pack Microban Bissell Microfiber Reusable Steam Mop Pads 66w4 Brand               $13.21             1    $13.21    $13.21
 765809151956 HSI   WIX Filters ‐ 15195 Heavy Duty Gasket, Pack of 1                                    $13.16             1    $13.16    $13.16
  72879294804 HSI   DRITZ NOTIONS 740‐9‐T DRITZ FASHION GROMMET KIT WHITE 8PC W TOOL..1/2               $12.99             1    $12.99    $12.99
  29194412024 HSI   Lewis n Clark Global Travel Plug Adapter includes USB Charger and Travel Case       $12.98             1    $12.98    $12.98
  41226438116 HSI   2 Pack‐ Kroger Smile Sonic Pro Compare to Philips Sonicare Gum Health 3 Heads       $12.50             1    $12.50    $12.50
 196365874261 HSI   Apple iPhone Car Mount with MagSafe ‐ heyday™ Gray/Gold                             $12.49             1    $12.49    $12.49
  30932310021 HSI   (small) ‐ Pro Orthopaedic 3100 Padded Knee Brace. Free Shipping                     $12.00             1    $12.00    $12.00
  76753067430 HSI   Stainless Steel Ice Cream Scoop GOODCOOK With Trigger Release                       $12.00             1    $12.00    $12.00
 192350529635 HSI   Autocraft 200 Lumens Emergency Multi‐Tool Flashlight                                $11.99             1    $11.99    $11.99
 644911985164 HSI   Magnolia Home Fragrance Garden Scent 3.5 Ounce Boxed Moisturizing Hand Cre          $11.99             1    $11.99    $11.99
  48503004538 HSI   Wrist Splint Brace Support Elastic Pull Over Medium 6‐8" Right / Left Beige Nude    $11.95             1    $11.95    $11.95
  39864008761 HSI   Camp Cocktails: Easy, Fun and Delicious Drinks for the Great Outdoors               $11.20             1    $11.20    $11.20
  83771832612 HSI   Eazy Power 83262 7/1620nf Tap & Titanium Drill Bit Set 2 Piece                      $11.07             1    $11.07    $11.07
  27557282550 HSI   Lutron DVW‐600PH‐IV / Ivory 600W Contemporary Dimmer Model DVW‐600PH‐               $10.75             1    $10.75    $10.75
  31604018825 HSI   Nature Made CoQ10, 100 mg, 40 Softgels Dietary Supplement EXP 6/25                  $10.75             1    $10.75    $10.75
  79893123738 HSI   Bright Green Water Pitcher Replacement Filter Cartridge NEW Sealed                  $10.59             1    $10.59    $10.59
  70018049193 HSI   Nioxin 3 Scalp & Hair Treatment Colored Hair Light Thinning 3.38 oz                 $10.50   $22.10    1    $10.50    $10.50
  12611504174 HSI   American Standard 7418300.002 ‐ COVER PLATE ONLY ‐ Chrome ‐ read                    $10.50             1    $10.50    $10.50
  41260381607 HSI   Kroger Smile Sonic Pro Advanced clean sonic rechargeable w/ timer Sealed NEW        $10.00             1    $10.00    $10.00
 765809153370 HSI   WIX Filters ‐ 15337 Heavy Duty Gasket, Pack of 1                                    $10.00             1    $10.00    $10.00
  45908133191 HSI   1 Pack Satco S9582 LED Filament 12‐Inches Bulb 6.5W =60W T9 Clear E26 120V 2         $9.85             1     $9.85     $9.85
  20105987150 HSI   Durasharp 4 Pack Stainless Steel Scissors Blue Handle                                $9.53             1     $9.53     $9.53
 737257615021 HSI   Grreat Choice Car Harness for Dogs 60‐120 lbs.X‐ Large                               $9.50             1     $9.50     $9.50
 705954061618 HSI   Just Wireless 06168 Portable Power Bank 4000 mAh Gray                                $9.00             1     $9.00     $9.00
  93573317767 HSI   Cricutjoy Blade and Housing; g28                                                     $8.99             1     $8.99     $8.99
  32929421314 HSI   Dataproducts¬†Inkjet Cartridge replaces HP 564XL High Yield CMY Color Ink 3‐Pa       $8.88             1     $8.88     $8.88
  21130892075 HSI   LVLUP Pro Gaming Mouse with DPI Switch ‐ BRAND NEW FREE SHIPPING!                    $8.88             1     $8.88     $8.88
 681131230131 HSI   Blackweb Portable Bluetooth Audio Receiver                                           $8.85             1     $8.85     $8.85
  24964274697 HSI   Mag‐torch Mt 625 13 Piece Woodburning Kit                                            $8.36             1     $8.36     $8.36
 737257786103 HSI   Blondee's Inspirational Quote Wall Decal Ability Motivation Attitude Wall Sticke     $7.99             1     $7.99     $7.99
 765809153158 HSI   NAPA Gold 3470 Fuel Filter                                                           $7.99             1     $7.99     $7.99
 765809153233 HSI   NAPA Gold 3479 Fuel Filter #3233                                                     $7.49             1     $7.49     $7.49
  91654920431 HSI   Roscoe Fingertip Pulse Oxygen Heart Oximeter ‐ NEW FAST FREE SHIPPING!!!             $7.15             1     $7.15     $7.15
  11546247798 HSI   EasyFlex Replacement Brush Heads pack of 3                                           $6.00             1     $6.00     $6.00
 192608239255 HSI   Morphe 2 M2 Always Online Gel Liner                                                  $6.00             1     $6.00     $6.00
 765809149762 HSI   NAPA Gold 3007 Fuel Filter                                                           $5.99             1     $5.99     $5.99
 765809151888 HSI   WIX Filters ‐ 15188 Heavy Duty Gasket, Pack of 1                                     $5.99             1     $5.99     $5.99
   1506030650 HSI   How to Start a Mentally Handicapped Adult Training Business (Beginners Guide)        $5.49             1     $5.49     $5.49
 765809150096 HSI   WIX Filters ‐ 15009 Heavy Duty Gasket, Pack of 1                                     $1.69             3     $1.69     $5.07
  37916456270 HSI   Purina FortiFlora Dog Supplement ‐ 30011, 1 Sachet                                   $4.81             1     $4.81     $4.81
 765809153882 HSI   WIX Filters ‐ 15388 Heavy Duty Gasket, Pack of 1                                     $4.59             1     $4.59     $4.59
 321130700661 HSI   1. Signature Care Eye Drops High Performance / LIQUID                                $3.99             1     $3.99     $3.99
 765809151871 HSI   WIX Filters ‐ 15187 Heavy Duty Gasket, Pack of 1                                     $3.10             1     $3.10     $3.10
 765809153240 HSI   Wix 15324 Gasket                                                                     $2.30             1     $2.30     $2.30
 765809151277 HSI   Wix 15127 Gasket                                                                     $1.99             1     $1.99     $1.99
 765809153387 HSI   WIX Filters ‐ 15338 Heavy Duty Gasket, Pack of 1                                     $1.99             1     $1.99     $1.99
 765809150171 HSI   WIX Filters ‐ 15017 Heavy Duty Gasket, Pack of 1                                     $1.59             1     $1.59     $1.59
 765809153080 HSI   Wix 15308 Gasket                                                                     $1.21             1     $1.21     $1.21
 765809150089 HSI   Wix 15008 Gasket                                                                     $0.97             1     $0.97     $0.97
 765809153783 HSI   WIX Filters ‐ 15378 Heavy Duty Gasket, Pack of 1                                     $0.94             1     $0.94     $0.94
 765809152021 HSI   Wix 15202 Gasket                                                                     $0.90             1     $0.90     $0.90
 418563200032 HSI   REI Co‐Op Half Dome SL 2 Tent & Footprint                                                              1     $0.00     $0.00
 660559015421 HSI   T Shirt Green Bewbs Custom Xx‐large Sheets Women                                                       2     $0.00     $0.00
 848061045017 HSI    Anker 2‐Port PowerDrive 33W Power Delivery Car Charger (with 6' PowerLine S        $24.70             1    $24.70    $24.70
 887243062572 HSI    CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Front (4‐Pad S        $51.19             3    $51.19   $153.57
 887243060950 HSI    CARQUEST Wearever Platinum Professional Semi‐Metallic Brake Pads ‐ Rear (4‐        $51.19            10    $51.19   $511.90
 827204112830 HSI    Dual Electronics Universal Back‐Up Camera: Full Color Camera Wide Viewing An       $36.49             1    $36.49    $36.49
 850027424194 HSI    Feliway Happy Family Enhanced Calming Diffuser Refill 2p                           $23.98            24    $23.98   $575.52
3614273256322 HSI    Giorgio Armani Must‐Have Lip & Eye Makeup Gift Set                                 $22.80             1    $22.80    $22.80
3614272489363 HSI    Lancome UV Expert Mineral CC Cream ‐ 3                                             $40.00             3    $40.00   $120.00
 773602567966 HSI    MAC Cosmetics Powder Kiss Liquid Lipcolour in Sorry Not Sorry at Nordstrom         $45.17             2    $45.17    $90.34
 821661861850 HSI    Mysa Smart Programmable Wi‐Fi Thermostat for Electric Baseboard Heaters,          $139.00             3   $139.00   $417.00
 810097970120 HSI    Nutribullet PRO Matte All White 9‐Piece                                            $99.99             1    $99.99    $99.99
 896364002923 HSI    Olaplex No.0 Intensive Bond Building Treatment 5.2 oz                              $26.50             1    $26.50    $26.50
 844050007387 HSI    Quilter's Select 40 Pk Prewound Bobbin Ring ‐ Black & White, Class 15              $47.99             1    $47.99    $47.99
 800443488362 HSI    Reddy Small Dog Harness X‐Small Green Neck 11‐12 in                                $33.99             6    $33.99   $203.94
 800443434512 HSI    Reddy Tan Canvas Dog Harness, XX‐Large/3X‐Large, Burgundy                          $49.99             9    $49.99   $449.91
 855385008697 HSI    Sagely Naturals Relief & Recovery Active Roll‐On ‐ 2.0 oz                          $22.33             2    $22.33    $44.66
 841058013310 HSI    Schick Hydro 5 ‐ 12 Cartridges ‐ Sensitive Skin ‐ With Herbal Extracts ‐           $29.10             1    $29.10    $29.10
 810819031436 HSI    Smile Direct Club Bright On Premium Teeth Whitening Pens ‐ 4 Whitening Pens        $30.00             1    $30.00    $30.00
 810055452705 HSI    SodaStream Gaia Sparkling Water Maker ‐ White                                      $69.00             1    $69.00    $69.00
 884475023692 HSI    Speedmetal Folding Adjustable Billet Clutch Lever Honda CBR600RR / CBR             $44.97             1    $44.97    $44.97
 892316000115 HSI    Susan Posnick Cosmetics Concealer, M11, 0.14 Ounce                                 $90.35             4    $90.35   $361.40
 792363573191 HSI   *NEW* Hercules Brushless 20v Oscillating Multi‐Tool, Tool Only, 57319, HCB42B       $79.99             2    $79.99   $159.98
 887243064521 HSI   1. CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Front (4‐Pad        $40.79             1    $40.79    $40.79
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 887243065771 HSI   1. CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Front (4‐Pad       $39.99         1    $39.99      $39.99
 887243060738 HSI   1. CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Rear (4‐Pad        $50.39         3    $50.39    $151.17
 887243061766 HSI   1. CARQUEST Wearever Platinum Professional Semi‐Metallic Brake Pads ‐ Front        $47.99         6    $47.99    $287.94
 788459035001 HSI   1. Route‐a‐corner Router Corner Templates, Set Of Six (6) Pcs. Made In The Usa.    $39.99         1    $39.99      $39.99
 841938001062 HSI   11‐Inch Flushmount Ceiling Light                                                   $28.95         4    $28.95    $115.80
 792363627962 HSI   12 in. SDS Max Type Masonry Chisel Bit Set 3 Pc                                   $120.46         1   $120.46    $120.46
 873172082057 HSI   123 Copy DVD Gold 2014 (PC)                                                        $49.99         1    $49.99      $49.99
 873172082071 HSI   123 Copy Dvd Platinum ‐ Windows                                                    $58.43         1    $58.43      $58.43
 841938023057 HSI   14‐Inch Flushmount Ceiling Light                                                   $40.65         6    $40.65    $243.90
 812149010044 HSI   15 Amp 3‐Way Wall Switch ‐ White ‐ Package of 10                                   $37.00         6    $37.00    $222.00
 810976030747 HSI   16 Ft. LED Tunable White Tape Light Kit‐ Under Cabinet Light                       $60.00         3    $60.00    $180.00
 765809175471 HSI   3597 Napa Gold Fuel Filter                                                         $32.99         1    $32.99      $32.99
 817005022353 HSI   3doodler Start Set, 3d Doodle Pen 100 Multi Colored Plastic Pieces,                $29.99         1    $29.99      $29.99
 826341042826 HSI   6014428 Jobsite Pro Wireless Bluetooth Behind‐the‐Neck Headphones                  $59.97         1    $59.97      $59.97
 792363016377 HSI   7 Pc. Brad Point Wood Drill Bit Set 3/8" Shank                                     $10.29         1    $10.29      $10.29
1168630612242 HSI   AA Aquarium AAU V24¬†W UV Steriliser                                               $99.99         1    $99.99      $99.99
 863594000142 HSI   Abdominal Discomfort 90 Tabs by Atrantil                                           $23.99        10    $23.99    $239.90
4718201798065 HSI   ACTi E62A IP Camera 3 Megapixels White                                            $457.00         1   $457.00    $457.00
7640126630526 HSI   Alchimie Forever Firming Gel For Neck And Bust ‐ 8.0 fl oz                         $26.00        13    $26.00    $338.00
3614271722164 HSI   All Hours Full Coverage Matte Foundation Bd25 Warm Beige                           $60.00         1    $60.00      $60.00
3614271722157 HSI   All Hours Full Coverage Matte Foundation Br10 Cool Porcelain                       $60.00         2    $60.00    $120.00
6925699900124 HSI   allen + roth 3‐Piece Forsyth Oil‐Rubbed Bronze Decorative Bathroom Hardware        $49.98         1    $49.98      $49.98
 861272000323 HSI   AllSource Drug Detector 14 Panel Home Drug Test                                    $29.97         4    $29.97    $119.88
 818594013968 HSI   Alpha King Supreme Testosterone Booster for Men with Fenugreek Seed and As         $68.33         1    $68.33      $68.33
 877060001755 HSI   Alpine Mountain Gear 130 Lumen Multi Focus Head Lamp                               $20.01         5    $20.01    $100.05
 877060001762 HSI   Alpine Mountain Gear Multi Focus Head Lamp, Black, 300 lm                          $32.12         5    $32.12    $160.60
 899234001309 HSI   Amberen Multi‐Symptom Menopause Relief ‐ 60 CAPSULES ‐ 30 Day Supply EXP           $39.99         2    $39.99      $79.98
 899234001262 HSI   Amberen, Multi Symptom Perimenopause Relief, 60 Count                              $29.99        58    $29.99   $1,739.42
 848061059526 HSI   Anker ‐ USB C Hub, 4‐in‐1 USB‐C, with 60W PD, 3 USB‐A, 1 USB‐C ‐ Gray              $28.90         1    $28.90      $28.90
3614273666411 HSI   ARMANI beauty Luminous Silk Face & Undereye Concealer in No. 1.5 at Nordstro       $39.00         8    $39.00    $312.00
 840098727461 HSI   Artez Pro Series Colored Pencils, 72pc                                             $30.99         3    $30.99      $92.97
4712900294439 HSI   ASUS 90IG02T1‐BM0000 AC1300 Wireless Dual Band USB Adapter, black                  $56.00         5    $56.00    $280.00
5060552903506 HSI   Augustinus Bader The Ultimate Soothing Cream in Refill at Nordstrom, Size 1.7 O   $275.00         1   $275.00    $275.00
 857186005042 HSI   Bactrack ‐ T60 Personal Breathalyzer ‐ White                                       $69.99        25    $69.99   $1,749.75
7630043523728 HSI   Bernina Medium Embroidery Frame with Clips ‐ 215 x 215 mm ‐ The Perfect Solu      $349.00         2   $349.00    $698.00
 898711002617 HSI   Beverly Hills Daily Age Revolution Spf 15 1.47 Oz Set Of Two Nwb                   $40.29         1    $40.29      $40.29
 874822005822 HSI   Bio Ionic 1.25 Inch Long Barrel Ceramic Curling Iron ‐ Open Box, New              $104.30         1   $104.30    $104.30
 843992054398 HSI   Biolage ‐ Hair Treatment 13.50 fl oz                                               $19.99         2    $19.99      $39.98
 867528000147 HSI   BIOMILK Probiotic Skincare Restore and Nurture Body Lotion, 100% Natural Prob      $25.00         4    $25.00    $100.00
 810029622325 HSI   Biossance Squalane + Omega Repair Deep Hydration Moisturizer 3 oz / 100 mL         $60.00         6    $60.00    $360.00
 859049007828 HSI   Biossance Squalane + Probiotic Gel Moisturizer 50ml                                $54.00         1    $54.00      $54.00
 810029620666 HSI   BIOSSANCE Squalane + Vitamin C Rose Oil, Green Bottle, 30ml                        $74.00         5    $74.00    $370.00
 860000781848 HSI   Black Girl Sunscreen Make It Matte Sunscreen ‐ SPF 45 ‐ 1.7 fl oz                  $39.99         1    $39.99      $39.99
4020684586641 HSI   Blanco Lomis‐S 518716 High‐Pressure Tap Fitting Brushed Stainless Steel Silver    $598.00         1   $598.00    $598.00
 850817006159 HSI   BleedStop Nosebleed Strips 3 Count                                                 $17.99         2    $17.99      $35.98
 810053640159 HSI   BlendJet ‐ 2 Portable Blender ‐ Royal                                              $44.95         1    $44.95      $44.95
 810053640357 HSI   BlendJet 12 Oz One Plus Portable Blender, Mint                                     $39.88         2    $39.88      $79.76
 810053640005 HSI   BlendJet 2 Portable Blender, Black                                                 $49.95         6    $49.95    $299.70
 879686004066 HSI   Blue Hawk Single Flint Striker                                                      $2.98         1     $2.98       $2.98
 848364062285 HSI   Blue Moon Studio™ UV Resin Craft Hoop Earring Starter Kit                          $49.99         7    $49.99    $349.93
 800443221808 HSI   Bond & Co. Black Leather Spike Dog Collar, Extra Large, X‐Large                    $17.50         1    $17.50      $17.50
 800443286166 HSI   Bond & Co. Genuine Leather Lead for Dogs in Black, Large                           $14.99         2    $14.99      $29.98
 800443330395 HSI   Bond & Co. Gray Suede Leather Dog Leash, 5 ft., Small, Grey                        $17.50         2    $17.50      $35.00
 800443434970 HSI   Bond & Co. Pink & Colorblocked Reversible Dog Harness, Medium                      $19.99         1    $19.99      $19.99
 800443227442 HSI   Bond & Co. Suede Leather Dog Lead in Dark Brown, 5 ft.                             $24.99         1    $24.99      $24.99
 800443221327 HSI   Bond & Co. Turquoise & Buff Rope Dog Leash, 6 Ft                                   $29.99         1    $29.99      $29.99
 819459015738 HSI   Boogie Board Scribble n' Play® Kids Drawing Tablet Case                            $34.99         5    $34.99    $174.95
5000167244458 HSI   Boots No7 Men Sensitive Care Moisturiser                                           $17.98         1    $17.98      $17.98
 850000196032 HSI   Botanical Face Cream Day Suzi's Lavender 2.3 oz Cream                              $15.95         1    $15.95      $15.95
4549292073560 HSI   Canon 045 Yellow Toner For Lbp610c Factory Sealed/genuine/dated 2018               $99.99         1    $99.99      $99.99
4549292124347 HSI   Canon 054 Toner Cartridge ‐ Magenta ‐ Series Lbp620c ‐ (cr)                        $49.99         2    $49.99      $99.98
3348901420488 HSI   Capture Youth New Skin Effect Enzyme Solution by Christian Dior for Women ‐ 5      $65.00         3    $65.00    $195.00
 887243065085 HSI   Carquest Platinum Professional Ceramic Brake Pads ‐ Rear (4‐Pad Set)               $44.79         1    $44.79      $44.79
 887243066259 HSI   CARQUEST Wearever Platinum Ceramic Brake Pad Set w/ Hardware                       $47.99         1    $47.99      $47.99
 887243060288 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ (4‐Pad Set)           $63.19         1    $63.19      $63.19
 887243063470 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ (4‐Pad Set)           $44.79         1    $44.79      $44.79
 887243063548 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ (4‐Pad Set)           $33.59         1    $33.59      $33.59
 887243064446 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ (4‐Pad Set)           $42.39         1    $42.39      $42.39
 887243059992 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Front (4‐Pad S        $51.99         1    $51.99      $51.99
 887243060189 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Front (4‐Pad S        $54.39         1    $54.39      $54.39
 887243060561 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Front (4‐Pad S        $49.59         1    $49.59      $49.59
 887243060622 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Front (4‐Pad S        $51.19         1    $51.19      $51.19
 887243060745 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Front (4‐Pad S        $38.39         1    $38.39      $38.39
 887243060776 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Front (4‐Pad S        $47.99        10    $47.99    $479.90
 887243060875 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Front (4‐Pad S        $50.39         1    $50.39      $50.39
 887243060899 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Front (4‐Pad S        $49.59         1    $49.59      $49.59
 887243060974 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Front (4‐Pad S        $43.99         1    $43.99      $43.99
 887243061629 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Front (4‐Pad S        $50.39         1    $50.39      $50.39
 887243061704 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Front (4‐Pad S        $55.19         1    $55.19      $55.19
 887243061773 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Front (4‐Pad S        $47.99        12    $47.99    $575.88
 887243062169 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Front (4‐Pad S        $57.59         1    $57.59      $57.59
 887243062671 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Front (4‐Pad S        $46.39         1    $46.39      $46.39
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 887243063524 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Front (4‐Pad S    $39.99         1   $39.99    $39.99
 887243063746 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Front (4‐Pad S    $37.59         1   $37.59    $37.59
 887243063975 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Front (4‐Pad S    $45.59         1   $45.59    $45.59
 887243064163 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Front (4‐Pad S    $40.79         1   $40.79    $40.79
 887243064880 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Front (4‐Pad S    $47.19         1   $47.19    $47.19
 887243064934 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Front (4‐Pad S    $49.59         1   $49.59    $49.59
 887243065177 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Front (4‐Pad S    $42.39         1   $42.39    $42.39
 887243065245 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Front (4‐Pad S    $45.59         1   $45.59    $45.59
 887243065429 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Front (4‐Pad S    $42.39         1   $42.39    $42.39
 887243065764 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Front (4‐Pad S    $37.59         1   $37.59    $37.59
 887243065801 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Front (4‐Pad S    $74.99         1   $74.99    $74.99
 887243065818 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Front (4‐Pad S    $47.99         1   $47.99    $47.99
 887243065856 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Front (4‐Pad S    $47.19         1   $47.19    $47.19
 887243065887 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Front (4‐Pad S    $43.19         1   $43.19    $43.19
 887243065917 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Front (4‐Pad S    $43.19         1   $43.19    $43.19
 887243066204 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Front (4‐Pad S    $47.99         1   $47.99    $47.99
1049546318087 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Front (4‐Pad S    $43.19         2   $43.19    $86.38
 887243059985 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Rear (4‐Pad Se    $35.99         1   $35.99    $35.99
 887243060011 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Rear (4‐Pad Se    $50.39         1   $50.39    $50.39
 887243060035 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Rear (4‐Pad Se    $55.19         1   $55.19    $55.19
 887243060226 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Rear (4‐Pad Se    $54.39         1   $54.39    $54.39
 887243060240 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Rear (4‐Pad Se    $50.39         1   $50.39    $50.39
 887243060523 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Rear (4‐Pad Se    $47.99         1   $47.99    $47.99
 887243060608 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Rear (4‐Pad Se    $39.19        12   $39.19   $470.28
 887243060882 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Rear (4‐Pad Se    $49.59         1   $49.59    $49.59
 887243061100 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Rear (4‐Pad Se    $47.19         1   $47.19    $47.19
 887243061223 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Rear (4‐Pad Se    $59.99         1   $59.99    $59.99
 887243061230 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Rear (4‐Pad Se    $49.59         1   $49.59    $49.59
 887243061315 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Rear (4‐Pad Se    $50.39         1   $50.39    $50.39
 887243061445 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Rear (4‐Pad Se    $46.39         1   $46.39    $46.39
 887243061506 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Rear (4‐Pad Se    $54.39         1   $54.39    $54.39
 887243061711 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Rear (4‐Pad Se    $52.79         1   $52.79    $52.79
 887243061797 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Rear (4‐Pad Se    $55.19         1   $55.19    $55.19
 887243061889 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Rear (4‐Pad Se    $49.59         1   $49.59    $49.59
 887243061902 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Rear (4‐Pad Se    $49.59         1   $49.59    $49.59
 887243062053 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Rear (4‐Pad Se    $56.79         1   $56.79    $56.79
 887243063814 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Rear (4‐Pad Se    $44.79         1   $44.79    $44.79
 887243064514 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Rear (4‐Pad Se    $46.39         1   $46.39    $46.39
 887243064576 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Rear (4‐Pad Se    $43.99         1   $43.99    $43.99
 887243065092 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Rear (4‐Pad Se    $47.19         1   $47.19    $47.19
 887243065207 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Rear (4‐Pad Se    $45.59         1   $45.59    $45.59
 887243065443 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Rear (4‐Pad Se    $38.39         1   $38.39    $38.39
 887243065481 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Rear (4‐Pad Se    $47.99         1   $47.99    $47.99
 887243065511 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Rear (4‐Pad Se    $47.19         1   $47.19    $47.19
 887243065740 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Rear (4‐Pad Se    $40.79         1   $40.79    $40.79
 887243066273 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Rear (4‐Pad Se    $47.99         1   $47.99    $47.99
 887243066280 HSI   CARQUEST Wearever Platinum Professional Ceramic Brake Pads ‐ Rear (4‐Pad Se    $47.19         1   $47.19    $47.19
 887243061278 HSI   CARQUEST Wearever Platinum Professional Semi‐Metallic Brake Pads ‐ (4‐Pad Se   $42.39         1   $42.39    $42.39
 887243062107 HSI   CARQUEST Wearever Platinum Professional Semi‐Metallic Brake Pads ‐ (4‐Pad Se   $54.39         1   $54.39    $54.39
 887243062848 HSI   CARQUEST Wearever Platinum Professional Semi‐Metallic Brake Pads ‐ (4‐Pad Se   $27.99         1   $27.99    $27.99
 887243063289 HSI   CARQUEST Wearever Platinum Professional Semi‐Metallic Brake Pads ‐ (4‐Pad Se   $51.19         1   $51.19    $51.19
 887243063463 HSI   CARQUEST Wearever Platinum Professional Semi‐Metallic Brake Pads ‐ (4‐Pad Se   $44.79         1   $44.79    $44.79
 887243063937 HSI   CARQUEST Wearever Platinum Professional Semi‐Metallic Brake Pads ‐ Front       $39.99         1   $39.99    $39.99
 887243061063 HSI   CARQUEST Wearever Platinum Professional Semi‐Metallic Brake Pads ‐ Front (4‐   $41.59         1   $41.59    $41.59
 887243064873 HSI   CARQUEST Wearever Platinum Professional Semi‐Metallic Brake Pads ‐ Front (4‐   $47.19         1   $47.19    $47.19
 887243060783 HSI   CARQUEST Wearever Platinum Professional Semi‐Metallic Brake Pads ‐ Front (4‐   $44.79         4   $44.79   $179.16
 887243064064 HSI   CARQUEST Wearever Platinum Professional Semi‐Metallic Brake Pads ‐ Front (4‐   $38.39         1   $38.39    $38.39
 887243065153 HSI   CARQUEST Wearever Platinum Professional Semi‐Metallic Brake Pads ‐ Front (4‐   $36.00         6   $36.00   $216.00
 887243065160 HSI   CARQUEST Wearever Platinum Professional Semi‐Metallic Brake Pads ‐ Front (4‐   $44.79         1   $44.79    $44.79
 887243065993 HSI   CARQUEST Wearever Platinum Professional Semi‐Metallic Brake Pads ‐ Front (4‐   $39.19         1   $39.19    $39.19
 887243066112 HSI   CARQUEST Wearever Platinum Professional Semi‐Metallic Brake Pads ‐ Front (4‐   $44.79         1   $44.79    $44.79
 887661369659 HSI   CARQUEST Wearever Platinum Professional Semi‐Metallic Brake Pads ‐ Front (4‐   $47.19         1   $47.19    $47.19
 887243061186 HSI   CARQUEST Wearever Platinum Professional Semi‐Metallic Brake Pads ‐ Rear (4‐P   $63.99         1   $63.99    $63.99
 887243061360 HSI   CARQUEST Wearever Platinum Professional Semi‐Metallic Brake Pads ‐ Rear (4‐P   $43.19         1   $43.19    $43.19
 887243061834 HSI   CARQUEST Wearever Platinum Professional Semi‐Metallic Brake Pads ‐ Rear (4‐P   $60.79         4   $60.79   $243.16
 887243060769 HSI   CARQUEST Wearever Platinum Professional Semi‐Metallic Brake Pads ‐ Rear (4‐P   $47.19         1   $47.19    $47.19
 887243061780 HSI   CARQUEST Wearever Platinum Professional Semi‐Metallic Brake Pads ‐ Rear (4‐P   $51.99         1   $51.99    $51.99
 887243063418 HSI   CARQUEST Wearever Platinum Professional Semi‐Metallic Brake Pads ‐ Rear (4‐P   $31.99         1   $31.99    $31.99
 887243064484 HSI   CARQUEST Wearever Platinum Professional Semi‐Metallic Brake Pads ‐ Rear (4‐P   $50.39         1   $50.39    $50.39
 887243065610 HSI   CARQUEST Wearever Platinum Professional Semi‐Metallic Brake Pads ‐ Rear (4‐P   $80.99         1   $80.99    $80.99
 887243063449 HSI   CARQUEST Wearever Platinum SemiMetallic Brake Pad Set w/ Hardware              $40.79         3   $40.79   $122.37
 887243060592 HSI   CARQUEST Wearever Platinum Semi‐Metallic Brake Pad Set w/ Hardware             $39.19         1   $39.19    $39.19
 887243060967 HSI   CARQUEST Wearever Platinum Semi‐Metallic Brake Pad Set w/ Hardware             $55.19         1   $55.19    $55.19
 887243061490 HSI   CARQUEST Wearever Platinum Semi‐Metallic Brake Pad Set w/ Hardware             $50.39         1   $50.39    $50.39
 887243061933 HSI   CARQUEST Wearever Platinum Semi‐Metallic Brake Pad Set w/ Hardware             $55.19         1   $55.19    $55.19
 887243061940 HSI   CARQUEST Wearever Platinum Semi‐Metallic Brake Pad Set w/ Hardware             $50.39         1   $50.39    $50.39
 887243063326 HSI   CARQUEST Wearever Platinum Semi‐Metallic Brake Pad Set w/ Hardware             $51.19         2   $51.19   $102.38
 887243063982 HSI   CARQUEST Wearever Platinum Semi‐Metallic Brake Pad Set w/ Hardware             $39.99         1   $39.99    $39.99
 887243064156 HSI   CARQUEST Wearever Platinum Semi‐Metallic Brake Pad Set w/ Hardware             $40.79         1   $40.79    $40.79
 887243064316 HSI   CARQUEST Wearever Platinum Semi‐Metallic Brake Pad Set w/ Hardware             $38.39         1   $38.39    $38.39
 887243064354 HSI   CARQUEST Wearever Platinum Semi‐Metallic Brake Pad Set w/ Hardware             $51.99         1   $51.99    $51.99
 887243064408 HSI   CARQUEST Wearever Platinum Semi‐Metallic Brake Pad Set w/ Hardware             $43.99         1   $43.99    $43.99
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 887243064453 HSI   CARQUEST Wearever Platinum Semi‐Metallic Brake Pad Set w/ Hardware                  $39.99         1    $39.99      $39.99
 887243064774 HSI   CARQUEST Wearever Platinum Semi‐Metallic Brake Pad Set w/ Hardware                  $38.39         1    $38.39      $38.39
 887243065788 HSI   CARQUEST Wearever Platinum Semi‐Metallic Brake Pad Set w/ Hardware                  $47.99         1    $47.99      $47.99
 887243066174 HSI   CARQUEST Wearever Platinum Semi‐Metallic Brake Pad Set w/ Hardware                  $43.19         1    $43.19      $43.19
 784276813389 HSI   Caseta Lutron Caseta 5A Single Pole Smart Rocker Switch White                      $108.12         1   $108.12    $108.12
 889232613420 HSI   Casio FX ‐ 9750GIII Graphing Calculator ‐ Pink                                      $54.99         3    $54.99    $164.97
 813843042119 HSI   CHI Digital Flat Iron ‐ 1.25 Color Rose Gold                                        $36.89         3    $36.89    $110.67
 813843042317 HSI   CHI Tourmaline Ceramic Interchangeable Curl & Wave Kit, Black                      $121.00         4   $121.00    $484.00
 846841032080 HSI   Choicemed Fingertip Pulse Oximeter with Lanyard and Protective Case                 $35.99         4    $35.99    $143.96
 846841010286 HSI   Choicemmed Electronic Pulse Stimulator 4Reusable Pads #                             $35.96         5    $35.96    $179.80
 846841032905 HSI   ChoiceMMed Pulse Oximeter                                                           $30.00         3    $30.00      $90.00
3348901419536 HSI   Christian Dior Backstage Face Body Foundation 0N Neutral 1.6oz 50ml                 $36.92         1    $36.92      $36.92
3348901376976 HSI   Christian Dior Backstage Pros Airflash Spray Foundation 202 Cameo 2.3oz             $62.00         1    $62.00      $62.00
3348901470827 HSI   Christian Dior Capture Tot Dreamskin Mask, 75 ml                                    $75.00         2    $75.00    $150.00
3380810220742 HSI   Clarins 125ml One Step Gentle Exfoliating Cleanser with Orange Extract 125ml (A     $39.00         2    $39.00      $78.00
3380810045338 HSI   Clarins Multi‐Active Nuit Night Cream White                                         $62.00         4    $62.00    $248.00
 814655034651 HSI   Clinicals By Spa Scriptions Moisturizing Facial Serum 1.7oz (50 mL)                 $10.00         1    $10.00      $10.00
 796752137865 HSI   Collagen Protein 10oz.                                                              $34.15         1    $34.15      $34.15
 810042480445 HSI   Cora Reusable Menstrual Cup ‐ Size 1                                                $29.99         7    $29.99    $209.93
 810042480452 HSI   Cora Reusable Menstrual Cup ‐ Size 2                                                $27.50        10    $27.50    $275.00
 810005619189 HSI   Corkcicle Air 4‐in‐1 Wine Chiller Aerator Pourer and Stopper                        $12.47         1    $12.47      $12.47
 889714001929 HSI   Crest 3D White No Slip Whitestrips Dental Whitening Kit 1 Hour Express ‐ 10 ct      $31.99         2    $31.99      $63.98
 889714001905 HSI   Crest 3D Whitestrips Teeth Whitening Kit ‐ 1.0 set                                  $19.99         5    $19.99      $99.95
 889714002889 HSI   Crest 3DWhite Daily Whitening Serum Advanced Enamel White Teeth Whitening           $25.00        39    $25.00    $975.00
 850024458093 HSI   Daily Hy ‐ Hydrating Serum                                                          $28.00         1    $28.00      $28.00
 810003361264 HSI   Danessa Myricks Beauty Illuminating Veil Liquid Highlighter Radiance                $22.00         1    $22.00      $22.00
8801051658255 HSI   Dearpacker Madagascar Clay Mask 50ml                                                 $8.00         1     $8.00       $8.00
 850024458109 HSI   Deep Hy ‐ Adaptive Moisturizer                                                      $41.99         1    $41.99      $41.99
 841938089206 HSI   Design Classics Flat LED Light Surface Mount 14‐Inch Square Satin Nickel 2700K 2    $49.95         1    $49.95      $49.95
 841938002540 HSI   Design Classics Lightning Pendant Satin Nickel Alabaster Glass Jj 3605‐09          $139.95         2   $139.95    $279.90
 859413000004 HSI   Deva Concepts DevaCurl No‐Poo Zero Lather Conditioning Cleanser 355 ml              $16.00         2    $16.00      $32.00
 815934023717 HSI   DEVACURL ‐ Styling Cream                                                            $16.99        14    $16.99    $237.86
 859413000028 HSI   DevaCurl Low Poo No Fade Mild Lather Cleanser 12 Ounce                              $32.00         2    $32.00      $64.00
 800443221891 HSI   Diginex Bluetooth Earbuds Wireless Magnetic Headset Sport Earphones for Runn        $34.99         1    $34.99      $34.99
3348901500722 HSI   Dior Addict Stellar Lip Shine Lipstick 744 Party Red .11oz / 3.2g                   $45.00         4    $45.00    $180.00
3348901376952 HSI   Dior Backstage Airflash Spray Foundation 2 Neutral (200) 2.3oz                      $62.00         2    $62.00    $124.00
3348901485180 HSI   Dior C.E.L.L. Energy Super Potent Serum                                             $92.00         3    $92.00    $276.00
3348901503433 HSI   Dior Capture Cell Energy Super Potent Age Defying Intense Serum ‐ 1.7oz            $130.00         8   $130.00   $1,040.00
3348901306683 HSI   Dior snow Brightening Refining Moist Cloud Crème at Nordstrom                      $170.01         2   $170.01    $340.02
 884392594824 HSI   Disney Baby Adjustable High Chair, Minnie Pop                                       $59.98         1    $59.98      $59.98
 840070913691 HSI   Disney Star Wars THE MANDALORIAN Collectors Box Set with 5 Gifts                    $16.89         1    $16.89      $16.89
 858602004052 HSI   DizzyFIX Vertigo Exercise Trainer                                                   $59.95         2    $59.95    $119.90
 856822008379 HSI   Doll Face 12‐Shade Shadow Palette, Legendary Naturals ‐ 0.53 Oz                     $20.99         1    $20.99      $20.99
 856822008393 HSI   Doll Face, 12‐Shade Shadow Palette Sirens & Sequins, 0.53 Ounce                     $24.00         1    $24.00      $24.00
 856822008362 HSI   Doll Face, 24‐Shade Shadow Palette Doll Squad, 0.7 Ounce                            $28.00         3    $28.00      $84.00
 799344474782 HSI   Dooney & Bourke Mlb Mariners Credit Card Billfold                                  $595.00         2   $595.00   $1,190.00
4015165319214 HSI   Dr Barbara Sturm 30ml. Calming Serum                                               $250.00         2   $250.00    $500.00
3282770208962 HSI   Eau Thermale Av√®ne Hydrance Light Hydrating Emulsion, For Sensitive Skin, 1x       $40.00         1    $40.00      $40.00
 854210006884 HSI   Elemental Facial Moisturizer Wild Carrot Herbals 100 Ml Liquid                      $39.09         1    $39.09      $39.09
 852304004037 HSI   EMUAID First Aid Ointment 0.5oz                                                     $22.00        58    $22.00   $1,276.00
 852304004297 HSI   EmuaidMAX First Aid Ointment 0.5oz                                                  $23.60       209    $23.60   $4,932.40
 781380003071 HSI   Environmentally Lighting 13 Inch Straight Ribbed Halophane Glass Ceiling Fixture    $64.97         2    $64.97    $129.94
 828054156333 HSI   Equazen Pro ‐ Supplement Adhd Support ‐ 1 Each‐2.5 Oz                               $35.99         2    $35.99      $71.98
 828054061064 HSI   Equazen VitaSpectrum Vitamins and Minerals for Kids on the Spectrum Supports        $35.00         2    $35.00      $70.00
 860002603612 HSI   Equine Elixirs Ulceraser, 60 Pounds (30 Day Supply)                                 $65.95         6    $65.95    $395.70
 846345000103 HSI   Extenze Extended Realease 30 Liquid Gel Capsules                                    $21.56         1    $21.56      $21.56
 848013057907 HSI   FallTech 7078SM Tradesman, Belted Construction FBH ‐ 3 D‐Rings, Back and Side       $89.99         1    $89.99      $89.99
6951135205058 HSI   FIDA LED Leash 16 Ft. Large Dogs up to 88 Lbs. #5334179 5058                        $34.99         2    $34.99      $69.98
8012823197265 HSI   Finder 19.21.0.024 Relay 1 Changeover Contact IP20                                  $46.76        13    $46.76    $607.88
 840317109665 HSI   FLEXI® Xtreme M ‐ Extra Robust Retractable Leash with 16 Ft Extra Strong Tape       $32.55         5    $32.55    $162.75
 810012143455 HSI   FLTR Digital IR Ear Thermometer                                                     $29.99         1    $29.99      $29.99
 809280152870 HSI   fresh Cr√®me Ancienne Face Oil Elixir 1 oz/ 30 mL                                  $190.00         1   $190.00    $190.00
8809545504309 HSI   FRESH TANGERINE CREAM                                                                             16     $0.00       $0.00
6926408700455 HSI   Front infrared thermometer remote detector Medel No Contact plus measures t         $13.75        17    $13.75    $233.75
 782808630169 HSI   Fulcrum 11 1/3" Center Appliance Pull Finish: Brushed Nickel                        $27.94         5    $27.94    $139.70
 889698480833 HSI   Funko POP! Baseball M's Mariner Moose #30 [Flag] Exclusive                          $69.99         2    $69.99    $139.98
 811794016142 HSI   Furminator Comfort Edge deShedding Head For Use With Furflex System Size Sm          $9.99         1     $9.99       $9.99
 831868006138 HSI   Fuzu Vibrating Massage Gloves                                                      $174.20         1   $174.20    $174.20
 848354014737 HSI   G.Skill Ripjaws V Series F4‐3200C16D‐8GVR 8 GB (4 GBx2) DDR4 3200 MHz C16 1         $34.99         1    $34.99      $34.99
 783164532067 HSI   GE Q‐Line 15 Amp Single‐Pole Dual Function Arc Fault GFCI Breaker THQL1115D         $58.62         1    $58.62      $58.62
 847563009916 HSI   GeoSmart Lunar Rover                                                                $56.99         1    $56.99      $56.99
 850156008548 HSI   GIINII Contact‐Free Infrared Forehead Thermometer ‐ 1.0 ea                          $90.00         3    $90.00    $270.00
 889809000318 HSI   Glamglow Instamud 60‐second Pore Refining Treatment Treatment for Pore Tigh         $44.00         1    $44.00      $44.00
 800443253878 HSI   Good2Go LED Light‐Up Collar for Dogs in Blue, Large                                 $24.99         2    $24.99      $49.98
 800443253625 HSI   Good2Go Reflective Adjustable Padded Dog Harness in Turquoise, Large/X‐Large        $12.49         3    $12.49      $37.47
 800443976753 HSI   GOOD2GO Retractable Black Dog Leash, Large                                          $15.00         1    $15.00      $15.00
 850026647358 HSI   GOOPGLOW Microderm Instant Glow Exfoliator 1.7 Oz/ 50 ML                           $125.00         2   $125.00    $250.00
3700010412196 HSI   GRIM'TOUT GT41219, 4 Couleurs                                                       $11.71         1    $11.71      $11.71
3614227749078 HSI   GUCCI ‐ Rouge A Levres Satin Lip Colour ‐ # 302 Agatha Orange 3.5g/0.12oz           $47.00         1    $47.00      $47.00
3614228844819 HSI   Gucci Glow & Care Shine Lipstick 517 Abbie Maroon Red                               $47.00         1    $47.00      $47.00
3614227748934 HSI   Gucci Long Lasting Satin Lipstick 103 Carol Beige                                   $47.00         2    $47.00      $94.00
3614227748965 HSI   Gucci Long Lasting Satin Lipstick 106 Tacey Hazel                                   $47.00         2    $47.00      $94.00
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3614227749009 HSI   Gucci Long Lasting Satin Lipstick 200 Blaze of Noon                                  $47.00         2    $47.00      $94.00
3614227749030 HSI   Gucci Long Lasting Satin Lipstick 203 Mildred Rosewood                               $47.00         1    $47.00      $47.00
3614227749061 HSI   Gucci Long Lasting Satin Lipstick 301 Mae Coral                                      $47.00         2    $47.00      $94.00
3614227749115 HSI   Gucci Long Lasting Satin Lipstick 403 Love Before Breakfast                          $47.00         1    $47.00      $47.00
3614227749146 HSI   Gucci Long Lasting Satin Lipstick 500 Odalie Red                                     $47.00         2    $47.00      $94.00
3614227749184 HSI   Gucci Long Lasting Satin Lipstick 503 Teresina Ruby                                  $47.00         2    $47.00      $94.00
3616302919192 HSI   Gucci Multipurpose Hydrating and Nourishing Balm                                     $50.00         3    $50.00    $150.00
3614229374773 HSI   Gucci Rouge à Lèvres Mat Matte Lipstick in 304 Queen Christina at Nordstrom          $45.00         3    $45.00    $135.00
 888807458831 HSI   Guess Men's Colorblocked Hooded Windbreaker                                          $49.99         1    $49.99      $49.99
 816212027816 HSI   Gurunanda Natural Mist Wall/usb Plugin Essential Oil Humidifier Diffuser, 7816       $20.99         1    $20.99      $20.99
6940500314976 HSI   Hampton Bay Ashhurst 2‐Light Oil Rubbed Bronze Vanity Light with Frosted Glas        $24.97         1    $24.97      $24.97
 884011629494 HSI   Handleset Single Cylinder Seattle, SC.SEAxSQU.R.CSR.260.6L.SS.SMT.KD                $257.08         1   $257.08    $257.08
 811613030335 HSI   Happy Plugs Ear Piece II in‐Ear Fashion‐Tech Wireless Headphones with Mic and        $34.98         2    $34.98      $69.96
 810022395608 HSI   HART 20‐Volt Reciprocating Saw (Battery Not Included)                                $79.00         1    $79.00      $79.00
 843119101639 HSI   HEMP INFUSED BALM STICK WITH CBD 1.75 OZ                                             $40.00         1    $40.00      $40.00
 807648030631 HSI   Hexbug Battle Spider Toy                                                             $29.99         1    $29.99      $29.99
 789185863685 HSI   Hitch Blade Carabiner Fortune Favors The Bold                                        $20.00         1    $20.00      $20.00
 889526387266 HSI   Home Zone Living Non‐Contact Forehead & Ear Infrared Thermometer for Adult           $19.99        14    $19.99    $279.86
 884475056676 HSI   Hotwired Men's Cold Weather Riding 12V Heated Motorcycle Gloves, Black, XL           $79.00         1    $79.00      $79.00
 877231003007 HSI   Hourglass ‐ Hyaluronic Skin Tint ‐ Warm Ivory                                        $56.00         1    $56.00      $56.00
 887758729915 HSI   HP 507A Original Yellow 1 pc(s)                                                     $284.99         3   $284.99    $854.97
 812391022093 HSI   IBY Beauty, Eyeshadow Palette City Limits, 1 Count                                   $25.00         5    $25.00    $125.00
 789541052234 HSI   Ice Resin Studio Sheets Multi‐purpose, Heat‐resistant, Reusable, 2 Sheets 9"x9"      $19.99         3    $19.99      $59.97
 846841070921 HSI   iChoice Relaxation Coach Reduce Anxiety                                              $69.99         2    $69.99    $139.98
 792363638531 HSI   Icon 3/8 in. Drive 13 in. Breaker Bar with TPR Grip                                  $29.99         1    $29.99      $29.99
6932705328735 HSI   Ink for Dummies CD994FN Inkjet Cartridge, Cyan/Magenta/Yellow by Ink for Dum         $35.47         1    $35.47      $35.47
3141389914230 HSI   Institut Arnaud Nutri Regenerante Wrinkle Filling Serum 30ml                         $75.66         5    $75.66    $378.30
 840072904116 HSI   Jaclyn Cosmetics Face It All Brightening & Setting Palette                           $39.00         1    $39.00      $39.00
 812458003843 HSI   Jerome Alexander Tight Lift & Cover 3‐in‐1 Undereye Tightener & Concealer ‐ Co       $19.99         1    $19.99      $19.99
8024221709810 HSI   JOBY gorillapod jbo1717‐bww NEW IN BOX TRI‐POD KIT                                   $25.00         1    $25.00      $25.00
4946973006334 HSI   Juki Overlock Sewing Machine Accessory Blind Stitch Foot                             $29.99         2    $29.99      $59.98
 813920017221 HSI   Kate Somerville ExfoliKate Intensive Exfoliating Treatment 1.7oz/50ml                $78.00         6    $78.00    $468.00
 813920016729 HSI   Kate Somerville Wrinkle Warrior¬Æ Eye Gel Visible Dark Circle Eraser 0.3 oz/ 10      $76.00         3    $76.00    $228.00
 839913015265 HSI   Kent Electric Stove Heater Efs‐xb15a                                                 $89.95         1    $89.95      $89.95
 885418012629 HSI   Keranique Follicle Boosting Serum 2oz                                                $31.99         1    $31.99      $31.99
 885418012711 HSI   Keranique Women's 2% Minoxidil Solution for Hair Regrowth, 1 Month Supply ‐          $28.99         2    $28.99      $57.98
3474630565135 HSI   Kerastase Nutritive Lait Vital Conditioner 200 ml                                    $25.63         1    $25.63      $25.63
3474636494859 HSI   Kerastase Reflection Masque Chromatique Thick Hair, aromatic, 200 millilitre         $46.00         1    $46.00      $46.00
 810569033254 HSI   Keratin Complex NKSTB Natural Keratin Smoothing Treatment System For Blond          $147.67         1   $147.67    $147.67
 883049603711 HSI   KitchenAid Artisan 10‐Speed Stand Mixer ‐ Hearth & Hand™ with Magnolia              $399.79         1   $399.79    $399.79
 810083840765 HSI   KJAER WEIS The Beautiful Night Potion at Nordstrom                                   $85.00         1    $85.00      $85.00
5203069101793 HSI   KORRES White Pine Meno‐Reverse Deep Wrinkle, Plumping + Age Spot Concentr            $65.00         1    $65.00      $65.00
 883351673693 HSI   Kwikset 800tvh Lip 26 Smt 6al 5063 Lip Handleset Single                             $168.59         1   $168.59    $168.59
 883351382243 HSI   Kwikset 800tvh Lip 26 Smt 6al Lip Handleset Single 98009‐082                        $168.59         1   $168.59    $168.59
 883351630672 HSI   Kwikset 94059‐046                                                                    $34.99         2    $34.99      $69.98
 883351667807 HSI   Kwikset Austin Handleset with Tustin Lever ‐ Deadbolt Keyed One Side ‐ Featurin     $213.59         1   $213.59    $213.59
 883351613545 HSI   Kwikset Delta Lever ‐ Keyed ‐ Featuring SmartKey                                    $157.52         8   $157.52   $1,260.16
3605972608611 HSI   Lancome Advanced G√©nifique Face Serum Dual Pack ‐ For Fine Lines & Boosts          $135.00         1   $135.00    $135.00
3605533369012 HSI   Lancome Bienfait Multi‐Vital Cream SPF 30                                            $42.98         2    $42.98      $85.96
3605533292372 HSI   Lancome Definicils Defining, Lengthening and Volume Mascara                          $32.18         1    $32.18      $32.18
3605971479342 HSI   Lancome Dual Finish Highlighter Illuminating Powder                                  $42.00         2    $42.00      $84.00
3605971479427 HSI   Lancome Dual Finish Highlighter Sparkling Rose                                       $42.00         2    $42.00      $84.00
3614272453128 HSI   Lancome Palette Hypnose 03 Brun Adore, 54 g                                          $50.00         2    $50.00    $100.00
3614271807687 HSI   Lancome Renergie Lift Multi‐Action Ultra Moisturizer                                 $94.99        12    $94.99   $1,139.88
3614271756114 HSI   Lancome Teint Idole Ultra 24H Long Wear Foundation, 1 oz                             $34.20         3    $34.20    $102.60
3614272489226 HSI   Lancome UV Expert CC Cream                                                           $29.99         2    $29.99      $59.98
3614272489509 HSI   Lancôme UV Expert Mineral CC Cream Tinted Moisturizer Broad Spectrum SPF 5           $39.00         2    $39.00      $78.00
3614272160781 HSI   Lancome Visionnaire Vitamin C Serum 0.67 oz                                          $69.00         1    $69.00      $69.00
3614272489295 HSI   Lancome UV Expert Mineral CC Cream SPF 50 ‐ # 2                                      $39.00         2    $39.00      $78.00
 859602000020 HSI   LED Exit Sign ‐ White Thermoplastic ‐ Red Letters ‐ 120/277 Volt Only ‐ Exitronix    $45.50        11    $45.50    $500.50
 841485111542 HSI   Liberty 20 Oz Neo Seattle Seahawk Multicolored BPA Free Self‐Cleaning Water B        $15.38         1    $15.38      $15.38
 843992094615 HSI   Living Proof No Frizz Shampoo And Conditioner Set, 8 Fl. Oz. Each                    $32.99         7    $32.99    $230.93
 843992009022 HSI   Lot Of 2 Biosilk Silk Therapy Lite & Original                                        $32.99        18    $32.99    $593.82
 853981008707 HSI   Lot of 2 Veritas Farms Relief & Recover Salve Lavender Eucalyptus 400mg 2oz          $16.50         1    $16.50      $16.50
 812944026714 HSI   Lucid Audio Hearbuds Hearing Amplifiers ‐ 1.0 pr                                    $139.95         3   $139.95    $419.85
 793869581659 HSI   Lyric Therapeutic Massager Granite ‐ Granite                                        $148.97         1   $148.97    $148.97
 773602577699 HSI   MAC 305858 0.06 oz Mini Lipstick, Diva                                               $15.00        10    $15.00    $150.00
 773602594368 HSI   MAC Colour Excess Gel Pencil Incorrect .35 g / .01 oz                                $23.00         3    $23.00      $69.00
 773602594412 HSI   MAC Colour Our Excess Gel Pencil Eye Liner Crayon Gel COMMITMENT ISSUES B            $28.40         4    $28.40    $113.60
 773602562213 HSI   MAC COSMETICS LIPSTICK 0.13 OZ 597 POLISHED PRIZE MAC COSMETICS/PATEN                $29.28         1    $29.28      $29.28
 773602560066 HSI   MAC Eye Brows Big Boost Fibre Gel Spiked 0.14 oz / 4.1g                              $26.02         8    $26.02    $208.16
 773602510436 HSI   Mac Eye Shadow X9 Poid 5.85g Sombra De Ojos Geniune                                  $33.00         1    $33.00      $33.00
 773602642199 HSI   MAC Fix + Stayover Alcohol Free Setting Spray 100ml                                  $33.00         2    $33.00      $66.00
 773602430109 HSI   MAC LIP PENCIL # STRIPDOWN 0.05 Oz / 1.45g                                           $20.40         8    $20.40    $163.20
 773602531653 HSI   Mac Nc48 Studio Fix 24 Hour Smooth Wear Concealer 0.24fl Oz Liq 7ml                  $26.00         3    $26.00      $78.00
9369998010929 HSI   Macabalm Moisturizing Balm Med, One Size                                             $29.95         4    $29.95    $119.80
9369998037070 HSI   Macabalm Moisturizing Balm Mini, One Size                                            $19.95         2    $19.95      $39.90
3548752169431 HSI   Make Up For Ever Rouge Artist Lipstick                                               $20.00         1    $20.00      $20.00
 846733023776 HSI   maneater‚Ñ¢ eyeshadow palette vol. 2 maneater‚Ñ¢ eyeshadow palette vol. 2            $34.00         1    $34.00      $34.00
 855676007996 HSI   Manscaped Lawn Mower 3.0 Essentials Gift Set Kit                                     $76.99         9    $76.99    $692.91
 810040570285 HSI   Manscaped The Get Close Men s Razor Package                                          $62.53         2    $62.53    $125.06
8809198221424 HSI   Marfee Ultimate Rejuvenation Facial Essence 1 oz/30ml FRESH!                         $39.00         3    $39.00    $117.00
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 853958004671 HSI   Marianella Hawaiian Black Lava Premium Body Caviar | Luxury Artisanal Wonde         $99.00              30    $99.00   $2,970.00
 843992057535 HSI   Matrix ‐ Biolage‐Smoothproof Serum 3.00 fl oz                                       $22.00               1    $22.00      $22.00
 863317000305 HSI   Medikus Propolis Immune Support All Natural Product 1 Oz 30 Ml                                        5093     $0.00       $0.00
 810010830289 HSI   Medterra Topical Cooling Cream (250mg)                                              $15.99               1    $15.99      $15.99
 810010830296 HSI   Medterra Topical Cooling Cream (500mg)                                              $38.99               7    $38.99    $272.93
 887961931242 HSI   Mega Construx Halo Infinite Brute Chieftain Building Set                             $6.95               3     $6.95      $20.85
 887961931228 HSI   Mega Construx Halo Infinite Spartan Mark VII Building Set (GVP38)                    $6.95               2     $6.95      $13.90
 844702090125 HSI   Mercury 3 Pack MultiGlo LED Color + White Ambient Lights                            $14.99               1    $14.99      $14.99
 885370051612 HSI   MICROSOFT Office Professional Academic 2010 ‐ T6D‐00123                             $99.00               1    $99.00      $99.00
 840797140806 HSI   MIX:BAR Eau de Parfum Vanilla Bourbon ‐ 1.7 fl oz                                   $23.97               1    $23.97      $23.97
 840797140844 HSI   MIX:BAR EDP Perfume ‐ Coconut Palm ‐ 1.69 fl oz                                     $19.99               1    $19.99      $19.99
 840797155183 HSI   MIX:BAR Whipped Almond Eau de Parfum Spray ‐ Clean & Vegan Fragrance for W          $19.99               1    $19.99      $19.99
4712052319387 HSI   Moshi Endura Case for iPhone 6/6S¬†‚Äì¬†Black                                       $56.60              12    $56.60    $679.20
 767332109008 HSI   Murad Hydration Hydro‐Dynamic Ultimate Moisture for Face with Advanced Hya          $85.00               1    $85.00      $85.00
 767332109046 HSI   Murad Hydration Revitalixir Recovery Serum For Face And Eyes. 40 Ml / 1.35 Fl.o     $97.00              14    $97.00   $1,358.00
 767332603629 HSI   Murad Retinol Youth Renewal Eye Serum                                               $85.00               1    $85.00      $85.00
 811090020584 HSI   Musicair Wireless Stereo Headset Bth652 Headphones Bluetooth Green                  $28.99               1    $28.99      $28.99
 896364002961 HSI   N¬∫.6 Bond Smoother                                                                 $30.00               1    $30.00      $30.00
8055320345975 HSI   Nabla ‐ Secret Palette                                                              $44.00               4    $44.00    $176.00
8055320349478 HSI   Nabla Side by side nude palette                                                     $44.00               4    $44.00    $176.00
 840102701203 HSI   Nanoleaf NL427003HX7P / NL42‐7003HX‐7PK / NL42‐7003HX‐7PK Hexagon Light            $179.99               1   $179.99    $179.99
 765809223967 HSI   NAPA Gold 300019 Fuel Filter                                                        $55.52               1    $55.52      $55.52
 765809194939 HSI   NAPA Gold 3918 Fuel Filter                                                          $39.10               1    $39.10      $39.10
 765809199194 HSI   NAPA Gold 7062 Oil Filter                                                           $23.32               1    $23.32      $23.32
 765809191495 HSI   NAPA Gold 7186 Oil Filter                                                           $19.48               1    $19.48      $19.48
 765809190207 HSI   NAPA Gold 7203 Oil Filter                                                           $19.49               1    $19.49      $19.49
 765809213678 HSI   NAPA Gold 7712 Oil Filter                                                           $12.99               1    $12.99      $12.99
 765809201330 HSI   NAPA Gold Oil Filter 7064                                                           $14.28               1    $14.28      $14.28
 765809179240 HSI   Napa NAPAGOLD Fuel Filter 3183                                                      $32.99               1    $32.99      $32.99
 765809192676 HSI   Napa NAPAGOLD Fuel Filter 3750                                                      $52.99               1    $52.99      $52.99
 765809186200 HSI   Napa NAPAGOLD Oil Filter 7171                                                       $18.49               1    $18.49      $18.49
8111200203008 HSI   Nature's Brands Herbal Choice Mari Organic Calendula Oil; 16floz BPA‐Free Plast     $19.99               1    $19.99      $19.99
 837013538110 HSI   Neiko Protective Lab Safety Goggles ‐ Clear                                          $7.99               1     $7.99       $7.99
5060247390543 HSI   Neo G 20‐30 mmHg Knee High Therapeutic Sock Beige ‐ XL 2.0 ea                       $30.99               1    $30.99      $30.99
 855278005185 HSI   New Cordless Mypurmist Free ‐ Ultrapure Handheld Steam Inhaler and Vaporize        $179.99               1   $179.99    $179.99
 768990021534 HSI   Nordic Naturals Ultimate Omega 2X 90 soft gels                                      $50.00              15    $50.00    $750.00
 768990017902 HSI   Nordic Naturals Ultimate Omega 3 Fish Oil Supplement Softgels ‐ 60ct                $22.38   $23.76      3    $22.38      $67.14
 839174001656 HSI   NUDESTIX Metallic Berry Nudes Mini Eye 3‐Piece Set at Nordstrom                     $21.25               1    $21.25      $21.25
 839174002844 HSI   NUDESTIX Sunkissed Nudes ‐ 7.5gm ‐ Ulta Beauty                                      $29.00              14    $29.00    $406.00
 839174001335 HSI   Nudies (Tiger Lily Queen)                                                           $35.00               1    $35.00      $35.00
 859811008954 HSI   Nuvomed Personal Around The Neck Air Purifier Npf‐8/0895                            $49.99               1    $49.99      $49.99
 843518073285 HSI   Oakbrook FP4A4056CP‐ACA1 Tucana Series Chrome Single Handle Kitchen Fauce           $63.99               1    $63.99      $63.99
 841992063525 HSI   Office Depot Remanufactured Ink Cartridge Replacement for HP 940XL/940 ( Bla        $95.49               2    $95.49    $190.98
 801509220506 HSI   Office Premium Laser Cartridge Q6470a Dmg Box                                      $200.99               2   $200.99    $401.98
 896364002770 HSI   OlaplexNo. 6 Bond Smoother 100ml/3.3oz                                              $29.61               2    $29.61      $59.22
 857896004281 HSI   Oleavicin Eczema & Psoriasis Cream ‐ 4.0 fl oz                                      $14.99               2    $14.99      $29.98
4548583357723 HSI   Omron Switching Power Supply s8vk                                                  $236.33               1   $236.33    $236.33
8055320347825 HSI   Original Nabla Cosmetics Dreamy 2 The Mystic Palette‐ In Box Rare                   $39.00               1    $39.00      $39.00
 867206000407 HSI   OTIS Dental Mail‐Order Custom Night Guard Kit                                       $99.95               1    $99.95      $99.95
 840104228326 HSI   OtterBox + POP Symmetry Series iPhone 11 Pro Max ‐ Making Waves Purple and          $29.99               1    $29.99      $29.99
 843004107944 HSI   PAT McGRATH LABS Celestial Divinity Eyeshadow Palette Interstellar Icon             $52.00               1    $52.00      $52.00
 786306910303 HSI   Pawscout The Smarter Pet Tag                                                        $14.99               1    $14.99      $14.99
6971747661011 HSI   PeriPage Mini A6 Printer                                                            $39.90               1    $39.90      $39.90
 780824144776 HSI   Pet Zone 20 Ft Large Dog Tie‐out Cable Leash Heavy Metal For Dog Up 200 Lbs         $12.58               1    $12.58      $12.58
 800443348291 HSI   Petco Brand ‐ Good2Go Black Harness for Big Dogs, XX‐Large/3X‐Large                 $25.00              27    $25.00    $675.00
 800443292150 HSI   Petco Brand ‐ Good2Go Blue Front Walking Dog Harness, Medium                        $17.50               1    $17.50      $17.50
 800443983942 HSI   Petco Brand ‐ Good2Go Off Limits Car Seat Barrier, 22 in, Gray                      $39.99               1    $39.99      $39.99
 800443333778 HSI   Petco Brand ‐ Reddy Olive Rope Dog Leash, 6Ft, Original, Green                      $29.99               1    $29.99      $29.99
3616302968268 HSI   philosophy AMAZING GRACE MELARIE ODELUSI LIMITED EDITION 2 OZ EDT SP FO             $45.90               5    $45.90    $229.50
 860002324340 HSI   PhoneSoap ‐ HomeSoap ‐ UV‐C Sanitizer ‐ White                                       $70.91               1    $70.91      $70.91
 885190823147 HSI   PIXI Clarity Concentrate 30ml                                                       $24.00               2    $24.00      $48.00
 852900006695 HSI   Plexaderm Rapid Reduction Serum‐ New Single Use Pods ‐ Age‐Defying Eye Trea         $49.95              10    $49.95    $499.50
5031935493136 HSI   Polaroid 3D 1Kg Universal Premium PLA Filament Material Orange                      $18.00               2    $18.00      $36.00
6939360636069 HSI   Power Hd‐ar3606hb 360 Degree 6kg Continuous Rotation Servo With Futaba Rc           $15.99              40    $15.99    $639.60
 842944106130 HSI   Proactiv by Proactiv, POST ACNE DARK MARK RELIEF 1.7 OZ                             $40.00               8    $40.00    $320.00
 842944106147 HSI   Proactiv Post Acne Scar Gel Facial Treatment ‐ 1 fl oz                              $14.07               7    $14.07      $98.49
 842944102194 HSI   Proactiv Solution Repairing Treatment ‐ 2 fl oz                                     $35.00               1    $35.00      $35.00
 818804016680 HSI   Prodigee Wallegee Blue Galaxy Note 7 Flip 2 In 1 Wallet Leather Case Cover          $21.99               1    $21.99      $21.99
 850035206164 HSI   Proov 4 in 1 Home Fertility Test                                                    $49.97              26    $49.97   $1,299.22
 846241006285 HSI   Provent Skin Tag Remover, 0.34 Fluid Ounce                                           $8.99               1     $8.99       $8.99
 846241032543 HSI   ProVent® Skin Tag Removal Band Kit                                                  $25.99               2    $25.99      $51.98
 813494012257 HSI   PSA Essentials Teresa Collins Customizable Self‐Inking Stamp Gift Box with Stand    $27.99               1    $27.99      $27.99
 857065003664 HSI   Pulsaderm ‐ My Sonic Face Washcloth Pink                                            $39.99               2    $39.99      $79.98
 857065003800 HSI   Pulsaderm Sonic Washcloth ‐ Lavender (Purple)                                       $40.00               2    $40.00      $80.00
 884486052315 HSI   Pureology Hydrate Shampoo, 8.5oz 2 pack                                             $66.98               4    $66.98    $267.92
 810033470257 HSI   Quip Cordless Rechargeable 2 Pressure Modes Plastic Water Flosser Sky Blue          $44.99              11    $44.99    $494.89
 898440001882 HSI   Qunol Blood Pressure Support Capsules 1180mg Beets CoQ10 and Grape Seed 6           $17.88              19    $17.88    $339.72
 850184008794 HSI   Qunol Joint Comfort Capsules 410mg Turmeric Dietary Supplement 30 Count             $16.88               2    $16.88      $33.76
 898440001868 HSI   Qunol Ultra CoQ10(200mg)Extra Strength‐Ultra High Absorption 45 Soft Gels           $24.99              22    $24.99    $549.78
3605970859336 HSI   Ralph Lauren Polo Blue Eau de Parfum 1.36 oz                                       $128.00               1   $128.00    $128.00
 781889235133 HSI   Raptor Tools ‐ Inside Pipe and Tube Cutter                                          $11.38               1    $11.38      $11.38
6930751310131 HSI   Rastar RXZER23 Maya Bay Short Sleeve Classic Fit Shirt Toy, Cranberry, Large        $14.75               1    $14.75      $14.75
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 845423024857 HSI   Razor Hovertrax Lux Hoverboard ‐ Black                                              $148.99         1   $148.99    $148.99
 845423023454 HSI   Razor Power 100 Watt Electric Hub Motor and Flash Kick Scooter with A Punch o       $209.93         1   $209.93    $209.93
 801650426628 HSI   Reber Ranch Super Joint Formula Powder For Horses 2lbs 6628                          $43.99         1    $43.99      $43.99
 810033470295 HSI   Recharge Smart SkyBlue Toothbrush                                                    $39.99         2    $39.99      $79.98
 800443526989 HSI   Reddy Black Car Hammock, 72.3" L X 40.4" W                                           $59.99         1    $59.99      $59.99
 800443571019 HSI   Reddy Black Primaloft Dog Jacket, Small                                              $25.00         1    $25.00      $25.00
 800443435212 HSI   Reddy Burgundy Comfort Dog Harness, X‐Small/Small                                    $19.99        11    $19.99    $219.89
 800443331279 HSI   Reddy Cerulean Blue Rope Dog Leash, 6 Ft, Original                                   $14.99         1    $14.99      $14.99
 800443331316 HSI   Reddy Cerulean Blue Webbed Dog Collar, Small                                         $19.99         2    $19.99      $39.98
 800443547663 HSI   Reddy Cooling Dog Harness, Medium                                                    $30.00         2    $30.00      $60.00
 800443447406 HSI   Reddy Green Canvas Dog Harness, Medium                                               $25.74         7    $25.74    $180.18
 800443447420 HSI   Reddy Green Canvas Dog Harness, X‐Large/XX‐Large                                     $24.99         1    $24.99      $24.99
 800443406526 HSI   Reddy Grey Adventure Knit Dog Harness, Large                                         $19.99         2    $19.99      $39.98
 800443488416 HSI   Reddy Grey Small Dog Harness, Medium                                                 $33.99         1    $33.99      $33.99
 800443488393 HSI   Reddy Grey Small Dog Harness, X‐Small                                                $34.99         1    $34.99      $34.99
 800443509616 HSI   Reddy Navy Camo Faux‐Shearling Reversible Dog Jacket, Medium                         $39.99         1    $39.99      $39.99
 800443464090 HSI   Reddy Navy Canvas Step‐In Dog Harness, Medium                                        $45.99        14    $45.99    $643.86
 800443488348 HSI   Reddy Navy Small Dog Harness, X‐Small                                                $26.24         5    $26.24    $131.20
 800443531419 HSI   Reddy Olive Jacquard Dog Harness Size: M Medium Neck Inch:17‐24 Inch                 $45.99         4    $45.99    $183.96
 800443512951 HSI   Reddy Olive Jacquard Dog Harness, Large                                              $49.99         3    $49.99    $149.97
 800443511367 HSI   Reddy PrimaLoft Superior Warmest Insulation Burgundy Camo Dog Puffer Jacket          $69.99         2    $69.99    $139.98
 800443435137 HSI   Reddy Reflective Coral Dog Harness, Medium, Pink                                     $25.00         1    $25.00      $25.00
 800443360712 HSI   Reddy Road Trip Crash‐Tested Dog Harness, Medium                                     $37.49         7    $37.49    $262.43
 800443488331 HSI   Reddy Small Dog Harness Med. Green Neck 11‐12                                        $33.99         7    $33.99    $237.93
 800443464786 HSI   Reddy Sort‐In Dog Harness ‐ Size: Medium ‐ Chest: 20‐26 Inches ‐ Tan                 $43.99         9    $43.99    $395.91
 800443434574 HSI   Reddy Tan Canvas Dog Harness, Large                                                  $49.99        13    $49.99    $649.87
 800443435199 HSI   Reddy Tan Comfort Dog Harness, Small/Medium                                          $20.00         2    $20.00      $40.00
 800443435182 HSI   Reddy Tan Comfort Dog Harness, X‐Small/Small                                         $19.99         1    $19.99      $19.99
 800443435175 HSI   Reddy Tan Comfort Dog Harness, XX‐Small/X‐Small                                      $23.99         1    $23.99      $23.99
3474636920037 HSI   REDKEN , COLOR EXTEND BLONDAGE SHAMPOO FOR BLONDE HAIR 10.1 OZ                       $26.00         4    $26.00    $104.00
3474636920266 HSI   REDKEN , VOLUME INJECTION SHAMPOO 10.1 OZ                                            $26.00         5    $26.00    $130.00
 884486270467 HSI   REDKEN | High Rise Volume | Hair Volumiser | For Full Body Building | 150 ml         $26.00         1    $26.00      $26.00
 884486445445 HSI   Redken Clean Maniac Pre Art Treatment Clarifying Treatment 33.8 oz.                  $45.99         1    $45.99      $45.99
 884486373762 HSI   Redken Color Extend Graydiant Conditioner | For Gray & Silver Hair | Removes &       $26.00         4    $26.00    $104.00
 884486435590 HSI   Redken Extreme Length Conditioner | For Hair Growth | Fortifies, Strengthens &      $114.00         1   $114.00    $114.00
 884486401458 HSI   Redken Frizz Dismiss Conditioner | For Frizzy Hair | Moisturize, Detangle & Prote    $26.00         9    $26.00    $234.00
 785401872004 HSI   Relton 5/8" “a”taper Bit Meets Ansi Std                                              $22.95         1    $22.95      $22.95
 857150006013 HSI   REMfresh Extra Strength 5mg Melatonin Sleep Aid Supplement (36 Caplet) | Slee        $42.38         1    $42.38      $42.38
 846805015616 HSI   Resonix Outdoor Heavy‐duty Extension Cord 50ft 12ga                                  $55.24         1    $55.24      $55.24
 838760007690 HSI   Retrinal 0.05 Cream (With Pump) ‐ 30ml/1.01oz                                        $49.50         1    $49.50      $49.50
 773199311645 HSI   Richelieu Hardware Blumotion Cabinet Door Dampener for Compact Hinges                $14.29         5    $14.29      $71.45
 773199303954 HSI   Richelieu Hardware Flap Stay Duo for Wood Door                                       $49.58         1    $49.58      $49.58
 850650001816 HSI   RIDGID 4 in. Turbo Diamond Blade                                                     $22.97         3    $22.97      $68.91
 850650001854 HSI   RIDGID 4‐1/2 in. Segmented Diamond Blade                                             $28.97         4    $28.97    $115.88
 789949502256 HSI   Rose Gold TW3 Matte True Wireless Bluetooth Earbuds with Charging Case               $29.97         1    $29.97      $29.97
 794678693731 HSI   Rosette Stone 1 Year Online Access ‐ Choose Your Language for PC and MAC            $189.00         2   $189.00    $378.00
3614227748941 HSI   Rouge A Levres Satin Lip Colour ‐ # 104 Penny Beige ‐ 3.5g/0.12oz                    $41.99         2    $41.99      $83.98
3614227749047 HSI   Rouge A Levres Satin Lip Colour ‐ # 204 Peggy Taupe ‐ 3.5g/0.12oz                    $47.00         3    $47.00    $141.00
3145891651782 HSI   ROUGE ALLURE 178 Rosy Brown                                                          $45.00         5    $45.00    $225.00
8712079396381 HSI   Royal Talens Van Gogh Watercolour | National Gallery Set | 18 Half Pans + Brush      $39.99         4    $39.99    $159.96
 865545000232 HSI   Sagely Naturals Relief & Recovery CBD Cream ‐ 2.0 fl oz                              $16.99         2    $16.99      $33.98
 855711004133 HSI   Sarabecca Floral Citrus Natural Perfume Roll‐On 0.25 fl. oz.‐ Vegan, Phthalate‐Fr    $18.99         1    $18.99      $18.99
4971451182590 HSI   Sashiko Autumn Leaves Cushion Embroidery Kit                                         $46.00         1    $46.00      $46.00
 841058008378 HSI   Schick Intuition 4‐Blade Lemon Berry Breeze Razor Cartridge Refills 3ct Lather       $10.99         2    $10.99      $21.98
 841058008767 HSI   Schick Quattro Titanium Razor and Refills ‐ 1.0 set                                   $9.49         3     $9.49      $28.47
 785652035173 HSI   Sea Gull Lighting 7813801EN Outdoor Flush Mount Light                               $135.92        17   $135.92   $2,310.64
 857611003032 HSI   SeroVital ADVANCED at Nordstrom                                                     $119.00         1   $119.00    $119.00
 844050003440 HSI   Sewnuch Cosplay Sew Super Cosplay Shears Cp‐shears Dmg Box                           $41.99         6    $41.99    $251.94
 843479161922 HSI   SHARPER IMAGE Bluetooth Tracking Device, Track Keys or Almost Anything, Batt         $31.99         5    $31.99    $159.95
 843479108019 HSI   SHARPER IMAGE Sleep Therapy White Noise Machine, Soothing Nature Sounds f            $61.59         1    $61.59      $61.59
 843479137330 HSI   Sharper Image Travel UV Lamp, Portable and Compact Ultraviolet Sanitizing Ligh       $31.99         3    $31.99      $95.97
 887621870904 HSI   Siemens P1 250a Max‐ 42 Circuit 480/277 Main Panel Loaded Factory Built             $499.24         2   $499.24    $998.48
 810027430458 HSI   Sky Organics Marula Oil ‐ 1 oz                                                       $17.99         2    $17.99      $35.98
 850004577240 HSI   Sleep Tight Calming Hemp Blend ‐ 20 MG of CBD Hemp Extract, California Poppy         $49.99         2    $49.99      $99.98
 884835007638 HSI   SM Products 13028 7.25 in. 4‐Tooth PCD Cement Fiber Tarantula Diamond Circu          $94.37         2    $94.37    $188.74
 846841019371 HSI   Smart Pulse Oximeter With Relaxation Coach Bluetooth                                 $20.99         2    $20.99      $41.98
 866330000260 HSI   SmartGuard Anti‐Snore Device Custom Snore Stopping Mouth Guard for Deeper            $89.99         1    $89.99      $89.99
 850023754004 HSI   SnoreRx Pro Oral Profile Kit ‐Perfect‐Fit Anti‐Snoring Mouthguard                    $13.00         2    $13.00      $26.00
 860002485607 HSI   Snow Teeth Whitening Unisex White System                                            $199.99         2   $199.99    $399.98
 811572027933 HSI   SodaStream Starry Zero 14.9 fl oz                                                    $33.59         1    $33.59      $33.59
8809545504316 HSI   Soo'Ae FRESH TANGERINE Eye cream Vegan Facial vitamin C eye care                     $12.99         6    $12.99      $77.94
 785901875895 HSI   Square D Homeline 50A Two Pole Circuit Breaker & GFCI HOM250GFIC HOM250             $122.57         5   $122.57    $612.85
 801509344677 HSI   Staples Toner Cartridge For Brother Tn310c                                           $17.99         1    $17.99      $17.99
 784276804783 HSI   STCL‐153PH‐WH Sunnata Touch Dimmer with LED Light                                    $36.26         1    $36.26      $36.26
 884486052087 HSI   Super Smooth Shampoo by Pureology for Unisex 8.5 oz Shampoo                          $25.83         5    $25.83    $129.15
 892316000252 HSI   Susan Posnick ColorFlo Refill 0.016 oz.                                              $33.00         8    $33.00    $264.00
 892316000368 HSI   Susan Posnick Cosmetics Colorme Orchid                                               $35.00         1    $35.00      $35.00
 856078005894 HSI   SUSTAIN Size 1 Menstrual Cup, 1 EA                                                   $23.99         1    $23.99      $23.99
 868014000252 HSI   Synodrin Fast Acting & Maximum Strength Arthritis & Muscle Pain Relief Gel (3o       $11.99         4    $11.99      $47.96
 884521167219 HSI   T.E.D. Anti‐Embolism Stockings Thigh Length 18 mm/Hg White Large Regular ‐ 1         $15.50         1    $15.50      $15.50
 846733041459 HSI   tarte Maracuja Hydrating Tinted Moisturizer 42S tan sand                             $30.00         1    $30.00      $30.00
 846733032044 HSI   Tarte Sugar Rush Fresh & Frosted Highlighter Palette                                 $21.00         1    $21.00      $21.00
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 846733083282 HSI   Tarte Tartelette Energy By Tarte, Amazonian Clay Palette For Women                      $45.00                        1      $45.00        $45.00
 826341040334 HSI   Tech and Go 9.6 Amp 4‐Port Front and Back Seat Charger, Black/Braided with M            $29.67                        1      $29.67        $29.67
 857496002069 HSI   Terrasil® Shingles Skincare Ointment with All‐Natural Activated Minerals® Sooth         $39.99                       96      $39.99     $3,839.04
 856528001612 HSI   Testrovax Testosterone Boosting Compound 60 Tablets of Increased Sex Drive, M           $69.00                        2      $69.00      $138.00
 810012961813 HSI   ThermoPro Wireless Meat Thermometer with Long Wireless Range and Dual Sta               $69.99                        3      $69.99      $209.97
 856367002191 HSI   Thesis Beauty ‐ Facial Scrub West Indies with Poppy Seeds ‐ 4 oz                        $19.95                        1      $19.95        $19.95
 819505011103 HSI   Thundershirt ThunderSpray for Cat                                                       $39.95                        1      $39.95        $39.95
 852900006602 HSI   Tint & Tighten Instant Color Smoothing Cream Dark/Deep 9                                $33.89                        5      $33.89      $169.45
 852900006541 HSI   Tint & Tighten Instant Color Soothing Cream .18 FL Oz Medium/Dark ‐ 0.18 Oz |           $44.90                        5      $44.90      $224.50
 852900006534 HSI   Tint & Tighten Instant Color Soothing Cream, .18 FL OZ, Light/Medium ‐ 9 Ct | CV        $40.99                        9      $40.99      $368.91
5033102885003 HSI   Tool Science TO0004 Tourmaline Ceramic Air N Curl Styler WORKS! Curling Iron            $50.49                        2      $50.49      $100.98
 818748012991 HSI   TriLink 12‐Volt DC Chainsaw Chain Sharpener                                             $64.49                        1      $64.49        $64.49
9421017769451 HSI   Trilogy Eye Contour Cream, 10 mL ‐ For Ageing Skin ‐ Intense Hydration & Radian         $40.99                        4      $40.99      $163.96
7393033090982 HSI   Truembroidery 3 Elite ‐ computer program                                             $1,842.55                        1   $1,842.55     $1,842.55
 841351184472 HSI   Tzumi Power Dock 2‐Outlet Multi‐Port Surge Protector and Phone Stand, White             $24.97                        1      $24.97        $24.97
 841351176460 HSI   Tzumi Soundmates PRO                                                                    $34.97                        1      $34.97        $34.97
 841351176897 HSI   Tzumi UV Vac Handheld Vacuum & Sanitizer, Grey                                          $40.00                        1      $40.00        $40.00
 812451031423 HSI   URBAN ARMOR GEAR UAG Designed for Samsung Galaxy S10 Plus [6.4‐inch Scre                $34.47                        2      $34.47        $68.94
3605972350084 HSI   Urban Decay 2‐Pc. Seeing Double Eyeshadow Primer Potion Gift Set                        $17.50                       26      $17.50      $455.00
3605971186950 HSI   URBAN DECAY BEACHED BRONZER ‐ BRONZED                                                   $31.00                        1      $31.00        $31.00
3605971186912 HSI   Urban Decay Beached Bronzer Sunkissed                                                   $31.00                        1      $31.00        $31.00
3605971774553 HSI   Urban Decay Brow Blade Waterproof Eyebrow Pencil & Ink Stain ‐ Gingersnap ‐ 0           $28.00                        2      $28.00        $56.00
 822985540766 HSI   Utilitech White 5‐in or 6‐in 800‐Lumen Switchable                                       $24.98                        1      $24.98        $24.98
 850015122590 HSI   Vankyo ‐ Leisure 3W Wireless Mini Projector ‐ White                                    $139.99                        1    $139.99       $139.99
 853981008356 HSI   Veritas Farms Full Spectrum Hemp Oil Moisturizing Lotion ‐ Minted Lavender 50           $19.99                        1      $19.99        $19.99
7393033040062 HSI   Viking BlueArrowExpress Husqvarna Specialty Bobbin Case # 920211096 For cat             $98.98                        1      $98.98        $98.98
 853422001304 HSI   VirMAX Blood Sugar Stabilization Formula, Blood Sugar Control, Glucose Toleran          $24.99                        2      $24.99        $49.98
 850004548097 HSI   Vitality Essential Oils 3‐Pack                                                          $29.99                        1      $29.99        $29.99
2100000022205 HSI   Vp Trail High Performance Trail Pedals                                                  $80.00                        2      $80.00      $160.00
 790576271057 HSI   Wac Lighting Responsible Lighting 7pbb241702 White                                      $25.00                        4      $25.00      $100.00
 850006796731 HSI   Wakse Golden Rays Face & Body Illuminator                                               $38.00                        1      $38.00        $38.00
 850006796724 HSI   Wakse Rose Quartz Face & Body Illuminator                                               $38.00                        2      $38.00        $76.00
 792363690416 HSI   Warrior 14" Diamond Blade for Masonry                                                   $67.99                        1      $67.99        $67.99
 850017588271 HSI   Wild One Leash ‐ Standard ‐ Spruce                                                      $58.00                        6      $58.00      $348.00
4251460615525 HSI   WOMANIZER WOMANIZER Premium 2 Black Brand Suction                                      $204.50                        1    $204.50       $204.50
6948959608523 HSI   Women's Print Jogging Pants Sports Pants Yoga Pants Classic Running Tights Fitness Leggings Tights Pants Compres      1       $0.00         $0.00
 800443512227 HSI   YOULY The Champion Black Big Dog Harness, XX‐Large/3X‐Large                             $49.99                        3      $49.99       $149.97
 800443509425 HSI   YOULY The Explorer Yellow & Navy Flannel Dog Coat, Smal                                 $34.99                        1      $34.99        $34.99
3614273061490 HSI   YSL ROUGE VOLUPTE SHINE 121 BEIGE SATIN                                                 $43.00                        9      $43.00      $387.00
3614271709561 HSI   YSL Yves Saint Laurent Lip Balm, 8 ml                                                   $38.00                        1      $38.00        $38.00
3614273542517 HSI   Yves Saint Laurent NU BARE LOOK TINT Hydrating Skin Tint Foundation with Hya            $44.00                        1      $44.00        $44.00
3614272942622 HSI   Yves Saint Laurent Tatouage Couture Velvet Cream Matte Liquid Lipstick N203 R           $19.99                        3      $19.99        $59.97
3614273060790 HSI   Yves Saint Laurent The Slim Glow Matte Lipstick 209 Furtive Caramel                     $19.50                        3      $19.50        $58.50
3614273671026 HSI   Yves Saint Laurent The Slim Velvet Radical Matte Lipstick                               $45.00                        1      $45.00        $45.00
3614273634526 HSI   Yves Saint Laurent The Slim Velvet Radical Matte Lipstick in 311 Released Nudes         $33.83                        2      $33.83        $67.66
3614273325745 HSI   Yves Saint Laurent Ysl Rouge PUr Couture Lipstick ‐ 155 Nu Imprevu                      $38.00                        1      $38.00        $38.00
 765809207387 HSI   3731 Napa Gold Fuel Filter                                                               $7.99                        2       $7.99        $15.98
 822383103730 HSI   Drive Medical Med Aire Alternating Pressure Pump And Pad System 14002 Stand             $68.89                        3      $68.89      $206.67
 843992060375 HSI   Redken Extreme Shampoo ‐ 10.1 OZUPC 843992060375                                        $20.79                        1      $20.79        $20.79
 849956000029 HSI   84ct Sketch & Drawing Set with Storage Case ‐ Drawing Kits ‐ Artsmith                   $20.99                        2      $20.99        $41.98
 884486456038 HSI   REDKEN Color Extend Brownlights Blue Toner Conditioner ‐Removes Brass‐17 Oz             $56.66                        1      $56.66        $56.66
 885837027013 HSI   Chop & Grill GP‐Carving Knife + Fork set                                                $27.98                        2      $27.98        $55.96
 640665154658 HSI   Bronze 5‐Inch LED Landscape Deck Light                                                  $79.00                        3      $79.00      $237.00
 660414201884 HSI   BETTER HOME PRODUCTS 836606 SOMA LEVER PASSAGE SET POLISHED CHROM                       $21.66                       15      $21.66      $324.90
 752830042605 HSI   Luxrite 11 Inch LED Flush Mount Ceiling Light, 15W, 1100 Lumens, 3000K Soft W           $39.99                        1      $39.99        $39.99
 758302065615 HSI   IESSENTIALS IE‐IP6P‐SCTG Tempered Glass Screen Protector for iPhone(R) 6 Plus            $8.50                        9       $8.50        $76.50
 783585153926 HSI   Wall Switch,15A,Wht,1/2 HP,3-Way Switch HUBBELL WIRING DEVICE-K                         $15.44                       40      $15.44      $617.60
 790576396811 HSI   WAC Lighting DS-WD05-NS Tube Architectural 2 Light 13" Tall LED Outd                   $665.95                        2    $665.95      $1,331.90
 790576397016 HSI   WAC Lighting DS-WD06-NS Tube Architectural 2 Light 18" Tall LED Outd                   $800.95                        1    $800.95       $800.95
 800443368473 HSI   Good Lovin' Naturally Shed Large Deer Antler Dog Chew, 9.5 OZ                           $21.20                        1      $21.20        $21.20
 815709024796 HSI   Keto Creamer French Vanilla 2g Net Carbs 10g Quality Fats from Powdered MCT             $48.06                        1      $48.06        $48.06
 818324021454 HSI   Winky LuxWhite Tea Tinted Veil SPF 30 ‐ # Medium/Deep 30ml/1oz                          $12.99                        1      $12.99        $12.99
 819124017784 HSI   360 Electrical Habitat Braided USB Power Cord‐ Blue                                     $19.99                        1      $19.99        $19.99
 841351172530 HSI   7253ST On Air Reverb Pro                                                                $40.00                        1      $40.00        $40.00
 841992045026 HSI   Office Depot® Brand Remanufactured High‐Yield Black Ink Cartridge Replacemen            $53.49                        3      $53.49      $160.47
 846733029037 HSI   Tarte Shape Tape Moisturizer Plump, Glowing Face Cream Travel Size 1 Oz/ 30 M           $35.00                        3      $35.00      $105.00
6932705311157 HSI   Ink For Dummies DH‐56(C6656) Remanufactured Ink Cartridge for HP ‐ Black                 $8.11                        1       $8.11         $8.11
7613023985280 HSI   x5) Hilti Hit‐re 500 V3 Injectable Adhesive Anchors 500ml/16.9 Fl. Oz Epoxy             $20.00                       19      $20.00      $380.00
                                                                                                                                       9195               $162,908.39
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    ATTACHMENT C
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               Worksheet          UPCs (rows) Item Qty      Total
         Residence Wal‐Mart                239      600    $14,011.19
         Residence CVS                     934    1,931   $134,580.26
         Residence HSI                     225      378    $22,030.35
                                         1,398    2,909   $170,621.80
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    SKU        Identified by:           Description         Dept       Price    Qty        Ext
010343915688     Wal‐Mart          EPS 220XL INK BLACK       72       $34.98     1       $34.98
011995006236     Wal‐Mart          TERRY WASH CLOTH          82        $2.12     1       $2.12
012381185276     Wal‐Mart       UNV GARAGE DR REMOTE         12       $29.88     1       $29.88
015594010182     Wal‐Mart          ASTRO LIQ LUBE 5OZ        02        $8.98     2       $17.96
015718893059     Wal‐Mart        RETAINE PM OINTMENT         40       $10.00     1       $10.00
020525960993     Wal‐Mart              MR 4IN1 80CT          40       $29.97     1       $29.97
020525980939     Wal‐Mart            MR 500MG 80CT           40       $18.88     1       $18.88
022600001119     Wal‐Mart        REPHRESH VAGINAL APP        02       $15.96     6       $95.76
022600998532     Wal‐Mart        TROJAN BARESKIN 24CT        02       $15.97     1       $15.97
022796910080     Wal‐Mart       OGX COCO MLK SERUM 4         46        $7.97     1       $7.97
030772032565     Wal‐Mart       ALIGN WMNS DUAL 28CT         40       $29.98     2       $59.96
030772042885     Wal‐Mart          NERVIVE RLF CREAM         40       $12.47     2       $24.94
030772042892     Wal‐Mart          NERVIVE RLF ROLLON        40       $12.47     3       $37.41
030772087831     Wal‐Mart            DWNY LT WL 24Z          13       $15.97     1       $15.97
031604026219     Wal‐Mart          NM VIT D 5000IU LSG       40        $7.94     1       $7.94
031604027889     Wal‐Mart       NATURE MADE CHOLESTO         40       $26.09     1       $26.09
031604042936     Wal‐Mart           NM FISHOIL 300MG         40       $18.00     1       $18.00
033732010306     Wal‐Mart         LUNA GUARD DENTAL          40       $22.00     1       $22.00
035000979087     Wal‐Mart              OW WHT PEN            02       $19.97     7      $139.79
035000985026     Wal‐Mart           CG TG RNW GR 3.0         02        $5.15     1       $5.15
037000491156     Wal‐Mart          NERVIVE HLTH 30CT         40       $20.14     2       $40.28
037000495802     Wal‐Mart            NERVIVE RLF 30CT        40       $20.14     1       $20.14
037000505051     Wal‐Mart          ALIGN 5X CAPS 21CT        40       $26.58     4      $106.32
037000809340     Wal‐Mart        PRILO WILDBERRY 42CT        40       $22.98     2       $45.96
037000938781     Wal‐Mart        CR TP 3DW BR HD2STEP        02       $12.92     2       $25.84
041100080165     Wal‐Mart             CLRTN TAB 10CT         40       $10.97     1       $10.97
041100576859     Wal‐Mart              CLRTN LG 60CT         40       $42.97     1       $42.97
041100589903     Wal‐Mart        ASTEPRO ADULT 120 DS        40       $23.98     1       $23.98
041100806147     Wal‐Mart         CLARITIN 10MG 45 CT        40       $31.97     1       $31.97
041167412404     Wal‐Mart           ALLEGRA TAB 90CT         40       $39.96     2       $79.92
041167412510     Wal‐Mart           ALLEGRA TAB 30CT         40       $19.96     2       $39.92
041167580035     Wal‐Mart             NASACORT 60CT          40       $13.96     7       $97.72
041167580059     Wal‐Mart            NASACORT 120CT          40       $19.96     1       $19.96
041778004708     Wal‐Mart        K‐OTUC WATER SPORT          06       $15.67     4       $62.68
043168524131     Wal‐Mart          CYNC 40 TAPE LIGHT        11        $7.88     1        $7.88
045496590130     Wal‐Mart        NSW JOYCON RED‐BLUE         05       $79.00     1       $79.00
046135330544     Wal‐Mart           SYL 194B LED BLUE        10        $6.88     2       $13.76
046677562403     Wal‐Mart         PHIL SMRT 100W BULB        11       $19.97     1       $19.97
047400661813     Wal‐Mart            MACH3 4CT CART          02       $11.97     1       $11.97
047400670501     Wal‐Mart          KCG DBL EDGE RZR 5        02       $34.97     1       $34.97
047400672437     Wal‐Mart        VENUS INTIMATE SCRUB        02        $9.97     1       $9.97
047469072308     Wal‐Mart          COGNIUM TAB 60CT          40       $19.97     1       $19.97
048107193089     Wal‐Mart         TOTAL LEAN APPETREX        40        $2.00     1       $2.00
048107227074     Wal‐Mart           GNC MEN MULTI 60         40        $8.98     2       $17.96
048341007999     Wal‐Mart       SWIS 100 PREM ROUNDS         02        $2.57     1       $2.57
050036378192     Wal‐Mart              JBL CLIP 4 BLK        72       $49.00     1       $49.00
050716008340     Wal‐Mart                TAP FILTER          09       $20.63     2       $41.26
053076177268     Wal‐Mart           FUNGI NAIL LIQUID        40        $9.94     1       $9.94
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067981088922   Wal‐Mart      KY YOURS MINE 3OZ         02      $14.97     2        $29.94
067981966596   Wal‐Mart     KY DUR SPRAY 0.16OZ        02      $19.97     1        $19.97
069055867990   Wal‐Mart   BRAUN CLEAN RENEW            02       $12.94    2        $25.88
070501021217   Wal‐Mart   NTG RW DAY SPF 30 1Z         46      $21.98     1        $21.98
070501052679   Wal‐Mart    NTG TRP AGE DAY 1.7Z        46      $21.97     1        $21.97
070501102190   Wal‐Mart     NTG RW PRO SRM 1Z          46      $34.97     1        $34.97
070501110980   Wal‐Mart       NTG RW CRM 1.7Z          46      $29.48     6       $176.88
070501111079   Wal‐Mart     NTG RW FF CRM 1.7Z         46      $29.48     9       $265.32
070501111086   Wal‐Mart   NTG RT CORR CRM 1.7Z         46      $30.97     2        $61.94
070501194195   Wal‐Mart    NTG RW CAPS FF 30CT         46      $31.77     2        $63.54
070501400289   Wal‐Mart      NTG SA DAY TRT 2Z         46      $12.97     1        $12.97
071249249130   Wal‐Mart   LOR RVL MIRACLE BLUR         46        $8.98    3        $26.94
071249396346   Wal‐Mart      LOR LTN SPF30 1.7Z        46      $21.97     1        $21.97
072959080211   Wal‐Mart     PROSACEA SKINCARE          40        $8.88    1        $8.88
074101208160   Wal‐Mart    INSTAX MINI 12 PURPL        06      $79.00     1        $79.00
074108381132   Wal‐Mart    INFINITIPRO BY CONAI        02      $30.00     1        $30.00
074170401264   Wal‐Mart       SH SALON PRO GEL         46       $1.00     1        $1.00
074312171390   Wal‐Mart    NATURE S BOUNTY CO          40      $25.33     2        $50.66
074312511356   Wal‐Mart   NATURE S BOUNTY CO Q         40      $31.79     2        $63.58
074312647840   Wal‐Mart    NB ACTIVE MIND 60CT         40      $25.48     2        $50.96
075020051820   Wal‐Mart   NOR ONEBLADE REPL 2P         02      $17.48     1        $17.48
075020064370   Wal‐Mart   SNCR TBP DC SMART BL         02      $80.00     1        $80.00
075020086839   Wal‐Mart       NOR SHAVER 2500          02      $24.98     1        $24.98
075609191466   Wal‐Mart      OL TL EF SPF30 1.7Z       46      $23.44     1        $23.44
075609196379   Wal‐Mart      OL WHIP SPF25 1.7Z        46      $29.94     1        $29.94
075609198076   Wal‐Mart     OL RGN WHIP SPF 40         46      $15.00     1        $15.00
075609199004   Wal‐Mart     OLAY SER TONE PERF         46       $8.68     1        $8.68
075967900861   Wal‐Mart     STICKYBACK 6 FT BOX        19       $7.47     1        $7.47
079400197207   Wal‐Mart      AXE BS ANARCHY 4Z         02       $1.00     1        $1.00
079976473552   Wal‐Mart          7RV‐4 ADPTR           10       $9.98     1        $9.98
079976473859   Wal‐Mart    MULTI‐TOW ADAPTER           10      $19.27     1        $19.27
086279116710   Wal‐Mart   CUISINART TOASTER OV         14      $79.00     1        $79.00
086800064190   Wal‐Mart    NTG MN TINT DEEP 30         02       $0.50     2        $1.00
086800103554   Wal‐Mart    NTG US 60 SRM 1.7OZ         02      $15.98     1        $15.98
087547550625   Wal‐Mart           HP 61 TRI            05      $24.64     1        $24.64
092961019474   Wal‐Mart      ESTROVEN MAX TAB          40      $11.54     4        $46.16
092961040294   Wal‐Mart   ESTROVEN CMPLT 28CT          40      $19.97     4        $79.88
093573578397   Wal‐Mart        CRICUT WD TL ST         19      $18.97     1        $18.97
094841300245   Wal‐Mart      SIMILASAN ALLERGY         40        $7.38    1        $7.38
194252542309   Wal‐Mart        MAGIC MOUSE 2           72      $79.00     1        $79.00
196188049488   Wal‐Mart   HYPERX QUADCAST S RG         72      $129.00    1       $129.00
300055556232   Wal‐Mart      CALTR CAL TAB 120         40       $3.00     7        $21.00
300231822120   Wal‐Mart      REFRESH CONTACTS          40        $7.66    1        $7.66
300233240151   Wal‐Mart     REFRESH OPTIVE .5FO        40      $11.57     1        $11.57
300236630102   Wal‐Mart   REFRESH RELIEVA 10ML         40      $14.47     1        $14.47
300236632083   Wal‐Mart     REFRESH RELVA CONT         40      $13.56     2        $27.12
300236952105   Wal‐Mart   REFRESH DIGITAL 10ML         40      $14.32     1        $14.32
300450206602   Wal‐Mart        ZYRTEC TAB 60CT         40      $32.97     5       $164.85
300450206909   Wal‐Mart        ZYRTEC TAB 90CT         40      $42.47     1        $42.47
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300450444271   Wal‐Mart        TYL EX STR CAP 225       40       $19.97    1        $19.97
300650431330   Wal‐Mart         SYSTANE PF 30CT         40       $12.98    3        $38.94
300650454070   Wal‐Mart       SYSTANE GEL DROPS         40       $13.48    3        $40.44
300650474016   Wal‐Mart           SYSTANE GEL           40       $13.48    1        $13.48
300650481106   Wal‐Mart      SYSTANE COMP 10ML          40       $14.98    2        $29.96
300650481113   Wal‐Mart      SYSTANE COMP 20ML          40       $22.48    1        $22.48
300651431414   Wal‐Mart      SYSTANE ULTRA TWIN         40       $19.48    1        $19.48
300651432060   Wal‐Mart        SYSTANE ULTRA UD         40       $12.98    2        $25.96
300651433074   Wal‐Mart    SYSTANE BALANCE TWIN         40       $22.48    1        $22.48
300651437041   Wal‐Mart      SYSTANE HYD PF 30CT        40       $18.48    1        $18.48
300651502107   Wal‐Mart       SYSTANE DAY/NIGHT         40       $17.48     1       $17.48
300651509298   Wal‐Mart    SYSTANE COMP PF 20ML         40       $26.98    4       $107.92
300654274018   Wal‐Mart     PATADAY 2X DLY 5.0ML        40       $17.48    1        $17.48
300658150011   Wal‐Mart     PATADAY 1X DLY 2.5ML        40       $20.48    1        $20.48
300658150035   Wal‐Mart       PATADAY 1X DLY TP         40       $30.98    1        $30.98
300671201769   Wal‐Mart         VOLTAREN 100G           40       $18.48    2        $36.96
300672039927   Wal‐Mart       EXCED MIG CAP 200         40       $19.73    13      $256.49
300673755208   Wal‐Mart         VOLT 100G 20G           40       $18.48    2        $36.96
300678104926   Wal‐Mart        EXC XS CAPL 200CT        40       $19.73    20      $394.60
301870977011   Wal‐Mart     BEDOYECTA CAPSULES          40       $12.54    1        $12.54
301871610030   Wal‐Mart            AF 24HR KIT          46       $15.97    1        $15.97
301872497012   Wal‐Mart     CER PSORIASIS CREAM         02       $21.82    1        $21.82
302596093511   Wal‐Mart   MEDERMA STRETCH MARK          02       $17.00    1        $17.00
302990100624   Wal‐Mart      CET DH EYE SRM 0.5Z        46       $17.47    1        $17.47
302993889038   Wal‐Mart          CET HYD LTN 3Z         46       $14.22    2        $28.44
305730154215   Wal‐Mart      ADVIL TAB 200 EZ OP        40       $17.98    2        $35.96
305730154987   Wal‐Mart          ADVIL TAB 300          40       $23.47    5       $117.35
305730161510   Wal‐Mart          ADVIL CAP 200          40       $13.94    3        $41.82
305730169493   Wal‐Mart          ADVIL LGEL 200         40       $23.47    17      $398.99
305730169899   Wal‐Mart          ADVIL LGEL 160         40       $17.98    25      $449.50
305731769135   Wal‐Mart       ADVIL LGEL M 200CT        40       $23.47    11      $258.17
305731769890   Wal‐Mart      ADVIL LGEL MINI 160        40       $17.98    7       $125.86
305732450421   Wal‐Mart    NEXIUM CAPSULES 42CT         40       $25.28    1        $25.28
305732451145   Wal‐Mart     NEXIUM TABLETS 14CT         40       $10.44    2        $20.88
305732451428   Wal‐Mart     NEXIUM TABLETS 42CT         40       $25.28    2        $50.56
307660419785   Wal‐Mart     CITRUCEL REG CAP 100        40       $14.97    2        $29.94
307667880502   Wal‐Mart   NCTMINI 4MG MNT 81CT          40       $44.00    1        $44.00
310119022795   Wal‐Mart    BIOTRUE DROPS 2X10ML         40       $19.74    23      $454.02
310119035887   Wal‐Mart       BIOTRUE TWIN 20FO         40       $16.92    3        $50.76
310119600016   Wal‐Mart            ALAWAY PF            40       $12.47    1        $12.47
311017405598   Wal‐Mart   LOTRIMIN AF RINGWORM          40        $9.97    2        $19.94
312547780223   Wal‐Mart   ROG WM FOAM 4M 4.2OZ          46       $59.00    1        $59.00
312547781350   Wal‐Mart   ROG MN FOAM 3M 6.3OZ          46       $60.00    1        $60.00
312843541207   Wal‐Mart      PHILLIPS CLN HLTH 60       40       $25.48    2        $50.96
324208385562   Wal‐Mart         MURO‐128 O/O 5          40       $37.88    3       $113.64
324208532300   Wal‐Mart        PRESRVISN SG 120         40       $28.47    7       $199.29
324208632116   Wal‐Mart     PRESERVISION LUT 120        40       $28.84    8       $230.72
324208697603   Wal‐Mart     PRESRVISN AREDS2 60         40       $19.47    1        $19.47
324208697627   Wal‐Mart    PRESRVISN AREDS2 120         40       $34.47    1        $34.47
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353100248620   Wal‐Mart      CH FLONASE 60 SPRY        40      $15.98     1        $15.98
353100469254   Wal‐Mart        ALLI REFILL 120CT       40      $43.40     3       $130.20
358790007151   Wal‐Mart      THERA TEARS EXTRA         40        $9.94    3        $29.82
363736443009   Wal‐Mart     M‐3 CURE ITCH SYSTEM       02      $14.27     1        $14.27
363824056401   Wal‐Mart          MCX DM 40CT           40      $23.94     2        $47.88
369266000484   Wal‐Mart          IBGARD 48 CT          40      $25.47     2        $50.94
370030165186   Wal‐Mart     PREVACID 15MG 42 CT        40      $23.42     2        $46.84
373089325211   Wal‐Mart     VAZALORE325MG 30CT         40      $14.97     1        $14.97
381371080021   Wal‐Mart     ROC RTNL HA MST 1.7Z       46      $26.97     1        $26.97
381371167241   Wal‐Mart     AV BABY ECZ NGHT 11        02      $19.98     10      $199.80
381371187607   Wal‐Mart     AVN BBY ECZ BALM 5.5       79      $10.58     1        $10.58
608337103403   Wal‐Mart      ORAQUICK HOME HIV         40      $39.88     2        $79.76
608940557648   Wal‐Mart        K COLE BLK BS 6.0       46        $8.12    2        $16.24
619659161293   Wal‐Mart      NSW 128 GB SD CARD        05      $18.88     7       $132.16
627987249620   Wal‐Mart    GOLI ACV GUMMIES60CT        40      $14.98     1        $14.98
628176357409   Wal‐Mart   GOLI ASHWA GUMMY60CT         40      $14.98     8       $119.84
631257158635   Wal‐Mart    UFLORA PROB WMNS 30         40      $19.98     2        $39.96
631656602524   Wal‐Mart    HYDROXYCUT MAX 60CT         40      $22.94     1        $22.94
631656607277   Wal‐Mart    HYDROXYCUT PLATINUM         40        $7.00    1         $7.00
631656712766   Wal‐Mart     PI COLLAGEN PEPTIDES       40      $17.97     1        $17.97
642863041174   Wal‐Mart     GRNS CHWS REG 12OZ         08      $17.98     2        $35.96
647865195009   Wal‐Mart    NEURIVA GUMMY 50CT          40      $29.67     29      $860.43
647865195023   Wal‐Mart    NEURIVA PLS GMY 50CT        40      $39.97     1        $39.97
674986032548   Wal‐Mart    HI NANO MASSAGE GUN         82      $17.99     1        $17.99
678112659203   Wal‐Mart          CE MAX ITCHY          40        $3.52    1         $3.52
681131169745   Wal‐Mart        EQ 750CT SWABS          02       $2.98     1        $2.98
681421036160   Wal‐Mart    ZANTAC‐20MG TABLETS         40       $21.96    1        $21.96
695111000034   Wal‐Mart     SUPERBETA PROSTATE         40      $99.00     2       $198.00
695111001888   Wal‐Mart     SUPER BETA PROS ADV        40      $34.48     2        $68.96
704142000071   Wal‐Mart        FLORASTOR 50CT          40      $48.07     1        $48.07
705875600163   Wal‐Mart       BARLEANS OMEGA3          40      $26.00     1        $26.00
705928008168   Wal‐Mart         NLMED NETIPOT          40      $14.67     1        $14.67
718037869438   Wal‐Mart    WD PASSPORT HDD 4TB         72      $109.00    1       $109.00
719346140249   Wal‐Mart     DRAKKAR BODY SPRAY         46      $13.98     6        $83.88
726000104059   Wal‐Mart    FOCUS FACTOR TABLETS        40       $14.98    2        $29.96
728947000210   Wal‐Mart     ORAL B DENTAL GAURD        02      $19.48     1        $19.48
731124000033   Wal‐Mart     BIOFRZ PAIN RELF GEL       40      $11.98     1        $11.98
731124000064   Wal‐Mart      BIOFRZ PAIN ROLLON        40      $11.98     1        $11.98
763649161906   Wal‐Mart   SEAGATE 1TB GAMEDRVE         72      $59.00     1        $59.00
784276239264   Wal‐Mart       FAN & LED DIMMER         09      $63.00     1        $63.00
787651760025   Wal‐Mart       AZO BLADDER 54CT         02      $18.98     3        $56.94
810390025282   Wal‐Mart     CELLUCOR C4 RIPPED P       40      $32.88     2        $65.76
810390029174   Wal‐Mart       C4 SPORT WTRMLN          40      $17.42     13      $226.46
811346020078   Wal‐Mart        DSC 6B 4CT REFILL       02        $9.97    1        $9.97
811346020092   Wal‐Mart        DSC 4B 4CT REFILL       02        $8.47    3        $25.41
812887019309   Wal‐Mart     JLAB EPIC AIR ANC TW       72      $19.00     1        $19.00
813843038624   Wal‐Mart             CHI AIR            02      $60.00     2       $120.00
814457010730   Wal‐Mart       LSTR PRO LIGHT KIT       02        $9.00    3        $27.00
818253028067   Wal‐Mart     PS HYDE BLUE RAZ POP       40      $17.98     1        $17.98
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818558027895    Wal‐Mart          SS CQC SPARE         14      $31.96      4     $127.84
821735004497    Wal‐Mart     KICKBOXING TRAINER        09       $29.96     1      $29.96
829160897561    Wal‐Mart           HP 21 BLACK         72       $25.92     1      $25.92
829835000425    Wal‐Mart   AMAZING GRASS GREEN         40       $29.99     1      $29.99
838766006413    Wal‐Mart     PROTEIN GREENS MD         40      $39.99      1      $39.99
838766011103    Wal‐Mart   VEGA ESSENTIALS CHOC        40      $25.00      1      $25.00
841058007227    Wal‐Mart    HYDR SLK SENSRFL 4CT       02      $14.97      1      $14.97
841058015604    Wal‐Mart     HYDRO5 SENS REF 4CT       02      $11.32      1      $11.32
841351177719    Wal‐Mart     FITRX HEAT MASSAGE        09      $39.97      1      $39.97
842595119268    Wal‐Mart   C4 12SV STRAW MELON         40      $11.00      14    $154.00
843445020451    Wal‐Mart   DUAL VIBRATING MASSA        02      $29.98      1      $29.98
843479106329    Wal‐Mart      SI POWER MASSAGE         40      $99.97      1      $99.97
843654004914    Wal‐Mart     TCELL RECHARGE E55X       16      $34.98      1      $34.98
850019568264    Wal‐Mart   VP COLLAGEN PWDR 7OZ        40      $18.42      1      $18.42
850184008428    Wal‐Mart   QUNOL TURMERIC 60CT         40      $19.88      2      $39.76
850232005034    Wal‐Mart     VP VANILLA CREAMER        40       $17.39     3      $52.17
852434001036    Wal‐Mart                M              40      $29.95      8     $239.60
852820007758    Wal‐Mart       URX CP SPF30 1.7Z       46        $4.98     1      $4.98
852933008994    Wal‐Mart        OLLY LIBIDO 40CT       40      $16.88      2      $33.76
854242006074    Wal‐Mart          HRY CART 8CT         02      $16.97      1      $16.97
855114000992    Wal‐Mart     PRE‐SEED LUBE 1.4OZ       02      $19.96      1      $19.96
855119006067    Wal‐Mart     FOCUS FACTOR EXTRA        40       $24.96     2      $49.92
855235007252    Wal‐Mart          HRY 12C CART         02       $23.98     1      $23.98
855254007462    Wal‐Mart   GHD PLATINUM PROFES         46      $141.88     3     $425.64
855710002468    Wal‐Mart      NUG MULTI‐VIT 60CT       40      $34.99      4     $139.96
855710002581    Wal‐Mart   NUGENIX BOOSTER 63CT        40      $32.98      2      $65.96
861481000350    Wal‐Mart            SNORERX            40      $15.00      2      $30.00
861543000373    Wal‐Mart    LUMINEUX STRIPS 14PK       02      $29.98      3      $89.94
867299000001    Wal‐Mart     PENETREX CREAM 2OZ        40      $19.17      1      $19.17
883585702619    Wal‐Mart     HP 901 TRICOLOR INK       72       $19.00     1      $19.00
886111609680    Wal‐Mart         HP 950XL BLACK        72       $29.00     1      $29.00
886790017622    Wal‐Mart      BENEFIBER SHAPE 33       40      $12.44      3      $37.32
886790216209    Wal‐Mart    BENEFIBER 62DS PWDR        40      $12.44      1      $12.44
889714001882    Wal‐Mart       CR EMUL CNTR 1CT        02      $47.48      2      $94.96
889894153562    Wal‐Mart        HP 564 CL MULTI        72      $52.00      5     $260.00
889894824646    Wal‐Mart        HP 952 CL MULTI        72      $80.00      1      $80.00
889894900722    Wal‐Mart          HP 65 COLOR          72      $19.92      1      $19.92
891038001004    Wal‐Mart           BIO‐OIL 2 FO        40       $4.50      1      $4.50
894047001065    Wal‐Mart      PREVAGEN REG 60CT        40      $69.98      1      $69.98
898440001394    Wal‐Mart   QUNOL COQ GUMY 60CT         40      $11.88      2      $23.76
3414202000565   Wal‐Mart       COOL WATER M 2.5        46      $36.98      1      $36.98
3605533114070   Wal‐Mart   VISIONNAIRE ADVANCED        46       $70.92     1      $70.92
3606000537507   Wal‐Mart     CV SR DAY CRM 1.76Z       46      $23.98      2      $47.96
5000167242874   Wal‐Mart             NO7 LIFT          46      $69.00      1      $69.00
                                                                          600   $14,011.19
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  Original                                                                                                                                                 MSRP      Amazon
                Identified by:                                                        Product Title                                                                            Qty        Price     Ext
Search Term                                                                                                                                                (USD)      (USD)
3145891407402        CVS         CHANEL N¬∞1 Red Camellia Revitalizing Cream 1.7 Ounce                                                                               $115.00         1    $115.00    $115.00
  48107207694        CVS         GNC Women's Hyaluronic Acid 30 Capsules(EXP:10/2024)                                                                       $15.99                   1     $15.99     $15.99
 733530001284        CVS         NuHair DHT Blocker Hair Regrowth Support Tablets for Men and Women ‐ 60 Ea                                                 $25.99                   2     $25.99     $51.98
  20714803902        CVS         Clinique Superbalanced Silk Makeup SPF 15 ‐ 19 Silk Brandy (D‐G) 1oz/30ml                                                  $14.99                   1     $14.99     $14.99
  33674153338        CVS         Nature's Way Sambucus Immune Elderberry Syrup, Herbal Supplement with Zinc                                                 $15.99                   1     $15.99     $15.99
                                 UGEARS 3D Wooden Puzzles Box ‐ 3D Puzzle Antique Wooden Box Wooden Model Kits for Adults and Teens ‐ Laser‐
4820184121003        CVS         Cut Mechanical Model Construction Kit ‐ Ideal Birthday                                                                     $39.99                   1     $39.99     $39.99
  74312358739        CVS         Nature's Bounty D3,Ultra Strength 250mcg 72 Rapid Release Softgels Exp. 06/2025+                                            $9.25                   2      $9.25     $18.50
3605970363222        CVS         Kiehl's Ultra Facial Cream 1oz                                                                                             $25.00    $26.00         2     $25.00     $50.00
 752110640149        CVS         Olivia Garden SilkCut Shear Case deal (6.5" contains: SK‐650, SK‐T635)                                                    $119.99                   1    $119.99    $119.99
                                 La Roche‐Posay Effaclar Adapalene Gel 0.1% Acne Treatment, Prescription‐Strength Topical Retinoid Cream For Face,
3606000527553        CVS         Helps Clear and Prevent Acne and Clogged Pores                                                                             $35.99    $35.99         3     $35.99    $107.97
                                 THE ROUTE BEAUTY THE EVERYTHING NIGHT Multi‐Tasking Nighttime Active Moisturizer: Rejuvenates, Restores and
 850008193019        CVS         Balances (1.7 Fl Oz)                                                                                                       $90.00                   1     $90.00     $90.00
3348901471268        CVS         Dior CAPTURE DREAMSKIN Care & perfect ‐ global age‐defying skincare ‐ perfect skin creator 1.7 oz / 50 ml                 $154.46                   3    $154.46    $463.38
 840749014100        CVS         Mineral Fusion Pressed Powder Foundation, Deep 1, 0.32 Oz                                                                  $32.99    $13.88         1     $32.99     $32.99
 850038254186        CVS         Yip Apple Smart Tracking Tag Unlimited Tracking Coverage‐ Silver [Brand New]                                               $13.44                   3     $13.44     $40.32
  73950252959        CVS         Waterpik TRS559E Showerhead, Handheld, 5 Settings, Brushed Nickel ‐ New Sealed.                                            $23.99                   1     $23.99     $23.99
3614222867036        CVS         philosophy Ultimate Miracle Worker Anti‐Ageing Eye Cream                                                                   $75.00    $75.00         2     $75.00    $150.00
                                 NaturVet Senior Advanced Joint Health Dog Supplement ‚Äì Includes Glucosamine, MSM, Chondroitin, Collagen ‚Äì
 797801005425        CVS         Helps Supports Canine Joint Health Function ‚Äì 60 Ct. Soft Chews                                                          $20.99                   2     $20.99     $41.98
5060552901878        CVS         Augustinus Bader The Rich Cream, White, 1 Ounces                                                                          $180.00   $179.87         2    $180.00    $360.00
                                 Saalt Soft Menstrual Cup ‐ Super Soft and Flexible ‐ Best Sensitive Cup ‐ Wear for 12 Hours ‐ Tampon and Pad
 851705008118        CVS         Alternative (Grey, Regular)                                                                                                $28.99    $28.99         1     $28.99     $28.99
  26664003386        CVS         VETRISCIENCE Glycoflex Plus Joint Support 120 Chewable Tablets 3386                                                        $55.00                   1     $55.00     $55.00
 834893006241        CVS         Juice Beauty GREEN APPLE Brightening Emulsion Lightweight Moisturizer, 1.5 fl oz                                           $48.00                   1     $48.00     $48.00
9421017769185        CVS         Trilogy Hyaluronic Acid+ Booster Treatment, 0.42 fl oz                                                                     $44.00                   3     $44.00    $132.00
4820184120228        CVS         UGEARS Model Safe Kit | 3D Wooden Puzzle | DIY Mechanical Safe                                                             $49.99    $49.99         1     $49.99     $49.99
3386460032698        CVS         Montblanc ‐ Legend EDT 50 ml                                                                                               $45.00                   1     $45.00     $45.00
  21130787739        CVS         Signature Care Smile Sonic Replacement Tooth Brush Heads 2 Pack                                                             $9.99                   4      $9.99     $39.96
  21888108923        CVS         Mens One, Once‐Daily, High Potency Multivitamin Supplement for Men, Supports Imm                                           $38.72                   1     $38.72     $38.72
 810813033634        CVS         BeautyBio GloPRO Scalp Attachment Head (0.3mm)                                                                             $59.00    $59.00         2     $59.00    $118.00
                                 ThunderEase Dog Calming Pheromone Diffuser Kit | Powered by ADAPTIL | Vet Recommended to Relieve Separation
 819505014173        CVS         Anxiety, Stress Barking & Chewing, and Fear of Fireworks & Thunderstorms (30 Day Supply)                                   $24.99    $13.98         1     $24.99     $24.99
                                 Snow Teeth Whitening at Home System ‚Äì The Original All in One Kit for Regular and Sensitive Teeth ‐ Safe for
 850043719076        CVS         Braces, Enamel, Veneers, and Crowns                                                                                        $69.00                   2     $69.00    $138.00
                                 ORGANIC INDIA Memory Herbal Supplement ‐ Supports Mental Clarity & Healthy Nervous System, Immune Support,
 851469000724        CVS         Vegan, Gluten‐Free, Kosher, USDA Certified Organic, Non‐GMO ‐ 90 Capsules                                                  $23.73    $20.99         7     $23.73    $166.11
 859250011201        CVS         Sanitas Skincare Enzymatic Foaming Cleanser, Pore Refining Cleanser, Fruit Enzymes, 5 Ounces                               $34.00    $34.00         1     $34.00     $34.00
                                 French Girl Rose Sea Polish Sugar Scrub ‐ Exfoliating Body Scrub for Face & Body, Gentle Sea Salt Exfoliator for
 856747006917        CVS         Smooth, Hydrated Skin, Clean, Vegan & Cruelty‐Free, 10 oz                                                                            $42.00         1     $42.00     $42.00
                                 FOREO LUNA 3 Facial Cleansing Brush ‐ Normal skin ‐ Anti Aging Face Massager ‐ Enhances Absorption of Facial Skin
7350092139113        CVS         Care Products ‐ For Clean & Healthy Face Care ‐ Simple & Easy ‐ Waterproof                                                $115.00   $109.50         12   $115.00   $1,380.00
 841058000310        CVS         Schick Hydro Stubble Eraser Refills ‚Äî Stubble Razor Refills, 4 Count                                                     $17.99     $5.68          1    $17.99      $17.99
  87547550632        CVS         HP Original Ink Cartridge *Select* *READ DESC*                                                                             $19.99                    1    $19.99      $19.99
 736150081988        CVS         Laura Mercier Tinted Moisturizer Oil Free, Bisque                                                                          $42.00    $55.95          1    $42.00      $42.00
                                 boscia Indigo Eye Cream ‐ Vegan, Cruelty‐Free, Natural Skin Care ‐ Eye Cream with Wild Indigo, Fucus Algae &
 808144510009        CVS         Hyaluronic Acid ‐ For Sensitive Skin & All Skin Types ‐ 0.51 Fl Oz                                                         $38.00    $17.00         5     $38.00    $190.00
3348901419147        CVS         Christian Dior Homme By Christian Dior For Men. Eau De Toilette Spray 3.4 Ounces                                           $78.00    $91.95         1     $78.00     $78.00
  31604042141        CVS         Nature Made Multi For Her + Omega‐3s Gummies ‐ 80 ct Strawberry|Lemon|Orange                                               $20.70                   3     $20.70     $62.10
 607845051558        CVS         NARS Liquid Blush, orgasm, 0.5 Ounce                                                                                       $48.02    $31.00         1     $48.02     $48.02
  51494104330        CVS         MegaFood ashwagandha Stress Protect herbal blend supplement 2025 Lot 2 Bottles                                             $31.97                   2     $31.97     $63.94
 601299800472        CVS         Galco Stow‐N‐Go Inside The Pant Leather Holster for Taurus Millennium Pro 9/40, Black, STO498B                             $49.00    $41.57         1     $49.00     $49.00
  43168364577        CVS         2 GE Reveal LED 60w Uses Only 10w (4 Bulbs TOTAL)                                                                          $41.99                   1     $41.99     $41.99
3614273621090        CVS         Valentino Voce Viva 2pc Travel Set Women Parfum Spray 15 ml and 7 ml New In Box                                            $64.95                   3     $64.95    $194.85
                                 Force Factor Alpha King Supreme Testosterone Booster for Men with Fenugreek Seed and Ashwagandha to Increase
 818594014842        CVS         Drive and Vitality, Boost Performance, and Build Muscle and Strength, 45 Tablets                                           $34.99    $28.38         5     $34.99    $174.95
                                 CeraVe Cleanser for Psoriasis Treatment | With Salicylic Acid for Dry Skin Itch Relief & Latic Acid for Exfoliation |
3606000538047        CVS         Fragrance Free & Allergy Tested | 8 Ounce                                                                                  $14.99    $13.99         1     $14.99     $14.99
3605970326333        CVS         Lanc√¥me R√©nergie Lift Multi‐Action Face Moisturizer With SPF 15 ‐ With Hyaluronic Acid ‐ For Lifting & Firming          $135.00                   5    $135.00    $675.00
3351500005482        CVS         Azzaro Chrome Pure Eau de Toilette ‚Äî Mens Cologne ‚Äî Citrus, Oriental & Woody Fragrance, 3.4 Fl Oz                      $87.00                   1     $87.00     $87.00
 868846000109        CVS         Amina Baobab ‐ Superfruit Powder                                                                                           $16.99    $16.99         1     $16.99     $16.99
8435137759811        CVS         Prada Luna Rossa Carbon by EDT Spray 1.7 Oz, Multi                                                                         $52.90    $67.00         1     $52.90     $52.90
                                 SYLVANIA ‐ 4157 LED White Mini Bulb ‐ Bright LED Bulb, Ideal for Daytime Running Lights (DRL) and Back‐Up/Reverse
4059089312142        CVS         Lights (Contains 2 Bulbs)                                                                                                  $20.99    $14.75         1     $20.99     $20.99
  47400313095        CVS          üåüGillette Mach 3 Men‚Äôs Cartridge Blades ‐ Pack of 15 ‚ÄúFREESHIP üåü                                                  $23.00                   1     $23.00     $23.00
 786676362054        CVS         Eaton Corporation Br115 Single Pole Interchangeable Circuit Breaker, 120V, 15‐Amp                                          $19.00                   5     $19.00     $95.00
 858941006397        CVS         Jetboil MiniMo Camping and Backpacking Stove Cooking System with Adjustable Heat Control (Sunset)                         $194.06   $164.94         1    $194.06    $194.06
 889446006483        CVS         Phillips AC & USB Travel Power 5 to 12V / 18W Universal Rapid Charger                                                      $12.15                   2     $12.15     $24.30
  15286217080        CVS         Coast FL75: 435 Lumen Dual Color LED, Pure Beam Twist Focus, IPX4 Weather Proof                                            $24.99                   1     $24.99     $24.99
                                 Jarrow Formulas B‐Right Optimized B‐Complex, Dietary Supplement for Cellular Energy, Immune Health and Stress
 790011010067        CVS         Management Support, 100 Veggie Capsules, 100 Day Supply                                                                    $23.95    $18.68         1     $23.95     $23.95
 859250011416        CVS         Sanitas Skincare PeptiDerm Firming Serum, Fast Acting Treatment Serum, Peptides, Serum for Aging Skin, 1 Ounce            $174.00   $174.00         2    $174.00    $348.00
                                 Erno‚ÄØLaszlo Phormula 3‐9 Eye Repair Cream | Anti‐Aging Eye Cream | Caffeine and Squalane Hydrate, Firm Eye
 614969393389        CVS         Area | 0.5 Fl Oz                                                                                                          $198.00   $198.00         2    $198.00    $396.00
                                 Genuine OEM White T‐Mobile Samsung T989 Hercules Galaxy S 2 II Back Door Plate Panel Cover Faceplate Repair Fix
8806071648507        CVS         Replace                                                                                                                    $36.67                   1     $36.67     $36.67
 706195004716        CVS         Oregon's Wild Harvest Lion's Mane Plus Brain & Memory Support with Vitamins & Ginkgo, Organic, 60 Count                    $25.46    $27.95         1     $25.46     $25.46
3348901428545        CVS         Dior Sauvage Eau De Parfum Spray for Men, 6.8 oz                                                                          $170.00                   1    $170.00    $170.00
3145891407907        CVS         No. 1 Red Kamelia Revitalising Serum in Mist 50 ml                                                                         $97.20                   2     $97.20    $194.40
 636893403804        CVS         DEWALT 80173‐4500‐PSI Spray Gun with Adaptor                                                                               $49.97    $65.00         1     $49.97     $49.97
 819702020953        CVS         geckobrands Magnetic Large Phone Dry Bag Black                                                                             $19.99                   1     $19.99     $19.99
  11017570028        CVS         Dr. Scholl's Sport Insoles For Woman Size 6‐10 Massaging Gel                                                               $13.60                   1     $13.60     $13.60
 736150182609        CVS         Laura Mercier Caviar Stick Eye Colour Eyeshadow ‐ Sunbeam (Pale Yellow Shimmer)                                            $29.00                   1     $29.00     $29.00
3616300890295        CVS         GUCCI Natural Finish Fluid Foundation ‐ MEDIUM 330W ‐ 1oz/30ml Authentic NIB                                               $32.49                   1     $32.49     $32.49
                                 Sanitas Skincare Brightening Peel Pads, Home Peeling Treatment, Lactic Acid, Glycolic Acid, Salicylic Acid, Exfoliating
 859250012109        CVS         Peel Pads, 50 pads / 2 Ounces                                                                                              $74.00    $74.00         2     $74.00    $148.00
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                      Everlywell Food Sensitivity Test ‐ Learn How Your Body Responds to 96 Different Foods ‐ at‐Home Collection Kit ‐
868888000204    CVS   CLIA‐Certified Labs ‐ Ages 18+                                                                                           $199.00   $198.00   2    $199.00    $398.00
                      ORGANIC INDIA Turmeric Curcumin Herbal Supplement ‐ Joint Mobility & Immune System Support, Healthy
851469000113    CVS   Inflammatory Response, Whole Root Supplement, Organic Trikatu, USDA Certified Organic ‐ 90 Capsules                       $28.73    $23.99   3     $28.73     $86.19
                      First Aid Beauty Ultra Repair Oat & Hemp Seed Dry Oil: Non‐Greasy and Fragrance Free Oil to Nourish and Calm Skin.
815517023233    CVS   Made with Hemp Seed Oil and Antioxidants for Sensitive Skin (1 oz)                                                        $36.00    $24.00   1     $36.00     $36.00
 75020018557    CVS   PHILIPS Power Cord HQ8505 for RQ11 Charger 2D 1150X 1160X 1180 1190 OEM                                                   $23.43             1     $23.43     $23.43
                      Cellucor C4 Ultimate Shred Pre Workout Powder for Men & Women, Metabolism Supplement with Ginger Root
 842595108071   CVS   Extract, ICY Blue Razz, 20 Servings (Pack of 1)                                                                           $54.99    $36.88   3     $54.99    $164.97
 755970407143   CVS   Nutramax Laboratories Cosequin DS Plus MSM Professional Line for Dogs, 60 soft chews                                      $28.99    $24.99   1     $28.99     $28.99
3614273476782   CVS   Lancome Idole Aura ‐ 25ml Eau De Parfum Spray                                                                             $52.07             1     $52.07     $52.07
  31604030117   CVS   Nature Made Advanced Dual Action Probiotics 15 Billion CFU 30 Capsules Exp 4/24                                           $27.95             1     $27.95     $27.95
                      Lanc√¥me‚Äã Id√¥le Nectar Eau¬†de Parfum ‐ Long Las ng Fragrance with Notes of Bright Florals & Warm Vanilla ‐
3614273749428   CVS   Sweet & Floral Women's Perfume ‐ 0.85 Fl Oz                                                                               $65.00    $65.00   1     $65.00     $65.00
                      FORCE FACTOR Test X180 Alpha Max Total Testosterone and Nitric Oxide Booster for Men with Fenugreek Seed and
818594014873    CVS   Tribulus to Increase Blood Flow and Improve Male Athletic Performance, 180 Capsules                                       $59.99    $52.01   2     $59.99    $119.98
                      GNC Pets ULTRA Skin & Coat Soft Chews, All Dogs, Chicken Flavor. 60‐ct in a 16‐oz Canister | Daily Supplement for
742797882284    CVS   Skin & Coat for Dogs in Chewable Chicken Flavor                                                                           $19.99    $17.69   1     $19.99     $19.99
 41778951422    CVS   1 Kodak Power Flash 35mmx 27 exp One Time Use Camera Experation 2014 Art                                                  $16.16             2     $16.16     $32.32
                      Dr Dennis Gross Alpha Beta Extra Strength Daily Peel: for Oily Skin, Uneven Tone or Texture, Wrinkles or Enlarged
 695866583011   CVS   Pores (60 Treatments)                                                                                                    $150.00             1    $150.00    $150.00
8056597646642   CVS   Dolce & Gabbana DG 4405 Black/Grey Shaded 53/20/140 women Sunglasses                                                     $149.09   $150.99   1    $149.09    $149.09
  33674149287   CVS   Nature's Way, Alive! Max3 Potency Multivitamin ‐ 180 Tablets                                                              $35.95             2     $35.95     $71.90

716106625060    CVS   adidas Men's Athletic Cushioned Low Cut Socks with Arch Compression for a Secure fit (6‐Pair), Black/Aluminum 2, L        $20.00    $14.99   1     $20.00     $20.00
773602369843    CVS   Mineralize Timecheck Lotion                                                                                               $46.00    $35.00   1     $46.00     $46.00
                      Cellucor C4 Original Pre Workout Powder Cherry Limeade¬†| Vitamin C for Immune Support | Sugar Free
810390028382    CVS   Preworkout Energy for Men & Women | 150mg Caffeine + Beta Alanine + Creatine | 30 Servings                                $29.99    $26.97   10    $29.99    $299.90
 87547559031    CVS   Genuine HP 902 Color Ink Cartridges ‐ Cyan & Yellow 02/2025                                                               $17.90              5    $17.90     $89.50
                      FOREO LUNA 3 Facial Cleansing Brush ‐ Sensitive skin ‐ Anti Aging Face Massager ‐ Enhances Absorption of Facial Skin
7350092139151   CVS   Care Products ‐ For Clean & Healthy Face Care ‐ Simple & Easy ‐ Waterproof                                               $139.00   $109.50   19   $139.00   $2,641.00
                      Eau Thermale Avene Solarie UV Mineral Multi‐Defense Tinted Sunscreen Fluid, Clean Formula Sunscreen for
 364760725017   CVS   Sensitive Skin, Reef Friendly, Natural Tint, Non‐Whitening, Antioxidant Protection, 1.7 fl.oz.                            $36.00    $36.00   5     $36.00    $180.00
3616303327569   CVS   Philosophy Hope in a Jar Hyaluronic Glow Moisturizer 15ml 0.5oz                                                           $19.99             1     $19.99     $19.99
 609492800152   CVS   MRM Super Foods ‐ Matcha Green Tea Powder, 6 Ounce                                                                        $25.99    $17.99   4     $25.99    $103.96
  45663975470   CVS   Four Paws Healthy Promise Urinary Tract Health Supplements for Cats                                                       $16.00             2     $16.00     $32.00
 858054006499   CVS   HydroPeptide HydroActive LumaPro‐C Face Serum, Skin Brightening Pigment Corrector, 1 Ounce                               $148.00   $149.00   1    $148.00    $148.00
8053672361223   CVS   Ray‐Ban RB4216‐601/11 Sunglasses Shiny Black/Grey Gradient 56mm                                                           $87.50    $57.99   1     $87.50     $87.50
                      Trilogy Rosehip Oil Antioxidant ‐ For All Skin Types ‐ Certified Organic Beauty Oil Rosapene to Improve the
9421017761721   CVS   Appearance of Fine Lines & Wrinkles, 1.01 Fl Oz (Pack of 1)                                                               $44.00    $39.99   1     $44.00     $44.00
  97855159625   CVS   Logitech PRO X SUPERLIGHT Wireless Gaming Mouse ‐ White                                                                   $79.99             1     $79.99     $79.99
                      LEVOIT 4L Humidifiers for Bedroom Large Room & Essential Oil Diffuser, Quiet Cool Mist for Home, Baby and Plants,
817915027257    CVS   Last up to 40Hours, Dual 360¬∞ Rota on Nozzles, Handle Design, Auto Shut Oﬀ, Blue                                         $49.99    $44.99   1     $49.99     $49.99
 30878145244    CVS   GE Pro 2‐Outlets 2‐Port USB Charging Station 2.1 Amp 10 watt (14524).                                                     $25.98             1     $25.98     $25.98
 93207096709    CVS   Viper 5606V 1 Way Car Alarm Security and Remote Start System                                                              $99.99             1     $99.99     $99.99
300650816052    CVS   PATADAY Once Daily Relief Extra Strength 2.5ml, Clear, 1 pack                                                             $22.99    $14.50   1     $22.99     $22.99
736676901449    CVS   Ruger Hawkeye Long Range 6.5PRC 8‐Round Magazine                                                                          $64.96             2     $64.96    $129.92
                      FOREO UFO 2¬†Red Light Therapy For Face ‐ An Aging¬†Face Moisturizer And¬†¬†Dark Spot Remover ‐ For¬†Deep
7350092139656   CVS   Facial Hydra on ‐¬†¬†Full LED Spectrum¬†‐ Mint                                                                           $299.00   $179.40   14   $299.00   $4,186.00
 733739021472   CVS   NOW Sports Nutrition, D‐Ribose Powder 5,000 mg, Certified Non‐GMO, Energy Production*, 8‐Ounce                            $39.99    $20.82    1    $39.99      $39.99
 693749048107   CVS   Thorne Pepti‐Guard ‐ Support for a Healthy Stomach Lining with DGL and Aloe Vera Extract ‐ 120 Capsules                   $53.00              1    $53.00      $53.00
5033102886949   CVS   Ion Luxe Supercharged Hair Blow Dryer                                                                                    $199.99   $199.99    1   $199.99    $199.99
8436036430474   CVS   IROHA NATURE ‐ Peeling & Exfoliation masks socks with Glycolic Acid                                                                 $23.08    1    $23.08      $23.08
                      Mederma Scar Cream Plus SPF 30, Sunscreen, Protects from Sun Damage, Reduces the Appearance of Scars, 0.7
810000318063    CVS   Ounce, 20 grams (Packaging May Vary)                                                                                      $15.99     $9.06   3     $15.99     $47.97
                      Probiotics by Ancient Nutrition, SBO Probiotics Ultimate 50 Billion CFUs*/Serving, Digestive and Immune Support,
816401024756    CVS   Gluten Free, Ancient Superfoods Blend, 60 Capsules                                                                        $59.95    $44.00   1     $59.95     $59.95
                      Foreo Luna Mini 3 Facial Cleansing Brush ‐ Travel Accessories ‐ Face Massager Electric, Ultra‐Hygienic Silicone ‐
7350092139434   CVS   Simple Face Wash ‐ Electric Face Cleanser ‐ App‐Connected ‐ Fuchsia                                                      $118.44   $179.00   6    $118.44    $710.64
 859250012819   CVS   Sanitas Skincare PeptiDerm Neck + Chest Firming Pads, 25 pads                                                                       $34.99   3     $34.99    $104.97
 856909003167   CVS   ZEN Hemp Balm for Relief, Hemp Oil Extract for Joints, Back, Neck and Elbows, Hemp Infused Topical Cream                  $14.99    $14.88   2     $14.99     $29.98
 896364002947   CVS   Olaplex. N¬∫.8 Bond Intense Moisture Mask                                                                                 $32.00             1     $32.00     $32.00
  87547556634   CVS   HP 63 Black Ink Cartridge F6U62AN Expires May 2025 ‐ Box Wear                                                             $19.16             2     $19.16     $38.32
                      Garden of Life Organics Multivitamin for Men ‐ Men's Once Daily Whole Food Vitamin Supplement Tablets, Vegan,
 658010117678   CVS   60 Count                                                                                                                  $51.99             1     $51.99     $51.99
  74170401257   CVS   Sally Hansen Salon Gel Polish Gel Base Coat                                                                               $12.05             1     $12.05     $12.05
 859509006033   CVS   One Drop Glucose Test Strips (50 Count)‚ÄîCompatible with One Drop Glucose Meter and Starter Kit                          $24.99    $24.99   1     $24.99     $24.99
 651986007493   CVS   Too Faced Better Than Chocolate Eyeshadow Palette                                                                         $14.98    $16.94   1     $14.98     $14.98
3274872372146   CVS   Givenchy L'interdit Women, Eau de Parfum Spray, 1.7 Fl Oz                                                                 $61.90    $63.25   1     $61.90     $61.90
                      Cricket S3 Premium Series 550 5.5 inch Shears Professional Stylist Barber Hair Cutting Scissors, Convex Edge, Swedish
 672555171223   CVS   Steel                                                                                                                     $56.95    $56.95   1     $56.95     $56.95
3614273111928   CVS   Lancome Idole Le Parfum EDP Travel Spray 10mL/0.34oz NEW IN BOX                                                           $22.99             1     $22.99     $22.99
                      Kate Somerville Liquid ExfoliKate ‚Äì Triple Acid Resurfacing Treatment ‚Äì Clinically Formulated AHA Overnight Facial
813920018211    CVS   Exfoliator Smooths Skin and Minimizes Pores, 4 Fl Oz                                                                      $68.00             12    $68.00    $816.00
887167412934    CVS   Estee Lauder Advanced Night Repair Synchronized Multi‐Recovery Complex, Unisex, 1.7 Oz                                   $105.00    $39.00    1   $105.00    $105.00
 12381173419    CVS   Chamberlain KLIK2U‐P2 Universal Wireless Garage Door Keypad SLIDE **NEW** NoBox                                           $13.44              1    $13.44     $13.44
                      AZO Complete Feminine Balance Daily Probiotics for Women, Clinically Proven to Help Protect Vaginal Health,
 787651760162   CVS   balance pH and yeast, Non‐GMO, 30 Count                                                                                   $30.29    $20.20    1    $30.29     $30.29
  51494102237   CVS   MegaFlora Plus Probiotic 60 Caps by MegaFood Exp 5/2025                                                                   $44.65              3    $44.65    $133.95
3348901455381   CVS   Christian Dior Miss Dior Roller‐Pearl Women EDT Rollerball (Mini) 0.67 oz                                                 $38.00              6    $38.00    $228.00
 858847000291   CVS   Navitas Organics Acai Powder, 4oz. Pouch, 38 Servings                                                                     $22.99             10    $22.99    $229.90
4015165337737   CVS   Dr. Barbara Sturm, Face Mask, 50ml                                                                                       $125.00   $125.00    1   $125.00    $125.00
 855710002925   CVS   Nugenix Total‐T Ultimate ‐ Advanced Free and Total Testosterone Booster for Men ‐ 120 Tablets                             $89.99    $84.99    3    $89.99    $269.97
3145891406801   CVS   Chanel N¬∞1 De L'eau Rouge Cologne 100ml                                                                                           $120.00    1   $120.00    $120.00
  51494103203   CVS   MegaFood Men's advanced multivitamin 120 tablets                                                                          $48.99              1    $48.99     $48.99
  92636306021   CVS   Targus Universal Laptop Charger ‐ Black (APA90US)                                                                         $10.50              1    $10.50     $10.50
 859250011386   CVS   Sanitas Skincare Vita C Serum, Nutrient Rich, Antioxidant Serum, 30% Vitamin C, Vegan Squalane, 1 Ounce                  $104.00   $104.00    2   $104.00    $208.00
 767332109015   CVS   Murad Perfecting Day Cream Broad Spectrum SPF 30 ‐ Hydration SPF Facial Moisturizer Cream with SPF, 1.7 Fl Oz             $65.00    $65.00    1    $65.00     $65.00
  43168232401   CVS   GE LED Clear Finish 2ct 40W Ceiling Fan Light Bulbs A15                                                                   $10.99              2    $10.99     $21.98
8435137737819   CVS   Prada Luna Rossa Sport for Men 3.4 oz Eau de Toilette Spray                                                               $90.00              1    $90.00     $90.00
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 73796635008    CVS   OMRON Max Power Relief¬Æ TENS Pain Therapy PM500 NIB NEW IN BOX                                                         $48.14             1     $48.14     $48.14
                      Lanc√¥me Id√¥le Eau¬†de Parfum ‐ Long Las ng Fragrance with Notes of Bergamont, Jasmine & Vanilla ‐ Fresh &
3614272629370   CVS   Floral Women's Perfume ‐ 1.7 Fl Oz                                                                                     $118.00   $118.00   1    $118.00    $118.00
  31604027797   CVS   Cranberry 450 mg Fruit Extract with Vitamin C, 60 Softgels, Urinary Track Health                                        $11.70             1     $11.70     $11.70
 307667845143   CVS   Nicorette Lozenge‐ Nicotine mint Lozenges to Stop Smoking, 2 mg, Mint Flavor ‐ 144 ct‐ 2mg Count                        $69.99    $49.99   1     $69.99     $69.99
  74108385697   CVS   Conair All‐In‐One Facial Trim System Cordless ‐ Wet/Dry ‐ NEW OPEN BOX AS SHOWN                                         $16.14             1     $16.14     $16.14
 882381073961   CVS   Darphin Ideal Resource Perfecting Smoothing Serum for Women, 1 Ounce                                                   $110.00    $28.50   2    $110.00    $220.00
 749699100362   CVS   Ernie Ball Braided Instrument Cable, Straight/Angle, 18ft, Neon Green/Black (P06082)                                    $47.99    $32.99   1     $47.99     $47.99
                      Amazing Grass Vegan Collagen Booster Smoothie Mix: Plant Based Collagen Support Smoothie Booster with Amla,
829835008391    CVS   Schisandra & Maqui Berry, 30 Servings                                                                                   $17.99    $11.99   2     $17.99     $35.98
727783903372    CVS   New Chapter, Every Woman's One Daily Whole Food Multivitamin, 30 Count                                                  $89.00     $9.45   2     $89.00    $178.00
195866175037    CVS   Nike Women's Bella Kai Thong Sandals, Barely Rose/Barely Rose/Dark Smoke Grey, 8                                        $40.00             1     $40.00     $40.00
                      ThunderWunders Cat Calming Chews | Vet Recommended to Help Reduce Situational Anxiety | Great for Vet Visits,
819505014890    CVS   Travel, Separation Anxiety, Fireworks, Thunderstorms & More | 100 Count                                                 $17.99    $18.99   3     $17.99     $53.97
                      Nordic Naturals Ultimate Omega + CoQ10, Lemon ‐ 60 Soft Gels ‐ 1280 mg Omega‐3 + 100 mg CoQ10 ‐ Heart Health,
768990018909    CVS   Cellular Energy, Antioxidant Support ‐ Non‐GMO ‐ 30 Servings                                                            $38.95    $31.20   2     $38.95     $77.90
193104521196    CVS   adidas Originals Women's Superstar Metal Toe Fashion Sneakers FV3310 Size 5.5 us White                                  $79.99             1     $79.99     $79.99
                      Cellucor C4 Ultimate Pre Workout Powder ICY Blue Razz ‐ Sugar Free Preworkout Energy Supplement for Men &
842595112269    CVS   Women ‐ 300mg Caffeine + 3.2g Beta Alanine + 2 Patented Creatines ‐ 20 Servings                                         $39.99    $25.19   11    $39.99    $439.89
                      Foreo Luna Mini 3 Facial Cleansing Brush ‐ Travel Accessories ‐ Face Massager Electric, Ultra‐Hygienic Silicone ‐
7350092139427   CVS   Simple Face Wash ‐ Electric Face Cleanser ‐ App‐Connected ‐ Pearl Pink                                                 $106.88    $89.50   19   $106.88   $2,030.72
  51381992002   CVS   Aura Cacia Chill Pill Essential Oil Blend |GC/MS Tested for Purity |15ml(0.5 oz)                                        $12.30              1    $12.30      $12.30
3616301782391   CVS   philosophy hope in a jar smooth‐glow multi‐tasking moisturizer, 0.5 Fl Oz (Pack of 1)                                   $17.00    $17.00    1    $17.00      $17.00
  15561106108   CVS   CompatiblePad For FishTank Filter Pouch/Bag 20/Mini,30/150,50/200,70/300,110/500                                        $13.98              1    $13.98      $13.98
                      Alavert Allergy 24‐Hour Relief, Flavor Orally Disintegrating Tablets, Non‐Drowsy, Antihistamine, Fresh Mint, 60
 305732620657   CVS   Count                                                                                                                   $27.69    $18.89   2     $27.69     $55.38
  90672379207   CVS   Moda Pro 5pc Complete Kit                                                                                               $31.83             1     $31.83     $31.83
3348901538565   CVS   Dior Capture Totale Cell Energy Super Potent Eye Serum                                                                  $95.80    $69.99   2     $95.80    $191.60
  49696527842   CVS   Fake Security Camera, 3.7 x 3.7 x 2.38 in.                                                                               $5.59             2      $5.59     $11.18
 737052031415   CVS   Hugo Boss DARK BLUE Eau de Toilette, 2.5 Fl Oz                                                                          $61.00             1     $61.00     $61.00
 651986702374   CVS   Too Faced ‐ Sun Bunny Natural Bronzer                                                                                   $30.00    $37.98   1     $30.00     $30.00
                      Garden of Life Dr. Formulated Keto Fit Weight Loss Shake ‐ Chocolate Powder, 10 Servings, Truly Grass Fed Butter &
658010124522    CVS   Whey Protein, Studied Ingredients Plus Probiotics, Non‐GMO, Gluten Free, Keto, Paleo                                    $34.99    $37.79   1     $34.99     $34.99
                      Vichy Normaderm PhytoAction Acne Control Salicylic Acid Moisturizer for Oily Skin, Moisturizing Face Acne
3337875660617   CVS   Treatment with 2% Salicylic Acid & Hyaluronic Acid Face Lotion, Oil‐Free Moisturizer                                    $34.99    $34.99   2     $34.99     $69.98
  15794063049   CVS   Country Life Methyl B12 Cherry Flavor 5000 mcg 60 Lozenges Gluten‐Free,EXP‐08/26                                        $16.73             5     $16.73     $83.65
                      Speedball Professional Relief 4‐Color Ink Set, Supergraphic Black, Quinacridone Red, Hansa Yellow, & Phthalo Blue, 8
651032039805    CVS   Ounce Cans                                                                                                              $85.35             4     $85.35    $341.40

9421017765576   CVS   Trilogy Line Smoothing Eye Gel, 0.34 FL OZ ‐ For Ageing Skin ‐ Energises, Brightens and Tones ‐ Made in New Zealand               $41.99   1     $41.99     $41.99
 192333130308   CVS   Clinique High Impact Zero Gravity Mascara ‐ Black Mascara Women 0.27 oz                                                 $25.00    $20.99   1     $25.00     $25.00
                      Sanitas Skincare Balancing Moisturizer, Lightweight Moisturizer for Combination/Oily Skin, Mattifying, Niacinamide,
859250010242    CVS   1.7 Ounce                                                                                                               $67.00    $67.00   3     $67.00    $201.00
 35886292829    CVS   ZWILLING TWIN GOURMET 31608‐130 SERRATED UTILITY 5" KNIFE FRIODUR BLADE NEW                                             $26.91             3     $26.91     $80.73
 50428622360    CVS   Lot of 2 GOODLINE GROOMING CO. Precision 5‐Blade Razor + 4 Refill Cartridges                                            $10.00             3     $10.00     $30.00
                      Renew Life Extra Care Digestive Probiotic Capsules, 50 Billion CFU Guaranteed, Daily Supplement Supports Immune,
 631257121066   CVS   Digestive and Respiratory Health, L. Rhamnosus GG, Dairy, Soy and gluten‐free, 30 Count                                 $39.99    $28.93   4     $39.99    $159.96
3614227748361   CVS   Burberry Weekend Eau De Parfum for Women, 1 Fl Oz                                                                       $76.00    $74.29   1     $76.00     $76.00
                      Everlywell Testosterone Test at‐Home Lab Collection for Men Measures Total T Level ‐ Accurate Results from a CLIA‐
 868888000297   CVS   Certified Lab Within Days ‐ Ages 18+                                                                                              $69.00   2     $69.00    $138.00
3614229823776   CVS   Hugo Boss Eau De Toilette Natutral Spray, 6.7 Fl Oz                                                                    $114.00             1    $114.00    $114.00
 689304186810   CVS   Anastasia Beverly Hills ‐ Matte Lipstick ‐ Royal Red                                                                    $23.00    $23.00   1     $23.00     $23.00

 842861107791   CVS   Ring Stick Up Cam Battery HD security camera with custom privacy controls, Simple setup, Works with Alexa ‐ White       $99.99             2     $99.99    $199.98
 689304186896   CVS   Anastasia Beverly Hills ‐ Matte Lipstick ‐ Rum Punch                                                                    $23.01    $23.00   2     $23.01     $46.02
  21888105441   CVS   Nutri Stars, Multivitamin, Pineapple Orange, 120 Chewable Tablets                                                       $19.99             5     $19.99     $99.95
7640144283681   CVS   LifeStraw Go Water Filter Bottle with 2‐Stage Integrated Filter Straw for Hiking, Backpacking, and Travel, Blue         $36.84             1     $36.84     $36.84
  40818023709   CVS   MSR Guardian Portable Water Purifier Pump                                                                              $337.00             1    $337.00    $337.00
  30878335898   CVS   NEW! GE Jasco 33589 White Mini Display Port To HDMI Adapter                                                              $6.59             1      $6.59      $6.59
                      URBAN DECAY Naked3 Eyeshadow Palette, 12 Versatile Rosy Neutral Shades for Every Day ‐ Ultra‐Blendable, Rich
 604214919006   CVS   Colors with Velvety Texture ‐ Set Includes Mirror & Double‐Ended Makeup Brush                                           $59.00    $59.00   1     $59.00     $59.00
 896364002749   CVS   Olaplex Hair Perfector No 3 Repairing Treatment                                                                         $30.00    $30.00   1     $30.00     $30.00
3616300890271   CVS   Gucci Beauty Natural Finish Fluid Foundation 350w Medium 30 Ml 1 Fl. Oz3                                                $35.95             1     $35.95     $35.95
  33674150245   CVS   Nature's Way, Primadophilus Reuteri, Superior Probiotic, 90 Vegetarian Capsules                                         $56.36             2     $56.36    $112.72
 850038254162   CVS   Yip Apple Smart Tracking Tag Unlimited Tracking Coverage‐ Rose Gold [Brand New]                                         $13.89             3     $13.89     $41.67
3616300892695   CVS   Burberry Essentials Glow Palette 7g ‐ 02 Medium to Dark                                                                 $23.98             2     $23.98     $47.96
 767336270131   CVS   Michael Michael Kors Women's Petite Wool Stand Collar Clip Coat,Black,8P                                               $285.00             1    $285.00    $285.00
                      Kate Spade New York Stainless Steel Band for 38/40/41mm Apple Watch Series 1‐6, Color: Rose Gold (Model:
796483496347    CVS   KSS0067)                                                                                                               $128.00    $94.67   1    $128.00    $128.00
736150182548    CVS   Laura Mercier Caviar Stick Magenta Eye Colour 1.64g                                                                     $26.00    $31.54   4     $26.00    $104.00
                      EXUVIANCE AGE REVERSE + Rebuild‐5 Antiaging Moisturizer Cream with Shea Butter, Glycerin, Vitamin E, Peony
 732013203306   CVS   Botanical, PHA, Aminofil, and MicroDiPeptide229, 1.7 oz                                                                 $96.00    $62.39   1     $96.00     $96.00
 670367935309   CVS   Peter Thomas Roth | Firmx Collagen Serum Face Serum With Collagen | Collagen Serum, Firming Face Serum, 1 Oz            $99.00    $99.00   1     $99.00     $99.00
3605971536175   CVS   Kiehl's Powerful Strength Line Reducing Concentrate ‐ Large 2.5oz (75ml)                                               $100.00    $62.78   2    $100.00    $200.00
3348901321129   CVS   CHRISTIAN DIOR Sauvage For Men Eau De Toilette Spray, 6.8 Ounce                                                        $170.00   $143.35   1    $170.00    $170.00
                      Lanc√¥me‚Äã Id√¥le Aura Eau¬†de Parfum ‐ Long Las ng Fragrance with Notes of Rose, Jasmine & Salted Vanilla ‐
3614273476287   CVS   Sunny & Floral Women's Perfume ‐ 1.7 Fl Oz                                                                             $118.00   $118.00   1    $118.00    $118.00
 664689720460   CVS   Ermenegildo Zegna Rectangular Sunglasses EZ0021 35P Antique Bronze 59mm 21                                             $350.00             2    $350.00    $700.00
 816820020001   CVS   ArtNaturals Enhanced Vitamin C Serum with Hyaluronic Acid, 1 oz.                                                        $13.82             6     $13.82     $82.92
 840093101143   CVS   Red Yeast Rice Capsules | 120 Count | Non‐GMO, Gluten Free | By Nature's Truth                                          $15.49    $13.99   1     $15.49     $15.49
5056446610957   CVS   Charlotte Tilbury Glow Glide Face Architect Highlighter ‐ ChampagneGlow                                                 $48.00    $25.99   2     $48.00     $96.00
 194473326313   CVS   New With Box Mia McKinley Multi Beige And Black sock booties size 8.5M                                                  $61.10             1     $61.10     $61.10
                      Vega Organic All‐in‐One Vegan Protein Powder, Coconut Almond ‐ Superfood Ingredients, Vitamins for Immunity
838766004853    CVS   Support, Keto Friendly, Pea Protein for Women & Men, 12.1 oz (Packaging May Vary)                                       $42.99    $29.51   1     $42.99     $42.99
768990557873    CVS   Nordic Naturals Lemon Flavor Concentrated Cod Liver Oil, 8 FZ                                                           $32.99             1     $32.99     $32.99
                      Lanc√¥me Id√¥le Eau¬†de Parfum ‐ Long Las ng Fragrance with Notes of Bergamont, Jasmine & Vanilla ‐ Fresh &
3614273549745   CVS   Floral Women's Perfume ‐ 0.34 Fl Oz                                                                                     $32.00             1     $32.00     $32.00
  41260381478   CVS   # Nicotine Gum 4mg Kroger Coated Ice Mint Gum 160 Pieces Exp 01/25+                                                     $42.99             1     $42.99     $42.99
                      Life Extension Cognitex Elite ‐ Brain Health Supplement ‐ for Focus, Healthy Memory and Cognition Support with
737870239666    CVS   Calcium, Sage & Blueberry Extract ‐ Gluten Free, Non‐GMO, Vegetarian ‐ 60 Tablets                                       $56.00    $40.94   1     $56.00     $56.00
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                      Om Mushroom Superfood Turkey Tail Mushroom Capsules Superfood Supplement, 90 Count, 30 Days, Immune
 856210008233   CVS   Support, Polysacchrides, Beta‐Glucans, Gut Health & Holistic Defense Mushroom Supplement                                    $29.99    $23.04   1     $29.99     $29.99
3145891463484   CVS   Authentic Chanel Ultra Le Teint Ultrawear Flawless Finish Foundation BD141 1 OZ                                             $39.99             1     $39.99     $39.99
 810390029075   CVS   Cellucor BCAA Sport, BCAA Powder Sports Drink for Hydration & Recovery, Cherry Limeade, 30 Servings                         $24.99             3     $24.99     $74.97
                      Trilogy Vitamin C Moisturising Lotion, 1.69 Fl Oz ‐ For Dull Skin ‐ Brighten & Hydrate with Vitamin C, Rosehip & Daisy ‐
9421017766894   CVS   Made in New Zealand ‐ Clean, Natural Beauty                                                                                 $49.99             1     $49.99     $49.99
                      PURE ESSENCE LABS PureBiotics Restore 40+ Probiotic Supplement ‐ Supports Immune & Digestive Health ‐ Dairy &
659670290046    CVS   Gluten Free ‐ 15 Strains (35 Billion CTU) Adults Natural Probiotics (60 Caps)                                               $65.65             2     $65.65    $131.30
 27917001234    CVS   Vitafusion Probiotic Gummy Supplements Raspberry Peach Mango 70 ct 11/2024                                                  $16.95             1     $16.95     $16.95
                      Multivitamin for Women, Ancient Multi Women's, 21 Vitamins and Minerals Including Vitamin D, C, B12, Zinc,
816401023247    CVS   Supports Healthy Immune System and Bone Health, Paleo and Keto Friendly, 90 Capsules                                        $49.95    $35.96    1    $49.95     $49.95
 22506474772    CVS   Spectrum Essentials Softgels Vegan Ultra Omega ‐ 3, 60 Ct, Exp 5/24 NEW SEALED                                              $12.59             12    $12.59    $151.08
 15794016977    CVS   Country Life Pycnogenol 100 mg 30 Veggie Caps Gluten‐Free, Kosher, 30 Capsules                                              $39.99              1    $39.99     $39.99
                      ESSIAC ORIGINAL Herbal Tea Powder ‚Äì 1.5 oz Bottle | Powerful Antioxidant Blend to Help Promote Overall Health
623326003977    CVS   & Well‐being | Original Formula from 1922                                                                                   $44.08    $31.99   1     $44.08     $44.08
 48107127497    CVS   GNC HERBAL PLUS Saw Palmetto For Prostate Extract 160mg Exp. 5/24‐100 Softgels                                              $27.60             1     $27.60     $27.60
                      Vichy Normaderm S.O.S Acne Rescue Spot Corrector, Acne Spot Treatment for Face with 10% Sulfur, Niacinamide &
3337875660648   CVS   Glycolic Acid, Blemish Remover and Pimple Cream to Reduce Breakouts for Sensitive Skin                                      $22.99    $22.99   1     $22.99     $22.99
 604079032643   CVS   philosophy amazing grace eau de toilette, 2 Fl. Oz.                                                                         $60.00    $55.98   2     $60.00    $120.00
  48107207779   CVS   Women's Prenatal Formula with DHA and Iron, 90 capsules, CNG                                                               $127.50             1    $127.50    $127.50
  50428622216   CVS   Goodline Grooming Co. Men's 5 Blade Refill 8 Replacement                                                                     $9.99             5      $9.99     $49.95
                      Sprout Living Epic Protein, Plant Based Protein & Superfoods Powder, Pro Collagen, Berry | 15 Grams Organic
852457007756    CVS   Protein Powder, Vegan, Non Dairy, Non‐GMO, Gluten Free, Low Sugar (0.7 Pound, 12 Servings)                                  $37.95    $35.96   3     $37.95    $113.85
651986505234    CVS   Too Faced Too Femme Heart Core Lipstick Nothing Compares 2 U                                                                $25.99    $18.22   1     $25.99     $25.99
 23601200310    CVS   AccuRelief Universal TENS Unit Supply Kit w/ Snap Electrodes, 8 Sets of 2(16 Ct)                                            $19.99             2     $19.99     $39.98
                      FOREO UFO 2¬†Red Light Therapy For Face ‐ An Aging¬†Face Moisturizer And¬†¬†Dark Spot Remover ‐ For¬†Deep
7350092139632   CVS   Facial Hydra on ‐¬†¬†Full LED Spectrum¬†‐ Pearl Pink                                                                       $299.00   $149.50   15   $299.00   $4,485.00
  18084021699   CVS   Aveda tulasara firming sleeping masque 1 Fl Oz New in Box                                                                   $24.99              3    $24.99      $74.97
3282770101263   CVS   Eau Thermale Av√®ne Cicalfate Restorative Lip Cream, Long Lasting Moisture to Soothe Dry, Cracked Lips, 0.3 oz.             $20.00              1    $20.00      $20.00
 689304186773   CVS   Anastasia Beverly Hills ‐ Satin Lipstick ‐ Praline                                                                          $23.00    $23.00    1    $23.00      $23.00
 719346022699   CVS   Elizabeth Taylor Women's Perfume, White Diamonds, Eau De Toilette EDT Spray, 1.7 Fl Oz                                      $54.00    $24.00    2    $54.00    $108.00
                      Mederma Scar Gel for Kids, Reduces the Appearance of Scars, 1 Pediatrician Recommended, Goes on Purple, Rubs in
810000318070    CVS   Clear, Kid Friendly, Grape Scent, 0.70 Oz                                                                                   $14.99     $6.00   3     $14.99     $44.97
817718026112    CVS   Sunday Performance Jogger | Black Black / L                                                                                $181.53   $181.53   2    $181.53    $363.06
                      Urban Decay Stay Naked Threesome Palette, Rise ‐ Bronzer, Highlighter & Blush Trio ‐ Natural Satin Finish ‐ Lasts Up
3605972251725   CVS   To 14 Hours                                                                                                                 $38.00    $38.00   1     $38.00     $38.00
3348901567442   CVS   NEW DIOR CAPTURE TOTALE Super Potent Serum age‐defying intense FULL SIZE 30ml                                               $61.55             1     $61.55     $61.55
7290015458962   CVS   Renewal Neck Cream                                                                                                                    $73.87   2     $73.87    $147.74
                      LeanFire XT Thermogenic Fat Burner Supplement for Men and Women with Green Tea Extract and L‐Theanine to
 818594013272   CVS   Double Weight Loss and Increase Energy and Endurance, Force Factor, 60 Capsules                                             $99.99             3     $99.99    $299.97
8056597205207   CVS   Prada PR 16XS 1AB5S0 Black Plastic Oval Sunglasses Grey Lens                                                               $342.00             1    $342.00    $342.00
  76753204538   CVS   Good Cook Touch Instant Read Digital Thermometer Comfort Grip Handle                                                         $9.99             2      $9.99     $19.98
 670367936146   CVS   Peter Thomas Roth ‐ Potent‐C Power Scrub 120ml                                                                              $12.00    $29.98   1     $12.00     $12.00
 300650816014   CVS   Pataday Extra Strength Allergy Itch Relief Eye 0.085 flOz 2.5ml                                                             $14.99             1     $14.99     $14.99
  48107170592   CVS   GNC Triple Strength Fish Oil Mini 1000 mg, 120 Mini Softgels, Exp 03/2025                                                   $26.25             2     $26.25     $52.50
  20714419134   CVS   Clinique Redness Solutions Makeup SPF 15‐#03 Calming Ivory CN28 1oz *READ*                                                  $29.90             1     $29.90     $29.90
 736150157461   CVS   Laura Mercier Velour Extreme Matte Lipstick, Hot                                                                            $30.00             4     $30.00    $120.00
4020829005242   CVS   Dr. Hauschka Facial Toner, 3.4 Fl Oz                                                                                        $37.00    $37.00   1     $37.00     $37.00
                      FOREO LUNA fofo Smart Facial Cleansing Brush and Skin Analyzer, Purple, Personalized Cleansing for a Unique
7350092137867   CVS   Skincare Routine, Bluetooth & Dedicated Smartphone App                                                                      $44.00             2     $44.00     $88.00
3386460074834   CVS   MONTBLANC Legend Spirit Eau De Toilette, 1.7 fl. oz.                                                                        $78.00    $72.00   1     $78.00     $78.00
                      L'OREAL PROFESSIONNEL PARIS Steam Hair Straightener & Styling Tool | Steampod Professional Styler | For All Hair
3474636819737   CVS   Types and Textures | 24 Hour Frizz Control | Smooths and Adds Shine                                                        $250.00   $250.00   1    $250.00    $250.00
                      Enzymedica Digest Gold + ATPro, Maximum Strength Digestive Enzymes, Helps Digest Large Meals for Instant
670480241509    CVS   Bloating Relief, 21 Count                                                                                                   $18.49    $13.59   1     $18.49     $18.49
 10343911628    CVS   Epson 786 Magenta 786XL Black 786 Tri‐color Cyan Magenta Yellow Durabrite Ultra                                             $14.50             1     $14.50     $14.50

 661168000167   CVS   Lunch Bag Reusable Cooler Lunch Tote Insulated Leak Proof Lunch Box Container For Ladies Men Work Picnic Travel .           $20.00    $20.00   1     $20.00     $20.00
 853926003286   CVS   Skin Authority Dramatic Eye Lift With SGF‐4 Technology, 0.5 oz.                                                            $139.00             1    $139.00    $139.00
8056597231138   CVS   Dolce & Gabbana DG6138 Black On Tranparent Grey/Grey/Grey Gradient One Size                                                $199.50   $121.00   1    $199.50    $199.50
  75609190346   CVS   Olay Total Effects 7‐In‐1 Tone Correcting Uv Moisturizer Cream 1.7 Fl Oz NEW                                                $17.90             1     $17.90     $17.90
8056597646628   CVS   Sunglasses Dolce & Gabbana DG 4405 30918H Bordeaux                                                                         $317.00   $150.75   1    $317.00    $317.00
  93573677069   CVS   *New* Cricut TRUE CONTROL KNIFE COMBO KIT Rose Maker Factory Sealed Free Ship                                                $9.50             1      $9.50      $9.50
                      SHINE ARMOR Ceramic Coating Fortify Quick Coat Car Wax Polish Spray Waterless Wash & Wax Hydrophobic Top
367703112066    CVS   Coat Polish & Polymer Paint Sealant Detail Protection 8 Fl Oz                                                               $22.95    $12.99   1     $22.95     $22.95
 11502111309    CVS   Maverick Wireless BBQ Meat Thermometer Up to 500 Ft 011502111309 NEW                                                        $31.00             1     $31.00     $31.00
608940578827    CVS   Kenneth Cole Mankind Legacy Eau De Toilette Spray, 3.4 Fl Oz                                                                $84.00    $84.00   1     $84.00     $84.00
194252542422    CVS   Apple Magic Trackpad: Wireless, Bluetooth, Rechargeable. Works with Mac or iPad; Multi‐Touch Surface ‐ White               $129.00             2    $129.00    $258.00
                      Eau Thermale Av√®ne ‐ Cleanance Mattifying Emulsion Lotion ‐ Matte Finish ‐ 24 Hour Hydration For Oily, Blemish‐
3282770207828   CVS   Prone Skin ‐ 1.35 fl.oz. (Pack of 1)                                                                                        $34.00    $34.00   4     $34.00    $136.00
                      Force Factor Prime HGH Secretion Activator, HGH Supplement for Men with Clinically Studied AlphaSize to Help
 818594014538   CVS   Trigger HGH Production, Increase Workout Force, and Improve Performance, 75 Capsules                                        $23.27    $18.37   1     $23.27     $23.27
  47400666528   CVS   Gillette Labs With Exfoliating Bar, , 1 Razor + 1 Razor Stand+ 2 Cartridges ,New                                            $20.64             1     $20.64     $20.64
3282770209938   CVS   Eau Thermale Av√®ne Soothing Radiance Mask, Deep Hydration for All Skin Types, Non‐Comedogenic 1.6 oz.                      $33.00    $32.00   2     $33.00     $66.00
  46396012074   CVS   Ryobi RY253SS 2 Cycle Full Crank Straight Shaft String Trimmer                                                             $132.90             1    $132.90    $132.90
  69055140628   CVS   Braun Series 9 Sport+ Shaver Clean & Charge System ‐ 9320cc, Black                                                         $202.89             1    $202.89    $202.89
 855710002611   CVS   Nugenix Total‐T, Free and Total Testosterone Booster Supplement for Men, 90 Count                                           $69.99    $64.99   3     $69.99    $209.97
                      Saturday Skin Wide Awake Brightening Cream Korean lluminating Eye Cream for Wrinkles, Puffy Eyes Dark Circles
8809314951969   CVS   Lightweight, Moisturizing, Deeply Hydrates, Anti Aging Reduce Fine Lines(0.51 Fl Oz 15ml)                                   $25.00    $25.00   2     $25.00     $50.00
 858830002578   CVS   ResVit√°le Beauty 3 ‐ Skin Care Supplement with Collagen, Keratin & Elastin ‐ 90 Capsules                                   $59.99    $47.99   1     $59.99     $59.99
3605972446657   CVS   Urban Decay Decades Mini Eyeshadow Palette '80s POP QUEEN ‐ New in Box                                                      $11.98             8     $11.98     $95.84
                      Novex Biotech GF‐9 ‚Äì 84 Count ‐ Supplements for Men ‐ Boost Critical Peptide That Supports Energy and
 856528001766   CVS   Performance, 21‐Day Supply                                                                                                  $75.00    $59.99    8    $75.00    $600.00
3605521880147   CVS   Viktor and Rolf Bonbon Women EDP Spray 1 oz                                                                                $118.61    $63.90    2   $118.61    $237.22
 628176357300   CVS   Apple Cider Vinegar Gummies Goli Nutrition Gluten‐Free, Vegan, Non‐GMO 60 count                                             $14.99             28    $14.99    $419.72
                      Centrum Multivitamin Tablet for Women, Multivitamin/Multimineral Supplement with Iron, Vitamin D3, B Vitamins
 305734755715   CVS   and Antioxidant Vitamins C and E, Gluten Free, Non‐GMO Ingredients ‐ 200 Count                                              $14.99     $9.95   1     $14.99     $14.99
3348901569415   CVS   Dior Capture Total Super Potent Cleanser, 110 ml                                                                            $66.73             1     $66.73     $66.73
  30772091685   CVS   Downy Infusions In‐Wash Laundry Scent Booster Beads, 24 Ounce (Pack of 1)                                                   $24.10             1     $24.10     $24.10
  49479025091   CVS   Futurebiotics thinkfast 60 Veg Caps                                                                                         $25.87             1     $25.87     $25.87
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3605971034893   CVS   Yves Saint Laurent Black Opium Eau De Parfum Spray for Women .33 oz.                                                   $36.95             2     $36.95     $73.90
                      Navitas Organics Matcha Powder, 3 oz. Bag, 85 Servings ‚Äî Premium Culinary Grade, Organic, Non‐GMO, Gluten‐
 811961020934   CVS   Free                                                                                                                   $21.99    $20.88   1     $21.99     $21.99
 729238156166   CVS   Shiseido SKN WASO PORE MATTE PRIMER 20ML                                                                               $14.99             2     $14.99     $29.98
4020829071445   CVS   Dr. Hauschka Clarifying Day Oil, 0.6 Fl Oz                                                                             $29.00    $29.00   1     $29.00     $29.00
                      Lutron Caseta Switch &amp; Remote‐Wireless Control | 3‐Way Switch | Compatible with Alexa, Apple HomeKit, and
 784276806473   CVS   the Google Assistant | P‐PKG1WS‐WH | White                                                                             $69.95             1     $69.95     $69.95
 840026641470   CVS   KVD Beauty Shade + Light Refillable Powder Face Contour Palette                                                        $80.00    $49.99   2     $80.00    $160.00
4260521261144   CVS   Dr. Barbara Sturm, Super Anti‐Aging Face Cream, 50ml                                                                  $360.00   $360.00   2    $360.00    $720.00
 603531788043   CVS   Tommy Bahama Maritime Journey Cologne for Him, 2.5 Fl Oz                                                               $70.00    $70.00   1     $70.00     $70.00
                      Saturday Skin Rub‐A‐Dub Refining Peel Gel Facial Cleansing Gels Facial Cleansing Washes Natural Fruit Enzymes Gel
8809314950870   CVS   Mild Cleanser Exfoliating Gel Great for sensitive skin (2.53 Fl. Oz. (75ml))                                           $28.00    $28.00   1     $28.00     $28.00
                      Peter Thomas Roth | PRO Strength Microdermabrasion Blackhead Eliminator, Treatment For Blackheads,
670367015063    CVS   Whiteheads and Pores, Triple‐Action Exfoliator                                                                         $68.00    $42.95   3     $68.00    $204.00
                      Eau Thermale Av√®ne PhysioLift NIGHT Smoothing Night Balm with Retinaldehyde to Reduce the Appearance of
3282770049350   CVS   Wrinkles, 1 oz.                                                                                                        $59.00    $59.00   2     $59.00    $118.00
 350580726389   CVS   Zyrtec 24 Hour Allergy Relief Tablets, 10 mg Cetirizine HCl Antihistamine Allergy Medicine, 45 ct                      $38.56             1     $38.56     $38.56
  48107170615   CVS   GNC Triple Strength Fish Oil Supplement 1,000 Mg EPA/DHA‐ 60 Softgels Exp 04/24                                        $17.99             2     $17.99     $35.98
                      FOREO LUNA mini 3 Ultra‐hygienic Facial Cleansing Brush, All Skin Types, Face Massager for Clean & Healthy Face
7350092139458   CVS   Care, Extra Absorption of Facial Skin Care Products, Waterproof                                                       $179.00   $179.00   6    $179.00   $1,074.00
 196745960263   CVS   Calvin Klein Ava Novelty Demi Shoulder Bag, Black Multi Perf Logo                                                     $148.00    $80.36   1    $148.00    $148.00
  31604018948   CVS   Nature Made CoQ10, 100 mg, 40 Softgels Dietary Supplement EXP 6/25                                                     $10.75             1     $10.75      $10.75
                      Jarrow Formulas Jarro‐Dophilus EPS Gut Restore Probiotics 25 Billion CFU With 8 Clinically‐Studied Strains, Dietary
 790011030409   CVS   Supplement for Intestinal and Immune Support, 30 Veggie Capsules, 30 Day Supply                                        $39.95    $23.61    1    $39.95     $39.95
  28295504522   CVS   Umbra Eckduschablage Flex, verstellbares Duschregal mit Gel‐Lock, Grau, 16x26 cm                                      $114.56              1   $114.56    $114.56
  73796226145   CVS   Omron PMLLPAD‐L Electrotherapy Long Life Pads, Size Large ‐ 2 Count                                                    $10.99              1    $10.99     $10.99
3616301782407   CVS   philosophy renewed hope in a jar smooth glow multi‐tasking moisturizer, 4 Fl. Oz.                                      $72.00    $72.00    1    $72.00     $72.00
 740985274354   CVS   21st Century Co Q10 200 mg Capsules, 120 Count (27435)                                                                 $39.99    $29.02    3    $39.99    $119.97
  16185129429   CVS   NeoCell Collagen Beauty Biotin Powder Skin Hair & Nails Cranberry Flavor, 11.6oz                                       $23.95             16    $23.95    $383.20
  15794030263   CVS   Gut Connection, Digestive Balance, 60 Vegan Capsules Expiry:8/2025                                                     $26.99              7    $26.99    $188.93
                      URBAN DECAY Naked Foxy Mini Eyeshadow Palette ‐ 6 Olive‐Toned Neutral Shades ‐ Richly Pigmented & Ultra
3605972689818   CVS   Blendable Mattes and High‐Shine Shimmers ‐ Up to 12 Hour Wear ‐ Perfect for Travel                                     $33.00    $33.00   2     $33.00     $66.00
4020829080577   CVS   Dr. Hauschka Soothing Day Lotion, 1.7 Fl Oz                                                                            $35.00    $35.00   1     $35.00     $35.00
  49057103067   CVS   Korky Toilet Flapper Rubber Red                                                                                         $7.67             1      $7.67      $7.67
 855710002710   CVS   Nugenix Ultimate Free Testosterone Booster Supplement for Men ‐ 56 Count                                               $39.99    $34.99   7     $39.99    $279.93
 736150174833   CVS   Velour Extreme Matte Lipstick                                                                                          $30.00             4     $30.00    $120.00
 317163050897   CVS   API QUICK START Freshwater and Saltwater Aquarium Nitrifying Bacteria 16‐Ounce Bottle                                  $23.78    $10.52   2     $23.78     $47.56
                      Host Defense, MycoBotanicals Brain Capsules, Promotes Concentration, Memory and Cognitive Function, Mushroom
633422038629    CVS   and Herb Supplement, Unflavored, 60 Count (Pack of 1)                                                                  $29.95    $23.96   1     $29.95     $29.95
                      Nutramax Laboratories Dasuquin with MSM Joint Health Supplement for Large Dogs ‐ With Glucosamine, MSM,
755970460407    CVS   Chondroitin, ASU, Boswellia Serrata Extract, and Green Tea Extract, 84 Soft Chews                                      $58.99    $54.76   1     $58.99     $58.99
                      Mdrive Prime ‐ Testosterone Support for Men, Max Energy, Stress Relief and Lean Muscle, KSM‐66 Ashwagandha, S7
852388001243    CVS   Nitric Oxide Booster, Bioperine and DHEA, 60 Capsules                                                                  $34.99    $28.99   4     $34.99    $139.96
                      Milk Makeup RISE Mascara ‐ 0.28 fl oz ‐ Lifts, Lengthens, Curls & Adds Volume ‐ Weightless Formula ‐ Conditions &
 840157410747   CVS   Strengthens ‐ Vegan, Cruelty Free                                                                                      $28.00    $16.00   1     $28.00     $28.00
4020829030268   CVS   Dr. Hauschka Soothing Cleansing Milk, 1 Fl Oz                                                                          $39.00    $13.00   1     $39.00     $39.00
 812256027577   CVS   Ariana Grande Thank you Next 2.0 (Thank you Next)                                                                      $55.99             2     $55.99    $111.98
  96018035219   CVS   Lancome Blush Subtil Powder Blush 280 Mocha Havana 0.18oz/5.1g New With Box                                            $26.99             2     $26.99     $53.98
 192333102749   CVS   Clinique Smart Clinical Repair Wrinkle Correcting Eye Cream for Women ‐ 0.5 oz Eye Cream                              $106.34    $24.87   5    $106.34    $531.70
                      FOREO UFO 2¬†Red Light Therapy For Face ‐ An Aging¬†Face Moisturizer And¬† Dark Spot Remover ‐ For¬†Deep
7350092139649   CVS   Facial Hydra on ‐¬† Full LED Spectrum¬†‐ Fuchsia                                                                      $299.00   $149.50   16   $299.00   $4,784.00
                      FiberCon Fiber Therapy Coated Caplets, Safe, Simple & Comfortable Insoluble Fiber for Bowel Irregularity,
300052500238    CVS   Comfortable Constipation Relief with No Gas or Bloating, 140 Caplets                                                   $15.99    $12.79   4     $15.99     $63.96
                      Vital Nutrients Mannose Powder | Vegan D‐Mannose Supplement for Urinary Tract and Bladder Support* | Gluten,
 693465437117   CVS   Dairy and Soy Free | Non‐GMO | 50 Servings                                                                             $40.90    $40.90   1     $40.90     $40.90
7640126630359   CVS   Alchimie Forever Protective Day Cream SPF 23 | Protects Against UVA & UVB and Hydrates | 1.7 Fl Oz                     $71.00    $71.00   1     $71.00     $71.00
                      FemiClear 2‐Day Dose Yeast Infection and Itch Control Ointment, for Moderate to Intense Symptoms, Made with All‐
817008020110    CVS   Natural and Organic Ingredients, Plus External Anti‐Itch Ointment for Soothing Care                                    $19.97    $16.01   1     $19.97     $19.97
                      Kate Somerville DermalQuench Liquid Lift | Advanced Wrinkle Treatment | Deeply Hydrating Oxygen Facial | 2.5 Fl
 813920011397   CVS   Oz                                                                                                                    $110.00             4    $110.00    $440.00
3616302764655   CVS   GUCCI FLORA GORGEOUS GARDENIA 2PC GIFT SET, 5ml Mini Dabbler,10ml Rollerball                                           $58.99             2     $58.99    $117.98
3616300890240   CVS   Gucci Beauty Natural Finish Fluid Foundation 160n Fair 30 Ml 1 Fl. Oz3                                                 $35.95             1     $35.95     $35.95
                      Raptic Action Band, Compatible with 38mm Apple Watch ‐ Replacement Band ‐ Soft Silicone, Active Watch Band ‐
6950941459235   CVS   Compatible with Apple Watch Series 1, Series 2, Series 3 and Nike+, [Purple/Pink]                                      $24.99             2     $24.99     $49.98
4020829013926   CVS   Dr. Hauschka Regenerating Eye Cream, 0.5 Ounce                                                                         $75.00    $75.00   1     $75.00     $75.00
                      Kate Somerville Retinol Firming Eye Cream ‚Äì Anti‐Aging Treatment Clinically Proven to Firm, Brighten and Smooth
813920015388    CVS   Lines and Wrinkles, 0.5 Fl Oz                                                                                          $98.00             5     $98.00    $490.00
840749014926    CVS   Mineral Fusion Lengthening Mascara, Graphite, 0.57 Fl Oz (Packaging May Vary)                                          $19.99             2     $19.99     $39.98
 33674158951    CVS   Men's Gummy Multivitamin By Nature's Way ‐ 75 Gummies Exp 02/23+                                                       $19.35             6     $19.35    $116.10
                      SAMSUNG T7 Shield 1TB, up to 1050MB/s, USB 3.2 Gen2, Rugged, IP65 Rated, for Photographers, Content Creators
887276543901    CVS   and Gaming, Portable External Solid State Drive (MU‐PE1T0S/AM, 2022), Black                                           $129.99             1    $129.99    $129.99
                      Kate Somerville KateCeuticals Lifting Eye Cream | Powerful Anti‐Aging Treatment | Visibly Smooths Fine Lines &
 810023370840   CVS   Wrinkles | 0.5 Fl Oz                                                                                                  $140.00             13   $140.00   $1,820.00
 736150182524   CVS   Laura Mercier Caviar Stick Eye Colour Eyeshadow ‐ Burgundy (Bordeaux Shimmer)                                          $29.00              2    $29.00      $58.00
 182655000267   CVS   F1RST Purpose Livital ‐ 90 Vegetarian Capsules                                                                         $74.99              1    $74.99      $74.99
 681066010822   CVS   Vivtar Muze QUAKE True Wireless Bluetooth Sport Earbuds Black. Open Box                                                $15.33              1    $15.33      $15.33
3386460032681   CVS   MONTBLANC Legend Eau de Toilette Spray for Men, 3.3 Ounce                                                              $95.00    $98.00    1    $95.00      $95.00
  75967308278   CVS   Large Foam Workbench Mounting Tape 60 in. L 1 Pk                                                                       $14.24              1    $14.24      $14.24
 710363596767   CVS   Irwin Naturals Dual‐Action Testosterone‐Extra Fat Burner 60 Sgels                                                      $37.32              2    $37.32      $74.64
                      Verilux¬Æ HappyLight¬Æ Lucent ‐ One‐Touch Light Therapy Lamp with 10,000 Lux, UV‐Free, LED Bright White Light &
768533140036    CVS   Detachable Stand for Boosting Mood & Improving Sleep                                                                   $44.95    $39.99   1     $44.95     $44.95
 72879302141    CVS   Dritz 7/16" Extra‐Large Eyelets & Tools BK125 72pc                                                                     $19.99             1     $19.99     $19.99
716170079424    CVS   Bobbi Brown Hydrating Face Cream, Brown, 1.7 Fl Oz                                                                    $148.98    $47.00   1    $148.98    $148.98
603531784090    CVS   Tommy Bahama St. Barts Men Eau De Cologne, 3.4 Fl Oz                                                                   $72.00    $72.00   1     $72.00     $72.00

8809803522946   CVS   Sulwhasoo Essential Comfort Firming Cream: Moisturize, Soothe, and Visibly Firm, 2.53 fl. oz. (Packaging May Vary)    $120.00   $120.00   2    $120.00    $240.00
  76753204545   CVS   Good Cook Touch‐ Instant Read Thermometer with Comfort Grip Handle NSF Certified                                        $9.99             1      $9.99      $9.99
 840072904123   CVS   Jaclyn Cosmetics Brightening & Settings Palette Light To Medium 4 Shades.                                              $34.00             1     $34.00     $34.00
 651986702343   CVS   Too Faced Chocolate Soleil Matte Bronzer Milk Chocolate                                                                $36.00    $30.59   4     $36.00    $144.00
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                      SHARPER IMAGE Ultimate Sleep White Noise Sound Machine for Adults and Baby, Portable Relaxing Music and
843479191837    CVS   Nature Sounds Therapy, Aids Sleeping, Stress and Anxiety Relief, with USB Cord                                              $19.99             1    $19.99    $19.99
773602187126    CVS   MAC Pigment                                                                                                                 $21.99    $21.99   1    $21.99    $21.99
                      Ora Organic Prebiotic and Probiotic Powder Supplement ‐ 20 Billion Probiotics, 7 Strains for Best Prebiotic Powder,
856720007672    CVS   Non‐GMO, Probiotics for Women, Men & Kids ‐ Apple Raspberry Flavor, 30 Servings‚Ä¶                                          $42.11    $40.99   1    $42.11    $42.11
                      Logitech for Creators Blue Yeti USB Microphone for Gaming, Streaming, Podcasting, Twitch, YouTube, Discord,
836213002070    CVS   Recording for PC and Mac, 4 Polar Patterns, Studio Quality Sound, Plug & Play‐Blackout                                     $129.99    $99.99   1   $129.99   $129.99
                      Garden of Life Dr. Formulated Probiotics Once Daily ‐ Acidophilus Probiotic with Daily Support for Digestive and
658010118279    CVS   Immune Health ‐ Gluten Free, Dairy Free, Soy Free Probiotics, 30 Vegetarian Capsules                                        $24.49             1    $24.49    $24.49
810813032835    CVS   Beauty Bio Science GloPro Face Replacement 2 Microtip Head. NIB                                                             $34.97             1    $34.97    $34.97
                      Power Strip, Allocacoc PowerCube |Extended|, 4 Outlets 2 USB Ports, 5 feet Cable, Surge Protection, Mounting
8718444081371   CVS   Dock, Compact for Travel, Home and Office, Space Saving, ETL Certified                                                      $29.99             1    $29.99    $29.99
                      EXUVIANCE AGE REVERSE Day Repair SPF 30 Firming Face Cream with Retinol, NeoGlucosamine, Peptides and
 732013202576   CVS   Antioxidant, 50 g.                                                                                                          $87.00    $56.54   2    $87.00   $174.00
3614228843713   CVS   Gucci Guilty Pour Femme Eau de Toilette Rollerball 0.25 oz/ 7.4 mL                                                          $59.93             2    $59.93   $119.86
  48107165659   CVS   GNC TriFlex Supplement, 120 Tablets, Joint Support, Expires 05/25                                                           $36.99             1    $36.99    $36.99
3380810013252   CVS   Mac Studio Fix Fluid Spf 15 Foundation Nc 10 30ml/1 Oz                                                                      $39.00    $29.89   2    $39.00    $78.00
                      Genuine Health Probiotics for Women UTI Support 50 Billion CFU, 15 Diverse Strains, Non GMO, Dairy Free, Gluten
624777009433    CVS   Free, Soy Free, Vegan Delayed‐Release Capsules, for Advanced Gut Health, 30 Count                                           $36.98    $34.99   3    $36.98   $110.94
710363585983    CVS   Irwin Naturals Testosterone Up Red 60 Sgels                                                                                 $43.98    $14.99   3    $43.98   $131.94
                      Bartesian Candyman Margarita Cocktail Capsules for Cocktail Machine ‚Äì Home Bar Mixology Cocktails Mix Capsule
 850050482291   CVS   Set To Use With the Bartesian Premium Cocktail Drink Maker Machine ‚Äì Pack of 8                                            $19.99    $19.99   1    $19.99    $19.99
 818640020421   CVS   Family Health 6 Gift Set by Healing Solutions                                                                                         $24.99   1    $24.99    $24.99
3348900669697   CVS   DiorShow Waterproof Mascara ‐ 090 Catwalk Black by Christian Dior for Women ‐ 0.38 oz Mascara                               $26.25             4    $26.25   $105.00
                      Jarrow Formulas SAMe 400 mg Extra Strength Vegan Naturally Derived SAMe Dietary Supplement, SAMe
790011200208    CVS   Supplement Supports Joint Health, Liver Health and Brain Health, 30 Tablets, 30 Day Supply                                  $48.99    $21.51   1    $48.99    $48.99
608926763469    CVS   Calvin Klein Men's Cotton Classics 3‐Pack Undershirts, 3 WHITE ‐ CREWNECK, XL                                               $46.00    $32.20   1    $46.00    $46.00
 15905001229    CVS   Aqueon Quietflow Internal Power Filter                                                                                      $32.95             1    $32.95    $32.95
 41778737552    CVS   Kodak PowerFlash 800 35mm Single Use Film Camera HDPower Flash 27 Exposure 11/24                                             $8.99             3     $8.99    $26.97
                      Blue Stop Max Muscle & Joint Relief Gel: Fast‐Acting Sore Muscle, Back & Neck Relief Cream, Numbing Emu Oil
832492046453    CVS   Formula for Ankle, Leg Cramps, Tennis Elbow ‐ 8 Oz Pump Bottle                                                              $21.99             1    $21.99    $21.99
                      EXUVIANCE AGE REVERSE Total Correct + Sculpt Hydrating Antiaging Face Serum with Vitamin C, For fine lines and
732013202590    CVS   wrinkles, 1 fl. oz.                                                                                                         $89.00    $89.00   1    $89.00    $89.00
 48107042929    CVS   GNC Mens Arginmax ‐ 180 CT ‐‐NEW SEALED                                                                                     $44.99             3    $44.99   $134.97
 31604026646    CVS   Nature Made Burp‐Less Fish Oil 1200 mg One Per Day, 120 Softgels Exp 04/25 (d3)                                             $22.00             1    $22.00    $22.00
                      Jarrow Formulas 7‐Keto DHEA 100 mg, Dietary Supplement for Fatty Acid and Carbohydrate Metabolism Support, 30
790011150619    CVS   Veggie Capsules, 15‐30 Day Supply                                                                                           $23.50    $16.79   1    $23.50    $23.50
                      Arthritis Wonder Pain Relief Cream, 8 oz ‚Äì Arthritis Pain Relief Cream for Hand, Knee, Foot and Wrist Joints ‚Äì Fast‐
853352008039    CVS   Acting, Deep Penetrating, Non‐Greasy Formula with Natural Wogonin                                                           $29.99    $29.99   4    $29.99   $119.96
                      Urban Decay Eyeshadow Primer Potion, Original ‐ Award‐Winning Nude Eye Primer for Crease‐Free Eyeshadow &
3605970936099   CVS   Makeup Looks ‐ Lasts All Day ‐ Great for Oily Lids ‐ 0.33 fl oz                                                             $27.00    $27.00   1    $27.00    $27.00
  51494101704   CVS   MegaFood Blood Builder 30 Tablets Exp 05/2025                                                                               $16.35             1    $16.35    $16.35
  15082833064   CVS   New, Free Ship, Century 120‐Volt 80‐Amp Flux‐cored Wire Feed Welder                                                        $169.97             1   $169.97   $169.97
 810813033627   CVS   BeautyBio Rejuvenating Scalp + Fuller Hair Therapy Set (0.3mm)                                                             $249.00   $249.00   1   $249.00   $249.00
3348901377935   CVS   Dior Capture Youth Lift Sculptor Lifting Serum 30ml                                                                        $155.95             3   $155.95   $467.85
 737257679153   CVS   TOPFIN H300 WATT AQUARIUM HEATER 45‐65 GALLON, #9153                                                                        $25.48             2    $25.48    $50.96
3386460074827   CVS   MONTBLANC Legend Spirit By for Men ‐ 3.3 Oz Edt Spray, 3.3 Oz                                                               $95.00    $98.00   1    $95.00    $95.00
 753759223137   CVS   Garmin 010‐12883‐00 HRM‐Dual Heart Rate Monitor, Black                                                                      $69.99    $54.99   1    $69.99    $69.99
                      Ring Video Doorbell Wired | Use Two‐Way Talk, advanced motion detection, HD camera and real‐time alerts to
 840080557021   CVS   monitor your front door (wiring required)                                                                                   $64.99             1    $64.99    $64.99
5060552905647   CVS   Augustinus Bader Women's The Light Cream, One Size                                                                         $175.00    $80.00   1   $175.00   $175.00
 850028758106   CVS   Drybar Reserve 3‐in‐1 Interchangeable Blow‐Dryer                                                                           $349.00   $349.00   1   $349.00   $349.00
                      Jarrow Formulas Hyaluronic Acid 120 mg ‐ 60 Veggie Caps ‐ 30 Servings ‐ Bioavailable & Naturally Derived ‐ Supports
790011290186    CVS   Skin Health ‐Hyaluronic Acid ‐ Dietary Supplement ‐ Vegan ‐ Non‐GMO                                                         $19.95    $13.27   1    $19.95    $19.95
603531784021    CVS   Tommy Bahama Martinique Women Eau de Parfum Spray, 3.4 Fl Oz                                                                $75.00    $75.00   1    $75.00    $75.00
                      NaturVet ‚Äì Outta My Box ‚Äì 500 Soft Chews ‚Äì Deters Dogs from Eating Cat Stools ‚Äì Reduces Cat Stool Odors ‚Äì
 797801035231   CVS   For Dogs & Cats ‚Äì 50 Day Supply                                                                                           $18.99             1    $18.99    $18.99
 850038254155   CVS   YIP Smart Tag Pet ID Tag and Tracker For Apple iPhone Oval Black                                                            $14.64             4    $14.64    $58.56
4002515970331   CVS   Miele Blizzard CX1 Cat & Dog Bagless Canister Vacuum, Lotus White ‐ Pet Hair, Portable                                     $999.00             1   $999.00   $999.00
  48107193034   CVS   GNC Total Lean Phase 2 Carb Controller Dietary Supplement 120ct BB4/24                                                      $17.95             2    $17.95    $35.90
                      ARCONA Gentle Solution ‐ 4% Glycolic, 3% Lactic Acids, Algae, Witch Hazel + Honeysuckle Gentley Exfoliate +
874316000289    CVS   Hydrate Skin 1.17oz. Made In The USA                                                                                        $45.47             1    $45.47    $45.47
                      Ralph Lauren ‐ Ralph's Club ‐ Eau de Parfum ‐ Men's Cologne ‐ Woody & Fresh ‐ With Lavandin, Sage, Vetiver, and
3605971512650   CVS   Cedarwood ‐ Medium Intensity ‐ 1 FL Oz                                                                                      $65.00             1    $65.00    $65.00
  51221282164   CVS   Clover Takumi Bamboo Circular Knitting Needles No. 19 (3016/24‐19)                                                           $8.99             2     $8.99    $17.98
                      Eau Thermale Av√®ne RICH Revitalizing Nourishing Cream, Ultra Nourishing Face Moisturizer, Non‐comedogenic 1.6
3282770209396   CVS   fl. oz.                                                                                                                     $42.00    $42.00   2    $42.00    $84.00
  39052812071   CVS   Franzus Grounded Adapter Plug,No NWG3C, Travel Smart New Free Shipping                                                       $7.95             1     $7.95     $7.95
                      Zesty Paws Allergy Immune Soft Chews + Hemp Seed for Dogs ‐ with Turmeric, Cod Liver Fish Oil, Beta Glucan,
854880008263    CVS   Vitamin C & Quercetin ‐ Supports Dog Immune System Function + Seasonal Allergies ‐ 90 Chews                                 $34.97    $29.75   1    $34.97    $34.97
718103220842    CVS   Staples 1128402 Counterfeit Pens Black 12/Pack (43373)                                                                      $56.45    $10.31   1    $56.45    $56.45
 79407992119    CVS   CAROL PRIMARY Wire 14ga. 17', red. 14ga., 17 ft yellow. One price free shipping                                             $13.99             1    $13.99    $13.99
                      ThunderWunders Hemp Dog Calming Chews | Vet Recommended for Situational Anxiety | Fireworks,
 819505014821   CVS   Thunderstorms, Travel & More | Made with Hemp Seed, Thiamine, L‐Tryptophan, Melatonin & Ginger (180 Count)                  $42.99    $17.95   1    $42.99    $42.99
 670480981115   CVS   Enzymedica Digest, Full‐Range, Everyday Digestive Enzymes, Offers Fast‐Acting Gas & Bloating Relief, 90 Count               $37.49    $26.65   3    $37.49   $112.47
  37000939528   CVS   Align Probiotic Supplement for Daily Digestive Health, 14 capsules Exp. 08/2024                                              $9.99             5     $9.99    $49.95
  53232788543   CVS   LifeTime Herbal Support Oregano Oil & Olive Leaf 2 oz Liquid                                                                $27.99             1    $27.99    $27.99
  74108188533   CVS   Conair Mini Pro Ceramic 1/2 Inch Flat Iron                                                                                  $14.34             3    $14.34    $43.02
  15905061179   CVS   Plastic Storage Container Set for4, Kitchen Clear Organizer BPA                                                             $17.09             1    $17.09    $17.09
3348901520195   CVS   Dior Men's Sauvage Refillable Eau de Toilette Spray, 1‐oz.                                                                  $79.00    $68.00   1    $79.00    $79.00
 196465974953   CVS   adidas Women's Puremotion Adapt Sportswear Sneaker, White/Carbon/Almost Yellow, 8                                           $70.00    $56.96   1    $70.00    $70.00
                      Vichy Capital Soleil Tinted Mineral Sunscreen for Face SPF 60, Titanium Dioxide Face Sunscreen, Travel Size
3337875650403   CVS   Sunscreen, Water Resistant, Light weight Sun Protection Creams, Gels, & Lotions                                             $34.99    $34.99   1    $34.99    $34.99
 883991126061   CVS   Vince Camuto Amore by Vince Camuto Mini EDP Rollerball .2 oz for Women                                                      $14.90             1    $14.90    $14.90
                      IT Cosmetics Your Skin But Better CC+ Cream, Fair ‐ Color Correcting Cream, Full‐Coverage Foundation, Hydrating
817919010644    CVS   Serum & SPF 50+ Sunscreen ‐ Natural Finish ‐ 1.08 fl oz                                                                     $47.00    $47.00   1    $47.00    $47.00
 31604026745    CVS   Nature Made ‐ D3 2000 IU ‐ 220 Tablets Exp: 2024+                                                                           $12.99             1    $12.99    $12.99
 17200000280    CVS   ARC Whitening Tray + Whitening Gel + Storage Case, Enamel Safe                                                              $10.55             3    $10.55    $31.65
                      Eau Thermale Av√®ne Mineral High Protection Honey Tinted Compact, Broad Spectrum SPF 50 ‐ UVA/UVB Blue Light
3282770203592   CVS   Protection ‐ net wt. 0.35 oz.                                                                                               $42.00             1    $42.00    $42.00
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773602421695    CVS   MAC Studio Fix Powder Plus Foundation NC10,0.52 Ounce (Pack of 1)                                                      $39.00             1     $39.00    $39.00
                      Renew Life Ultimate Care Probiotic Capsules, Daily Supplement Supports Respiratory, Digestive and Immune Health,
 631257121035   CVS   L. Rhamnosus GG, Dairy, Soy and gluten‐free, 100 Billion CFU, 30 Count                                                 $59.99    $40.99   3     $59.99   $179.97
 886284172417   CVS   The Company of Animals ‐ Halti Walking Harness (chest 22" ‐ 30"), Medium, Red                                          $35.99    $21.99   1     $35.99    $35.99
 195732006670   CVS   adidas Women's Racer TR21 Running Shoe, White/White/Grey, 8                                                            $75.00    $59.98   1     $75.00    $75.00
  48107192334   CVS   3 GNC Women's One Daily Multivitamin 50 Plus Supplement Caplets 12/2023 180 Ct                                         $22.89             4     $22.89    $91.56
  17817553476   CVS   New in Open Box Bose QC15 QuietComfort 15 Acoustic Noise Cancelling Headphones                                        $209.50             1    $209.50   $209.50
5060140204145   CVS   Hydromax Crystal Clear X20 Penis Pump                                                                                  $96.48             2     $96.48   $192.96
3614225492037   CVS   Philosophy PURITY Made Simple Moisturizer Travel Size 0.50 oz. Sealed in Box                                            $8.50             4      $8.50    $34.00
                      Cellucor Whey Sport Protein Powder Chocolate | Post Workout Recovery Drink with Whey Protein Isolate, Creatine
810390027842    CVS   & Glutamine | 18 Servings                                                                                              $29.99    $29.99   2     $29.99    $59.98
 33674123744    CVS   Nature's Way Premium Herbal Blend Relax Powder 2.25 Oz 40 Servings @3                                                  $14.95             3     $14.95    $44.85
                      Caldwell Accumax Premium Carbon Fiber Sling Swivel Stud Bipod with Twist Lock Quick‐Deployment Legs for Rifle
661120416166    CVS   Stability, 6"‐9", black                                                                                               $139.99             1    $139.99   $139.99
 74108215239    CVS   Conair Mini Dual Deluxe Styler Add Curls and Waves/Straighten Perfect On‐The‐Go                                        $14.50             1     $14.50    $14.50
                      Ora Organic Prebiotics and Probiotics for Women ‐ Lactobacillus for Vaginal and Urinary Tract Health, Contains 16
856720007559    CVS   Billion CFU, 6 Strains ‐ 1 Month Supply, 60 Vegan Probiotic Capsules                                                   $44.00    $37.99   1     $44.00    $44.00
 30985004755    CVS   DERMA E ‐ Therapeutic Skin Brighten ‐ 2 oz. Exp 08/2023                                                                $13.99             1     $13.99    $13.99
817494011661    CVS   Sunday Riley C.E.O. 15% Vitamin C Brightening Serum, Orange, 1.0 Fl oz(pack of 1)                                      $85.00    $85.00   3     $85.00   $255.00
                      Pittsburgh QuikFind Tape Measure ~ 25 Foot by 1 Inch, Easy to Read, High Strength ABS Rubber Wrapped Case (Black
792363690317    CVS   with Orange Trim)                                                                                                      $14.00    $11.94   1     $14.00    $14.00
195251574698    CVS   Under Armour unisex adult Jet '21 Basketball Shoe, White (103 White, 12 Women Men US                                   $75.00             1     $75.00    $75.00
                      HomeDNA Ancestry Analysis + Report | Choose The Test That's Right for You | at‐Home DNA Test Kit | Lab Fees NOT
 855462007018   CVS   Included | Kit ONLY                                                                                                    $24.99     $8.92   1     $24.99    $24.99
 850025150002   CVS   Flexir Recovery Muscle Massager                                                                                        $64.89    $34.45   1     $64.89    $64.89
  73796634001   CVS   DMZ BOX Omron PM400 Pocket Pro TENS Therapy Pain Relied                                                                $19.99             1     $19.99    $19.99
8056597071611   CVS   Ray‐Ban RB4305 Round Sunglasses, Striped Red Havana/Dark Brown, 53 mm                                                 $160.00   $160.00   1    $160.00   $160.00
                      Zantrex Blue ‐ Weight Loss Supplement Pills ‐ Weight Loss Pills ‐ Weightloss Pills ‐ Dietary Supplements for Weight
681168407025    CVS   Loss ‐ Lose Weight Supplement ‐ Energy and Weight Loss Pills ‐ 84 Count                                                $19.99    $19.99   1     $19.99    $19.99
                      bareMinerals Barepro 16HR Skin‐Perfecting Powder Foundation, Matte Pressed Powder Foundation Full Coverage
 194248006914   CVS   with Plant‐Based Squalene, Oil Control, Vegan                                                                          $35.00    $38.00   2     $35.00    $70.00
 307667847147   CVS   Nicorette Nicotine Lozenges to Stop Smoking, 4 mg, Mint Flavor ‐ 144 Count                                             $69.99    $46.19   1     $69.99    $69.99
 603912739299   CVS   Jimmy Jane Ascend, No. 4, Pink                                                                                         $79.99             2     $79.99   $159.98
3614226905697   CVS   BURBERRY for Women Eau de Parfum 50 ml                                                                                 $27.94    $54.60   1     $27.94    $27.94
3614272453135   CVS   Lanc√¥me Hypn√¥se Eyeshadow Palette ‐ Highly Pigmented & Long‐Wear ‐ Flake & Smudge‐Proof ‐ Taupe Craze                $65.00    $65.00   1     $65.00    $65.00
 192625876600   CVS   Jessica Simpson Kassime 2 Smoke 8 M                                                                                    $49.00             1     $49.00    $49.00
  40102047107   CVS   Andis 04710 T‐Outliner Trimmer ‐ Gray                                                                                  $39.95             1     $39.95    $39.95
 841886110328   CVS   NAPA Automobile Lamps BP9008NVV2‐N BP9008 9008 Halogen Headlamps (2 Pack)                                              $10.79             1     $10.79    $10.79
                      Eau Thermale Av√®ne ‐ Cleanance Concentrate Blemish Control Serum ‐ Minimizes Appearance of Blemishes & Non‐
3282770138979   CVS   comedogenic ‐ Long Lasting Results ‐ Airless Pump, 1 fl.oz.                                                            $36.00    $35.00   1     $36.00    $36.00
  85715630001   CVS   Oscar by Oscar De La Renta, 5.9 oz Body Cream for Women                                                                $52.84             1     $52.84    $52.84
  71160133426   CVS   STAR WARS DARTH VADER Pyrex Reusable Silicone Storage Bag Half Gallon Size New                                         $11.00             2     $11.00    $22.00
  87547559321   CVS   Genuine HP 932 Black Ink Cartridge Inkjet Exp May 2021 NEW IN BOX                                                       $7.00             1      $7.00     $7.00
3605971972508   CVS   Lanc√¥me Blush Subtil Blush ‐ Oil‐Free Silky Makeup Powder ‐ Long‐Wear ‐ Blushing Tresor                               $34.00    $34.00   1     $34.00    $34.00
 896364002930   CVS   Olaplex No. 8 Bond Intense Moisture Mask                                                                               $30.00    $29.99   1     $30.00    $30.00
 727783903389   CVS   New Chapter, Every Man's One Daily Whole‐Food Multivitamin, 30 Count                                                   $89.00    $13.99   4     $89.00   $356.00
                      Lanc√¥me Advanced G√©nifique Radiance Boosting Anti‐Aging Face Serum ‐ Visibly Hydrates & Plumps Skin ‐ with
3605533117217   CVS   Bifidus Prebiotic, Hyaluronic Acid & Vitamin Cg, 1.7 Fl Oz                                                            $135.00   $135.00   4    $135.00   $540.00
  74306800572   CVS   Healthy Green Plant‐Based Superfood Powder ‐ Hemp Acai Maca Chlorella Alfalfa                                          $20.39             5     $20.39   $101.95
                      French Girl Neroli Eye Serum ‐ Renewing Treatment Oil for Under Eyes and Fine Lines, Brightening Depuffer, Organic
856747006894    CVS   Plant‐Based Ingredients, Vegan & Cruelty‐Free, 3 oz                                                                    $45.00    $45.00   1     $45.00    $45.00
 24286150518    CVS   Super Macho with Zinc, Ginseng and High Potency B Vitamins, 50 softgels, 08/2025                                       $12.45             1     $12.45    $12.45
 15794030201    CVS   Country Life ‐ Gut Connection Cognitive Balance ‐ 60 Capsules ‐ EXP 09/24                                              $21.99             2     $21.99    $43.98
 87547550649    CVS   HP 564 Black Ink Cartridge Single CB316WN C2P51FN NEW SEALED Mar or Sep 2017                                            $7.56             3      $7.56    $22.68
                      Snow Extra‐Strength Teeth Whitener Wands, Teeth Whitening Refill, Easy to Use Teeth Whitener Pen, Teeth
 860002485621   CVS   Whitening Pen Gel Refill, Oral Care Essentials & Whitener for Your Teeth ‐ Pack of 2                                   $44.99             3     $44.99   $134.97
3274872372153   CVS   Givenchy Givenchy L'inerdit Women Eau De Parfum Spray, 2.5 Ounce                                                      $131.00    $82.10   1    $131.00   $131.00
                      PawZ Rubber Dog Boots for Paws 4" and Up, 12 Pack ‐ All‐Weather Dog Booties for Hot Pavement, Snow, Mud, and
897515001062    CVS   Rain ‐ Waterproof, Anti Slip Dog Socks ‐ X‐Large, Green                                                                $19.99             1     $19.99    $19.99
722089658452    CVS   Giani Bernini 2‐Pc. Cubic Zirconia Earring Set in 18 K Gold Sterling Silver, AUT                                       $24.99             1     $24.99    $24.99
 31604017170    CVS   Vitamin C 500mg Immune System and Skin Health Antioxidant Support 100ct **NEW**                                        $12.99             3     $12.99    $38.97
850006433056    CVS   no b.s. foaming cleanser aloe vera cucumber green tea                                                                             $8.90   1      $8.90     $8.90
666151112162    CVS   Dermalogica Daily Glycolic Cleanser Face Wash (5.1 Fl Oz) Washes & Brightens Skin Tone with Glycolic Acid              $37.00    $37.00   2     $37.00    $74.00
 15794014140    CVS   L‐Theanine, 100 mg, 60 Chewable Tablet                                                                                 $23.77             1     $23.77    $23.77
                      Winky Lux | White Tea Tinted Veil Moisturizer | SPF 30 | Hydrating Moisturizer | UV Protection | Tinted Moisturizer
818324021454    CVS   for Face with SPF | With Vitamin E, 1 FL OZ (Medium Deep)                                                                        $12.80   1     $12.80    $12.80
818535015723    CVS   Rare Essence Electronic Ceramic diffuser                                                                               $42.99    $49.99   1     $42.99    $42.99
                      TATCHA The Silk Peony Melting Under Eye Cream | Hydration with Line‐Smoothing Eye Cream for Wrinkles and
653341137524    CVS   Hydration | 15 ml / 0.5 oz                                                                                             $62.00    $62.00   3     $62.00   $186.00
 76630169622    CVS   American Health Ester‐C 500mg With Citrus Bioflavonoids 240 Capsules                                                   $39.53             2     $39.53    $79.06
                      Gucci Square/Rectangle Optical Frames Havana Havana Transparent Luxury Eyewear Made In Italy Acetate Frame
195072964869    CVS   Designer Fashion for Everyday Luxury                                                                                  $480.00   $159.99   1    $480.00   $480.00
                      Eau Thermale Av√®ne Solaire UV Mineral Multi‐Defense Sunscreen Fluid SPF 50+ ‐ Non‐Whitening ‐ Antioxidant &
 364760724010   CVS   Blue Light Protection ‐ 1.7 fl. oz.                                                                                    $36.00             4     $36.00   $144.00
  56389095861   CVS   Coghlan's ‐ Emergency Drinking Water Germicidal Tablets ‐ Model #7620                                                  $15.81             2     $15.81    $31.62
3348901580076   CVS   Dior Homme Sport Eau de Toilette 75 ml                                                                                           $89.90   1     $89.90    $89.90
  48107129217   CVS   GNC Yohimbe Extract Traditional Male Herb 100 Capsules 450 mg NEW Exp 04/25                                            $32.00             1     $32.00    $32.00
                      StriVectin Tighten & Lift Peptight 360 Degree Eye Serum with Tightening & Brightening Peptides for Wrinkles, Under
810014321202    CVS   Eye Bags and Puffiness, 1 fl. Oz                                                                                       $72.00    $72.00    1    $72.00    $72.00
 20525974129    CVS   MEGARED Advanced 6X Better absorption Omega‐3s ‐ 800mg ‐ EX. 2/24 ‐ 40 Softgels                                        $21.05             14    $21.05   $294.70
                      Foreo Luna Mini 3 Facial Cleansing Brush ‐ Travel Accessories ‐ Face Massager Electric, Ultra‐Hygienic Silicone ‐
7350092139465   CVS   Simple Face Wash ‐ Electric Face Cleanser ‐ App‐Connected ‐ Midnight                                                  $118.00   $179.00   6    $118.00   $708.00
 695866572213   CVS   Dr. Dennis Gross Advanced Retinol + Ferulic Texture Renewal Serum: for a Smooth, Retextured Complexion 1 oz            $76.00    $76.00   4     $76.00   $304.00
                      Ancient Nutrition Plant Based Protein Powder, Plant Protein+, Chocolate, Organic Vegan Superfoods Supplement,
816401024879    CVS   15g Protein Per Serving, Gluten Free, Paleo Friendly 12 Serving                                                        $44.95    $38.21   1     $44.95    $44.95
856864002038    CVS   LIFTLAB Lift + Moisturize Daily Cream, 1.7 Fl Oz                                                                      $120.00    $87.33   2    $120.00   $240.00
 71709214470    CVS   Carter's Neat‐Flo 2oz Bottle Stamp Pad Inker Red EA ‐ AVE21447                                                          $6.99             1      $6.99     $6.99
324208432723    CVS   PreserVision AREDS Eye Vitamin & Mineral Supplement, Tablets, 240 Count (Pack of 1) , Packaging may vary               $39.99    $20.45   3     $39.99   $119.97
 31658105182    CVS   Vet's Best Plant‐Based Spot‐On Treatment for Dogs, Under 15 lbs, 4 Doses                                               $16.40             3     $16.40    $49.20
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                      DoMatcha ‐ Summer Harvest Green Tea Matcha Powder, Natural Source of Antioxidants, Caffeine, and L‐Theanine,
775088010806    CVS   Promotes Focus and Relaxation, Kosher, 75 Servings (2.82 oz)                                                               $40.40    $36.95   1     $40.40      $40.40
                      RectiCare Anorectal Lidocaine 5% Cream: Topical Numbing Cream for Treatment of Hemorrhoids & Other Anorectal
304960892300    CVS   Disorders ‐ 30g Tube                                                                                                       $31.99    $19.90   1     $31.99      $31.99
 27104500014    CVS   Slick 50 Synthetic Engine Treatment (15 oz)                                                                                $29.29             1     $29.29      $29.29
 75137110854    CVS   Compound W 2 In 1 Treatment Kit Large Warts Freeze off Liquid Wart Remove 6/2023                                           $12.48             1     $12.48      $12.48
 31604042943    CVS   Nature Made Fish Oil 1200mg, 150 Softgels, Fish Oil Omega 3 Exp 11/25 #2943                                                $15.00             1     $15.00      $15.00
 48107041366    CVS   GNC Men's Yohimbe 451 Traditional Herb for Sexual Health 60 Capsules 07/2024 NEW                                           $36.99             6     $36.99     $221.94

 850019720754   CVS   NuFACE FIX Starter Kit ‚Äì Line Smoothing Device for Eyes, Mouth and Forehead, Blur Lines and Enhance Lip Fullness     $165.00      $165.00   1    $165.00     $165.00
3614273610582   CVS   YVES SAINT LAURENT 2 PC GIFT SET BLACK OPIUM EAU DE PARFUM SPRAY‐BRAND NEW.                                            $140.00                1    $140.00     $140.00
  18084961445   CVS   Aveda Tulasara Firm Concentrate 1.0 Fluid Ounces                                                                         $59.99               2     $59.99     $119.98
 850026256178   CVS   Mad Hippie ‐ Hydrating Facial SPF 25, 2 fl. oz                                                                           $19.99      $19.99   1     $19.99      $19.99
  48107207885   CVS   RENEW ACTIVES Women's Mul & An oxidants, 60 Caps BRAN NEW¬† Exp:09/23                                                    $11.89               2     $11.89      $23.78
  90385425024   CVS   NEW Dr. Ph. Martin's OCEAN 3E Dark Matter Black Fountain Pen Ink ‐ 1 oz Bottle                                            $9.99               2      $9.99      $19.98
 195739525969   CVS   adidas Women's Puremotion Running Shoe, Black/Bliss Lilac/Bliss Orange, 7.5                                              $75.00               1     $75.00      $75.00
  20525107114   CVS   MegaRed Advanced Total Body 30 softgels exp 03/2024                                                                      $15.80               2     $15.80      $31.60
4020829006263   CVS   Dr. Hauschka Rose Day Cream, 1 Fl Oz                                                                                     $45.00      $45.00   2     $45.00      $90.00
 710363578602   CVS   Steel‐Libido Red 75 Lgels                                                                                                $33.32               1     $33.32      $33.32
                      Kate Somerville Daily Deflector‚Ñ¢ Mineral Sunscreen | Broad Spectrum SPF 40 | PA ++++ | High Sun Protection &
 810023370901   CVS   Protects Against Blue Light | 1.7 Fl Oz                                                                                  $54.00      $54.00   13    $54.00     $702.00
 722089672106   CVS   Sterling Silver & Cubic Zirconia Pendant Halo Necklace ‐ Free Shipping                                                   $24.33                1    $24.33      $24.33
5060140203018   CVS   Bathmate Hydromax X30 Male Enhancement Penis Pump, Clear                                                                 $88.73                3    $88.73     $266.19
  83502550013   CVS   Health Plus Liver Detox ‐ 60 Capsules Exp 06/2025                                                                        $19.99                1    $19.99      $19.99
                      Timeless Skin Care Hyaluronic Acid Vitamin C Serum ‐ 1 oz ‐ Brightens, Smooths, Rebuilds Collagen, Boosts Hydration ‐
858588004763    CVS   For All Skin Types                                                                                                       $22.95      $13.49   1     $22.95      $22.95
 54139909000    CVS   Macrolife Naturals Macro Greens 2 oz Powder                                                                              $25.33               1     $25.33      $25.33
766536039098    CVS   BODYTECH HMB + Vitamin D3 ‐ Supports Muscle Growth and Strength (360 Vegetable Capsules)                                             $36.56   1     $36.56      $36.56
                      MRM Nutrition BCAA+‚Ñ¢ 6000mg | Muscle Recovery | 6g Branch Chain Amino Acids per Capsule | with L‐Glutamine
 609492710284   CVS   | Premium Formula | Gluten‐Free | 25 Servings                                                                            $30.76      $23.97   2     $30.76      $61.52
3253581703557   CVS   L'Occitane Divine Youth Oil 1.00 fl.oz                                                                                 $115.00                1    $115.00     $115.00
 651986130658   CVS   Too Faced Peach Bloom Color Blossoming Lip & Cheek Tint ~ Guava Glow                                                                 $20.35   1     $20.35      $20.35
                      Amazon Fire TV Stick with Alexa Voice Remote (includes TV controls), free & live TV without cable or satellite, HD
 840080537252   CVS   streaming device                                                                                                         $39.99      $39.99   1     $39.99      $39.99
 752110640798   CVS   Olivia Garden PrecisionCut Professional Hairdressing Shears Intro Case Deal (6.5")                                     $119.99                1    $119.99     $119.99
3145891942101   CVS   LE VOLUME DE CHANEL Waterproof Mascara Noir #10 New in Box (Noir)                                                        $38.00               5     $38.00     $190.00
 840081404126   CVS   Irwin Naturals 2‐In‐1 Cleanse & Flush Weight Loss Support 68 Soft gels Sep 2024                                          $16.45               1     $16.45      $16.45
                      BPI Sports Keto Bomb ‐ Promotes Energy, Hydration and Fat Loss ‐ MCT and Electrolytes ‐ Sugar‐Free with Calcium ‐
811213026745    CVS   French Vanilla Latte, 18 Servings                                                                                        $59.99               1     $59.99      $59.99
713947708501    CVS   Allergy Research Group Ox Bile 500mg 100c                                                                                $27.44      $43.29   2     $27.44      $54.88
                      Cricket S2 Elite Series 550 5.5 inch Shears Professional Stylist Barber Hair Cutting Scissors, Convex Edge, Swedish
672555171261    CVS   Steel                                                                                                                    $67.95               1     $67.95      $67.95
 33674149324    CVS   Nature's Way Alive! Max3 Daily Multi‐Vitamin ‐ Max Potency No Iron 180 tabs                                              $46.47               1     $46.47      $46.47
                      Electrolyte Powder Six Star Ultimate Hydration Powder Replenish Electrolytes Post Workout Recovery Drink
631656714296    CVS   Electrolyte Supplement Hydration Powder Sports Nutrition, Watermelon (50 Servings)                                       $16.99      $14.49   6     $16.99     $101.94
 85715261045    CVS   Hollister Wave for Her 1.0 oz EDP spray womens perfume 30 ml NIB                                                         $18.99               1     $18.99      $18.99
 97984838071    CVS   White Knight 783807 Spline Wheel Lock Kit Matte Black Conical Wheel 12mm‐1.5 NEW                                         $21.99               1     $21.99      $21.99
742676400509    CVS   The Republic of Tea, Double Red Rooibos, 36 Count                                                                        $16.99      $16.99   3     $16.99      $50.97
                      PCA Skin Dual Action Redness Remover Face Serum ‐ Hydrating Anti Redness Treatment Formulated with Advanced
812025016207    CVS   Ingredients to Help Fade Redness & Treat Inflammation (1 fl oz)                                                        $125.00      $125.00   1 $125.00        $125.00
372917000122    CVS   JointFlex Pain Relief Cream With Turmeric, Arthritis Pain Relief, Joint Pain Relief, 3 Ounce Tube                        $13.95      $15.33   1    $13.95        $13.95
884116384816    CVS   Dell Latitude 5420 I5 11‐1135 G7 8GB                                                                                  $2,107.32               5 $2,107.32    $10,536.60
795728929503    CVS   DKNY Duffel Softside Weekender Luggage, ASH                                                                            $250.00      $250.00   1 $250.00        $250.00
630454271451    CVS   Sizzix (Black) Tim Holtz Shaping Kit 665304 ‚Äì Scrapbooking and Cardmaking Paper Sculpting Set, One Size                $22.99      $18.22   1    $22.99        $22.99
                      Frankford Arsenal Platinum Series Case Prep Center with Hardened High Speed Steel Chamfer Debur Tool and Large
 661120412885   CVS   Small Primer Pocket Scrapers                                                                                           $174.99      $118.99    1   $174.99     $174.99
 840159740705   CVS   Vuori Performance Jogger                                                                                               $175.65      $175.65   13   $175.65    $2,283.45
8435137749591   CVS   Prada L'homme Eau De Toilette Spray for Men, 1.7 Fl Oz                                                                   $78.00      $78.84    1    $78.00       $78.00
                      Kate Somerville Retinol Vita C Power Serum ‚Äì Anti‐Aging Skin Firming Treatment Clinically Proven to Brighten and
 813920018167   CVS   Smooth Lines and Wrinkles, 1 Fl Oz                                                                                     $110.00                10   $110.00    $1,100.00
8435137782970   CVS   Prada Luna Rossa Black Edp Spray 1.7 Oz Men, 1.7 Oz                                                                      $82.00      $79.30    1    $82.00       $82.00
8053672019865   CVS   Ray‐Ban RB4184 Square Sunglasses, Light Havana/Polarized Brown, 54 mm                                                  $186.00       $94.99    1   $186.00     $186.00
                      Vega Organic All‐in‐One Vegan Protein Powder, French Vanilla ‐Superfood Ingredients, Vitamins for Immunity
838766004846    CVS   Support, Keto Friendly, Pea Protein for Women & Men, 12.2 oz (Packaging May Vary)                                        $75.99      $22.07   2     $75.99     $151.98
                      La Roche‐Posay Toleriane Double Repair Face Moisturizer, Daily Moisturizer Face Cream with Ceramide and
3337875545792   CVS   Niacinamide for All Skin Types, Oil Free, Fragrance Free                                                                 $22.99      $22.99   1     $22.99      $22.99
  46135330407   CVS   LED Replacement Bulbs for 2014‐2021 Toyota Tundra Headlights Fog Lights Brake                                            $19.98               1     $19.98      $19.98
 620070324150   CVS   Superfly Dry Fly Fishing Equipment                                                                                       $20.99               1     $20.99      $20.99
 885649973614   CVS   Polo Ralph Lauren Men's Short Sleeve Polo‐White‐M                                                                      $149.00                1    $149.00     $149.00
 731928040112   CVS   Systane ICaps Eye Vitamin & Mineral Supplement, Lutein & Zeaxanthin Formula, 120 Coated Tablets                          $25.99      $24.65   1     $25.99      $25.99

672555171278    CVS   Cricket S2 Elite Series 600 6 inch Shears Professional Stylist Barber Hair Cutting Scissors, Convex Edge, Swedish Steel    $67.95             1     $67.95      $67.95
 15561143486    CVS   FLUVAL SEA CP4 CIRCULATION PUMP ‐ 7 WATT ‐ 1375                                                                            $33.16             1     $33.16      $33.16
 17149833949    CVS   NEW, $35. Dockers Men's Faux Leather Extra Capacity Bifold Wallet Brown                                                    $21.50             1     $21.50      $21.50
888066069618    CVS   Tom Ford Black Orchid Eau de Parfum 0.34 oz / 10 ml Travel Spray For Women                                                 $34.99    $35.00   1     $34.99      $34.99
                      LifeSeasons ‐ Masculini‐T ‐ Testosterone Support Supplement ‐ Enhances Mental & Physical Aspects of Sexual and
853760002575    CVS   Athletic Performance ‐ Supports Normal Erectile Function ‐ Improve Libido ‐ 180 Capsules                                   $76.99             1     $76.99      $76.99
851371002922    CVS   Tata Harper Rejuvenating Serum, Multi‐Tasking, Anti‐Aging Serum, 100% Natural, Made Fresh in Vermont, 30ml                $130.00   $146.00   1    $130.00     $130.00
                      Bio‐Oil Skincare Oil, Serum for Scars and Stretchmarks, Face Body Moisturizer Dry Skin, with Organic Jojoba Oil
 891038001325   CVS   Vitamin E, Natural Rosehip For All Skin Types, 4.2 oz                                                                      $25.59    $24.99   1     $25.59      $25.59
  35011983318   CVS   Bell Wireless Cycle Computer Dashboard 300 14 functions                                                                    $12.59             2     $12.59      $25.18
  93573270970   CVS   Provo Craft & Novelty, Inc. 2009056 Joy Foil Transfer Kit, Transfer Housing Tool                                           $11.99             1     $11.99      $11.99
4003318112539   CVS   ABUS Granit 460 Black 9 inch / 12mm Diameter                                                                               $89.99    $89.99   1     $89.99      $89.99
3614224505943   CVS   philosophy pure grace nude rose, 2 oz                                                                                      $60.00    $44.95   2     $60.00     $120.00
  85715322227   CVS   Guess Women 1981 LA Eau De Toilette Spray 1.7 Fl. Oz. 50ml New Sealed                                                      $19.90             1     $19.90      $19.90
 634158767296   CVS   Opatra Dermibrasion in black Limited Edi on. Never used¬†                                                                 $254.93             2    $254.93     $509.86
                      Shark AZ1002 Apex Powered Lift‐Away Upright Vacuum with DuoClean & Self‐Cleaning Brushroll, Crevice Tool,
 622356555944   CVS   Upholstery Tool & Pet Power Brush, for a Deep Clean on & Above Floors, Espresso                                           $329.99   $329.99   1    $329.99     $329.99
3386460101035   CVS   MONTBLANC Explorer Eau de Parfum, 3.3 fl. oz.                                                                             $104.00   $115.00   1    $104.00     $104.00
 842978169842   CVS   PopSockets Phone Grip with Expanding Kickstand, Watercolor PopGrip ‐ Lavender Flow                                          $9.96     $9.96   1      $9.96       $9.96
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732013202781    CVS   EXUVIANCE CitraFirm FACE Oil with Vitamins F, A, C and E and Light Botanical Oils, 0.91 fl. oz.                        $85.00    $81.42   1     $85.00     $85.00
729881186060    CVS   Rose Gold 18k CZ over Sterling Silver Stud Earrings by GIANI BERNINI NWT                                               $14.99             2     $14.99     $29.98
                      Kate Somerville KateCeuticals Total Repair Cream | Advanced Anti‐Aging Moisturizer | Visibly Reduces Wrinkles &
810023370727    CVS   Fine Lines | 1 Fl Oz                                                                                                  $140.00   $140.00   16   $140.00   $2,240.00
 40818070161    CVS   PLATYPUS GRAVITY WORKS REPLACEMENT FILTER CARTRIDGE HYDRATION IN‐LINE FILTER                                          $104.33              1   $104.33    $104.33
                      ghd Original Styler ‚Äï 1" Flat Iron Hair Straightener, Optimum Styling Temperature for Professional Salon Quality
850011636503    CVS   Results, No Extreme‐Heat Styling Damage, Ceramic Heat Technology ‚Äï Black                                            $179.00   $179.00   1    $179.00    $179.00
                      Kate Somerville KateCeuticals Resurfacing Overnight Peel | Clinic‐Grade Face Peel | Powerful Anti‐Aging Treatment |
 810023370772   CVS   1 Fl Oz                                                                                                                $98.00    $98.00   6     $98.00    $588.00
8034097950025   CVS   Salvatore Ferragamo F Free Time Eau De Toilette Spray for Men, 3.4 Ounce                                               $74.00    $29.99   1     $74.00     $74.00
 815266012427   CVS   BosleyMD Women's Minoxidil No‐Mess Sprayer, Extra Strength, 2 fl oz (2 Count)                                          $48.00    $48.00   5     $48.00    $240.00
 192625674817   CVS   Jessica Simpson Women's LIZZAH Fashion Boot, Almond, 8.5                                                              $169.00             1    $169.00    $169.00
 858398007626   CVS   NuFACE FIX Starter Kit ‐ Line Smoothing Device , 2 Piece Set                                                          $149.00   $149.99   1    $149.00    $149.00
  99575008078   CVS   GearWrench 81007T 1/4" Drive 90‐tooth Dual Material Teardrop Ratchet                                                   $25.00             1     $25.00     $25.00
4020829039070   CVS   Dr. Hauschka Tinted Day Cream, 1 Fl Oz                                                                                 $45.00    $45.00   2     $45.00     $90.00
  35046107284   CVS   1 NutritionWorks 6.35 Oz Collagen Pep 1&3 Hair Skin Nails 9g Protein 20 Ser Supp                                       $24.00             3     $24.00     $72.00
                      X2 Performance Clean Pre Workout & Intra Workout Powder for Men & Women, NSF Certified for Sport, Orange
853408005319    CVS   Force, 12.77 oz, 20 Servings                                                                                           $27.99             2     $27.99     $55.98
 73796266356    CVS   Omron BP6350 7 Series Wireless Wrist Blood Pressure Monitor OPEN BOX 6356OB                                            $39.00             2     $39.00     $78.00
                      Differin Acne Treatment Gel, 30 Day Supply, Retinoid Treatment for Face with 0.1% Adapalene, Gentle Skin Care for
302994910106    CVS   Acne Prone Sensitive Skin, 15g Pump                                                                                    $15.99    $18.91   2     $15.99     $31.98
                      All Good Sport Mineral Sunscreen Lotion ‐ Coral Reef Friendly, Water & Sweat Resistant, Face & Body, UVA/UVB
852570006513    CVS   Broad Spectrum SPF 30+ (3 oz)                                                                                          $16.98    $15.57   2     $16.98     $33.96
                      Christian Dior DIORSHOW 5 COULEURS Eye Makeup Palette ‐ 5 Eyeshadows (649 Nude Dress), 0.24 Ounce (Pack of
3348901663533   CVS   1)                                                                                                                     $55.00             1     $55.00     $55.00
  88300606504   CVS   Calvin Klein Obsession for Men Eau de Toilette 2.5 Oz New in Box                                                       $18.99             2     $18.99     $37.98
                      Juice Beauty STEM CELLULAR Anti‐Wrinkle Solutions Kit ‐ Reduce Fine Lines and Wrinkles ‐ Natural, Vegan, Cruelty‐
834893012075    CVS   Free ‐ 3 pc                                                                                                            $52.00    $52.00   1     $52.00     $52.00
                      Wile Perimenopause Supplement for Women Hot Flash Support with Kudzu Root, Sage Leaf, for Hot Flashes, Night
860007039225    CVS   Sweats, Supports Menopause Symptoms and Hormone Balance for Women, Vegan, 30 Day Supply                                $39.99    $39.99   1     $39.99     $39.99
 20525104342    CVS   Schiff MegaRed Superior Omega‐3 Krill Oil 60 Softgels 350 mg EXP 07/24                                                 $14.00             2     $14.00     $28.00
193444877571    CVS   Under Armour Men's Charged Pursuit 2 Running Shoe, Mod Gray (102)/White, 12 M US                                       $70.00             1     $70.00     $70.00
 44387031554    CVS   Nespresso VertuoPlus Espresso Machine by DeLonghi + Frother ENV155BAE NEW                                             $125.00             1    $125.00    $125.00
                      Sanitas Skincare Natural Moisture Factor, Moisture Rich Concentrate, CoQ10, Vitamin F, Vitamin E, Serum for Dry
859250011140    CVS   Skin, 1 Ounce                                                                                                          $63.00    $63.00   2     $63.00    $126.00
                      Metagenics CandiBactin‐AR Nutritional Supplement Concentrated Thyme and Oregano Essential Oils Blended Bottle ‐
755571013354    CVS   60 Count                                                                                                               $55.28    $55.28   1     $55.28     $55.28
757456080239    CVS   La Crosse Technology S84107‐INT Color Forecast Station, Black                                                          $75.95    $52.56   1     $75.95     $75.95
 11822670821    CVS   Rite Aid Pro Results Whitening Strips, 40ct ‐ Sealed, NIB ‐ BIUB 05/2021                                               $25.94             1     $25.94     $25.94
799696102081    CVS   Cocoon Silk MummyLiner (Natural, 95‐Inch x 35/22‐Inch)                                                                 $59.95    $76.96   1     $59.95     $59.95
                      FOREO LUNA play plus 2 ‐ Facial Cleansing Brush ‐ 1‐min Deep Facial Cleanser ‐ Travel Accessories ‐ Silicone Face
7350120790231   CVS   Massager ‐ Holiday Essentials ‐ Ultra‐hygienic ‐ All Skin Types ‐ Minty Cool!                                          $39.00    $69.00   9     $39.00    $351.00
 697045156450   CVS   AHAVA 200 ml Mineral Shower Gel Mandarin/Cedarwood, 6.8 Fl Oz                                                          $24.00    $23.00   1     $24.00     $24.00
  69055868003   CVS   Braun Clean Renew Refill Cartridge Lemon ‐ Pack of 3                                                                   $21.25             1     $21.25     $21.25
 887167539594   CVS   Est√©e Lauder Revitalizing Supreme+ Night Intensive Restorative Cr√®me 1.69 oz/ 50 mL                                 $103.00    $72.99   1    $103.00    $103.00
3145891414509   CVS   Chanel Make‐Up Remover Mousse 0.21 g                                                                                   $59.99             1     $59.99     $59.99
                      Designs for Health GI Revive Gut Health Powder ‐ L Glutamine & Citrus Pectin for Digestive Health + Slippery Elm,
 879452001428   CVS   Marshmallow Root & Cat's Claw for Healthy Intestinal Function (28 Servings)                                            $89.49    $89.49   1     $89.49     $89.49
 795730625226   CVS   DKNY Bryant Park‐Top Zip Crossbody Black/Gold One Size                                                                $148.00    $75.99   1    $148.00    $148.00
  32929433577   CVS    Data Products Black XL+Cyan/Magenta/Yellow 4‐High Yield Ink For HP950XL/951                                            $8.39             1      $8.39      $8.39
  47400656178   CVS   Gillette ProGlide Chill Mens Razor Blade Refills 8 Cartridges New Factory Sealed                                       $16.99             1     $16.99     $16.99
 725125103930   CVS   Coach Sunglasses HC 8288 55828G Black Glitter Signature C                                                             $122.60             1    $122.60    $122.60
  47297992786   CVS   3lb 40 Degree Sleeping Bag True Navy ‐ Embark                                                                          $33.22             1     $33.22     $33.22
 815266012434   CVS   BosleyMD Men's Minoxidil No‐Mess Sprayer, Extra Strength, 2 fl oz (2 Count)                                            $48.00             4     $48.00    $192.00
  31398333371   CVS   For the Love of Money (Blu‐ray, 2021) ‐ Brand New Sealed                                                                $7.99             1      $7.99      $7.99
3616301786177   CVS   MARC JACOBS FRAGRANCES MINI DAISY PERFUME SET LIMITED EDITION /NIB                                                     $39.99             3     $39.99    $119.97
                      Eau Thermale Av√®ne Mineral High Protection Honey Tinted Compact, Broad Spectrum SPF 50 ‐ UVA/UVB Blue Light
 673914020015   CVS   Protection ‐ net wt. 0.35 oz.                                                                                          $42.00             1     $42.00     $42.00
  11130197003   CVS   Hagerty Silver Keeper Zippered Holloware Bag Blue 24" x 30" READ O                                                     $45.50             1     $45.50     $45.50
3145891837506   CVS   Chanel Signature De Chanel Stylo Eyeliner 10 Noir                                                                      $39.00             3     $39.00    $117.00
 850018802215   CVS   Olaplex. N¬∫.0 Intensive Bond Building Treatment                                                                       $32.00             2     $32.00     $64.00
3145891406306   CVS   CHANEL No. 1 Powder‐To‐Foam Cleanser 25 g                                                                              $77.79    $77.79   2     $77.79    $155.58
  31604028039   CVS   Nature Made Vitamin C 250 mg Per Serving Gummies, Dietary Supplement for Immune                                        $12.92             1     $12.92     $12.92
8053672233841   CVS   Ray‐Ban Men's RB3519 Aviator Sunglasses, Matte Black/Green Polarized, 59 mm                                           $180.00             1    $180.00    $180.00
7350120790248   CVS   FOREO LUNA Play Plus 2, I Lilac you                                                                                    $69.00             2     $69.00    $138.00
                      Nordic Naturals Zero Sugar Melatonin Gummies, Raspberry ‐ 60 Gummies ‐ 1.5 mg Melatonin ‐ Great Taste ‐ Restful
768990301889    CVS   Sleep, Antioxidant Support ‐ Non‐GMO, Vegan ‐ 60 Servings                                                              $19.95    $16.96   1     $19.95     $19.95
                      Foreo Luna Mini 3 Facial Cleansing Brush ‐ Travel Accessories ‐ Face Massager Electric, Ultra‐Hygienic Silicone ‐
813920018679    CVS   Simple Face Wash ‐ Electric Face Cleanser ‐ App‐Connected ‐ Fuchsia                                                   $118.44   $179.00   3    $118.44    $355.32
 35794325152    CVS   ALLIED INTERNATIONAL 32515 CARGOLOC CEILING MOUNT BIKE LIFT, BLACK                                                     $19.99             1     $19.99     $19.99
                      Vital Proteins Morning Get Up and Glow Collagen peptides Powder Supplement, 90mg Caffeine for Energy & Vitamin
 850015883026   CVS   C & Biotin & Hyaluronic Acid ‐ 9.3oz                                                                                   $32.00             1     $32.00     $32.00
3274872388239   CVS   Givenchy Eau de Toilette 0.21 g                                                                                        $65.99             1     $65.99     $65.99
                      SYLVANIA ‐ 2357 LED White Mini Bulb ‐ Bright LED Bulb, Ideal for Daytime Running Lights (DRL) and Back‐Up/Reverse
4059089312036   CVS   Lights (Contains 2 Bulbs)                                                                                              $19.99    $14.75   1     $19.99     $19.99

 855571001051   CVS   Arthur Andrew Medical, Syntol, 3‐in‐1 Formula with Probiotics, Prebiotic Fiber & Yeast Cleansing Multi‐Enzymes, 90    $159.00    $39.99   2    $159.00    $318.00
 689304186902   CVS   Anastasia Beverly Hills ‐ Satin Lipstick ‐ Rose Brown                                                                  $23.00    $23.00   1     $23.00     $23.00
 307660419761   CVS   Citrucel Fiber Therapy Caplets for Irregularity, Easy to Swallow Methylcellulose , 180 Count                           $31.23    $31.99   5     $31.23    $156.15
 809280000027   CVS   Fresh Cleanser, 150ml Soy Face Cleanser for Women                                                                      $39.00             1     $39.00     $39.00
4020829005174   CVS   Dr. Hauschka Cleansing Cream, Deeply Cleansing, 1.7 Fl Oz                                                              $29.00    $29.00   3     $29.00     $87.00
  39564806216   CVS   Performance Tool W80621 3/8‐Inch Drive Disc Brake Piston Tool ( ac564) ‐ 3/8...                                        $10.71             1     $10.71     $10.71
                      CeraVe SA Cleanser Bar for Rough & Bumpy Skin, 4.5 OZ | Soap‐Free, Parabens‐free, Fragrance‐Free | Dual action
3606000565432   CVS   chemical and physical exfoliation with Salicylic Acid and Jojoba Beads                                                 $33.00             1     $33.00     $33.00
5060552903346   CVS   Augustinus Bader Women's The Ultimate Soothing Cream, One Size                                                        $290.00   $245.95   1    $290.00    $290.00
 667552252853   CVS   Victoria's Secret VS Him Deepwater 3.4oz Eau de Parfum                                                                 $79.95    $66.50   1     $79.95     $79.95
                      La Roche‐Posay Anthelios Clear Skin Dry Touch Sunscreen SPF 60, Oil Free Face Sunscreen for Acne Prone Skin,
3606000430488   CVS   Won't Cause Breakouts, Non‐Greasy, Oxybenzone Free                                                                     $19.99    $19.99   1     $19.99     $19.99
3348901556316   CVS   Christian Dior Ladies Diorshow Maximizer 3D Volume Plumping Lash Primer Serum Base Serum Mascara 0.33 oz               $32.00             3     $32.00     $96.00
 643334552564   CVS   Type S Smart Lighting LED Hub Controller                                                                               $39.99             1     $39.99     $39.99
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                      Garden of Life Grass Fed Collagen Beauty ‐ Strawberry Lemonade, 20 Servings ‐ Collagen Peptides Powder for
658010124560    CVS   Women Men Hair Skin Nails,, Collagen Protein Hydrolyzed Supplements                                                    $23.79    $23.99   1     $23.79     $23.79
752110640651    CVS   Olivia Garden PrecisionCut Professional Hairdressing Shears Intro Case Deal (5.75")                                   $119.99   $119.99   1    $119.99    $119.99
                      PlantFusion Vegan Collagen Powder ‐ Plant Based Collagen Protein Powder for Muscle & Joints, Hair, Skin & Nails ‐
890985001303    CVS   Keto, Gluten Free, Soy Free, Non‐Dairy, No Sugar, Non‐GMO ‐ Vanilla 11.43 oz                                           $43.99    $35.97   1     $43.99     $43.99
                      Nugenix GH‐Boost ‐ Advanced Secretagogue Accelerator, HGH Booster and Sleep Supplement for Men, GABA,
855710002734    CVS   Glutamine, Lysine, Arginine, Ornithine, Tea‐Berry Blast ‐ 14 Pack                                                      $44.99             2     $44.99     $89.98
850025150033    CVS   Flexir Recovery Vibrating Foam Roller                                                                                            $38.65   1     $38.65     $38.65
                      Amazing Grass Greens Blend Superfood for Immune Support: Super Greens Powder Smoothie Mix with Organic
 829835009008   CVS   Spirulina, Chlorella, Beet Root Powder, Digestive Enzymes & Probiotics, Original, 30 Servings                          $39.99    $13.50   3     $39.99    $119.97
3145891881769   CVS   LE CRAYON l√®vres #176‐blood orange 1.2 g                                                                              $43.00             1     $43.00     $43.00
3346470122031   CVS   Shalimar Eau de Toilette Spray Refill by Guerlain, 3 oz.                                                              $100.00             2    $100.00    $200.00
                      Irwin Naturals Prosta‐Strong RED with Nitric Oxide Boosters ‐ Prostate Health Support ‐ Saw Palmetto, Lycopene,
710363585327    CVS   Pumpkin Seed & More ‐ 80 Liquid Softgels                                                                               $39.98    $29.99   1     $39.98     $39.98
                      Vichy Mineral 89 Face Serum | Facial Gel Moisturizer and Pure Hyaluronic Acid Moisturizing and Hydrating Serum for
3337875543248   CVS   Sensitive and Dry Skin | 1.7 Fl. Oz                                                                                    $29.99    $29.99   3     $29.99     $89.97
9421017767433   CVS   Mattifying Moisturising Lotion, 1.69 fl oz                                                                                        $9.73   1      $9.73      $9.73
                      We R Memory Keepers Printmaker Kit, Printmaking Craft Supplies Printmaking Paper Printmaking Ink Printmaker
633356615309    CVS   Accessories Printmaker Printmaker Set Printmaker Kit DIY Crafts Printmaking Tools                                     $249.99    $76.98   1    $249.99    $249.99
                      Eau Thermale Av√®ne A‐Oxitive Antioxidant Defense Serum, Vitamin C & E, Hyaluronic Acid, Free Radical Protection,
3282770101669   CVS   1 oz.                                                                                                                  $50.00    $50.00   1     $50.00     $50.00
                      FOREO LUNA play plus 2 ‐ Facial Cleansing Brush ‐ 1‐min Deep Facial Cleanser ‐ Travel Accessories ‐ Silicone Face
7350120790224   CVS   Massager ‐ Holiday Essentials ‐ Ultra‐hygienic ‐ All Skin Types ‐ Peach Of Cake!                                       $39.00    $69.00   6     $39.00    $234.00
  48107042936   CVS   GNC Men's ArginMax 90 Caplets(EXP:04/2024)                                                                             $26.99             6     $26.99    $161.94
 311917214856   CVS   Red Light Therapy Wrap Reusable Multipurpose Natural Pain Relief NEW #4856                                             $19.49             1     $19.49     $19.49
  96018206183   CVS   Lancome Color design Palette 4 Eyeshadow & Blush ‐Rose Fresque New                                                     $17.99             2     $17.99     $35.98
  51494100271   CVS   MegaFood MegaFlora Baby & Me Prenatal + Probio c +Prebio c 60 caps¬† EXP 04/23                                         $15.98             1     $15.98     $15.98
  48107223366   CVS   BodyDynamix SLIM NS Non Stim Thermogenic Burner 60 caps (30 Serv) BESTBY 12/1/23                                       $11.99             8     $11.99     $95.92
 695111002571   CVS   Super Beta Prostate Advanced Chewables ‐ Prostate Support Supplement for Men's Health (60 Chews, 1‐Bottle)             $39.99    $34.99   7     $39.99    $279.93
  74312168789   CVS   Nature‚Äôs Bounty Odor‐Less Fish Oil 1200 Mg Heart Support 200 Softgels .                                              $17.96             2     $17.96     $35.92
  87547556641   CVS   HP 63 (F6U61AN) Tri‐Color Ink Cartridge                                                                                 $9.95             1      $9.95      $9.95
 840026643054   CVS   Marc Jacobs Youthquake Hydra‐Full Retexturizing Gel Cream 3oz 90ml NEW W/Box üî•                                       $99.99             1     $99.99     $99.99
  97855157799   CVS   Logitech Universal Folio Case Bluetooth Wireless Keyboard iPad 7 & 8 10.2" Black                                       $29.99             1     $29.99     $29.99
  31604026820   CVS   NatureMade CoQ10 Extra Strength, 40 Softgels. Expires 6/2026                                                           $16.75             1     $16.75     $16.75
 818423029207   CVS   Foligain Hair & scalp roller with 540 titanium needles                                                                 $19.95    $18.59   2     $19.95     $39.90
                      Peter Thomas Roth | Potent‐C Power Serum | Brightening Vitamin C Serum for Fine Lines, Wrinkles, Uneven Skin
 670367008775   CVS   Tone, Texture and Dehydrated Skin                                                                                     $105.00   $105.00   5    $105.00    $525.00
3365440787971   CVS   Yves Saint Laurent Eau De Parfum Spray for Women, Black Opium, 3 Ounce                                                $115.00   $103.11   1    $115.00    $115.00
                      Nordic Naturals Multi Minerals, Unflavored ‐ 90 Capsules ‐ 11 Essential Minerals ‐ Optimal Health & Wellness ‐
768990015380    CVS   Certified Vegan ‐ Non‐GMO ‐ 30 Servings                                                                                $25.95    $22.06   4     $25.95    $103.80
                      Queen V uT(m) i Probiotics‐ Probiotic Capsule, 30 ct., 2 strains of Lactobacillus & Cranberry, Urinary Tract Health
302340100090    CVS   Support*                                                                                                               $16.00             2     $16.00     $32.00
730852172845    CVS   Shiseido Ultimune Power Infusing Concentrate, Antioxidant Anti‐Aging Face Serum, 50mL                                  $69.91             1     $69.91     $69.91
                      COOLA Organic Sun Silk Drops and Face Moisturizer with SPF 30, Dermatologist Tested Sunscreen with Plant‐Derived
 850023528421   CVS   BlueScreen Digital De‐Stress Technology, 1 Fl Oz                                                                       $48.00              1    $48.00      $48.00
 369355412020   CVS   Visbiome¬Æ High Potency Probiotic 450 Billion Strength ‐ 30 Packets Unflavored Po                                     $115.95              2   $115.95    $231.90
3605970326494   CVS   Lanc√¥me‚Äã R√©nergie Multi‐Action Night Cream ‐ With Hyaluronic Acid ‐ For Lifting & Firming ‐ 2.5 Fl Oz             $170.00   $170.00    1   $170.00    $170.00
 810023370802   CVS   Kate Somerville KateCeuticals Firming Serum | Advanced Anti‐Aging Plumping & Firming Treatment | 1 Fl Oz              $110.00   $110.00   19   $110.00   $2,090.00
8806164136300   CVS   The Saem Urban Eco, Waratah Essence Lotion, 4.73 fl oz (140 ml)                                                                   $7.50    1     $7.50       $7.50
                      Garden of Life Dr. Formulated Stronger Bones, Organic Calcium Supplement with Vitamin D & Vitamin K,
 658010123372   CVS   Supplements for Women and Men, 150 Vegetarian Tablets                                                                  $32.99             2     $32.99     $65.98
4015165337706   CVS   Dr. Barbara Sturm, Face Cream Light, 50ml                                                                             $215.00   $215.00   1    $215.00    $215.00
4020829007369   CVS   Dr. Hauschka Regenerating Day Cream, 1.3 oz                                                                            $85.00    $85.00   1     $85.00     $85.00
 689304186827   CVS   Anastasia Beverly Hills ‐ Matte Lipstick ‐ Blackberry                                                                  $23.00    $23.00   2     $23.00     $46.00
6941959099971   CVS   Voolga Medical Sodium Hyaluronate Dressing Acne Moisturizing Mask 5 pics ?????                                                   $22.99   1     $22.99     $22.99
7350091791107   CVS   aarke ‐ Carbonator III Premium Carbonator/Sparkling & Seltzer Water Maker with PET Bottle (Black Chrome)              $259.00   $199.00   1    $259.00    $259.00
 736150082046   CVS   Laura Mercier Tinted Moisturizer Oil Free, Mocha                                                                       $42.00             3     $42.00    $126.00
                      Bevel Safety Razor with Brass Weighted Handle and 10 Double Edge Safety Blade Refills, Single Blade Razor for Men,
852089005151    CVS   Designed for Coarse Hair to Prevent Razor Bumps ‐ Silver (Packaging May Vary)                                          $49.95    $49.99   1     $49.95     $49.95
                      Cocokind Daily SPF, Face Sunscreen, Mineral Sunscreen with Zinc Oxide, Unscented, Reef Safe Sunscreen with SPF 32
 810041460103   CVS   Protection                                                                                                                       $23.69   1     $23.69     $23.69
3282770049312   CVS   Eau Thermale Av√®ne PhysioLift DAY Smoothing Cream, Reduce the Appearance of Deep Wrinkles, Dry Skin, 1 oz.            $54.00    $54.00   1     $54.00     $54.00
 840173704554   CVS   PopSockets Phone Grip with Expanding Kickstand, Fruit Pattern ‐ Be My Zest                                              $9.99     $9.99   1      $9.99      $9.99
                      Nature's Way Tart Cherry Ultra Chewable, Anthocyanin Supplement and Antioxidant Support*, 1,200 mg per Serving,
763948158317    CVS   90 Count                                                                                                               $32.49    $25.99   1     $32.49     $32.49
195031363160    CVS   Coach Lola Clog Black 9 M                                                                                             $150.00             1    $150.00    $150.00
                      Gaia Herbs Kava Root ‐ Helps Sustain a Sense of Natural Calm and Relaxation* During Times of Stress ‐ Made With
751063398909    CVS   Noble Kava Cultivars ‐ 60 Vegan Liquid Phyto‐Capsules (20‐Day Supply)                                                  $30.58    $30.58   1     $30.58     $30.58
                      Frankford Arsenal Universal Bullet Seating Die for .224 to .338 Caliber with Micrometer Stem and Storage Case for
661120079507    CVS   Reloading, Black                                                                                                      $114.99    $74.99   1    $114.99    $114.99
 76630169608    CVS   American Health Ester‐C with Citrus Bioflavonoids 500 mg 60 Caps                                                        $9.83             1      $9.83      $9.83
809280122163    CVS   Fresh black tea firming overnight mask, 3.3oz, 3.3 Ounce                                                               $94.00    $64.95   1     $94.00     $94.00
                      Peak + Valley Nootropic Brain Support Supplement for Memory & Focus with Lion's Mane Mushroom &
860007715822    CVS   Ashwagandha ‐ 1450 mg, 90 Ct Adaptogen Capsules ‐ Adults/Seniors ‐ Cognitive, Brain Fog, Energy Formula                $29.99    $23.99   2     $29.99     $59.98
                      FOREO LUNA fofo Smart Facial Cleansing Brush and Skin Analyzer, Fuchsia, Personalized Cleansing for a Unique
7350092137829   CVS   Skincare Routine, Bluetooth & Dedicated Smartphone App                                                                 $89.00             4     $89.00    $356.00
                      Garden of Life Organics Whole Food Multivitamin for Men, 60 Tablets, Vegan Mens Vitamins and Minerals for Mens
658010117647    CVS   Health and Well‐Being, Certified Organic Vegan Mens Multi                                                              $51.99             1     $51.99     $51.99
 58219503294    CVS   Globe Wi‐Fi Smart Plug No Hub Required DAMG BOX (50329) ‐ E12B                                                          $7.99             1      $7.99      $7.99
 12381173433    CVS   MISSING VISOR CLIP!!!! Genuine Chamberlain 953EV‐P2 3 Button Remote                                                    $12.99             2     $12.99     $25.98
 31604027919    CVS   NEW Nature Made CholestOff Complete 120 Softgels 900mg Cholesterol Exp/2025                                            $26.99             1     $26.99     $26.99
                      Magnesium Powder,New Chapter Active Magnesium Powder,2.5X Absorption,70 Servings,Chelated with Coconut
727783902429    CVS   Water for Energy and Stress,Natural Lemon Raspberry Flavor,No Added Sugar,Gluten Free,Non‐GMO                          $50.95             1     $50.95     $50.95
                      Garden of Life Dr. Formulated Probiotics Fitbiotic Weight Management Powder 50 Billion CFU & Fiber, Organic &
 658010118330   CVS   Non‐GMO Digestive Gut Health Supplement, 3 Oz, Pack of 20                                                              $46.99    $31.94   1     $46.99     $46.99
8435137759781   CVS   Prada Luna Rossa Carbon Eau De Toilette Spray 100Ml, Multi, 3.4 Ounce                                                  $90.00    $93.52   1     $90.00     $90.00
  49100401256   CVS   Culturelle IBS Complete Support to Relieve Abdominal Pain 28 Ct Exp 2025                                               $20.94             1     $20.94     $20.94
 651473535706   CVS   Perricone MD Essential Fx Acyl‐Glutathione Eyelid Lift Serum 0.5 Fl Ounce                                             $125.00   $125.00   2    $125.00    $250.00
                      Kate Somerville DermalQuench Liquid Lift +Retinol | Advanced Resurfacing Treatment | Firming & Radiance Boosting
813920014664    CVS   Oxygen Facial | 2.5 Fl Oz                                                                                             $110.00             10   $110.00   $1,100.00
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689304186766    CVS   Anastasia Beverly Hills ‐ Satin Lipstick ‐ Dusty Rose                                                                   $23.00    $23.00   2     $23.00     $46.00
                      Tata Harper Resurfacing Serum, Radiance Restoring, Daily Glow‐Giving Serum, 100% Natural, Made Fresh in
813269021859    CVS   Vermont, 30ml                                                                                                           $92.00    $92.00   1     $92.00     $92.00
746259200388    CVS   Weight‐Less Triple Kit                                                                                                  $35.00             2     $35.00     $70.00
 21888800018    CVS   Rainbow Light, Certified Women's Multivitamin, 120 Vegetarian Capsules                                                  $63.72             2     $63.72    $127.44

7640144284145   CVS   LifeStraw Flex Advanced Water Filter with Gravity Bag ‐ Removes Lead, Bacteria, Parasites and Chemicals Blue, 1 gal     $54.95             4     $54.95    $219.80
3616301291343   CVS   philosophy pure grace nude rose eau de parfum, 2 Fl. Oz.                                                                $72.00    $52.15   2     $72.00    $144.00
3145891727500   CVS   Chanel Ultra Le Teint Flawless Finish Compact Foundation #BR152                                                        $155.00    $59.95   1    $155.00    $155.00
  35011982304   CVS   Bell Ramble 600 Cycling Unisex Gloves S / M Reflective Black Grey Half Finger                                            $8.98             3      $8.98     $26.94
 192660307596   CVS   Columbia Women's Powder Lite Hooded Jacket, Chalk, Medium                                                              $190.00             1    $190.00    $190.00
  15794058069   CVS   Country Life Vitamin D3 1000 IU 200 Softgels Gluten‐Free, Milk‐Free, No                                                 $14.71             2     $14.71     $29.42
  37000667643   CVS   Vicks Immunity Zzzs Elderberry + Zinc + Melatonin 56 Gummies Exp 5/2024                                                  $9.88             1      $9.88      $9.88

3614272453159   CVS   Lancome Unisex D'AMETHYSTE LANCOME HYPNOSE 5 COULEURS PALETA 06 REFLET D AMETHYSTE, Negro, Only UK                      $61.38    $65.00   1     $61.38     $61.38
                      NeilMed Sinugator Cordless Pulsating Nasal Wash Kit with One Irrigator, 30 Premixed Packets and 3 AA
705928888012    CVS   Batteries(Pack of 1)                                                                                                    $25.99    $21.49   1     $25.99     $25.99
859776000628    CVS   Curls Passion Fruit Control Paste ‐ For Edges and Frizzy Hair ‐ For All Curl Types ‐ 4 Fl Oz                             $8.69     $8.32   2      $8.69     $17.38
809280009037    CVS   Fresh Rose Face Mask 3.3 oz                                                                                                       $39.95   1     $39.95     $39.95
797801034500    CVS   NaturVet Joint Health Time Release Level 1‐Maximum Hip & Joint Dog Supplement                                                     $39.92   1     $39.92     $39.92
 10343873315    CVS   Epson 60 Magenta Pack Ink Genuine OEM Sealed Expired 08/2016                                                             $9.35             1      $9.35      $9.35
                      Orgain Organic Keto Vegan Protein Powder, Chocolate ‐ 10g Plant Based Protein, Gluten Free Ketogenic Blend, Dairy
 851770007399   CVS   Free, Lactose Free, Soy Free, No Sugar Added, For Smoothies & Shakes ‐ 0.97lb                                           $30.99    $17.99   5     $30.99    $154.95
3348901362665   CVS   Dior One Essential Skin Boosting Super Serum, 1.7 Ounce                                                                $175.00   $116.76   3    $175.00    $525.00
 608940578117   CVS   Vince Camuto Classic Body Spray for Men, 6 Fl Oz                                                                        $15.00    $15.00   1     $15.00     $15.00
                      Boscia Clear Complexion Cleanser ‐ Vegan Cruelty‐Free Daily Face Wash & Pore Minimizer ‐ Natural Clean Skin Care ‐
 808144121076   CVS   Acne & Blackhead Remover ‐5.07 fl oz                                                                                    $28.00             3     $28.00     $84.00
3614273459051   CVS   Valentino Voca Viva Intensa for Women Eau de Parfum Spray, 3.4 Ounce (Z047421)                                         $160.00             1    $160.00    $160.00
                      Youth To The People Superberry Hydrating Face Oil for Dry, Glowing Skin ‐ Fast Absorbing Facial Oil & Makeup
810834030063    CVS   Primer Made with Prickly Pear, Acai Berry & Jojoba Oil ‐ Clean, Vegan Skincare (1oz)                                    $48.00    $49.00   1     $48.00     $48.00
                      Lanc√¥me La Vie Est Belle Eau¬†de Parfum ‐ Long Las ng Fragrance with Notes of Iris, Earthy Patchouli, Warm
3605533444917   CVS   Vanilla & Spun Sugar ‐ Floral & Sweet Women's Perfume, 0.34 Fl Oz                                                       $34.00    $35.00   1     $34.00     $34.00
3386460123525   CVS   Coach Dreams Sunset Eau de Parfum, 40 ml                                                                                $31.71             1     $31.71     $31.71
3274872435216   CVS   GENTLEMAN BOISEE by Givenchy, EAU DE PARFUM SPRAY 3.3 OZ & EAU DE PARFUM SPRAY 0.4 OZ MINI                             $139.75             1    $139.75    $139.75
 840749018764   CVS   Mineral Fusion Eye Shadow Trio Packaging May Vary, Sultry, 0.1 Ounce                                                    $26.99     $9.57   1     $26.99     $26.99
                      PMD Personal Microderm Pro ‐ At‐Home Microdermabrasion Machine with Kit for Face & Body ‐5 Piece set(Pack of
 855394003515   CVS   1), Blush                                                                                                              $199.00   $139.30   1    $199.00    $199.00
3145891407457   CVS   Chanel No.1 Revitalizing Cream Refill                                                                                   $72.00             1     $72.00     $72.00
  33674142400   CVS   Nature's Way Primadophilus Reuteri Probiotic Delayed Release 30 Capsules NIB                                            $19.99             1     $19.99     $19.99
  94922978622   CVS   Resveratrol 100mg Reserveage 60 VCaps EXP 11/2022                                                                       $18.18             1     $18.18     $18.18
                      Nutiva Organic MCT Oil, 16 fl oz, Unflavored for Keto Coffee, Non‐GMO Oil made from Organic Coconuts, Keto
692752108884    CVS   Friendly, Best MCT Oil Wellness Ketosis Supplement, 14g of C8 & C10 per serving                                         $19.99             1     $19.99     $19.99
740617211719    CVS   Kingston 32GB 100 G3 USB 3.0 DataTraveler (DT100G3/32GB) Black                                                           $5.99     $8.95   4      $5.99     $23.96
                      BosleyMD Minoxidil Foam, Extra Strength Thinning Treatment for Hair Loss and Hair Regrowth for Men, Women 5%
 815266013196   CVS   Topical Solution, Foam/Mousse, 1‐month supply, 2 oz.                                                                    $40.00    $40.00   3     $40.00    $120.00
  35886082260   CVS   *New* HENCKELS Classic Carving Knife 8‐inch Stainless Steel. 31160‐201                                                  $47.00             1     $47.00     $47.00
 363824213675   CVS   Delsym Adult Liquid Nighttime Cough Ounce, 6 Fl Oz                                                                      $12.49             1     $12.49     $12.49
  48107159863   CVS   GNC Mega Men Sport Vitapak Program 30 Packs (Exp: 3/2024)                                                               $29.99             1     $29.99     $29.99
 856528001711   CVS   Novex Biotech GF‐9 Dietary Supplement 84 Capsules 02/2024 NIB                                                           $49.90             1     $49.90     $49.90
8011003995943   CVS   Versace Pour Homme For Men Eau De Toilette Spray, 1.0 Ounce                                                             $35.00    $28.88   3     $35.00    $105.00
 755571013385   CVS   Metagenics ‐ Candibactin‐BR ‐ 90 Tablets [Health and Beauty]                                                            $55.28    $64.34   1     $55.28     $55.28
                      Vega Protein and Greens Protein Powder Chocolate (19 Servings) ‐ 20g Plant Based Protein Plus Veggies, Vegan, Non
 838766006406   CVS   GMO, Pea Protein for Women and Men, 1.4lb (Packaging May Vary)                                                         $112.99    $31.13   1    $112.99    $112.99
 840103257082   CVS   MULTI CORREXION¬Æ Even Tone + Lift Daily Moisturizer with Sunscreen Broad Spectrum SPF 30                                $9.76     $9.97   1      $9.76      $9.76
8435137737826   CVS   Prada Prada Luna Rossa Sport Eau De Toilette Spray, 1.7 Ounce, 10003136                                                 $45.70    $89.89   1     $45.70     $45.70
 716170071138   CVS   Bobbi Brown Illuminating Bronzing Powder, No. 2 Antigua, 0.28 Oz                                                        $66.00             2     $66.00    $132.00
  85715268617   CVS   Festival Nite By Hollister cologne for him EDT 3.3 / 3.4 oz New in Box                                                  $19.33             1     $19.33     $19.33
                      Vital Planet ‐ Flora Dog Soft Chews Probiotic Supplement with 20 Billion Cultures and 11 Strains, Immune and
 850964006156   CVS   Digestive Support Chewable Probiotics for Dogs, 30 Natural Bacon Flavored Soft Chews                                              $29.99   1     $29.99     $29.99
3145891416701   CVS   L'EAU DE MOUSSE 150 ml                                                                                                  $38.70    $75.74   5     $38.70    $193.50
                      Eau Thermale Av√®ne PhysioLift Serum, Smoothing, Plumping Serum, Hyaluronic Acid to Reduce Appearance of
3282770110753   CVS   Wrinkles, 1 oz.                                                                                                         $59.00    $59.00   2     $59.00    $118.00
  79976696005   CVS   Hopkins 69600SK Smart Complete Tail Light Driver & Passenger Set Submersible                                            $28.99             1     $28.99     $28.99
  46135327094   CVS   Sylvania ZEVO LED 4057 LED Lamps Bulbs 3057/4157 NEW!!!                                                                 $13.99             1     $13.99     $13.99
                      Shiseido Benefiance Wrinkle Smoothing Day Cream ‐ 50 mL ‐ Broad‐Spectrum SPF 23 Anti‐Aging Moisturizer ‐ Visibly
730852149519    CVS   Corrects Wrinkles & Intensely Hydrates ‐ Non‐Comedogenic                                                                $75.00    $75.00   1     $75.00     $75.00
 43168684095    CVS   (2‐Pk) GE Relax HD Soft White 100W Replacement LED A19 Light Bulb 68409                                                 $13.77             1     $13.77     $13.77
                      Kate Somerville ExfoliKate Intensive Exfoliating Treatment ‚Äì Salicylic Acid and Lactic Acid Super Facial Scrub
813920010000    CVS   Improves Texture and Pores, 2 Fl Oz                                                                                     $98.00    $78.00   3     $98.00    $294.00
                      FOREO LUNA Mini 3 Silicone Face Cleansing Brush, All Skin Types, for Clean & Healthy Looking Skin, Enhances
7350092139441   CVS   Absorption of Facial Skin Care Products, Simple & Easy, Waterproof, Mint                                               $179.00             12   $179.00   $2,148.00
 887167503670   CVS   Estee Lauder Pure Color Envy Luxe Eyeshadow Quad ‐ 07 Boho Rose Eye Shadow Women 0.21 oz                                $58.00    $46.66    1    $58.00      $58.00
 840081402559   CVS   Irwin Naturals LIBIDO‐MAX FOR ACTIVBE MEN (PREVIOUSLY LEVEL UP ACTIVE MALE) 60CT                                        $21.99              1    $21.99      $21.99
  22600000105   CVS   Trojan Bullet Remote Control Vibrating Bullet Personal Massager high pleasure                                           $13.59              2    $13.59      $27.18
8809803517638   CVS   LANEIGE Water Bank Blue Hyaluronic Serum: Hydrate and Visibly Soothe, 1.6 fl. oz.                                       $45.00    $45.00    1    $45.00      $45.00
  75020041388   CVS   Philips Norelco JC302/52 Cleaning Cartridge ‐ Pack of 2                                                                 $14.99              2    $14.99      $29.98
  35886359089   CVS   **NEW** J.A. Henckels International Forged Elite 7" Santoku Knife 13868‐183                                             $29.88              1    $29.88      $29.88
  33674617007   CVS   Nature's Way ‐ Korean Ginseng Root Standardized ‐ 60 Vegetarian Cpasules                                                $45.99              1    $45.99      $45.99
 608729221708   CVS   Pulp Riot Semi‐Permanent Hair Color 4oz‐ Smoke                                                                          $14.79    $17.30    1    $14.79      $14.79
  85805574864   CVS   Elizabeth Arden Vitamin C Ceramide Capsules Renewal Serum 70 Caps                                                       $21.99              1    $21.99      $21.99
                      FOREO LUNA 3 Facial Cleansing Brush ‐ Combination skin ‐ Anti Aging Face Massager ‐ Enhances Absorption of Facial
7350092139144   CVS   Skin Care Products ‐ For Clean & Healthy Face Care ‐ Simple & Easy ‐ Waterproof                                         $99.00   $219.00   17    $99.00   $1,683.00
  43168545440   CVS   GE 9.5W A19 Smart Bulb ‐93130124 BRAND NEW FACTORY SEALED                                                                $8.00              1     $8.00       $8.00
  39800911575   CVS   2 Pack Energizer Ultimate Lithium 9v (2‐ 9v batteries Total) New Sealed 12/2032                                         $14.95              1    $14.95      $14.95
 882381102456   CVS   Darphin Stimulskin Plus Absolute Renewal Serum 30ml                                                                    $142.00   $149.00    4   $142.00    $568.00
8056597432245   CVS   Ray‐Ban Rb4344 Square Sunglasses, Black/Blue Gradient Polarized, 56 mm                                                 $210.00   $210.00    1   $210.00    $210.00
                      Trilogy Eye Contour Cream, 0.34 Fl Oz ‐ For All Skin Types ‐ Smooth & Improve Skin with Rosapene, Aloe Vera & Acai ‐
9421017760106   CVS   Made in New Zealand ‐ Clean, Natural Beauty                                                                             $44.00             4     $44.00    $176.00
 888066110082   CVS   Tom Ford Soleil Blanc Shimmering Body Oil Mini                                                                          $58.00             9     $58.00    $522.00
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                      AHAVA Dead Sea Water Mineral Shower Gel, Sea‐Kissed ‐ Refreshes & Relaxes, Washes Away Dirts & Impurities,
697045155682    CVS   Enriched with Exclusive mineral blend of Dead Sea, Osmoter & Zinc, 6.8 Fl.Oz                                          $24.00    $23.00   1     $24.00    $24.00
                      Cellucor C4 Ultimate Pre Workout Powder Sour Batch Bros ‐ Sugar Free Preworkout Energy Supplement for Men &
842595112313    CVS   Women ‐ 300mg Caffeine + 3.2g Beta Alanine + 2 Patented Creatines ‐ 20 Servings                                       $39.99    $39.61   1     $39.99    $39.99
810907024210    CVS   StriVectin TL Advanced Light Tightening Neck Cream, 1.7 Fl Oz                                                         $95.00             2     $95.00   $190.00
840749018108    CVS   Mineral Fusion Eye Shadow Trio, Rose Gold, 0.1 Ounce                                                                  $26.99    $16.00   1     $26.99    $26.99
883049546063    CVS   KitchenAid Variable Speed Corded Hand Blender KHBV53, Matte Black                                                     $59.99    $49.99   1     $59.99    $59.99
183405042513    CVS   NATURAL VITALITY Orange Flavor Magnesium Anti‐Stress Drink Mix, 8 OZ                                                  $99.00             1     $99.00    $99.00
 68958020457    CVS   CLA Tonalin by Natural Factors 60 Softgels                                                                            $19.99             1     $19.99    $19.99
841351177931    CVS   Hampton Bay Lighting LED Multi‐Strip Light with A/C Power Adapter,Multicolor,7793HD                                             $22.25   1     $22.25    $22.25
                      Dr. Stephanie's Men's Romance ‐ Energy & Endurance Natural Supplement ‐ with Tribulus Terrestris, Fenugreek, &
 850018712033   CVS   Longjack Root                                                                                                                   $27.27    3    $27.27    $81.81
 643620031308   CVS   First Health Rechargeable UV‐C Toothbrush Sanitizer / Travel Case NEW                                                 $10.49              2    $10.49    $20.98
3614224577971   CVS   philosophy purity made simple ‐ eye cream, 0.5 oz (Pack of 1)                                                         $29.00    $29.00    1    $29.00    $29.00
  20525981615   CVS   Megared Omega 3 Fish Oil & Krill Oil Advanced 500mg 40 Softgels Exp 9/24 #1615                                        $13.60             13    $13.60   $176.80
3348901608930   CVS   Dior Forever Natural Velvet ‐ 3N Neutral by Christian Dior for Women ‐ 0.35 oz Foundation                                       $49.04    1    $49.04    $49.04
                      Drunk Elephant Protini Powerpeptide Resurf Serum. Strengthen and Resurface Face Serum with 10% Lactic Acid and
812343032408    CVS   11 Signal Peptides (30 mL / 1 Fl Oz)                                                                                  $68.94    $78.99   1     $68.94    $68.94
840749004316    CVS   Mineral Fusion Volumizing Mascara Packaging May Vary, Chestnut, 0.57 Fl Oz                                            $19.99             1     $19.99    $19.99
842861110302    CVS   Ring Chime Pro                                                                                                        $59.99    $59.99   1     $59.99    $59.99
                      PCA SKIN Intensive Anti Aging Face Serum ‐ 0.5% Pure Vitamin A Retinol Cream for Uneven Skin Tone, Fine Lines &
 812025012445   CVS   Wrinkles (1 oz)                                                                                                      $118.00   $118.00   1    $118.00   $118.00
 855710002758   CVS   Nugenix Thermo ‐ Thermogenic Fat Burner Supplement Pills for Men, Extreme Metabolic Accelerator, 60 Count             $59.99             1     $59.99    $59.99
4020829005730   CVS   Dr. Hauschka Quince Day Cream, Refreshes and Protects, 1.0 fl oz                                                      $45.00    $45.00   1     $45.00    $45.00
 666151112698   CVS   Dermalogica Awaken Peptide Eye Gel ‐ Quickly Reduces The Appearance of Puffiness and Wrinkles                         $59.00    $59.00   1     $59.00    $59.00
  47469077730   CVS   Natrol Cognium Complete, Brain Health, 100 mg Capsules, 60 Ct EXP 12/23 U6A                                           $12.00             1     $12.00    $12.00
3614272453111   CVS   Lanc√¥me Hypn√¥se Eyeshadow Palette ‐ Highly Pigmented & Long‐Wear ‐ Flake & Smudge‐Proof ‐ Beige Br √ªl√©            $65.00    $65.00   1     $65.00    $65.00
 850038254179   CVS     üê∂YIP Apple Find My Tracking Smart Tag Blue Engrave Today [Brand New] üê∂                                          $12.22             4     $12.22    $48.88
  67981952292   CVS   K‐Y Intense Pleasure Gel Feminine Sexual Intensifier ‐ 10ml Expired 12/22                                             $10.00             1     $10.00    $10.00
  85715567000   CVS   OSCAR de LA RENTA .5 oz EDT Spray Perfume Unboxed                                                                     $13.00             1     $13.00    $13.00
  27131771944   CVS   Estee Lauder Sumptuous Extreme Lash Multiplying Volume Mascara ‐ FULL size                                            $11.95             9     $11.95   $107.55
  51494103289   CVS   MegaFood Men's 55+ Multivitamin Tablet ‐ MGF‐070 (60 Count) Exp 01/2024                                               $31.00             1     $31.00    $31.00
8056597646321   CVS   Dolce & Gabbana DG 4399 Black/Grey Shaded 56/20/145 women Sunglasses                                                           $159.31   1    $159.31   $159.31
  15794030232   CVS   Country Life Gut Connection Weight Balance 120Capsule exp;12.24#0232                                                  $34.00             9     $34.00   $306.00
                      DALS 4.75 Inch Recessed Horizontal Step Light | 3000k Warm White | 3W, 100 Lumens | Dimmable Stair Light | Wet
775902013792    CVS   Rated | ETL Certified | 5‐year warranty                                                                              $198.00    $91.42   1    $198.00   $198.00
                      Dr. Mercola Ubiquinol 100 mg Per Serving, 30 Servings (30 Capsules), Dietary Supplement, Supports Overall Health
 813006011624   CVS   and Wellness, Non GMO                                                                                                 $29.29    $21.97   2     $29.29    $58.58
  74312005619   CVS   EXPIRED Natures Bounty Elderberry Gummies 100mg Per Serving                                                            $7.99             1      $7.99     $7.99
3616300890219   CVS   Gucci Liquid Foundation ‐ 140W Fair ‐ Brand New With Box                                                              $38.99             1     $38.99    $38.99
                      Hypervolt Go 2 ‐ Featuring Quiet Glide Technology ‐ Handheld Percussion Massage Gun | 3 Speeds, 2
 810050281300   CVS   Interchangeable Heads | Helps Relieve Sore Muscles and Stiffness ‐ FSA and HSA Eligible                              $129.00   $109.00   1    $129.00   $129.00
  33674149317   CVS   Nature's Way Alive! Max3 Potency Multivitamin (90 Tablets Exp:1/25 #317                                               $20.80             2     $20.80    $41.60
3616301291367   CVS   philosophy amazing grace magnolia eau de parfum, 2 Fl. Oz                                                             $72.00    $72.00   1     $72.00    $72.00
 850021123178   CVS   JLO BEAUTY That Star Filter in an Instant Complexion Booster, Rich Bronze, 1 fl. Oz                                   $39.00    $39.00   2     $39.00    $78.00
                      Murad Anti‐Aging Moisturizer Broad Spectrum SPF 30 ‐ Acne Control Grease‐Free Face Moisturizer for Women &
767332152981    CVS   Men ‐ Anti‐Aging Face Cream with SPF, 1.7 Fl Oz                                                                       $57.00    $57.00   1     $57.00    $57.00
710363599492    CVS   Irwin Naturals Cellulite Reduction ‐ 60 Liquid Soft‐Gels ‐ 15 Servings                                                $33.32             2     $33.32    $66.64
810813030411    CVS   BeautyBio Quartz Roller Pure, Sustainably harvested Brazilian Rose Quartz Face, Eye & Body Roller                     $65.00    $65.00   2     $65.00   $130.00

5425018610013   CVS   Garden of Life EPA/DHA Omega 3 Fish Oil ‐ Minami Natural Brain Function, Heart and Mood Supplement, 60 Softgels       $42.99    $29.44   1     $42.99    $42.99
  70330362055   CVS   BIC Temporary Tattoo Body Marker Henna Vibes 3 Markers w/ 3 Stencils NEW                                               $8.99             3      $8.99    $26.97
                      Jarrow Formulas Saccharomyces Boulardii Probiotics + MOS 5 Billion CFU Probiotic Yeast for Intestinal Health
790011030041    CVS   Support, Gut Health Supplements for Women and Men, 90 Veggie Capsules, 90 Day Supply                                  $24.95    $17.29   3     $24.95    $74.85
819444010038    CVS   ONNIT New Mood ‐ Occasional Stress Relief, Sleep and Mood Support Supplement, 30 Count                                $29.95    $25.46   2     $29.95    $59.90
                      Mustela Maternity Stretch Marks Creamfor Pregnancy ‐ Natural Skincare Massage Moisturizer with Natural
3504105036362   CVS   Avocado, Maracuja & Shea Butter ‐ Lightly Fragranced ‐ 8.45 fl. oz                                                    $32.00    $32.00   1     $32.00    $32.00
 815266013752   CVS   NEW Bosley MD Men Hair Regrowth Treatment Extra Strength Fast SHIPPING!!!                                             $19.00             2     $19.00    $38.00
  10367050150   CVS   1 PIECE OF LABTECH H2O OK PLUS COMPLETE WATER ANALYSIS KIT NIP *EASY TO USE*                                          $12.74             1     $12.74    $12.74
                      Alchimie Forever Kantic Calming Cream | Midweight Facial Moisturizer Calms Redness & Irritation with Rich
7640126630076   CVS   Antioxidants Blueberries & Grape Seeds | Revives Dull Skin, Hydrates, Anti‐Aging I 1.7 oz                             $71.00    $71.00   3     $71.00   $213.00
                      Nordic Naturals Vitamin D3 Gummies, Wild Berry ‐ 120 Gummies ‐ 1000 IU Vitamin D3 ‐ Great Taste ‐ Healthy Bones,
 768990311413   CVS   Mood & Immune System Function ‐ Non‐GMO ‐ 120 Servings                                                                $21.95    $18.66   3     $21.95    $65.85
  47400671706   CVS   King C Gillette Neck Razor Blades for Men, 4 Count                                                                     $9.89             4      $9.89    $39.56
 740993034162   CVS   ATP Automotive AT‐205 Re‐Seal Stops Leaks, 8 Ounce Bottle                                                             $17.94             2     $17.94    $35.88
  46561275501   CVS   Fiskars 14" Hatchet with Sheath *Black/Orange*#7550 (e14‐1)                                                           $33.00             1     $33.00    $33.00
 815266013745   CVS   *NOV 2023* Bosley MD Men's Minoxidil Rogaine Hair Regrowth 3 Month Supply #3745                                       $14.99             1     $14.99    $14.99
8053672498615   CVS   Dolce & Gabbana DG4268‐502/13 Sunglasses HAVANA w/LIGHT & DARK BROWN GRADIENT 52mm                                   $150.66   $137.25   1    $150.66   $150.66
  76630169615   CVS   American Health Ester C Citrus Bioflavonoids 500 mg 120 Caps FRESH                                                    $17.48             1     $17.48    $17.48
 883049143705   CVS   KitchenAid Artisan Series 5 Quart Tilt Head Stand Mixer with Pouring Shield KSM150PS, Removable bowl, Aqua Sky       $459.99   $449.95   1    $459.99   $459.99
 725125156448   CVS   Coach Sunglasses HC 8296 U 50028G Black                                                                              $122.38             1    $122.38   $122.38
8032529118050   CVS   Salvatore Ferragamo Black For Men Eau De Toilette Natural Spray, 3.4 Fl Oz/100 ml                                     $86.00    $30.99   1     $86.00    $86.00
                      Buckle‐Down Seatbelt Buckle Dog Collar ‐ Lightning McQueen Poses FR/95 Checker Black/White/Red ‐ 1" Wide ‐ Fits
700146100151    CVS   15‐26" Neck ‐ Large                                                                                                   $25.99             1     $25.99    $25.99
 70330366039    CVS   Bic BODYMARK Temporary Tattoo markers + Stencils Fine Tip Mandala                                                     $12.25             2     $12.25    $24.50
                      MacroLife Naturals Macro Greens Powder 38 Superfood Probiotic Antioxidant Enzyme & Herbal Supplement
852434001128    CVS   Immunity Energy Cleanse ‐ Non‐GMO Vegan Gluten‐Free Dairy‐Free ‐ 12 Packet Servings                                   $27.00    $37.83   1     $27.00    $27.00
844061013339    CVS   Penguin Original Penguin Original Blend By Munsingwear 2piece Gift Set Men, 1 Oz                                      $65.00             1     $65.00    $65.00
 10536799262    CVS    Putco Metal LED 360 Bulbs High Power LED 12V‐24V 10 Watts 7440 Cool White                                            $19.95             1     $19.95    $19.95
                      Garden of Life Adrenal Daily Balance, Adaptogenic Herbs Ashwagandha, Holy Basil, B Complex & Probiotics, Organic
658010121866    CVS   Non‐GMO, Vegan, Gluten Free Supplement, Two Month Supply, 120 Tablets                                                 $31.49    $34.29   1     $31.49    $31.49
805289367604    CVS   Ray‐Ban RB3267 Metal Aviator Sunglasses, Brown/Polarized Brown, 64 mm                                                $187.00    $89.99   1    $187.00   $187.00
                      Algenist Sublime Defense Ultra Lightweight UV Defense Fluid SPF50 ‐ Sheer, Oil‐Free Face Sunscreen with Vitamin E,
854095002599    CVS   Echinacea & Green Tea ‐ Non‐Comedogenic & Hypoallergenic Skincare (30ml / 1oz)                                        $28.00    $28.00   3     $28.00    $84.00
                      SYLVANIA ‐ 3157 LED White Mini Bulb ‐ Bright LED Bulb, Ideal for Daytime Running Lights (DRL) and Back‐Up/Reverse
4059089311701   CVS   Lights (Contains 2 Bulbs)                                                                                             $20.99    $14.75   1     $20.99    $20.99
  47400659049   CVS   Gillette Fusion 5 Razor Blades Replacement 2 Cartridges                                                                $8.99             1      $8.99     $8.99
                      Coach Apple Watch Strap | Show Your Personality with Every Wear | Customizable | Fashionable| Elegant Leather |
885997423922    CVS   Designed for 38mm, 40mm Apple Watches | Model (14700059)                                                              $95.00    $71.25   1     $95.00    $95.00
889714000557    CVS   Crest 3D Whitestrips, Classic Vivid, Teeth Whitening Strip Kit, 20 Strips (10 Count Pack)                             $34.99    $27.29   2     $34.99    $69.98
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607845040774    CVS   NARS Blush ‐ 4077 Orgasm X Blush Women 0.16 oz                                                                           $36.00    $24.99   1    $36.00     $36.00
                      Host Defense, Lion's Mane Capsules, Promotes Mental Clarity, Focus and Memory, Mushroom Supplement, 60
633422031620    CVS   Count                                                                                                                    $31.95             2    $31.95     $63.90
                      Trilogy Age Proof Line Smoothing Day Cream, For Ageing Skin ‐ Rejuvenate, Smooth & Hydrate with Glycablend,
9421017761844   CVS   Hyaluronic Acid & Hydroxyproline, 1.69 Fl Oz                                                                             $50.00             7    $50.00    $350.00
 679354000303   CVS   UDAP 12VHP Safety Orange Bear Spray, Multi                                                                               $49.29    $45.73   1    $49.29     $49.29
 887167554887   CVS   Est√©e Lauder Advanced Night Repair Eye Concentrate Matrix Synchronized Multi‐Recovery Complex                                     $25.98   1    $25.98     $25.98
  15794050704   CVS   Country Life Dietary Supplement & Vitamins ‐ CHOOSE ITEM!                                                                $13.95             1    $13.95     $13.95
 888254142321   CVS   adidas Originals Puffer Backpack, Magic Beige, One Size                                                                  $60.00             1    $60.00     $60.00
  37000244639   CVS   Align Probiotic Supplement Capsule ‐ 49 Count 10/25                                                                      $17.05             1    $17.05     $17.05
                      First Aid Beauty Ultra Repair Hydrating Serum with Hyaluronic Acid, Anti‐Aging Face Serum for Sensitive Skin, 1.7
815517024018    CVS   Ounces                                                                                                                   $38.00             1    $38.00     $38.00
                      Urban Decay Stay Naked The Fix Powder Foundation, 30NN ‐ Matte Finish Lasts Up To 16 Hours ‐ Water & Sweat
3605972250766   CVS   Resistant ‐ Comes with Charcoal‐Infused Sponge                                                                           $40.00             1    $40.00     $40.00
 817494015065   CVS   Sunday Riley C.E.O. 15% Vitamin C Brightening Serum, 1.7 fl. oz.                                                        $122.00   $122.00   3   $122.00    $366.00
 812391022079   CVS   IBY Beauty, Eyeshadow Palette Desert Vibes, 1 Count                                                                      $29.99    $29.99   2    $29.99     $59.98
3348901377911   CVS   Dior S√©rum Plump Sleeve                                                                                                 $79.00    $92.63   2    $79.00    $158.00
 195893417766   CVS   For 2003‐2006 Chevrolet Express 2500 Brake Pad Set Front Wagner 71998BNDR 2004                                           $53.87             2    $53.87    $107.74
                      Nutramax Laboratories Dasuquin with MSM Joint Health Supplement for Small to Medium Dogs ‐ With Glucosamine,
755970460308    CVS   MSM, Chondroitin, ASU, Boswellia Serrata Extract, and Green Tea Extract, 84 Soft Chews                                   $49.99    $49.99   2    $49.99     $99.98
                      New Chapter Vegan Elderberry Capsules with 64x Concentrated Black Elderberry + Black Currant for Comprehensive
727783901156    CVS   Immune Support, Non‐GMO Project Verified, Gluten Free, Certified Vegan, 30 Count                                         $41.95    $25.95   1    $41.95     $41.95
813920018181    CVS   Kate Somerville Retinol Vitamin C 50ml Firm & Brighten                                                                   $84.00             2    $84.00    $168.00
                      Genuine Health Advanced Gut Health Probiotic Mood, 50 Billion CFU, 15 Diverse Strains, Vegan Delayed‐Release
624777009440    CVS   Capsules, 30 Count‚Ä¶                                                                                                              $33.99   2    $33.99     $67.98
 35886292843    CVS   Zwilling J.A. Henckels Pro 5.5" Santoku Knife, New                                                                       $64.99             3    $64.99    $194.97
                      Mineral Fusion Full Coverage Foundation, Liquid Foundation ‐ Neutral 1‐ Fair Complexion w/Neutral Undertones,
840749017545    CVS   Lightweight Matte Finish, Up to 12 Hr Hydration, Hypoallergenic & Vegan, 1 fl. oz                                        $21.00     $7.82   1    $21.00     $21.00
                      Winky Lux Petal Cleanser, Gentle Daily Facial Cleanser, Rose Water Facial Wash, Makeup Remover, Glycerin &
818324025070    CVS   Vitamin C Face Wash Brightens and Balances Dry Sensitive Skin                                                            $22.99             1    $22.99     $22.99
                      La Roche‐Posay Redermic C Pure Vitamin C Eye Cream with Hyaluronic Acid to Reduce Wrinkles for Anti‐Aging Effect,
3337872413735   CVS   0.5 Fl Oz (Pack of 1)                                                                                                    $49.99    $49.99   3    $49.99    $149.97
                      Kate Somerville ExfoliKate Cleanser ‚Äì Daily Exfoliating Foaming Face Wash ‚Äì Clinically Formulated Glycolic Acid
813920014947    CVS   and Lactic Acid Gentle Facial Scrub, 4 Fl Oz                                                                             $44.00             1    $44.00     $44.00
 75609007392    CVS   Olay Regenerist Advanced Anti‐Aging w/Moisturize SPF 15 75 ml Open Box                                                   $16.99             1    $16.99     $16.99
                      Dermalogica Daily Microfoliant (2.6 Fl Oz) Exfoliator Face Scrub Powder ‐ Achieve Brighter, Smoother Skin daily with
 666151020467   CVS   Papaya Enzyme and Salicylic Acid                                                                                         $50.00    $65.00   3    $50.00    $150.00
 805289526131   CVS   Ray‐Ban Women's RB4167 Emma Cat‐Eye Sunglasses, Black, 59 mm                                                            $115.00    $79.95   1   $115.00    $115.00
5060445300085   CVS   MZ SKIN BRIGHTEN & PERFECT | 10% Vitamin C Serum | Collagen Stimulation | Vegan                                         $179.98   $295.63   1   $179.98    $179.98
 658010130431   CVS   3x GARDEN OF LIFE Dr. Formulated Probiotics Digestive & Immune Care with Zinc                                            $42.99             2    $42.99     $85.98
 773602010622   CVS   Mac Studio Fix Powder Plus Foundation Nw15 0.52 Ounce                                                                    $51.00    $26.03   1    $51.00     $51.00
 672501214660   CVS   Cricket Shear Xpressions 5.75" Professional Stylist Hair Cutting Scissors Japanese Stainless Steel Shears, Greyzilla     $41.95             1    $41.95     $41.95
                      NEW NORDIC Hair Volume Tablets | 3000 mcg Biotin & Biopectin Apple Extract | Supports Natural Hair Growth for
741805747119    CVS   Thicker, Fuller Hair | Men and Women | 30 Count (Pack of 1)                                                              $21.95    $11.99   3    $21.95     $65.85
                      T3 Lucea ID Digital Ceramic Flat Iron with Touch Interface Interactive HeatID Technology for Automatic Heat Setting
883349001958    CVS   Personalization, White/Rose Gold, 1"                                                                                    $249.00             1   $249.00    $249.00
 48107133931    CVS   GNC Men Staminol Sexual Health Formula Male Performance 60 Capsules Exp.02/2025                                          $14.50             5    $14.50     $72.50
860000579902    CVS   ScarClear Triple Action Scar Treatment .5oz                                                                              $27.95             1    $27.95     $27.95
                      Betancourt Nutrition Androrush Reloaded Performance Enhancer | KSM‐66 Ashwagandha | Strength, Performance,
 857487005246   CVS   Stamina, Muscle Pumps | 120 Capsules                                                                                     $39.99    $39.99   1    $39.99     $39.99
 819002010685   CVS   Algenist‐GeniusUltimateAnti‐AgingCream60ml                                                                               $68.75             3    $68.75    $206.25
  31604017156   CVS   Nature Made Flaxseed Oil 1000 Mg, Fish Free Omega 3 Supplement, Dietary Suppleme                                         $11.16             1    $11.16     $11.16
6970995783209   CVS   Roborock Original Washable Dust Filter for S7, S7+, S7 MaxV, S7 MaxV Plus, S7 MaxV Ultra                                 $48.63             1    $48.63     $48.63
4020829063167   CVS   Dr. Hauschka Eye Make‐Up Remover, 2.5 Fl Oz                                                                              $20.00    $20.00   1    $20.00     $20.00
                      PCA SKIN Retinol Treatment for Sensitive Skin ‐ Anti Aging Face Serum to Gently Reduce Redness & Minimize Fine
 812025016979   CVS   Lines & Wrinkles ‐ Contains Vitamin A & Hydrating Niacinamide (1 oz)                                                    $118.00   $118.00   1   $118.00    $118.00
7640126630342   CVS   Alchimie Forever Dry Skin Balm, 3.3 Fl Oz                                                                                $27.00    $27.00   3    $27.00     $81.00
                      Urban Decay Anti‐Aging Eyeshadow Primer Potion ‐ Hydrating Eye Primer ‐ Reduces the Appearance of Fine Lines ‐
3605970936174   CVS   Great for Mature Crepey Eyelids ‐ Lasts All Day ‐ 0.33 fl oz                                                             $27.00    $27.00   2    $27.00     $54.00
                      Collagen Powder Protein with Vitamin C and Probiotics by Ancient Nutrition, Multi Collagen Protein, Unflavored, 24
 816401022172   CVS   Servings, Hydrolyzed Collagen Peptides Supports Skin and Nails, Gut Health, 8.6oz                                        $32.95    $27.06   1    $32.95     $32.95
3348901250146   CVS   Christian Dior Sauvage Eau De Toilette Spray for Men, 3.4 Fluid Ounce                                                   $103.10   $117.60   1   $103.10    $103.10
                      Purely Inspired Vegan Protein Powder Plantopia Silky‐Smooth Plant Based Protein Powder for Women & Men Gluten
 631656714890   CVS   Free Plant Protein Powder Dairy Free, Soy Free Chocolate Hazelnut, 13 Servings                                           $19.99    $26.01   1    $19.99     $19.99
3282770104639   CVS   Eau Thermale Av√®ne Refreshing Eye Contour Care, Red Fruit Extract, Antioxidant Protection 0.5 fl. oz. (Pack of 1)       $34.00             1    $34.00     $34.00
                      GF‐9 ‚Äì 84 Count ‐ Supplements for Men ‐ Male Supplements ‐ Boost Critical Peptide That Supports Energy, Drive,
856528001605    CVS   Physical Performance & More                                                                                              $64.99             1    $64.99      $64.99
858271002793    CVS   NuFACE Mini Starter Kit ‚Äì Mini Facial Toning Device with Hydrating Leave‐On Gel Primer, 2 Fl Oz                       $209.00   $245.58   8   $209.00   $1,672.00
                      FOREO LUNA fofo Smart Facial Cleansing Brush and Skin Analyzer, Pearl Pink, Personalized Cleansing for a Unique
7350092137850   CVS   Skincare Routine, Bluetooth & Dedicated Smartphone App                                                                   $44.00             1    $44.00     $44.00
 840749014544   CVS   Mineral Fusion Eye Shadow Trio Fragile, 0.1 oz                                                                           $26.99    $15.43   2    $26.99     $53.98
  49022007253   CVS   Dog Harness Mesh Adjustable XS/S up to 25 lbs Red                                                                         $6.39             1     $6.39      $6.39
                      Thorne Undecylenic Acid (Formerly Formula SF722) ‐ 250 mg of Undecylenic Acid ‐ Fatty Acid Support for a Healthy
693749722014    CVS   Balance of Gut and Vaginal Flora ‐ Gluten Free ‐ 250 Gelcaps ‐ 50 Servings                                               $42.00    $42.00   3    $42.00    $126.00
                      La Roche‐Posay Anthelios Mineral Ultra‐Light Face Sunscreen SPF 50, Zinc Oxide Sunscreen for Face, 100% Mineral
883140000907    CVS   Sunblock, Oil Free Sunscreen for Sensitive Skin, Daily Sun Protection                                                    $36.99    $36.99   1    $36.99     $36.99
751349197547    CVS   Amazon Essentials Stud Earrings, Sterling Silver Crystal Ball (previously Amazon Collection)                             $28.00             1    $28.00     $28.00
742676441137    CVS   The Republic of Tea Organic Dandelion SUPERHERB Herbal Tea, Tin of 36 Tea Bags                                           $18.25    $16.49   1    $18.25     $18.25
                      Saturday Skin Yuzu Eye Cream Vitamin C Wide lluminating Under Tight Eye Cream Korean Niacinamide Caffeine for
8809314952188   CVS   Wrinkles Puffy Eyes Dark Circles Moisturizing Hydrates Anti Aging for Women (15ml)                                       $32.00    $32.00   4    $32.00    $128.00
                      Trilogy Vital Moisturizing Cream ‐ Intensely Hydrating Daily Face Cream with Marula and Evening Primrose Oils, 2.0 fl
9421017760076   CVS   oz (60 ml)                                                                                                               $44.00    $34.99   4    $44.00    $176.00
  31604043551   CVS   Nature Made CoQ10 100 mg with Black Pepper Extract 30 Softgels Exp 10/2023                                                $9.00             1     $9.00      $9.00
                      Pioneer AVH‐241EX Double‐Din CD/DVD Receiver, with Amazon Alexa via The Pioneer Vozsis App, Bluetooth and
884938479066    CVS   Backup Camera Compatibility, 6.2‚Äù Resistive Touchscreen                                                               $320.00   $209.95   1   $320.00    $320.00
 92961040331    CVS   Estroven Complete Multi‐Symptom Menopause Relief 28 Caplets                                                              $12.50             2    $12.50     $25.00
                      BCAA Amino Acids + Energy | MuscleTech Amino Build Energized | Pre Workout BCAAs + Electrolytes | Support
631656709032    CVS   Muscle Recovery, Build Lean Muscle & Boost Endurance | ENERGIZED Fruit Punch (30 Servings)                               $44.99             2    $44.99     $89.98
 35886179472    CVS   ZWILLING TWIN Signature 8‐inch Bread Knife                                                                               $39.44             1    $39.44     $39.44
736101800033    CVS   360 Lighting 4‐Light Silver LED Puck Light Kit with Remote Control                                                       $29.98             1    $29.98     $29.98
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                      Raptic Action Band, Compatible with 42mm Apple Watch ‐ Replacement Band ‐ Soft Silicone, Active Watch Band ‐
6950941459204   CVS   Compatible with Apple Watch Series 1, Series 2, Series 3 and Nike+, [Black/Yellow]                                         $19.99                2    $19.99        $39.98
3616300890202   CVS   GUCCI Natural Finish Fluid Foundation ‐ 170W Fair ‐ 1oz/30ml Authentic NIB                                                 $34.87                1    $34.87        $34.87
                      adidas Men's Athletic Cushioned Quarter Socks (with Arch Compression for a Secure fit (6‐Pair), Black/Aluminum 2,
 716106643903   CVS   Large                                                                                                                      $20.00    $19.29      1    $20.00        $20.00
3145891912104   CVS   Chanel Le Volume De Chanel Mascara ‐ 10 Noir Women Mascara 0.21 oz                                                         $32.00               12    $32.00       $384.00
5060552901854   CVS   Augustinus Bader Women's The Rich Cream, One Size                                                                          $89.36    $89.36      1    $89.36        $89.36
                      URBAN DECAY 24/7 Glide‐On Eyeliner Pencil, Demolition ‐ Deep Brown with Matte Finish ‐ Award‐Winning,
 604214456402   CVS   Waterproof Eyeliner ‐ Long‐Lasting, Intense Color                                                                          $25.00    $25.00      3    $25.00        $75.00
3614272453104   CVS   Lanc√¥me Hypn√¥se Eyeshadow Palette ‐ Highly Pigmented & Long‐Wear ‐ Flake & Smudge‐Proof ‐ French Nude                    $65.00    $65.00      3    $65.00       $195.00
 773602338719   CVS   MAC Mineralize Skinfinish Natural ‐ Medium Tan Powder Women 0.35 oz                                                        $45.00    $41.50      1    $45.00        $45.00
4260521261809   CVS   Dr. Barbara Sturm, Super Anti‐Aging Eye Cream, 15ML                                                                       $210.00   $210.00      1   $210.00       $210.00
 816820021077   CVS   ArtNaturals Retinol Serum, 1 Fluid Ounce                                                                                   $13.82                3    $13.82        $41.46
 792363570138   CVS   Ames LDM‐60 200 ft Laser Distance Meter Color Display 8 Measurement Modes #138                                             $20.99                1    $20.99        $20.99
                      BosleyMD Follicle Energizer, DHT Blocker, Extra Strength Thinning Hair Treatment for Hair Loss and Hair Regrowth,
815266012724    CVS   Men and Women,1oz. and Value Kit (Packaging May Vary)                                                                      $32.00    $32.00      1    $32.00        $32.00
                      La Roche‐Posay Effaclar Duo Dual Action Acne Spot Treatment Cream with Benzoyl Peroxide Acne Treatment,
883140500759    CVS   Blemish Cream for Acne and Blackheads, Safe For Sensitive Skin, 1.35 Fl Oz (Pack of 1)                                     $35.99    $33.49      1    $35.99        $35.99
                      La Roche‐Posay Anthelios 100% Mineral Sunscreen Moisturizer with Hyaluronic Acid, Broad Spectrum SPF 30 Face
3606000546028   CVS   Sunscreen with Zinc Oxide & Titanium Dioxide, 1.7 fl. oz.                                                                  $37.99    $37.99      9    $37.99       $341.91
 651986130665   CVS   Too Faced Peach Bloom Color Blossoming Lip & Cheek Tint ~ Peach Glow                                                                 $39.95      1    $39.95        $39.95
  69055888186   CVS   Braun Silk‐√©pil 9 9‐720 Hair Removal Epilator New/Open Box READ DESCRIPTION                                               $41.44                1    $41.44        $41.44
 850004639276   CVS   Primal Kitchen Triple Berry Collagen Quench, 8.46 OZ                                                                       $29.99                1    $29.99        $29.99
 889714000052   CVS   Crest 3D Whitestrips LUXE Glamorous White 28 Count                                                                         $42.99    $42.50      2    $42.99        $85.98
                      Mineral Fusion Full Coverage Foundation, Liquid Foundation ‐ Warm 1‐ Light to Medium Complexion w/Golden
840749017583    CVS   Undertones, Lightweight Matte Finish, Up to 12 Hr Hydration, Hypoallergenic & Vegan, 1 fl. oz                              $21.00    $25.00      1    $21.00        $21.00
                      Vega Protein Made Simple Protein Powder, Vanilla ‐ Stevia Free, Vegan, Plant Based, Healthy, Gluten Free, Pea
838766001500    CVS   Protein for Women and Men, 9.2 oz (Packaging May Vary)                                                                     $17.99    $11.61      1    $17.99        $17.99
859250010211    CVS   Sanitas Skincare Antioxidant Moisturizer, Highly Concentrated Moisturizer, 1.7 Ounce                                       $79.00                3    $79.00       $237.00
773602577866    CVS   MAC by Make‐Up Artist Cosmetics, Retro Matte Lipstick Mini ‐ All Fired Up ‐1.8g/0.06oz                                     $21.31    $21.83      3    $21.31        $63.93
                      Renew Life Adult Probiotic ‐ Health & Wellness Ultimate Flora Extra Care Probiotic, Probiotic Supplement ‐ 30 Billion ‐
631257154330    CVS   30 Vegetarian Capsules (Packaging May Vary)                                                                                $99.00                1    $99.00        $99.00
                      Enzymedica Digest Gold + ATPro, Maximum Strength Digestive Enzymes, Helps Digest Large Meals for Instant
 670480202111   CVS   Bloating Relief, 45 Count                                                                                                  $29.99    $22.76      1    $29.99        $29.99
3386460036429   CVS   Boucheron Pour Homme Eau de Parfum, Woody Citrus, 3.3 Fl Oz                                                               $130.00                1   $130.00       $130.00
 651473535508   CVS   Perricone MD Essential Fx Acyl‐Glutathione Rejuvenating Moisturizer                                                        $55.48    $52.50      1    $55.48        $55.48
                      PROSUPPS Hyde Max Pump Pre Workout for Men and Women ‐ Nitric Oxide Supplement for Pump and Endurance ‐
 810034812117   CVS   Stimulant Free Pre Workout to Promote Blood Flow and Muscle Strength (Blue Razz, 20 Servings)                              $18.18    $18.18      1    $18.18        $18.18
8056597640404   CVS   Prada PR 24XS UAO0A7 Talc Tortoise Plastic Rectangular Sunglasses Grey Gradient Lens                                      $293.00   $141.56      1   $293.00       $293.00
  29275044168   CVS   Lewis N. Clark Global Adapter, Dual USB Charger, 175+ Countries #EK150 NEW                                                 $15.99                1    $15.99        $15.99
  18084965108   CVS   Aveda Tulasara Firm & Bright Concentrate 3ml Each Samples Sizes                                                            $16.95                1    $16.95        $16.95
                      Oliso TG1600 Pro Plus 1800 Watt SmartIron with Auto Lift ‐ for Clothes, Sewing, Quilting and Crafting Ironing |
854537008226    CVS   Diamond Ceramic‐Flow Soleplate Steam Iron, Yellow                                                                         $229.99   $196.95      1   $229.99       $229.99
859250011324    CVS   Sanitas Skincare PeptiDerm Moisturizing Cream, Peptides, Ultra Hydration, Moisturizer for Aging Skin, 1 Ounce             $100.00   $100.00      1   $100.00       $100.00
                      PawZ Rubber Dog Boots for Paws up to 4", 12 Pack ‐ All‐Weather Dog Booties for Hot Pavement, Snow, Mud, and
 897515001055   CVS   Rain ‐ Waterproof, Anti Slip Dog Socks ‐ Large, Purple                                                                     $19.99                1    $19.99        $19.99
8435137729197   CVS   MARC JACOBS Daisy Love Eau de Toilette Spray, 3.4‐oz.                                                                     $102.00    $66.70      1   $102.00       $102.00
 850022464065   CVS   Lexie Premium Hearing Aids with Remote Expert Care Light Grey                                                             $349.99                2   $349.99       $699.98
 651986130672   CVS   Peach Bloom Color Blossoming Lip & Cheek Tint                                                                              $28.69    $24.00      1    $28.69        $28.69
                      FORCE FACTOR Prime HGH Secretion Activator Supplement for Men with L‐Arginine and L‐Glutamine to Trigger HGH
818594014248    CVS   Production, Boost Workout Force, and Improve Athletic Performance, 150 Capsules                                            $69.99                1    $69.99        $69.99
                      TOZO T10 Bluetooth 5.3 Wireless Earbuds with Wireless Charging Case IPX8 Waterproof Stereo Headphones in Ear
6971681310570   CVS   Built in Mic Headset Premium Sound with Deep Bass for Sport Black                                                          $39.99    $24.99      4    $39.99       $159.96
                      Cellfood SAM‐e Liquid Formula+, 1 fl oz ‐ Joint Support & Liver Health ‐ Liquid for Easier Absorption & Better
679909000079    CVS   Bioavailability ‐ Gluten Free, Non‐GMO ‐ 30‐Day Supply                                                                     $47.95    $37.95      1    $47.95        $47.95
816820021084    CVS   ArtNaturals Hyaluronic Acid Serum, 1 Fluid Ounce                                                                           $13.82                2    $13.82        $27.64
795728929497    CVS   DKNY Backpack Softside Carryon Luggage, ASH, 14 Inch                                                                      $225.00   $225.00      1   $225.00       $225.00
                      ThunderWunders Hemp Dog Calming Chews | Vet Recommended for Situational Anxiety | Fireworks,
819505014814    CVS   Thunderstorms, Travel & More | Made with Hemp Seed, Thiamine, L‐Tryptophan, Melatonin & Ginger (60 Count)                  $24.95    $10.00      1    $24.95        $24.95
                      Algenist Advanced Anti‐Aging Repairing Oil ‐ Fast Absorbing & Non‐Greasy Anti‐Aging Face Oil ‐ Non‐Comedogenic &
 819002010395   CVS   Hypoallergenic Skincare                                                                                                    $82.00                1    $82.00        $82.00
 672501214684   CVS   Cricket Shear Xpressions 5.75" Professional Stylist Hair Cutting Scissors Japanese Stainless Steel Shears, Hey Rosie       $79.98    $41.95      1    $79.98        $79.98
3614226327321   CVS   philosophy amazing grace ballet rose eau de toilette, 4 oz                                                                 $84.00    $84.00      1    $84.00        $84.00
                      Arches Watercolor Block 11x14‐inch Natural White 100% Cotton Paper ‐ 20 Sheets of Arches Watercolor Paper 140
3700417116000   CVS   lb Cold Press ‐ Arches Art Paper for Watercolor Gouache Ink Acrylic and More                                               $82.95    $55.17      3    $82.95       $248.85
                      Vetericyn Plus Dog Wound Care Hydrogel Spray | Healing Aid and Wound Protectant, Sprayable Gel to Relieve Dog
852009002109    CVS   Itchy Skin, Safe for All Animals. 8 ounces                                                                                           $25.15      1    $25.15        $25.15
856864002007    CVS   LIFTLAB Lift Perfect Rejuvenation Cream, 1.7 Fl Oz                                                                        $185.00   $111.95      2   $185.00       $370.00
 88395015403    CVS   Norwegian, The Very Finest Fish Oil, Natural Lemon, 1,600 mg, 6.7 fl oz (200 ml)                                           $23.80               11    $23.80       $261.80
855710002093    CVS   Nugenix Free Testosterone Booster Supplement for Men, 90 Count                                                             $69.99                1    $69.99        $69.99
 76753125581    CVS   GOOD COOK ‐ Corkscrew Tire‐Bouchon Quick Tip #SC                                                                            $6.34                1     $6.34         $6.34
                      BosleyMD Foam, Extra Strength Thinning Treatment for Hair Loss and Hair Regrowth for Women 2%‐5% Topical
815266013219    CVS   Solution, Foam/Mousse, 1‐month supply, 2 oz                                                                                $40.00    $40.00      2    $40.00        $80.00

                                                                                                                                                                    1931             $134,580.26
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  Original                                                                                                                               Amazon
                Identified by:                                        Product Title                                        MSRP (USD)             Qty       Price     Extended Retail
Search Term                                                                                                                               (USD)
  30932310021        HSI         (small) ‐ Pro Orthopaedic 3100 Padded Knee Brace. Free Shipping                                $14.99                  1    $14.99             $14.99

1168630512092        HSI         AA Aquarium GKM 9W Green Killing Machine Internal UV‐C Clarifier with Pump Head                $49.48                  1    $49.48             $49.48
 673869563988        HSI         AcetylCholine Brain Food Supports Mental Clarity (90 Vegetarian Capsules)                      $39.95                  1    $39.95             $39.95
                                 Active Wow 24k White Charcoal Teeth Whitening Pen ‐ Tooth Whitening Pen,
                                 Fluoride Free, Cruelty Free, Sulfate & Paraben Free, Made in The USA, Teeth
 857449008353        HSI         Whitening Stick ‐ Charcoal & Mint                                                               $9.99                  1     $9.99              $9.99
 695111002694        HSI         Ageless Male Pro‐T Pump, Nitric Oxide Booster Supplement for Men, 60 Tablets                   $17.02                  1    $17.02             $17.02
 854232008163        HSI         Airthings Corentium Home Radon Detector 2350 Portable Lightweight Easy‐to‐Use                 $129.99                  1   $129.99            $129.99
 818356022634        HSI         Algenist GENIUS Liquid Collagen¬Æ Serum 1 oz / 30 mL                                          $115.00                  1   $115.00            $115.00
                                 Algenist Genius Liquid Skin Resurfacing 2% BHA Toner ‐ Facial Exfoliator for Fine Lines
 818356022443        HSI         and Wrinkles ‐ Vegan Collagen for Skin & Pore Refining Toner (100ml)                           $40.00                  2    $40.00             $80.00
                                 Alpha King Supreme Testosterone Booster for Men with Fenugreek Seed and
                                 Ashwagandha to Increase Drive and Vitality, Boost Performance, and Build Muscle
 818594013968        HSI         and Strength, Force Factor, 90 Tablets                                                         $39.99                  1    $39.99             $39.99
 877060001762        HSI         Alpine Mountain Gear Multi Focus Head Lamp, Black, 300 lm                                      $32.12                  1    $32.12             $32.12
 316864000194        HSI         AmLactin Daily Moisturizing Body Lotion 12% - 14.1 oz                                          $20.37                  1    $20.37             $20.37
 618786638098        HSI         And Now This Crystal Tapered Hoop Earrings in Silver‐Plate, 1.2" ‐ Gold                        $17.50                  1    $17.50             $17.50
 194644025113        HSI         Anker Powerport Atom Liii A2618S21‐5                                                           $45.99                  1    $45.99             $45.99
 696166209205        HSI         Apotheke:M Perfumed After Bath Tonic Coconut Jasmine                                           $11.77                  2    $11.77             $23.54
3605972724281        HSI         Armani My Way Home & Away Set                                                                  $82.00                  1    $82.00             $82.00
                                 artnaturals Face & Neck Firming Cream ‐ Anti Aging Moisturizer for Neck &
                                 D√©collet√© ‐ For Tightening & Lifting Sagging Skin ‐ Antiwrinkle, Reduces Fine Lines
 816820028236        HSI         w/ Vitamin C & Hylauronic Acid ‐ 1.7 Fl                                                        $13.00                  9    $13.00            $117.00
 816820028229        HSI         Artnaturals Skin Care Youth Eye Gel Deep Hydration + Firming Formula Vit E Aloe                $12.99                  3    $12.99             $38.97
 816820028212        HSI         Artnaturals, Retinol Cream, Age Defense + Moisturizing Formula, 50ml                           $17.00                  2    $17.00             $34.00
 815863020481        HSI         Ascent Native Fuel ‐ Whey Protein                                                              $22.97                  2    $22.97             $45.94
 792363569378        HSI         Atlas Brushless 18" Chainsaw 80v Lithium W/80 & 40v Battery & Charger 9378                    $149.99                  1   $149.99            $149.99
5060552900246        HSI         Augustinus Bader The Cream Discovery Size 15ml / 0.5 Ounce                                     $92.00                  1    $92.00             $92.00
5060552903506        HSI         Augustinus Bader the Ultimate Soothing Cream Refill 50ml                                      $265.00                  1   $265.00            $265.00
                                 B&L Preservision Areds Sf Size 60ct Bausch & Lomb Preservision Areds Eye Vitamin
 324208532102        HSI         And Mineral Supplement, Softgels                                                               $36.28                  1    $36.28             $36.28
 693749005063        HSI         Basic Nutrients V (5) 180c with Copper without Iron or Iodine by Thorne Research               $48.00                  1    $48.00             $48.00
                                 BeautyBio Eye Want It All Face + Eye Total Rejuvenation Set (0.3mm), 6 Count (Pack
 810813034815        HSI         of 1)                                                                                         $249.00                  2   $249.00            $498.00
  35011982311        HSI         Bell Ramble 600 Performance Half Finger Cycling Gloves ‐ Black/Grey ‐ L/XL                     $11.28                  1    $11.28             $11.28
                                 Black Testosterone Booster ‐ Supports Libido, Strength & Stamina ‐ Caffeine Free (120
 812125030264        HSI         Capsules)                                                                                      $51.99                  1    $51.99             $51.99

    346643695        HSI         Bosch BLAZE 165 ft. Green Laser Distance Tape Measuring Tool with Bluetooth, Hap              $170.10                  1   $170.10            $170.10
    346515770        HSI         Bosch Blaze Pro Compact Laser Measure ‐ 165‐ft Range GLM165‐40                                 $79.97                  1    $79.97             $79.97
 811213022570        HSI         Bpi Sports Solid 30 Cutting Agent Capsules                                                     $27.85                  1    $27.85             $27.85
  50428620427        HSI         bundle Of (2) Live Better Ginseng Liquid                                                       $22.79                  1    $22.79             $22.79
5045497987859        HSI         Burberry Fresh Glow ‐ Golden Radiance 02 30ml                                                  $43.41                  1    $43.41             $43.41
 850684006207        HSI         Cannavest Plus Cbd Oil Balm No Artificial Dyes Or Fragrances ‐ 1.3 Oz                          $34.99                  1    $34.99             $34.99
 421629700018        HSI         Canon 2798B003AA (GPR‐31) Toner Magenta                                                       $125.86                  1   $125.86            $125.86
                                 Carbon Theory | Charcoal, Tea Tree Oil & Vitamin E Overnight Detox Facial Serum |
 746935352264        HSI         30ml                                                                                           $18.99                  1    $18.99             $18.99
                                 CBD Broad Spectrum Hemp Extract + BioPerine Black Pepper Extract ‐ 55 MG per
 766536070305        HSI         Serving (30 Capsules)                                                                          $69.99                  1    $69.99             $69.99
3145891881745        HSI         Chanel Crayon Ravel 0.4 oz (12 g) [174 Rouge Tundre]                                           $38.86                  1    $38.86             $38.86
3145891453867        HSI         CHANEL Enhances Colour ‐ Nourishes ‐ Plumps 9.0 G                                              $45.00                  1    $45.00             $45.00
3145891881660        HSI         Chanel Le Crayon Lips # 166 Bright Pink 1 2 Gr                                                 $35.00                  2    $35.00             $70.00
                                 Chanel Les Beiges Healthy Glow Bronzing Cream 395 Soleil Tan Deep Bronze 1.0
3145891853957        HSI         Ounce                                                                                          $60.00                  1    $60.00             $60.00
3145891406405        HSI         CHANEL N¬∞1 De Revitalizing Eye Cream 15g                                                      $80.00                  1    $80.00             $80.00

5056446610629        HSI         Charlotte Tilbury Hollywood Glow Glide Face Architect Highlighter | 7g | Gilded Glow           $48.00                  1    $48.00             $48.00
 843119101479        HSI         Charlotte's Web 25 Mg Extract Liquid Capsules Exp 10/20                                        $74.99                  1    $74.99             $74.99
 843119100250        HSI         Charlottes Web 750mg Extract Pain Relieving Skin Cream 2.5oz                                   $12.99                  2    $12.99             $25.98
 843119100243        HSI         Charlottes Web Balm, Hemp Infused, Soothing Scent, Can                                         $29.99                  4    $29.99            $119.96
 860006437800        HSI         Chirp Wheel for Back and Neck Pain – 3 Pk                                                      $84.99                  1    $84.99             $84.99
3380810045338        HSI         Clarins Multi‐Active Nuit Night Cream White                                                    $62.00                  1    $62.00             $62.00
 859811010360        HSI         Collections Etc Aromatherapy Diffuser with LED Flame Effect and                                $62.90                  1    $62.90             $62.90
  74108403292        HSI         ConairFit Calf & Leg Massager w/Vibration & Rollers HM19                                       $21.45                  1    $21.45             $21.45

  15794058229        HSI         Country Life Vegan D3 Gummies Lemon Strawberry & Orange 1000 IU ‐ 60 Gummies                   $17.14                  1    $17.14             $17.14
 672555173913        HSI         Cricket Life Shear, 6.0 Inch                                                                   $99.95                  1    $99.95             $99.95
  11822661041        HSI         Daylogic Men's 5 Blade Razor Refills ‐ 12 Ct                                                   $15.99                  1    $15.99             $15.99
  47701000984        HSI         DenTek Narrow Brush Pick 8‐count, (Pack of 6)                                                  $11.99                  1    $11.99             $11.99
   8925155515        HSI         DIABLO DOU125CF3 1‐1/4 in. Universal Fit Carbide Oscillating Blades for Metal                  $42.65                  1    $42.65             $42.65
 758302065608        HSI         DigiPower Apple iPhone 6 Tempered Glass Screen Protector                                        $4.49                  1     $4.49              $4.49
 758302649259        HSI         DigiPower JS‐IPSP Re‐Charge "On the Go" Battery Pack with Apple and Micro USB                  $22.99                  1    $22.99             $22.99
3348901503433        HSI         Dior Capture Cell Energy Super Potent Age Defying Intense Serum ‐ 1.7oz                       $130.00                  1   $130.00            $130.00
3348901485180        HSI         Dior Capture Totale C.e.l.l. Energy ‐ Super Potent Age‐Defying Intense Serum 1 oz              $92.00                  1    $92.00             $92.00
3348901561556        HSI         Dior Diorshow Iconic Overcurl Waterproof 10.0 ML                                               $32.00                  5    $32.00            $160.00
 856822008362        HSI         Doll Face, 24‐Shade Shadow Palette Doll Squad, 0.7 Ounce                                       $28.00                  1    $28.00             $28.00
 810005412636        HSI         DOSE&CO Collagen Protein Powder ‐ Chocolate ‐ 14.8oz                                           $29.74                  2    $29.74             $59.48
4015165319214        HSI         Dr Barbara Sturm 30ml. Calming Serum.                                                         $250.00                  1   $250.00            $250.00
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 813006016100   HSI   Dr. Mercola, Fermented Ginseng Dietary Supplement, 30 Servings (30 Capsules)              $36.55          1    $36.55     $36.55
 673914190572   HSI   Eau Thermale Avene PhysioLift Day Smoothing Cream (1 Fl Oz) #10076513                     $42.14          1    $42.14     $42.14
  25806034134   HSI   Emerson Im92w Portable Ice Maker White Machine Cube Rv Camper                            $114.99          1   $114.99    $114.99
 817835013651   HSI   evanhealy Blue Cactus Cooling Balm ‐ 0.5 oz                                               $24.99          1    $24.99     $24.99
 640522564828   HSI   Evertone Chin Fit                                                                         $29.99          1    $29.99     $29.99
 846345000103   HSI   Extenze Male Enhancemnet Extended Release Soft Gel 30ct                                   $46.99          6    $46.99    $281.94
 732013202170   HSI   Exuviance INTENSIVE EYE TREATMENT MASQUE                                                  $39.94          1    $39.94     $39.94
 726000104134   HSI   Factor Nutrition Focus Factor Memory Supplement 90 Each                                   $33.78          4    $33.78    $135.12
  45908129941   HSI   Farberware Colourworks 12‐piece Resin Stick Resistant Knife Set                           $25.54          1    $25.54     $25.54
 311917184036   HSI   Finest Nutrition Glucosamine and Chondroitin Complex 120 Tablets Exp 11/23                $34.99          1    $34.99     $34.99
  12505751363   HSI   Frigidaire WF2CB PureSource2 Ice And Water Filtration System, 1 Pack                      $32.33          1    $32.33     $32.33
 658010117425   HSI   Garden of Life Raw Fit Protein Powder, Chocolate, 450 Gram                                $36.39          1    $36.39     $36.39
                      Garden of Life, DR. Formulated Probiotics Digestive & Immune Care with Zinc, 30
 658010128919   HSI   Count                                                                                     $20.99          4    $20.99     $83.96
                      Giani Bernini ‐ Giani Bernini Set CZ Pendant Necklace and Studs in Gold‐Plated
 722089642338   HSI   Sterling Silver                                                                           $85.00          1    $85.00     $85.00
 887746781024   HSI   Giani Bernini Cubic Zirconia Halo Stud Earrings in Sterling Silver                        $13.99          1    $13.99     $13.99
                      Giani Bernini Cubic Zirconia Love Knot Pendant Necklace, 18" + 2" Extender, Created
 732995647792   HSI   for Macy's ‐ Silver                                                                       $85.00          1    $85.00     $85.00
 747542241385   HSI   Giani Bernini Pebble Leather Small Satchel (Blush)                                        $89.70          1    $89.70     $89.70
 716736445441   HSI   Givenchy 54mm Square Sunglasses in Ivory /Green at Nordstrom                             $119.97          1   $119.97    $119.97
3274872431775   HSI   Givenchy Gentleman Eau de Toilette Intense 2PCS Gift Set For Men 2 Men Spray             $101.00          2   $101.00    $202.00
 716736390932   HSI   Givenchy Unisex's Gv 7199/S Sunglasses, Hvn (Brown), One Size                            $310.00          1   $310.00    $310.00
  58219663516   HSI   Globe LED Work Light                                                                      $29.99          1    $29.99     $29.99
  48107155018   HSI   GNC Mega Men 50 Plus Multivitamin Caplets ‐ 60 Caplets                                    $24.99          1    $24.99     $24.99
  48107173760   HSI   Gnc Probiotic Complex Extra Strength 100 Billion Cfus 20 Vegetarian Caps 5/2021           $49.78          1    $49.78     $49.78
  48107195588   HSI   GNC Tamaflex Complete Proven Joint Support Supplement, 120 Caplets. Exp 08/22             $41.00          1    $41.00     $41.00
 800443343319   HSI   Good2go Auto Harness Large 50‐80 Lbs 3319                                                 $11.61          2    $11.61     $23.22
3616300890226   HSI   Gucci 260070 30 Ml Fluide De Beaute Fini Naturel Foundation ‐ No.120N Fair                $68.00          1    $68.00     $68.00
3614229382334   HSI   Gucci Bloom Profumo di Fiori Eau de Parfum Rollerball 0.25 oz/ 7.5 mL                     $33.95          1    $33.95     $33.95
8005610481609   HSI   GUCCI Bloom Rollerball, 0.25 oz.                                                          $34.00         19    $34.00    $646.00
                      Gucci Flora Gorgeous Gardenia Eau de Parfum Rollerball 0.25 oz / 7.5 ml eau de
3616301786504   HSI   parfum rollerball                                                                         $32.50          2    $32.50     $65.00
3616300890196   HSI   Gucci Fluide De Beaute Fini Naturel Foundation ‐ # 110C Fair 30ml/1oz                     $68.00          1    $68.00     $68.00
3616300890189   HSI   Gucci Natural Finish Fluid Foundation in 150C at Nordstrom                                $68.00          1    $68.00     $68.00
3616300890233   HSI   GucciFluide De Beaute Fini Naturel Foundation ‐ # 130W Fair 30ml/1oz                      $68.00          1    $68.00     $68.00
 816212027816   HSI   Gurunanda Natural Mist Wall/usb Plugin Essential Oil Humidifier Diffuser, 7816            $19.99          1    $19.99     $19.99
 810039470176   HSI   Healist Naturals Extra Strength Body Relief Lotion 300mg CBD. 0.0% THC ‐ 2.8 oz           $39.99          1    $39.99     $39.99
 810039470190   HSI   Healist Naturals Joint Relief Balm 150mg CBD. 0.0% THC - 1.7 oz                           $26.95          1    $26.95     $26.95
 810039470183   HSI   Healist Naturals Sports Relief Roll‐On Gel 150mg CBD. 0.0% THC On the Go Relief           $29.99          1    $29.99     $29.99
 602003994029   HSI   High Cbd Liberty Lotion 4.5 Oz                                                            $75.00          2    $75.00    $150.00
 851806004231   HSI   High T] Total Body Energy, Focus and Performance for Men                                  $62.57          1    $62.57     $62.57
 630447200024   HSI   Hilton Herbs Phytobalm (Magic Wound Cream) 130 g Tub                                      $25.20          1    $25.20     $25.20
 605069008013   HSI   Himalaya Formulas ‐ Immunocare 120ct                                                      $12.98          1    $12.98     $12.98
                      Home Furnishings By Larry Traverso Handwoven Cotton Denim Table Runner 13in By
  95787195575   HSI   7                                                                                         $40.00          1    $40.00     $40.00
                      HUMCO CLOVE OIL 100% PURE NATURAL, ESSENTIAL OIL, PHARMA 1 oz Exp Date
 303951949917   HSI   12/2022                                                                                   $29.15          1    $29.15     $29.15
 740617235692   HSI   HyperX Cloud II - Gaming Headset, 7.1 Surround Sound, Memory Foam Ear Pa                  $59.99          1    $59.99     $59.99
7290110973520   HSI   Il Makiage I'm Flawless Multi‐use Perfecting Concealer #13 0.23 Oz Boxed                  $45.00          1    $45.00     $45.00
                      Indie Lee Squalane Facial Oil ‐ 100% Pure Squalane Oil for Daily Use ‐ Visibly Improve
                      Skin Texture, Tone + Plump Appearance of Fine Lines ‐ Non‐Pore Clogging Oil (1oz /
 702685964508   HSI   30ml)                                                                                     $36.00          1    $36.00     $36.00
3141389912601   HSI   Institut Arnaud Paris Pearl and Caviar Eye Contour Elixir                                 $44.50          1    $44.50     $44.50
3141389908642   HSI   Institut Arnaud, Pearl Lux Night Concntr, 1.02 Fl Oz                                      $29.44          1    $29.44     $29.44
                      Intuit QuickBooks Desktop Premier Plus with Payroll 2021 for 1 User, Windows,
  28287562172   HSI   DVD/Download (608342)                                                                    $999.99          2   $999.99   $1,999.98
                      Intuit QuickBooks Desktop Pro Plus with Payroll 2021 for 1 User, Windows,
  28287562165   HSI   DVD/Download (608341) ‐ at Staples                                                       $799.99          1   $799.99    $799.99
 817919018084   HSI   It Cosmetics Your Skin But Better CC Cream with SPF 50+ ‐ Deep                            $37.40          2    $37.40      $74.80
 608729221715   HSI   Joewell Briskee 5.5" Offset Single Shear Pack + Case Japanese Steel Convex E              $52.80          1    $52.80      $52.80
 608729221722   HSI   Joewell Briskee 6" Offset Styling Shear with Case                                         $49.99          1    $49.99      $49.99
 608729221692   HSI   Joewell Briskee Combo 5.5" Offset Shear And 40 Teeth Thinner With Case                    $84.99          1    $84.99      $84.99
 855851007186   HSI   Kaito All‐in‐one Emergency Weather Radio Am/fm/sw Lighting Charger Ka350                  $89.95          1    $89.95      $89.95
 813920017221   HSI   Kate Somerville ExfoliKate Intensive Exfoliating Treatment 1.7oz/50ml                     $88.00         14    $88.00   $1,232.00
 885418009230   HSI   Keranique Regrowth System Kit                                                             $49.00          2    $49.00      $98.00
  41260379567   HSI   Kroger Deluxe Teeth Whitening Strips - 20 Strips                                          $25.90          3    $25.90      $77.70
  41260371455   HSI   KROGER SMILE SONIC REPLACEMENT BRUSH HEADS ‐ PKG. OF 2                                    $17.00          1    $17.00      $17.00
3614272453128   HSI   Lancome Palette Hypnose 03 Brun Adore, 54 g                                               $65.00          1    $65.00      $65.00
 736150174796   HSI   Laura Mercier Velour Extreme Matte Charmeuse Lipstick 1.4g                                $32.00          5    $32.00    $160.00
 860002028040   HSI   Lets Get Checked Colon Cancer Screening Sample Collection Test Kit Exp 01/2021            $89.00          1    $89.00      $89.00
                      Level Select 3 CBD Cooling Mint Sports Cream Supplement Vitamin | 1800 Mg | 3 Oz
 810026410390   HSI   Cream                                                                                     $34.99          1    $34.99     $34.99
  78477789964   HSI   Leviton 80414‐W Decora Blank Fill Plate, White                                             $3.28          1     $3.28      $3.28
                      LG G7 ThinQ Belt Clip Holster ‐ Slim Combo Case Design with Reinforced Alloy
 811700032266   HSI   Kickstand for LGG7 (Slimline Series) Smooth Black                                         $27.96          1    $27.96     $27.96
                      LifeStraw Personal Water Filter for Hiking, Camping, Travel, and Emergency
7640144285388   HSI   Preparedness (Pack of 4)                                                                  $59.95          4    $59.95    $239.80
 191245185703   HSI   LightShow 48‐Light White Shooting Star Icicle LED String                                  $59.95          1    $59.95     $59.95
3614271426369   HSI   Lipcolor 355 Champagne Cream                                                              $18.54          1    $18.54     $18.54

 854210006174   HSI   Luminous Lemon & Lavender Eye Brightening Cream Wild Carrot Herbals 15 Ml Cream           $28.99          3    $28.99     $86.97
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                      M Drive Classic for Men Natural Testosterone Support for Strength, Stamina Sex Drive
 852388001755   HSI   (60 Capsules)                                                                             $32.63            2    $32.63    $65.26
  91037310439   HSI   Mad Hippie AHA Exfoliating Peel                                                           $27.99   $23.98   1    $27.99    $27.99
 609408012303   HSI   Masks Hey Honey Take It Off Exfoliating Honey Peel Off Mask 1.7 Ounce                     $32.00            1    $32.00    $32.00
 810010830029   HSI   Medterra Medoil Premium Hemp Extract Tincture 3000 Mg ‐ 1 Fl Oz ‐ 30ml                    $34.99            1    $34.99    $34.99
 810010830005   HSI   Medterra Medoil Premium Hemp Extract Tincture, 500 Mg, 1 Fl Oz (30 Ml)                    $34.99            2    $34.99    $69.98
  42206003461   HSI   Melnor Industries Inc. 152322 Metal 2 Way Hose Shut‐Off                                    $7.99            1     $7.99     $7.99
4260255573384   HSI   Methode Brigitte Kettner Eye Rejuvenator - For Fine Lines & Wrinkles                     $106.99            1   $106.99   $106.99
 719985967146   HSI   Middlebury Natural Foods Co‐op Grass Fed Whey Protein Vanilla                             $40.00            1    $40.00    $40.00
 850029375005   HSI   Modern Fertility Ovulation Test ‐ 20ct                                                    $15.98            1    $15.98    $15.98
3386460073189   HSI   Montblanc Legend Travel Spray, Size: .5 Oz, Multicolor                                    $18.00            1    $18.00    $18.00
                      Murad Resurgence Revitalixir Recovery Serum ‐ Multi‐Action Anti‐Aging Face Serum
                      with Neuroptides and Caffeine ‐ Brightening Eye Puffiness Reducing Treatment Visibly
 767332109046   HSI   Relaxes Wrinkles, 1.35 Fl Oz                                                              $97.00            1    $97.00    $97.00
 660726534113   HSI   Muscle Milk Powder Pro Series, 50 Grams Protein, Intense Vanilla, 2 Pounds                $22.94            1    $22.94    $22.94
3145891453829   HSI   N¬∫ 1 BAUME Vital Beige 3                                                                 $45.00            1    $45.00    $45.00
3145891406702   HSI   N°1 DE CHANEL REVITALIZING BODY SERUM‐IN‐MIST                                            $110.99            1   $110.99   $110.99
  74312314995   HSI   Nature S Bounty Fish Oil Softgels 1200 Mg 200 Ct 2 Pack                                   $40.99            1    $40.99    $40.99
 695111002441   HSI   New Vitality Ageless Male Tonight Xxxl Supplement Vitamin | 12 Caps                       $12.46            4    $12.46    $49.84
 856528001612   HSI   Novex Biotech Testrovax ‐ 60 Tabs                                                         $38.99            2    $38.99    $77.98
 839174001656   HSI   Nudestix 3-Pc. Mini Nude Metallic Berry Eye Set                                           $25.00            2    $25.00    $50.00
 896364002770   HSI   Olaplex No 6 Bond Smoother Leave in Styling Treatment 100 ml / 3.3 fl. Oz                 $29.61            1    $29.61    $29.61
  90174419357   HSI   Olaplex No. 8 Bond Intense Moisture Mask 1oz & No. 3 Hair Perfector 3.3oz                 $30.00            2    $30.00    $60.00

  90174429882   HSI   Olaplex No.6 Bond Smoother Leave‐in Styling Treatment 100ml, 3.3 Oz Strengthens           $26.99            1    $26.99    $26.99
 300658150066   HSI   PATADAY Once Daily Relief 2.5 Ml ‐ 0.085 Oz                                               $21.99            1    $21.99    $21.99
 300658150028   HSI   PATADAY Once Daily Relief 2.5 Ml ‐ 0.085 Oz | CVS                                         $21.99            1    $21.99    $21.99
 195699305014   HSI   PATAGONIA Men's M's Storm Shift JKT, Black, XL                                           $499.00            1   $499.00   $499.00
   9531114637   HSI   Paul Mitchell Freeze & Shine Super Spray 55% ‐ 16.9 oz                                    $29.90            1    $29.90    $29.90
   9531129907   HSI   Paul Mitchell Neuro Smooth 1.25" Memory Styler Titanium Flat Iron                        $150.00            1   $150.00   $150.00
 651473703136   HSI   Perricone Md Cold Plasma 0.25 Oz / 7.5 Ml                                                 $21.48            9    $21.48   $193.32
 400186488812   HSI   Place & Time Sunshade Installation Kit 40pc                                               $19.99            1    $19.99    $19.99
8903453345433   HSI   Planet Ayurveda Gotu Kola, 500mg Veg Capsules ‐ 2 Bottles                                 $31.59            1    $31.59    $31.59
                      PlusCBD CBD Full Spectrum Hemp Extract Roll‐on ‐ Extra Strength | 500 Mg 1.13 Oz
 854521007389   HSI   Roll‐on                                                                                   $49.99            1    $49.99    $49.99
                      Preparation H Rapid Relief Hemorrhoidal Spray with Lidocaine for Itching, Burning
 305731321258   HSI   and Pain Relief ‐ 3.8 Oz Bottle                                                           $19.49            1    $19.49    $19.49
 842944102170   HSI   Proactiv Solution Renewing Acne Cleanser ‐ Unscented ‐ 4 Fl Oz                            $25.00            3    $25.00    $75.00
                      Radnor RAD64002914 169716 Gas Diffuser for 150 Amp Miller MIGmatic M‐15,
                      Millermatic 130, 130XP, 172, 185, Pulse, DVI/DVI2 Series MIG Guns (2 Per Card),
 639890029145   HSI   English, 15.34 fl. oz., Plastic, 1 x 1 x 1                                                $38.07            1    $38.07    $38.07
3605970859336   HSI   Ralph Lauren Polo Blue Eau de Parfum 1.36 oz                                              $29.95            1    $29.95    $29.95
 191422451218   HSI   Rebecca Minkoff Chevron Quilted Love Crossbody, Neon Yellow, One Size                    $250.00            1   $250.00   $250.00
9421901344078   HSI   Red Witch 7 Sisters Lily Boost                                                           $119.00            1   $119.00   $119.00
                      Renew Life Extra Care Ultimate Flora Probiotic Supplement, 30 Billion, 50 Vegetarian
 631257153555   HSI   Capsules                                                                                  $43.49            1    $43.49    $43.49
 619498634408   HSI   Resmed AirFit F20 Replacement Nasal Frame & Cushion System Small 63440                    $52.88            1    $52.88    $52.88
  71031189521   HSI   Rest Assured Snore No More Anti‐Snoring Mouthpiece                                        $18.39            1    $18.39    $18.39
 773199311645   HSI   Richelieu Hardware Blumotion Cabinet Door Dampener for Compact Hinges                     $11.97            1    $11.97    $11.97
 628055816270   HSI   Rocky Mountaint, Beard Oil Classic, 1 Ounce                                               $13.99            1    $13.99    $13.99
 736676903610   HSI   Ruger BX‐25 10/22 25‐Round Magazine                                                       $36.95            1    $36.95    $36.95
 810025272142   HSI   Rumpl | Down Puffy Blanket | Outdoor Blanket | Baja Fade                                 $275.00            1   $275.00   $275.00
 855385008208   HSI   Sagely Naturals Cream Relief And Recovery Extra Strength 4oz/118 Ml                       $54.99            4    $54.99   $219.96
                      Sagely Naturals Extra Strength Relief & Recovery Spray, 300mg ‐ State Restrictions
 855385008680   HSI   Apply ‐ 2 Oz | CVS                                                                        $24.99            1    $24.99    $24.99
                      Sagely Naturals Relief & Recovery Active Roll‐on, 250mg ‐ State Restrictions Apply ‐ 2
 855385008697   HSI   Oz | CVS                                                                                  $19.99            2    $19.99    $39.98
8806092689381   HSI   SAMSUNG Galaxy A12 ‐ Smartphone 64GB, 4GB RAM, Dual Sim, Black                           $209.99            1   $209.99   $209.99
 797776183357   HSI   Sativa Organic Replenish Hemp Moisturizer 1.7 Fl.oz                                       $25.95            1    $25.95    $25.95
 797776183340   HSI   Sativa Rejuvenate Hemp Facial Serum 1oz                                                   $44.99            3    $44.99   $134.97
8410580003101   HSI   Schick Stubble Eraser Men's Razor Refills ‐ 4ct                                           $11.99            1    $11.99    $11.99
  74040551419   HSI   Sheaffer Brushed Chrome Fountain Ball Point Pen E232351cs                                 $42.95            1    $42.95    $42.95
  81738541003   HSI   ShiKai CBD + Cooling Formula Supplement Vitamin | 3 Oz Cream                              $24.99            1    $24.99    $24.99
  81738540006   HSI   Shikai Products Cream Cbd 1 Each 2 Fz                                                     $29.99            2    $29.99    $59.98
 853926003279   HSI   Skin Authority Wrinkle Reversing Serum 18.0 ML 0.06 Kg                                   $170.00            2   $170.00   $340.00
                      SmileDirectClub Smile Spa Ultrasonic and UV Cleaning Machine for Alingers,
 810819031122   HSI   Retainers, Toothbrush Heads, and More                                                     $41.95            1    $41.95    $41.95
 850023754028   HSI   SnoreRx Plus Semi‐Custom Snoring Mouth Guard Kit ‐ 1 | CVS                                $87.49            1    $87.49    $87.49
 860002485638   HSI   Snow Whitening Wands Refill Set ‐ White ‐ 3oz                                             $35.00            2    $35.00    $70.00
 710363586003   HSI   SteelLibido Peak Testosterone 75 Liquid SoftGels                                          $17.99            2    $17.99    $35.98

 860004622826   HSI   Sugarbreak Reduce Adult Vegan Capsules for Maintaining Healthy Blood Sugar ‐ 60c          $25.49            4    $25.49   $101.96
 864724000391   HSI   Sunsoil Full Spectrum CBD Oil Softgels, 20mg                                              $80.00            1    $80.00    $80.00
 811274024711   HSI   Super Male T Male Performance (78 Capsules)                                               $84.99            1    $84.99    $84.99
4059089311763   HSI   Sylvania 7443 White SYL LED Mini Bulb Pack of 2                                           $21.49            1    $21.49    $21.49
 725327901389   HSI   TAU 358001701 TX22 0.22 LR 16 Round Black Magazine                                        $24.99            1    $24.99    $24.99
                      The Vitamin Shoppe Essential Oil Frankincense, 100 Pure Essential Oil, Vitalizing
 766536033959   HSI   Meditative Benefits (1 Fluid Ounces Oil)                                                   $7.97            1     $7.97     $7.97
  40818132111   HSI   Therm‐a‐Rest Neo Air XLite Sleeping Pad [Small]                                          $149.95            1   $149.95   $149.95
 883991072177   HSI   Tommy Bahama For Her Eau De Parfum Spray 3.4 Fl.oz / 100 Ml ‐sealed                       $74.11            4    $74.11   $296.44
 196038389986   HSI   Tommy Hilfiger Riley II Zip Around Wallet Tommy Navy One Size                             $44.80            1    $44.80    $44.80
 810745031821   HSI   Tone It Up Vitamin C + Collagen Powder ‐ 8.39oz                                           $21.24            2    $21.24    $42.48
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 758302165476   HSI   Toughtested 12 Ft 3.5m Pro+charger                                                 $29.99              1    $29.99          $29.99
 601842704721   HSI   Trek Commuter Pro RT Flare RT Bike Light Set                                      $209.99              1   $209.99         $209.99
 849944081016   HSI   Tylt Crest 15W Wireless Charging Convertible Stand ‐ Black                         $24.99              1    $24.99          $24.99
 191459124291   HSI   UGG Fabric Gloves with Zipper Black SM‐MD                                          $75.00              1    $75.00          $75.00
                      Urban Decay Naked Ultraviolet Eyeshadow Palette, 12 Purple Shimmering Shades,
3605972331304   HSI   Professional‐Quality Brush Included, 15.6 g                                        $49.00              1    $49.00          $49.00
 810002110627   HSI   Versed The Shortcut Overnight Facial 1 fl oz                                       $20.00              1    $20.00          $20.00
                      VICTORIAS SECRET BOMBSHELL MAGIC PERFUME EDP EAU DE PARFUM 3.4 Oz 100ml
 667557013442   HSI   New                                                                                $79.95              1    $79.95          $79.95
 681066653623   HSI   Vivitar PG‐V011R‐BLK Cordless Foot File (Black)                                    $29.99              1    $29.99          $29.99
 300672933409   HSI   Voltaren Arthritis Pain Relief Topical Gel - 3.53 oz x 2 pack                      $28.88   $40.51     1    $28.88          $28.88
 817718026129   HSI   Vuori Men's Sunday Performance Jogger Pants V416 Black Size Extra Large 36         $89.00              7    $89.00         $623.00

 800443471760   HSI   Well & Good Level 1 Maintenance Joint Health Chews for Small Dogs, Count of 120    $27.99              1    $27.99           $27.99
4251460616201   HSI   WE‐VIBE Pair Vibrator 10028 Pair Vibrator Green One Size                          $199.00              1   $199.00         $199.00
 737257736054   HSI   Whisker City Reflective Adjustable Black Moon & Stars Harness 10-16" Inch Gir       $9.99              1     $9.99            $9.99
  49353004501   HSI   Wireless Charging Alarm Clock ‐ Sharp                                              $30.00              1    $30.00           $30.00
4251460615587   HSI   WOMANIZER WOMANIZER Classic 2 Bordeaux Brand Suction                              $129.00              1   $129.00         $129.00
4251460615525   HSI   WOMANIZER WOMANIZER Premium 2 Black Brand Suction                                 $197.00              2   $197.00         $394.00
 850038254223   HSI   YIP Samsung Galaxy Tracking Smart Tag Blue                                         $29.99              1    $29.99           $29.99
 850038254124   HSI   YIP Samsung Galaxy Tracking Smart Tag Rose Gold                                    $29.99              1    $29.99           $29.99
 351660999112   HSI   Your Choice Emergency Contraceptive Pill + Pregnancy Test ‐ 1.0 Set                $49.99              3    $49.99         $149.97
  90174429899   HSI   Redken Diamond Oil Shampoo ‐ 10.1 FZ                                               $35.99              2    $35.99           $71.98
 190607212101   HSI   Tommy Hilfiger Backpack                                                                                1     $0.00            $0.00
 803259118050   HSI   Salvatore‐Ferragamo‐By‐Ferragamo‐Pour‐Homme‐Black‐EDT‐100ml/PH1495                 $35.65              1    $35.65           $35.65
 850001902175   HSI   Even Embers Gas Pizza Oven                                                        $229.99              1   $229.99         $229.99
6925466286826   HSI   Hyaluronic Acid Super Smooth Moisture Facial MayCreate                              $8.25              2     $8.25           $16.50
8809198221424   HSI   Marfee Ultimate Rejuvenation Facial Essence 1 Oz/30ml Fresh 1424                   $28.99             22    $28.99         $637.78
 650786004152   HSI   Friendly Force ‐ 120 VeganCaps                                                     $59.99              2    $59.99         $119.98
 846733031894   HSI   tarte Shape Tape Pressed Powder                                                    $35.00              1    $35.00           $35.00
                                                                                                                           378             $   22,030.35
